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                      GROUP EXHIBIT G
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                     GROUP EXHIBIT G-1
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                          CNA PARAMOUNT
                          Renewal                                                                                  Effective Date:     12/23/2018
                          Insured Name:
                          SESI CONSULTING ENGINEERS



                          12A MAPLE AVE

                          PINE BROOK, NJ         07058-9837
                          Policy Number: 6056872807                                                    Policy Period:   12/23/2018 – 12/23/2019
                          Producer's Information:
                          SCHINNERER & CO., INC. VICTOR O.                                                              Producer Code:    028570
                          TWO WISCONSIN CIRCLE

                          CHEVY CHASE, MD         20815
                          (301)961-9800
                          CNA Branch Number: 886

                          CNA Branch Name and Address:
                          DESIGN ONE CENTER
                          TWO WISCONSIN CIRCLE

                          CHEVY CHASE, MD         20815
                          (   )   -

                          Thank you for choosing CNA!
                          With your CNA Paramount package           policy, you have insurance coverage tailored to meet the needs of your modern
                          business. The international network of insurance professionals and the financial strength of CNA, rated “A” by A.M. Best,
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                          provide the resources to help you manage the daily risks of your organization so that you may focus on what’s most
                          important to you.
                          Claim Services — There When You Need Us
                          Claims are reported through a single point of entry available 24/7, connecting you to the individuals and information to help
                          you resume your business when you need it most.
                          To report a claim, please call (877) CNA-ASAP, fax (800) 953-7389, email lossreport@cnaasap.com, or visit
                          www.cna.com/claim.
                          Risk Control Services — Help Avoid A Claim Before It Occurs
                          As a CNA policyholder, you have access to certified risk control professionals, risk mitigation programs and online
                          resources to help identify and manage exposures that may disrupt your operation. We collaborate with business leaders to
                          develop customized programs to assist you in safeguarding your assets and improving the bottom line.
                          To learn how our award-winning Risk Control services can help your business, please call (866) 262-0540, email us at
                          riskcontrolwebinfo@cna.com or visit www.cna.com/riskcontrol.

                          When it comes to providing the coverage, service and resources paramount to your business success … we can show
                          you more.




                                                                                   INSURED
                                                                            CNA000206
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                                                                                                                         CNA PARAMOUNT
                                                                                                    Policy Holder Notice – Countrywide


                                                   IMPORTANT INFORMATION

                                                    NOTICE – OFFER OF TERRORISM COVERAGE
                                                       NOTICE – DISCLOSURE OF PREMIUM
                          Solely with respect to the following coverage parts:

                              Business Property
                              Inland Marine

                              General Liability
                              Employee Benefits Liability




                          THIS NOTICE DOES NOT FORM A PART OF THE POLICY, GRANT ANY COVERAGE OR CHANGE THE TERMS
                          AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                          The Named Insured is hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"),
                          the Named Insured has a right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in
                          Section 102(1) of the Act, subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a
                          federal program within the Department of the Treasury, under which the federal government shares, with the insurance
                          industry, the risk of loss from future terrorist attacks.

                          This Notice is designed to alert the Named Insured to coverage restrictions and to certain terrorism provisions in the
                          policy. If there is any conflict between this Notice and the policy (including its endorsements), the provisions of the policy
                          (including its endorsements) apply.
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                          CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM

                          The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
                          Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars and
                          must have been committed by an individual or individuals acting on behalf of any foreign person or foreign interest to
                          coerce the government or population of the United States. However, the 2007 re-authorization of the Act removed the
                          requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now certified acts of
                          terrorism may encompass, for example, a terrorist act committed against the United States government by a United States
                          citizen, when the act is determined by the federal government to be "a certified act of terrorism."

                          In accordance with the Act, the Insurer is required to offer the Named Insured the ability to purchase coverage for losses
                          resulting from an act of terrorism that is certified under the federal program. The other provisions of this policy, including
                          nuclear, war or military action exclusions, will still apply to such an act.

                          DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES

                          The Department of the Treasury will pay a share of terrorism losses insured under the federal program. In 2015, the
                          federal share equals 85% of that portion of the amount of such insured losses that exceeds the applicable insurer
                          retention, and shall decrease by 1 percentage point per calendar year until equal to 80%.

                          LIMITATION ON PAYMENT OF TERRORISM LOSSES


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                                                                                                CNA PARAMOUNT
                                                                          Policy Holder Notice – Countrywide

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a Calendar year (January 1 through December 31), the Treasury shall not make any payment for any portion of
the amount of such losses that exceeds $100 billion.

Further, this coverage is subject to a limit on the Insurer's liability pursuant to the federal law where, if aggregate insured
losses attributable to terrorist acts certified under the Act exceed $100 billion in a Calendar year (January 1 through
December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be liable for the payment
of any portion of the amount of such losses that exceeds $100 billion. In such case, insured losses up to that amount are
subject to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.

CONFIRMATION OF ACCEPTANCE OF COVERAGE

In accordance with the Act, the Insurer offered the Named Insured coverage for losses resulting from an act of terrorism
that is certified under the federal program. This notice confirms that the Named Insured has chosen to accept the
Insurer's offer of coverage for certified acts of terrorism. The policy's other provisions, including nuclear, war or military
action exclusions, will still apply to such an act. The premium charge for terrorism coverage is shown separately on the
Declarations.




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                                                   CNA000208
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                                                                                                                     CNA PARAMOUNT
                                                                                     Policy Holder Notice – New Jersey PLIGA


                                                  IMPORTANT INFORMATION
                                                              "PLIGA" SURCHARGE
                                                             FOR OUR NEW JERSEY
                                                        COMMERCIAL LINES POLICYHOLDERS

                          Your policy premium includes a New Jersey Property – Liability Insurance Guaranty Association (PLIGA) surcharge.
                          PLIGA protects consumers from insurance company insolvencies. The cost of this guaranty fund is assessed to all
                          insurance companies in New Jersey; and in compliance with Department of Insurance Order No. A14-109, it is passed
                          along to individual consumers via this surcharge.

                          The surcharge is 0.47% of your premium for all property/liability coverage except for life insurance, accident and health
                          insurance, workers' compensation insurance, title insurance, annuities, surety bonds, credit insurance, mortgage guaranty
                          insurance, municipal bond coverage, fidelity insurance, investment return assurance, ocean marine insurance, and pet
                          health insurance.

                          For purposes of this surcharge and in compliance with New Jersey Insurance Department Regulation N.J.S.A. 17:30A-8a
                          (3), the declarations page of this policy is the "premium bill."

                          If you have questions about the New Jersey – Liability Insurance Guaranty Association or this surcharge, please contact
                          your independent CNA agent.
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                                                                                                                         CNA PARAMOUNT
                                                                                                    Policy Holder Notice – Countrywide


                                                   IMPORTANT INFORMATION
                                                 PREVENT UNEXPECTED PREMIUM CHARGES AT
                                                              FINAL AUDIT
                                                   GENERAL LIABILITY LIMITS WE REQUIRE FOR
                                                        SUBCONTRACTORS YOU HIRE
                          Please read this IMPORTANT INFORMATION notice carefully if you hire subcontractors to perform work for you.
                          Your General Liability insurance premiums may increase substantially at final audit if your subcontractors do not carry the
                          minimum General Liability insurance limits we require as defined below.
                          To prevent your General Liability insurance premiums from increasing at final audit, your subcontractors must carry a
                          General Liability policy which is written on an occurrence basis and which provides Limits of Insurance as follows:
                              $   1,000,000 Any One Occurrence (Coverage A)
                                  1,000,000 Any One Person or Organization (Coverage B)
                                  1,000,000 Products/Completed Operations Aggregate
                                  1,000,000 General Aggregate
                          In certain exception cases, higher Limits of Insurance than those specified above may be required. Your agent will be
                          notified of these exception cases in writing when they exist.
                          How This Requirement Can Affect Your General Liability Premium at Final Audit
                          At final premium audit, we will ask you to provide us with Certificates of Insurance for all subcontractors who worked for
                          you during the policy period, to confirm that they carried the General Liability limits of insurance we require, as stated
                          above.
                          Work you subcontract to other contractors whose General Liability limits of insurance meet the requirements shown
                          above, will be rated on a subcontract cost basis, which is significantly less expensive for you than treating these
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                          subcontract costs as ratable payroll (as described below).
                          Any subcontractor of yours who carries General Liability limits of insurance less than those stated above, and any of your
                          subcontractors for whom we are not provided Certificates of Insurance will be treated as your employees for rating
                          purposes. The associated subcontract costs will be treated as ratable payroll on your policy resulting in an additional
                          premium charge at final audit.
                          Prevent Unexpected Premium Charges at Final Audit:
                          Require Evidence Of $1,000,000 General Liability Limits From All Of Your Subcontractors
                          To avoid additional premium charges at final audit caused by your subcontract costs being treated as ratable payroll, and
                          to reduce the risk of your General Liability insurance being tapped to cover claims arising out of your subcontractor's work,
                          we urge you to obtain Certificates of Insurance from your subcontractors, prior to their beginning work, evidencing the
                          General Liability limits of insurance stated above. In addition to providing coverage information for their General Liability
                          insurance, these Certificates of Insurance should also provide coverage information for your subcontractor's Automobile,
                          Worker's Compensation, and Umbrella insurance.
                          Please contact your agent if you have any questions regarding these requirements or if you would like help in determining
                          the adequacy of the insurance carried by any of your subcontractors.




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                                                                                                                            CNA PARAMOUNT

                                                                                         Policy Holder Notice – Countrywide –
                                                                                    Premium Basis Used on Liability Schedules

                                                     Premium Basis Used on Liability Schedules
                          This policy includes one or more Liability coverages with associated Schedules of locations, coverages or classifications.
                          When such Schedules display an Exposure amount used to calculate premium, the Exposure amount is often followed by
                          an abbreviation that denotes what the Exposure amount represents (Payroll, Gross Sales, Area, etc.). Such abbreviations
                          are described below.

                          A   = Area                          (Per 1,000 Sq. ft.)           GL = Gallons                        (Per 1,000 Gallons)
                          AC = Acres                                     (Each)             GS = Grandstands/Bleacher                        (Each)
                          AD = Activity Days                             (Each)             H     = Number of Golf Holes                     (Each)
                          AN = Animals                                   (Each)             HO = Hoists                                      (Each)
                          AP = Airports                                  (Each)             HQ = Headquarters                                (Each)
                          AT = Attendants                                (Each)             K     = Kennels                                  (Each)
                          AU = Audited Premium                   (Last Year of              L     = Limit        (Limit of Insurance for Coverage)
                                                              Manufacture - %)
                                                                                            LD = Locations Days                              (Each)
                          B   = Bodies                                   (Each)
                                                                                            LE = Lessees                                     (Each)
                          BA = Bales                          (Per 1,000 Bales)
                                                                                            LO = Locations                                   (Each)
                          BD = Beds                                      (Each)
                                                                                            LR = Lakes/Reservoirs                            (Each)
                          BE = Beaches                                   (Each)
                                                                                            LW = Lawyers                                     (Each)
                          BO = Boats                                     (Each)
                                                                                            M     = Admissions              (Per 1,000 Admissions)
                          C   = Total Cost            (Per $1,000 of Total Cost)
                                                                                            ME = Members                                     (Each)
                          CD = Camper Days                  (Each Camper Day)
                                                                                            MH = Model Homes                                 (Each)
                          CN = Contestants                               (Each)
                                                                                            MI = Miles                                       (Each)
                          CU = Convention Days                           (Each)
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                                                                                            NB = Newsboys                                    (Each)
                          CW = Cost of Work                      (Per $1,000 of
                                                            Total Cost of Work)             O     = Operators                                (Each)

                          DB = Drawbridges                               (Each)             OE = Operating Expenditures         (Per $1,000 of
                                                                                                                       Operating Expenditures)
                          DM = Dams                                      (Each)
                                                                                            P     = Payroll                  (Per $1,000 of Payroll)
                          DW = Dwellings                                 (Each)
                                                                                            PD = Passenger Days              (Per 1,000 Passenger
                          E   = Each                     (Per Entity Described)                                                             Days)
                          EM = Employees                                 (Each)             PG = Picnic Grounds                              (Each)
                          ES = Solar Energy Systems                      (Each)             PP = Parks/Playgrounds                           (Each)
                          ET = Turbines                                  (Each)             PR = Parades                                     (Each)
                          EX = Exhibitions                               (Each)             PS = Persons                                     (Each)
                          F   = Flat Charge              (Flat Premium Charge)              PU = Pupils                                      (Each)
                          FG = Fairgrounds                               (Each)             R     = Receipts               (Per $1,000 of Receipts)
                          FM = Faculty Members                           (Each)             RG = Registrants                                 (Each)
                          FP = Fishing Piers                             (Each)             RN = Range                                       (Each)
                          G   = Graduates                                (Each)             RV = Revenue                   (Per $1,000 of Revenue)
                          GA = Games                                     (Each)
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                                                                                     CNA PARAMOUNT

                                                          Policy Holder Notice – Countrywide –
                                                     Premium Basis Used on Liability Schedules

S   = Gross Sales                  (Per $1,000 of            SP = Swimming Pools                     (Each)
                                    Gross Sales)
                                                             ST = Stations                           (Each)
SA = Classification          (Total Class Specific
                                    Premium - %)             SU = Sub 334 Premium   (Premises & Operations
                                                                                             Premium - %)
SB = Sub 336 Premium      (Products & Completed
                         Operations Premium - %)             TE = Teams                              (Each)

SC = Scouts                                (Each)            TO = Towers                             (Each)

SD = Students                              (Each)            U     = Unit                (Per Dwelling Unit)

SE = Seats                                 (Each)            VE = Vehicles              (Per 1,000 Vehicles)

SG = Total GL Premium           (General Liability           VO = Volunteers                         (Each)
                                   Premium - %)              WC = WC Premium          (Per 1,000 of Workers’
SH = Shows                                 (Each)                                   Compensation Premium)
                                                             Z     = Zoos                            (Each)
SL = 334/336 Premium      (Premises & Operations
                        and Products & Completed
                         Operations Premium - %)




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                                                                                                                     CNA PARAMOUNT
                                                                                                Policy Holder Notice — Countrywide



                                                                DENOTING DEFINED TERMS

                          As noted elsewhere in this Policy, terms in bold face type have the special meanings assigned to them in pertinent
                          Definitions sections or Glossaries. When applicable, terms in "quotation marks" shall be treated as if they were in bold
                          face type, and shall have the same special meanings described in the pertinent Definitions sections or Glossaries.
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                          CNA89319XX 06-17
                                                                          CNA000213
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                                                                                                                            CNA PARAMOUNT
                                                                                                             Common Terms and Conditions

                          The Insurer and the Named Insured, in consideration of the payment of the premium and in reliance upon all statements
                          made in the application furnished to the Insurer designated in the Policy Declarations, a stock insurance corporation,
                          hereafter called the “Insurer,” agree as follows. Terms in bold face type have special meaning as set forth in any
                          applicable First Party Glossary of Defined Terms or the applicable coverage parts of this Policy. All headings are also
                          in bold, whether or not they contain defined terms. See Section XVI, HEADINGS below.

                           I. ASSIGNMENT OF INTEREST

                              Assignment of interest under this Policy shall not bind the Insurer unless its consent is endorsed to this Policy except
                              in the case of death of a natural person Named Insured.

                           II. BANKRUPTCY
                              Bankruptcy or insolvency of any Named Insured or of the Named Insured’s estate shall not relieve the Insurer of any
                              of its obligations hereunder.

                           III. CANCELLATION/NONRENEWAL
                              A. Insurer’s Right to Cancel

                                  The Insurer may cancel this policy by providing to the First Named Insured written notice of such cancellation
                                  stating when, not less than 10 days thereafter, such cancellation shall be effective if such cancellation is due to
                                  non-payment of premium. If cancellation is due to any other reason, such notice shall be provided not less than
                                  60 days thereafter.
                              B. Named Insured’s Right to Cancel
                                  The First Named Insured may cancel this Policy by providing the Insurer written notice stating when thereafter
                                  such cancellation shall be effective. The mailing or delivery of such notice shall be sufficient.

                              C. Premium Refund

                                  If this policy is cancelled, the Insurer will send the First Named Insured any premium refund due. If the Insurer
                                  cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata.
                                  The cancellation will be effective even if the Insurer has not made or offered a refund.
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                              D. Nonrenewal

                                  If the Insurer decides not to offer any renewal terms for this Policy, the Insurer shall provide written notice to the
                                  Named Insured at least 60 days prior to the Policy expiration date. The notice shall include the reason for such
                                  non-renewal.
                              E. Notices

                                  If any notice required under this Section is mailed, proof of mailing will be sufficient proof of notice.

                           IV. CHANGES

                              Notice to or knowledge possessed by any agent or other person acting on behalf of the Insurer shall not effect a
                              waiver or a change in any part of this Policy or stop the Insurer from asserting any right under the provisions of this
                              Policy, nor shall the provisions be waived or changed except by written endorsement issued to form a part of this
                              Policy.

                           V. CONFORMITY TO STATUTE
                              Terms of these conditions or any coverage part that are in conflict with the statutes of the state in which this policy is
                              issued are hereby amended to conform to such statutes.


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                                                                             CNA000221
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                                                                                                CNA PARAMOUNT
                                                                                  Common Terms and Conditions

VI. COORDINATION AMONG COVERAGE PARTS
   Subject always to the applicable Limit of Liability, should two or more coverage parts apply to the same loss, the
   Insurer will not pay more than the Named Insured’s actual loss.

VII. COVERAGE PART TERMS AND CONDITIONS

   The terms and conditions of each coverage part apply only to that coverage part and shall not apply to any other
   coverage part. If any provision in the Common Terms and Conditions is inconsistent or in conflict with the terms
   and conditions of any coverage part, the terms and conditions of such coverage part shall control for purposes of
   that coverage part.

VIII. CURRENCY
   All premiums, limits, deductibles and other amounts stated or payable under this Policy are expressed and payable in
   the currency of the United States of America. If any payments due under this Policy are stated or incurred in a
   currency other than United States of America dollars, payment under this Policy will be made in United States of
   America dollars, at the rate of exchange published in The Wall Street Journal on the date the Insurer’s obligation to
   pay such amount is established (or, if not published on such date, the next publication date of The Wall Street
   Journal).

IX. ENTIRE AGREEMENT

   The Named Insureds agree that this Policy constitutes the entire contract existing between them and the Insurer or
   any of its agents relating to this insurance.

X. EXAMINATION OF THE INSURED’S BOOKS AND RECORDS
   The Insurer may examine and audit any Named Insured’s books and records as they relate to this Policy at any time
   during the policy period and up to 3 years afterward.

XI. INSPECTIONS AND SURVEYS
   The Insurer has the right but not the obligation to:
   A. make inspections and surveys at any time;
   B. provide reports on the conditions it finds;
   C. recommend changes; or
   D. conduct loss control and prevention activity.
   Any inspections, surveys, reports, or recommendations relate only to insurability and the premiums to be charged.
   The Insurer does not:
   1.   make safety inspections;
   2.   undertake to perform the duty of any entity to provide for the health or safety of workers or the public;
   3.   warrant that conditions are safe or healthful or comply with laws, regulations, codes or standards.

XII. LIBERALIZATION
   If the Insurer adopts any revision that would broaden the coverage under this Policy without additional premium within
   60 days prior to or during the policy period, the broadened coverage will immediately apply to this Policy.




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                                                                                                                        CNA PARAMOUNT
                                                                                                           Common Terms and Conditions

                           XIII. NAMED INSURED AUTHORIZATION AND NOTICES

                              The First Named Insured agrees that it will act on behalf of all Named Insureds with respect to the giving of all
                              notices to the Insurer, the receipt of notices from the Insurer, the payment of the premiums, the receipt of any return
                              premiums that may become due under this Policy, and the acceptance of endorsements.
                              Any notices required under the CANCELLATION / NON-RENEWAL sections of this Policy shall be provided to the
                              First Named Insured at the last known address and to its insurance agent or broker. If notice is mailed, proof of
                              mailing will be sufficient proof of notice.

                           XIV. NO SUIT AGAINST INSURER

                              A. No suit shall be brought under this Policy by anyone other than the Named Insured. The Named Insured may
                                 not bring any such suit, action or legal proceeding unless, as a condition precedent, there shall have been full
                                 compliance with all the provisions of this Policy and:
                                  1.   with respect to any property coverage part, the action is brought within 3 years after the date on which the
                                       loss or damage occurred or, with respect to any crime coverage, the date the loss was discovered;
                                  2.   with respect to any third party coverage part, the amount of the Named Insured's obligation to pay shall
                                       have been finally determined either by final and nonappealable judgment against the Named Insured after
                                       trial or by written agreement of the Named Insured, the claimant and the Insurer.

                                  However, if any law prohibits such time limitation then the limitation is amended to equal the minimum time
                                  limitation required by such law.
                              B. No person or organization shall have any right under this Policy to join the Insurer as a party to any suit against
                                 the Named Insured to determine the Named Insured's liability, nor shall the Insurer be impleaded by the Named
                                 Insured or their legal representatives in any such suit.

                           XV. TRADE AND ECONOMIC SANCTIONS
                              This Policy does not provide coverage for any Named Insured, transactions, or any loss that is uninsurable under the
                              laws or regulations of the United States concerning trade or economic sanctions.
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                           XVI. HEADINGS
                               The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and
                               conditions of coverage.

                          IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its Chairman and Secretary at Chicago,
                          Illinois, but the same shall not be binding upon the Insurer unless countersigned by a duly authorized representative of the
                          Insurer.

                           Chairman                                                    Secretary




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                                                                                                                       CNA PARAMOUNT
                                                                                               First Party Glossary of Defined Terms

                          This First Party Glossary of Defined Terms applies to the Business Property Coverage Part and the Business Crime
                          Coverage Part, as applicable, and their associated forms and endorsements. For purposes of this Policy, words in bold,
                          whether expressed in the singular or the plural, have the meaning shown below.


                           Act or Decision
                              Act or decision means any act or decision, whether intentional or negligent, including the failure to act or decide, of
                              any person, group, organization or governmental body which creates or allows a result which is unexpected,
                              inadequate, defective, faulty or otherwise unsuitable for the intended purpose.

                          Actual Cash Value
                              Actual cash value means the replacement cost with deduction for depreciation, deterioration and obsolescence
                              which amount is computed as of the time and at the place of loss or damage.

                          Alteration
                              Alteration means the material modification of an original document by a person acting without authority and with the
                              intent to deceive. Alteration does not include the electronic or manual insertion of any personal identification code,
                              including personal identification numbers or password or a counterfeit.

                           Banking Premises
                              Banking premises means the interior of that portion of any building occupied by a financial institution.

                           Bonus Payment

                              Bonus payment means the unamortized amount, other than rent or security, which the Named Insured paid to
                              acquire the Named Insured's lease and that will not be refunded to the Named Insured.

                           Building
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                              Building means a building or structure, including completed additions, additions under construction and alterations
                              and repairs to such building or structure that the Named Insured owns, occupies or is legally or contractually required
                              to insure.

                           Business Income
                              Business income means net income, including rental value, plus continuing operating expenses. Business
                              income does not include research and development business income.

                           Client
                              Client means a third party for whom the Named Insured performs specified professional services for a fee.

                           Computer Fraud
                              Computer fraud means theft of money, securities and other property following and directly related to the use of
                              any computer to fraudulently cause a transfer of that property to a person who is not an employee or to an account of
                              any financial institution not controlled by the Named Insured.




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Contaminants or Pollutants
   Contaminants or pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
   vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
   reclaimed.

Continuing Operating Expenses
   Continuing operating expenses means:

   A. the Named Insured’s normal operating expenses including any reasonable and necessary payroll; plus

   B. charges that are the unsatisfied legal obligation of the Named Insured’s tenants and for which the Named
      Insured is now obligated.

   Continuing operating expenses does not include extra expense, expediting expense or research and
   development project continuing expenses.

Counterfeit
   Counterfeit means a written imitation of an actual valid original document that is intended to deceive and to be
   taken as the original document.

Coverage Part

   Coverage part means the Business Property Coverage Part and Business Crime Coverage Part, as applicable.

Coverage Territory

   Coverage territory means the United States of America, its territories or possessions, Canada, or Puerto Rico.
   Coverage territory does not include any waterborne shipment to or from Alaska, Puerto Rico, Hawaii or territories or
   possessions of the United States of America.

Covered Equipment
   Covered equipment means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping and its
   accessory equipment, and any mechanical or electrical machine or apparatus used for the generation, transmission,
   or utilization of mechanical or electrical power.

Covered Instruments
   Covered instruments means written checks, drafts, promissory notes or similar written promises, orders or
   directions to pay a sum certain in money, and also includes written instruments required in conjunction with any
   credit, debit or charge card issued to the Named Insured or to any employee for business purposes, or issued to any
   proprietor, partner, member or officer of the Named Insured for personal use.

Covered Peril
   Covered peril means a fortuitous cause or event, not otherwise excluded, which occurs during this policy period.
   Covered peril does not include:
   1.   a fortuitous cause or event, whether or not excluded, which actually occurred prior to the policy period,
        regardless of the date on which it first becomes manifest or is first discovered; or
   2.   damage from unknown causes or events.


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                          Covered Property
                             Covered property means the property that is insured for loss or damage under the Business Property Coverage
                             Part or endorsements.

                          Denial of Service Attack
                             Denial of service attack means an attack executed over one or more networks or the internet, which attack is
                             designed and intended to disrupt the operation of one or more networks and render the networks inaccessible to
                             authorized users.

                          Dependent Property
                             Dependent property means a premises that is operated by others on whom the Named Insured depends to:
                             A. deliver materials or services to the Named Insured or to others for the Named Insured’s account;
                             B. accept the Named Insured’s products or services;
                             C. manufacture products for delivery to the Named Insured’s customers under contract of sale; or

                             D. attract customers to the Named Insured’s business.

                             The dependent property includes the area associated with that address in which the occupant of the above premises
                             is legally entitled to conduct business activities and includes the area extending 1,000 feet beyond that address.
                             Dependent property does not include:

                             1.   any premises operated by others on whom the Named Insured depends to deliver any:
                                  a.   power, communications or other utility services;
                                  b. internet access or internet services; or
                                  c.   data management, network management, software management or cloud computing and storage services; or

                             2.   any premises within any country in which the United States government has imposed sanctions, embargoes or
                                  similar prohibitions.
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                          Discover or Discovered
                             Discover or discovered means the earlier of the time when the Named Insured first:
                             A. becomes aware of facts which would cause a reasonable person to assume that a covered loss did or will
                                happen, regardless of when the act that may cause or contribute to such loss occurred, even though the exact
                                amount or details of loss may not be known; or
                             B. receives notice of an actual or potential claim in which it is alleged that the Named Insured is liable to a third
                                party under circumstances that, if true, would constitute a covered loss.

                          Earth Movement
                             Earth movement means earthquake or other seismic activity (including but not limited to underground magma
                             activity), the abrupt rising, sinking or shifting of earth (naturally occurring or man-made) or mine subsidence. However,
                             earth movement does not include landslide, avalanche, tsunami, sinkhole collapse or volcanic eruption.




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Electronic Data Processing Equipment

   Electronic data processing equipment means:

   A. a network of electronic components capable of accepting information and processing it according to a plan and
      which exists primarily to generate information in tangible form or on electronic media, including climate control
      and fire protective equipment used solely in connection with data processing operations;
   B. telephone equipment; and

   C. facsimile equipment.

   Electronic data processing equipment does not include any equipment which:

   1.   are stock; or
   2.   exist primarily to control or operate machinery or equipment to produce goods in process or finished stock.

Electronic Data Processing Equipment Leasehold Values
   Electronic data processing equipment leasehold values means the present value of the difference between the:
   A. actual periodic lease payments for electronic data processing equipment that has incurred direct physical loss
      or damage and for which the Named Insured remains liable during the unexpired term of the lease; and
   B. periodic payment for the replacement of electronic data processing equipment due under the new lease, for
      each remaining month of the term of the lease.

Electronic Infection
   Electronic infection means the transmission of a computer virus.

Electronic Vandalism
   Electronic vandalism means the willful or malicious alteration, manipulation or destruction of media, electronic data
   processing equipment, research and development project property and records of accounts receivable due to
   system penetration, electronic infection or a denial of service attack, including such acts committed by an
   employee (including leased and temporary employees).

Employee
   Employee means:
   A. any natural person:
        1.   while in the Named Insured’s service (and for 60 days after termination of service);
        2.   whom the Named Insured compensates directly by salary, wages, or commissions; and
        3.   whom the Named Insured has the right to direct and control while performing services for the Named
             Insured;
   B. any natural person who is furnished to the Named Insured:
        1.   to substitute for a permanent employee on leave; or
        2.   to meet seasonal or short-term workload conditions,
        while that person is subject to the Named Insured’s direction and control and performing services for the Named
        Insured, excluding, however, any such person while having care and custody of the Named Insured’s property
        outside the premises;


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                             C. any natural person leased to the Named Insured, under an agreement between the Named Insured and a labor
                                leasing firm, while that person is subject to the Named Insured’s direction and control and performing services
                                for the Named Insured;
                             D. any non-compensated natural person:
                                  1.   other than one who is a fund solicitor, while performing services for the Named Insured that are usual to the
                                       duties of an employee or officer; or
                                  2.   while acting as a fund solicitor during fund raising campaigns; or
                             E. solely with respect to an employee benefit plan, any natural person who is required to be bonded by the
                                Employee Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations
                                promulgated thereunder.
                             Other than with respect to an employee benefit plan, employee does not include any:
                             1.   agent, broker, factor, commission merchant, consignee, independent contractor or representative of the same
                                  general character; or
                             2.   manager, member, partner, proprietor, director or trustee, but solely to the extent he or she is acting in his or her
                                  capacity as such.

                          Employee Benefit Plan
                             Employee benefit plan means an employee welfare benefit plan or an employee pension benefit plan as more fully
                             set forth in Title 1, Section 3 of the Employee Retirement Income Security Act of 1974 (ERISA) and any amendments
                             thereto and which is solely sponsored by the Named Insured.

                          Employee Theft
                             Employee theft means theft committed by an employee to the deprivation of the Named Insured or an employee
                             benefit plan, whether identified or not, acting alone or in collusion with others. Solely with respect to an employee
                             benefit plan, employee theft means all acts of fraud or dishonesty required to be bonded against by the Employee
                             Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated
                             thereunder.
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                             Employee theft also includes forgery of such property by an employee.

                           Equipment Breakdown Peril
                             Equipment breakdown peril means:
                             A. Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices wiring
                                or equipment.
                             B. Explosion, rupture or bursting of steam boilers, steam pipes, steam engines, stream turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured,
                                except for the explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas
                                turbines, or within the flues or passages through which the products of combustion pass.
                             C. Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured;
                                except for explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines,
                                or within the flues or passages through which the gases of combustion pass.
                             D. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment, engines
                                other than steam engines or pressure vessels when owned, operated or controlled by the Named Insured.
                             E. Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property owned,
                                operated or controlled by the Named Insured.


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Executive Officer
   Executive officer means any natural person partner, member, officer, manager (of a limited liability company),
   director or trustee of the Named Insured.

Extra Expense
   Extra expense means actual reasonable and necessary operating expenses the Named Insured incurs during the
   period of restoration that would not have been necessary to incur if there had been no direct physical loss of or
   damage to property, provided such expenses are incurred:
   A. to avoid or minimize the suspension or delay of operations and to continue such operations which have been
      affected by the direct physical loss or damage to the property; or
   B. in an attempt to minimize the period of restoration.
   Extra expense does not include:
   1.   research and development project continuing expenses or continuing operating expenses;
   2.   costs incurred to purchase merchandise as a replacement for the Named Insured's finished stock;
   3.   costs to repair or replace any property, or research or restore media or records of accounts receivable; or
   4.   amounts incurred on financing or investment activity conducted for the Named Insured's account.

Financial Institution
   Financial institution means:
   A. a banking, savings or thrift institution, credit union or similar depository institution; or
   B. a stock brokerage firm, mutual fund, liquid assets fund or similar investment institution where the Named Insured
      maintains an account.
   However, financial institution does not include check cashers, currency exchangers or money remittance firms.

Fine Arts
   Fine arts means paintings, etchings, pictures, tapestries, art glass windows, valuable rugs, statuary, marbles,
   bronzes, antiques, porcelains, rare books, manuscripts, and similar property of rarity, historical value or artistic merit.

Finished Stock
   Finished stock means manufactured goods that are in a completed state and ready for packing, shipment,
   installation or sale. However, finished stock does not include manufactured goods that are held for sale at a
   location of any retail outlet.

First Named Insured
   First Named Insured means the person or entity first named in Item 1 of the Policy Declarations.

Fixtures
   Fixtures means:
   A. indoor or outdoor property fixed or attached to a building, including permanently installed machinery and
      equipment; or
   B. glass (including all lettering and ornamentation) forming part of the building.




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                          Flood
                             Flood means a general and temporary condition of partial or complete inundation of normally dry land areas from:
                             A. the overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or man-made
                                lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans or any other body of water or watercourse;
                             B. waves, tides or tidal waves including tsunami;
                             or their spray, all whether driven by wind or not, including storm surge.

                          Forgery
                             Forgery means the signing of the name of another person or organization with intent to deceive. Forgery does not
                             include:
                             A. a signature which consists in whole or in part of one's own name signed with or without authority, in any capacity
                                for any purpose;
                             B. the electronic or manual insertion of any personal identification code, including personal identification numbers or
                                passwords; or
                             C. counterfeit.

                          Funds Transfer Fraud
                             Funds transfer fraud means theft of money and securities following and directly related to the use of fraudulent
                             written or verbal instructions which are purported to have been made by the Named Insured, which causes an
                             electronic transfer of money or securities from a financial institution to:
                             A. an account at a financial institution not controlled by the Named Insured; or
                             B. a person other than an employee.

                          Fungi

                             Fungi means any form of fungus, including but not limited to, yeast, mold, mildew, rust, smut or mushroom, and
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                             including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released by,
                             or arising out of the current or past presence of fungi. Fungi does not include any fungi intended by the Named
                             Insured for consumption.

                          Goods In Process

                             Goods in process mean raw stock which has undergone any aging, seasoning, mechanical or other process of
                             manufacture but which has not become finished stock.

                          Green Insured Property

                             Green insured property means insured property created, built or constructed following the practice of creating
                             buildings or materials or using processes that incorporate one or more of the following practices and are certified as
                             such by a government organization or a nationally or internationally recognized building industry organization or
                             governmental agency, such as the U.S. Green Building Council (LEED certification), ECD Energy, Environment
                             Canada (Green Globes) or the U.S. Department of Energy:
                             A. Energy Efficiency, including steps implemented to obtain an ENERGY STAR label for a building at a location or
                                reported unspecified location, as well as use of ENERGY STAR or equivalently rated materials, lighting
                                systems, HVAC equipment, appliances or electronic products (if current like kind and quality replacement is not
                                ENERGY STAR rated).


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   B. Water Efficiency, including use of water efficient processes and wastewater technologies, as well as use of
      alternative water or indoor plumbing systems that reduce water usage from any plumbing fixture.
   C. Materials Efficiency, including use of sustainable and environmentally preferable construction materials, materials
      management and re-cycling programs.
   D. Environmental Quality, including reduction of the quantity of indoor air contaminants by use of low-emitting
      products or materials.
   Green insured property does not include stock, processing water, molds and dies, property in the open, personal
   property of others or personal property of executive officers or employees.

Gross Leasehold Interest

   Gross leasehold interest means the difference between the:

   A. the current monthly rental value at the market rate of the location or the reported unspecified location the
      Named Insured has leased on the date the direct physical loss or damage occurred; and

   B. the actual monthly rent the Named Insured currently pays, including taxes, insurance, janitorial or other services
      or fees that the Named Insured pays as part of the rent and other monthly assessments.

Installation Location

   Installation location means a premises that is not owned, leased or operated by the Named Insured at which
   installation property is or will be installed, constructed or serviced.

Installation Property

   Installation property means personal property that has or will become a permanent part of an installation,
   construction, or service project being performed for others by the Named Insured, or on the Named Insured's behalf.

Insured Property
   Insured property means real property and personal property.

Location

   Location means each of the locations specified in the Business Property Schedule of Locations or scheduled in
   any endorsement to this Policy and includes:
   A. the area associated with that address in which the Named Insured is legally entitled to conduct business
      activities; and
   B. the area extending 1,000 feet beyond that address.

Manager
   Manager means any natural person manager or member.

Manufactured Goods
   Manufactured goods means goods manufactured at a premises:
   A. the Named Insured owns or operates; or
   B. that the Named Insured does not own or operate, provided the Named Insured:
       1.   contracted for the goods to be manufactured exclusively for the Named Insured; and

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                                  2.   the Named Insured is the owner or licensee of the design, patent, trademark or copyright for the goods.

                          Market Value
                             Market value means the price that property might be expected to realize if offered for sale in a fair market.

                          Media
                             Media means recorded information in any format which is an existing original or which can be duplicated or replaced
                             by purchasing an existing duplicate that is for sale, and including any material upon which it is inscribed, printed,
                             written or recorded, owned by the Named Insured or owned by others in the Named Insured's care, custody or
                             control.

                             Media does not include money, securities, stock, fine arts, records of accounts receivable or research and
                             development project property.

                          Member
                             Member means any person serving on the Board of Managers or equivalent executive of a Named Insured that is a
                             limited liability company.

                          Merchandise
                             Merchandise means:
                             A. goods held for sale or installation by the Named Insured which are not manufactured goods; or
                             B. manufactured goods which are completed and ready for packing, shipment, installation or sale at a location of
                                any retail outlet.

                          Messenger
                             Messenger means any of the Named Insured’s natural person members, proprietors, partners, executive officers
                             or employees who are duly authorized by the Named Insured to have care and custody of the property outside the
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                             premises.

                          Microbes
                             Microbes means any:
                             A. non-fungal microorganism;
                             B. non-fungal, colony-form organism;
                             C. virus; or
                             D. bacteria.
                             Microbe includes any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by,
                             released by, or arising out of the current or past presence of microbes.

                          Mobile Computing Device
                             Mobile computing device means cellular phones, laptop computers and other personal hand-held electronic devices,
                             including accessories for such portable computing devices used in the Named Insured's business that are owned by
                             the Named Insured, executive officers or employees (including leased or temporary employees).

                             Mobile computing device does not include any of these devices while rented or leased to others or stock.

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Money
   Money means:
   A. currency, coins and bank notes in current use and having a face value; and

   B. travelers checks, register checks and money orders held for sale to the public.

Monthly Leasehold Interest

   Monthly leasehold interest means the original costs the Named Insured paid for bonus payments and prepaid
   rent, divided by the number of months left in the Named Insured's lease at the time of the expenditure.

Mudslide or Mudflow
   Mudslide or mudflow means a river of liquid and flowing mud on the surface of normally dry land areas as when
   earth is carried by a current of water and deposited along the path of the current.

Named Insured

   Named Insured means the persons or entities named as such on the Business Crime Coverage Part, Business
   Property Coverage Part or Policy Declarations.

   For insured property that is the subject of a Contract of Sale, Named Insured includes the Contract of Sale Loss
   Payee.

Named Storm
   Named storm means a tropical storm system that is declared to be named by the National Hurricane Center, World
   Meteorological Organization or any similar organization, agency or body responsible for naming such weather
   systems, including tropical storm spawned tornados or microbursts.
   The named tropical storm begins when such organization, agency or body officially declares the storm system as a
   named tropical storm and ends when that organization, agency or body officially declares the named tropical storm:
   A. permanently downgraded to a tropical depression;
   B. reclassified as a Post Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less; or
   C. reclassified as an Extra Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less.

Net Income
   Net Income means net profit or loss that would likely have been earned or incurred before taxes. Net income does
   not include any profit that would likely have been earned as a result of an increase in the business transactions due to
   favorable business conditions caused by the impact of the covered peril in the vicinity of such covered peril.

Net Leasehold Interest
   Net leasehold interest means the net present value of the gross leasehold interest for each remaining month of the
   term of the lease, discounted at the Prime Rate on the date the direct physical loss or damage occurs, rounded to the
   nearest dollar.




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                          Newly Acquired Location
                             Newly acquired location means a fixed premises the Named Insured owns, leases, rents or controls. The premises
                             becomes a newly acquired location on the later of:
                             A. the date the Named Insured obtains possession or control of the premises; or
                             B. the date the real property, personal property, fine arts, records of accounts receivable or media for which
                                the Named Insured has an insurable interest is placed at the premises.
                             Newly acquired location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a reported unspecified location;
                             4.   an installation location; or
                             5.   a fair, trade show or exhibition.

                          Occurrence

                             Occurrence means one event or a series of related events that contribute concurrently to or contribute in any
                             sequence to physical loss of or damage to property. However, with respect to:
                             A. the equipment breakdown peril, occurrence means all equipment breakdowns that manifest themselves at the
                                same time and are the result of the same cause, regardless of the number of locations or reported unspecified
                                locations or other premises involved.
                             B. a named storm, occurrence means each named storm. If a named storm is downgraded to a tropical
                                depression, such tropical depression shall be considered a separate occurrence.
                             C. theft, occurrence means all loss sustained by the Named Insured caused by:
                                  1. any single act or series of related acts;
                                  2.   any act or acts involving one person, or a group of persons acting together; or
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                                  3.   an act or event, or a series of related acts or events, not involving any identifiable person.
                             D. volcanic eruption, occurrence means all volcanic eruptions, explosions or effusions that occur within any 168
                                hour period.
                             E. Employee Theft Coverage or Employee Theft of Client Property Coverage, occurrence means:
                                  1.   any single act;
                                  2.   the combined total of all separate acts whether or not related; or
                                  3.   a series of acts whether or not related,
                                  committed by an employee, acting alone or in collusion with other persons, or any group of employees acting
                                  together, even if in collusion with other persons, during the policy period, before the policy period or both,
                                  subject to the Loss Sustained During Prior Policy Condition under the BUSINESS CRIME COVERAGE
                                  CONDITIONS in the First Party Terms and Conditions.
                             F. Forgery or Alteration Coverage, occurrence means:

                                  1.   any single act;

                                  2.   the combined total of all separate acts whether or not related; or

                                  3.   a series of acts whether or not related,


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       committed by any one person acting alone or in collusion with others, or in which any such person is implicated,
       involving one or more instruments, during this policy period, before this policy period or both, subject to the
       Loss Sustained During Prior Policy condition under the BUSINESS CRIME COVERAGE CONDITIONS in the
       First Party Terms and Conditions.
   G. Money and Securities Coverage or any other coverage provided under the Business Crime Coverage Part,
      occurrence means:
       1.   any single act, or series of related acts;
       2.   the combined total of all separate acts whether or not related; or
       3.   a series of acts whether or not related,
       committed by any one person acting alone or in collusion with others, or not committed by any identifiable person,
       during the policy period, before the policy period or both, subject to the Loss Sustained During Prior Policy
       Condition under the BUSINESS CRIME COVERAGE CONDITIONS in the First Party Terms and Conditions.
   H. Utility Supply Failure Coverage, occurrence means one event or a series of related events that contribute
      concurrently to or contribute in any sequence to physical loss of or damage to property, regardless of the number
      of locations or reported unspecified locations or the number of utility service providers or utility service
      properties involved in the same event.

Operations
   Operations means the Named Insured’s business activities occurring at the covered premises prior to the time and
   date of the loss or damage, including the Named Insured’s activities as a lessor.
   Operations does not include business activities as part of research and development projects.

Original Document
   Original document means:
   A. the first rendering or archetype and does not include photocopies or electronic transmissions even if received and
      printed; or
   B. for the purposes of Forgery or Alteration Coverage only, a “substitute check”, as defined in the Check Clearing for
      21st Century Act.

Other Property
   Other property means any tangible property other than money and securities that has intrinsic value.
   Other property does not include any property listed in the Business Crime Coverage Part as specifically not
   covered.

Outdoor Trees, Shrubs, Plants or Lawns
   Outdoor trees, shrubs, plants or lawns mean trees, shrubs, plants or lawns the Named Insured owns that are
   located outside.
   Outdoor trees, shrubs, plants or lawns does not include growing crops, standing timber, stock or trees, shrubs,
   plants, grass or lawns that are part of a vegetated roof.

Period of Restoration
   A. Period of restoration means the period of time that begins with:
       1.   the time and date that the physical loss or damage that causes suspension of operations occurs; or


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                                 2.   the date operations would have begun if such loss or damage delays the start of operations and such loss
                                      or damage is to any of the following:
                                      a.   buildings whether complete or under construction;
                                      b. alterations or additions to existing buildings;
                                      c.   machinery, equipment, supplies or materials that are:
                                           (1) used in such construction, alterations or additions;
                                           (2) incidental to the occupancy of the area intended for construction, alteration or addition; or
                                           (3) incidental to the alteration of the occupancy of an existing building.
                             B. If the Named Insured resumes operations, with reasonable speed, the period of restoration ends on the earlier
                                of:
                                 1.   the date when the premises where the loss or damage occurred could have been physically capable of
                                      resuming the level of operations which existed prior to the loss or damage; or
                                 2.   the date when a new permanent premises is physically capable of resuming the level of operations which
                                      existed prior to the loss or damage, if business is resumed at a new permanent premises.
                             C. If the Named Insured does not resume operations, or does not resume operations with reasonable speed,
                                whether at a location, reported unspecified location or elsewhere, the period of restoration will end on the
                                date when the premises where the loss or damage occurred could have been restored to the physical size,
                                construction, configuration and material specifications which existed at the time of loss or damage, with no
                                consideration for any increased period of time:
                                 1.   which would have been required to make changes in order to repair or reconstruct the property or tear down
                                      undamaged parts of the property, to meet the minimum requirements of an ordinance or law; or
                                 2.   which would have been necessary to make the premises physically capable of resuming the level of
                                      operation which existed prior to the loss or damage after the completion of repairs or replacement.
                             D. With respect to Dependent Property Time Element Coverage under the OFF-SITE COVERAGE section in the
                                Business Property Coverage Part, period of restoration means the period of time that:
                                 1.   begins on the date the physical loss of or damage to property at a dependent property occurs; and
                                 2.   ends on the date when the property at that dependent property should be repaired or replaced with
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                                      reasonable speed and similar quality.
                             E. With respect to research and development business income, the period of restoration means the period of
                                time that begins with the time and date of the physical loss of or damage to research and development project
                                property that causes suspension of the Named Insured's research and development project and ends on the
                                earlier of:
                                 1.   the date such research and development project property could be recreated or restored with reasonable
                                      speed and similar quality to the condition that existed at the time of loss or damage; or
                                 2.   365 days immediately following the date the physical loss of or damage to such research and development
                                      project property occurred.
                             F. No period of restoration will be cut short by the expiration of the Policy.

                          Personal Property
                             Personal property means:
                             A. all property, other than real property, owned by the Named Insured and used in the Named Insured's
                                business, including furniture, fixtures, machinery, electronic data processing equipment and stock;
                             B. glass in buildings which, as a tenant, the Named Insured has a contractual responsibility to insure;
                             C. the Named Insured’s outdoor signs, antennas and towers and fences;
                             D. personal property of others;

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   E. personal property of executive officers or employees;
   F. property, other than real property, the Named Insured leases for use in its business and for which the Named
      Insured has a contractual responsibility to insure, unless otherwise provided for under personal property of
      others;
   G. the value of labor, materials or services furnished or arranged by the Named Insured on personal property of
      others;
   H. the Named Insured’s interest in tenant’s improvements and betterments;
   I.   power or communication generation or transmission equipment, including transmission and distribution lines of
        any type, owned, operated, controlled by or leased by the Named Insured; or
   J. vehicles or self-propelled machines (including autos, aircraft or watercraft) that:
        1.   the Named Insured manufactures, processes or warehouses or holds for sale that are licensed for use on
             public roads while at a location or reported unspecified location;
        2.   the Named Insured manufactures, processes or warehouses or holds for sale that are not licensed for use
             on public roads while at a location or reported unspecified location;
        3.   are unpowered watercraft owned by the Named Insured while out of the water at a location or reported
             unspecified location; or
        4.   are trailers owned by the Named Insured that are not licensed for use on public roads while at a location or
             reported unspecified location.
   Personal property does not include property not covered.

Personal Property of Executive Officers or Employees
   Personal property of executive officers or employees means personal property that is owned by executive
   officers or the Named Insured's employees (including leased or temporary employees) and that is usual to the
   occupancy of the building.

Personal Property of Others
   Personal property of others means personal property that is not owned by the Named Insured but is in the Named
   Insured’s care, custody or control.
   Personal property of others does not include personal property of executive officers or employees.

Policy Period

   Policy period means the period of time shown on the Policy Declarations, beginning on the effective date and time
   and ending on the expiration date and time, or the Policy's earlier cancellation date.

Policy Premium

   Policy premium means the original premium and the fully annualized amount of any additional premiums, charged by
   the Insurer for coverage provided during the policy period.

Prearranged Transfer
   Prearranged transfer means an electronic transfer of money or securities which is part of a regular or scheduled
   series of electronic transfers, authorized by written agreement, to a designated financial institution specifying:
   A. the amount of money or securities to be transferred; and
   B. account number to be credited.



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                          Premises
                             Premises means:
                             A. the interior of that portion of any building the Named Insured occupies in conducting the Named Insured’s
                                business;
                             B. with respect only to damage to other property, the exterior of that portion of any building the Named Insured
                                occupies in conducting the Named Insured’s business; or
                             C. with respect only to the Employee Theft of Client Property While on Client Premises Coverage under the
                                Business Crime Coverage Part, the interior of that portion of any building a client occupies in conducting the
                                client's business or the interior of a client’s owned, leased or rented residence.

                          Prepaid Rent

                             Prepaid rent means that unamortized portion of any amount of advance rent the Named Insured paid based on the
                             percentage of the unexpired portion of the lease that remains at the time of physical loss or damage.
                             Prepaid rent does not include the customary rent for a rental period or any amount refunded to the Named Insured.

                          Property Not Covered
                             Property not covered means:
                             A. animals unless:
                                  1.   owned by others and boarded by the Named Insured, or
                                  2.   owned by the Named Insured as stock, other than research animals, while inside of a building at a
                                       location or reported unspecified location;
                             B. bulkheads, pilings, piers, wharves or docks;
                             C. contraband, or property in the course of illegal transportation or trade;
                             D. fine arts, money, securities, records of accounts receivable, media or research and development project
                                property;
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                             E. vehicles or self-propelled machines (including autos, aircraft or watercraft) that are:
                                  1.   licensed for use on public roads; or
                                  2.   operated principally away from the location or reported unspecified location,
                                  except to the extent included in Paragraph J. of the personal property definition;
                             F. land, naturally occurring water, air, growing crops and standing timber;
                             G. outdoor trees, shrubs, plants or lawns;
                             H. dams, dikes or retaining walls;
                             I.   underground mines, mine shafts, caverns, open pits or quarries; or
                             J.   any property which the Named Insured has covered under any other Policy in which such property is more
                                  specifically described, except for the excess of the amount due under such other coverage, whether collectible or
                                  not.

                          Qualifying Period
                             Qualifying period means the continuous period of time which must pass before the applicable coverage begins.




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Raw Stock
   Raw stock means material in the state in which the Named Insured acquired it for conversion into finished stock.

Real Property
   Real property means:
   A. buildings and temporary or appurtenant structures of such buildings;
   B. fixtures;
   C. personal property that is used to maintain or service the buildings, locations or reported unspecified
      locations;
   D. the Named Insured’s indoor and outdoor signs;
   E. materials, equipment, supplies and temporary buildings used for making additions, alterations or repairs to any
      such building;
   F. paved or concrete surfaces owned by the Named Insured;
   G. building foundations; or
   F. underground pipes, flues and drains owned by the Named Insured.
   Real property does not include property not covered.

Records of Accounts Receivable
   Records of accounts receivable means accounting records used by the Named Insured to document the billing and
   collection of money due from the Named Insured's customers, regardless of what medium those records are
   inscribed, printed, written or recorded upon.
   Records of accounts receivable includes:
   A. money due the Named Insured from its customers that the Named Insured is unable to collect after exerting all
      reasonable effort to do so;
   B. interest charges on any loan required to offset amounts the Named Insured is unable to collect pending the
      Insurer’s payment of these amounts; and
   C. collection expenses in excess of the Named Insured’s normal collection expenses that are made necessary by
      such loss or damage,
   resulting from the direct physical loss of or damage to records of accounts receivable.

Rental Value
   Rental value means that portion of net income that would have been earned or incurred as rental income from tenant
   occupancy of a location or reported unspecified location as furnished and equipped by the Named Insured,
   including fair rental value of any portion of the location or reported unspecified location which is occupied by the
   Named Insured.

Replacement Cost
   Replacement cost means the cost to repair or replace covered property at the time of direct physical loss or
   damage with property of comparable material and quality on the same or another site, and used for the same purpose,
   without deduction for depreciation, deterioration, and obsolescence which amount is computed as of the time and at
   the place of such loss or damage. If property of the same kind and quality is no longer available, the Insurer will pay to
   replace it with other property of similar quality and function, including property of greater processing capacity.




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                             Replacement cost valuation for insured property includes the cost the Named Insured paid for non-refundable or
                             non-transferable extended warranties, maintenance contracts or service contracts which are still in force at the time of
                             loss or damage and are no longer valid as a result of loss of or damage to such insured property.

                          Reported Unspecified Location
                             Reported unspecified location means fixed premises that has been identified on a schedule submitted by the
                             Named Insured and on file with the Insurer, including:
                             A. the address of the premises and includes that area extending 1000 feet beyond that address;
                             B. an identification of the insured property, business income or extra expense; and
                             C. the value of such identified insured property, business income or extra expense.
                             If the Named Insured is a tenant, for purposes of time element coverage, reported unspecified locations includes
                             that portion of the premises not rented, or intended to be rented, to others.
                             Reported unspecified location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a fair, trade show or exhibition;
                             4.   an installation location; or
                             5.   a dependent property with respect to loss or damage covered by any time element coverage.

                          Research Animals
                             Research animals means laboratory animals used in the Named Insured's research and development project or
                             bred for sale to other medical technology or life science entities.

                          Research and Development Business Income
                             Research and development business income means:
                             A. net income that would have been earned or incurred had no loss or damage resulting in an interruption in the
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                                Named Insured’s research and development project occurred, including net income resulting from:
                                  1.   lost or delayed pre-sale orders from new or current customers for a new product or an improved current
                                       product, whose entry into the marketplace is delayed because these products were the subject of lost or
                                       damaged research and development project property; or
                                  2.   grants, endowments and any other contract revenues, licensing fees, consulting fees, funding grants and
                                       progress payments, including milestone contracts; plus
                             B. research and development project continuing expenses.

                             However, research and development business income does not include any amount that is otherwise payable
                             under this Business Property Coverage Part or that does not necessarily continue during the interruption in the
                             research and development project.

                          Research and Development Project Continuing Expenses

                             Research and development project continuing expenses means the Named Insured's normal continuing
                             operating expenses that are directly attributable to research and development projects, including any reasonable and
                             necessary payroll expenses, rental payments as a tenant and factory overhead.




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Research and Development Project Property
   Research and development project property means the Named Insured's:
   A. written, printed, electronic or inscribed documents, plans, records, formulas or other information, including any
      material upon which it is inscribed, printed, written or recorded;
   B. original or experimental property;
   C. existing prototypes used as the model for the final version of a new product or design; or
   D. undamaged property that needs to be recreated, restored or replaced due to covered loss of or damage to
      property in Paragraphs A., B. or C.,
   developed or used in conjunction with any ongoing and active research and development project.
   Research and development project property does not include research animals, media, plants or crops or fine
   arts.

Robbery

   Robbery means the unlawful taking of specified property from the care and custody of any person by one who has:
   A. caused or threatened to cause that person bodily harm; or
   B. committed an unlawful act witnessed by that person.

Safe Burglary

   Safe burglary means the unlawful taking of:
   A. property from within a locked safe or vault by a person unlawfully entering the safe or vault as evidenced by
      marks of forcible entry upon its exterior; or
   B. a safe or vault from inside the premises.

Securities

   Securities means negotiable and non-negotiable instruments or contracts representing either money or representing
   other tangible property that has intrinsic value, including:
   A. tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value in a meter) in
      current use; or
   B. evidences of debt issued in connection with credit, debit or charge cards, which cards are not issued by the
      Named Insured.
   Securities does not include money.

Sinkhole Collapse
   Sinkhole collapse means the sudden sinking or collapse of land into underground empty spaces created by the
   action of water on limestone or dolomite provided such cavities were not man made or did not result from flood.

Specified Peril
   Specified peril means:
   A. aircraft or vehicles;
   B. explosion, fire or leakage from fire extinguishing equipment;
   C. lightning, smoke, volcanic eruption, water damage, weight of snow, ice or sleet;

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                             D. windstorm or hail;
                             E. riot, civil commotion or vandalism or theft;
                             F. falling objects, excluding loss or damage to:
                                  1.   personal property in the open; or
                                  2.   the interior of a building, or property inside a building, unless the roof or an outside wall of the building is
                                       first damaged by a falling object;
                             G. sinkhole collapse;
                             H. solely with respect to personal property in the course of transit, specified peril also includes:
                                  1.   vehicle collision upset or overturn; or
                                  2.   sinking or stranding of a vessel, or collapse of a bridge, culvert, dock or wharf; or
                             I.   equipment breakdown peril, excluding loss of or damage to insured property caused by the discharge,
                                  dispersal, release or escape of refrigerants, including ammonia.

                          Stock

                             Stock means raw stock, goods in process, finished stock or merchandise, including packing or shipping materials
                             and including software incorporated into such finished stock or merchandise.

                          Sublease Profit

                             Sublease profit means the net profit the Named Insured earns through subleasing the building or portion of the
                             building that the Named Insured rents for the unexpired term of the cancelled lease or sublease, whichever would
                             expire first. This amount is discounted based on the Prime Rate on the date the direct physical loss or damage
                             occurs, rounded to the nearest whole number.

                          Suspended Equipment

                             Suspended equipment means covered equipment, provided the Insurer has complied with the requirements
                             described in the SUSPENDED EQUIPMENT Condition in the First Party Terms and Conditions.
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                          Suspension

                             Suspension means:
                             A. the slowdown or cessation of the Named Insured's business activities; or
                             B. that a part or all of the covered premises is rendered untenantable.

                          System Penetration
                             System penetration means the intentional and malicious use of a computer to obtain unauthorized access to
                             information and resources stored on electronic data processing equipment.

                          Tenant’s Improvements and Betterments
                             Tenant’s improvements and betterments means fixtures, glass, signs, alterations, installations or additions:
                             A. made a part of a building the Named Insured occupies as a tenant but does not own;
                             B. made or acquired at the Named Insured's expense exclusive of rent paid by the Named Insured or for which the
                                Named Insured is legally required by written contract to insure; and

                             C. that the Named Insured cannot legally remove.

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Tenant’s Lease Interest

   Tenant’s lease interest means the difference between:

   A. the actual rent due for the unexpired portion of the cancelled lease at the time of covered loss or damage; and

   B. the rent due under the new lease for the same time period.

Theft

   Theft means the unlawful taking of property.

Time Element Coverage

   Time element coverage means business income, research and development business income or extra expense
   to the extent these apply under this Business Property Coverage Part.

Transfer Agreement
   Transfer agreement means a written agreement with any financial institution authorized to transfer money and
   securities at the Named Insured’s request.

Unspecified Location
   Unspecified location means:
   A. a premises not listed in the Business Property Schedule of Locations; or
   B. a fair, trade show or exhibition.
   An unspecified location does not include:
   1.   a location;
   2.   a newly acquired location;
   3.   a reported unspecified location;
   4.   an installation location; or
   5.   a dependent property with respect to loss or damage covered by any time element coverage.

Volcanic Eruption
   Volcanic eruption means the eruption, explosion or effusion of a volcano that gives rise to physical loss or damage
   when such loss or damage is caused by:
   A. airborne volcanic blast or airborne shock waves;
   B. ash, dust or particulate matter; or
   C. lava flow.

Water Damage

   Water damage means:

   A. the discharge or leakage of domestic or process water or steam from:

        1.   water pipes and any other apparatus meant to carry or distribute water including, but not limited to, hoses and
             tubes and fire protection sprinkler system piping;

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                                 2.   appliances; or
                                 3.   mechanical systems; or
                             B. the overflow, discharge or leakage of water from bathroom, kitchen and laundry fixtures and faucets,
                             within a building.

                          Written
                             Written means expressed through letters or marks placed upon paper and visible to the naked eye.
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      These First Party Terms and Conditions apply to the Business Property Coverage Part, the Business Crime
      Coverage Part, as applicable, and their associated forms and endorsements.

I.         ABANDONMENT

      There can be no abandonment of any covered property to the Insurer unless the Insurer specifically agrees to such
      abandonment in writing.

II.        APPRAISAL

      If the Named Insured and the Insurer fail to agree on the amount of loss for physical damage or business income or
      extra expense, either may make a written demand for appraisal in which case within 30 days of that written demand
      each shall select an appraiser and shall notify the other of its chosen appraiser. This APPRAISAL Condition is not
      available to the Named Insured or the Insurer if there is a dispute as to whether the loss or damage was caused in
      whole or in part by a covered peril. This APPRAISAL Condition is not available if there is a dispute as to whether or
      not the loss is covered in whole or in part under this coverage part.

      An individual may be chosen as an appraiser for a claim only if such individual is a competent, independent and
      disinterested person and who has no direct or indirect financial interest in the loss or the adjustment of the claim. That
      appraiser cannot be:
      A. the Named Insured or any of the Named Insured’s employees or agents (including any public adjuster or public
         adjusting company hired by the Named Insured);
      B. employed by the Insurer; or

      C. an independent adjuster hired by the Insurer for such claim.

      The appraisers will first select a competent, independent and disinterested umpire. If the appraisers fail to agree upon
      an umpire within 30 days then, only on the joint request of the Named Insured and the Insurer to a court of competent
      jurisdiction where the loss occurred, the Named Insured and the Insurer may request that the court select or appoint
      a competent, independent and disinterested umpire.

      If the Named Insured and the Insurer fail to agree to submit a joint request to a court of competent authority, either
      may file the necessary documents in a court of competent jurisdiction where the loss occurred to compel the other to
      comply with the terms of this APPRAISAL provision.

      The appraisers will then appraise, within a reasonable amount of time, the amount of loss, stating separately, as
      applicable:
      1.   the actual cash value or replacement cost as of the date of loss and the amount of loss, for each item of
           physical loss or damage; and
      2.   the amount of loss for each time element coverage.

      If the appraisers fail to agree, they will submit their differences to the umpire. An award agreed to in writing by any two
      will determine the amount of loss and that award will be binding on both parties but such appraisal award will not
      determine whether the loss is covered. Any appraisal award addressing whether or not a loss is or is not covered is
      void and is not binding on either party to the appraisal.

      The Named Insured and the Insurer will each:
      a.   pay its chosen appraiser; and
      b. bear equally the other expenses of the appraisal and umpire.

      A demand for appraisal shall not relieve the Named Insured of its continuing obligation to comply with all of the terms
      and conditions of this Policy.


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                                 The Insurer will not be held to have waived any of its rights by any act relating to an appraisal. If there is an appraisal,
                                 the Insurer will still retain its right to deny the claim or challenge whether the damages from any loss are covered or
                                 otherwise excluded.

                                 The Named Insured may only make a written demand for appraisal if the Named Insured has fully complied with all
                                 provisions of this Policy.

                          III.       COMPLIANCE

                                 No one may make a claim under the Business Property Coverage Part unless:
                                 A. there has been full compliance with all of the provisions of the Business Property Coverage Part; and

                                 B. the claim for coverage is brought within 2 years and 1 day after the date on which the direct physical loss or
                                    damage occurred.

                          IV.        CONCEALMENT, MISREPRESENTATION AND FRAUD

                                 This entire Policy shall be void if, whether before or after a loss, the Named Insured or designated representative:
                                 A. has concealed or misrepresented any material fact or circumstance concerning:

                                     1.   this insurance or the subject thereof;
                                     2.   the interest of the Named Insured therein; or
                                     3.   any claim; or
                                 B. has falsely sworn to any such material fact or circumstance.

                          V.         CONTROL OF PROPERTY

                                 Any act or neglect by any person, other than a Named Insured designated representative, of any provision of these
                                 conditions or the Business Property Coverage Part, will not affect coverage. Breach of any condition of coverage at
                                 one or more locations or reported unspecified locations will not affect coverage at any other building where, at the
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                                 time of loss or damage, the breach of condition did not exist.

                          VI.        DUTIES AFTER LOSS OR DAMAGE

                                 In the event of loss or damage, the Named Insured shall do the following:
                                 A. Take all necessary steps to protect the property from further loss or damage.

                                 B. Set aside the damaged insured property for examination by the Insurer as often as may be required and keep a
                                    record of its expenses necessary to protect insured property.
                                 C. As soon as practical, give written notice to the Insurer, or its designated representative, of the event giving rise to
                                    the loss or damage, including the date and time of such event, what occurred and the names and addresses of
                                    witnesses.
                                 D. Within 60 days after being requested by the Insurer, render to the Insurer a detailed, sworn proof of loss on a form
                                    provided by the Insurer;
                                 E. As often as may be reasonably required, exhibit to any person designated by the Insurer all that remains of any
                                    damaged or undamaged property and permit the Insurer to take samples of such property for inspection and
                                    analysis.
                                 F. Submit individually to examinations under oath at the Insurer’s request and, if requested and identified by the
                                    Insurer, make its designated representatives, including, but not limited to, public adjusters, claims consultants,

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        forensic accountants or other third parties providing claims related services, submit to examinations under oath,
        and give the Insurer a signed statement of each individual’s answers.
   G. As may be reasonably required, produce for examination at the request of the Insurer all books of account,
      business records, bills, invoices and other vouchers, or certified copies thereof if originals have been lost, at such
      reasonable time and place as may be designated by the Insurer or its authorized representative, and permit
      extracts and copies thereof to be made.
   H. Cooperate with the Insurer in the investigation of any claim.

   I.   Notify law enforcement authorities, if the Named Insured has reason to believe that any loss or damage involves
        a violation of law.

VII.    LOSS PAYMENT

   A. Unless otherwise specified in this Policy, in the event of covered loss or damage to covered property, at the
      Insurer's option, the Insurer will either:
        1.   pay the amount of loss or damage;
        2.   pay the cost of repairing or replacing such covered property;
        3.   take all or any part of the covered property at an agreed or appraised value; or
        4.   repair or replace the covered property with other property of like kind and quality.
   B. If the Insurer elects to exercise option A.3. above with respect to any branded or labeled merchandise or
      finished stock, the Named Insured may:

        1.   Stamp salvage on their merchandise or finished stock, or its containers, if the stamp will not physically
             damage the merchandise or finished stock; or
        2.   Remove the brands or labels, if doing so will not physically damage the merchandise or finished stock.
             The Named Insured must re-label the merchandise or finished stock or its containers, to comply with the
             law.
   C. The Insurer will determine the value of such covered property, or the cost of its repair or replacement, in
      accordance with the VALUATION Condition.
   D. The Insurer will not pay more than the Named Insured’s financial interest in the covered property.

   E. The Insurer, at the Insurer's expense, may elect to defend the Named Insured against suits arising from claims of
      owners of covered property.
   F. If the Named Insured has complied with all of the terms and conditions of this Policy, the Insurer will pay
      amounts due hereunder within 60 days after it receives an acceptable sworn proof of loss provided that the
      Insurer and Named Insured have reached agreement on the amount of loss or damage or an appraisal award
      has been made. Such payments will be made to the First Named Insured, subject to the LOSS PAYEES AND
      MORTGAGEES Condition below. However, the payment for loss or damage to personal property of others may
      be to the account of the owner of the property.

        Covered Debris Removal Costs and Expenses and Debris Removal – Additional Costs and Expenses in the
        Fees, Costs and Expenses Coverages provision under the LOCATION COVERAGES section of the Business
        Property Coverage Part will be paid by the Insurer provided all such costs are reported to the Insurer in writing
        within 180 days of the occurrence.




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                          VIII.   LOSS PAYEES AND MORTGAGEES

                              A. Loss Payees

                                  If there is loss of or damage to insured property, in which the Named Insured and any Loss Payee, whether or
                                  not named in the Schedule of Loss Payees or Mortgagees, have an insurable interest:
                                  1.   the Insurer will adjust losses with the Named Insured, and
                                  2.   make payments jointly to the Named Insured and such Loss Payee, in their order of precedence, in
                                       accordance with the Loss Payee's financial interest in the applicable property.

                                  If the Insurer pays such Loss Payee, such payments will satisfy the Named Insured’s claims against the Insurer
                                  for that Loss Payee's property. The Insurer will not pay such owners more than their financial interest in the
                                  insured property.

                              B. Lender Loss Payees and Mortgagees

                                  1.   As used in this Section:
                                       a.   a Lender Loss Payee is any creditor who is shown on the Schedule of Loss Payees or Mortgagees as
                                            a Lender Loss Payee and whose interest in insured property is established by a written instrument
                                            including warehouse receipts, bills of lading, financing statements or security agreements;
                                       b. a Mortgagee is any mortgagee or trustee who is shown on the Schedule of Loss Payees or
                                          Mortgagees as a Mortgagee with respect to the real property for which the mortgagee or trustee is
                                          named.
                                  2.   The Insurer will pay for covered loss or damage to each specified Lender Loss Payee or Mortgagee, in order
                                       of precedence, in accordance with the Lender Loss Payee's or Mortgagee's financial interest in the applicable
                                       property.
                                  3.   Each Lender Loss Payee and Mortgagee has the right to receive loss payment, even though:
                                       a.   the Insurer denied the Named Insured’s claim because the Named Insured failed to comply with the
                                            terms of this Policy; or
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                                       b. such Lender Loss Payee or Mortgagee has started foreclosure or similar action on the insured property,

                                       provided such loss payee:
                                       i.   pays any premium due under this Business Property Coverage Part at the Insurer’s request if the
                                            Named Insured has failed to do so;

                                       ii. submits a signed, sworn proof of loss in accordance with the requirements of this Policy; and

                                       iii. has notified us of any change in ownership, or substantial change in risk known to such Lender Loss
                                            Payee or Mortgagee.

                                       If these requirements are met, all of the terms of this Business Property Coverage Part will then apply
                                       directly to such Lender Loss Payee or Mortgagee.
                                  4.   With respect to any Lender Loss Payees or Mortgagees:
                                       a.   The Insurer may cancel this Policy, including the interest of any Lender Loss Payee or Mortgagee, by
                                            giving such Lender Loss Payee or Mortgagee, or its agent, written notice:
                                            i.   10 days prior to the effective date of cancellation, if cancellation is for nonpayment of premium; or
                                            ii. 60 days prior to effective date of cancellation, if cancellation is for any other reason.



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               b. If a loss hereunder is made payable, in whole or in part, to a designated Lender Loss Payee or
                  Mortgagee not named in this Policy, that interest may be cancelled by giving to such loss payee 10 days
                  written notice of cancellation.
               c.   If the Insurer pays the Lender Loss Payee or Mortgagee for loss under this Business Property
                    Coverage Part, and denies payment to the Named Insured, the Insurer will, to the extent of the payment
                    made to such Lender Loss Payee or Mortgagee, be subrogated to all the rights of the Lender Loss Payee
                    or Mortgagee. However, any subrogation by the Insurer will not impair the right of such Lender Loss
                    Payee or Mortgagee to recover the full amount of its claim. At the Insurer’s option, the Insurer may pay
                    the whole principal of the Named Insured’s debt plus accrued interests. In this event, the Named
                    Insured will pay its remaining debt to the Insurer.

               d. If the Named Insured fails to provide proof of loss, the Lender Loss Payee or Mortgagee, upon notice,
                  will render proof of loss within 60 days of notice and will be subject to the provisions contained in this
                  First Party Terms and Conditions and Common Terms and Conditions relating to APPRAISAL,
                  LOSS PAYMENT and NO SUIT AGAINST INSURER.

      C. Mortgagee Loss Payee

          With respect to any Mortgagee as defined above, the interest of the Mortgagee in real property will not be
          invalidated by:
          1.   any act or neglect of the mortgagor or owner of the real property;
          2.   foreclosures, notice of sale, or similar proceeding with respect to the real property;
          3.   change in the title or ownership of the real property; or
          4.   change to an occupancy more hazardous than was represented by the Named Insured.

      D. Contract of Sale Loss Payee

          A Contract of Sale Loss Payee is a person or entity who is shown on the Schedule of Loss Payees or
          Mortgagees and with whom the Named Insured has entered a contract for the sale of insured property;
          provided that for such insured property in which both the Named Insured and such Contract of Sale Loss Payee
          have an insurable interest, the Insurer will:
          1.   adjust losses with the Named Insured; and
          2.   pay any claim for loss or damage jointly to the Named Insured and such Contract of Sale Loss Payee, as
               interests may appear.
      E. Building Owner Loss Payee

          1.   A Building Owner Loss Payee is the person or entity who is shown on the Schedule of Loss Payees or
               Mortgagees and is the owner of the described building in which the Named Insured is a tenant.

          2.   Loss or damage to such building will be adjusted with such Building Owner Loss Payee. Any loss payment
               made to such Building Owner Loss Payee will satisfy the Named Insured’s claims against the Insurer for
               such Building Owner Loss Payee property.
          3.   Loss or damage to tenant's improvements and betterments will be adjusted with the Named Insured
               unless the written lease agreement provides otherwise.

IX.       NO BENEFIT TO BAILEE

      This insurance shall in no way inure directly or indirectly to the benefit of any transportation carrier or bailee.




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                          X.         OTHER INSURANCE

                                A. If the Named Insured has other insurance covering the same loss or damage, the Insurer will pay on the least of
                                   the following amounts:
                                     1.   any Limit of Insurance applicable to the covered property that has sustained such loss or damage;
                                     2.   the amount of covered loss or damage in excess of the amount due from that other insurance, whether the
                                          Named Insured can collect on it or not, without application of deductible amounts contained elsewhere in this
                                          coverage part; or

                                     3.   the amount the Insurer would have paid had such other insurance not existed.
                                B. Paragraph A. above does not apply to other insurance that is purchased as insurance in excess of the Limit of
                                   Insurance under this coverage part.

                          XI.        POLICY PERIOD/COVERAGE TERRITORY

                               The Insurer will cover loss or damage commencing during the policy period of this Policy and within the coverage
                               territory unless otherwise specified.

                          XII.       RECOVERED PROPERTY

                                If either the Named Insured or Insurer recover any property after loss settlement, that party must give the other
                                prompt notice. At the Named Insured’s option, the property (other than money or securities) will be returned to the
                                Named Insured. The Named Insured must then return to the Insurer the amount it paid to the Named Insured for the
                                covered property. The Insurer will pay recovery expenses and the expenses to repair the recovered covered
                                property, subject to the Limit of Insurance.

                                With respect to money or securities, any recoveries, less the cost of obtaining them, made after settlement of loss or
                                damage covered by this coverage part will be distributed:
                                A. first to the Named Insured, until the Named Insured is fully reimbursed for any loss or damage that the Named
                                   Insured sustains that exceeds the Limit of Insurance and the Deductible amount, if any;

                                B. then to the Insurer, until the Insurer is reimbursed for the settlement made; and
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                                C. then to the Named Insured, until the Named Insured is reimbursed for that part of the loss or damage equal to
                                   the Deductible amount, if any.

                                Recoveries do not include any recovery:
                                1.   from insurance, suretyship, reinsurance, security or indemnity taken for the Insurer’s benefit; or
                                2.   of original securities after duplicates of them have been issued.

                          XIII.      RESUMPTION OF OPERATIONS

                                The Insurer will reduce the amount of business income and research and development business income loss
                                payments to the extent that the Named Insured could resume operations or research and development projects in
                                whole or in part:
                                A. by using damaged or undamaged property, including stock; or

                                B. by using any other premises.

                                Solely with respect to suspension of operations caused by direct physical loss of or damage to a dependent
                                property, the Insurer will reduce the amount of business income loss payment to the extent the Named Insured
                                could resume the Named Insured’s operation, in whole or in part, by using any other available sources of materials
                                or outlets for the Named Insured’s products or services available to the Named Insured.

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XIV.    SALVAGE AND RECOVERIES

   All salvages, recoveries, and payments, excluding proceeds from subrogation and other insurance, recovered or
   received prior to a loss settlement under this Policy, shall reduce the loss accordingly. If recovered or received
   subsequent to a loss settlement under this Policy, such net amounts received shall be divided between the interests
   concerned in the proportion of such respective interests.

XV.     SUSPENDED EQUIPMENT

   The Insurer, or any of the Insurer's representatives, has the right to suspend the insurance provided for covered
   equipment from an equipment breakdown peril when the equipment is found to be in, or exposed to, a dangerous
   condition, provided that the Insurer, or any representative, has:
   A. told the Named Insured of the dangerous condition immediately upon discovering it and informed the Named
      Insured of the suspension of coverage; and

   B. mailed or delivered a notice of the suspension to the First Named Insured's last known address or the address
      where the covered equipment is located.

   The Named Insured will get a pro-rata refund of premium for the suspended insurance. However, the suspension will
   be effective even if the Insurer has not yet made or offered a refund. Reinstatement can only be effected by a written
   endorsement issued by the Insurer.

XVI.    TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO THE INSURER

   If the Insurer pays a claim under this Policy, it will be subrogated, to the extent of such payment, to all the Named
   Insured’s rights of recovery from other persons, organizations and entities. The Named Insured will execute and
   deliver instruments and papers and do whatever else is necessary to secure such rights. The Named Insured shall do
   nothing to prejudice such rights.

   The Insurer will have no rights of subrogation against:
   A. any person or entity who or which is a Named Insured;

   B. any subsidiary or any entity associated with the Named Insured through ownership or management;

   C. any other person or entity that the Named Insured waived its rights of subrogation against in writing before the
      time of loss.

XVII.   VACANCY

   If a building where loss or damage occurs has not been used by the Named Insured to conduct its normal business
   for more than 60 consecutive days before such loss or damage occurs, the Insurer will not pay for any loss or damage
   caused by any of the following even if they are covered perils:
   A. vandalism;

   B. sprinkler leakage, unless the Named Insured has protected the system against freezing;

   C. building glass breakage;

   D. water damage;

   E. theft or attempted theft.

   With respect to all other covered perils, the Insurer will reduce the amount that would otherwise be paid for the loss
   or damage by 15%.



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                             If the Named Insured’s normal operation is leasing property to others, a vacant building will be subject to this
                             condition if the Named Insured has ceased actively leasing the building or has cut-off power, heat and water utility
                             services to the building.
                             Buildings under active construction or active renovation are not considered vacant.

                          XVIII. VALUATION

                             A. Except as provided in Paragraph B. below, and subject to all applicable Limits of Insurance, the Insurer will not
                                pay more than the lesser of the following:
                                 1.   the replacement cost; or
                                 2.   the actual cost to repair or replace covered property.

                                 If the Named Insured does not repair or replace the covered property, or the repair or replacement exceeds 24
                                 months from the date of loss or damage unless a longer time frame is agreed to by the Insurer, the Insurer will
                                 pay the actual cash value of such property.

                                 If the Named Insured commences repair or replacement of such covered property and completes it within 24
                                 months from the date of loss or damage, or such agreed to longer period, the Insurer will pay the difference
                                 between the actual cash value previously paid and the lesser of Paragraphs 1. or 2. above.
                             B. With respect to the following covered property, the Insurer will not pay more than the following amounts:

                                 1.   Accounts receivable: for records of account receivable for which duplicates do not exist, the full cost to
                                      research and reproduce such records plus the cost of the blank materials on which they resides. For records
                                      of accounts receivable for which duplicates do exist, the cost of the labor to transcribe or copy such records,
                                      plus the cost of the blank materials on which they reside.

                                      If the Named Insured cannot accurately establish the amount of accounts receivable outstanding at the time
                                      of loss of or damage to the records of accounts receivable, the following method will be used:
                                      a.    determine the average monthly amount of accounts receivable for the 12 months immediately preceding
                                            the month in which the loss or damage occurs; and
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                                      b.    adjust that average monthly amount for any normal fluctuations in the amount of accounts receivable for
                                            the month in which the loss or damage occurred or for any demonstrated variance from the monthly
                                            average.

                                      The following will be deducted from the total amount of accounts receivable, however that amount is
                                      established:

                                      i.   the amount of the accounts receivable for which there is no loss or damage;

                                      ii. the amount of the accounts receivable that the Named Insured is able to re-establish or collect;

                                      iii. an amount to allow for probable bad debts that the Named Insured is normally unable to collect; and

                                      iv. all unearned interest and service charges.

                                 2.   Personal property that is leased or rented from others, personal property of others and nonowned trailers:
                                      the lesser of the following:

                                      a.   the amount for which the Named Insured is liable under the written contract for such property;
                                      b. the actual cost to repair such property; or

                                      c.   the replacement cost.


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      3.   Fine arts: the appraised market value as of the time, and at the place, of loss or damage. In case of loss to
           any part of a pair or set, the Insurer may:

           a. repair or replace any part to restore the pair or set to its value before the loss; or

           b. pay the difference between the value of the pair or set before and after the loss.

      4.   Glass: replacement cost, including the costs and expenses incurred to put up temporary plates or board up
           openings and to remove or replace obstructions when repairing or replacing glass that is part of a building,
           but not including the removal or replacement of window displays.
      5.   Goods in process: the value of raw stock, the Named Insured's labor expended and other materials
           incorporated and the cost to repurchase proprietary property licenses, plus the proper proportion of overhead
           charges.
      6.   Media: for media for which duplicates do not exist, the full cost incurred to research and reproduce a master
           copy of such media plus the cost of the blank materials on which it resides. For media for which duplicates
           do exist, the cost incurred for the labor to transcribe or copy such media, plus the cost of the blank materials
           on which it resides.

           If the media is not reproduced or replaced, the loss will be valued at the cost to replace the blank material on
           which the media resides with substantially identical type of such blank materials.
      7.   Merchandise which has been sold and not delivered and finished stock: the regular cash selling price, less
           all costs to complete the sale and discounts and charges to which such finished stock or merchandise
           would have been subject had no loss or damage occurred.
      8.   Money or securities:

           Money: only up to and including its face value.

           Securities: only up to and including their value at the close of business on the day the loss was discovered.

      9.   Outdoor trees, shrubs, plants or lawns: the reasonable and necessary costs of a qualified contractor to
           remove the damaged tree, shrub, plant or lawn from the location or reported unspecified location and the
           replacement of such property with similar type, size and quality as the damaged property including
           reasonable repairing and replanting costs. No payment will be made for the replacement, repairing or
           replanting of such property until the repairing, replacement and replanting is completed. Damaged outdoor
           trees, shrubs, plants or lawns not replaced within 12 months from the date of the loss have no value.

      10. Property for sale, other than stock or merchandise, the lesser of the:

           a.   replacement cost;

           b. the selling price; or

           c.   actual cash value.

      11. Property in transit:

           a.   Property under invoice, at the actual invoice cost, including prepaid freight, together with such cost and
                charges since shipment as may have accrued and become legally due thereon.
           b. Property not under invoice, in accordance with the valuation provisions of this Policy, less any charges
              saved which would have become due and payable upon delivery at destination.
      12. Research and development project property: the actual cost necessary to:

           a.   research, recreate, repair or replace the research and development project property, including the cost
                of materials and supplies; and


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                                      b. research, recreate or reproduce information, on any format, documenting that lost or damaged research
                                         and development project property as of the date of such loss or damage.

                                      However, the Insurer will only pay for these costs if the Named Insured repairs, replaces or recreates the
                                      research and development project property. Any research and development project property not
                                      repaired, replaced or recreated has no value. When production of a new product begins by anyone, the
                                      research and development project property for that product and all associated research and recreation
                                      costs have no value.
                                 13. Tenant's improvements and betterments:

                                      a. Replacement cost if the Named Insured repairs or replaces with reasonable speed.

                                      b. A proportion of the Named Insured's original cost if the Named Insured does not repair or replace with
                                         reasonable speed. The Insurer will determine the proportionate value as follows:
                                           i.   multiply the original cost by the number of days from the date of the loss or damage to the expiration
                                                date of the lease; and
                                           ii. divide that amount determined in Paragraph i. above by the number of days from the installation of
                                               the tenant's improvements and betterments to the expiration of the lease.

                                           If the lease contains a renewal option, the expiration date of the renewal option period will be used as the
                                           expiration date of the lease.
                                      c.   If others pay for the repairs or replacement, then the Insurer will only pay for that portion which has not
                                           been paid for by others.
                                 14. Vehicles or self-propelled machines (other than nonowned trailers), railroad rolling stock and contractor’s
                                     equipment: at the lesser of the following for that lost or damaged property:
                                      a.   applicable scheduled Limit of Insurance;
                                      b. actual cash value;

                                      c.   cost to reasonably restore that property to its condition immediately before loss or damage; or
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                                      d. cost of replacing that property with used, but substantially identical property.

                          XIX.   BUSINESS CRIME COVERAGE CONDITIONS

                             Solely with respect to crime coverage provided under the Business Crime Coverage Part and the Employee Theft,
                             Forgery or Alteration and Money and Securities Additional Coverages under the Business Property Coverage
                             Part, the following conditions apply:

                             A. Joint Named Insured

                                 1.   If the Named Insured or partner, proprietor, member or officer of that Named Insured has knowledge of any
                                      information relevant to this insurance, that knowledge is considered knowledge of every Named Insured.
                                 2.   An employee of any Named Insured is considered to be an employee of every Named Insured.
                                 3.   If any crime coverage is cancelled or terminated as to any Named Insured, a loss with respect to that Named
                                      Insured is covered only if the loss was discovered during the period of time in the When Loss Must be
                                      Sustained and Discovered Condition below. However, this extended period to discover loss terminates as
                                      to that Named Insured immediately upon the effective date of any other insurance obtained by that Named
                                      Insured replacing in whole or in part the insurance afforded hereunder, whether or not such other insurance
                                      provides coverage for loss or damage sustained prior to its effective date.
                                 4.   In the event loss or damage is sustained by more than one Named Insured, the Insurer will not pay more
                                      than if the loss or damage was sustained by one Named Insured.

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   B. Named Insured Sponsored Employee Benefit Plans

      Any employee benefit plan shown under the Business Property Coverage Part Declarations or the Business
      Crime Coverage Part Declarations as included as an additional Named Insured are so included only with
      respect to Employee Theft Coverage.

      In compliance with certain provisions of the Employee Retirement Income Security Act of 1974 (ERISA):
      1.   If the First Named Insured is an entity other than an employee benefit plan, any payment made by the
           Insurer will be made jointly to the First Named Insured and to the employee benefit plan that sustained
           loss.
      2.   If two or more employee benefit plans are insured under this coverage part, any payment the Insurer
           makes for covered loss:
           a.   sustained by two or more employee benefit plans; or
           b. of commingled funds or other property of two or more employee benefit plans,

           is to be shared by each employee benefit plan sustaining loss in the proportion that the amount of insurance
           required for each such employee benefit plan under the Employee Retirement Income Security Act of 1974
           (ERISA) bears to the total of such payments.
      3.   The First Named Insured must purchase a Limit of Insurance applicable to Employee Theft Coverage that
           is at least equal to the minimum amount required by ERISA for any employee benefit plans. If employee
           benefit plans are insured jointly with any other entity under this coverage part the limit must be at least
           equal to the minimum amount required by ERISA as if each employee benefit plan were insured
           independently. If, during this policy period, it is determined that the applicable Limit of Insurance as shown in
           the Business Property Schedule of Coverages and Limits or Business Crime Schedule of Coverages,
           Limits and Deductibles was less than the amounts required by ERISA on the effective date of this Policy,
           then, at the request of the First Named Insured during this policy period, and subject to the payment of any
           additional premium, the applicable Limit of Insurance may be amended to equal the minimum amount
           required by ERISA.
      4.   The deductible otherwise applicable to Employee Theft Coverage does not apply to loss sustained by any
           employee benefit plan.

   C. New Employees/New Employee Benefit Plans

      1.   New Employees or Premises

           If, during this policy period the Named Insured establishes any additional premises or hires additional
           employees, any insurance afforded for employees and premises shall also apply to those additional
           employees and premises.

      2.   New Employee Benefit Plans

           If any employee benefit plan is acquired by the Named Insured during the policy period that is:
           a.   sponsored and approved by the Named Insured; and
           b. required to be bonded under the provisions of ERISA,

           that employee benefit plan shall be included as a Named Insured under this coverage part.

   D. Loss Covered Under This Insurance and Prior Insurance Issued by the Insurer or Any Affiliate of the
      Insurer

      If the Named Insured discovers covered loss during the policy period resulting directly from an act or series of
      acts that took place partly during the policy period and partly during a policy period of any prior cancelled or

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                                terminated Policy that the Insurer or any affiliate issued to the Named Insured or any predecessor in interest, the
                                most the Insurer will pay is the larger of the amount recoverable under this Policy or the prior Policy.

                             E. Loss Sustained During Prior Policy

                                1.   If the Named Insured, or a predecessor in interest, sustained a loss that could have been recovered under a
                                     prior policy except that the time within which to discover the loss under such prior policy had expired, then
                                     the Insurer will pay for it under this Policy, provided:
                                     a.   this Policy became effective at the time of cancellation or termination of such prior Policy; and
                                     b. the loss would have been covered by this Policy had it been in effect at the time of such loss.

                                2.   The Limit of Insurance available under this Loss Sustained During Prior Policy Condition is part of, and not in
                                     addition to, the applicable Crime Coverage Limits of Insurance and is limited to the following:
                                     a.   when the prior policy was issued by the Insurer or any affiliate of the Insurer, the highest single Limit of
                                          Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                                     b. when the prior policy was not issued by the Insurer or any of its affiliates, the lesser of the single Limit of
                                        Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                             F. Non-Cumulation of Limit of Insurance

                                Regardless of the number of years this Policy or similar insurance (whether issued on a “Loss Sustained” or “Loss
                                Discovered” basis) issued by the Insurer remains in force or the number of premiums paid, the Limit of Insurance
                                does not cumulate from one policy period to another policy period.
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                             G. Ownership of Property; Interests Covered

                                The money, securities and other property covered under this coverage part is limited to such property:
                                1.   that the Named Insured owns or leases;
                                2.   that the Named Insured holds for others; or
                                3.   owned and held by someone other than the Named Insured under circumstances which make the Named
                                     Insured responsible for the property prior to the time of loss.

                                Solely with respect to an employee benefit plan, the money, securities and other property covered under any
                                crime coverage is limited to all funds or property that the employee benefit plan uses or may use as a source for
                                the payment of benefits to plan participants or beneficiaries, as described by the Employee Retirement Income
                                Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated thereunder.

                                However, this insurance is for the Named Insured’s benefit only. It provides no rights or benefits to any clients or
                                to any other person or organization.

                             H. Termination of Coverage as Respects Acts of Any Employee

                                Coverage is terminated with respect to any employee:
                                1.   immediately upon discovery of a dishonest act:

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             a.   committed by that employee while employed by the Named Insured, or
             b. committed by that employee prior to becoming employed by the Named Insured, provided dishonest
                acts committed prior to becoming employed by the Named Insured resulted in a loss equal to or
                exceeding $10,000,

             provided that such discovery was made by the Named Insured or any of the Named Insured’s employees,
             partners, proprietors, members, managers, officers, directors or trustees, not in collusion with the employee
             who committed such act, whether before or after becoming employed by the Named Insured.
        2.   on the date specified in the notice mailed to the Named Insured. That date will be at least 60 days after the
             date of mailing.

        The Insurer will mail or deliver the notice to the First Named Insured's last mailing address known to the Insurer.
        If notice is mailed, proof of mailing will be sufficient proof of notice.
   I.   When Loss Must be Sustained and Discovered

        Except as provided in the Loss Sustained During Prior Policy Condition, loss is covered only if sustained during
        the policy period and discovered no later than one year from the date of cancellation or expiration of the Policy.
        However, with respect to any Named Insured who obtains any other insurance replacing in whole or in part the
        insurance afforded by such crime coverages, regardless of whether such insurance is obtained during or after the
        policy period, this extended period to discover loss terminates immediately upon the effective date of such other
        insurance, whether or not such other insurance provides coverage for such crime loss sustained prior to its
        effective date.
   J.   Worldwide Coverage and Other Territory Changes

        With respect to Employee Theft Coverage, coverage applies anywhere in the world for employees while
        temporarily outside the coverage territory for a period of 90 days or less.

        With respect to Forgery or Alteration Coverage and Computer Fraud Coverage, coverage applies anywhere in
        the world.




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                               The following coverages apply to the extent shown in the Business Property Schedule of Coverages and Limits or
                               the Business Property Schedule of Locations.

                          I.   LOCATION COVERAGES
                               A. Location Base Coverage
                                   1.   Real Property Coverage
                                        The Insurer will pay for direct physical loss of or damage to real property at a location directly caused by a
                                        covered peril.
                                        The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Real
                                        Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                        location.
                                   2.   Personal Property Coverage
                                        The Insurer will pay for direct physical loss of or damage to personal property at a location directly caused
                                        by a covered peril.
                                        The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Personal
                                        Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                        location.
                                   3.   Time Element Coverage
                                        a.   Business Income Coverage
                                             The Insurer will pay for the actual loss of business income the Named Insured sustains during the
                                             period of restoration due to the necessary suspension or delay of operations caused by direct
                                             physical loss of or damage to property at a location directly caused by a covered peril.
                                             The most the Insurer will pay for any one occurrence for such loss of business income is the applicable
                                             Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                             Locations at that location.
                                        b. Extra Expense Coverage
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                                             The Insurer will pay extra expense caused by direct physical loss of or damage to property at a location
                                             directly caused by a covered peril.
                                             The most the Insurer will for pay for any one occurrence for such extra expense is the applicable Extra
                                             Expense Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                             location.
                                        c.   Business Income and Extra Expense Coverage
                                             If a Business Income and Extra Expense Coverage Limit of Insurance is shown in the Business
                                             Property Schedule of Locations at a location, the Insurer will pay for the actual loss of business
                                             income the Named Insured sustains during the period of restoration due to the necessary suspension
                                             or delay of operations, and extra expense, caused by direct physical loss of or damage to property at
                                             that location directly caused by a covered peril.
                                             The most the Insurer will pay for any one occurrence for all such loss of business income and extra
                                             expense is the applicable Business Income and Extra Expense Coverage Limit of Insurance.
                               B. Fees, Costs and Expenses Coverages
                                   If the Insurer pays for loss or damage to any insured property pursuant to any Location Base Coverage shown
                                   in Paragraph A. above, or at reported unspecified locations, the Insurer will also pay for the following
                                   reasonable and necessary fees, costs and expenses incurred by the Named Insured in connection with such

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      covered loss or damage. The most the Insurer will pay for any of the following Fees, Costs and Expenses
      Coverages are the Limits of Insurance shown in the Business Property Schedule of Coverages and Limits.
      Limits for these coverages apply in addition to any other applicable Limits of Insurance, unless otherwise stated.
      Limits of Insurance applicable at a location that differ for a specific location will be shown in the Business
      Property Schedule of Locations for that location. Those Limits replace, and are not in addition to, the Limits of
      Insurance shown in the Business Property Schedule of Coverages and Limits for those specific coverages
      and locations. If any of these coverages do not apply at any specific location, the Limit of Insurance will show as
      Not Covered for those locations.
      1.   Architects & Engineers and Other Professional Fees
           The Insurer will pay the fees incurred for the services of architects, engineers or construction consultants
           approved by the Insurer and resulting directly from the repair or replacement of such insured property.
           The amount the Insurer will pay for such fees is included within the applicable Real Property Coverage or
           Personal Property Coverage Limits of Insurance.
      2.   Brands & Labels Costs and Expenses
           In accordance with the LOSS PAYMENT Condition in the First Party Terms and Conditions, the Insurer will
           pay the costs and expenses incurred to remove the brands and labels from merchandise or finished stock
           and to stamp "salvage" on such merchandise or finished stock or its containers.
           The amount the Insurer will pay for all such costs and expenses is included within the applicable Personal
           Property Coverage Limit of Insurance.
      3.   Debris Removal Costs and Expenses
           The Insurer will pay the costs and expenses incurred to remove debris of covered property remaining after
           such loss or damage.
           Debris Removal Costs and Expenses does not include the costs or expenses of removing, extracting or
           disposing of contaminants or pollutants from land or water.
           The amount the Insurer will pay for all such costs and expenses is included within the remaining Limit of
           Insurance for the applicable covered property after payment of the covered physical loss or damage.
      4.   Debris Removal
           a.   Additional Costs and Expenses
                If the amount incurred for the covered loss or damage to covered property, including Debris Removal
                Costs and Expenses, exceeds the applicable Limit of Insurance for such covered property, the Insurer
                will pay the remaining debris removal costs and expenses incurred.
                The most the Insurer will pay for such remaining debris removal costs and expenses at any one location
                or reported unspecified location for any one occurrence is the Debris Removal – Additional Costs
                and Expenses Limit of Insurance.

           b. Uncovered Property

                If wind causes direct physical loss of or damage to covered property, the Insurer will also pay for the
                expense the Named Insured incurs to remove debris of uncovered property that is blown onto a location
                or reported unspecified location by wind and to remove debris of outdoor trees, shrubs, plants or
                lawns damaged by wind.

                The most the Insurer will pay for uncovered property at any one location or reported unspecified
                location for any one occurrence is the Debris Removal – Uncovered Property Limit of Insurance.




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                                5.   Expediting Costs and Expenses

                                     The Insurer will pay the additional costs and expenses incurred for temporary repair of damage to covered
                                     property and the additional expenses incurred for expediting the permanent repair or replacement of such
                                     damaged covered property. However, the Insurer will not pay such costs and expenses if they are covered
                                     elsewhere in this coverage part.
                                     The most the Insurer will pay for all such costs and expenses at any one location or reported unspecified
                                     location for any one occurrence is the Expediting Costs and Expenses Limit of Insurance.
                                6.   Green Insured Property

                                     a.   Costs and Expenses

                                          With respect to green insured property, the Insurer will pay the costs and expenses incurred:
                                          i.   to reuse or salvage building materials and products;
                                          ii. to extract recyclable construction waste and transport it to recycling facilities instead of landfills but
                                              only to the extent they are not offset by any income derived from the recycling;
                                          iii. for the services of accredited architects or engineers approved by the Insurer in planning and
                                               designing the applicable green insured property qualifying repairs or rebuild;
                                          iv. to re-certify the repaired or replaced insured property through the applicable green insured
                                              property accreditation organization; and

                                          v.   to flush-out the air in the repaired or rebuilt green insured property and replace it with outside air
                                               ventilated through an air filtration system included as part of the repaired or replaced green insured
                                               property.
                                          The amount the Insurer will pay for all such costs and expenses is included within the applicable Real
                                          Property Coverage or Personal Property Coverage Limits of Insurance.

                                     b. Time Element

                                          To the extent time element coverage is applicable at that location or reported unspecified location,
                                          the Insurer will pay, as provided, for loss of business income or extra expense arising out of extra time
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                                          required to re-qualify, repair or rebuild the green insured property, including:
                                          i.   additional costs to obtain power from a public utility for covered equipment that uses solar, wind,
                                               geo-thermal or other renewable resources to generate power. These additional costs will be paid
                                               until such time as such green insured property is repaired and operating; and
                                          ii. the monetary loss of rebates and credits the Named Insured receives from the public utility company
                                              for surplus power the Named Insured’s renewable resources provide into the utility’s power grid.
                                          The amount the Insurer will pay for such all such loss and expense is included within the applicable time
                                          element coverage Limit of Insurance.

                                     c.   This Green Insured Property Coverage does not apply to:
                                          i.   green insured property for which the basis of valuation is other than replacement cost; or

                                          ii. costs or expenses to upgrade the damaged green insured property to green standards beyond
                                              those that existed in the damaged green insured property at the time of loss or damage.

                          II. OFF-SITE COVERAGES
                             The following OFF-SITE COVERAGES apply as shown in the Business Property Schedule of Coverages and
                             Limits, up to the applicable Limit of Insurance shown. If a specific Location Base Coverage is not provided
                             elsewhere in this Business Property Coverage Part, there is no coverage under its corresponding OFF-SITE

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   COVERAGE. For example, if the Named Insured does not have coverage for business income under the Location
   Base Coverages, then there is no such coverage related to business income under any of the OFF-SITE
   COVERAGES. Limits for these OFF-SITE COVERAGES apply in addition to any other applicable Limits of Insurance,
   unless otherwise stated.
   A. Deferred Payments Coverage
      1.   The Insurer will pay the Named Insured's financial interest in personal property sold on an installment,
           conditional sale or other deferred payment basis. The Insurer will make such payments only if such personal
           property suffers direct physical loss or damage due to a covered peril after delivery to the purchaser, and
           only if the Named Insured is unable to collect after making all reasonable efforts to do so.
      2.   The most the Insurer will pay for such payments under this OFF-SITE COVERAGE for any one occurrence
           is the lesser of the Named Insured’s financial interest in such personal property or the Deferred Payments
           Coverage Limit of Insurance.
           The Limit for this OFF-SITE COVERAGE is included in, and not in addition to, any other applicable Limits of
           Insurance.
   B. Dependent Property Time Element Coverage
      1.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by direct physical loss of or damage to property at a dependent property located anywhere in the
           world. The loss or damage must be directly caused by a covered peril.
      2.   The most the Insurer will pay for all loss and expense under this OFF-SITE COVERAGE for any one
           occurrence is the Dependent Property Time Element Coverage Limit of Insurance.
      3.   The Insurer will not pay for loss of business income or extra expense caused by or resulting from
           earthquake or flood under this OFF-SITE COVERAGE, even if they are otherwise covered perils.
   C. Installation Coverage
      1.   The Insurer will pay for direct physical loss of or damage to installation property directly caused by a
           covered peril while such installation property is at an installation location or a temporary warehousing
           premises:
           a.   awaiting and during installation, fabrication, erection, certifying, servicing or testing; or
           b. awaiting acceptance by the purchaser.
      2.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
           occurrence is the Installation Coverage Limit of Insurance.
      3.   This Installation Coverage does not apply to loss or damage at any premises, location or reported
           unspecified location owned by the Named Insured, or to property in the due course of transit.
      4.   This Installation Coverage will end on the date when any of the following first occurs:
           a.   the Policy expires;
           b. the Named Insured’s insurable interest in the property ceases;


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                                     c.   the installation, fabrication or erection project is accepted by the purchaser as complete; or
                                     d. the Named Insured abandons the installation, fabrication or erection project with no intention to complete
                                        it.
                             D. Mobile Computing Devices – Worldwide Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to mobile computing devices while outside the
                                     coverage territory, except within any country upon which the United States government has imposed
                                     sanctions, embargoes or similar prohibitions. The loss or damage must be directly caused by a covered
                                     peril.
                                2.   The most the Insurer will pay for loss or damage under this OFF-SITE COVERAGE for any one occurrence
                                     is the Mobile Computing Devices – Worldwide Coverage Limit of Insurance.
                             E. Property at Unspecified Locations Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property and fine arts at an unspecified location, or while in the custody of a salesperson, directly
                                     caused by a covered peril.
                                     The coverage provided for fine arts under this OFF-SITE COVERAGE is subject to the provisions of the Fine
                                     Arts Coverage in the ADDITIONAL COVERAGE BASKET section, except the requirement that such
                                     property be at a location or reported unspecified location.
                                 2. To the extent time element coverage is applicable under this Business Property Coverage Part, the
                                    Insurer will pay, as provided, for:
                                     a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                          to the necessary suspension or delay of operations;
                                     b. the actual loss of research and development business income the Named Insured sustains during the
                                        period of restoration due to the necessary suspension or delay of research and development projects;
                                        and
                                     c.   extra expense,
                                     caused by loss of or damage to insured property, research and development project property and fine
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                                     arts at an unspecified location or while in the custody of a salesperson directly caused by a covered peril.
                                 3. The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE:
                                     a.   at any one unspecified location for any one occurrence is the Property at Unspecified Locations
                                          Coverage – Property Damage and Time Element Unspecified Location Limit of Insurance.
                                     b. for all unspecified locations for any one occurrence, regardless of the number of unspecified
                                        locations involved, is the Property at Unspecified Locations Coverage – Property Damage and Time
                                        Element Unspecified Locations Combined Limit of Insurance.
                                4.   This Property at Unspecified Locations Coverage does not apply to:
                                     a.   property in transit, other than while in the custody of salespersons as described in Paragraph E.1. above;
                                     b. property that is covered under the Protection of Property Coverage of the ADDITIONAL COVERAGES
                                        section.
                                5.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply only with
                                     respect to unspecified locations that the Named Insured does not own, operate or lease.
                             F. Property in Transit Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property, fine arts, media and records of accounts receivable directly caused by a covered peril

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           while in the course of transit from the time such property is being loaded at the initial point of shipment and
           continuously thereafter, until unloaded at the final destination, or if undeliverable, the time it is returned to the
           location or reported unspecified location, including:
           a.   general average or salvage charges that are assessed; and
           b. reasonable and necessary expense the Named Insured incurs to inspect, repackage and reship such
              property.
           The coverage provided for fine arts, records of accounts receivable and media under this OFF-SITE
           COVERAGE are subject to the provisions of the Fine Arts Coverage, Accounts Receivable Coverage and
           Restoration of Media Coverage, respectively, in the ADDITIONAL COVERAGE BASKET section, except
           the requirement that such property be at a location or reported unspecified location.
      2.   To the extent time element coverage is applicable under this Business Property Coverage Part, the
           Insurer will also pay, as provided, for:
           a.   actual loss of business income the Named Insured sustains during the period of restoration due to
                the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by loss of or damage to insured property, research and development project property, fine arts
           and media while in the course of transit directly caused by a covered peril.
      3.   The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE for
           any one occurrence is the Property in Transit Coverage – Property Damage and Time Element Limit of
           Insurance.
      4.   When neither the origin nor the destination is in any country upon which the United States government
           imposes sanction, embargoes or similar provisions, the following applies:
           a.   If the property is transported by an aircraft, the coverage territory is extended to be anywhere in the
                world for that property while in transit; or
           b. If the property is transported by an oceangoing vessel, transit coverage ends when the property has been
              loaded on the oceangoing vessel and only commences when the property has been fully discharged from
              such vessel onto a point within the coverage territory.
      5.   This Property in Transit Coverage does not apply to:
           a.   import shipments until marine insurance coverage ceases;
           b. personal property of others hauled on vehicles owned, leased or operated by the Named Insured
              when acting as a common or contract carrier, regardless of the Named Insured’s liability for such
              property;
           c.   property sold by the Named Insured under conditional sale, trust agreement or installment payment after
                delivery to customers;
           d. property shipped by common carrier or postal service unless such shipment is electronically tracked by
              such carrier or service; or
           e.   property while in the custody of salespersons.
      6.   In the event of any loss of or damage to personal property in transit, the Named Insured must immediately
           make a claim in writing against the carrier, bailee or others involved.



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                                 7.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply with respect
                                      to this OFF-SITE COVERAGE.
                             G. Worldwide Media and Accounts Receivable Coverage
                                 1.   The Insurer will pay for direct physical loss of or damage to media and records of accounts receivable
                                      directly caused by a covered peril while such property is at a premises other than a location or reported
                                      unspecified location.
                                 2.   With respect to coverage provided under this OFF-SITE COVERAGE, the coverage territory is extended to
                                      be anywhere in the world, except within any country upon which the United States government has imposed
                                      sanctions, embargoes or similar prohibitions.
                                 3.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
                                      occurrence is the Worldwide Media and Accounts Receivable Coverage Limit of Insurance.
                                 4.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply under this
                                      OFF-SITE COVERAGE, but only when such property is at premises that the Named Insured does not own,
                                      operate or lease.

                          III. ADDITIONAL COVERAGES
                             The following ADDITIONAL COVERAGES apply up to the applicable Limit of Insurance shown under the Business
                             Property Schedule of Coverages and Limits. If a particular coverage is shown as Not Covered then such coverage
                             is not provided under this Business Property Coverage Part.
                             Limits of Insurance for an ADDITIONAL COVERAGE that differ at any specific location will be shown under the
                             Business Property Schedule of Locations for that location. Those Limits of Insurance replace, and are not in
                             addition to, the Limit of Insurance shown for that ADDITIONAL COVERAGE in the Business Property Schedule of
                             Coverages and Limits. If any ADDITIONAL COVERAGE does not apply at a specific location, that ADDITIONAL
                             COVERAGE will be shown as Not Covered at that location.
                             If a specific Location Base Coverage is not provided at a location or at reported unspecified locations in this
                             Business Property Coverage Part, there is no coverage under its corresponding ADDITIONAL COVERAGE. For
                             example, if the Named Insured does not have a Location Base Coverage for business income for one or more
                             locations or reported unspecified location, then there is no coverage related to business income under any of the
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                             ADDITIONAL COVERAGES for business income.
                             Limits for these ADDITIONAL COVERAGES apply in addition to any other applicable Limits of Insurance, unless
                             otherwise stated.
                             A. Contaminants or Pollutants Clean Up and Removal Coverage – Property Damage and Time Element
                                Combined
                                 1.   The Insurer will pay for the reasonable costs and expenses to extract or remove contaminants or pollutants
                                      from land or water at a location or reported unspecified location, provided such contaminants or
                                      pollutants are in the land or water as a direct result of a covered peril. These costs and expenses include
                                      the costs and expenses to test for, monitor or assess the existence, concentration or effects of contaminants
                                      or pollutants.
                                      The Insurer will pay these costs and expenses only if reported to the Insurer within 180 consecutive days of
                                      the date on which the covered peril occurs.
                                 2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
                                      Insurer will also pay, as provided, for:
                                      a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                           to the necessary suspension or delay of operations;



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           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           as a result of compliance with an ordinance or law that requires the clean up or removal of contaminants or
           pollutants from land or water at a location or reported unspecified location as a direct result of a covered
           peril.
      3.   The most the Insurer will pay for all loss, cost or expense combined under this ADDITIONAL COVERAGE at
           any one location or reported unspecified location for any one occurrence is the Contaminants or
           Pollutant Clean Up and Removal Coverage – Property Damage and Time Element Combined Limit of
           Insurance.
   B. Contamination by a Refrigerant Coverage
      1.   The Insurer will pay for direct physical loss of or damage to personal property caused by the release or
           escape of refrigerants from any refrigeration equipment at a location or reported unspecified location
           provided the release or escape was not caused by or resulting from earthquake or flood, even if those are
           otherwise covered perils.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Contamination by a Refrigerant
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable
           Personal Property Coverage Limit of Insurance.
      3.   The Contaminants or Pollutants Excluded Peril under the EXCLUSIONS section does not apply, but only to
           the extent of the coverage provided under this ADDITIONAL COVERAGE.

   C. Contractual Penalties Coverage

      1.   The Insurer will pay for contractual penalties specified in a written contract that the Named Insured incurs for
           material breach of the terms of such contract where such breach is the result of direct physical loss of or
           damage to covered property directly caused by a covered peril.
      2.   The most the Insurer will pay for such contractual penalties under this ADDITIONAL COVERAGE for any one
           occurrence is the Contractual Penalties Coverage Limit of Insurance.
   D. Denial of Access Coverage
      To the extent time element coverage is applicable at that location or reported unspecified location, the
      following coverages apply at the location or reported unspecified location where the suspension or delay of
      operations occurs:
      1.   Civil Authority
           a.   For up to the number of days shown on the Business Property Schedule of Coverages and Limits, the
                Insurer will pay, as provided, for:
                i.   The actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay of operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of the research and
                    development projects; and
                iii. extra expense,



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                                          caused by action of civil authority that prohibits access to the location or reported unspecified location.
                                          Such action must result from a civil authority's response to direct physical loss of or damage to property
                                          located away from a location or reported unspecified location. That lost or damaged property must be
                                          within five miles of that location or reported unspecified location which sustains a business income
                                          or research and development business income loss or where extra expense is incurred. The loss or
                                          damage must be directly caused by a covered peril.
                                     b. The amount the Insurer will pay for all loss or expense under this Civil Authority Coverage is included
                                        within the applicable time element coverage Limit of Insurance.
                                     c.   However, to the extent the covered Civil Authority Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Civil Authority Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Civil Authority Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                                2.   Ingress/Egress
                                     a. The Insurer will pay, as provided, for:
                                          i.   the actual loss of business income the Named Insured sustains during the period of restoration
                                               due to the necessary suspension or delay of operations;
                                          ii. the actual loss of research and development business income the Named Insured sustains
                                              during the period of restoration due to the necessary suspension or delay of the research and
                                              development projects; and
                                          iii. extra expense,
                                          when ingress or egress by the Named Insured's suppliers, customers or employees to or from the
                                          location or reported unspecified location is physically obstructed due to direct physical loss or
                                          damage. The actual loss of business income or research and development business income
                                          sustained, or extra expense incurred, by the Named Insured must be caused by direct physical loss of
                                          or damage to property not owned, occupied, leased or rented by the Named Insured or insured under
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                                          this Business Property Coverage Part. That property must be located within five miles of such location
                                          or reported unspecified location. The obstruction cannot be the result of an action of civil authority that
                                          prohibits access to that location or reported unspecified location. The loss or damage must be directly
                                          caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or expense under this Ingress/Egress Coverage at any one
                                        location or reported unspecified location for any one occurrence is the Ingress/ Egress Coverage
                                        Limit of Insurance.
                                     c.   However, to the extent the covered Ingress/Egress Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                             E. Electronic Vandalism Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for loss of or damage to media, electronic data processing equipment, research and
                                     development project property and records of accounts receivable caused by or resulting from electronic
                                     vandalism originating anywhere in the world.


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      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and

           c.   extra expense,

           directly caused by electronic vandalism.
      3.   The Insurer will not pay for electronic vandalism loss caused by or resulting from any deliberate, dishonest,
           fraudulent or criminal acts committed by or on behalf of, or at the direction of, any executive officer.
      4.   The most the Insurer will pay for all loss, damage or expense combined under this ADDITONAL COVERAGE
           in the policy period is the Electronic Vandalism Coverage – Property Damage and Time Element
           Combined Aggregate Limit of Insurance.
      5.   The Electronic Vandalism and Dishonest Acts Excluded Perils under the EXCLUSIONS section do not
           apply, but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.
   F. Employee Theft Coverage
      1.   The Insurer will pay for loss of or damage to personal property, money, securities and fine arts as a direct
           result of employee theft.
      2.   The Insurer will not pay for such loss:
           a.   caused by any employee of the Named Insured, or predecessor in interest of the Named Insured, for
                whom similar prior insurance was cancelled and not reinstated since the last such cancellation.
           b. if the proof of existence or amount is dependent upon an inventory computation or a profit and loss
              computation. However, where the Named Insured establishes wholly apart from such computations that
              it has sustained such loss or damage, then it may offer its inventory records and actual physical count of
              inventory in support of the amount claimed.
           c.   resulting directly or indirectly from trading, whether in the Named Insured’s name or in a genuine or
                fictitious account.
           d. resulting from fraudulent or dishonest signing, issuing, cancelling or failing to cancel, a warehouse receipt
              or bill of lading or any papers connected with either.
      3.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE for any one
           occurrence is the Employee Theft Coverage Limit of Insurance.
      4.   The Dishonest Acts Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
           the coverage provided under this ADDITIONAL COVERAGE.
   G. Equipment Breakdown - Spoilage Coverage

      1.   The Insurer will pay for direct physical loss of or damage to personal property directly caused by the loss of
           or changes in any artificially maintained or generated temperature, humidity or internal atmosphere resulting
           from an equipment breakdown peril to covered equipment at the location or reported unspecified
           location.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Equipment Breakdown – Spoilage
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable Limits
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                                  3.   The Adulteration or Contamination and the Temperature or Humidity Conditions Excluded Perils under
                                       the EXCLUSIONS section do not apply, but only to the extent of the coverage provided under this
                                       ADDITIONAL COVERAGE.
                             H. Expense to Reduce Loss – Business Income Coverage
                                  The Insurer will pay reasonable and necessary expenses incurred by the Named Insured, except the cost of
                                  extinguishing a fire, to reduce the amount of business income or research and development business income
                                  loss. The Insurer will pay such expenses to the extent that they do not exceed the amount of loss that otherwise
                                  would have been payable under the Business Income Coverage.
                                  The amount the Insurer will pay for such expenses under this ADDITIONAL COVERAGE is included within the
                                  applicable Business Income Coverage Limit of Insurance.
                             I.   Extended Indemnity Period – Business Income Coverage
                                  1.   If loss of business income is payable under this Business Property Coverage Part, the Insurer will also
                                       pay for the actual loss of business income the Named Insured sustains during the extended indemnity
                                       period.
                                       This extended indemnity period begins on the date the period of restoration ends and it terminates on the
                                       earlier of:
                                       a.   the date the Named Insured's gross sales, including rental income, are restored to the amount that
                                            would have existed if no direct physical loss or damage occurred; or
                                       b. the date on which the specified number of days shown in the Business Property Schedule of
                                          Coverages and Limits have elapsed after the end of the period of restoration.
                                  2.   The amount the Insurer will pay for loss of business income under this ADDITIONAL COVERAGE is
                                       included within the applicable Business Income Coverage or Business Income and Extra Expense
                                       Coverage Limit of Insurance.
                                  3.   This Extended Indemnity Period - Business Income Coverage does not apply to loss of business income
                                       resulting from unfavorable business conditions as a result of the impact of a covered peril in the area of the
                                       affected location or reported unspecified location.
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                                  4.   This Extended Indemnity Period - Business Income Coverage does not apply to any other ADDITIONAL
                                       COVERAGE or the ADDITIONAL COVERAGE BASKET.
                             J.   Forgery or Alteration Coverage
                                  1.   The Insurer will pay for loss sustained by the Named Insured resulting from forgery or alteration of or on
                                       covered instruments that are made or drawn by, or drawn upon:
                                       a.   the Named Insured; or
                                       b. one acting as the Named Insured’s agent,
                                       or that are purported to have been so made or so drawn, by any person, acting alone or together with others.
                                       Mechanically reproduced facsimile signatures are the same as handwritten signatures.
                                  2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                       Forgery or Alteration Coverage Limit of Insurance.
                             K. Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time Element Combined
                                  1.   The Insurer will pay the following provided fungi, wet rot, dry rot or microbes are the direct result of a
                                       covered peril, other than fire or lightning:
                                       a.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes,
                                            including the cost of removing the fungi, wet rot, dry rot or microbes;


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           b. the reasonable cost to tear out and replace any part of the covered building or other property as needed
              to gain access to the fungi, wet rot, dry rot or microbes; and
           c.   the cost of testing performed after removal, repair, replacement or restoration of the damaged property is
                completed, provided there is reason to believe that fungi, wet rot, dry rot or microbes are still present.
      2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           due to the:
           i.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes that
                are the result of a covered peril, other than fire or lightning; or
           ii. prolonged period of restoration due to the remediation of fungi, wet rot, dry rot or microbes from a
               covered loss.
      3.   The most the Insurer will pay under this ADDITIONAL COVERAGE for all loss, damage, cost or expense
           combined in the policy period is the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage
           and Time Element Combined Aggregate Limit of Insurance. This Limit is the most the Insurer will pay, even
           if the fungi, wet rot, dry rot or microbes continue to be present or active or recur in a later policy period.
      4.   The Fungi, Wet Rot, Dry Rot and Microbes Excluded Peril under the EXCLUSIONS section does not apply,
           but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.

   L. Loss Adjustment Expense Coverage
      1.   The Insurer will pay for reasonable and necessary expenses incurred by the Named Insured in preparing
           claim data when required by the Insurer, including the cost of taking inventories, obtaining appraisals and
           preparing other documentation, to determine the extent of covered loss or damage.
      2.   The Insurer will not pay for any fees, costs or expenses incurred, directed or billed by, or payable to
           attorneys, public adjusters, loss adjusters, loss consultants, insurance brokers or agents or their associates or
           subsidiaries, or any costs as described in the APPRAISAL Condition of the First Party Terms and
           Conditions.
      3.   The most the Insurer will pay for all expenses incurred under this ADDITIONAL COVERAGE for any one
           occurrence is the Loss Adjustment Expense Coverage Limit of Insurance.
   M. Money and Securities Coverage
      1.   The Insurer will pay for loss sustained by the Named Insured as a direct result of the actual destruction,
           disappearance or theft of money and securities:
           a.   at a location, reported unspecified location or the premises of a bank or savings institution; or
           b. away from:
                i.   a location;
                ii. a reported unspecified location; or
                iii. the premises of a bank or savings institution,
                while in the care and custody of a messenger or an armored motor vehicle company.

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                                2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                     Money and Securities Coverage Limit of Insurance.
                                3.   The Insurer will not pay any loss or damage sustained by the Named Insured caused by or resulting from:
                                     a.   accounting or arithmetical errors or omissions;
                                     b. dishonest or criminal acts by the Named Insured, executive officers, employees, authorized
                                        representatives or anyone else to whom money or securities have been entrusted, other than an
                                        armored motor vehicle company:
                                          i.   acting alone or in collusion with others; or
                                          ii. whether or not occurring during the hours of employment;
                                     c.   giving or surrendering of the property in any exchange or purchase;
                                     d. voluntary parting with money or securities by the Named Insured or anyone else to whom it has
                                        entrusted such property if induced to do so by any fraudulent scheme, trick, device or false pretense;
                                     e.   transfer or surrender of money or securities on the basis of unauthorized instructions, to a person or
                                          place outside:
                                          i.   a location;
                                          ii. a reported unspecified location; or
                                          iii. the premises of a banking or savings institution; or
                                     f.   transactions involving any automated teller machine unless recorded by a continuous recording
                                          instrument in such machine.
                                4.   The only Excluded Perils under the EXCLUSIONS section that apply to this ADDITIONAL COVERAGE are
                                     Biological or Chemical Material, Governmental Action, Nuclear Hazard and War and Military Action.
                             N. Newly Acquired Locations and Property Coverage
                                1.   Newly Acquired or Constructed Real Property
                                     a.   The Insurer will pay for direct physical loss of or damage to real property, including new buildings while
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                                          being built:
                                          i.   at a newly acquired location; or
                                          ii. at a location or reported unspecified location, if coverage is not currently shown for real property
                                              at that location on the Business Property Schedule of Locations or for reported unspecified
                                              locations,
                                          directly caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or damage under this Newly Acquired or Constructed Real
                                        Property coverage for any one occurrence is the Newly Acquired or Constructed Real Property Limit
                                        of Insurance.
                                2.   Newly Acquired – Other Property
                                     a.   The Insurer will pay for direct physical loss of or damage:
                                          i.   to personal property, fine arts, media and records of accounts receivable at a newly acquired
                                               location; and
                                          ii. to personal property if coverage is not currently shown for personal property at that location on
                                              the Business Property Schedule of Locations or for reported unspecified locations,
                                          directly caused by a covered peril.


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           b. The most the Insurer will pay for all loss or damage under this Newly Acquired Property – Other
              Property coverage for any one occurrence is the Newly Acquired – Other Property Limit of Insurance.
           c.   The coverage provided under this ADDITIONAL COVERAGE for fine arts, records of accounts
                receivable and media is subject to the provisions of the Fine Arts Coverage, Accounts Receivable
                Coverage and Restoration of Media Coverage, respectively, under the ADDITIONAL BASKET
                COVERAGE section except the requirement that such property be at a location or reported unspecified
                location.
      3.   Newly Acquired Location – Time Element
           a.   To the extent time element coverage is applicable on the Business Property Coverage Part, the
                Insurer will pay, as provided, for:
                i.   the actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay in operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of research and
                    development projects; and
                iii. extra expense,
                caused by loss or damage to property at a newly acquired location directly caused by a covered peril.
           b. The most the Insurer will pay for all loss or expense under Newly Acquired Location – Time Element
              coverage for any one occurrence is the Newly Acquired Location – Time Element Limit of Insurance.
      4.   This Newly Acquired Locations and Property Coverage expires on the date when any of the following first
           occurs:
           a.   the Policy expires or is cancelled;
           b. the number of consecutive days shown on the Business Property Schedule of Coverages and Limits
              has passed from the date:
                i.   the premises becomes a newly acquired location;
                ii. the Named Insured acquires such property at a location or reported unspecified location; or
                iii. construction begins on new buildings; or
           c.   the Named Insured reports values to the Insurer.
      5.   The Insurer will charge the Named Insured additional premium for values reported from the date the
           premises becomes a newly acquired location, the Named Insured acquires such property or the
           construction begins on new buildings.
   O. Ordinance or Law Coverage
      If at the time of direct physical loss of or damage to insured property directly caused by a covered peril there is
      an ordinance or law in effect regulating the construction, zoning, repair or land use of such insured property and,
      as a result of such covered loss or damage, such ordinance or law requires code compliance in the repair or
      replacement of such insured property, the following coverages apply:
      1.   Undamaged Insured Property
           The Insurer will pay for the amount equal to the value of the undamaged portion of such insured property
           that must be demolished in accordance with such ordinance or law.
           The amount the Insurer will pay for all loss or damage under this Undamaged Insured Property coverage is
           included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance.



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                                2.   Demolition and Repair Cost
                                     The Insurer will pay for:
                                     a.   the cost of demolishing and removing the undamaged portion of the damaged insured property required
                                          to be demolished because of such ordinance or law, including the cost of clearing the site; and
                                     b. the increased cost of repair or reconstruction of such insured property on the same site or another site
                                        because of such ordinance or law. If the Named Insured elects to do such repair or reconstruction at
                                        another site, such costs are limited to the costs that would have been incurred in order to comply with the
                                        minimum requirements of such ordinance or law regulating the repair or reconstruction of such insured
                                        property on the same site.
                                     The amount the Insurer will pay for all loss or damage under this Demolition and Repair Cost coverage is
                                     included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance
                                     unless a separate Demolition and Repair Cost Limit of Insurance is shown.
                                     If a separate Limit is shown, then the most the Insurer will pay under this Demolition and Repair Cost
                                     coverage at any one location or reported unspecified location for any one occurrence is the Demolition
                                     and Repair Cost Limit of Insurance.
                                3.   Increased Period of Restoration
                                     To the extent Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the period of restoration includes any
                                     increased period of time that results from the enforcement of an ordinance or law that requires the Named
                                     Insured to repair or reconstruct the property or tear down undamaged portions of the property to meet the
                                     minimum requirements of the ordinance or law in force at the time of loss or damage.
                                     The amount the Insurer will pay under this Increased Period of Restoration coverage is included in the
                                     applicable Business Income Coverage or Business Income and Extra Expense Coverage Limit of
                                     Insurance.
                                4.   The Insurer will not pay for any:
                                     a.   additional costs incurred if the damaged insured property is not repaired or reconstructed as soon as
                                          reasonably possible;
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                                     b. increased period of restoration if the Named Insured does not resume operations with reasonable
                                        speed;
                                     c.   costs attributable to any ordinance or law that the Named Insured was required to comply with before
                                          the loss or damage; or
                                     d. increase in costs or increased period of restoration required due to the enforcement of any ordinance or
                                        law that requires the Named Insured or others to test for, monitor, clean up, remove, contain, treat,
                                        detoxify or neutralize, demolish, repair, replace or in any way respond to or assess the effects of
                                        contaminants or pollutants or the presence, growth, proliferation, spread or any activity of fungi, wet
                                        rot, dry rot or microbes, except to the extent the Contaminants or Pollutant Clean Up and Removal
                                        Coverage or the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time
                                        Element Combined of the ADDITIONAL COVERAGES section applies.
                                5.   The Governmental Action Excluded Peril under the EXCLUSIONS section does not apply, but only to the
                                     extent of the coverage provided under this Ordinance or Law Coverage.
                             P. Pair or Set Coverage
                                1.   The Insurer will pay an amount equal to the reduction in value of undamaged personal property that is part
                                     of a pair or set that becomes unmarketable as a pair or set because of direct physical loss of or damage to
                                     the other part of such personal property directly caused by a covered peril.


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      2.   The amount the Insurer will pay for such reduction in value under this ADDITIONAL COVERAGE is included
           within the applicable Personal Property Coverage Limit of Insurance.
   Q. Protection of Property Coverage
      1.   Removal of Insured Property
           a.   If it is necessary to move insured property from the location or reported unspecified location to
                protect it from actual or imminent direct physical loss or damage caused by a covered peril, the Insurer
                will pay for:
                i.   any loss of or damage to that insured property while it is being moved from, or returned to, the
                     location or reported unspecified location, or while temporarily stored at another premises for up to
                     the Number of Days shown in the Business Property Schedule of Coverages and Limits; and
                ii. the reasonable cost to remove the insured property from the location or reported unspecified
                    location and the cost to move the insured property back.

           b. The amount the Insurer will pay for all loss, damage or cost under this Removal of Insured Property
              coverage is included within, and not in addition to, the applicable Real Property Coverage or Personal
              Property Coverage Limit of Insurance.
      2.   Preservation of Insured Property
           a.   If it is necessary to protect insured property at the location or reported unspecified location from
                imminent direct physical loss or damage by a covered peril, the Insurer will pay reasonable and
                necessary costs the Named Insured incurs to protect such insured property from such imminent loss or
                damage while at such location or reported unspecified location.

           b. The most the Insurer will pay for all costs under this Preservation of Insured Property coverage for any
              one occurrence is the Protection of Property Coverage Preservation of Insured Property Limit of
              Insurance, subject to a $1,000 each occurrence deductible. No other deductible applies to this
              Preservation of Insured Property Coverage.

   R. Reported Unspecified Locations

      1.   Real Property Coverage and Personal Property Coverage

           The Insurer will pay for direct physical loss of or damage to insured property at a reported unspecified
           location directly caused by a covered peril.

           The most the Insurer will pay for such loss or damage to real property at any one reported unspecified
           location for any one occurrence is the applicable Reported Unspecified Locations Real Property Limit of
           Insurance.

           The most the Insurer will pay for such loss or damage to personal property at any one reported
           unspecified location for any one occurrence is the applicable Reported Unspecified Location Personal
           Property Limit of Insurance.

      2.   Business Income Coverage

           The Insurer will pay for the actual loss of business income the Named Insured sustains during the period
           of restoration due to the necessary suspension or delay of operations caused by direct physical loss of or
           damage to property at a reported unspecified location directly caused by a covered peril.

           The most the Insurer will pay for such loss of business income at any one reported unspecified location
           for any one occurrence is the Reported Unspecified Locations Business Income Limit of Insurance.
      3.   Extra Expense Coverage

           The Insurer will pay extra expense caused by direct physical loss of or damage to property at a reported
           unspecified location directly caused by a covered peril.

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                                     The most the Insurer will pay for such extra expense at any one reported unspecified location for any one
                                     occurrence is the Reported Unspecified Locations Extra Expense Limit of Insurance.
                             S. Research and Development Coverage

                                1.   Research and Development Project Property

                                     The Insurer will pay for:
                                     a.   direct physical loss of or damage to research and development project property while at a location or
                                          reported unspecified location directly caused by a covered peril; and

                                     b. reasonable and necessary additional expenses the Named Insured incurs to minimize direct physical
                                        loss of or damage to research and development project property, but only to the extent the loss of or
                                        damage to research and development project property is reduced by such additional expenses.

                                     The most the Insurer will pay for research and development project property under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is the Research
                                     and Development Coverage Research and Development Project Property Limit of Insurance.

                                2.   Research and Development Business Income

                                     To the extent that Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the Insurer will also pay, as provided, for the
                                     loss of research and development business income that the Named Insured sustains during the period of
                                     restoration due to the necessary suspension or delay of the Named Insured's research and development
                                     projects in process caused by direct physical loss of or damage to property at a location or reported
                                     unspecified location. The loss or damage must be directly caused by a covered peril.

                                     The amount the Insurer will pay for research and development business income under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is included
                                     within, and not in addition to, the applicable Business Income Coverage or Business Income and Extra
                                     Expense Coverage Limit of Insurance unless a separate Research and Development Business Income
                                     Limit of Insurance is shown.

                                     If a separate Limit is shown, then the most the Insurer will pay under this Research and Development
                                     Business Income coverage at any one location or reported unspecified location for any one occurrence
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                                     is the Research and Development Business Income Limit of Insurance.
                             T. Theft Damage to Non Owned Building Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to buildings at a location or reported unspecified
                                     location in which the Named Insured is a tenant and does not own the building, caused directly by theft,
                                     robbery or burglary, provided the Named Insured is obligated by the written lease in effect at the time of loss
                                     or damage to pay for such loss or damage.
                                2.   The amount the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE is included
                                     within the applicable Personal Property Coverage Limit of Insurance.
                                3.   This ADDITIONAL COVERAGE does not apply to theft that occurs after fire or explosion.
                             U. Trees, Shrubs, Plants or Lawns Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to outdoor trees, shrubs, plants or lawns,
                                     including the expense to remove debris of outdoor trees, shrubs, plants or lawns, at a location or
                                     reported unspecified location directly caused by:
                                     a.   fire;
                                     b. lightning;
                                     c.   explosion;


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           d. riot or civil commotion;
           e.   vehicles; or
           f.   aircraft.
      2.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE at any one
           location or reported unspecified location for any one occurrence is the Trees, Shrubs, Plants or Lawns
           Coverage Each Location Limit. Subject to this Each Location Limit, the most the Insurer will pay for any one
           tree, shrub, plant or lawn is the Trees, Shrubs, Plants or Lawns Coverage Each Item Limit of Insurance.

   V. Unintentional Errors or Omissions Coverage

      1.   The Insurer will pay for direct physical loss of or damage to covered property from a covered peril that is
           not otherwise payable under this Business Property Coverage Part solely as a result of:
           a.   an unintentional error or omission by the Named Insured:
                i.   in the description or address of any insured property; or
                ii. the inadvertent deletion of a location or reported unspecified location under the Policy; or

           b. any unintentional failure by the Named Insured to include any premises owned or occupied by the
              Named Insured at the inception date of the Policy.

      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,

           caused by loss of or damage to property from a covered peril that is not otherwise payable under this
           Business Property Coverage Part solely as a result of:

           i.   an unintentional error or omission by the Named Insured:
                (1) in the description or address of any insured property; or

                (2) the inadvertent deletion of a location or reported unspecified location under the Policy; or

           ii. any unintentional failure by the Named Insured to include any premises owned or occupied by the
               Named Insured at the inception date of the Policy.
      2.   The most the Insurer will pay for all loss, damage, cost or expense combined under this ADDITIONAL
           COVERAGE for any one occurrence is the Unintentional Errors or Omissions Coverage Limit of
           Insurance.

      3.   There is no coverage for any unintentional error or unintentional omission in the reporting of values or the
           coverage requested. It is a condition of this coverage that such unintentional error or omission be reported
           and corrected when discovered. The Named Insured's premium will be adjusted accordingly to reflect the
           date the premises should have been added had no error or omission occurred.




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                             W. Utility Supply Failure Coverage

                             1.   Property Damage

                                       The Insurer will pay for direct physical loss of or damage to covered property at a location or reported
                                       unspecified location where such loss or damage is caused by the necessary suspension, interruption or
                                       reduction of:
                                       a.   communication services, including internet access; or
                                       b. power supply, fuel services or water services,
                                       at that location or reported unspecified location.
                                       Such suspension, interruption or reduction must be the result of a covered peril that causes or results in
                                       direct physical loss of or damage to such utility service provider’s property, including overhead transmission
                                       or distribution lines, used to provide the location or reported unspecified location with such services,
                                       provided such property is not at a location or reported unspecified location.
                                       The most the Insurer will pay for all such loss or damage to covered property under this ADDITIONAL
                                       COVERAGE for any one occurrence is the Utility Supply Failure Coverage – Property Damage Limit of
                                       Insurance.
                                  2.   Time Element
                                       To the extent time element coverage is applicable at that location or reported unspecified location, the
                                       Insurer will pay, as provided, for:
                                       a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                            to the necessary suspension or delay of operations;
                                       b. the actual loss of research and development business income the Named Insured sustains during the
                                          period of restoration due to the necessary suspension or delay of the research and development
                                          projects; and
                                       c.   extra expense,

                                       caused by loss of or damage to a utility service provider's property that is located away from a location or
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                                       reported unspecified location and that property is used to provide internet, communication, power supply,
                                       fuel services or water services to such location or reported unspecified location. The loss or damage must
                                       be directly caused by a covered peril.

                                       The most the Insurer will pay for all such loss or expense under this ADDITIONAL COVERAGE for any one
                                       occurrence is the Utility Supply Failure Coverage – Time Element Limit of Insurance.
                                       If a Deductible or Qualifying Period is shown on the Business Property Schedule of Locations for Utility
                                       Supply Failure Coverage – Time Element Coverage, then the following replaces the Deductible and
                                       Qualifying       Periods      provision     of     the    LIMITS      OF     INSURANCE/INDEMNITY
                                       PERIOD/DEDUCTIBLE/QUALIFYING PERIOD section for the Utility Supply Failure Coverage – Time
                                       Element Coverage:
                                       The Insurer will not pay for any loss of business income or research and development business income
                                       or extra expense incurred for any one occurrence until the amount of loss or expense incurred exceeds the
                                       applicable Deductible or until the length of the suspension or delay of operations exceeds the applicable
                                       Qualifying Period shown in the Business Property Schedule of Locations.
                                       If a Deductible applies, then the Insurer will pay the amount of actual business income or research and
                                       development business income loss or extra expense incurred in excess of the applicable Deductible, up to
                                       the applicable Limits of Insurance.
                                       If a qualifying period applies and the qualifying period is exceeded, then the Insurer will pay for covered
                                       loss and expense, calculated as of the time of such suspension or delay in operations, in excess of the

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            applicable Property Deductible shown in the Business Property Schedule of Locations, unless a more
            specific time element coverage deductible is shown.
       3.   However, to the extent the covered Utility Supply Failure loss, damage or expense is caused by or resulting
            from covered:
            i.   flood, the total amount payable for all loss, damage or expense under this ADDITIONAL COVERAGE is
                 included within, and not in addition to, the applicable Flood Limit of Insurance.
            ii. earthquake, the total amount payable for all loss, damage or expense under this ADDITIONAL
                COVERAGE is included within, and not in addition to, the applicable Earthquake Limit of Insurance.

       4.   This ADDITIONAL COVERAGE does not apply to loss, damage or expense caused by physical loss of or
            damage to satellites or any other orbiting equipment.
       5.   The Utility Services Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
            the coverage provided under this ADDITIONAL COVERAGE.

IV. ADDITIONAL COVERAGE BASKET
   The following coverages are part of the ADDITIONAL COVERAGE BASKET. At the time of loss or damage, the
   Named Insured may elect to apportion the Limit of Insurance to one or any combination of the coverages included in
   this ADDITIONAL COVERAGE BASKET. However, the most the Insurer will pay at any one location or reported
   unscheduled location for any one occurrence for the total of all loss or damage from the coverages included in this
   ADDITIONAL COVERAGE BASKET is the Limit of Insurance as shown in the Business Property Schedule of
   Coverages and Limits. If a different ADDITIONAL COVERAGE BASKET Limit of Insurance is shown at a location
   in the Business Property Schedule of Locations, that Limit replaces, and is not in addition to, the ADDITIONAL
   COVERAGE BASKET Limit of Insurance shown in the Business Property Schedule of Coverages and Limits for
   that location. If the ADDITIONAL COVERAGE BASKET does not apply at a specific location, the ADDITIONAL
   COVERAGE BASKET will show as Not Covered for that location.
   A. Accounts Receivable Coverage
       1.   The Insurer will pay for direct physical loss of or damage to records of accounts receivable at a location or
            reported unspecified location directly caused by a covered peril.
       2.   This Accounts Receivable Coverage does not apply with respect to any claim for loss, damage, cost or
            expense that requires any audit of any records or inventory computation to prove its factual existence.
       3.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
            Perils under the EXCLUSIONS section do not apply with respect to Accounts Receivable Coverage.
   B. Fine Arts Coverage
       1.   The Insurer will pay for direct physical loss of or damage to fine arts at a location or reported unspecified
            location directly caused by a covered peril.
       2.   Subject to the ADDITIONAL COVERAGE BASKET Limit of Insurance, the most the Insurer will pay for any
            one item for any one occurrence under this Fine Arts Coverage is $100,000.
       3.   The Contaminants or Pollutants and the Utility Services Excluded Perils under the EXCLUSIONS section
            do not apply with respect to Fine Arts Coverage.

   C. Fire Department Service Charge Coverage
       The Insurer will pay for the Named Insured’s liability for the following fire department service charges if incurred
       to save or protect covered property at a location or reported unspecified location from a covered peril:
       1.   charges assumed by written contract or written agreement prior to loss; or
       2.   charges required by local ordinance.

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                                No deductible applies to this Fire Department Service Charge Coverage.
                             D. Lessee Leasehold Interest Coverage
                                When the Named Insured's written lease is cancelled by the lessor in accordance with a valid condition of that
                                lease and such cancellation is due to direct physical loss of or damage to property at a location or reported
                                unspecified location directly caused by a covered peril, the Insurer will pay for the loss of:
                                1.   the value of the Named Insured’s leasehold interest in the unamortized portion of payments made by the
                                     Named Insured for the undamaged portion of the tenant’s improvements and betterments;

                                2.   monthly leasehold interest of the bonus payment or prepaid rent;

                                3.   sublease profit;

                                4.   equipment data processing equipment leasehold values; and

                                5. net leasehold interest of tenant's lease interest.

                             E. Lost Key Replacement Coverage
                                The Insurer will pay for the reasonable and necessary cost of:
                                1.   replacing the master key and individual lock keys, including the cost to program the new locks if keys to that
                                     location or reported unspecified location are stolen; or
                                2.   entry lock repair or replacement, including the cost to rekey or reprogram locks, made necessary by theft or
                                     attempted theft at that location or reported unspecified location.
                             F. Non Owned Detached Trailers Coverage
                                The Insurer will pay for direct physical loss of or damage to trailers that the Named Insured does not own at a
                                location or reported unspecified location directly caused by a covered peril, provided that:
                                1.   the trailer is used in the Named Insured’s business;
                                2.   the trailer is in the Named Insured’s care, custody or control; and
                                3.   the Named Insured is obligated by a written contract in effect at the time of loss or damage to pay for such
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                                     loss or damage to that trailer.
                                The Insurer will not pay for any loss or damage that occurs:
                                a.   while the trailer is attached to any motor vehicle or motorized conveyance, whether or not the motor vehicle
                                     or motorized conveyance is in motion;
                                b. during hitching or unhitching operations; or
                                c.   when a trailer becomes accidentally unhitched from a motor vehicle or motorized conveyance.

                             G. Recharge of Fire Protection Equipment Coverage
                                The Insurer will pay expenses the Named Insured incurs to recharge automatic fire protection equipment due to
                                the leakage or discharge of the fire suppressant within the automatic fire protection equipment. The insurance
                                provided under this coverage applies regardless of how the discharge or leakage is caused. However, if the
                                leakage or discharge is caused by or results from covered loss or damage, no deductible applies.

                             H. Restoration of Media Coverage

                                1.   The Insurer will pay for the direct physical loss of or damage to media at a location or reported unspecified
                                     location directly caused by a covered peril.
                                2.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
                                     Perils under the EXCLUSIONS section do not apply with respect to this Restoration of Media Coverage.

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   I.   Reward Payments Coverage
        In the event of direct physical loss of or damage to insured property caused by arson, theft or vandalism, the
        Insurer will reimburse the Named Insured for amounts it pays for information leading to the conviction of any
        persons responsible for such arson, theft or vandalism. The reward payments must be documented.
        However, there is no coverage for a reward payment made to the Named Insured or executive officers.
        No deductible applies to this Reward Payments Coverage.

V. EXCLUSIONS
   The Excluded Perils shown in Paragraphs A. B. C. and D. below apply to all LOCATION COVERAGES, OFF-SITE
   COVERAGES, ADDITIONAL COVERAGES and ADDITIONAL COVERAGE BASKET coverages under the
   coverage part unless otherwise stated.
   A. Excluded Perils Subject to Concurrent Causation Provisions
        With respect to the excluded perils below, the Insurer will not pay for loss of or damage to property directly or
        indirectly caused by or resulting from the following causes of loss or events: Biological or Chemical Materials;
        Earth Movement; Electronic Vandalism; Flood; Fungi, Wet Rot, Dry Rot and Microbes; Governmental
        Action; Nuclear Hazard; Utility Services; and War and Military Action, regardless of: the causes of such
        excluded causes or events; other causes of such loss; any other cause or event, whether or not insured under the
        coverage part, which may have contributed concurrently, or in any sequence, to produce such loss even if such
        other cause or event would otherwise be covered; and whether the event occurred suddenly or gradually,
        involved isolated or widespread damage, arose from natural or external sources or acts or omissions, or occurred
        as a result of any combination of any such causes or events.
        1.   Biological or Chemical Materials
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the actual or
             threatened discharge, dispersal, seepage, migration, release, escape or application of any pathogenic or
             poisonous biological or chemical materials.
        2.   Earth Movement
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from earth movement.
             However, if earth movement results in fire, explosion or theft, the Insurer will pay for that portion of the loss
             which was solely caused by such fire, explosion or theft.
        3.   Electronic Vandalism
             The Insurer will not pay for loss or damage caused by or resulting from electronic vandalism.
        4.   Flood
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from flood. However, if
             flood results in fire, explosion, sprinkler leakage or theft, the Insurer will pay for that portion of the loss which
             was solely caused by such fire, explosion, sprinkler leakage or theft.
        5.   Fungi, Wet Rot, Dry Rot and Microbes
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the presence,
             growth, proliferation, spread or any activity of fungi, wet or dry rot, or microbes. However, this exclusion
             does not apply when fungi, wet or dry rot, or microbes results from fire or lightning.
        6.   Governmental Action

             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from seizure,
             destruction, demolition, expropriation, condemnation, confiscation or nationalization of property by, on behalf
             of or at the direction of any governmental authority.


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                                     However, this exclusion does not apply to seizure or acts of destruction ordered by governmental or military
                                     authority and taken at the time of a fire to prevent its spread.
                                7.   Nuclear Hazard
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from nuclear reaction
                                     or radiation, or radioactive contamination, however caused. However, if nuclear reaction or radiation, or
                                     radioactive contamination results in fire, the Insurer will pay for that portion of the loss which was solely
                                     caused by such fire.
                                8.   Utility Services
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the failure
                                     (including lack of sufficient capacity and reduction in supply) of power, fuel, sewage treatment, internet or
                                     other communication service, or any other utility service supplied to a covered premises, if the failure occurs
                                     away from the premises.
                                     However, if such failure results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                     solely caused by such covered peril.
                                     This exclusion does not apply to electronic data processing equipment.
                                9.   War and Military Action
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from:
                                     a.   war (whether declared or undeclared); civil war or warlike action by a military force; or
                                     b. insurrection, rebellion, revolution, military or usurped power by governmental or military personnel.
                             B. Other Excluded Perils
                                1.   Adulteration or Contamination

                                     The Insurer will not pay for loss or damage caused by or resulting from adulteration or contamination to stock
                                     which causes the stock to become diminished in value or use, including but not limited to diminished value or
                                     use due to change in color, finish, flavor, size or texture. This exclusion applies unless the adulteration or
                                     contamination is itself caused by a specified peril, other than the equipment breakdown peril.
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                                     However, if the adulteration or contamination to stock results in a covered peril, the Insurer will pay for that
                                     portion of the loss or damage solely caused by such covered peril.
                                2.   Alteration, Falsification, Concealment or Destruction

                                     The Insurer will not pay for loss or damage caused by or resulting from alteration, falsification, concealment
                                     or destruction of records of accounts receivable or media done to conceal the wrongful giving, taking or
                                     withholding of money, securities or other property.
                                3.   Bookkeeping, Accounting or Billing Errors or Omissions
                                     The Insurer will not pay for loss of or damage to media or records of accounts receivable caused by or
                                     resulting from bookkeeping, accounting or billing errors or omissions.
                                4.   Collective Activities
                                     The Insurer will not pay for loss of business income or research and development business income
                                     caused by or resulting from delay in rebuilding, repairing or replacing property or resuming operations due to
                                     strikes, boycotts, picketing, lockouts or other such collective activities.
                                5.   Contaminants or Pollutants
                                     The Insurer will not pay for loss or damage caused by or resulting from discharge, dispersal, seepage,
                                     migration, release or escape of contaminants or pollutants. This exclusion applies unless the discharge,



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                                                                               Business Property Coverage Part

           dispersal, seepage, migration, release or escape of contaminants or pollutants is itself caused by a
           specified peril.
           However, if the discharge, dispersal, seepage, migration, release or escape of contaminants or pollutants
           results in a specified peril, the Insurer will pay for that portion of the loss or damage solely caused by such
           specified peril.
           This exclusion does not apply:
           a.   to damage to glass caused by chemicals applied to the glass; or
           b. to electronic data processing equipment.
      6.   Delay, Loss of Use or Loss of Market
           The Insurer will not pay for loss or damage caused by or resulting from delay, loss of use or loss of market.
      7.   Dishonest or Criminal Acts
           The Insurer will not pay for loss or damage caused by or resulting from any dishonest, fraudulent or criminal
           acts committed alone or in collusion with others by the Named Insured, executive officers, the Named
           Insured's employees (including leased or temporary employees) or authorized representatives or anyone to
           whom the Named Insured entrusts the property for any purpose, regardless of whether or not such activity
           takes place during hours of operation.
           This exclusion does not apply to:
           a.   acts of destruction by an employee (including leased or temporary employee) of the Named Insured; or
           b. acts committed by a carrier or other bailee for hire.
      8.   Errors, Defects or Failures
           The Insurer will not pay for any:
           a.   loss or damage, including the costs of correcting or making good, caused by or resulting from:
                i)   an act or decision or error or omission in or faulty or defective:
                     (1) design, specification, workmanship, repair, construction, renovation, remodeling, grading or
                         compaction of;
                     (2) processing of, manufacturing of or materials used in;
                     (3) planning, zoning, development surveying or siting; or
                     (4) materials used in repair, construction, renovation or remodeling of; or
                ii) insufficient maintenance or servicing, or the failure to maintain or service,
                any part, or all, of the property on or off a premises.
           b. loss or damage caused by or resulting from the misalignment, miscalibration, operation of any safety
              device or going off-line or any condition which can be corrected by resetting, tightening, adjusting,
              cleaning or performing maintenance on property.
           However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that loss or
           damage solely caused by such covered peril.
      9.   Finished Stock or Merchandise
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from:
           a.   loss or damage to finished stock or to merchandise which has been sold but not delivered; or
           b. the time required to reproduce finished stock or replace merchandise.

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                                10. Inherent Vice/Latent Defect
                                    The Insurer will not pay for loss or damage caused by or resulting from:
                                    a.   wear and tear;
                                    b. rust or other corrosion or decay;
                                    c.   gradual deterioration, hidden or latent defect or any quality in property that causes it to damage or
                                         destroy itself;
                                    d. nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents
                                       or other animals;
                                    f.   smog;
                                    g. marring or scratching; or
                                    h. inherent vice.
                                    This exclusion applies unless one of these Excluded Perils is itself caused by a specified peril.
                                    However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that portion of the
                                    loss or damage solely caused by such covered peril.
                                11. Mysterious Disappearance
                                    The Insurer will not pay for loss or damage caused by or resulting from disappearance of property or shortage
                                    of property disclosed on taking inventory, where there is no physical evidence to show what happened to the
                                    property.
                                    However, if such disappearance or shortage results in a covered peril, the Insurer will pay for that portion of
                                    the loss or damage solely caused by such covered peril.
                                    This exclusion does not apply to property in the custody of carriers or other bailees for hire.
                                12. Precipitation
                                    The Insurer will not pay for loss or damage caused by or resulting from hail, ice, rain, sleet or snow to
                                    personal property in the open, other than property in the custody of carriers for hire.
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                                13. Pressure or Electrical Testing
                                    The Insurer will not pay for loss of or damage to machinery or equipment while undergoing electrical or
                                    pressure testing.
                                    However, if such testing results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                    solely caused by such covered peril.
                                14. Programming Errors or Defects
                                    The Insurer will not pay for loss of or damage to electronic data processing equipment, media or records
                                    of accounts receivable caused by or resulting from:
                                    a.   programming errors or faulty instructions to a machine; or
                                    b. other errors or omissions in processing or copying.
                                    However, if such errors, omissions or faulty instructions result in a covered peril, the Insurer will pay for that
                                    portion of the loss or damage solely caused by such covered peril.
                                15. Repair, Restoration or Retouching
                                    The Insurer will not pay for loss of or damage to fine arts caused by or resulting from any repairing,
                                    restoration or retouching process.


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      16. Settling and Cracking
           The Insurer will not pay for loss or damage caused by or resulting from naturally occurring or man-made
           bulging, cracking, expansion, shrinkage or settling of land, paved or concrete surfaces, foundations, pools or
           buildings, including soil or fill adjacent to such property. This exclusion applies unless the bulging, cracking,
           expansion, shrinkage or settling is itself caused by a specified peril.
           However, if such bulging, cracking, expansion, shrinkage or settling results in a covered peril, the Insurer will
           pay for that portion of the loss or damage solely caused by such covered peril.
      17. Suspended Equipment
           The Insurer will not pay for loss or damage caused by or resulting from an equipment breakdown peril to
           suspended equipment.
           However, if such Excluded Peril results in a covered peril, the Insurer will pay for that portion of the loss or
           damage solely caused by such covered peril.
      18. Suspension, Lapse or Cancellation
           The Insurer will not pay for any:
           a.   loss of business income or extra expense caused by or resulting from suspension, lapse or
                cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay in
                     operations;
                ii. the loss of business income is sustained during the period of restoration or extended indemnity
                    period; and
                iii. the extra expense is incurred during the period of restoration.
           b. loss of research and development business income caused by or resulting from suspension, lapse or
              cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay of the
                     Named Insured's research and development projects in process; and
                ii. the loss of research and development business income is sustained during the period of
                    restoration.
      19. Temperature or Humidity Conditions
           The Insurer will not pay for loss of or damage to personal property caused by or resulting from the loss of or
           change in temperature, humidity or atmosphere, whether inside or outside of a building and whether or not
           artificially maintained or generated. This exclusion applies unless such change in temperature, humidity or
           atmosphere is itself caused by a specified peril, other than an equipment breakdown peril.
           However, if such loss of or change in temperature, humidity or atmosphere results in a covered peril, the
           Insurer will pay for that portion of the loss or damage solely caused by such covered peril.
           This exclusion does not apply to electronic data processing hardware.
   C. Limitations
      1.   Trees, Shrubs, Plants or Lawns
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from loss of or damage to outdoor trees, shrubs, plants or lawns unless such loss or
           damage is directly caused by fire, lightning, explosion, riot or civil commotion, vehicles or aircraft.




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                                2.   Vegetated Roofs
                                     The Insurer will not pay for loss of or damage to trees, shrubs, plants, grass, lawns or other landscaping
                                     materials which are part of a vegetated roof caused by or resulting from:
                                     a.   dampness or dryness of atmosphere or soil supporting the vegetation;
                                     b. changes in or extremes of temperature;
                                     c.   disease; or
                                     d. frost, hail, rain, snow, ice or sleet.
                             D. Excluded Fees, Costs and Expenses
                                1.   Excavation, Grading or Filling Costs
                                     The Insurer will not pay fees, costs or expenses for:
                                     a.   excavations, grading, backfilling or filling, unless such cost is necessarily incurred to investigate, repair or
                                          replace insured property below the surface of the ground; or
                                     b. filling sinkholes.
                                2.   Volcanic Eruption
                                     The Insurer will not pay fees, costs or expenses to remove ash, dust or particulate matter, following a
                                     volcanic eruption that does not cause loss of or damage to covered property.

                          VI. LIMITS OF INSURANCE / INDEMNITY PERIOD / DEDUCTIBLE / QUALIFYING PERIOD
                             A. Limits of Insurance
                                The Limits of Insurance applicable to each coverage agreement are shown in the Business Property Schedule
                                of Coverages and Limits or the Business Property Schedule of Locations.
                             B. Special Limits
                                The Limit of Insurance applicable for any one occurrence for loss or damage due to theft is $10,000 for:
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                                1.   furs, fur garments and garments trimmed with fur;
                                2.   jewelry, watches, watch movements, jewels, pearls, precious and semi-precious stones; and
                                3.   bullion, gold, silver, platinum and other precious alloys or metals.
                                This Limit is included within, and not in addition to, the applicable Personal Property Coverage Limit of
                                Insurance.
                             C. Maximum Period of Indemnity
                                If the Business Property Schedule of Locations displays a Maximum Period of Indemnity, the most the
                                Insurer will pay for loss of business income is the lesser of:
                                1.   the amount of covered business income during the 120 consecutive days immediately following the
                                     beginning of the period of restoration; or
                                2.   the applicable Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                     Locations.
                             D. Monthly Limit of Indemnity
                                If the Business Property Schedule of Locations displays a Monthly Limit of Indemnity fraction, the most the
                                Insurer will pay for loss of business income in any one period of 30 consecutive days after the beginning of the
                                period of restoration is:


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      1.   the Limit of Insurance, multiplied by
      2.   the Monthly Limit of Indemnity fraction shown in the Business Property Schedule of Locations for Monthly
           Limit of Indemnity.
   E. Inflation Guard
      If the Business Property Schedule of Locations displays an inflation guard percentage, the Limit of Insurance
      for insured property will automatically increase as follows:
      1.   the applicable Limit of Insurance; multiplied by
      2.   the Inflation Guard percentage shown on the Business Property Schedule of Locations; multiplied by
      3.   the number of consecutive days since the beginning of the annual policy period, or the effective date of the
           most recent Policy change amending the Limit of Insurance, divided by 365.
   F. Deductibles and Qualifying Periods
      1.   The Insurer will not pay any amounts due under the terms and conditions of the coverage part until the
           amount of covered loss, damage, cost or expense for any one occurrence exceeds the Property Deductible
           shown in the Business Property Schedule of Locations, unless specific coverage deductibles are shown in
           the Business Property Schedule of Locations or an endorsement. The Insurer will then pay the amount of
           loss, damage, cost or expense in excess of the Deductible, up to the applicable Limits of Insurance.
      2.   If a Qualifying Period is shown in the Business Property Schedule of Locations, then the qualifying
           period will apply to all business income and research and development business income coverages. The
           Insurer will not pay for any loss of business income or research and development business income for
           any one occurrence until the suspension or delay of operations exceeds the qualifying period. If the
           qualifying period is exceeded, then the Insurer will pay the amount of covered business income or
           research and development business income loss, calculated as of the time and date of such loss, in
           excess of the applicable Property Deductible shown in the Business Property Schedule of Locations,
           unless a more specific time element coverage deductible is shown. If Business Income and Extra
           Expense Coverage applies, then extra expense is subject to the deductible or qualifying period applicable
           to business income.
      3.   A covered loss occurring at unspecified locations, reported unspecified locations or other premises not
           shown on the Business Property Schedule of Locations will be subject to the Deductibles and Qualifying
           Periods applicable for the first location shown in the Business Property Schedule of Locations, unless
           specific coverage deductibles are shown in the Business Property Schedule of Locations or an
           endorsement.
      4.   Unless otherwise stated in the coverage part or endorsement, if more than one monetary deductible applies,
           the Insurer will apply each deductible separately, but the total of all deductibles applied for any one
           occurrence will not exceed the highest applicable monetary deductible for loss or damage to covered
           property plus the highest applicable monetary deductible for loss under time element coverage.
      5.   Loss or damage caused by earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or
           hail may be subject to separate deductible amounts. The Business Property Schedule of Locations, or
           applicable endorsement, will identify the locations or reported unspecified locations subject to such
           deductibles and the applicable deductible amount. That Deductible will apply to all coverages that respond to
           that covered loss, including covered time element coverage loss. Qualifying periods do not apply to
           covered loss or expense from earthquake, earthquake sprinkler leakage, flood, named storm or windstorm
           or hail when there is a separate monetary deductible amount applicable.
           For purposes of calculating the deductible for those perils, the Insurer will use the applicable Limit of
           Insurance shown in the Business Property Schedule of Coverages and Limits, the Business Property
           Schedule of Location or any endorsement attached to this Policy for that specific coverage, or the actual



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                                                                                                                   CNA PARAMOUNT
                                                                                                     Business Property Coverage Part

                                    amount of loss, damage, cost or expense for that coverage, whichever is less, towards satisfying that
                                    Deductible.
                                    With respect to earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or hail
                                    deductibles, if there are two or more deductibles that are applicable from other covered perils in the same
                                    occurrence, the Insurer will apply each deductible separately. When those Deductibles are shown in the
                                    Business Property Schedule of Coverages and Limits, the Business Property Schedule of Locations or
                                    any endorsement:
                                    a.   at that specific location or reported unspecified location, the total of all monetary deductible amounts
                                         applied for any one occurrence will not exceed the single highest applicable Deductible shown for that
                                         location or reported unspecified location. If more than one location or reported unspecified location
                                         is involved in the same occurrence, the Insurer will apply those Deductibles for each location and
                                         reported unspecified location separately, subject to the single highest applicable Deductible for each
                                         location and each reported unspecified location.
                                    b. on a per occurrence basis for multiple locations or reported unspecified locations, the total of all
                                       monetary deductible amounts applied for any one occurrence will not exceed the single highest
                                       applicable Deductible.
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                                                                                                                          CNA PARAMOUNT
                                                                             Equipment Breakdown Exclusion Endorsement

                          It is understood and agreed as follows:

                          I.      The following are added to Other Excluded Perils, in the EXCLUSIONS section of the Business Property
                                  Coverage Part:

                                  •        Electrical Injury

                                           The Insurer will not pay for loss or damage caused by or resulting from artificially generated electrical
                                           current, including electrical arcing, that damages or disturbs electrical devices, wiring or equipment. But,
                                           if such artificially generated electrical current or electrical arcing results in a covered peril, the Insurer
                                           will pay for that portion of the loss or damage solely caused by such covered peril.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                  •        Explosion or Rupture

                                           The Insurer will not pay for:

                                           a.       Loss or damage caused by or resulting from an explosion, rupture, or bursting of steam boilers,
                                                    steam pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming
                                                    a part thereof, when owned, operated, or controlled by the Named Insured; except for explosion
                                                    of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
                                                    within the flues or passages through which the gases of combustion pass.

                                                    But if a result of one of these excluded perils is fire or a combustion explosion, the Insurer will
                                                    pay that portion of the loss or damage solely caused by that fire or combustion explosion.


                                           b.       Loss or damage caused by or resulting from any condition or event inside steam boilers, steam
                                                    pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming a part
                                                    thereof, when owned, operated, or controlled by the Named Insured; except for explosion of
                                                    accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
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                                                    within the flues or passages through which the gases of combustion pass.


                                           c.       Loss or damage caused by or resulting from any condition or event, other than an explosion,
                                                    inside hot water boilers, other water heating equipment other than steam engines, or pressure
                                                    vessels when owned, operated, or controlled by the Named Insured.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                  •        Mechanical Breakdown

                                           The Insurer will not pay for loss or damage caused by or resulting from mechanical or machinery
                                           breakdown, including rupture or bursting caused by or resulting from centrifugal force, of property owned,
                                           operated, or controlled by the Named Insured. But if a result of the mechanical or machinery breakdown
                                           is a covered peril, the Insurer will pay for that portion of the loss or damage solely caused by such
                                           covered peril.



                          CNA81067XX (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       2
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000296
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                                                                                               CNA PARAMOUNT
                                                   Equipment Breakdown Exclusion Endorsement

                  This exclusion does not apply to electronic data processing equipment, media or records of
                  accounts receivable.

II.       The following change applies to the ADDITIONAL COVERAGES section of the Business Property Coverage
          Part:

          The Equipment Breakdown – Spoilage Coverage is deleted.

III.      Paragraph I. of the specified peril definition in the First Party Glossary of Defined Terms is deleted.



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA81067XX (10-15)                                                                           Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:       2
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000297
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POLICY NUMBER
     Case:                 INSURED#:NAME
           1:23-cv-04098 Document        AND
                                     142-7    ADDRESS
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C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                              INLAND MARINE SUMMARY OF COVERAGES



Contractors Equipment

   - Contractors Equipment Declarations - Policy Level Information - G300665

   - Contractors Equipment Declarations – Additional Coverage and Coverage Extension
     Schedule - G300666




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                                          INSURED                             Page   2 of   7
POLICY NUMBER
     Case:                 INSURED#:NAME
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C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                         INLAND MARINE LOCATION SUMMARY OF COVERAGES




LOCATION      1   BUILDING    1

12A MAPLE AVE
PINE BROOK                        NJ   07058

Building Description:

LOCATION/BUILDING COVERAGES

Valuable Papers
  - Valuable Papers Schedule - Non-Reporting - G55231
  - Valuable Papers and Records Coverage Form - CM0067




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                                           INSURED                            Page   3 of   7
POLICY NUMBER
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                                     142-7    ADDRESS
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C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                       INLAND MARINE CONTRACTORS EQUIPMENT SCHEDULE
               (For Additional IM Declaration Information, See Form G300665)


ITEM  DESCRIPTION OF EQUIPMENT          LIMIT OF                                   VALUATION
NO. (Year, Manufacturer, Model)        INSURANCE       DEDUCTIBLE   COINSURANCE   (ACV,RC,AV)

  1 2016 PIONEER 700 ATV                 $14,000         $1,000
    1HFVE0227G420842

  2 DIGITILT SLOPE INCLINOMETER           $5,000         $1,000
    102152

  3 DIGITILT INDICATOR 28055F             $5,000         $1,000

  5 SESMOGRAPH AND GEOPHONE BE5608        $5,000         $1,000

  6 INSTANTEL SEISMOGRAPH LOT             $5,000         $1,000
    BE11861

  7 MICROMATE SEISMOGRAPH AND             $5,000         $1,000
    GEOPHONE UM13732

  8 NUCLEAR DENOSMETER 32408              $5,000         $1,000

  9 NUCLEAR DENOSMETER 3440 22947         $5,000         $1,000

 10 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    34118 11023

 11 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    34118 13773

 12 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    3440 17627

 13 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    3440 14894

 14 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    3440 15897

 15 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    34118 7734

 16 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    34118 6590

 17 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    3430 32035

 18 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    34118 4858




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                                          INSURED                             Page   4 of   7
POLICY NUMBER
     Case:                 INSURED#:NAME
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C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                       INLAND MARINE CONTRACTORS EQUIPMENT SCHEDULE
               (For Additional IM Declaration Information, See Form G300665)


ITEM  DESCRIPTION OF EQUIPMENT          LIMIT OF                                   VALUATION
NO. (Year, Manufacturer, Model)        INSURANCE       DEDUCTIBLE   COINSURANCE   (ACV,RC,AV)

 19 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    34118 12645

 20 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    3430 23454

 21 NUCLEAR DENSITY GAUGE, MODEL          $5,000         $1,000
    34118 10601

 22 PNEUMATIC PIEZOMETER READOUT,         $3,500         $1,000
    MODEL C109 PR1027

 23 PID, MODEL MINIRAE 2000 PGM-          $1,895         $1,000
    7600 110-012303

 24 MULTIRAE GAS METER, MODEL             $2,500         $1,000
    MULTIRAE PLUS PGM50SP 095-
    519275

 25 VRAE GAS METER, MODEL VRAE            $2,000         $1,000
    PGM-7800 170-101036

 26 VRAE GAS METER, MODEL VRAE            $2,000         $1,000
    PGM-7800 170-102256

 27 WATER LEVEL METER, MODEL 101             $500        $1,000
    251881

 28 OIL/WATER INTERFACE METER,            $1,000         $1,000
    MODEL H01L 01-6341

 29 DEMOLITION HAMMER, MODEL2200W            $200        $1,000

 30 TSI AIR VELOCITY METER, MODEL            $600        $1,000
    9525 T95250745001

 31 TSI AIR VELOCITY METER, MODEL            $600        $1,000
    9525 T952751004

 32 TSI AIR VELOCITY METER,                  $600        $1,000
    MODEL9595 T95250751003

 34 TSI PLUS AIR VELOCITY METER,          $1,200         $1,000
    METER 8384 56020209

 35 TSI VELOCICALC AIR VELOCITY           $1,000         $1,000
    METER WITH ROTATING VANE




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POLICY NUMBER
    Case:                  INSURED
          1:23-cv-04098 Document #: NAME
                                    142-7AND  ADDRESS
                                          Filed: 01/28/25 Page 100 of 1498 PageID #:16360
C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                      INLAND MARINE CONTRACTORS EQUIPMENT SCHEDULE
              (For Additional IM Declaration Information, See Form G300665)


ITEM   DESCRIPTION OF EQUIPMENT        LIMIT OF                                    VALUATION
NO. (Year, Manufacturer, Model)       INSURANCE        DEDUCTIBLE   COINSURANCE   (ACV,RC,AV)
     ANEMOMETER, MODEL 8322/802149
     56010242/56010243

 36 GENERATOR (GAS-POWERED), MODEL        $1,000        $1,000
    EU INVERTER 2000i EAAJ-2215247




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                                    142-7AND  ADDRESS
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C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                             INLAND MARINE LOSS PAYEE SCHEDULE

All loss payees as their interests may appear in the Covered Property.

The following provisions apply in accordance with the insurable interest of the loss
payee: Loss Payable, Lender's Loss Payable, or Contract of Sale.

Description of Property: Any Covered Property in which a loss payee, creditor or lender
holds an interest, including any person or organization you have entered a contract with
for the sale of the Covered Propery.




                                                             Countersignature




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                                                                                                                   COMMERCIAL INLAND MARINE
                                                                                                                                CM 00 01 09 04

                                          COMMERCIAL INLAND MARINE CONDITIONS
                          The following conditions apply in addition to the                     6.   As often as may be reasonably required, permit
                          Common Policy Conditions and applicable Additional                         us to inspect the property proving the loss or
                          Conditions in Commercial Inland Marine Coverage                            damage and examine your books and records.
                          Forms:                                                                     Also permit us to take samples of damaged and
                          LOSS CONDITIONS                                                            undamaged property for inspection, testing and
                          A. Abandonment                                                             analysis, and permit us to make copies from
                                                                                                     your books and records.
                             There can be no abandonment of any property to us.
                                                                                                7.   We may examine any insured under oath, while
                          B. Appraisal                                                               not in the presence of any other insured and at
                              If we and you disagree on the value of the property                    such times as may be reasonably required,
                              or the amount of loss, either may make written                         about any matter relating to this insurance or the
                              demand for an appraisal of the loss. In this event,                    claim, including an insured's books and records.
                              each party will select a competent and impartial                       In the event of an examination, an insured's
                              appraiser. The two appraisers will select an umpire.                   answers must be signed.
                              If they cannot agree, either may request that                     8.   Send us a signed, sworn proof of loss
                              selection be made by a judge of a court having                         containing the information we request to settle
                              jurisdiction. The appraisers will state separately the                 the claim. You must do this within 60 days after
                              value of the property and amount of loss. If they fail                 our request. We will supply you with the
                              to agree, they will submit their differences to the                    necessary forms.
                              umpire. A decision agreed to by any two will be
                              binding. Each party will:                                         9.   Immediately send us copies of any demands,
                                                                                                     notices, summonses or legal papers received in
                              1. Pay its chosen appraiser; and                                       connection with the claim or suit.
                              2.   Bear the other expenses of the appraisal and                10. Cooperate with us in the investigation or
                                   umpire equally.                                                 settlement of the claim.
                             If there is an appraisal, we will still retain our right to    D. Insurance Under Two Or More Coverages
                             deny the claim.
                                                                                               If two or more of this policy's coverages apply to the
                          C. Duties In The Event Of Loss                                       same loss or damage, we will not pay more than the
                              You must see that the following are done in the                  actual amount of the loss or damage.
                              event of loss or damage to Covered Property:                  E. Loss Payment
30020000760568728073645




                              1. Notify the police if a law may have been broken.               1.   We will give notice of our intentions within 30
                              2.   Give us prompt notice of the loss or damage.                      days after we receive the sworn proof of loss.
                                   Include a description of the property involved.              2.   We will not pay you more than your financial
                              3.   As soon as possible, give us a description of                     interest in the Covered Property.
                                   how, when and where the loss or damage                       3.   We may adjust losses with the owners of lost or
                                   occurred.                                                         damaged property if other than you. If we pay
                              4.   Take all reasonable steps to protect the                          the owners, such payments will satisfy your
                                   Covered Property from further damage, and                         claim against us for the owners' property. We
                                   keep a record of your expenses necessary to                       will not pay the owners more than their financial
                                   protect the Covered Property, for consideration                   interest in the Covered Property.
                                   in the settlement of the claim. This will not                4.   We may elect to defend you against suits
                                   increase the Limit of Insurance. However, we                      arising from claims of owners of property. We
                                   will not pay for any subsequent loss or damage                    will do this at our expense.
                                   resulting from a cause of loss that is not a
                                   Covered Cause of Loss. Also, if feasible, set the            5.   We will pay for covered loss or damage within
                                   damaged property aside and in the best                            30 days after we receive the sworn proof of loss
                                   possible order for examination.                                   if you have complied with all the terms of this
                                                                                                     Coverage Part and:
                              5.   You will not, except at your own cost, voluntarily
                                   make a payment, assume any obligation, or
                                   incur any expense without our consent.



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           a.   We have reached agreement with you on               necessary to secure our rights and must do nothing
                the amount of the loss; or                          after loss to impair them. But you may waive your
           b. An appraisal award has been made.                     rights against another party in writing:
      6.
      We will not be liable for any part of a loss that             1. Prior to a loss to your Covered Property.
      has been paid or made good by others.                         2.   After a loss to your Covered Property only if, at
F. Other Insurance                                                       time of loss, that party is one of the following:
      1.   You may have other insurance subject to the                   a. Someone insured by this insurance; or
           same plan, terms, conditions and provisions as                b. A business firm:
           the insurance under this Coverage Part. If you                   (1) Owned or controlled by you; or
           do, we will pay our share of the covered loss or
           damage. Our share is the proportion that the                      (2) That owns or controls you.
           applicable Limit of Insurance under this                This will not restrict your insurance.
           Coverage Part bears to the Limits of Insurance
                                                                GENERAL CONDITIONS
           of all insurance covering on the same basis.
                                                                A. Concealment, Misrepresentation Or Fraud
      2.
       If there is other insurance covering the same
       loss or damage, other than that described in 1.              This Coverage Part is void in any case of fraud,
       above, we will pay only for the amount of                    intentional concealment or misrepresentation of a
       covered loss or damage in excess of the                      material fact, by you or any other insured, at any
       amount due from that other insurance, whether                time, concerning:
       you can collect on it or not. But we will not pay            1. This Coverage Part;
       more than the applicable Limit of Insurance.
                                                                    2.   The Covered Property;
G. Pair, Sets Or Parts
                                                                    3.   Your interest in the Covered Property; or
      1.   Pair Or Set
                                                                    4.A claim under this Coverage Part.
           In case of loss or damage to any part of a pair
           or set we may:                                       B. Control Of Property
           a. Repair or replace any part to restore the             Any act or neglect of any person other than you
               pair or set to its value before the loss or          beyond your direction or control will not affect this
               damage; or                                           insurance.
           b. Pay the difference between the value of the          The breach of any condition of this Coverage Part at
               pair or set before and after the loss or            any one or more locations will not affect coverage at
               damage.                                             any location where, at the time of loss or damage,
                                                                   the breach of condition does not exist.
      2.   Parts
                                                                C. Legal Action Against Us
      In case of loss or damage to any part of
      Covered Property consisting of several parts                 No one may bring a legal action against us under
      when complete, we will only pay for the value of             this Coverage Part unless:
      the lost or damaged part.                                    1. There has been full compliance with all the
H. Recovered Property                                                   terms of this Coverage Part; and
      If either you or we recover any property after loss          2. The action is brought within 2 years after you
      settlement, that party must give the other prompt                 first have knowledge of the direct loss or
      notice. At your option, the property will be returned             damage.
      to you. You must then return to us the amount we          D. No Benefit To Bailee
      paid to you for the property. We will pay recovery           No person or organization, other than you, having
      expenses and the expenses to repair the recovered            custody of Covered Property will benefit from this
      property, subject to the Limit of Insurance.                 insurance.
I.    Reinstatement Of Limit After Loss                         E. Policy Period, Coverage Territory
      The Limit of Insurance will not be reduced by the             We cover loss or damage commencing:
      payment of any claim, except for total loss or
      damage of a scheduled item, in which event we will            1. During the policy period shown                in   the
      refund the unearned premium on that item.                        Declarations; and
J.    Transfer Of Rights Of Recovery Against Others                 2. Within the coverage territory.
      To Us                                                     F. Valuation
      If any person or organization to or for whom we               The value of property will be the least of the
      make payment under this Coverage Part has rights              following amounts:
      to recover damages from another, those rights are             1. The actual cash value of that property;
      transferred to us to the extent of our payment. That
      person or organization must do everything
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                             2.   The cost of reasonably restoring that property to         3.   The cost of replacing that property with
                                  its condition immediately before loss or damage;               substantially identical property.
                                  or                                                        In the event of loss or damage, the value of property
                                                                                            will be determined as of the time of loss or damage.
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                                                                                                                 COMMERCIAL INLAND MARINE
                                                                                                                              CM 00 67 03 10

                              VALUABLE PAPERS AND RECORDS COVERAGE FORM
                          Various provisions in this policy restrict coverage. Read             b. We will pay for direct physical loss or damage
                          the entire policy carefully to determine rights, duties and               to Covered Property, caused by abrupt
                          what is and is not covered.                                               collapse of a building or any part of a building
                          Throughout this policy, the words "you" and "your" refer                  that contains Covered Property insured under
                          to the Named Insured shown in the Declarations. The                       this coverage form, if such collapse is caused
                          words "we," "us" and "our" refer to the Company                           by one or more of the following:
                          providing this insurance.                                                (1) Building decay that is hidden from view,
                          Other words and phrases that appear in quotation marks                        unless the presence of such decay is
                          have special meaning. Refer to Section F – Definitions.                       known to an insured prior to collapse;
                          A. Coverage                                                              (2) Insect or vermin damage that is hidden
                                                                                                        from view, unless the presence of such
                             We will pay for direct physical loss of or damage to                       damage is known to an insured prior to
                             Covered Property from any of the Covered Causes of                         collapse;
                             Loss.
                                                                                                   (3) Use of defective material or methods in
                             1. Covered Property, as used in this coverage form,                        construction, remodeling or renovation if
                                means "valuable papers and records" that are                            the abrupt collapse occurs during the
                                your property or property of others in your care,                       course of the construction, remodeling or
                                custody or control.                                                     renovation.
                             2. Property Not Covered                                               (4) Use of defective material or methods in
                                Covered Property does not include:                                      construction, remodeling or renovation if
                                                                                                        the abrupt collapse occurs after the
                                a. Property not specifically declared and
                                                                                                        construction, remodeling or renovation is
                                   described in the Declarations if such property
                                                                                                        complete, but only if the collapse is
                                   cannot be replaced with other property of like
                                                                                                        caused in part by:
                                   kind and quality;
                                                                                                       (a) A cause of loss listed in Paragraph (1)
                                b. Property held as samples or for delivery after
                                                                                                            or (2);
                                   sale;
                                                                                                      (b) One or more of the following causes of
                                c. Property in storage away from the "premises"
                                                                                                          loss: Fire; lightning; windstorm; hail;
                                   shown in the Declarations; or
                                                                                                          explosion; smoke; aircraft; vehicles;
                                d. Contraband, or property in the course of                               riot; civil commotion; vandalism;
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                                   illegal transportation or trade.                                       leakage from fire extinguishing
                             3. Covered Causes Of Loss                                                    equipment; sinkhole collapse; volcanic
                                                                                                          action; breakage of building glass;
                                Covered Causes of Loss means Direct Physical                              falling objects; weight of snow, ice or
                                Loss Or Damage to Covered Property except                                 sleet; water damage; earthquake; all
                                those causes of loss listed in the Exclusions.                            only as insured against in this
                             4. Additional Coverage – Collapse                                            coverage form;
                                 The coverage provided under this Additional                          (c) Weight of people or personal property;
                                 Coverage – Collapse applies only to an abrupt                            or
                                 collapse as described and limited in Paragraphs                      (d) Weight of rain that collects on a roof.
                                 a. through c.
                                                                                                c. This Additional Coverage – Collapse will not
                                 a. For the purpose of this Additional Coverage –                  increase the Limits of Insurance provided in
                                    Collapse, abrupt collapse means an abrupt                      this coverage form.
                                    falling down or caving in of a building or any
                                    part of a building with the result that the
                                    building or part of the building cannot be
                                    occupied for its intended purpose.




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   5. Coverage Extensions                                               (2) Warlike action by a military force, including
      a. Removal                                                             action in hindering or defending against an
                                                                             actual or expected attack, by any
          If you give us written notice within 10 days of                    government, sovereign or other authority
          removal of your "valuable papers and                               using military personnel or other agents;
          records" because of imminent danger of loss                        or
          or damage, we will pay for loss or damage
          while it is:                                                  (3) Insurrection, rebellion, revolution, usurped
                                                                             power, or action taken by governmental
         (1) At a safe place away from your                                  authority in hindering or defending against
              "premises"; or                                                 any of these.
         (2) Being taken to and returned from that                   Exclusions B.1.a. through B.1.c. apply whether or
              place.                                                 not the loss event results in widespread damage
         This Coverage Extension is included within                  or affects a substantial area.
         the Limits of Insurance applicable to the                2. We will not pay for loss or damage caused by or
         "premises" from which the Covered Property                  resulting from any of the following:
         is removed.
                                                                     a. Delay, loss of use, loss of market or any other
      b. Away From Your Premises                                        consequential loss.
          We will pay up to $5,000 for loss or damage                b. Dishonest or criminal act committed by:
          to Covered Property while it is away from your
          "premises."                                                   (1) You, any of your partners, employees,
                                                                            directors,      trustees,  or   authorized
          But if a higher Limit of Insurance is specified                   representatives;
          in the Declarations, the higher limit will apply.
                                                                        (2) A manager or a member if you are a
         The limit for this Coverage Extension is                           limited liability company;
         additional insurance.
                                                                        (3) Anyone else with an interest in the
B. Exclusions                                                               property, or their employees or authorized
   1. We will not pay for loss or damage caused                             representatives; or
      directly or indirectly by any of the following. Such              (4) Anyone else to whom the property is
      loss or damage is excluded regardless of any                          entrusted for any purpose.
      other cause or event that contributes concurrently
      or in any sequence to the loss.                                    This exclusion applies whether or not such
                                                                         persons are acting alone or in collusion with
       a. Governmental Action                                            other persons or such acts occur during the
          Seizure or destruction of property by order of                 hours of employment.
          governmental authority.                                        This exclusion does not apply to Covered
         But we will pay for loss or damage caused by                    Property that is entrusted to others who are
         or resulting from acts of destruction ordered                   carriers for hire or to acts of destruction by
         by governmental authority and taken at the                      your employees. But theft by employees is not
         time of a fire to prevent its spread if the fire                covered.
         would be covered under this coverage form.                   c. Errors or omissions in processing or copying.
      b. Nuclear Hazard                                                  But if errors or omissions in processing or
          Nuclear reaction or radiation, or radioactive                  copying result in fire or explosion, we will pay
          contamination, however caused.                                 for the direct loss or damage caused by that
                                                                         fire or explosion if the fire or explosion would
         But if nuclear reaction or radiation, or
                                                                         be covered under this coverage form.
         radioactive contamination results in fire, we
         will pay for the direct loss or damage caused                d. Electrical or magnetic injury, disturbance or
         by that fire if the fire would be covered under                 erasure of electronic recordings.
         this coverage form.                                             But we will pay for direct loss or damage
      c. War And Military Action                                         caused by lightning.
         (1) War, including undeclared or civil war;                  e. Voluntary parting with any property by you or
                                                                         anyone entrusted with the property if induced
                                                                         to do so by any fraudulent scheme, trick,
                                                                         device or false pretense.




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                                f. Unauthorized instructions to transfer property                  This Exclusion, d., does not apply to the
                                   to any person or to any place.                                  extent that coverage is provided under the
                                g. Neglect of an insured to use all reasonable                     Additional Coverage – Collapse or to collapse
                                   means to save and preserve property from                        caused by one or more of the following: Fire;
                                   further damage at and after the time of loss.                   lightning; windstorm; hail; explosion; smoke;
                                                                                                   aircraft; vehicles; riot; civil commotion;
                             3. We will not pay for loss or damage caused by or                    vandalism; leakage from fire extinguishing
                                resulting from any of the following. But if loss or                equipment; sinkhole collapse; volcanic action;
                                damage by a Covered Cause of Loss results, we                      breakage of building glass; falling objects;
                                will pay for the loss or damage caused by that                     weight of snow, ice or sleet; water damage;
                                Covered Cause of Loss.                                             earthquake; weight of people or personal
                                a. Weather conditions. But this exclusion only                     property; weight of rain that collects on a roof.
                                    applies if weather conditions contribute in any           e. Wear and tear, any quality in the property that
                                    way with a cause or event excluded in                         causes it to damage or destroy itself, gradual
                                    Paragraph 1. above to produce the loss or                     deterioration; insects, vermin or rodents.
                                    damage.
                                                                                        C. Limits Of Insurance
                                b. Acts or decisions, including the failure to act
                                    or decide, of any person, group, organization          The most we will pay for loss or damage in any one
                                    or governmental body.                                  occurrence is the applicable Limit of Insurance
                                                                                           shown in the Declarations.
                                c. Faulty, inadequate or defective:
                                                                                        D. Deductible
                                   (1) Planning, zoning, development, surveying,
                                       siting;                                             We will not pay for loss or damage in any one
                                                                                           occurrence until the amount of the adjusted loss or
                                   (2) Design, specifications, workmanship,                damage before applying the applicable Limits of
                                       repair,     construction,     renovation,           Insurance exceeds the Deductible shown in the
                                       remodeling, grading, compaction;                    Declarations. We will then pay the amount of the
                                   (3) Materials used in repair, construction,             adjusted loss or damage in excess of the Deductible,
                                       renovation or remodeling; or                        up to the applicable Limit of Insurance.
                                   (4) Maintenance;                                     E. Additional Conditions
                                    of part or all of any property wherever located.        1. Valuation – Specifically Declared Items
                                d. Collapse, including any of the following                    The following is added to General Condition F.
                                    conditions of property or any part of the                  Valuation in the Commercial Inland Marine
                                    property:                                                  Conditions:
                                   (1) An abrupt falling down or caving in;                    The value of each item of property that is
                                                                                               specifically declared and described in the
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                                   (2) Loss of structural integrity, including
                                                                                               Declarations is the applicable Limit of Insurance
                                       separation of parts of the property or
                                                                                               shown in the Declarations for that item.
                                       property in danger of falling down or
                                       caving in; or                                        2. Recoveries
                                   (3) Any cracking, bulging, sagging, bending,                The following is added to Loss Condition H.
                                       leaning, settling, shrinking or expansion as            Recovered Property in the Commercial Inland
                                       such condition relates to Paragraph (1) or              Marine Conditions:
                                       (2).                                                    If either you or we recover any property after loss
                                                                                               settlement, that party must give the other prompt
                                                                                               notice. At your option, the property will be
                                                                                               returned to you. If so, your loss or damage will be
                                                                                               readjusted based on the amount you received for
                                                                                               the property recovered, with allowance for
                                                                                               recovery expenses incurred.




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   3. The following conditions apply in addition to the      F. Definitions
      Commercial Inland Marine Conditions and the               1. "Valuable papers and records" means inscribed,
      Common Policy Conditions:                                    printed or written documents, manuscripts or
      a. Coverage Territory                                        records, including abstracts, books, deeds,
          We cover property:                                       drawings, films, maps or mortgages.
         (1) Within your "premises"; and                           But "valuable papers and records" does not mean
                                                                   "money" or "securities," converted data, programs
         (2) Away from your "premises" while in transit            or instructions used in your data processing
              or within premises of others if those                operations, including the materials on which the
              premises are located or the transit is               data is recorded.
              within:
                                                                2. "Premises" means that interior portion of the
             (a) The United States of America                      building at the address shown in the Declarations
                  (including    its territories    and             that you occupy for your business.
                  possessions);
                                                                3. "Money" means:
             (b) Puerto Rico; and
                                                                    a. Currency, coins and bank notes whether or
              (c) Canada.                                              not in current use; and
      b. Protection Of Records                                      b. Travelers checks, register checks and money
         Whenever you are not open for business, and                   orders held for sale to the public.
         except while you are actually using the                4. "Securities" means negotiable and non-
         property, you must keep all "valuable papers              negotiable instruments or contracts representing
         and records" in receptacles that are described            either "money" or other property and includes:
         in the Declarations.
                                                                   a. Tokens, tickets, revenue and other stamps
                                                                       whether or not in current use; and
                                                                   b. Evidences of debt issued in connection with
                                                                       credit or charge cards, which cards are not of
                                                                       your own issue;
                                                                   but does not include "money."




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              your acts or because you have failed to              4.   If we do not renew this policy, we will give written
              comply with the terms of this Coverage Form:              notice to the Loss Payee at least 10 days before
                                                                        the expiration date of this policy.
              (1) The Loss Payee’s rights will be
                  transferred to us to the extent of the         D. CONTRACT OF SALE
                  amount we pay; and
                                                                   1.   The Loss Payee shown in the Schedule is a
              (2) The Loss Payee’s rights to recover the full           person or organization you have entered a
                  amount of the Loss Payee’s claim will not             contract with for the sale of Covered Property.
                  be impaired.
                                                                   2.   For Covered Property in which both you and the
                  At our option, we may pay to the Loss                 Loss Payee have an insurable interest we will:
                  Payee the whole principle on the debt
                                                                        a.   Adjust losses with you; and
                  plus any accrued interest. In this event,
                  you will pay your remaining debt to us.               b. Pay any claim for loss or damage jointly to
    3.   If we cancel this policy, we will give written notice             you and the Loss Payee, as interests may
         to the Loss Payee at least:                                       appear.

         a.                                                        3.   The following is added under the Loss Condition
              10 days before the effective date of
              cancellation if we cancel for your non-                   section of the Commercial Inland Marine
              payment of premium; or                                    Conditions, Paragraph F. – Other Insurance:

         b. 30 days before the effective date of                        For Covered Property that is the subject of a
            cancellation if we cancel for any other reason.             contract of sale, the word “you” includes the Loss
                                                                        Payee.




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F. ADDITIONAL CONDITIONS                                                                                      11

    1.   Carriers for Hire                                                                                    11

    2.   Coverage Territory                                                                                   11

    3.   Coinsurance                                                                                          11

    4.   Deductible Waiver for Pre-Loss Risk Protection                                                       11

    5.   Minimum Earned Premium                                                                               12

    6.   Reporting Conditions                                                                                 12

    7.   Resume Operations                                                                                    12

G. DEFINITIONS                                                                                                12




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                                                   CONTRACTORS EQUIPMENT COVERAGE FORM
                          Various provisions in this Policy restrict coverage. Read the entire Policy carefully to determine rights, duties and what is
                          and what is not covered.
                          Throughout this Policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The words "we,"
                          "us" and "our" refer to the Company providing this insurance.
                          Other words and phrases that appear in quotation marks have special meaning. Refer to Section G – DEFINITIONS.
                          A. COVERAGE
                              Subject to the Limits of Liability specified in the Declarations, and all other Policy provisions "we" will pay for direct
                              physical "loss" to Covered Property described herein from any Covered Cause of Loss.
                              1.   Covered Property, as used in this Coverage Form, means the contractors equipment property described in the
                                   Declarations page and subject to Section A.2. (Property Not Covered) below. This Covered Property may be
                                   "your" property, or the property of others in "your" care, custody or control.
                              2.   Property Not Covered
                                   a.   Automobiles, motor trucks, tractors, trailers and similar conveyances designed for highway use and used for
                                        over the road transportation of people or cargo. However, this does not include:
                                        (1) Self-propelled vehicles designed and used primarily to carry mounted Covered Property, or
                                        (2) Vehicles designed for highway use that are unlicensed and not operated on public roads;
                                   b. Aircraft or watercraft;
                                   c.   Contraband, or property in the course of illegal transportation or trade;
                                   d. Equipment leased or rented to others, unless indicated in the Declarations;
                                   e.   Equipment loaned to others, except as provided in Section A. Coverage Extension 6.a.;
                                   f.   Property while airborne;
                                   g. Property while waterborne, except as provided in Section A. Coverage Extension 6.h. or in Coverage
                                      Extension 6.i.
                              3.   Time Element
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                                   a.   Business Income, Contractual Penalties and Extra Expense
                                        (1) As used in this Coverage Form:
                                            (a) Business Income means:
                                                (i) Net income including net rental income (net profit or "loss" before income taxes) that would have
                                                    been earned or incurred; and
                                                (ii) Continuing normal operating expenses incurred.
                                                     But, Business Income does not include any incentive bonus which would have been received if
                                                     the project had been completed ahead of schedule.
                                            (b) Contractual Penalties means amounts which, under the terms of "your" contract, "you" are required
                                                to pay due to "your" inability to fulfill the contractual obligations due to a delay. "Your" inability to fulfill
                                                contractual obligations due to a delay must be as a direct result of a "loss" to "your" Covered
                                                Property due to a Covered Cause of Loss.
                                            (c) Extra Expense means necessary additional expenses "you" incur to avoid or minimize the
                                                suspension of business and to continue operations. This includes additional expenses incurred to
                                                make temporary repairs to, and expedite the permanent repair or replacement of Covered Property
                                                that is damaged by a Covered Cause of Loss, such as overtime and the additional cost of express or
                                                other means of rapid transportation.




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                      All necessary expenses that "you" incur to reduce "loss" of Business Income other than Fire
                      Department Service Charges and Extinguishing Expenses, but "we" will not pay more than the actual
                      amount by which the "loss" of Business Income is reduced.
              (2) "We" will pay for;
                  (a) The actual "loss" of Business Income "you" sustain during the "period of restoration," after the waiting
                      period. If applicable, "we" will deduct from this amount all charges and expenses which do not
                      necessarily continue during the "period of restoration."
                  (b) The actual "loss" of Business Income "you" sustain directly from a total or partial "loss" to "your"
                      Covered Property, but no more than the Maximum Per Day Limit of Insurance specified in the
                      Declarations for each day "your" operations are suspended.
                      This period of time will not be limited by the expiration date of the Policy.
              (3) The most "we" will pay for all "loss" of Business Income, Contractual Penalties and Extra Expense arising
                  out of any one occurrence under this Coverage Form is the Business Income, Contractual Penalties and
                  Extra Expense Limit of Insurance specified in the Declarations.
              (4) A Waiting Period Deductible is the amount of time, immediately following the date and time of direct
                  physical "loss," during which "you" are responsible for the amount of Business Income "loss" sustained or
                  Contractual Penalties incurred or Extra Expense incurred. "We" will then pay the amount of Business
                  Income "loss" sustained and Contractual Penalties incurred and Extra Expense incurred during the
                  remainder of the "Period of Restoration," up to the Limit of Insurance specified in the Declarations that
                  applies to this Coverage. The Waiting Period Deductible that applies to "your" coverage for "loss" of
                  Business Income, Contractual Penalties and Extra Expense is the Business Income, Contractual
                  Penalties and Extra Expense Waiting Period Deductible specified in the Declarations. No other
                  Deductible applies to the insurance provided under this Coverage Form.
              (5) "We" will discontinue payments for "loss" when:
                  (a) The total amount paid for the "loss" of income equals the per occurrence Limit of Insurance specified
                      in the Declarations; or
                  (b) The "Period of Restoration" is completed, whichever occurs first.
    4.   Covered Causes of Loss
         Covered Causes of Loss means all causes of direct physical "loss" except those causes of loss listed in Section
         B. (EXCLUSIONS).
    5.   Additional Coverages
         a.   Arson and Crime Reward Payments
              (1) In the event of an arson, theft or vandalism "loss" to which the insurance provided by this Coverage Form
                  applies, "we" will reimburse "you" for amounts "you" offer, and subsequently pay, as a reward to anyone,
                  other than "you" or "your" officers, partners or directors, for information leading to:
                  (a) The arrest and conviction of any person(s) responsible for the arson, theft or vandalism "loss"; or
                  (b) The recovery of the stolen property.
              (2) The most "we" will pay under this Additional Coverage for all rewards paid for information regarding any
                  one arson, theft, or vandalism "loss" is the Arson and Crime Reward Payments Limit of Insurance
                  specified in the Declarations.
              (3) No deductible applies to this Additional Coverage.
         b. Data Restoration Expense
              (1) The insurance provided by this Coverage Form covers "your" costs to research, replace or restore the
                  lost data on lost or damaged "media" which is used in or with "your" Covered Property.
              (2) This Additional Coverage applies only if the direct physical "loss" is caused by or results from a Covered
                  Cause of Loss.



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                                        (3) The most "we" will pay in any one occurrence under this Additional Coverage for "your" costs to research,
                                            replace, or restore the lost data on lost or damaged "media" is the Data Restoration Expense Limit of
                                            Insurance specified in the Declarations.
                                   c.   Debris Removal
                                        (1) "We" will pay your expense to remove debris of Covered Property caused by or resulting from a Covered
                                            Cause of Loss that occurs during the policy period.
                                        (2) The expenses will be paid only if they are reported to us in writing within 180 days of the date of direct
                                            physical "loss."
                                        (3) The most "we" will pay under this Additional Coverage is 25% of:
                                            (a) The amount "we" pay for the direct physical "loss" to Covered Property, plus
                                            (b) The Deductible in this Policy applicable to that "loss."
                                                 But, this limitation does not apply to any additional debris removal limit provided under the
                                                 Additional Coverage and Coverage Extension Declarations Schedule.
                                        (4) This Additional Coverage does not apply to costs to:
                                            (a) Extract "pollutants" from land or water, or
                                            (b) Remove, restore, or replace polluted land or water.
                                   d. Fire Department Service Charge and Extinguishing Expense
                                        When the fire department is called to save or protect Covered Property from a Covered Cause of Loss, "we"
                                        will pay up to the Fire Department Service Charge and Extinguishing Expense Limit of Insurance specified in
                                        the Declarations for "your" liability for fire department service charges:
                                        (1) Assumed by contract or agreement prior to "loss"; or
                                        (2) Required by local ordinance.
                                        No Deductible applies to this Additional Coverage.
                                   e.   Loss Adjustment Expense
                                        In the event of covered "loss" under this Coverage Form, "we" will pay for reasonable expenses incurred by
                                        "you," at our request, to assist us in the determination of the amount of "loss," such as taking inventory and
                                        appraisals.
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                                        "We" will not pay for public adjustors' fees.
                                        No Deductible applies to this Additional Coverage.
                                   f.   Maintenance Supplies, Spare parts and Fuel
                                        "We" will pay for "loss" to spare parts and accessories for Covered Property, fluids for vehicles including fuel
                                        oil, grease, and similar maintenance supplies usual to "your" operations caused by or resulting from a
                                        Covered Cause of Loss. This Additional Coverage does not apply to products, such as fuels in underground
                                        tanks.
                                   g. Recharge of Fire Protection Equipment
                                        "We" will pay the cost to recharge discharged Fire Protection Equipment whether or not there is direct
                                        physical "loss" to Covered Property. The most "we" will pay for this Additional Coverage is the Recharge of
                                        Fire Protection Limit of Insurance specified in the Declarations.
                              6.   Coverage Extensions
                                   a.   Equipment Loaned To Others
                                        If Equipment Loaned to Others is shown as INCLUDED in the Declarations, "we" will pay for direct physical
                                        "loss" as a result of a Covered Cause of Loss to Equipment Loaned to Others for a period of less than 12
                                        Months.



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        b. Expediting Expenses
              "We" will pay reasonable and necessary costs incurred by the insured to expedite repairs to Covered Property
              following "loss" covered under this Coverage Form. This includes payment of overtime wages and extra cost
              to use express or other rapid means of transportation. However, coverage is not included hereunder for costs
              recoverable elsewhere in the Policy or for permanent repair or replacement of damaged Covered Property.
              The most "we" will pay under this Coverage Extension is the Expediting Expenses Limit of Insurance
              specified in the Declarations.
        c.    Newly Acquired Property
              (1) The insurance provided by this Coverage Form is extended to apply to direct physical "loss" to property
                  of the type described in the Declarations which "you" acquire during the policy period.
                  "We" will also pay for the actual "loss" of Business Income "you" sustain and Contractual Penalties "you"
                  incur and necessary Extra Expense "you" incur during the "Period of Restoration" due to direct physical
                  "loss" or damage to the "Newly Acquired Property."
              (2) Insurance under this Coverage Extension applies only if the direct physical "loss" or damage is caused by
                  or results from a Covered Cause of Loss.
              (3) The most "we" will pay in any one occurrence under this Coverage Extension is the Limits of Insurance
                  specified in the Declarations for:
                  (a) "Newly Acquired Property" Limit per item;
                  (b) "Newly Acquired Property" limit per occurrence;
                  (c) Business Income, Contractual Penalties and Extra Expense from "Newly Acquired Property" Limit per
                      day;
                  (d) Business Income, Contractual Penalties and Extra Expense from "Newly Acquired Property" Limit per
                      occurrence.
              (4) The Deductible that applies to the Business Income, Contractual Penalties, and Extra Expense coverage
                  afforded under Section A.3.a. Time Element of this Coverage Form also applies to this Coverage
                  Extension for "loss" of Business Income, Contractual Penalties and Extra Expense. No other Deductible
                  applies to this coverage for "loss" of Business Income, Contractual Penalties and Extra Expense.
              (5) The insurance provided under this Coverage Extension for each newly acquired piece of Covered
                  Property will end when any of the following first occurs:
                  (a) The Policy expires;
                  (b) The "Newly Acquired Property" Time Limit specified in the Declarations has lapsed; or
                  (c) "You" report the value of the Covered Property to us.
                  "We" will charge "you" additional premium for values reported from the date "you" acquire the Covered
                  Property.
        d. Pollutant Clean Up and Removal
              "We" will pay "your" expense to extract "Pollutants" from land or water if the discharge, dispersal, seepage,
              migration, release or escape of the "Pollutants" is caused by or results from a Covered Cause of Loss that
              occurs during the policy period. The expenses will be paid only if they are reported to "us" in writing within
              180 days of the date on which the Covered Loss occurs.
              This Coverage Extension does not apply to costs to test for, monitor or assess the existence, concentration or
              effects of "Pollutants," but, "we" will pay for testing which is performed in the course of extracting the
              "Pollutants" from the land or water.
              The most we will pay for the sum of all covered expenses arising out of Covered Cause of Loss occurring
              during each separate 12 month period of this Policy is the Pollutant Clean Up and Removal Limit of Insurance
              specified in the Declarations.




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                                   e.   Preservation of Property
                                        If it is necessary to move Covered Property from a premises to preserve it from "loss" by a Covered Cause of
                                        Loss, "we" will pay for any direct physical "loss" to that Covered Property:
                                        (1) While it is being moved, or while temporarily stored at another location; and
                                        (2) Only if the "loss" occurs within 30 days after the Covered Property is first moved.
                                   f.   Rental Reimbursement
                                        We will reimburse "you" for the rental of equipment that is necessary to replace owned Covered Property and
                                        Covered Property in "your" care, custody and control, and that was made inoperable due to direct physical
                                        "loss" by a Covered Cause of Loss.
                                        "We" will not reimburse "you" if "you" have other similar equipment available to "you" at no additional
                                        expense, which can be used to continue or resume "your" operations.
                                        A Waiting Period Deductible is the amount of time, immediately following the date and time of direct physical
                                        "loss," during which "you" are responsible for the amount of rental reimbursement "loss" incurred. The
                                        Waiting Period Deductible that applies to "your" coverage for "loss" of rental reimbursement is the Rental
                                        Reimbursement Waiting Period Deductible specified in the Declarations. "Our" payment will be limited to
                                        expenses incurred during the period beginning after the Rental Reimbursement Waiting Period Deductible,
                                        and ending when the Covered Property has been replaced, restored to service or is no longer needed,
                                        whichever occurs first. "Our" payment will not be limited by the expiration date of the Policy. No other
                                        Deductible applies to this Coverage Extension.
                                        The most "we" will reimburse "you" for rental expense in any one occurrence under this Coverage Extension
                                        is specified in the Declarations. "We" will not pay more for all rental expenses in any one Policy year than the
                                        Aggregate Limit of Insurance for Rental Expense specified in the Declarations.
                                   g. Unintentional Errors and Omissions
                                        This insurance shall not be prejudiced by any unintentional or inadvertent error, omission, incorrect valuation
                                        or incorrect description of the interest, risk or property, provided notice is given to the Company as soon as
                                        practicable upon discovery of any such error, omission, incorrect valuation or incorrect description. The most
                                        "we" will pay under this Coverage Extension is the Unintentional Errors and Omissions Limit of Insurance
                                        specified in the Declarations.
                                   h. Waterborne Property in Transit
                                        If Waterborne Property in Transit is shown as INCLUDED in the Declarations "we" will pay for direct physical
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                                        "loss" to Waterborne Property in Transit as a result of a Covered Cause of Loss.
                                   i.   Waterborne Property
                                        If Waterborne Property, other than Waterborne in Transit, is shown as INCLUDED in the Declarations, "we"
                                        will pay for direct physical "loss" to Waterborne Property as a result of a Covered Cause of Loss.
                                   j.   Weight of Load
                                        "We" will pay for "loss" due to Weight of Load exceeding the registered lifting capacity of any Covered
                                        Property under normal operating conditions at the time of "loss" if Weight of Load is shown as INCLUDED in
                                        the Declarations.
                          B. EXCLUSIONS
                              1.   "We" will not pay for "loss" caused directly or indirectly by any of the following causes - such "loss" is excluded
                                   regardless of any other cause or event that contributes concurrently or in any sequence to the "loss":
                                   a.   Governmental Action
                                        Seizure or destruction of Covered Property by order of governmental authority. But, "we" will pay for "loss"
                                        caused by or resulting from acts of destruction ordered by governmental authority and taken at the time of a
                                        fire to prevent its spread, if the fire would otherwise be covered under this Coverage Form.




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         b. Nuclear Hazard
              Nuclear reaction or radiation, or radioactive contamination, however caused. But if nuclear reaction or
              radiation, or radioactive contamination results in fire, "we" will pay for the "loss" caused by that fire.
         c.   War and Military Action
              (1) War, including undeclared or civil war;
              (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
                  attack, by any government, sovereign or other authority using military personnel or other agents; or
              (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering
                  or defending against any of these.
    2.   "We" will not pay for "loss" caused by or resulting from any of the following:
         a.   Delay, loss of use, loss of market or, except as specifically provided, consequential "loss" of any nature.
         b. Unexplained disappearance, except for unexplained disappearance of Covered Property in the custody of a
            carrier for hire.
         c.   Shortage found upon taking inventory.
         d. Dishonest or criminal acts by "you," any of "your" partners, employees, directors, trustees or authorized
            representatives, or anyone to whom "you" entrust the Covered Property for any purpose, other than a carrier
            or other bailee for hire.
              This Exclusion applies whether or not such persons are acting alone or in collusion with other persons or
              such acts occur during the hours of employment.
              This Exclusion does not apply to acts of destruction by employees, but theft by employees is not covered.
         e.   Voluntary parting with any property by "you" or anyone else to whom "you" have entrusted the Covered
              Property if induced to do so by any fraudulent scheme, trick, device or false pretense.
         f.   Discharge, dispersal, seepage, migration, release, or escape of "Pollutants":
              (1) Unless the discharge, dispersal, seepage, migration, release or escape is itself caused by any of the
                  "Specified Causes of Loss"; or
              (2) Except as provided for under the Coverage Extension Pollutant Clean Up and Removal.
              But if "loss" by the "specified causes of loss" results from the discharge, dispersal, seepage, migration,
              release or escape of "pollutants," we will pay for the resulting "loss" caused by the "specified cause of loss."
         g. The weight of a load exceeding the registered lifting capacity of any machine under the operating conditions
            at the time of "loss," except as provided in Section A.6.j.
    3.   "We" will not pay for direct physical "loss" caused by or resulting from any of the following causes of "loss" (3. a.
         through 3.j.), but, if any excluded cause of "loss" listed in said 3.a. through 3.j. results in a Covered Cause of
         Loss, "we" will pay for "loss" caused by that Covered Cause of Loss:
         a.   Weather conditions - but this exclusion only applies if weather conditions contribute in any way with a cause
              or event excluded in Section B. Exclusion 1. of this Coverage Form to produce the direct physical "loss";
         b. Acts or decisions, including the failure to act or decide, of any person, group, organization or governmental
            body;
         c.   Faulty, inadequate or defective:
              (1) Planning, zoning, development, surveying, siting;
              (2) Design, specifications, workmanship, repair, installation, construction, renovation, remodeling, grading,
                  compaction;
              (3) Materials used in repair, installation, construction, renovation or remodeling; or
              (4) Maintenance;
              of part or all of any Covered Property, wherever located.


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                                   d. Wear and tear, rust, corrosion, fungus, decay, depreciation, gradual deterioration, hidden or latent defect, or
                                      any quality in the Covered Property that causes it to damage or destroy itself;
                                   e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents or
                                        other animals;
                                   f.   Dampness or dryness of atmosphere, changes in or extremes of temperature, marring or scratching,
                                        breakage of tubes, bulbs, lamps or articles made largely of glass (except lenses) but, "we" will pay for such
                                        "loss" caused directly by the "Specified Causes of Loss" when those "Specified Causes of Loss" are Covered
                                        Cause of Loss;
                                   g. "Computer Virus";
                                   h. Malfunction or failure of Covered Property to operate, due to, but not limited to adjustment, alignment,
                                      calibration, cleaning or modification;
                                   i.   Functioning of any safety or protective device; and/or
                                   j.   Mechanical breakdown or any artificially generated electrical current, including electric arcing, that disturbs
                                        electrical devices, appliances or wires.
                              4.   The following additional exclusions apply only to the insurance provided under this Coverage Form for "loss" of
                                   "Business Income" and "Extra Expense." "We" will not pay for:
                                   a.   "Loss" of "Business Income" or "Extra Expense" caused by or resulting from programming errors or faulty
                                        machine instructions.
                                   b. Any increase of "loss" of "Business Income" or "Extra Expense" caused by or resulting from:
                                        (1) Delay in rebuilding, repairing or replacing damaged Covered Property or in resuming "your" business
                                            operations, due to interference by strikers or other persons at "your" premises or the premises of "your"
                                            normal business operations; or
                                        (2) Suspension, lapse, or cancellation of any license, lease, or contract. But if the suspension, lapse or
                                            cancellation is directly caused by the interruption of "your" business operations, "we" will cover such
                                            "loss" that affects "your" "Business Income" during the "Period of Restoration"; or
                                   c.   Any other consequential "loss."
                          C. LIMITS OF INSURANCE
                              1.   The most "we" will pay for "loss" in any one occurrence is the Maximum Per Occurrence Limit specified in the
                                   Declarations.
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                              2.   Except where specifically indicated otherwise, payments under any Additional Coverages are in addition to the
                                   Property and Time Element Limits of Insurance.
                              3.   Except where specifically indicated otherwise, payment under the Coverage Extensions does not increase the
                                   applicable Property and Time Element Limits of Insurance.
                              4.   The most "we" will pay for any Additional Coverage or any Extension of Coverage under this Coverage Form is
                                   the Limit of Insurance specified in the Declarations.
                          D. DEDUCTIBLE
                              "We" will not pay for "loss" in any one occurrence until the amount of the adjusted "loss" before applying the applicable
                              Limits of Insurance exceeds the Deductible amount specified in the Declarations. "We" will then pay the adjusted
                              "loss" in excess of the Deductible amount, or Percentage Deductible up to the applicable Limit of Insurance. If a "loss"
                              involves two or more Covered Property items, the Percentage Deductible will apply only to the Covered Property with
                              the highest value at the time of "loss." Except as may be otherwise provided in this Policy, in the event of any one
                              Occurrence where two or more Deductibles apply, the total to be deducted shall not exceed the largest Deductible
                              applicable, except that in the event of one Occurrence, where both a physical damage and a Time Element deductible
                              are involved, each such Deductible shall apply separately.
                          E. VALUATION CONDITIONS
                              General Conditions F. Valuation in the Commercial Inland Marine Conditions is replaced by the following:
                              1.   In the event of "loss," the value of Covered Property will be determined as of the time of "loss."

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    2.   If a covered "loss" occurs to an item of Covered Property and the total amount of this "loss" is less than 20% of
         the value of the item at the time of "loss," no depreciation will be applied to the damaged Covered Property in the
         settlement of the claim.
    3.   We will deduct the amount of any security deposit you retain on Covered Property leased or rented to others from
         what we would otherwise pay in the settlement of a claim.
    4.   Actual Cash Value (ACV)
         a.   Unless otherwise indicated on the Declarations or in Section E.4.b. below, the value of Covered Property will
              be the least of the following amounts:
              (1) The actual cash value of the lost or damaged Covered Property at the time of direct physical loss or
                  damage;
              (2) The cost of repairing the lost or damaged Covered Property with other property of like kind and quality;
              (3) The cost of replacing the lost or damaged Covered Property with other property of like kind and quality;
              (4) If the Covered Property is leased or rented, "your" liability imposed by law or assumed by contract; or
              (5) The Limit of Insurance applicable to the lost or damaged Covered Property.
         b. With respect to Equipment Leased or Rented From Others, if the written lease or rental agreement requires
            that "you" insure such property on a replacement cost basis, the valuation is changed to replacement cost as
            described in Section E.5. of this Coverage Form below.
    5.   Replacement Cost (RC)
         If Replacement Cost is indicated in the Declarations, the following valuation provisions will apply:
         a.   In the event of a "loss," "we" will determine the value of lost or damaged Covered Property on the basis of
              replacement cost without deduction for depreciation.
         b. "We" will establish the value of the "loss" at the time of its occurrence, but "we" will not pay more than the
            least of:
              (1) The cost of repairing the lost or damaged Covered Property with property of like kind and quality;
              (2) (i) The cost of replacing the lost or damaged Covered Property with property of like kind and quality; or
                  (ii) If replacement with property of like kind and quality is not possible, the cost of replacing the lost or
                       damaged property with property of the nearest better kind and quality available;
              (3) The amount "you" actually spend that is necessary to repair or replace the lost or damaged Covered
                  Property; or
              (4) If the Covered Property is leased or rented, "your" liability imposed by law or assumed by contract; or
              (5) The Limit of Insurance applicable to the lost or damaged Covered Property.
         c.   "We" will not pay on a replacement cost basis for any "loss":
              (1) Until the lost or damaged Covered Property is actually repaired or replaced; and
              (2) Unless the repairs or replacement are made as soon as reasonably possible after the "loss."
         d. "You" may make a claim for "loss" covered by this Coverage Form on an actual cash value basis (as
            described in Section E.4.a. above of this Coverage Form (Actual Cash Value (ACV)) instead of on a
            replacement cost basis. In the event "you" elect to have a "loss" settled on an actual cash value basis, "you"
            may still make a claim on a replacement cost basis if "you" notify "us" of "your" intent to do so within 180 days
            after the "loss."
    6.   Agreed Value (AV)
         If Agreed Value is indicated in the Declarations, "we" will determine the value of the Covered Property as follows:
         a.   With respect to individual items listed in the Schedule on file with "us," each item is valued at and insured for
              the amount indicated in the Schedule and without depreciation.
         b. With respect to items not listed in the Schedule on file with "us" with a specific limit but covered under the
            terms of this Policy, each item shall be valued at and insured for:
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                                        (1) if owned by "you," the cost price to "you," without deduction for depreciation, or
                                        (2) If not owned by "you," the amount for which "you" may be legally liable contractually or otherwise.
                                   Notwithstanding the foregoing, "we" may elect to repair any damaged Covered Property or replace any damaged
                                   Covered Property with another of like quality and value.
                          F. ADDITIONAL CONDITIONS
                              The following conditions apply in addition to the Commercial Inland Marine Conditions and the Common Policy
                              Conditions:
                              1.   Carriers for Hire
                                   "You" may accept bills of lading or shipping receipts issued by carriers for hire that limit their liability to less than
                                   the actual cash value of the Covered Property.
                              2.   Coverage Territory
                                   "We" will cover Covered Property wherever located within:
                                   a.   The United States of America
                                   b. Puerto Rico; and
                                   c.   Canada.
                              3.   Coinsurance
                                   a.   All Covered Property must be insured for at least the percentage coinsurance amount, as specified in the
                                        Declarations, of its value as of the time of "loss" or "you" will incur a penalty.
                                   b. The penalty is that "we" will pay only the proportion of any "loss" that the Limit of Insurance specified in the
                                      Declarations for the lost or damaged Covered Property bears to the Coinsurance percentage of its value as of
                                      the time of "loss."
                                   c.   Coinsurance does not apply:
                                        (1) if waived on the Declarations;
                                        (2) to Small Tools;
                                        (3) to Employee Tools and Work Clothing; or
                                        (4) "Short Term Equipment Leased, Borrowed or Rented From Others."
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                              4.   Deductible Waiver for Pre-Loss Risk Protection
                                   a.   In the event of a theft "loss," we agree to waive the Deductible amount - up to $10,000 - if any piece of stolen
                                        Covered Property:
                                        (1) is protected by a LoJack Stolen Vehicle Police Recovery System; or
                                        (2) is registered on the National Equipment Register (NER) database prior to the date and time of theft.
                                   b. The following provisions are added to the Commercial Inland Marine Conditions, "Duties In The Event Of
                                      Loss":
                                        (1) For Covered Property protected by a LoJack Stolen Vehicle Police Recovery System:
                                            (a) Work with the police having jurisdiction in the area which the theft occurred to insure that the piece of
                                                Covered Property is entered as a vehicle into their computer system; and
                                            (b) Provide LoJack with the same information you provided the local law enforcement agency.
                                        (2) For Covered Property registered on the National Equipment Register Database:
                                            (a) Ensure that a report of theft is submitted to law enforcement and that the NER is also notified of the
                                                loss; and
                                            (b) Provide evidence, or request that the NER provide evidence, that the Covered Property is registered
                                                in the NER database when claiming a Deductible waiver.


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    5.   Minimum Earned Premium
         If a Minimum Earned Premium is specified in the Declarations, this is the minimum premium "we" will earn and
         retain regardless of the Policy's term except when the Policy is rescinded or cancelled as of the Policy effective
         date.
    6.   Reporting Conditions
         Subject to the "Reporting Period" indicated in the Declarations, the Reporting Conditions will be as follows:
         a.   Within 30 days after the end of each "reporting period," "you" must file with "us" reports of the Premium
              Base(s) shown in the Declarations.
         b. If, at the time of "loss," "you" have failed to file with us:
              (1) The first required report, "we" will not pay more than 90% of the amount "we" would otherwise have paid;
              (2) Any required report after the first report; "we" will not pay more than the value stated in the last report
                  filed with us before the "loss."
         c.   "We" will not pay more than the applicable Limit of Insurance even if the value "you" report exceeds the limit.
         d. After each Premium Adjustment Period, "we" will compute the earned premium using the rate indicated
            multiplied by the average reported values, per $100. The average reported value is determined by dividing the
            total reported values by the number of reports, including the report of values at Policy inception.
         e.   The premium specified in the Declarations is a deposit premium. When the "reporting period" is:
              (1) On an annual basis, "we" will compare the total computed premium to the deposit premium. If the
                  computed premium is:
                  (a) More than the deposit premium, "you" will pay us the difference; or
                  (b) Less than the deposit premium, "we" will pay "you" the difference.
              (2) On other than an annual basis, "we" will apply the computed premium to the deposit premium until it is
                  used up. "You" will pay us all premiums that exceed the deposit premium.
                  (a) "You" must pay at least the minimum premium specified in the Declarations. The minimum premium
                      will only apply when the computed premium for the policy period is less than the minimum premium
                      and the policy period is fully completed.
                  (b) If this insurance is cancelled, "you" must report the total value of all Covered Property up to and
                      including the date of cancellation.
    7.   Resume Operations
         The following applies when Business Income, Contractual Penalties and Extra Expense is indicated in the
         Declarations:
         "You" must take all reasonable steps to minimize "your" loss of Business Income either by making use of "your"
         own property or by using other property to continue "your" operations. "You" must also resume at least partial
         operations as soon as practicable after a "loss."
G. DEFINITIONS
    1.   "Computer Virus" means any "software" introduced or implanted without authorization into "hardware" or
         "Software" which causes the corruption, distortion, deletion, destruction, unauthorized copying or "loss" of
         functionality of "software."
    2.   "Employee":
         a.   "Employee" means:
              (1) Any natural person:
                  (a) while in "your" service or for 30 days after termination of service;
                  (b) who "you" compensate directly by salary, wages or commissions; and
                  (c) who "you" have the right to direct and control while performing services for "you."


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                                        (2) Any natural person who is furnished temporarily to "you";
                                            (a) to substitute for a permanent "employee" as defined in Paragraph above;
                                            (b) who is on leave; or
                                            (c) to meet seasonal or short-term work load conditions,
                                            while that person is subject to "your" direction and control and performing services for "you," excluding
                                            any such person while having care, and custody of Covered Property not on "your" premises.
                                        (3) Any natural person who is leased to "you" under a written agreement between "you" and a labor leasing
                                            firm, to perform duties related to the conduct of "your" business, but does not mean a temporary
                                            "employee" as defined in Section G.2.a.(2) above;
                                        (4) Any natural person who is a former "employee," director, partner, member, manager, representative or
                                            trustee retained as a consultant while performing services for "you"; or
                                        (5) Any natural person who is a guest student or intern pursuing studies or duties, excluding, however, any
                                            such person while having care, and custody of Covered Property outside the premises.
                                   b. "Employee" does not mean:
                                        (1) Any agent, broker, factor, commission merchant, consignee, independent contractor or representative of
                                            the same general character; or
                                        (2) Any manager, director or trustee except while performing acts coming within the scope of the usual duties
                                            of an "employee."
                              3.   "Hardware" means a network of electronic machine components capable of accepting instructions and
                                   information, processing the information according to the instructions, and producing desired results. "Hardware"
                                   does not include "software."
                              4.   "Loss" means accidental loss of or damage to the Covered Property.
                              5.   "Media" means processing, recording, or storage materials used with "hardware." This includes but is not limited
                                   to films, tapes, cards, discs, drums, cartridges, or cells.
                              6.   "Newly Acquired Property" means property purchased or borrowed by you during the policy period but does not
                                   include property you rent, hire or lease from others, except property for which you have a written rent or lease
                                   agreement of no less than 12 months.
                              7.   "Period of Restoration" means the period of time that;
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                                   a.   begins with the date of direct physical "loss" caused by or resulting from any Covered Cause of Loss to a
                                        Scheduled item; and
                                   b. ends on the date when the Covered Property should be repaired, rebuilt or replaced with reasonable speed
                                      and similar quality.
                                   "Period of Restoration" does not include any increased period required due to the enforcement of any ordinance
                                   or law that:
                                   a.   regulates the construction, use or repair, or requires the tearing down of any property or Covered Property; or
                                   b. requires any insured or others to test for, monitor, clean-up, remove, contain, treat, detoxify or neutralize, or in
                                      any way respond to, or assess the effects of "pollutants."
                                   The expiration of the Policy will not cut short the "Period of Restoration."
                              8.   "Pollutants" means any solid, liquid, gaseous, or thermal irritant or contaminant, including smoke, vapor, soot,
                                   fumes, acids, alkalis, chemicals, and waste. Waste includes materials to be recycled, reconditioned or reclaimed.
                              9.   "Premium base" means the basis upon which the premium for the Covered Property which "you" lease or rent will
                                   be determined. The "premium base" is shown in the Declarations.
                              10. "Reporting Period" means the period of time for which new reports of value are due, as specified in the
                                  Declarations:
                                   a.   Monthly, reports must show values as of the last day of the month; and the "reporting period" ends on the last
                                        day of each month.

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        b. Quarterly, reports must show values as of the last day of each month; but the "reporting period" ends on the
           last day of each third month from Policy inception.
        c.    Semi-Annual, reports must show values as of the last day of each month; but the "reporting period" ends on
              the last day of the sixth month from Policy inception and on the Policy anniversary date.
        d. Annual, reports must show values as of the last day of each month; but the "reporting period" ends on the
           Policy anniversary date.
    11. "Short Term Equipment Leased, Borrowed or Rented From Others" means Covered Property that "you" have
        leased, borrowed or rented from others for a period of less than 12 months.
    12. "Specified Causes of Loss" means: fire; lightning; explosion; windstorm; hail; smoke; riot or civil commotion;
        vandalism; theft; leakage from fire extinguishing equipment; aircraft or vehicles and objects thrown up by vehicles;
        "sinkhole collapse," volcanic action; falling objects; weight of snow, ice or sleet; "water damage" elevator collision;
        sonic shock waves; or accident to the vehicle while carrying Covered Property.
        a.    "Sinkhole collapse" means the sudden sinking or collapse of land into underground empty spaces created by
              the action of water on limestone or dolomite. This cause of "loss" does not include:
              (1) The cost of filling sinkholes; or
              (2) Sinking or collapse of land into man-made underground cavities.
        b. "Water damage" means "loss" caused by accidental discharge or leakage of water or steam as the direct
           result of the breaking or cracking of any part of a system or appliance containing water or steam.
    13. "Software" means:
        a.    Electronic data processing, recording or storage "media"; and
        b. Data and programming records, used for electronic data processing or electronically controlled equipment,
           stored on "media."




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                                                                                                                            CNA PARAMOUNT
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                          Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
                          and is not covered.
                          Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, and any other
                          person or organization qualifying as a Named Insured under this policy. The words "we", "us" and "our" refer to the
                          company providing this insurance.
                          The word Insured means any person or organization qualifying as such under Section II – Who Is An Insured.
                          Other words and phrases that appear in bold have special meaning. Refer to Section V – Definitions.
                          SECTION I – COVERAGES
                          COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY
                          1.   Insuring Agreement
                               a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of bodily injury
                                    or property damage to which this insurance applies. We will have the right and duty to defend the Insured
                                    against any suit seeking those damages. However, we will have no duty to defend the Insured against any suit
                                    seeking damages for bodily injury or property damage to which this insurance does not apply. We may, at our
                                    discretion, investigate any occurrence and settle any claim or suit that may result. But:
                                    (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                    (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the payment of
                                        judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                    under Supplementary Payments – Coverages A and B.
                               b. This insurance applies to bodily injury and property damage only if:
                                    (1) The bodily injury or property damage is caused by an occurrence that takes place in the coverage
                                        territory;
                                    (2) The bodily injury or property damage occurs during the policy period; and
                                    (3) Prior to the policy period, no Insured listed under Paragraph 1. of Section II – Who Is An Insured and no
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                                        employee authorized by you to give or receive notice of an occurrence or claim, knew that the bodily injury
                                        or property damage had occurred, in whole or in part. If such a listed Insured or authorized employee knew,
                                        prior to the policy period, that the bodily injury or property damage occurred, then any continuation,
                                        change or resumption of such bodily injury or property damage during or after the policy period will be
                                        deemed to have been known prior to the policy period.
                               c.   Bodily injury or property damage which occurs during the policy period and was not, prior to the policy
                                    period, known to have occurred by any Insured listed under Paragraph 1. of Section II – Who Is An Insured or
                                    any employee authorized by you to give or receive notice of an occurrence or claim, includes any continuation,
                                    change or resumption of that bodily injury or property damage after the end of the policy period.
                               d. Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time
                                  when any Insured listed under Paragraph 1. of Section II – Who Is An Insured or any employee authorized by
                                  you to give or receive notice of an occurrence or claim:
                                    (1) Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
                                    (2) Receives a written or verbal demand or claim for damages because of the bodily injury or property
                                        damage; or
                                    (3) Becomes aware by any other means that bodily injury or property damage has occurred or has begun to
                                        occur.

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     e.   Damages because of bodily injury include damages claimed by any person or organization for care, loss of
          services or death resulting at any time from the bodily injury.
2.   Exclusions
     This insurance does not apply to:
     a.   Expected Or Intended Injury
          Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does
          not apply to bodily injury resulting from the use of reasonable force to protect persons or property.
     b. Contractual Liability
          Bodily injury or property damage for which the Insured is obligated to pay damages by reason of the
          assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:
          (1) That the Insured would have in the absence of the contract or agreement; or
          (2) Assumed in a contract or agreement that is an Insured contract, provided the bodily injury or property
              damage occurs subsequent to the execution of the contract or agreement. Solely for the purposes of liability
              assumed in an Insured contract, reasonable attorneys' fees and necessary litigation expenses incurred by or
              for a party other than an Insured are deemed to be damages because of bodily injury or property damage,
              provided:
              (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in the same
                  Insured contract; and
              (b) Such attorneys' fees and litigation expenses are for defense of that party against a civil or alternative
                  dispute resolution proceeding in which damages to which this insurance applies are alleged.
     c.   Liquor Liability
          Bodily injury or property damage for which any Insured may be held liable by reason of:
          (1) Causing or contributing to the intoxication of any person;
          (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of
              alcohol; or
          (3) Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages.
          This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in:
              (a) The supervision, hiring, employment, training or monitoring of others by that Insured; or
              (b) Providing or failing to provide transportation with respect to any person that may be under the influence of
                  alcohol;
          if the occurrence which caused the bodily injury or property damage, involved that which is described in
          Paragraph (1), (2) or (3) above.
          However, this exclusion applies only if you are in the business of manufacturing, distributing, selling, serving or
          furnishing alcoholic beverages. For the purposes of this exclusion, permitting a person to bring alcoholic
          beverages on your premises, for consumption on your premises, whether or not a fee is charged or a license is
          required for such activity, is not by itself considered the business of selling, serving or furnishing alcoholic
          beverages.
     d. Workers' Compensation And Similar Laws
          Any obligation of the Insured under a workers' compensation, disability benefits or unemployment compensation
          law or any similar law.



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                             e.   Employer's Liability
                                  Bodily injury to:
                                  (1) An employee of the Insured arising out of and in the course of:
                                      (a) Employment by the Insured; or
                                      (b) Performing duties related to the conduct of the Insured's business; or
                                  (2) The spouse, child, parent, brother or sister of that employee as a consequence of Paragraph (1) above.
                                  This exclusion applies whether the Insured may be liable as an employer or in any other capacity and to any
                                  obligation to share damages with or repay someone else who must pay damages because of the injury.
                                  This exclusion does not apply to liability assumed by the Insured under an Insured contract.
                             f.   Pollution
                                  (1) Bodily injury or property damage arising out of the actual, alleged or threatened discharge, dispersal,
                                      seepage, migration, release or escape of pollutants:
                                      (a) At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
                                          loaned to, any Insured. However, this subparagraph does not apply to:
                                          (i) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by
                                              or originating from equipment that is used to heat, cool or dehumidify the building, or equipment that
                                              is used to heat water for personal use, by the building's occupants or their guests;
                                          (ii) Bodily injury or property damage for which you may be held liable, if you are a contractor and the
                                               owner or lessee of such premises, site or location has been added to your policy as an additional
                                               Insured with respect to your ongoing operations performed for that additional Insured at that
                                               premises, site or location and such premises, site or location is not and never was owned or
                                               occupied by, or rented or loaned to, any Insured, other than that additional Insured; or
                                          (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
                                      (b) At or from any premises, site or location which is or was at any time used by or for any Insured or others
                                          for the handling, storage, disposal, processing or treatment of waste;
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                                      (c) Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste
                                          by or for:
                                          (i) Any Insured; or
                                          (ii) Any person or organization for whom you may be legally responsible; or
                                      (d) At or from any premises, site or location on which any Insured or any contractors or subcontractors
                                          working directly or indirectly on any Insured's behalf are performing operations if the pollutants are
                                          brought on or to the premises, site or location in connection with such operations by such Insured,
                                          contractor or subcontractor. However, this subparagraph does not apply to:
                                          (i) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating
                                              fluids which are needed to perform the normal electrical, hydraulic or mechanical functions
                                              necessary for the operation of mobile equipment or its parts, if such fuels, lubricants or other
                                              operating fluids escape from a vehicle part designed to hold, store or receive them. This exception
                                              does not apply if the bodily injury or property damage arises out of the intentional discharge,
                                              dispersal or release of the fuels, lubricants or other operating fluids, or if such fuels, lubricants or
                                              other operating fluids are brought on or to the premises, site or location with the intent that they be
                                              discharged, dispersed or released as part of the operations being performed by such Insured,
                                              contractor or subcontractor;


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               (ii) Bodily injury or property damage sustained within a building and caused by the release of gases,
                    fumes or vapors from materials brought into that building in connection with operations being
                    performed by you or on your behalf by a contractor or subcontractor; or
               (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
          (e) At or from any premises, site or location on which any Insured or any contractors or subcontractors
              working directly or indirectly on any Insured's behalf are performing operations if the operations are to
              test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
              assess the effects of, pollutants.
      (2) Any loss, cost or expense arising out of any:
          (a) Request, demand, order or statutory or regulatory requirement that any Insured or others test for,
              monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
              effects of, pollutants; or
          (b) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
              cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
              assessing the effects of, pollutants.
          However, this paragraph does not apply to liability for damages because of property damage that the
          Insured would have in the absence of such request, demand, order or statutory or regulatory requirement, or
          such claim or suit by or on behalf of a governmental authority.
   g. Aircraft, Auto Or Watercraft
      Bodily injury or property damage arising out of the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft owned or operated by or rented or loaned to any Insured. Use includes operation and
      loading or unloading.
      This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in the
      supervision, hiring, employment, training or monitoring of others by that Insured, if the occurrence which caused
      the bodily injury or property damage involved the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft that is owned or operated by or rented or loaned to any Insured.
      This exclusion does not apply to:
      (1) A watercraft while ashore on premises you own or rent;
      (2) A watercraft you do not own that is:
          (a) Less than 26 feet long; and
          (b) Not being used to carry persons or property for a charge;
      (3) Parking an auto on, or on the ways next to, premises you own or rent, provided the auto is not owned by or
          rented or loaned to you or the Insured;
      (4) Liability assumed under any Insured contract for the ownership, maintenance or use of aircraft or watercraft;
          or
      (5) Bodily injury or property damage arising out of:
          (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would qualify
              under the definition of mobile equipment if it were not subject to a compulsory or financial responsibility
              law or other motor vehicle insurance law where it is licensed or principally garaged; or
          (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition of
              mobile equipment.



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                             h. Mobile Equipment
                                  Bodily injury or property damage arising out of:
                                  (1) The transportation of mobile equipment by an auto owned or operated by or rented or loaned to any
                                      Insured; or
                                  (2) The use of mobile equipment in, or while in practice for, or while being prepared for, any prearranged racing,
                                      speed, demolition, or stunting activity.
                             i.   War
                                  Bodily injury or property damage, however caused, arising, directly or indirectly, out of:
                                  (1) War, including undeclared or civil war;
                                  (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
                                      attack, by any government, sovereign or other authority using military personnel or other agents; or
                                  (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
                                      defending against any of these.
                             j.   Damage To Property
                                  Property damage to:
                                  (1) Property you own, rent, or occupy, including any costs or expenses incurred by you, or any other person,
                                      organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property for
                                      any reason, including prevention of injury to a person or damage to another's property;
                                  (2) Premises you sell, give away or abandon, if the property damage arises out of any part of those premises;
                                  (3) Property loaned to you;
                                  (4) Personal property in the care, custody or control of the Insured;
                                  (5) That particular part of real property on which you or any contractors or subcontractors working directly or
                                      indirectly on your behalf are performing operations, if the property damage arises out of those operations; or
                                  (6) That particular part of any property that must be restored, repaired or replaced because your work was
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                                      incorrectly performed on it.
                                  Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
                                  premises, including the contents of such premises, rented to you for a period of seven or fewer consecutive days.
                                  A separate limit of insurance applies to Damage To Premises Rented To You as described in Section III – Limits
                                  Of Insurance.
                                  Paragraph (2) of this exclusion does not apply if the premises are your work and were never occupied, rented or
                                  held for rental by you.
                                  Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack agreement.
                                  Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
                                  operations hazard.
                             k.   Damage To Your Product
                                  Property damage to your product arising out of it or any part of it.
                             l.   Damage To Your Work
                                  Property damage to your work arising out of it or any part of it and included in the products-completed
                                  operations hazard.


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       This exclusion does not apply if the damaged work or the work out of which the damage arises was performed on
       your behalf by a subcontractor.
   m. Damage To Impaired Property Or Property Not Physically Injured
       Property damage to impaired property or property that has not been physically injured, arising out of:
       (1) A defect, deficiency, inadequacy or dangerous condition in your product or your work; or
       (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
           with its terms.
       This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
       injury to your product or your work after it has been put to its intended use.
   n. Recall Of Products, Work Or Impaired Property
       Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
       inspection, repair, replacement, adjustment, removal or disposal of:
       (1) Your product;
       (2) Your work; or
       (3) Impaired property;
       if such product, work, or property is withdrawn or recalled from the market or from use by any person or
       organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in it.
   o. Personal And Advertising Injury
       Bodily injury arising out of personal and advertising injury.
   p. Electronic Data
       Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to
       manipulate electronic data.
       However, this exclusion does not apply to liability for damages because of bodily injury.
       As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
       on, or transmitted to or from computer software, including systems and applications software, hard or floppy disks,
       CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically
       controlled equipment.
   q. Recording And Distribution Of Material Or Information In Violation Of Law
       Bodily injury or property damage arising directly or indirectly out of any action or omission that violates or is
       alleged to violate:
       (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
           Accurate Credit Transactions Act (FACTA); or
       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
           FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
           disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
   Exclusions c. through n. do not apply to damage by fire to premises while rented to you or temporarily occupied by
   you with permission of the owner. A separate limit of insurance applies to this coverage as described in Section III –
   Limits Of Insurance.


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                          COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY
                          1.   Insuring Agreement
                               a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of personal and
                                    advertising injury to which this insurance applies. We will have the right and duty to defend the Insured against
                                    any suit seeking those damages. However, we will have no duty to defend the Insured against any suit seeking
                                    damages for personal and advertising injury to which this insurance does not apply. We may, at our discretion,
                                    investigate any offense and settle any claim or suit that may result. But:
                                    (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                    (2) Our right and duty to defend end when we have used up the applicable limit of insurance in the payment of
                                        judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                    under Supplementary Payments – Coverages A and B.
                               b. This insurance applies to personal and advertising injury caused by an offense arising out of your business but
                                  only if the offense was committed in the coverage territory during the policy period.
                          2.   Exclusions
                               This insurance does not apply to:
                               a.   Knowing Violation Of Rights Of Another
                                    Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                    would violate the rights of another and would inflict personal and advertising injury.
                               b. Material Published With Knowledge Of Falsity
                                    Personal and advertising injury arising out of oral or written publication, in any manner, of material, if done by or
                                    at the direction of the Insured with knowledge of its falsity.
                               c.   Material Published Prior To Policy Period
                                    Personal and advertising injury arising out of oral or written publication, in any manner, of material whose first
                                    publication took place before the beginning of the policy period.
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                               d. Criminal Acts
                                    Personal and advertising injury arising out of a criminal act committed by or at the direction of the Insured.
                               e.   Contractual Liability
                                    Personal and advertising injury for which the Insured has assumed liability in a contract or agreement. This
                                    exclusion does not apply to liability for damages that the Insured would have in the absence of the contract or
                                    agreement.
                               f.   Breach Of Contract
                                    Personal and advertising injury arising out of a breach of contract, except an implied contract to use another's
                                    advertising idea in your advertisement.
                               g. Quality Or Performance Of Goods – Failure To Conform To Statements
                                    Personal and advertising injury arising out of the failure of goods, products or services to conform with any
                                    statement of quality or performance made in your advertisement.
                               h. Wrong Description Of Prices
                                    Personal and advertising injury arising out of the wrong description of the price of goods, products or services
                                    stated in your advertisement.

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   i.   Infringement Of Copyright, Patent, Trademark Or Trade Secret
        Personal and advertising injury arising out of the infringement of copyright, patent, trademark, trade secret or
        other intellectual property rights. Under this exclusion, such other intellectual property rights do not include the
        use of another's advertising idea in your advertisement.
        However, this exclusion does not apply to infringement, in your advertisement, of copyright, trade dress or
        slogan.
   j.   Insureds In Media And Internet Type Businesses
        Personal and advertising injury committed by an Insured whose business is:
        (1) Advertising, broadcasting, publishing or telecasting;
        (2) Designing or determining content of web sites for others; or
        (3) An Internet search, access, content or service provider.
        However, this exclusion does not apply to Paragraphs 14.a., b. and c. of personal and advertising injury under
        the Definitions section.
        For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
        anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or
        telecasting.
   k.   Electronic Chatrooms Or Bulletin Boards
        Personal and advertising injury arising out of an electronic chatroom or bulletin board the Insured hosts, owns,
        or over which the Insured exercises control.
   l.   Unauthorized Use Of Another's Name Or Product
        Personal and advertising injury arising out of the unauthorized use of another's name or product in your e-mail
        address, domain name or metatag, or any other similar tactics to mislead another's potential customers.
   m. Pollution
        Personal and advertising injury arising out of the actual, alleged or threatened discharge, dispersal, seepage,
        migration, release or escape of pollutants at any time.
   n. Pollution-related
        Any loss, cost or expense arising out of any:
        (1) Request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor,
            clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
            pollutants; or
        (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
            cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
            assessing the effects of, pollutants.
   o. War
        Personal and advertising injury, however caused, arising, directly or indirectly, out of:
        (1) War, including undeclared or civil war;
        (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
            attack, by any government, sovereign or other authority using military personnel or other agents; or
        (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
            defending against any of these.

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                               p. Recording And Distribution Of Material Or Information In Violation Of Law
                                    Personal and advertising injury arising directly or indirectly out of any action or omission that violates or is
                                    alleged to violate:
                                    (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
                                    (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
                                    (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
                                        Accurate Credit Transactions Act (FACTA); or
                                    (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
                                        FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
                                        disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
                          COVERAGE C – MEDICAL PAYMENTS
                          1.   Insuring Agreement
                               a.   We will pay medical expenses as described below for bodily injury caused by an accident:
                                    (1) On premises you own or rent;
                                    (2) On ways next to premises you own or rent; or
                                    (3) Because of your operations;
                                    provided that:
                                        (a) The accident takes place in the coverage territory and during the policy period;
                                        (b) The expenses are incurred and reported to us within one year of the date of the accident; and
                                        (c) The injured person submits to examination, at our expense, by physicians of our choice as often as we
                                            reasonably require.
                               b. We will make these payments regardless of fault. These payments will not exceed the applicable limit of
                                  insurance. We will pay reasonable expenses for:
                                    (1) First aid administered at the time of an accident;
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                                    (2) Necessary medical, surgical, X-ray and dental services, including prosthetic devices; and
                                    (3) Necessary ambulance, hospital, professional nursing and funeral services.
                          2.   Exclusions
                               We will not pay expenses for bodily injury:
                               a.   Any Insured
                                    To any Insured, except volunteer workers.
                               b. Hired Person
                                    To a person hired to do work for or on behalf of any Insured or a tenant of any Insured.
                               c.   Injury On Normally Occupied Premises
                                    To a person injured on that part of premises you own or rent that the person normally occupies.
                               d. Workers' Compensation And Similar Laws
                                    To a person, whether or not an employee of any Insured, if benefits for the bodily injury are payable or must be
                                    provided under a workers' compensation or disability benefits law or a similar law.


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     e.   Athletics Activities
          To a person injured while practicing, instructing or participating in any physical exercises or games, sports, or
          athletic contests.
     f.   Products-Completed Operations Hazard
          Included within the products-completed operations hazard.
     g. Coverage A Exclusions
          Excluded under Coverage A.
SUPPLEMENTARY PAYMENTS – COVERAGES A AND B
1.   We will pay, with respect to any claim we investigate or settle, or any suit against an Insured we defend:
     a.   All expenses we incur.
     b. Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising out of the use of
        any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.
     c.   The cost of bonds to release attachments, but only for bond amounts within the applicable limit of insurance. We
          do not have to furnish these bonds.
     d. All reasonable expenses incurred by the Insured at our request to assist us in the investigation or defense of the
        claim or suit, including actual loss of earnings up to $250 a day because of time off from work.
     e.   All court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
          attorneys' expenses taxed against the Insured.
     f.   Prejudgment interest awarded against the Insured on that part of the judgment we pay. If we make an offer to pay
          the applicable limit of insurance, we will not pay any prejudgment interest based on that period of time after the
          offer.
     g. All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
        offered to pay, or deposited in court the part of the judgment that is within the applicable limit of insurance.
     These payments will not reduce the limits of insurance.
2.   If we defend an Insured against a suit and an indemnitee of the Insured is also named as a party to the suit, we will
     defend that indemnitee if all of the following conditions are met:
     a.   The suit against the indemnitee seeks damages for which the Insured has assumed the liability of the
          indemnitee in a contract or agreement that is an Insured contract;
     b. This insurance applies to such liability assumed by the Insured;
     c.   The obligation to defend, or the cost of the defense of, that indemnitee, has also been assumed by the Insured in
          the same Insured contract;
     d. The allegations in the suit and the information we know about the occurrence are such that no conflict appears
        to exist between the interests of the Insured and the interests of the indemnitee;
     e.   The indemnitee and the Insured ask us to conduct and control the defense of that indemnitee against such suit
          and agree that we can assign the same counsel to defend the Insured and the indemnitee; and
     f.   The indemnitee:
          (1) Agrees in writing to:
              (a) Cooperate with us in the investigation, settlement or defense of the suit;
              (b) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                  with the suit;

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                                        (c) Notify any other insurer whose coverage is available to the indemnitee; and
                                        (d) Cooperate with us with respect to coordinating other applicable insurance available to the indemnitee;
                                            and
                                    (2) Provides us with written authorization to:
                                        (a) Obtain records and other information related to the suit; and
                                        (b) Conduct and control the defense of the indemnitee in such suit.
                               So long as the above conditions are met, attorneys' fees incurred by us in the defense of that indemnitee, necessary
                               litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at our request will be
                               paid as Supplementary Payments. Notwithstanding the provisions of Paragraph 2.b.(2) of Section I – Coverage A –
                               Bodily Injury And Property Damage Liability, such payments will not be deemed to be damages for bodily injury
                               and property damage and will not reduce the limits of insurance.
                               Our obligation to defend an Insured's indemnitee and to pay for attorneys' fees and necessary litigation expenses as
                               Supplementary Payments ends when we have used up the applicable limit of insurance in the payment of judgments
                               or settlements or the conditions set forth above, or the terms of the agreement described in Paragraph f. above, are
                               no longer met.
                          SECTION II – WHO IS AN INSURED
                          1.   If you are designated in the Declarations as:
                               a.   An individual, you and your spouse are Insureds, but only with respect to the conduct of a business of which you
                                    are the sole owner.
                               b. A partnership or joint venture, you are an Insured. Your members, your partners, and their spouses are also
                                  Insureds, but only with respect to the conduct of your business.
                               c.   A limited liability company, you are an Insured. Your members are also Insureds, but only with respect to the
                                    conduct of your business. Your managers are Insureds, but only with respect to their duties as your managers.
                               d. An organization other than a partnership, joint venture or limited liability company, you are an Insured. Your
                                  executive officers and directors are Insureds, but only with respect to their duties as your officers or directors.
                                  Your stockholders are also Insureds, but only with respect to their liability as stockholders.
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                               e.   A trust, you are an Insured. Your trustees are also Insureds, but only with respect to their duties as trustees.
                          2.   Each of the following is also an Insured:
                               a.   Your volunteer workers only while performing duties related to the conduct of your business, or your
                                    employees, other than either your executive officers (if you are an organization other than a partnership, joint
                                    venture or limited liability company) or your managers (if you are a limited liability company), but only for acts
                                    within the scope of their employment by you or while performing duties related to the conduct of your business.
                                    However, none of these employees or volunteer workers are Insureds for:
                                    (1) Bodily injury or personal and advertising injury:
                                        (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if you
                                            are a limited liability company), to a co-employee while in the course of his or her employment or
                                            performing duties related to the conduct of your business, or to your other volunteer workers while
                                            performing duties related to the conduct of your business;
                                        (b) To the spouse, child, parent, brother or sister of that co-employee or volunteer worker as a
                                            consequence of Paragraph (1)(a) above;
                                        (c) For which there is any obligation to share damages with or repay someone else who must pay damages
                                            because of the injury described in Paragraph (1)(a) or (b) above; or
                                    (d) Arising out of his or her providing or failing to provide professional health care services.
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          (2) Property damage to property:
              (a) Owned, occupied or used by;
              (b) Rented to, in the care, custody or control of, or over which physical control is being exercised for any
                  purpose by;
              you, any of your employees, volunteer workers, any partner or member (if you are a partnership or joint
              venture), or any member (if you are a limited liability company).
     b. Any person (other than your employee or volunteer worker), or any organization while acting as your real estate
        manager.
     c.   Any person or organization having proper temporary custody of your property if you die, but only:
          (1) With respect to liability arising out of the maintenance or use of that property; and
          (2) Until your legal representative has been appointed.
     d. Your legal representative if you die, but only with respect to duties as such. That representative will have all your
        rights and duties under this Coverage Part.
3.   Any organization you newly acquire or form, other than a partnership, joint venture or limited liability company, and
     over which you maintain ownership or majority interest, will qualify as a Named Insured if there is no other similar
     insurance available to that organization. However:
     a.   Coverage under this provision is afforded only until the 90th day after you acquire or form the organization or the
          end of the policy period, whichever is earlier;
     b. Coverage A does not apply to bodily injury or property damage that occurred before you acquired or formed the
        organization; and
     c.   Coverage B does not apply to personal and advertising injury arising out of an offense committed before you
          acquired or formed the organization.
No person or organization is an Insured with respect to the conduct of any current or past partnership, joint venture or
limited liability company that is not shown as a Named Insured in the Declarations.
SECTION III – LIMITS OF INSURANCE
1.   The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of the
     number of:
     a.   Insureds;
     b. Claims made or suits brought; or
     c.   Persons or organizations making claims or bringing suits.
2.   The General Aggregate Limit is the most we will pay for the sum of:
     a.   Medical expenses under Coverage C;
     b. Damages under Coverage A, except damages because of bodily injury or property damage included in the
        products-completed operations hazard; and
     c.   Damages under Coverage B.
3.   The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for damages
     because of bodily injury and property damage included in the products-completed operations hazard.
4.   Subject to Paragraph 2. above, the Personal And Advertising Injury Limit is the most we will pay under Coverage B for
     the sum of all damages because of all personal and advertising injury sustained by any one person or organization.


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                          5. Subject to Paragraph 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we will pay for the sum
                             of:
                               a.   Damages under Coverage A; and
                               b. Medical expenses under Coverage C
                               because of all bodily injury and property damage arising out of any one occurrence.
                          6.   Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
                               Coverage A for damages because of property damage to any one premises, while rented to you, or in the case of
                               damage by fire, while rented to you or temporarily occupied by you with permission of the owner.
                          7.   Subject to Paragraph 5. above, the Medical Expense Limit is the most we will pay under Coverage C for all medical
                               expenses because of bodily injury sustained by any one person.
                          The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to any remaining
                          period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
                          policy period is extended after issuance for an additional period of less than 12 months. In that case, the additional period
                          will be deemed part of the last preceding period for purposes of determining the Limits of Insurance.
                          SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
                          1.   Bankruptcy
                               Bankruptcy or insolvency of the Insured or of the Insured's estate will not relieve us of our obligations under this
                               Coverage Part.
                          2.   Duties In The Event Of Occurrence, Offense, Claim Or Suit
                               a.   You must see to it that we are notified as soon as practicable of an occurrence or an offense which may result in
                                    a claim. To the extent possible, notice should include:
                                    (1) How, when and where the occurrence or offense took place;
                                    (2) The names and addresses of any injured persons and witnesses; and
                                    (3) The nature and location of any injury or damage arising out of the occurrence or offense.
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                               b. If a claim is made or suit is brought against any Insured, you must:
                                    (1) Immediately record the specifics of the claim or suit and the date received; and
                                    (2) Notify us as soon as practicable.
                                    You must see to it that we receive written notice of the claim or suit as soon as practicable.
                               c.   You and any other involved Insured must:
                                    (1) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                                        with the claim or suit;
                                    (2) Authorize us to obtain records and other information;
                                    (3) Cooperate with us in the investigation or settlement of the claim or defense against the suit; and
                                    (4) Assist us, upon our request, in the enforcement of any right against any person or organization which may be
                                        liable to the Insured because of injury or damage to which this insurance may also apply.
                               d. No Insured will, except at that Insured's own cost, voluntarily make a payment, assume any obligation, or incur
                                  any expense, other than for first aid, without our consent.
                          3.   Legal Action Against Us
                               No person or organization has a right under this Coverage Part:

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     a.   To join us as a party or otherwise bring us into a suit asking for damages from an Insured; or
     b. To sue us on this Coverage Part unless all of its terms have been fully complied with.
     A person or organization may sue us to recover on an agreed settlement or on a final judgment against an Insured;
     but we will not be liable for damages that are not payable under the terms of this Coverage Part or that are in excess
     of the applicable limit of insurance. An agreed settlement means a settlement and release of liability signed by us, the
     Insured and the claimant or the claimant's legal representative.
4.   Other Insurance
     If other valid and collectible insurance is available to the Insured for a loss we cover under Coverages A or B of this
     Coverage Part, our obligations are limited as follows:
     a.   Primary Insurance
          This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our obligations
          are not affected unless any of the other insurance is also primary. Then, we will share with all that other insurance
          by the method described in Paragraph c. below.
     b. Excess Insurance
          (1) This insurance is excess over:
              (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                  (i) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for your work;
                  (ii) That is Fire insurance for premises rented to you or temporarily occupied by you with permission of
                       the owner;
                  (iii) That is insurance purchased by you to cover your liability as a tenant for property damage to
                        premises rented to you or temporarily occupied by you with permission of the owner; or
                  (iv) If the loss arises out of the maintenance or use of aircraft, autos or watercraft to the extent not
                       subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability.
              (b) Any other primary insurance available to you covering liability for damages arising out of the premises or
                  operations, or the products and completed operations, for which you have been added as an additional
                  Insured.
          (2) When this insurance is excess, we will have no duty under Coverages A or B to defend the Insured against
              any suit if any other insurer has a duty to defend the Insured against that suit. If no other insurer defends,
              we will undertake to do so, but we will be entitled to the Insured's rights against all those other insurers.
          (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the loss, if
              any, that exceeds the sum of:
              (a) The total amount that all such other insurance would pay for the loss in the absence of this insurance;
                  and
              (b) The total of all deductible and self-Insured amounts under all that other insurance.
          (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
              Insurance provision and was not bought specifically to apply in excess of the Limits of Insurance shown in the
              Declarations of this Coverage Part.
     c.   Method Of Sharing
          If all of the other insurance permits contribution by equal shares, we will follow this method also. Under this
          approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of the
          loss remains, whichever comes first.


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                                    If any of the other insurance does not permit contribution by equal shares, we will contribute by limits. Under this
                                    method, each insurer's share is based on the ratio of its applicable limit of insurance to the total applicable limits
                                    of insurance of all insurers.
                          5.   Premium Audit
                               a.   We will compute all premiums for this Coverage Part in accordance with our rules and rates.
                               b. Premium shown in this Coverage Part as advance premium is a deposit premium only. At the close of each audit
                                  period we will compute the earned premium for that period and send notice to the First Named Insured. The due
                                  date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the advance
                                  and audit premiums paid for the policy period is greater than the earned premium, we will return the excess to
                                  the First Named Insured.
                               c.   The First Named Insured must keep records of the information we need for premium computation, and send us
                                    copies at such times as we may request.
                          6.   Representations
                               By accepting this policy, you agree:
                               a.   The statements in the Declarations are accurate and complete;
                               b. Those statements are based upon representations you made to us; and
                               c.   We have issued this policy in reliance upon your representations.
                          7.   Separation Of Insureds
                               Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this Coverage Part to
                               the First Named Insured, this insurance applies:
                               a.   As if each Named Insured were the only Named Insured; and
                               b. Separately to each Insured against whom claim is made or suit is brought.
                          8.   Transfer Of Rights Of Recovery Against Others To Us
                               If the Insured has rights to recover all or part of any payment we have made under this Coverage Part, those rights
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                               are transferred to us. The Insured must do nothing after loss to impair them. At our request, the Insured will bring suit
                               or transfer those rights to us and help us enforce them.
                          9.   When We Do Not Renew
                               If we decide not to renew this Coverage Part, we will mail or deliver to the First Named Insured shown in the
                               Declarations written notice of the nonrenewal not less than 30 days before the expiration date.
                               If notice is mailed, proof of mailing will be sufficient proof of notice.
                          SECTION V – DEFINITIONS
                          1.   Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                               your goods, products or services for the purpose of attracting customers or supporters. For the purposes of this
                               definition:
                               a.   Notices that are published include material placed on the Internet or on similar electronic means of
                                    communication; and
                               b. Regarding web sites, only that part of a web site that is about your goods, products or services for the purposes of
                                  attracting customers or supporters is considered an advertisement.
                          2.   Auto means:
                               a.
                                A land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached machinery or
                                equipment; or
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     b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
        insurance law where it is licensed or principally garaged.
     However, auto does not include mobile equipment.
3.   Bodily injury means bodily injury, sickness or disease sustained by a person, including death resulting from any of
     these at any time.
4.   Coverage territory means:
     a.   The United States of America (including its territories and possessions), Puerto Rico and Canada;
     b. International waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
        between any places included in Paragraph a. above; or
     c.   All other parts of the world if the injury or damage arises out of:
          (1) Goods or products made or sold by you in the territory described in Paragraph a. above;
          (2) The activities of a person whose home is in the territory described in Paragraph a. above, but is away for a
              short time on your business; or
          (3) Personal and advertising injury offenses that take place through the Internet or similar electronic means of
              communication;
          provided the Insured's responsibility to pay damages is determined in a suit on the merits, in the territory
          described in Paragraph a. above or in a settlement we agree to.
5.   Employee includes a leased worker. Employee does not include a temporary worker.
6.   Executive officer means a person holding any of the officer positions created by your charter, constitution, bylaws or
     any other similar governing document.
7.   Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
8.   Impaired property means tangible property, other than your product or your work, that cannot be used or is less
     useful because:
     a.   It incorporates your product or your work that is known or thought to be defective, deficient, inadequate or
          dangerous; or
     b. You have failed to fulfill the terms of a contract or agreement;
     if such property can be restored to use by the repair, replacement, adjustment or removal of your product or your
     work or your fulfilling the terms of the contract or agreement.
9.   Insured contract means:
     a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
          any person or organization for damage by fire to premises while rented to you or temporarily occupied by you with
          permission of the owner is not an Insured contract;
     b. A sidetrack agreement;
     c.   Any easement or license agreement, except in connection with construction or demolition operations on or within
          50 feet of a railroad;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e.   An elevator maintenance agreement;




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                              f.   That part of any other contract or agreement pertaining to your business (including an indemnification of a
                                   municipality in connection with work performed for a municipality) under which you assume the tort liability of
                                   another party to pay for bodily injury or property damage to a third person or organization. Tort liability means a
                                   liability that would be imposed by law in the absence of any contract or agreement.
                                   Paragraph f. does not include that part of any contract or agreement:
                                   (1) That indemnifies a railroad for bodily injury or property damage arising out of construction or demolition
                                       operations, within 50 feet of any railroad property and affecting any railroad bridge or trestle, tracks, road-
                                       beds, tunnel, underpass or crossing;
                                   (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                                       (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                           field orders, change orders or drawings and specifications; or
                                       (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                           damage; or
                                   (3) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                       arising out of the Insured's rendering or failure to render professional services, including those listed in (2)
                                       above and supervisory, inspection, architectural or engineering activities.
                          10. Leased worker means a person leased to you by a labor leasing firm under an agreement between you and the labor
                              leasing firm, to perform duties related to the conduct of your business. Leased worker does not include a temporary
                              worker.
                          11. Loading or unloading means the handling of property:
                              a.   After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or auto;
                              b. While it is in or on an aircraft, watercraft or auto; or
                              c.   While it is being moved from an aircraft, watercraft or auto to the place where it is finally delivered;
                              but loading or unloading does not include the movement of property by means of a mechanical device, other than a
                              hand truck, that is not attached to the aircraft, watercraft or auto.
                          12. Mobile equipment means any of the following types of land vehicles, including any attached machinery or equipment:
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                              a.   Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
                              b. Vehicles maintained for use solely on or next to premises you own or rent;
                              c.   Vehicles that travel on crawler treads;
                              d. Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
                                   (1) Power cranes, shovels, loaders, diggers or drills; or
                                   (2) Road construction or resurfacing equipment such as graders, scrapers or rollers;
                              e.   Vehicles not described in Paragraph a., b., c. or d. above that are not self-propelled and are maintained primarily
                                   to provide mobility to permanently attached equipment of the following types:
                                   (1) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                                       exploration, lighting and well servicing equipment; or
                                   (2) Cherry pickers and similar devices used to raise or lower workers;
                              f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
                                   transportation of persons or cargo.
                                   However, self-propelled vehicles with the following types of permanently attached equipment are not mobile
                                   equipment but will be considered autos:
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         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
         (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
             exploration, lighting and well servicing equipment.
    However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land vehicles
    subject to a compulsory or financial responsibility law or other motor vehicle insurance law are considered autos.
13. Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
    conditions.
14. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
    the following offenses:
    a.   False arrest, detention or imprisonment;
    b. Malicious prosecution;
    c.   The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room, dwelling or
         premises that a person occupies, committed by or on behalf of its owner, landlord or lessor;
    d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
       disparages a person's or organization's goods, products or services;
    e.   Oral or written publication, in any manner, of material that violates a person's right of privacy;
    f.   The use of another's advertising idea in your advertisement; or
    g. Infringing upon another's copyright, trade dress or slogan in your advertisement.
15. Pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot, fumes,
    acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or reclaimed.
16. Products-completed operations hazard:
    a.   Includes all bodily injury and property damage occurring away from premises you own or rent and arising out of
         your product or your work except:
         (1) Products that are still in your physical possession; or
         (2) Work that has not yet been completed or abandoned. However, your work will be deemed completed at the
             earliest of the following times:
             (a) When all of the work called for in your contract has been completed.
             (b) When all of the work to be done at the job site has been completed if your contract calls for work at more
                 than one job site.
             (c) When that part of the work done at a job site has been put to its intended use by any person or
                 organization other than another contractor or subcontractor working on the same project.
             Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
             complete, will be treated as completed.



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                              b. Does not include bodily injury or property damage arising out of:
                                   (1) The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle not
                                       owned or operated by you, and that condition was created by the loading or unloading of that vehicle by any
                                       Insured;
                                   (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or
                                   (3) Products or operations for which the classification, listed in the Declarations or in a policy Schedule, states
                                       that products-completed operations are subject to the General Aggregate Limit.
                          17. Property damage means:
                              a.   Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use shall be
                                   deemed to occur at the time of the physical injury that caused it; or
                              b. Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
                                 time of the occurrence that caused it.
                              For the purposes of this insurance, electronic data is not tangible property.
                              As used in this definition, electronic data means information, facts or programs stored as or on, created or used on, or
                              transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                              ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                              equipment.
                          18. Suit means a civil proceeding in which damages because of bodily injury, property damage or personal and
                              advertising injury to which this insurance applies are alleged. suit includes:
                              a.   An arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
                                   submit with our consent; or
                              b. Any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
                                 submits with our consent.
                          19. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave or to
                              meet seasonal or short-term workload conditions.
                          20. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
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                              direction of and within the scope of duties determined by you, and is not paid a fee, salary or other compensation by
                              you or anyone else for their work performed for you.
                          21. Your product:
                              a.   Means:
                                   (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
                                       (a) You;
                                       (b) Others trading under your name; or
                                       (c) A person or organization whose business or assets you have acquired; and
                                   (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
                                       products.
                              b. Includes:
                                   (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
                                       use of your product; and
                                   (2) The providing of or failure to provide warnings or instructions.
                              c.   Does not include vending machines or other property rented to or located for the use of others but not sold.
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22. Your work:
   a.   Means:
        (1) Work or operations performed by you or on your behalf; and
        (2) Materials, parts or equipment furnished in connection with such work or operations.
   b. Includes:
        (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
            use of your work; and
        (2) The providing of or failure to provide warnings or instructions.




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                                                                                                     General Liability Extension Endorsement

                          It is understood and agreed that this endorsement amends the COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          as follows. If any other endorsement attached to this policy amends any provision also amended by this endorsement,
                          then that other endorsement controls with respect to such provision, and the changes made by this endorsement with
                          respect to such provision do not apply.



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                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000354
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1.   ADDITIONAL INSUREDS
     a.   WHO IS AN INSURED is amended to include as an Insured any person or organization described in paragraphs
          A. through K. below whom a Named Insured is required to add as an additional insured on this Coverage Part
          under a written contract or written agreement, provided such contract or agreement:
          (1) is currently in effect or becomes effective during the term of this Coverage Part; and
          (2) was executed prior to:
               (a) the bodily injury or property damage; or
               (b) the offense that caused the personal and advertising injury,
               for which such additional insured seeks coverage.
     b. However, subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer
        will not provide such additional insured with:
          (1) a higher limit of insurance than required by such contract or agreement; or
          (2) coverage broader than required by such contract or agreement, and in no event broader than that described
              by the applicable paragraph A. through K. below.
          Any coverage granted by this endorsement shall apply only to the extent permissible by law.
     A. Controlling Interest
          Any person or organization with a controlling interest in a Named Insured, but only with respect to such person or
          organization’s liability for bodily injury, property damage or personal and advertising injury arising out of:
          1.   such person or organization’s financial control of a Named Insured; or
          2.   premises such person or organization owns, maintains or controls while a Named Insured leases or
               occupies such premises;
          provided that the coverage granted by this paragraph does not apply to structural alterations, new construction or
          demolition operations performed by, on behalf of, or for such additional insured.
     B. Co-owner of Insured Premises
          A co-owner of a premises co-owned by a Named Insured and covered under this insurance but only with respect
          to such co-owner’s liability for bodily injury, property damage or personal and advertising injury as co-owner
          of such premises.
     C. Grantor of Franchise
          Any person or organization that has granted a franchise to a Named Insured, but only with respect to such
          person or organization’s liability for bodily injury, property damage or personal and advertising injury as
          grantor of a franchise to the Named Insured.
     D. Lessor of Equipment
          Any person or organization from whom a Named Insured leases equipment, but only with respect to liability for
          bodily injury, property damage or personal and advertising injury caused, in whole or in part, by the Named
          Insured’s maintenance, operation or use of such equipment, provided that the occurrence giving rise to such
          bodily injury, property damage or the offense giving rise to such personal and advertising injury takes place
          prior to the termination of such lease.




CNA74879XX (1-15)                                                                                                      Policy No: 6056872807
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CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2018
Insured Name: SESI CONSULTING ENGINEERS
                                                               CNA000355
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                             E. Lessor of Land
                                Any person or organization from whom a Named Insured leases land but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury arising out of the ownership, maintenance or use
                                of such land, provided that the occurrence giving rise to such bodily injury or property damage, or the offense
                                giving rise to such personal and advertising injury, takes place prior to the termination of such lease. The
                                coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             F. Lessor of Premises
                                An owner or lessor of premises leased to the Named Insured, or such owner or lessor’s real estate manager, but
                                only with respect to liability for bodily injury, property damage or personal and advertising injury arising out of
                                the ownership, maintenance or use of such part of the premises leased to the Named Insured, and provided that
                                the occurrence giving rise to such bodily injury, property damage or the offense giving rise to such personal
                                and advertising injury takes place prior to the termination of such lease. The coverage granted by this
                                paragraph does not apply to structural alterations, new construction or demolition operations performed by, on
                                behalf of, or for such additional insured.
                             G. Mortgagee, Assignee or Receiver
                                A mortgagee, assignee or receiver of premises but only with respect to such mortgagee, assignee or receiver’s
                                liability for bodily injury, property damage or personal and advertising injury arising out of the Named
                                Insured’s ownership, maintenance, or use of a premises by a Named Insured.
                                The coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             H. State or Governmental Agency or Subdivision or Political Subdivisions – Permits
                                A state or governmental agency or subdivision or political subdivision that has issued a permit or authorization,
                                but only with respect to such state or governmental agency or subdivision or political subdivision’s liability for
                                bodily injury, property damage or personal and advertising injury arising out of:
                                1.   the following hazards in connection with premises a Named Insured owns, rents, or controls and to which
                                     this insurance applies:
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                                     a.   the existence, maintenance, repair, construction, erection, or removal of advertising signs, awnings,
                                          canopies, cellar entrances, coal holes, driveways, manholes, marquees, hoistaway openings, sidewalk
                                          vaults, street banners, or decorations and similar exposures; or
                                     b. the construction, erection, or removal of elevators; or
                                     c.   the ownership, maintenance or use of any elevators covered by this insurance; or
                                2.   the permitted or authorized operations performed by a Named Insured or on a Named Insured’s behalf.
                                     The coverage granted by this paragraph does not apply to:
                                     a.   Bodily injury, property damage or personal and advertising injury arising out of operations performed
                                          for the state or governmental agency or subdivision or political subdivision; or
                                     b. Bodily injury or property damage included within the products-completed operations hazard.
                                With respect to this provision’s requirement that additional insured status must be requested under a written
                                contract or agreement, the Insurer will treat as a written contract any governmental permit that requires the
                                Named Insured to add the governmental entity as an additional insured.




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                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                      CNA000356
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   I.   Trade Show Event Lessor
        1.   With respect to a Named Insured’s participation in a trade show event as an exhibitor, presenter or
             displayer, any person or organization whom the Named Insured is required to include as an additional
             insured, but only with respect to such person or organization’s liability for bodily injury, property damage or
             personal and advertising injury caused by:
             a.   the Named Insured’s acts or omissions; or
             b. the acts or omissions of those acting on the Named Insured’s behalf,
             in the performance of the Named Insured’s ongoing operations at the trade show event premises during the
             trade show event.
        2.   The coverage granted by this paragraph does not apply to bodily injury or property damage included
             within the products-completed operations hazard.
   J.   Vendor
        Any person or organization but only with respect to such person or organization’s liability for bodily injury or
        property damage arising out of your products which are distributed or sold in the regular course of such person
        or organization's business, provided that:
        1.   The coverage granted by this paragraph does not apply to:
             a.   bodily injury or property damage for which such person or organization is obligated to pay damages by
                  reason of the assumption of liability in a contract or agreement unless such liability exists in the absence
                  of the contract or agreement;
             b. any express warranty unauthorized by the Named Insured;
             c.   any physical or chemical change in any product made intentionally by such person or organization;
             d. repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
                substitution of parts under instructions from the manufacturer, and then repackaged in the original
                container;
             e.   any failure to make any inspections, adjustments, tests or servicing that such person or organization has
                  agreed to make or normally undertakes to make in the usual course of business, in connection with the
                  distribution or sale of the products;
             f.   demonstration, installation, servicing or repair operations, except such operations performed at the such
                  person or organization’s premises in connection with the sale of a product;
             g. products which, after distribution or sale by the Named Insured, have been labeled or relabeled or used
                as a container, part or ingredient of any other thing or substance by or for such person or organization; or
             h. bodily injury or property damage arising out of the sole negligence of such person or organization for
                its own acts or omissions or those of its employees or anyone else acting on its behalf. However, this
                exclusion does not apply to:
                  (1) the exceptions contained in Subparagraphs d. or f. above; or
                  (2) such inspections, adjustments, tests or servicing as such person or organization has agreed with the
                      Named Insured to make or normally undertakes to make in the usual course of business, in
                      connection with the distribution or sale of the products.
        2.   This Paragraph J. does not apply to any insured person or organization, from whom the Named Insured has
             acquired such products, nor to any ingredient, part or container, entering into, accompanying or containing
             such products.

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Insured Name: SESI CONSULTING ENGINEERS
                                                              CNA000357
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                                   3.   This Paragraph J. also does not apply:
                                        a.   to any vendor specifically scheduled as an additional insured by endorsement to this Coverage Part;
                                        b. to any of your products for which coverage is excluded by endorsement to this Coverage Part; nor
                                        c.   if bodily injury or property damage included within the products-completed operations hazard is
                                             excluded by endorsement to this Coverage Part.
                               K. Other Person Or Organization
                                   Any person or organization who is not an additional insured under Paragraphs A. through J. above. Such
                                   additional insured is an Insured solely for bodily injury, property damage or personal and advertising injury
                                   for which such additional insured is liable because of the Named Insured’s acts or omissions.
                                   The coverage granted by this paragraph does not apply to any person or organization:
                                   1.   for bodily injury, property damage, or personal and advertising injury arising out of the rendering or
                                        failure to render any professional service;
                                   2.   for bodily injury or property damage included within the products-completed operations hazard; nor
                                   3.   who is specifically scheduled as an additional insured on another endorsement to this Coverage Part.
                          2.   ADDITIONAL INSURED - PRIMARY AND NON-CONTRIBUTORY TO ADDITIONAL INSURED’S INSURANCE
                               A. The Other Insurance Condition in the COMMERCIAL GENERAL LIABILITY CONDITIONS Section is amended
                                  to add the following paragraph:
                                   If the Named Insured has agreed in writing in a contract or agreement that this insurance is primary and non-
                                   contributory relative to an additional insured's own insurance, then this insurance is primary, and the Insurer will
                                   not seek contribution from that other insurance. For the purpose of this Provision 2., the additional insured's own
                                   insurance means insurance on which the additional insured is a named insured.
                               B. With respect to persons or organizations that qualify as additional insureds pursuant to paragraph 1.K. of this
                                  endorsement, the following sentence is added to the paragraph above:
                                   Otherwise, and notwithstanding anything to the contrary elsewhere in this Condition, the insurance provided to
                                   such person or organization is excess of any other insurance available to such person or organization.
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                          3.   BODILY INJURY – EXPANDED DEFINITION
                               Under DEFINITIONS the definition of bodily injury is deleted and replaced by the following:
                               Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                               mental anguish or mental injury sustained by that person at any time which results as a consequence of the physical
                               injury, sickness or disease.
                          4.   BROAD KNOWLEDGE OF OCCURRENCE/ NOTICE OF OCCURRENCE
                               Under CONDITIONS, the condition entitled Duties in The Event of Occurrence, Offense, Claim or Suit is amended
                               to add the following:
                               A. BROAD KNOWLEDGE OF OCCURRENCE
                                   The Named Insured must give the Insurer or the Insurer’s authorized representative notice of an occurrence,
                                   offense or claim only when the occurrence, offense or claim is known to a natural person Named Insured, to a
                                   partner, executive officer, manager or member of a Named Insured, or to an employee designated by any of the
                                   above to give such notice.
                               B. NOTICE OF OCCURRENCE


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                          Insured Name: SESI CONSULTING ENGINEERS
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          The Named Insured’s rights under this Coverage Part will not be prejudiced if the Named Insured fails to give
          the Insurer notice of an occurrence, offense or claim and that failure is solely due to the Named Insured’s
          reasonable belief that the bodily injury or property damage is not covered under this Coverage Part. However,
          the Named Insured shall give written notice of such occurrence, offense or claim to the Insurer as soon as the
          Named Insured is aware that this insurance may apply to such occurrence, offense or claim.
5.   BROAD NAMED INSURED
     WHO IS AN INSURED is amended to delete its Paragraph 3. in its entirety and replace it with the following:
     3.   Pursuant to the limitations described in Paragraph 4. below, any organization in which a Named Insured has
          management control:
          a.   on the effective date of this Coverage Part; or
          b. by reason of a Named Insured creating or acquiring the organization during the policy period,
          qualifies as a Named Insured, provided that there is no other similar liability insurance, whether primary,
          contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
          provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
          narrower than that provided by this insurance.
          But this BROAD NAMED INSURED provision does not apply to:
          (a) any partnership, limited liability company or joint venture; or
          (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.
          For the purpose of this provision, management control means:
          A. owning interests representing more than 50% of the voting, appointment or designation power for the
             selection of a majority of the Board of Directors of a corporation; or
          B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or
             sell property held by a trust.
     4.   With respect to organizations which qualify as Named Insureds by virtue of Paragraph 3. above, this insurance
          does not apply to:
          a.   bodily injury or property damage that first occurred prior to the date of management control, or that first
               occurs after management control ceases; nor
          b. personal or advertising injury caused by an offense that first occurred prior to the date of management
             control or that first occurs after management control ceases.
     5.   The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names
          or under such other trading names or doing-business-as names (dba) as any Named Insured should choose to
          employ.
6.   ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES
     The estates, heirs, legal representatives and spouses of any natural person Insured shall also be insured under this
     policy; provided, however, coverage is afforded to such estates, heirs, legal representatives, and spouses only for
     claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim seeks
     damages from marital community property, jointly held property or property transferred from such natural person
     Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
     representative, or spouse outside the scope of such person's capacity or status as such, provided however that the
     spouse of a natural person Named Insured and the spouses of members or partners of joint venture or partnership
     Named Insureds are Insureds with respect to such spouses’ acts, errors or omissions in the conduct of the Named
     Insured’s business.
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Insured Name: SESI CONSULTING ENGINEERS
                                                               CNA000359
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                          7.   EXPECTED OR INTENDED INJURY – EXCEPTION FOR REASONABLE FORCE
                               Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions is amended to delete the exclusion entitled Expected or Intended Injury and replace it with the following:
                               This insurance does not apply to:
                               Expected or Intended Injury
                               Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does not
                               apply to bodily injury or property damage resulting from the use of reasonable force to protect persons or property.
                          8.   IN REM ACTIONS
                               A quasi in rem action against any vessel owned or operated by or for the Named Insured, or chartered by or for the
                               Named Insured, will be treated in the same manner as though the action were in personam against the Named
                               Insured.
                          9.   INCIDENTAL HEALTH CARE MALPRACTICE COVERAGE
                               Solely with respect to bodily injury that arises out of a health care incident:
                               A. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the Insuring Agreement is
                                  amended to replace Paragraphs 1.b.(1) and 1.b.(2) with the following:
                                   b. This insurance applies to bodily injury provided that the professional health care services are incidental to
                                      the Named Insured’s primary business purpose, and only if:
                                        (1) such bodily injury is caused by an occurrence that takes place in the coverage territory.
                                        (2) the bodily injury first occurs during the policy period. All bodily injury arising from an occurrence will
                                            be deemed to have occurred at the time of the first act, error, or omission that is part of the occurrence;
                                            and
                               B. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                  Exclusions is amended to:
                                   i.   add the following to the Employers Liability exclusion:
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                                        This exclusion applies only if the bodily injury arising from a health care incident is covered by other
                                        liability insurance available to the Insured (or which would have been available but for exhaustion of its
                                        limits).
                                   ii. delete the exclusion entitled Contractual Liability and replace it with the following:
                                        This insurance does not apply to:
                                        Contractual Liability
                                        the Insured’s actual or alleged liability under any oral or written contract or agreement, including but not
                                        limited to express warranties or guarantees.
                                   iii. add the following additional exclusions.
                                        This insurance does not apply to:
                                        Discrimination
                                        any actual or alleged discrimination, humiliation or harassment, including but not limited to claims based on
                                        an individual’s race, creed, color, age, gender, national origin, religion, disability, marital status or sexual
                                        orientation.


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                          Insured Name: SESI CONSULTING ENGINEERS
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           Dishonesty or Crime
           Any actual or alleged dishonest, criminal or malicious act, error or omission.
           Medicare/Medicaid Fraud
           any actual or alleged violation of law with respect to Medicare, Medicaid, Tricare or any similar federal, state
           or local governmental program.
           Services Excluded by Endorsement
           Any health care incident for which coverage is excluded by endorsement.
   C. DEFINITIONS is amended to:
      i.   add the following definitions:
           Health care incident means an act, error or omission by the Named Insured’s employees or volunteer
           workers in the rendering of:
           a.   professional health care services on behalf of the Named Insured or
           b. Good Samaritan services rendered in an emergency and for which no payment is demanded or received.
           Professional health care services means any health care services or the related furnishing of food,
           beverages, medical supplies or appliances by the following providers in their capacity as such but solely to
           the extent they are duly licensed as required:
           a.   Physician;
           b. Nurse;
           c.   Nurse practitioner;
           d. Emergency medical technician;
           e.   Paramedic;
           f.   Dentist;
           g. Physical therapist;
           h. Psychologist;
           i.   Speech therapist;
           j.   Other allied health professional; or
           Professional health care services does not include any services rendered in connection with human clinical
           trials or product testing.
      ii. delete the definition of occurrence and replace it with the following:
           Occurrence means a health care incident. All acts, errors or omissions that are logically connected by any
           common fact, circumstance, situation, transaction, event, advice or decision will be considered to constitute a
           single occurrence;
      iii. amend the definition of Insured to:
           a.   add the following:
                •    the Named Insured’s employees are Insureds with respect to:



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                                                (1) bodily injury to a co-employee while in the course of the co-employee’s employment by the
                                                    Named Insured or while performing duties related to the conduct of the Named Insured’s
                                                    business; and
                                                (2) bodily injury to a volunteer worker while performing duties related to the conduct of the
                                                    Named Insured’s business;
                                                when such bodily injury arises out of a health care incident.
                                           •    the Named Insured’s volunteer workers are Insureds with respect to:
                                                (1) bodily injury to a co-volunteer worker while performing duties related to the conduct of the
                                                    Named Insured’s business; and
                                                (2) bodily injury to an employee while in the course of the employee’s employment by the Named
                                                    Insured or while performing duties related to the conduct of the Named Insured’s business;
                                           when such bodily injury arises out of a health care incident.
                                      b. delete Subparagraphs (a), (b), (c) and (d) of Paragraph 2.a.(1) of WHO IS AN INSURED.
                                      c.   add the following:
                                           Insured does not include any physician while acting in his or her capacity as such.
                             D. The Other Insurance condition is amended to delete Paragraph b.(1) in its entirety and replace it with the
                                following:
                                  Other Insurance
                                  b. Excess Insurance
                                      (1) To the extent this insurance applies, it is excess over any other insurance, self insurance or risk transfer
                                           instrument, whether primary, excess, contingent or on any other basis, except for insurance purchased
                                           specifically by the Named Insured to be excess of this coverage.
                          10. JOINT VENTURES / PARTNERSHIP / LIMITED LIABILITY COMPANIES
                             WHO IS AN INSURED is amended to delete its last paragraph and replace it with the following:
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                             No person or organization is an Insured with respect to the conduct of any current or past partnership, joint venture or
                             limited liability company that is not shown as a Named Insured in the Declarations, except that if the Named Insured
                             was a joint venturer, partner, or member of a limited liability company and such joint venture, partnership or limited
                             liability company terminated prior to or during the policy period, such Named Insured is an Insured with respect to
                             its interest in such joint venture, partnership or limited liability company but only to the extent that:
                             a.   any offense giving rise to personal and advertising injury occurred prior to such termination date, and the
                                  personal and advertising injury arising out of such offense first occurred after such termination date;
                             b. the bodily injury or property damage first occurred after such termination date; and
                             c.   there is no other valid and collectible insurance purchased specifically to insure the partnership, joint venture or
                                  limited liability company.
                          11. LEGAL LIABILITY – DAMAGE TO PREMISES
                             A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                                Exclusions is amended to delete the first paragraph immediately following subparagraph (6) of the Damage to
                                Property exclusion and replace it with the following:
                                  Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
                                  premises rented to the Named Insured or temporarily occupied by the Named Insured with the permission of the
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       owner, nor to the contents of premises rented to the Named Insured for a period of 7 or fewer consecutive days.
       A separate limit of insurance applies to Damage To Premises Rented To You as described in LIMITS OF
       INSURANCE.
   B. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended to delete its last paragraph and replace it with the following:
       Exclusions c. through n. do not apply to damage by fire to premises while rented to a Named Insured or
       temporarily occupied by a Named Insured with permission of the owner, nor to damage to the contents of
       premises rented to a Named Insured for a period of 7 or fewer consecutive days.
       A separate limit of insurance applies to this coverage as described in the LIMITS OF INSURANCE Section.
   C. LIMITS OF INSURANCE is amended to delete Paragraph 6. (the Damage To Premises Rented To You Limit) and
      replace it with the following:
       6.   Subject to Paragraph 5. above, (the Each Occurrence Limit), the Damage To Premises Rented To You Limit
            is the most the Insurer will pay under COVERAGE A for damages because of property damage to:
            a.   any one premises while rented to a Named Insured or temporarily occupied by a Named Insured with
                 the permission of the owner; and
            b. contents of such premises if the premises is rented to the Named Insured for a period of 7 or fewer
               consecutive days.
            The Damage To Premises Rented To You Limit is $200,000. unless a higher Damage to Premises Rented to
            You Limit is shown in the Declarations.
   D. The Other Insurance Condition is amended to delete Paragraph b.(1)(a)(ii), and replace it with the following:
       (ii) That is property insurance for premises rented to a Named Insured, for premises temporarily occupied by the
            Named Insured with the permission of the owner; or for personal property of others in the Named Insured’s
            care, custody or control;
   E. This Provision 11. does not apply if liability for damage to premises rented to a Named Insured is excluded by
      another endorsement attached to this Coverage Part.
12. MEDICAL PAYMENTS
   A. LIMITS OF INSURANCE is amended to delete Paragraph 7. (the Medical Expense Limit) and replace it with the
      following:
       7.   Subject to Paragraph 5. above (the Each Occurrence Limit), the Medical Expense Limit is the most the
            Insurer will pay under Coverage C - Medical Payments for all medical expenses because of bodily injury
            sustained by any one person. The Medical Expense Limit is the greater of:
            (1) $15,000 unless a different amount is shown here:                                                     ; or
            (2) the amount shown in the Declarations for Medical Expense Limit.
   B. Under COVERAGES, Coverage C – Medical Payments, the Insuring Agreement is amended to replace
      Paragraph 1.a.(3)(b) with the following:
       (b) The expenses are incurred and reported to the Insurer within three years of the date of the accident; and
13. NON-OWNED AIRCRAFT
   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended as follows:



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                             The exclusion entitled Aircraft, Auto or Watercraft is amended to add the following:
                             This exclusion does not apply to an aircraft not owned by any Named Insured, provided that:
                             1.   the pilot in command holds a currently effective certificate issued by the duly constituted authority of the United
                                  States of America or Canada, designating that person as a commercial or airline transport pilot;
                             2.   the aircraft is rented with a trained, paid crew to the Named Insured; and
                             3.   the aircraft is not being used to carry persons or property for a charge.
                          14. NON-OWNED WATERCRAFT
                             Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                             Exclusions is amended to delete subparagraph (2) of the exclusion entitled Aircraft, Auto or Watercraft, and
                             replace it with the following.
                             This exclusion does not apply to:
                             (2) a watercraft that is not owned by any Named Insured, provided the watercraft is:
                                  (a) less than 75 feet long; and
                                  (b) not being used to carry persons or property for a charge.
                          15. PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION
                             A. Under DEFINITIONS, the definition of personal and advertising injury is amended to add the following tort:
                                  •    Discrimination or humiliation that results in injury to the feelings or reputation of a natural person.
                             B. Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the paragraph entitled
                                Exclusions is amended to:
                                  1.   delete the Exclusion entitled Knowing Violation Of Rights Of Another and replace it with the following:
                                       This insurance does not apply to:
                                       Knowing Violation of Rights of Another
                                       Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
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                                       would violate the rights of another and would inflict personal and advertising injury. This exclusion shall not
                                       apply to discrimination or humiliation that results in injury to the feelings or reputation of a natural person, but
                                       only if such discrimination or humiliation is not done intentionally by or at the direction of:
                                       (a) the Named Insured; or
                                       (b) any executive officer, director, stockholder, partner, member or manager (if the Named Insured is a
                                           limited liability company) of the Named Insured.
                                  2.   add the following exclusions:
                                       This insurance does not apply to:
                                       Employment Related Discrimination
                                       discrimination or humiliation directly or indirectly related to the employment, prospective employment, past
                                       employment or termination of employment of any person by any Insured.
                                       Premises Related Discrimination
                                       discrimination or humiliation arising out of the sale, rental, lease or sub-lease or prospective sale, rental,
                                       lease or sub-lease of any room, dwelling or premises by or at the direction of any Insured.


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                                                                                                                         CNA PARAMOUNT
                                                                          General Liability Extension Endorsement

   Notwithstanding the above, there is no coverage for fines or penalties levied or imposed by a governmental entity
   because of discrimination.
   The coverage provided by this PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION
   Provision does not apply to any person or organization whose status as an Insured derives solely from
       •    Provision 1. ADDITIONAL INSUREDS of this endorsement; or
       •    attachment of an additional insured endorsement to this Coverage Part.
16. PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY
   A. Under COVERAGES, Coverage B –Personal and Advertising Injury Liability, the paragraph entitled
      Exclusions is amended to delete the exclusion entitled Contractual Liability and replace it with the following:
       This insurance does not apply to:
       Contractual Liability
       Personal and advertising injury for which the Insured has assumed liability in a contract or agreement.
       This exclusion does not apply to liability for damages:
       (1) that the Insured would have in the absence of the contract or agreement; or
       (2) assumed in a contract or agreement that is an insured contract provided the offense that caused such
           personal or advertising injury first occurred subsequent to the execution of such insured contract. Solely
           for the purpose of liability assumed in an insured contract, reasonable attorney fees and necessary litigation
           expenses incurred by or for a party other than an Insured are deemed to be damages because of personal
           and advertising injury provided:
            (a) liability to such party for, or for the cost of, that party's defense has also been assumed in such insured
                contract; and
            (b) such attorney fees and litigation expenses are for defense of such party against a civil or alternative
                dispute resolution proceeding in which covered damages are alleged.
   B. Solely for the purpose of the coverage provided by this paragraph, DEFINITIONS is amended to delete the
      definition of insured contract in its entirety, and replace it with the following:
       Insured contract means that part of a written contract or written agreement pertaining to the Named Insured’s
       business under which the Named Insured assumes the tort liability of another party to pay for personal or
       advertising injury arising out of the offense of false arrest, detention or imprisonment. Tort liability means a
       liability that would be imposed by law in the absence of any contract or agreement.
   C. Solely for the purpose of the coverage provided by this paragraph, the following changes are made to the Section
      entitled SUPPLEMENTARY PAYMENTS – COVERAGES A AND B:
       1.   Paragraph 2.d. is replaced by the following:
            d. The allegations in the suit and the information the Insurer knows about the offense alleged in such suit
               are such that no conflict appears to exist between the interests of the Insured and the interests of the
               indemnitee;
       2.   The first unnumbered paragraph beneath Paragraph 2.f.(2)(b) is deleted and replaced by the following:
            So long as the above conditions are met, attorneys fees incurred by the Insurer in the defense of that
            indemnitee, necessary litigation expenses incurred by the Insurer, and necessary litigation expenses incurred
            by the indemnitee at the Insurer’s request will be paid as defense costs. Notwithstanding the provisions of
            Paragraph e.(2) of the Contractual Liability exclusion (as amended by this Endorsement), such payments will

CNA74879XX (1-15)                                                                                                   Policy No: 6056872807
Page 12 of 13                                                                                                 Endorsement No:       3
CONTINENTAL CASUALTY COMPANY                                                                                    Effective Date: 12/23/2018
Insured Name: SESI CONSULTING ENGINEERS
                                                            CNA000365
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                                                                                                                                                     CNA PARAMOUNT
                                                                                                      General Liability Extension Endorsement

                                       not be deemed to be damages for personal and advertising injury and will not reduce the limits of
                                       insurance.
                              D. This PERSONAL AND ADVERTISING INJURY - LIMITED CONTRACTUAL LIABILITY Provision does not
                                 apply if Coverage B –Personal and Advertising Injury Liability is excluded by another endorsement attached
                                 to this Coverage Part.
                          17. PROPERTY DAMAGE – ELEVATORS
                              A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                                 Exclusions is amended such that the Damage to Your Product Exclusion and subparagraphs (3), (4) and (6) of
                                 the Damage to Property Exclusion do not apply to property damage that results from the use of elevators.
                              B. Solely for the purpose of the coverage provided by this PROPERTY DAMAGE – ELEVATORS Provision, the
                                 Other Insurance conditions is amended to add the following paragraph:
                                   This insurance is excess over any of the other insurance, whether primary, excess, contingent or on any other
                                   basis that is Property insurance covering property of others damaged from the use of elevators.
                          18. SUPPLEMENTARY PAYMENTS
                              The section entitled SUPPLEMENTARY PAYMENTS – COVERAGES A AND B is amended as follows:
                              A. Paragraph 1.b. is amended to delete the $250 limit shown for the cost of bail bonds and replace it with a $5,000.
                                 limit; and
                              B. Paragraph 1.d. is amended to delete the limit of $250 shown for daily loss of earnings and replace it with a
                                 $1,000. limit.
                          19. UNINTENTIONAL FAILURE TO DISCLOSE HAZARDS
                              If the Named Insured unintentionally fails to disclose all existing hazards at the inception date of the Named
                              Insured’s Coverage Part, the Insurer will not deny coverage under this Coverage Part because of such failure.
                          20. WAIVER OF SUBROGATION - BLANKET
                              Under CONDITIONS, the Transfer Of Rights Of Recovery Against Others To Us Condition is amended to add the
                              following:
                              The Insurer waives any right of recovery the Insurer may have against any person or organization because of
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                              payments the Insurer makes for injury or damage arising out of:
                              1.   the Named Insured’s ongoing operations; or
                              2.   your work included in the products-completed operations hazard.
                              However, this waiver applies only when the Named Insured has agreed in writing to waive such rights of recovery in
                              a written contract or written agreement, and only if such contract or agreement:
                              1.   is in effect or becomes effective during the term of this Coverage Part; and
                              2.   was executed prior to the bodily injury, property damage or personal and advertising injury giving rise to the
                                   claim.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                          effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                          and expires concurrently with said Policy.


                          CNA74879XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 13 of 13                                                                                                   Endorsement No:       3
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000366
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                                                                                                                                                     CNA PARAMOUNT

                                                                                                 Coverage for Liability for Hazards of Lead
                                                                                                without Sublimit Endorsement - New Jersey

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the
                          paragraph entitled Exclusions, is amended to add the following to the exclusion entitled Pollution:
                          For premises constructed on or after 1978, or premises constructed prior to 1978 which have been certified, prior to the
                          policy period, as being free of existing lead hazards pursuant to standards established by the Department of Community
                          Affairs, this exclusion does not apply to bodily injury arising out of lead contamination, or out of the inhalation, ingestion,
                          use, handling or contact with lead paint at or from any premises, site or location which is or was at any time owned or
                          occupied by, or rented or loaned to, any Insured.
                          This provision will also apply to any premises constructed prior to 1978 which receives such certification during the policy
                          period, but only for bodily injury which occurs after such certification.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74942NJ (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:       4
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000367
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                                                                                                                                                     CNA PARAMOUNT

                                                                                  Blanket Additional Insured - Owners, Lessees or
                                                                                Contractors - with Products-Completed Operations
                                                                                         Coverage - Limited Liability Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   The WHO IS AN INSURED section is amended to add as an Insured any person or organization whom the Named
                               Insured is required by written contract to add as an additional insured on this Coverage Part; including any such
                               person or organization, if any, specifically set forth on the Schedule attachment to this endorsement. However, such
                               person or organization is an Insured only with respect to such person or organization’s liability for:
                               A. bodily injury, property damage, or personal and advertising injury to the extent caused by:
                                   1.   the Named Insured’s acts or omissions; or
                                   2.   the acts or omissions of those acting on the Named Insured’s behalf,
                               in the performance of the Named Insured’s ongoing operations specified in the written contract; or
                               B. bodily injury or property damage to the extent caused by your work specified in the written contract and
                                  included in the products-completed operations hazard, and only if
                                   1.   the written contract requires the Named Insured to provide the additional insured such coverage; and
                                   2.   this coverage part provides such coverage.
                          II. Subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer will not provide
                              such additional insured with:
                               A. coverage broader than required by the written contract; or
                               B. a higher limit of insurance than required by the written contract.
                          III. The insurance granted by this endorsement to the additional insured does not apply to bodily injury, property
                               damage, or personal and advertising injury arising out of:
                               A. acts or omissions of the additional insured, or of anyone acting on the additional insured’s behalf; or
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                               B. the rendering of, or the failure to render, any professional architectural, engineering, or surveying services,
                                  including:
                                   1.   the preparing, approving, or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                        field orders, change orders or drawings and specifications; and
                                   2.   supervisory, inspection, architectural or engineering activities; or
                               C. any premises or work for which the additional insured is specifically listed as an additional insured on another
                                  endorsement attached to this coverage part.
                          IV. Notwithstanding anything to the contrary in the section entitled COMMERCIAL GENERAL LIABILITY CONDITIONS,
                              the Condition entitled Other Insurance, this insurance is excess of all other insurance available to the additional
                              insured whether on a primary, excess, contingent or any other basis. However, if this insurance is required by written
                              contract to be primary and non-contributory, this insurance will be primary and non-contributory relative solely to
                              insurance on which the additional insured is a named insured.
                          V. Solely with respect to the insurance granted by this endorsement, the section entitled COMMERCIAL GENERAL
                             LIABILITY CONDITIONS is amended as follows:


                          CNA75081XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 2                                                                                                     Endorsement No:       5
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000368
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                                                                                                                          CNA PARAMOUNT

                                                       Blanket Additional Insured - Owners, Lessees or
                                                     Contractors - with Products-Completed Operations
                                                              Coverage - Limited Liability Endorsement

        The Condition entitled Duties In The Event of Occurrence, Offense, Claim or Suit is amended with the addition
        of the following:
        Any additional insured pursuant to this endorsement will as soon as practicable:
        1.   give the Insurer written notice of any claim, or any occurrence or offense which may result in a claim;
        2.   except as provided in Paragraph IV. of this endorsement, agree to make available any other insurance the
             additional insured has for any loss covered under this coverage part;
        3.   send the Insurer copies of all legal papers received, and otherwise cooperate with the Insurer in the
             investigation, defense, or settlement of the claim; and
        4.   tender the defense and indemnity of any claim to any other insurer or self insurer whose policy or program
             applies to a loss that the Insurer covers under this coverage part. However, if the written contract requires
             this insurance to be primary and non-contributory, this paragraph 4 does not apply to insurance on which the
             additional insured is a named insured.
        The Insurer has no duty to defend or indemnify an additional insured under this endorsement until the Insurer
        receives written notice of a claim from the additional insured.
VI. Solely with respect to the insurance granted by this endorsement, the section entitled DEFINITIONS is amended to
    add the following definition:
    Written contract means a written contract or written agreement that requires the Named Insured to make a person
    or organization an additional insured on this coverage part, provided the contract or agreement:
    A. is currently in effect or becomes effective during the term of this policy; and
    B. was executed prior to:
        1.   The bodily injury or property damage; or
        2.   The offense that caused the personal and advertising injury
        for which the additional insured seeks coverage.
Any coverage granted by this endorsement shall apply solely to the extent permissible by law.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA75081XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:       5
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000369
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                                                                                                                                                    CNA PARAMOUNT
                                                                                         Pollution Exclusion Amendatory Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A, Bodily Injury and Property Damage Liability, the
                          paragraph entitled Exclusions is amended to delete paragraph (2) of exclusion f. Pollution, in its entirety, and replace it
                          with the following:
                          This insurance does not apply to:
                          (2) Any loss, cost or expense arising out of any:
                              (a) request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor, clean
                                  up, remove, contain, treat, detoxify or neutralize, or in any way respond to or assess the effects of, pollutants; or
                              (b) Claim by or on behalf of a governmental authority for damages because of testing for, monitoring, cleaning up,
                                  removing, containing, treating, detoxifying or neutralizing, or in any way responding to or assessing the effects of,
                                  pollutants.
                              However, if liability for damages because of property damage is not excluded by paragraph (1) of this exclusion,
                              then neither will paragraph (2)(a) above serve to exclude such damages.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74843XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:       6
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000370
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                                                                                                                                                   CNA PARAMOUNT

                                                                                        Primary and Noncontributory - Other Insurance
                                                                                                              Condition Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the condition entitled Other Insurance is amended to add the following:
                              Primary And Noncontributory Insurance
                              Notwithstanding anything to the contrary, this insurance is primary to and will not seek contribution from any other
                              insurance available to an additional insured under this policy provided that:
                              a.   the additional insured is a named insured under such other insurance; and
                              b. the Named Insured has agreed in writing in a contract or agreement that this insurance would be primary and
                                 would not seek contribution from any other insurance available to the additional insured.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74987XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:       7
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000371
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                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DeBartolo Construction Services, LLC



                           FedEx Ground Package System, Inc.



                           Church 2415 Reality LLC



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
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                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:       8
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000372
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                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           The J360 Construction Co LLC



                           Alston Construction Company, Inc



                           County of Warren             Broad of Chosen Freeholders



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728073681




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:       9
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000373
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                                                                                                                         CNA PARAMOUNT

                                                                            Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                                                 Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                          It is understood and agreed that the policy is amended as follows:
                          I.   Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions, is amended to add the following exclusion:
                               This insurance does not apply to:
                               A. bodily injury arising out of or relating to, in whole or in part, the actual, alleged or threatened inhalation of,
                                  ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or microbes on or within
                                  a building or structure, or on or within any contents of a building or structure. This exclusion applies regardless of
                                  any other cause or event that contributes concurrently or in any sequence to such injury;
                               B. property damage arising out of or relating to the actual, alleged or threatened contact with, exposure to,
                                  existence of, or growth or presence of any fungi or microbes on or within a building or structure, or on or within
                                  any contents of a building or structure; or
                               C. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                  containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                  the effects of, fungi or microbes, by any Insured or by anyone else. This exclusion applies regardless of any
                                  other cause or event that contributes concurrently or in any sequence to such loss, cost or expense.
                               However, this exclusion does not apply to:
                               i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                               ii. microbes that were transmitted directly from person to person.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions,
                              is amended to add the following exclusion:
                               This insurance does not apply to:
                               A. personal and advertising injury arising out of or relating to, in whole or in part, the actual, alleged or threatened
30020000760568728073682




                                  inhalation of, ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or
                                  microbes on or within a building or structure, or on or within any contents of a building or structure;
                               B. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                  containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                  the effects of, fungi or microbes, by any Insured or by anyone else.
                               This exclusion applies regardless of any other cause or event that contributes concurrently or in any sequence to such
                               injury or damage, loss, cost or expense.
                               However, this exclusion does not apply to:
                               i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                               ii. microbes that were transmitted directly from person to person.
                          III. As used herein:
                               A. fungi means any form of fungus, including but not limited to yeast, mold, mildew, rust, smut or mushroom, and
                                  including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released
                                  by or arising out of the current or past presence of fungi.



                          CNA74708XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      10
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000374
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                                                                                             CNA PARAMOUNT

                                              Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                   Endorsement

    B. microbe means any non-fungal microorganism, or non-fungal, colony-form organism, that causes infection or
       disease. Microbe includes any spores, mycotoxins, odors or any other substances, products or byproducts
       produced by, released by or arising out of the current or past presence of microbes.
IV. The following Condition is added:
    Arbitration
    For property damage, the determination of what portion of a loss is attributable to fungi and microbes, and what
    portion is not, shall be made by the Insurer. If the Named Insured disagrees with that determination, the Named
    Insured and by the Insurer agree to submit to binding arbitration according to the Commercial Arbitration Rules of the
    American Arbitration Association, or according to such other rules as the Named Insured and the Insurer agree to. If
    binding arbitration of insurance disputes is not allowed in the state where the Named Insured is incorporated (or, if
    the Named Insured is not a corporation, the state where the Named Insured is domiciled), then arbitration shall be
    non-binding, and shall only proceed if both the Named Insured and the Insurer agree to enter into it. The arbitration
    will be held in the county where the Named Insured is headquartered, or at such other location as may be jointly
    agreed to by the Named Insured and the Insurer. Each party will bear its own arbitration costs.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74708XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      10
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2018
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA000375
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                                                                                                                                                   CNA PARAMOUNT
                                                                     Employment-Related Practices Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART

                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                              This insurance does not apply to:
                              Bodily injury or personal and advertising injury to:
                              (1) a person arising out of any:
                                  (a) refusal to employ that person;
                                  (b) termination of that person's employment; or
                                  (c) employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
                                      reassignment, discipline, defamation, harassment, humiliation, discrimination or malicious prosecution
                                      directed at that person; or
                              (2) the spouse, child, parent, brother or sister of that person as a consequence of bodily injury to that person at
                                  whom any of the employment-related practices described in Paragraphs (a), (b), or (c) above is directed.
                              This exclusion applies:
                              (1) whether the injury-causing event described in Paragraphs (a), (b) or (c) above occurs before employment, during
                                  employment or after employment of that person;
                              (2) whether the Insured may be liable as an employer or in any other capacity; and
                              (3) to any obligation to share damages with or repay someone else who must pay damages because of the injury.
                              However, solely with respect to Coverage A, this exclusion does not apply to physical injury a person sustains during
                              a job interview while attempting to demonstrate a physical capability or skill required by the job.
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                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74761XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      11
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000376
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                                                                                                                                                     CNA PARAMOUNT

                                                                                               Testing or Consulting Errors and Omissions
                                                                                                                   Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          Testing or Consulting Errors and Omissions
                          bodily injury, property damage or personal and advertising injury arising out of:
                          1.   an error, omission, defect or deficiency in:
                               a.   any test performed; or
                               b. an evaluation, a consultation or advice given,
                               by or on behalf of any Insured;
                          2.   the reporting of or reliance upon any such test, evaluation, consultation or advice; or
                          3.   an error, omission, defect or deficiency in experimental data or the Insured’s interpretation of that data.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74775XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      12
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000377
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                                                                                                                                                     CNA PARAMOUNT
                                                               Contractors - Professional Liability Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render professional services by the Named Insured or on the Named Insured’s behalf.
                          As used herein, professional services means:
                          A. engineering, architectural or surveying services to others in the Named Insured’s capacity as an engineer, architect
                             or surveyor; or
                          B. providing, or hiring independent professionals to provide, engineering, architectural or surveying services in
                             connection with construction work the Named Insured performs.
                          Such professional services include:
                          1.   preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys, field orders,
                               change orders, or drawings and specifications; and
                          2.   supervisory or inspection activities performed as part of any related architectural or engineering activities.
                          However, professional services do not include services within construction means, methods, techniques, sequences and
                          procedures employed by the Named Insured in connection with the Named Insured’s operations in the Named
                          Insured’s capacity as a construction contractor.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74801XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      13
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000378
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                                                                                                                       CNA PARAMOUNT
                                                              Construction Wrap-Up Program Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of any
                          current or completed operation performed by the Named Insured or on the Named Insured’s behalf which is or was
                          insured under a consolidated (wrap-up) insurance program.
                          This exclusion applies whether or not the consolidated (wrap-up) insurance program:
                          A. provides coverage identical to that provided by this Coverage Part;
                          B. has limits adequate to cover all claims; or
                          C. remains in effect.
                          Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the prime
                          contractor/project manager or owner of the project has secured general liability insurance covering some or all of the
                          contractors or subcontractors involved in the project. Consolidated (wrap-up) insurance program includes an Owner
                          Controlled Insurance Program (O.C.I.P.) or a Contractor Controlled Insurance Program (C.C.I.P.).




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74863XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      14
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000379
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                                                                                                                            CNA PARAMOUNT

                                                                  Exterior Finish System Products/Completed Operations
                                                                                Property Damage Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that:
                          I.   Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions, is amended to add the following exclusion:
                               This insurance does not apply to:
                               Property damage included in the products-completed hazard arising out of, caused by, or attributable to, whether in
                               whole or in part, an exterior finish system or any part thereof, or any substantially similar system or any part thereof,
                               including the application or use of conditioners, primers, accessories, flashings, coatings, caulkings or sealants in
                               connection with such system.
                          II. The section entitled DEFINITIONS is amended to add the following new definition:
                               Exterior finish system means a synthetic exterior wall cladding system that is intended to be water tight at the
                               outside surface and designed to consist of:
                               a.   A backer board that is attached to any building surface or substrate;
                               b. An integrally reinforced base coat on the face of the backer board;
                               c.   A protective finish applied to the surface of the base coat; and
                               d. Applicable accessories, flashings, coatings, caulking and sealants
                               that interact to form an energy efficient wall.
                          As used herein, backer board includes but is not limited to insulation board, foam board, cement board, cementitious
                          backer board, plywood, oriented strand board, any gypsum based board, metal sheet, concrete block or concrete.




                          All other terms and conditions of the Policy remain unchanged.
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                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74892XX (1-15)                                                                                 Policy No: 6056872807
                          Page 1 of 1                                                                                 Endorsement No:      15
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                  CNA000380
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                                                                                                                                                     CNA PARAMOUNT

                                                                                      Engineers, Architects or Surveyors Professional
                                                                                                     Liability Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render any professional services by the Named Insured or any engineer, architect or surveyor
                          who is either employed by the Named Insured or performing work on the Named Insured’s behalf in such capacity.
                          Professional services include:
                          A. the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys, field
                             orders, change orders or drawings and specifications; and
                          B. supervisory, inspection, architectural or engineering activities.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74980XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      16
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000381
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                                                                                                                                                    CNA PARAMOUNT

                                                                                   Exclusion - Access or Disclosure of Confidential
                                                                                or Personal Information and Data-Related Liability -
                                                                                with Limited Bodily Injury Exception Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions, the exclusion entitled Electronic Data is deleted in its entirety and replaced with the following:
                               This insurance does not apply to:
                               Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
                               Damages arising out of:
                               (1) any access to or disclosure of any person’s or organization’s confidential or personal information, including
                                   patents, trade secrets, processing methods, customer lists, financial information, credit card information, health
                                   information or any other type of nonpublic information; or.
                               (2) the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate electronic data.
                               This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                               expenses, public relation expenses or any other loss, cost or expense incurred by the Named Insured or others
                               arising out of that which is described in Paragraph (1) or (2) above.
                               However, unless Paragraph (1) above applies, this exclusion does not apply to damages because of bodily injury.
                               As used herein, electronic data means information, facts or programs stored as or on, created or used on, or
                               transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                               ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                               equipment.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions
                              is amended to add the following exclusion:
                               Access Or Disclosure Of Confidential Or Personal Information
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                               This insurance does not apply to personal and advertising injury arising out of any access to or disclosure of any
                               person's or organization's confidential or personal information, including patents, trade secrets, processing methods,
                               customer lists, financial information, credit card information, health information or any other type of nonpublic
                               information.
                               This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                               expenses, public relations expenses or any other loss, cost or expense incurred by the Named Insured or others
                               arising out of any access to or disclosure of any person's or organization's confidential or personal information.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.



                          CNA75089XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      17
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000382
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                                                                                                                         CNA PARAMOUNT
                                                                 Employee Benefits Liability Coverage Part - Occurrence

                          I.   COVERAGE
                               The Insurer will pay those sums up to the applicable limit of insurance that the Insured becomes legally obligated to
                               pay as damages as a result of a covered claim for an act, error or omission negligently committed in the
                               administration of the Named Insured's employee benefit program provided that such act, error or omission:
                               A. takes place in the coverage territory;
                               B. was committed during the policy period; and
                               C. prior to the effective date of the policy period:
                                   1.     no authorized insured knew or should have known of a claim or circumstance;
                                   2.     no Insured had given notice to a prior insurer of any related claim.
                               The Insurer will pay all defense costs in connection with a covered claim. Such defense costs are in addition to the
                               limits of insurance.
                          II. DUTY TO DEFEND
                               The Insurer has the right and duty to defend in the Insured's name and on the Insured's behalf any covered suit
                               even if any of the allegations of such suit are groundless, false or fraudulent. The Insurer shall have the right to
                               appoint counsel and to make such investigation and settlement of a claim as is deemed necessary by the Insurer. If
                               a claim is subject to an arbitration proceeding or mediation proceeding, the Insurer shall be entitled to exercise all of
                               the Insured's rights in the choice of arbitrators or mediators and in the conduct of an arbitration proceeding or
                               mediation proceeding involving such claim.
                               The Insurer is not obligated to investigate, defend, pay or settle, or continue to investigate, defend, pay or settle a
                               claim after the applicable limit of the Insurer's liability has been exhausted by payment of damages.
                          III. EXCLUSIONS
                               This insurance does not apply to:
                               A. Bodily Injury, Property Damage, or Personal and Advertising Injury
                                   any bodily injury, property damage or personal and advertising injury .
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                               B. Dishonest, Fraudulent, Criminal or Malicious Act Damages
                                   any intentional, dishonest, fraudulent, criminal or malicious act, error or omission, committed by any insured,
                                   including the willful or reckless violation of any statute.
                               C. Employment-Related Practices
                                   any wrongful termination of employment, discrimination, or other employment-related practices.
                               D. ERISA/Internal Revenue Code
                                   any act, error or omission in the Insured's capacity as a fiduciary under:
                                   1.     the Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any similar
                                          federal, state or local laws; or
                                   2.     the Internal Revenue Code of 1986 as now or hereafter amended.
                               E. Failure to Perform a Contract
                                   any failure of performance of contract by any insurer.
                               F. Inadequacy of Performance of Investment/Advice Given with Respect to Participation
                                   any:
                                1. failure of any investment to perform;
                          CNA74721XX 01-15                                                                                                  Page 1 of 8

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                                                                                             CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

       2.   errors in providing information on past performance of investment vehicles; or
       3.   advice given to any person with respect to that person's decision to participate or not to participate in any
            plan included in the employee benefit program.
   G. Insufficiency of Funds
       any insufficiency of funds to meet any obligations under any plan included in the employee benefit program.
   H. Workers' Compensation and Similar Laws
       any failure to comply with the mandatory provisions of any workers' compensation, unemployment compensation
       insurance, social security or disability benefits law or any similar law.
IV. LIMITS OF INSURANCE AND DEDUCTIBLE
   A. Limits of Insurance
       1.   Related Claims
            All related claims, whenever made, shall be considered a single claim first made during the policy period in
            which the earliest claim was first made.
       2.   Limit of insurance – each employee
            Subject to paragraph 2. below, the Insurer's limit of insurance for damages for all covered claims made by or
            behalf of any one employee including such employee's dependents or beneficiaries, shall not exceed the
            amount stated in the Coverage Part Declarations as "Employee Benefits Liability - each employee".
       3.   Limit of insurance - all claims in the aggregate
            The Insurer's limit of insurance for damages for all covered claims shall not exceed the amount stated in the
            Coverage Part Declarations as "Employee Benefits Liability – all claims in the aggregate", regardless of the
            number of employees.
       4.   Multiple insureds, claims, and claimants
            The limits of insurance shown in the Coverage Part Declarations and subject to the provisions of this policy,
            is the most the Insurer will pay as damages regardless of the number of Insureds, claims made or reported,
            persons or entities making claims, acts, errors or omission which result in damages or defense costs;
            employee benefit plans.
   B. Deductible
       1.   The Insurer's obligation to pay damages on behalf of the Insured applies only to the amount of damages in
            excess of the deductible amount stated on the Coverage Part Declarations as applicable to each employee
            including such employee's dependents or beneficiaries. The limits of insurance shall not be reduced by the
            amount of this deductible.
       2.   The deductible amount stated on the Coverage Part Declarations applies to all damages sustained by any
            one employee including such employee's dependents and beneficiaries, because of all acts, errors or
            omissions to which this insurance applies.
       3.   The Insurer may pay any part or all of the deductible amount to effect settlement of any claim and, upon
            notification of the action taken, the Insured shall promptly reimburse the Insurer for such part of the
            deductible amount as the Insurer has paid.
   The Limits of Insurance of this coverage part apply separately to each consecutive annual period and to any
   remaining period of less than 12 months, starting with the beginning of the policy period shown in the Policy
   Declarations, unless the policy period is extended after issuance for an additional period of less than 12 months. In
   that case, the additional period will be deemed part of the last preceding period for purposes of determining the Limits
   of Insurance.

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                                                                                                                     CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                          V. CONDITIONS


                             Assistance and Cooperation
                             If there is a claim the Insured must:
                             A. forward to the Insurer or its designee, copies of the papers and documents, if any, which inform the Insured of a
                                claim, including all notices, summonses or other processes regarding legal proceedings;
                             B. fully cooperate with the Insurer or its designee in all investigations, the making of settlements, the conduct of
                                suits or other proceedings, enforcing any right of contribution or indemnity against another who may be liable to
                                the Insured because of the claim. The Insured shall attend hearings and trials, assist in securing and giving
                                evidence, and obtaining the attendance of witnesses.
                             Concealment, Misrepresentation and Fraud
                             No concealment, misrepresentation or fraud shall avoid or defeat recovery under this coverage part unless such
                             concealment, misrepresentation or fraud was material. Concealment, misrepresentation or fraud in the procurement
                             of this coverage part which if known by the Insurer would have led to refusal by the Insurer to make this contract or
                             provide coverage, or to make this contract or provide coverage on different terms or conditions, will be deemed
                             material.
                             Estates, Legal Representatives and Spouses
                             The estates, heirs, legal representatives and spouse of any natural person Insured shall also be insured under this
                             coverage part; provided, however, coverage is afforded to such estates, heirs, legal representatives, and spouse
                             only for claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim
                             seeks damages from marital community property, jointly held property or property transferred from such natural
                             person Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                             representative, or spouse outside the scope of such person's capacity or status as such.
                             Notice of Claims and Circumstances
                             A. Notice of Circumstances
                                 The Insured must see to it that the Insurer is notified promptly of any circumstance. To the extent possible,
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                                 notice should include:
                                 1.   how, when and where the act, error or omission took place;
                                 2.   the names and addresses of any injured persons or organizations and witnesses; and
                                 3.   the nature and location of any injury or damage arising out of the occurrence or offense.
                             B. Notice of Claims
                                 If a claim is made against any Insured, the Insured must:
                                 1.   immediately record the specifics of the claim and the date received; and
                                 2.   notify the Insurer in writing as soon as possible.
                             C. The Insured must:
                                 1.   immediately send the Insurer copies of any demands, notices, summonses or legal papers received in
                                      connection with the claim;
                                 2.   authorize the Insurer to obtain records and other information.
                             D. no Insureds will, except at their own cost, voluntarily make a payment, assume any obligation, or incur any
                                expense without the Insurer's consent.


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                                                                                              CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

   Other Insurance
   If other valid and collectible insurance is available to the Insured for loss insured under this coverage part, the
   Insurer's obligations are limited as follows:
   A. Primary Insurance
       This insurance is primary. The Insurer's obligations are not affected unless any of the other insurance is also
       primary. Then, the Insurer will share with all that other insurance by the method described in Paragraph b. below.
   B. Method of Sharing
       If all of the other insurance permits contribution by equal shares, the Insurer will follow this method also. Under
       this approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of
       the loss remains, whichever comes first.
       If any of the other insurance does not permit contribution by equal shares, the Insurer will contribute by limits.
       Under this method, each insurer's share is based on the ratio of its applicable limit of insurance to the total
       applicable limits of insurance of all insurers.
   Premium Audit
   A. The Insurer will compute all premiums for this coverage part in accordance with the Insurer rules and rates.
   B. Premium shown in this coverage part as advance premium is a deposit premium only. At the close of each audit
      period the Insurer will compute the earned premium for that period and send notice to the First Named Insured.
      The due date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the
      advance and audit premiums paid for the policy term is greater than the earned premium, the Insurer will return
      the excess to the First Named Insured.
   C. The First Named Insured must keep records of the information the Insurer need for premium computation, and
      send the Insurer copies at such times as the Insurer may request.
   Separation of Insureds
   Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this policy to the First
   Named Insured, this insurance applies:
   A. as if each Named Insured were the only Named Insured; and
   B. separately to each Insured against whom a claim is made.
   Transfer of Rights of Recovery
   If any Insured for whom payment is made by the Insurer under this policy has rights to recover amounts from another,
   those rights are transferred to the Insurer to the extent of its payment. The Insured must do everything necessary
   after loss to secure the Insurer's rights and must do nothing to prejudice such rights.
VI. DEFINITIONS
   Administration means:
   A. providing information to employees, including their dependents and beneficiaries, with respect to eligibility for or
      scope of employee benefit programs;
   B. handling records in connection with the employee benefit program; or
   C. effecting, continuing or terminating any employee's participation in any benefit included in the employee benefit
      program.
   However, administration does not include handling payroll deductions.



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                                                 CNA000388
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                                                                                                                         CNA PARAMOUNT
                                                               Employee Benefits Liability Coverage Part - Occurrence

                             Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                             the Named Insured's goods, products or services for the purpose of attracting customers or supporters. For the
                             purposes of this definition:
                             A. notices that are published include material placed on the Internet or on similar electronic means of
                                communication; and
                             B. regarding web-sites, only that part of a web-site that is about the Named Insured's goods, products or services
                                for the purposes of attracting customers or supporters is considered an advertisement.
                             Authorized Insured means any executive officer, member of the Named Insured's human resources, risk
                             management or in-house general counsel's office, or any employee authorized by the Named Insured to give or
                             receive notice of a claim.
                             Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                             mental anguish or mental injury by that person at any time which results as a consequence of the bodily injury,
                             sickness or disease.
                             Cafeteria plans means plans authorized by applicable law to allow employees to elect to pay for certain benefits with
                             pre-tax dollars.
                             Claim means:
                             A. suit; or
                             B. a written or oral demand for damages
                             alleging negligent acts, errors or omissions committed in the administration of the Named Insured's employee
                             benefit plans.
                             Circumstance means an act, error or omission reported during the policy period from which an executive officer
                             reasonably expects that a claim could be made.
                             Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                             Endorsements.
                             Coverage territory means:
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                             A. the United States of America (including its territories and possessions), Puerto Rico and Canada;
                             B. international waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
                                between any places included in Paragraph A. above.
                             Damages means the amount an Insured is legally obligated to pay, either through:
                             A. final adjudication of a covered claim; or
                             B. through compromise or settlement of a covered claim with the Insurer's written consent or direction.
                             In addition, damages includes the above mentioned sums only after deducting all other recoveries and salvages.
                             However, damages does not include with respect to any claim;
                                 1.   restitution, return or disgorgement of fees, costs and expenses paid or incurred or charged by an Insured, no
                                      matter whether claimed as restitution of specific funds, forfeiture, financial loss, set-off or otherwise, and
                                      injuries that are a consequence of any of the foregoing;
                                 2.   civil or criminal fines, sanctions, penalties forfeitures, or taxes whether pursuant to statute, regulation or
                                      court rule, including those imposed under the Internal Revenue Code;
                                 3.   the multiplied portion of multiplied awards imposed pursuant to any statute or regulation requiring such
                                      awards;
                                 4.   injunctive or declaratory relief;

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                                                                                            CNA PARAMOUNT
                                    Employee Benefits Liability Coverage Part - Occurrence

       5.   any amount that is not insurable under any applicable law; or
       6.   plaintiff's attorney fees associated with any of the above;
       7.   any amounts for benefits to the extent that such benefits are available, with reasonable effort and
            cooperation of the Insured, from the applicable funds accrued or other collectible insurance; or
       8.   any amounts that exceed the limits and restrictions that apply to the payment of benefits in any plan included
            in the employee benefit program.
   Defense costs mean:
   A. reasonable and necessary fees, costs, and expenses incurred by the Insurer or consented to by the Insurer and
      incurred by the Named Insured in the defense or appeal of a covered suit or in the investigation of any covered
      claim, and includes premium for appeal bonds arising out of a covered judgment, attachment bonds or similar
      bonds, but only for bond amounts up to the applicable limit of insurance.
   B. prejudgment interest awarded against an Insured on that part of a judgment covered by this coverage part. If
      the Insurer makes an offer to pay the applicable limit of insurance, the Insurer will not pay any prejudgment
      interest based on that period of time after the offer.
   C. post judgment interest which accrues after entry of judgment, but before the Insurer has paid or offered to pay,
      or deposited in court that part of the judgment which is within the applicable limit of insurance of this coverage
      part. The amount of interest the Insurer pays will be in direct proportion to the amount of damages the Insurer
      pays in relation to the total amount of the judgment.
   D. all reasonable expenses incurred by a natural person Insured at the Insurer's request to assist the Insurer in the
      investigation or defense of the claim. This includes such Insured's actual loss of earnings up to $1000.00 per
      day, because of time off from work;
   E. all court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
      attorneys' expenses taxed against the Insured.
   Payment of defense costs will not reduce the limit of insurance.
   Employee means a person actively employed, formerly employed, on leave of absence or disabled, or retired.
   Employee includes a leased worker. Employee does not include a temporary worker.
   Employee benefit program means a program providing some or all of the following benefits to the employees
   whether provided through a cafeteria plan or otherwise:
   A. group life insurance, group accident or health insurance, dental, vision and hearing plans, and flexible spending
      accounts, provided that no one other than an employee may subscribe to such benefits and such benefits are
      made generally available to those employees who satisfy the plan's eligibility requirements;
   B. profit sharing plans, employee savings plans, employee stock ownership plans, pension plans and stock
      subscription plans, provided that no one other than an employee may subscribe to such benefits and such
      benefits are made generally available to all employees who are eligible under the plan for such benefits;
   C. unemployment insurance, social security benefits, workers' compensation and disability benefits; or
   D. vacation plans, including buy and sell programs; leave of absence programs, including military, maternity, family,
      and civil leave; tuition assistance plans; transportation and health club subsidies.
   Executive Officer means any natural person holding any of the following positions created by the Named Insured's
   charter, constitution, bylaws or any other similar governing document:
   A. director, officer, trustee or governor of a corporation;
   B. management committee member of a joint venture;
   C. partner of a partnership;

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                                                                                                                         CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                             D. manager of a limited liability company;
                             E. trustee of a trust.
                             An executive officer is not an employee.
                             First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                             Insured means any Named Insured and
                             A. any natural person who was, is or becomes:
                                 1.   the Named Insured's executive officers, but only for the administration of the Named Insured’s
                                      employee benefit program; or
                                 2.   the Named Insured's stockholders, but only with respect to their liability as stockholders.
                                 3.   the Named Insured's employees authorized to administer its employee benefit program; or
                                 4.   any natural person (including any employee), or any organization having proper temporary authorization to
                                      administer the Named Insured's employee benefit program, but only until an authorized legal
                                      representative is appointed on behalf of the Named Insured.
                             B. any organization the Named Insured newly acquires or forms, other than a partnership or joint venture, and over
                                which the Named Insured maintains ownership or majority interest, if there is no other similar insurance available
                                to that organization. However:
                                 1.   coverage under this provision is afforded only until the 90th day after the Named Insured acquires or forms
                                      the organization or the end of the policy period, whichever is earlier; and
                                 2.   coverage does not apply to acts, errors or omissions that occurred before the Named Insured acquired or
                                      formed the organization.
                                 No person or organization is an insured with respect to the conduct of any current or past partnership or joint
                                 venture that is not shown as a Named Insured in the Declarations.
                             In addition to the above, the estates, heirs, legal representatives or spouses of any of the Named Insured’s
                             executive officers or employees qualifying as an Insured are also insured pursuant to the condition entitled
                             Estates, Legal Representatives And Spouses.
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                             Leased worker means a natural person leased to the Named Insured by a labor leasing firm under an agreement
                             between the Named Insured and the labor leasing firm, to perform duties related to the conduct of the Named
                             Insured's business. Leased worker does not include a temporary worker.
                             Named Insured means the person or organization shown in the Declarations, and any other person or organization
                             qualifying as a Named Insured under this coverage part.
                             Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
                             conditions.
                             Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
                             the following offenses:
                             A. false arrest, detention or imprisonment;
                             B. malicious prosecution;
                             C. wrongful eviction from, wrongful entry into, or the invasion of the right of private occupancy of a room, dwelling or
                                premises that a natural person occupies committed by or on behalf of its owner, landlord or lessor;
                             D. oral or written publication, in any manner, of material that slanders or libels a person or organization or disparages
                                a person's or organization's goods, products or services;
                             E. oral or written publication, in any manner, of material that violates a natural person’s right of privacy;
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                                                                                             CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

   F. the use of another's advertising idea in the Named Insured's advertisement; or
   G. infringing upon another's copyright or slogan in the Named Insured's advertisement.
   Policy period means the period of time from the effective date and time of this Policy to the date and time of
   termination as shown in the Policy Declarations, or its earlier cancellation date.
   Property damage means physical injury to:
   A. tangible property, including all resulting loss of use of that property. All such loss of use shall be deemed to occur
      at the time of the physical injury that caused it; or
   B. loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
      time of the occurrence that caused it.
   Related claims means all claims arising out of a single act, error or omission or arising out of related acts, errors or
   omissions negligently committed in the administration of the Insured Entity's employee benefits program.
   Spouse means any husband or wife or any person qualifying as a domestic partner under any federal, state or local
   laws or under the Named Insured's employee benefit plans or employee benefits program.
   Suit means a civil proceeding in which damages to which this insurance applies are alleged. Suit includes:
   A. an arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
      submit with the Insurer's consent; or
   B. any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
      submits with the Insurer's consent.
   Temporary worker means a worker who is furnished to the Named Insured to substitute for a permanent employee
   on leave or to meet seasonal or short-term workload conditions.
   Volunteer worker means a natural person who is not the Named Insured's employee, and who donates his or her
   work and acts at the direction of and within the scope of duties determined by the Named Insured, and is not paid a
   fee, salary or other compensation by the Named Insured or anyone else for their work performed for the Named
   Insured.




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                                                                                                                       CNA PARAMOUNT

                                                                                          Employee Benefits Liability- Amended
                                                                                    Definition of Executive Officer Endorsement

                          This endorsement modifies insurance provided under the following:

                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                          It is understood and agreed that under DEFINITIONS, the definition of Executive Officer is deleted and replaced by the
                          following:
                          Executive Officer means any natural person holding any of the following positions created by the Named Insured's
                          charter, constitution, bylaws or any other similar governing document:
                          A. director, officer, trustee or governor of a corporation.
                          B. management committee member of a joint venture;
                          C. partner of a partnership;
                          D. manager of a limited liability company; or
                          E. trustee of a trust.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA86269XX (10-16)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      18
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000393
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                                                                                                                                    IL 01 11 11 03

                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                               NEW JERSEY CHANGES
                          This endorsement modifies insurance provided under the following:

                              CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
                              COMMERCIAL INLAND MARINE COVERAGE PART
                              COMMERCIAL PROPERTY COVERAGE PART
                              STANDARD PROPERTY POLICY

                          A. The following exclusion and related provisions are              To     the    extent      that  the   Concealment,
                             added:                                                          Misrepresentation Or Fraud Condition conflicts with
                             1. We will not pay for loss or damage arising out of            the provisions of Paragraph A.2. above, the
                                any act committed:                                           provisions of A.2. will apply.
                                a. By or at the direction of any insured; and             B. The following is added to the Transfer Of Rights Of
                                                                                             Recovery Against Others To Us Condition:
                                   b. With the intent to cause a loss.
                                                                                              If we pay a co-insured for loss arising out of an act
                              2.   However, this exclusion will not apply to deny             of domestic violence by another insured, the rights
                                   payment to a co-insured who did not cooperate              of the co-insured, who did not cooperate in or
                                   in or contribute to the creation of the loss if the        contribute to the creation of the loss, to recover
                                   loss arose out of domestic violence.                       damages from the perpetrator of domestic violence
                              3.   If we pay a claim pursuant to Paragraph A.2.,              are transferred to us to the extent of our payment.
                                   our payment to the insured is limited to that              Following the loss, the co-insured who did not
                                   insured's insurable interest in the property. In no        cooperate in or contribute to the loss may not waive
                                   event will we pay more than the Limit of                   such rights to recover against the perpetrator of
                                   Insurance.                                                 domestic violence.
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                          IL 01 11 11 03                             Copyright, ISO Properties, Inc., 2003                             Page 1 of 1
                                                                            CNA000397
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                                                                                                                          CNA PARAMOUNT
                                                                                                      Broad Named Insured Endorsement

                          This endorsement modifies insurance provided under the following:
                               EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                               STOP GAP LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   The WHO IS AN INSURED Section is amended to delete its Paragraph 3. in its entirety and replace it with the
                               following:
                               3.   Pursuant to the limitations described in Paragraph IV. below, any organization in which a Named Insured has
                                    management control:
                                    a.   on the effective date of this Coverage Part; or
                                    b. by reason of a Named Insured creating or acquiring the organization during the policy period,
                                    qualifies as a Named Insured, provided that there is there is no other similar liability insurance, whether primary,
                                    contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
                                    provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
                                    narrower than that provided by this insurance.
                                    However, this BROAD NAMED INSURED provision does not apply to:
                                    (a) any partnership, limited liability company or joint venture; or
                                    (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.
                          II. Solely with respect to organizations which qualify as Named Insureds by virtue of this Endorsement, this insurance
                              does not apply to:
                               a.   bodily injury or property damage that first occurred prior to the date of management control, or that first occurs
                                    after management control ceases; nor
                               b. personal or advertising injury caused by an offense that first occurred prior to the date of management control
                                  or that first occurs after management control ceases.
                          III. The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names or
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                               under such other trading names or doing-business-as names as any Named Insured should choose to employ.
                          IV. For the purposes of this endorsement, a new definition is added as follows:
                               Management control means:
                               A. owning interests representing more than 50% of the voting, appointment or designation power for the selection of
                                  a majority of: the Board of Directors of a corporation; or
                               B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or sell
                                  property held by a trust.
                          V. If the coverage part to which this endorsement applies is part of a package policy that also contains a Commercial
                             General Liability Coverage Part (CGL) that has been endorsed:
                               A. with a Broad Named Insured provision, then the CGL’s Broad Named Insured provision’s terms hereby replace
                                  this endorsement’s terms, including any terms applicable to management control, limited liability companies or
                                  joint ventures; or
                               B. to exclude from coverage an organization that otherwise would qualify as a Named Insured under this (Broad
                                  Named Insured) endorsement, then such an organization is also excluded from the coverage provided by this
                                  coverage part.

                          CNA75108XX (1-15)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                             Endorsement No:      20
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                               CNA000398
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                                                                                             CNA PARAMOUNT
                                                                         Broad Named Insured Endorsement



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA75108XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      20
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2018
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA000399
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                                                                                                                       CNA PARAMOUNT
                                                                                                                     Bridge Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   The Common Terms and Conditions are amended to delete the sections entitled “Bankruptcy” and “No Suit Against
                               Insurer” as the conditions section of the Coverage Part has more specific conditions of its own.
                          II. The conditions section is amended to delete the condition entitled When We Do Not Renew. Please refer instead to
                              Condition III. CANCELLATION/NONRENEWAL of the Common Terms and Conditions.
                          III. The DEFINITIONS section is amended to add the following new definitions:

                               Claim means:

                               A. a suit; or
                               B. a written or oral demand for damages alleging injury to which this insurance applies.

                               Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                               Endorsements.

                               Damages means the amount an Insured is legally obligated to pay, either through:

                               A. final adjudication of a covered claim; or

                               B. through compromise or settlement of a covered claim with the Insurer’s written consent or direction.

                               Defense costs means those amounts set forth under the SUPPLEMENTARY PAYMENTS section of any applicable
                               coverage part.
                               First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                               Insured means those persons or organizations as set forth in the section entitled Who is an Insured.
                               Named Insured means the persons or organizations named as such in the Declarations and any other person or
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                               organization qualifying as a named insured under this policy.

                               Policy period means the period of time from the effective date and time of this Policy to the date and time of
                               termination as shown in the Policy Declarations, or its earlier cancellation date.
                               Spouse means any husband or wife or any person qualifying as a domestic partner under any applicable federal,
                               state or local laws or under the Named Insured’s employee benefit plans.
                          IV. Where the phrase “claim or suit” appears, it is deleted and replaced with the defined term claim.
                          V. Any reference to “the Insurer” in this Policy refers to the company providing this insurance.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.

                          CNA62646XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      21
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA000400
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                                                                                                                          CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          Wherever used in this endorsement: 1) Insurer means "we", "us", "our" or the "Company" as those terms may be defined
                          in the policy; and 2) Named Insured means the first person or entity named on the declarations page; and 3) "Insureds"
                          means all persons or entities afforded coverage under the policy.

                          Any cancellation, non-renewal or termination provisions in the policy are deleted in their entirety and replaced with the
                          following:

                          CANCELLATION AND NON-RENEWAL

                          A.      CANCELLATION

                                  1.      The first Named Insured may cancel the policy at any time. To do so, the Named Insured must return the
                                          policy to the Insurer or any of its authorized representatives, indicating the effective date of cancellation;
                                          or provide a written notice to the Insurer, stating when the cancellation is to be effective.

                                  2.      The Insurer may cancel the policy at any time and for any reason within the first sixty (60) days. The
                                          Insurer will mail or deliver written notice of cancellation at least ten (10) days prior to the effective of such
                                          cancellation if cancellation is for nonpayment or existence of a moral hazard as defined by NJAC 11:1-
                                          20.2(f) and thirty (30) days if for any other reason.

                                  3.      If the policy has been in effect for sixty (60) days or more, it may be canceled only for one of the following
                                          reasons:

                                          a.       May be canceled for any underwriting reason set forth in our underwriting guidelines which were
                                                   in effect at the policy inception. The underwriting guidelines must not be arbitrary, capricious or
                                                   unfairly discriminatory.

                                          b.       The following text sets forth certain approved reasons for midterm cancellations as approved
                                                   guidelines. While an Insurer may issue other guidelines, it appears that an Insurer should limit its
                                                   guidelines for midterm cancellation to those the Department has approved to avoid the possibility
                                                   that the Department might rescind a cancellation.
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                                          c.       All underwriting reasons or guidelines utilized by the Insurer to cancel or non-renew the policy
                                                   will be maintained by Insurer in writing and will be available to the Named insured or the Named
                                                   Insured's lawful representatives upon written request.

                                          d.       Only those guidelines which are in effect at the inception of the original policy or any renewal
                                                   thereof, as applicable, may be utilized to cancel during the policy period.

                                          e.       The following guidelines are approved for use:

                                                   (1)      Non-payment of premium;
                                                   (2)      Moral hazard, which is defined as:

                                                            (a)      The risk, danger or probability that the insured will destroy, or permit to be
                                                                     destroyed, the insured property for the purpose of collecting the insurance
                                                                     proceeds. Any change in the circumstances of an insured that will increase the
                                                                     probability of such a destruction may be considered a "moral hazard;" and
                                                            (b)      The substantial risk, danger or probability that the character, circumstances or
                                                                     personal habits of the insured may increase the possibility of loss or liability
                                                                     which we will be held responsible. Any change in the character or

                          CNA62814NJ (9-12)                                                                             Policy No: 6056872807
                          Page 1 of 3                                                                             Endorsement No:      22
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000401
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                                                                                                 CNA PARAMOUNT
                                                             Cancellation / Non-Renewal – New Jersey

                                           circumstances of an individual, corporate, partnership or other insured that will
                                           increase probability of such a loss or liability may be considered a "moral
                                           hazard."
                         (3)      Material misrepresentation or non-disclosure of material fact.
                         (4)      Increased hazard or material change in the risk by the parties at inception of coverage.
                         (5)      Substantial breaches of policy provisions that materially affect the nature and/or
                                  insurability of the risk.
                         (6)      Lack of cooperation on loss control matters which materially affect insurability.
                         (7)      Fraudulent acts which materially affects the risk.
                         (8)      Loss of or reduction in available insurance capacity. This is an acceptable reason for
                                  cancellation only if the following exists:

                                  (i)       an insurance department has declared insured to be financially impaired.
                                  (ii)      substantial reductions in reinsurance or other changes which prohibit us from
                                            providing coverage at the same limits and terms as the existing policy; or
                                  (iii)     an insurance department has issued an order indicating impaired financial
                                            condition of the reinsurer which may adversely affect the reinsurer's ability to
                                            meet its obligations.

                         (9)      Failure of the Insured to comply with any federal, state or local fire, health, safety,
                                  building or construction regulation, law or ordinance which substantially increases any
                                  hazard insured against. The Insured has sixty (60) days to correct.
                         (10)     Failure by the Insured to provide reasonable and necessary underwriting information to
                                  us upon written request and a reasonable time to respond.
                         (11)     Agency termination, provided:

                                  (i)       It is documented that replacement coverage at comparable rates and terms has
                                            been provided to the Insured, and the Insured has been informed, in writing of
                                            his or her right to continue coverage; or

                                  (ii)      the Insured has agreed in writing to the cancellation based upon the termination
                                            of the agent.

                                  The Insurer will mail notice of cancellation to the Named Insured not more than one
                                  hundred and twenty (120) days nor less than sixty (60) days prior to the effective date of
                                  such cancellation. If the Insurer cancels for non-payment of premium, notice of
                                  cancellation will be mailed at least ten (10) days prior to the effective date of such
                                  cancellation.

        4.      All notices of cancellation will state the reason for cancellation.

        5.      Notice of cancellation will state the effective date of cancellation. The policy period will end on that date.

        6.      If notice is mailed, proof of mailing will be sufficient proof of notice.


B.      PREMIUM REFUND

        If this policy is cancelled, the Insurer will send the Named Insured any premium refund due. If the Insurer cancels
        the refund will be pro rata. If the Named Insured cancels, the refund may be less than pro rata. The cancellation
        will be effective even if the Insurer has not made or offered a refund.

CNA62814NJ (9-12)                                                                                 Policy No: 6056872807
Page 2 of 3                                                                                 Endorsement No:      22
CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2018
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000402
                                                Copyright CNA A l Rights Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 200 of 1498 PageID #:16460
                                                                                                                        CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          C.      NON-RENEWAL

                                  1.       The Insurer can non-renew the policy by mailing or delivering written notice to the Named Insured, at the
                                           last mailing address known to the Insurer, not more than one hundred and twenty (120) days nor less
                                           than sixty (60) days prior to the effective date of non-renewal. The notice will be sent by certified mail or
                                           by first class mail, if a date stamped proof of mailing has been obtained from the post office.

                                  2.       Like notice of non-renewal will state the actual reason for non-renewal.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728073704




                          CNA62814NJ (9-12)                                                                            Policy No: 6056872807
                          Page 3 of 3                                                                            Endorsement No:      22
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000403
                                                                         Copyright CNA A l Rights Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 201 of 1498 PageID #:16461
                                                                                                                         CNA PARAMOUNT
                                                                                           Amendatory Endorsement – New Jersey

                          It is understood and agreed as follows:

                          I.      The CONCEALMENT, MISREPRESENTATION AND FRAUD condition of the First Party Terms and
                                  Conditions is deleted and replaced with the following:

                                  CONCEALMENT, MISREPRESENTATION AND FRAUD

                                  This entire policy shall be canceled if, whether before or after a loss, the Named Insured or designated
                                  representatives:

                                  A.       has concealed or misrepresented any material fact or circumstance concerning:

                                           1.       this insurance or the subject thereof;

                                           2.       the interest of the Named Insured therein; or

                                           3.       any claim; or

                                  B.       has falsely sworn to any such material fact or circumstance.



                          All other terms and conditions of the Policy remain unchanged.

                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.
30020000760568728073705




                          CNA62815NJ (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      23
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000404
                                                                           Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 202 of 1498 PageID #:16462
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   CHURCH 2415 REALITY, LLC




                          Address:                        100 RING ROAD WEST, SUITE 101


                                                          GARDEN CITY
                                                                                                                                                ,
                                                          NY 11050
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728073706




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      24
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000405
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 203 of 1498 PageID #:16463
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DeBartolo Construction Services, LLC




                          Address:                        4401 West Kennedy Boulevard - 3rd Floor


                                                          Tampa
                                                                                                                                                ,
                                                          FL 33609
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728073707




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      25
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000406
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 204 of 1498 PageID #:16464
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   FedEx Ground Package System, Inc.




                          Address:                        1000 FedEx Drive


                                                          Moon Township
                                                                                                                                                ,
                                                          PA 15108
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728073708




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      26
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000407
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 205 of 1498 PageID #:16465
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   The J360 Construction Co LLC




                          Address:                        290 Madison Avenue, 4th Floor


                                                          New York
                                                                                                                                                ,
                                                          NY 10017
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728073709




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      27
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000408
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 206 of 1498 PageID #:16466
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   Alston Construction Company, Inc




                          Address:                        C/O MY COI
                                                          1075 BROAD RIPPLE AVE, SUITE 313

                                                          INDIANAPOLIS
                                                                                                                                                ,
                                                          IN 46220
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728073710




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      28
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000409
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 207 of 1498 PageID #:16467
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   County of Warren   Board of Chosen
                                                                                                        Freeholders




                          Address:                        165 County Route #519 South


                                                          Belvidere
                                                                                                                                                ,
                                                          NJ 07823
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728073711




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      29
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000410
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 208 of 1498 PageID #:16468
                                                                                                                                                   CNA PARAMOUNT
                                                                                                            Calculation of Premium Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the following is added:
                          The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On each
                          renewal, continuation, or anniversary of the effective date of this policy, the Insurer will compute the premium in
                          accordance with the Insurer’s rates and rules then in effect.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728073712




                          CNA74726XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      30
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000411
                                           Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 209 of 1498 PageID #:16469
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 210 of 1498 PageID #:16470
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 211 of 1498 PageID #:16471
                                                                                                                          CNA PARAMOUNT
                                                                                                       Asbestos Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE FORM
                               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
                               RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
                               SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK
                               STOP GAP COVERAGE PART
                          It is understood and agreed that the following exclusion is added:
                          This insurance does not apply to:
                          A. bodily injury, property damage or personal and advertising injury arising out of the actual, alleged or threatened
                             exposure at any time to asbestos; or
                          B. any loss, cost or expense that may be awarded or incurred:
                               1.   by reason of a claim for any bodily injury, property damage or personal and advertising injury arising out of
                                    the actual, alleged or threatened exposure at any time to asbestos; or
                               2.   in complying with a governmental direction or request to test for, monitor, clean up, remove, contain or dispose of
                                    asbestos.
                          As used herein, asbestos means the mineral in any form whether or not the asbestos was at any time:
                          i.   airborne as a fiber, particle or dust;
                          ii. contained in or formed a part of a product, structure or other real or personal property;
                          iii. carried on clothing;
                          iv. inhaled or ingested; or
                          v.   transmitted by any other means.
30020000760568728073714




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74719XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      32
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000414
                                                                           Copyright CNA A l R ghts Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 212 of 1498 PageID #:16472
                                                                                                                                                      CNA PARAMOUNT

                                                                                       Nuclear Energy Liability Exclusion Endorsement
                                                                                                                          (Broad Form)

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                               STOP GAP LIABILITY COVERAGE PART
                          It is understood and agreed that the policy is amended as follows:
                          I.   The insurance does not apply:
                               A. under any Liability Coverage, to bodily injury or property damage:
                                   1.   with respect to which an Insured under the policy is also an Insured under a nuclear energy liability policy
                                        issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters,
                                        Nuclear Insurance Association of Canada or any of their successors, or would be an Insured under any such
                                        policy but for its termination upon exhaustion of its limit of liability; or
                                   2.   resulting from the hazardous properties of nuclear material and with respect to which
                                        a.   any person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
                                             of 1954, or any law amendatory thereof, or
                                        b. the Insured is, or had this policy not been issued would be, entitled to indemnity from the United States
                                           of America, or any agency thereof, under any agreement entered into by the United States of America, or
                                           any agency thereof, with any person or organization.
                               B. under any Medical Payments coverage, to expenses incurred with respect to bodily injury resulting from the
                                  hazardous properties of nuclear material and arising out of the operation of a nuclear facility by any person or
                                  organization.
                               C. under any Liability Coverage, to bodily injury or property damage resulting from hazardous properties of
                                  nuclear material, if:
30020000760568728073715




                                   1.   the nuclear material
                                        a.   is at any nuclear facility owned by, or operated by or on behalf of, an Insured or
                                        b. has been discharged or dispersed therefrom;
                                   2.   the nuclear material is contained in spent fuel or waste at any time possessed, handled, used, processed,
                                        stored, transported or disposed of, by or on behalf of an Insured; or
                                   3.   the bodily injury or property damage arises out of the furnishing by an Insured of services, materials, parts
                                        or equipment in connection with the planning, construction, maintenance, operation or use of any nuclear
                                        facility, but if such facility is located within the United States of America, its territories or possessions or
                                        Canada, this exclusion 3. applies only to property damage to such nuclear facility and any property thereat.
                          II. As used in this endorsement:
                               Hazardous properties includes radioactive, toxic or explosive properties.
                               Nuclear material means source material, special nuclear material or by-product material.
                               Source material, special nuclear material, and by-product material have the meanings given them in the Atomic
                               Energy Act of 1954 or in any law amendatory thereof.


                          CNA74727XX (1-15)                                                                                                      Policy No: 6056872807
                          Page 1 of 2                                                                                                      Endorsement No:      33
                          CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA000415
                                             Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 213 of 1498 PageID #:16473
                                                                                                                          CNA PARAMOUNT

                                                           Nuclear Energy Liability Exclusion Endorsement
                                                                                              (Broad Form)

    Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to radiation in
    a nuclear reactor.
    Waste means any waste material:
    A. containing by-product material other than the tailings or wastes produced by the extraction or concentration of
       uranium or thorium from any ore processed primarily for its source material content, and
    B. resulting from the operation by any person or organization of any nuclear facility included under the first two
       paragraphs of the definition of nuclear facility.
    Nuclear facility means:
    A. any nuclear reactor;
    B. any equipment or device designed or used for
        1.   separating the isotopes of uranium or plutonium,
        2.   processing or utilizing spent fuel, or
        3.   handling, processing or packaging waste;
    C. any equipment or device used for the processing, fabricating or alloying of special nuclear material if at any time
       the total amount of such material in the custody of the Insured at the premises where such equipment or device is
       located consists of or contains more than 25 grams of plutonium or uranium 233 or any combination thereof, or
       more than 250 grams of uranium 235;
    D. any structure, basin, excavation, premises or place prepared or used for the storage or disposal of waste;
    and includes the site on which any of the foregoing is located, all operations conducted on such site and all premises
    used for such operations.
    Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting chain reaction
    or to contain a critical mass of fissionable material.
    Property damage includes all forms of radioactive contamination of property.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74727XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:      33
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2018
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000416
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                                                                                                                            CNA PARAMOUNT

                                                                              Cap on Losses from Certified Acts of Terrorism
                                                                                                               Endorsement

                          Solely with respect to the following coverage parts:

                              Business Property
                              Inland Marine

                              General Liability
                              Employee Benefits Liability



                          It is understood and agreed as follows:

                          A. Cap on Certified Terrorism Losses

                              Certified act of terrorism means an act that is certified by the Secretary of the Treasury, in consultation with the
                              Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant to
                              the Terrorism Risk Insurance Act, as extended and reauthorized (the "Act"). The criteria contained in the Act for a
                              certified act of terrorism include the following:

                              1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                                   subject to the Terrorism Risk Insurance Act; and

                              2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                                   individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
                                   policy or affect the conduct of the United States Government by coercion.

                              If aggregate insured losses attributable to terrorist acts certified under the Act exceed $100 billion in a Calendar year
                              (January 1 through December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be
                              liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
                              losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
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                              of the Treasury.

                          B. Application of Exclusions

                              The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
                              serve to create coverage for any loss which would otherwise be excluded under this coverage part or Policy, such as
                              losses excluded by the Nuclear Hazard Exclusion or the War And Military Action Exclusion.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA81503XX (2-15)                                                                               Policy No: 6056872807
                          Page 1 of 1                                                                               Endorsement No:      34
                          CONTINENTAL CASUALTY COMPANY                                                                Effective Date: 12/23/2018
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA000417
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                                                      END OF COPY

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                      GROUP EXHIBIT G-2
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                                                                                                                         CNA PARAMOUNT
                                                                                               Policy Holder Notice – Countrywide


                                                   IMPORTANT INFORMATION

                                                    NOTICE – OFFER OF TERRORISM COVERAGE
                                                       NOTICE – DISCLOSURE OF PREMIUM
                          Solely with respect to the following coverage parts:

                              Business Property
                              Inland Marine

                              General Liability
                              Employee Benefits Liability




                          THIS NOTICE DOES NOT FORM A PART OF THE POLICY, GRANT ANY COVERAGE OR CHANGE THE TERMS
                          AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                          The Named Insured is hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"),
                          the Named Insured has a right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in
                          Section 102(1) of the Act, subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a
                          federal program within the Department of the Treasury, under which the federal government shares, with the insurance
                          industry, the risk of loss from future terrorist attacks.

                          This Notice is designed to alert the Named Insured to coverage restrictions and to certain terrorism provisions in the
                          policy. If there is any conflict between this Notice and the policy (including its endorsements), the provisions of the policy
                          (including its endorsements) apply.
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                          CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM

                          The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
                          Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars and
                          must have been committed by an individual or individuals acting on behalf of any foreign person or foreign interest to
                          coerce the government or population of the United States. However, the 2007 re-authorization of the Act removed the
                          requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now certified acts of
                          terrorism may encompass, for example, a terrorist act committed against the United States government by a United States
                          citizen, when the act is determined by the federal government to be "a certified act of terrorism."

                          In accordance with the Act, the Insurer is required to offer the Named Insured the ability to purchase coverage for losses
                          resulting from an act of terrorism that is certified under the federal program. The other provisions of this policy, including
                          nuclear, war or military action exclusions, will still apply to such an act.

                          DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES

                          The Department of the Treasury will pay a share of terrorism losses insured under the federal program. In 2015, the
                          federal share equals 85% of that portion of the amount of such insured losses that exceeds the applicable insurer
                          retention, and shall decrease by 1 percentage point per calendar year until equal to 80%.

                          LIMITATION ON PAYMENT OF TERRORISM LOSSES


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                                                                                                CNA PARAMOUNT
                                                                          Policy Holder Notice – Countrywide

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a Calendar year (January 1 through December 31), the Treasury shall not make any payment for any portion of
the amount of such losses that exceeds $100 billion.

Further, this coverage is subject to a limit on the Insurer's liability pursuant to the federal law where, if aggregate insured
losses attributable to terrorist acts certified under the Act exceed $100 billion in a Calendar year (January 1 through
December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be liable for the payment
of any portion of the amount of such losses that exceeds $100 billion. In such case, insured losses up to that amount are
subject to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.

CONFIRMATION OF ACCEPTANCE OF COVERAGE

In accordance with the Act, the Insurer offered the Named Insured coverage for losses resulting from an act of terrorism
that is certified under the federal program. This notice confirms that the Named Insured has chosen to accept the
Insurer's offer of coverage for certified acts of terrorism. The policy's other provisions, including nuclear, war or military
action exclusions, will still apply to such an act. The premium charge for terrorism coverage is shown separately on the
Declarations.




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                                                                                                                     CNA PARAMOUNT
                                                                                              Policy Holder Notice – New Jersey


                                                  IMPORTANT INFORMATION
                                                              "PLIGA" SURCHARGE
                                                             FOR OUR NEW JERSEY
                                                        COMMERCIAL LINES POLICYHOLDERS
                          Your policy premium includes a New Jersey Property – Liability Insurance Guaranty Association (PLIGA) surcharge.
                          PLIGA protects consumers from insurance company insolvencies. The cost of this guaranty fund is assessed to all
                          insurance companies in New Jersey; and in compliance with Department of Insurance Order No. A18-105, it is passed
                          along to individual consumers via this surcharge.

                          The surcharge is 0.53% of your premium for all property/liability coverage except for life insurance, accident and health
                          insurance, workers' compensation insurance, title insurance, annuities, surety bonds, credit insurance, mortgage guaranty
                          insurance, municipal bond coverage, fidelity insurance, investment return assurance, ocean marine insurance, and pet
                          health insurance.

                          For purposes of this surcharge and in compliance with New Jersey Insurance Department Regulation N.J.S.A. 17:30A-8a
                          (3), the declarations page of this policy is the "premium bill."

                          If you have questions about the New Jersey – Liability Insurance Guaranty Association or this surcharge, please contact
                          your independent CNA agent.
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                                                                                                                         CNA PARAMOUNT
                                                                                                    Policy Holder Notice – Countrywide


                                                   IMPORTANT INFORMATION
                                                 PREVENT UNEXPECTED PREMIUM CHARGES AT
                                                              FINAL AUDIT
                                                   GENERAL LIABILITY LIMITS WE REQUIRE FOR
                                                        SUBCONTRACTORS YOU HIRE
                          Please read this IMPORTANT INFORMATION notice carefully if you hire subcontractors to perform work for you.
                          Your General Liability insurance premiums may increase substantially at final audit if your subcontractors do not carry the
                          minimum General Liability insurance limits we require as defined below.
                          To prevent your General Liability insurance premiums from increasing at final audit, your subcontractors must carry a
                          General Liability policy which is written on an occurrence basis and which provides Limits of Insurance as follows:
                              $   1,000,000 Any One Occurrence (Coverage A)
                                  1,000,000 Any One Person or Organization (Coverage B)
                                  1,000,000 Products/Completed Operations Aggregate
                                  1,000,000 General Aggregate
                          In certain exception cases, higher Limits of Insurance than those specified above may be required. Your agent will be
                          notified of these exception cases in writing when they exist.
                          How This Requirement Can Affect Your General Liability Premium at Final Audit
                          At final premium audit, we will ask you to provide us with Certificates of Insurance for all subcontractors who worked for
                          you during the policy period, to confirm that they carried the General Liability limits of insurance we require, as stated
                          above.
                          Work you subcontract to other contractors whose General Liability limits of insurance meet the requirements shown
                          above, will be rated on a subcontract cost basis, which is significantly less expensive for you than treating these
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                          subcontract costs as ratable payroll (as described below).
                          Any subcontractor of yours who carries General Liability limits of insurance less than those stated above, and any of your
                          subcontractors for whom we are not provided Certificates of Insurance will be treated as your employees for rating
                          purposes. The associated subcontract costs will be treated as ratable payroll on your policy resulting in an additional
                          premium charge at final audit.
                          Prevent Unexpected Premium Charges at Final Audit:
                          Require Evidence Of $1,000,000 General Liability Limits From All Of Your Subcontractors
                          To avoid additional premium charges at final audit caused by your subcontract costs being treated as ratable payroll, and
                          to reduce the risk of your General Liability insurance being tapped to cover claims arising out of your subcontractor's work,
                          we urge you to obtain Certificates of Insurance from your subcontractors, prior to their beginning work, evidencing the
                          General Liability limits of insurance stated above. In addition to providing coverage information for their General Liability
                          insurance, these Certificates of Insurance should also provide coverage information for your subcontractor's Automobile,
                          Worker's Compensation, and Umbrella insurance.
                          Please contact your agent if you have any questions regarding these requirements or if you would like help in determining
                          the adequacy of the insurance carried by any of your subcontractors.




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                                                                                                                            CNA PARAMOUNT

                                                                                         Policy Holder Notice – Countrywide –
                                                                                    Premium Basis Used on Liability Schedules

                                                     Premium Basis Used on Liability Schedules
                          This policy includes one or more Liability coverages with associated Schedules of locations, coverages or classifications.
                          When such Schedules display an Exposure amount used to calculate premium, the Exposure amount is often followed by
                          an abbreviation that denotes what the Exposure amount represents (Payroll, Gross Sales, Area, etc.). Such abbreviations
                          are described below.

                          A   = Area                          (Per 1,000 Sq. ft.)           GL = Gallons                        (Per 1,000 Gallons)
                          AC = Acres                                     (Each)             GS = Grandstands/Bleacher                        (Each)
                          AD = Activity Days                             (Each)             H     = Number of Golf Holes                     (Each)
                          AN = Animals                                   (Each)             HO = Hoists                                      (Each)
                          AP = Airports                                  (Each)             HQ = Headquarters                                (Each)
                          AT = Attendants                                (Each)             K     = Kennels                                  (Each)
                          AU = Audited Premium                   (Last Year of              L     = Limit        (Limit of Insurance for Coverage)
                                                              Manufacture - %)
                                                                                            LD = Locations Days                              (Each)
                          B   = Bodies                                   (Each)
                                                                                            LE = Lessees                                     (Each)
                          BA = Bales                          (Per 1,000 Bales)
                                                                                            LO = Locations                                   (Each)
                          BD = Beds                                      (Each)
                                                                                            LR = Lakes/Reservoirs                            (Each)
                          BE = Beaches                                   (Each)
                                                                                            LW = Lawyers                                     (Each)
                          BO = Boats                                     (Each)
                                                                                            M     = Admissions              (Per 1,000 Admissions)
                          C   = Total Cost            (Per $1,000 of Total Cost)
                                                                                            ME = Members                                     (Each)
                          CD = Camper Days                  (Each Camper Day)
                                                                                            MH = Model Homes                                 (Each)
                          CN = Contestants                               (Each)
                                                                                            MI = Miles                                       (Each)
                          CU = Convention Days                           (Each)
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                                                                                            NB = Newsboys                                    (Each)
                          CW = Cost of Work                      (Per $1,000 of
                                                            Total Cost of Work)             O     = Operators                                (Each)

                          DB = Drawbridges                               (Each)             OE = Operating Expenditures         (Per $1,000 of
                                                                                                                       Operating Expenditures)
                          DM = Dams                                      (Each)
                                                                                            P     = Payroll                  (Per $1,000 of Payroll)
                          DW = Dwellings                                 (Each)
                                                                                            PD = Passenger Days              (Per 1,000 Passenger
                          E   = Each                     (Per Entity Described)                                                             Days)
                          EM = Employees                                 (Each)             PG = Picnic Grounds                              (Each)
                          ES = Solar Energy Systems                      (Each)             PP = Parks/Playgrounds                           (Each)
                          ET = Turbines                                  (Each)             PR = Parades                                     (Each)
                          EX = Exhibitions                               (Each)             PS = Persons                                     (Each)
                          F   = Flat Charge              (Flat Premium Charge)              PU = Pupils                                      (Each)
                          FG = Fairgrounds                               (Each)             R     = Receipts               (Per $1,000 of Receipts)
                          FM = Faculty Members                           (Each)             RG = Registrants                                 (Each)
                          FP = Fishing Piers                             (Each)             RN = Range                                       (Each)
                          G   = Graduates                                (Each)             RV = Revenue                   (Per $1,000 of Revenue)
                          GA = Games                                     (Each)
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                                                                                     CNA PARAMOUNT

                                                          Policy Holder Notice – Countrywide –
                                                     Premium Basis Used on Liability Schedules

S   = Gross Sales                  (Per $1,000 of            SP = Swimming Pools                     (Each)
                                    Gross Sales)
                                                             ST = Stations                           (Each)
SA = Classification          (Total Class Specific
                                    Premium - %)             SU = Sub 334 Premium   (Premises & Operations
                                                                                             Premium - %)
SB = Sub 336 Premium      (Products & Completed
                         Operations Premium - %)             TE = Teams                              (Each)

SC = Scouts                                (Each)            TO = Towers                             (Each)

SD = Students                              (Each)            U     = Unit                (Per Dwelling Unit)

SE = Seats                                 (Each)            VE = Vehicles              (Per 1,000 Vehicles)

SG = Total GL Premium           (General Liability           VO = Volunteers                         (Each)
                                   Premium - %)              WC = WC Premium          (Per 1,000 of Workers’
SH = Shows                                 (Each)                                   Compensation Premium)
                                                             Z     = Zoos                            (Each)
SL = 334/336 Premium      (Premises & Operations
                        and Products & Completed
                         Operations Premium - %)




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                                                                                                                     CNA PARAMOUNT
                                                                                                Policy Holder Notice — Countrywide



                                                                DENOTING DEFINED TERMS

                          As noted elsewhere in this Policy, terms in bold face type have the special meanings assigned to them in pertinent
                          Definitions sections or Glossaries. When applicable, terms in "quotation marks" shall be treated as if they were in bold
                          face type, and shall have the same special meanings described in the pertinent Definitions sections or Glossaries.
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                                                                                                             Common Terms and Conditions

                          The Insurer and the Named Insured, in consideration of the payment of the premium and in reliance upon all statements
                          made in the application furnished to the Insurer designated in the Policy Declarations, a stock insurance corporation,
                          hereafter called the “Insurer,” agree as follows. Terms in bold face type have special meaning as set forth in any
                          applicable First Party Glossary of Defined Terms or the applicable coverage parts of this Policy. All headings are also
                          in bold, whether or not they contain defined terms. See Section XVI, HEADINGS below.

                           I. ASSIGNMENT OF INTEREST

                              Assignment of interest under this Policy shall not bind the Insurer unless its consent is endorsed to this Policy except
                              in the case of death of a natural person Named Insured.

                           II. BANKRUPTCY
                              Bankruptcy or insolvency of any Named Insured or of the Named Insured’s estate shall not relieve the Insurer of any
                              of its obligations hereunder.

                           III. CANCELLATION/NONRENEWAL
                              A. Insurer’s Right to Cancel

                                  The Insurer may cancel this policy by providing to the First Named Insured written notice of such cancellation
                                  stating when, not less than 10 days thereafter, such cancellation shall be effective if such cancellation is due to
                                  non-payment of premium. If cancellation is due to any other reason, such notice shall be provided not less than
                                  60 days thereafter.
                              B. Named Insured’s Right to Cancel
                                  The First Named Insured may cancel this Policy by providing the Insurer written notice stating when thereafter
                                  such cancellation shall be effective. The mailing or delivery of such notice shall be sufficient.

                              C. Premium Refund

                                  If this policy is cancelled, the Insurer will send the First Named Insured any premium refund due. If the Insurer
                                  cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata.
                                  The cancellation will be effective even if the Insurer has not made or offered a refund.
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                              D. Nonrenewal

                                  If the Insurer decides not to offer any renewal terms for this Policy, the Insurer shall provide written notice to the
                                  Named Insured at least 60 days prior to the Policy expiration date. The notice shall include the reason for such
                                  non-renewal.
                              E. Notices

                                  If any notice required under this Section is mailed, proof of mailing will be sufficient proof of notice.

                           IV. CHANGES

                              Notice to or knowledge possessed by any agent or other person acting on behalf of the Insurer shall not effect a
                              waiver or a change in any part of this Policy or stop the Insurer from asserting any right under the provisions of this
                              Policy, nor shall the provisions be waived or changed except by written endorsement issued to form a part of this
                              Policy.

                           V. CONFORMITY TO STATUTE
                              Terms of these conditions or any coverage part that are in conflict with the statutes of the state in which this policy is
                              issued are hereby amended to conform to such statutes.


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                                                                                  Common Terms and Conditions

VI. COORDINATION AMONG COVERAGE PARTS
   Subject always to the applicable Limit of Liability, should two or more coverage parts apply to the same loss, the
   Insurer will not pay more than the Named Insured’s actual loss.

VII. COVERAGE PART TERMS AND CONDITIONS

   The terms and conditions of each coverage part apply only to that coverage part and shall not apply to any other
   coverage part. If any provision in the Common Terms and Conditions is inconsistent or in conflict with the terms
   and conditions of any coverage part, the terms and conditions of such coverage part shall control for purposes of
   that coverage part.

VIII. CURRENCY
   All premiums, limits, deductibles and other amounts stated or payable under this Policy are expressed and payable in
   the currency of the United States of America. If any payments due under this Policy are stated or incurred in a
   currency other than United States of America dollars, payment under this Policy will be made in United States of
   America dollars, at the rate of exchange published in The Wall Street Journal on the date the Insurer’s obligation to
   pay such amount is established (or, if not published on such date, the next publication date of The Wall Street
   Journal).

IX. ENTIRE AGREEMENT

   The Named Insureds agree that this Policy constitutes the entire contract existing between them and the Insurer or
   any of its agents relating to this insurance.

X. EXAMINATION OF THE INSURED’S BOOKS AND RECORDS
   The Insurer may examine and audit any Named Insured’s books and records as they relate to this Policy at any time
   during the policy period and up to 3 years afterward.

XI. INSPECTIONS AND SURVEYS
   The Insurer has the right but not the obligation to:
   A. make inspections and surveys at any time;
   B. provide reports on the conditions it finds;
   C. recommend changes; or
   D. conduct loss control and prevention activity.
   Any inspections, surveys, reports, or recommendations relate only to insurability and the premiums to be charged.
   The Insurer does not:
   1.   make safety inspections;
   2.   undertake to perform the duty of any entity to provide for the health or safety of workers or the public;
   3.   warrant that conditions are safe or healthful or comply with laws, regulations, codes or standards.

XII. LIBERALIZATION
   If the Insurer adopts any revision that would broaden the coverage under this Policy without additional premium within
   60 days prior to or during the policy period, the broadened coverage will immediately apply to this Policy.




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                                                                                                           Common Terms and Conditions

                           XIII. NAMED INSURED AUTHORIZATION AND NOTICES

                              The First Named Insured agrees that it will act on behalf of all Named Insureds with respect to the giving of all
                              notices to the Insurer, the receipt of notices from the Insurer, the payment of the premiums, the receipt of any return
                              premiums that may become due under this Policy, and the acceptance of endorsements.
                              Any notices required under the CANCELLATION / NON-RENEWAL sections of this Policy shall be provided to the
                              First Named Insured at the last known address and to its insurance agent or broker. If notice is mailed, proof of
                              mailing will be sufficient proof of notice.

                           XIV. NO SUIT AGAINST INSURER

                              A. No suit shall be brought under this Policy by anyone other than the Named Insured. The Named Insured may
                                 not bring any such suit, action or legal proceeding unless, as a condition precedent, there shall have been full
                                 compliance with all the provisions of this Policy and:
                                  1.   with respect to any property coverage part, the action is brought within 3 years after the date on which the
                                       loss or damage occurred or, with respect to any crime coverage, the date the loss was discovered;
                                  2.   with respect to any third party coverage part, the amount of the Named Insured's obligation to pay shall
                                       have been finally determined either by final and nonappealable judgment against the Named Insured after
                                       trial or by written agreement of the Named Insured, the claimant and the Insurer.

                                  However, if any law prohibits such time limitation then the limitation is amended to equal the minimum time
                                  limitation required by such law.
                              B. No person or organization shall have any right under this Policy to join the Insurer as a party to any suit against
                                 the Named Insured to determine the Named Insured's liability, nor shall the Insurer be impleaded by the Named
                                 Insured or their legal representatives in any such suit.

                           XV. TRADE AND ECONOMIC SANCTIONS
                              This Policy does not provide coverage for any Named Insured, transactions, or any loss that is uninsurable under the
                              laws or regulations of the United States concerning trade or economic sanctions.
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                           XVI. HEADINGS
                               The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and
                               conditions of coverage.

                          IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its Chairman and Secretary at Chicago,
                          Illinois, but the same shall not be binding upon the Insurer unless countersigned by a duly authorized representative of the
                          Insurer.

                           Chairman                                                    Secretary




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                                                                                               First Party Glossary of Defined Terms

                          This First Party Glossary of Defined Terms applies to the Business Property Coverage Part and the Business Crime
                          Coverage Part, as applicable, and their associated forms and endorsements. For purposes of this Policy, words in bold,
                          whether expressed in the singular or the plural, have the meaning shown below.


                           Act or Decision
                              Act or decision means any act or decision, whether intentional or negligent, including the failure to act or decide, of
                              any person, group, organization or governmental body which creates or allows a result which is unexpected,
                              inadequate, defective, faulty or otherwise unsuitable for the intended purpose.

                          Actual Cash Value
                              Actual cash value means the replacement cost with deduction for depreciation, deterioration and obsolescence
                              which amount is computed as of the time and at the place of loss or damage.

                          Alteration
                              Alteration means the material modification of an original document by a person acting without authority and with the
                              intent to deceive. Alteration does not include the electronic or manual insertion of any personal identification code,
                              including personal identification numbers or password or a counterfeit.

                           Banking Premises
                              Banking premises means the interior of that portion of any building occupied by a financial institution.

                           Bonus Payment

                              Bonus payment means the unamortized amount, other than rent or security, which the Named Insured paid to
                              acquire the Named Insured's lease and that will not be refunded to the Named Insured.

                           Building
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                              Building means a building or structure, including completed additions, additions under construction and alterations
                              and repairs to such building or structure that the Named Insured owns, occupies or is legally or contractually required
                              to insure.

                           Business Income
                              Business income means net income, including rental value, plus continuing operating expenses. Business
                              income does not include research and development business income.

                           Client
                              Client means a third party for whom the Named Insured performs specified professional services for a fee.

                           Computer Fraud
                              Computer fraud means theft of money, securities and other property following and directly related to the use of
                              any computer to fraudulently cause a transfer of that property to a person who is not an employee or to an account of
                              any financial institution not controlled by the Named Insured.




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Contaminants or Pollutants
   Contaminants or pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
   vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
   reclaimed.

Continuing Operating Expenses
   Continuing operating expenses means:

   A. the Named Insured’s normal operating expenses including any reasonable and necessary payroll; plus

   B. charges that are the unsatisfied legal obligation of the Named Insured’s tenants and for which the Named
      Insured is now obligated.

   Continuing operating expenses does not include extra expense, expediting expense or research and
   development project continuing expenses.

Counterfeit
   Counterfeit means a written imitation of an actual valid original document that is intended to deceive and to be
   taken as the original document.

Coverage Part

   Coverage part means the Business Property Coverage Part and Business Crime Coverage Part, as applicable.

Coverage Territory

   Coverage territory means the United States of America, its territories or possessions, Canada, or Puerto Rico.
   Coverage territory does not include any waterborne shipment to or from Alaska, Puerto Rico, Hawaii or territories or
   possessions of the United States of America.

Covered Equipment
   Covered equipment means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping and its
   accessory equipment, and any mechanical or electrical machine or apparatus used for the generation, transmission,
   or utilization of mechanical or electrical power.

Covered Instruments
   Covered instruments means written checks, drafts, promissory notes or similar written promises, orders or
   directions to pay a sum certain in money, and also includes written instruments required in conjunction with any
   credit, debit or charge card issued to the Named Insured or to any employee for business purposes, or issued to any
   proprietor, partner, member or officer of the Named Insured for personal use.

Covered Peril
   Covered peril means a fortuitous cause or event, not otherwise excluded, which occurs during this policy period.
   Covered peril does not include:
   1.   a fortuitous cause or event, whether or not excluded, which actually occurred prior to the policy period,
        regardless of the date on which it first becomes manifest or is first discovered; or
   2.   damage from unknown causes or events.


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                          Covered Property
                             Covered property means the property that is insured for loss or damage under the Business Property Coverage
                             Part or endorsements.

                          Denial of Service Attack
                             Denial of service attack means an attack executed over one or more networks or the internet, which attack is
                             designed and intended to disrupt the operation of one or more networks and render the networks inaccessible to
                             authorized users.

                          Dependent Property
                             Dependent property means a premises that is operated by others on whom the Named Insured depends to:
                             A. deliver materials or services to the Named Insured or to others for the Named Insured’s account;
                             B. accept the Named Insured’s products or services;
                             C. manufacture products for delivery to the Named Insured’s customers under contract of sale; or

                             D. attract customers to the Named Insured’s business.

                             The dependent property includes the area associated with that address in which the occupant of the above premises
                             is legally entitled to conduct business activities and includes the area extending 1,000 feet beyond that address.
                             Dependent property does not include:

                             1.   any premises operated by others on whom the Named Insured depends to deliver any:
                                  a.   power, communications or other utility services;
                                  b. internet access or internet services; or
                                  c.   data management, network management, software management or cloud computing and storage services; or

                             2.   any premises within any country in which the United States government has imposed sanctions, embargoes or
                                  similar prohibitions.
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                          Discover or Discovered
                             Discover or discovered means the earlier of the time when the Named Insured first:
                             A. becomes aware of facts which would cause a reasonable person to assume that a covered loss did or will
                                happen, regardless of when the act that may cause or contribute to such loss occurred, even though the exact
                                amount or details of loss may not be known; or
                             B. receives notice of an actual or potential claim in which it is alleged that the Named Insured is liable to a third
                                party under circumstances that, if true, would constitute a covered loss.

                          Earth Movement
                             Earth movement means earthquake or other seismic activity (including but not limited to underground magma
                             activity), the abrupt rising, sinking or shifting of earth (naturally occurring or man-made) or mine subsidence. However,
                             earth movement does not include landslide, avalanche, tsunami, sinkhole collapse or volcanic eruption.




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Electronic Data Processing Equipment

   Electronic data processing equipment means:

   A. a network of electronic components capable of accepting information and processing it according to a plan and
      which exists primarily to generate information in tangible form or on electronic media, including climate control
      and fire protective equipment used solely in connection with data processing operations;
   B. telephone equipment; and

   C. facsimile equipment.

   Electronic data processing equipment does not include any equipment which:

   1.   are stock; or
   2.   exist primarily to control or operate machinery or equipment to produce goods in process or finished stock.

Electronic Data Processing Equipment Leasehold Values
   Electronic data processing equipment leasehold values means the present value of the difference between the:
   A. actual periodic lease payments for electronic data processing equipment that has incurred direct physical loss
      or damage and for which the Named Insured remains liable during the unexpired term of the lease; and
   B. periodic payment for the replacement of electronic data processing equipment due under the new lease, for
      each remaining month of the term of the lease.

Electronic Infection
   Electronic infection means the transmission of a computer virus.

Electronic Vandalism
   Electronic vandalism means the willful or malicious alteration, manipulation or destruction of media, electronic data
   processing equipment, research and development project property and records of accounts receivable due to
   system penetration, electronic infection or a denial of service attack, including such acts committed by an
   employee (including leased and temporary employees).

Employee
   Employee means:
   A. any natural person:
        1.   while in the Named Insured’s service (and for 60 days after termination of service);
        2.   whom the Named Insured compensates directly by salary, wages, or commissions; and
        3.   whom the Named Insured has the right to direct and control while performing services for the Named
             Insured;
   B. any natural person who is furnished to the Named Insured:
        1.   to substitute for a permanent employee on leave; or
        2.   to meet seasonal or short-term workload conditions,
        while that person is subject to the Named Insured’s direction and control and performing services for the Named
        Insured, excluding, however, any such person while having care and custody of the Named Insured’s property
        outside the premises;


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                             C. any natural person leased to the Named Insured, under an agreement between the Named Insured and a labor
                                leasing firm, while that person is subject to the Named Insured’s direction and control and performing services
                                for the Named Insured;
                             D. any non-compensated natural person:
                                  1.   other than one who is a fund solicitor, while performing services for the Named Insured that are usual to the
                                       duties of an employee or officer; or
                                  2.   while acting as a fund solicitor during fund raising campaigns; or
                             E. solely with respect to an employee benefit plan, any natural person who is required to be bonded by the
                                Employee Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations
                                promulgated thereunder.
                             Other than with respect to an employee benefit plan, employee does not include any:
                             1.   agent, broker, factor, commission merchant, consignee, independent contractor or representative of the same
                                  general character; or
                             2.   manager, member, partner, proprietor, director or trustee, but solely to the extent he or she is acting in his or her
                                  capacity as such.

                          Employee Benefit Plan
                             Employee benefit plan means an employee welfare benefit plan or an employee pension benefit plan as more fully
                             set forth in Title 1, Section 3 of the Employee Retirement Income Security Act of 1974 (ERISA) and any amendments
                             thereto and which is solely sponsored by the Named Insured.

                          Employee Theft
                             Employee theft means theft committed by an employee to the deprivation of the Named Insured or an employee
                             benefit plan, whether identified or not, acting alone or in collusion with others. Solely with respect to an employee
                             benefit plan, employee theft means all acts of fraud or dishonesty required to be bonded against by the Employee
                             Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated
                             thereunder.
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                             Employee theft also includes forgery of such property by an employee.

                           Equipment Breakdown Peril
                             Equipment breakdown peril means:
                             A. Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices wiring
                                or equipment.
                             B. Explosion, rupture or bursting of steam boilers, steam pipes, steam engines, stream turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured,
                                except for the explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas
                                turbines, or within the flues or passages through which the products of combustion pass.
                             C. Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured;
                                except for explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines,
                                or within the flues or passages through which the gases of combustion pass.
                             D. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment, engines
                                other than steam engines or pressure vessels when owned, operated or controlled by the Named Insured.
                             E. Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property owned,
                                operated or controlled by the Named Insured.


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Executive Officer
   Executive officer means any natural person partner, member, officer, manager (of a limited liability company),
   director or trustee of the Named Insured.

Extra Expense
   Extra expense means actual reasonable and necessary operating expenses the Named Insured incurs during the
   period of restoration that would not have been necessary to incur if there had been no direct physical loss of or
   damage to property, provided such expenses are incurred:
   A. to avoid or minimize the suspension or delay of operations and to continue such operations which have been
      affected by the direct physical loss or damage to the property; or
   B. in an attempt to minimize the period of restoration.
   Extra expense does not include:
   1.   research and development project continuing expenses or continuing operating expenses;
   2.   costs incurred to purchase merchandise as a replacement for the Named Insured's finished stock;
   3.   costs to repair or replace any property, or research or restore media or records of accounts receivable; or
   4.   amounts incurred on financing or investment activity conducted for the Named Insured's account.

Financial Institution
   Financial institution means:
   A. a banking, savings or thrift institution, credit union or similar depository institution; or
   B. a stock brokerage firm, mutual fund, liquid assets fund or similar investment institution where the Named Insured
      maintains an account.
   However, financial institution does not include check cashers, currency exchangers or money remittance firms.

Fine Arts
   Fine arts means paintings, etchings, pictures, tapestries, art glass windows, valuable rugs, statuary, marbles,
   bronzes, antiques, porcelains, rare books, manuscripts, and similar property of rarity, historical value or artistic merit.

Finished Stock
   Finished stock means manufactured goods that are in a completed state and ready for packing, shipment,
   installation or sale. However, finished stock does not include manufactured goods that are held for sale at a
   location of any retail outlet.

First Named Insured
   First Named Insured means the person or entity first named in Item 1 of the Policy Declarations.

Fixtures
   Fixtures means:
   A. indoor or outdoor property fixed or attached to a building, including permanently installed machinery and
      equipment; or
   B. glass (including all lettering and ornamentation) forming part of the building.




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                          Flood
                             Flood means a general and temporary condition of partial or complete inundation of normally dry land areas from:
                             A. the overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or man-made
                                lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans or any other body of water or watercourse;
                             B. waves, tides or tidal waves including tsunami;
                             or their spray, all whether driven by wind or not, including storm surge.

                          Forgery
                             Forgery means the signing of the name of another person or organization with intent to deceive. Forgery does not
                             include:
                             A. a signature which consists in whole or in part of one's own name signed with or without authority, in any capacity
                                for any purpose;
                             B. the electronic or manual insertion of any personal identification code, including personal identification numbers or
                                passwords; or
                             C. counterfeit.

                          Funds Transfer Fraud
                             Funds transfer fraud means theft of money and securities following and directly related to the use of fraudulent
                             written or verbal instructions which are purported to have been made by the Named Insured, which causes an
                             electronic transfer of money or securities from a financial institution to:
                             A. an account at a financial institution not controlled by the Named Insured; or
                             B. a person other than an employee.

                          Fungi

                             Fungi means any form of fungus, including but not limited to, yeast, mold, mildew, rust, smut or mushroom, and
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                             including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released by,
                             or arising out of the current or past presence of fungi. Fungi does not include any fungi intended by the Named
                             Insured for consumption.

                          Goods In Process

                             Goods in process mean raw stock which has undergone any aging, seasoning, mechanical or other process of
                             manufacture but which has not become finished stock.

                          Green Insured Property

                             Green insured property means insured property created, built or constructed following the practice of creating
                             buildings or materials or using processes that incorporate one or more of the following practices and are certified as
                             such by a government organization or a nationally or internationally recognized building industry organization or
                             governmental agency, such as the U.S. Green Building Council (LEED certification), ECD Energy, Environment
                             Canada (Green Globes) or the U.S. Department of Energy:
                             A. Energy Efficiency, including steps implemented to obtain an ENERGY STAR label for a building at a location or
                                reported unspecified location, as well as use of ENERGY STAR or equivalently rated materials, lighting
                                systems, HVAC equipment, appliances or electronic products (if current like kind and quality replacement is not
                                ENERGY STAR rated).


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   B. Water Efficiency, including use of water efficient processes and wastewater technologies, as well as use of
      alternative water or indoor plumbing systems that reduce water usage from any plumbing fixture.
   C. Materials Efficiency, including use of sustainable and environmentally preferable construction materials, materials
      management and re-cycling programs.
   D. Environmental Quality, including reduction of the quantity of indoor air contaminants by use of low-emitting
      products or materials.
   Green insured property does not include stock, processing water, molds and dies, property in the open, personal
   property of others or personal property of executive officers or employees.

Gross Leasehold Interest

   Gross leasehold interest means the difference between the:

   A. the current monthly rental value at the market rate of the location or the reported unspecified location the
      Named Insured has leased on the date the direct physical loss or damage occurred; and

   B. the actual monthly rent the Named Insured currently pays, including taxes, insurance, janitorial or other services
      or fees that the Named Insured pays as part of the rent and other monthly assessments.

Installation Location

   Installation location means a premises that is not owned, leased or operated by the Named Insured at which
   installation property is or will be installed, constructed or serviced.

Installation Property

   Installation property means personal property that has or will become a permanent part of an installation,
   construction, or service project being performed for others by the Named Insured, or on the Named Insured's behalf.

Insured Property
   Insured property means real property and personal property.

Location

   Location means each of the locations specified in the Business Property Schedule of Locations or scheduled in
   any endorsement to this Policy and includes:
   A. the area associated with that address in which the Named Insured is legally entitled to conduct business
      activities; and
   B. the area extending 1,000 feet beyond that address.

Manager
   Manager means any natural person manager or member.

Manufactured Goods
   Manufactured goods means goods manufactured at a premises:
   A. the Named Insured owns or operates; or
   B. that the Named Insured does not own or operate, provided the Named Insured:
       1.   contracted for the goods to be manufactured exclusively for the Named Insured; and

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                                  2.   the Named Insured is the owner or licensee of the design, patent, trademark or copyright for the goods.

                          Market Value
                             Market value means the price that property might be expected to realize if offered for sale in a fair market.

                          Media
                             Media means recorded information in any format which is an existing original or which can be duplicated or replaced
                             by purchasing an existing duplicate that is for sale, and including any material upon which it is inscribed, printed,
                             written or recorded, owned by the Named Insured or owned by others in the Named Insured's care, custody or
                             control.

                             Media does not include money, securities, stock, fine arts, records of accounts receivable or research and
                             development project property.

                          Member
                             Member means any person serving on the Board of Managers or equivalent executive of a Named Insured that is a
                             limited liability company.

                          Merchandise
                             Merchandise means:
                             A. goods held for sale or installation by the Named Insured which are not manufactured goods; or
                             B. manufactured goods which are completed and ready for packing, shipment, installation or sale at a location of
                                any retail outlet.

                          Messenger
                             Messenger means any of the Named Insured’s natural person members, proprietors, partners, executive officers
                             or employees who are duly authorized by the Named Insured to have care and custody of the property outside the
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                             premises.

                          Microbes
                             Microbes means any:
                             A. non-fungal microorganism;
                             B. non-fungal, colony-form organism;
                             C. virus; or
                             D. bacteria.
                             Microbe includes any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by,
                             released by, or arising out of the current or past presence of microbes.

                          Mobile Computing Device
                             Mobile computing device means cellular phones, laptop computers and other personal hand-held electronic devices,
                             including accessories for such portable computing devices used in the Named Insured's business that are owned by
                             the Named Insured, executive officers or employees (including leased or temporary employees).

                             Mobile computing device does not include any of these devices while rented or leased to others or stock.

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Money
   Money means:
   A. currency, coins and bank notes in current use and having a face value; and

   B. travelers checks, register checks and money orders held for sale to the public.

Monthly Leasehold Interest

   Monthly leasehold interest means the original costs the Named Insured paid for bonus payments and prepaid
   rent, divided by the number of months left in the Named Insured's lease at the time of the expenditure.

Mudslide or Mudflow
   Mudslide or mudflow means a river of liquid and flowing mud on the surface of normally dry land areas as when
   earth is carried by a current of water and deposited along the path of the current.

Named Insured

   Named Insured means the persons or entities named as such on the Business Crime Coverage Part, Business
   Property Coverage Part or Policy Declarations.

   For insured property that is the subject of a Contract of Sale, Named Insured includes the Contract of Sale Loss
   Payee.

Named Storm
   Named storm means a tropical storm system that is declared to be named by the National Hurricane Center, World
   Meteorological Organization or any similar organization, agency or body responsible for naming such weather
   systems, including tropical storm spawned tornados or microbursts.
   The named tropical storm begins when such organization, agency or body officially declares the storm system as a
   named tropical storm and ends when that organization, agency or body officially declares the named tropical storm:
   A. permanently downgraded to a tropical depression;
   B. reclassified as a Post Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less; or
   C. reclassified as an Extra Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less.

Net Income
   Net Income means net profit or loss that would likely have been earned or incurred before taxes. Net income does
   not include any profit that would likely have been earned as a result of an increase in the business transactions due to
   favorable business conditions caused by the impact of the covered peril in the vicinity of such covered peril.

Net Leasehold Interest
   Net leasehold interest means the net present value of the gross leasehold interest for each remaining month of the
   term of the lease, discounted at the Prime Rate on the date the direct physical loss or damage occurs, rounded to the
   nearest dollar.




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                          Newly Acquired Location
                             Newly acquired location means a fixed premises the Named Insured owns, leases, rents or controls. The premises
                             becomes a newly acquired location on the later of:
                             A. the date the Named Insured obtains possession or control of the premises; or
                             B. the date the real property, personal property, fine arts, records of accounts receivable or media for which
                                the Named Insured has an insurable interest is placed at the premises.
                             Newly acquired location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a reported unspecified location;
                             4.   an installation location; or
                             5.   a fair, trade show or exhibition.

                          Occurrence

                             Occurrence means one event or a series of related events that contribute concurrently to or contribute in any
                             sequence to physical loss of or damage to property. However, with respect to:
                             A. the equipment breakdown peril, occurrence means all equipment breakdowns that manifest themselves at the
                                same time and are the result of the same cause, regardless of the number of locations or reported unspecified
                                locations or other premises involved.
                             B. a named storm, occurrence means each named storm. If a named storm is downgraded to a tropical
                                depression, such tropical depression shall be considered a separate occurrence.
                             C. theft, occurrence means all loss sustained by the Named Insured caused by:
                                  1. any single act or series of related acts;
                                  2.   any act or acts involving one person, or a group of persons acting together; or
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                                  3.   an act or event, or a series of related acts or events, not involving any identifiable person.
                             D. volcanic eruption, occurrence means all volcanic eruptions, explosions or effusions that occur within any 168
                                hour period.
                             E. Employee Theft Coverage or Employee Theft of Client Property Coverage, occurrence means:
                                  1.   any single act;
                                  2.   the combined total of all separate acts whether or not related; or
                                  3.   a series of acts whether or not related,
                                  committed by an employee, acting alone or in collusion with other persons, or any group of employees acting
                                  together, even if in collusion with other persons, during the policy period, before the policy period or both,
                                  subject to the Loss Sustained During Prior Policy Condition under the BUSINESS CRIME COVERAGE
                                  CONDITIONS in the First Party Terms and Conditions.
                             F. Forgery or Alteration Coverage, occurrence means:

                                  1.   any single act;

                                  2.   the combined total of all separate acts whether or not related; or

                                  3.   a series of acts whether or not related,


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       committed by any one person acting alone or in collusion with others, or in which any such person is implicated,
       involving one or more instruments, during this policy period, before this policy period or both, subject to the
       Loss Sustained During Prior Policy condition under the BUSINESS CRIME COVERAGE CONDITIONS in the
       First Party Terms and Conditions.
   G. Money and Securities Coverage or any other coverage provided under the Business Crime Coverage Part,
      occurrence means:
       1.   any single act, or series of related acts;
       2.   the combined total of all separate acts whether or not related; or
       3.   a series of acts whether or not related,
       committed by any one person acting alone or in collusion with others, or not committed by any identifiable person,
       during the policy period, before the policy period or both, subject to the Loss Sustained During Prior Policy
       Condition under the BUSINESS CRIME COVERAGE CONDITIONS in the First Party Terms and Conditions.
   H. Utility Supply Failure Coverage, occurrence means one event or a series of related events that contribute
      concurrently to or contribute in any sequence to physical loss of or damage to property, regardless of the number
      of locations or reported unspecified locations or the number of utility service providers or utility service
      properties involved in the same event.

Operations
   Operations means the Named Insured’s business activities occurring at the covered premises prior to the time and
   date of the loss or damage, including the Named Insured’s activities as a lessor.
   Operations does not include business activities as part of research and development projects.

Original Document
   Original document means:
   A. the first rendering or archetype and does not include photocopies or electronic transmissions even if received and
      printed; or
   B. for the purposes of Forgery or Alteration Coverage only, a “substitute check”, as defined in the Check Clearing for
      21st Century Act.

Other Property
   Other property means any tangible property other than money and securities that has intrinsic value.
   Other property does not include any property listed in the Business Crime Coverage Part as specifically not
   covered.

Outdoor Trees, Shrubs, Plants or Lawns
   Outdoor trees, shrubs, plants or lawns mean trees, shrubs, plants or lawns the Named Insured owns that are
   located outside.
   Outdoor trees, shrubs, plants or lawns does not include growing crops, standing timber, stock or trees, shrubs,
   plants, grass or lawns that are part of a vegetated roof.

Period of Restoration
   A. Period of restoration means the period of time that begins with:
       1.   the time and date that the physical loss or damage that causes suspension of operations occurs; or


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                                 2.   the date operations would have begun if such loss or damage delays the start of operations and such loss
                                      or damage is to any of the following:
                                      a.   buildings whether complete or under construction;
                                      b. alterations or additions to existing buildings;
                                      c.   machinery, equipment, supplies or materials that are:
                                           (1) used in such construction, alterations or additions;
                                           (2) incidental to the occupancy of the area intended for construction, alteration or addition; or
                                           (3) incidental to the alteration of the occupancy of an existing building.
                             B. If the Named Insured resumes operations, with reasonable speed, the period of restoration ends on the earlier
                                of:
                                 1.   the date when the premises where the loss or damage occurred could have been physically capable of
                                      resuming the level of operations which existed prior to the loss or damage; or
                                 2.   the date when a new permanent premises is physically capable of resuming the level of operations which
                                      existed prior to the loss or damage, if business is resumed at a new permanent premises.
                             C. If the Named Insured does not resume operations, or does not resume operations with reasonable speed,
                                whether at a location, reported unspecified location or elsewhere, the period of restoration will end on the
                                date when the premises where the loss or damage occurred could have been restored to the physical size,
                                construction, configuration and material specifications which existed at the time of loss or damage, with no
                                consideration for any increased period of time:
                                 1.   which would have been required to make changes in order to repair or reconstruct the property or tear down
                                      undamaged parts of the property, to meet the minimum requirements of an ordinance or law; or
                                 2.   which would have been necessary to make the premises physically capable of resuming the level of
                                      operation which existed prior to the loss or damage after the completion of repairs or replacement.
                             D. With respect to Dependent Property Time Element Coverage under the OFF-SITE COVERAGE section in the
                                Business Property Coverage Part, period of restoration means the period of time that:
                                 1.   begins on the date the physical loss of or damage to property at a dependent property occurs; and
                                 2.   ends on the date when the property at that dependent property should be repaired or replaced with
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                                      reasonable speed and similar quality.
                             E. With respect to research and development business income, the period of restoration means the period of
                                time that begins with the time and date of the physical loss of or damage to research and development project
                                property that causes suspension of the Named Insured's research and development project and ends on the
                                earlier of:
                                 1.   the date such research and development project property could be recreated or restored with reasonable
                                      speed and similar quality to the condition that existed at the time of loss or damage; or
                                 2.   365 days immediately following the date the physical loss of or damage to such research and development
                                      project property occurred.
                             F. No period of restoration will be cut short by the expiration of the Policy.

                          Personal Property
                             Personal property means:
                             A. all property, other than real property, owned by the Named Insured and used in the Named Insured's
                                business, including furniture, fixtures, machinery, electronic data processing equipment and stock;
                             B. glass in buildings which, as a tenant, the Named Insured has a contractual responsibility to insure;
                             C. the Named Insured’s outdoor signs, antennas and towers and fences;
                             D. personal property of others;

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   E. personal property of executive officers or employees;
   F. property, other than real property, the Named Insured leases for use in its business and for which the Named
      Insured has a contractual responsibility to insure, unless otherwise provided for under personal property of
      others;
   G. the value of labor, materials or services furnished or arranged by the Named Insured on personal property of
      others;
   H. the Named Insured’s interest in tenant’s improvements and betterments;
   I.   power or communication generation or transmission equipment, including transmission and distribution lines of
        any type, owned, operated, controlled by or leased by the Named Insured; or
   J. vehicles or self-propelled machines (including autos, aircraft or watercraft) that:
        1.   the Named Insured manufactures, processes or warehouses or holds for sale that are licensed for use on
             public roads while at a location or reported unspecified location;
        2.   the Named Insured manufactures, processes or warehouses or holds for sale that are not licensed for use
             on public roads while at a location or reported unspecified location;
        3.   are unpowered watercraft owned by the Named Insured while out of the water at a location or reported
             unspecified location; or
        4.   are trailers owned by the Named Insured that are not licensed for use on public roads while at a location or
             reported unspecified location.
   Personal property does not include property not covered.

Personal Property of Executive Officers or Employees
   Personal property of executive officers or employees means personal property that is owned by executive
   officers or the Named Insured's employees (including leased or temporary employees) and that is usual to the
   occupancy of the building.

Personal Property of Others
   Personal property of others means personal property that is not owned by the Named Insured but is in the Named
   Insured’s care, custody or control.
   Personal property of others does not include personal property of executive officers or employees.

Policy Period

   Policy period means the period of time shown on the Policy Declarations, beginning on the effective date and time
   and ending on the expiration date and time, or the Policy's earlier cancellation date.

Policy Premium

   Policy premium means the original premium and the fully annualized amount of any additional premiums, charged by
   the Insurer for coverage provided during the policy period.

Prearranged Transfer
   Prearranged transfer means an electronic transfer of money or securities which is part of a regular or scheduled
   series of electronic transfers, authorized by written agreement, to a designated financial institution specifying:
   A. the amount of money or securities to be transferred; and
   B. account number to be credited.



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                          Premises
                             Premises means:
                             A. the interior of that portion of any building the Named Insured occupies in conducting the Named Insured’s
                                business;
                             B. with respect only to damage to other property, the exterior of that portion of any building the Named Insured
                                occupies in conducting the Named Insured’s business; or
                             C. with respect only to the Employee Theft of Client Property While on Client Premises Coverage under the
                                Business Crime Coverage Part, the interior of that portion of any building a client occupies in conducting the
                                client's business or the interior of a client’s owned, leased or rented residence.

                          Prepaid Rent

                             Prepaid rent means that unamortized portion of any amount of advance rent the Named Insured paid based on the
                             percentage of the unexpired portion of the lease that remains at the time of physical loss or damage.
                             Prepaid rent does not include the customary rent for a rental period or any amount refunded to the Named Insured.

                          Property Not Covered
                             Property not covered means:
                             A. animals unless:
                                  1.   owned by others and boarded by the Named Insured, or
                                  2.   owned by the Named Insured as stock, other than research animals, while inside of a building at a
                                       location or reported unspecified location;
                             B. bulkheads, pilings, piers, wharves or docks;
                             C. contraband, or property in the course of illegal transportation or trade;
                             D. fine arts, money, securities, records of accounts receivable, media or research and development project
                                property;
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                             E. vehicles or self-propelled machines (including autos, aircraft or watercraft) that are:
                                  1.   licensed for use on public roads; or
                                  2.   operated principally away from the location or reported unspecified location,
                                  except to the extent included in Paragraph J. of the personal property definition;
                             F. land, naturally occurring water, air, growing crops and standing timber;
                             G. outdoor trees, shrubs, plants or lawns;
                             H. dams, dikes or retaining walls;
                             I.   underground mines, mine shafts, caverns, open pits or quarries; or
                             J.   any property which the Named Insured has covered under any other Policy in which such property is more
                                  specifically described, except for the excess of the amount due under such other coverage, whether collectible or
                                  not.

                          Qualifying Period
                             Qualifying period means the continuous period of time which must pass before the applicable coverage begins.




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Raw Stock
   Raw stock means material in the state in which the Named Insured acquired it for conversion into finished stock.

Real Property
   Real property means:
   A. buildings and temporary or appurtenant structures of such buildings;
   B. fixtures;
   C. personal property that is used to maintain or service the buildings, locations or reported unspecified
      locations;
   D. the Named Insured’s indoor and outdoor signs;
   E. materials, equipment, supplies and temporary buildings used for making additions, alterations or repairs to any
      such building;
   F. paved or concrete surfaces owned by the Named Insured;
   G. building foundations; or
   F. underground pipes, flues and drains owned by the Named Insured.
   Real property does not include property not covered.

Records of Accounts Receivable
   Records of accounts receivable means accounting records used by the Named Insured to document the billing and
   collection of money due from the Named Insured's customers, regardless of what medium those records are
   inscribed, printed, written or recorded upon.
   Records of accounts receivable includes:
   A. money due the Named Insured from its customers that the Named Insured is unable to collect after exerting all
      reasonable effort to do so;
   B. interest charges on any loan required to offset amounts the Named Insured is unable to collect pending the
      Insurer’s payment of these amounts; and
   C. collection expenses in excess of the Named Insured’s normal collection expenses that are made necessary by
      such loss or damage,
   resulting from the direct physical loss of or damage to records of accounts receivable.

Rental Value
   Rental value means that portion of net income that would have been earned or incurred as rental income from tenant
   occupancy of a location or reported unspecified location as furnished and equipped by the Named Insured,
   including fair rental value of any portion of the location or reported unspecified location which is occupied by the
   Named Insured.

Replacement Cost
   Replacement cost means the cost to repair or replace covered property at the time of direct physical loss or
   damage with property of comparable material and quality on the same or another site, and used for the same purpose,
   without deduction for depreciation, deterioration, and obsolescence which amount is computed as of the time and at
   the place of such loss or damage. If property of the same kind and quality is no longer available, the Insurer will pay to
   replace it with other property of similar quality and function, including property of greater processing capacity.




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                             Replacement cost valuation for insured property includes the cost the Named Insured paid for non-refundable or
                             non-transferable extended warranties, maintenance contracts or service contracts which are still in force at the time of
                             loss or damage and are no longer valid as a result of loss of or damage to such insured property.

                          Reported Unspecified Location
                             Reported unspecified location means fixed premises that has been identified on a schedule submitted by the
                             Named Insured and on file with the Insurer, including:
                             A. the address of the premises and includes that area extending 1000 feet beyond that address;
                             B. an identification of the insured property, business income or extra expense; and
                             C. the value of such identified insured property, business income or extra expense.
                             If the Named Insured is a tenant, for purposes of time element coverage, reported unspecified locations includes
                             that portion of the premises not rented, or intended to be rented, to others.
                             Reported unspecified location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a fair, trade show or exhibition;
                             4.   an installation location; or
                             5.   a dependent property with respect to loss or damage covered by any time element coverage.

                          Research Animals
                             Research animals means laboratory animals used in the Named Insured's research and development project or
                             bred for sale to other medical technology or life science entities.

                          Research and Development Business Income
                             Research and development business income means:
                             A. net income that would have been earned or incurred had no loss or damage resulting in an interruption in the
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                                Named Insured’s research and development project occurred, including net income resulting from:
                                  1.   lost or delayed pre-sale orders from new or current customers for a new product or an improved current
                                       product, whose entry into the marketplace is delayed because these products were the subject of lost or
                                       damaged research and development project property; or
                                  2.   grants, endowments and any other contract revenues, licensing fees, consulting fees, funding grants and
                                       progress payments, including milestone contracts; plus
                             B. research and development project continuing expenses.

                             However, research and development business income does not include any amount that is otherwise payable
                             under this Business Property Coverage Part or that does not necessarily continue during the interruption in the
                             research and development project.

                          Research and Development Project Continuing Expenses

                             Research and development project continuing expenses means the Named Insured's normal continuing
                             operating expenses that are directly attributable to research and development projects, including any reasonable and
                             necessary payroll expenses, rental payments as a tenant and factory overhead.




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Research and Development Project Property
   Research and development project property means the Named Insured's:
   A. written, printed, electronic or inscribed documents, plans, records, formulas or other information, including any
      material upon which it is inscribed, printed, written or recorded;
   B. original or experimental property;
   C. existing prototypes used as the model for the final version of a new product or design; or
   D. undamaged property that needs to be recreated, restored or replaced due to covered loss of or damage to
      property in Paragraphs A., B. or C.,
   developed or used in conjunction with any ongoing and active research and development project.
   Research and development project property does not include research animals, media, plants or crops or fine
   arts.

Robbery

   Robbery means the unlawful taking of specified property from the care and custody of any person by one who has:
   A. caused or threatened to cause that person bodily harm; or
   B. committed an unlawful act witnessed by that person.

Safe Burglary

   Safe burglary means the unlawful taking of:
   A. property from within a locked safe or vault by a person unlawfully entering the safe or vault as evidenced by
      marks of forcible entry upon its exterior; or
   B. a safe or vault from inside the premises.

Securities

   Securities means negotiable and non-negotiable instruments or contracts representing either money or representing
   other tangible property that has intrinsic value, including:
   A. tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value in a meter) in
      current use; or
   B. evidences of debt issued in connection with credit, debit or charge cards, which cards are not issued by the
      Named Insured.
   Securities does not include money.

Sinkhole Collapse
   Sinkhole collapse means the sudden sinking or collapse of land into underground empty spaces created by the
   action of water on limestone or dolomite provided such cavities were not man made or did not result from flood.

Specified Peril
   Specified peril means:
   A. aircraft or vehicles;
   B. explosion, fire or leakage from fire extinguishing equipment;
   C. lightning, smoke, volcanic eruption, water damage, weight of snow, ice or sleet;

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                             D. windstorm or hail;
                             E. riot, civil commotion or vandalism or theft;
                             F. falling objects, excluding loss or damage to:
                                  1.   personal property in the open; or
                                  2.   the interior of a building, or property inside a building, unless the roof or an outside wall of the building is
                                       first damaged by a falling object;
                             G. sinkhole collapse;
                             H. solely with respect to personal property in the course of transit, specified peril also includes:
                                  1.   vehicle collision upset or overturn; or
                                  2.   sinking or stranding of a vessel, or collapse of a bridge, culvert, dock or wharf; or
                             I.   equipment breakdown peril, excluding loss of or damage to insured property caused by the discharge,
                                  dispersal, release or escape of refrigerants, including ammonia.

                          Stock

                             Stock means raw stock, goods in process, finished stock or merchandise, including packing or shipping materials
                             and including software incorporated into such finished stock or merchandise.

                          Sublease Profit

                             Sublease profit means the net profit the Named Insured earns through subleasing the building or portion of the
                             building that the Named Insured rents for the unexpired term of the cancelled lease or sublease, whichever would
                             expire first. This amount is discounted based on the Prime Rate on the date the direct physical loss or damage
                             occurs, rounded to the nearest whole number.

                          Suspended Equipment

                             Suspended equipment means covered equipment, provided the Insurer has complied with the requirements
                             described in the SUSPENDED EQUIPMENT Condition in the First Party Terms and Conditions.
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                          Suspension

                             Suspension means:
                             A. the slowdown or cessation of the Named Insured's business activities; or
                             B. that a part or all of the covered premises is rendered untenantable.

                          System Penetration
                             System penetration means the intentional and malicious use of a computer to obtain unauthorized access to
                             information and resources stored on electronic data processing equipment.

                          Tenant’s Improvements and Betterments
                             Tenant’s improvements and betterments means fixtures, glass, signs, alterations, installations or additions:
                             A. made a part of a building the Named Insured occupies as a tenant but does not own;
                             B. made or acquired at the Named Insured's expense exclusive of rent paid by the Named Insured or for which the
                                Named Insured is legally required by written contract to insure; and

                             C. that the Named Insured cannot legally remove.

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Tenant’s Lease Interest

   Tenant’s lease interest means the difference between:

   A. the actual rent due for the unexpired portion of the cancelled lease at the time of covered loss or damage; and

   B. the rent due under the new lease for the same time period.

Theft

   Theft means the unlawful taking of property.

Time Element Coverage

   Time element coverage means business income, research and development business income or extra expense
   to the extent these apply under this Business Property Coverage Part.

Transfer Agreement
   Transfer agreement means a written agreement with any financial institution authorized to transfer money and
   securities at the Named Insured’s request.

Unspecified Location
   Unspecified location means:
   A. a premises not listed in the Business Property Schedule of Locations; or
   B. a fair, trade show or exhibition.
   An unspecified location does not include:
   1.   a location;
   2.   a newly acquired location;
   3.   a reported unspecified location;
   4.   an installation location; or
   5.   a dependent property with respect to loss or damage covered by any time element coverage.

Volcanic Eruption
   Volcanic eruption means the eruption, explosion or effusion of a volcano that gives rise to physical loss or damage
   when such loss or damage is caused by:
   A. airborne volcanic blast or airborne shock waves;
   B. ash, dust or particulate matter; or
   C. lava flow.

Water Damage

   Water damage means:

   A. the discharge or leakage of domestic or process water or steam from:

        1.   water pipes and any other apparatus meant to carry or distribute water including, but not limited to, hoses and
             tubes and fire protection sprinkler system piping;

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                                 2.   appliances; or
                                 3.   mechanical systems; or
                             B. the overflow, discharge or leakage of water from bathroom, kitchen and laundry fixtures and faucets,
                             within a building.

                          Written
                             Written means expressed through letters or marks placed upon paper and visible to the naked eye.
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      These First Party Terms and Conditions apply to the Business Property Coverage Part, the Business Crime
      Coverage Part, as applicable, and their associated forms and endorsements.

I.         ABANDONMENT

      There can be no abandonment of any covered property to the Insurer unless the Insurer specifically agrees to such
      abandonment in writing.

II.        APPRAISAL

      If the Named Insured and the Insurer fail to agree on the amount of loss for physical damage or business income or
      extra expense, either may make a written demand for appraisal in which case within 30 days of that written demand
      each shall select an appraiser and shall notify the other of its chosen appraiser. This APPRAISAL Condition is not
      available to the Named Insured or the Insurer if there is a dispute as to whether the loss or damage was caused in
      whole or in part by a covered peril. This APPRAISAL Condition is not available if there is a dispute as to whether or
      not the loss is covered in whole or in part under this coverage part.

      An individual may be chosen as an appraiser for a claim only if such individual is a competent, independent and
      disinterested person and who has no direct or indirect financial interest in the loss or the adjustment of the claim. That
      appraiser cannot be:
      A. the Named Insured or any of the Named Insured’s employees or agents (including any public adjuster or public
         adjusting company hired by the Named Insured);
      B. employed by the Insurer; or

      C. an independent adjuster hired by the Insurer for such claim.

      The appraisers will first select a competent, independent and disinterested umpire. If the appraisers fail to agree upon
      an umpire within 30 days then, only on the joint request of the Named Insured and the Insurer to a court of competent
      jurisdiction where the loss occurred, the Named Insured and the Insurer may request that the court select or appoint
      a competent, independent and disinterested umpire.

      If the Named Insured and the Insurer fail to agree to submit a joint request to a court of competent authority, either
      may file the necessary documents in a court of competent jurisdiction where the loss occurred to compel the other to
      comply with the terms of this APPRAISAL provision.

      The appraisers will then appraise, within a reasonable amount of time, the amount of loss, stating separately, as
      applicable:
      1.   the actual cash value or replacement cost as of the date of loss and the amount of loss, for each item of
           physical loss or damage; and
      2.   the amount of loss for each time element coverage.

      If the appraisers fail to agree, they will submit their differences to the umpire. An award agreed to in writing by any two
      will determine the amount of loss and that award will be binding on both parties but such appraisal award will not
      determine whether the loss is covered. Any appraisal award addressing whether or not a loss is or is not covered is
      void and is not binding on either party to the appraisal.

      The Named Insured and the Insurer will each:
      a.   pay its chosen appraiser; and
      b. bear equally the other expenses of the appraisal and umpire.

      A demand for appraisal shall not relieve the Named Insured of its continuing obligation to comply with all of the terms
      and conditions of this Policy.


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                                 The Insurer will not be held to have waived any of its rights by any act relating to an appraisal. If there is an appraisal,
                                 the Insurer will still retain its right to deny the claim or challenge whether the damages from any loss are covered or
                                 otherwise excluded.

                                 The Named Insured may only make a written demand for appraisal if the Named Insured has fully complied with all
                                 provisions of this Policy.

                          III.       COMPLIANCE

                                 No one may make a claim under the Business Property Coverage Part unless:
                                 A. there has been full compliance with all of the provisions of the Business Property Coverage Part; and

                                 B. the claim for coverage is brought within 2 years and 1 day after the date on which the direct physical loss or
                                    damage occurred.

                          IV.        CONCEALMENT, MISREPRESENTATION AND FRAUD

                                 This entire Policy shall be void if, whether before or after a loss, the Named Insured or designated representative:
                                 A. has concealed or misrepresented any material fact or circumstance concerning:

                                     1.   this insurance or the subject thereof;
                                     2.   the interest of the Named Insured therein; or
                                     3.   any claim; or
                                 B. has falsely sworn to any such material fact or circumstance.

                          V.         CONTROL OF PROPERTY

                                 Any act or neglect by any person, other than a Named Insured designated representative, of any provision of these
                                 conditions or the Business Property Coverage Part, will not affect coverage. Breach of any condition of coverage at
                                 one or more locations or reported unspecified locations will not affect coverage at any other building where, at the
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                                 time of loss or damage, the breach of condition did not exist.

                          VI.        DUTIES AFTER LOSS OR DAMAGE

                                 In the event of loss or damage, the Named Insured shall do the following:
                                 A. Take all necessary steps to protect the property from further loss or damage.

                                 B. Set aside the damaged insured property for examination by the Insurer as often as may be required and keep a
                                    record of its expenses necessary to protect insured property.
                                 C. As soon as practical, give written notice to the Insurer, or its designated representative, of the event giving rise to
                                    the loss or damage, including the date and time of such event, what occurred and the names and addresses of
                                    witnesses.
                                 D. Within 60 days after being requested by the Insurer, render to the Insurer a detailed, sworn proof of loss on a form
                                    provided by the Insurer;
                                 E. As often as may be reasonably required, exhibit to any person designated by the Insurer all that remains of any
                                    damaged or undamaged property and permit the Insurer to take samples of such property for inspection and
                                    analysis.
                                 F. Submit individually to examinations under oath at the Insurer’s request and, if requested and identified by the
                                    Insurer, make its designated representatives, including, but not limited to, public adjusters, claims consultants,

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        forensic accountants or other third parties providing claims related services, submit to examinations under oath,
        and give the Insurer a signed statement of each individual’s answers.
   G. As may be reasonably required, produce for examination at the request of the Insurer all books of account,
      business records, bills, invoices and other vouchers, or certified copies thereof if originals have been lost, at such
      reasonable time and place as may be designated by the Insurer or its authorized representative, and permit
      extracts and copies thereof to be made.
   H. Cooperate with the Insurer in the investigation of any claim.

   I.   Notify law enforcement authorities, if the Named Insured has reason to believe that any loss or damage involves
        a violation of law.

VII.    LOSS PAYMENT

   A. Unless otherwise specified in this Policy, in the event of covered loss or damage to covered property, at the
      Insurer's option, the Insurer will either:
        1.   pay the amount of loss or damage;
        2.   pay the cost of repairing or replacing such covered property;
        3.   take all or any part of the covered property at an agreed or appraised value; or
        4.   repair or replace the covered property with other property of like kind and quality.
   B. If the Insurer elects to exercise option A.3. above with respect to any branded or labeled merchandise or
      finished stock, the Named Insured may:

        1.   Stamp salvage on their merchandise or finished stock, or its containers, if the stamp will not physically
             damage the merchandise or finished stock; or
        2.   Remove the brands or labels, if doing so will not physically damage the merchandise or finished stock.
             The Named Insured must re-label the merchandise or finished stock or its containers, to comply with the
             law.
   C. The Insurer will determine the value of such covered property, or the cost of its repair or replacement, in
      accordance with the VALUATION Condition.
   D. The Insurer will not pay more than the Named Insured’s financial interest in the covered property.

   E. The Insurer, at the Insurer's expense, may elect to defend the Named Insured against suits arising from claims of
      owners of covered property.
   F. If the Named Insured has complied with all of the terms and conditions of this Policy, the Insurer will pay
      amounts due hereunder within 60 days after it receives an acceptable sworn proof of loss provided that the
      Insurer and Named Insured have reached agreement on the amount of loss or damage or an appraisal award
      has been made. Such payments will be made to the First Named Insured, subject to the LOSS PAYEES AND
      MORTGAGEES Condition below. However, the payment for loss or damage to personal property of others may
      be to the account of the owner of the property.

        Covered Debris Removal Costs and Expenses and Debris Removal – Additional Costs and Expenses in the
        Fees, Costs and Expenses Coverages provision under the LOCATION COVERAGES section of the Business
        Property Coverage Part will be paid by the Insurer provided all such costs are reported to the Insurer in writing
        within 180 days of the occurrence.




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                          VIII.   LOSS PAYEES AND MORTGAGEES

                              A. Loss Payees

                                  If there is loss of or damage to insured property, in which the Named Insured and any Loss Payee, whether or
                                  not named in the Schedule of Loss Payees or Mortgagees, have an insurable interest:
                                  1.   the Insurer will adjust losses with the Named Insured, and
                                  2.   make payments jointly to the Named Insured and such Loss Payee, in their order of precedence, in
                                       accordance with the Loss Payee's financial interest in the applicable property.

                                  If the Insurer pays such Loss Payee, such payments will satisfy the Named Insured’s claims against the Insurer
                                  for that Loss Payee's property. The Insurer will not pay such owners more than their financial interest in the
                                  insured property.

                              B. Lender Loss Payees and Mortgagees

                                  1.   As used in this Section:
                                       a.   a Lender Loss Payee is any creditor who is shown on the Schedule of Loss Payees or Mortgagees as
                                            a Lender Loss Payee and whose interest in insured property is established by a written instrument
                                            including warehouse receipts, bills of lading, financing statements or security agreements;
                                       b. a Mortgagee is any mortgagee or trustee who is shown on the Schedule of Loss Payees or
                                          Mortgagees as a Mortgagee with respect to the real property for which the mortgagee or trustee is
                                          named.
                                  2.   The Insurer will pay for covered loss or damage to each specified Lender Loss Payee or Mortgagee, in order
                                       of precedence, in accordance with the Lender Loss Payee's or Mortgagee's financial interest in the applicable
                                       property.
                                  3.   Each Lender Loss Payee and Mortgagee has the right to receive loss payment, even though:
                                       a.   the Insurer denied the Named Insured’s claim because the Named Insured failed to comply with the
                                            terms of this Policy; or
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                                       b. such Lender Loss Payee or Mortgagee has started foreclosure or similar action on the insured property,

                                       provided such loss payee:
                                       i.   pays any premium due under this Business Property Coverage Part at the Insurer’s request if the
                                            Named Insured has failed to do so;

                                       ii. submits a signed, sworn proof of loss in accordance with the requirements of this Policy; and

                                       iii. has notified us of any change in ownership, or substantial change in risk known to such Lender Loss
                                            Payee or Mortgagee.

                                       If these requirements are met, all of the terms of this Business Property Coverage Part will then apply
                                       directly to such Lender Loss Payee or Mortgagee.
                                  4.   With respect to any Lender Loss Payees or Mortgagees:
                                       a.   The Insurer may cancel this Policy, including the interest of any Lender Loss Payee or Mortgagee, by
                                            giving such Lender Loss Payee or Mortgagee, or its agent, written notice:
                                            i.   10 days prior to the effective date of cancellation, if cancellation is for nonpayment of premium; or
                                            ii. 60 days prior to effective date of cancellation, if cancellation is for any other reason.



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               b. If a loss hereunder is made payable, in whole or in part, to a designated Lender Loss Payee or
                  Mortgagee not named in this Policy, that interest may be cancelled by giving to such loss payee 10 days
                  written notice of cancellation.
               c.   If the Insurer pays the Lender Loss Payee or Mortgagee for loss under this Business Property
                    Coverage Part, and denies payment to the Named Insured, the Insurer will, to the extent of the payment
                    made to such Lender Loss Payee or Mortgagee, be subrogated to all the rights of the Lender Loss Payee
                    or Mortgagee. However, any subrogation by the Insurer will not impair the right of such Lender Loss
                    Payee or Mortgagee to recover the full amount of its claim. At the Insurer’s option, the Insurer may pay
                    the whole principal of the Named Insured’s debt plus accrued interests. In this event, the Named
                    Insured will pay its remaining debt to the Insurer.

               d. If the Named Insured fails to provide proof of loss, the Lender Loss Payee or Mortgagee, upon notice,
                  will render proof of loss within 60 days of notice and will be subject to the provisions contained in this
                  First Party Terms and Conditions and Common Terms and Conditions relating to APPRAISAL,
                  LOSS PAYMENT and NO SUIT AGAINST INSURER.

      C. Mortgagee Loss Payee

          With respect to any Mortgagee as defined above, the interest of the Mortgagee in real property will not be
          invalidated by:
          1.   any act or neglect of the mortgagor or owner of the real property;
          2.   foreclosures, notice of sale, or similar proceeding with respect to the real property;
          3.   change in the title or ownership of the real property; or
          4.   change to an occupancy more hazardous than was represented by the Named Insured.

      D. Contract of Sale Loss Payee

          A Contract of Sale Loss Payee is a person or entity who is shown on the Schedule of Loss Payees or
          Mortgagees and with whom the Named Insured has entered a contract for the sale of insured property;
          provided that for such insured property in which both the Named Insured and such Contract of Sale Loss Payee
          have an insurable interest, the Insurer will:
          1.   adjust losses with the Named Insured; and
          2.   pay any claim for loss or damage jointly to the Named Insured and such Contract of Sale Loss Payee, as
               interests may appear.
      E. Building Owner Loss Payee

          1.   A Building Owner Loss Payee is the person or entity who is shown on the Schedule of Loss Payees or
               Mortgagees and is the owner of the described building in which the Named Insured is a tenant.

          2.   Loss or damage to such building will be adjusted with such Building Owner Loss Payee. Any loss payment
               made to such Building Owner Loss Payee will satisfy the Named Insured’s claims against the Insurer for
               such Building Owner Loss Payee property.
          3.   Loss or damage to tenant's improvements and betterments will be adjusted with the Named Insured
               unless the written lease agreement provides otherwise.

IX.       NO BENEFIT TO BAILEE

      This insurance shall in no way inure directly or indirectly to the benefit of any transportation carrier or bailee.




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                          X.         OTHER INSURANCE

                                A. If the Named Insured has other insurance covering the same loss or damage, the Insurer will pay on the least of
                                   the following amounts:
                                     1.   any Limit of Insurance applicable to the covered property that has sustained such loss or damage;
                                     2.   the amount of covered loss or damage in excess of the amount due from that other insurance, whether the
                                          Named Insured can collect on it or not, without application of deductible amounts contained elsewhere in this
                                          coverage part; or

                                     3.   the amount the Insurer would have paid had such other insurance not existed.
                                B. Paragraph A. above does not apply to other insurance that is purchased as insurance in excess of the Limit of
                                   Insurance under this coverage part.

                          XI.        POLICY PERIOD/COVERAGE TERRITORY

                               The Insurer will cover loss or damage commencing during the policy period of this Policy and within the coverage
                               territory unless otherwise specified.

                          XII.       RECOVERED PROPERTY

                                If either the Named Insured or Insurer recover any property after loss settlement, that party must give the other
                                prompt notice. At the Named Insured’s option, the property (other than money or securities) will be returned to the
                                Named Insured. The Named Insured must then return to the Insurer the amount it paid to the Named Insured for the
                                covered property. The Insurer will pay recovery expenses and the expenses to repair the recovered covered
                                property, subject to the Limit of Insurance.

                                With respect to money or securities, any recoveries, less the cost of obtaining them, made after settlement of loss or
                                damage covered by this coverage part will be distributed:
                                A. first to the Named Insured, until the Named Insured is fully reimbursed for any loss or damage that the Named
                                   Insured sustains that exceeds the Limit of Insurance and the Deductible amount, if any;

                                B. then to the Insurer, until the Insurer is reimbursed for the settlement made; and
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                                C. then to the Named Insured, until the Named Insured is reimbursed for that part of the loss or damage equal to
                                   the Deductible amount, if any.

                                Recoveries do not include any recovery:
                                1.   from insurance, suretyship, reinsurance, security or indemnity taken for the Insurer’s benefit; or
                                2.   of original securities after duplicates of them have been issued.

                          XIII.      RESUMPTION OF OPERATIONS

                                The Insurer will reduce the amount of business income and research and development business income loss
                                payments to the extent that the Named Insured could resume operations or research and development projects in
                                whole or in part:
                                A. by using damaged or undamaged property, including stock; or

                                B. by using any other premises.

                                Solely with respect to suspension of operations caused by direct physical loss of or damage to a dependent
                                property, the Insurer will reduce the amount of business income loss payment to the extent the Named Insured
                                could resume the Named Insured’s operation, in whole or in part, by using any other available sources of materials
                                or outlets for the Named Insured’s products or services available to the Named Insured.

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XIV.    SALVAGE AND RECOVERIES

   All salvages, recoveries, and payments, excluding proceeds from subrogation and other insurance, recovered or
   received prior to a loss settlement under this Policy, shall reduce the loss accordingly. If recovered or received
   subsequent to a loss settlement under this Policy, such net amounts received shall be divided between the interests
   concerned in the proportion of such respective interests.

XV.     SUSPENDED EQUIPMENT

   The Insurer, or any of the Insurer's representatives, has the right to suspend the insurance provided for covered
   equipment from an equipment breakdown peril when the equipment is found to be in, or exposed to, a dangerous
   condition, provided that the Insurer, or any representative, has:
   A. told the Named Insured of the dangerous condition immediately upon discovering it and informed the Named
      Insured of the suspension of coverage; and

   B. mailed or delivered a notice of the suspension to the First Named Insured's last known address or the address
      where the covered equipment is located.

   The Named Insured will get a pro-rata refund of premium for the suspended insurance. However, the suspension will
   be effective even if the Insurer has not yet made or offered a refund. Reinstatement can only be effected by a written
   endorsement issued by the Insurer.

XVI.    TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO THE INSURER

   If the Insurer pays a claim under this Policy, it will be subrogated, to the extent of such payment, to all the Named
   Insured’s rights of recovery from other persons, organizations and entities. The Named Insured will execute and
   deliver instruments and papers and do whatever else is necessary to secure such rights. The Named Insured shall do
   nothing to prejudice such rights.

   The Insurer will have no rights of subrogation against:
   A. any person or entity who or which is a Named Insured;

   B. any subsidiary or any entity associated with the Named Insured through ownership or management;

   C. any other person or entity that the Named Insured waived its rights of subrogation against in writing before the
      time of loss.

XVII.   VACANCY

   If a building where loss or damage occurs has not been used by the Named Insured to conduct its normal business
   for more than 60 consecutive days before such loss or damage occurs, the Insurer will not pay for any loss or damage
   caused by any of the following even if they are covered perils:
   A. vandalism;

   B. sprinkler leakage, unless the Named Insured has protected the system against freezing;

   C. building glass breakage;

   D. water damage;

   E. theft or attempted theft.

   With respect to all other covered perils, the Insurer will reduce the amount that would otherwise be paid for the loss
   or damage by 15%.



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                             If the Named Insured’s normal operation is leasing property to others, a vacant building will be subject to this
                             condition if the Named Insured has ceased actively leasing the building or has cut-off power, heat and water utility
                             services to the building.
                             Buildings under active construction or active renovation are not considered vacant.

                          XVIII. VALUATION

                             A. Except as provided in Paragraph B. below, and subject to all applicable Limits of Insurance, the Insurer will not
                                pay more than the lesser of the following:
                                 1.   the replacement cost; or
                                 2.   the actual cost to repair or replace covered property.

                                 If the Named Insured does not repair or replace the covered property, or the repair or replacement exceeds 24
                                 months from the date of loss or damage unless a longer time frame is agreed to by the Insurer, the Insurer will
                                 pay the actual cash value of such property.

                                 If the Named Insured commences repair or replacement of such covered property and completes it within 24
                                 months from the date of loss or damage, or such agreed to longer period, the Insurer will pay the difference
                                 between the actual cash value previously paid and the lesser of Paragraphs 1. or 2. above.
                             B. With respect to the following covered property, the Insurer will not pay more than the following amounts:

                                 1.   Accounts receivable: for records of account receivable for which duplicates do not exist, the full cost to
                                      research and reproduce such records plus the cost of the blank materials on which they resides. For records
                                      of accounts receivable for which duplicates do exist, the cost of the labor to transcribe or copy such records,
                                      plus the cost of the blank materials on which they reside.

                                      If the Named Insured cannot accurately establish the amount of accounts receivable outstanding at the time
                                      of loss of or damage to the records of accounts receivable, the following method will be used:
                                      a.    determine the average monthly amount of accounts receivable for the 12 months immediately preceding
                                            the month in which the loss or damage occurs; and
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                                      b.    adjust that average monthly amount for any normal fluctuations in the amount of accounts receivable for
                                            the month in which the loss or damage occurred or for any demonstrated variance from the monthly
                                            average.

                                      The following will be deducted from the total amount of accounts receivable, however that amount is
                                      established:

                                      i.   the amount of the accounts receivable for which there is no loss or damage;

                                      ii. the amount of the accounts receivable that the Named Insured is able to re-establish or collect;

                                      iii. an amount to allow for probable bad debts that the Named Insured is normally unable to collect; and

                                      iv. all unearned interest and service charges.

                                 2.   Personal property that is leased or rented from others, personal property of others and nonowned trailers:
                                      the lesser of the following:

                                      a.   the amount for which the Named Insured is liable under the written contract for such property;
                                      b. the actual cost to repair such property; or

                                      c.   the replacement cost.


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      3.   Fine arts: the appraised market value as of the time, and at the place, of loss or damage. In case of loss to
           any part of a pair or set, the Insurer may:

           a. repair or replace any part to restore the pair or set to its value before the loss; or

           b. pay the difference between the value of the pair or set before and after the loss.

      4.   Glass: replacement cost, including the costs and expenses incurred to put up temporary plates or board up
           openings and to remove or replace obstructions when repairing or replacing glass that is part of a building,
           but not including the removal or replacement of window displays.
      5.   Goods in process: the value of raw stock, the Named Insured's labor expended and other materials
           incorporated and the cost to repurchase proprietary property licenses, plus the proper proportion of overhead
           charges.
      6.   Media: for media for which duplicates do not exist, the full cost incurred to research and reproduce a master
           copy of such media plus the cost of the blank materials on which it resides. For media for which duplicates
           do exist, the cost incurred for the labor to transcribe or copy such media, plus the cost of the blank materials
           on which it resides.

           If the media is not reproduced or replaced, the loss will be valued at the cost to replace the blank material on
           which the media resides with substantially identical type of such blank materials.
      7.   Merchandise which has been sold and not delivered and finished stock: the regular cash selling price, less
           all costs to complete the sale and discounts and charges to which such finished stock or merchandise
           would have been subject had no loss or damage occurred.
      8.   Money or securities:

           Money: only up to and including its face value.

           Securities: only up to and including their value at the close of business on the day the loss was discovered.

      9.   Outdoor trees, shrubs, plants or lawns: the reasonable and necessary costs of a qualified contractor to
           remove the damaged tree, shrub, plant or lawn from the location or reported unspecified location and the
           replacement of such property with similar type, size and quality as the damaged property including
           reasonable repairing and replanting costs. No payment will be made for the replacement, repairing or
           replanting of such property until the repairing, replacement and replanting is completed. Damaged outdoor
           trees, shrubs, plants or lawns not replaced within 12 months from the date of the loss have no value.

      10. Property for sale, other than stock or merchandise, the lesser of the:

           a.   replacement cost;

           b. the selling price; or

           c.   actual cash value.

      11. Property in transit:

           a.   Property under invoice, at the actual invoice cost, including prepaid freight, together with such cost and
                charges since shipment as may have accrued and become legally due thereon.
           b. Property not under invoice, in accordance with the valuation provisions of this Policy, less any charges
              saved which would have become due and payable upon delivery at destination.
      12. Research and development project property: the actual cost necessary to:

           a.   research, recreate, repair or replace the research and development project property, including the cost
                of materials and supplies; and


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                                      b. research, recreate or reproduce information, on any format, documenting that lost or damaged research
                                         and development project property as of the date of such loss or damage.

                                      However, the Insurer will only pay for these costs if the Named Insured repairs, replaces or recreates the
                                      research and development project property. Any research and development project property not
                                      repaired, replaced or recreated has no value. When production of a new product begins by anyone, the
                                      research and development project property for that product and all associated research and recreation
                                      costs have no value.
                                 13. Tenant's improvements and betterments:

                                      a. Replacement cost if the Named Insured repairs or replaces with reasonable speed.

                                      b. A proportion of the Named Insured's original cost if the Named Insured does not repair or replace with
                                         reasonable speed. The Insurer will determine the proportionate value as follows:
                                           i.   multiply the original cost by the number of days from the date of the loss or damage to the expiration
                                                date of the lease; and
                                           ii. divide that amount determined in Paragraph i. above by the number of days from the installation of
                                               the tenant's improvements and betterments to the expiration of the lease.

                                           If the lease contains a renewal option, the expiration date of the renewal option period will be used as the
                                           expiration date of the lease.
                                      c.   If others pay for the repairs or replacement, then the Insurer will only pay for that portion which has not
                                           been paid for by others.
                                 14. Vehicles or self-propelled machines (other than nonowned trailers), railroad rolling stock and contractor’s
                                     equipment: at the lesser of the following for that lost or damaged property:
                                      a.   applicable scheduled Limit of Insurance;
                                      b. actual cash value;

                                      c.   cost to reasonably restore that property to its condition immediately before loss or damage; or
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                                      d. cost of replacing that property with used, but substantially identical property.

                          XIX.   BUSINESS CRIME COVERAGE CONDITIONS

                             Solely with respect to crime coverage provided under the Business Crime Coverage Part and the Employee Theft,
                             Forgery or Alteration and Money and Securities Additional Coverages under the Business Property Coverage
                             Part, the following conditions apply:

                             A. Joint Named Insured

                                 1.   If the Named Insured or partner, proprietor, member or officer of that Named Insured has knowledge of any
                                      information relevant to this insurance, that knowledge is considered knowledge of every Named Insured.
                                 2.   An employee of any Named Insured is considered to be an employee of every Named Insured.
                                 3.   If any crime coverage is cancelled or terminated as to any Named Insured, a loss with respect to that Named
                                      Insured is covered only if the loss was discovered during the period of time in the When Loss Must be
                                      Sustained and Discovered Condition below. However, this extended period to discover loss terminates as
                                      to that Named Insured immediately upon the effective date of any other insurance obtained by that Named
                                      Insured replacing in whole or in part the insurance afforded hereunder, whether or not such other insurance
                                      provides coverage for loss or damage sustained prior to its effective date.
                                 4.   In the event loss or damage is sustained by more than one Named Insured, the Insurer will not pay more
                                      than if the loss or damage was sustained by one Named Insured.

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   B. Named Insured Sponsored Employee Benefit Plans

      Any employee benefit plan shown under the Business Property Coverage Part Declarations or the Business
      Crime Coverage Part Declarations as included as an additional Named Insured are so included only with
      respect to Employee Theft Coverage.

      In compliance with certain provisions of the Employee Retirement Income Security Act of 1974 (ERISA):
      1.   If the First Named Insured is an entity other than an employee benefit plan, any payment made by the
           Insurer will be made jointly to the First Named Insured and to the employee benefit plan that sustained
           loss.
      2.   If two or more employee benefit plans are insured under this coverage part, any payment the Insurer
           makes for covered loss:
           a.   sustained by two or more employee benefit plans; or
           b. of commingled funds or other property of two or more employee benefit plans,

           is to be shared by each employee benefit plan sustaining loss in the proportion that the amount of insurance
           required for each such employee benefit plan under the Employee Retirement Income Security Act of 1974
           (ERISA) bears to the total of such payments.
      3.   The First Named Insured must purchase a Limit of Insurance applicable to Employee Theft Coverage that
           is at least equal to the minimum amount required by ERISA for any employee benefit plans. If employee
           benefit plans are insured jointly with any other entity under this coverage part the limit must be at least
           equal to the minimum amount required by ERISA as if each employee benefit plan were insured
           independently. If, during this policy period, it is determined that the applicable Limit of Insurance as shown in
           the Business Property Schedule of Coverages and Limits or Business Crime Schedule of Coverages,
           Limits and Deductibles was less than the amounts required by ERISA on the effective date of this Policy,
           then, at the request of the First Named Insured during this policy period, and subject to the payment of any
           additional premium, the applicable Limit of Insurance may be amended to equal the minimum amount
           required by ERISA.
      4.   The deductible otherwise applicable to Employee Theft Coverage does not apply to loss sustained by any
           employee benefit plan.

   C. New Employees/New Employee Benefit Plans

      1.   New Employees or Premises

           If, during this policy period the Named Insured establishes any additional premises or hires additional
           employees, any insurance afforded for employees and premises shall also apply to those additional
           employees and premises.

      2.   New Employee Benefit Plans

           If any employee benefit plan is acquired by the Named Insured during the policy period that is:
           a.   sponsored and approved by the Named Insured; and
           b. required to be bonded under the provisions of ERISA,

           that employee benefit plan shall be included as a Named Insured under this coverage part.

   D. Loss Covered Under This Insurance and Prior Insurance Issued by the Insurer or Any Affiliate of the
      Insurer

      If the Named Insured discovers covered loss during the policy period resulting directly from an act or series of
      acts that took place partly during the policy period and partly during a policy period of any prior cancelled or

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                                terminated Policy that the Insurer or any affiliate issued to the Named Insured or any predecessor in interest, the
                                most the Insurer will pay is the larger of the amount recoverable under this Policy or the prior Policy.

                             E. Loss Sustained During Prior Policy

                                1.   If the Named Insured, or a predecessor in interest, sustained a loss that could have been recovered under a
                                     prior policy except that the time within which to discover the loss under such prior policy had expired, then
                                     the Insurer will pay for it under this Policy, provided:
                                     a.   this Policy became effective at the time of cancellation or termination of such prior Policy; and
                                     b. the loss would have been covered by this Policy had it been in effect at the time of such loss.

                                2.   The Limit of Insurance available under this Loss Sustained During Prior Policy Condition is part of, and not in
                                     addition to, the applicable Crime Coverage Limits of Insurance and is limited to the following:
                                     a.   when the prior policy was issued by the Insurer or any affiliate of the Insurer, the highest single Limit of
                                          Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                                     b. when the prior policy was not issued by the Insurer or any of its affiliates, the lesser of the single Limit of
                                        Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                             F. Non-Cumulation of Limit of Insurance

                                Regardless of the number of years this Policy or similar insurance (whether issued on a “Loss Sustained” or “Loss
                                Discovered” basis) issued by the Insurer remains in force or the number of premiums paid, the Limit of Insurance
                                does not cumulate from one policy period to another policy period.
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                             G. Ownership of Property; Interests Covered

                                The money, securities and other property covered under this coverage part is limited to such property:
                                1.   that the Named Insured owns or leases;
                                2.   that the Named Insured holds for others; or
                                3.   owned and held by someone other than the Named Insured under circumstances which make the Named
                                     Insured responsible for the property prior to the time of loss.

                                Solely with respect to an employee benefit plan, the money, securities and other property covered under any
                                crime coverage is limited to all funds or property that the employee benefit plan uses or may use as a source for
                                the payment of benefits to plan participants or beneficiaries, as described by the Employee Retirement Income
                                Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated thereunder.

                                However, this insurance is for the Named Insured’s benefit only. It provides no rights or benefits to any clients or
                                to any other person or organization.

                             H. Termination of Coverage as Respects Acts of Any Employee

                                Coverage is terminated with respect to any employee:
                                1.   immediately upon discovery of a dishonest act:

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             a.   committed by that employee while employed by the Named Insured, or
             b. committed by that employee prior to becoming employed by the Named Insured, provided dishonest
                acts committed prior to becoming employed by the Named Insured resulted in a loss equal to or
                exceeding $10,000,

             provided that such discovery was made by the Named Insured or any of the Named Insured’s employees,
             partners, proprietors, members, managers, officers, directors or trustees, not in collusion with the employee
             who committed such act, whether before or after becoming employed by the Named Insured.
        2.   on the date specified in the notice mailed to the Named Insured. That date will be at least 60 days after the
             date of mailing.

        The Insurer will mail or deliver the notice to the First Named Insured's last mailing address known to the Insurer.
        If notice is mailed, proof of mailing will be sufficient proof of notice.
   I.   When Loss Must be Sustained and Discovered

        Except as provided in the Loss Sustained During Prior Policy Condition, loss is covered only if sustained during
        the policy period and discovered no later than one year from the date of cancellation or expiration of the Policy.
        However, with respect to any Named Insured who obtains any other insurance replacing in whole or in part the
        insurance afforded by such crime coverages, regardless of whether such insurance is obtained during or after the
        policy period, this extended period to discover loss terminates immediately upon the effective date of such other
        insurance, whether or not such other insurance provides coverage for such crime loss sustained prior to its
        effective date.
   J.   Worldwide Coverage and Other Territory Changes

        With respect to Employee Theft Coverage, coverage applies anywhere in the world for employees while
        temporarily outside the coverage territory for a period of 90 days or less.

        With respect to Forgery or Alteration Coverage and Computer Fraud Coverage, coverage applies anywhere in
        the world.




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                               The following coverages apply to the extent shown in the Business Property Schedule of Coverages and Limits or
                               the Business Property Schedule of Locations.

                          I.    LOCATION COVERAGES
                               A. Location Base Coverage
                                   1.   Real Property Coverage
                                        The Insurer will pay for direct physical loss of or damage to real property at a location directly caused by a
                                        covered peril.
                                        The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Real
                                        Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                        location.
                                   2.   Personal Property Coverage
                                        The Insurer will pay for direct physical loss of or damage to personal property at a location directly caused
                                        by a covered peril.
                                        The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Personal
                                        Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                        location.
                                   3.   Time Element Coverage
                                        a.   Business Income Coverage
                                             The Insurer will pay for the actual loss of business income the Named Insured sustains during the
                                             period of restoration due to the necessary suspension or delay of operations caused by direct
                                             physical loss of or damage to property at a location directly caused by a covered peril.
                                             The most the Insurer will pay for any one occurrence for such loss of business income is the applicable
                                             Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                             Locations at that location.
                                        b. Extra Expense Coverage
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                                             The Insurer will pay extra expense caused by direct physical loss of or damage to property at a location
                                             directly caused by a covered peril.
                                             The most the Insurer will for pay for any one occurrence for such extra expense is the applicable Extra
                                             Expense Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                             location.
                                        c.   Business Income and Extra Expense Coverage
                                             If a Business Income and Extra Expense Coverage Limit of Insurance is shown in the Business
                                             Property Schedule of Locations at a location, the Insurer will pay for the actual loss of business
                                             income the Named Insured sustains during the period of restoration due to the necessary suspension
                                             or delay of operations, and extra expense, caused by direct physical loss of or damage to property at
                                             that location directly caused by a covered peril.
                                             The most the Insurer will pay for any one occurrence for all such loss of business income and extra
                                             expense is the applicable Business Income and Extra Expense Coverage Limit of Insurance.
                               B. Fees, Costs and Expenses Coverages
                                   If the Insurer pays for loss or damage to any insured property pursuant to any Location Base Coverage shown
                                   in Paragraph A. above, or at reported unspecified locations, the Insurer will also pay for the following
                                   reasonable and necessary fees, costs and expenses incurred by the Named Insured in connection with such

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      covered loss or damage. The most the Insurer will pay for any of the following Fees, Costs and Expenses
      Coverages are the Limits of Insurance shown in the Business Property Schedule of Coverages and Limits.
      Limits for these coverages apply in addition to any other applicable Limits of Insurance, unless otherwise stated.
      Limits of Insurance applicable at a location that differ for a specific location will be shown in the Business
      Property Schedule of Locations for that location. Those Limits replace, and are not in addition to, the Limits of
      Insurance shown in the Business Property Schedule of Coverages and Limits for those specific coverages
      and locations. If any of these coverages do not apply at any specific location, the Limit of Insurance will show as
      Not Covered for those locations.
      1.   Architects & Engineers and Other Professional Fees
           The Insurer will pay the fees incurred for the services of architects, engineers or construction consultants
           approved by the Insurer and resulting directly from the repair or replacement of such insured property.
           The amount the Insurer will pay for such fees is included within the applicable Real Property Coverage or
           Personal Property Coverage Limits of Insurance.
      2.   Brands & Labels Costs and Expenses
           In accordance with the LOSS PAYMENT Condition in the First Party Terms and Conditions, the Insurer will
           pay the costs and expenses incurred to remove the brands and labels from merchandise or finished stock
           and to stamp "salvage" on such merchandise or finished stock or its containers.
           The amount the Insurer will pay for all such costs and expenses is included within the applicable Personal
           Property Coverage Limit of Insurance.
      3.   Debris Removal Costs and Expenses
           The Insurer will pay the costs and expenses incurred to remove debris of covered property remaining after
           such loss or damage.
           Debris Removal Costs and Expenses does not include the costs or expenses of removing, extracting or
           disposing of contaminants or pollutants from land or water.
           The amount the Insurer will pay for all such costs and expenses is included within the remaining Limit of
           Insurance for the applicable covered property after payment of the covered physical loss or damage.
      4.   Debris Removal
           a.   Additional Costs and Expenses
                If the amount incurred for the covered loss or damage to covered property, including Debris Removal
                Costs and Expenses, exceeds the applicable Limit of Insurance for such covered property, the Insurer
                will pay the remaining debris removal costs and expenses incurred.
                The most the Insurer will pay for such remaining debris removal costs and expenses at any one location
                or reported unspecified location for any one occurrence is the Debris Removal – Additional Costs
                and Expenses Limit of Insurance.

           b. Uncovered Property

                If wind causes direct physical loss of or damage to covered property, the Insurer will also pay for the
                expense the Named Insured incurs to remove debris of uncovered property that is blown onto a location
                or reported unspecified location by wind and to remove debris of outdoor trees, shrubs, plants or
                lawns damaged by wind.

                The most the Insurer will pay for uncovered property at any one location or reported unspecified
                location for any one occurrence is the Debris Removal – Uncovered Property Limit of Insurance.




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                                5.   Expediting Costs and Expenses

                                     The Insurer will pay the additional costs and expenses incurred for temporary repair of damage to covered
                                     property and the additional expenses incurred for expediting the permanent repair or replacement of such
                                     damaged covered property. However, the Insurer will not pay such costs and expenses if they are covered
                                     elsewhere in this coverage part.
                                     The most the Insurer will pay for all such costs and expenses at any one location or reported unspecified
                                     location for any one occurrence is the Expediting Costs and Expenses Limit of Insurance.
                                6.   Green Insured Property

                                     a.   Costs and Expenses

                                          With respect to green insured property, the Insurer will pay the costs and expenses incurred:
                                          i.   to reuse or salvage building materials and products;
                                          ii. to extract recyclable construction waste and transport it to recycling facilities instead of landfills but
                                              only to the extent they are not offset by any income derived from the recycling;
                                          iii. for the services of accredited architects or engineers approved by the Insurer in planning and
                                               designing the applicable green insured property qualifying repairs or rebuild;
                                          iv. to re-certify the repaired or replaced insured property through the applicable green insured
                                              property accreditation organization; and

                                          v.   to flush-out the air in the repaired or rebuilt green insured property and replace it with outside air
                                               ventilated through an air filtration system included as part of the repaired or replaced green insured
                                               property.
                                          The amount the Insurer will pay for all such costs and expenses is included within the applicable Real
                                          Property Coverage or Personal Property Coverage Limits of Insurance.

                                     b. Time Element

                                          To the extent time element coverage is applicable at that location or reported unspecified location,
                                          the Insurer will pay, as provided, for loss of business income or extra expense arising out of extra time
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                                          required to re-qualify, repair or rebuild the green insured property, including:
                                          i.   additional costs to obtain power from a public utility for covered equipment that uses solar, wind,
                                               geo-thermal or other renewable resources to generate power. These additional costs will be paid
                                               until such time as such green insured property is repaired and operating; and
                                          ii. the monetary loss of rebates and credits the Named Insured receives from the public utility company
                                              for surplus power the Named Insured’s renewable resources provide into the utility’s power grid.
                                          The amount the Insurer will pay for such all such loss and expense is included within the applicable time
                                          element coverage Limit of Insurance.

                                     c.   This Green Insured Property Coverage does not apply to:
                                          i.   green insured property for which the basis of valuation is other than replacement cost; or

                                          ii. costs or expenses to upgrade the damaged green insured property to green standards beyond
                                              those that existed in the damaged green insured property at the time of loss or damage.

                          II. OFF-SITE COVERAGES
                             The following OFF-SITE COVERAGES apply as shown in the Business Property Schedule of Coverages and
                             Limits, up to the applicable Limit of Insurance shown. If a specific Location Base Coverage is not provided
                             elsewhere in this Business Property Coverage Part, there is no coverage under its corresponding OFF-SITE

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   COVERAGE. For example, if the Named Insured does not have coverage for business income under the Location
   Base Coverages, then there is no such coverage related to business income under any of the OFF-SITE
   COVERAGES. Limits for these OFF-SITE COVERAGES apply in addition to any other applicable Limits of Insurance,
   unless otherwise stated.
   A. Deferred Payments Coverage
      1.   The Insurer will pay the Named Insured's financial interest in personal property sold on an installment,
           conditional sale or other deferred payment basis. The Insurer will make such payments only if such personal
           property suffers direct physical loss or damage due to a covered peril after delivery to the purchaser, and
           only if the Named Insured is unable to collect after making all reasonable efforts to do so.
      2.   The most the Insurer will pay for such payments under this OFF-SITE COVERAGE for any one occurrence
           is the lesser of the Named Insured’s financial interest in such personal property or the Deferred Payments
           Coverage Limit of Insurance.
           The Limit for this OFF-SITE COVERAGE is included in, and not in addition to, any other applicable Limits of
           Insurance.
   B. Dependent Property Time Element Coverage
      1.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by direct physical loss of or damage to property at a dependent property located anywhere in the
           world. The loss or damage must be directly caused by a covered peril.
      2.   The most the Insurer will pay for all loss and expense under this OFF-SITE COVERAGE for any one
           occurrence is the Dependent Property Time Element Coverage Limit of Insurance.
      3.   The Insurer will not pay for loss of business income or extra expense caused by or resulting from
           earthquake or flood under this OFF-SITE COVERAGE, even if they are otherwise covered perils.
   C. Installation Coverage
      1.   The Insurer will pay for direct physical loss of or damage to installation property directly caused by a
           covered peril while such installation property is at an installation location or a temporary warehousing
           premises:
           a.   awaiting and during installation, fabrication, erection, certifying, servicing or testing; or
           b. awaiting acceptance by the purchaser.
      2.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
           occurrence is the Installation Coverage Limit of Insurance.
      3.   This Installation Coverage does not apply to loss or damage at any premises, location or reported
           unspecified location owned by the Named Insured, or to property in the due course of transit.
      4.   This Installation Coverage will end on the date when any of the following first occurs:
           a.   the Policy expires;
           b. the Named Insured’s insurable interest in the property ceases;


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                                     c.   the installation, fabrication or erection project is accepted by the purchaser as complete; or
                                     d. the Named Insured abandons the installation, fabrication or erection project with no intention to complete
                                        it.
                             D. Mobile Computing Devices – Worldwide Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to mobile computing devices while outside the
                                     coverage territory, except within any country upon which the United States government has imposed
                                     sanctions, embargoes or similar prohibitions. The loss or damage must be directly caused by a covered
                                     peril.
                                2.   The most the Insurer will pay for loss or damage under this OFF-SITE COVERAGE for any one occurrence
                                     is the Mobile Computing Devices – Worldwide Coverage Limit of Insurance.
                             E. Property at Unspecified Locations Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property and fine arts at an unspecified location, or while in the custody of a salesperson, directly
                                     caused by a covered peril.
                                     The coverage provided for fine arts under this OFF-SITE COVERAGE is subject to the provisions of the Fine
                                     Arts Coverage in the ADDITIONAL COVERAGE BASKET section, except the requirement that such
                                     property be at a location or reported unspecified location.
                                 2. To the extent time element coverage is applicable under this Business Property Coverage Part, the
                                    Insurer will pay, as provided, for:
                                     a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                          to the necessary suspension or delay of operations;
                                     b. the actual loss of research and development business income the Named Insured sustains during the
                                        period of restoration due to the necessary suspension or delay of research and development projects;
                                        and
                                     c.   extra expense,
                                     caused by loss of or damage to insured property, research and development project property and fine
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                                     arts at an unspecified location or while in the custody of a salesperson directly caused by a covered peril.
                                 3. The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE:
                                     a.   at any one unspecified location for any one occurrence is the Property at Unspecified Locations
                                          Coverage – Property Damage and Time Element Unspecified Location Limit of Insurance.
                                     b. for all unspecified locations for any one occurrence, regardless of the number of unspecified
                                        locations involved, is the Property at Unspecified Locations Coverage – Property Damage and Time
                                        Element Unspecified Locations Combined Limit of Insurance.
                                4.   This Property at Unspecified Locations Coverage does not apply to:
                                     a.   property in transit, other than while in the custody of salespersons as described in Paragraph E.1. above;
                                     b. property that is covered under the Protection of Property Coverage of the ADDITIONAL COVERAGES
                                        section.
                                5.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply only with
                                     respect to unspecified locations that the Named Insured does not own, operate or lease.
                             F. Property in Transit Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property, fine arts, media and records of accounts receivable directly caused by a covered peril

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           while in the course of transit from the time such property is being loaded at the initial point of shipment and
           continuously thereafter, until unloaded at the final destination, or if undeliverable, the time it is returned to the
           location or reported unspecified location, including:
           a.   general average or salvage charges that are assessed; and
           b. reasonable and necessary expense the Named Insured incurs to inspect, repackage and reship such
              property.
           The coverage provided for fine arts, records of accounts receivable and media under this OFF-SITE
           COVERAGE are subject to the provisions of the Fine Arts Coverage, Accounts Receivable Coverage and
           Restoration of Media Coverage, respectively, in the ADDITIONAL COVERAGE BASKET section, except
           the requirement that such property be at a location or reported unspecified location.
      2.   To the extent time element coverage is applicable under this Business Property Coverage Part, the
           Insurer will also pay, as provided, for:
           a.   actual loss of business income the Named Insured sustains during the period of restoration due to
                the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by loss of or damage to insured property, research and development project property, fine arts
           and media while in the course of transit directly caused by a covered peril.
      3.   The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE for
           any one occurrence is the Property in Transit Coverage – Property Damage and Time Element Limit of
           Insurance.
      4.   When neither the origin nor the destination is in any country upon which the United States government
           imposes sanction, embargoes or similar provisions, the following applies:
           a.   If the property is transported by an aircraft, the coverage territory is extended to be anywhere in the
                world for that property while in transit; or
           b. If the property is transported by an oceangoing vessel, transit coverage ends when the property has been
              loaded on the oceangoing vessel and only commences when the property has been fully discharged from
              such vessel onto a point within the coverage territory.
      5.   This Property in Transit Coverage does not apply to:
           a.   import shipments until marine insurance coverage ceases;
           b. personal property of others hauled on vehicles owned, leased or operated by the Named Insured
              when acting as a common or contract carrier, regardless of the Named Insured’s liability for such
              property;
           c.   property sold by the Named Insured under conditional sale, trust agreement or installment payment after
                delivery to customers;
           d. property shipped by common carrier or postal service unless such shipment is electronically tracked by
              such carrier or service; or
           e.   property while in the custody of salespersons.
      6.   In the event of any loss of or damage to personal property in transit, the Named Insured must immediately
           make a claim in writing against the carrier, bailee or others involved.



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                                 7.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply with respect
                                      to this OFF-SITE COVERAGE.
                             G. Worldwide Media and Accounts Receivable Coverage
                                 1.   The Insurer will pay for direct physical loss of or damage to media and records of accounts receivable
                                      directly caused by a covered peril while such property is at a premises other than a location or reported
                                      unspecified location.
                                 2.   With respect to coverage provided under this OFF-SITE COVERAGE, the coverage territory is extended to
                                      be anywhere in the world, except within any country upon which the United States government has imposed
                                      sanctions, embargoes or similar prohibitions.
                                 3.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
                                      occurrence is the Worldwide Media and Accounts Receivable Coverage Limit of Insurance.
                                 4.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply under this
                                      OFF-SITE COVERAGE, but only when such property is at premises that the Named Insured does not own,
                                      operate or lease.

                          III. ADDITIONAL COVERAGES
                             The following ADDITIONAL COVERAGES apply up to the applicable Limit of Insurance shown under the Business
                             Property Schedule of Coverages and Limits. If a particular coverage is shown as Not Covered then such coverage
                             is not provided under this Business Property Coverage Part.
                             Limits of Insurance for an ADDITIONAL COVERAGE that differ at any specific location will be shown under the
                             Business Property Schedule of Locations for that location. Those Limits of Insurance replace, and are not in
                             addition to, the Limit of Insurance shown for that ADDITIONAL COVERAGE in the Business Property Schedule of
                             Coverages and Limits. If any ADDITIONAL COVERAGE does not apply at a specific location, that ADDITIONAL
                             COVERAGE will be shown as Not Covered at that location.
                             If a specific Location Base Coverage is not provided at a location or at reported unspecified locations in this
                             Business Property Coverage Part, there is no coverage under its corresponding ADDITIONAL COVERAGE. For
                             example, if the Named Insured does not have a Location Base Coverage for business income for one or more
                             locations or reported unspecified location, then there is no coverage related to business income under any of the
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                             ADDITIONAL COVERAGES for business income.
                             Limits for these ADDITIONAL COVERAGES apply in addition to any other applicable Limits of Insurance, unless
                             otherwise stated.
                             A. Contaminants or Pollutants Clean Up and Removal Coverage – Property Damage and Time Element
                                Combined
                                 1.   The Insurer will pay for the reasonable costs and expenses to extract or remove contaminants or pollutants
                                      from land or water at a location or reported unspecified location, provided such contaminants or
                                      pollutants are in the land or water as a direct result of a covered peril. These costs and expenses include
                                      the costs and expenses to test for, monitor or assess the existence, concentration or effects of contaminants
                                      or pollutants.
                                      The Insurer will pay these costs and expenses only if reported to the Insurer within 180 consecutive days of
                                      the date on which the covered peril occurs.
                                 2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
                                      Insurer will also pay, as provided, for:
                                      a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                           to the necessary suspension or delay of operations;



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           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           as a result of compliance with an ordinance or law that requires the clean up or removal of contaminants or
           pollutants from land or water at a location or reported unspecified location as a direct result of a covered
           peril.
      3.   The most the Insurer will pay for all loss, cost or expense combined under this ADDITIONAL COVERAGE at
           any one location or reported unspecified location for any one occurrence is the Contaminants or
           Pollutant Clean Up and Removal Coverage – Property Damage and Time Element Combined Limit of
           Insurance.
   B. Contamination by a Refrigerant Coverage
      1.   The Insurer will pay for direct physical loss of or damage to personal property caused by the release or
           escape of refrigerants from any refrigeration equipment at a location or reported unspecified location
           provided the release or escape was not caused by or resulting from earthquake or flood, even if those are
           otherwise covered perils.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Contamination by a Refrigerant
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable
           Personal Property Coverage Limit of Insurance.
      3.   The Contaminants or Pollutants Excluded Peril under the EXCLUSIONS section does not apply, but only to
           the extent of the coverage provided under this ADDITIONAL COVERAGE.

   C. Contractual Penalties Coverage

      1.   The Insurer will pay for contractual penalties specified in a written contract that the Named Insured incurs for
           material breach of the terms of such contract where such breach is the result of direct physical loss of or
           damage to covered property directly caused by a covered peril.
      2.   The most the Insurer will pay for such contractual penalties under this ADDITIONAL COVERAGE for any one
           occurrence is the Contractual Penalties Coverage Limit of Insurance.
   D. Denial of Access Coverage
      To the extent time element coverage is applicable at that location or reported unspecified location, the
      following coverages apply at the location or reported unspecified location where the suspension or delay of
      operations occurs:
      1.   Civil Authority
           a.   For up to the number of days shown on the Business Property Schedule of Coverages and Limits, the
                Insurer will pay, as provided, for:
                i.   The actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay of operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of the research and
                    development projects; and
                iii. extra expense,



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                                          caused by action of civil authority that prohibits access to the location or reported unspecified location.
                                          Such action must result from a civil authority's response to direct physical loss of or damage to property
                                          located away from a location or reported unspecified location. That lost or damaged property must be
                                          within five miles of that location or reported unspecified location which sustains a business income
                                          or research and development business income loss or where extra expense is incurred. The loss or
                                          damage must be directly caused by a covered peril.
                                     b. The amount the Insurer will pay for all loss or expense under this Civil Authority Coverage is included
                                        within the applicable time element coverage Limit of Insurance.
                                     c.   However, to the extent the covered Civil Authority Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Civil Authority Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Civil Authority Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                                2.   Ingress/Egress
                                     a. The Insurer will pay, as provided, for:
                                          i.   the actual loss of business income the Named Insured sustains during the period of restoration
                                               due to the necessary suspension or delay of operations;
                                          ii. the actual loss of research and development business income the Named Insured sustains
                                              during the period of restoration due to the necessary suspension or delay of the research and
                                              development projects; and
                                          iii. extra expense,
                                          when ingress or egress by the Named Insured's suppliers, customers or employees to or from the
                                          location or reported unspecified location is physically obstructed due to direct physical loss or
                                          damage. The actual loss of business income or research and development business income
                                          sustained, or extra expense incurred, by the Named Insured must be caused by direct physical loss of
                                          or damage to property not owned, occupied, leased or rented by the Named Insured or insured under
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                                          this Business Property Coverage Part. That property must be located within five miles of such location
                                          or reported unspecified location. The obstruction cannot be the result of an action of civil authority that
                                          prohibits access to that location or reported unspecified location. The loss or damage must be directly
                                          caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or expense under this Ingress/Egress Coverage at any one
                                        location or reported unspecified location for any one occurrence is the Ingress/ Egress Coverage
                                        Limit of Insurance.
                                     c.   However, to the extent the covered Ingress/Egress Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                             E. Electronic Vandalism Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for loss of or damage to media, electronic data processing equipment, research and
                                     development project property and records of accounts receivable caused by or resulting from electronic
                                     vandalism originating anywhere in the world.


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      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and

           c.   extra expense,

           directly caused by electronic vandalism.
      3.   The Insurer will not pay for electronic vandalism loss caused by or resulting from any deliberate, dishonest,
           fraudulent or criminal acts committed by or on behalf of, or at the direction of, any executive officer.
      4.   The most the Insurer will pay for all loss, damage or expense combined under this ADDITONAL COVERAGE
           in the policy period is the Electronic Vandalism Coverage – Property Damage and Time Element
           Combined Aggregate Limit of Insurance.
      5.   The Electronic Vandalism and Dishonest Acts Excluded Perils under the EXCLUSIONS section do not
           apply, but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.
   F. Employee Theft Coverage
      1.   The Insurer will pay for loss of or damage to personal property, money, securities and fine arts as a direct
           result of employee theft.
      2.   The Insurer will not pay for such loss:
           a.   caused by any employee of the Named Insured, or predecessor in interest of the Named Insured, for
                whom similar prior insurance was cancelled and not reinstated since the last such cancellation.
           b. if the proof of existence or amount is dependent upon an inventory computation or a profit and loss
              computation. However, where the Named Insured establishes wholly apart from such computations that
              it has sustained such loss or damage, then it may offer its inventory records and actual physical count of
              inventory in support of the amount claimed.
           c.   resulting directly or indirectly from trading, whether in the Named Insured’s name or in a genuine or
                fictitious account.
           d. resulting from fraudulent or dishonest signing, issuing, cancelling or failing to cancel, a warehouse receipt
              or bill of lading or any papers connected with either.
      3.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE for any one
           occurrence is the Employee Theft Coverage Limit of Insurance.
      4.   The Dishonest Acts Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
           the coverage provided under this ADDITIONAL COVERAGE.
   G. Equipment Breakdown - Spoilage Coverage

      1.   The Insurer will pay for direct physical loss of or damage to personal property directly caused by the loss of
           or changes in any artificially maintained or generated temperature, humidity or internal atmosphere resulting
           from an equipment breakdown peril to covered equipment at the location or reported unspecified
           location.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Equipment Breakdown – Spoilage
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable Limits
           of Insurance.

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                                  3.   The Adulteration or Contamination and the Temperature or Humidity Conditions Excluded Perils under
                                       the EXCLUSIONS section do not apply, but only to the extent of the coverage provided under this
                                       ADDITIONAL COVERAGE.
                             H. Expense to Reduce Loss – Business Income Coverage
                                  The Insurer will pay reasonable and necessary expenses incurred by the Named Insured, except the cost of
                                  extinguishing a fire, to reduce the amount of business income or research and development business income
                                  loss. The Insurer will pay such expenses to the extent that they do not exceed the amount of loss that otherwise
                                  would have been payable under the Business Income Coverage.
                                  The amount the Insurer will pay for such expenses under this ADDITIONAL COVERAGE is included within the
                                  applicable Business Income Coverage Limit of Insurance.
                             I.   Extended Indemnity Period – Business Income Coverage
                                  1.   If loss of business income is payable under this Business Property Coverage Part, the Insurer will also
                                       pay for the actual loss of business income the Named Insured sustains during the extended indemnity
                                       period.
                                       This extended indemnity period begins on the date the period of restoration ends and it terminates on the
                                       earlier of:
                                       a.   the date the Named Insured's gross sales, including rental income, are restored to the amount that
                                            would have existed if no direct physical loss or damage occurred; or
                                       b. the date on which the specified number of days shown in the Business Property Schedule of
                                          Coverages and Limits have elapsed after the end of the period of restoration.
                                  2.   The amount the Insurer will pay for loss of business income under this ADDITIONAL COVERAGE is
                                       included within the applicable Business Income Coverage or Business Income and Extra Expense
                                       Coverage Limit of Insurance.
                                  3.   This Extended Indemnity Period - Business Income Coverage does not apply to loss of business income
                                       resulting from unfavorable business conditions as a result of the impact of a covered peril in the area of the
                                       affected location or reported unspecified location.
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                                  4.   This Extended Indemnity Period - Business Income Coverage does not apply to any other ADDITIONAL
                                       COVERAGE or the ADDITIONAL COVERAGE BASKET.
                             J.   Forgery or Alteration Coverage
                                  1.   The Insurer will pay for loss sustained by the Named Insured resulting from forgery or alteration of or on
                                       covered instruments that are made or drawn by, or drawn upon:
                                       a.   the Named Insured; or
                                       b. one acting as the Named Insured’s agent,
                                       or that are purported to have been so made or so drawn, by any person, acting alone or together with others.
                                       Mechanically reproduced facsimile signatures are the same as handwritten signatures.
                                  2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                       Forgery or Alteration Coverage Limit of Insurance.
                             K. Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time Element Combined
                                  1.   The Insurer will pay the following provided fungi, wet rot, dry rot or microbes are the direct result of a
                                       covered peril, other than fire or lightning:
                                       a.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes,
                                            including the cost of removing the fungi, wet rot, dry rot or microbes;


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           b. the reasonable cost to tear out and replace any part of the covered building or other property as needed
              to gain access to the fungi, wet rot, dry rot or microbes; and
           c.   the cost of testing performed after removal, repair, replacement or restoration of the damaged property is
                completed, provided there is reason to believe that fungi, wet rot, dry rot or microbes are still present.
      2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           due to the:
           i.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes that
                are the result of a covered peril, other than fire or lightning; or
           ii. prolonged period of restoration due to the remediation of fungi, wet rot, dry rot or microbes from a
               covered loss.
      3.   The most the Insurer will pay under this ADDITIONAL COVERAGE for all loss, damage, cost or expense
           combined in the policy period is the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage
           and Time Element Combined Aggregate Limit of Insurance. This Limit is the most the Insurer will pay, even
           if the fungi, wet rot, dry rot or microbes continue to be present or active or recur in a later policy period.
      4.   The Fungi, Wet Rot, Dry Rot and Microbes Excluded Peril under the EXCLUSIONS section does not apply,
           but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.

   L. Loss Adjustment Expense Coverage
      1.   The Insurer will pay for reasonable and necessary expenses incurred by the Named Insured in preparing
           claim data when required by the Insurer, including the cost of taking inventories, obtaining appraisals and
           preparing other documentation, to determine the extent of covered loss or damage.
      2.   The Insurer will not pay for any fees, costs or expenses incurred, directed or billed by, or payable to
           attorneys, public adjusters, loss adjusters, loss consultants, insurance brokers or agents or their associates or
           subsidiaries, or any costs as described in the APPRAISAL Condition of the First Party Terms and
           Conditions.
      3.   The most the Insurer will pay for all expenses incurred under this ADDITIONAL COVERAGE for any one
           occurrence is the Loss Adjustment Expense Coverage Limit of Insurance.
   M. Money and Securities Coverage
      1.   The Insurer will pay for loss sustained by the Named Insured as a direct result of the actual destruction,
           disappearance or theft of money and securities:
           a.   at a location, reported unspecified location or the premises of a bank or savings institution; or
           b. away from:
                i.   a location;
                ii. a reported unspecified location; or
                iii. the premises of a bank or savings institution,
                while in the care and custody of a messenger or an armored motor vehicle company.

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                                2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                     Money and Securities Coverage Limit of Insurance.
                                3.   The Insurer will not pay any loss or damage sustained by the Named Insured caused by or resulting from:
                                     a.   accounting or arithmetical errors or omissions;
                                     b. dishonest or criminal acts by the Named Insured, executive officers, employees, authorized
                                        representatives or anyone else to whom money or securities have been entrusted, other than an
                                        armored motor vehicle company:
                                          i.   acting alone or in collusion with others; or
                                          ii. whether or not occurring during the hours of employment;
                                     c.   giving or surrendering of the property in any exchange or purchase;
                                     d. voluntary parting with money or securities by the Named Insured or anyone else to whom it has
                                        entrusted such property if induced to do so by any fraudulent scheme, trick, device or false pretense;
                                     e.   transfer or surrender of money or securities on the basis of unauthorized instructions, to a person or
                                          place outside:
                                          i.   a location;
                                          ii. a reported unspecified location; or
                                          iii. the premises of a banking or savings institution; or
                                     f.   transactions involving any automated teller machine unless recorded by a continuous recording
                                          instrument in such machine.
                                4.   The only Excluded Perils under the EXCLUSIONS section that apply to this ADDITIONAL COVERAGE are
                                     Biological or Chemical Material, Governmental Action, Nuclear Hazard and War and Military Action.
                             N. Newly Acquired Locations and Property Coverage
                                1.   Newly Acquired or Constructed Real Property
                                     a.   The Insurer will pay for direct physical loss of or damage to real property, including new buildings while
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                                          being built:
                                          i.   at a newly acquired location; or
                                          ii. at a location or reported unspecified location, if coverage is not currently shown for real property
                                              at that location on the Business Property Schedule of Locations or for reported unspecified
                                              locations,
                                          directly caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or damage under this Newly Acquired or Constructed Real
                                        Property coverage for any one occurrence is the Newly Acquired or Constructed Real Property Limit
                                        of Insurance.
                                2.   Newly Acquired – Other Property
                                     a.   The Insurer will pay for direct physical loss of or damage:
                                          i.   to personal property, fine arts, media and records of accounts receivable at a newly acquired
                                               location; and
                                          ii. to personal property if coverage is not currently shown for personal property at that location on
                                              the Business Property Schedule of Locations or for reported unspecified locations,
                                          directly caused by a covered peril.


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           b. The most the Insurer will pay for all loss or damage under this Newly Acquired Property – Other
              Property coverage for any one occurrence is the Newly Acquired – Other Property Limit of Insurance.
           c.   The coverage provided under this ADDITIONAL COVERAGE for fine arts, records of accounts
                receivable and media is subject to the provisions of the Fine Arts Coverage, Accounts Receivable
                Coverage and Restoration of Media Coverage, respectively, under the ADDITIONAL BASKET
                COVERAGE section except the requirement that such property be at a location or reported unspecified
                location.
      3.   Newly Acquired Location – Time Element
           a.   To the extent time element coverage is applicable on the Business Property Coverage Part, the
                Insurer will pay, as provided, for:
                i.   the actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay in operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of research and
                    development projects; and
                iii. extra expense,
                caused by loss or damage to property at a newly acquired location directly caused by a covered peril.
           b. The most the Insurer will pay for all loss or expense under Newly Acquired Location – Time Element
              coverage for any one occurrence is the Newly Acquired Location – Time Element Limit of Insurance.
      4.   This Newly Acquired Locations and Property Coverage expires on the date when any of the following first
           occurs:
           a.   the Policy expires or is cancelled;
           b. the number of consecutive days shown on the Business Property Schedule of Coverages and Limits
              has passed from the date:
                i.   the premises becomes a newly acquired location;
                ii. the Named Insured acquires such property at a location or reported unspecified location; or
                iii. construction begins on new buildings; or
           c.   the Named Insured reports values to the Insurer.
      5.   The Insurer will charge the Named Insured additional premium for values reported from the date the
           premises becomes a newly acquired location, the Named Insured acquires such property or the
           construction begins on new buildings.
   O. Ordinance or Law Coverage
      If at the time of direct physical loss of or damage to insured property directly caused by a covered peril there is
      an ordinance or law in effect regulating the construction, zoning, repair or land use of such insured property and,
      as a result of such covered loss or damage, such ordinance or law requires code compliance in the repair or
      replacement of such insured property, the following coverages apply:
      1.   Undamaged Insured Property
           The Insurer will pay for the amount equal to the value of the undamaged portion of such insured property
           that must be demolished in accordance with such ordinance or law.
           The amount the Insurer will pay for all loss or damage under this Undamaged Insured Property coverage is
           included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance.



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                                2.   Demolition and Repair Cost
                                     The Insurer will pay for:
                                     a.   the cost of demolishing and removing the undamaged portion of the damaged insured property required
                                          to be demolished because of such ordinance or law, including the cost of clearing the site; and
                                     b. the increased cost of repair or reconstruction of such insured property on the same site or another site
                                        because of such ordinance or law. If the Named Insured elects to do such repair or reconstruction at
                                        another site, such costs are limited to the costs that would have been incurred in order to comply with the
                                        minimum requirements of such ordinance or law regulating the repair or reconstruction of such insured
                                        property on the same site.
                                     The amount the Insurer will pay for all loss or damage under this Demolition and Repair Cost coverage is
                                     included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance
                                     unless a separate Demolition and Repair Cost Limit of Insurance is shown.
                                     If a separate Limit is shown, then the most the Insurer will pay under this Demolition and Repair Cost
                                     coverage at any one location or reported unspecified location for any one occurrence is the Demolition
                                     and Repair Cost Limit of Insurance.
                                3.   Increased Period of Restoration
                                     To the extent Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the period of restoration includes any
                                     increased period of time that results from the enforcement of an ordinance or law that requires the Named
                                     Insured to repair or reconstruct the property or tear down undamaged portions of the property to meet the
                                     minimum requirements of the ordinance or law in force at the time of loss or damage.
                                     The amount the Insurer will pay under this Increased Period of Restoration coverage is included in the
                                     applicable Business Income Coverage or Business Income and Extra Expense Coverage Limit of
                                     Insurance.
                                4.   The Insurer will not pay for any:
                                     a.   additional costs incurred if the damaged insured property is not repaired or reconstructed as soon as
                                          reasonably possible;
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                                     b. increased period of restoration if the Named Insured does not resume operations with reasonable
                                        speed;
                                     c.   costs attributable to any ordinance or law that the Named Insured was required to comply with before
                                          the loss or damage; or
                                     d. increase in costs or increased period of restoration required due to the enforcement of any ordinance or
                                        law that requires the Named Insured or others to test for, monitor, clean up, remove, contain, treat,
                                        detoxify or neutralize, demolish, repair, replace or in any way respond to or assess the effects of
                                        contaminants or pollutants or the presence, growth, proliferation, spread or any activity of fungi, wet
                                        rot, dry rot or microbes, except to the extent the Contaminants or Pollutant Clean Up and Removal
                                        Coverage or the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time
                                        Element Combined of the ADDITIONAL COVERAGES section applies.
                                5.   The Governmental Action Excluded Peril under the EXCLUSIONS section does not apply, but only to the
                                     extent of the coverage provided under this Ordinance or Law Coverage.
                             P. Pair or Set Coverage
                                1.   The Insurer will pay an amount equal to the reduction in value of undamaged personal property that is part
                                     of a pair or set that becomes unmarketable as a pair or set because of direct physical loss of or damage to
                                     the other part of such personal property directly caused by a covered peril.


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      2.   The amount the Insurer will pay for such reduction in value under this ADDITIONAL COVERAGE is included
           within the applicable Personal Property Coverage Limit of Insurance.
   Q. Protection of Property Coverage
      1.   Removal of Insured Property
           a.   If it is necessary to move insured property from the location or reported unspecified location to
                protect it from actual or imminent direct physical loss or damage caused by a covered peril, the Insurer
                will pay for:
                i.   any loss of or damage to that insured property while it is being moved from, or returned to, the
                     location or reported unspecified location, or while temporarily stored at another premises for up to
                     the Number of Days shown in the Business Property Schedule of Coverages and Limits; and
                ii. the reasonable cost to remove the insured property from the location or reported unspecified
                    location and the cost to move the insured property back.

           b. The amount the Insurer will pay for all loss, damage or cost under this Removal of Insured Property
              coverage is included within, and not in addition to, the applicable Real Property Coverage or Personal
              Property Coverage Limit of Insurance.
      2.   Preservation of Insured Property
           a.   If it is necessary to protect insured property at the location or reported unspecified location from
                imminent direct physical loss or damage by a covered peril, the Insurer will pay reasonable and
                necessary costs the Named Insured incurs to protect such insured property from such imminent loss or
                damage while at such location or reported unspecified location.

           b. The most the Insurer will pay for all costs under this Preservation of Insured Property coverage for any
              one occurrence is the Protection of Property Coverage Preservation of Insured Property Limit of
              Insurance, subject to a $1,000 each occurrence deductible. No other deductible applies to this
              Preservation of Insured Property Coverage.

   R. Reported Unspecified Locations

      1.   Real Property Coverage and Personal Property Coverage

           The Insurer will pay for direct physical loss of or damage to insured property at a reported unspecified
           location directly caused by a covered peril.

           The most the Insurer will pay for such loss or damage to real property at any one reported unspecified
           location for any one occurrence is the applicable Reported Unspecified Locations Real Property Limit of
           Insurance.

           The most the Insurer will pay for such loss or damage to personal property at any one reported
           unspecified location for any one occurrence is the applicable Reported Unspecified Location Personal
           Property Limit of Insurance.

      2.   Business Income Coverage

           The Insurer will pay for the actual loss of business income the Named Insured sustains during the period
           of restoration due to the necessary suspension or delay of operations caused by direct physical loss of or
           damage to property at a reported unspecified location directly caused by a covered peril.

           The most the Insurer will pay for such loss of business income at any one reported unspecified location
           for any one occurrence is the Reported Unspecified Locations Business Income Limit of Insurance.
      3.   Extra Expense Coverage

           The Insurer will pay extra expense caused by direct physical loss of or damage to property at a reported
           unspecified location directly caused by a covered peril.

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                                     The most the Insurer will pay for such extra expense at any one reported unspecified location for any one
                                     occurrence is the Reported Unspecified Locations Extra Expense Limit of Insurance.
                             S. Research and Development Coverage

                                1.   Research and Development Project Property

                                     The Insurer will pay for:
                                     a.   direct physical loss of or damage to research and development project property while at a location or
                                          reported unspecified location directly caused by a covered peril; and

                                     b. reasonable and necessary additional expenses the Named Insured incurs to minimize direct physical
                                        loss of or damage to research and development project property, but only to the extent the loss of or
                                        damage to research and development project property is reduced by such additional expenses.

                                     The most the Insurer will pay for research and development project property under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is the Research
                                     and Development Coverage Research and Development Project Property Limit of Insurance.

                                2.   Research and Development Business Income

                                     To the extent that Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the Insurer will also pay, as provided, for the
                                     loss of research and development business income that the Named Insured sustains during the period of
                                     restoration due to the necessary suspension or delay of the Named Insured's research and development
                                     projects in process caused by direct physical loss of or damage to property at a location or reported
                                     unspecified location. The loss or damage must be directly caused by a covered peril.

                                     The amount the Insurer will pay for research and development business income under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is included
                                     within, and not in addition to, the applicable Business Income Coverage or Business Income and Extra
                                     Expense Coverage Limit of Insurance unless a separate Research and Development Business Income
                                     Limit of Insurance is shown.

                                     If a separate Limit is shown, then the most the Insurer will pay under this Research and Development
                                     Business Income coverage at any one location or reported unspecified location for any one occurrence
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                                     is the Research and Development Business Income Limit of Insurance.
                             T. Theft Damage to Non Owned Building Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to buildings at a location or reported unspecified
                                     location in which the Named Insured is a tenant and does not own the building, caused directly by theft,
                                     robbery or burglary, provided the Named Insured is obligated by the written lease in effect at the time of loss
                                     or damage to pay for such loss or damage.
                                2.   The amount the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE is included
                                     within the applicable Personal Property Coverage Limit of Insurance.
                                3.   This ADDITIONAL COVERAGE does not apply to theft that occurs after fire or explosion.
                             U. Trees, Shrubs, Plants or Lawns Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to outdoor trees, shrubs, plants or lawns,
                                     including the expense to remove debris of outdoor trees, shrubs, plants or lawns, at a location or
                                     reported unspecified location directly caused by:
                                     a.   fire;
                                     b. lightning;
                                     c.   explosion;


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           d. riot or civil commotion;
           e.   vehicles; or
           f.   aircraft.
      2.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE at any one
           location or reported unspecified location for any one occurrence is the Trees, Shrubs, Plants or Lawns
           Coverage Each Location Limit. Subject to this Each Location Limit, the most the Insurer will pay for any one
           tree, shrub, plant or lawn is the Trees, Shrubs, Plants or Lawns Coverage Each Item Limit of Insurance.

   V. Unintentional Errors or Omissions Coverage

      1.   The Insurer will pay for direct physical loss of or damage to covered property from a covered peril that is
           not otherwise payable under this Business Property Coverage Part solely as a result of:
           a.   an unintentional error or omission by the Named Insured:
                i.   in the description or address of any insured property; or
                ii. the inadvertent deletion of a location or reported unspecified location under the Policy; or

           b. any unintentional failure by the Named Insured to include any premises owned or occupied by the
              Named Insured at the inception date of the Policy.

      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,

           caused by loss of or damage to property from a covered peril that is not otherwise payable under this
           Business Property Coverage Part solely as a result of:

           i.   an unintentional error or omission by the Named Insured:
                (1) in the description or address of any insured property; or

                (2) the inadvertent deletion of a location or reported unspecified location under the Policy; or

           ii. any unintentional failure by the Named Insured to include any premises owned or occupied by the
               Named Insured at the inception date of the Policy.
      2.   The most the Insurer will pay for all loss, damage, cost or expense combined under this ADDITIONAL
           COVERAGE for any one occurrence is the Unintentional Errors or Omissions Coverage Limit of
           Insurance.

      3.   There is no coverage for any unintentional error or unintentional omission in the reporting of values or the
           coverage requested. It is a condition of this coverage that such unintentional error or omission be reported
           and corrected when discovered. The Named Insured's premium will be adjusted accordingly to reflect the
           date the premises should have been added had no error or omission occurred.




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                             W. Utility Supply Failure Coverage

                             1.   Property Damage

                                       The Insurer will pay for direct physical loss of or damage to covered property at a location or reported
                                       unspecified location where such loss or damage is caused by the necessary suspension, interruption or
                                       reduction of:
                                       a.   communication services, including internet access; or
                                       b. power supply, fuel services or water services,
                                       at that location or reported unspecified location.
                                       Such suspension, interruption or reduction must be the result of a covered peril that causes or results in
                                       direct physical loss of or damage to such utility service provider’s property, including overhead transmission
                                       or distribution lines, used to provide the location or reported unspecified location with such services,
                                       provided such property is not at a location or reported unspecified location.
                                       The most the Insurer will pay for all such loss or damage to covered property under this ADDITIONAL
                                       COVERAGE for any one occurrence is the Utility Supply Failure Coverage – Property Damage Limit of
                                       Insurance.
                                  2.   Time Element
                                       To the extent time element coverage is applicable at that location or reported unspecified location, the
                                       Insurer will pay, as provided, for:
                                       a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                            to the necessary suspension or delay of operations;
                                       b. the actual loss of research and development business income the Named Insured sustains during the
                                          period of restoration due to the necessary suspension or delay of the research and development
                                          projects; and
                                       c.   extra expense,

                                       caused by loss of or damage to a utility service provider's property that is located away from a location or
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                                       reported unspecified location and that property is used to provide internet, communication, power supply,
                                       fuel services or water services to such location or reported unspecified location. The loss or damage must
                                       be directly caused by a covered peril.

                                       The most the Insurer will pay for all such loss or expense under this ADDITIONAL COVERAGE for any one
                                       occurrence is the Utility Supply Failure Coverage – Time Element Limit of Insurance.
                                       If a Deductible or Qualifying Period is shown on the Business Property Schedule of Locations for Utility
                                       Supply Failure Coverage – Time Element Coverage, then the following replaces the Deductible and
                                       Qualifying       Periods      provision     of     the    LIMITS      OF     INSURANCE/INDEMNITY
                                       PERIOD/DEDUCTIBLE/QUALIFYING PERIOD section for the Utility Supply Failure Coverage – Time
                                       Element Coverage:
                                       The Insurer will not pay for any loss of business income or research and development business income
                                       or extra expense incurred for any one occurrence until the amount of loss or expense incurred exceeds the
                                       applicable Deductible or until the length of the suspension or delay of operations exceeds the applicable
                                       Qualifying Period shown in the Business Property Schedule of Locations.
                                       If a Deductible applies, then the Insurer will pay the amount of actual business income or research and
                                       development business income loss or extra expense incurred in excess of the applicable Deductible, up to
                                       the applicable Limits of Insurance.
                                       If a qualifying period applies and the qualifying period is exceeded, then the Insurer will pay for covered
                                       loss and expense, calculated as of the time of such suspension or delay in operations, in excess of the

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            applicable Property Deductible shown in the Business Property Schedule of Locations, unless a more
            specific time element coverage deductible is shown.
       3.   However, to the extent the covered Utility Supply Failure loss, damage or expense is caused by or resulting
            from covered:
            i.   flood, the total amount payable for all loss, damage or expense under this ADDITIONAL COVERAGE is
                 included within, and not in addition to, the applicable Flood Limit of Insurance.
            ii. earthquake, the total amount payable for all loss, damage or expense under this ADDITIONAL
                COVERAGE is included within, and not in addition to, the applicable Earthquake Limit of Insurance.

       4.   This ADDITIONAL COVERAGE does not apply to loss, damage or expense caused by physical loss of or
            damage to satellites or any other orbiting equipment.
       5.   The Utility Services Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
            the coverage provided under this ADDITIONAL COVERAGE.

IV. ADDITIONAL COVERAGE BASKET
   The following coverages are part of the ADDITIONAL COVERAGE BASKET. At the time of loss or damage, the
   Named Insured may elect to apportion the Limit of Insurance to one or any combination of the coverages included in
   this ADDITIONAL COVERAGE BASKET. However, the most the Insurer will pay at any one location or reported
   unscheduled location for any one occurrence for the total of all loss or damage from the coverages included in this
   ADDITIONAL COVERAGE BASKET is the Limit of Insurance as shown in the Business Property Schedule of
   Coverages and Limits. If a different ADDITIONAL COVERAGE BASKET Limit of Insurance is shown at a location
   in the Business Property Schedule of Locations, that Limit replaces, and is not in addition to, the ADDITIONAL
   COVERAGE BASKET Limit of Insurance shown in the Business Property Schedule of Coverages and Limits for
   that location. If the ADDITIONAL COVERAGE BASKET does not apply at a specific location, the ADDITIONAL
   COVERAGE BASKET will show as Not Covered for that location.
   A. Accounts Receivable Coverage
       1.   The Insurer will pay for direct physical loss of or damage to records of accounts receivable at a location or
            reported unspecified location directly caused by a covered peril.
       2.   This Accounts Receivable Coverage does not apply with respect to any claim for loss, damage, cost or
            expense that requires any audit of any records or inventory computation to prove its factual existence.
       3.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
            Perils under the EXCLUSIONS section do not apply with respect to Accounts Receivable Coverage.
   B. Fine Arts Coverage
       1.   The Insurer will pay for direct physical loss of or damage to fine arts at a location or reported unspecified
            location directly caused by a covered peril.
       2.   Subject to the ADDITIONAL COVERAGE BASKET Limit of Insurance, the most the Insurer will pay for any
            one item for any one occurrence under this Fine Arts Coverage is $100,000.
       3.   The Contaminants or Pollutants and the Utility Services Excluded Perils under the EXCLUSIONS section
            do not apply with respect to Fine Arts Coverage.

   C. Fire Department Service Charge Coverage
       The Insurer will pay for the Named Insured’s liability for the following fire department service charges if incurred
       to save or protect covered property at a location or reported unspecified location from a covered peril:
       1.   charges assumed by written contract or written agreement prior to loss; or
       2.   charges required by local ordinance.

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                                No deductible applies to this Fire Department Service Charge Coverage.
                             D. Lessee Leasehold Interest Coverage
                                When the Named Insured's written lease is cancelled by the lessor in accordance with a valid condition of that
                                lease and such cancellation is due to direct physical loss of or damage to property at a location or reported
                                unspecified location directly caused by a covered peril, the Insurer will pay for the loss of:
                                1.   the value of the Named Insured’s leasehold interest in the unamortized portion of payments made by the
                                     Named Insured for the undamaged portion of the tenant’s improvements and betterments;

                                2.   monthly leasehold interest of the bonus payment or prepaid rent;

                                3.   sublease profit;

                                4.   equipment data processing equipment leasehold values; and

                                5. net leasehold interest of tenant's lease interest.

                             E. Lost Key Replacement Coverage
                                The Insurer will pay for the reasonable and necessary cost of:
                                1.   replacing the master key and individual lock keys, including the cost to program the new locks if keys to that
                                     location or reported unspecified location are stolen; or
                                2.   entry lock repair or replacement, including the cost to rekey or reprogram locks, made necessary by theft or
                                     attempted theft at that location or reported unspecified location.
                             F. Non Owned Detached Trailers Coverage
                                The Insurer will pay for direct physical loss of or damage to trailers that the Named Insured does not own at a
                                location or reported unspecified location directly caused by a covered peril, provided that:
                                1.   the trailer is used in the Named Insured’s business;
                                2.   the trailer is in the Named Insured’s care, custody or control; and
                                3.   the Named Insured is obligated by a written contract in effect at the time of loss or damage to pay for such
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                                     loss or damage to that trailer.
                                The Insurer will not pay for any loss or damage that occurs:
                                a.   while the trailer is attached to any motor vehicle or motorized conveyance, whether or not the motor vehicle
                                     or motorized conveyance is in motion;
                                b. during hitching or unhitching operations; or
                                c.   when a trailer becomes accidentally unhitched from a motor vehicle or motorized conveyance.

                             G. Recharge of Fire Protection Equipment Coverage
                                The Insurer will pay expenses the Named Insured incurs to recharge automatic fire protection equipment due to
                                the leakage or discharge of the fire suppressant within the automatic fire protection equipment. The insurance
                                provided under this coverage applies regardless of how the discharge or leakage is caused. However, if the
                                leakage or discharge is caused by or results from covered loss or damage, no deductible applies.

                             H. Restoration of Media Coverage

                                1.   The Insurer will pay for the direct physical loss of or damage to media at a location or reported unspecified
                                     location directly caused by a covered peril.
                                2.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
                                     Perils under the EXCLUSIONS section do not apply with respect to this Restoration of Media Coverage.

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   I.   Reward Payments Coverage
        In the event of direct physical loss of or damage to insured property caused by arson, theft or vandalism, the
        Insurer will reimburse the Named Insured for amounts it pays for information leading to the conviction of any
        persons responsible for such arson, theft or vandalism. The reward payments must be documented.
        However, there is no coverage for a reward payment made to the Named Insured or executive officers.
        No deductible applies to this Reward Payments Coverage.

V. EXCLUSIONS
   The Excluded Perils shown in Paragraphs A. B. C. and D. below apply to all LOCATION COVERAGES, OFF-SITE
   COVERAGES, ADDITIONAL COVERAGES and ADDITIONAL COVERAGE BASKET coverages under the
   coverage part unless otherwise stated.
   A. Excluded Perils Subject to Concurrent Causation Provisions
        With respect to the excluded perils below, the Insurer will not pay for loss of or damage to property directly or
        indirectly caused by or resulting from the following causes of loss or events: Biological or Chemical Materials;
        Earth Movement; Electronic Vandalism; Flood; Fungi, Wet Rot, Dry Rot and Microbes; Governmental
        Action; Nuclear Hazard; Utility Services; and War and Military Action, regardless of: the causes of such
        excluded causes or events; other causes of such loss; any other cause or event, whether or not insured under the
        coverage part, which may have contributed concurrently, or in any sequence, to produce such loss even if such
        other cause or event would otherwise be covered; and whether the event occurred suddenly or gradually,
        involved isolated or widespread damage, arose from natural or external sources or acts or omissions, or occurred
        as a result of any combination of any such causes or events.
        1.   Biological or Chemical Materials
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the actual or
             threatened discharge, dispersal, seepage, migration, release, escape or application of any pathogenic or
             poisonous biological or chemical materials.
        2.   Earth Movement
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from earth movement.
             However, if earth movement results in fire, explosion or theft, the Insurer will pay for that portion of the loss
             which was solely caused by such fire, explosion or theft.
        3.   Electronic Vandalism
             The Insurer will not pay for loss or damage caused by or resulting from electronic vandalism.
        4.   Flood
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from flood. However, if
             flood results in fire, explosion, sprinkler leakage or theft, the Insurer will pay for that portion of the loss which
             was solely caused by such fire, explosion, sprinkler leakage or theft.
        5.   Fungi, Wet Rot, Dry Rot and Microbes
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the presence,
             growth, proliferation, spread or any activity of fungi, wet or dry rot, or microbes. However, this exclusion
             does not apply when fungi, wet or dry rot, or microbes results from fire or lightning.
        6.   Governmental Action

             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from seizure,
             destruction, demolition, expropriation, condemnation, confiscation or nationalization of property by, on behalf
             of or at the direction of any governmental authority.


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                                                                                                                         CNA PARAMOUNT
                                                                                                        Business Property Coverage Part

                                     However, this exclusion does not apply to seizure or acts of destruction ordered by governmental or military
                                     authority and taken at the time of a fire to prevent its spread.
                                7.   Nuclear Hazard
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from nuclear reaction
                                     or radiation, or radioactive contamination, however caused. However, if nuclear reaction or radiation, or
                                     radioactive contamination results in fire, the Insurer will pay for that portion of the loss which was solely
                                     caused by such fire.
                                8.   Utility Services
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the failure
                                     (including lack of sufficient capacity and reduction in supply) of power, fuel, sewage treatment, internet or
                                     other communication service, or any other utility service supplied to a covered premises, if the failure occurs
                                     away from the premises.
                                     However, if such failure results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                     solely caused by such covered peril.
                                     This exclusion does not apply to electronic data processing equipment.
                                9.   War and Military Action
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from:
                                     a.   war (whether declared or undeclared); civil war or warlike action by a military force; or
                                     b. insurrection, rebellion, revolution, military or usurped power by governmental or military personnel.
                             B. Other Excluded Perils
                                1.   Adulteration or Contamination

                                     The Insurer will not pay for loss or damage caused by or resulting from adulteration or contamination to stock
                                     which causes the stock to become diminished in value or use, including but not limited to diminished value or
                                     use due to change in color, finish, flavor, size or texture. This exclusion applies unless the adulteration or
                                     contamination is itself caused by a specified peril, other than the equipment breakdown peril.
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                                     However, if the adulteration or contamination to stock results in a covered peril, the Insurer will pay for that
                                     portion of the loss or damage solely caused by such covered peril.
                                2.   Alteration, Falsification, Concealment or Destruction

                                     The Insurer will not pay for loss or damage caused by or resulting from alteration, falsification, concealment
                                     or destruction of records of accounts receivable or media done to conceal the wrongful giving, taking or
                                     withholding of money, securities or other property.
                                3.   Bookkeeping, Accounting or Billing Errors or Omissions
                                     The Insurer will not pay for loss of or damage to media or records of accounts receivable caused by or
                                     resulting from bookkeeping, accounting or billing errors or omissions.
                                4.   Collective Activities
                                     The Insurer will not pay for loss of business income or research and development business income
                                     caused by or resulting from delay in rebuilding, repairing or replacing property or resuming operations due to
                                     strikes, boycotts, picketing, lockouts or other such collective activities.
                                5.   Contaminants or Pollutants
                                     The Insurer will not pay for loss or damage caused by or resulting from discharge, dispersal, seepage,
                                     migration, release or escape of contaminants or pollutants. This exclusion applies unless the discharge,



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                                                                                               CNA PARAMOUNT
                                                                               Business Property Coverage Part

           dispersal, seepage, migration, release or escape of contaminants or pollutants is itself caused by a
           specified peril.
           However, if the discharge, dispersal, seepage, migration, release or escape of contaminants or pollutants
           results in a specified peril, the Insurer will pay for that portion of the loss or damage solely caused by such
           specified peril.
           This exclusion does not apply:
           a.   to damage to glass caused by chemicals applied to the glass; or
           b. to electronic data processing equipment.
      6.   Delay, Loss of Use or Loss of Market
           The Insurer will not pay for loss or damage caused by or resulting from delay, loss of use or loss of market.
      7.   Dishonest or Criminal Acts
           The Insurer will not pay for loss or damage caused by or resulting from any dishonest, fraudulent or criminal
           acts committed alone or in collusion with others by the Named Insured, executive officers, the Named
           Insured's employees (including leased or temporary employees) or authorized representatives or anyone to
           whom the Named Insured entrusts the property for any purpose, regardless of whether or not such activity
           takes place during hours of operation.
           This exclusion does not apply to:
           a.   acts of destruction by an employee (including leased or temporary employee) of the Named Insured; or
           b. acts committed by a carrier or other bailee for hire.
      8.   Errors, Defects or Failures
           The Insurer will not pay for any:
           a.   loss or damage, including the costs of correcting or making good, caused by or resulting from:
                i)   an act or decision or error or omission in or faulty or defective:
                     (1) design, specification, workmanship, repair, construction, renovation, remodeling, grading or
                         compaction of;
                     (2) processing of, manufacturing of or materials used in;
                     (3) planning, zoning, development surveying or siting; or
                     (4) materials used in repair, construction, renovation or remodeling of; or
                ii) insufficient maintenance or servicing, or the failure to maintain or service,
                any part, or all, of the property on or off a premises.
           b. loss or damage caused by or resulting from the misalignment, miscalibration, operation of any safety
              device or going off-line or any condition which can be corrected by resetting, tightening, adjusting,
              cleaning or performing maintenance on property.
           However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that loss or
           damage solely caused by such covered peril.
      9.   Finished Stock or Merchandise
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from:
           a.   loss or damage to finished stock or to merchandise which has been sold but not delivered; or
           b. the time required to reproduce finished stock or replace merchandise.

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                                                                                                                       CNA PARAMOUNT
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                                10. Inherent Vice/Latent Defect
                                    The Insurer will not pay for loss or damage caused by or resulting from:
                                    a.   wear and tear;
                                    b. rust or other corrosion or decay;
                                    c.   gradual deterioration, hidden or latent defect or any quality in property that causes it to damage or
                                         destroy itself;
                                    d. nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents
                                       or other animals;
                                    f.   smog;
                                    g. marring or scratching; or
                                    h. inherent vice.
                                    This exclusion applies unless one of these Excluded Perils is itself caused by a specified peril.
                                    However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that portion of the
                                    loss or damage solely caused by such covered peril.
                                11. Mysterious Disappearance
                                    The Insurer will not pay for loss or damage caused by or resulting from disappearance of property or shortage
                                    of property disclosed on taking inventory, where there is no physical evidence to show what happened to the
                                    property.
                                    However, if such disappearance or shortage results in a covered peril, the Insurer will pay for that portion of
                                    the loss or damage solely caused by such covered peril.
                                    This exclusion does not apply to property in the custody of carriers or other bailees for hire.
                                12. Precipitation
                                    The Insurer will not pay for loss or damage caused by or resulting from hail, ice, rain, sleet or snow to
                                    personal property in the open, other than property in the custody of carriers for hire.
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                                13. Pressure or Electrical Testing
                                    The Insurer will not pay for loss of or damage to machinery or equipment while undergoing electrical or
                                    pressure testing.
                                    However, if such testing results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                    solely caused by such covered peril.
                                14. Programming Errors or Defects
                                    The Insurer will not pay for loss of or damage to electronic data processing equipment, media or records
                                    of accounts receivable caused by or resulting from:
                                    a.   programming errors or faulty instructions to a machine; or
                                    b. other errors or omissions in processing or copying.
                                    However, if such errors, omissions or faulty instructions result in a covered peril, the Insurer will pay for that
                                    portion of the loss or damage solely caused by such covered peril.
                                15. Repair, Restoration or Retouching
                                    The Insurer will not pay for loss of or damage to fine arts caused by or resulting from any repairing,
                                    restoration or retouching process.


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                                                                                             CNA PARAMOUNT
                                                                             Business Property Coverage Part

      16. Settling and Cracking
           The Insurer will not pay for loss or damage caused by or resulting from naturally occurring or man-made
           bulging, cracking, expansion, shrinkage or settling of land, paved or concrete surfaces, foundations, pools or
           buildings, including soil or fill adjacent to such property. This exclusion applies unless the bulging, cracking,
           expansion, shrinkage or settling is itself caused by a specified peril.
           However, if such bulging, cracking, expansion, shrinkage or settling results in a covered peril, the Insurer will
           pay for that portion of the loss or damage solely caused by such covered peril.
      17. Suspended Equipment
           The Insurer will not pay for loss or damage caused by or resulting from an equipment breakdown peril to
           suspended equipment.
           However, if such Excluded Peril results in a covered peril, the Insurer will pay for that portion of the loss or
           damage solely caused by such covered peril.
      18. Suspension, Lapse or Cancellation
           The Insurer will not pay for any:
           a.   loss of business income or extra expense caused by or resulting from suspension, lapse or
                cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay in
                     operations;
                ii. the loss of business income is sustained during the period of restoration or extended indemnity
                    period; and
                iii. the extra expense is incurred during the period of restoration.
           b. loss of research and development business income caused by or resulting from suspension, lapse or
              cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay of the
                     Named Insured's research and development projects in process; and
                ii. the loss of research and development business income is sustained during the period of
                    restoration.
      19. Temperature or Humidity Conditions
           The Insurer will not pay for loss of or damage to personal property caused by or resulting from the loss of or
           change in temperature, humidity or atmosphere, whether inside or outside of a building and whether or not
           artificially maintained or generated. This exclusion applies unless such change in temperature, humidity or
           atmosphere is itself caused by a specified peril, other than an equipment breakdown peril.
           However, if such loss of or change in temperature, humidity or atmosphere results in a covered peril, the
           Insurer will pay for that portion of the loss or damage solely caused by such covered peril.
           This exclusion does not apply to electronic data processing hardware.
   C. Limitations
      1.   Trees, Shrubs, Plants or Lawns
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from loss of or damage to outdoor trees, shrubs, plants or lawns unless such loss or
           damage is directly caused by fire, lightning, explosion, riot or civil commotion, vehicles or aircraft.




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                                                                                                                          CNA PARAMOUNT
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                                2.   Vegetated Roofs
                                     The Insurer will not pay for loss of or damage to trees, shrubs, plants, grass, lawns or other landscaping
                                     materials which are part of a vegetated roof caused by or resulting from:
                                     a.   dampness or dryness of atmosphere or soil supporting the vegetation;
                                     b. changes in or extremes of temperature;
                                     c.   disease; or
                                     d. frost, hail, rain, snow, ice or sleet.
                             D. Excluded Fees, Costs and Expenses
                                1.   Excavation, Grading or Filling Costs
                                     The Insurer will not pay fees, costs or expenses for:
                                     a.   excavations, grading, backfilling or filling, unless such cost is necessarily incurred to investigate, repair or
                                          replace insured property below the surface of the ground; or
                                     b. filling sinkholes.
                                2.   Volcanic Eruption
                                     The Insurer will not pay fees, costs or expenses to remove ash, dust or particulate matter, following a
                                     volcanic eruption that does not cause loss of or damage to covered property.

                          VI. LIMITS OF INSURANCE / INDEMNITY PERIOD / DEDUCTIBLE / QUALIFYING PERIOD
                             A. Limits of Insurance
                                The Limits of Insurance applicable to each coverage agreement are shown in the Business Property Schedule
                                of Coverages and Limits or the Business Property Schedule of Locations.
                             B. Special Limits
                                The Limit of Insurance applicable for any one occurrence for loss or damage due to theft is $10,000 for:
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                                1.   furs, fur garments and garments trimmed with fur;
                                2.   jewelry, watches, watch movements, jewels, pearls, precious and semi-precious stones; and
                                3.   bullion, gold, silver, platinum and other precious alloys or metals.
                                This Limit is included within, and not in addition to, the applicable Personal Property Coverage Limit of
                                Insurance.
                             C. Maximum Period of Indemnity
                                If the Business Property Schedule of Locations displays a Maximum Period of Indemnity, the most the
                                Insurer will pay for loss of business income is the lesser of:
                                1.   the amount of covered business income during the 120 consecutive days immediately following the
                                     beginning of the period of restoration; or
                                2.   the applicable Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                     Locations.
                             D. Monthly Limit of Indemnity
                                If the Business Property Schedule of Locations displays a Monthly Limit of Indemnity fraction, the most the
                                Insurer will pay for loss of business income in any one period of 30 consecutive days after the beginning of the
                                period of restoration is:


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                                                                                          CNA PARAMOUNT
                                                                             Business Property Coverage Part

      1.   the Limit of Insurance, multiplied by
      2.   the Monthly Limit of Indemnity fraction shown in the Business Property Schedule of Locations for Monthly
           Limit of Indemnity.
   E. Inflation Guard
      If the Business Property Schedule of Locations displays an inflation guard percentage, the Limit of Insurance
      for insured property will automatically increase as follows:
      1.   the applicable Limit of Insurance; multiplied by
      2.   the Inflation Guard percentage shown on the Business Property Schedule of Locations; multiplied by
      3.   the number of consecutive days since the beginning of the annual policy period, or the effective date of the
           most recent Policy change amending the Limit of Insurance, divided by 365.
   F. Deductibles and Qualifying Periods
      1.   The Insurer will not pay any amounts due under the terms and conditions of the coverage part until the
           amount of covered loss, damage, cost or expense for any one occurrence exceeds the Property Deductible
           shown in the Business Property Schedule of Locations, unless specific coverage deductibles are shown in
           the Business Property Schedule of Locations or an endorsement. The Insurer will then pay the amount of
           loss, damage, cost or expense in excess of the Deductible, up to the applicable Limits of Insurance.
      2.   If a Qualifying Period is shown in the Business Property Schedule of Locations, then the qualifying
           period will apply to all business income and research and development business income coverages. The
           Insurer will not pay for any loss of business income or research and development business income for
           any one occurrence until the suspension or delay of operations exceeds the qualifying period. If the
           qualifying period is exceeded, then the Insurer will pay the amount of covered business income or
           research and development business income loss, calculated as of the time and date of such loss, in
           excess of the applicable Property Deductible shown in the Business Property Schedule of Locations,
           unless a more specific time element coverage deductible is shown. If Business Income and Extra
           Expense Coverage applies, then extra expense is subject to the deductible or qualifying period applicable
           to business income.
      3.   A covered loss occurring at unspecified locations, reported unspecified locations or other premises not
           shown on the Business Property Schedule of Locations will be subject to the Deductibles and Qualifying
           Periods applicable for the first location shown in the Business Property Schedule of Locations, unless
           specific coverage deductibles are shown in the Business Property Schedule of Locations or an
           endorsement.
      4.   Unless otherwise stated in the coverage part or endorsement, if more than one monetary deductible applies,
           the Insurer will apply each deductible separately, but the total of all deductibles applied for any one
           occurrence will not exceed the highest applicable monetary deductible for loss or damage to covered
           property plus the highest applicable monetary deductible for loss under time element coverage.
      5.   Loss or damage caused by earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or
           hail may be subject to separate deductible amounts. The Business Property Schedule of Locations, or
           applicable endorsement, will identify the locations or reported unspecified locations subject to such
           deductibles and the applicable deductible amount. That Deductible will apply to all coverages that respond to
           that covered loss, including covered time element coverage loss. Qualifying periods do not apply to
           covered loss or expense from earthquake, earthquake sprinkler leakage, flood, named storm or windstorm
           or hail when there is a separate monetary deductible amount applicable.
           For purposes of calculating the deductible for those perils, the Insurer will use the applicable Limit of
           Insurance shown in the Business Property Schedule of Coverages and Limits, the Business Property
           Schedule of Location or any endorsement attached to this Policy for that specific coverage, or the actual



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                                                                                                                   CNA PARAMOUNT
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                                    amount of loss, damage, cost or expense for that coverage, whichever is less, towards satisfying that
                                    Deductible.
                                    With respect to earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or hail
                                    deductibles, if there are two or more deductibles that are applicable from other covered perils in the same
                                    occurrence, the Insurer will apply each deductible separately. When those Deductibles are shown in the
                                    Business Property Schedule of Coverages and Limits, the Business Property Schedule of Locations or
                                    any endorsement:
                                    a.   at that specific location or reported unspecified location, the total of all monetary deductible amounts
                                         applied for any one occurrence will not exceed the single highest applicable Deductible shown for that
                                         location or reported unspecified location. If more than one location or reported unspecified location
                                         is involved in the same occurrence, the Insurer will apply those Deductibles for each location and
                                         reported unspecified location separately, subject to the single highest applicable Deductible for each
                                         location and each reported unspecified location.
                                    b. on a per occurrence basis for multiple locations or reported unspecified locations, the total of all
                                       monetary deductible amounts applied for any one occurrence will not exceed the single highest
                                       applicable Deductible.
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                                                                                                                          CNA PARAMOUNT
                                                                             Equipment Breakdown Exclusion Endorsement

                          It is understood and agreed as follows:

                          I.      The following are added to Other Excluded Perils, in the EXCLUSIONS section of the Business Property
                                  Coverage Part:

                                  •        Electrical Injury

                                           The Insurer will not pay for loss or damage caused by or resulting from artificially generated electrical
                                           current, including electrical arcing, that damages or disturbs electrical devices, wiring or equipment. But,
                                           if such artificially generated electrical current or electrical arcing results in a covered peril, the Insurer
                                           will pay for that portion of the loss or damage solely caused by such covered peril.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                  •        Explosion or Rupture

                                           The Insurer will not pay for:

                                           a.       Loss or damage caused by or resulting from an explosion, rupture, or bursting of steam boilers,
                                                    steam pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming
                                                    a part thereof, when owned, operated, or controlled by the Named Insured; except for explosion
                                                    of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
                                                    within the flues or passages through which the gases of combustion pass.

                                                    But if a result of one of these excluded perils is fire or a combustion explosion, the Insurer will
                                                    pay that portion of the loss or damage solely caused by that fire or combustion explosion.


                                           b.       Loss or damage caused by or resulting from any condition or event inside steam boilers, steam
                                                    pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming a part
                                                    thereof, when owned, operated, or controlled by the Named Insured; except for explosion of
                                                    accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
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                                                    within the flues or passages through which the gases of combustion pass.


                                           c.       Loss or damage caused by or resulting from any condition or event, other than an explosion,
                                                    inside hot water boilers, other water heating equipment other than steam engines, or pressure
                                                    vessels when owned, operated, or controlled by the Named Insured.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                  •        Mechanical Breakdown

                                           The Insurer will not pay for loss or damage caused by or resulting from mechanical or machinery
                                           breakdown, including rupture or bursting caused by or resulting from centrifugal force, of property owned,
                                           operated, or controlled by the Named Insured. But if a result of the mechanical or machinery breakdown
                                           is a covered peril, the Insurer will pay for that portion of the loss or damage solely caused by such
                                           covered peril.



                          CNA81067XX (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       2
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000513
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                                                                                               CNA PARAMOUNT
                                                   Equipment Breakdown Exclusion Endorsement

                  This exclusion does not apply to electronic data processing equipment, media or records of
                  accounts receivable.

II.       The following change applies to the ADDITIONAL COVERAGES section of the Business Property Coverage
          Part:

          The Equipment Breakdown – Spoilage Coverage is deleted.

III.      Paragraph I. of the specified peril definition in the First Party Glossary of Defined Terms is deleted.



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA81067XX (10-15)                                                                           Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:       2
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000514
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POLICY NUMBER
    Case:                  INSURED
          1:23-cv-04098 Document #: NAME
                                    142-7AND  ADDRESS
                                          Filed: 01/28/25 Page 314 of 1498 PageID #:16574
C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                         INLAND MARINE LOCATION SUMMARY OF COVERAGES




LOCATION      1   BUILDING    1

12A MAPLE AVE
PINE BROOK                        NJ   07058

Building Description:

LOCATION/BUILDING COVERAGES

Valuable Papers
  - Valuable Papers Schedule - Non-Reporting - G55231
  - Valuable Papers and Records Coverage Form - CM0067




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POLICY NUMBER
    Case:                  INSURED
          1:23-cv-04098 Document #: NAME
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C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                             INLAND MARINE LOSS PAYEE SCHEDULE

All loss payees as their interests may appear in the Covered Property.

The following provisions apply in accordance with the insurable interest of the loss
payee: Loss Payable, Lender's Loss Payable, or Contract of Sale.

Description of Property: Any Covered Property in which a loss payee, creditor or lender
holds an interest, including any person or organization you have entered a contract with
for the sale of the Covered Propery.




                                                             Countersignature




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                                          INSURED                             Page   3 of   3
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                                                                                                                   COMMERCIAL INLAND MARINE
                                                                                                                                CM 00 01 09 04

                                          COMMERCIAL INLAND MARINE CONDITIONS
                          The following conditions apply in addition to the                     6.   As often as may be reasonably required, permit
                          Common Policy Conditions and applicable Additional                         us to inspect the property proving the loss or
                          Conditions in Commercial Inland Marine Coverage                            damage and examine your books and records.
                          Forms:                                                                     Also permit us to take samples of damaged and
                          LOSS CONDITIONS                                                            undamaged property for inspection, testing and
                          A. Abandonment                                                             analysis, and permit us to make copies from
                                                                                                     your books and records.
                             There can be no abandonment of any property to us.
                                                                                                7.   We may examine any insured under oath, while
                          B. Appraisal                                                               not in the presence of any other insured and at
                              If we and you disagree on the value of the property                    such times as may be reasonably required,
                              or the amount of loss, either may make written                         about any matter relating to this insurance or the
                              demand for an appraisal of the loss. In this event,                    claim, including an insured's books and records.
                              each party will select a competent and impartial                       In the event of an examination, an insured's
                              appraiser. The two appraisers will select an umpire.                   answers must be signed.
                              If they cannot agree, either may request that                     8.   Send us a signed, sworn proof of loss
                              selection be made by a judge of a court having                         containing the information we request to settle
                              jurisdiction. The appraisers will state separately the                 the claim. You must do this within 60 days after
                              value of the property and amount of loss. If they fail                 our request. We will supply you with the
                              to agree, they will submit their differences to the                    necessary forms.
                              umpire. A decision agreed to by any two will be
                              binding. Each party will:                                         9.   Immediately send us copies of any demands,
                                                                                                     notices, summonses or legal papers received in
                              1. Pay its chosen appraiser; and                                       connection with the claim or suit.
                              2.   Bear the other expenses of the appraisal and                10. Cooperate with us in the investigation or
                                   umpire equally.                                                 settlement of the claim.
                             If there is an appraisal, we will still retain our right to    D. Insurance Under Two Or More Coverages
                             deny the claim.
                                                                                               If two or more of this policy's coverages apply to the
                          C. Duties In The Event Of Loss                                       same loss or damage, we will not pay more than the
                              You must see that the following are done in the                  actual amount of the loss or damage.
                              event of loss or damage to Covered Property:                  E. Loss Payment
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                              1. Notify the police if a law may have been broken.               1.   We will give notice of our intentions within 30
                              2.   Give us prompt notice of the loss or damage.                      days after we receive the sworn proof of loss.
                                   Include a description of the property involved.              2.   We will not pay you more than your financial
                              3.   As soon as possible, give us a description of                     interest in the Covered Property.
                                   how, when and where the loss or damage                       3.   We may adjust losses with the owners of lost or
                                   occurred.                                                         damaged property if other than you. If we pay
                              4.   Take all reasonable steps to protect the                          the owners, such payments will satisfy your
                                   Covered Property from further damage, and                         claim against us for the owners' property. We
                                   keep a record of your expenses necessary to                       will not pay the owners more than their financial
                                   protect the Covered Property, for consideration                   interest in the Covered Property.
                                   in the settlement of the claim. This will not                4.   We may elect to defend you against suits
                                   increase the Limit of Insurance. However, we                      arising from claims of owners of property. We
                                   will not pay for any subsequent loss or damage                    will do this at our expense.
                                   resulting from a cause of loss that is not a
                                   Covered Cause of Loss. Also, if feasible, set the            5.   We will pay for covered loss or damage within
                                   damaged property aside and in the best                            30 days after we receive the sworn proof of loss
                                   possible order for examination.                                   if you have complied with all the terms of this
                                                                                                     Coverage Part and:
                              5.   You will not, except at your own cost, voluntarily
                                   make a payment, assume any obligation, or
                                   incur any expense without our consent.



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           a.   We have reached agreement with you on               necessary to secure our rights and must do nothing
                the amount of the loss; or                          after loss to impair them. But you may waive your
           b. An appraisal award has been made.                     rights against another party in writing:
      6.
      We will not be liable for any part of a loss that             1. Prior to a loss to your Covered Property.
      has been paid or made good by others.                         2.   After a loss to your Covered Property only if, at
F. Other Insurance                                                       time of loss, that party is one of the following:
      1.   You may have other insurance subject to the                   a. Someone insured by this insurance; or
           same plan, terms, conditions and provisions as                b. A business firm:
           the insurance under this Coverage Part. If you                   (1) Owned or controlled by you; or
           do, we will pay our share of the covered loss or
           damage. Our share is the proportion that the                      (2) That owns or controls you.
           applicable Limit of Insurance under this                This will not restrict your insurance.
           Coverage Part bears to the Limits of Insurance
                                                                GENERAL CONDITIONS
           of all insurance covering on the same basis.
                                                                A. Concealment, Misrepresentation Or Fraud
      2.
       If there is other insurance covering the same
       loss or damage, other than that described in 1.              This Coverage Part is void in any case of fraud,
       above, we will pay only for the amount of                    intentional concealment or misrepresentation of a
       covered loss or damage in excess of the                      material fact, by you or any other insured, at any
       amount due from that other insurance, whether                time, concerning:
       you can collect on it or not. But we will not pay            1. This Coverage Part;
       more than the applicable Limit of Insurance.
                                                                    2.   The Covered Property;
G. Pair, Sets Or Parts
                                                                    3.   Your interest in the Covered Property; or
      1.   Pair Or Set
                                                                    4.A claim under this Coverage Part.
           In case of loss or damage to any part of a pair
           or set we may:                                       B. Control Of Property
           a. Repair or replace any part to restore the             Any act or neglect of any person other than you
               pair or set to its value before the loss or          beyond your direction or control will not affect this
               damage; or                                           insurance.
           b. Pay the difference between the value of the          The breach of any condition of this Coverage Part at
               pair or set before and after the loss or            any one or more locations will not affect coverage at
               damage.                                             any location where, at the time of loss or damage,
                                                                   the breach of condition does not exist.
      2.   Parts
                                                                C. Legal Action Against Us
      In case of loss or damage to any part of
      Covered Property consisting of several parts                 No one may bring a legal action against us under
      when complete, we will only pay for the value of             this Coverage Part unless:
      the lost or damaged part.                                    1. There has been full compliance with all the
H. Recovered Property                                                   terms of this Coverage Part; and
      If either you or we recover any property after loss          2. The action is brought within 2 years after you
      settlement, that party must give the other prompt                 first have knowledge of the direct loss or
      notice. At your option, the property will be returned             damage.
      to you. You must then return to us the amount we          D. No Benefit To Bailee
      paid to you for the property. We will pay recovery           No person or organization, other than you, having
      expenses and the expenses to repair the recovered            custody of Covered Property will benefit from this
      property, subject to the Limit of Insurance.                 insurance.
I.    Reinstatement Of Limit After Loss                         E. Policy Period, Coverage Territory
      The Limit of Insurance will not be reduced by the             We cover loss or damage commencing:
      payment of any claim, except for total loss or
      damage of a scheduled item, in which event we will            1. During the policy period shown                in   the
      refund the unearned premium on that item.                        Declarations; and
J.    Transfer Of Rights Of Recovery Against Others                 2. Within the coverage territory.
      To Us                                                     F. Valuation
      If any person or organization to or for whom we               The value of property will be the least of the
      make payment under this Coverage Part has rights              following amounts:
      to recover damages from another, those rights are             1. The actual cash value of that property;
      transferred to us to the extent of our payment. That
      person or organization must do everything
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                             2.   The cost of reasonably restoring that property to         3.   The cost of replacing that property with
                                  its condition immediately before loss or damage;               substantially identical property.
                                  or                                                        In the event of loss or damage, the value of property
                                                                                            will be determined as of the time of loss or damage.
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                                                                                                                 COMMERCIAL INLAND MARINE
                                                                                                                              CM 00 67 03 10

                              VALUABLE PAPERS AND RECORDS COVERAGE FORM
                          Various provisions in this policy restrict coverage. Read             b. We will pay for direct physical loss or damage
                          the entire policy carefully to determine rights, duties and               to Covered Property, caused by abrupt
                          what is and is not covered.                                               collapse of a building or any part of a building
                          Throughout this policy, the words "you" and "your" refer                  that contains Covered Property insured under
                          to the Named Insured shown in the Declarations. The                       this coverage form, if such collapse is caused
                          words "we," "us" and "our" refer to the Company                           by one or more of the following:
                          providing this insurance.                                                (1) Building decay that is hidden from view,
                          Other words and phrases that appear in quotation marks                        unless the presence of such decay is
                          have special meaning. Refer to Section F – Definitions.                       known to an insured prior to collapse;
                          A. Coverage                                                              (2) Insect or vermin damage that is hidden
                                                                                                        from view, unless the presence of such
                             We will pay for direct physical loss of or damage to                       damage is known to an insured prior to
                             Covered Property from any of the Covered Causes of                         collapse;
                             Loss.
                                                                                                   (3) Use of defective material or methods in
                             1. Covered Property, as used in this coverage form,                        construction, remodeling or renovation if
                                means "valuable papers and records" that are                            the abrupt collapse occurs during the
                                your property or property of others in your care,                       course of the construction, remodeling or
                                custody or control.                                                     renovation.
                             2. Property Not Covered                                               (4) Use of defective material or methods in
                                Covered Property does not include:                                      construction, remodeling or renovation if
                                                                                                        the abrupt collapse occurs after the
                                a. Property not specifically declared and
                                                                                                        construction, remodeling or renovation is
                                   described in the Declarations if such property
                                                                                                        complete, but only if the collapse is
                                   cannot be replaced with other property of like
                                                                                                        caused in part by:
                                   kind and quality;
                                                                                                       (a) A cause of loss listed in Paragraph (1)
                                b. Property held as samples or for delivery after
                                                                                                            or (2);
                                   sale;
                                                                                                      (b) One or more of the following causes of
                                c. Property in storage away from the "premises"
                                                                                                          loss: Fire; lightning; windstorm; hail;
                                   shown in the Declarations; or
                                                                                                          explosion; smoke; aircraft; vehicles;
                                d. Contraband, or property in the course of                               riot; civil commotion; vandalism;
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                                   illegal transportation or trade.                                       leakage from fire extinguishing
                             3. Covered Causes Of Loss                                                    equipment; sinkhole collapse; volcanic
                                                                                                          action; breakage of building glass;
                                Covered Causes of Loss means Direct Physical                              falling objects; weight of snow, ice or
                                Loss Or Damage to Covered Property except                                 sleet; water damage; earthquake; all
                                those causes of loss listed in the Exclusions.                            only as insured against in this
                             4. Additional Coverage – Collapse                                            coverage form;
                                 The coverage provided under this Additional                          (c) Weight of people or personal property;
                                 Coverage – Collapse applies only to an abrupt                            or
                                 collapse as described and limited in Paragraphs                      (d) Weight of rain that collects on a roof.
                                 a. through c.
                                                                                                c. This Additional Coverage – Collapse will not
                                 a. For the purpose of this Additional Coverage –                  increase the Limits of Insurance provided in
                                    Collapse, abrupt collapse means an abrupt                      this coverage form.
                                    falling down or caving in of a building or any
                                    part of a building with the result that the
                                    building or part of the building cannot be
                                    occupied for its intended purpose.




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   5. Coverage Extensions                                               (2) Warlike action by a military force, including
      a. Removal                                                             action in hindering or defending against an
                                                                             actual or expected attack, by any
          If you give us written notice within 10 days of                    government, sovereign or other authority
          removal of your "valuable papers and                               using military personnel or other agents;
          records" because of imminent danger of loss                        or
          or damage, we will pay for loss or damage
          while it is:                                                  (3) Insurrection, rebellion, revolution, usurped
                                                                             power, or action taken by governmental
         (1) At a safe place away from your                                  authority in hindering or defending against
              "premises"; or                                                 any of these.
         (2) Being taken to and returned from that                   Exclusions B.1.a. through B.1.c. apply whether or
              place.                                                 not the loss event results in widespread damage
         This Coverage Extension is included within                  or affects a substantial area.
         the Limits of Insurance applicable to the                2. We will not pay for loss or damage caused by or
         "premises" from which the Covered Property                  resulting from any of the following:
         is removed.
                                                                     a. Delay, loss of use, loss of market or any other
      b. Away From Your Premises                                        consequential loss.
          We will pay up to $5,000 for loss or damage                b. Dishonest or criminal act committed by:
          to Covered Property while it is away from your
          "premises."                                                   (1) You, any of your partners, employees,
                                                                            directors,      trustees,  or   authorized
          But if a higher Limit of Insurance is specified                   representatives;
          in the Declarations, the higher limit will apply.
                                                                        (2) A manager or a member if you are a
         The limit for this Coverage Extension is                           limited liability company;
         additional insurance.
                                                                        (3) Anyone else with an interest in the
B. Exclusions                                                               property, or their employees or authorized
   1. We will not pay for loss or damage caused                             representatives; or
      directly or indirectly by any of the following. Such              (4) Anyone else to whom the property is
      loss or damage is excluded regardless of any                          entrusted for any purpose.
      other cause or event that contributes concurrently
      or in any sequence to the loss.                                    This exclusion applies whether or not such
                                                                         persons are acting alone or in collusion with
       a. Governmental Action                                            other persons or such acts occur during the
          Seizure or destruction of property by order of                 hours of employment.
          governmental authority.                                        This exclusion does not apply to Covered
         But we will pay for loss or damage caused by                    Property that is entrusted to others who are
         or resulting from acts of destruction ordered                   carriers for hire or to acts of destruction by
         by governmental authority and taken at the                      your employees. But theft by employees is not
         time of a fire to prevent its spread if the fire                covered.
         would be covered under this coverage form.                   c. Errors or omissions in processing or copying.
      b. Nuclear Hazard                                                  But if errors or omissions in processing or
          Nuclear reaction or radiation, or radioactive                  copying result in fire or explosion, we will pay
          contamination, however caused.                                 for the direct loss or damage caused by that
                                                                         fire or explosion if the fire or explosion would
         But if nuclear reaction or radiation, or
                                                                         be covered under this coverage form.
         radioactive contamination results in fire, we
         will pay for the direct loss or damage caused                d. Electrical or magnetic injury, disturbance or
         by that fire if the fire would be covered under                 erasure of electronic recordings.
         this coverage form.                                             But we will pay for direct loss or damage
      c. War And Military Action                                         caused by lightning.
         (1) War, including undeclared or civil war;                  e. Voluntary parting with any property by you or
                                                                         anyone entrusted with the property if induced
                                                                         to do so by any fraudulent scheme, trick,
                                                                         device or false pretense.




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                                f. Unauthorized instructions to transfer property                  This Exclusion, d., does not apply to the
                                   to any person or to any place.                                  extent that coverage is provided under the
                                g. Neglect of an insured to use all reasonable                     Additional Coverage – Collapse or to collapse
                                   means to save and preserve property from                        caused by one or more of the following: Fire;
                                   further damage at and after the time of loss.                   lightning; windstorm; hail; explosion; smoke;
                                                                                                   aircraft; vehicles; riot; civil commotion;
                             3. We will not pay for loss or damage caused by or                    vandalism; leakage from fire extinguishing
                                resulting from any of the following. But if loss or                equipment; sinkhole collapse; volcanic action;
                                damage by a Covered Cause of Loss results, we                      breakage of building glass; falling objects;
                                will pay for the loss or damage caused by that                     weight of snow, ice or sleet; water damage;
                                Covered Cause of Loss.                                             earthquake; weight of people or personal
                                a. Weather conditions. But this exclusion only                     property; weight of rain that collects on a roof.
                                    applies if weather conditions contribute in any           e. Wear and tear, any quality in the property that
                                    way with a cause or event excluded in                         causes it to damage or destroy itself, gradual
                                    Paragraph 1. above to produce the loss or                     deterioration; insects, vermin or rodents.
                                    damage.
                                                                                        C. Limits Of Insurance
                                b. Acts or decisions, including the failure to act
                                    or decide, of any person, group, organization          The most we will pay for loss or damage in any one
                                    or governmental body.                                  occurrence is the applicable Limit of Insurance
                                                                                           shown in the Declarations.
                                c. Faulty, inadequate or defective:
                                                                                        D. Deductible
                                   (1) Planning, zoning, development, surveying,
                                       siting;                                             We will not pay for loss or damage in any one
                                                                                           occurrence until the amount of the adjusted loss or
                                   (2) Design, specifications, workmanship,                damage before applying the applicable Limits of
                                       repair,     construction,     renovation,           Insurance exceeds the Deductible shown in the
                                       remodeling, grading, compaction;                    Declarations. We will then pay the amount of the
                                   (3) Materials used in repair, construction,             adjusted loss or damage in excess of the Deductible,
                                       renovation or remodeling; or                        up to the applicable Limit of Insurance.
                                   (4) Maintenance;                                     E. Additional Conditions
                                    of part or all of any property wherever located.        1. Valuation – Specifically Declared Items
                                d. Collapse, including any of the following                    The following is added to General Condition F.
                                    conditions of property or any part of the                  Valuation in the Commercial Inland Marine
                                    property:                                                  Conditions:
                                   (1) An abrupt falling down or caving in;                    The value of each item of property that is
                                                                                               specifically declared and described in the
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                                   (2) Loss of structural integrity, including
                                                                                               Declarations is the applicable Limit of Insurance
                                       separation of parts of the property or
                                                                                               shown in the Declarations for that item.
                                       property in danger of falling down or
                                       caving in; or                                        2. Recoveries
                                   (3) Any cracking, bulging, sagging, bending,                The following is added to Loss Condition H.
                                       leaning, settling, shrinking or expansion as            Recovered Property in the Commercial Inland
                                       such condition relates to Paragraph (1) or              Marine Conditions:
                                       (2).                                                    If either you or we recover any property after loss
                                                                                               settlement, that party must give the other prompt
                                                                                               notice. At your option, the property will be
                                                                                               returned to you. If so, your loss or damage will be
                                                                                               readjusted based on the amount you received for
                                                                                               the property recovered, with allowance for
                                                                                               recovery expenses incurred.




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   3. The following conditions apply in addition to the      F. Definitions
      Commercial Inland Marine Conditions and the               1. "Valuable papers and records" means inscribed,
      Common Policy Conditions:                                    printed or written documents, manuscripts or
      a. Coverage Territory                                        records, including abstracts, books, deeds,
          We cover property:                                       drawings, films, maps or mortgages.
         (1) Within your "premises"; and                           But "valuable papers and records" does not mean
                                                                   "money" or "securities," converted data, programs
         (2) Away from your "premises" while in transit            or instructions used in your data processing
              or within premises of others if those                operations, including the materials on which the
              premises are located or the transit is               data is recorded.
              within:
                                                                2. "Premises" means that interior portion of the
             (a) The United States of America                      building at the address shown in the Declarations
                  (including    its territories    and             that you occupy for your business.
                  possessions);
                                                                3. "Money" means:
             (b) Puerto Rico; and
                                                                    a. Currency, coins and bank notes whether or
              (c) Canada.                                              not in current use; and
      b. Protection Of Records                                      b. Travelers checks, register checks and money
         Whenever you are not open for business, and                   orders held for sale to the public.
         except while you are actually using the                4. "Securities" means negotiable and non-
         property, you must keep all "valuable papers              negotiable instruments or contracts representing
         and records" in receptacles that are described            either "money" or other property and includes:
         in the Declarations.
                                                                   a. Tokens, tickets, revenue and other stamps
                                                                       whether or not in current use; and
                                                                   b. Evidences of debt issued in connection with
                                                                       credit or charge cards, which cards are not of
                                                                       your own issue;
                                                                   but does not include "money."




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              your acts or because you have failed to              4.   If we do not renew this policy, we will give written
              comply with the terms of this Coverage Form:              notice to the Loss Payee at least 10 days before
                                                                        the expiration date of this policy.
              (1) The Loss Payee’s rights will be
                  transferred to us to the extent of the         D. CONTRACT OF SALE
                  amount we pay; and
                                                                   1.   The Loss Payee shown in the Schedule is a
              (2) The Loss Payee’s rights to recover the full           person or organization you have entered a
                  amount of the Loss Payee’s claim will not             contract with for the sale of Covered Property.
                  be impaired.
                                                                   2.   For Covered Property in which both you and the
                  At our option, we may pay to the Loss                 Loss Payee have an insurable interest we will:
                  Payee the whole principle on the debt
                                                                        a.   Adjust losses with you; and
                  plus any accrued interest. In this event,
                  you will pay your remaining debt to us.               b. Pay any claim for loss or damage jointly to
    3.   If we cancel this policy, we will give written notice             you and the Loss Payee, as interests may
         to the Loss Payee at least:                                       appear.

         a.                                                        3.   The following is added under the Loss Condition
              10 days before the effective date of
              cancellation if we cancel for your non-                   section of the Commercial Inland Marine
              payment of premium; or                                    Conditions, Paragraph F. – Other Insurance:

         b. 30 days before the effective date of                        For Covered Property that is the subject of a
            cancellation if we cancel for any other reason.             contract of sale, the word “you” includes the Loss
                                                                        Payee.




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                                                                                                                            CNA PARAMOUNT
                                                                                       Commercial General Liability Coverage Part

                          Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
                          and is not covered.
                          Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, and any other
                          person or organization qualifying as a Named Insured under this policy. The words "we", "us" and "our" refer to the
                          company providing this insurance.
                          The word Insured means any person or organization qualifying as such under Section II – Who Is An Insured.
                          Other words and phrases that appear in bold have special meaning. Refer to Section V – Definitions.
                          SECTION I – COVERAGES
                          COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY
                          1.   Insuring Agreement
                               a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of bodily injury
                                    or property damage to which this insurance applies. We will have the right and duty to defend the Insured
                                    against any suit seeking those damages. However, we will have no duty to defend the Insured against any suit
                                    seeking damages for bodily injury or property damage to which this insurance does not apply. We may, at our
                                    discretion, investigate any occurrence and settle any claim or suit that may result. But:
                                    (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                    (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the payment of
                                        judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                    under Supplementary Payments – Coverages A and B.
                               b. This insurance applies to bodily injury and property damage only if:
                                    (1) The bodily injury or property damage is caused by an occurrence that takes place in the coverage
                                        territory;
                                    (2) The bodily injury or property damage occurs during the policy period; and
                                    (3) Prior to the policy period, no Insured listed under Paragraph 1. of Section II – Who Is An Insured and no
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                                        employee authorized by you to give or receive notice of an occurrence or claim, knew that the bodily injury
                                        or property damage had occurred, in whole or in part. If such a listed Insured or authorized employee knew,
                                        prior to the policy period, that the bodily injury or property damage occurred, then any continuation,
                                        change or resumption of such bodily injury or property damage during or after the policy period will be
                                        deemed to have been known prior to the policy period.
                               c.   Bodily injury or property damage which occurs during the policy period and was not, prior to the policy
                                    period, known to have occurred by any Insured listed under Paragraph 1. of Section II – Who Is An Insured or
                                    any employee authorized by you to give or receive notice of an occurrence or claim, includes any continuation,
                                    change or resumption of that bodily injury or property damage after the end of the policy period.
                               d. Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time
                                  when any Insured listed under Paragraph 1. of Section II – Who Is An Insured or any employee authorized by
                                  you to give or receive notice of an occurrence or claim:
                                    (1) Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
                                    (2) Receives a written or verbal demand or claim for damages because of the bodily injury or property
                                        damage; or
                                    (3) Becomes aware by any other means that bodily injury or property damage has occurred or has begun to
                                        occur.

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                                                                                                   CNA PARAMOUNT
                                                              Commercial General Liability Coverage Part

     e.   Damages because of bodily injury include damages claimed by any person or organization for care, loss of
          services or death resulting at any time from the bodily injury.
2.   Exclusions
     This insurance does not apply to:
     a.   Expected Or Intended Injury
          Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does
          not apply to bodily injury resulting from the use of reasonable force to protect persons or property.
     b. Contractual Liability
          Bodily injury or property damage for which the Insured is obligated to pay damages by reason of the
          assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:
          (1) That the Insured would have in the absence of the contract or agreement; or
          (2) Assumed in a contract or agreement that is an Insured contract, provided the bodily injury or property
              damage occurs subsequent to the execution of the contract or agreement. Solely for the purposes of liability
              assumed in an Insured contract, reasonable attorneys' fees and necessary litigation expenses incurred by or
              for a party other than an Insured are deemed to be damages because of bodily injury or property damage,
              provided:
              (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in the same
                  Insured contract; and
              (b) Such attorneys' fees and litigation expenses are for defense of that party against a civil or alternative
                  dispute resolution proceeding in which damages to which this insurance applies are alleged.
     c.   Liquor Liability
          Bodily injury or property damage for which any Insured may be held liable by reason of:
          (1) Causing or contributing to the intoxication of any person;
          (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of
              alcohol; or
          (3) Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages.
          This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in:
              (a) The supervision, hiring, employment, training or monitoring of others by that Insured; or
              (b) Providing or failing to provide transportation with respect to any person that may be under the influence of
                  alcohol;
          if the occurrence which caused the bodily injury or property damage, involved that which is described in
          Paragraph (1), (2) or (3) above.
          However, this exclusion applies only if you are in the business of manufacturing, distributing, selling, serving or
          furnishing alcoholic beverages. For the purposes of this exclusion, permitting a person to bring alcoholic
          beverages on your premises, for consumption on your premises, whether or not a fee is charged or a license is
          required for such activity, is not by itself considered the business of selling, serving or furnishing alcoholic
          beverages.
     d. Workers' Compensation And Similar Laws
          Any obligation of the Insured under a workers' compensation, disability benefits or unemployment compensation
          law or any similar law.



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                                                                                                                          CNA PARAMOUNT
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                             e.   Employer's Liability
                                  Bodily injury to:
                                  (1) An employee of the Insured arising out of and in the course of:
                                      (a) Employment by the Insured; or
                                      (b) Performing duties related to the conduct of the Insured's business; or
                                  (2) The spouse, child, parent, brother or sister of that employee as a consequence of Paragraph (1) above.
                                  This exclusion applies whether the Insured may be liable as an employer or in any other capacity and to any
                                  obligation to share damages with or repay someone else who must pay damages because of the injury.
                                  This exclusion does not apply to liability assumed by the Insured under an Insured contract.
                             f.   Pollution
                                  (1) Bodily injury or property damage arising out of the actual, alleged or threatened discharge, dispersal,
                                      seepage, migration, release or escape of pollutants:
                                      (a) At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
                                          loaned to, any Insured. However, this subparagraph does not apply to:
                                          (i) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by
                                              or originating from equipment that is used to heat, cool or dehumidify the building, or equipment that
                                              is used to heat water for personal use, by the building's occupants or their guests;
                                          (ii) Bodily injury or property damage for which you may be held liable, if you are a contractor and the
                                               owner or lessee of such premises, site or location has been added to your policy as an additional
                                               Insured with respect to your ongoing operations performed for that additional Insured at that
                                               premises, site or location and such premises, site or location is not and never was owned or
                                               occupied by, or rented or loaned to, any Insured, other than that additional Insured; or
                                          (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
                                      (b) At or from any premises, site or location which is or was at any time used by or for any Insured or others
                                          for the handling, storage, disposal, processing or treatment of waste;
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                                      (c) Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste
                                          by or for:
                                          (i) Any Insured; or
                                          (ii) Any person or organization for whom you may be legally responsible; or
                                      (d) At or from any premises, site or location on which any Insured or any contractors or subcontractors
                                          working directly or indirectly on any Insured's behalf are performing operations if the pollutants are
                                          brought on or to the premises, site or location in connection with such operations by such Insured,
                                          contractor or subcontractor. However, this subparagraph does not apply to:
                                          (i) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating
                                              fluids which are needed to perform the normal electrical, hydraulic or mechanical functions
                                              necessary for the operation of mobile equipment or its parts, if such fuels, lubricants or other
                                              operating fluids escape from a vehicle part designed to hold, store or receive them. This exception
                                              does not apply if the bodily injury or property damage arises out of the intentional discharge,
                                              dispersal or release of the fuels, lubricants or other operating fluids, or if such fuels, lubricants or
                                              other operating fluids are brought on or to the premises, site or location with the intent that they be
                                              discharged, dispersed or released as part of the operations being performed by such Insured,
                                              contractor or subcontractor;


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               (ii) Bodily injury or property damage sustained within a building and caused by the release of gases,
                    fumes or vapors from materials brought into that building in connection with operations being
                    performed by you or on your behalf by a contractor or subcontractor; or
               (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
          (e) At or from any premises, site or location on which any Insured or any contractors or subcontractors
              working directly or indirectly on any Insured's behalf are performing operations if the operations are to
              test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
              assess the effects of, pollutants.
      (2) Any loss, cost or expense arising out of any:
          (a) Request, demand, order or statutory or regulatory requirement that any Insured or others test for,
              monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
              effects of, pollutants; or
          (b) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
              cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
              assessing the effects of, pollutants.
          However, this paragraph does not apply to liability for damages because of property damage that the
          Insured would have in the absence of such request, demand, order or statutory or regulatory requirement, or
          such claim or suit by or on behalf of a governmental authority.
   g. Aircraft, Auto Or Watercraft
      Bodily injury or property damage arising out of the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft owned or operated by or rented or loaned to any Insured. Use includes operation and
      loading or unloading.
      This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in the
      supervision, hiring, employment, training or monitoring of others by that Insured, if the occurrence which caused
      the bodily injury or property damage involved the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft that is owned or operated by or rented or loaned to any Insured.
      This exclusion does not apply to:
      (1) A watercraft while ashore on premises you own or rent;
      (2) A watercraft you do not own that is:
          (a) Less than 26 feet long; and
          (b) Not being used to carry persons or property for a charge;
      (3) Parking an auto on, or on the ways next to, premises you own or rent, provided the auto is not owned by or
          rented or loaned to you or the Insured;
      (4) Liability assumed under any Insured contract for the ownership, maintenance or use of aircraft or watercraft;
          or
      (5) Bodily injury or property damage arising out of:
          (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would qualify
              under the definition of mobile equipment if it were not subject to a compulsory or financial responsibility
              law or other motor vehicle insurance law where it is licensed or principally garaged; or
          (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition of
              mobile equipment.



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                             h. Mobile Equipment
                                  Bodily injury or property damage arising out of:
                                  (1) The transportation of mobile equipment by an auto owned or operated by or rented or loaned to any
                                      Insured; or
                                  (2) The use of mobile equipment in, or while in practice for, or while being prepared for, any prearranged racing,
                                      speed, demolition, or stunting activity.
                             i.   War
                                  Bodily injury or property damage, however caused, arising, directly or indirectly, out of:
                                  (1) War, including undeclared or civil war;
                                  (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
                                      attack, by any government, sovereign or other authority using military personnel or other agents; or
                                  (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
                                      defending against any of these.
                             j.   Damage To Property
                                  Property damage to:
                                  (1) Property you own, rent, or occupy, including any costs or expenses incurred by you, or any other person,
                                      organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property for
                                      any reason, including prevention of injury to a person or damage to another's property;
                                  (2) Premises you sell, give away or abandon, if the property damage arises out of any part of those premises;
                                  (3) Property loaned to you;
                                  (4) Personal property in the care, custody or control of the Insured;
                                  (5) That particular part of real property on which you or any contractors or subcontractors working directly or
                                      indirectly on your behalf are performing operations, if the property damage arises out of those operations; or
                                  (6) That particular part of any property that must be restored, repaired or replaced because your work was
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                                      incorrectly performed on it.
                                  Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
                                  premises, including the contents of such premises, rented to you for a period of seven or fewer consecutive days.
                                  A separate limit of insurance applies to Damage To Premises Rented To You as described in Section III – Limits
                                  Of Insurance.
                                  Paragraph (2) of this exclusion does not apply if the premises are your work and were never occupied, rented or
                                  held for rental by you.
                                  Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack agreement.
                                  Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
                                  operations hazard.
                             k.   Damage To Your Product
                                  Property damage to your product arising out of it or any part of it.
                             l.   Damage To Your Work
                                  Property damage to your work arising out of it or any part of it and included in the products-completed
                                  operations hazard.


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       This exclusion does not apply if the damaged work or the work out of which the damage arises was performed on
       your behalf by a subcontractor.
   m. Damage To Impaired Property Or Property Not Physically Injured
       Property damage to impaired property or property that has not been physically injured, arising out of:
       (1) A defect, deficiency, inadequacy or dangerous condition in your product or your work; or
       (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
           with its terms.
       This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
       injury to your product or your work after it has been put to its intended use.
   n. Recall Of Products, Work Or Impaired Property
       Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
       inspection, repair, replacement, adjustment, removal or disposal of:
       (1) Your product;
       (2) Your work; or
       (3) Impaired property;
       if such product, work, or property is withdrawn or recalled from the market or from use by any person or
       organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in it.
   o. Personal And Advertising Injury
       Bodily injury arising out of personal and advertising injury.
   p. Electronic Data
       Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to
       manipulate electronic data.
       However, this exclusion does not apply to liability for damages because of bodily injury.
       As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
       on, or transmitted to or from computer software, including systems and applications software, hard or floppy disks,
       CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically
       controlled equipment.
   q. Recording And Distribution Of Material Or Information In Violation Of Law
       Bodily injury or property damage arising directly or indirectly out of any action or omission that violates or is
       alleged to violate:
       (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
           Accurate Credit Transactions Act (FACTA); or
       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
           FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
           disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
   Exclusions c. through n. do not apply to damage by fire to premises while rented to you or temporarily occupied by
   you with permission of the owner. A separate limit of insurance applies to this coverage as described in Section III –
   Limits Of Insurance.


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                                                                                                                            CNA PARAMOUNT
                                                                                       Commercial General Liability Coverage Part

                          COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY
                          1.   Insuring Agreement
                               a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of personal and
                                    advertising injury to which this insurance applies. We will have the right and duty to defend the Insured against
                                    any suit seeking those damages. However, we will have no duty to defend the Insured against any suit seeking
                                    damages for personal and advertising injury to which this insurance does not apply. We may, at our discretion,
                                    investigate any offense and settle any claim or suit that may result. But:
                                    (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                    (2) Our right and duty to defend end when we have used up the applicable limit of insurance in the payment of
                                        judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                    under Supplementary Payments – Coverages A and B.
                               b. This insurance applies to personal and advertising injury caused by an offense arising out of your business but
                                  only if the offense was committed in the coverage territory during the policy period.
                          2.   Exclusions
                               This insurance does not apply to:
                               a.   Knowing Violation Of Rights Of Another
                                    Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                    would violate the rights of another and would inflict personal and advertising injury.
                               b. Material Published With Knowledge Of Falsity
                                    Personal and advertising injury arising out of oral or written publication, in any manner, of material, if done by or
                                    at the direction of the Insured with knowledge of its falsity.
                               c.   Material Published Prior To Policy Period
                                    Personal and advertising injury arising out of oral or written publication, in any manner, of material whose first
                                    publication took place before the beginning of the policy period.
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                               d. Criminal Acts
                                    Personal and advertising injury arising out of a criminal act committed by or at the direction of the Insured.
                               e.   Contractual Liability
                                    Personal and advertising injury for which the Insured has assumed liability in a contract or agreement. This
                                    exclusion does not apply to liability for damages that the Insured would have in the absence of the contract or
                                    agreement.
                               f.   Breach Of Contract
                                    Personal and advertising injury arising out of a breach of contract, except an implied contract to use another's
                                    advertising idea in your advertisement.
                               g. Quality Or Performance Of Goods – Failure To Conform To Statements
                                    Personal and advertising injury arising out of the failure of goods, products or services to conform with any
                                    statement of quality or performance made in your advertisement.
                               h. Wrong Description Of Prices
                                    Personal and advertising injury arising out of the wrong description of the price of goods, products or services
                                    stated in your advertisement.

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   i.   Infringement Of Copyright, Patent, Trademark Or Trade Secret
        Personal and advertising injury arising out of the infringement of copyright, patent, trademark, trade secret or
        other intellectual property rights. Under this exclusion, such other intellectual property rights do not include the
        use of another's advertising idea in your advertisement.
        However, this exclusion does not apply to infringement, in your advertisement, of copyright, trade dress or
        slogan.
   j.   Insureds In Media And Internet Type Businesses
        Personal and advertising injury committed by an Insured whose business is:
        (1) Advertising, broadcasting, publishing or telecasting;
        (2) Designing or determining content of web sites for others; or
        (3) An Internet search, access, content or service provider.
        However, this exclusion does not apply to Paragraphs 14.a., b. and c. of personal and advertising injury under
        the Definitions section.
        For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
        anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or
        telecasting.
   k.   Electronic Chatrooms Or Bulletin Boards
        Personal and advertising injury arising out of an electronic chatroom or bulletin board the Insured hosts, owns,
        or over which the Insured exercises control.
   l.   Unauthorized Use Of Another's Name Or Product
        Personal and advertising injury arising out of the unauthorized use of another's name or product in your e-mail
        address, domain name or metatag, or any other similar tactics to mislead another's potential customers.
   m. Pollution
        Personal and advertising injury arising out of the actual, alleged or threatened discharge, dispersal, seepage,
        migration, release or escape of pollutants at any time.
   n. Pollution-related
        Any loss, cost or expense arising out of any:
        (1) Request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor,
            clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
            pollutants; or
        (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
            cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
            assessing the effects of, pollutants.
   o. War
        Personal and advertising injury, however caused, arising, directly or indirectly, out of:
        (1) War, including undeclared or civil war;
        (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
            attack, by any government, sovereign or other authority using military personnel or other agents; or
        (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
            defending against any of these.

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                               p. Recording And Distribution Of Material Or Information In Violation Of Law
                                    Personal and advertising injury arising directly or indirectly out of any action or omission that violates or is
                                    alleged to violate:
                                    (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
                                    (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
                                    (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
                                        Accurate Credit Transactions Act (FACTA); or
                                    (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
                                        FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
                                        disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
                          COVERAGE C – MEDICAL PAYMENTS
                          1.   Insuring Agreement
                               a.   We will pay medical expenses as described below for bodily injury caused by an accident:
                                    (1) On premises you own or rent;
                                    (2) On ways next to premises you own or rent; or
                                    (3) Because of your operations;
                                    provided that:
                                        (a) The accident takes place in the coverage territory and during the policy period;
                                        (b) The expenses are incurred and reported to us within one year of the date of the accident; and
                                        (c) The injured person submits to examination, at our expense, by physicians of our choice as often as we
                                            reasonably require.
                               b. We will make these payments regardless of fault. These payments will not exceed the applicable limit of
                                  insurance. We will pay reasonable expenses for:
                                    (1) First aid administered at the time of an accident;
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                                    (2) Necessary medical, surgical, X-ray and dental services, including prosthetic devices; and
                                    (3) Necessary ambulance, hospital, professional nursing and funeral services.
                          2.   Exclusions
                               We will not pay expenses for bodily injury:
                               a.   Any Insured
                                    To any Insured, except volunteer workers.
                               b. Hired Person
                                    To a person hired to do work for or on behalf of any Insured or a tenant of any Insured.
                               c.   Injury On Normally Occupied Premises
                                    To a person injured on that part of premises you own or rent that the person normally occupies.
                               d. Workers' Compensation And Similar Laws
                                    To a person, whether or not an employee of any Insured, if benefits for the bodily injury are payable or must be
                                    provided under a workers' compensation or disability benefits law or a similar law.


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     e.   Athletics Activities
          To a person injured while practicing, instructing or participating in any physical exercises or games, sports, or
          athletic contests.
     f.   Products-Completed Operations Hazard
          Included within the products-completed operations hazard.
     g. Coverage A Exclusions
          Excluded under Coverage A.
SUPPLEMENTARY PAYMENTS – COVERAGES A AND B
1.   We will pay, with respect to any claim we investigate or settle, or any suit against an Insured we defend:
     a.   All expenses we incur.
     b. Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising out of the use of
        any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.
     c.   The cost of bonds to release attachments, but only for bond amounts within the applicable limit of insurance. We
          do not have to furnish these bonds.
     d. All reasonable expenses incurred by the Insured at our request to assist us in the investigation or defense of the
        claim or suit, including actual loss of earnings up to $250 a day because of time off from work.
     e.   All court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
          attorneys' expenses taxed against the Insured.
     f.   Prejudgment interest awarded against the Insured on that part of the judgment we pay. If we make an offer to pay
          the applicable limit of insurance, we will not pay any prejudgment interest based on that period of time after the
          offer.
     g. All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
        offered to pay, or deposited in court the part of the judgment that is within the applicable limit of insurance.
     These payments will not reduce the limits of insurance.
2.   If we defend an Insured against a suit and an indemnitee of the Insured is also named as a party to the suit, we will
     defend that indemnitee if all of the following conditions are met:
     a.   The suit against the indemnitee seeks damages for which the Insured has assumed the liability of the
          indemnitee in a contract or agreement that is an Insured contract;
     b. This insurance applies to such liability assumed by the Insured;
     c.   The obligation to defend, or the cost of the defense of, that indemnitee, has also been assumed by the Insured in
          the same Insured contract;
     d. The allegations in the suit and the information we know about the occurrence are such that no conflict appears
        to exist between the interests of the Insured and the interests of the indemnitee;
     e.   The indemnitee and the Insured ask us to conduct and control the defense of that indemnitee against such suit
          and agree that we can assign the same counsel to defend the Insured and the indemnitee; and
     f.   The indemnitee:
          (1) Agrees in writing to:
              (a) Cooperate with us in the investigation, settlement or defense of the suit;
              (b) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                  with the suit;

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                                        (c) Notify any other insurer whose coverage is available to the indemnitee; and
                                        (d) Cooperate with us with respect to coordinating other applicable insurance available to the indemnitee;
                                            and
                                    (2) Provides us with written authorization to:
                                        (a) Obtain records and other information related to the suit; and
                                        (b) Conduct and control the defense of the indemnitee in such suit.
                               So long as the above conditions are met, attorneys' fees incurred by us in the defense of that indemnitee, necessary
                               litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at our request will be
                               paid as Supplementary Payments. Notwithstanding the provisions of Paragraph 2.b.(2) of Section I – Coverage A –
                               Bodily Injury And Property Damage Liability, such payments will not be deemed to be damages for bodily injury
                               and property damage and will not reduce the limits of insurance.
                               Our obligation to defend an Insured's indemnitee and to pay for attorneys' fees and necessary litigation expenses as
                               Supplementary Payments ends when we have used up the applicable limit of insurance in the payment of judgments
                               or settlements or the conditions set forth above, or the terms of the agreement described in Paragraph f. above, are
                               no longer met.
                          SECTION II – WHO IS AN INSURED
                          1.   If you are designated in the Declarations as:
                               a.   An individual, you and your spouse are Insureds, but only with respect to the conduct of a business of which you
                                    are the sole owner.
                               b. A partnership or joint venture, you are an Insured. Your members, your partners, and their spouses are also
                                  Insureds, but only with respect to the conduct of your business.
                               c.   A limited liability company, you are an Insured. Your members are also Insureds, but only with respect to the
                                    conduct of your business. Your managers are Insureds, but only with respect to their duties as your managers.
                               d. An organization other than a partnership, joint venture or limited liability company, you are an Insured. Your
                                  executive officers and directors are Insureds, but only with respect to their duties as your officers or directors.
                                  Your stockholders are also Insureds, but only with respect to their liability as stockholders.
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                               e.   A trust, you are an Insured. Your trustees are also Insureds, but only with respect to their duties as trustees.
                          2.   Each of the following is also an Insured:
                               a.   Your volunteer workers only while performing duties related to the conduct of your business, or your
                                    employees, other than either your executive officers (if you are an organization other than a partnership, joint
                                    venture or limited liability company) or your managers (if you are a limited liability company), but only for acts
                                    within the scope of their employment by you or while performing duties related to the conduct of your business.
                                    However, none of these employees or volunteer workers are Insureds for:
                                    (1) Bodily injury or personal and advertising injury:
                                        (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if you
                                            are a limited liability company), to a co-employee while in the course of his or her employment or
                                            performing duties related to the conduct of your business, or to your other volunteer workers while
                                            performing duties related to the conduct of your business;
                                        (b) To the spouse, child, parent, brother or sister of that co-employee or volunteer worker as a
                                            consequence of Paragraph (1)(a) above;
                                        (c) For which there is any obligation to share damages with or repay someone else who must pay damages
                                            because of the injury described in Paragraph (1)(a) or (b) above; or
                                    (d) Arising out of his or her providing or failing to provide professional health care services.
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          (2) Property damage to property:
              (a) Owned, occupied or used by;
              (b) Rented to, in the care, custody or control of, or over which physical control is being exercised for any
                  purpose by;
              you, any of your employees, volunteer workers, any partner or member (if you are a partnership or joint
              venture), or any member (if you are a limited liability company).
     b. Any person (other than your employee or volunteer worker), or any organization while acting as your real estate
        manager.
     c.   Any person or organization having proper temporary custody of your property if you die, but only:
          (1) With respect to liability arising out of the maintenance or use of that property; and
          (2) Until your legal representative has been appointed.
     d. Your legal representative if you die, but only with respect to duties as such. That representative will have all your
        rights and duties under this Coverage Part.
3.   Any organization you newly acquire or form, other than a partnership, joint venture or limited liability company, and
     over which you maintain ownership or majority interest, will qualify as a Named Insured if there is no other similar
     insurance available to that organization. However:
     a.   Coverage under this provision is afforded only until the 90th day after you acquire or form the organization or the
          end of the policy period, whichever is earlier;
     b. Coverage A does not apply to bodily injury or property damage that occurred before you acquired or formed the
        organization; and
     c.   Coverage B does not apply to personal and advertising injury arising out of an offense committed before you
          acquired or formed the organization.
No person or organization is an Insured with respect to the conduct of any current or past partnership, joint venture or
limited liability company that is not shown as a Named Insured in the Declarations.
SECTION III – LIMITS OF INSURANCE
1.   The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of the
     number of:
     a.   Insureds;
     b. Claims made or suits brought; or
     c.   Persons or organizations making claims or bringing suits.
2.   The General Aggregate Limit is the most we will pay for the sum of:
     a.   Medical expenses under Coverage C;
     b. Damages under Coverage A, except damages because of bodily injury or property damage included in the
        products-completed operations hazard; and
     c.   Damages under Coverage B.
3.   The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for damages
     because of bodily injury and property damage included in the products-completed operations hazard.
4.   Subject to Paragraph 2. above, the Personal And Advertising Injury Limit is the most we will pay under Coverage B for
     the sum of all damages because of all personal and advertising injury sustained by any one person or organization.


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                          5. Subject to Paragraph 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we will pay for the sum
                             of:
                               a.   Damages under Coverage A; and
                               b. Medical expenses under Coverage C
                               because of all bodily injury and property damage arising out of any one occurrence.
                          6.   Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
                               Coverage A for damages because of property damage to any one premises, while rented to you, or in the case of
                               damage by fire, while rented to you or temporarily occupied by you with permission of the owner.
                          7.   Subject to Paragraph 5. above, the Medical Expense Limit is the most we will pay under Coverage C for all medical
                               expenses because of bodily injury sustained by any one person.
                          The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to any remaining
                          period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
                          policy period is extended after issuance for an additional period of less than 12 months. In that case, the additional period
                          will be deemed part of the last preceding period for purposes of determining the Limits of Insurance.
                          SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
                          1.   Bankruptcy
                               Bankruptcy or insolvency of the Insured or of the Insured's estate will not relieve us of our obligations under this
                               Coverage Part.
                          2.   Duties In The Event Of Occurrence, Offense, Claim Or Suit
                               a.   You must see to it that we are notified as soon as practicable of an occurrence or an offense which may result in
                                    a claim. To the extent possible, notice should include:
                                    (1) How, when and where the occurrence or offense took place;
                                    (2) The names and addresses of any injured persons and witnesses; and
                                    (3) The nature and location of any injury or damage arising out of the occurrence or offense.
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                               b. If a claim is made or suit is brought against any Insured, you must:
                                    (1) Immediately record the specifics of the claim or suit and the date received; and
                                    (2) Notify us as soon as practicable.
                                    You must see to it that we receive written notice of the claim or suit as soon as practicable.
                               c.   You and any other involved Insured must:
                                    (1) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                                        with the claim or suit;
                                    (2) Authorize us to obtain records and other information;
                                    (3) Cooperate with us in the investigation or settlement of the claim or defense against the suit; and
                                    (4) Assist us, upon our request, in the enforcement of any right against any person or organization which may be
                                        liable to the Insured because of injury or damage to which this insurance may also apply.
                               d. No Insured will, except at that Insured's own cost, voluntarily make a payment, assume any obligation, or incur
                                  any expense, other than for first aid, without our consent.
                          3.   Legal Action Against Us
                               No person or organization has a right under this Coverage Part:

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     a.   To join us as a party or otherwise bring us into a suit asking for damages from an Insured; or
     b. To sue us on this Coverage Part unless all of its terms have been fully complied with.
     A person or organization may sue us to recover on an agreed settlement or on a final judgment against an Insured;
     but we will not be liable for damages that are not payable under the terms of this Coverage Part or that are in excess
     of the applicable limit of insurance. An agreed settlement means a settlement and release of liability signed by us, the
     Insured and the claimant or the claimant's legal representative.
4.   Other Insurance
     If other valid and collectible insurance is available to the Insured for a loss we cover under Coverages A or B of this
     Coverage Part, our obligations are limited as follows:
     a.   Primary Insurance
          This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our obligations
          are not affected unless any of the other insurance is also primary. Then, we will share with all that other insurance
          by the method described in Paragraph c. below.
     b. Excess Insurance
          (1) This insurance is excess over:
              (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                  (i) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for your work;
                  (ii) That is Fire insurance for premises rented to you or temporarily occupied by you with permission of
                       the owner;
                  (iii) That is insurance purchased by you to cover your liability as a tenant for property damage to
                        premises rented to you or temporarily occupied by you with permission of the owner; or
                  (iv) If the loss arises out of the maintenance or use of aircraft, autos or watercraft to the extent not
                       subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability.
              (b) Any other primary insurance available to you covering liability for damages arising out of the premises or
                  operations, or the products and completed operations, for which you have been added as an additional
                  Insured.
          (2) When this insurance is excess, we will have no duty under Coverages A or B to defend the Insured against
              any suit if any other insurer has a duty to defend the Insured against that suit. If no other insurer defends,
              we will undertake to do so, but we will be entitled to the Insured's rights against all those other insurers.
          (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the loss, if
              any, that exceeds the sum of:
              (a) The total amount that all such other insurance would pay for the loss in the absence of this insurance;
                  and
              (b) The total of all deductible and self-Insured amounts under all that other insurance.
          (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
              Insurance provision and was not bought specifically to apply in excess of the Limits of Insurance shown in the
              Declarations of this Coverage Part.
     c.   Method Of Sharing
          If all of the other insurance permits contribution by equal shares, we will follow this method also. Under this
          approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of the
          loss remains, whichever comes first.


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                                    If any of the other insurance does not permit contribution by equal shares, we will contribute by limits. Under this
                                    method, each insurer's share is based on the ratio of its applicable limit of insurance to the total applicable limits
                                    of insurance of all insurers.
                          5.   Premium Audit
                               a.   We will compute all premiums for this Coverage Part in accordance with our rules and rates.
                               b. Premium shown in this Coverage Part as advance premium is a deposit premium only. At the close of each audit
                                  period we will compute the earned premium for that period and send notice to the First Named Insured. The due
                                  date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the advance
                                  and audit premiums paid for the policy period is greater than the earned premium, we will return the excess to
                                  the First Named Insured.
                               c.   The First Named Insured must keep records of the information we need for premium computation, and send us
                                    copies at such times as we may request.
                          6.   Representations
                               By accepting this policy, you agree:
                               a.   The statements in the Declarations are accurate and complete;
                               b. Those statements are based upon representations you made to us; and
                               c.   We have issued this policy in reliance upon your representations.
                          7.   Separation Of Insureds
                               Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this Coverage Part to
                               the First Named Insured, this insurance applies:
                               a.   As if each Named Insured were the only Named Insured; and
                               b. Separately to each Insured against whom claim is made or suit is brought.
                          8.   Transfer Of Rights Of Recovery Against Others To Us
                               If the Insured has rights to recover all or part of any payment we have made under this Coverage Part, those rights
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                               are transferred to us. The Insured must do nothing after loss to impair them. At our request, the Insured will bring suit
                               or transfer those rights to us and help us enforce them.
                          9.   When We Do Not Renew
                               If we decide not to renew this Coverage Part, we will mail or deliver to the First Named Insured shown in the
                               Declarations written notice of the nonrenewal not less than 30 days before the expiration date.
                               If notice is mailed, proof of mailing will be sufficient proof of notice.
                          SECTION V – DEFINITIONS
                          1.   Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                               your goods, products or services for the purpose of attracting customers or supporters. For the purposes of this
                               definition:
                               a.   Notices that are published include material placed on the Internet or on similar electronic means of
                                    communication; and
                               b. Regarding web sites, only that part of a web site that is about your goods, products or services for the purposes of
                                  attracting customers or supporters is considered an advertisement.
                          2.   Auto means:
                               a.
                                A land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached machinery or
                                equipment; or
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     b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
        insurance law where it is licensed or principally garaged.
     However, auto does not include mobile equipment.
3.   Bodily injury means bodily injury, sickness or disease sustained by a person, including death resulting from any of
     these at any time.
4.   Coverage territory means:
     a.   The United States of America (including its territories and possessions), Puerto Rico and Canada;
     b. International waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
        between any places included in Paragraph a. above; or
     c.   All other parts of the world if the injury or damage arises out of:
          (1) Goods or products made or sold by you in the territory described in Paragraph a. above;
          (2) The activities of a person whose home is in the territory described in Paragraph a. above, but is away for a
              short time on your business; or
          (3) Personal and advertising injury offenses that take place through the Internet or similar electronic means of
              communication;
          provided the Insured's responsibility to pay damages is determined in a suit on the merits, in the territory
          described in Paragraph a. above or in a settlement we agree to.
5.   Employee includes a leased worker. Employee does not include a temporary worker.
6.   Executive officer means a person holding any of the officer positions created by your charter, constitution, bylaws or
     any other similar governing document.
7.   Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
8.   Impaired property means tangible property, other than your product or your work, that cannot be used or is less
     useful because:
     a.   It incorporates your product or your work that is known or thought to be defective, deficient, inadequate or
          dangerous; or
     b. You have failed to fulfill the terms of a contract or agreement;
     if such property can be restored to use by the repair, replacement, adjustment or removal of your product or your
     work or your fulfilling the terms of the contract or agreement.
9.   Insured contract means:
     a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
          any person or organization for damage by fire to premises while rented to you or temporarily occupied by you with
          permission of the owner is not an Insured contract;
     b. A sidetrack agreement;
     c.   Any easement or license agreement, except in connection with construction or demolition operations on or within
          50 feet of a railroad;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e.   An elevator maintenance agreement;




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                              f.   That part of any other contract or agreement pertaining to your business (including an indemnification of a
                                   municipality in connection with work performed for a municipality) under which you assume the tort liability of
                                   another party to pay for bodily injury or property damage to a third person or organization. Tort liability means a
                                   liability that would be imposed by law in the absence of any contract or agreement.
                                   Paragraph f. does not include that part of any contract or agreement:
                                   (1) That indemnifies a railroad for bodily injury or property damage arising out of construction or demolition
                                       operations, within 50 feet of any railroad property and affecting any railroad bridge or trestle, tracks, road-
                                       beds, tunnel, underpass or crossing;
                                   (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                                       (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                           field orders, change orders or drawings and specifications; or
                                       (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                           damage; or
                                   (3) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                       arising out of the Insured's rendering or failure to render professional services, including those listed in (2)
                                       above and supervisory, inspection, architectural or engineering activities.
                          10. Leased worker means a person leased to you by a labor leasing firm under an agreement between you and the labor
                              leasing firm, to perform duties related to the conduct of your business. Leased worker does not include a temporary
                              worker.
                          11. Loading or unloading means the handling of property:
                              a.   After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or auto;
                              b. While it is in or on an aircraft, watercraft or auto; or
                              c.   While it is being moved from an aircraft, watercraft or auto to the place where it is finally delivered;
                              but loading or unloading does not include the movement of property by means of a mechanical device, other than a
                              hand truck, that is not attached to the aircraft, watercraft or auto.
                          12. Mobile equipment means any of the following types of land vehicles, including any attached machinery or equipment:
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                              a.   Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
                              b. Vehicles maintained for use solely on or next to premises you own or rent;
                              c.   Vehicles that travel on crawler treads;
                              d. Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
                                   (1) Power cranes, shovels, loaders, diggers or drills; or
                                   (2) Road construction or resurfacing equipment such as graders, scrapers or rollers;
                              e.   Vehicles not described in Paragraph a., b., c. or d. above that are not self-propelled and are maintained primarily
                                   to provide mobility to permanently attached equipment of the following types:
                                   (1) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                                       exploration, lighting and well servicing equipment; or
                                   (2) Cherry pickers and similar devices used to raise or lower workers;
                              f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
                                   transportation of persons or cargo.
                                   However, self-propelled vehicles with the following types of permanently attached equipment are not mobile
                                   equipment but will be considered autos:
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         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
         (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
             exploration, lighting and well servicing equipment.
    However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land vehicles
    subject to a compulsory or financial responsibility law or other motor vehicle insurance law are considered autos.
13. Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
    conditions.
14. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
    the following offenses:
    a.   False arrest, detention or imprisonment;
    b. Malicious prosecution;
    c.   The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room, dwelling or
         premises that a person occupies, committed by or on behalf of its owner, landlord or lessor;
    d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
       disparages a person's or organization's goods, products or services;
    e.   Oral or written publication, in any manner, of material that violates a person's right of privacy;
    f.   The use of another's advertising idea in your advertisement; or
    g. Infringing upon another's copyright, trade dress or slogan in your advertisement.
15. Pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot, fumes,
    acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or reclaimed.
16. Products-completed operations hazard:
    a.   Includes all bodily injury and property damage occurring away from premises you own or rent and arising out of
         your product or your work except:
         (1) Products that are still in your physical possession; or
         (2) Work that has not yet been completed or abandoned. However, your work will be deemed completed at the
             earliest of the following times:
             (a) When all of the work called for in your contract has been completed.
             (b) When all of the work to be done at the job site has been completed if your contract calls for work at more
                 than one job site.
             (c) When that part of the work done at a job site has been put to its intended use by any person or
                 organization other than another contractor or subcontractor working on the same project.
             Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
             complete, will be treated as completed.



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                              b. Does not include bodily injury or property damage arising out of:
                                   (1) The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle not
                                       owned or operated by you, and that condition was created by the loading or unloading of that vehicle by any
                                       Insured;
                                   (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or
                                   (3) Products or operations for which the classification, listed in the Declarations or in a policy Schedule, states
                                       that products-completed operations are subject to the General Aggregate Limit.
                          17. Property damage means:
                              a.   Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use shall be
                                   deemed to occur at the time of the physical injury that caused it; or
                              b. Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
                                 time of the occurrence that caused it.
                              For the purposes of this insurance, electronic data is not tangible property.
                              As used in this definition, electronic data means information, facts or programs stored as or on, created or used on, or
                              transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                              ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                              equipment.
                          18. Suit means a civil proceeding in which damages because of bodily injury, property damage or personal and
                              advertising injury to which this insurance applies are alleged. suit includes:
                              a.   An arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
                                   submit with our consent; or
                              b. Any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
                                 submits with our consent.
                          19. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave or to
                              meet seasonal or short-term workload conditions.
                          20. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
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                              direction of and within the scope of duties determined by you, and is not paid a fee, salary or other compensation by
                              you or anyone else for their work performed for you.
                          21. Your product:
                              a.   Means:
                                   (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
                                       (a) You;
                                       (b) Others trading under your name; or
                                       (c) A person or organization whose business or assets you have acquired; and
                                   (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
                                       products.
                              b. Includes:
                                   (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
                                       use of your product; and
                                   (2) The providing of or failure to provide warnings or instructions.
                              c.   Does not include vending machines or other property rented to or located for the use of others but not sold.
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22. Your work:
   a.   Means:
        (1) Work or operations performed by you or on your behalf; and
        (2) Materials, parts or equipment furnished in connection with such work or operations.
   b. Includes:
        (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
            use of your work; and
        (2) The providing of or failure to provide warnings or instructions.




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                                                                                                                                                     CNA PARAMOUNT

                                                                           Architects, Engineers and Surveyors General Liability
                                                                                                        Extension Endorsement

                          It is understood and agreed that this endorsement amends the COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          as follows. If any other endorsement attached to this policy amends any provision also amended by this endorsement,
                          then that other endorsement controls with respect to such provision, and the changes made by this endorsement with
                          respect to such provision do not apply.


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1.   ADDITIONAL INSUREDS

     a.   WHO IS AN INSURED is amended to include as an Insured any person or organization described in paragraphs
          A. through I. below whom a Named Insured is required to add as an additional insured on this Coverage Part
          under a written contract or written agreement, provided such contract or agreement:
          (1) is currently in effect or becomes effective during the term of this Coverage Part; and

          (2) was executed prior to:

               (a) the bodily injury or property damage; or

               (b) the offense that caused the personal and advertising injury,

               for which such additional insured seeks coverage.
     b. However, subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer
        will not provide such additional insured with:
          (1) a higher limit of insurance than required by such contract or agreement; or

          (2) coverage broader than required by such contract or agreement, and in no event broader than that described
              by the applicable paragraph A. through I. below.

          Any coverage granted by this endorsement shall apply only to the extent permissible by law.
     A. Controlling Interest

          Any person or organization with a controlling interest in a Named Insured, but only with respect to such person or
          organization's liability for bodily injury, property damage or personal and advertising injury arising out of:
          1.   such person or organization's financial control of a Named Insured; or
          2.   premises such person or organization owns, maintains or controls while a Named Insured leases or
               occupies such premises;

          provided that the coverage granted by this paragraph does not apply to structural alterations, new construction or
          demolition operations performed by, on behalf of, or for such additional insured.
     B. Co-owner of Insured Premises

          A co-owner of a premises co-owned by a Named Insured and covered under this insurance but only with respect
          to such co-owner's liability for bodily injury, property damage or personal and advertising injury as co-owner
          of such premises.
     C. Engineers, Architects or Surveyors Engaged By You

          An architect, engineer or surveyor engaged by the Named Insured, but only with respect to liability for bodily
          injury, property damage or personal and advertising injury caused in whole or in part by the Named Insured's
          acts or omissions, or the acts or omissions of those acting on the Named Insured's behalf:
          a.   in connection with the Named Insured's premises; or
          b. in the performance of the Named Insured's ongoing operations.

          But the coverage hereby granted to such additional insureds does not apply to bodily injury, property damage
          or personal and advertising injury arising out of the rendering of or failure to render any professional services
          by, on behalf of, or for the Named Insured, including but not limited to:
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                                1.   the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                     field orders, change orders or drawings and specifications; or
                                2.   supervisory, inspection, architectural or engineering activities.
                             D. Lessor of Equipment

                                Any person or organization from whom a Named Insured leases equipment, but only with respect to liability for
                                bodily injury, property damage or personal and advertising injury caused, in whole or in part, by the Named
                                Insured's maintenance, operation or use of such equipment, provided that the occurrence giving rise to such
                                bodily injury, property damage or the offense giving rise to such personal and advertising injury takes place
                                prior to the termination of such lease.
                             E. Lessor of Land

                                Any person or organization from whom a Named Insured leases land but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury arising out of the ownership, maintenance or use
                                of such land, provided that the occurrence giving rise to such bodily injury, property damage or the offense
                                giving rise to such personal and advertising injury takes place prior to the termination of such lease. The
                                coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             F. Lessor of Premises

                                An owner or lessor of premises leased to the Named Insured, or such owner or lessor's real estate manager, but
                                only with respect to liability for bodily injury, property damage or personal and advertising injury arising out of
                                the ownership, maintenance or use of such part of the premises leased to the Named Insured, and provided that
                                the occurrence giving rise to such bodily injury or property damage, or the offense giving rise to such personal
                                and advertising injury, takes place prior to the termination of such lease. The coverage granted by this
                                paragraph does not apply to structural alterations, new construction or demolition operations performed by, on
                                behalf of, or for such additional insured.
                             G. Mortgagee, Assignee or Receiver

                                A mortgagee, assignee or receiver of premises but only with respect to such mortgagee, assignee or receiver's
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                                liability for bodily injury, property damage or personal and advertising injury arising out of the Named
                                Insured's ownership, maintenance, or use of a premises by a Named Insured.

                                The coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             H. State or Governmental Agency or Subdivision or Political Subdivisions – Permits

                                A state or governmental agency or subdivision or political subdivision that has issued a permit or authorization but
                                only with respect to such state or governmental agency or subdivision or political subdivision's liability for bodily
                                injury, property damage or personal and advertising injury arising out of:

                                1.   the following hazards in connection with premises a Named Insured owns, rents, or controls and to which
                                     this insurance applies:
                                     a.   the existence, maintenance, repair, construction, erection, or removal of advertising signs, awnings,
                                          canopies, cellar entrances, coal holes, driveways, manholes, marquees, hoistaway openings, sidewalk
                                          vaults, street banners, or decorations and similar exposures; or
                                     b. the construction, erection, or removal of elevators; or

                                     c.   the ownership, maintenance or use of any elevators covered by this insurance; or
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          2.   the permitted or authorized operations performed by a Named Insured or on a Named Insured's behalf.

               The coverage granted by this paragraph does not apply to:
               a.   Bodily injury, property damage or personal and advertising injury arising out of operations performed
                    for the state or governmental agency or subdivision or political subdivision; or
               b. Bodily injury or property damage included within the products-completed operations hazard.

          With respect to this provision's requirement that additional insured status must be requested under a written
          contract or agreement, the Insurer will treat as a written contract any governmental permit that requires the
          Named Insured to add the governmental entity as an additional insured.

     I.   Trade Show Event Lessor

          1.   With respect to a Named Insured's participation in a trade show event as an exhibitor, presenter or displayer,
               any person or organization whom the Named Insured is required to include as an additional insured, but only
               with respect to such person or organization's liability for bodily injury, property damage or personal and
               advertising injury caused by:

               a.   the Named Insured's acts or omissions; or
               b. the acts or omissions of those acting on the Named Insured's behalf,

               in the performance of the Named Insured's ongoing operations at the trade show event premises during the
               trade show event.
          2.   The coverage granted by this paragraph does not apply to bodily injury or property damage included within
               the products-completed operations hazard.
2.   ADDITIONAL INSURED - PRIMARY AND NON-CONTRIBUTORY TO ADDITIONAL INSURED'S INSURANCE

     The Other Insurance Condition in the COMMERCIAL GENERAL LIABILITY CONDITIONS Section is amended to
     add the following paragraph:

     If the Named Insured has agreed in writing in a contract or agreement that this insurance is primary and non-
     contributory relative to an additional insured's own insurance, then this insurance is primary, and the Insurer will not
     seek contribution from that other insurance. For the purpose of this Provision 2., the additional insured's own
     insurance means insurance on which the additional insured is a named insured. Otherwise, and notwithstanding
     anything to the contrary elsewhere in this Condition, the insurance provided to such person or organization is excess
     of any other insurance available to such person or organization.
3.   ADDITIONAL INSURED – EXTENDED COVERAGE

     When an additional insured is added by this or any other endorsement attached to this Coverage Part, WHO IS AN
     INSURED is amended to make the following natural persons Insureds.

     If the additional insured is:
     a.   An individual, then his or her spouse is an Insured;
     b. A partnership or joint venture, then its partners, members and their spouses are Insureds;
     c.   A limited liability company, then its members and managers are Insureds; or
     d. An organization other than a partnership, joint venture or limited liability company, then its executive officers,
        directors and shareholders are Insureds;


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                               but only with respect to locations and operations covered by the additional insured endorsement's provisions, and only
                               with respect to their respective roles within their organizations.

                               Please see the ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES provision of this endorsement for
                               additional coverage and restrictions applicable to spouses of natural person Insureds.
                          4.   BOATS

                               Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions is amended to add the following additional exception to the exclusion entitled Aircraft, Auto or
                               Watercraft:

                               This exclusion does not apply to:
                                    Any watercraft owned by the Named Insured that is less than 30 feet long while being used in the course of the
                                    Named Insured's inspection or surveying work.

                          5.   BODILY INJURY – EXPANDED DEFINITION

                               Under DEFINITIONS, the definition of bodily injury is deleted and replaced by the following:
                               Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                               mental anguish or mental injury sustained by that person at any time which results as a consequence of the physical
                               injury, sickness or disease.
                          6.   BROAD KNOWLEDGE OF OCCURRENCE/ NOTICE OF OCCURRENCE

                               Under CONDITIONS, the condition entitled Duties in The Event of Occurrence, Offense, Claim or Suit is amended
                               to add the following provisions:
                               A. BROAD KNOWLEDGE OF OCCURRENCE

                                    The Named Insured must give the Insurer or the Insurer's authorized representative notice of an occurrence,
                                    offense or claim only when the occurrence, offense or claim is known to a natural person Named Insured, to a
                                    partner, executive officer, manager or member of a Named Insured, or to an employee designated by any of the
                                    above to give such notice.
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                               B. NOTICE OF OCCURRENCE

                                    The Named Insured's rights under this Coverage Part will not be prejudiced if the Named Insured fails to give
                                    the Insurer notice of an occurrence, offense or claim and that failure is solely due to the Named Insured's
                                    reasonable belief that the bodily injury or property damage is not covered under this Coverage Part. However,
                                    the Named Insured shall give written notice of such occurrence, offense or claim to the Insurer as soon as the
                                    Named Insured is aware that this insurance may apply to such occurrence, offense or claim.

                          7.   BROAD NAMED INSURED

                               WHO IS AN INSURED is amended to delete its Paragraph 3. in its entirety and replace it with the following:

                               3.   Pursuant to the limitations described in Paragraph 4. below, any organization in which a Named Insured has
                                    management control:
                                    a.   on the effective date of this Coverage Part; or
                                    b. by reason of a Named Insured creating or acquiring the organization during the policy period,

                                    qualifies as a Named Insured, provided that there is no other similar liability insurance, whether primary,
                                    contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
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          provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
          narrower than that provided by this insurance.

          But this BROAD NAMED INSURED provision does not apply to:
          (a) any partnership, limited liability company or joint venture; or

          (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.

          For the purpose of this provision, management control means:
          A. owning interests representing more than 50% of the voting, appointment or designation power for the
             selection of a majority of the Board of Directors of a corporation; or
          B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or
             sell property held by a trust.
     4.   With respect to organizations which qualify as Named Insureds by virtue of Paragraph 3. above, this insurance
          does not apply to:
          a.   bodily injury or property damage that first occurred prior to the date of management control, or that first
               occurs after management control ceases; nor
          b. personal or advertising injury caused by an offense that first occurred prior to the date of management
             control or that first occurs after management control ceases.
     5.   The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names
          or under such other trading names or doing-business-as names (dba) as any Named Insured should choose to
          employ.
8.   CONTRACTUAL LIABILITY – RAILROADS

     With respect to operations performed within 50 feet of railroad property, the definition of insured contract is replaced
     by the following:
     Insured Contract means:

     a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
          any person or organization for damage by fire to premises while rented to a Named Insured or temporarily
          occupied by a Named Insured you with permission of the owner is not an insured contract;
     b. A sidetrack agreement;

     c.   Any easement or license agreement;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e.   An elevator maintenance agreement;
     f.   That part of any other contract or agreement pertaining to the Named Insured's business (including an
          indemnification of a municipality in connection with work performed for a municipality) under which the Named
          Insured assumes the tort liability of another party to pay for bodily injury or property damage to a third person
          or organization. Tort liability means a liability that would be imposed by law in the absence of any contract or
          agreement.

          Paragraph f. does not include that part of any contract or agreement:

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                                   (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:

                                         (a) Preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                             field orders, change orders or drawings and specifications; or
                                         (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                             damage;
                                   (2) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                       arising out of the insured's rendering or failure to render professional services, including those listed in (1)
                                       above and supervisory, inspection, architectural or engineering activities.
                          9.   ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES

                               The estates, executors, heirs, legal representatives, administrators, trustees, beneficiaries and spouses of any
                               natural person Insured or living trust shall also be insured under this policy; provided, however, coverage is afforded
                               to such estates, executors, heirs, legal representatives, administrators, trustees, beneficiaries and spouses only for
                               claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim seeks
                               damages from marital community property, jointly held property or property transferred from such natural person
                               Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                               representative, or spouse outside the scope of such person's capacity or status as such, provided, however, that the
                               spouse of a natural person Named Insured, and the spouses of members or partners of joint venture or partnership
                               Named Insureds are Insureds with respect to such spouses' acts, errors or omissions in the conduct of the Named
                               Insured's business.

                          10. EXPECTED OR INTENDED INJURY – EXCEPTION FOR REASONABLE FORCE

                               Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions is amended to delete the exclusion entitled Expected or Intended Injury and replace it with the following:

                               This insurance does not apply to:
                               Expected or Intended Injury

                               Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does not
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                               apply to bodily injury or property damage resulting from the use of reasonable force to protect persons or property.
                          11. GENERAL AGGREGATE LIMITS OF INSURANCE - PER LOCATION

                               A. A separate Location General Aggregate Limit, equal to the amount of the General Aggregate Limit, is the most the
                                  Insurer will pay for the sum of:
                                   1.    All damages under Coverage A, except damages because of bodily injury or property damage included in
                                         the products-completed operations hazard; and
                                   2.    All medical expenses under Coverage C,

                                   that arise from occurrences or accidents which can be attributed solely to ongoing operations at that location.
                                   Such payments shall not reduce the General Aggregate Limit shown in the Declarations, nor the Location General
                                   Aggregate Limit of any other location.
                               B. All:

                                   1.    Damages under Coverage B, regardless of the number of locations involved;




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       2.   Damages under Coverage A, caused by occurrences which cannot be attributed solely to ongoing
            operations at a single location, except damages because of bodily injury or property damage included in
            the products-completed operations hazard; and
       3.   Medical expenses under Coverage C caused by accidents which cannot be attributed solely to ongoing
            operations at a single location,

       will reduce the General Aggregate Limit shown in the Declarations.
   C. For the purpose of this GENERAL AGGREGATE LIMITS OF INSURANCE - PER LOCATION Provision,
      "location" means:
       1.   a premises the Named Insured owns or rents; or
       2.   a premises not owned or rented by any Named Insured at which the Named Insured is performing
            operations pursuant to a contract or written agreement. If operations at such a location have been
            discontinued and then restarted, or if the authorized parties deviate from plans, blueprints, designs,
            specifications or timetables, the location will still be deemed to be the same location.

       For the purpose of determining the applicable aggregate limit of insurance, premises involving the same or
       connecting lots, or premises whose connection is interrupted only by a street, roadway, waterway or right-of-way
       of a railroad shall be considered a single location.
   D. The limits shown in the Declarations for Each Occurrence, for Damage To Premises Rented To You and for
      Medical Expense continue to apply, but will be subject to either the Location General Aggregate Limit or the
      General Aggregate Limit, depending on whether the occurrence can be attributed solely to ongoing operations at
      a particular location.
   E. When coverage for liability arising out of the products-completed operations hazard is provided, any payments
      for damages because of bodily injury or property damage included in the products-completed operations
      hazard, regardless of the number of locations involved, will reduce the Products-Completed Operations
      Aggregate Limit shown in the Declarations.
   F. The provisions of LIMITS OF INSURANCE not otherwise modified by this GENERAL AGGREGATE LIMITS OF
      INSURANCE - PER LOCATION Provision shall continue to apply as stipulated.

12. IN REM ACTIONS

       A quasi in rem action against any vessel owned or operated by or for the Named Insured, or chartered by or for
   the Named Insured, will be treated in the same manner as though the action were in personam against the Named
   Insured.

13. INCIDENTAL HEALTH CARE MALPRACTICE COVERAGE

   Solely with respect to bodily injury that arises out of a health care incident:
   A. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the Insuring Agreement is
      amended to replace Paragraphs 1.b.(1) and 1.b.(2) with the following:
       b. This insurance applies to bodily injury provided that the professional health care services are incidental to
          the Named Insured's primary business purpose, and only if:
            (1) such bodily injury is caused by an occurrence that takes place in the coverage territory.

            (2) the bodily injury first occurs during the policy period. All bodily injury arising from an occurrence will
                be deemed to have occurred at the time of the first act, error, or omission that is part of the occurrence;
                and

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                             B. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions is amended to:

                                i.   add the following to the Employers Liability exclusion:

                                     This exclusion applies only if the bodily injury arising from a health care incident is covered by other
                                     liability insurance available to the Insured (or which would have been available but for exhaustion of its
                                     limits).
                                ii. delete the exclusion entitled Contractual Liability and replace it with the following:

                                     This insurance does not apply to:
                                     Contractual Liability

                                     the Insured's actual or alleged liability under any oral or written contract or agreement, including but not
                                     limited to express warranties or guarantees.
                                iii. to add the following additional exclusions:

                                     This insurance does not apply to:
                                     Discrimination

                                     any actual or alleged discrimination, humiliation or harassment, including but not be limited to claims based
                                     on an individual's race, creed, color, age, gender, national origin, religion, disability, marital status or sexual
                                     orientation.
                                     Dishonesty or Crime

                                     Any actual or alleged dishonest, criminal or malicious act, error or omission.
                                     Medicare/Medicaid Fraud

                                     any actual or alleged violation of law with respect to Medicare, Medicaid, Tricare or any similar federal, state
                                     or local governmental program.
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                                     Services Excluded by Endorsement

                                     Any health care incident for which coverage is excluded by endorsement.
                             C. DEFINITIONS is amended to:

                                i.   add the following definitions:
                                     Health care incident means an act, error or omission by the Named Insured's employees or volunteer
                                     workers in the rendering of:

                                     a.   professional health care services on behalf of the Named Insured or

                                     b. Good Samaritan services rendered in an emergency and for which no payment is demanded or received.

                                     Professional health care services means any health care services or the related furnishing of food,
                                     beverages, medical supplies or appliances by the following providers in their capacity as such but solely to
                                     the extent they are duly licensed as required:
                                     a.   Physician;


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          b. Nurse;

          c.   Nurse practitioner;
          d. Emergency medical technician;

          e.   Paramedic;
          f.   Dentist;
          g. Physical therapist;

          h. Psychologist;

          i.   Speech therapist;
          j.   Other allied health professional; or
          Professional health care services does not include any services rendered in connection with human clinical
          trials or product testing.
      ii. delete the definition of occurrence and replace it with the following:

          Occurrence means a health care incident. All acts, errors or omissions that are logically connected by any
          common fact, circumstance, situation, transaction, event, advice or decision will be considered to constitute a
          single occurrence;
      iii. amend the definition of Insured to:

          a.   add the following:
                    the Named Insured's employees are Insureds with respect to:

                    (1) bodily injury to a co-employee while in the course of the co-employee's employment by the
                        Named Insured or while performing duties related to the conduct of the Named Insured's
                        business; and
                    (2) bodily injury to a volunteer worker while performing duties related to the conduct of the
                        Named Insured's business;

                    when such bodily injury arises out of a health care incident.
                    the Named Insured's volunteer workers are Insureds with respect to:

                    (1) bodily injury to a co-volunteer worker while performing duties related to the conduct of the
                        Named Insured's business; and

                    (2) bodily injury to an employee while in the course of the employee's employment by the Named
                        Insured or while performing duties related to the conduct of the Named Insured's business;

               when such bodily injury arises out of a health care incident.
          b. delete Subparagraphs (a), (b), (c) and (d) of Paragraph 2.a.(1) of WHO IS AN INSURED.

   D. The Other Insurance condition is amended to delete Paragraph b.(1) in its entirety and replace it with the
      following:
      Other Insurance

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                                                           CNA000559
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                                 b. Excess Insurance

                                      (1) To the extent this insurance applies, it is excess over any other insurance, self insurance or risk transfer
                                          instrument, whether primary, excess, contingent or on any other basis, except for insurance purchased
                                          specifically by the Named Insured to be excess of this coverage.
                          14. JOINT VENTURES / PARTNERSHIP / LIMITED LIABILITY COMPANIES

                             A. Past Joint Ventures, Partnerships, Limited Liability Companies

                                 The following is added to WHO IS AN INSURED:

                                 If the Named Insured was a joint venturer, partner, or member of a limited liability company and such joint
                                 venture, partnership or limited liability company terminated prior to or during the policy period, such Named
                                 Insured is an Insured with respect to its interest in such joint venture, partnership or limited liability company but
                                 only to the extent that:
                                 a.   any offense giving rise to personal and advertising injury occurred prior to such termination date, and the
                                      personal and advertising injury arising out of such offense, first occurred after such termination date;

                                 b. the bodily injury or property damage first occurred after such termination date; and

                                 c.   there is no other valid and collectible insurance purchased specifically to insure the partnership, joint venture
                                      or limited liability company.

                                 If the joint venture, partnership or limited liability company is or was insured under a consolidated (wrap-up)
                                 insurance program, then such insurance will always be considered valid and collectible for the purpose of
                                 paragraph c. above. But this provision will not serve to exclude bodily injury, property damage or personal and
                                 advertising injury that would otherwise be covered under the Architects, Engineers And Surveyors General
                                 Liability Extension Endorsement provision entitled WRAP-UP EXTENSION: OCIP, CCIP, OR
                                 CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS. Please see that provision for the definition of
                                 consolidated (wrap-up) insurance program.

                             B. Participation In Current Professional Joint Ventures
                                 The following is added to WHO IS AN INSURED:
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                                 The Named Insured is also an Insured for participation in a current joint venture that is not named on the
                                 Declarations, but only if such joint venture meets all of the following criteria:
                                 a.   Each and every one of the Named Insured's co-venturers are architectural, engineering or surveying firms
                                      only; and
                                 b. There is no other valid and collectible insurance purchased specifically to insure the joint venture.

                                 However, the Named Insured is an Insured only for the conduct of such Named Insured's business within such
                                 a joint venture. The Named Insured is not insured for liability arising out of the acts or omissions of other co-
                                 venturers, nor of their partners, members or employees.
                             C. WHO IS AN INSURED is amended to delete its last paragraph and replace it with the following:
                                 Except as provided under this Architects, Engineers And Surveyors General Liability Extension
                                 Endorsement or by the attachment of another endorsement (if any), no person or organization is an Insured with
                                 respect to the conduct of any current or past partnership, joint venture or limited liability company that is not
                                 shown as a Named Insured in the Declarations.



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                                                                                      CNA000560
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15. LEGAL LIABILITY – DAMAGE TO PREMISES / ALIENATED PREMISES / PROPERTY IN THE NAMED
    INSURED'S CARE, CUSTODY OR CONTROL

   A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended to delete exclusion j. Damage to Property in its entirety and replace it with the following:

       This insurance does not apply to:
       j.   Damage to Property

            Property damage to:

            (1) Property the Named Insured owns, rents, or occupies, including any costs or expenses incurred by you,
                or any other person, organization or entity, for repair, replacement, enhancement, restoration or
                maintenance of such property for any reason, including prevention of injury to a person or damage to
                another's property;
            (2) Premises the Named Insured sells, gives away or abandons, if the property damage arises out of any
                part of those premises;
            (3) Property loaned to the Named Insured;

            (4) Personal property in the care, custody or control of the Insured;

            (5) That particular part of real property on which the Named Insured or any contractors or subcontractors
                working directly or indirectly on the Named Insured's behalf are performing operations, if the property
                damage arises out of those operations; or

            (6) That particular part of any property that must be restored, repaired or replaced because your work was
                incorrectly performed on it.

            Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
            premises rented to the Named Insured or temporarily occupied by the Named Insured with the permission of
            the owner, nor to the contents of premises rented to the Named Insured for a period of 7 or fewer
            consecutive days. A separate limit of insurance applies to Damage To Premises Rented To You as described
            in LIMITS OF INSURANCE.

            Paragraph (2) of this exclusion does not apply if the premises are your work.

            Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack
            agreement.

            Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
            operations hazard.

            Paragraphs (3) and (4) of this exclusion do not apply to property damage to:
            i.   tools, or equipment the Named Insured borrows from others, nor
            ii. other personal property of others in the Named Insured's care, custody or control while being used in the
                Named Insured's operations away from any Named Insured's premises.

            However, the coverage granted by this exception to Paragraphs (3) and (4) does not apply to:
            a.   property at a job site awaiting or during such property's installation, fabrication, or erection;
            b. property that is mobile equipment leased by an Insured;

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Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000561
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                                      c.   property that is an auto, aircraft or watercraft;
                                      d. property in transit; or

                                      e.   any portion of property damage for which the Insured has available other valid and collectible
                                           insurance, or would have such insurance but for exhaustion of its limits, or but for application of one of its
                                           exclusions.

                                      A separate limit of insurance and deductible apply to such property of others. See LIMITS OF INSURANCE
                                      as amended below.
                             B. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                                Exclusions is amended to delete its last paragraph and replace it with the following:

                                 Exclusions c. through n. do not apply to damage by fire to premises while rented to a Named Insured or
                                 temporarily occupied by a Named Insured with permission of the owner, nor to damage to the contents of
                                 premises rented to a Named Insured for a period of 7 or fewer consecutive days.

                                 A separate limit of insurance applies to this coverage as described in LIMITS OF INSURANCE.
                             C. The following paragraph is added to LIMITS OF INSURANCE:

                                 Subject to 5. above, $25,000 is the most the Insurer will pay under Coverage A for damages arising out of any
                                 one occurrence because of the sum of all property damage to borrowed tools or equipment, and to other
                                 personal property of others in the Named Insured's care, custody or control, while being used in the Named
                                 Insured's operations away from any Named Insured's premises. The Insurer's obligation to pay such property
                                 damage does not apply until the amount of such property damage exceeds $1,000. The Insurer has the right but
                                 not the duty to pay any portion of this $1,000 in order to effect settlement. If the Insurer exercises that right, the
                                 Named Insured will promptly reimburse the Insurer for any such amount.

                             D. Paragraph 6., Damage To Premises Rented To You Limit, of LIMITS OF INSURANCE is deleted and replaced by
                                the following:
                                 6.   Subject to Paragraph 5. above, (the Each Occurrence Limit), the Damage To Premises Rented To You Limit
                                      is the most the Insurer will pay under Coverage A for damages because of property damage to any one
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                                      premises while rented to the Named Insured or temporarily occupied by the Named Insured with the
                                      permission of the owner, including contents of such premises rented to the Named Insured for a period of 7
                                      or fewer consecutive days. The Damage To Premises Rented To You Limit is the greater of:
                                      a.   $500,000; or
                                      b. The Damage To Premises Rented To You Limit shown in the Declarations.

                             E. Paragraph 4.b.(1)(a)(ii) of the Other Insurance Condition is deleted and replaced by the following:

                                 (ii) That is property insurance for premises rented to the Named Insured, for premises temporarily occupied by
                                      the Named Insured with the permission of the owner; or for personal property of others in the Named
                                      Insured's care, custody or control;

                          16. LIQUOR LIABILITY

                             Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                             Exclusions is amended to delete the exclusion entitled Liquor Liability.

                             This LIQUOR LIABILITY Provision does not apply to any person or organization who otherwise qualifies as an
                             additional insured on this Coverage Part.


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17. MEDICAL PAYMENTS

   A. LIMITS OF INSURANCE is amended to delete Paragraph 7. (the Medical Expense Limit) and replace it with the
      following:
        7.   Subject to Paragraph 5. above (the Each Occurrence Limit), the Medical Expense Limit is the most the
             Insurer will pay under Coverage C for all medical expenses because of bodily injury sustained by any one
             person. The Medical Expense Limit is the greater of:
             (1) $15,000 unless a different amount is shown here:                         $N,NNN,NNN,NNN;                   or
             (2) the amount shown in the Declarations for Medical Expense Limit.

   B. Under COVERAGES, the Insuring Agreement of Coverage C – Medical Payments is amended to replace
      Paragraph 1.a.(3)(b) with the following:
        (b) The expenses are incurred and reported to the Insurer within three years of the date of the accident; and

18. NON-OWNED AIRCRAFT

   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended as follows:

   The exclusion entitled Aircraft, Auto or Watercraft is amended to add the following:

   This exclusion does not apply to an aircraft not owned by any Named Insured, provided that:
   1.   the pilot in command holds a currently effective certificate issued by the duly constituted authority of the United
        States of America or Canada, designating that person as a commercial or airline transport pilot;
   2.   the aircraft is rented with a trained, paid crew to the Named Insured; and
   3.   the aircraft is not being used to carry persons or property for a charge.
19. NON-OWNED WATERCRAFT

   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended to delete subparagraph (2) of the exclusion entitled Aircraft, Auto or Watercraft, and
   replace it with the following.

   This exclusion does not apply to:
   (2) a watercraft that is not owned by any Named Insured, provided the watercraft is:

        (a) less than 75 feet long; and

        (b) not being used to carry persons or property for a charge.

20. PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION

   A. Under DEFINITIONS, the definition of personal and advertising injury is amended to add the following tort:
             Discrimination or humiliation that results in injury to the feelings or reputation of a natural person.

   B. Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the paragraph entitled
      Exclusions is amended to:

        1.   delete the Exclusion entitled Knowing Violation Of Rights Of Another and replace it with the following:

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                                                             CNA000563
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                                      This insurance does not apply to:
                                      Knowing Violation of Rights of Another

                                      Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                      would violate the rights of another and would inflict personal and advertising injury. This exclusion shall not
                                      apply to discrimination or humiliation that results in injury to the feelings or reputation of a natural person, but
                                      only if such discrimination or humiliation is not done intentionally by or at the direction of:
                                      (a) the Named Insured; or

                                      (b) any executive officer, director, stockholder, partner, member or manager (if the Named Insured is a
                                          limited liability company) of the Named Insured.
                                 2.   add the following exclusions:

                                      This insurance does not apply to:
                                      Employment Related Discrimination

                                      discrimination or humiliation directly or indirectly related to the employment, prospective employment, past
                                      employment or termination of employment of any person by any Insured.
                                      Premises Related Discrimination

                                      discrimination or humiliation arising out of the sale, rental, lease or sub-lease or prospective sale, rental,
                                      lease or sub-lease of any room, dwelling or premises by or at the direction of any Insured.

                             Notwithstanding the above, there is no coverage for fines or penalties levied or imposed by a governmental entity
                             because of discrimination.

                             The coverage provided by this PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION
                             Provision does not apply to any person or organization whose status as an Insured derives solely from
                                      Provision 1. ADDITIONAL INSURED of this endorsement; or
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                                      attachment of an additional insured endorsement to this Coverage Part.

                          21. PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY

                             A. Under COVERAGES, Coverage B –Personal and Advertising Injury Liability, the paragraph entitled
                                Exclusions is amended to delete the exclusion entitled Contractual Liability.

                             B. Solely for the purpose of the coverage provided by this PERSONAL AND ADVERTISING INJURY - LIMITED
                                CONTRACTUAL LIABILITY provision, the following changes are made to the section entitled
                                SUPPLEMENTARY PAYMENTS – COVERAGES A AND B:

                                 1.   Paragraph 2.d. is replaced by the following:
                                      d. The allegations in the suit and the information the Insurer knows about the offense alleged in such suit
                                         are such that no conflict appears to exist between the interests of the Insured and the interests of the
                                         indemnitee;
                                 2.   The first unnumbered paragraph beneath Paragraph 2.f.(2)(b) is deleted and replaced by the following:

                                      So long as the above conditions are met, attorney's fees incurred by the Insurer in the defense of that
                                      indemnitee, necessary litigation expenses incurred by the Insurer, and necessary litigation expenses incurred


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            by the indemnitee at the Insurer's request will be paid as defense costs. Such payments will not be deemed
            to be damages for personal and advertising injury and will not reduce the limits of insurance.
   C. This PERSONAL AND ADVERTISING INJURY - LIMITED CONTRACTUAL LIABILITY Provision does not apply
      if Coverage B –Personal and Advertising Injury Liability is excluded by another endorsement attached to this
      Coverage Part.

   This PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY Provision does not apply to any
   person or organization who otherwise qualifies as an additional insured on this Coverage Part.
22. PROPERTY DAMAGE – ELEVATORS

   A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended such that the Damage to Your Product Exclusion and subparagraphs (3), (4) and (6) of
      the Damage to Property Exclusion do not apply to property damage that results from the use of elevators.
   B. Solely for the purpose of the coverage provided by this PROPERTY DAMAGE – ELEVATORS Provision, the
      Other Insurance conditions is amended to add the following paragraph:

        This insurance is excess over any of the other insurance, whether primary, excess, contingent or on any other
        basis that is Property insurance covering property of others damaged from the use of elevators.
23. RETIRED PARTNERS, MEMBERS, DIRECTORS AND EMPLOYEES

   WHO IS INSURED is amended to include as Insureds natural persons who are retired partners, members, directors
   or employees, but only for bodily injury, property damage or personal and advertising injury that results from
   services performed for the Named Insured under the Named Insured's direct supervision. All limitations that apply to
   employees and volunteer workers also apply to anyone qualifying as an Insured under this Provision.

24. SUPPLEMENTARY PAYMENTS

   The section entitled SUPPLEMENTARY PAYMENTS – COVERAGES A AND B is amended as follows:
   A. Paragraph 1.b. is amended to delete the $250 limit shown for the cost of bail bonds and replace it with a $5,000.
      limit; and
   B. Paragraph 1.d. is amended to delete the limit of $250 shown for daily loss of earnings and replace it with a
      $1,000. limit.
25. UNINTENTIONAL FAILURE TO DISCLOSE HAZARDS

   If the Named Insured unintentionally fails to disclose all existing hazards at the inception date of the Named
   Insured's Coverage Part, the Insurer will not deny coverage under this Coverage Part because of such failure.

26. WAIVER OF SUBROGATION - BLANKET

   Under CONDITIONS, the condition entitled Transfer Of Rights Of Recovery Against Others To Us is amended to
   add the following:

   The Insurer waives any right of recovery the Insurer may have against any person or organization because of
   payments the Insurer makes for injury or damage arising out of:
   1.   the Named Insured's ongoing operations; or
   2.   your work included in the products-completed operations hazard.

   However, this waiver applies only when the Named Insured has agreed in writing to waive such rights of recovery in
   a written contract or written agreement, and only if such contract or agreement:
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                                                            CNA000565
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                             1.   is in effect or becomes effective during the term of this Coverage Part; and
                             2.   was executed prior to the bodily injury, property damage or personal and advertising injury giving rise to the
                                  claim.

                          27. WRAP-UP EXTENSION: OCIP, CCIP, OR CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS

                             Note: The following provision does not apply to any public construction project in the state of Oklahoma, nor to any
                             construction project in the state of Alaska, that is not permitted to be insured under a consolidated (wrap-up)
                             insurance program by applicable state statute or regulation.

                             If the endorsement EXCLUSION – CONSTRUCTION WRAP-UP is attached to this policy, or another exclusionary
                             endorsement pertaining to Owner Controlled Insurance Programs (O.C.I.P.) or Contractor Controlled Insurance
                             Programs (C.C.I.P.) is attached, then the following changes apply:
                             A. The following wording is added to the above-referenced endorsement:

                                  With respect to a consolidated (wrap-up) insurance program project in which the Named Insured is or was
                                  involved, this exclusion does not apply to those sums the Named Insured become legally obligated to pay as
                                  damages because of:

                                  1.   Bodily injury, property damage, or personal or advertising injury that occurs during the Named Insured's
                                       ongoing operations at the project, or during such operations of anyone acting on the Named Insured's
                                       behalf; nor
                                  2.   Bodily injury or property damage included within the products-completed operations hazard that arises
                                       out of those portions of the project that are not residential structures.
                             B. Condition 4. Other Insurance is amended to add the following subparagraph 4.b.(1)(c):

                                  This insurance is excess over:
                                  (c) Any of the other insurance whether primary, excess, contingent or any other basis that is insurance available
                                      to the Named Insured as a result of the Named Insured being a participant in a consolidated (wrap-up)
                                      insurance program, but only as respects the Named Insured's involvement in that consolidated (wrap-up)
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                                      insurance program.

                             C. DEFINITIONS is amended to add the following definitions:

                                  Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the
                                  prime contractor/project manager or owner of the construction project has secured general liability insurance
                                  covering some or all of the contractors or subcontractors involved in the project, such as an Owner Controlled
                                  Insurance Program (O.C.I.P.) or Contractor Controlled Insurance Program (C.C.I.P.).
                                  Residential structure means any structure where 30% or more of the square foot area is used or is intended to
                                  be used for human residency, including but not limited to:
                                  1.   single or multifamily housing, apartments, condominiums, townhouses, co-operatives or planned unit
                                       developments; and
                                  2.   the common areas and structures appurtenant to the structures in paragraph 1. (including pools, hot tubs,
                                       detached garages, guest houses or any similar structures).

                                  However, when there is no individual ownership of units, residential structure does not include military housing,
                                  college/university housing or dormitories, long term care facilities, hotels or motels. Residential structure also
                                  does not include hospitals or prisons.


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                                                                                       CNA000566
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    This WRAP-UP EXTENSION: OCIP, CCIP, OR CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS Provision
    does not apply to any person or organization who otherwise qualifies as an additional insured on this Coverage Part.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




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Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000567
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                                                            General Aggregate Limit - Designated Projects Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                                   SCHEDULE
                               Designated Construction or Service Projects:
                               Each of your construction projects
                               located away from premises owned by
                               or rented to you.




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          It is understood and agreed as follows:
                          I.   For each single designated construction or service project shown in the Schedule above, a separate Designated
                               Project General Aggregate Limit, equal to the amount of the General Aggregate Limit shown in the Declarations, is the
                               most the Insurer will pay for the sum of:
                               A. all damages under Coverage A, except damages because of bodily injury or property damage included in the
                                  products-completed operations hazard; and
                               B. all medical expenses under Coverage C;
                               that arise from occurrences or accidents which can be attributed solely to ongoing operations at that designated
                               project. Such payments shall not reduce the General Aggregate Limit shown in the Declarations, nor the Designated
20020000760568728073713




                               Project General Aggregate Limit applicable to any other project.
                          II. All:
                               A. damages under Coverage B, regardless of the number of locations or projects involved;
                               B. damages under Coverage A, caused by occurrences which cannot be attributed solely to ongoing operations at
                                  a single designated project, except damages because of bodily injury or property damage included in the
                                  products-completed operations hazard; and
                               C. medical expenses under Coverage C, caused by accidents which cannot be attributed solely to ongoing
                                  operations at a single designated project,
                               will reduce the General Aggregate Limit shown in the Declarations.
                          III. The limits shown in the Declarations for Each Occurrence, for Damage To Premises Rented To You and for Medical
                               Expense continue to apply, but will be subject to either the Project General Aggregate Limit or the General Aggregate
                               Limit shown in the Declarations, depending on whether the occurrence can be attributed solely to ongoing operations
                               at a particular designated project.
                          IV. When coverage for liability arising out of the products-completed operations hazard is provided, any payments for
                              damages because of bodily injury or property damage included in the products-completed operations hazard will

                          CNA74826XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 2                                                                                                     Endorsement No:       4
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000568
                                            Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 367 of 1498 PageID #:16627
                                                                                                                          CNA PARAMOUNT
                                 General Aggregate Limit - Designated Projects Endorsement

    reduce the Products-Completed Operations Aggregate Limit shown in the Declarations, regardless of the number of
    projects involved.
V. If the applicable scheduled construction or service project has been abandoned and then restarted, or if the authorized
   contracting parties deviate from plans, blueprints, designs, specifications or timetables, such project will still be
   deemed to be the same project.
VI. The provisions of LIMITS OF INSURANCE not otherwise modified by this endorsement shall continue to apply as
    stipulated.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74826XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:       4
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000569
                 Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 368 of 1498 PageID #:16628
                                                                                                                                                     CNA PARAMOUNT

                                                                                                 Coverage for Liability for Hazards of Lead
                                                                                                without Sublimit Endorsement - New Jersey

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the
                          paragraph entitled Exclusions, is amended to add the following to the exclusion entitled Pollution:
                          For premises constructed on or after 1978, or premises constructed prior to 1978 which have been certified, prior to the
                          policy period, as being free of existing lead hazards pursuant to standards established by the Department of Community
                          Affairs, this exclusion does not apply to bodily injury arising out of lead contamination, or out of the inhalation, ingestion,
                          use, handling or contact with lead paint at or from any premises, site or location which is or was at any time owned or
                          occupied by, or rented or loaned to, any Insured.
                          This provision will also apply to any premises constructed prior to 1978 which receives such certification during the policy
                          period, but only for bodily injury which occurs after such certification.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728073714




                          CNA74942NJ (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:       5
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000570
                                            Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 369 of 1498 PageID #:16629
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PETILLO, INC.
20020000760568728073715




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       6
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000571
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 370 of 1498 PageID #:16630
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:       6
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000572
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 371 of 1498 PageID #:16631
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Town of Morristown
20020000760568728073716




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       7
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000573
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 372 of 1498 PageID #:16632
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:       7
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000574
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 373 of 1498 PageID #:16633
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DM Airports, LTD
20020000760568728073717




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       8
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000575
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 374 of 1498 PageID #:16634
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:       8
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000576
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 375 of 1498 PageID #:16635
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MCFARLAND JOHNSON ENGINEERS INC
20020000760568728073718




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       9
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000577
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 376 of 1498 PageID #:16636
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:       9
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000578
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 377 of 1498 PageID #:16637
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Delta Airport Solutions
20020000760568728073719




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      10
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000579
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 378 of 1498 PageID #:16638
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      10
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000580
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 379 of 1498 PageID #:16639
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           US Federal Aviation Administration
20020000760568728073720




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      11
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000581
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 380 of 1498 PageID #:16640
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      11
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000582
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 381 of 1498 PageID #:16641
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PETILLO, INC.
20020000760568728073721




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      12
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000583
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 382 of 1498 PageID #:16642
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      12
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000584
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 383 of 1498 PageID #:16643
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Town of Morristown
20020000760568728073722




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      13
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000585
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 384 of 1498 PageID #:16644
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      13
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000586
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 385 of 1498 PageID #:16645
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DM Airports, LTD
20020000760568728073723




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      14
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000587
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 386 of 1498 PageID #:16646
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      14
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000588
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 387 of 1498 PageID #:16647
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MCFARLAND JOHNSON ENGINEERS INC
20020000760568728073724




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      15
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000589
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 388 of 1498 PageID #:16648
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      15
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000590
                                                 Copyright, ISO Properties, Inc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 389 of 1498 PageID #:16649
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Delta Airport Solutions
20020000760568728073725




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      16
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000591
                                                                         Copyright, ISO Properties, Inc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 390 of 1498 PageID #:16650
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      16
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000592
                                                 Copyright, ISO Properties, Inc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 391 of 1498 PageID #:16651
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           US Federal Aviation Administration
20020000760568728073726




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      17
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000593
                                                                         Copyright, ISO Properties, Inc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 392 of 1498 PageID #:16652
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      17
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000594
                                                 Copyright, ISO Properties, Inc 2004
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 393 of 1498 PageID #:16653
                                                                                                                                                     CNA PARAMOUNT
                                                                                      Blanket Additional Insured - Owners, Lessees or
                                                                                               Contractors - with Products-Completed
                                                                                                  Operations Coverage Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   WHO IS AN INSURED is amended to include as an Insured any person or organization whom you are required by
                               written contract to add as an additional insured on this coverage part, but only with respect to liability for bodily
                               injury, property damage or personal and advertising injury caused in whole or in part by your acts or omissions, or
                               the acts or omissions of those acting on your behalf:
                               A. in the performance of your ongoing operations subject to such written contract; or
                               B. in the performance of your work subject to such written contract, but only with respect to bodily injury or
                                  property damage included in the products-completed operations hazard, and only if:
                                   1.   the written contract requires you to provide the additional insured such coverage; and
                                   2.   this coverage part provides such coverage.
                          II. But if the written contract requires:
                               A. additional insured coverage under the 11-85 edition, 10-93 edition, or 10-01 edition of CG2010, or under the 10-
                                  01 edition of CG2037; or
                               B. additional insured coverage with "arising out of" language; or
                               C. additional insured coverage to the greatest extent permissible by law;
                               then paragraph I. above is deleted in its entirety and replaced by the following:
                               WHO IS AN INSURED is amended to include as an Insured any person or organization whom you are required by
                               written contract to add as an additional insured on this coverage part, but only with respect to liability for bodily
                               injury, property damage or personal and advertising injury arising out of your work that is subject to such written
                               contract.
                          III. Subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer will not provide
20020000760568728073727




                               such additional insured with:
                               A. coverage broader than required by the written contract; or
                               B. a higher limit of insurance than required by the written contract.
                          IV. The insurance granted by this endorsement to the additional insured does not apply to bodily injury, property
                              damage, or personal and advertising injury arising out of:
                               A. the rendering of, or the failure to render, any professional architectural, engineering, or surveying services,
                                  including:
                                   1.   the preparing, approving, or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                        field orders, change orders or drawings and specifications; and
                                   2.   supervisory, inspection, architectural or engineering activities; or
                               B. any premises or work for which the additional insured is specifically listed as an additional insured on another
                                  endorsement attached to this coverage part.
                          V. Under COMMERCIAL GENERAL LIABILITY CONDITIONS, the Condition entitled Other Insurance is amended to
                              add the following, which supersedes any provision to the contrary in this Condition or elsewhere in this coverage
                              part:
                          CNA75079XX (10-16)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:         18
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000595
                                            Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 394 of 1498 PageID #:16654
                                                                                                                           CNA PARAMOUNT
                                                            Blanket Additional Insured - Owners, Lessees or
                                                                     Contractors - with Products-Completed
                                                                        Operations Coverage Endorsement

    Primary and Noncontributory Insurance
    With respect to other insurance available to the additional insured under which the additional insured is a named
    insured, this insurance is primary to and will not seek contribution from such other insurance, provided that a written
    contract requires the insurance provided by this policy to be:
    1.   primary and non-contributing with other insurance available to the additional insured; or
    2.   primary and to not seek contribution from any other insurance available to the additional insured.
    But except as specified above, this insurance will be excess of all other insurance available to the additional insured.
VI. Solely with respect to the insurance granted by this endorsement, the section entitled COMMERCIAL GENERAL
    LIABILITY CONDITIONS is amended as follows:
    The Condition entitled Duties In The Event of Occurrence, Offense, Claim or Suit is amended with the addition of
    the following:
    Any additional insured pursuant to this endorsement will as soon as practicable:
    1.   give the Insurer written notice of any claim, or any occurrence or offense which may result in a claim;
    2.   send the Insurer copies of all legal papers received, and otherwise cooperate with the Insurer in the investigation,
         defense, or settlement of the claim; and
    3.   make available any other insurance, and tender the defense and indemnity of any claim to any other insurer or
         self-insurer, whose policy or program applies to a loss that the Insurer covers under this coverage part. However,
         if the written contract requires this insurance to be primary and non-contributory, this paragraph 3. does not
         apply to insurance on which the additional insured is a named insured.
    The Insurer has no duty to defend or indemnify an additional insured under this endorsement until the Insurer receives
    written notice of a claim from the additional insured.
VII. Solely with respect to the insurance granted by this endorsement, the section entitled DEFINITIONS is amended to
     add the following definition:
    Written contract means a written contract or written agreement that requires you to make a person or organization an
    additional insured on this coverage part, provided the contract or agreement:
    A. is currently in effect or becomes effective during the term of this policy; and
    B. was executed prior to:
         1.   the bodily injury or property damage; or
         2.   the offense that caused the personal and advertising injury;
         for which the additional insured seeks coverage.
Any coverage granted by this endorsement shall apply solely to the extent permissible by law.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.

CNA75079XX (10-16)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                     Endorsement No:      18
CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                              CNA000596
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 395 of 1498 PageID #:16655
                                                                                                                                                    CNA PARAMOUNT
                                                                                         Pollution Exclusion Amendatory Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A, Bodily Injury and Property Damage Liability, the
                          paragraph entitled Exclusions is amended to delete paragraph (2) of exclusion f. Pollution, in its entirety, and replace it
                          with the following:
                          This insurance does not apply to:
                          (2) Any loss, cost or expense arising out of any:
                              (a) request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor, clean
                                  up, remove, contain, treat, detoxify or neutralize, or in any way respond to or assess the effects of, pollutants; or
                              (b) Claim by or on behalf of a governmental authority for damages because of testing for, monitoring, cleaning up,
                                  removing, containing, treating, detoxifying or neutralizing, or in any way responding to or assessing the effects of,
                                  pollutants.
                              However, if liability for damages because of property damage is not excluded by paragraph (1) of this exclusion,
                              then neither will paragraph (2)(a) above serve to exclude such damages.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728073728




                          CNA74843XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      19
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000597
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 396 of 1498 PageID #:16656
                                                                                                                                                   CNA PARAMOUNT

                                                                                        Primary and Noncontributory - Other Insurance
                                                                                                              Condition Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the condition entitled Other Insurance is amended to add the following:
                              Primary And Noncontributory Insurance
                              Notwithstanding anything to the contrary, this insurance is primary to and will not seek contribution from any other
                              insurance available to an additional insured under this policy provided that:
                              a.   the additional insured is a named insured under such other insurance; and
                              b. the Named Insured has agreed in writing in a contract or agreement that this insurance would be primary and
                                 would not seek contribution from any other insurance available to the additional insured.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728073729




                          CNA74987XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      20
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000598
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 397 of 1498 PageID #:16657
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DeBartolo Construction Services, LLC



                           FedEx Ground Package System, Inc.



                           Church 2415 Reality LLC



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728073730




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      21
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000599
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 398 of 1498 PageID #:16658
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           The J360 Construction Co LLC



                           Alston Construction Company, Inc



                           County of Warren             Broad of Chosen Freeholders



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728073731




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      22
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000600
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 399 of 1498 PageID #:16659
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                 SCHEDULE
                           Name Of Person Or Organization:
                           ALSTON CONSTRUCTION COMPANY, INC., MEDLINE INDUSTRIES, INC. (OWNER), AND OWNER'S
                           CONSULTANTSS AND CONTRACTORS, AND AGENTS AND EMPLOYEES OF ANY OF THEM.


                           McFARLAND and JOHNSON



                           DELTA AIRPORT SOLUTIONS



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728073732




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      23
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000601
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 400 of 1498 PageID #:16660
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           US FEDERAL AVIATION ADMINISTRATION



                           PETILLO, INC.



                           TOWN OF MORRISTOWN



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728073733




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      24
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000602
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 401 of 1498 PageID #:16661
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DM AIRPORTS, LTD




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728073734




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      25
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000603
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 402 of 1498 PageID #:16662
                                                                                                                         CNA PARAMOUNT

                                                                            Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                                                 Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                          It is understood and agreed that the policy is amended as follows:
                          I.   Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions, is amended to add the following exclusion:
                               This insurance does not apply to:
                               A. bodily injury arising out of or relating to, in whole or in part, the actual, alleged or threatened inhalation of,
                                  ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or microbes on or within
                                  a building or structure, or on or within any contents of a building or structure. This exclusion applies regardless of
                                  any other cause or event that contributes concurrently or in any sequence to such injury;
                               B. property damage arising out of or relating to the actual, alleged or threatened contact with, exposure to,
                                  existence of, or growth or presence of any fungi or microbes on or within a building or structure, or on or within
                                  any contents of a building or structure; or
                               C. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                  containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                  the effects of, fungi or microbes, by any Insured or by anyone else. This exclusion applies regardless of any
                                  other cause or event that contributes concurrently or in any sequence to such loss, cost or expense.
                               However, this exclusion does not apply to:
                               i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                               ii. microbes that were transmitted directly from person to person.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions,
                              is amended to add the following exclusion:
                               This insurance does not apply to:
                               A. personal and advertising injury arising out of or relating to, in whole or in part, the actual, alleged or threatened
20020000760568728073735




                                  inhalation of, ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or
                                  microbes on or within a building or structure, or on or within any contents of a building or structure;
                               B. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                  containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                  the effects of, fungi or microbes, by any Insured or by anyone else.
                               This exclusion applies regardless of any other cause or event that contributes concurrently or in any sequence to such
                               injury or damage, loss, cost or expense.
                               However, this exclusion does not apply to:
                               i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                               ii. microbes that were transmitted directly from person to person.
                          III. As used herein:
                               A. fungi means any form of fungus, including but not limited to yeast, mold, mildew, rust, smut or mushroom, and
                                  including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released
                                  by or arising out of the current or past presence of fungi.



                          CNA74708XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      26
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000604
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                                                                                             CNA PARAMOUNT

                                              Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                   Endorsement

    B. microbe means any non-fungal microorganism, or non-fungal, colony-form organism, that causes infection or
       disease. Microbe includes any spores, mycotoxins, odors or any other substances, products or byproducts
       produced by, released by or arising out of the current or past presence of microbes.
IV. The following Condition is added:
    Arbitration
    For property damage, the determination of what portion of a loss is attributable to fungi and microbes, and what
    portion is not, shall be made by the Insurer. If the Named Insured disagrees with that determination, the Named
    Insured and by the Insurer agree to submit to binding arbitration according to the Commercial Arbitration Rules of the
    American Arbitration Association, or according to such other rules as the Named Insured and the Insurer agree to. If
    binding arbitration of insurance disputes is not allowed in the state where the Named Insured is incorporated (or, if
    the Named Insured is not a corporation, the state where the Named Insured is domiciled), then arbitration shall be
    non-binding, and shall only proceed if both the Named Insured and the Insurer agree to enter into it. The arbitration
    will be held in the county where the Named Insured is headquartered, or at such other location as may be jointly
    agreed to by the Named Insured and the Insurer. Each party will bear its own arbitration costs.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74708XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      26
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA000605
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 404 of 1498 PageID #:16664
                                                                                                                                                   CNA PARAMOUNT
                                                                     Employment-Related Practices Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART

                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                              This insurance does not apply to:
                              Bodily injury or personal and advertising injury to:
                              (1) a person arising out of any:
                                  (a) refusal to employ that person;
                                  (b) termination of that person's employment; or
                                  (c) employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
                                      reassignment, discipline, defamation, harassment, humiliation, discrimination or malicious prosecution
                                      directed at that person; or
                              (2) the spouse, child, parent, brother or sister of that person as a consequence of bodily injury to that person at
                                  whom any of the employment-related practices described in Paragraphs (a), (b), or (c) above is directed.
                              This exclusion applies:
                              (1) whether the injury-causing event described in Paragraphs (a), (b) or (c) above occurs before employment, during
                                  employment or after employment of that person;
                              (2) whether the Insured may be liable as an employer or in any other capacity; and
                              (3) to any obligation to share damages with or repay someone else who must pay damages because of the injury.
                              However, solely with respect to Coverage A, this exclusion does not apply to physical injury a person sustains during
                              a job interview while attempting to demonstrate a physical capability or skill required by the job.
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                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74761XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      27
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000606
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                                                                                                                                                     CNA PARAMOUNT

                                                                                               Testing or Consulting Errors and Omissions
                                                                                                                   Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          Testing or Consulting Errors and Omissions
                          bodily injury, property damage or personal and advertising injury arising out of:
                          1.   an error, omission, defect or deficiency in:
                               a.   any test performed; or
                               b. an evaluation, a consultation or advice given,
                               by or on behalf of any Insured;
                          2.   the reporting of or reliance upon any such test, evaluation, consultation or advice; or
                          3.   an error, omission, defect or deficiency in experimental data or the Insured’s interpretation of that data.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74775XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      28
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000607
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                                                                                                                        CNA PARAMOUNT

                                                                    Residential Construction Defect Products/Completed
                                                                                     Operations Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions, is amended to add the following exclusion:
                               This insurance does not apply to property damage that:
                               A. is included within the products/completed operations hazard;
                               B. arises out of defective construction of all or any part of a residential structure; and
                               C. is reported to the Insurer more than 12 months after your work is deemed completed on the project from which
                                  the property damage allegedly arises.
                          II. As used herein:
                               A. your work will be deemed completed at the earliest of the following times:
                                   1.   when all of the work called for in the Named Insured’s contract has been completed;
                                   2.   when all of the work to be done at the job site has been completed if the Named Insured’s contract calls for
                                        work at more than one job site; or
                                   3.   when that part of the work done at a job site has been put to its intended use by any person or organization
                                        other than another contractor or subcontractor working on the same project.
                                   Work that may need service, maintenance, correction, repair or replacement, but which is otherwise complete, will
                                   be treated as completed.
                               B. construction means any and all aspects of the erection or demolition of structures, including but not limited to
                                  design, specifications, planning, building, materials, supervision or observation of construction. Construction also
                                  includes new construction, conversion, reconstruction, rehabilitation, renovation, remodeling, repair or
                                  maintenance.
                               C. defective construction means any actual or alleged deficiency in construction.
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                               D. residential structure means any structure where 30% or more of the square foot area is used or is intended to be
                                  used for human residency, including but not limited to:
                                   1.   single or multifamily housing, apartments, condominiums, townhouses, co-operatives or planned unit
                                        developments; and
                                   2.   the common areas and structures appurtenant to the structures in paragraph 1. (including pools, hot tubs,
                                        detached garages, guest houses or any similar structures).
                                   However, when there is no individual ownership of units, residential structure does not include military housing,
                                   college/university housing or dormitories, long term care facilities, hotels or motels. Residential structure also
                                   does not include hospitals or prisons.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.

                          CNA74862XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      29
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000608
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                                                                                                                       CNA PARAMOUNT
                                                              Construction Wrap-Up Program Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of any
                          current or completed operation performed by the Named Insured or on the Named Insured’s behalf which is or was
                          insured under a consolidated (wrap-up) insurance program.
                          This exclusion applies whether or not the consolidated (wrap-up) insurance program:
                          A. provides coverage identical to that provided by this Coverage Part;
                          B. has limits adequate to cover all claims; or
                          C. remains in effect.
                          Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the prime
                          contractor/project manager or owner of the project has secured general liability insurance covering some or all of the
                          contractors or subcontractors involved in the project. Consolidated (wrap-up) insurance program includes an Owner
                          Controlled Insurance Program (O.C.I.P.) or a Contractor Controlled Insurance Program (C.C.I.P.).




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728073739




                          CNA74863XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      30
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000609
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                                                                                                                                                     CNA PARAMOUNT

                                                                                      Engineers, Architects or Surveyors Professional
                                                                                                     Liability Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render any professional services by the Named Insured or any engineer, architect or surveyor
                          who is either employed by the Named Insured or performing work on the Named Insured’s behalf in such capacity.
                          Professional services include:
                          A. the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys, field
                             orders, change orders or drawings and specifications; and
                          B. supervisory, inspection, architectural or engineering activities.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728073740




                          CNA74980XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      31
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000610
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                                                                                                                                                    CNA PARAMOUNT

                                                                                   Exclusion - Access or Disclosure of Confidential
                                                                                or Personal Information and Data-Related Liability -
                                                                                with Limited Bodily Injury Exception Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions, the exclusion entitled Electronic Data is deleted in its entirety and replaced with the following:
                               This insurance does not apply to:
                               Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
                               Damages arising out of:
                               (1) any access to or disclosure of any person’s or organization’s confidential or personal information, including
                                   patents, trade secrets, processing methods, customer lists, financial information, credit card information, health
                                   information or any other type of nonpublic information; or.
                               (2) the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate electronic data.
                               This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                               expenses, public relation expenses or any other loss, cost or expense incurred by the Named Insured or others
                               arising out of that which is described in Paragraph (1) or (2) above.
                               However, unless Paragraph (1) above applies, this exclusion does not apply to damages because of bodily injury.
                               As used herein, electronic data means information, facts or programs stored as or on, created or used on, or
                               transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                               ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                               equipment.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions
                              is amended to add the following exclusion:
                               Access Or Disclosure Of Confidential Or Personal Information
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                               This insurance does not apply to personal and advertising injury arising out of any access to or disclosure of any
                               person's or organization's confidential or personal information, including patents, trade secrets, processing methods,
                               customer lists, financial information, credit card information, health information or any other type of nonpublic
                               information.
                               This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                               expenses, public relations expenses or any other loss, cost or expense incurred by the Named Insured or others
                               arising out of any access to or disclosure of any person's or organization's confidential or personal information.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.



                          CNA75089XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      32
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000611
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                                                                                                                            CNA PARAMOUNT

                                                                             Amendment - Infringement of Copyright, Patent,
                                                                               Trademark Trade Secret or Other Intellectual
                                                                                    Property Rights or Laws Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that:
                          I.   Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the Exclusion entitled Infringement
                               of Copyright, Patent, Trademark or Trade Secret is deleted and replaced as follows:
                               Infringement or Violation of Intellectual Property Rights or Laws
                               Personal and advertising injury arising out of infringement or violation of the following rights or laws:
                               (a) patent;
                               (b) trade secret or other confidential or proprietary non-personal information;
                               (c) trademark, certification mark, service mark, collective mark, trade name, or other designation of origin or
                                   authenticity;
                               (d) copyright; or
                               (e) any other intellectual property right or legally protected expression, including but not limited to another’s idea,
                                   slogan, trade dress, style of doing business, or unauthorized use of another’s name or image, or any other
                                   intellectual property law, including but not limited to piracy, unfair competition or other similar practices.
                               This exclusion applies to the entirety of all allegations in any claim if the claim alleges the infringement or violation of
                               any intellectual property right or law identified above, even if this insurance would otherwise apply to other allegations
                               in the claim. However, this exclusion does not apply if the claim’s only allegation is copyright or slogan infringement
                               in Named Insured’s advertisement.
                          II. Under DEFINITIONS, the definition of personal or advertising injury is amended to delete its subparagraph g., and
                              replace it with the following:
                               g. Infringing upon another's copyright or slogan in Named Insured’s advertisement.
20020000760568728073742




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA75116XX (1-15)                                                                              Policy No: 6056872807
                          Page 1 of 1                                                                              Endorsement No:      33
                          CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA000612
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Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 412 of 1498 PageID #:16672
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 413 of 1498 PageID #:16673
                                                                                                                         CNA PARAMOUNT
                                                                 Employee Benefits Liability Coverage Part - Occurrence

                          I.   COVERAGE
                               The Insurer will pay those sums up to the applicable limit of insurance that the Insured becomes legally obligated to
                               pay as damages as a result of a covered claim for an act, error or omission negligently committed in the
                               administration of the Named Insured's employee benefit program provided that such act, error or omission:
                               A. takes place in the coverage territory;
                               B. was committed during the policy period; and
                               C. prior to the effective date of the policy period:
                                   1.     no authorized insured knew or should have known of a claim or circumstance;
                                   2.     no Insured had given notice to a prior insurer of any related claim.
                               The Insurer will pay all defense costs in connection with a covered claim. Such defense costs are in addition to the
                               limits of insurance.
                          II. DUTY TO DEFEND
                               The Insurer has the right and duty to defend in the Insured's name and on the Insured's behalf any covered suit
                               even if any of the allegations of such suit are groundless, false or fraudulent. The Insurer shall have the right to
                               appoint counsel and to make such investigation and settlement of a claim as is deemed necessary by the Insurer. If
                               a claim is subject to an arbitration proceeding or mediation proceeding, the Insurer shall be entitled to exercise all of
                               the Insured's rights in the choice of arbitrators or mediators and in the conduct of an arbitration proceeding or
                               mediation proceeding involving such claim.
                               The Insurer is not obligated to investigate, defend, pay or settle, or continue to investigate, defend, pay or settle a
                               claim after the applicable limit of the Insurer's liability has been exhausted by payment of damages.
                          III. EXCLUSIONS
                               This insurance does not apply to:
                               A. Bodily Injury, Property Damage, or Personal and Advertising Injury
                                   any bodily injury, property damage or personal and advertising injury .
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                               B. Dishonest, Fraudulent, Criminal or Malicious Act Damages
                                   any intentional, dishonest, fraudulent, criminal or malicious act, error or omission, committed by any insured,
                                   including the willful or reckless violation of any statute.
                               C. Employment-Related Practices
                                   any wrongful termination of employment, discrimination, or other employment-related practices.
                               D. ERISA/Internal Revenue Code
                                   any act, error or omission in the Insured's capacity as a fiduciary under:
                                   1.     the Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any similar
                                          federal, state or local laws; or
                                   2.     the Internal Revenue Code of 1986 as now or hereafter amended.
                               E. Failure to Perform a Contract
                                   any failure of performance of contract by any insurer.
                               F. Inadequacy of Performance of Investment/Advice Given with Respect to Participation
                                   any:
                                1. failure of any investment to perform;
                          CNA74721XX 01-15                                                                                                  Page 1 of 8

                                                                               CNA000615
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                                                                                             CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

       2.   errors in providing information on past performance of investment vehicles; or
       3.   advice given to any person with respect to that person's decision to participate or not to participate in any
            plan included in the employee benefit program.
   G. Insufficiency of Funds
       any insufficiency of funds to meet any obligations under any plan included in the employee benefit program.
   H. Workers' Compensation and Similar Laws
       any failure to comply with the mandatory provisions of any workers' compensation, unemployment compensation
       insurance, social security or disability benefits law or any similar law.
IV. LIMITS OF INSURANCE AND DEDUCTIBLE
   A. Limits of Insurance
       1.   Related Claims
            All related claims, whenever made, shall be considered a single claim first made during the policy period in
            which the earliest claim was first made.
       2.   Limit of insurance – each employee
            Subject to paragraph 2. below, the Insurer's limit of insurance for damages for all covered claims made by or
            behalf of any one employee including such employee's dependents or beneficiaries, shall not exceed the
            amount stated in the Coverage Part Declarations as "Employee Benefits Liability - each employee".
       3.   Limit of insurance - all claims in the aggregate
            The Insurer's limit of insurance for damages for all covered claims shall not exceed the amount stated in the
            Coverage Part Declarations as "Employee Benefits Liability – all claims in the aggregate", regardless of the
            number of employees.
       4.   Multiple insureds, claims, and claimants
            The limits of insurance shown in the Coverage Part Declarations and subject to the provisions of this policy,
            is the most the Insurer will pay as damages regardless of the number of Insureds, claims made or reported,
            persons or entities making claims, acts, errors or omission which result in damages or defense costs;
            employee benefit plans.
   B. Deductible
       1.   The Insurer's obligation to pay damages on behalf of the Insured applies only to the amount of damages in
            excess of the deductible amount stated on the Coverage Part Declarations as applicable to each employee
            including such employee's dependents or beneficiaries. The limits of insurance shall not be reduced by the
            amount of this deductible.
       2.   The deductible amount stated on the Coverage Part Declarations applies to all damages sustained by any
            one employee including such employee's dependents and beneficiaries, because of all acts, errors or
            omissions to which this insurance applies.
       3.   The Insurer may pay any part or all of the deductible amount to effect settlement of any claim and, upon
            notification of the action taken, the Insured shall promptly reimburse the Insurer for such part of the
            deductible amount as the Insurer has paid.
   The Limits of Insurance of this coverage part apply separately to each consecutive annual period and to any
   remaining period of less than 12 months, starting with the beginning of the policy period shown in the Policy
   Declarations, unless the policy period is extended after issuance for an additional period of less than 12 months. In
   that case, the additional period will be deemed part of the last preceding period for purposes of determining the Limits
   of Insurance.

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                                                CNA000616
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                                                                                                                     CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                          V. CONDITIONS


                             Assistance and Cooperation
                             If there is a claim the Insured must:
                             A. forward to the Insurer or its designee, copies of the papers and documents, if any, which inform the Insured of a
                                claim, including all notices, summonses or other processes regarding legal proceedings;
                             B. fully cooperate with the Insurer or its designee in all investigations, the making of settlements, the conduct of
                                suits or other proceedings, enforcing any right of contribution or indemnity against another who may be liable to
                                the Insured because of the claim. The Insured shall attend hearings and trials, assist in securing and giving
                                evidence, and obtaining the attendance of witnesses.
                             Concealment, Misrepresentation and Fraud
                             No concealment, misrepresentation or fraud shall avoid or defeat recovery under this coverage part unless such
                             concealment, misrepresentation or fraud was material. Concealment, misrepresentation or fraud in the procurement
                             of this coverage part which if known by the Insurer would have led to refusal by the Insurer to make this contract or
                             provide coverage, or to make this contract or provide coverage on different terms or conditions, will be deemed
                             material.
                             Estates, Legal Representatives and Spouses
                             The estates, heirs, legal representatives and spouse of any natural person Insured shall also be insured under this
                             coverage part; provided, however, coverage is afforded to such estates, heirs, legal representatives, and spouse
                             only for claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim
                             seeks damages from marital community property, jointly held property or property transferred from such natural
                             person Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                             representative, or spouse outside the scope of such person's capacity or status as such.
                             Notice of Claims and Circumstances
                             A. Notice of Circumstances
                                 The Insured must see to it that the Insurer is notified promptly of any circumstance. To the extent possible,
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                                 notice should include:
                                 1.   how, when and where the act, error or omission took place;
                                 2.   the names and addresses of any injured persons or organizations and witnesses; and
                                 3.   the nature and location of any injury or damage arising out of the occurrence or offense.
                             B. Notice of Claims
                                 If a claim is made against any Insured, the Insured must:
                                 1.   immediately record the specifics of the claim and the date received; and
                                 2.   notify the Insurer in writing as soon as possible.
                             C. The Insured must:
                                 1.   immediately send the Insurer copies of any demands, notices, summonses or legal papers received in
                                      connection with the claim;
                                 2.   authorize the Insurer to obtain records and other information.
                             D. no Insureds will, except at their own cost, voluntarily make a payment, assume any obligation, or incur any
                                expense without the Insurer's consent.


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                                                                            CNA000617
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                                                                                              CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

   Other Insurance
   If other valid and collectible insurance is available to the Insured for loss insured under this coverage part, the
   Insurer's obligations are limited as follows:
   A. Primary Insurance
       This insurance is primary. The Insurer's obligations are not affected unless any of the other insurance is also
       primary. Then, the Insurer will share with all that other insurance by the method described in Paragraph b. below.
   B. Method of Sharing
       If all of the other insurance permits contribution by equal shares, the Insurer will follow this method also. Under
       this approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of
       the loss remains, whichever comes first.
       If any of the other insurance does not permit contribution by equal shares, the Insurer will contribute by limits.
       Under this method, each insurer's share is based on the ratio of its applicable limit of insurance to the total
       applicable limits of insurance of all insurers.
   Premium Audit
   A. The Insurer will compute all premiums for this coverage part in accordance with the Insurer rules and rates.
   B. Premium shown in this coverage part as advance premium is a deposit premium only. At the close of each audit
      period the Insurer will compute the earned premium for that period and send notice to the First Named Insured.
      The due date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the
      advance and audit premiums paid for the policy term is greater than the earned premium, the Insurer will return
      the excess to the First Named Insured.
   C. The First Named Insured must keep records of the information the Insurer need for premium computation, and
      send the Insurer copies at such times as the Insurer may request.
   Separation of Insureds
   Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this policy to the First
   Named Insured, this insurance applies:
   A. as if each Named Insured were the only Named Insured; and
   B. separately to each Insured against whom a claim is made.
   Transfer of Rights of Recovery
   If any Insured for whom payment is made by the Insurer under this policy has rights to recover amounts from another,
   those rights are transferred to the Insurer to the extent of its payment. The Insured must do everything necessary
   after loss to secure the Insurer's rights and must do nothing to prejudice such rights.
VI. DEFINITIONS
   Administration means:
   A. providing information to employees, including their dependents and beneficiaries, with respect to eligibility for or
      scope of employee benefit programs;
   B. handling records in connection with the employee benefit program; or
   C. effecting, continuing or terminating any employee's participation in any benefit included in the employee benefit
      program.
   However, administration does not include handling payroll deductions.



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                                                 CNA000618
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                                                                                                                         CNA PARAMOUNT
                                                               Employee Benefits Liability Coverage Part - Occurrence

                             Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                             the Named Insured's goods, products or services for the purpose of attracting customers or supporters. For the
                             purposes of this definition:
                             A. notices that are published include material placed on the Internet or on similar electronic means of
                                communication; and
                             B. regarding web-sites, only that part of a web-site that is about the Named Insured's goods, products or services
                                for the purposes of attracting customers or supporters is considered an advertisement.
                             Authorized Insured means any executive officer, member of the Named Insured's human resources, risk
                             management or in-house general counsel's office, or any employee authorized by the Named Insured to give or
                             receive notice of a claim.
                             Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                             mental anguish or mental injury by that person at any time which results as a consequence of the bodily injury,
                             sickness or disease.
                             Cafeteria plans means plans authorized by applicable law to allow employees to elect to pay for certain benefits with
                             pre-tax dollars.
                             Claim means:
                             A. suit; or
                             B. a written or oral demand for damages
                             alleging negligent acts, errors or omissions committed in the administration of the Named Insured's employee
                             benefit plans.
                             Circumstance means an act, error or omission reported during the policy period from which an executive officer
                             reasonably expects that a claim could be made.
                             Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                             Endorsements.
                             Coverage territory means:
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                             A. the United States of America (including its territories and possessions), Puerto Rico and Canada;
                             B. international waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
                                between any places included in Paragraph A. above.
                             Damages means the amount an Insured is legally obligated to pay, either through:
                             A. final adjudication of a covered claim; or
                             B. through compromise or settlement of a covered claim with the Insurer's written consent or direction.
                             In addition, damages includes the above mentioned sums only after deducting all other recoveries and salvages.
                             However, damages does not include with respect to any claim;
                                 1.   restitution, return or disgorgement of fees, costs and expenses paid or incurred or charged by an Insured, no
                                      matter whether claimed as restitution of specific funds, forfeiture, financial loss, set-off or otherwise, and
                                      injuries that are a consequence of any of the foregoing;
                                 2.   civil or criminal fines, sanctions, penalties forfeitures, or taxes whether pursuant to statute, regulation or
                                      court rule, including those imposed under the Internal Revenue Code;
                                 3.   the multiplied portion of multiplied awards imposed pursuant to any statute or regulation requiring such
                                      awards;
                                 4.   injunctive or declaratory relief;

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                                                                            CNA000619
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                                                                                            CNA PARAMOUNT
                                    Employee Benefits Liability Coverage Part - Occurrence

       5.   any amount that is not insurable under any applicable law; or
       6.   plaintiff's attorney fees associated with any of the above;
       7.   any amounts for benefits to the extent that such benefits are available, with reasonable effort and
            cooperation of the Insured, from the applicable funds accrued or other collectible insurance; or
       8.   any amounts that exceed the limits and restrictions that apply to the payment of benefits in any plan included
            in the employee benefit program.
   Defense costs mean:
   A. reasonable and necessary fees, costs, and expenses incurred by the Insurer or consented to by the Insurer and
      incurred by the Named Insured in the defense or appeal of a covered suit or in the investigation of any covered
      claim, and includes premium for appeal bonds arising out of a covered judgment, attachment bonds or similar
      bonds, but only for bond amounts up to the applicable limit of insurance.
   B. prejudgment interest awarded against an Insured on that part of a judgment covered by this coverage part. If
      the Insurer makes an offer to pay the applicable limit of insurance, the Insurer will not pay any prejudgment
      interest based on that period of time after the offer.
   C. post judgment interest which accrues after entry of judgment, but before the Insurer has paid or offered to pay,
      or deposited in court that part of the judgment which is within the applicable limit of insurance of this coverage
      part. The amount of interest the Insurer pays will be in direct proportion to the amount of damages the Insurer
      pays in relation to the total amount of the judgment.
   D. all reasonable expenses incurred by a natural person Insured at the Insurer's request to assist the Insurer in the
      investigation or defense of the claim. This includes such Insured's actual loss of earnings up to $1000.00 per
      day, because of time off from work;
   E. all court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
      attorneys' expenses taxed against the Insured.
   Payment of defense costs will not reduce the limit of insurance.
   Employee means a person actively employed, formerly employed, on leave of absence or disabled, or retired.
   Employee includes a leased worker. Employee does not include a temporary worker.
   Employee benefit program means a program providing some or all of the following benefits to the employees
   whether provided through a cafeteria plan or otherwise:
   A. group life insurance, group accident or health insurance, dental, vision and hearing plans, and flexible spending
      accounts, provided that no one other than an employee may subscribe to such benefits and such benefits are
      made generally available to those employees who satisfy the plan's eligibility requirements;
   B. profit sharing plans, employee savings plans, employee stock ownership plans, pension plans and stock
      subscription plans, provided that no one other than an employee may subscribe to such benefits and such
      benefits are made generally available to all employees who are eligible under the plan for such benefits;
   C. unemployment insurance, social security benefits, workers' compensation and disability benefits; or
   D. vacation plans, including buy and sell programs; leave of absence programs, including military, maternity, family,
      and civil leave; tuition assistance plans; transportation and health club subsidies.
   Executive Officer means any natural person holding any of the following positions created by the Named Insured's
   charter, constitution, bylaws or any other similar governing document:
   A. director, officer, trustee or governor of a corporation;
   B. management committee member of a joint venture;
   C. partner of a partnership;

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                                                  CNA000620
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                                                                                                                         CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                             D. manager of a limited liability company;
                             E. trustee of a trust.
                             An executive officer is not an employee.
                             First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                             Insured means any Named Insured and
                             A. any natural person who was, is or becomes:
                                 1.   the Named Insured's executive officers, but only for the administration of the Named Insured’s
                                      employee benefit program; or
                                 2.   the Named Insured's stockholders, but only with respect to their liability as stockholders.
                                 3.   the Named Insured's employees authorized to administer its employee benefit program; or
                                 4.   any natural person (including any employee), or any organization having proper temporary authorization to
                                      administer the Named Insured's employee benefit program, but only until an authorized legal
                                      representative is appointed on behalf of the Named Insured.
                             B. any organization the Named Insured newly acquires or forms, other than a partnership or joint venture, and over
                                which the Named Insured maintains ownership or majority interest, if there is no other similar insurance available
                                to that organization. However:
                                 1.   coverage under this provision is afforded only until the 90th day after the Named Insured acquires or forms
                                      the organization or the end of the policy period, whichever is earlier; and
                                 2.   coverage does not apply to acts, errors or omissions that occurred before the Named Insured acquired or
                                      formed the organization.
                                 No person or organization is an insured with respect to the conduct of any current or past partnership or joint
                                 venture that is not shown as a Named Insured in the Declarations.
                             In addition to the above, the estates, heirs, legal representatives or spouses of any of the Named Insured’s
                             executive officers or employees qualifying as an Insured are also insured pursuant to the condition entitled
                             Estates, Legal Representatives And Spouses.
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                             Leased worker means a natural person leased to the Named Insured by a labor leasing firm under an agreement
                             between the Named Insured and the labor leasing firm, to perform duties related to the conduct of the Named
                             Insured's business. Leased worker does not include a temporary worker.
                             Named Insured means the person or organization shown in the Declarations, and any other person or organization
                             qualifying as a Named Insured under this coverage part.
                             Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
                             conditions.
                             Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
                             the following offenses:
                             A. false arrest, detention or imprisonment;
                             B. malicious prosecution;
                             C. wrongful eviction from, wrongful entry into, or the invasion of the right of private occupancy of a room, dwelling or
                                premises that a natural person occupies committed by or on behalf of its owner, landlord or lessor;
                             D. oral or written publication, in any manner, of material that slanders or libels a person or organization or disparages
                                a person's or organization's goods, products or services;
                             E. oral or written publication, in any manner, of material that violates a natural person’s right of privacy;
                          CNA74721XX 01-15                                                                                                   Page 7 of 8

                                                                            CNA000621
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                                                                                             CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

   F. the use of another's advertising idea in the Named Insured's advertisement; or
   G. infringing upon another's copyright or slogan in the Named Insured's advertisement.
   Policy period means the period of time from the effective date and time of this Policy to the date and time of
   termination as shown in the Policy Declarations, or its earlier cancellation date.
   Property damage means physical injury to:
   A. tangible property, including all resulting loss of use of that property. All such loss of use shall be deemed to occur
      at the time of the physical injury that caused it; or
   B. loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
      time of the occurrence that caused it.
   Related claims means all claims arising out of a single act, error or omission or arising out of related acts, errors or
   omissions negligently committed in the administration of the Insured Entity's employee benefits program.
   Spouse means any husband or wife or any person qualifying as a domestic partner under any federal, state or local
   laws or under the Named Insured's employee benefit plans or employee benefits program.
   Suit means a civil proceeding in which damages to which this insurance applies are alleged. Suit includes:
   A. an arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
      submit with the Insurer's consent; or
   B. any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
      submits with the Insurer's consent.
   Temporary worker means a worker who is furnished to the Named Insured to substitute for a permanent employee
   on leave or to meet seasonal or short-term workload conditions.
   Volunteer worker means a natural person who is not the Named Insured's employee, and who donates his or her
   work and acts at the direction of and within the scope of duties determined by the Named Insured, and is not paid a
   fee, salary or other compensation by the Named Insured or anyone else for their work performed for the Named
   Insured.




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                                                                                                                       CNA PARAMOUNT

                                                                                          Employee Benefits Liability- Amended
                                                                                    Definition of Executive Officer Endorsement

                          This endorsement modifies insurance provided under the following:

                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                          It is understood and agreed that under DEFINITIONS, the definition of Executive Officer is deleted and replaced by the
                          following:
                          Executive Officer means any natural person holding any of the following positions created by the Named Insured's
                          charter, constitution, bylaws or any other similar governing document:
                          A. director, officer, trustee or governor of a corporation.
                          B. management committee member of a joint venture;
                          C. partner of a partnership;
                          D. manager of a limited liability company; or
                          E. trustee of a trust.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA86269XX (10-16)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      34
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000623
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Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 423 of 1498 PageID #:16683
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 424 of 1498 PageID #:16684
                           Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 425 of 1498 PageID #:16685


                                                                                                                                    IL 01 11 11 03

                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                               NEW JERSEY CHANGES
                          This endorsement modifies insurance provided under the following:

                              CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
                              COMMERCIAL INLAND MARINE COVERAGE PART
                              COMMERCIAL PROPERTY COVERAGE PART
                              STANDARD PROPERTY POLICY

                          A. The following exclusion and related provisions are              To     the    extent      that  the   Concealment,
                             added:                                                          Misrepresentation Or Fraud Condition conflicts with
                             1. We will not pay for loss or damage arising out of            the provisions of Paragraph A.2. above, the
                                any act committed:                                           provisions of A.2. will apply.
                                a. By or at the direction of any insured; and             B. The following is added to the Transfer Of Rights Of
                                                                                             Recovery Against Others To Us Condition:
                                   b. With the intent to cause a loss.
                                                                                              If we pay a co-insured for loss arising out of an act
                              2.   However, this exclusion will not apply to deny             of domestic violence by another insured, the rights
                                   payment to a co-insured who did not cooperate              of the co-insured, who did not cooperate in or
                                   in or contribute to the creation of the loss if the        contribute to the creation of the loss, to recover
                                   loss arose out of domestic violence.                       damages from the perpetrator of domestic violence
                              3.   If we pay a claim pursuant to Paragraph A.2.,              are transferred to us to the extent of our payment.
                                   our payment to the insured is limited to that              Following the loss, the co-insured who did not
                                   insured's insurable interest in the property. In no        cooperate in or contribute to the loss may not waive
                                   event will we pay more than the Limit of                   such rights to recover against the perpetrator of
                                   Insurance.                                                 domestic violence.
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                          IL 01 11 11 03                             Copyright, ISO Properties, Inc., 2003                             Page 1 of 1
                                                                            CNA000627
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                                                                                                                          CNA PARAMOUNT
                                                                                                      Broad Named Insured Endorsement

                          This endorsement modifies insurance provided under the following:
                               EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                               STOP GAP LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   The WHO IS AN INSURED Section is amended to delete its Paragraph 3. in its entirety and replace it with the
                               following:
                               3.   Pursuant to the limitations described in Paragraph IV. below, any organization in which a Named Insured has
                                    management control:
                                    a.   on the effective date of this Coverage Part; or
                                    b. by reason of a Named Insured creating or acquiring the organization during the policy period,
                                    qualifies as a Named Insured, provided that there is there is no other similar liability insurance, whether primary,
                                    contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
                                    provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
                                    narrower than that provided by this insurance.
                                    However, this BROAD NAMED INSURED provision does not apply to:
                                    (a) any partnership, limited liability company or joint venture; or
                                    (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.
                          II. Solely with respect to organizations which qualify as Named Insureds by virtue of this Endorsement, this insurance
                              does not apply to:
                               a.   bodily injury or property damage that first occurred prior to the date of management control, or that first occurs
                                    after management control ceases; nor
                               b. personal or advertising injury caused by an offense that first occurred prior to the date of management control
                                  or that first occurs after management control ceases.
                          III. The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names or
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                               under such other trading names or doing-business-as names as any Named Insured should choose to employ.
                          IV. For the purposes of this endorsement, a new definition is added as follows:
                               Management control means:
                               A. owning interests representing more than 50% of the voting, appointment or designation power for the selection of
                                  a majority of: the Board of Directors of a corporation; or
                               B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or sell
                                  property held by a trust.
                          V. If the coverage part to which this endorsement applies is part of a package policy that also contains a Commercial
                             General Liability Coverage Part (CGL) that has been endorsed:
                               A. with a Broad Named Insured provision, then the CGL’s Broad Named Insured provision’s terms hereby replace
                                  this endorsement’s terms, including any terms applicable to management control, limited liability companies or
                                  joint ventures; or
                               B. to exclude from coverage an organization that otherwise would qualify as a Named Insured under this (Broad
                                  Named Insured) endorsement, then such an organization is also excluded from the coverage provided by this
                                  coverage part.

                          CNA75108XX (1-15)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                             Endorsement No:      36
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                               CNA000628
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                                                                                             CNA PARAMOUNT
                                                                         Broad Named Insured Endorsement



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA75108XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      36
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA000629
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 428 of 1498 PageID #:16688
                                                                                                                       CNA PARAMOUNT
                                                                                                                     Bridge Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   The Common Terms and Conditions are amended to delete the sections entitled “Bankruptcy” and “No Suit Against
                               Insurer” as the conditions section of the Coverage Part has more specific conditions of its own.
                          II. The conditions section is amended to delete the condition entitled When We Do Not Renew. Please refer instead to
                              Condition III. CANCELLATION/NONRENEWAL of the Common Terms and Conditions.
                          III. The DEFINITIONS section is amended to add the following new definitions:

                               Claim means:

                               A. a suit; or
                               B. a written or oral demand for damages alleging injury to which this insurance applies.

                               Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                               Endorsements.

                               Damages means the amount an Insured is legally obligated to pay, either through:

                               A. final adjudication of a covered claim; or

                               B. through compromise or settlement of a covered claim with the Insurer’s written consent or direction.

                               Defense costs means those amounts set forth under the SUPPLEMENTARY PAYMENTS section of any applicable
                               coverage part.
                               First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                               Insured means those persons or organizations as set forth in the section entitled Who is an Insured.
                               Named Insured means the persons or organizations named as such in the Declarations and any other person or
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                               organization qualifying as a named insured under this policy.

                               Policy period means the period of time from the effective date and time of this Policy to the date and time of
                               termination as shown in the Policy Declarations, or its earlier cancellation date.
                               Spouse means any husband or wife or any person qualifying as a domestic partner under any applicable federal,
                               state or local laws or under the Named Insured’s employee benefit plans.
                          IV. Where the phrase “claim or suit” appears, it is deleted and replaced with the defined term claim.
                          V. Any reference to “the Insurer” in this Policy refers to the company providing this insurance.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.

                          CNA62646XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      37
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA000630
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 429 of 1498 PageID #:16689
                                                                                                                          CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          Wherever used in this endorsement: 1) Insurer means "we", "us", "our" or the "Company" as those terms may be defined
                          in the policy; and 2) Named Insured means the first person or entity named on the declarations page; and 3) "Insureds"
                          means all persons or entities afforded coverage under the policy.

                          Any cancellation, non-renewal or termination provisions in the policy are deleted in their entirety and replaced with the
                          following:

                          CANCELLATION AND NON-RENEWAL

                          A.      CANCELLATION

                                  1.      The first Named Insured may cancel the policy at any time. To do so, the Named Insured must return the
                                          policy to the Insurer or any of its authorized representatives, indicating the effective date of cancellation;
                                          or provide a written notice to the Insurer, stating when the cancellation is to be effective.

                                  2.      The Insurer may cancel the policy at any time and for any reason within the first sixty (60) days. The
                                          Insurer will mail or deliver written notice of cancellation at least ten (10) days prior to the effective of such
                                          cancellation if cancellation is for nonpayment or existence of a moral hazard as defined by NJAC 11:1-
                                          20.2(f) and thirty (30) days if for any other reason.

                                  3.      If the policy has been in effect for sixty (60) days or more, it may be canceled only for one of the following
                                          reasons:

                                          a.       May be canceled for any underwriting reason set forth in our underwriting guidelines which were
                                                   in effect at the policy inception. The underwriting guidelines must not be arbitrary, capricious or
                                                   unfairly discriminatory.

                                          b.       The following text sets forth certain approved reasons for midterm cancellations as approved
                                                   guidelines. While an Insurer may issue other guidelines, it appears that an Insurer should limit its
                                                   guidelines for midterm cancellation to those the Department has approved to avoid the possibility
                                                   that the Department might rescind a cancellation.
20020000760568728073756




                                          c.       All underwriting reasons or guidelines utilized by the Insurer to cancel or non-renew the policy
                                                   will be maintained by Insurer in writing and will be available to the Named insured or the Named
                                                   Insured's lawful representatives upon written request.

                                          d.       Only those guidelines which are in effect at the inception of the original policy or any renewal
                                                   thereof, as applicable, may be utilized to cancel during the policy period.

                                          e.       The following guidelines are approved for use:

                                                   (1)      Non-payment of premium;
                                                   (2)      Moral hazard, which is defined as:

                                                            (a)      The risk, danger or probability that the insured will destroy, or permit to be
                                                                     destroyed, the insured property for the purpose of collecting the insurance
                                                                     proceeds. Any change in the circumstances of an insured that will increase the
                                                                     probability of such a destruction may be considered a "moral hazard;" and
                                                            (b)      The substantial risk, danger or probability that the character, circumstances or
                                                                     personal habits of the insured may increase the possibility of loss or liability
                                                                     which we will be held responsible. Any change in the character or

                          CNA62814NJ (9-12)                                                                             Policy No: 6056872807
                          Page 1 of 3                                                                             Endorsement No:      38
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000631
                                                                         Copyright CNA A l Rights Reserved.
     Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 430 of 1498 PageID #:16690
                                                                                                 CNA PARAMOUNT
                                                             Cancellation / Non-Renewal – New Jersey

                                           circumstances of an individual, corporate, partnership or other insured that will
                                           increase probability of such a loss or liability may be considered a "moral
                                           hazard."
                         (3)      Material misrepresentation or non-disclosure of material fact.
                         (4)      Increased hazard or material change in the risk by the parties at inception of coverage.
                         (5)      Substantial breaches of policy provisions that materially affect the nature and/or
                                  insurability of the risk.
                         (6)      Lack of cooperation on loss control matters which materially affect insurability.
                         (7)      Fraudulent acts which materially affects the risk.
                         (8)      Loss of or reduction in available insurance capacity. This is an acceptable reason for
                                  cancellation only if the following exists:

                                  (i)       an insurance department has declared insured to be financially impaired.
                                  (ii)      substantial reductions in reinsurance or other changes which prohibit us from
                                            providing coverage at the same limits and terms as the existing policy; or
                                  (iii)     an insurance department has issued an order indicating impaired financial
                                            condition of the reinsurer which may adversely affect the reinsurer's ability to
                                            meet its obligations.

                         (9)      Failure of the Insured to comply with any federal, state or local fire, health, safety,
                                  building or construction regulation, law or ordinance which substantially increases any
                                  hazard insured against. The Insured has sixty (60) days to correct.
                         (10)     Failure by the Insured to provide reasonable and necessary underwriting information to
                                  us upon written request and a reasonable time to respond.
                         (11)     Agency termination, provided:

                                  (i)       It is documented that replacement coverage at comparable rates and terms has
                                            been provided to the Insured, and the Insured has been informed, in writing of
                                            his or her right to continue coverage; or

                                  (ii)      the Insured has agreed in writing to the cancellation based upon the termination
                                            of the agent.

                                  The Insurer will mail notice of cancellation to the Named Insured not more than one
                                  hundred and twenty (120) days nor less than sixty (60) days prior to the effective date of
                                  such cancellation. If the Insurer cancels for non-payment of premium, notice of
                                  cancellation will be mailed at least ten (10) days prior to the effective date of such
                                  cancellation.

        4.      All notices of cancellation will state the reason for cancellation.

        5.      Notice of cancellation will state the effective date of cancellation. The policy period will end on that date.

        6.      If notice is mailed, proof of mailing will be sufficient proof of notice.


B.      PREMIUM REFUND

        If this policy is cancelled, the Insurer will send the Named Insured any premium refund due. If the Insurer cancels
        the refund will be pro rata. If the Named Insured cancels, the refund may be less than pro rata. The cancellation
        will be effective even if the Insurer has not made or offered a refund.

CNA62814NJ (9-12)                                                                                 Policy No: 6056872807
Page 2 of 3                                                                                 Endorsement No:      38
CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000632
                                                Copyright CNA A l Rights Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 431 of 1498 PageID #:16691
                                                                                                                        CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          C.      NON-RENEWAL

                                  1.       The Insurer can non-renew the policy by mailing or delivering written notice to the Named Insured, at the
                                           last mailing address known to the Insurer, not more than one hundred and twenty (120) days nor less
                                           than sixty (60) days prior to the effective date of non-renewal. The notice will be sent by certified mail or
                                           by first class mail, if a date stamped proof of mailing has been obtained from the post office.

                                  2.       Like notice of non-renewal will state the actual reason for non-renewal.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728073757




                          CNA62814NJ (9-12)                                                                            Policy No: 6056872807
                          Page 3 of 3                                                                            Endorsement No:      38
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000633
                                                                         Copyright CNA A l Rights Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 432 of 1498 PageID #:16692
                                                                                                                         CNA PARAMOUNT
                                                                                           Amendatory Endorsement – New Jersey

                          It is understood and agreed as follows:

                          I.      The CONCEALMENT, MISREPRESENTATION AND FRAUD condition of the First Party Terms and
                                  Conditions is deleted and replaced with the following:

                                  CONCEALMENT, MISREPRESENTATION AND FRAUD

                                  This entire policy shall be canceled if, whether before or after a loss, the Named Insured or designated
                                  representatives:

                                  A.       has concealed or misrepresented any material fact or circumstance concerning:

                                           1.       this insurance or the subject thereof;

                                           2.       the interest of the Named Insured therein; or

                                           3.       any claim; or

                                  B.       has falsely sworn to any such material fact or circumstance.



                          All other terms and conditions of the Policy remain unchanged.

                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.
20020000760568728073758




                          CNA62815NJ (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      39
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000634
                                                                           Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 433 of 1498 PageID #:16693
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   CHURCH 2415 REALITY, LLC




                          Address:                        100 RING ROAD WEST, SUITE 101


                                                          GARDEN CITY
                                                                                                                                                ,
                                                          NY 11050
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073759




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      40
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000635
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 434 of 1498 PageID #:16694
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DeBartolo Construction Services, LLC




                          Address:                        4401 West Kennedy Boulevard - 3rd Floor


                                                          Tampa
                                                                                                                                                ,
                                                          FL 33609
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073760




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      41
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000636
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 435 of 1498 PageID #:16695
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   FedEx Ground Package System, Inc.




                          Address:                        1000 FedEx Drive


                                                          Moon Township
                                                                                                                                                ,
                                                          PA 15108
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073761




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      42
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000637
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 436 of 1498 PageID #:16696
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   The J360 Construction Co LLC




                          Address:                        290 Madison Avenue, 4th Floor


                                                          New York
                                                                                                                                                ,
                                                          NY 10017
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073762




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      43
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000638
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 437 of 1498 PageID #:16697
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   Alston Construction Company, Inc




                          Address:                        C/O MY COI
                                                          1075 BROAD RIPPLE AVE, SUITE 313

                                                          INDIANAPOLIS
                                                                                                                                                ,
                                                          IN 46220
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073763




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      44
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000639
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 438 of 1498 PageID #:16698
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   County of Warren   Board of Chosen
                                                                                                        Freeholders




                          Address:                        165 County Route #519 South


                                                          Belvidere
                                                                                                                                                ,
                                                          NJ 07823
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073764




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      45
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000640
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 439 of 1498 PageID #:16699
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HAMPSHIRE VENTURE PARTNERS, LLC




                          Address:                        22 MAPLE AVENUE


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073765




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      46
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000641
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 440 of 1498 PageID #:16700
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MORRIS DOREMUS AVENUE ASSOCIATES
                                                                                                        URBAN RENEWAL, LLC




                          Address:                        350 VETERANS BLVD.


                                                          RUTHERFORD
                                                                                                                                                ,
                                                          NJ 07070
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073766




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      47
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000642
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 441 of 1498 PageID #:16701
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MONTANA CONSTRUCTION CORP., INC.




                          Address:                        80 CONTANT AVENUE


                                                          LODI
                                                                                                                                                ,
                                                          NJ 07644
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073767




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      48
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000643
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 442 of 1498 PageID #:16702
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HRP ASSOCIATES, INC




                          Address:                        197 SCOTT SWAMP ROAD


                                                          FARMINGTON
                                                                                                                                                ,
                                                          CT 06032
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073768




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      49
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000644
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 443 of 1498 PageID #:16703
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   The Connell Company




                          Address:                        200 Connell Drive


                                                          Berkeley Heights
                                                                                                                                                ,
                                                          NJ 07922
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073769




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      50
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000645
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 444 of 1498 PageID #:16704
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   Russo Development




                          Address:                        1011 Morris AVE


                                                          Union
                                                                                                                                                ,
                                                          NJ 07083
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073770




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      51
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000646
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 445 of 1498 PageID #:16705
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT DEVELOPMENT, LLC




                          Address:                        4825 NW 41ST STREET, SUITE 500


                                                          RIVERSIDE
                                                                                                                                                ,
                                                          MO 64150
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073771




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      52
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000647
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 446 of 1498 PageID #:16706
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   SUBURBAN CONSULTING ENGINEERS INC




                          Address:                        96 US HIGHWAY 206, SUITE 101


                                                          FLANDERS
                                                                                                                                                ,
                                                          NJ 07836
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073772




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      53
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000648
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 447 of 1498 PageID #:16707
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   McFARLAND and JOHNSON




                          Address:                        49 COURT ST


                                                          BINGHAMTON
                                                                                                                                                ,
                                                          NY 13901
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073773




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      54
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000649
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 448 of 1498 PageID #:16708
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NEW JERSEY DEPARTMENT OF
                                                                                                        TRANSPORTATION




                          Address:                        1035 PARKWAY AVENUE
                                                          P O BOX 600

                                                          TRENTON
                                                                                                                                                ,
                                                          NJ 08625
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073774




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      55
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000650
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 449 of 1498 PageID #:16709
                                                                                                                        CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   PETILLO, INC.




                          Address:                        167 FLANDERS NETCONG ROAD


                                                          FLANDERS
                                                                                                                                                ,
                                                          NJ 07836
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073775




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      56
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000651
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 450 of 1498 PageID #:16710
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   TOWN OF MORRISTOWN




                          Address:                        200 SOUTH STREET


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073776




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      57
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000652
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 451 of 1498 PageID #:16711
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DM AIRPORTS, LTD




                          Address:                        8 AIRPORT RD


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073777




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      58
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000653
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 452 of 1498 PageID #:16712
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   McFARLAND and JOHNSON




                          Address:                        49 COURT ST


                                                          BINGHAMTON
                                                                                                                                                ,
                                                          NY 13901
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073778




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      59
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000654
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 453 of 1498 PageID #:16713
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DELTA AIRPORT SOLUTIONS




                          Address:                        3544 N PROGRESS AVE #200


                                                          HARRISBURG
                                                                                                                                                ,
                                                          PA 17110
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728073779




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      60
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000655
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                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   US FEDERAL AVIATION ADMINISTRATION




                          Address:                        135 FASHION DR S


                                                          ALLENTOWN
                                                                                                                                                ,
                                                          PA 18109
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
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                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      61
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000656
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                                                                                                                                                   CNA PARAMOUNT
                                                                                                            Calculation of Premium Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the following is added:
                          The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On each
                          renewal, continuation, or anniversary of the effective date of this policy, the Insurer will compute the premium in
                          accordance with the Insurer’s rates and rules then in effect.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74726XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      62
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000657
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Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 457 of 1498 PageID #:16717
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 458 of 1498 PageID #:16718
                                                                                                                          CNA PARAMOUNT
                                                                                                       Asbestos Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE FORM
                               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
                               RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
                               SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK
                               STOP GAP COVERAGE PART
                          It is understood and agreed that the following exclusion is added:
                          This insurance does not apply to:
                          A. bodily injury, property damage or personal and advertising injury arising out of the actual, alleged or threatened
                             exposure at any time to asbestos; or
                          B. any loss, cost or expense that may be awarded or incurred:
                               1.   by reason of a claim for any bodily injury, property damage or personal and advertising injury arising out of
                                    the actual, alleged or threatened exposure at any time to asbestos; or
                               2.   in complying with a governmental direction or request to test for, monitor, clean up, remove, contain or dispose of
                                    asbestos.
                          As used herein, asbestos means the mineral in any form whether or not the asbestos was at any time:
                          i.   airborne as a fiber, particle or dust;
                          ii. contained in or formed a part of a product, structure or other real or personal property;
                          iii. carried on clothing;
                          iv. inhaled or ingested; or
                          v.   transmitted by any other means.
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                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74719XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      64
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000660
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                                                                                                                                                      CNA PARAMOUNT

                                                                                       Nuclear Energy Liability Exclusion Endorsement
                                                                                                                          (Broad Form)

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                               STOP GAP LIABILITY COVERAGE PART
                          It is understood and agreed that the policy is amended as follows:
                          I.   The insurance does not apply:
                               A. under any Liability Coverage, to bodily injury or property damage:
                                   1.   with respect to which an Insured under the policy is also an Insured under a nuclear energy liability policy
                                        issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters,
                                        Nuclear Insurance Association of Canada or any of their successors, or would be an Insured under any such
                                        policy but for its termination upon exhaustion of its limit of liability; or
                                   2.   resulting from the hazardous properties of nuclear material and with respect to which
                                        a.   any person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
                                             of 1954, or any law amendatory thereof, or
                                        b. the Insured is, or had this policy not been issued would be, entitled to indemnity from the United States
                                           of America, or any agency thereof, under any agreement entered into by the United States of America, or
                                           any agency thereof, with any person or organization.
                               B. under any Medical Payments coverage, to expenses incurred with respect to bodily injury resulting from the
                                  hazardous properties of nuclear material and arising out of the operation of a nuclear facility by any person or
                                  organization.
                               C. under any Liability Coverage, to bodily injury or property damage resulting from hazardous properties of
                                  nuclear material, if:
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                                   1.   the nuclear material
                                        a.   is at any nuclear facility owned by, or operated by or on behalf of, an Insured or
                                        b. has been discharged or dispersed therefrom;
                                   2.   the nuclear material is contained in spent fuel or waste at any time possessed, handled, used, processed,
                                        stored, transported or disposed of, by or on behalf of an Insured; or
                                   3.   the bodily injury or property damage arises out of the furnishing by an Insured of services, materials, parts
                                        or equipment in connection with the planning, construction, maintenance, operation or use of any nuclear
                                        facility, but if such facility is located within the United States of America, its territories or possessions or
                                        Canada, this exclusion 3. applies only to property damage to such nuclear facility and any property thereat.
                          II. As used in this endorsement:
                               Hazardous properties includes radioactive, toxic or explosive properties.
                               Nuclear material means source material, special nuclear material or by-product material.
                               Source material, special nuclear material, and by-product material have the meanings given them in the Atomic
                               Energy Act of 1954 or in any law amendatory thereof.


                          CNA74727XX (1-15)                                                                                                      Policy No: 6056872807
                          Page 1 of 2                                                                                                      Endorsement No:      65
                          CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA000661
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                                                                                                                          CNA PARAMOUNT

                                                           Nuclear Energy Liability Exclusion Endorsement
                                                                                              (Broad Form)

    Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to radiation in
    a nuclear reactor.
    Waste means any waste material:
    A. containing by-product material other than the tailings or wastes produced by the extraction or concentration of
       uranium or thorium from any ore processed primarily for its source material content, and
    B. resulting from the operation by any person or organization of any nuclear facility included under the first two
       paragraphs of the definition of nuclear facility.
    Nuclear facility means:
    A. any nuclear reactor;
    B. any equipment or device designed or used for
        1.   separating the isotopes of uranium or plutonium,
        2.   processing or utilizing spent fuel, or
        3.   handling, processing or packaging waste;
    C. any equipment or device used for the processing, fabricating or alloying of special nuclear material if at any time
       the total amount of such material in the custody of the Insured at the premises where such equipment or device is
       located consists of or contains more than 25 grams of plutonium or uranium 233 or any combination thereof, or
       more than 250 grams of uranium 235;
    D. any structure, basin, excavation, premises or place prepared or used for the storage or disposal of waste;
    and includes the site on which any of the foregoing is located, all operations conducted on such site and all premises
    used for such operations.
    Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting chain reaction
    or to contain a critical mass of fissionable material.
    Property damage includes all forms of radioactive contamination of property.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74727XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:      65
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2019
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000662
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                                                                                                                            CNA PARAMOUNT

                                                                              Cap on Losses from Certified Acts of Terrorism
                                                                                                               Endorsement

                          Solely with respect to the following coverage parts:

                              Business Property
                              Inland Marine

                              General Liability
                              Employee Benefits Liability



                          It is understood and agreed as follows:

                          A. Cap on Certified Terrorism Losses

                              Certified act of terrorism means an act that is certified by the Secretary of the Treasury, in consultation with the
                              Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant to
                              the Terrorism Risk Insurance Act, as extended and reauthorized (the "Act"). The criteria contained in the Act for a
                              certified act of terrorism include the following:

                              1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                                   subject to the Terrorism Risk Insurance Act; and

                              2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                                   individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
                                   policy or affect the conduct of the United States Government by coercion.

                              If aggregate insured losses attributable to terrorist acts certified under the Act exceed $100 billion in a Calendar year
                              (January 1 through December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be
                              liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
                              losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
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                              of the Treasury.

                          B. Application of Exclusions

                              The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
                              serve to create coverage for any loss which would otherwise be excluded under this coverage part or Policy, such as
                              losses excluded by the Nuclear Hazard Exclusion or the War And Military Action Exclusion.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA81503XX (2-15)                                                                               Policy No: 6056872807
                          Page 1 of 1                                                                               Endorsement No:      66
                          CONTINENTAL CASUALTY COMPANY                                                                Effective Date: 12/23/2019
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA000663
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                                                      END OF COPY

                                                           CNA000665
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                      GROUP EXHIBIT G-3
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                                                                                                                         CNA PARAMOUNT
                                                                                                    Policy Holder Notice – Countrywide


                                                   IMPORTANT INFORMATION

                                                    NOTICE – OFFER OF TERRORISM COVERAGE
                                                       NOTICE – DISCLOSURE OF PREMIUM
                          Solely with respect to the following coverage parts:

                              Business Property
                              Inland Marine

                              General Liability
                              Employee Benefits Liability




                          THIS NOTICE DOES NOT FORM A PART OF THE POLICY, GRANT ANY COVERAGE OR CHANGE THE TERMS
                          AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                          The Named Insured is hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"),
                          the Named Insured has a right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in
                          Section 102(1) of the Act, subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a
                          federal program within the Department of the Treasury, under which the federal government shares, with the insurance
                          industry, the risk of loss from future terrorist attacks.

                          This Notice is designed to alert the Named Insured to coverage restrictions and to certain terrorism provisions in the
                          policy. If there is any conflict between this Notice and the policy (including its endorsements), the provisions of the policy
                          (including its endorsements) apply.
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                          CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM

                          The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
                          Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars and
                          must have been committed by an individual or individuals acting on behalf of any foreign person or foreign interest to
                          coerce the government or population of the United States. However, the 2007 re-authorization of the Act removed the
                          requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now certified acts of
                          terrorism may encompass, for example, a terrorist act committed against the United States government by a United States
                          citizen, when the act is determined by the federal government to be "a certified act of terrorism."

                          In accordance with the Act, the Insurer is required to offer the Named Insured the ability to purchase coverage for losses
                          resulting from an act of terrorism that is certified under the federal program. The other provisions of this policy, including
                          nuclear, war or military action exclusions, will still apply to such an act.

                          DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES

                          The Department of the Treasury will pay a share of terrorism losses insured under the federal program. In 2015, the
                          federal share equals 85% of that portion of the amount of such insured losses that exceeds the applicable insurer
                          retention, and shall decrease by 1 percentage point per calendar year until equal to 80%.

                          LIMITATION ON PAYMENT OF TERRORISM LOSSES


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                                                                            CNA000667
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                                                                                                CNA PARAMOUNT
                                                                          Policy Holder Notice – Countrywide

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a Calendar year (January 1 through December 31), the Treasury shall not make any payment for any portion of
the amount of such losses that exceeds $100 billion.

Further, this coverage is subject to a limit on the Insurer's liability pursuant to the federal law where, if aggregate insured
losses attributable to terrorist acts certified under the Act exceed $100 billion in a Calendar year (January 1 through
December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be liable for the payment
of any portion of the amount of such losses that exceeds $100 billion. In such case, insured losses up to that amount are
subject to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.

CONFIRMATION OF ACCEPTANCE OF COVERAGE

In accordance with the Act, the Insurer offered the Named Insured coverage for losses resulting from an act of terrorism
that is certified under the federal program. This notice confirms that the Named Insured has chosen to accept the
Insurer's offer of coverage for certified acts of terrorism. The policy's other provisions, including nuclear, war or military
action exclusions, will still apply to such an act. The premium charge for terrorism coverage is shown separately on the
Declarations.




CNA62820XX 2-15
                                                   CNA000668
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                                                                                                                     CNA PARAMOUNT
                                                                    Policyholder Notice – New Jersey PLIGA Surcharge




                                                  IMPORTANT INFORMATION
                                                              "PLIGA" SURCHARGE
                                                             FOR OUR NEW JERSEY
                                                        COMMERCIAL LINES POLICYHOLDERS
                          Your policy premium includes a New Jersey Property – Liability Insurance Guaranty Association (PLIGA) surcharge.
                          PLIGA protects consumers from insurance company insolvencies. The cost of this guaranty fund is assessed to all
                          insurance companies in New Jersey; and in compliance with Department of Insurance Order No. A18-105, it is passed
                          along to individual consumers via this surcharge.

                          The surcharge is 0.60% of your premium for all property/liability coverage except for life insurance, accident and health
                          insurance, workers' compensation insurance, title insurance, annuities, surety bonds, credit insurance, mortgage guaranty
                          insurance, municipal bond coverage, fidelity insurance, investment return assurance, ocean marine insurance, and pet
                          health insurance.

                          For purposes of this surcharge and in compliance with New Jersey Insurance Department Regulation N.J.S.A. 17:30A-8a
                          (3), the declarations page of this policy is the "premium bill."

                          If you have questions about the New Jersey – Liability Insurance Guaranty Association or this surcharge, please contact
                          your independent CNA agent.
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                          CNA62848NJ (02-20)
                                                                          CNA000669
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                                                                                                                         CNA PARAMOUNT
                                                                                                    Policy Holder Notice – Countrywide


                                                   IMPORTANT INFORMATION
                                                 PREVENT UNEXPECTED PREMIUM CHARGES AT
                                                              FINAL AUDIT
                                                   GENERAL LIABILITY LIMITS WE REQUIRE FOR
                                                        SUBCONTRACTORS YOU HIRE
                          Please read this IMPORTANT INFORMATION notice carefully if you hire subcontractors to perform work for you.
                          Your General Liability insurance premiums may increase substantially at final audit if your subcontractors do not carry the
                          minimum General Liability insurance limits we require as defined below.
                          To prevent your General Liability insurance premiums from increasing at final audit, your subcontractors must carry a
                          General Liability policy which is written on an occurrence basis and which provides Limits of Insurance as follows:
                              $   1,000,000 Any One Occurrence (Coverage A)
                                  1,000,000 Any One Person or Organization (Coverage B)
                                  1,000,000 Products/Completed Operations Aggregate
                                  1,000,000 General Aggregate
                          In certain exception cases, higher Limits of Insurance than those specified above may be required. Your agent will be
                          notified of these exception cases in writing when they exist.
                          How This Requirement Can Affect Your General Liability Premium at Final Audit
                          At final premium audit, we will ask you to provide us with Certificates of Insurance for all subcontractors who worked for
                          you during the policy period, to confirm that they carried the General Liability limits of insurance we require, as stated
                          above.
                          Work you subcontract to other contractors whose General Liability limits of insurance meet the requirements shown
                          above, will be rated on a subcontract cost basis, which is significantly less expensive for you than treating these
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                          subcontract costs as ratable payroll (as described below).
                          Any subcontractor of yours who carries General Liability limits of insurance less than those stated above, and any of your
                          subcontractors for whom we are not provided Certificates of Insurance will be treated as your employees for rating
                          purposes. The associated subcontract costs will be treated as ratable payroll on your policy resulting in an additional
                          premium charge at final audit.
                          Prevent Unexpected Premium Charges at Final Audit:
                          Require Evidence Of $1,000,000 General Liability Limits From All Of Your Subcontractors
                          To avoid additional premium charges at final audit caused by your subcontract costs being treated as ratable payroll, and
                          to reduce the risk of your General Liability insurance being tapped to cover claims arising out of your subcontractor's work,
                          we urge you to obtain Certificates of Insurance from your subcontractors, prior to their beginning work, evidencing the
                          General Liability limits of insurance stated above. In addition to providing coverage information for their General Liability
                          insurance, these Certificates of Insurance should also provide coverage information for your subcontractor's Automobile,
                          Worker's Compensation, and Umbrella insurance.
                          Please contact your agent if you have any questions regarding these requirements or if you would like help in determining
                          the adequacy of the insurance carried by any of your subcontractors.




                          CNA74722XX 01-15                                  Copyright CNA All Rights Reserved.                              Page 1 of 1
                                                                            CNA000670
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                                                                                                                            CNA PARAMOUNT

                                                                                         Policy Holder Notice – Countrywide –
                                                                                    Premium Basis Used on Liability Schedules

                                                     Premium Basis Used on Liability Schedules
                          This policy includes one or more Liability coverages with associated Schedules of locations, coverages or classifications.
                          When such Schedules display an Exposure amount used to calculate premium, the Exposure amount is often followed by
                          an abbreviation that denotes what the Exposure amount represents (Payroll, Gross Sales, Area, etc.). Such abbreviations
                          are described below.

                          A   = Area                          (Per 1,000 Sq. ft.)           GL = Gallons                        (Per 1,000 Gallons)
                          AC = Acres                                     (Each)             GS = Grandstands/Bleacher                        (Each)
                          AD = Activity Days                             (Each)             H     = Number of Golf Holes                     (Each)
                          AN = Animals                                   (Each)             HO = Hoists                                      (Each)
                          AP = Airports                                  (Each)             HQ = Headquarters                                (Each)
                          AT = Attendants                                (Each)             K     = Kennels                                  (Each)
                          AU = Audited Premium                   (Last Year of              L     = Limit        (Limit of Insurance for Coverage)
                                                              Manufacture - %)
                                                                                            LD = Locations Days                              (Each)
                          B   = Bodies                                   (Each)
                                                                                            LE = Lessees                                     (Each)
                          BA = Bales                          (Per 1,000 Bales)
                                                                                            LO = Locations                                   (Each)
                          BD = Beds                                      (Each)
                                                                                            LR = Lakes/Reservoirs                            (Each)
                          BE = Beaches                                   (Each)
                                                                                            LW = Lawyers                                     (Each)
                          BO = Boats                                     (Each)
                                                                                            M     = Admissions              (Per 1,000 Admissions)
                          C   = Total Cost            (Per $1,000 of Total Cost)
                                                                                            ME = Members                                     (Each)
                          CD = Camper Days                  (Each Camper Day)
                                                                                            MH = Model Homes                                 (Each)
                          CN = Contestants                               (Each)
                                                                                            MI = Miles                                       (Each)
                          CU = Convention Days                           (Each)
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                                                                                            NB = Newsboys                                    (Each)
                          CW = Cost of Work                      (Per $1,000 of
                                                            Total Cost of Work)             O     = Operators                                (Each)

                          DB = Drawbridges                               (Each)             OE = Operating Expenditures         (Per $1,000 of
                                                                                                                       Operating Expenditures)
                          DM = Dams                                      (Each)
                                                                                            P     = Payroll                  (Per $1,000 of Payroll)
                          DW = Dwellings                                 (Each)
                                                                                            PD = Passenger Days              (Per 1,000 Passenger
                          E   = Each                     (Per Entity Described)                                                             Days)
                          EM = Employees                                 (Each)             PG = Picnic Grounds                              (Each)
                          ES = Solar Energy Systems                      (Each)             PP = Parks/Playgrounds                           (Each)
                          ET = Turbines                                  (Each)             PR = Parades                                     (Each)
                          EX = Exhibitions                               (Each)             PS = Persons                                     (Each)
                          F   = Flat Charge              (Flat Premium Charge)              PU = Pupils                                      (Each)
                          FG = Fairgrounds                               (Each)             R     = Receipts               (Per $1,000 of Receipts)
                          FM = Faculty Members                           (Each)             RG = Registrants                                 (Each)
                          FP = Fishing Piers                             (Each)             RN = Range                                       (Each)
                          G   = Graduates                                (Each)             RV = Revenue                   (Per $1,000 of Revenue)
                          GA = Games                                     (Each)
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                                                          Policy Holder Notice – Countrywide –
                                                     Premium Basis Used on Liability Schedules

S   = Gross Sales                  (Per $1,000 of            SP = Swimming Pools                     (Each)
                                    Gross Sales)
                                                             ST = Stations                           (Each)
SA = Classification          (Total Class Specific
                                    Premium - %)             SU = Sub 334 Premium   (Premises & Operations
                                                                                             Premium - %)
SB = Sub 336 Premium      (Products & Completed
                         Operations Premium - %)             TE = Teams                              (Each)

SC = Scouts                                (Each)            TO = Towers                             (Each)

SD = Students                              (Each)            U     = Unit                (Per Dwelling Unit)

SE = Seats                                 (Each)            VE = Vehicles              (Per 1,000 Vehicles)

SG = Total GL Premium           (General Liability           VO = Volunteers                         (Each)
                                   Premium - %)              WC = WC Premium          (Per 1,000 of Workers’
SH = Shows                                 (Each)                                   Compensation Premium)
                                                             Z     = Zoos                            (Each)
SL = 334/336 Premium      (Premises & Operations
                        and Products & Completed
                         Operations Premium - %)




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                                                                                                Policy Holder Notice — Countrywide



                                                                DENOTING DEFINED TERMS

                          As noted elsewhere in this Policy, terms in bold face type have the special meanings assigned to them in pertinent
                          Definitions sections or Glossaries. When applicable, terms in "quotation marks" shall be treated as if they were in bold
                          face type, and shall have the same special meanings described in the pertinent Definitions sections or Glossaries.
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                                                                                                                            CNA PARAMOUNT
                                                                                                             Common Terms and Conditions

                          The Insurer and the Named Insured, in consideration of the payment of the premium and in reliance upon all statements
                          made in the application furnished to the Insurer designated in the Policy Declarations, a stock insurance corporation,
                          hereafter called the “Insurer,” agree as follows. Terms in bold face type have special meaning as set forth in any
                          applicable First Party Glossary of Defined Terms or the applicable coverage parts of this Policy. All headings are also
                          in bold, whether or not they contain defined terms. See Section XVI, HEADINGS below.

                           I. ASSIGNMENT OF INTEREST

                              Assignment of interest under this Policy shall not bind the Insurer unless its consent is endorsed to this Policy except
                              in the case of death of a natural person Named Insured.

                           II. BANKRUPTCY
                              Bankruptcy or insolvency of any Named Insured or of the Named Insured’s estate shall not relieve the Insurer of any
                              of its obligations hereunder.

                           III. CANCELLATION/NONRENEWAL
                              A. Insurer’s Right to Cancel

                                  The Insurer may cancel this policy by providing to the First Named Insured written notice of such cancellation
                                  stating when, not less than 10 days thereafter, such cancellation shall be effective if such cancellation is due to
                                  non-payment of premium. If cancellation is due to any other reason, such notice shall be provided not less than
                                  60 days thereafter.
                              B. Named Insured’s Right to Cancel
                                  The First Named Insured may cancel this Policy by providing the Insurer written notice stating when thereafter
                                  such cancellation shall be effective. The mailing or delivery of such notice shall be sufficient.

                              C. Premium Refund

                                  If this policy is cancelled, the Insurer will send the First Named Insured any premium refund due. If the Insurer
                                  cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata.
                                  The cancellation will be effective even if the Insurer has not made or offered a refund.
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                              D. Nonrenewal

                                  If the Insurer decides not to offer any renewal terms for this Policy, the Insurer shall provide written notice to the
                                  Named Insured at least 60 days prior to the Policy expiration date. The notice shall include the reason for such
                                  non-renewal.
                              E. Notices

                                  If any notice required under this Section is mailed, proof of mailing will be sufficient proof of notice.

                           IV. CHANGES

                              Notice to or knowledge possessed by any agent or other person acting on behalf of the Insurer shall not effect a
                              waiver or a change in any part of this Policy or stop the Insurer from asserting any right under the provisions of this
                              Policy, nor shall the provisions be waived or changed except by written endorsement issued to form a part of this
                              Policy.

                           V. CONFORMITY TO STATUTE
                              Terms of these conditions or any coverage part that are in conflict with the statutes of the state in which this policy is
                              issued are hereby amended to conform to such statutes.


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                                                                                  Common Terms and Conditions

VI. COORDINATION AMONG COVERAGE PARTS
   Subject always to the applicable Limit of Liability, should two or more coverage parts apply to the same loss, the
   Insurer will not pay more than the Named Insured’s actual loss.

VII. COVERAGE PART TERMS AND CONDITIONS

   The terms and conditions of each coverage part apply only to that coverage part and shall not apply to any other
   coverage part. If any provision in the Common Terms and Conditions is inconsistent or in conflict with the terms
   and conditions of any coverage part, the terms and conditions of such coverage part shall control for purposes of
   that coverage part.

VIII. CURRENCY
   All premiums, limits, deductibles and other amounts stated or payable under this Policy are expressed and payable in
   the currency of the United States of America. If any payments due under this Policy are stated or incurred in a
   currency other than United States of America dollars, payment under this Policy will be made in United States of
   America dollars, at the rate of exchange published in The Wall Street Journal on the date the Insurer’s obligation to
   pay such amount is established (or, if not published on such date, the next publication date of The Wall Street
   Journal).

IX. ENTIRE AGREEMENT

   The Named Insureds agree that this Policy constitutes the entire contract existing between them and the Insurer or
   any of its agents relating to this insurance.

X. EXAMINATION OF THE INSURED’S BOOKS AND RECORDS
   The Insurer may examine and audit any Named Insured’s books and records as they relate to this Policy at any time
   during the policy period and up to 3 years afterward.

XI. INSPECTIONS AND SURVEYS
   The Insurer has the right but not the obligation to:
   A. make inspections and surveys at any time;
   B. provide reports on the conditions it finds;
   C. recommend changes; or
   D. conduct loss control and prevention activity.
   Any inspections, surveys, reports, or recommendations relate only to insurability and the premiums to be charged.
   The Insurer does not:
   1.   make safety inspections;
   2.   undertake to perform the duty of any entity to provide for the health or safety of workers or the public;
   3.   warrant that conditions are safe or healthful or comply with laws, regulations, codes or standards.

XII. LIBERALIZATION
   If the Insurer adopts any revision that would broaden the coverage under this Policy without additional premium within
   60 days prior to or during the policy period, the broadened coverage will immediately apply to this Policy.




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                                                                                                           Common Terms and Conditions

                           XIII. NAMED INSURED AUTHORIZATION AND NOTICES

                              The First Named Insured agrees that it will act on behalf of all Named Insureds with respect to the giving of all
                              notices to the Insurer, the receipt of notices from the Insurer, the payment of the premiums, the receipt of any return
                              premiums that may become due under this Policy, and the acceptance of endorsements.
                              Any notices required under the CANCELLATION / NON-RENEWAL sections of this Policy shall be provided to the
                              First Named Insured at the last known address and to its insurance agent or broker. If notice is mailed, proof of
                              mailing will be sufficient proof of notice.

                           XIV. NO SUIT AGAINST INSURER

                              A. No suit shall be brought under this Policy by anyone other than the Named Insured. The Named Insured may
                                 not bring any such suit, action or legal proceeding unless, as a condition precedent, there shall have been full
                                 compliance with all the provisions of this Policy and:
                                  1.   with respect to any property coverage part, the action is brought within 3 years after the date on which the
                                       loss or damage occurred or, with respect to any crime coverage, the date the loss was discovered;
                                  2.   with respect to any third party coverage part, the amount of the Named Insured's obligation to pay shall
                                       have been finally determined either by final and nonappealable judgment against the Named Insured after
                                       trial or by written agreement of the Named Insured, the claimant and the Insurer.

                                  However, if any law prohibits such time limitation then the limitation is amended to equal the minimum time
                                  limitation required by such law.
                              B. No person or organization shall have any right under this Policy to join the Insurer as a party to any suit against
                                 the Named Insured to determine the Named Insured's liability, nor shall the Insurer be impleaded by the Named
                                 Insured or their legal representatives in any such suit.

                           XV. TRADE AND ECONOMIC SANCTIONS
                              This Policy does not provide coverage for any Named Insured, transactions, or any loss that is uninsurable under the
                              laws or regulations of the United States concerning trade or economic sanctions.
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                           XVI. HEADINGS
                               The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and
                               conditions of coverage.

                          IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its Chairman and Secretary at Chicago,
                          Illinois, but the same shall not be binding upon the Insurer unless countersigned by a duly authorized representative of the
                          Insurer.

                           Chairman                                                    Secretary




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                                                                                                                       CNA PARAMOUNT
                                                                                               First Party Glossary of Defined Terms

                          This First Party Glossary of Defined Terms applies to the Business Property Coverage Part and the Business Crime
                          Coverage Part, as applicable, and their associated forms and endorsements. For purposes of this Policy, words in bold,
                          whether expressed in the singular or the plural, have the meaning shown below.


                           Act or Decision
                              Act or decision means any act or decision, whether intentional or negligent, including the failure to act or decide, of
                              any person, group, organization or governmental body which creates or allows a result which is unexpected,
                              inadequate, defective, faulty or otherwise unsuitable for the intended purpose.

                          Actual Cash Value
                              Actual cash value means the replacement cost with deduction for depreciation, deterioration and obsolescence
                              which amount is computed as of the time and at the place of loss or damage.

                          Alteration
                              Alteration means the material modification of an original document by a person acting without authority and with the
                              intent to deceive. Alteration does not include the electronic or manual insertion of any personal identification code,
                              including personal identification numbers or password or a counterfeit.

                           Banking Premises
                              Banking premises means the interior of that portion of any building occupied by a financial institution.

                           Bonus Payment

                              Bonus payment means the unamortized amount, other than rent or security, which the Named Insured paid to
                              acquire the Named Insured's lease and that will not be refunded to the Named Insured.

                           Building
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                              Building means a building or structure, including completed additions, additions under construction and alterations
                              and repairs to such building or structure that the Named Insured owns, occupies or is legally or contractually required
                              to insure.

                           Business Income
                              Business income means net income, including rental value, plus continuing operating expenses. Business
                              income does not include research and development business income.

                           Client
                              Client means a third party for whom the Named Insured performs specified professional services for a fee.

                           Computer Fraud
                              Computer fraud means theft of money, securities and other property following and directly related to the use of
                              any computer to fraudulently cause a transfer of that property to a person who is not an employee or to an account of
                              any financial institution not controlled by the Named Insured.




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Contaminants or Pollutants
   Contaminants or pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
   vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
   reclaimed.

Continuing Operating Expenses
   Continuing operating expenses means:

   A. the Named Insured’s normal operating expenses including any reasonable and necessary payroll; plus

   B. charges that are the unsatisfied legal obligation of the Named Insured’s tenants and for which the Named
      Insured is now obligated.

   Continuing operating expenses does not include extra expense, expediting expense or research and
   development project continuing expenses.

Counterfeit
   Counterfeit means a written imitation of an actual valid original document that is intended to deceive and to be
   taken as the original document.

Coverage Part

   Coverage part means the Business Property Coverage Part and Business Crime Coverage Part, as applicable.

Coverage Territory

   Coverage territory means the United States of America, its territories or possessions, Canada, or Puerto Rico.
   Coverage territory does not include any waterborne shipment to or from Alaska, Puerto Rico, Hawaii or territories or
   possessions of the United States of America.

Covered Equipment
   Covered equipment means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping and its
   accessory equipment, and any mechanical or electrical machine or apparatus used for the generation, transmission,
   or utilization of mechanical or electrical power.

Covered Instruments
   Covered instruments means written checks, drafts, promissory notes or similar written promises, orders or
   directions to pay a sum certain in money, and also includes written instruments required in conjunction with any
   credit, debit or charge card issued to the Named Insured or to any employee for business purposes, or issued to any
   proprietor, partner, member or officer of the Named Insured for personal use.

Covered Peril
   Covered peril means a fortuitous cause or event, not otherwise excluded, which occurs during this policy period.
   Covered peril does not include:
   1.   a fortuitous cause or event, whether or not excluded, which actually occurred prior to the policy period,
        regardless of the date on which it first becomes manifest or is first discovered; or
   2.   damage from unknown causes or events.


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                          Covered Property
                             Covered property means the property that is insured for loss or damage under the Business Property Coverage
                             Part or endorsements.

                          Denial of Service Attack
                             Denial of service attack means an attack executed over one or more networks or the internet, which attack is
                             designed and intended to disrupt the operation of one or more networks and render the networks inaccessible to
                             authorized users.

                          Dependent Property
                             Dependent property means a premises that is operated by others on whom the Named Insured depends to:
                             A. deliver materials or services to the Named Insured or to others for the Named Insured’s account;
                             B. accept the Named Insured’s products or services;
                             C. manufacture products for delivery to the Named Insured’s customers under contract of sale; or

                             D. attract customers to the Named Insured’s business.

                             The dependent property includes the area associated with that address in which the occupant of the above premises
                             is legally entitled to conduct business activities and includes the area extending 1,000 feet beyond that address.
                             Dependent property does not include:

                             1.   any premises operated by others on whom the Named Insured depends to deliver any:
                                  a.   power, communications or other utility services;
                                  b. internet access or internet services; or
                                  c.   data management, network management, software management or cloud computing and storage services; or

                             2.   any premises within any country in which the United States government has imposed sanctions, embargoes or
                                  similar prohibitions.
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                          Discover or Discovered
                             Discover or discovered means the earlier of the time when the Named Insured first:
                             A. becomes aware of facts which would cause a reasonable person to assume that a covered loss did or will
                                happen, regardless of when the act that may cause or contribute to such loss occurred, even though the exact
                                amount or details of loss may not be known; or
                             B. receives notice of an actual or potential claim in which it is alleged that the Named Insured is liable to a third
                                party under circumstances that, if true, would constitute a covered loss.

                          Earth Movement
                             Earth movement means earthquake or other seismic activity (including but not limited to underground magma
                             activity), the abrupt rising, sinking or shifting of earth (naturally occurring or man-made) or mine subsidence. However,
                             earth movement does not include landslide, avalanche, tsunami, sinkhole collapse or volcanic eruption.




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Electronic Data Processing Equipment

   Electronic data processing equipment means:

   A. a network of electronic components capable of accepting information and processing it according to a plan and
      which exists primarily to generate information in tangible form or on electronic media, including climate control
      and fire protective equipment used solely in connection with data processing operations;
   B. telephone equipment; and

   C. facsimile equipment.

   Electronic data processing equipment does not include any equipment which:

   1.   are stock; or
   2.   exist primarily to control or operate machinery or equipment to produce goods in process or finished stock.

Electronic Data Processing Equipment Leasehold Values
   Electronic data processing equipment leasehold values means the present value of the difference between the:
   A. actual periodic lease payments for electronic data processing equipment that has incurred direct physical loss
      or damage and for which the Named Insured remains liable during the unexpired term of the lease; and
   B. periodic payment for the replacement of electronic data processing equipment due under the new lease, for
      each remaining month of the term of the lease.

Electronic Infection
   Electronic infection means the transmission of a computer virus.

Electronic Vandalism
   Electronic vandalism means the willful or malicious alteration, manipulation or destruction of media, electronic data
   processing equipment, research and development project property and records of accounts receivable due to
   system penetration, electronic infection or a denial of service attack, including such acts committed by an
   employee (including leased and temporary employees).

Employee
   Employee means:
   A. any natural person:
        1.   while in the Named Insured’s service (and for 60 days after termination of service);
        2.   whom the Named Insured compensates directly by salary, wages, or commissions; and
        3.   whom the Named Insured has the right to direct and control while performing services for the Named
             Insured;
   B. any natural person who is furnished to the Named Insured:
        1.   to substitute for a permanent employee on leave; or
        2.   to meet seasonal or short-term workload conditions,
        while that person is subject to the Named Insured’s direction and control and performing services for the Named
        Insured, excluding, however, any such person while having care and custody of the Named Insured’s property
        outside the premises;


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                                                                                                                            CNA PARAMOUNT
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                             C. any natural person leased to the Named Insured, under an agreement between the Named Insured and a labor
                                leasing firm, while that person is subject to the Named Insured’s direction and control and performing services
                                for the Named Insured;
                             D. any non-compensated natural person:
                                  1.   other than one who is a fund solicitor, while performing services for the Named Insured that are usual to the
                                       duties of an employee or officer; or
                                  2.   while acting as a fund solicitor during fund raising campaigns; or
                             E. solely with respect to an employee benefit plan, any natural person who is required to be bonded by the
                                Employee Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations
                                promulgated thereunder.
                             Other than with respect to an employee benefit plan, employee does not include any:
                             1.   agent, broker, factor, commission merchant, consignee, independent contractor or representative of the same
                                  general character; or
                             2.   manager, member, partner, proprietor, director or trustee, but solely to the extent he or she is acting in his or her
                                  capacity as such.

                          Employee Benefit Plan
                             Employee benefit plan means an employee welfare benefit plan or an employee pension benefit plan as more fully
                             set forth in Title 1, Section 3 of the Employee Retirement Income Security Act of 1974 (ERISA) and any amendments
                             thereto and which is solely sponsored by the Named Insured.

                          Employee Theft
                             Employee theft means theft committed by an employee to the deprivation of the Named Insured or an employee
                             benefit plan, whether identified or not, acting alone or in collusion with others. Solely with respect to an employee
                             benefit plan, employee theft means all acts of fraud or dishonesty required to be bonded against by the Employee
                             Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated
                             thereunder.
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                             Employee theft also includes forgery of such property by an employee.

                           Equipment Breakdown Peril
                             Equipment breakdown peril means:
                             A. Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices wiring
                                or equipment.
                             B. Explosion, rupture or bursting of steam boilers, steam pipes, steam engines, stream turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured,
                                except for the explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas
                                turbines, or within the flues or passages through which the products of combustion pass.
                             C. Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured;
                                except for explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines,
                                or within the flues or passages through which the gases of combustion pass.
                             D. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment, engines
                                other than steam engines or pressure vessels when owned, operated or controlled by the Named Insured.
                             E. Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property owned,
                                operated or controlled by the Named Insured.


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                                                                       First Party Glossary of Defined Terms

Executive Officer
   Executive officer means any natural person partner, member, officer, manager (of a limited liability company),
   director or trustee of the Named Insured.

Extra Expense
   Extra expense means actual reasonable and necessary operating expenses the Named Insured incurs during the
   period of restoration that would not have been necessary to incur if there had been no direct physical loss of or
   damage to property, provided such expenses are incurred:
   A. to avoid or minimize the suspension or delay of operations and to continue such operations which have been
      affected by the direct physical loss or damage to the property; or
   B. in an attempt to minimize the period of restoration.
   Extra expense does not include:
   1.   research and development project continuing expenses or continuing operating expenses;
   2.   costs incurred to purchase merchandise as a replacement for the Named Insured's finished stock;
   3.   costs to repair or replace any property, or research or restore media or records of accounts receivable; or
   4.   amounts incurred on financing or investment activity conducted for the Named Insured's account.

Financial Institution
   Financial institution means:
   A. a banking, savings or thrift institution, credit union or similar depository institution; or
   B. a stock brokerage firm, mutual fund, liquid assets fund or similar investment institution where the Named Insured
      maintains an account.
   However, financial institution does not include check cashers, currency exchangers or money remittance firms.

Fine Arts
   Fine arts means paintings, etchings, pictures, tapestries, art glass windows, valuable rugs, statuary, marbles,
   bronzes, antiques, porcelains, rare books, manuscripts, and similar property of rarity, historical value or artistic merit.

Finished Stock
   Finished stock means manufactured goods that are in a completed state and ready for packing, shipment,
   installation or sale. However, finished stock does not include manufactured goods that are held for sale at a
   location of any retail outlet.

First Named Insured
   First Named Insured means the person or entity first named in Item 1 of the Policy Declarations.

Fixtures
   Fixtures means:
   A. indoor or outdoor property fixed or attached to a building, including permanently installed machinery and
      equipment; or
   B. glass (including all lettering and ornamentation) forming part of the building.




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                          Flood
                             Flood means a general and temporary condition of partial or complete inundation of normally dry land areas from:
                             A. the overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or man-made
                                lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans or any other body of water or watercourse;
                             B. waves, tides or tidal waves including tsunami;
                             or their spray, all whether driven by wind or not, including storm surge.

                          Forgery
                             Forgery means the signing of the name of another person or organization with intent to deceive. Forgery does not
                             include:
                             A. a signature which consists in whole or in part of one's own name signed with or without authority, in any capacity
                                for any purpose;
                             B. the electronic or manual insertion of any personal identification code, including personal identification numbers or
                                passwords; or
                             C. counterfeit.

                          Funds Transfer Fraud
                             Funds transfer fraud means theft of money and securities following and directly related to the use of fraudulent
                             written or verbal instructions which are purported to have been made by the Named Insured, which causes an
                             electronic transfer of money or securities from a financial institution to:
                             A. an account at a financial institution not controlled by the Named Insured; or
                             B. a person other than an employee.

                          Fungi

                             Fungi means any form of fungus, including but not limited to, yeast, mold, mildew, rust, smut or mushroom, and
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                             including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released by,
                             or arising out of the current or past presence of fungi. Fungi does not include any fungi intended by the Named
                             Insured for consumption.

                          Goods In Process

                             Goods in process mean raw stock which has undergone any aging, seasoning, mechanical or other process of
                             manufacture but which has not become finished stock.

                          Green Insured Property

                             Green insured property means insured property created, built or constructed following the practice of creating
                             buildings or materials or using processes that incorporate one or more of the following practices and are certified as
                             such by a government organization or a nationally or internationally recognized building industry organization or
                             governmental agency, such as the U.S. Green Building Council (LEED certification), ECD Energy, Environment
                             Canada (Green Globes) or the U.S. Department of Energy:
                             A. Energy Efficiency, including steps implemented to obtain an ENERGY STAR label for a building at a location or
                                reported unspecified location, as well as use of ENERGY STAR or equivalently rated materials, lighting
                                systems, HVAC equipment, appliances or electronic products (if current like kind and quality replacement is not
                                ENERGY STAR rated).


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   B. Water Efficiency, including use of water efficient processes and wastewater technologies, as well as use of
      alternative water or indoor plumbing systems that reduce water usage from any plumbing fixture.
   C. Materials Efficiency, including use of sustainable and environmentally preferable construction materials, materials
      management and re-cycling programs.
   D. Environmental Quality, including reduction of the quantity of indoor air contaminants by use of low-emitting
      products or materials.
   Green insured property does not include stock, processing water, molds and dies, property in the open, personal
   property of others or personal property of executive officers or employees.

Gross Leasehold Interest

   Gross leasehold interest means the difference between the:

   A. the current monthly rental value at the market rate of the location or the reported unspecified location the
      Named Insured has leased on the date the direct physical loss or damage occurred; and

   B. the actual monthly rent the Named Insured currently pays, including taxes, insurance, janitorial or other services
      or fees that the Named Insured pays as part of the rent and other monthly assessments.

Installation Location

   Installation location means a premises that is not owned, leased or operated by the Named Insured at which
   installation property is or will be installed, constructed or serviced.

Installation Property

   Installation property means personal property that has or will become a permanent part of an installation,
   construction, or service project being performed for others by the Named Insured, or on the Named Insured's behalf.

Insured Property
   Insured property means real property and personal property.

Location

   Location means each of the locations specified in the Business Property Schedule of Locations or scheduled in
   any endorsement to this Policy and includes:
   A. the area associated with that address in which the Named Insured is legally entitled to conduct business
      activities; and
   B. the area extending 1,000 feet beyond that address.

Manager
   Manager means any natural person manager or member.

Manufactured Goods
   Manufactured goods means goods manufactured at a premises:
   A. the Named Insured owns or operates; or
   B. that the Named Insured does not own or operate, provided the Named Insured:
       1.   contracted for the goods to be manufactured exclusively for the Named Insured; and

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                                  2.   the Named Insured is the owner or licensee of the design, patent, trademark or copyright for the goods.

                          Market Value
                             Market value means the price that property might be expected to realize if offered for sale in a fair market.

                          Media
                             Media means recorded information in any format which is an existing original or which can be duplicated or replaced
                             by purchasing an existing duplicate that is for sale, and including any material upon which it is inscribed, printed,
                             written or recorded, owned by the Named Insured or owned by others in the Named Insured's care, custody or
                             control.

                             Media does not include money, securities, stock, fine arts, records of accounts receivable or research and
                             development project property.

                          Member
                             Member means any person serving on the Board of Managers or equivalent executive of a Named Insured that is a
                             limited liability company.

                          Merchandise
                             Merchandise means:
                             A. goods held for sale or installation by the Named Insured which are not manufactured goods; or
                             B. manufactured goods which are completed and ready for packing, shipment, installation or sale at a location of
                                any retail outlet.

                          Messenger
                             Messenger means any of the Named Insured’s natural person members, proprietors, partners, executive officers
                             or employees who are duly authorized by the Named Insured to have care and custody of the property outside the
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                             premises.

                          Microbes
                             Microbes means any:
                             A. non-fungal microorganism;
                             B. non-fungal, colony-form organism;
                             C. virus; or
                             D. bacteria.
                             Microbe includes any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by,
                             released by, or arising out of the current or past presence of microbes.

                          Mobile Computing Device
                             Mobile computing device means cellular phones, laptop computers and other personal hand-held electronic devices,
                             including accessories for such portable computing devices used in the Named Insured's business that are owned by
                             the Named Insured, executive officers or employees (including leased or temporary employees).

                             Mobile computing device does not include any of these devices while rented or leased to others or stock.

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Money
   Money means:
   A. currency, coins and bank notes in current use and having a face value; and

   B. travelers checks, register checks and money orders held for sale to the public.

Monthly Leasehold Interest

   Monthly leasehold interest means the original costs the Named Insured paid for bonus payments and prepaid
   rent, divided by the number of months left in the Named Insured's lease at the time of the expenditure.

Mudslide or Mudflow
   Mudslide or mudflow means a river of liquid and flowing mud on the surface of normally dry land areas as when
   earth is carried by a current of water and deposited along the path of the current.

Named Insured

   Named Insured means the persons or entities named as such on the Business Crime Coverage Part, Business
   Property Coverage Part or Policy Declarations.

   For insured property that is the subject of a Contract of Sale, Named Insured includes the Contract of Sale Loss
   Payee.

Named Storm
   Named storm means a tropical storm system that is declared to be named by the National Hurricane Center, World
   Meteorological Organization or any similar organization, agency or body responsible for naming such weather
   systems, including tropical storm spawned tornados or microbursts.
   The named tropical storm begins when such organization, agency or body officially declares the storm system as a
   named tropical storm and ends when that organization, agency or body officially declares the named tropical storm:
   A. permanently downgraded to a tropical depression;
   B. reclassified as a Post Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less; or
   C. reclassified as an Extra Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less.

Net Income
   Net Income means net profit or loss that would likely have been earned or incurred before taxes. Net income does
   not include any profit that would likely have been earned as a result of an increase in the business transactions due to
   favorable business conditions caused by the impact of the covered peril in the vicinity of such covered peril.

Net Leasehold Interest
   Net leasehold interest means the net present value of the gross leasehold interest for each remaining month of the
   term of the lease, discounted at the Prime Rate on the date the direct physical loss or damage occurs, rounded to the
   nearest dollar.




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                          Newly Acquired Location
                             Newly acquired location means a fixed premises the Named Insured owns, leases, rents or controls. The premises
                             becomes a newly acquired location on the later of:
                             A. the date the Named Insured obtains possession or control of the premises; or
                             B. the date the real property, personal property, fine arts, records of accounts receivable or media for which
                                the Named Insured has an insurable interest is placed at the premises.
                             Newly acquired location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a reported unspecified location;
                             4.   an installation location; or
                             5.   a fair, trade show or exhibition.

                          Occurrence

                             Occurrence means one event or a series of related events that contribute concurrently to or contribute in any
                             sequence to physical loss of or damage to property. However, with respect to:
                             A. the equipment breakdown peril, occurrence means all equipment breakdowns that manifest themselves at the
                                same time and are the result of the same cause, regardless of the number of locations or reported unspecified
                                locations or other premises involved.
                             B. a named storm, occurrence means each named storm. If a named storm is downgraded to a tropical
                                depression, such tropical depression shall be considered a separate occurrence.
                             C. theft, occurrence means all loss sustained by the Named Insured caused by:
                                  1. any single act or series of related acts;
                                  2.   any act or acts involving one person, or a group of persons acting together; or
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                                  3.   an act or event, or a series of related acts or events, not involving any identifiable person.
                             D. volcanic eruption, occurrence means all volcanic eruptions, explosions or effusions that occur within any 168
                                hour period.
                             E. Employee Theft Coverage or Employee Theft of Client Property Coverage, occurrence means:
                                  1.   any single act;
                                  2.   the combined total of all separate acts whether or not related; or
                                  3.   a series of acts whether or not related,
                                  committed by an employee, acting alone or in collusion with other persons, or any group of employees acting
                                  together, even if in collusion with other persons, during the policy period, before the policy period or both,
                                  subject to the Loss Sustained During Prior Policy Condition under the BUSINESS CRIME COVERAGE
                                  CONDITIONS in the First Party Terms and Conditions.
                             F. Forgery or Alteration Coverage, occurrence means:

                                  1.   any single act;

                                  2.   the combined total of all separate acts whether or not related; or

                                  3.   a series of acts whether or not related,


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       committed by any one person acting alone or in collusion with others, or in which any such person is implicated,
       involving one or more instruments, during this policy period, before this policy period or both, subject to the
       Loss Sustained During Prior Policy condition under the BUSINESS CRIME COVERAGE CONDITIONS in the
       First Party Terms and Conditions.
   G. Money and Securities Coverage or any other coverage provided under the Business Crime Coverage Part,
      occurrence means:
       1.   any single act, or series of related acts;
       2.   the combined total of all separate acts whether or not related; or
       3.   a series of acts whether or not related,
       committed by any one person acting alone or in collusion with others, or not committed by any identifiable person,
       during the policy period, before the policy period or both, subject to the Loss Sustained During Prior Policy
       Condition under the BUSINESS CRIME COVERAGE CONDITIONS in the First Party Terms and Conditions.
   H. Utility Supply Failure Coverage, occurrence means one event or a series of related events that contribute
      concurrently to or contribute in any sequence to physical loss of or damage to property, regardless of the number
      of locations or reported unspecified locations or the number of utility service providers or utility service
      properties involved in the same event.

Operations
   Operations means the Named Insured’s business activities occurring at the covered premises prior to the time and
   date of the loss or damage, including the Named Insured’s activities as a lessor.
   Operations does not include business activities as part of research and development projects.

Original Document
   Original document means:
   A. the first rendering or archetype and does not include photocopies or electronic transmissions even if received and
      printed; or
   B. for the purposes of Forgery or Alteration Coverage only, a “substitute check”, as defined in the Check Clearing for
      21st Century Act.

Other Property
   Other property means any tangible property other than money and securities that has intrinsic value.
   Other property does not include any property listed in the Business Crime Coverage Part as specifically not
   covered.

Outdoor Trees, Shrubs, Plants or Lawns
   Outdoor trees, shrubs, plants or lawns mean trees, shrubs, plants or lawns the Named Insured owns that are
   located outside.
   Outdoor trees, shrubs, plants or lawns does not include growing crops, standing timber, stock or trees, shrubs,
   plants, grass or lawns that are part of a vegetated roof.

Period of Restoration
   A. Period of restoration means the period of time that begins with:
       1.   the time and date that the physical loss or damage that causes suspension of operations occurs; or


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                                 2.   the date operations would have begun if such loss or damage delays the start of operations and such loss
                                      or damage is to any of the following:
                                      a.   buildings whether complete or under construction;
                                      b. alterations or additions to existing buildings;
                                      c.   machinery, equipment, supplies or materials that are:
                                           (1) used in such construction, alterations or additions;
                                           (2) incidental to the occupancy of the area intended for construction, alteration or addition; or
                                           (3) incidental to the alteration of the occupancy of an existing building.
                             B. If the Named Insured resumes operations, with reasonable speed, the period of restoration ends on the earlier
                                of:
                                 1.   the date when the premises where the loss or damage occurred could have been physically capable of
                                      resuming the level of operations which existed prior to the loss or damage; or
                                 2.   the date when a new permanent premises is physically capable of resuming the level of operations which
                                      existed prior to the loss or damage, if business is resumed at a new permanent premises.
                             C. If the Named Insured does not resume operations, or does not resume operations with reasonable speed,
                                whether at a location, reported unspecified location or elsewhere, the period of restoration will end on the
                                date when the premises where the loss or damage occurred could have been restored to the physical size,
                                construction, configuration and material specifications which existed at the time of loss or damage, with no
                                consideration for any increased period of time:
                                 1.   which would have been required to make changes in order to repair or reconstruct the property or tear down
                                      undamaged parts of the property, to meet the minimum requirements of an ordinance or law; or
                                 2.   which would have been necessary to make the premises physically capable of resuming the level of
                                      operation which existed prior to the loss or damage after the completion of repairs or replacement.
                             D. With respect to Dependent Property Time Element Coverage under the OFF-SITE COVERAGE section in the
                                Business Property Coverage Part, period of restoration means the period of time that:
                                 1.   begins on the date the physical loss of or damage to property at a dependent property occurs; and
                                 2.   ends on the date when the property at that dependent property should be repaired or replaced with
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                                      reasonable speed and similar quality.
                             E. With respect to research and development business income, the period of restoration means the period of
                                time that begins with the time and date of the physical loss of or damage to research and development project
                                property that causes suspension of the Named Insured's research and development project and ends on the
                                earlier of:
                                 1.   the date such research and development project property could be recreated or restored with reasonable
                                      speed and similar quality to the condition that existed at the time of loss or damage; or
                                 2.   365 days immediately following the date the physical loss of or damage to such research and development
                                      project property occurred.
                             F. No period of restoration will be cut short by the expiration of the Policy.

                          Personal Property
                             Personal property means:
                             A. all property, other than real property, owned by the Named Insured and used in the Named Insured's
                                business, including furniture, fixtures, machinery, electronic data processing equipment and stock;
                             B. glass in buildings which, as a tenant, the Named Insured has a contractual responsibility to insure;
                             C. the Named Insured’s outdoor signs, antennas and towers and fences;
                             D. personal property of others;

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   E. personal property of executive officers or employees;
   F. property, other than real property, the Named Insured leases for use in its business and for which the Named
      Insured has a contractual responsibility to insure, unless otherwise provided for under personal property of
      others;
   G. the value of labor, materials or services furnished or arranged by the Named Insured on personal property of
      others;
   H. the Named Insured’s interest in tenant’s improvements and betterments;
   I.   power or communication generation or transmission equipment, including transmission and distribution lines of
        any type, owned, operated, controlled by or leased by the Named Insured; or
   J. vehicles or self-propelled machines (including autos, aircraft or watercraft) that:
        1.   the Named Insured manufactures, processes or warehouses or holds for sale that are licensed for use on
             public roads while at a location or reported unspecified location;
        2.   the Named Insured manufactures, processes or warehouses or holds for sale that are not licensed for use
             on public roads while at a location or reported unspecified location;
        3.   are unpowered watercraft owned by the Named Insured while out of the water at a location or reported
             unspecified location; or
        4.   are trailers owned by the Named Insured that are not licensed for use on public roads while at a location or
             reported unspecified location.
   Personal property does not include property not covered.

Personal Property of Executive Officers or Employees
   Personal property of executive officers or employees means personal property that is owned by executive
   officers or the Named Insured's employees (including leased or temporary employees) and that is usual to the
   occupancy of the building.

Personal Property of Others
   Personal property of others means personal property that is not owned by the Named Insured but is in the Named
   Insured’s care, custody or control.
   Personal property of others does not include personal property of executive officers or employees.

Policy Period

   Policy period means the period of time shown on the Policy Declarations, beginning on the effective date and time
   and ending on the expiration date and time, or the Policy's earlier cancellation date.

Policy Premium

   Policy premium means the original premium and the fully annualized amount of any additional premiums, charged by
   the Insurer for coverage provided during the policy period.

Prearranged Transfer
   Prearranged transfer means an electronic transfer of money or securities which is part of a regular or scheduled
   series of electronic transfers, authorized by written agreement, to a designated financial institution specifying:
   A. the amount of money or securities to be transferred; and
   B. account number to be credited.



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                          Premises
                             Premises means:
                             A. the interior of that portion of any building the Named Insured occupies in conducting the Named Insured’s
                                business;
                             B. with respect only to damage to other property, the exterior of that portion of any building the Named Insured
                                occupies in conducting the Named Insured’s business; or
                             C. with respect only to the Employee Theft of Client Property While on Client Premises Coverage under the
                                Business Crime Coverage Part, the interior of that portion of any building a client occupies in conducting the
                                client's business or the interior of a client’s owned, leased or rented residence.

                          Prepaid Rent

                             Prepaid rent means that unamortized portion of any amount of advance rent the Named Insured paid based on the
                             percentage of the unexpired portion of the lease that remains at the time of physical loss or damage.
                             Prepaid rent does not include the customary rent for a rental period or any amount refunded to the Named Insured.

                          Property Not Covered
                             Property not covered means:
                             A. animals unless:
                                  1.   owned by others and boarded by the Named Insured, or
                                  2.   owned by the Named Insured as stock, other than research animals, while inside of a building at a
                                       location or reported unspecified location;
                             B. bulkheads, pilings, piers, wharves or docks;
                             C. contraband, or property in the course of illegal transportation or trade;
                             D. fine arts, money, securities, records of accounts receivable, media or research and development project
                                property;
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                             E. vehicles or self-propelled machines (including autos, aircraft or watercraft) that are:
                                  1.   licensed for use on public roads; or
                                  2.   operated principally away from the location or reported unspecified location,
                                  except to the extent included in Paragraph J. of the personal property definition;
                             F. land, naturally occurring water, air, growing crops and standing timber;
                             G. outdoor trees, shrubs, plants or lawns;
                             H. dams, dikes or retaining walls;
                             I.   underground mines, mine shafts, caverns, open pits or quarries; or
                             J.   any property which the Named Insured has covered under any other Policy in which such property is more
                                  specifically described, except for the excess of the amount due under such other coverage, whether collectible or
                                  not.

                          Qualifying Period
                             Qualifying period means the continuous period of time which must pass before the applicable coverage begins.




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Raw Stock
   Raw stock means material in the state in which the Named Insured acquired it for conversion into finished stock.

Real Property
   Real property means:
   A. buildings and temporary or appurtenant structures of such buildings;
   B. fixtures;
   C. personal property that is used to maintain or service the buildings, locations or reported unspecified
      locations;
   D. the Named Insured’s indoor and outdoor signs;
   E. materials, equipment, supplies and temporary buildings used for making additions, alterations or repairs to any
      such building;
   F. paved or concrete surfaces owned by the Named Insured;
   G. building foundations; or
   F. underground pipes, flues and drains owned by the Named Insured.
   Real property does not include property not covered.

Records of Accounts Receivable
   Records of accounts receivable means accounting records used by the Named Insured to document the billing and
   collection of money due from the Named Insured's customers, regardless of what medium those records are
   inscribed, printed, written or recorded upon.
   Records of accounts receivable includes:
   A. money due the Named Insured from its customers that the Named Insured is unable to collect after exerting all
      reasonable effort to do so;
   B. interest charges on any loan required to offset amounts the Named Insured is unable to collect pending the
      Insurer’s payment of these amounts; and
   C. collection expenses in excess of the Named Insured’s normal collection expenses that are made necessary by
      such loss or damage,
   resulting from the direct physical loss of or damage to records of accounts receivable.

Rental Value
   Rental value means that portion of net income that would have been earned or incurred as rental income from tenant
   occupancy of a location or reported unspecified location as furnished and equipped by the Named Insured,
   including fair rental value of any portion of the location or reported unspecified location which is occupied by the
   Named Insured.

Replacement Cost
   Replacement cost means the cost to repair or replace covered property at the time of direct physical loss or
   damage with property of comparable material and quality on the same or another site, and used for the same purpose,
   without deduction for depreciation, deterioration, and obsolescence which amount is computed as of the time and at
   the place of such loss or damage. If property of the same kind and quality is no longer available, the Insurer will pay to
   replace it with other property of similar quality and function, including property of greater processing capacity.




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                             Replacement cost valuation for insured property includes the cost the Named Insured paid for non-refundable or
                             non-transferable extended warranties, maintenance contracts or service contracts which are still in force at the time of
                             loss or damage and are no longer valid as a result of loss of or damage to such insured property.

                          Reported Unspecified Location
                             Reported unspecified location means fixed premises that has been identified on a schedule submitted by the
                             Named Insured and on file with the Insurer, including:
                             A. the address of the premises and includes that area extending 1000 feet beyond that address;
                             B. an identification of the insured property, business income or extra expense; and
                             C. the value of such identified insured property, business income or extra expense.
                             If the Named Insured is a tenant, for purposes of time element coverage, reported unspecified locations includes
                             that portion of the premises not rented, or intended to be rented, to others.
                             Reported unspecified location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a fair, trade show or exhibition;
                             4.   an installation location; or
                             5.   a dependent property with respect to loss or damage covered by any time element coverage.

                          Research Animals
                             Research animals means laboratory animals used in the Named Insured's research and development project or
                             bred for sale to other medical technology or life science entities.

                          Research and Development Business Income
                             Research and development business income means:
                             A. net income that would have been earned or incurred had no loss or damage resulting in an interruption in the
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                                Named Insured’s research and development project occurred, including net income resulting from:
                                  1.   lost or delayed pre-sale orders from new or current customers for a new product or an improved current
                                       product, whose entry into the marketplace is delayed because these products were the subject of lost or
                                       damaged research and development project property; or
                                  2.   grants, endowments and any other contract revenues, licensing fees, consulting fees, funding grants and
                                       progress payments, including milestone contracts; plus
                             B. research and development project continuing expenses.

                             However, research and development business income does not include any amount that is otherwise payable
                             under this Business Property Coverage Part or that does not necessarily continue during the interruption in the
                             research and development project.

                          Research and Development Project Continuing Expenses

                             Research and development project continuing expenses means the Named Insured's normal continuing
                             operating expenses that are directly attributable to research and development projects, including any reasonable and
                             necessary payroll expenses, rental payments as a tenant and factory overhead.




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Research and Development Project Property
   Research and development project property means the Named Insured's:
   A. written, printed, electronic or inscribed documents, plans, records, formulas or other information, including any
      material upon which it is inscribed, printed, written or recorded;
   B. original or experimental property;
   C. existing prototypes used as the model for the final version of a new product or design; or
   D. undamaged property that needs to be recreated, restored or replaced due to covered loss of or damage to
      property in Paragraphs A., B. or C.,
   developed or used in conjunction with any ongoing and active research and development project.
   Research and development project property does not include research animals, media, plants or crops or fine
   arts.

Robbery

   Robbery means the unlawful taking of specified property from the care and custody of any person by one who has:
   A. caused or threatened to cause that person bodily harm; or
   B. committed an unlawful act witnessed by that person.

Safe Burglary

   Safe burglary means the unlawful taking of:
   A. property from within a locked safe or vault by a person unlawfully entering the safe or vault as evidenced by
      marks of forcible entry upon its exterior; or
   B. a safe or vault from inside the premises.

Securities

   Securities means negotiable and non-negotiable instruments or contracts representing either money or representing
   other tangible property that has intrinsic value, including:
   A. tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value in a meter) in
      current use; or
   B. evidences of debt issued in connection with credit, debit or charge cards, which cards are not issued by the
      Named Insured.
   Securities does not include money.

Sinkhole Collapse
   Sinkhole collapse means the sudden sinking or collapse of land into underground empty spaces created by the
   action of water on limestone or dolomite provided such cavities were not man made or did not result from flood.

Specified Peril
   Specified peril means:
   A. aircraft or vehicles;
   B. explosion, fire or leakage from fire extinguishing equipment;
   C. lightning, smoke, volcanic eruption, water damage, weight of snow, ice or sleet;

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                             D. windstorm or hail;
                             E. riot, civil commotion or vandalism or theft;
                             F. falling objects, excluding loss or damage to:
                                  1.   personal property in the open; or
                                  2.   the interior of a building, or property inside a building, unless the roof or an outside wall of the building is
                                       first damaged by a falling object;
                             G. sinkhole collapse;
                             H. solely with respect to personal property in the course of transit, specified peril also includes:
                                  1.   vehicle collision upset or overturn; or
                                  2.   sinking or stranding of a vessel, or collapse of a bridge, culvert, dock or wharf; or
                             I.   equipment breakdown peril, excluding loss of or damage to insured property caused by the discharge,
                                  dispersal, release or escape of refrigerants, including ammonia.

                          Stock

                             Stock means raw stock, goods in process, finished stock or merchandise, including packing or shipping materials
                             and including software incorporated into such finished stock or merchandise.

                          Sublease Profit

                             Sublease profit means the net profit the Named Insured earns through subleasing the building or portion of the
                             building that the Named Insured rents for the unexpired term of the cancelled lease or sublease, whichever would
                             expire first. This amount is discounted based on the Prime Rate on the date the direct physical loss or damage
                             occurs, rounded to the nearest whole number.

                          Suspended Equipment

                             Suspended equipment means covered equipment, provided the Insurer has complied with the requirements
                             described in the SUSPENDED EQUIPMENT Condition in the First Party Terms and Conditions.
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                          Suspension

                             Suspension means:
                             A. the slowdown or cessation of the Named Insured's business activities; or
                             B. that a part or all of the covered premises is rendered untenantable.

                          System Penetration
                             System penetration means the intentional and malicious use of a computer to obtain unauthorized access to
                             information and resources stored on electronic data processing equipment.

                          Tenant’s Improvements and Betterments
                             Tenant’s improvements and betterments means fixtures, glass, signs, alterations, installations or additions:
                             A. made a part of a building the Named Insured occupies as a tenant but does not own;
                             B. made or acquired at the Named Insured's expense exclusive of rent paid by the Named Insured or for which the
                                Named Insured is legally required by written contract to insure; and

                             C. that the Named Insured cannot legally remove.

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Tenant’s Lease Interest

   Tenant’s lease interest means the difference between:

   A. the actual rent due for the unexpired portion of the cancelled lease at the time of covered loss or damage; and

   B. the rent due under the new lease for the same time period.

Theft

   Theft means the unlawful taking of property.

Time Element Coverage

   Time element coverage means business income, research and development business income or extra expense
   to the extent these apply under this Business Property Coverage Part.

Transfer Agreement
   Transfer agreement means a written agreement with any financial institution authorized to transfer money and
   securities at the Named Insured’s request.

Unspecified Location
   Unspecified location means:
   A. a premises not listed in the Business Property Schedule of Locations; or
   B. a fair, trade show or exhibition.
   An unspecified location does not include:
   1.   a location;
   2.   a newly acquired location;
   3.   a reported unspecified location;
   4.   an installation location; or
   5.   a dependent property with respect to loss or damage covered by any time element coverage.

Volcanic Eruption
   Volcanic eruption means the eruption, explosion or effusion of a volcano that gives rise to physical loss or damage
   when such loss or damage is caused by:
   A. airborne volcanic blast or airborne shock waves;
   B. ash, dust or particulate matter; or
   C. lava flow.

Water Damage

   Water damage means:

   A. the discharge or leakage of domestic or process water or steam from:

        1.   water pipes and any other apparatus meant to carry or distribute water including, but not limited to, hoses and
             tubes and fire protection sprinkler system piping;

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                                 2.   appliances; or
                                 3.   mechanical systems; or
                             B. the overflow, discharge or leakage of water from bathroom, kitchen and laundry fixtures and faucets,
                             within a building.

                          Written
                             Written means expressed through letters or marks placed upon paper and visible to the naked eye.
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      These First Party Terms and Conditions apply to the Business Property Coverage Part, the Business Crime
      Coverage Part, as applicable, and their associated forms and endorsements.

I.         ABANDONMENT

      There can be no abandonment of any covered property to the Insurer unless the Insurer specifically agrees to such
      abandonment in writing.

II.        APPRAISAL

      If the Named Insured and the Insurer fail to agree on the amount of loss for physical damage or business income or
      extra expense, either may make a written demand for appraisal in which case within 30 days of that written demand
      each shall select an appraiser and shall notify the other of its chosen appraiser. This APPRAISAL Condition is not
      available to the Named Insured or the Insurer if there is a dispute as to whether the loss or damage was caused in
      whole or in part by a covered peril. This APPRAISAL Condition is not available if there is a dispute as to whether or
      not the loss is covered in whole or in part under this coverage part.

      An individual may be chosen as an appraiser for a claim only if such individual is a competent, independent and
      disinterested person and who has no direct or indirect financial interest in the loss or the adjustment of the claim. That
      appraiser cannot be:
      A. the Named Insured or any of the Named Insured’s employees or agents (including any public adjuster or public
         adjusting company hired by the Named Insured);
      B. employed by the Insurer; or

      C. an independent adjuster hired by the Insurer for such claim.

      The appraisers will first select a competent, independent and disinterested umpire. If the appraisers fail to agree upon
      an umpire within 30 days then, only on the joint request of the Named Insured and the Insurer to a court of competent
      jurisdiction where the loss occurred, the Named Insured and the Insurer may request that the court select or appoint
      a competent, independent and disinterested umpire.

      If the Named Insured and the Insurer fail to agree to submit a joint request to a court of competent authority, either
      may file the necessary documents in a court of competent jurisdiction where the loss occurred to compel the other to
      comply with the terms of this APPRAISAL provision.

      The appraisers will then appraise, within a reasonable amount of time, the amount of loss, stating separately, as
      applicable:
      1.   the actual cash value or replacement cost as of the date of loss and the amount of loss, for each item of
           physical loss or damage; and
      2.   the amount of loss for each time element coverage.

      If the appraisers fail to agree, they will submit their differences to the umpire. An award agreed to in writing by any two
      will determine the amount of loss and that award will be binding on both parties but such appraisal award will not
      determine whether the loss is covered. Any appraisal award addressing whether or not a loss is or is not covered is
      void and is not binding on either party to the appraisal.

      The Named Insured and the Insurer will each:
      a.   pay its chosen appraiser; and
      b. bear equally the other expenses of the appraisal and umpire.

      A demand for appraisal shall not relieve the Named Insured of its continuing obligation to comply with all of the terms
      and conditions of this Policy.


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                                 The Insurer will not be held to have waived any of its rights by any act relating to an appraisal. If there is an appraisal,
                                 the Insurer will still retain its right to deny the claim or challenge whether the damages from any loss are covered or
                                 otherwise excluded.

                                 The Named Insured may only make a written demand for appraisal if the Named Insured has fully complied with all
                                 provisions of this Policy.

                          III.       COMPLIANCE

                                 No one may make a claim under the Business Property Coverage Part unless:
                                 A. there has been full compliance with all of the provisions of the Business Property Coverage Part; and

                                 B. the claim for coverage is brought within 2 years and 1 day after the date on which the direct physical loss or
                                    damage occurred.

                          IV.        CONCEALMENT, MISREPRESENTATION AND FRAUD

                                 This entire Policy shall be void if, whether before or after a loss, the Named Insured or designated representative:
                                 A. has concealed or misrepresented any material fact or circumstance concerning:

                                     1.   this insurance or the subject thereof;
                                     2.   the interest of the Named Insured therein; or
                                     3.   any claim; or
                                 B. has falsely sworn to any such material fact or circumstance.

                          V.         CONTROL OF PROPERTY

                                 Any act or neglect by any person, other than a Named Insured designated representative, of any provision of these
                                 conditions or the Business Property Coverage Part, will not affect coverage. Breach of any condition of coverage at
                                 one or more locations or reported unspecified locations will not affect coverage at any other building where, at the
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                                 time of loss or damage, the breach of condition did not exist.

                          VI.        DUTIES AFTER LOSS OR DAMAGE

                                 In the event of loss or damage, the Named Insured shall do the following:
                                 A. Take all necessary steps to protect the property from further loss or damage.

                                 B. Set aside the damaged insured property for examination by the Insurer as often as may be required and keep a
                                    record of its expenses necessary to protect insured property.
                                 C. As soon as practical, give written notice to the Insurer, or its designated representative, of the event giving rise to
                                    the loss or damage, including the date and time of such event, what occurred and the names and addresses of
                                    witnesses.
                                 D. Within 60 days after being requested by the Insurer, render to the Insurer a detailed, sworn proof of loss on a form
                                    provided by the Insurer;
                                 E. As often as may be reasonably required, exhibit to any person designated by the Insurer all that remains of any
                                    damaged or undamaged property and permit the Insurer to take samples of such property for inspection and
                                    analysis.
                                 F. Submit individually to examinations under oath at the Insurer’s request and, if requested and identified by the
                                    Insurer, make its designated representatives, including, but not limited to, public adjusters, claims consultants,

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        forensic accountants or other third parties providing claims related services, submit to examinations under oath,
        and give the Insurer a signed statement of each individual’s answers.
   G. As may be reasonably required, produce for examination at the request of the Insurer all books of account,
      business records, bills, invoices and other vouchers, or certified copies thereof if originals have been lost, at such
      reasonable time and place as may be designated by the Insurer or its authorized representative, and permit
      extracts and copies thereof to be made.
   H. Cooperate with the Insurer in the investigation of any claim.

   I.   Notify law enforcement authorities, if the Named Insured has reason to believe that any loss or damage involves
        a violation of law.

VII.    LOSS PAYMENT

   A. Unless otherwise specified in this Policy, in the event of covered loss or damage to covered property, at the
      Insurer's option, the Insurer will either:
        1.   pay the amount of loss or damage;
        2.   pay the cost of repairing or replacing such covered property;
        3.   take all or any part of the covered property at an agreed or appraised value; or
        4.   repair or replace the covered property with other property of like kind and quality.
   B. If the Insurer elects to exercise option A.3. above with respect to any branded or labeled merchandise or
      finished stock, the Named Insured may:

        1.   Stamp salvage on their merchandise or finished stock, or its containers, if the stamp will not physically
             damage the merchandise or finished stock; or
        2.   Remove the brands or labels, if doing so will not physically damage the merchandise or finished stock.
             The Named Insured must re-label the merchandise or finished stock or its containers, to comply with the
             law.
   C. The Insurer will determine the value of such covered property, or the cost of its repair or replacement, in
      accordance with the VALUATION Condition.
   D. The Insurer will not pay more than the Named Insured’s financial interest in the covered property.

   E. The Insurer, at the Insurer's expense, may elect to defend the Named Insured against suits arising from claims of
      owners of covered property.
   F. If the Named Insured has complied with all of the terms and conditions of this Policy, the Insurer will pay
      amounts due hereunder within 60 days after it receives an acceptable sworn proof of loss provided that the
      Insurer and Named Insured have reached agreement on the amount of loss or damage or an appraisal award
      has been made. Such payments will be made to the First Named Insured, subject to the LOSS PAYEES AND
      MORTGAGEES Condition below. However, the payment for loss or damage to personal property of others may
      be to the account of the owner of the property.

        Covered Debris Removal Costs and Expenses and Debris Removal – Additional Costs and Expenses in the
        Fees, Costs and Expenses Coverages provision under the LOCATION COVERAGES section of the Business
        Property Coverage Part will be paid by the Insurer provided all such costs are reported to the Insurer in writing
        within 180 days of the occurrence.




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                          VIII.   LOSS PAYEES AND MORTGAGEES

                              A. Loss Payees

                                  If there is loss of or damage to insured property, in which the Named Insured and any Loss Payee, whether or
                                  not named in the Schedule of Loss Payees or Mortgagees, have an insurable interest:
                                  1.   the Insurer will adjust losses with the Named Insured, and
                                  2.   make payments jointly to the Named Insured and such Loss Payee, in their order of precedence, in
                                       accordance with the Loss Payee's financial interest in the applicable property.

                                  If the Insurer pays such Loss Payee, such payments will satisfy the Named Insured’s claims against the Insurer
                                  for that Loss Payee's property. The Insurer will not pay such owners more than their financial interest in the
                                  insured property.

                              B. Lender Loss Payees and Mortgagees

                                  1.   As used in this Section:
                                       a.   a Lender Loss Payee is any creditor who is shown on the Schedule of Loss Payees or Mortgagees as
                                            a Lender Loss Payee and whose interest in insured property is established by a written instrument
                                            including warehouse receipts, bills of lading, financing statements or security agreements;
                                       b. a Mortgagee is any mortgagee or trustee who is shown on the Schedule of Loss Payees or
                                          Mortgagees as a Mortgagee with respect to the real property for which the mortgagee or trustee is
                                          named.
                                  2.   The Insurer will pay for covered loss or damage to each specified Lender Loss Payee or Mortgagee, in order
                                       of precedence, in accordance with the Lender Loss Payee's or Mortgagee's financial interest in the applicable
                                       property.
                                  3.   Each Lender Loss Payee and Mortgagee has the right to receive loss payment, even though:
                                       a.   the Insurer denied the Named Insured’s claim because the Named Insured failed to comply with the
                                            terms of this Policy; or
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                                       b. such Lender Loss Payee or Mortgagee has started foreclosure or similar action on the insured property,

                                       provided such loss payee:
                                       i.   pays any premium due under this Business Property Coverage Part at the Insurer’s request if the
                                            Named Insured has failed to do so;

                                       ii. submits a signed, sworn proof of loss in accordance with the requirements of this Policy; and

                                       iii. has notified us of any change in ownership, or substantial change in risk known to such Lender Loss
                                            Payee or Mortgagee.

                                       If these requirements are met, all of the terms of this Business Property Coverage Part will then apply
                                       directly to such Lender Loss Payee or Mortgagee.
                                  4.   With respect to any Lender Loss Payees or Mortgagees:
                                       a.   The Insurer may cancel this Policy, including the interest of any Lender Loss Payee or Mortgagee, by
                                            giving such Lender Loss Payee or Mortgagee, or its agent, written notice:
                                            i.   10 days prior to the effective date of cancellation, if cancellation is for nonpayment of premium; or
                                            ii. 60 days prior to effective date of cancellation, if cancellation is for any other reason.



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               b. If a loss hereunder is made payable, in whole or in part, to a designated Lender Loss Payee or
                  Mortgagee not named in this Policy, that interest may be cancelled by giving to such loss payee 10 days
                  written notice of cancellation.
               c.   If the Insurer pays the Lender Loss Payee or Mortgagee for loss under this Business Property
                    Coverage Part, and denies payment to the Named Insured, the Insurer will, to the extent of the payment
                    made to such Lender Loss Payee or Mortgagee, be subrogated to all the rights of the Lender Loss Payee
                    or Mortgagee. However, any subrogation by the Insurer will not impair the right of such Lender Loss
                    Payee or Mortgagee to recover the full amount of its claim. At the Insurer’s option, the Insurer may pay
                    the whole principal of the Named Insured’s debt plus accrued interests. In this event, the Named
                    Insured will pay its remaining debt to the Insurer.

               d. If the Named Insured fails to provide proof of loss, the Lender Loss Payee or Mortgagee, upon notice,
                  will render proof of loss within 60 days of notice and will be subject to the provisions contained in this
                  First Party Terms and Conditions and Common Terms and Conditions relating to APPRAISAL,
                  LOSS PAYMENT and NO SUIT AGAINST INSURER.

      C. Mortgagee Loss Payee

          With respect to any Mortgagee as defined above, the interest of the Mortgagee in real property will not be
          invalidated by:
          1.   any act or neglect of the mortgagor or owner of the real property;
          2.   foreclosures, notice of sale, or similar proceeding with respect to the real property;
          3.   change in the title or ownership of the real property; or
          4.   change to an occupancy more hazardous than was represented by the Named Insured.

      D. Contract of Sale Loss Payee

          A Contract of Sale Loss Payee is a person or entity who is shown on the Schedule of Loss Payees or
          Mortgagees and with whom the Named Insured has entered a contract for the sale of insured property;
          provided that for such insured property in which both the Named Insured and such Contract of Sale Loss Payee
          have an insurable interest, the Insurer will:
          1.   adjust losses with the Named Insured; and
          2.   pay any claim for loss or damage jointly to the Named Insured and such Contract of Sale Loss Payee, as
               interests may appear.
      E. Building Owner Loss Payee

          1.   A Building Owner Loss Payee is the person or entity who is shown on the Schedule of Loss Payees or
               Mortgagees and is the owner of the described building in which the Named Insured is a tenant.

          2.   Loss or damage to such building will be adjusted with such Building Owner Loss Payee. Any loss payment
               made to such Building Owner Loss Payee will satisfy the Named Insured’s claims against the Insurer for
               such Building Owner Loss Payee property.
          3.   Loss or damage to tenant's improvements and betterments will be adjusted with the Named Insured
               unless the written lease agreement provides otherwise.

IX.       NO BENEFIT TO BAILEE

      This insurance shall in no way inure directly or indirectly to the benefit of any transportation carrier or bailee.




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                          X.         OTHER INSURANCE

                                A. If the Named Insured has other insurance covering the same loss or damage, the Insurer will pay on the least of
                                   the following amounts:
                                     1.   any Limit of Insurance applicable to the covered property that has sustained such loss or damage;
                                     2.   the amount of covered loss or damage in excess of the amount due from that other insurance, whether the
                                          Named Insured can collect on it or not, without application of deductible amounts contained elsewhere in this
                                          coverage part; or

                                     3.   the amount the Insurer would have paid had such other insurance not existed.
                                B. Paragraph A. above does not apply to other insurance that is purchased as insurance in excess of the Limit of
                                   Insurance under this coverage part.

                          XI.        POLICY PERIOD/COVERAGE TERRITORY

                               The Insurer will cover loss or damage commencing during the policy period of this Policy and within the coverage
                               territory unless otherwise specified.

                          XII.       RECOVERED PROPERTY

                                If either the Named Insured or Insurer recover any property after loss settlement, that party must give the other
                                prompt notice. At the Named Insured’s option, the property (other than money or securities) will be returned to the
                                Named Insured. The Named Insured must then return to the Insurer the amount it paid to the Named Insured for the
                                covered property. The Insurer will pay recovery expenses and the expenses to repair the recovered covered
                                property, subject to the Limit of Insurance.

                                With respect to money or securities, any recoveries, less the cost of obtaining them, made after settlement of loss or
                                damage covered by this coverage part will be distributed:
                                A. first to the Named Insured, until the Named Insured is fully reimbursed for any loss or damage that the Named
                                   Insured sustains that exceeds the Limit of Insurance and the Deductible amount, if any;

                                B. then to the Insurer, until the Insurer is reimbursed for the settlement made; and
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                                C. then to the Named Insured, until the Named Insured is reimbursed for that part of the loss or damage equal to
                                   the Deductible amount, if any.

                                Recoveries do not include any recovery:
                                1.   from insurance, suretyship, reinsurance, security or indemnity taken for the Insurer’s benefit; or
                                2.   of original securities after duplicates of them have been issued.

                          XIII.      RESUMPTION OF OPERATIONS

                                The Insurer will reduce the amount of business income and research and development business income loss
                                payments to the extent that the Named Insured could resume operations or research and development projects in
                                whole or in part:
                                A. by using damaged or undamaged property, including stock; or

                                B. by using any other premises.

                                Solely with respect to suspension of operations caused by direct physical loss of or damage to a dependent
                                property, the Insurer will reduce the amount of business income loss payment to the extent the Named Insured
                                could resume the Named Insured’s operation, in whole or in part, by using any other available sources of materials
                                or outlets for the Named Insured’s products or services available to the Named Insured.

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XIV.    SALVAGE AND RECOVERIES

   All salvages, recoveries, and payments, excluding proceeds from subrogation and other insurance, recovered or
   received prior to a loss settlement under this Policy, shall reduce the loss accordingly. If recovered or received
   subsequent to a loss settlement under this Policy, such net amounts received shall be divided between the interests
   concerned in the proportion of such respective interests.

XV.     SUSPENDED EQUIPMENT

   The Insurer, or any of the Insurer's representatives, has the right to suspend the insurance provided for covered
   equipment from an equipment breakdown peril when the equipment is found to be in, or exposed to, a dangerous
   condition, provided that the Insurer, or any representative, has:
   A. told the Named Insured of the dangerous condition immediately upon discovering it and informed the Named
      Insured of the suspension of coverage; and

   B. mailed or delivered a notice of the suspension to the First Named Insured's last known address or the address
      where the covered equipment is located.

   The Named Insured will get a pro-rata refund of premium for the suspended insurance. However, the suspension will
   be effective even if the Insurer has not yet made or offered a refund. Reinstatement can only be effected by a written
   endorsement issued by the Insurer.

XVI.    TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO THE INSURER

   If the Insurer pays a claim under this Policy, it will be subrogated, to the extent of such payment, to all the Named
   Insured’s rights of recovery from other persons, organizations and entities. The Named Insured will execute and
   deliver instruments and papers and do whatever else is necessary to secure such rights. The Named Insured shall do
   nothing to prejudice such rights.

   The Insurer will have no rights of subrogation against:
   A. any person or entity who or which is a Named Insured;

   B. any subsidiary or any entity associated with the Named Insured through ownership or management;

   C. any other person or entity that the Named Insured waived its rights of subrogation against in writing before the
      time of loss.

XVII.   VACANCY

   If a building where loss or damage occurs has not been used by the Named Insured to conduct its normal business
   for more than 60 consecutive days before such loss or damage occurs, the Insurer will not pay for any loss or damage
   caused by any of the following even if they are covered perils:
   A. vandalism;

   B. sprinkler leakage, unless the Named Insured has protected the system against freezing;

   C. building glass breakage;

   D. water damage;

   E. theft or attempted theft.

   With respect to all other covered perils, the Insurer will reduce the amount that would otherwise be paid for the loss
   or damage by 15%.



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                             If the Named Insured’s normal operation is leasing property to others, a vacant building will be subject to this
                             condition if the Named Insured has ceased actively leasing the building or has cut-off power, heat and water utility
                             services to the building.
                             Buildings under active construction or active renovation are not considered vacant.

                          XVIII. VALUATION

                             A. Except as provided in Paragraph B. below, and subject to all applicable Limits of Insurance, the Insurer will not
                                pay more than the lesser of the following:
                                 1.   the replacement cost; or
                                 2.   the actual cost to repair or replace covered property.

                                 If the Named Insured does not repair or replace the covered property, or the repair or replacement exceeds 24
                                 months from the date of loss or damage unless a longer time frame is agreed to by the Insurer, the Insurer will
                                 pay the actual cash value of such property.

                                 If the Named Insured commences repair or replacement of such covered property and completes it within 24
                                 months from the date of loss or damage, or such agreed to longer period, the Insurer will pay the difference
                                 between the actual cash value previously paid and the lesser of Paragraphs 1. or 2. above.
                             B. With respect to the following covered property, the Insurer will not pay more than the following amounts:

                                 1.   Accounts receivable: for records of account receivable for which duplicates do not exist, the full cost to
                                      research and reproduce such records plus the cost of the blank materials on which they resides. For records
                                      of accounts receivable for which duplicates do exist, the cost of the labor to transcribe or copy such records,
                                      plus the cost of the blank materials on which they reside.

                                      If the Named Insured cannot accurately establish the amount of accounts receivable outstanding at the time
                                      of loss of or damage to the records of accounts receivable, the following method will be used:
                                      a.    determine the average monthly amount of accounts receivable for the 12 months immediately preceding
                                            the month in which the loss or damage occurs; and
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                                      b.    adjust that average monthly amount for any normal fluctuations in the amount of accounts receivable for
                                            the month in which the loss or damage occurred or for any demonstrated variance from the monthly
                                            average.

                                      The following will be deducted from the total amount of accounts receivable, however that amount is
                                      established:

                                      i.   the amount of the accounts receivable for which there is no loss or damage;

                                      ii. the amount of the accounts receivable that the Named Insured is able to re-establish or collect;

                                      iii. an amount to allow for probable bad debts that the Named Insured is normally unable to collect; and

                                      iv. all unearned interest and service charges.

                                 2.   Personal property that is leased or rented from others, personal property of others and nonowned trailers:
                                      the lesser of the following:

                                      a.   the amount for which the Named Insured is liable under the written contract for such property;
                                      b. the actual cost to repair such property; or

                                      c.   the replacement cost.


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      3.   Fine arts: the appraised market value as of the time, and at the place, of loss or damage. In case of loss to
           any part of a pair or set, the Insurer may:

           a. repair or replace any part to restore the pair or set to its value before the loss; or

           b. pay the difference between the value of the pair or set before and after the loss.

      4.   Glass: replacement cost, including the costs and expenses incurred to put up temporary plates or board up
           openings and to remove or replace obstructions when repairing or replacing glass that is part of a building,
           but not including the removal or replacement of window displays.
      5.   Goods in process: the value of raw stock, the Named Insured's labor expended and other materials
           incorporated and the cost to repurchase proprietary property licenses, plus the proper proportion of overhead
           charges.
      6.   Media: for media for which duplicates do not exist, the full cost incurred to research and reproduce a master
           copy of such media plus the cost of the blank materials on which it resides. For media for which duplicates
           do exist, the cost incurred for the labor to transcribe or copy such media, plus the cost of the blank materials
           on which it resides.

           If the media is not reproduced or replaced, the loss will be valued at the cost to replace the blank material on
           which the media resides with substantially identical type of such blank materials.
      7.   Merchandise which has been sold and not delivered and finished stock: the regular cash selling price, less
           all costs to complete the sale and discounts and charges to which such finished stock or merchandise
           would have been subject had no loss or damage occurred.
      8.   Money or securities:

           Money: only up to and including its face value.

           Securities: only up to and including their value at the close of business on the day the loss was discovered.

      9.   Outdoor trees, shrubs, plants or lawns: the reasonable and necessary costs of a qualified contractor to
           remove the damaged tree, shrub, plant or lawn from the location or reported unspecified location and the
           replacement of such property with similar type, size and quality as the damaged property including
           reasonable repairing and replanting costs. No payment will be made for the replacement, repairing or
           replanting of such property until the repairing, replacement and replanting is completed. Damaged outdoor
           trees, shrubs, plants or lawns not replaced within 12 months from the date of the loss have no value.

      10. Property for sale, other than stock or merchandise, the lesser of the:

           a.   replacement cost;

           b. the selling price; or

           c.   actual cash value.

      11. Property in transit:

           a.   Property under invoice, at the actual invoice cost, including prepaid freight, together with such cost and
                charges since shipment as may have accrued and become legally due thereon.
           b. Property not under invoice, in accordance with the valuation provisions of this Policy, less any charges
              saved which would have become due and payable upon delivery at destination.
      12. Research and development project property: the actual cost necessary to:

           a.   research, recreate, repair or replace the research and development project property, including the cost
                of materials and supplies; and


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                                      b. research, recreate or reproduce information, on any format, documenting that lost or damaged research
                                         and development project property as of the date of such loss or damage.

                                      However, the Insurer will only pay for these costs if the Named Insured repairs, replaces or recreates the
                                      research and development project property. Any research and development project property not
                                      repaired, replaced or recreated has no value. When production of a new product begins by anyone, the
                                      research and development project property for that product and all associated research and recreation
                                      costs have no value.
                                 13. Tenant's improvements and betterments:

                                      a. Replacement cost if the Named Insured repairs or replaces with reasonable speed.

                                      b. A proportion of the Named Insured's original cost if the Named Insured does not repair or replace with
                                         reasonable speed. The Insurer will determine the proportionate value as follows:
                                           i.   multiply the original cost by the number of days from the date of the loss or damage to the expiration
                                                date of the lease; and
                                           ii. divide that amount determined in Paragraph i. above by the number of days from the installation of
                                               the tenant's improvements and betterments to the expiration of the lease.

                                           If the lease contains a renewal option, the expiration date of the renewal option period will be used as the
                                           expiration date of the lease.
                                      c.   If others pay for the repairs or replacement, then the Insurer will only pay for that portion which has not
                                           been paid for by others.
                                 14. Vehicles or self-propelled machines (other than nonowned trailers), railroad rolling stock and contractor’s
                                     equipment: at the lesser of the following for that lost or damaged property:
                                      a.   applicable scheduled Limit of Insurance;
                                      b. actual cash value;

                                      c.   cost to reasonably restore that property to its condition immediately before loss or damage; or
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                                      d. cost of replacing that property with used, but substantially identical property.

                          XIX.   BUSINESS CRIME COVERAGE CONDITIONS

                             Solely with respect to crime coverage provided under the Business Crime Coverage Part and the Employee Theft,
                             Forgery or Alteration and Money and Securities Additional Coverages under the Business Property Coverage
                             Part, the following conditions apply:

                             A. Joint Named Insured

                                 1.   If the Named Insured or partner, proprietor, member or officer of that Named Insured has knowledge of any
                                      information relevant to this insurance, that knowledge is considered knowledge of every Named Insured.
                                 2.   An employee of any Named Insured is considered to be an employee of every Named Insured.
                                 3.   If any crime coverage is cancelled or terminated as to any Named Insured, a loss with respect to that Named
                                      Insured is covered only if the loss was discovered during the period of time in the When Loss Must be
                                      Sustained and Discovered Condition below. However, this extended period to discover loss terminates as
                                      to that Named Insured immediately upon the effective date of any other insurance obtained by that Named
                                      Insured replacing in whole or in part the insurance afforded hereunder, whether or not such other insurance
                                      provides coverage for loss or damage sustained prior to its effective date.
                                 4.   In the event loss or damage is sustained by more than one Named Insured, the Insurer will not pay more
                                      than if the loss or damage was sustained by one Named Insured.

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   B. Named Insured Sponsored Employee Benefit Plans

      Any employee benefit plan shown under the Business Property Coverage Part Declarations or the Business
      Crime Coverage Part Declarations as included as an additional Named Insured are so included only with
      respect to Employee Theft Coverage.

      In compliance with certain provisions of the Employee Retirement Income Security Act of 1974 (ERISA):
      1.   If the First Named Insured is an entity other than an employee benefit plan, any payment made by the
           Insurer will be made jointly to the First Named Insured and to the employee benefit plan that sustained
           loss.
      2.   If two or more employee benefit plans are insured under this coverage part, any payment the Insurer
           makes for covered loss:
           a.   sustained by two or more employee benefit plans; or
           b. of commingled funds or other property of two or more employee benefit plans,

           is to be shared by each employee benefit plan sustaining loss in the proportion that the amount of insurance
           required for each such employee benefit plan under the Employee Retirement Income Security Act of 1974
           (ERISA) bears to the total of such payments.
      3.   The First Named Insured must purchase a Limit of Insurance applicable to Employee Theft Coverage that
           is at least equal to the minimum amount required by ERISA for any employee benefit plans. If employee
           benefit plans are insured jointly with any other entity under this coverage part the limit must be at least
           equal to the minimum amount required by ERISA as if each employee benefit plan were insured
           independently. If, during this policy period, it is determined that the applicable Limit of Insurance as shown in
           the Business Property Schedule of Coverages and Limits or Business Crime Schedule of Coverages,
           Limits and Deductibles was less than the amounts required by ERISA on the effective date of this Policy,
           then, at the request of the First Named Insured during this policy period, and subject to the payment of any
           additional premium, the applicable Limit of Insurance may be amended to equal the minimum amount
           required by ERISA.
      4.   The deductible otherwise applicable to Employee Theft Coverage does not apply to loss sustained by any
           employee benefit plan.

   C. New Employees/New Employee Benefit Plans

      1.   New Employees or Premises

           If, during this policy period the Named Insured establishes any additional premises or hires additional
           employees, any insurance afforded for employees and premises shall also apply to those additional
           employees and premises.

      2.   New Employee Benefit Plans

           If any employee benefit plan is acquired by the Named Insured during the policy period that is:
           a.   sponsored and approved by the Named Insured; and
           b. required to be bonded under the provisions of ERISA,

           that employee benefit plan shall be included as a Named Insured under this coverage part.

   D. Loss Covered Under This Insurance and Prior Insurance Issued by the Insurer or Any Affiliate of the
      Insurer

      If the Named Insured discovers covered loss during the policy period resulting directly from an act or series of
      acts that took place partly during the policy period and partly during a policy period of any prior cancelled or

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                                terminated Policy that the Insurer or any affiliate issued to the Named Insured or any predecessor in interest, the
                                most the Insurer will pay is the larger of the amount recoverable under this Policy or the prior Policy.

                             E. Loss Sustained During Prior Policy

                                1.   If the Named Insured, or a predecessor in interest, sustained a loss that could have been recovered under a
                                     prior policy except that the time within which to discover the loss under such prior policy had expired, then
                                     the Insurer will pay for it under this Policy, provided:
                                     a.   this Policy became effective at the time of cancellation or termination of such prior Policy; and
                                     b. the loss would have been covered by this Policy had it been in effect at the time of such loss.

                                2.   The Limit of Insurance available under this Loss Sustained During Prior Policy Condition is part of, and not in
                                     addition to, the applicable Crime Coverage Limits of Insurance and is limited to the following:
                                     a.   when the prior policy was issued by the Insurer or any affiliate of the Insurer, the highest single Limit of
                                          Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                                     b. when the prior policy was not issued by the Insurer or any of its affiliates, the lesser of the single Limit of
                                        Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                             F. Non-Cumulation of Limit of Insurance

                                Regardless of the number of years this Policy or similar insurance (whether issued on a “Loss Sustained” or “Loss
                                Discovered” basis) issued by the Insurer remains in force or the number of premiums paid, the Limit of Insurance
                                does not cumulate from one policy period to another policy period.
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                             G. Ownership of Property; Interests Covered

                                The money, securities and other property covered under this coverage part is limited to such property:
                                1.   that the Named Insured owns or leases;
                                2.   that the Named Insured holds for others; or
                                3.   owned and held by someone other than the Named Insured under circumstances which make the Named
                                     Insured responsible for the property prior to the time of loss.

                                Solely with respect to an employee benefit plan, the money, securities and other property covered under any
                                crime coverage is limited to all funds or property that the employee benefit plan uses or may use as a source for
                                the payment of benefits to plan participants or beneficiaries, as described by the Employee Retirement Income
                                Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated thereunder.

                                However, this insurance is for the Named Insured’s benefit only. It provides no rights or benefits to any clients or
                                to any other person or organization.

                             H. Termination of Coverage as Respects Acts of Any Employee

                                Coverage is terminated with respect to any employee:
                                1.   immediately upon discovery of a dishonest act:

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             a.   committed by that employee while employed by the Named Insured, or
             b. committed by that employee prior to becoming employed by the Named Insured, provided dishonest
                acts committed prior to becoming employed by the Named Insured resulted in a loss equal to or
                exceeding $10,000,

             provided that such discovery was made by the Named Insured or any of the Named Insured’s employees,
             partners, proprietors, members, managers, officers, directors or trustees, not in collusion with the employee
             who committed such act, whether before or after becoming employed by the Named Insured.
        2.   on the date specified in the notice mailed to the Named Insured. That date will be at least 60 days after the
             date of mailing.

        The Insurer will mail or deliver the notice to the First Named Insured's last mailing address known to the Insurer.
        If notice is mailed, proof of mailing will be sufficient proof of notice.
   I.   When Loss Must be Sustained and Discovered

        Except as provided in the Loss Sustained During Prior Policy Condition, loss is covered only if sustained during
        the policy period and discovered no later than one year from the date of cancellation or expiration of the Policy.
        However, with respect to any Named Insured who obtains any other insurance replacing in whole or in part the
        insurance afforded by such crime coverages, regardless of whether such insurance is obtained during or after the
        policy period, this extended period to discover loss terminates immediately upon the effective date of such other
        insurance, whether or not such other insurance provides coverage for such crime loss sustained prior to its
        effective date.
   J.   Worldwide Coverage and Other Territory Changes

        With respect to Employee Theft Coverage, coverage applies anywhere in the world for employees while
        temporarily outside the coverage territory for a period of 90 days or less.

        With respect to Forgery or Alteration Coverage and Computer Fraud Coverage, coverage applies anywhere in
        the world.




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                               The following coverages apply to the extent shown in the Business Property Schedule of Coverages and Limits or
                               the Business Property Schedule of Locations.

                          I.    LOCATION COVERAGES
                               A. Location Base Coverage
                                   1.   Real Property Coverage
                                        The Insurer will pay for direct physical loss of or damage to real property at a location directly caused by a
                                        covered peril.
                                        The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Real
                                        Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                        location.
                                   2.   Personal Property Coverage
                                        The Insurer will pay for direct physical loss of or damage to personal property at a location directly caused
                                        by a covered peril.
                                        The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Personal
                                        Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                        location.
                                   3.   Time Element Coverage
                                        a.   Business Income Coverage
                                             The Insurer will pay for the actual loss of business income the Named Insured sustains during the
                                             period of restoration due to the necessary suspension or delay of operations caused by direct
                                             physical loss of or damage to property at a location directly caused by a covered peril.
                                             The most the Insurer will pay for any one occurrence for such loss of business income is the applicable
                                             Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                             Locations at that location.
                                        b. Extra Expense Coverage
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                                             The Insurer will pay extra expense caused by direct physical loss of or damage to property at a location
                                             directly caused by a covered peril.
                                             The most the Insurer will for pay for any one occurrence for such extra expense is the applicable Extra
                                             Expense Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                             location.
                                        c.   Business Income and Extra Expense Coverage
                                             If a Business Income and Extra Expense Coverage Limit of Insurance is shown in the Business
                                             Property Schedule of Locations at a location, the Insurer will pay for the actual loss of business
                                             income the Named Insured sustains during the period of restoration due to the necessary suspension
                                             or delay of operations, and extra expense, caused by direct physical loss of or damage to property at
                                             that location directly caused by a covered peril.
                                             The most the Insurer will pay for any one occurrence for all such loss of business income and extra
                                             expense is the applicable Business Income and Extra Expense Coverage Limit of Insurance.
                               B. Fees, Costs and Expenses Coverages
                                   If the Insurer pays for loss or damage to any insured property pursuant to any Location Base Coverage shown
                                   in Paragraph A. above, or at reported unspecified locations, the Insurer will also pay for the following
                                   reasonable and necessary fees, costs and expenses incurred by the Named Insured in connection with such

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      covered loss or damage. The most the Insurer will pay for any of the following Fees, Costs and Expenses
      Coverages are the Limits of Insurance shown in the Business Property Schedule of Coverages and Limits.
      Limits for these coverages apply in addition to any other applicable Limits of Insurance, unless otherwise stated.
      Limits of Insurance applicable at a location that differ for a specific location will be shown in the Business
      Property Schedule of Locations for that location. Those Limits replace, and are not in addition to, the Limits of
      Insurance shown in the Business Property Schedule of Coverages and Limits for those specific coverages
      and locations. If any of these coverages do not apply at any specific location, the Limit of Insurance will show as
      Not Covered for those locations.
      1.   Architects & Engineers and Other Professional Fees
           The Insurer will pay the fees incurred for the services of architects, engineers or construction consultants
           approved by the Insurer and resulting directly from the repair or replacement of such insured property.
           The amount the Insurer will pay for such fees is included within the applicable Real Property Coverage or
           Personal Property Coverage Limits of Insurance.
      2.   Brands & Labels Costs and Expenses
           In accordance with the LOSS PAYMENT Condition in the First Party Terms and Conditions, the Insurer will
           pay the costs and expenses incurred to remove the brands and labels from merchandise or finished stock
           and to stamp "salvage" on such merchandise or finished stock or its containers.
           The amount the Insurer will pay for all such costs and expenses is included within the applicable Personal
           Property Coverage Limit of Insurance.
      3.   Debris Removal Costs and Expenses
           The Insurer will pay the costs and expenses incurred to remove debris of covered property remaining after
           such loss or damage.
           Debris Removal Costs and Expenses does not include the costs or expenses of removing, extracting or
           disposing of contaminants or pollutants from land or water.
           The amount the Insurer will pay for all such costs and expenses is included within the remaining Limit of
           Insurance for the applicable covered property after payment of the covered physical loss or damage.
      4.   Debris Removal
           a.   Additional Costs and Expenses
                If the amount incurred for the covered loss or damage to covered property, including Debris Removal
                Costs and Expenses, exceeds the applicable Limit of Insurance for such covered property, the Insurer
                will pay the remaining debris removal costs and expenses incurred.
                The most the Insurer will pay for such remaining debris removal costs and expenses at any one location
                or reported unspecified location for any one occurrence is the Debris Removal – Additional Costs
                and Expenses Limit of Insurance.

           b. Uncovered Property

                If wind causes direct physical loss of or damage to covered property, the Insurer will also pay for the
                expense the Named Insured incurs to remove debris of uncovered property that is blown onto a location
                or reported unspecified location by wind and to remove debris of outdoor trees, shrubs, plants or
                lawns damaged by wind.

                The most the Insurer will pay for uncovered property at any one location or reported unspecified
                location for any one occurrence is the Debris Removal – Uncovered Property Limit of Insurance.




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                                5.   Expediting Costs and Expenses

                                     The Insurer will pay the additional costs and expenses incurred for temporary repair of damage to covered
                                     property and the additional expenses incurred for expediting the permanent repair or replacement of such
                                     damaged covered property. However, the Insurer will not pay such costs and expenses if they are covered
                                     elsewhere in this coverage part.
                                     The most the Insurer will pay for all such costs and expenses at any one location or reported unspecified
                                     location for any one occurrence is the Expediting Costs and Expenses Limit of Insurance.
                                6.   Green Insured Property

                                     a.   Costs and Expenses

                                          With respect to green insured property, the Insurer will pay the costs and expenses incurred:
                                          i.   to reuse or salvage building materials and products;
                                          ii. to extract recyclable construction waste and transport it to recycling facilities instead of landfills but
                                              only to the extent they are not offset by any income derived from the recycling;
                                          iii. for the services of accredited architects or engineers approved by the Insurer in planning and
                                               designing the applicable green insured property qualifying repairs or rebuild;
                                          iv. to re-certify the repaired or replaced insured property through the applicable green insured
                                              property accreditation organization; and

                                          v.   to flush-out the air in the repaired or rebuilt green insured property and replace it with outside air
                                               ventilated through an air filtration system included as part of the repaired or replaced green insured
                                               property.
                                          The amount the Insurer will pay for all such costs and expenses is included within the applicable Real
                                          Property Coverage or Personal Property Coverage Limits of Insurance.

                                     b. Time Element

                                          To the extent time element coverage is applicable at that location or reported unspecified location,
                                          the Insurer will pay, as provided, for loss of business income or extra expense arising out of extra time
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                                          required to re-qualify, repair or rebuild the green insured property, including:
                                          i.   additional costs to obtain power from a public utility for covered equipment that uses solar, wind,
                                               geo-thermal or other renewable resources to generate power. These additional costs will be paid
                                               until such time as such green insured property is repaired and operating; and
                                          ii. the monetary loss of rebates and credits the Named Insured receives from the public utility company
                                              for surplus power the Named Insured’s renewable resources provide into the utility’s power grid.
                                          The amount the Insurer will pay for such all such loss and expense is included within the applicable time
                                          element coverage Limit of Insurance.

                                     c.   This Green Insured Property Coverage does not apply to:
                                          i.   green insured property for which the basis of valuation is other than replacement cost; or

                                          ii. costs or expenses to upgrade the damaged green insured property to green standards beyond
                                              those that existed in the damaged green insured property at the time of loss or damage.

                          II. OFF-SITE COVERAGES
                             The following OFF-SITE COVERAGES apply as shown in the Business Property Schedule of Coverages and
                             Limits, up to the applicable Limit of Insurance shown. If a specific Location Base Coverage is not provided
                             elsewhere in this Business Property Coverage Part, there is no coverage under its corresponding OFF-SITE

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   COVERAGE. For example, if the Named Insured does not have coverage for business income under the Location
   Base Coverages, then there is no such coverage related to business income under any of the OFF-SITE
   COVERAGES. Limits for these OFF-SITE COVERAGES apply in addition to any other applicable Limits of Insurance,
   unless otherwise stated.
   A. Deferred Payments Coverage
      1.   The Insurer will pay the Named Insured's financial interest in personal property sold on an installment,
           conditional sale or other deferred payment basis. The Insurer will make such payments only if such personal
           property suffers direct physical loss or damage due to a covered peril after delivery to the purchaser, and
           only if the Named Insured is unable to collect after making all reasonable efforts to do so.
      2.   The most the Insurer will pay for such payments under this OFF-SITE COVERAGE for any one occurrence
           is the lesser of the Named Insured’s financial interest in such personal property or the Deferred Payments
           Coverage Limit of Insurance.
           The Limit for this OFF-SITE COVERAGE is included in, and not in addition to, any other applicable Limits of
           Insurance.
   B. Dependent Property Time Element Coverage
      1.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by direct physical loss of or damage to property at a dependent property located anywhere in the
           world. The loss or damage must be directly caused by a covered peril.
      2.   The most the Insurer will pay for all loss and expense under this OFF-SITE COVERAGE for any one
           occurrence is the Dependent Property Time Element Coverage Limit of Insurance.
      3.   The Insurer will not pay for loss of business income or extra expense caused by or resulting from
           earthquake or flood under this OFF-SITE COVERAGE, even if they are otherwise covered perils.
   C. Installation Coverage
      1.   The Insurer will pay for direct physical loss of or damage to installation property directly caused by a
           covered peril while such installation property is at an installation location or a temporary warehousing
           premises:
           a.   awaiting and during installation, fabrication, erection, certifying, servicing or testing; or
           b. awaiting acceptance by the purchaser.
      2.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
           occurrence is the Installation Coverage Limit of Insurance.
      3.   This Installation Coverage does not apply to loss or damage at any premises, location or reported
           unspecified location owned by the Named Insured, or to property in the due course of transit.
      4.   This Installation Coverage will end on the date when any of the following first occurs:
           a.   the Policy expires;
           b. the Named Insured’s insurable interest in the property ceases;


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                                     c.   the installation, fabrication or erection project is accepted by the purchaser as complete; or
                                     d. the Named Insured abandons the installation, fabrication or erection project with no intention to complete
                                        it.
                             D. Mobile Computing Devices – Worldwide Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to mobile computing devices while outside the
                                     coverage territory, except within any country upon which the United States government has imposed
                                     sanctions, embargoes or similar prohibitions. The loss or damage must be directly caused by a covered
                                     peril.
                                2.   The most the Insurer will pay for loss or damage under this OFF-SITE COVERAGE for any one occurrence
                                     is the Mobile Computing Devices – Worldwide Coverage Limit of Insurance.
                             E. Property at Unspecified Locations Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property and fine arts at an unspecified location, or while in the custody of a salesperson, directly
                                     caused by a covered peril.
                                     The coverage provided for fine arts under this OFF-SITE COVERAGE is subject to the provisions of the Fine
                                     Arts Coverage in the ADDITIONAL COVERAGE BASKET section, except the requirement that such
                                     property be at a location or reported unspecified location.
                                 2. To the extent time element coverage is applicable under this Business Property Coverage Part, the
                                    Insurer will pay, as provided, for:
                                     a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                          to the necessary suspension or delay of operations;
                                     b. the actual loss of research and development business income the Named Insured sustains during the
                                        period of restoration due to the necessary suspension or delay of research and development projects;
                                        and
                                     c.   extra expense,
                                     caused by loss of or damage to insured property, research and development project property and fine
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                                     arts at an unspecified location or while in the custody of a salesperson directly caused by a covered peril.
                                 3. The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE:
                                     a.   at any one unspecified location for any one occurrence is the Property at Unspecified Locations
                                          Coverage – Property Damage and Time Element Unspecified Location Limit of Insurance.
                                     b. for all unspecified locations for any one occurrence, regardless of the number of unspecified
                                        locations involved, is the Property at Unspecified Locations Coverage – Property Damage and Time
                                        Element Unspecified Locations Combined Limit of Insurance.
                                4.   This Property at Unspecified Locations Coverage does not apply to:
                                     a.   property in transit, other than while in the custody of salespersons as described in Paragraph E.1. above;
                                     b. property that is covered under the Protection of Property Coverage of the ADDITIONAL COVERAGES
                                        section.
                                5.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply only with
                                     respect to unspecified locations that the Named Insured does not own, operate or lease.
                             F. Property in Transit Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property, fine arts, media and records of accounts receivable directly caused by a covered peril

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           while in the course of transit from the time such property is being loaded at the initial point of shipment and
           continuously thereafter, until unloaded at the final destination, or if undeliverable, the time it is returned to the
           location or reported unspecified location, including:
           a.   general average or salvage charges that are assessed; and
           b. reasonable and necessary expense the Named Insured incurs to inspect, repackage and reship such
              property.
           The coverage provided for fine arts, records of accounts receivable and media under this OFF-SITE
           COVERAGE are subject to the provisions of the Fine Arts Coverage, Accounts Receivable Coverage and
           Restoration of Media Coverage, respectively, in the ADDITIONAL COVERAGE BASKET section, except
           the requirement that such property be at a location or reported unspecified location.
      2.   To the extent time element coverage is applicable under this Business Property Coverage Part, the
           Insurer will also pay, as provided, for:
           a.   actual loss of business income the Named Insured sustains during the period of restoration due to
                the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by loss of or damage to insured property, research and development project property, fine arts
           and media while in the course of transit directly caused by a covered peril.
      3.   The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE for
           any one occurrence is the Property in Transit Coverage – Property Damage and Time Element Limit of
           Insurance.
      4.   When neither the origin nor the destination is in any country upon which the United States government
           imposes sanction, embargoes or similar provisions, the following applies:
           a.   If the property is transported by an aircraft, the coverage territory is extended to be anywhere in the
                world for that property while in transit; or
           b. If the property is transported by an oceangoing vessel, transit coverage ends when the property has been
              loaded on the oceangoing vessel and only commences when the property has been fully discharged from
              such vessel onto a point within the coverage territory.
      5.   This Property in Transit Coverage does not apply to:
           a.   import shipments until marine insurance coverage ceases;
           b. personal property of others hauled on vehicles owned, leased or operated by the Named Insured
              when acting as a common or contract carrier, regardless of the Named Insured’s liability for such
              property;
           c.   property sold by the Named Insured under conditional sale, trust agreement or installment payment after
                delivery to customers;
           d. property shipped by common carrier or postal service unless such shipment is electronically tracked by
              such carrier or service; or
           e.   property while in the custody of salespersons.
      6.   In the event of any loss of or damage to personal property in transit, the Named Insured must immediately
           make a claim in writing against the carrier, bailee or others involved.



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                                 7.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply with respect
                                      to this OFF-SITE COVERAGE.
                             G. Worldwide Media and Accounts Receivable Coverage
                                 1.   The Insurer will pay for direct physical loss of or damage to media and records of accounts receivable
                                      directly caused by a covered peril while such property is at a premises other than a location or reported
                                      unspecified location.
                                 2.   With respect to coverage provided under this OFF-SITE COVERAGE, the coverage territory is extended to
                                      be anywhere in the world, except within any country upon which the United States government has imposed
                                      sanctions, embargoes or similar prohibitions.
                                 3.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
                                      occurrence is the Worldwide Media and Accounts Receivable Coverage Limit of Insurance.
                                 4.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply under this
                                      OFF-SITE COVERAGE, but only when such property is at premises that the Named Insured does not own,
                                      operate or lease.

                          III. ADDITIONAL COVERAGES
                             The following ADDITIONAL COVERAGES apply up to the applicable Limit of Insurance shown under the Business
                             Property Schedule of Coverages and Limits. If a particular coverage is shown as Not Covered then such coverage
                             is not provided under this Business Property Coverage Part.
                             Limits of Insurance for an ADDITIONAL COVERAGE that differ at any specific location will be shown under the
                             Business Property Schedule of Locations for that location. Those Limits of Insurance replace, and are not in
                             addition to, the Limit of Insurance shown for that ADDITIONAL COVERAGE in the Business Property Schedule of
                             Coverages and Limits. If any ADDITIONAL COVERAGE does not apply at a specific location, that ADDITIONAL
                             COVERAGE will be shown as Not Covered at that location.
                             If a specific Location Base Coverage is not provided at a location or at reported unspecified locations in this
                             Business Property Coverage Part, there is no coverage under its corresponding ADDITIONAL COVERAGE. For
                             example, if the Named Insured does not have a Location Base Coverage for business income for one or more
                             locations or reported unspecified location, then there is no coverage related to business income under any of the
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                             ADDITIONAL COVERAGES for business income.
                             Limits for these ADDITIONAL COVERAGES apply in addition to any other applicable Limits of Insurance, unless
                             otherwise stated.
                             A. Contaminants or Pollutants Clean Up and Removal Coverage – Property Damage and Time Element
                                Combined
                                 1.   The Insurer will pay for the reasonable costs and expenses to extract or remove contaminants or pollutants
                                      from land or water at a location or reported unspecified location, provided such contaminants or
                                      pollutants are in the land or water as a direct result of a covered peril. These costs and expenses include
                                      the costs and expenses to test for, monitor or assess the existence, concentration or effects of contaminants
                                      or pollutants.
                                      The Insurer will pay these costs and expenses only if reported to the Insurer within 180 consecutive days of
                                      the date on which the covered peril occurs.
                                 2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
                                      Insurer will also pay, as provided, for:
                                      a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                           to the necessary suspension or delay of operations;



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           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           as a result of compliance with an ordinance or law that requires the clean up or removal of contaminants or
           pollutants from land or water at a location or reported unspecified location as a direct result of a covered
           peril.
      3.   The most the Insurer will pay for all loss, cost or expense combined under this ADDITIONAL COVERAGE at
           any one location or reported unspecified location for any one occurrence is the Contaminants or
           Pollutant Clean Up and Removal Coverage – Property Damage and Time Element Combined Limit of
           Insurance.
   B. Contamination by a Refrigerant Coverage
      1.   The Insurer will pay for direct physical loss of or damage to personal property caused by the release or
           escape of refrigerants from any refrigeration equipment at a location or reported unspecified location
           provided the release or escape was not caused by or resulting from earthquake or flood, even if those are
           otherwise covered perils.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Contamination by a Refrigerant
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable
           Personal Property Coverage Limit of Insurance.
      3.   The Contaminants or Pollutants Excluded Peril under the EXCLUSIONS section does not apply, but only to
           the extent of the coverage provided under this ADDITIONAL COVERAGE.

   C. Contractual Penalties Coverage

      1.   The Insurer will pay for contractual penalties specified in a written contract that the Named Insured incurs for
           material breach of the terms of such contract where such breach is the result of direct physical loss of or
           damage to covered property directly caused by a covered peril.
      2.   The most the Insurer will pay for such contractual penalties under this ADDITIONAL COVERAGE for any one
           occurrence is the Contractual Penalties Coverage Limit of Insurance.
   D. Denial of Access Coverage
      To the extent time element coverage is applicable at that location or reported unspecified location, the
      following coverages apply at the location or reported unspecified location where the suspension or delay of
      operations occurs:
      1.   Civil Authority
           a.   For up to the number of days shown on the Business Property Schedule of Coverages and Limits, the
                Insurer will pay, as provided, for:
                i.   The actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay of operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of the research and
                    development projects; and
                iii. extra expense,



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                                          caused by action of civil authority that prohibits access to the location or reported unspecified location.
                                          Such action must result from a civil authority's response to direct physical loss of or damage to property
                                          located away from a location or reported unspecified location. That lost or damaged property must be
                                          within five miles of that location or reported unspecified location which sustains a business income
                                          or research and development business income loss or where extra expense is incurred. The loss or
                                          damage must be directly caused by a covered peril.
                                     b. The amount the Insurer will pay for all loss or expense under this Civil Authority Coverage is included
                                        within the applicable time element coverage Limit of Insurance.
                                     c.   However, to the extent the covered Civil Authority Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Civil Authority Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Civil Authority Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                                2.   Ingress/Egress
                                     a. The Insurer will pay, as provided, for:
                                          i.   the actual loss of business income the Named Insured sustains during the period of restoration
                                               due to the necessary suspension or delay of operations;
                                          ii. the actual loss of research and development business income the Named Insured sustains
                                              during the period of restoration due to the necessary suspension or delay of the research and
                                              development projects; and
                                          iii. extra expense,
                                          when ingress or egress by the Named Insured's suppliers, customers or employees to or from the
                                          location or reported unspecified location is physically obstructed due to direct physical loss or
                                          damage. The actual loss of business income or research and development business income
                                          sustained, or extra expense incurred, by the Named Insured must be caused by direct physical loss of
                                          or damage to property not owned, occupied, leased or rented by the Named Insured or insured under
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                                          this Business Property Coverage Part. That property must be located within five miles of such location
                                          or reported unspecified location. The obstruction cannot be the result of an action of civil authority that
                                          prohibits access to that location or reported unspecified location. The loss or damage must be directly
                                          caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or expense under this Ingress/Egress Coverage at any one
                                        location or reported unspecified location for any one occurrence is the Ingress/ Egress Coverage
                                        Limit of Insurance.
                                     c.   However, to the extent the covered Ingress/Egress Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                             E. Electronic Vandalism Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for loss of or damage to media, electronic data processing equipment, research and
                                     development project property and records of accounts receivable caused by or resulting from electronic
                                     vandalism originating anywhere in the world.


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      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and

           c.   extra expense,

           directly caused by electronic vandalism.
      3.   The Insurer will not pay for electronic vandalism loss caused by or resulting from any deliberate, dishonest,
           fraudulent or criminal acts committed by or on behalf of, or at the direction of, any executive officer.
      4.   The most the Insurer will pay for all loss, damage or expense combined under this ADDITONAL COVERAGE
           in the policy period is the Electronic Vandalism Coverage – Property Damage and Time Element
           Combined Aggregate Limit of Insurance.
      5.   The Electronic Vandalism and Dishonest Acts Excluded Perils under the EXCLUSIONS section do not
           apply, but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.
   F. Employee Theft Coverage
      1.   The Insurer will pay for loss of or damage to personal property, money, securities and fine arts as a direct
           result of employee theft.
      2.   The Insurer will not pay for such loss:
           a.   caused by any employee of the Named Insured, or predecessor in interest of the Named Insured, for
                whom similar prior insurance was cancelled and not reinstated since the last such cancellation.
           b. if the proof of existence or amount is dependent upon an inventory computation or a profit and loss
              computation. However, where the Named Insured establishes wholly apart from such computations that
              it has sustained such loss or damage, then it may offer its inventory records and actual physical count of
              inventory in support of the amount claimed.
           c.   resulting directly or indirectly from trading, whether in the Named Insured’s name or in a genuine or
                fictitious account.
           d. resulting from fraudulent or dishonest signing, issuing, cancelling or failing to cancel, a warehouse receipt
              or bill of lading or any papers connected with either.
      3.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE for any one
           occurrence is the Employee Theft Coverage Limit of Insurance.
      4.   The Dishonest Acts Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
           the coverage provided under this ADDITIONAL COVERAGE.
   G. Equipment Breakdown - Spoilage Coverage

      1.   The Insurer will pay for direct physical loss of or damage to personal property directly caused by the loss of
           or changes in any artificially maintained or generated temperature, humidity or internal atmosphere resulting
           from an equipment breakdown peril to covered equipment at the location or reported unspecified
           location.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Equipment Breakdown – Spoilage
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable Limits
           of Insurance.

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                                  3.   The Adulteration or Contamination and the Temperature or Humidity Conditions Excluded Perils under
                                       the EXCLUSIONS section do not apply, but only to the extent of the coverage provided under this
                                       ADDITIONAL COVERAGE.
                             H. Expense to Reduce Loss – Business Income Coverage
                                  The Insurer will pay reasonable and necessary expenses incurred by the Named Insured, except the cost of
                                  extinguishing a fire, to reduce the amount of business income or research and development business income
                                  loss. The Insurer will pay such expenses to the extent that they do not exceed the amount of loss that otherwise
                                  would have been payable under the Business Income Coverage.
                                  The amount the Insurer will pay for such expenses under this ADDITIONAL COVERAGE is included within the
                                  applicable Business Income Coverage Limit of Insurance.
                             I.   Extended Indemnity Period – Business Income Coverage
                                  1.   If loss of business income is payable under this Business Property Coverage Part, the Insurer will also
                                       pay for the actual loss of business income the Named Insured sustains during the extended indemnity
                                       period.
                                       This extended indemnity period begins on the date the period of restoration ends and it terminates on the
                                       earlier of:
                                       a.   the date the Named Insured's gross sales, including rental income, are restored to the amount that
                                            would have existed if no direct physical loss or damage occurred; or
                                       b. the date on which the specified number of days shown in the Business Property Schedule of
                                          Coverages and Limits have elapsed after the end of the period of restoration.
                                  2.   The amount the Insurer will pay for loss of business income under this ADDITIONAL COVERAGE is
                                       included within the applicable Business Income Coverage or Business Income and Extra Expense
                                       Coverage Limit of Insurance.
                                  3.   This Extended Indemnity Period - Business Income Coverage does not apply to loss of business income
                                       resulting from unfavorable business conditions as a result of the impact of a covered peril in the area of the
                                       affected location or reported unspecified location.
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                                  4.   This Extended Indemnity Period - Business Income Coverage does not apply to any other ADDITIONAL
                                       COVERAGE or the ADDITIONAL COVERAGE BASKET.
                             J.   Forgery or Alteration Coverage
                                  1.   The Insurer will pay for loss sustained by the Named Insured resulting from forgery or alteration of or on
                                       covered instruments that are made or drawn by, or drawn upon:
                                       a.   the Named Insured; or
                                       b. one acting as the Named Insured’s agent,
                                       or that are purported to have been so made or so drawn, by any person, acting alone or together with others.
                                       Mechanically reproduced facsimile signatures are the same as handwritten signatures.
                                  2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                       Forgery or Alteration Coverage Limit of Insurance.
                             K. Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time Element Combined
                                  1.   The Insurer will pay the following provided fungi, wet rot, dry rot or microbes are the direct result of a
                                       covered peril, other than fire or lightning:
                                       a.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes,
                                            including the cost of removing the fungi, wet rot, dry rot or microbes;


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           b. the reasonable cost to tear out and replace any part of the covered building or other property as needed
              to gain access to the fungi, wet rot, dry rot or microbes; and
           c.   the cost of testing performed after removal, repair, replacement or restoration of the damaged property is
                completed, provided there is reason to believe that fungi, wet rot, dry rot or microbes are still present.
      2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           due to the:
           i.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes that
                are the result of a covered peril, other than fire or lightning; or
           ii. prolonged period of restoration due to the remediation of fungi, wet rot, dry rot or microbes from a
               covered loss.
      3.   The most the Insurer will pay under this ADDITIONAL COVERAGE for all loss, damage, cost or expense
           combined in the policy period is the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage
           and Time Element Combined Aggregate Limit of Insurance. This Limit is the most the Insurer will pay, even
           if the fungi, wet rot, dry rot or microbes continue to be present or active or recur in a later policy period.
      4.   The Fungi, Wet Rot, Dry Rot and Microbes Excluded Peril under the EXCLUSIONS section does not apply,
           but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.

   L. Loss Adjustment Expense Coverage
      1.   The Insurer will pay for reasonable and necessary expenses incurred by the Named Insured in preparing
           claim data when required by the Insurer, including the cost of taking inventories, obtaining appraisals and
           preparing other documentation, to determine the extent of covered loss or damage.
      2.   The Insurer will not pay for any fees, costs or expenses incurred, directed or billed by, or payable to
           attorneys, public adjusters, loss adjusters, loss consultants, insurance brokers or agents or their associates or
           subsidiaries, or any costs as described in the APPRAISAL Condition of the First Party Terms and
           Conditions.
      3.   The most the Insurer will pay for all expenses incurred under this ADDITIONAL COVERAGE for any one
           occurrence is the Loss Adjustment Expense Coverage Limit of Insurance.
   M. Money and Securities Coverage
      1.   The Insurer will pay for loss sustained by the Named Insured as a direct result of the actual destruction,
           disappearance or theft of money and securities:
           a.   at a location, reported unspecified location or the premises of a bank or savings institution; or
           b. away from:
                i.   a location;
                ii. a reported unspecified location; or
                iii. the premises of a bank or savings institution,
                while in the care and custody of a messenger or an armored motor vehicle company.

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                                2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                     Money and Securities Coverage Limit of Insurance.
                                3.   The Insurer will not pay any loss or damage sustained by the Named Insured caused by or resulting from:
                                     a.   accounting or arithmetical errors or omissions;
                                     b. dishonest or criminal acts by the Named Insured, executive officers, employees, authorized
                                        representatives or anyone else to whom money or securities have been entrusted, other than an
                                        armored motor vehicle company:
                                          i.   acting alone or in collusion with others; or
                                          ii. whether or not occurring during the hours of employment;
                                     c.   giving or surrendering of the property in any exchange or purchase;
                                     d. voluntary parting with money or securities by the Named Insured or anyone else to whom it has
                                        entrusted such property if induced to do so by any fraudulent scheme, trick, device or false pretense;
                                     e.   transfer or surrender of money or securities on the basis of unauthorized instructions, to a person or
                                          place outside:
                                          i.   a location;
                                          ii. a reported unspecified location; or
                                          iii. the premises of a banking or savings institution; or
                                     f.   transactions involving any automated teller machine unless recorded by a continuous recording
                                          instrument in such machine.
                                4.   The only Excluded Perils under the EXCLUSIONS section that apply to this ADDITIONAL COVERAGE are
                                     Biological or Chemical Material, Governmental Action, Nuclear Hazard and War and Military Action.
                             N. Newly Acquired Locations and Property Coverage
                                1.   Newly Acquired or Constructed Real Property
                                     a.   The Insurer will pay for direct physical loss of or damage to real property, including new buildings while
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                                          being built:
                                          i.   at a newly acquired location; or
                                          ii. at a location or reported unspecified location, if coverage is not currently shown for real property
                                              at that location on the Business Property Schedule of Locations or for reported unspecified
                                              locations,
                                          directly caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or damage under this Newly Acquired or Constructed Real
                                        Property coverage for any one occurrence is the Newly Acquired or Constructed Real Property Limit
                                        of Insurance.
                                2.   Newly Acquired – Other Property
                                     a.   The Insurer will pay for direct physical loss of or damage:
                                          i.   to personal property, fine arts, media and records of accounts receivable at a newly acquired
                                               location; and
                                          ii. to personal property if coverage is not currently shown for personal property at that location on
                                              the Business Property Schedule of Locations or for reported unspecified locations,
                                          directly caused by a covered peril.


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           b. The most the Insurer will pay for all loss or damage under this Newly Acquired Property – Other
              Property coverage for any one occurrence is the Newly Acquired – Other Property Limit of Insurance.
           c.   The coverage provided under this ADDITIONAL COVERAGE for fine arts, records of accounts
                receivable and media is subject to the provisions of the Fine Arts Coverage, Accounts Receivable
                Coverage and Restoration of Media Coverage, respectively, under the ADDITIONAL BASKET
                COVERAGE section except the requirement that such property be at a location or reported unspecified
                location.
      3.   Newly Acquired Location – Time Element
           a.   To the extent time element coverage is applicable on the Business Property Coverage Part, the
                Insurer will pay, as provided, for:
                i.   the actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay in operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of research and
                    development projects; and
                iii. extra expense,
                caused by loss or damage to property at a newly acquired location directly caused by a covered peril.
           b. The most the Insurer will pay for all loss or expense under Newly Acquired Location – Time Element
              coverage for any one occurrence is the Newly Acquired Location – Time Element Limit of Insurance.
      4.   This Newly Acquired Locations and Property Coverage expires on the date when any of the following first
           occurs:
           a.   the Policy expires or is cancelled;
           b. the number of consecutive days shown on the Business Property Schedule of Coverages and Limits
              has passed from the date:
                i.   the premises becomes a newly acquired location;
                ii. the Named Insured acquires such property at a location or reported unspecified location; or
                iii. construction begins on new buildings; or
           c.   the Named Insured reports values to the Insurer.
      5.   The Insurer will charge the Named Insured additional premium for values reported from the date the
           premises becomes a newly acquired location, the Named Insured acquires such property or the
           construction begins on new buildings.
   O. Ordinance or Law Coverage
      If at the time of direct physical loss of or damage to insured property directly caused by a covered peril there is
      an ordinance or law in effect regulating the construction, zoning, repair or land use of such insured property and,
      as a result of such covered loss or damage, such ordinance or law requires code compliance in the repair or
      replacement of such insured property, the following coverages apply:
      1.   Undamaged Insured Property
           The Insurer will pay for the amount equal to the value of the undamaged portion of such insured property
           that must be demolished in accordance with such ordinance or law.
           The amount the Insurer will pay for all loss or damage under this Undamaged Insured Property coverage is
           included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance.



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                                2.   Demolition and Repair Cost
                                     The Insurer will pay for:
                                     a.   the cost of demolishing and removing the undamaged portion of the damaged insured property required
                                          to be demolished because of such ordinance or law, including the cost of clearing the site; and
                                     b. the increased cost of repair or reconstruction of such insured property on the same site or another site
                                        because of such ordinance or law. If the Named Insured elects to do such repair or reconstruction at
                                        another site, such costs are limited to the costs that would have been incurred in order to comply with the
                                        minimum requirements of such ordinance or law regulating the repair or reconstruction of such insured
                                        property on the same site.
                                     The amount the Insurer will pay for all loss or damage under this Demolition and Repair Cost coverage is
                                     included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance
                                     unless a separate Demolition and Repair Cost Limit of Insurance is shown.
                                     If a separate Limit is shown, then the most the Insurer will pay under this Demolition and Repair Cost
                                     coverage at any one location or reported unspecified location for any one occurrence is the Demolition
                                     and Repair Cost Limit of Insurance.
                                3.   Increased Period of Restoration
                                     To the extent Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the period of restoration includes any
                                     increased period of time that results from the enforcement of an ordinance or law that requires the Named
                                     Insured to repair or reconstruct the property or tear down undamaged portions of the property to meet the
                                     minimum requirements of the ordinance or law in force at the time of loss or damage.
                                     The amount the Insurer will pay under this Increased Period of Restoration coverage is included in the
                                     applicable Business Income Coverage or Business Income and Extra Expense Coverage Limit of
                                     Insurance.
                                4.   The Insurer will not pay for any:
                                     a.   additional costs incurred if the damaged insured property is not repaired or reconstructed as soon as
                                          reasonably possible;
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                                     b. increased period of restoration if the Named Insured does not resume operations with reasonable
                                        speed;
                                     c.   costs attributable to any ordinance or law that the Named Insured was required to comply with before
                                          the loss or damage; or
                                     d. increase in costs or increased period of restoration required due to the enforcement of any ordinance or
                                        law that requires the Named Insured or others to test for, monitor, clean up, remove, contain, treat,
                                        detoxify or neutralize, demolish, repair, replace or in any way respond to or assess the effects of
                                        contaminants or pollutants or the presence, growth, proliferation, spread or any activity of fungi, wet
                                        rot, dry rot or microbes, except to the extent the Contaminants or Pollutant Clean Up and Removal
                                        Coverage or the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time
                                        Element Combined of the ADDITIONAL COVERAGES section applies.
                                5.   The Governmental Action Excluded Peril under the EXCLUSIONS section does not apply, but only to the
                                     extent of the coverage provided under this Ordinance or Law Coverage.
                             P. Pair or Set Coverage
                                1.   The Insurer will pay an amount equal to the reduction in value of undamaged personal property that is part
                                     of a pair or set that becomes unmarketable as a pair or set because of direct physical loss of or damage to
                                     the other part of such personal property directly caused by a covered peril.


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      2.   The amount the Insurer will pay for such reduction in value under this ADDITIONAL COVERAGE is included
           within the applicable Personal Property Coverage Limit of Insurance.
   Q. Protection of Property Coverage
      1.   Removal of Insured Property
           a.   If it is necessary to move insured property from the location or reported unspecified location to
                protect it from actual or imminent direct physical loss or damage caused by a covered peril, the Insurer
                will pay for:
                i.   any loss of or damage to that insured property while it is being moved from, or returned to, the
                     location or reported unspecified location, or while temporarily stored at another premises for up to
                     the Number of Days shown in the Business Property Schedule of Coverages and Limits; and
                ii. the reasonable cost to remove the insured property from the location or reported unspecified
                    location and the cost to move the insured property back.

           b. The amount the Insurer will pay for all loss, damage or cost under this Removal of Insured Property
              coverage is included within, and not in addition to, the applicable Real Property Coverage or Personal
              Property Coverage Limit of Insurance.
      2.   Preservation of Insured Property
           a.   If it is necessary to protect insured property at the location or reported unspecified location from
                imminent direct physical loss or damage by a covered peril, the Insurer will pay reasonable and
                necessary costs the Named Insured incurs to protect such insured property from such imminent loss or
                damage while at such location or reported unspecified location.

           b. The most the Insurer will pay for all costs under this Preservation of Insured Property coverage for any
              one occurrence is the Protection of Property Coverage Preservation of Insured Property Limit of
              Insurance, subject to a $1,000 each occurrence deductible. No other deductible applies to this
              Preservation of Insured Property Coverage.

   R. Reported Unspecified Locations

      1.   Real Property Coverage and Personal Property Coverage

           The Insurer will pay for direct physical loss of or damage to insured property at a reported unspecified
           location directly caused by a covered peril.

           The most the Insurer will pay for such loss or damage to real property at any one reported unspecified
           location for any one occurrence is the applicable Reported Unspecified Locations Real Property Limit of
           Insurance.

           The most the Insurer will pay for such loss or damage to personal property at any one reported
           unspecified location for any one occurrence is the applicable Reported Unspecified Location Personal
           Property Limit of Insurance.

      2.   Business Income Coverage

           The Insurer will pay for the actual loss of business income the Named Insured sustains during the period
           of restoration due to the necessary suspension or delay of operations caused by direct physical loss of or
           damage to property at a reported unspecified location directly caused by a covered peril.

           The most the Insurer will pay for such loss of business income at any one reported unspecified location
           for any one occurrence is the Reported Unspecified Locations Business Income Limit of Insurance.
      3.   Extra Expense Coverage

           The Insurer will pay extra expense caused by direct physical loss of or damage to property at a reported
           unspecified location directly caused by a covered peril.

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                                     The most the Insurer will pay for such extra expense at any one reported unspecified location for any one
                                     occurrence is the Reported Unspecified Locations Extra Expense Limit of Insurance.
                             S. Research and Development Coverage

                                1.   Research and Development Project Property

                                     The Insurer will pay for:
                                     a.   direct physical loss of or damage to research and development project property while at a location or
                                          reported unspecified location directly caused by a covered peril; and

                                     b. reasonable and necessary additional expenses the Named Insured incurs to minimize direct physical
                                        loss of or damage to research and development project property, but only to the extent the loss of or
                                        damage to research and development project property is reduced by such additional expenses.

                                     The most the Insurer will pay for research and development project property under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is the Research
                                     and Development Coverage Research and Development Project Property Limit of Insurance.

                                2.   Research and Development Business Income

                                     To the extent that Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the Insurer will also pay, as provided, for the
                                     loss of research and development business income that the Named Insured sustains during the period of
                                     restoration due to the necessary suspension or delay of the Named Insured's research and development
                                     projects in process caused by direct physical loss of or damage to property at a location or reported
                                     unspecified location. The loss or damage must be directly caused by a covered peril.

                                     The amount the Insurer will pay for research and development business income under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is included
                                     within, and not in addition to, the applicable Business Income Coverage or Business Income and Extra
                                     Expense Coverage Limit of Insurance unless a separate Research and Development Business Income
                                     Limit of Insurance is shown.

                                     If a separate Limit is shown, then the most the Insurer will pay under this Research and Development
                                     Business Income coverage at any one location or reported unspecified location for any one occurrence
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                                     is the Research and Development Business Income Limit of Insurance.
                             T. Theft Damage to Non Owned Building Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to buildings at a location or reported unspecified
                                     location in which the Named Insured is a tenant and does not own the building, caused directly by theft,
                                     robbery or burglary, provided the Named Insured is obligated by the written lease in effect at the time of loss
                                     or damage to pay for such loss or damage.
                                2.   The amount the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE is included
                                     within the applicable Personal Property Coverage Limit of Insurance.
                                3.   This ADDITIONAL COVERAGE does not apply to theft that occurs after fire or explosion.
                             U. Trees, Shrubs, Plants or Lawns Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to outdoor trees, shrubs, plants or lawns,
                                     including the expense to remove debris of outdoor trees, shrubs, plants or lawns, at a location or
                                     reported unspecified location directly caused by:
                                     a.   fire;
                                     b. lightning;
                                     c.   explosion;


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           d. riot or civil commotion;
           e.   vehicles; or
           f.   aircraft.
      2.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE at any one
           location or reported unspecified location for any one occurrence is the Trees, Shrubs, Plants or Lawns
           Coverage Each Location Limit. Subject to this Each Location Limit, the most the Insurer will pay for any one
           tree, shrub, plant or lawn is the Trees, Shrubs, Plants or Lawns Coverage Each Item Limit of Insurance.

   V. Unintentional Errors or Omissions Coverage

      1.   The Insurer will pay for direct physical loss of or damage to covered property from a covered peril that is
           not otherwise payable under this Business Property Coverage Part solely as a result of:
           a.   an unintentional error or omission by the Named Insured:
                i.   in the description or address of any insured property; or
                ii. the inadvertent deletion of a location or reported unspecified location under the Policy; or

           b. any unintentional failure by the Named Insured to include any premises owned or occupied by the
              Named Insured at the inception date of the Policy.

      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,

           caused by loss of or damage to property from a covered peril that is not otherwise payable under this
           Business Property Coverage Part solely as a result of:

           i.   an unintentional error or omission by the Named Insured:
                (1) in the description or address of any insured property; or

                (2) the inadvertent deletion of a location or reported unspecified location under the Policy; or

           ii. any unintentional failure by the Named Insured to include any premises owned or occupied by the
               Named Insured at the inception date of the Policy.
      2.   The most the Insurer will pay for all loss, damage, cost or expense combined under this ADDITIONAL
           COVERAGE for any one occurrence is the Unintentional Errors or Omissions Coverage Limit of
           Insurance.

      3.   There is no coverage for any unintentional error or unintentional omission in the reporting of values or the
           coverage requested. It is a condition of this coverage that such unintentional error or omission be reported
           and corrected when discovered. The Named Insured's premium will be adjusted accordingly to reflect the
           date the premises should have been added had no error or omission occurred.




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                             W. Utility Supply Failure Coverage

                             1.   Property Damage

                                       The Insurer will pay for direct physical loss of or damage to covered property at a location or reported
                                       unspecified location where such loss or damage is caused by the necessary suspension, interruption or
                                       reduction of:
                                       a.   communication services, including internet access; or
                                       b. power supply, fuel services or water services,
                                       at that location or reported unspecified location.
                                       Such suspension, interruption or reduction must be the result of a covered peril that causes or results in
                                       direct physical loss of or damage to such utility service provider’s property, including overhead transmission
                                       or distribution lines, used to provide the location or reported unspecified location with such services,
                                       provided such property is not at a location or reported unspecified location.
                                       The most the Insurer will pay for all such loss or damage to covered property under this ADDITIONAL
                                       COVERAGE for any one occurrence is the Utility Supply Failure Coverage – Property Damage Limit of
                                       Insurance.
                                  2.   Time Element
                                       To the extent time element coverage is applicable at that location or reported unspecified location, the
                                       Insurer will pay, as provided, for:
                                       a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                            to the necessary suspension or delay of operations;
                                       b. the actual loss of research and development business income the Named Insured sustains during the
                                          period of restoration due to the necessary suspension or delay of the research and development
                                          projects; and
                                       c.   extra expense,

                                       caused by loss of or damage to a utility service provider's property that is located away from a location or
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                                       reported unspecified location and that property is used to provide internet, communication, power supply,
                                       fuel services or water services to such location or reported unspecified location. The loss or damage must
                                       be directly caused by a covered peril.

                                       The most the Insurer will pay for all such loss or expense under this ADDITIONAL COVERAGE for any one
                                       occurrence is the Utility Supply Failure Coverage – Time Element Limit of Insurance.
                                       If a Deductible or Qualifying Period is shown on the Business Property Schedule of Locations for Utility
                                       Supply Failure Coverage – Time Element Coverage, then the following replaces the Deductible and
                                       Qualifying       Periods      provision     of     the    LIMITS      OF     INSURANCE/INDEMNITY
                                       PERIOD/DEDUCTIBLE/QUALIFYING PERIOD section for the Utility Supply Failure Coverage – Time
                                       Element Coverage:
                                       The Insurer will not pay for any loss of business income or research and development business income
                                       or extra expense incurred for any one occurrence until the amount of loss or expense incurred exceeds the
                                       applicable Deductible or until the length of the suspension or delay of operations exceeds the applicable
                                       Qualifying Period shown in the Business Property Schedule of Locations.
                                       If a Deductible applies, then the Insurer will pay the amount of actual business income or research and
                                       development business income loss or extra expense incurred in excess of the applicable Deductible, up to
                                       the applicable Limits of Insurance.
                                       If a qualifying period applies and the qualifying period is exceeded, then the Insurer will pay for covered
                                       loss and expense, calculated as of the time of such suspension or delay in operations, in excess of the

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            applicable Property Deductible shown in the Business Property Schedule of Locations, unless a more
            specific time element coverage deductible is shown.
       3.   However, to the extent the covered Utility Supply Failure loss, damage or expense is caused by or resulting
            from covered:
            i.   flood, the total amount payable for all loss, damage or expense under this ADDITIONAL COVERAGE is
                 included within, and not in addition to, the applicable Flood Limit of Insurance.
            ii. earthquake, the total amount payable for all loss, damage or expense under this ADDITIONAL
                COVERAGE is included within, and not in addition to, the applicable Earthquake Limit of Insurance.

       4.   This ADDITIONAL COVERAGE does not apply to loss, damage or expense caused by physical loss of or
            damage to satellites or any other orbiting equipment.
       5.   The Utility Services Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
            the coverage provided under this ADDITIONAL COVERAGE.

IV. ADDITIONAL COVERAGE BASKET
   The following coverages are part of the ADDITIONAL COVERAGE BASKET. At the time of loss or damage, the
   Named Insured may elect to apportion the Limit of Insurance to one or any combination of the coverages included in
   this ADDITIONAL COVERAGE BASKET. However, the most the Insurer will pay at any one location or reported
   unscheduled location for any one occurrence for the total of all loss or damage from the coverages included in this
   ADDITIONAL COVERAGE BASKET is the Limit of Insurance as shown in the Business Property Schedule of
   Coverages and Limits. If a different ADDITIONAL COVERAGE BASKET Limit of Insurance is shown at a location
   in the Business Property Schedule of Locations, that Limit replaces, and is not in addition to, the ADDITIONAL
   COVERAGE BASKET Limit of Insurance shown in the Business Property Schedule of Coverages and Limits for
   that location. If the ADDITIONAL COVERAGE BASKET does not apply at a specific location, the ADDITIONAL
   COVERAGE BASKET will show as Not Covered for that location.
   A. Accounts Receivable Coverage
       1.   The Insurer will pay for direct physical loss of or damage to records of accounts receivable at a location or
            reported unspecified location directly caused by a covered peril.
       2.   This Accounts Receivable Coverage does not apply with respect to any claim for loss, damage, cost or
            expense that requires any audit of any records or inventory computation to prove its factual existence.
       3.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
            Perils under the EXCLUSIONS section do not apply with respect to Accounts Receivable Coverage.
   B. Fine Arts Coverage
       1.   The Insurer will pay for direct physical loss of or damage to fine arts at a location or reported unspecified
            location directly caused by a covered peril.
       2.   Subject to the ADDITIONAL COVERAGE BASKET Limit of Insurance, the most the Insurer will pay for any
            one item for any one occurrence under this Fine Arts Coverage is $100,000.
       3.   The Contaminants or Pollutants and the Utility Services Excluded Perils under the EXCLUSIONS section
            do not apply with respect to Fine Arts Coverage.

   C. Fire Department Service Charge Coverage
       The Insurer will pay for the Named Insured’s liability for the following fire department service charges if incurred
       to save or protect covered property at a location or reported unspecified location from a covered peril:
       1.   charges assumed by written contract or written agreement prior to loss; or
       2.   charges required by local ordinance.

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                                No deductible applies to this Fire Department Service Charge Coverage.
                             D. Lessee Leasehold Interest Coverage
                                When the Named Insured's written lease is cancelled by the lessor in accordance with a valid condition of that
                                lease and such cancellation is due to direct physical loss of or damage to property at a location or reported
                                unspecified location directly caused by a covered peril, the Insurer will pay for the loss of:
                                1.   the value of the Named Insured’s leasehold interest in the unamortized portion of payments made by the
                                     Named Insured for the undamaged portion of the tenant’s improvements and betterments;

                                2.   monthly leasehold interest of the bonus payment or prepaid rent;

                                3.   sublease profit;

                                4.   equipment data processing equipment leasehold values; and

                                5. net leasehold interest of tenant's lease interest.

                             E. Lost Key Replacement Coverage
                                The Insurer will pay for the reasonable and necessary cost of:
                                1.   replacing the master key and individual lock keys, including the cost to program the new locks if keys to that
                                     location or reported unspecified location are stolen; or
                                2.   entry lock repair or replacement, including the cost to rekey or reprogram locks, made necessary by theft or
                                     attempted theft at that location or reported unspecified location.
                             F. Non Owned Detached Trailers Coverage
                                The Insurer will pay for direct physical loss of or damage to trailers that the Named Insured does not own at a
                                location or reported unspecified location directly caused by a covered peril, provided that:
                                1.   the trailer is used in the Named Insured’s business;
                                2.   the trailer is in the Named Insured’s care, custody or control; and
                                3.   the Named Insured is obligated by a written contract in effect at the time of loss or damage to pay for such
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                                     loss or damage to that trailer.
                                The Insurer will not pay for any loss or damage that occurs:
                                a.   while the trailer is attached to any motor vehicle or motorized conveyance, whether or not the motor vehicle
                                     or motorized conveyance is in motion;
                                b. during hitching or unhitching operations; or
                                c.   when a trailer becomes accidentally unhitched from a motor vehicle or motorized conveyance.

                             G. Recharge of Fire Protection Equipment Coverage
                                The Insurer will pay expenses the Named Insured incurs to recharge automatic fire protection equipment due to
                                the leakage or discharge of the fire suppressant within the automatic fire protection equipment. The insurance
                                provided under this coverage applies regardless of how the discharge or leakage is caused. However, if the
                                leakage or discharge is caused by or results from covered loss or damage, no deductible applies.

                             H. Restoration of Media Coverage

                                1.   The Insurer will pay for the direct physical loss of or damage to media at a location or reported unspecified
                                     location directly caused by a covered peril.
                                2.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
                                     Perils under the EXCLUSIONS section do not apply with respect to this Restoration of Media Coverage.

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   I.   Reward Payments Coverage
        In the event of direct physical loss of or damage to insured property caused by arson, theft or vandalism, the
        Insurer will reimburse the Named Insured for amounts it pays for information leading to the conviction of any
        persons responsible for such arson, theft or vandalism. The reward payments must be documented.
        However, there is no coverage for a reward payment made to the Named Insured or executive officers.
        No deductible applies to this Reward Payments Coverage.

V. EXCLUSIONS
   The Excluded Perils shown in Paragraphs A. B. C. and D. below apply to all LOCATION COVERAGES, OFF-SITE
   COVERAGES, ADDITIONAL COVERAGES and ADDITIONAL COVERAGE BASKET coverages under the
   coverage part unless otherwise stated.
   A. Excluded Perils Subject to Concurrent Causation Provisions
        With respect to the excluded perils below, the Insurer will not pay for loss of or damage to property directly or
        indirectly caused by or resulting from the following causes of loss or events: Biological or Chemical Materials;
        Earth Movement; Electronic Vandalism; Flood; Fungi, Wet Rot, Dry Rot and Microbes; Governmental
        Action; Nuclear Hazard; Utility Services; and War and Military Action, regardless of: the causes of such
        excluded causes or events; other causes of such loss; any other cause or event, whether or not insured under the
        coverage part, which may have contributed concurrently, or in any sequence, to produce such loss even if such
        other cause or event would otherwise be covered; and whether the event occurred suddenly or gradually,
        involved isolated or widespread damage, arose from natural or external sources or acts or omissions, or occurred
        as a result of any combination of any such causes or events.
        1.   Biological or Chemical Materials
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the actual or
             threatened discharge, dispersal, seepage, migration, release, escape or application of any pathogenic or
             poisonous biological or chemical materials.
        2.   Earth Movement
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from earth movement.
             However, if earth movement results in fire, explosion or theft, the Insurer will pay for that portion of the loss
             which was solely caused by such fire, explosion or theft.
        3.   Electronic Vandalism
             The Insurer will not pay for loss or damage caused by or resulting from electronic vandalism.
        4.   Flood
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from flood. However, if
             flood results in fire, explosion, sprinkler leakage or theft, the Insurer will pay for that portion of the loss which
             was solely caused by such fire, explosion, sprinkler leakage or theft.
        5.   Fungi, Wet Rot, Dry Rot and Microbes
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the presence,
             growth, proliferation, spread or any activity of fungi, wet or dry rot, or microbes. However, this exclusion
             does not apply when fungi, wet or dry rot, or microbes results from fire or lightning.
        6.   Governmental Action

             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from seizure,
             destruction, demolition, expropriation, condemnation, confiscation or nationalization of property by, on behalf
             of or at the direction of any governmental authority.


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                                     However, this exclusion does not apply to seizure or acts of destruction ordered by governmental or military
                                     authority and taken at the time of a fire to prevent its spread.
                                7.   Nuclear Hazard
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from nuclear reaction
                                     or radiation, or radioactive contamination, however caused. However, if nuclear reaction or radiation, or
                                     radioactive contamination results in fire, the Insurer will pay for that portion of the loss which was solely
                                     caused by such fire.
                                8.   Utility Services
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the failure
                                     (including lack of sufficient capacity and reduction in supply) of power, fuel, sewage treatment, internet or
                                     other communication service, or any other utility service supplied to a covered premises, if the failure occurs
                                     away from the premises.
                                     However, if such failure results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                     solely caused by such covered peril.
                                     This exclusion does not apply to electronic data processing equipment.
                                9.   War and Military Action
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from:
                                     a.   war (whether declared or undeclared); civil war or warlike action by a military force; or
                                     b. insurrection, rebellion, revolution, military or usurped power by governmental or military personnel.
                             B. Other Excluded Perils
                                1.   Adulteration or Contamination

                                     The Insurer will not pay for loss or damage caused by or resulting from adulteration or contamination to stock
                                     which causes the stock to become diminished in value or use, including but not limited to diminished value or
                                     use due to change in color, finish, flavor, size or texture. This exclusion applies unless the adulteration or
                                     contamination is itself caused by a specified peril, other than the equipment breakdown peril.
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                                     However, if the adulteration or contamination to stock results in a covered peril, the Insurer will pay for that
                                     portion of the loss or damage solely caused by such covered peril.
                                2.   Alteration, Falsification, Concealment or Destruction

                                     The Insurer will not pay for loss or damage caused by or resulting from alteration, falsification, concealment
                                     or destruction of records of accounts receivable or media done to conceal the wrongful giving, taking or
                                     withholding of money, securities or other property.
                                3.   Bookkeeping, Accounting or Billing Errors or Omissions
                                     The Insurer will not pay for loss of or damage to media or records of accounts receivable caused by or
                                     resulting from bookkeeping, accounting or billing errors or omissions.
                                4.   Collective Activities
                                     The Insurer will not pay for loss of business income or research and development business income
                                     caused by or resulting from delay in rebuilding, repairing or replacing property or resuming operations due to
                                     strikes, boycotts, picketing, lockouts or other such collective activities.
                                5.   Contaminants or Pollutants
                                     The Insurer will not pay for loss or damage caused by or resulting from discharge, dispersal, seepage,
                                     migration, release or escape of contaminants or pollutants. This exclusion applies unless the discharge,



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           dispersal, seepage, migration, release or escape of contaminants or pollutants is itself caused by a
           specified peril.
           However, if the discharge, dispersal, seepage, migration, release or escape of contaminants or pollutants
           results in a specified peril, the Insurer will pay for that portion of the loss or damage solely caused by such
           specified peril.
           This exclusion does not apply:
           a.   to damage to glass caused by chemicals applied to the glass; or
           b. to electronic data processing equipment.
      6.   Delay, Loss of Use or Loss of Market
           The Insurer will not pay for loss or damage caused by or resulting from delay, loss of use or loss of market.
      7.   Dishonest or Criminal Acts
           The Insurer will not pay for loss or damage caused by or resulting from any dishonest, fraudulent or criminal
           acts committed alone or in collusion with others by the Named Insured, executive officers, the Named
           Insured's employees (including leased or temporary employees) or authorized representatives or anyone to
           whom the Named Insured entrusts the property for any purpose, regardless of whether or not such activity
           takes place during hours of operation.
           This exclusion does not apply to:
           a.   acts of destruction by an employee (including leased or temporary employee) of the Named Insured; or
           b. acts committed by a carrier or other bailee for hire.
      8.   Errors, Defects or Failures
           The Insurer will not pay for any:
           a.   loss or damage, including the costs of correcting or making good, caused by or resulting from:
                i)   an act or decision or error or omission in or faulty or defective:
                     (1) design, specification, workmanship, repair, construction, renovation, remodeling, grading or
                         compaction of;
                     (2) processing of, manufacturing of or materials used in;
                     (3) planning, zoning, development surveying or siting; or
                     (4) materials used in repair, construction, renovation or remodeling of; or
                ii) insufficient maintenance or servicing, or the failure to maintain or service,
                any part, or all, of the property on or off a premises.
           b. loss or damage caused by or resulting from the misalignment, miscalibration, operation of any safety
              device or going off-line or any condition which can be corrected by resetting, tightening, adjusting,
              cleaning or performing maintenance on property.
           However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that loss or
           damage solely caused by such covered peril.
      9.   Finished Stock or Merchandise
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from:
           a.   loss or damage to finished stock or to merchandise which has been sold but not delivered; or
           b. the time required to reproduce finished stock or replace merchandise.

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                                10. Inherent Vice/Latent Defect
                                    The Insurer will not pay for loss or damage caused by or resulting from:
                                    a.   wear and tear;
                                    b. rust or other corrosion or decay;
                                    c.   gradual deterioration, hidden or latent defect or any quality in property that causes it to damage or
                                         destroy itself;
                                    d. nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents
                                       or other animals;
                                    f.   smog;
                                    g. marring or scratching; or
                                    h. inherent vice.
                                    This exclusion applies unless one of these Excluded Perils is itself caused by a specified peril.
                                    However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that portion of the
                                    loss or damage solely caused by such covered peril.
                                11. Mysterious Disappearance
                                    The Insurer will not pay for loss or damage caused by or resulting from disappearance of property or shortage
                                    of property disclosed on taking inventory, where there is no physical evidence to show what happened to the
                                    property.
                                    However, if such disappearance or shortage results in a covered peril, the Insurer will pay for that portion of
                                    the loss or damage solely caused by such covered peril.
                                    This exclusion does not apply to property in the custody of carriers or other bailees for hire.
                                12. Precipitation
                                    The Insurer will not pay for loss or damage caused by or resulting from hail, ice, rain, sleet or snow to
                                    personal property in the open, other than property in the custody of carriers for hire.
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                                13. Pressure or Electrical Testing
                                    The Insurer will not pay for loss of or damage to machinery or equipment while undergoing electrical or
                                    pressure testing.
                                    However, if such testing results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                    solely caused by such covered peril.
                                14. Programming Errors or Defects
                                    The Insurer will not pay for loss of or damage to electronic data processing equipment, media or records
                                    of accounts receivable caused by or resulting from:
                                    a.   programming errors or faulty instructions to a machine; or
                                    b. other errors or omissions in processing or copying.
                                    However, if such errors, omissions or faulty instructions result in a covered peril, the Insurer will pay for that
                                    portion of the loss or damage solely caused by such covered peril.
                                15. Repair, Restoration or Retouching
                                    The Insurer will not pay for loss of or damage to fine arts caused by or resulting from any repairing,
                                    restoration or retouching process.


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      16. Settling and Cracking
           The Insurer will not pay for loss or damage caused by or resulting from naturally occurring or man-made
           bulging, cracking, expansion, shrinkage or settling of land, paved or concrete surfaces, foundations, pools or
           buildings, including soil or fill adjacent to such property. This exclusion applies unless the bulging, cracking,
           expansion, shrinkage or settling is itself caused by a specified peril.
           However, if such bulging, cracking, expansion, shrinkage or settling results in a covered peril, the Insurer will
           pay for that portion of the loss or damage solely caused by such covered peril.
      17. Suspended Equipment
           The Insurer will not pay for loss or damage caused by or resulting from an equipment breakdown peril to
           suspended equipment.
           However, if such Excluded Peril results in a covered peril, the Insurer will pay for that portion of the loss or
           damage solely caused by such covered peril.
      18. Suspension, Lapse or Cancellation
           The Insurer will not pay for any:
           a.   loss of business income or extra expense caused by or resulting from suspension, lapse or
                cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay in
                     operations;
                ii. the loss of business income is sustained during the period of restoration or extended indemnity
                    period; and
                iii. the extra expense is incurred during the period of restoration.
           b. loss of research and development business income caused by or resulting from suspension, lapse or
              cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay of the
                     Named Insured's research and development projects in process; and
                ii. the loss of research and development business income is sustained during the period of
                    restoration.
      19. Temperature or Humidity Conditions
           The Insurer will not pay for loss of or damage to personal property caused by or resulting from the loss of or
           change in temperature, humidity or atmosphere, whether inside or outside of a building and whether or not
           artificially maintained or generated. This exclusion applies unless such change in temperature, humidity or
           atmosphere is itself caused by a specified peril, other than an equipment breakdown peril.
           However, if such loss of or change in temperature, humidity or atmosphere results in a covered peril, the
           Insurer will pay for that portion of the loss or damage solely caused by such covered peril.
           This exclusion does not apply to electronic data processing hardware.
   C. Limitations
      1.   Trees, Shrubs, Plants or Lawns
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from loss of or damage to outdoor trees, shrubs, plants or lawns unless such loss or
           damage is directly caused by fire, lightning, explosion, riot or civil commotion, vehicles or aircraft.




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                                2.   Vegetated Roofs
                                     The Insurer will not pay for loss of or damage to trees, shrubs, plants, grass, lawns or other landscaping
                                     materials which are part of a vegetated roof caused by or resulting from:
                                     a.   dampness or dryness of atmosphere or soil supporting the vegetation;
                                     b. changes in or extremes of temperature;
                                     c.   disease; or
                                     d. frost, hail, rain, snow, ice or sleet.
                             D. Excluded Fees, Costs and Expenses
                                1.   Excavation, Grading or Filling Costs
                                     The Insurer will not pay fees, costs or expenses for:
                                     a.   excavations, grading, backfilling or filling, unless such cost is necessarily incurred to investigate, repair or
                                          replace insured property below the surface of the ground; or
                                     b. filling sinkholes.
                                2.   Volcanic Eruption
                                     The Insurer will not pay fees, costs or expenses to remove ash, dust or particulate matter, following a
                                     volcanic eruption that does not cause loss of or damage to covered property.

                          VI. LIMITS OF INSURANCE / INDEMNITY PERIOD / DEDUCTIBLE / QUALIFYING PERIOD
                             A. Limits of Insurance
                                The Limits of Insurance applicable to each coverage agreement are shown in the Business Property Schedule
                                of Coverages and Limits or the Business Property Schedule of Locations.
                             B. Special Limits
                                The Limit of Insurance applicable for any one occurrence for loss or damage due to theft is $10,000 for:
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                                1.   furs, fur garments and garments trimmed with fur;
                                2.   jewelry, watches, watch movements, jewels, pearls, precious and semi-precious stones; and
                                3.   bullion, gold, silver, platinum and other precious alloys or metals.
                                This Limit is included within, and not in addition to, the applicable Personal Property Coverage Limit of
                                Insurance.
                             C. Maximum Period of Indemnity
                                If the Business Property Schedule of Locations displays a Maximum Period of Indemnity, the most the
                                Insurer will pay for loss of business income is the lesser of:
                                1.   the amount of covered business income during the 120 consecutive days immediately following the
                                     beginning of the period of restoration; or
                                2.   the applicable Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                     Locations.
                             D. Monthly Limit of Indemnity
                                If the Business Property Schedule of Locations displays a Monthly Limit of Indemnity fraction, the most the
                                Insurer will pay for loss of business income in any one period of 30 consecutive days after the beginning of the
                                period of restoration is:


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                                                                                          CNA PARAMOUNT
                                                                             Business Property Coverage Part

      1.   the Limit of Insurance, multiplied by
      2.   the Monthly Limit of Indemnity fraction shown in the Business Property Schedule of Locations for Monthly
           Limit of Indemnity.
   E. Inflation Guard
      If the Business Property Schedule of Locations displays an inflation guard percentage, the Limit of Insurance
      for insured property will automatically increase as follows:
      1.   the applicable Limit of Insurance; multiplied by
      2.   the Inflation Guard percentage shown on the Business Property Schedule of Locations; multiplied by
      3.   the number of consecutive days since the beginning of the annual policy period, or the effective date of the
           most recent Policy change amending the Limit of Insurance, divided by 365.
   F. Deductibles and Qualifying Periods
      1.   The Insurer will not pay any amounts due under the terms and conditions of the coverage part until the
           amount of covered loss, damage, cost or expense for any one occurrence exceeds the Property Deductible
           shown in the Business Property Schedule of Locations, unless specific coverage deductibles are shown in
           the Business Property Schedule of Locations or an endorsement. The Insurer will then pay the amount of
           loss, damage, cost or expense in excess of the Deductible, up to the applicable Limits of Insurance.
      2.   If a Qualifying Period is shown in the Business Property Schedule of Locations, then the qualifying
           period will apply to all business income and research and development business income coverages. The
           Insurer will not pay for any loss of business income or research and development business income for
           any one occurrence until the suspension or delay of operations exceeds the qualifying period. If the
           qualifying period is exceeded, then the Insurer will pay the amount of covered business income or
           research and development business income loss, calculated as of the time and date of such loss, in
           excess of the applicable Property Deductible shown in the Business Property Schedule of Locations,
           unless a more specific time element coverage deductible is shown. If Business Income and Extra
           Expense Coverage applies, then extra expense is subject to the deductible or qualifying period applicable
           to business income.
      3.   A covered loss occurring at unspecified locations, reported unspecified locations or other premises not
           shown on the Business Property Schedule of Locations will be subject to the Deductibles and Qualifying
           Periods applicable for the first location shown in the Business Property Schedule of Locations, unless
           specific coverage deductibles are shown in the Business Property Schedule of Locations or an
           endorsement.
      4.   Unless otherwise stated in the coverage part or endorsement, if more than one monetary deductible applies,
           the Insurer will apply each deductible separately, but the total of all deductibles applied for any one
           occurrence will not exceed the highest applicable monetary deductible for loss or damage to covered
           property plus the highest applicable monetary deductible for loss under time element coverage.
      5.   Loss or damage caused by earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or
           hail may be subject to separate deductible amounts. The Business Property Schedule of Locations, or
           applicable endorsement, will identify the locations or reported unspecified locations subject to such
           deductibles and the applicable deductible amount. That Deductible will apply to all coverages that respond to
           that covered loss, including covered time element coverage loss. Qualifying periods do not apply to
           covered loss or expense from earthquake, earthquake sprinkler leakage, flood, named storm or windstorm
           or hail when there is a separate monetary deductible amount applicable.
           For purposes of calculating the deductible for those perils, the Insurer will use the applicable Limit of
           Insurance shown in the Business Property Schedule of Coverages and Limits, the Business Property
           Schedule of Location or any endorsement attached to this Policy for that specific coverage, or the actual



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                                                                                                                   CNA PARAMOUNT
                                                                                                     Business Property Coverage Part

                                    amount of loss, damage, cost or expense for that coverage, whichever is less, towards satisfying that
                                    Deductible.
                                    With respect to earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or hail
                                    deductibles, if there are two or more deductibles that are applicable from other covered perils in the same
                                    occurrence, the Insurer will apply each deductible separately. When those Deductibles are shown in the
                                    Business Property Schedule of Coverages and Limits, the Business Property Schedule of Locations or
                                    any endorsement:
                                    a.   at that specific location or reported unspecified location, the total of all monetary deductible amounts
                                         applied for any one occurrence will not exceed the single highest applicable Deductible shown for that
                                         location or reported unspecified location. If more than one location or reported unspecified location
                                         is involved in the same occurrence, the Insurer will apply those Deductibles for each location and
                                         reported unspecified location separately, subject to the single highest applicable Deductible for each
                                         location and each reported unspecified location.
                                    b. on a per occurrence basis for multiple locations or reported unspecified locations, the total of all
                                       monetary deductible amounts applied for any one occurrence will not exceed the single highest
                                       applicable Deductible.
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                                                                                                                          CNA PARAMOUNT
                                                                             Equipment Breakdown Exclusion Endorsement

                          It is understood and agreed as follows:

                          I.      The following are added to Other Excluded Perils, in the EXCLUSIONS section of the Business Property
                                  Coverage Part:

                                  •        Electrical Injury

                                           The Insurer will not pay for loss or damage caused by or resulting from artificially generated electrical
                                           current, including electrical arcing, that damages or disturbs electrical devices, wiring or equipment. But,
                                           if such artificially generated electrical current or electrical arcing results in a covered peril, the Insurer
                                           will pay for that portion of the loss or damage solely caused by such covered peril.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                  •        Explosion or Rupture

                                           The Insurer will not pay for:

                                           a.       Loss or damage caused by or resulting from an explosion, rupture, or bursting of steam boilers,
                                                    steam pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming
                                                    a part thereof, when owned, operated, or controlled by the Named Insured; except for explosion
                                                    of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
                                                    within the flues or passages through which the gases of combustion pass.

                                                    But if a result of one of these excluded perils is fire or a combustion explosion, the Insurer will
                                                    pay that portion of the loss or damage solely caused by that fire or combustion explosion.


                                           b.       Loss or damage caused by or resulting from any condition or event inside steam boilers, steam
                                                    pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming a part
                                                    thereof, when owned, operated, or controlled by the Named Insured; except for explosion of
                                                    accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
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                                                    within the flues or passages through which the gases of combustion pass.


                                           c.       Loss or damage caused by or resulting from any condition or event, other than an explosion,
                                                    inside hot water boilers, other water heating equipment other than steam engines, or pressure
                                                    vessels when owned, operated, or controlled by the Named Insured.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                  •        Mechanical Breakdown

                                           The Insurer will not pay for loss or damage caused by or resulting from mechanical or machinery
                                           breakdown, including rupture or bursting caused by or resulting from centrifugal force, of property owned,
                                           operated, or controlled by the Named Insured. But if a result of the mechanical or machinery breakdown
                                           is a covered peril, the Insurer will pay for that portion of the loss or damage solely caused by such
                                           covered peril.



                          CNA81067XX (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       2
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000762
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                                                                                               CNA PARAMOUNT
                                                   Equipment Breakdown Exclusion Endorsement

                  This exclusion does not apply to electronic data processing equipment, media or records of
                  accounts receivable.

II.       The following change applies to the ADDITIONAL COVERAGES section of the Business Property Coverage
          Part:

          The Equipment Breakdown – Spoilage Coverage is deleted.

III.      Paragraph I. of the specified peril definition in the First Party Glossary of Defined Terms is deleted.



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA81067XX (10-15)                                                                           Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:       2
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000763
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POLICY NUMBER
    Case:                  INSURED
          1:23-cv-04098 Document #: NAME
                                    142-7AND  ADDRESS
                                          Filed: 01/28/25 Page 564 of 1498 PageID #:16824
C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                         INLAND MARINE LOCATION SUMMARY OF COVERAGES




LOCATION      1   BUILDING    1

12A MAPLE AVE
PINE BROOK                        NJ   07058

Building Description:

LOCATION/BUILDING COVERAGES

Valuable Papers
  - Valuable Papers Schedule - Non-Reporting - G55231
  - Valuable Papers and Records Coverage Form - CM0067




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    Case:                  INSURED
          1:23-cv-04098 Document #: NAME
                                    142-7AND  ADDRESS
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C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                             INLAND MARINE LOSS PAYEE SCHEDULE

All loss payees as their interests may appear in the Covered Property.

The following provisions apply in accordance with the insurable interest of the loss
payee: Loss Payable, Lender's Loss Payable, or Contract of Sale.

Description of Property: Any Covered Property in which a loss payee, creditor or lender
holds an interest, including any person or organization you have entered a contract with
for the sale of the Covered Propery.




                                                             Countersignature




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                                                                                                                   COMMERCIAL INLAND MARINE
                                                                                                                                CM 00 01 09 04

                                          COMMERCIAL INLAND MARINE CONDITIONS
                          The following conditions apply in addition to the                     6.   As often as may be reasonably required, permit
                          Common Policy Conditions and applicable Additional                         us to inspect the property proving the loss or
                          Conditions in Commercial Inland Marine Coverage                            damage and examine your books and records.
                          Forms:                                                                     Also permit us to take samples of damaged and
                          LOSS CONDITIONS                                                            undamaged property for inspection, testing and
                          A. Abandonment                                                             analysis, and permit us to make copies from
                                                                                                     your books and records.
                             There can be no abandonment of any property to us.
                                                                                                7.   We may examine any insured under oath, while
                          B. Appraisal                                                               not in the presence of any other insured and at
                              If we and you disagree on the value of the property                    such times as may be reasonably required,
                              or the amount of loss, either may make written                         about any matter relating to this insurance or the
                              demand for an appraisal of the loss. In this event,                    claim, including an insured's books and records.
                              each party will select a competent and impartial                       In the event of an examination, an insured's
                              appraiser. The two appraisers will select an umpire.                   answers must be signed.
                              If they cannot agree, either may request that                     8.   Send us a signed, sworn proof of loss
                              selection be made by a judge of a court having                         containing the information we request to settle
                              jurisdiction. The appraisers will state separately the                 the claim. You must do this within 60 days after
                              value of the property and amount of loss. If they fail                 our request. We will supply you with the
                              to agree, they will submit their differences to the                    necessary forms.
                              umpire. A decision agreed to by any two will be
                              binding. Each party will:                                         9.   Immediately send us copies of any demands,
                                                                                                     notices, summonses or legal papers received in
                              1. Pay its chosen appraiser; and                                       connection with the claim or suit.
                              2.   Bear the other expenses of the appraisal and                10. Cooperate with us in the investigation or
                                   umpire equally.                                                 settlement of the claim.
                             If there is an appraisal, we will still retain our right to    D. Insurance Under Two Or More Coverages
                             deny the claim.
                                                                                               If two or more of this policy's coverages apply to the
                          C. Duties In The Event Of Loss                                       same loss or damage, we will not pay more than the
                              You must see that the following are done in the                  actual amount of the loss or damage.
                              event of loss or damage to Covered Property:                  E. Loss Payment
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                              1. Notify the police if a law may have been broken.               1.   We will give notice of our intentions within 30
                              2.   Give us prompt notice of the loss or damage.                      days after we receive the sworn proof of loss.
                                   Include a description of the property involved.              2.   We will not pay you more than your financial
                              3.   As soon as possible, give us a description of                     interest in the Covered Property.
                                   how, when and where the loss or damage                       3.   We may adjust losses with the owners of lost or
                                   occurred.                                                         damaged property if other than you. If we pay
                              4.   Take all reasonable steps to protect the                          the owners, such payments will satisfy your
                                   Covered Property from further damage, and                         claim against us for the owners' property. We
                                   keep a record of your expenses necessary to                       will not pay the owners more than their financial
                                   protect the Covered Property, for consideration                   interest in the Covered Property.
                                   in the settlement of the claim. This will not                4.   We may elect to defend you against suits
                                   increase the Limit of Insurance. However, we                      arising from claims of owners of property. We
                                   will not pay for any subsequent loss or damage                    will do this at our expense.
                                   resulting from a cause of loss that is not a
                                   Covered Cause of Loss. Also, if feasible, set the            5.   We will pay for covered loss or damage within
                                   damaged property aside and in the best                            30 days after we receive the sworn proof of loss
                                   possible order for examination.                                   if you have complied with all the terms of this
                                                                                                     Coverage Part and:
                              5.   You will not, except at your own cost, voluntarily
                                   make a payment, assume any obligation, or
                                   incur any expense without our consent.



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           a.   We have reached agreement with you on               necessary to secure our rights and must do nothing
                the amount of the loss; or                          after loss to impair them. But you may waive your
           b. An appraisal award has been made.                     rights against another party in writing:
      6.
      We will not be liable for any part of a loss that             1. Prior to a loss to your Covered Property.
      has been paid or made good by others.                         2.   After a loss to your Covered Property only if, at
F. Other Insurance                                                       time of loss, that party is one of the following:
      1.   You may have other insurance subject to the                   a. Someone insured by this insurance; or
           same plan, terms, conditions and provisions as                b. A business firm:
           the insurance under this Coverage Part. If you                   (1) Owned or controlled by you; or
           do, we will pay our share of the covered loss or
           damage. Our share is the proportion that the                      (2) That owns or controls you.
           applicable Limit of Insurance under this                This will not restrict your insurance.
           Coverage Part bears to the Limits of Insurance
                                                                GENERAL CONDITIONS
           of all insurance covering on the same basis.
                                                                A. Concealment, Misrepresentation Or Fraud
      2.
       If there is other insurance covering the same
       loss or damage, other than that described in 1.              This Coverage Part is void in any case of fraud,
       above, we will pay only for the amount of                    intentional concealment or misrepresentation of a
       covered loss or damage in excess of the                      material fact, by you or any other insured, at any
       amount due from that other insurance, whether                time, concerning:
       you can collect on it or not. But we will not pay            1. This Coverage Part;
       more than the applicable Limit of Insurance.
                                                                    2.   The Covered Property;
G. Pair, Sets Or Parts
                                                                    3.   Your interest in the Covered Property; or
      1.   Pair Or Set
                                                                    4.A claim under this Coverage Part.
           In case of loss or damage to any part of a pair
           or set we may:                                       B. Control Of Property
           a. Repair or replace any part to restore the             Any act or neglect of any person other than you
               pair or set to its value before the loss or          beyond your direction or control will not affect this
               damage; or                                           insurance.
           b. Pay the difference between the value of the          The breach of any condition of this Coverage Part at
               pair or set before and after the loss or            any one or more locations will not affect coverage at
               damage.                                             any location where, at the time of loss or damage,
                                                                   the breach of condition does not exist.
      2.   Parts
                                                                C. Legal Action Against Us
      In case of loss or damage to any part of
      Covered Property consisting of several parts                 No one may bring a legal action against us under
      when complete, we will only pay for the value of             this Coverage Part unless:
      the lost or damaged part.                                    1. There has been full compliance with all the
H. Recovered Property                                                   terms of this Coverage Part; and
      If either you or we recover any property after loss          2. The action is brought within 2 years after you
      settlement, that party must give the other prompt                 first have knowledge of the direct loss or
      notice. At your option, the property will be returned             damage.
      to you. You must then return to us the amount we          D. No Benefit To Bailee
      paid to you for the property. We will pay recovery           No person or organization, other than you, having
      expenses and the expenses to repair the recovered            custody of Covered Property will benefit from this
      property, subject to the Limit of Insurance.                 insurance.
I.    Reinstatement Of Limit After Loss                         E. Policy Period, Coverage Territory
      The Limit of Insurance will not be reduced by the             We cover loss or damage commencing:
      payment of any claim, except for total loss or
      damage of a scheduled item, in which event we will            1. During the policy period shown                in   the
      refund the unearned premium on that item.                        Declarations; and
J.    Transfer Of Rights Of Recovery Against Others                 2. Within the coverage territory.
      To Us                                                     F. Valuation
      If any person or organization to or for whom we               The value of property will be the least of the
      make payment under this Coverage Part has rights              following amounts:
      to recover damages from another, those rights are             1. The actual cash value of that property;
      transferred to us to the extent of our payment. That
      person or organization must do everything
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                             2.   The cost of reasonably restoring that property to         3.   The cost of replacing that property with
                                  its condition immediately before loss or damage;               substantially identical property.
                                  or                                                        In the event of loss or damage, the value of property
                                                                                            will be determined as of the time of loss or damage.
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                                                                                                                 COMMERCIAL INLAND MARINE
                                                                                                                              CM 00 67 03 10

                              VALUABLE PAPERS AND RECORDS COVERAGE FORM
                          Various provisions in this policy restrict coverage. Read             b. We will pay for direct physical loss or damage
                          the entire policy carefully to determine rights, duties and               to Covered Property, caused by abrupt
                          what is and is not covered.                                               collapse of a building or any part of a building
                          Throughout this policy, the words "you" and "your" refer                  that contains Covered Property insured under
                          to the Named Insured shown in the Declarations. The                       this coverage form, if such collapse is caused
                          words "we," "us" and "our" refer to the Company                           by one or more of the following:
                          providing this insurance.                                                (1) Building decay that is hidden from view,
                          Other words and phrases that appear in quotation marks                        unless the presence of such decay is
                          have special meaning. Refer to Section F – Definitions.                       known to an insured prior to collapse;
                          A. Coverage                                                              (2) Insect or vermin damage that is hidden
                                                                                                        from view, unless the presence of such
                             We will pay for direct physical loss of or damage to                       damage is known to an insured prior to
                             Covered Property from any of the Covered Causes of                         collapse;
                             Loss.
                                                                                                   (3) Use of defective material or methods in
                             1. Covered Property, as used in this coverage form,                        construction, remodeling or renovation if
                                means "valuable papers and records" that are                            the abrupt collapse occurs during the
                                your property or property of others in your care,                       course of the construction, remodeling or
                                custody or control.                                                     renovation.
                             2. Property Not Covered                                               (4) Use of defective material or methods in
                                Covered Property does not include:                                      construction, remodeling or renovation if
                                                                                                        the abrupt collapse occurs after the
                                a. Property not specifically declared and
                                                                                                        construction, remodeling or renovation is
                                   described in the Declarations if such property
                                                                                                        complete, but only if the collapse is
                                   cannot be replaced with other property of like
                                                                                                        caused in part by:
                                   kind and quality;
                                                                                                       (a) A cause of loss listed in Paragraph (1)
                                b. Property held as samples or for delivery after
                                                                                                            or (2);
                                   sale;
                                                                                                      (b) One or more of the following causes of
                                c. Property in storage away from the "premises"
                                                                                                          loss: Fire; lightning; windstorm; hail;
                                   shown in the Declarations; or
                                                                                                          explosion; smoke; aircraft; vehicles;
                                d. Contraband, or property in the course of                               riot; civil commotion; vandalism;
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                                   illegal transportation or trade.                                       leakage from fire extinguishing
                             3. Covered Causes Of Loss                                                    equipment; sinkhole collapse; volcanic
                                                                                                          action; breakage of building glass;
                                Covered Causes of Loss means Direct Physical                              falling objects; weight of snow, ice or
                                Loss Or Damage to Covered Property except                                 sleet; water damage; earthquake; all
                                those causes of loss listed in the Exclusions.                            only as insured against in this
                             4. Additional Coverage – Collapse                                            coverage form;
                                 The coverage provided under this Additional                          (c) Weight of people or personal property;
                                 Coverage – Collapse applies only to an abrupt                            or
                                 collapse as described and limited in Paragraphs                      (d) Weight of rain that collects on a roof.
                                 a. through c.
                                                                                                c. This Additional Coverage – Collapse will not
                                 a. For the purpose of this Additional Coverage –                  increase the Limits of Insurance provided in
                                    Collapse, abrupt collapse means an abrupt                      this coverage form.
                                    falling down or caving in of a building or any
                                    part of a building with the result that the
                                    building or part of the building cannot be
                                    occupied for its intended purpose.




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   5. Coverage Extensions                                               (2) Warlike action by a military force, including
      a. Removal                                                             action in hindering or defending against an
                                                                             actual or expected attack, by any
          If you give us written notice within 10 days of                    government, sovereign or other authority
          removal of your "valuable papers and                               using military personnel or other agents;
          records" because of imminent danger of loss                        or
          or damage, we will pay for loss or damage
          while it is:                                                  (3) Insurrection, rebellion, revolution, usurped
                                                                             power, or action taken by governmental
         (1) At a safe place away from your                                  authority in hindering or defending against
              "premises"; or                                                 any of these.
         (2) Being taken to and returned from that                   Exclusions B.1.a. through B.1.c. apply whether or
              place.                                                 not the loss event results in widespread damage
         This Coverage Extension is included within                  or affects a substantial area.
         the Limits of Insurance applicable to the                2. We will not pay for loss or damage caused by or
         "premises" from which the Covered Property                  resulting from any of the following:
         is removed.
                                                                     a. Delay, loss of use, loss of market or any other
      b. Away From Your Premises                                        consequential loss.
          We will pay up to $5,000 for loss or damage                b. Dishonest or criminal act committed by:
          to Covered Property while it is away from your
          "premises."                                                   (1) You, any of your partners, employees,
                                                                            directors,      trustees,  or   authorized
          But if a higher Limit of Insurance is specified                   representatives;
          in the Declarations, the higher limit will apply.
                                                                        (2) A manager or a member if you are a
         The limit for this Coverage Extension is                           limited liability company;
         additional insurance.
                                                                        (3) Anyone else with an interest in the
B. Exclusions                                                               property, or their employees or authorized
   1. We will not pay for loss or damage caused                             representatives; or
      directly or indirectly by any of the following. Such              (4) Anyone else to whom the property is
      loss or damage is excluded regardless of any                          entrusted for any purpose.
      other cause or event that contributes concurrently
      or in any sequence to the loss.                                    This exclusion applies whether or not such
                                                                         persons are acting alone or in collusion with
       a. Governmental Action                                            other persons or such acts occur during the
          Seizure or destruction of property by order of                 hours of employment.
          governmental authority.                                        This exclusion does not apply to Covered
         But we will pay for loss or damage caused by                    Property that is entrusted to others who are
         or resulting from acts of destruction ordered                   carriers for hire or to acts of destruction by
         by governmental authority and taken at the                      your employees. But theft by employees is not
         time of a fire to prevent its spread if the fire                covered.
         would be covered under this coverage form.                   c. Errors or omissions in processing or copying.
      b. Nuclear Hazard                                                  But if errors or omissions in processing or
          Nuclear reaction or radiation, or radioactive                  copying result in fire or explosion, we will pay
          contamination, however caused.                                 for the direct loss or damage caused by that
                                                                         fire or explosion if the fire or explosion would
         But if nuclear reaction or radiation, or
                                                                         be covered under this coverage form.
         radioactive contamination results in fire, we
         will pay for the direct loss or damage caused                d. Electrical or magnetic injury, disturbance or
         by that fire if the fire would be covered under                 erasure of electronic recordings.
         this coverage form.                                             But we will pay for direct loss or damage
      c. War And Military Action                                         caused by lightning.
         (1) War, including undeclared or civil war;                  e. Voluntary parting with any property by you or
                                                                         anyone entrusted with the property if induced
                                                                         to do so by any fraudulent scheme, trick,
                                                                         device or false pretense.




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                                f. Unauthorized instructions to transfer property                  This Exclusion, d., does not apply to the
                                   to any person or to any place.                                  extent that coverage is provided under the
                                g. Neglect of an insured to use all reasonable                     Additional Coverage – Collapse or to collapse
                                   means to save and preserve property from                        caused by one or more of the following: Fire;
                                   further damage at and after the time of loss.                   lightning; windstorm; hail; explosion; smoke;
                                                                                                   aircraft; vehicles; riot; civil commotion;
                             3. We will not pay for loss or damage caused by or                    vandalism; leakage from fire extinguishing
                                resulting from any of the following. But if loss or                equipment; sinkhole collapse; volcanic action;
                                damage by a Covered Cause of Loss results, we                      breakage of building glass; falling objects;
                                will pay for the loss or damage caused by that                     weight of snow, ice or sleet; water damage;
                                Covered Cause of Loss.                                             earthquake; weight of people or personal
                                a. Weather conditions. But this exclusion only                     property; weight of rain that collects on a roof.
                                    applies if weather conditions contribute in any           e. Wear and tear, any quality in the property that
                                    way with a cause or event excluded in                         causes it to damage or destroy itself, gradual
                                    Paragraph 1. above to produce the loss or                     deterioration; insects, vermin or rodents.
                                    damage.
                                                                                        C. Limits Of Insurance
                                b. Acts or decisions, including the failure to act
                                    or decide, of any person, group, organization          The most we will pay for loss or damage in any one
                                    or governmental body.                                  occurrence is the applicable Limit of Insurance
                                                                                           shown in the Declarations.
                                c. Faulty, inadequate or defective:
                                                                                        D. Deductible
                                   (1) Planning, zoning, development, surveying,
                                       siting;                                             We will not pay for loss or damage in any one
                                                                                           occurrence until the amount of the adjusted loss or
                                   (2) Design, specifications, workmanship,                damage before applying the applicable Limits of
                                       repair,     construction,     renovation,           Insurance exceeds the Deductible shown in the
                                       remodeling, grading, compaction;                    Declarations. We will then pay the amount of the
                                   (3) Materials used in repair, construction,             adjusted loss or damage in excess of the Deductible,
                                       renovation or remodeling; or                        up to the applicable Limit of Insurance.
                                   (4) Maintenance;                                     E. Additional Conditions
                                    of part or all of any property wherever located.        1. Valuation – Specifically Declared Items
                                d. Collapse, including any of the following                    The following is added to General Condition F.
                                    conditions of property or any part of the                  Valuation in the Commercial Inland Marine
                                    property:                                                  Conditions:
                                   (1) An abrupt falling down or caving in;                    The value of each item of property that is
                                                                                               specifically declared and described in the
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                                   (2) Loss of structural integrity, including
                                                                                               Declarations is the applicable Limit of Insurance
                                       separation of parts of the property or
                                                                                               shown in the Declarations for that item.
                                       property in danger of falling down or
                                       caving in; or                                        2. Recoveries
                                   (3) Any cracking, bulging, sagging, bending,                The following is added to Loss Condition H.
                                       leaning, settling, shrinking or expansion as            Recovered Property in the Commercial Inland
                                       such condition relates to Paragraph (1) or              Marine Conditions:
                                       (2).                                                    If either you or we recover any property after loss
                                                                                               settlement, that party must give the other prompt
                                                                                               notice. At your option, the property will be
                                                                                               returned to you. If so, your loss or damage will be
                                                                                               readjusted based on the amount you received for
                                                                                               the property recovered, with allowance for
                                                                                               recovery expenses incurred.




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   3. The following conditions apply in addition to the      F. Definitions
      Commercial Inland Marine Conditions and the               1. "Valuable papers and records" means inscribed,
      Common Policy Conditions:                                    printed or written documents, manuscripts or
      a. Coverage Territory                                        records, including abstracts, books, deeds,
          We cover property:                                       drawings, films, maps or mortgages.
         (1) Within your "premises"; and                           But "valuable papers and records" does not mean
                                                                   "money" or "securities," converted data, programs
         (2) Away from your "premises" while in transit            or instructions used in your data processing
              or within premises of others if those                operations, including the materials on which the
              premises are located or the transit is               data is recorded.
              within:
                                                                2. "Premises" means that interior portion of the
             (a) The United States of America                      building at the address shown in the Declarations
                  (including    its territories    and             that you occupy for your business.
                  possessions);
                                                                3. "Money" means:
             (b) Puerto Rico; and
                                                                    a. Currency, coins and bank notes whether or
              (c) Canada.                                              not in current use; and
      b. Protection Of Records                                      b. Travelers checks, register checks and money
         Whenever you are not open for business, and                   orders held for sale to the public.
         except while you are actually using the                4. "Securities" means negotiable and non-
         property, you must keep all "valuable papers              negotiable instruments or contracts representing
         and records" in receptacles that are described            either "money" or other property and includes:
         in the Declarations.
                                                                   a. Tokens, tickets, revenue and other stamps
                                                                       whether or not in current use; and
                                                                   b. Evidences of debt issued in connection with
                                                                       credit or charge cards, which cards are not of
                                                                       your own issue;
                                                                   but does not include "money."




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              your acts or because you have failed to              4.   If we do not renew this policy, we will give written
              comply with the terms of this Coverage Form:              notice to the Loss Payee at least 10 days before
                                                                        the expiration date of this policy.
              (1) The Loss Payee’s rights will be
                  transferred to us to the extent of the         D. CONTRACT OF SALE
                  amount we pay; and
                                                                   1.   The Loss Payee shown in the Schedule is a
              (2) The Loss Payee’s rights to recover the full           person or organization you have entered a
                  amount of the Loss Payee’s claim will not             contract with for the sale of Covered Property.
                  be impaired.
                                                                   2.   For Covered Property in which both you and the
                  At our option, we may pay to the Loss                 Loss Payee have an insurable interest we will:
                  Payee the whole principle on the debt
                                                                        a.   Adjust losses with you; and
                  plus any accrued interest. In this event,
                  you will pay your remaining debt to us.               b. Pay any claim for loss or damage jointly to
    3.   If we cancel this policy, we will give written notice             you and the Loss Payee, as interests may
         to the Loss Payee at least:                                       appear.

         a.                                                        3.   The following is added under the Loss Condition
              10 days before the effective date of
              cancellation if we cancel for your non-                   section of the Commercial Inland Marine
              payment of premium; or                                    Conditions, Paragraph F. – Other Insurance:

         b. 30 days before the effective date of                        For Covered Property that is the subject of a
            cancellation if we cancel for any other reason.             contract of sale, the word “you” includes the Loss
                                                                        Payee.




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                                                                                                                            CNA PARAMOUNT
                                                                                       Commercial General Liability Coverage Part

                          Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
                          and is not covered.
                          Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, and any other
                          person or organization qualifying as a Named Insured under this policy. The words "we", "us" and "our" refer to the
                          company providing this insurance.
                          The word Insured means any person or organization qualifying as such under Section II – Who Is An Insured.
                          Other words and phrases that appear in bold have special meaning. Refer to Section V – Definitions.
                          SECTION I – COVERAGES
                          COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY
                          1.   Insuring Agreement
                               a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of bodily injury
                                    or property damage to which this insurance applies. We will have the right and duty to defend the Insured
                                    against any suit seeking those damages. However, we will have no duty to defend the Insured against any suit
                                    seeking damages for bodily injury or property damage to which this insurance does not apply. We may, at our
                                    discretion, investigate any occurrence and settle any claim or suit that may result. But:
                                    (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                    (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the payment of
                                        judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                    under Supplementary Payments – Coverages A and B.
                               b. This insurance applies to bodily injury and property damage only if:
                                    (1) The bodily injury or property damage is caused by an occurrence that takes place in the coverage
                                        territory;
                                    (2) The bodily injury or property damage occurs during the policy period; and
                                    (3) Prior to the policy period, no Insured listed under Paragraph 1. of Section II – Who Is An Insured and no
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                                        employee authorized by you to give or receive notice of an occurrence or claim, knew that the bodily injury
                                        or property damage had occurred, in whole or in part. If such a listed Insured or authorized employee knew,
                                        prior to the policy period, that the bodily injury or property damage occurred, then any continuation,
                                        change or resumption of such bodily injury or property damage during or after the policy period will be
                                        deemed to have been known prior to the policy period.
                               c.   Bodily injury or property damage which occurs during the policy period and was not, prior to the policy
                                    period, known to have occurred by any Insured listed under Paragraph 1. of Section II – Who Is An Insured or
                                    any employee authorized by you to give or receive notice of an occurrence or claim, includes any continuation,
                                    change or resumption of that bodily injury or property damage after the end of the policy period.
                               d. Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time
                                  when any Insured listed under Paragraph 1. of Section II – Who Is An Insured or any employee authorized by
                                  you to give or receive notice of an occurrence or claim:
                                    (1) Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
                                    (2) Receives a written or verbal demand or claim for damages because of the bodily injury or property
                                        damage; or
                                    (3) Becomes aware by any other means that bodily injury or property damage has occurred or has begun to
                                        occur.

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                                                              Commercial General Liability Coverage Part

     e.   Damages because of bodily injury include damages claimed by any person or organization for care, loss of
          services or death resulting at any time from the bodily injury.
2.   Exclusions
     This insurance does not apply to:
     a.   Expected Or Intended Injury
          Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does
          not apply to bodily injury resulting from the use of reasonable force to protect persons or property.
     b. Contractual Liability
          Bodily injury or property damage for which the Insured is obligated to pay damages by reason of the
          assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:
          (1) That the Insured would have in the absence of the contract or agreement; or
          (2) Assumed in a contract or agreement that is an Insured contract, provided the bodily injury or property
              damage occurs subsequent to the execution of the contract or agreement. Solely for the purposes of liability
              assumed in an Insured contract, reasonable attorneys' fees and necessary litigation expenses incurred by or
              for a party other than an Insured are deemed to be damages because of bodily injury or property damage,
              provided:
              (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in the same
                  Insured contract; and
              (b) Such attorneys' fees and litigation expenses are for defense of that party against a civil or alternative
                  dispute resolution proceeding in which damages to which this insurance applies are alleged.
     c.   Liquor Liability
          Bodily injury or property damage for which any Insured may be held liable by reason of:
          (1) Causing or contributing to the intoxication of any person;
          (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of
              alcohol; or
          (3) Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages.
          This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in:
              (a) The supervision, hiring, employment, training or monitoring of others by that Insured; or
              (b) Providing or failing to provide transportation with respect to any person that may be under the influence of
                  alcohol;
          if the occurrence which caused the bodily injury or property damage, involved that which is described in
          Paragraph (1), (2) or (3) above.
          However, this exclusion applies only if you are in the business of manufacturing, distributing, selling, serving or
          furnishing alcoholic beverages. For the purposes of this exclusion, permitting a person to bring alcoholic
          beverages on your premises, for consumption on your premises, whether or not a fee is charged or a license is
          required for such activity, is not by itself considered the business of selling, serving or furnishing alcoholic
          beverages.
     d. Workers' Compensation And Similar Laws
          Any obligation of the Insured under a workers' compensation, disability benefits or unemployment compensation
          law or any similar law.



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                                                                                                                          CNA PARAMOUNT
                                                                                    Commercial General Liability Coverage Part

                             e.   Employer's Liability
                                  Bodily injury to:
                                  (1) An employee of the Insured arising out of and in the course of:
                                      (a) Employment by the Insured; or
                                      (b) Performing duties related to the conduct of the Insured's business; or
                                  (2) The spouse, child, parent, brother or sister of that employee as a consequence of Paragraph (1) above.
                                  This exclusion applies whether the Insured may be liable as an employer or in any other capacity and to any
                                  obligation to share damages with or repay someone else who must pay damages because of the injury.
                                  This exclusion does not apply to liability assumed by the Insured under an Insured contract.
                             f.   Pollution
                                  (1) Bodily injury or property damage arising out of the actual, alleged or threatened discharge, dispersal,
                                      seepage, migration, release or escape of pollutants:
                                      (a) At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
                                          loaned to, any Insured. However, this subparagraph does not apply to:
                                          (i) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by
                                              or originating from equipment that is used to heat, cool or dehumidify the building, or equipment that
                                              is used to heat water for personal use, by the building's occupants or their guests;
                                          (ii) Bodily injury or property damage for which you may be held liable, if you are a contractor and the
                                               owner or lessee of such premises, site or location has been added to your policy as an additional
                                               Insured with respect to your ongoing operations performed for that additional Insured at that
                                               premises, site or location and such premises, site or location is not and never was owned or
                                               occupied by, or rented or loaned to, any Insured, other than that additional Insured; or
                                          (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
                                      (b) At or from any premises, site or location which is or was at any time used by or for any Insured or others
                                          for the handling, storage, disposal, processing or treatment of waste;
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                                      (c) Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste
                                          by or for:
                                          (i) Any Insured; or
                                          (ii) Any person or organization for whom you may be legally responsible; or
                                      (d) At or from any premises, site or location on which any Insured or any contractors or subcontractors
                                          working directly or indirectly on any Insured's behalf are performing operations if the pollutants are
                                          brought on or to the premises, site or location in connection with such operations by such Insured,
                                          contractor or subcontractor. However, this subparagraph does not apply to:
                                          (i) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating
                                              fluids which are needed to perform the normal electrical, hydraulic or mechanical functions
                                              necessary for the operation of mobile equipment or its parts, if such fuels, lubricants or other
                                              operating fluids escape from a vehicle part designed to hold, store or receive them. This exception
                                              does not apply if the bodily injury or property damage arises out of the intentional discharge,
                                              dispersal or release of the fuels, lubricants or other operating fluids, or if such fuels, lubricants or
                                              other operating fluids are brought on or to the premises, site or location with the intent that they be
                                              discharged, dispersed or released as part of the operations being performed by such Insured,
                                              contractor or subcontractor;


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                                                                                             CNA PARAMOUNT
                                                         Commercial General Liability Coverage Part

               (ii) Bodily injury or property damage sustained within a building and caused by the release of gases,
                    fumes or vapors from materials brought into that building in connection with operations being
                    performed by you or on your behalf by a contractor or subcontractor; or
               (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
          (e) At or from any premises, site or location on which any Insured or any contractors or subcontractors
              working directly or indirectly on any Insured's behalf are performing operations if the operations are to
              test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
              assess the effects of, pollutants.
      (2) Any loss, cost or expense arising out of any:
          (a) Request, demand, order or statutory or regulatory requirement that any Insured or others test for,
              monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
              effects of, pollutants; or
          (b) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
              cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
              assessing the effects of, pollutants.
          However, this paragraph does not apply to liability for damages because of property damage that the
          Insured would have in the absence of such request, demand, order or statutory or regulatory requirement, or
          such claim or suit by or on behalf of a governmental authority.
   g. Aircraft, Auto Or Watercraft
      Bodily injury or property damage arising out of the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft owned or operated by or rented or loaned to any Insured. Use includes operation and
      loading or unloading.
      This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in the
      supervision, hiring, employment, training or monitoring of others by that Insured, if the occurrence which caused
      the bodily injury or property damage involved the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft that is owned or operated by or rented or loaned to any Insured.
      This exclusion does not apply to:
      (1) A watercraft while ashore on premises you own or rent;
      (2) A watercraft you do not own that is:
          (a) Less than 26 feet long; and
          (b) Not being used to carry persons or property for a charge;
      (3) Parking an auto on, or on the ways next to, premises you own or rent, provided the auto is not owned by or
          rented or loaned to you or the Insured;
      (4) Liability assumed under any Insured contract for the ownership, maintenance or use of aircraft or watercraft;
          or
      (5) Bodily injury or property damage arising out of:
          (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would qualify
              under the definition of mobile equipment if it were not subject to a compulsory or financial responsibility
              law or other motor vehicle insurance law where it is licensed or principally garaged; or
          (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition of
              mobile equipment.



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                                                                                                                        CNA PARAMOUNT
                                                                                    Commercial General Liability Coverage Part

                             h. Mobile Equipment
                                  Bodily injury or property damage arising out of:
                                  (1) The transportation of mobile equipment by an auto owned or operated by or rented or loaned to any
                                      Insured; or
                                  (2) The use of mobile equipment in, or while in practice for, or while being prepared for, any prearranged racing,
                                      speed, demolition, or stunting activity.
                             i.   War
                                  Bodily injury or property damage, however caused, arising, directly or indirectly, out of:
                                  (1) War, including undeclared or civil war;
                                  (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
                                      attack, by any government, sovereign or other authority using military personnel or other agents; or
                                  (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
                                      defending against any of these.
                             j.   Damage To Property
                                  Property damage to:
                                  (1) Property you own, rent, or occupy, including any costs or expenses incurred by you, or any other person,
                                      organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property for
                                      any reason, including prevention of injury to a person or damage to another's property;
                                  (2) Premises you sell, give away or abandon, if the property damage arises out of any part of those premises;
                                  (3) Property loaned to you;
                                  (4) Personal property in the care, custody or control of the Insured;
                                  (5) That particular part of real property on which you or any contractors or subcontractors working directly or
                                      indirectly on your behalf are performing operations, if the property damage arises out of those operations; or
                                  (6) That particular part of any property that must be restored, repaired or replaced because your work was
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                                      incorrectly performed on it.
                                  Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
                                  premises, including the contents of such premises, rented to you for a period of seven or fewer consecutive days.
                                  A separate limit of insurance applies to Damage To Premises Rented To You as described in Section III – Limits
                                  Of Insurance.
                                  Paragraph (2) of this exclusion does not apply if the premises are your work and were never occupied, rented or
                                  held for rental by you.
                                  Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack agreement.
                                  Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
                                  operations hazard.
                             k.   Damage To Your Product
                                  Property damage to your product arising out of it or any part of it.
                             l.   Damage To Your Work
                                  Property damage to your work arising out of it or any part of it and included in the products-completed
                                  operations hazard.


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                                                                                                CNA PARAMOUNT
                                                           Commercial General Liability Coverage Part

       This exclusion does not apply if the damaged work or the work out of which the damage arises was performed on
       your behalf by a subcontractor.
   m. Damage To Impaired Property Or Property Not Physically Injured
       Property damage to impaired property or property that has not been physically injured, arising out of:
       (1) A defect, deficiency, inadequacy or dangerous condition in your product or your work; or
       (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
           with its terms.
       This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
       injury to your product or your work after it has been put to its intended use.
   n. Recall Of Products, Work Or Impaired Property
       Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
       inspection, repair, replacement, adjustment, removal or disposal of:
       (1) Your product;
       (2) Your work; or
       (3) Impaired property;
       if such product, work, or property is withdrawn or recalled from the market or from use by any person or
       organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in it.
   o. Personal And Advertising Injury
       Bodily injury arising out of personal and advertising injury.
   p. Electronic Data
       Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to
       manipulate electronic data.
       However, this exclusion does not apply to liability for damages because of bodily injury.
       As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
       on, or transmitted to or from computer software, including systems and applications software, hard or floppy disks,
       CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically
       controlled equipment.
   q. Recording And Distribution Of Material Or Information In Violation Of Law
       Bodily injury or property damage arising directly or indirectly out of any action or omission that violates or is
       alleged to violate:
       (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
           Accurate Credit Transactions Act (FACTA); or
       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
           FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
           disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
   Exclusions c. through n. do not apply to damage by fire to premises while rented to you or temporarily occupied by
   you with permission of the owner. A separate limit of insurance applies to this coverage as described in Section III –
   Limits Of Insurance.


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                          COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY
                          1.   Insuring Agreement
                               a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of personal and
                                    advertising injury to which this insurance applies. We will have the right and duty to defend the Insured against
                                    any suit seeking those damages. However, we will have no duty to defend the Insured against any suit seeking
                                    damages for personal and advertising injury to which this insurance does not apply. We may, at our discretion,
                                    investigate any offense and settle any claim or suit that may result. But:
                                    (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                    (2) Our right and duty to defend end when we have used up the applicable limit of insurance in the payment of
                                        judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                    under Supplementary Payments – Coverages A and B.
                               b. This insurance applies to personal and advertising injury caused by an offense arising out of your business but
                                  only if the offense was committed in the coverage territory during the policy period.
                          2.   Exclusions
                               This insurance does not apply to:
                               a.   Knowing Violation Of Rights Of Another
                                    Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                    would violate the rights of another and would inflict personal and advertising injury.
                               b. Material Published With Knowledge Of Falsity
                                    Personal and advertising injury arising out of oral or written publication, in any manner, of material, if done by or
                                    at the direction of the Insured with knowledge of its falsity.
                               c.   Material Published Prior To Policy Period
                                    Personal and advertising injury arising out of oral or written publication, in any manner, of material whose first
                                    publication took place before the beginning of the policy period.
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                               d. Criminal Acts
                                    Personal and advertising injury arising out of a criminal act committed by or at the direction of the Insured.
                               e.   Contractual Liability
                                    Personal and advertising injury for which the Insured has assumed liability in a contract or agreement. This
                                    exclusion does not apply to liability for damages that the Insured would have in the absence of the contract or
                                    agreement.
                               f.   Breach Of Contract
                                    Personal and advertising injury arising out of a breach of contract, except an implied contract to use another's
                                    advertising idea in your advertisement.
                               g. Quality Or Performance Of Goods – Failure To Conform To Statements
                                    Personal and advertising injury arising out of the failure of goods, products or services to conform with any
                                    statement of quality or performance made in your advertisement.
                               h. Wrong Description Of Prices
                                    Personal and advertising injury arising out of the wrong description of the price of goods, products or services
                                    stated in your advertisement.

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   i.   Infringement Of Copyright, Patent, Trademark Or Trade Secret
        Personal and advertising injury arising out of the infringement of copyright, patent, trademark, trade secret or
        other intellectual property rights. Under this exclusion, such other intellectual property rights do not include the
        use of another's advertising idea in your advertisement.
        However, this exclusion does not apply to infringement, in your advertisement, of copyright, trade dress or
        slogan.
   j.   Insureds In Media And Internet Type Businesses
        Personal and advertising injury committed by an Insured whose business is:
        (1) Advertising, broadcasting, publishing or telecasting;
        (2) Designing or determining content of web sites for others; or
        (3) An Internet search, access, content or service provider.
        However, this exclusion does not apply to Paragraphs 14.a., b. and c. of personal and advertising injury under
        the Definitions section.
        For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
        anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or
        telecasting.
   k.   Electronic Chatrooms Or Bulletin Boards
        Personal and advertising injury arising out of an electronic chatroom or bulletin board the Insured hosts, owns,
        or over which the Insured exercises control.
   l.   Unauthorized Use Of Another's Name Or Product
        Personal and advertising injury arising out of the unauthorized use of another's name or product in your e-mail
        address, domain name or metatag, or any other similar tactics to mislead another's potential customers.
   m. Pollution
        Personal and advertising injury arising out of the actual, alleged or threatened discharge, dispersal, seepage,
        migration, release or escape of pollutants at any time.
   n. Pollution-related
        Any loss, cost or expense arising out of any:
        (1) Request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor,
            clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
            pollutants; or
        (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
            cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
            assessing the effects of, pollutants.
   o. War
        Personal and advertising injury, however caused, arising, directly or indirectly, out of:
        (1) War, including undeclared or civil war;
        (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
            attack, by any government, sovereign or other authority using military personnel or other agents; or
        (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
            defending against any of these.

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                                                                                      Commercial General Liability Coverage Part

                               p. Recording And Distribution Of Material Or Information In Violation Of Law
                                    Personal and advertising injury arising directly or indirectly out of any action or omission that violates or is
                                    alleged to violate:
                                    (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
                                    (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
                                    (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
                                        Accurate Credit Transactions Act (FACTA); or
                                    (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
                                        FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
                                        disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
                          COVERAGE C – MEDICAL PAYMENTS
                          1.   Insuring Agreement
                               a.   We will pay medical expenses as described below for bodily injury caused by an accident:
                                    (1) On premises you own or rent;
                                    (2) On ways next to premises you own or rent; or
                                    (3) Because of your operations;
                                    provided that:
                                        (a) The accident takes place in the coverage territory and during the policy period;
                                        (b) The expenses are incurred and reported to us within one year of the date of the accident; and
                                        (c) The injured person submits to examination, at our expense, by physicians of our choice as often as we
                                            reasonably require.
                               b. We will make these payments regardless of fault. These payments will not exceed the applicable limit of
                                  insurance. We will pay reasonable expenses for:
                                    (1) First aid administered at the time of an accident;
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                                    (2) Necessary medical, surgical, X-ray and dental services, including prosthetic devices; and
                                    (3) Necessary ambulance, hospital, professional nursing and funeral services.
                          2.   Exclusions
                               We will not pay expenses for bodily injury:
                               a.   Any Insured
                                    To any Insured, except volunteer workers.
                               b. Hired Person
                                    To a person hired to do work for or on behalf of any Insured or a tenant of any Insured.
                               c.   Injury On Normally Occupied Premises
                                    To a person injured on that part of premises you own or rent that the person normally occupies.
                               d. Workers' Compensation And Similar Laws
                                    To a person, whether or not an employee of any Insured, if benefits for the bodily injury are payable or must be
                                    provided under a workers' compensation or disability benefits law or a similar law.


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     e.   Athletics Activities
          To a person injured while practicing, instructing or participating in any physical exercises or games, sports, or
          athletic contests.
     f.   Products-Completed Operations Hazard
          Included within the products-completed operations hazard.
     g. Coverage A Exclusions
          Excluded under Coverage A.
SUPPLEMENTARY PAYMENTS – COVERAGES A AND B
1.   We will pay, with respect to any claim we investigate or settle, or any suit against an Insured we defend:
     a.   All expenses we incur.
     b. Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising out of the use of
        any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.
     c.   The cost of bonds to release attachments, but only for bond amounts within the applicable limit of insurance. We
          do not have to furnish these bonds.
     d. All reasonable expenses incurred by the Insured at our request to assist us in the investigation or defense of the
        claim or suit, including actual loss of earnings up to $250 a day because of time off from work.
     e.   All court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
          attorneys' expenses taxed against the Insured.
     f.   Prejudgment interest awarded against the Insured on that part of the judgment we pay. If we make an offer to pay
          the applicable limit of insurance, we will not pay any prejudgment interest based on that period of time after the
          offer.
     g. All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
        offered to pay, or deposited in court the part of the judgment that is within the applicable limit of insurance.
     These payments will not reduce the limits of insurance.
2.   If we defend an Insured against a suit and an indemnitee of the Insured is also named as a party to the suit, we will
     defend that indemnitee if all of the following conditions are met:
     a.   The suit against the indemnitee seeks damages for which the Insured has assumed the liability of the
          indemnitee in a contract or agreement that is an Insured contract;
     b. This insurance applies to such liability assumed by the Insured;
     c.   The obligation to defend, or the cost of the defense of, that indemnitee, has also been assumed by the Insured in
          the same Insured contract;
     d. The allegations in the suit and the information we know about the occurrence are such that no conflict appears
        to exist between the interests of the Insured and the interests of the indemnitee;
     e.   The indemnitee and the Insured ask us to conduct and control the defense of that indemnitee against such suit
          and agree that we can assign the same counsel to defend the Insured and the indemnitee; and
     f.   The indemnitee:
          (1) Agrees in writing to:
              (a) Cooperate with us in the investigation, settlement or defense of the suit;
              (b) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                  with the suit;

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                                        (c) Notify any other insurer whose coverage is available to the indemnitee; and
                                        (d) Cooperate with us with respect to coordinating other applicable insurance available to the indemnitee;
                                            and
                                    (2) Provides us with written authorization to:
                                        (a) Obtain records and other information related to the suit; and
                                        (b) Conduct and control the defense of the indemnitee in such suit.
                               So long as the above conditions are met, attorneys' fees incurred by us in the defense of that indemnitee, necessary
                               litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at our request will be
                               paid as Supplementary Payments. Notwithstanding the provisions of Paragraph 2.b.(2) of Section I – Coverage A –
                               Bodily Injury And Property Damage Liability, such payments will not be deemed to be damages for bodily injury
                               and property damage and will not reduce the limits of insurance.
                               Our obligation to defend an Insured's indemnitee and to pay for attorneys' fees and necessary litigation expenses as
                               Supplementary Payments ends when we have used up the applicable limit of insurance in the payment of judgments
                               or settlements or the conditions set forth above, or the terms of the agreement described in Paragraph f. above, are
                               no longer met.
                          SECTION II – WHO IS AN INSURED
                          1.   If you are designated in the Declarations as:
                               a.   An individual, you and your spouse are Insureds, but only with respect to the conduct of a business of which you
                                    are the sole owner.
                               b. A partnership or joint venture, you are an Insured. Your members, your partners, and their spouses are also
                                  Insureds, but only with respect to the conduct of your business.
                               c.   A limited liability company, you are an Insured. Your members are also Insureds, but only with respect to the
                                    conduct of your business. Your managers are Insureds, but only with respect to their duties as your managers.
                               d. An organization other than a partnership, joint venture or limited liability company, you are an Insured. Your
                                  executive officers and directors are Insureds, but only with respect to their duties as your officers or directors.
                                  Your stockholders are also Insureds, but only with respect to their liability as stockholders.
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                               e.   A trust, you are an Insured. Your trustees are also Insureds, but only with respect to their duties as trustees.
                          2.   Each of the following is also an Insured:
                               a.   Your volunteer workers only while performing duties related to the conduct of your business, or your
                                    employees, other than either your executive officers (if you are an organization other than a partnership, joint
                                    venture or limited liability company) or your managers (if you are a limited liability company), but only for acts
                                    within the scope of their employment by you or while performing duties related to the conduct of your business.
                                    However, none of these employees or volunteer workers are Insureds for:
                                    (1) Bodily injury or personal and advertising injury:
                                        (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if you
                                            are a limited liability company), to a co-employee while in the course of his or her employment or
                                            performing duties related to the conduct of your business, or to your other volunteer workers while
                                            performing duties related to the conduct of your business;
                                        (b) To the spouse, child, parent, brother or sister of that co-employee or volunteer worker as a
                                            consequence of Paragraph (1)(a) above;
                                        (c) For which there is any obligation to share damages with or repay someone else who must pay damages
                                            because of the injury described in Paragraph (1)(a) or (b) above; or
                                    (d) Arising out of his or her providing or failing to provide professional health care services.
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          (2) Property damage to property:
              (a) Owned, occupied or used by;
              (b) Rented to, in the care, custody or control of, or over which physical control is being exercised for any
                  purpose by;
              you, any of your employees, volunteer workers, any partner or member (if you are a partnership or joint
              venture), or any member (if you are a limited liability company).
     b. Any person (other than your employee or volunteer worker), or any organization while acting as your real estate
        manager.
     c.   Any person or organization having proper temporary custody of your property if you die, but only:
          (1) With respect to liability arising out of the maintenance or use of that property; and
          (2) Until your legal representative has been appointed.
     d. Your legal representative if you die, but only with respect to duties as such. That representative will have all your
        rights and duties under this Coverage Part.
3.   Any organization you newly acquire or form, other than a partnership, joint venture or limited liability company, and
     over which you maintain ownership or majority interest, will qualify as a Named Insured if there is no other similar
     insurance available to that organization. However:
     a.   Coverage under this provision is afforded only until the 90th day after you acquire or form the organization or the
          end of the policy period, whichever is earlier;
     b. Coverage A does not apply to bodily injury or property damage that occurred before you acquired or formed the
        organization; and
     c.   Coverage B does not apply to personal and advertising injury arising out of an offense committed before you
          acquired or formed the organization.
No person or organization is an Insured with respect to the conduct of any current or past partnership, joint venture or
limited liability company that is not shown as a Named Insured in the Declarations.
SECTION III – LIMITS OF INSURANCE
1.   The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of the
     number of:
     a.   Insureds;
     b. Claims made or suits brought; or
     c.   Persons or organizations making claims or bringing suits.
2.   The General Aggregate Limit is the most we will pay for the sum of:
     a.   Medical expenses under Coverage C;
     b. Damages under Coverage A, except damages because of bodily injury or property damage included in the
        products-completed operations hazard; and
     c.   Damages under Coverage B.
3.   The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for damages
     because of bodily injury and property damage included in the products-completed operations hazard.
4.   Subject to Paragraph 2. above, the Personal And Advertising Injury Limit is the most we will pay under Coverage B for
     the sum of all damages because of all personal and advertising injury sustained by any one person or organization.


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                          5. Subject to Paragraph 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we will pay for the sum
                             of:
                               a.   Damages under Coverage A; and
                               b. Medical expenses under Coverage C
                               because of all bodily injury and property damage arising out of any one occurrence.
                          6.   Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
                               Coverage A for damages because of property damage to any one premises, while rented to you, or in the case of
                               damage by fire, while rented to you or temporarily occupied by you with permission of the owner.
                          7.   Subject to Paragraph 5. above, the Medical Expense Limit is the most we will pay under Coverage C for all medical
                               expenses because of bodily injury sustained by any one person.
                          The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to any remaining
                          period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
                          policy period is extended after issuance for an additional period of less than 12 months. In that case, the additional period
                          will be deemed part of the last preceding period for purposes of determining the Limits of Insurance.
                          SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
                          1.   Bankruptcy
                               Bankruptcy or insolvency of the Insured or of the Insured's estate will not relieve us of our obligations under this
                               Coverage Part.
                          2.   Duties In The Event Of Occurrence, Offense, Claim Or Suit
                               a.   You must see to it that we are notified as soon as practicable of an occurrence or an offense which may result in
                                    a claim. To the extent possible, notice should include:
                                    (1) How, when and where the occurrence or offense took place;
                                    (2) The names and addresses of any injured persons and witnesses; and
                                    (3) The nature and location of any injury or damage arising out of the occurrence or offense.
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                               b. If a claim is made or suit is brought against any Insured, you must:
                                    (1) Immediately record the specifics of the claim or suit and the date received; and
                                    (2) Notify us as soon as practicable.
                                    You must see to it that we receive written notice of the claim or suit as soon as practicable.
                               c.   You and any other involved Insured must:
                                    (1) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                                        with the claim or suit;
                                    (2) Authorize us to obtain records and other information;
                                    (3) Cooperate with us in the investigation or settlement of the claim or defense against the suit; and
                                    (4) Assist us, upon our request, in the enforcement of any right against any person or organization which may be
                                        liable to the Insured because of injury or damage to which this insurance may also apply.
                               d. No Insured will, except at that Insured's own cost, voluntarily make a payment, assume any obligation, or incur
                                  any expense, other than for first aid, without our consent.
                          3.   Legal Action Against Us
                               No person or organization has a right under this Coverage Part:

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     a.   To join us as a party or otherwise bring us into a suit asking for damages from an Insured; or
     b. To sue us on this Coverage Part unless all of its terms have been fully complied with.
     A person or organization may sue us to recover on an agreed settlement or on a final judgment against an Insured;
     but we will not be liable for damages that are not payable under the terms of this Coverage Part or that are in excess
     of the applicable limit of insurance. An agreed settlement means a settlement and release of liability signed by us, the
     Insured and the claimant or the claimant's legal representative.
4.   Other Insurance
     If other valid and collectible insurance is available to the Insured for a loss we cover under Coverages A or B of this
     Coverage Part, our obligations are limited as follows:
     a.   Primary Insurance
          This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our obligations
          are not affected unless any of the other insurance is also primary. Then, we will share with all that other insurance
          by the method described in Paragraph c. below.
     b. Excess Insurance
          (1) This insurance is excess over:
              (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                  (i) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for your work;
                  (ii) That is Fire insurance for premises rented to you or temporarily occupied by you with permission of
                       the owner;
                  (iii) That is insurance purchased by you to cover your liability as a tenant for property damage to
                        premises rented to you or temporarily occupied by you with permission of the owner; or
                  (iv) If the loss arises out of the maintenance or use of aircraft, autos or watercraft to the extent not
                       subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability.
              (b) Any other primary insurance available to you covering liability for damages arising out of the premises or
                  operations, or the products and completed operations, for which you have been added as an additional
                  Insured.
          (2) When this insurance is excess, we will have no duty under Coverages A or B to defend the Insured against
              any suit if any other insurer has a duty to defend the Insured against that suit. If no other insurer defends,
              we will undertake to do so, but we will be entitled to the Insured's rights against all those other insurers.
          (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the loss, if
              any, that exceeds the sum of:
              (a) The total amount that all such other insurance would pay for the loss in the absence of this insurance;
                  and
              (b) The total of all deductible and self-Insured amounts under all that other insurance.
          (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
              Insurance provision and was not bought specifically to apply in excess of the Limits of Insurance shown in the
              Declarations of this Coverage Part.
     c.   Method Of Sharing
          If all of the other insurance permits contribution by equal shares, we will follow this method also. Under this
          approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of the
          loss remains, whichever comes first.


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                                    If any of the other insurance does not permit contribution by equal shares, we will contribute by limits. Under this
                                    method, each insurer's share is based on the ratio of its applicable limit of insurance to the total applicable limits
                                    of insurance of all insurers.
                          5.   Premium Audit
                               a.   We will compute all premiums for this Coverage Part in accordance with our rules and rates.
                               b. Premium shown in this Coverage Part as advance premium is a deposit premium only. At the close of each audit
                                  period we will compute the earned premium for that period and send notice to the First Named Insured. The due
                                  date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the advance
                                  and audit premiums paid for the policy period is greater than the earned premium, we will return the excess to
                                  the First Named Insured.
                               c.   The First Named Insured must keep records of the information we need for premium computation, and send us
                                    copies at such times as we may request.
                          6.   Representations
                               By accepting this policy, you agree:
                               a.   The statements in the Declarations are accurate and complete;
                               b. Those statements are based upon representations you made to us; and
                               c.   We have issued this policy in reliance upon your representations.
                          7.   Separation Of Insureds
                               Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this Coverage Part to
                               the First Named Insured, this insurance applies:
                               a.   As if each Named Insured were the only Named Insured; and
                               b. Separately to each Insured against whom claim is made or suit is brought.
                          8.   Transfer Of Rights Of Recovery Against Others To Us
                               If the Insured has rights to recover all or part of any payment we have made under this Coverage Part, those rights
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                               are transferred to us. The Insured must do nothing after loss to impair them. At our request, the Insured will bring suit
                               or transfer those rights to us and help us enforce them.
                          9.   When We Do Not Renew
                               If we decide not to renew this Coverage Part, we will mail or deliver to the First Named Insured shown in the
                               Declarations written notice of the nonrenewal not less than 30 days before the expiration date.
                               If notice is mailed, proof of mailing will be sufficient proof of notice.
                          SECTION V – DEFINITIONS
                          1.   Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                               your goods, products or services for the purpose of attracting customers or supporters. For the purposes of this
                               definition:
                               a.   Notices that are published include material placed on the Internet or on similar electronic means of
                                    communication; and
                               b. Regarding web sites, only that part of a web site that is about your goods, products or services for the purposes of
                                  attracting customers or supporters is considered an advertisement.
                          2.   Auto means:
                               a.
                                A land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached machinery or
                                equipment; or
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                                                             Commercial General Liability Coverage Part

     b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
        insurance law where it is licensed or principally garaged.
     However, auto does not include mobile equipment.
3.   Bodily injury means bodily injury, sickness or disease sustained by a person, including death resulting from any of
     these at any time.
4.   Coverage territory means:
     a.   The United States of America (including its territories and possessions), Puerto Rico and Canada;
     b. International waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
        between any places included in Paragraph a. above; or
     c.   All other parts of the world if the injury or damage arises out of:
          (1) Goods or products made or sold by you in the territory described in Paragraph a. above;
          (2) The activities of a person whose home is in the territory described in Paragraph a. above, but is away for a
              short time on your business; or
          (3) Personal and advertising injury offenses that take place through the Internet or similar electronic means of
              communication;
          provided the Insured's responsibility to pay damages is determined in a suit on the merits, in the territory
          described in Paragraph a. above or in a settlement we agree to.
5.   Employee includes a leased worker. Employee does not include a temporary worker.
6.   Executive officer means a person holding any of the officer positions created by your charter, constitution, bylaws or
     any other similar governing document.
7.   Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
8.   Impaired property means tangible property, other than your product or your work, that cannot be used or is less
     useful because:
     a.   It incorporates your product or your work that is known or thought to be defective, deficient, inadequate or
          dangerous; or
     b. You have failed to fulfill the terms of a contract or agreement;
     if such property can be restored to use by the repair, replacement, adjustment or removal of your product or your
     work or your fulfilling the terms of the contract or agreement.
9.   Insured contract means:
     a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
          any person or organization for damage by fire to premises while rented to you or temporarily occupied by you with
          permission of the owner is not an Insured contract;
     b. A sidetrack agreement;
     c.   Any easement or license agreement, except in connection with construction or demolition operations on or within
          50 feet of a railroad;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e.   An elevator maintenance agreement;




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                              f.   That part of any other contract or agreement pertaining to your business (including an indemnification of a
                                   municipality in connection with work performed for a municipality) under which you assume the tort liability of
                                   another party to pay for bodily injury or property damage to a third person or organization. Tort liability means a
                                   liability that would be imposed by law in the absence of any contract or agreement.
                                   Paragraph f. does not include that part of any contract or agreement:
                                   (1) That indemnifies a railroad for bodily injury or property damage arising out of construction or demolition
                                       operations, within 50 feet of any railroad property and affecting any railroad bridge or trestle, tracks, road-
                                       beds, tunnel, underpass or crossing;
                                   (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                                       (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                           field orders, change orders or drawings and specifications; or
                                       (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                           damage; or
                                   (3) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                       arising out of the Insured's rendering or failure to render professional services, including those listed in (2)
                                       above and supervisory, inspection, architectural or engineering activities.
                          10. Leased worker means a person leased to you by a labor leasing firm under an agreement between you and the labor
                              leasing firm, to perform duties related to the conduct of your business. Leased worker does not include a temporary
                              worker.
                          11. Loading or unloading means the handling of property:
                              a.   After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or auto;
                              b. While it is in or on an aircraft, watercraft or auto; or
                              c.   While it is being moved from an aircraft, watercraft or auto to the place where it is finally delivered;
                              but loading or unloading does not include the movement of property by means of a mechanical device, other than a
                              hand truck, that is not attached to the aircraft, watercraft or auto.
                          12. Mobile equipment means any of the following types of land vehicles, including any attached machinery or equipment:
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                              a.   Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
                              b. Vehicles maintained for use solely on or next to premises you own or rent;
                              c.   Vehicles that travel on crawler treads;
                              d. Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
                                   (1) Power cranes, shovels, loaders, diggers or drills; or
                                   (2) Road construction or resurfacing equipment such as graders, scrapers or rollers;
                              e.   Vehicles not described in Paragraph a., b., c. or d. above that are not self-propelled and are maintained primarily
                                   to provide mobility to permanently attached equipment of the following types:
                                   (1) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                                       exploration, lighting and well servicing equipment; or
                                   (2) Cherry pickers and similar devices used to raise or lower workers;
                              f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
                                   transportation of persons or cargo.
                                   However, self-propelled vehicles with the following types of permanently attached equipment are not mobile
                                   equipment but will be considered autos:
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         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
         (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
             exploration, lighting and well servicing equipment.
    However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land vehicles
    subject to a compulsory or financial responsibility law or other motor vehicle insurance law are considered autos.
13. Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
    conditions.
14. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
    the following offenses:
    a.   False arrest, detention or imprisonment;
    b. Malicious prosecution;
    c.   The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room, dwelling or
         premises that a person occupies, committed by or on behalf of its owner, landlord or lessor;
    d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
       disparages a person's or organization's goods, products or services;
    e.   Oral or written publication, in any manner, of material that violates a person's right of privacy;
    f.   The use of another's advertising idea in your advertisement; or
    g. Infringing upon another's copyright, trade dress or slogan in your advertisement.
15. Pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot, fumes,
    acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or reclaimed.
16. Products-completed operations hazard:
    a.   Includes all bodily injury and property damage occurring away from premises you own or rent and arising out of
         your product or your work except:
         (1) Products that are still in your physical possession; or
         (2) Work that has not yet been completed or abandoned. However, your work will be deemed completed at the
             earliest of the following times:
             (a) When all of the work called for in your contract has been completed.
             (b) When all of the work to be done at the job site has been completed if your contract calls for work at more
                 than one job site.
             (c) When that part of the work done at a job site has been put to its intended use by any person or
                 organization other than another contractor or subcontractor working on the same project.
             Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
             complete, will be treated as completed.



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                                                                                                                             CNA PARAMOUNT
                                                                                      Commercial General Liability Coverage Part

                              b. Does not include bodily injury or property damage arising out of:
                                   (1) The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle not
                                       owned or operated by you, and that condition was created by the loading or unloading of that vehicle by any
                                       Insured;
                                   (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or
                                   (3) Products or operations for which the classification, listed in the Declarations or in a policy Schedule, states
                                       that products-completed operations are subject to the General Aggregate Limit.
                          17. Property damage means:
                              a.   Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use shall be
                                   deemed to occur at the time of the physical injury that caused it; or
                              b. Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
                                 time of the occurrence that caused it.
                              For the purposes of this insurance, electronic data is not tangible property.
                              As used in this definition, electronic data means information, facts or programs stored as or on, created or used on, or
                              transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                              ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                              equipment.
                          18. Suit means a civil proceeding in which damages because of bodily injury, property damage or personal and
                              advertising injury to which this insurance applies are alleged. suit includes:
                              a.   An arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
                                   submit with our consent; or
                              b. Any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
                                 submits with our consent.
                          19. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave or to
                              meet seasonal or short-term workload conditions.
                          20. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
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                              direction of and within the scope of duties determined by you, and is not paid a fee, salary or other compensation by
                              you or anyone else for their work performed for you.
                          21. Your product:
                              a.   Means:
                                   (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
                                       (a) You;
                                       (b) Others trading under your name; or
                                       (c) A person or organization whose business or assets you have acquired; and
                                   (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
                                       products.
                              b. Includes:
                                   (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
                                       use of your product; and
                                   (2) The providing of or failure to provide warnings or instructions.
                              c.   Does not include vending machines or other property rented to or located for the use of others but not sold.
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                                                          Commercial General Liability Coverage Part

22. Your work:
   a.   Means:
        (1) Work or operations performed by you or on your behalf; and
        (2) Materials, parts or equipment furnished in connection with such work or operations.
   b. Includes:
        (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
            use of your work; and
        (2) The providing of or failure to provide warnings or instructions.




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                                                                                                                                                     CNA PARAMOUNT

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                                                                                                        Extension Endorsement

                          It is understood and agreed that this endorsement amends the COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          as follows. If any other endorsement attached to this policy amends any provision also amended by this endorsement,
                          then that other endorsement controls with respect to such provision, and the changes made by this endorsement with
                          respect to such provision do not apply.


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                               2.   Additional Insured - Primary And Non-Contributory To Additional Insured's Insurance
                               3.   Additional Insured – Extended Coverage
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                               25. Unintentional Failure To Disclose Hazards
                               26. Waiver of Subrogation – Blanket
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                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000800
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                                                  Architects, Engineers and Surveyors General Liability
                                                                               Extension Endorsement

1.   ADDITIONAL INSUREDS

     a.   WHO IS AN INSURED is amended to include as an Insured any person or organization described in paragraphs
          A. through I. below whom a Named Insured is required to add as an additional insured on this Coverage Part
          under a written contract or written agreement, provided such contract or agreement:
          (1) is currently in effect or becomes effective during the term of this Coverage Part; and

          (2) was executed prior to:

               (a) the bodily injury or property damage; or

               (b) the offense that caused the personal and advertising injury,

               for which such additional insured seeks coverage.
     b. However, subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer
        will not provide such additional insured with:
          (1) a higher limit of insurance than required by such contract or agreement; or

          (2) coverage broader than required by such contract or agreement, and in no event broader than that described
              by the applicable paragraph A. through I. below.

          Any coverage granted by this endorsement shall apply only to the extent permissible by law.
     A. Controlling Interest

          Any person or organization with a controlling interest in a Named Insured, but only with respect to such person or
          organization's liability for bodily injury, property damage or personal and advertising injury arising out of:
          1.   such person or organization's financial control of a Named Insured; or
          2.   premises such person or organization owns, maintains or controls while a Named Insured leases or
               occupies such premises;

          provided that the coverage granted by this paragraph does not apply to structural alterations, new construction or
          demolition operations performed by, on behalf of, or for such additional insured.
     B. Co-owner of Insured Premises

          A co-owner of a premises co-owned by a Named Insured and covered under this insurance but only with respect
          to such co-owner's liability for bodily injury, property damage or personal and advertising injury as co-owner
          of such premises.
     C. Engineers, Architects or Surveyors Engaged By You

          An architect, engineer or surveyor engaged by the Named Insured, but only with respect to liability for bodily
          injury, property damage or personal and advertising injury caused in whole or in part by the Named Insured's
          acts or omissions, or the acts or omissions of those acting on the Named Insured's behalf:
          a.   in connection with the Named Insured's premises; or
          b. in the performance of the Named Insured's ongoing operations.

          But the coverage hereby granted to such additional insureds does not apply to bodily injury, property damage
          or personal and advertising injury arising out of the rendering of or failure to render any professional services
          by, on behalf of, or for the Named Insured, including but not limited to:
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CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                               CNA000801
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                                1.   the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                     field orders, change orders or drawings and specifications; or
                                2.   supervisory, inspection, architectural or engineering activities.
                             D. Lessor of Equipment

                                Any person or organization from whom a Named Insured leases equipment, but only with respect to liability for
                                bodily injury, property damage or personal and advertising injury caused, in whole or in part, by the Named
                                Insured's maintenance, operation or use of such equipment, provided that the occurrence giving rise to such
                                bodily injury, property damage or the offense giving rise to such personal and advertising injury takes place
                                prior to the termination of such lease.
                             E. Lessor of Land

                                Any person or organization from whom a Named Insured leases land but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury arising out of the ownership, maintenance or use
                                of such land, provided that the occurrence giving rise to such bodily injury, property damage or the offense
                                giving rise to such personal and advertising injury takes place prior to the termination of such lease. The
                                coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             F. Lessor of Premises

                                An owner or lessor of premises leased to the Named Insured, or such owner or lessor's real estate manager, but
                                only with respect to liability for bodily injury, property damage or personal and advertising injury arising out of
                                the ownership, maintenance or use of such part of the premises leased to the Named Insured, and provided that
                                the occurrence giving rise to such bodily injury or property damage, or the offense giving rise to such personal
                                and advertising injury, takes place prior to the termination of such lease. The coverage granted by this
                                paragraph does not apply to structural alterations, new construction or demolition operations performed by, on
                                behalf of, or for such additional insured.
                             G. Mortgagee, Assignee or Receiver

                                A mortgagee, assignee or receiver of premises but only with respect to such mortgagee, assignee or receiver's
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                                liability for bodily injury, property damage or personal and advertising injury arising out of the Named
                                Insured's ownership, maintenance, or use of a premises by a Named Insured.

                                The coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             H. State or Governmental Agency or Subdivision or Political Subdivisions – Permits

                                A state or governmental agency or subdivision or political subdivision that has issued a permit or authorization but
                                only with respect to such state or governmental agency or subdivision or political subdivision's liability for bodily
                                injury, property damage or personal and advertising injury arising out of:

                                1.   the following hazards in connection with premises a Named Insured owns, rents, or controls and to which
                                     this insurance applies:
                                     a.   the existence, maintenance, repair, construction, erection, or removal of advertising signs, awnings,
                                          canopies, cellar entrances, coal holes, driveways, manholes, marquees, hoistaway openings, sidewalk
                                          vaults, street banners, or decorations and similar exposures; or
                                     b. the construction, erection, or removal of elevators; or

                                     c.   the ownership, maintenance or use of any elevators covered by this insurance; or
                          CNA74858XX (1-15)                                                                                                   Policy No: 6056872807
                          Page 3 of 18                                                                                                  Endorsement No:       3
                          CONTINENTAL CASUALTY COMPANY                                                                                    Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                      CNA000802
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          2.   the permitted or authorized operations performed by a Named Insured or on a Named Insured's behalf.

               The coverage granted by this paragraph does not apply to:
               a.   Bodily injury, property damage or personal and advertising injury arising out of operations performed
                    for the state or governmental agency or subdivision or political subdivision; or
               b. Bodily injury or property damage included within the products-completed operations hazard.

          With respect to this provision's requirement that additional insured status must be requested under a written
          contract or agreement, the Insurer will treat as a written contract any governmental permit that requires the
          Named Insured to add the governmental entity as an additional insured.

     I.   Trade Show Event Lessor

          1.   With respect to a Named Insured's participation in a trade show event as an exhibitor, presenter or displayer,
               any person or organization whom the Named Insured is required to include as an additional insured, but only
               with respect to such person or organization's liability for bodily injury, property damage or personal and
               advertising injury caused by:

               a.   the Named Insured's acts or omissions; or
               b. the acts or omissions of those acting on the Named Insured's behalf,

               in the performance of the Named Insured's ongoing operations at the trade show event premises during the
               trade show event.
          2.   The coverage granted by this paragraph does not apply to bodily injury or property damage included within
               the products-completed operations hazard.
2.   ADDITIONAL INSURED - PRIMARY AND NON-CONTRIBUTORY TO ADDITIONAL INSURED'S INSURANCE

     The Other Insurance Condition in the COMMERCIAL GENERAL LIABILITY CONDITIONS Section is amended to
     add the following paragraph:

     If the Named Insured has agreed in writing in a contract or agreement that this insurance is primary and non-
     contributory relative to an additional insured's own insurance, then this insurance is primary, and the Insurer will not
     seek contribution from that other insurance. For the purpose of this Provision 2., the additional insured's own
     insurance means insurance on which the additional insured is a named insured. Otherwise, and notwithstanding
     anything to the contrary elsewhere in this Condition, the insurance provided to such person or organization is excess
     of any other insurance available to such person or organization.
3.   ADDITIONAL INSURED – EXTENDED COVERAGE

     When an additional insured is added by this or any other endorsement attached to this Coverage Part, WHO IS AN
     INSURED is amended to make the following natural persons Insureds.

     If the additional insured is:
     a.   An individual, then his or her spouse is an Insured;
     b. A partnership or joint venture, then its partners, members and their spouses are Insureds;
     c.   A limited liability company, then its members and managers are Insureds; or
     d. An organization other than a partnership, joint venture or limited liability company, then its executive officers,
        directors and shareholders are Insureds;


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CONTINENTAL CASUALTY COMPANY                                                                                        Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                                CNA000803
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                               but only with respect to locations and operations covered by the additional insured endorsement's provisions, and only
                               with respect to their respective roles within their organizations.

                               Please see the ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES provision of this endorsement for
                               additional coverage and restrictions applicable to spouses of natural person Insureds.
                          4.   BOATS

                               Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions is amended to add the following additional exception to the exclusion entitled Aircraft, Auto or
                               Watercraft:

                               This exclusion does not apply to:
                                    Any watercraft owned by the Named Insured that is less than 30 feet long while being used in the course of the
                                    Named Insured's inspection or surveying work.

                          5.   BODILY INJURY – EXPANDED DEFINITION

                               Under DEFINITIONS, the definition of bodily injury is deleted and replaced by the following:
                               Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                               mental anguish or mental injury sustained by that person at any time which results as a consequence of the physical
                               injury, sickness or disease.
                          6.   BROAD KNOWLEDGE OF OCCURRENCE/ NOTICE OF OCCURRENCE

                               Under CONDITIONS, the condition entitled Duties in The Event of Occurrence, Offense, Claim or Suit is amended
                               to add the following provisions:
                               A. BROAD KNOWLEDGE OF OCCURRENCE

                                    The Named Insured must give the Insurer or the Insurer's authorized representative notice of an occurrence,
                                    offense or claim only when the occurrence, offense or claim is known to a natural person Named Insured, to a
                                    partner, executive officer, manager or member of a Named Insured, or to an employee designated by any of the
                                    above to give such notice.
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                               B. NOTICE OF OCCURRENCE

                                    The Named Insured's rights under this Coverage Part will not be prejudiced if the Named Insured fails to give
                                    the Insurer notice of an occurrence, offense or claim and that failure is solely due to the Named Insured's
                                    reasonable belief that the bodily injury or property damage is not covered under this Coverage Part. However,
                                    the Named Insured shall give written notice of such occurrence, offense or claim to the Insurer as soon as the
                                    Named Insured is aware that this insurance may apply to such occurrence, offense or claim.

                          7.   BROAD NAMED INSURED

                               WHO IS AN INSURED is amended to delete its Paragraph 3. in its entirety and replace it with the following:

                               3.   Pursuant to the limitations described in Paragraph 4. below, any organization in which a Named Insured has
                                    management control:
                                    a.   on the effective date of this Coverage Part; or
                                    b. by reason of a Named Insured creating or acquiring the organization during the policy period,

                                    qualifies as a Named Insured, provided that there is no other similar liability insurance, whether primary,
                                    contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
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                                                                                         CNA000804
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          provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
          narrower than that provided by this insurance.

          But this BROAD NAMED INSURED provision does not apply to:
          (a) any partnership, limited liability company or joint venture; or

          (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.

          For the purpose of this provision, management control means:
          A. owning interests representing more than 50% of the voting, appointment or designation power for the
             selection of a majority of the Board of Directors of a corporation; or
          B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or
             sell property held by a trust.
     4.   With respect to organizations which qualify as Named Insureds by virtue of Paragraph 3. above, this insurance
          does not apply to:
          a.   bodily injury or property damage that first occurred prior to the date of management control, or that first
               occurs after management control ceases; nor
          b. personal or advertising injury caused by an offense that first occurred prior to the date of management
             control or that first occurs after management control ceases.
     5.   The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names
          or under such other trading names or doing-business-as names (dba) as any Named Insured should choose to
          employ.
8.   CONTRACTUAL LIABILITY – RAILROADS

     With respect to operations performed within 50 feet of railroad property, the definition of insured contract is replaced
     by the following:
     Insured Contract means:

     a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
          any person or organization for damage by fire to premises while rented to a Named Insured or temporarily
          occupied by a Named Insured you with permission of the owner is not an insured contract;
     b. A sidetrack agreement;

     c.   Any easement or license agreement;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e.   An elevator maintenance agreement;
     f.   That part of any other contract or agreement pertaining to the Named Insured's business (including an
          indemnification of a municipality in connection with work performed for a municipality) under which the Named
          Insured assumes the tort liability of another party to pay for bodily injury or property damage to a third person
          or organization. Tort liability means a liability that would be imposed by law in the absence of any contract or
          agreement.

          Paragraph f. does not include that part of any contract or agreement:

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                                                               CNA000805
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                                   (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:

                                         (a) Preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                             field orders, change orders or drawings and specifications; or
                                         (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                             damage;
                                   (2) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                       arising out of the insured's rendering or failure to render professional services, including those listed in (1)
                                       above and supervisory, inspection, architectural or engineering activities.
                          9.   ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES

                               The estates, executors, heirs, legal representatives, administrators, trustees, beneficiaries and spouses of any
                               natural person Insured or living trust shall also be insured under this policy; provided, however, coverage is afforded
                               to such estates, executors, heirs, legal representatives, administrators, trustees, beneficiaries and spouses only for
                               claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim seeks
                               damages from marital community property, jointly held property or property transferred from such natural person
                               Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                               representative, or spouse outside the scope of such person's capacity or status as such, provided, however, that the
                               spouse of a natural person Named Insured, and the spouses of members or partners of joint venture or partnership
                               Named Insureds are Insureds with respect to such spouses' acts, errors or omissions in the conduct of the Named
                               Insured's business.

                          10. EXPECTED OR INTENDED INJURY – EXCEPTION FOR REASONABLE FORCE

                               Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions is amended to delete the exclusion entitled Expected or Intended Injury and replace it with the following:

                               This insurance does not apply to:
                               Expected or Intended Injury

                               Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does not
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                               apply to bodily injury or property damage resulting from the use of reasonable force to protect persons or property.
                          11. GENERAL AGGREGATE LIMITS OF INSURANCE - PER LOCATION

                               A. A separate Location General Aggregate Limit, equal to the amount of the General Aggregate Limit, is the most the
                                  Insurer will pay for the sum of:
                                   1.    All damages under Coverage A, except damages because of bodily injury or property damage included in
                                         the products-completed operations hazard; and
                                   2.    All medical expenses under Coverage C,

                                   that arise from occurrences or accidents which can be attributed solely to ongoing operations at that location.
                                   Such payments shall not reduce the General Aggregate Limit shown in the Declarations, nor the Location General
                                   Aggregate Limit of any other location.
                               B. All:

                                   1.    Damages under Coverage B, regardless of the number of locations involved;




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       2.   Damages under Coverage A, caused by occurrences which cannot be attributed solely to ongoing
            operations at a single location, except damages because of bodily injury or property damage included in
            the products-completed operations hazard; and
       3.   Medical expenses under Coverage C caused by accidents which cannot be attributed solely to ongoing
            operations at a single location,

       will reduce the General Aggregate Limit shown in the Declarations.
   C. For the purpose of this GENERAL AGGREGATE LIMITS OF INSURANCE - PER LOCATION Provision,
      "location" means:
       1.   a premises the Named Insured owns or rents; or
       2.   a premises not owned or rented by any Named Insured at which the Named Insured is performing
            operations pursuant to a contract or written agreement. If operations at such a location have been
            discontinued and then restarted, or if the authorized parties deviate from plans, blueprints, designs,
            specifications or timetables, the location will still be deemed to be the same location.

       For the purpose of determining the applicable aggregate limit of insurance, premises involving the same or
       connecting lots, or premises whose connection is interrupted only by a street, roadway, waterway or right-of-way
       of a railroad shall be considered a single location.
   D. The limits shown in the Declarations for Each Occurrence, for Damage To Premises Rented To You and for
      Medical Expense continue to apply, but will be subject to either the Location General Aggregate Limit or the
      General Aggregate Limit, depending on whether the occurrence can be attributed solely to ongoing operations at
      a particular location.
   E. When coverage for liability arising out of the products-completed operations hazard is provided, any payments
      for damages because of bodily injury or property damage included in the products-completed operations
      hazard, regardless of the number of locations involved, will reduce the Products-Completed Operations
      Aggregate Limit shown in the Declarations.
   F. The provisions of LIMITS OF INSURANCE not otherwise modified by this GENERAL AGGREGATE LIMITS OF
      INSURANCE - PER LOCATION Provision shall continue to apply as stipulated.

12. IN REM ACTIONS

       A quasi in rem action against any vessel owned or operated by or for the Named Insured, or chartered by or for
   the Named Insured, will be treated in the same manner as though the action were in personam against the Named
   Insured.

13. INCIDENTAL HEALTH CARE MALPRACTICE COVERAGE

   Solely with respect to bodily injury that arises out of a health care incident:
   A. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the Insuring Agreement is
      amended to replace Paragraphs 1.b.(1) and 1.b.(2) with the following:
       b. This insurance applies to bodily injury provided that the professional health care services are incidental to
          the Named Insured's primary business purpose, and only if:
            (1) such bodily injury is caused by an occurrence that takes place in the coverage territory.

            (2) the bodily injury first occurs during the policy period. All bodily injury arising from an occurrence will
                be deemed to have occurred at the time of the first act, error, or omission that is part of the occurrence;
                and

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                                                            CNA000807
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                             B. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions is amended to:

                                i.   add the following to the Employers Liability exclusion:

                                     This exclusion applies only if the bodily injury arising from a health care incident is covered by other
                                     liability insurance available to the Insured (or which would have been available but for exhaustion of its
                                     limits).
                                ii. delete the exclusion entitled Contractual Liability and replace it with the following:

                                     This insurance does not apply to:
                                     Contractual Liability

                                     the Insured's actual or alleged liability under any oral or written contract or agreement, including but not
                                     limited to express warranties or guarantees.
                                iii. to add the following additional exclusions:

                                     This insurance does not apply to:
                                     Discrimination

                                     any actual or alleged discrimination, humiliation or harassment, including but not be limited to claims based
                                     on an individual's race, creed, color, age, gender, national origin, religion, disability, marital status or sexual
                                     orientation.
                                     Dishonesty or Crime

                                     Any actual or alleged dishonest, criminal or malicious act, error or omission.
                                     Medicare/Medicaid Fraud

                                     any actual or alleged violation of law with respect to Medicare, Medicaid, Tricare or any similar federal, state
                                     or local governmental program.
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                                     Services Excluded by Endorsement

                                     Any health care incident for which coverage is excluded by endorsement.
                             C. DEFINITIONS is amended to:

                                i.   add the following definitions:
                                     Health care incident means an act, error or omission by the Named Insured's employees or volunteer
                                     workers in the rendering of:

                                     a.   professional health care services on behalf of the Named Insured or

                                     b. Good Samaritan services rendered in an emergency and for which no payment is demanded or received.

                                     Professional health care services means any health care services or the related furnishing of food,
                                     beverages, medical supplies or appliances by the following providers in their capacity as such but solely to
                                     the extent they are duly licensed as required:
                                     a.   Physician;


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          b. Nurse;

          c.   Nurse practitioner;
          d. Emergency medical technician;

          e.   Paramedic;
          f.   Dentist;
          g. Physical therapist;

          h. Psychologist;

          i.   Speech therapist;
          j.   Other allied health professional; or
          Professional health care services does not include any services rendered in connection with human clinical
          trials or product testing.
      ii. delete the definition of occurrence and replace it with the following:

          Occurrence means a health care incident. All acts, errors or omissions that are logically connected by any
          common fact, circumstance, situation, transaction, event, advice or decision will be considered to constitute a
          single occurrence;
      iii. amend the definition of Insured to:

          a.   add the following:
                    the Named Insured's employees are Insureds with respect to:

                    (1) bodily injury to a co-employee while in the course of the co-employee's employment by the
                        Named Insured or while performing duties related to the conduct of the Named Insured's
                        business; and
                    (2) bodily injury to a volunteer worker while performing duties related to the conduct of the
                        Named Insured's business;

                    when such bodily injury arises out of a health care incident.
                    the Named Insured's volunteer workers are Insureds with respect to:

                    (1) bodily injury to a co-volunteer worker while performing duties related to the conduct of the
                        Named Insured's business; and

                    (2) bodily injury to an employee while in the course of the employee's employment by the Named
                        Insured or while performing duties related to the conduct of the Named Insured's business;

               when such bodily injury arises out of a health care incident.
          b. delete Subparagraphs (a), (b), (c) and (d) of Paragraph 2.a.(1) of WHO IS AN INSURED.

   D. The Other Insurance condition is amended to delete Paragraph b.(1) in its entirety and replace it with the
      following:
      Other Insurance

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                                 b. Excess Insurance

                                      (1) To the extent this insurance applies, it is excess over any other insurance, self insurance or risk transfer
                                          instrument, whether primary, excess, contingent or on any other basis, except for insurance purchased
                                          specifically by the Named Insured to be excess of this coverage.
                          14. JOINT VENTURES / PARTNERSHIP / LIMITED LIABILITY COMPANIES

                             A. Past Joint Ventures, Partnerships, Limited Liability Companies

                                 The following is added to WHO IS AN INSURED:

                                 If the Named Insured was a joint venturer, partner, or member of a limited liability company and such joint
                                 venture, partnership or limited liability company terminated prior to or during the policy period, such Named
                                 Insured is an Insured with respect to its interest in such joint venture, partnership or limited liability company but
                                 only to the extent that:
                                 a.   any offense giving rise to personal and advertising injury occurred prior to such termination date, and the
                                      personal and advertising injury arising out of such offense, first occurred after such termination date;

                                 b. the bodily injury or property damage first occurred after such termination date; and

                                 c.   there is no other valid and collectible insurance purchased specifically to insure the partnership, joint venture
                                      or limited liability company.

                                 If the joint venture, partnership or limited liability company is or was insured under a consolidated (wrap-up)
                                 insurance program, then such insurance will always be considered valid and collectible for the purpose of
                                 paragraph c. above. But this provision will not serve to exclude bodily injury, property damage or personal and
                                 advertising injury that would otherwise be covered under the Architects, Engineers And Surveyors General
                                 Liability Extension Endorsement provision entitled WRAP-UP EXTENSION: OCIP, CCIP, OR
                                 CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS. Please see that provision for the definition of
                                 consolidated (wrap-up) insurance program.

                             B. Participation In Current Professional Joint Ventures
                                 The following is added to WHO IS AN INSURED:
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                                 The Named Insured is also an Insured for participation in a current joint venture that is not named on the
                                 Declarations, but only if such joint venture meets all of the following criteria:
                                 a.   Each and every one of the Named Insured's co-venturers are architectural, engineering or surveying firms
                                      only; and
                                 b. There is no other valid and collectible insurance purchased specifically to insure the joint venture.

                                 However, the Named Insured is an Insured only for the conduct of such Named Insured's business within such
                                 a joint venture. The Named Insured is not insured for liability arising out of the acts or omissions of other co-
                                 venturers, nor of their partners, members or employees.
                             C. WHO IS AN INSURED is amended to delete its last paragraph and replace it with the following:
                                 Except as provided under this Architects, Engineers And Surveyors General Liability Extension
                                 Endorsement or by the attachment of another endorsement (if any), no person or organization is an Insured with
                                 respect to the conduct of any current or past partnership, joint venture or limited liability company that is not
                                 shown as a Named Insured in the Declarations.



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15. LEGAL LIABILITY – DAMAGE TO PREMISES / ALIENATED PREMISES / PROPERTY IN THE NAMED
    INSURED'S CARE, CUSTODY OR CONTROL

   A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended to delete exclusion j. Damage to Property in its entirety and replace it with the following:

       This insurance does not apply to:
       j.   Damage to Property

            Property damage to:

            (1) Property the Named Insured owns, rents, or occupies, including any costs or expenses incurred by you,
                or any other person, organization or entity, for repair, replacement, enhancement, restoration or
                maintenance of such property for any reason, including prevention of injury to a person or damage to
                another's property;
            (2) Premises the Named Insured sells, gives away or abandons, if the property damage arises out of any
                part of those premises;
            (3) Property loaned to the Named Insured;

            (4) Personal property in the care, custody or control of the Insured;

            (5) That particular part of real property on which the Named Insured or any contractors or subcontractors
                working directly or indirectly on the Named Insured's behalf are performing operations, if the property
                damage arises out of those operations; or

            (6) That particular part of any property that must be restored, repaired or replaced because your work was
                incorrectly performed on it.

            Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
            premises rented to the Named Insured or temporarily occupied by the Named Insured with the permission of
            the owner, nor to the contents of premises rented to the Named Insured for a period of 7 or fewer
            consecutive days. A separate limit of insurance applies to Damage To Premises Rented To You as described
            in LIMITS OF INSURANCE.

            Paragraph (2) of this exclusion does not apply if the premises are your work.

            Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack
            agreement.

            Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
            operations hazard.

            Paragraphs (3) and (4) of this exclusion do not apply to property damage to:
            i.   tools, or equipment the Named Insured borrows from others, nor
            ii. other personal property of others in the Named Insured's care, custody or control while being used in the
                Named Insured's operations away from any Named Insured's premises.

            However, the coverage granted by this exception to Paragraphs (3) and (4) does not apply to:
            a.   property at a job site awaiting or during such property's installation, fabrication, or erection;
            b. property that is mobile equipment leased by an Insured;

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                                      c.   property that is an auto, aircraft or watercraft;
                                      d. property in transit; or

                                      e.   any portion of property damage for which the Insured has available other valid and collectible
                                           insurance, or would have such insurance but for exhaustion of its limits, or but for application of one of its
                                           exclusions.

                                      A separate limit of insurance and deductible apply to such property of others. See LIMITS OF INSURANCE
                                      as amended below.
                             B. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                                Exclusions is amended to delete its last paragraph and replace it with the following:

                                 Exclusions c. through n. do not apply to damage by fire to premises while rented to a Named Insured or
                                 temporarily occupied by a Named Insured with permission of the owner, nor to damage to the contents of
                                 premises rented to a Named Insured for a period of 7 or fewer consecutive days.

                                 A separate limit of insurance applies to this coverage as described in LIMITS OF INSURANCE.
                             C. The following paragraph is added to LIMITS OF INSURANCE:

                                 Subject to 5. above, $25,000 is the most the Insurer will pay under Coverage A for damages arising out of any
                                 one occurrence because of the sum of all property damage to borrowed tools or equipment, and to other
                                 personal property of others in the Named Insured's care, custody or control, while being used in the Named
                                 Insured's operations away from any Named Insured's premises. The Insurer's obligation to pay such property
                                 damage does not apply until the amount of such property damage exceeds $1,000. The Insurer has the right but
                                 not the duty to pay any portion of this $1,000 in order to effect settlement. If the Insurer exercises that right, the
                                 Named Insured will promptly reimburse the Insurer for any such amount.

                             D. Paragraph 6., Damage To Premises Rented To You Limit, of LIMITS OF INSURANCE is deleted and replaced by
                                the following:
                                 6.   Subject to Paragraph 5. above, (the Each Occurrence Limit), the Damage To Premises Rented To You Limit
                                      is the most the Insurer will pay under Coverage A for damages because of property damage to any one
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                                      premises while rented to the Named Insured or temporarily occupied by the Named Insured with the
                                      permission of the owner, including contents of such premises rented to the Named Insured for a period of 7
                                      or fewer consecutive days. The Damage To Premises Rented To You Limit is the greater of:
                                      a.   $500,000; or
                                      b. The Damage To Premises Rented To You Limit shown in the Declarations.

                             E. Paragraph 4.b.(1)(a)(ii) of the Other Insurance Condition is deleted and replaced by the following:

                                 (ii) That is property insurance for premises rented to the Named Insured, for premises temporarily occupied by
                                      the Named Insured with the permission of the owner; or for personal property of others in the Named
                                      Insured's care, custody or control;

                          16. LIQUOR LIABILITY

                             Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                             Exclusions is amended to delete the exclusion entitled Liquor Liability.

                             This LIQUOR LIABILITY Provision does not apply to any person or organization who otherwise qualifies as an
                             additional insured on this Coverage Part.


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17. MEDICAL PAYMENTS

   A. LIMITS OF INSURANCE is amended to delete Paragraph 7. (the Medical Expense Limit) and replace it with the
      following:
        7.   Subject to Paragraph 5. above (the Each Occurrence Limit), the Medical Expense Limit is the most the
             Insurer will pay under Coverage C for all medical expenses because of bodily injury sustained by any one
             person. The Medical Expense Limit is the greater of:
             (1) $15,000 unless a different amount is shown here:                         $N,NNN,NNN,NNN;                   or
             (2) the amount shown in the Declarations for Medical Expense Limit.

   B. Under COVERAGES, the Insuring Agreement of Coverage C – Medical Payments is amended to replace
      Paragraph 1.a.(3)(b) with the following:
        (b) The expenses are incurred and reported to the Insurer within three years of the date of the accident; and

18. NON-OWNED AIRCRAFT

   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended as follows:

   The exclusion entitled Aircraft, Auto or Watercraft is amended to add the following:

   This exclusion does not apply to an aircraft not owned by any Named Insured, provided that:
   1.   the pilot in command holds a currently effective certificate issued by the duly constituted authority of the United
        States of America or Canada, designating that person as a commercial or airline transport pilot;
   2.   the aircraft is rented with a trained, paid crew to the Named Insured; and
   3.   the aircraft is not being used to carry persons or property for a charge.
19. NON-OWNED WATERCRAFT

   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended to delete subparagraph (2) of the exclusion entitled Aircraft, Auto or Watercraft, and
   replace it with the following.

   This exclusion does not apply to:
   (2) a watercraft that is not owned by any Named Insured, provided the watercraft is:

        (a) less than 75 feet long; and

        (b) not being used to carry persons or property for a charge.

20. PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION

   A. Under DEFINITIONS, the definition of personal and advertising injury is amended to add the following tort:
             Discrimination or humiliation that results in injury to the feelings or reputation of a natural person.

   B. Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the paragraph entitled
      Exclusions is amended to:

        1.   delete the Exclusion entitled Knowing Violation Of Rights Of Another and replace it with the following:

CNA74858XX (1-15)                                                                                                    Policy No: 6056872807
Page 14 of 18                                                                                                  Endorsement No:       3
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000813
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 613 of 1498 PageID #:16873
                                                                                                                                                   CNA PARAMOUNT

                                                                         Architects, Engineers and Surveyors General Liability
                                                                                                      Extension Endorsement

                                      This insurance does not apply to:
                                      Knowing Violation of Rights of Another

                                      Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                      would violate the rights of another and would inflict personal and advertising injury. This exclusion shall not
                                      apply to discrimination or humiliation that results in injury to the feelings or reputation of a natural person, but
                                      only if such discrimination or humiliation is not done intentionally by or at the direction of:
                                      (a) the Named Insured; or

                                      (b) any executive officer, director, stockholder, partner, member or manager (if the Named Insured is a
                                          limited liability company) of the Named Insured.
                                 2.   add the following exclusions:

                                      This insurance does not apply to:
                                      Employment Related Discrimination

                                      discrimination or humiliation directly or indirectly related to the employment, prospective employment, past
                                      employment or termination of employment of any person by any Insured.
                                      Premises Related Discrimination

                                      discrimination or humiliation arising out of the sale, rental, lease or sub-lease or prospective sale, rental,
                                      lease or sub-lease of any room, dwelling or premises by or at the direction of any Insured.

                             Notwithstanding the above, there is no coverage for fines or penalties levied or imposed by a governmental entity
                             because of discrimination.

                             The coverage provided by this PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION
                             Provision does not apply to any person or organization whose status as an Insured derives solely from
                                      Provision 1. ADDITIONAL INSURED of this endorsement; or
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                                      attachment of an additional insured endorsement to this Coverage Part.

                          21. PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY

                             A. Under COVERAGES, Coverage B –Personal and Advertising Injury Liability, the paragraph entitled
                                Exclusions is amended to delete the exclusion entitled Contractual Liability.

                             B. Solely for the purpose of the coverage provided by this PERSONAL AND ADVERTISING INJURY - LIMITED
                                CONTRACTUAL LIABILITY provision, the following changes are made to the section entitled
                                SUPPLEMENTARY PAYMENTS – COVERAGES A AND B:

                                 1.   Paragraph 2.d. is replaced by the following:
                                      d. The allegations in the suit and the information the Insurer knows about the offense alleged in such suit
                                         are such that no conflict appears to exist between the interests of the Insured and the interests of the
                                         indemnitee;
                                 2.   The first unnumbered paragraph beneath Paragraph 2.f.(2)(b) is deleted and replaced by the following:

                                      So long as the above conditions are met, attorney's fees incurred by the Insurer in the defense of that
                                      indemnitee, necessary litigation expenses incurred by the Insurer, and necessary litigation expenses incurred


                          CNA74858XX (1-15)                                                                                                   Policy No: 6056872807
                          Page 15 of 18                                                                                                 Endorsement No:       3
                          CONTINENTAL CASUALTY COMPANY                                                                                    Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                      CNA000814
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                                                                                                                         CNA PARAMOUNT

                                               Architects, Engineers and Surveyors General Liability
                                                                            Extension Endorsement

            by the indemnitee at the Insurer's request will be paid as defense costs. Such payments will not be deemed
            to be damages for personal and advertising injury and will not reduce the limits of insurance.
   C. This PERSONAL AND ADVERTISING INJURY - LIMITED CONTRACTUAL LIABILITY Provision does not apply
      if Coverage B –Personal and Advertising Injury Liability is excluded by another endorsement attached to this
      Coverage Part.

   This PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY Provision does not apply to any
   person or organization who otherwise qualifies as an additional insured on this Coverage Part.
22. PROPERTY DAMAGE – ELEVATORS

   A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended such that the Damage to Your Product Exclusion and subparagraphs (3), (4) and (6) of
      the Damage to Property Exclusion do not apply to property damage that results from the use of elevators.
   B. Solely for the purpose of the coverage provided by this PROPERTY DAMAGE – ELEVATORS Provision, the
      Other Insurance conditions is amended to add the following paragraph:

        This insurance is excess over any of the other insurance, whether primary, excess, contingent or on any other
        basis that is Property insurance covering property of others damaged from the use of elevators.
23. RETIRED PARTNERS, MEMBERS, DIRECTORS AND EMPLOYEES

   WHO IS INSURED is amended to include as Insureds natural persons who are retired partners, members, directors
   or employees, but only for bodily injury, property damage or personal and advertising injury that results from
   services performed for the Named Insured under the Named Insured's direct supervision. All limitations that apply to
   employees and volunteer workers also apply to anyone qualifying as an Insured under this Provision.

24. SUPPLEMENTARY PAYMENTS

   The section entitled SUPPLEMENTARY PAYMENTS – COVERAGES A AND B is amended as follows:
   A. Paragraph 1.b. is amended to delete the                        limit shown for the cost of bail bonds and replace it with a $5,000.
      limit; and
   B. Paragraph 1.d. is amended to delete the limit of                             shown for daily loss of earnings and replace it with a
             limit.
25. UNINTENTIONAL FAILURE TO DISCLOSE HAZARDS

   If the Named Insured unintentionally fails to disclose all existing hazards at the inception date of the Named
   Insured's Coverage Part, the Insurer will not deny coverage under this Coverage Part because of such failure.

26. WAIVER OF SUBROGATION - BLANKET

   Under CONDITIONS, the condition entitled Transfer Of Rights Of Recovery Against Others To Us is amended to
   add the following:

   The Insurer waives any right of recovery the Insurer may have against any person or organization because of
   payments the Insurer makes for injury or damage arising out of:
   1.   the Named Insured's ongoing operations; or
   2.   your work included in the products-completed operations hazard.

   However, this waiver applies only when the Named Insured has agreed in writing to waive such rights of recovery in
   a written contract or written agreement, and only if such contract or agreement:
CNA74858XX (1-15)                                                                                                   Policy No: 6056872807
Page 16 of 18                                                                                                 Endorsement No:       3
CONTINENTAL CASUALTY COMPANY                                                                                    Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                            CNA000815
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                                                                                                                                                    CNA PARAMOUNT

                                                                          Architects, Engineers and Surveyors General Liability
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                             1.   is in effect or becomes effective during the term of this Coverage Part; and
                             2.   was executed prior to the bodily injury, property damage or personal and advertising injury giving rise to the
                                  claim.

                          27. WRAP-UP EXTENSION: OCIP, CCIP, OR CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS

                             Note: The following provision does not apply to any public construction project in the state of Oklahoma, nor to any
                             construction project in the state of Alaska, that is not permitted to be insured under a consolidated (wrap-up)
                             insurance program by applicable state statute or regulation.

                             If the endorsement EXCLUSION – CONSTRUCTION WRAP-UP is attached to this policy, or another exclusionary
                             endorsement pertaining to Owner Controlled Insurance Programs (O.C.I.P.) or Contractor Controlled Insurance
                             Programs (C.C.I.P.) is attached, then the following changes apply:
                             A. The following wording is added to the above-referenced endorsement:

                                  With respect to a consolidated (wrap-up) insurance program project in which the Named Insured is or was
                                  involved, this exclusion does not apply to those sums the Named Insured become legally obligated to pay as
                                  damages because of:

                                  1.   Bodily injury, property damage, or personal or advertising injury that occurs during the Named Insured's
                                       ongoing operations at the project, or during such operations of anyone acting on the Named Insured's
                                       behalf; nor
                                  2.   Bodily injury or property damage included within the products-completed operations hazard that arises
                                       out of those portions of the project that are not residential structures.
                             B. Condition 4. Other Insurance is amended to add the following subparagraph 4.b.(1)(c):

                                  This insurance is excess over:
                                  (c) Any of the other insurance whether primary, excess, contingent or any other basis that is insurance available
                                      to the Named Insured as a result of the Named Insured being a participant in a consolidated (wrap-up)
                                      insurance program, but only as respects the Named Insured's involvement in that consolidated (wrap-up)
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                                      insurance program.

                             C. DEFINITIONS is amended to add the following definitions:

                                  Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the
                                  prime contractor/project manager or owner of the construction project has secured general liability insurance
                                  covering some or all of the contractors or subcontractors involved in the project, such as an Owner Controlled
                                  Insurance Program (O.C.I.P.) or Contractor Controlled Insurance Program (C.C.I.P.).
                                  Residential structure means any structure where 30% or more of the square foot area is used or is intended to
                                  be used for human residency, including but not limited to:
                                  1.   single or multifamily housing, apartments, condominiums, townhouses, co-operatives or planned unit
                                       developments; and
                                  2.   the common areas and structures appurtenant to the structures in paragraph 1. (including pools, hot tubs,
                                       detached garages, guest houses or any similar structures).

                                  However, when there is no individual ownership of units, residential structure does not include military housing,
                                  college/university housing or dormitories, long term care facilities, hotels or motels. Residential structure also
                                  does not include hospitals or prisons.


                          CNA74858XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 17 of 18                                                                                                  Endorsement No:       3
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000816
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                                                                                                                          CNA PARAMOUNT

                                                Architects, Engineers and Surveyors General Liability
                                                                             Extension Endorsement

    This WRAP-UP EXTENSION: OCIP, CCIP, OR CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS Provision
    does not apply to any person or organization who otherwise qualifies as an additional insured on this Coverage Part.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74858XX (1-15)                                                                                                    Policy No: 6056872807
Page 18 of 18                                                                                                  Endorsement No:       3
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000817
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 617 of 1498 PageID #:16877
                                                                                                                                                     CNA PARAMOUNT
                                                            General Aggregate Limit - Designated Projects Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                                   SCHEDULE
                               Designated Construction or Service Projects:
                               Each of your construction projects
                               located away from premises owned by
                               or rented to you.




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          It is understood and agreed as follows:
                          I.   For each single designated construction or service project shown in the Schedule above, a separate Designated
                               Project General Aggregate Limit, equal to the amount of the General Aggregate Limit shown in the Declarations, is the
                               most the Insurer will pay for the sum of:
                               A. all damages under Coverage A, except damages because of bodily injury or property damage included in the
                                  products-completed operations hazard; and
                               B. all medical expenses under Coverage C;
                               that arise from occurrences or accidents which can be attributed solely to ongoing operations at that designated
                               project. Such payments shall not reduce the General Aggregate Limit shown in the Declarations, nor the Designated
30020000760568728074849




                               Project General Aggregate Limit applicable to any other project.
                          II. All:
                               A. damages under Coverage B, regardless of the number of locations or projects involved;
                               B. damages under Coverage A, caused by occurrences which cannot be attributed solely to ongoing operations at
                                  a single designated project, except damages because of bodily injury or property damage included in the
                                  products-completed operations hazard; and
                               C. medical expenses under Coverage C, caused by accidents which cannot be attributed solely to ongoing
                                  operations at a single designated project,
                               will reduce the General Aggregate Limit shown in the Declarations.
                          III. The limits shown in the Declarations for Each Occurrence, for Damage To Premises Rented To You and for Medical
                               Expense continue to apply, but will be subject to either the Project General Aggregate Limit or the General Aggregate
                               Limit shown in the Declarations, depending on whether the occurrence can be attributed solely to ongoing operations
                               at a particular designated project.
                          IV. When coverage for liability arising out of the products-completed operations hazard is provided, any payments for
                              damages because of bodily injury or property damage included in the products-completed operations hazard will

                          CNA74826XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 2                                                                                                     Endorsement No:       4
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000818
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                                                                                                                          CNA PARAMOUNT
                                 General Aggregate Limit - Designated Projects Endorsement

    reduce the Products-Completed Operations Aggregate Limit shown in the Declarations, regardless of the number of
    projects involved.
V. If the applicable scheduled construction or service project has been abandoned and then restarted, or if the authorized
   contracting parties deviate from plans, blueprints, designs, specifications or timetables, such project will still be
   deemed to be the same project.
VI. The provisions of LIMITS OF INSURANCE not otherwise modified by this endorsement shall continue to apply as
    stipulated.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74826XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:       4
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000819
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                                                                                                                                                     CNA PARAMOUNT

                                                                                                 Coverage for Liability for Hazards of Lead
                                                                                                without Sublimit Endorsement - New Jersey

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the
                          paragraph entitled Exclusions, is amended to add the following to the exclusion entitled Pollution:
                          For premises constructed on or after 1978, or premises constructed prior to 1978 which have been certified, prior to the
                          policy period, as being free of existing lead hazards pursuant to standards established by the Department of Community
                          Affairs, this exclusion does not apply to bodily injury arising out of lead contamination, or out of the inhalation, ingestion,
                          use, handling or contact with lead paint at or from any premises, site or location which is or was at any time owned or
                          occupied by, or rented or loaned to, any Insured.
                          This provision will also apply to any premises constructed prior to 1978 which receives such certification during the policy
                          period, but only for bodily injury which occurs after such certification.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74942NJ (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:       5
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000820
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                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FEDERAL BUSINESS CENTERS
30020000760568728074851




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      45
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000821
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 621 of 1498 PageID #:16881
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      45
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA000822
                                             Copyright Insurance Serv ces Office, Inc., 2018
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 622 of 1498 PageID #:16882
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PETILLO, INC.
30020000760568728074852




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       6
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000823
                                                                         Copyright, ISO Properties, Inc , 2004
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                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:       6
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000824
                                                Copyright, ISO Properties, Inc , 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 624 of 1498 PageID #:16884
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Town of Morristown
30020000760568728074853




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       7
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000825
                                                                         Copyright, ISO Properties, Inc , 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 625 of 1498 PageID #:16885
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:       7
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000826
                                                Copyright, ISO Properties, Inc , 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 626 of 1498 PageID #:16886
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DM Airports, LTD
30020000760568728074854




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       8
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000827
                                                                         Copyright, ISO Properties, Inc , 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 627 of 1498 PageID #:16887
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:       8
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000828
                                                Copyright, ISO Properties, Inc , 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 628 of 1498 PageID #:16888
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MCFARLAND JOHNSON ENGINEERS INC
30020000760568728074855




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       9
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000829
                                                                         Copyright, ISO Properties, Inc , 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 629 of 1498 PageID #:16889
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:       9
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000830
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 630 of 1498 PageID #:16890
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Delta Airport Solutions
30020000760568728074856




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      10
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000831
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 631 of 1498 PageID #:16891
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      10
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000832
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 632 of 1498 PageID #:16892
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           US Federal Aviation Administration
30020000760568728074857




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      11
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000833
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 633 of 1498 PageID #:16893
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      11
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000834
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 634 of 1498 PageID #:16894
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           ALSTON CONSTRUCTION COMPANY INC
30020000760568728074858




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      12
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000835
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 635 of 1498 PageID #:16895
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      12
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000836
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 636 of 1498 PageID #:16896
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           LRC Construction LLC; FM EXCAVATION LLC; FULLER MARQUIS CONCRETE LLC; LRC
                           MAINTENANCE LLC; FULLER MARQUISE LLC; CAPPELLI ORGANIZATION LLC.
30020000760568728074859




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      13
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000837
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 637 of 1498 PageID #:16897
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      13
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000838
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 638 of 1498 PageID #:16898
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           RXR CHURCH-DIVISION TOWER A HOLDINGS LLC; RXR CHURCH-DIVISION TOWER A QOZB REIT
                           LLC; RXR QOZ FUND I -C LLC; RXR QOZ FUND I MM-C LLC; RXR QOZ FUND I INVESTOR
                           LLC; RXR PROPERTIES HOLDINGS LLC; RXR REALTY LLC; RXR RESIDENTIAL SERVICES LLC;
30020000760568728074860




                           RXR DEVELOPMENT SERVICES LLC
                           RXR CONSTRUCTION SERVICES LLC




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      14
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000839
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 639 of 1498 PageID #:16899
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      14
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000840
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 640 of 1498 PageID #:16900
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CITY OF NEW ROCHELLE; NEW ROCHELLE INDUSTRIAL DEVELOPMENT AGENCY
30020000760568728074861




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      15
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000841
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 641 of 1498 PageID #:16901
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      15
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000842
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 642 of 1498 PageID #:16902
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           28 SOUTH DIVISION OWNER LLC; 42 SOUTH DIVISION OWNER LLC; 48 SOUTH DIVISION
                           OWNER LLC; 44 SOUTH DIVISION OWNER LLC
30020000760568728074862




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      16
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000843
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 643 of 1498 PageID #:16903
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      16
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000844
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 644 of 1498 PageID #:16904
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CAPITAL ONE N.A.
30020000760568728074863




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      17
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000845
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 645 of 1498 PageID #:16905
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      17
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000846
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 646 of 1498 PageID #:16906
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FABRINCIANO CABRERA AND BETTY LYNN CABRERA
30020000760568728074864




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      18
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000847
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 647 of 1498 PageID #:16907
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      18
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000848
                                                Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 648 of 1498 PageID #:16908
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PALACE PRIME REALTY LLC
30020000760568728074865




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      19
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000849
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 649 of 1498 PageID #:16909
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      19
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000850
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 650 of 1498 PageID #:16910
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           VITO GALLELLO AND MICHAEL LOVECCHIO
30020000760568728074866




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      20
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000851
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 651 of 1498 PageID #:16911
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      20
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000852
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 652 of 1498 PageID #:16912
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           530 MAIN REALTY LLC
30020000760568728074867




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      21
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000853
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 653 of 1498 PageID #:16913
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      21
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000854
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 654 of 1498 PageID #:16914
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DICE REAL ESTATE LLC
30020000760568728074868




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      22
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000855
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 655 of 1498 PageID #:16915
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      22
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000856
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 656 of 1498 PageID #:16916
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           NATIONAL AMUSEMENTS INC
30020000760568728074869




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      23
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000857
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 657 of 1498 PageID #:16917
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      23
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000858
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 658 of 1498 PageID #:16918
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           WILDER BALTER PARTNERS INC
30020000760568728074870




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      24
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000859
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 659 of 1498 PageID #:16919
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      24
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000860
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 660 of 1498 PageID #:16920
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FAMILY YMCA AT TARRYTOWN
30020000760568728074871




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      25
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000861
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 661 of 1498 PageID #:16921
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      25
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA000862
                                                Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 662 of 1498 PageID #:16922
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FEDERAL BUSINESS CENTERS
30020000760568728074872




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      46
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000863
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 663 of 1498 PageID #:16923
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      46
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA000864
                                             Copyright Insurance Serv ces Office, Inc., 2018
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 664 of 1498 PageID #:16924
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PETILLO, INC.
30020000760568728074873




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      26
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000865
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 665 of 1498 PageID #:16925
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      26
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000866
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 666 of 1498 PageID #:16926
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Town of Morristown
30020000760568728074874




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      27
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000867
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 667 of 1498 PageID #:16927
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      27
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000868
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 668 of 1498 PageID #:16928
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DM Airports, LTD
30020000760568728074875




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      28
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000869
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 669 of 1498 PageID #:16929
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      28
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000870
                                                 Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 670 of 1498 PageID #:16930
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MCFARLAND JOHNSON ENGINEERS INC
30020000760568728074876




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      29
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000871
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 671 of 1498 PageID #:16931
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      29
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000872
                                                 Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 672 of 1498 PageID #:16932
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Delta Airport Solutions
30020000760568728074877




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      30
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000873
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 673 of 1498 PageID #:16933
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      30
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000874
                                                 Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 674 of 1498 PageID #:16934
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           US Federal Aviation Administration
30020000760568728074878




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      31
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000875
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 675 of 1498 PageID #:16935
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      31
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000876
                                                 Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 676 of 1498 PageID #:16936
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           ALSTON CONSTRUCTION COMPANY INC
30020000760568728074879




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      32
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000877
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 677 of 1498 PageID #:16937
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      32
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000878
                                                 Copyright, ISO Properties, Inc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 678 of 1498 PageID #:16938
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           LRC Construction LLC; FM EXCAVATION LLC; FULLER MARQUIS CONCRETE LLC; LRC
                           MAINTENANCE LLC; FULLER MARQUISE LLC; CAPPELLI ORGANIZATION LLC.
30020000760568728074880




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      33
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000879
                                                                         Copyright, ISO Properties, Inc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 679 of 1498 PageID #:16939
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      33
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000880
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 680 of 1498 PageID #:16940
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           RXR CHURCH-DIVISION TOWER A HOLDINGS LLC; RXR CHURCH-DIVISION TOWER A QOZB REIT
                           LLC; RXR QOZ FUND I -C LLC; RXR QOZ FUND I MM-C LLC; RXR QOZ FUND I INVESTOR
                           LLC; RXR PROPERTIES HOLDINGS LLC; RXR REALTY LLC; RXR RESIDENTIAL SERVICES LLC;




                           RXR DEVELOPMENT SERVICES LLC
                           RXR CONSTRUCTION SERVICES LLC
30020000760568728074881




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      34
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000881
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 681 of 1498 PageID #:16941
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      34
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000882
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 682 of 1498 PageID #:16942
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CITY OF NEW ROCHELLE; NEW ROCHELLE INDUSTRIAL DEVELOPMENT AGENCY
30020000760568728074882




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      35
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000883
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 683 of 1498 PageID #:16943
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      35
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000884
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 684 of 1498 PageID #:16944
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           28 SOUTH DIVISION OWNER LLC; 42 SOUTH DIVISION OWNER LLC; 48 SOUTH DIVISION
                           OWNER LLC; 44 SOUTH DIVISION OWNER LLC
30020000760568728074883




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      36
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000885
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 685 of 1498 PageID #:16945
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      36
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000886
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 686 of 1498 PageID #:16946
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CAPITAL ONE N.A.
30020000760568728074884




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      37
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000887
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 687 of 1498 PageID #:16947
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      37
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000888
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 688 of 1498 PageID #:16948
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FABRINCIANO CABRERA AND BETTY LYNN CABRERA
30020000760568728074885




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      38
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000889
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 689 of 1498 PageID #:16949
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      38
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000890
                                                 Copyright, ISO Properties, Inc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 690 of 1498 PageID #:16950
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PALACE PRIME REALTY LLC
30020000760568728074886




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      39
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000891
                                                                         Copyright, ISO Properties, Inc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 691 of 1498 PageID #:16951
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      39
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000892
                                                 Copyright, ISO Properties, Inc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 692 of 1498 PageID #:16952
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           VITO GALLELLO AND MICHAEL LOVECCHIO
30020000760568728074887




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      40
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000893
                                                                         Copyright, ISO Properties, Inc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 693 of 1498 PageID #:16953
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      40
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000894
                                                 Copyright, ISO Properties, Inc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 694 of 1498 PageID #:16954
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DICE REAL ESTATE LLC
30020000760568728074888




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      41
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000895
                                                                         Copyright, ISO Properties, Inc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 695 of 1498 PageID #:16955
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      41
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000896
                                                 Copyright, ISO Properties, Inc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 696 of 1498 PageID #:16956
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           NATIONAL AMUSEMENTS INC
30020000760568728074889




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      42
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000897
                                                                         Copyright, ISO Properties, Inc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 697 of 1498 PageID #:16957
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      42
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000898
                                                 Copyright, ISO Properties, Inc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 698 of 1498 PageID #:16958
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           WILDER BALTER PARTNERS INC
30020000760568728074890




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      43
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000899
                                                                         Copyright, ISO Properties, Inc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 699 of 1498 PageID #:16959
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      43
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000900
                                                 Copyright, ISO Properties, Inc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 700 of 1498 PageID #:16960
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FAMILY YMCA AT TARRYTOWN
30020000760568728074891




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      44
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000901
                                                                         Copyright, ISO Properties, Inc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 701 of 1498 PageID #:16961
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      44
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000902
                                                 Copyright, ISO Properties, Inc. 2004
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 702 of 1498 PageID #:16962
                                                                                                                                                    CNA PARAMOUNT
                                                                   Additional Insured – Charitable Institutions Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that the WHO IS AN INSURED section is amended to include as an Insured:
                          A.   the Named Insured’s members but only with respect to such member’s liability for the Named Insured’s activities or
                               activities such members perform on the Named Insured’s behalf;
                          B. the Named Insured’s trustees or members of the board of governors, but only while acting within the scope of their
                             duties as such on behalf of the Named Insured.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074892




                          CNA74691XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      47
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000903
                                           Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 703 of 1498 PageID #:16963
                                                                                                                                                     CNA PARAMOUNT
                                                                                      Blanket Additional Insured - Owners, Lessees or
                                                                                               Contractors - with Products-Completed
                                                                                                  Operations Coverage Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   WHO IS AN INSURED is amended to include as an Insured any person or organization whom you are required by
                               written contract to add as an additional insured on this coverage part, but only with respect to liability for bodily
                               injury, property damage or personal and advertising injury caused in whole or in part by your acts or omissions, or
                               the acts or omissions of those acting on your behalf:
                               A. in the performance of your ongoing operations subject to such written contract; or
                               B. in the performance of your work subject to such written contract, but only with respect to bodily injury or
                                  property damage included in the products-completed operations hazard, and only if:
                                   1.   the written contract requires you to provide the additional insured such coverage; and
                                   2.   this coverage part provides such coverage.
                          II. But if the written contract requires:
                               A. additional insured coverage under the 11-85 edition, 10-93 edition, or 10-01 edition of CG2010, or under the 10-
                                  01 edition of CG2037; or
                               B. additional insured coverage with "arising out of" language; or
                               C. additional insured coverage to the greatest extent permissible by law;
                               then paragraph I. above is deleted in its entirety and replaced by the following:
                               WHO IS AN INSURED is amended to include as an Insured any person or organization whom you are required by
                               written contract to add as an additional insured on this coverage part, but only with respect to liability for bodily
                               injury, property damage or personal and advertising injury arising out of your work that is subject to such written
                               contract.
                          III. Subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer will not provide
30020000760568728074893




                               such additional insured with:
                               A. coverage broader than required by the written contract; or
                               B. a higher limit of insurance than required by the written contract.
                          IV. The insurance granted by this endorsement to the additional insured does not apply to bodily injury, property
                              damage, or personal and advertising injury arising out of:
                               A. the rendering of, or the failure to render, any professional architectural, engineering, or surveying services,
                                  including:
                                   1.   the preparing, approving, or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                        field orders, change orders or drawings and specifications; and
                                   2.   supervisory, inspection, architectural or engineering activities; or
                               B. any premises or work for which the additional insured is specifically listed as an additional insured on another
                                  endorsement attached to this coverage part.
                          V. Under COMMERCIAL GENERAL LIABILITY CONDITIONS, the Condition entitled Other Insurance is amended to
                              add the following, which supersedes any provision to the contrary in this Condition or elsewhere in this coverage
                              part:
                          CNA75079XX (10-16)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:         48
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000904
                                            Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 704 of 1498 PageID #:16964
                                                                                                                           CNA PARAMOUNT
                                                            Blanket Additional Insured - Owners, Lessees or
                                                                     Contractors - with Products-Completed
                                                                        Operations Coverage Endorsement

    Primary and Noncontributory Insurance
    With respect to other insurance available to the additional insured under which the additional insured is a named
    insured, this insurance is primary to and will not seek contribution from such other insurance, provided that a written
    contract requires the insurance provided by this policy to be:
    1.   primary and non-contributing with other insurance available to the additional insured; or
    2.   primary and to not seek contribution from any other insurance available to the additional insured.
    But except as specified above, this insurance will be excess of all other insurance available to the additional insured.
VI. Solely with respect to the insurance granted by this endorsement, the section entitled COMMERCIAL GENERAL
    LIABILITY CONDITIONS is amended as follows:
    The Condition entitled Duties In The Event of Occurrence, Offense, Claim or Suit is amended with the addition of
    the following:
    Any additional insured pursuant to this endorsement will as soon as practicable:
    1.   give the Insurer written notice of any claim, or any occurrence or offense which may result in a claim;
    2.   send the Insurer copies of all legal papers received, and otherwise cooperate with the Insurer in the investigation,
         defense, or settlement of the claim; and
    3.   make available any other insurance, and tender the defense and indemnity of any claim to any other insurer or
         self-insurer, whose policy or program applies to a loss that the Insurer covers under this coverage part. However,
         if the written contract requires this insurance to be primary and non-contributory, this paragraph 3. does not
         apply to insurance on which the additional insured is a named insured.
    The Insurer has no duty to defend or indemnify an additional insured under this endorsement until the Insurer receives
    written notice of a claim from the additional insured.
VII. Solely with respect to the insurance granted by this endorsement, the section entitled DEFINITIONS is amended to
     add the following definition:
    Written contract means a written contract or written agreement that requires you to make a person or organization an
    additional insured on this coverage part, provided the contract or agreement:
    A. is currently in effect or becomes effective during the term of this policy; and
    B. was executed prior to:
         1.   the bodily injury or property damage; or
         2.   the offense that caused the personal and advertising injury;
         for which the additional insured seeks coverage.
Any coverage granted by this endorsement shall apply solely to the extent permissible by law.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.

CNA75079XX (10-16)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                     Endorsement No:      48
CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                              CNA000905
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 705 of 1498 PageID #:16965
                                                                                                                                                    CNA PARAMOUNT
                                                                                         Pollution Exclusion Amendatory Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A, Bodily Injury and Property Damage Liability, the
                          paragraph entitled Exclusions is amended to delete paragraph (2) of exclusion f. Pollution, in its entirety, and replace it
                          with the following:
                          This insurance does not apply to:
                          (2) Any loss, cost or expense arising out of any:
                              (a) request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor, clean
                                  up, remove, contain, treat, detoxify or neutralize, or in any way respond to or assess the effects of, pollutants; or
                              (b) Claim by or on behalf of a governmental authority for damages because of testing for, monitoring, cleaning up,
                                  removing, containing, treating, detoxifying or neutralizing, or in any way responding to or assessing the effects of,
                                  pollutants.
                              However, if liability for damages because of property damage is not excluded by paragraph (1) of this exclusion,
                              then neither will paragraph (2)(a) above serve to exclude such damages.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074894




                          CNA74843XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      49
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000906
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 706 of 1498 PageID #:16966
                                                                                                                                                   CNA PARAMOUNT

                                                                                        Primary and Noncontributory - Other Insurance
                                                                                                              Condition Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the condition entitled Other Insurance is amended to add the following:
                              Primary And Noncontributory Insurance
                              Notwithstanding anything to the contrary, this insurance is primary to and will not seek contribution from any other
                              insurance available to an additional insured under this policy provided that:
                              a.   the additional insured is a named insured under such other insurance; and
                              b. the Named Insured has agreed in writing in a contract or agreement that this insurance would be primary and
                                 would not seek contribution from any other insurance available to the additional insured.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074895




                          CNA74987XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      50
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000907
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 707 of 1498 PageID #:16967
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DEBARTOLO CONSTRUCTION SERVICES, LLC



                           FEDEX GROUND PACKAGE SYSTEM, INC.



                           CHURCH 2415 REALITY LLC



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074896




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      51
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000908
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 708 of 1498 PageID #:16968
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           THE J360 CONSTRUCTION CO LLC



                           ALSTON CONSTRUCTION COMPANY, INC



                           COUNTY OF WARREN             BOARD OF CHOSEN FREEHOLDERS



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074897




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      52
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000909
                                           Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 709 of 1498 PageID #:16969
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                 SCHEDULE
                           Name Of Person Or Organization:
                           ALSTON CONSTRUCTION COMPANY, INC., MEDLINE INDUSTRIES, INC. (OWNER), AND OWNER'S
                           CONSULTANTSS AND CONTRACTORS, AND AGENTS AND EMPLOYEES OF ANY OF THEM.


                           McFARLAND and JOHNSON



                           DELTA AIRPORT SOLUTIONS



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074898




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      53
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000910
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 710 of 1498 PageID #:16970
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           US FEDERAL AVIATION ADMINISTRATION



                           PETILLO, INC.



                           TOWN OF MORRISTOWN



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074899




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      54
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000911
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 711 of 1498 PageID #:16971
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DM AIRPORTS, LTD




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074900




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      55
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000912
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 712 of 1498 PageID #:16972
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           FEDERAL BUSINESS CENTERS




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074901




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      56
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000913
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 713 of 1498 PageID #:16973
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DICE REAL ESTATE LLC



                           NATIONAL AMUSEMENTS INC




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074902




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      57
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000914
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                                                                                                                         CNA PARAMOUNT

                                                                            Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                                                 Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                          It is understood and agreed that the policy is amended as follows:
                          I.   Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions, is amended to add the following exclusion:
                               This insurance does not apply to:
                               A. bodily injury arising out of or relating to, in whole or in part, the actual, alleged or threatened inhalation of,
                                  ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or microbes on or within
                                  a building or structure, or on or within any contents of a building or structure. This exclusion applies regardless of
                                  any other cause or event that contributes concurrently or in any sequence to such injury;
                               B. property damage arising out of or relating to the actual, alleged or threatened contact with, exposure to,
                                  existence of, or growth or presence of any fungi or microbes on or within a building or structure, or on or within
                                  any contents of a building or structure; or
                               C. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                  containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                  the effects of, fungi or microbes, by any Insured or by anyone else. This exclusion applies regardless of any
                                  other cause or event that contributes concurrently or in any sequence to such loss, cost or expense.
                               However, this exclusion does not apply to:
                               i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                               ii. microbes that were transmitted directly from person to person.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions,
                              is amended to add the following exclusion:
                               This insurance does not apply to:
                               A. personal and advertising injury arising out of or relating to, in whole or in part, the actual, alleged or threatened
30020000760568728074903




                                  inhalation of, ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or
                                  microbes on or within a building or structure, or on or within any contents of a building or structure;
                               B. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                  containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                  the effects of, fungi or microbes, by any Insured or by anyone else.
                               This exclusion applies regardless of any other cause or event that contributes concurrently or in any sequence to such
                               injury or damage, loss, cost or expense.
                               However, this exclusion does not apply to:
                               i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                               ii. microbes that were transmitted directly from person to person.
                          III. As used herein:
                               A. fungi means any form of fungus, including but not limited to yeast, mold, mildew, rust, smut or mushroom, and
                                  including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released
                                  by or arising out of the current or past presence of fungi.



                          CNA74708XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      58
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000915
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   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 715 of 1498 PageID #:16975
                                                                                             CNA PARAMOUNT

                                              Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                   Endorsement

    B. microbe means any non-fungal microorganism, or non-fungal, colony-form organism, that causes infection or
       disease. Microbe includes any spores, mycotoxins, odors or any other substances, products or byproducts
       produced by, released by or arising out of the current or past presence of microbes.
IV. The following Condition is added:
    Arbitration
    For property damage, the determination of what portion of a loss is attributable to fungi and microbes, and what
    portion is not, shall be made by the Insurer. If the Named Insured disagrees with that determination, the Named
    Insured and by the Insurer agree to submit to binding arbitration according to the Commercial Arbitration Rules of the
    American Arbitration Association, or according to such other rules as the Named Insured and the Insurer agree to. If
    binding arbitration of insurance disputes is not allowed in the state where the Named Insured is incorporated (or, if
    the Named Insured is not a corporation, the state where the Named Insured is domiciled), then arbitration shall be
    non-binding, and shall only proceed if both the Named Insured and the Insurer agree to enter into it. The arbitration
    will be held in the county where the Named Insured is headquartered, or at such other location as may be jointly
    agreed to by the Named Insured and the Insurer. Each party will bear its own arbitration costs.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74708XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      58
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA000916
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 716 of 1498 PageID #:16976
                                                                                                                      CNA PARAMOUNT

                                                                                                       Designated Professional Services
                                                                                                               Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                   SCHEDULE
                          Description Of Professional Services:
                          PROFESSIONAL ARCHITECTURAL, ENGINEERING, OR SURVEYING SERVICES, INCLUDING:
                          A. THE PREPARING, APPROVING, OR FAILING TO PREPARE OR APPROVE MAPS SHOP DRAWINGS
                          OPINIONS, REPORTS, SURVEYS, FIELD ORDERS CHANGE ORDERS OR DRAWINGS AND
                          SPECIFICATIONS; AND
                          B. SUPERVISORY, INSPECTION, ARCHITECTURAL OR ENGINEERING ACTIVITIES.


                          THE PARTICULAR EXCLUSION ABOVE APPLIES ONLY TO PERSONS OR ORGANIZATIONS GRANTED
                          INSURED OR ADDITIONAL INSURED STATUS BY ATTACHMENT OF AN ENDORSEMENT TO THIS
                          COVERAGE PART.


                          NOTHING IN THIS ENDORSEMENT SHALL BE CONSTRUED TO REPLACE OR AMEND EXCLUSIONARY
                          LANGUAGE CONTAINED IN ENDORSEMENT CNA74980XX (ENGINEERS ARCHITECTS OR SURVEYORS
                          PROFESSIONAL LIABILITY EXCLUSION ENDORSEMENT ) ATTACHED TO THIS COVERAGE PART,
                          NOR IN ANY OTHER ENDORSEMENT THAT EXCLUDES PROFESSIONAL ARCHITECTURAL,
                          ENGINEERING SURVEYING, OR OTHER PROFESSIONAL SERVICES.
30020000760568728074904




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          With respect to any professional services shown in the Schedule, it is understood and agreed that under COVERAGES,
                          Coverage A – Bodily Injury And Property Damage Liability and Coverage B – Personal And Advertising Injury
                          Liability, the paragraphs entitled Exclusions, are amended to add the following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render any professional service.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.


                          CNA74754XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      59
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000917
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 717 of 1498 PageID #:16977
                                                                                                                                                   CNA PARAMOUNT
                                                                     Employment-Related Practices Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART

                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                              This insurance does not apply to:
                              Bodily injury or personal and advertising injury to:
                              (1) a person arising out of any:
                                  (a) refusal to employ that person;
                                  (b) termination of that person's employment; or
                                  (c) employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
                                      reassignment, discipline, defamation, harassment, humiliation, discrimination or malicious prosecution
                                      directed at that person; or
                              (2) the spouse, child, parent, brother or sister of that person as a consequence of bodily injury to that person at
                                  whom any of the employment-related practices described in Paragraphs (a), (b), or (c) above is directed.
                              This exclusion applies:
                              (1) whether the injury-causing event described in Paragraphs (a), (b) or (c) above occurs before employment, during
                                  employment or after employment of that person;
                              (2) whether the Insured may be liable as an employer or in any other capacity; and
                              (3) to any obligation to share damages with or repay someone else who must pay damages because of the injury.
                              However, solely with respect to Coverage A, this exclusion does not apply to physical injury a person sustains during
                              a job interview while attempting to demonstrate a physical capability or skill required by the job.
30020000760568728074905




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74761XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      60
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000918
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 718 of 1498 PageID #:16978
                                                                                                                                                     CNA PARAMOUNT

                                                                                               Testing or Consulting Errors and Omissions
                                                                                                                   Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          Testing or Consulting Errors and Omissions
                          bodily injury, property damage or personal and advertising injury arising out of:
                          1.   an error, omission, defect or deficiency in:
                               a.   any test performed; or
                               b. an evaluation, a consultation or advice given,
                               by or on behalf of any Insured;
                          2.   the reporting of or reliance upon any such test, evaluation, consultation or advice; or
                          3.   an error, omission, defect or deficiency in experimental data or the Insured’s interpretation of that data.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074906




                          CNA74775XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      61
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000919
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                                                                                                                       CNA PARAMOUNT
                                                              Construction Wrap-Up Program Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of any
                          current or completed operation performed by the Named Insured or on the Named Insured’s behalf which is or was
                          insured under a consolidated (wrap-up) insurance program.
                          This exclusion applies whether or not the consolidated (wrap-up) insurance program:
                          A. provides coverage identical to that provided by this Coverage Part;
                          B. has limits adequate to cover all claims; or
                          C. remains in effect.
                          Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the prime
                          contractor/project manager or owner of the project has secured general liability insurance covering some or all of the
                          contractors or subcontractors involved in the project. Consolidated (wrap-up) insurance program includes an Owner
                          Controlled Insurance Program (O.C.I.P.) or a Contractor Controlled Insurance Program (C.C.I.P.).




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074907




                          CNA74863XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      62
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000920
                                                                           Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 720 of 1498 PageID #:16980
                                                                                                                                                     CNA PARAMOUNT

                                                                                      Engineers, Architects or Surveyors Professional
                                                                                                     Liability Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render any professional services by the Named Insured or any engineer, architect or surveyor
                          who is either employed by the Named Insured or performing work on the Named Insured’s behalf in such capacity.
                          Professional services include:
                          A. the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys, field
                             orders, change orders or drawings and specifications; and
                          B. supervisory, inspection, architectural or engineering activities.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074908




                          CNA74980XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      63
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000921
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                                                                                                                                                    CNA PARAMOUNT

                                                                                   Exclusion - Access or Disclosure of Confidential
                                                                                or Personal Information and Data-Related Liability -
                                                                                with Limited Bodily Injury Exception Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions, the exclusion entitled Electronic Data is deleted in its entirety and replaced with the following:
                               This insurance does not apply to:
                               Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
                               Damages arising out of:
                               (1) any access to or disclosure of any person’s or organization’s confidential or personal information, including
                                   patents, trade secrets, processing methods, customer lists, financial information, credit card information, health
                                   information or any other type of nonpublic information; or.
                               (2) the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate electronic data.
                               This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                               expenses, public relation expenses or any other loss, cost or expense incurred by the Named Insured or others
                               arising out of that which is described in Paragraph (1) or (2) above.
                               However, unless Paragraph (1) above applies, this exclusion does not apply to damages because of bodily injury.
                               As used herein, electronic data means information, facts or programs stored as or on, created or used on, or
                               transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                               ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                               equipment.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions
                              is amended to add the following exclusion:
                               Access Or Disclosure Of Confidential Or Personal Information
30020000760568728074909




                               This insurance does not apply to personal and advertising injury arising out of any access to or disclosure of any
                               person's or organization's confidential or personal information, including patents, trade secrets, processing methods,
                               customer lists, financial information, credit card information, health information or any other type of nonpublic
                               information.
                               This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                               expenses, public relations expenses or any other loss, cost or expense incurred by the Named Insured or others
                               arising out of any access to or disclosure of any person's or organization's confidential or personal information.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.



                          CNA75089XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      64
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA000922
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                                                                                                                       CNA PARAMOUNT
                                                                       Waiver of Governmental Immunity - Port Authority
                                                                              of New York and New Jersey Endorsement

                          This endorsement modifies insurance provided under:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          The Insurance carrier(s) shall not, without obtaining the express advance written permission from the General Counsel of
                          the Port Authority of New York and New Jersey, raise any defense involving in any way the jurisdiction of the Tribunal over
                          the person of the Port Authority, the immunity of the Port Authority, its commissioners, officers, agents or employees, the
                          governmental nature of the Port Authority, or the provisions of any statutes respecting suits against the Port Authority.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074910




                          CNA75105XX (1-15)                                                                          Policy No: 6056872807
                          Page 1 of 1                                                                          Endorsement No:      65
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000923
                                                                          Copyright CNA A l R ghts Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 723 of 1498 PageID #:16983
                                                                                                                            CNA PARAMOUNT

                                                                             Amendment - Infringement of Copyright, Patent,
                                                                               Trademark Trade Secret or Other Intellectual
                                                                                    Property Rights or Laws Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that:
                          I.   Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the Exclusion entitled Infringement
                               of Copyright, Patent, Trademark or Trade Secret is deleted and replaced as follows:
                               Infringement or Violation of Intellectual Property Rights or Laws
                               Personal and advertising injury arising out of infringement or violation of the following rights or laws:
                               (a) patent;
                               (b) trade secret or other confidential or proprietary non-personal information;
                               (c) trademark, certification mark, service mark, collective mark, trade name, or other designation of origin or
                                   authenticity;
                               (d) copyright; or
                               (e) any other intellectual property right or legally protected expression, including but not limited to another’s idea,
                                   slogan, trade dress, style of doing business, or unauthorized use of another’s name or image, or any other
                                   intellectual property law, including but not limited to piracy, unfair competition or other similar practices.
                               This exclusion applies to the entirety of all allegations in any claim if the claim alleges the infringement or violation of
                               any intellectual property right or law identified above, even if this insurance would otherwise apply to other allegations
                               in the claim. However, this exclusion does not apply if the claim’s only allegation is copyright or slogan infringement
                               in Named Insured’s advertisement.
                          II. Under DEFINITIONS, the definition of personal or advertising injury is amended to delete its subparagraph g., and
                              replace it with the following:
                               g. Infringing upon another's copyright or slogan in Named Insured’s advertisement.
30020000760568728074911




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA75116XX (1-15)                                                                              Policy No: 6056872807
                          Page 1 of 1                                                                              Endorsement No:      66
                          CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA000924
                                                                            Copyright CNA A l R ghts Reserved.
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 724 of 1498 PageID #:16984
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 725 of 1498 PageID #:16985
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 726 of 1498 PageID #:16986
                                                                                                                         CNA PARAMOUNT
                                                                 Employee Benefits Liability Coverage Part - Occurrence

                          I.   COVERAGE
                               The Insurer will pay those sums up to the applicable limit of insurance that the Insured becomes legally obligated to
                               pay as damages as a result of a covered claim for an act, error or omission negligently committed in the
                               administration of the Named Insured's employee benefit program provided that such act, error or omission:
                               A. takes place in the coverage territory;
                               B. was committed during the policy period; and
                               C. prior to the effective date of the policy period:
                                   1.     no authorized insured knew or should have known of a claim or circumstance;
                                   2.     no Insured had given notice to a prior insurer of any related claim.
                               The Insurer will pay all defense costs in connection with a covered claim. Such defense costs are in addition to the
                               limits of insurance.
                          II. DUTY TO DEFEND
                               The Insurer has the right and duty to defend in the Insured's name and on the Insured's behalf any covered suit
                               even if any of the allegations of such suit are groundless, false or fraudulent. The Insurer shall have the right to
                               appoint counsel and to make such investigation and settlement of a claim as is deemed necessary by the Insurer. If
                               a claim is subject to an arbitration proceeding or mediation proceeding, the Insurer shall be entitled to exercise all of
                               the Insured's rights in the choice of arbitrators or mediators and in the conduct of an arbitration proceeding or
                               mediation proceeding involving such claim.
                               The Insurer is not obligated to investigate, defend, pay or settle, or continue to investigate, defend, pay or settle a
                               claim after the applicable limit of the Insurer's liability has been exhausted by payment of damages.
                          III. EXCLUSIONS
                               This insurance does not apply to:
                               A. Bodily Injury, Property Damage, or Personal and Advertising Injury
                                   any bodily injury, property damage or personal and advertising injury .
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                               B. Dishonest, Fraudulent, Criminal or Malicious Act Damages
                                   any intentional, dishonest, fraudulent, criminal or malicious act, error or omission, committed by any insured,
                                   including the willful or reckless violation of any statute.
                               C. Employment-Related Practices
                                   any wrongful termination of employment, discrimination, or other employment-related practices.
                               D. ERISA/Internal Revenue Code
                                   any act, error or omission in the Insured's capacity as a fiduciary under:
                                   1.     the Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any similar
                                          federal, state or local laws; or
                                   2.     the Internal Revenue Code of 1986 as now or hereafter amended.
                               E. Failure to Perform a Contract
                                   any failure of performance of contract by any insurer.
                               F. Inadequacy of Performance of Investment/Advice Given with Respect to Participation
                                   any:
                                1. failure of any investment to perform;
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                                   Employee Benefits Liability Coverage Part - Occurrence

       2.   errors in providing information on past performance of investment vehicles; or
       3.   advice given to any person with respect to that person's decision to participate or not to participate in any
            plan included in the employee benefit program.
   G. Insufficiency of Funds
       any insufficiency of funds to meet any obligations under any plan included in the employee benefit program.
   H. Workers' Compensation and Similar Laws
       any failure to comply with the mandatory provisions of any workers' compensation, unemployment compensation
       insurance, social security or disability benefits law or any similar law.
IV. LIMITS OF INSURANCE AND DEDUCTIBLE
   A. Limits of Insurance
       1.   Related Claims
            All related claims, whenever made, shall be considered a single claim first made during the policy period in
            which the earliest claim was first made.
       2.   Limit of insurance – each employee
            Subject to paragraph 2. below, the Insurer's limit of insurance for damages for all covered claims made by or
            behalf of any one employee including such employee's dependents or beneficiaries, shall not exceed the
            amount stated in the Coverage Part Declarations as "Employee Benefits Liability - each employee".
       3.   Limit of insurance - all claims in the aggregate
            The Insurer's limit of insurance for damages for all covered claims shall not exceed the amount stated in the
            Coverage Part Declarations as "Employee Benefits Liability – all claims in the aggregate", regardless of the
            number of employees.
       4.   Multiple insureds, claims, and claimants
            The limits of insurance shown in the Coverage Part Declarations and subject to the provisions of this policy,
            is the most the Insurer will pay as damages regardless of the number of Insureds, claims made or reported,
            persons or entities making claims, acts, errors or omission which result in damages or defense costs;
            employee benefit plans.
   B. Deductible
       1.   The Insurer's obligation to pay damages on behalf of the Insured applies only to the amount of damages in
            excess of the deductible amount stated on the Coverage Part Declarations as applicable to each employee
            including such employee's dependents or beneficiaries. The limits of insurance shall not be reduced by the
            amount of this deductible.
       2.   The deductible amount stated on the Coverage Part Declarations applies to all damages sustained by any
            one employee including such employee's dependents and beneficiaries, because of all acts, errors or
            omissions to which this insurance applies.
       3.   The Insurer may pay any part or all of the deductible amount to effect settlement of any claim and, upon
            notification of the action taken, the Insured shall promptly reimburse the Insurer for such part of the
            deductible amount as the Insurer has paid.
   The Limits of Insurance of this coverage part apply separately to each consecutive annual period and to any
   remaining period of less than 12 months, starting with the beginning of the policy period shown in the Policy
   Declarations, unless the policy period is extended after issuance for an additional period of less than 12 months. In
   that case, the additional period will be deemed part of the last preceding period for purposes of determining the Limits
   of Insurance.

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                                                                                                                     CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                          V. CONDITIONS


                             Assistance and Cooperation
                             If there is a claim the Insured must:
                             A. forward to the Insurer or its designee, copies of the papers and documents, if any, which inform the Insured of a
                                claim, including all notices, summonses or other processes regarding legal proceedings;
                             B. fully cooperate with the Insurer or its designee in all investigations, the making of settlements, the conduct of
                                suits or other proceedings, enforcing any right of contribution or indemnity against another who may be liable to
                                the Insured because of the claim. The Insured shall attend hearings and trials, assist in securing and giving
                                evidence, and obtaining the attendance of witnesses.
                             Concealment, Misrepresentation and Fraud
                             No concealment, misrepresentation or fraud shall avoid or defeat recovery under this coverage part unless such
                             concealment, misrepresentation or fraud was material. Concealment, misrepresentation or fraud in the procurement
                             of this coverage part which if known by the Insurer would have led to refusal by the Insurer to make this contract or
                             provide coverage, or to make this contract or provide coverage on different terms or conditions, will be deemed
                             material.
                             Estates, Legal Representatives and Spouses
                             The estates, heirs, legal representatives and spouse of any natural person Insured shall also be insured under this
                             coverage part; provided, however, coverage is afforded to such estates, heirs, legal representatives, and spouse
                             only for claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim
                             seeks damages from marital community property, jointly held property or property transferred from such natural
                             person Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                             representative, or spouse outside the scope of such person's capacity or status as such.
                             Notice of Claims and Circumstances
                             A. Notice of Circumstances
                                 The Insured must see to it that the Insurer is notified promptly of any circumstance. To the extent possible,
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                                 notice should include:
                                 1.   how, when and where the act, error or omission took place;
                                 2.   the names and addresses of any injured persons or organizations and witnesses; and
                                 3.   the nature and location of any injury or damage arising out of the occurrence or offense.
                             B. Notice of Claims
                                 If a claim is made against any Insured, the Insured must:
                                 1.   immediately record the specifics of the claim and the date received; and
                                 2.   notify the Insurer in writing as soon as possible.
                             C. The Insured must:
                                 1.   immediately send the Insurer copies of any demands, notices, summonses or legal papers received in
                                      connection with the claim;
                                 2.   authorize the Insurer to obtain records and other information.
                             D. no Insureds will, except at their own cost, voluntarily make a payment, assume any obligation, or incur any
                                expense without the Insurer's consent.


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                                                                                              CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

   Other Insurance
   If other valid and collectible insurance is available to the Insured for loss insured under this coverage part, the
   Insurer's obligations are limited as follows:
   A. Primary Insurance
       This insurance is primary. The Insurer's obligations are not affected unless any of the other insurance is also
       primary. Then, the Insurer will share with all that other insurance by the method described in Paragraph b. below.
   B. Method of Sharing
       If all of the other insurance permits contribution by equal shares, the Insurer will follow this method also. Under
       this approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of
       the loss remains, whichever comes first.
       If any of the other insurance does not permit contribution by equal shares, the Insurer will contribute by limits.
       Under this method, each insurer's share is based on the ratio of its applicable limit of insurance to the total
       applicable limits of insurance of all insurers.
   Premium Audit
   A. The Insurer will compute all premiums for this coverage part in accordance with the Insurer rules and rates.
   B. Premium shown in this coverage part as advance premium is a deposit premium only. At the close of each audit
      period the Insurer will compute the earned premium for that period and send notice to the First Named Insured.
      The due date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the
      advance and audit premiums paid for the policy term is greater than the earned premium, the Insurer will return
      the excess to the First Named Insured.
   C. The First Named Insured must keep records of the information the Insurer need for premium computation, and
      send the Insurer copies at such times as the Insurer may request.
   Separation of Insureds
   Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this policy to the First
   Named Insured, this insurance applies:
   A. as if each Named Insured were the only Named Insured; and
   B. separately to each Insured against whom a claim is made.
   Transfer of Rights of Recovery
   If any Insured for whom payment is made by the Insurer under this policy has rights to recover amounts from another,
   those rights are transferred to the Insurer to the extent of its payment. The Insured must do everything necessary
   after loss to secure the Insurer's rights and must do nothing to prejudice such rights.
VI. DEFINITIONS
   Administration means:
   A. providing information to employees, including their dependents and beneficiaries, with respect to eligibility for or
      scope of employee benefit programs;
   B. handling records in connection with the employee benefit program; or
   C. effecting, continuing or terminating any employee's participation in any benefit included in the employee benefit
      program.
   However, administration does not include handling payroll deductions.



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                                                                                                                         CNA PARAMOUNT
                                                               Employee Benefits Liability Coverage Part - Occurrence

                             Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                             the Named Insured's goods, products or services for the purpose of attracting customers or supporters. For the
                             purposes of this definition:
                             A. notices that are published include material placed on the Internet or on similar electronic means of
                                communication; and
                             B. regarding web-sites, only that part of a web-site that is about the Named Insured's goods, products or services
                                for the purposes of attracting customers or supporters is considered an advertisement.
                             Authorized Insured means any executive officer, member of the Named Insured's human resources, risk
                             management or in-house general counsel's office, or any employee authorized by the Named Insured to give or
                             receive notice of a claim.
                             Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                             mental anguish or mental injury by that person at any time which results as a consequence of the bodily injury,
                             sickness or disease.
                             Cafeteria plans means plans authorized by applicable law to allow employees to elect to pay for certain benefits with
                             pre-tax dollars.
                             Claim means:
                             A. suit; or
                             B. a written or oral demand for damages
                             alleging negligent acts, errors or omissions committed in the administration of the Named Insured's employee
                             benefit plans.
                             Circumstance means an act, error or omission reported during the policy period from which an executive officer
                             reasonably expects that a claim could be made.
                             Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                             Endorsements.
                             Coverage territory means:
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                             A. the United States of America (including its territories and possessions), Puerto Rico and Canada;
                             B. international waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
                                between any places included in Paragraph A. above.
                             Damages means the amount an Insured is legally obligated to pay, either through:
                             A. final adjudication of a covered claim; or
                             B. through compromise or settlement of a covered claim with the Insurer's written consent or direction.
                             In addition, damages includes the above mentioned sums only after deducting all other recoveries and salvages.
                             However, damages does not include with respect to any claim;
                                 1.   restitution, return or disgorgement of fees, costs and expenses paid or incurred or charged by an Insured, no
                                      matter whether claimed as restitution of specific funds, forfeiture, financial loss, set-off or otherwise, and
                                      injuries that are a consequence of any of the foregoing;
                                 2.   civil or criminal fines, sanctions, penalties forfeitures, or taxes whether pursuant to statute, regulation or
                                      court rule, including those imposed under the Internal Revenue Code;
                                 3.   the multiplied portion of multiplied awards imposed pursuant to any statute or regulation requiring such
                                      awards;
                                 4.   injunctive or declaratory relief;

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                                                                                            CNA PARAMOUNT
                                    Employee Benefits Liability Coverage Part - Occurrence

       5.   any amount that is not insurable under any applicable law; or
       6.   plaintiff's attorney fees associated with any of the above;
       7.   any amounts for benefits to the extent that such benefits are available, with reasonable effort and
            cooperation of the Insured, from the applicable funds accrued or other collectible insurance; or
       8.   any amounts that exceed the limits and restrictions that apply to the payment of benefits in any plan included
            in the employee benefit program.
   Defense costs mean:
   A. reasonable and necessary fees, costs, and expenses incurred by the Insurer or consented to by the Insurer and
      incurred by the Named Insured in the defense or appeal of a covered suit or in the investigation of any covered
      claim, and includes premium for appeal bonds arising out of a covered judgment, attachment bonds or similar
      bonds, but only for bond amounts up to the applicable limit of insurance.
   B. prejudgment interest awarded against an Insured on that part of a judgment covered by this coverage part. If
      the Insurer makes an offer to pay the applicable limit of insurance, the Insurer will not pay any prejudgment
      interest based on that period of time after the offer.
   C. post judgment interest which accrues after entry of judgment, but before the Insurer has paid or offered to pay,
      or deposited in court that part of the judgment which is within the applicable limit of insurance of this coverage
      part. The amount of interest the Insurer pays will be in direct proportion to the amount of damages the Insurer
      pays in relation to the total amount of the judgment.
   D. all reasonable expenses incurred by a natural person Insured at the Insurer's request to assist the Insurer in the
      investigation or defense of the claim. This includes such Insured's actual loss of earnings up to $1000.00 per
      day, because of time off from work;
   E. all court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
      attorneys' expenses taxed against the Insured.
   Payment of defense costs will not reduce the limit of insurance.
   Employee means a person actively employed, formerly employed, on leave of absence or disabled, or retired.
   Employee includes a leased worker. Employee does not include a temporary worker.
   Employee benefit program means a program providing some or all of the following benefits to the employees
   whether provided through a cafeteria plan or otherwise:
   A. group life insurance, group accident or health insurance, dental, vision and hearing plans, and flexible spending
      accounts, provided that no one other than an employee may subscribe to such benefits and such benefits are
      made generally available to those employees who satisfy the plan's eligibility requirements;
   B. profit sharing plans, employee savings plans, employee stock ownership plans, pension plans and stock
      subscription plans, provided that no one other than an employee may subscribe to such benefits and such
      benefits are made generally available to all employees who are eligible under the plan for such benefits;
   C. unemployment insurance, social security benefits, workers' compensation and disability benefits; or
   D. vacation plans, including buy and sell programs; leave of absence programs, including military, maternity, family,
      and civil leave; tuition assistance plans; transportation and health club subsidies.
   Executive Officer means any natural person holding any of the following positions created by the Named Insured's
   charter, constitution, bylaws or any other similar governing document:
   A. director, officer, trustee or governor of a corporation;
   B. management committee member of a joint venture;
   C. partner of a partnership;

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                                                                                                                         CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                             D. manager of a limited liability company;
                             E. trustee of a trust.
                             An executive officer is not an employee.
                             First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                             Insured means any Named Insured and
                             A. any natural person who was, is or becomes:
                                 1.   the Named Insured's executive officers, but only for the administration of the Named Insured’s
                                      employee benefit program; or
                                 2.   the Named Insured's stockholders, but only with respect to their liability as stockholders.
                                 3.   the Named Insured's employees authorized to administer its employee benefit program; or
                                 4.   any natural person (including any employee), or any organization having proper temporary authorization to
                                      administer the Named Insured's employee benefit program, but only until an authorized legal
                                      representative is appointed on behalf of the Named Insured.
                             B. any organization the Named Insured newly acquires or forms, other than a partnership or joint venture, and over
                                which the Named Insured maintains ownership or majority interest, if there is no other similar insurance available
                                to that organization. However:
                                 1.   coverage under this provision is afforded only until the 90th day after the Named Insured acquires or forms
                                      the organization or the end of the policy period, whichever is earlier; and
                                 2.   coverage does not apply to acts, errors or omissions that occurred before the Named Insured acquired or
                                      formed the organization.
                                 No person or organization is an insured with respect to the conduct of any current or past partnership or joint
                                 venture that is not shown as a Named Insured in the Declarations.
                             In addition to the above, the estates, heirs, legal representatives or spouses of any of the Named Insured’s
                             executive officers or employees qualifying as an Insured are also insured pursuant to the condition entitled
                             Estates, Legal Representatives And Spouses.
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                             Leased worker means a natural person leased to the Named Insured by a labor leasing firm under an agreement
                             between the Named Insured and the labor leasing firm, to perform duties related to the conduct of the Named
                             Insured's business. Leased worker does not include a temporary worker.
                             Named Insured means the person or organization shown in the Declarations, and any other person or organization
                             qualifying as a Named Insured under this coverage part.
                             Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
                             conditions.
                             Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
                             the following offenses:
                             A. false arrest, detention or imprisonment;
                             B. malicious prosecution;
                             C. wrongful eviction from, wrongful entry into, or the invasion of the right of private occupancy of a room, dwelling or
                                premises that a natural person occupies committed by or on behalf of its owner, landlord or lessor;
                             D. oral or written publication, in any manner, of material that slanders or libels a person or organization or disparages
                                a person's or organization's goods, products or services;
                             E. oral or written publication, in any manner, of material that violates a natural person’s right of privacy;
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                                   Employee Benefits Liability Coverage Part - Occurrence

   F. the use of another's advertising idea in the Named Insured's advertisement; or
   G. infringing upon another's copyright or slogan in the Named Insured's advertisement.
   Policy period means the period of time from the effective date and time of this Policy to the date and time of
   termination as shown in the Policy Declarations, or its earlier cancellation date.
   Property damage means physical injury to:
   A. tangible property, including all resulting loss of use of that property. All such loss of use shall be deemed to occur
      at the time of the physical injury that caused it; or
   B. loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
      time of the occurrence that caused it.
   Related claims means all claims arising out of a single act, error or omission or arising out of related acts, errors or
   omissions negligently committed in the administration of the Insured Entity's employee benefits program.
   Spouse means any husband or wife or any person qualifying as a domestic partner under any federal, state or local
   laws or under the Named Insured's employee benefit plans or employee benefits program.
   Suit means a civil proceeding in which damages to which this insurance applies are alleged. Suit includes:
   A. an arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
      submit with the Insurer's consent; or
   B. any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
      submits with the Insurer's consent.
   Temporary worker means a worker who is furnished to the Named Insured to substitute for a permanent employee
   on leave or to meet seasonal or short-term workload conditions.
   Volunteer worker means a natural person who is not the Named Insured's employee, and who donates his or her
   work and acts at the direction of and within the scope of duties determined by the Named Insured, and is not paid a
   fee, salary or other compensation by the Named Insured or anyone else for their work performed for the Named
   Insured.




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                                                                                                                       CNA PARAMOUNT

                                                                                          Employee Benefits Liability- Amended
                                                                                    Definition of Executive Officer Endorsement

                          This endorsement modifies insurance provided under the following:

                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                          It is understood and agreed that under DEFINITIONS, the definition of Executive Officer is deleted and replaced by the
                          following:
                          Executive Officer means any natural person holding any of the following positions created by the Named Insured's
                          charter, constitution, bylaws or any other similar governing document:
                          A. director, officer, trustee or governor of a corporation.
                          B. management committee member of a joint venture;
                          C. partner of a partnership;
                          D. manager of a limited liability company; or
                          E. trustee of a trust.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA86269XX (10-16)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      67
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000935
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                                                                                                                                    IL 01 11 11 03

                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                               NEW JERSEY CHANGES
                          This endorsement modifies insurance provided under the following:

                              CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
                              COMMERCIAL INLAND MARINE COVERAGE PART
                              COMMERCIAL PROPERTY COVERAGE PART
                              STANDARD PROPERTY POLICY

                          A. The following exclusion and related provisions are              To     the    extent      that  the   Concealment,
                             added:                                                          Misrepresentation Or Fraud Condition conflicts with
                             1. We will not pay for loss or damage arising out of            the provisions of Paragraph A.2. above, the
                                any act committed:                                           provisions of A.2. will apply.
                                a. By or at the direction of any insured; and             B. The following is added to the Transfer Of Rights Of
                                                                                             Recovery Against Others To Us Condition:
                                   b. With the intent to cause a loss.
                                                                                              If we pay a co-insured for loss arising out of an act
                              2.   However, this exclusion will not apply to deny             of domestic violence by another insured, the rights
                                   payment to a co-insured who did not cooperate              of the co-insured, who did not cooperate in or
                                   in or contribute to the creation of the loss if the        contribute to the creation of the loss, to recover
                                   loss arose out of domestic violence.                       damages from the perpetrator of domestic violence
                              3.   If we pay a claim pursuant to Paragraph A.2.,              are transferred to us to the extent of our payment.
                                   our payment to the insured is limited to that              Following the loss, the co-insured who did not
                                   insured's insurable interest in the property. In no        cooperate in or contribute to the loss may not waive
                                   event will we pay more than the Limit of                   such rights to recover against the perpetrator of
                                   Insurance.                                                 domestic violence.
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                                                                                                                          CNA PARAMOUNT
                                                                                                      Broad Named Insured Endorsement

                          This endorsement modifies insurance provided under the following:
                               EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                               STOP GAP LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   The WHO IS AN INSURED Section is amended to delete its Paragraph 3. in its entirety and replace it with the
                               following:
                               3.   Pursuant to the limitations described in Paragraph IV. below, any organization in which a Named Insured has
                                    management control:
                                    a.   on the effective date of this Coverage Part; or
                                    b. by reason of a Named Insured creating or acquiring the organization during the policy period,
                                    qualifies as a Named Insured, provided that there is there is no other similar liability insurance, whether primary,
                                    contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
                                    provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
                                    narrower than that provided by this insurance.
                                    However, this BROAD NAMED INSURED provision does not apply to:
                                    (a) any partnership, limited liability company or joint venture; or
                                    (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.
                          II. Solely with respect to organizations which qualify as Named Insureds by virtue of this Endorsement, this insurance
                              does not apply to:
                               a.   bodily injury or property damage that first occurred prior to the date of management control, or that first occurs
                                    after management control ceases; nor
                               b. personal or advertising injury caused by an offense that first occurred prior to the date of management control
                                  or that first occurs after management control ceases.
                          III. The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names or
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                               under such other trading names or doing-business-as names as any Named Insured should choose to employ.
                          IV. For the purposes of this endorsement, a new definition is added as follows:
                               Management control means:
                               A. owning interests representing more than 50% of the voting, appointment or designation power for the selection of
                                  a majority of: the Board of Directors of a corporation; or
                               B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or sell
                                  property held by a trust.
                          V. If the coverage part to which this endorsement applies is part of a package policy that also contains a Commercial
                             General Liability Coverage Part (CGL) that has been endorsed:
                               A. with a Broad Named Insured provision, then the CGL’s Broad Named Insured provision’s terms hereby replace
                                  this endorsement’s terms, including any terms applicable to management control, limited liability companies or
                                  joint ventures; or
                               B. to exclude from coverage an organization that otherwise would qualify as a Named Insured under this (Broad
                                  Named Insured) endorsement, then such an organization is also excluded from the coverage provided by this
                                  coverage part.

                          CNA75108XX (1-15)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                             Endorsement No:      69
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                               CNA000939
                                                                             Copyright CNA A l R ghts Reserved.
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 739 of 1498 PageID #:16999
                                                                                             CNA PARAMOUNT
                                                                         Broad Named Insured Endorsement



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA75108XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      69
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA000940
                                                Copyright CNA A l R ghts Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 740 of 1498 PageID #:17000
                                                                                                                       CNA PARAMOUNT
                                                                                                                     Bridge Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.   The Common Terms and Conditions are amended to delete the sections entitled “Bankruptcy” and “No Suit Against
                               Insurer” as the conditions section of the Coverage Part has more specific conditions of its own.
                          II. The conditions section is amended to delete the condition entitled When We Do Not Renew. Please refer instead to
                              Condition III. CANCELLATION/NONRENEWAL of the Common Terms and Conditions.
                          III. The DEFINITIONS section is amended to add the following new definitions:

                               Claim means:

                               A. a suit; or
                               B. a written or oral demand for damages alleging injury to which this insurance applies.

                               Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                               Endorsements.

                               Damages means the amount an Insured is legally obligated to pay, either through:

                               A. final adjudication of a covered claim; or

                               B. through compromise or settlement of a covered claim with the Insurer’s written consent or direction.

                               Defense costs means those amounts set forth under the SUPPLEMENTARY PAYMENTS section of any applicable
                               coverage part.
                               First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                               Insured means those persons or organizations as set forth in the section entitled Who is an Insured.
                               Named Insured means the persons or organizations named as such in the Declarations and any other person or
30020000760568728074923




                               organization qualifying as a named insured under this policy.

                               Policy period means the period of time from the effective date and time of this Policy to the date and time of
                               termination as shown in the Policy Declarations, or its earlier cancellation date.
                               Spouse means any husband or wife or any person qualifying as a domestic partner under any applicable federal,
                               state or local laws or under the Named Insured’s employee benefit plans.
                          IV. Where the phrase “claim or suit” appears, it is deleted and replaced with the defined term claim.
                          V. Any reference to “the Insurer” in this Policy refers to the company providing this insurance.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.

                          CNA62646XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      70
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA000941
                                                                          Copyright CNA A l R ghts Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 741 of 1498 PageID #:17001
                                                                                                                          CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          Wherever used in this endorsement: 1) Insurer means "we", "us", "our" or the "Company" as those terms may be defined
                          in the policy; and 2) Named Insured means the first person or entity named on the declarations page; and 3) "Insureds"
                          means all persons or entities afforded coverage under the policy.

                          Any cancellation, non-renewal or termination provisions in the policy are deleted in their entirety and replaced with the
                          following:

                          CANCELLATION AND NON-RENEWAL

                          A.      CANCELLATION

                                  1.      The first Named Insured may cancel the policy at any time. To do so, the Named Insured must return the
                                          policy to the Insurer or any of its authorized representatives, indicating the effective date of cancellation;
                                          or provide a written notice to the Insurer, stating when the cancellation is to be effective.

                                  2.      The Insurer may cancel the policy at any time and for any reason within the first sixty (60) days. The
                                          Insurer will mail or deliver written notice of cancellation at least ten (10) days prior to the effective of such
                                          cancellation if cancellation is for nonpayment or existence of a moral hazard as defined by NJAC 11:1-
                                          20.2(f) and thirty (30) days if for any other reason.

                                  3.      If the policy has been in effect for sixty (60) days or more, it may be canceled only for one of the following
                                          reasons:

                                          a.       May be canceled for any underwriting reason set forth in our underwriting guidelines which were
                                                   in effect at the policy inception. The underwriting guidelines must not be arbitrary, capricious or
                                                   unfairly discriminatory.

                                          b.       The following text sets forth certain approved reasons for midterm cancellations as approved
                                                   guidelines. While an Insurer may issue other guidelines, it appears that an Insurer should limit its
                                                   guidelines for midterm cancellation to those the Department has approved to avoid the possibility
                                                   that the Department might rescind a cancellation.
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                                          c.       All underwriting reasons or guidelines utilized by the Insurer to cancel or non-renew the policy
                                                   will be maintained by Insurer in writing and will be available to the Named insured or the Named
                                                   Insured's lawful representatives upon written request.

                                          d.       Only those guidelines which are in effect at the inception of the original policy or any renewal
                                                   thereof, as applicable, may be utilized to cancel during the policy period.

                                          e.       The following guidelines are approved for use:

                                                   (1)      Non-payment of premium;
                                                   (2)      Moral hazard, which is defined as:

                                                            (a)      The risk, danger or probability that the insured will destroy, or permit to be
                                                                     destroyed, the insured property for the purpose of collecting the insurance
                                                                     proceeds. Any change in the circumstances of an insured that will increase the
                                                                     probability of such a destruction may be considered a "moral hazard;" and
                                                            (b)      The substantial risk, danger or probability that the character, circumstances or
                                                                     personal habits of the insured may increase the possibility of loss or liability
                                                                     which we will be held responsible. Any change in the character or

                          CNA62814NJ (9-12)                                                                             Policy No: 6056872807
                          Page 1 of 3                                                                             Endorsement No:      71
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000942
                                                                         Copyright CNA A l Rights Reserved.
     Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 742 of 1498 PageID #:17002
                                                                                                 CNA PARAMOUNT
                                                             Cancellation / Non-Renewal – New Jersey

                                           circumstances of an individual, corporate, partnership or other insured that will
                                           increase probability of such a loss or liability may be considered a "moral
                                           hazard."
                         (3)      Material misrepresentation or non-disclosure of material fact.
                         (4)      Increased hazard or material change in the risk by the parties at inception of coverage.
                         (5)      Substantial breaches of policy provisions that materially affect the nature and/or
                                  insurability of the risk.
                         (6)      Lack of cooperation on loss control matters which materially affect insurability.
                         (7)      Fraudulent acts which materially affects the risk.
                         (8)      Loss of or reduction in available insurance capacity. This is an acceptable reason for
                                  cancellation only if the following exists:

                                  (i)       an insurance department has declared insured to be financially impaired.
                                  (ii)      substantial reductions in reinsurance or other changes which prohibit us from
                                            providing coverage at the same limits and terms as the existing policy; or
                                  (iii)     an insurance department has issued an order indicating impaired financial
                                            condition of the reinsurer which may adversely affect the reinsurer's ability to
                                            meet its obligations.

                         (9)      Failure of the Insured to comply with any federal, state or local fire, health, safety,
                                  building or construction regulation, law or ordinance which substantially increases any
                                  hazard insured against. The Insured has sixty (60) days to correct.
                         (10)     Failure by the Insured to provide reasonable and necessary underwriting information to
                                  us upon written request and a reasonable time to respond.
                         (11)     Agency termination, provided:

                                  (i)       It is documented that replacement coverage at comparable rates and terms has
                                            been provided to the Insured, and the Insured has been informed, in writing of
                                            his or her right to continue coverage; or

                                  (ii)      the Insured has agreed in writing to the cancellation based upon the termination
                                            of the agent.

                                  The Insurer will mail notice of cancellation to the Named Insured not more than one
                                  hundred and twenty (120) days nor less than sixty (60) days prior to the effective date of
                                  such cancellation. If the Insurer cancels for non-payment of premium, notice of
                                  cancellation will be mailed at least ten (10) days prior to the effective date of such
                                  cancellation.

        4.      All notices of cancellation will state the reason for cancellation.

        5.      Notice of cancellation will state the effective date of cancellation. The policy period will end on that date.

        6.      If notice is mailed, proof of mailing will be sufficient proof of notice.


B.      PREMIUM REFUND

        If this policy is cancelled, the Insurer will send the Named Insured any premium refund due. If the Insurer cancels
        the refund will be pro rata. If the Named Insured cancels, the refund may be less than pro rata. The cancellation
        will be effective even if the Insurer has not made or offered a refund.

CNA62814NJ (9-12)                                                                                 Policy No: 6056872807
Page 2 of 3                                                                                 Endorsement No:      71
CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA000943
                                                Copyright CNA A l Rights Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 743 of 1498 PageID #:17003
                                                                                                                        CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          C.      NON-RENEWAL

                                  1.       The Insurer can non-renew the policy by mailing or delivering written notice to the Named Insured, at the
                                           last mailing address known to the Insurer, not more than one hundred and twenty (120) days nor less
                                           than sixty (60) days prior to the effective date of non-renewal. The notice will be sent by certified mail or
                                           by first class mail, if a date stamped proof of mailing has been obtained from the post office.

                                  2.       Like notice of non-renewal will state the actual reason for non-renewal.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA62814NJ (9-12)                                                                            Policy No: 6056872807
                          Page 3 of 3                                                                            Endorsement No:      71
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000944
                                                                         Copyright CNA A l Rights Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 744 of 1498 PageID #:17004
                                                                                                                         CNA PARAMOUNT
                                                                                           Amendatory Endorsement – New Jersey

                          It is understood and agreed as follows:

                          I.      The CONCEALMENT, MISREPRESENTATION AND FRAUD condition of the First Party Terms and
                                  Conditions is deleted and replaced with the following:

                                  CONCEALMENT, MISREPRESENTATION AND FRAUD

                                  This entire policy shall be canceled if, whether before or after a loss, the Named Insured or designated
                                  representatives:

                                  A.       has concealed or misrepresented any material fact or circumstance concerning:

                                           1.       this insurance or the subject thereof;

                                           2.       the interest of the Named Insured therein; or

                                           3.       any claim; or

                                  B.       has falsely sworn to any such material fact or circumstance.



                          All other terms and conditions of the Policy remain unchanged.

                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.
30020000760568728074926




                          CNA62815NJ (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      72
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA000945
                                                                           Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 745 of 1498 PageID #:17005
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   CHURCH 2415 REALITY, LLC




                          Address:                        100 RING ROAD WEST, SUITE 101


                                                          GARDEN CITY
                                                                                                                                                ,
                                                          NY 11050
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074927




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      73
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000946
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 746 of 1498 PageID #:17006
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DeBartolo Construction Services, LLC




                          Address:                        4401 West Kennedy Boulevard - 3rd Floor


                                                          Tampa
                                                                                                                                                ,
                                                          FL 33609
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074928




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      74
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000947
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 747 of 1498 PageID #:17007
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   FedEx Ground Package System, Inc.




                          Address:                        1000 FedEx Drive


                                                          Moon Township
                                                                                                                                                ,
                                                          PA 15108
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074929




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      75
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000948
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 748 of 1498 PageID #:17008
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   The J360 Construction Co LLC




                          Address:                        290 Madison Avenue, 4th Floor


                                                          New York
                                                                                                                                                ,
                                                          NY 10017
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074930




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      76
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000949
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 749 of 1498 PageID #:17009
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   Alston Construction Company, Inc




                          Address:                        C/O MY COI
                                                          1075 BROAD RIPPLE AVE, SUITE 313

                                                          INDIANAPOLIS
                                                                                                                                                ,
                                                          IN 46220
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074931




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      77
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000950
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 750 of 1498 PageID #:17010
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   County of Warren   Board of Chosen
                                                                                                        Freeholders




                          Address:                        165 County Route #519 South


                                                          Belvidere
                                                                                                                                                ,
                                                          NJ 07823
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074932




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      78
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000951
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 751 of 1498 PageID #:17011
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HAMPSHIRE VENTURE PARTNERS, LLC




                          Address:                        22 MAPLE AVENUE


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074933




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      79
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000952
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 752 of 1498 PageID #:17012
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MORRIS DOREMUS AVENUE ASSOCIATES
                                                                                                        URBAN RENEWAL, LLC




                          Address:                        350 VETERANS BLVD.


                                                          RUTHERFORD
                                                                                                                                                ,
                                                          NJ 07070
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074934




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      80
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000953
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 753 of 1498 PageID #:17013
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MONTANA CONSTRUCTION CORP., INC.




                          Address:                        80 CONTANT AVENUE


                                                          LODI
                                                                                                                                                ,
                                                          NJ 07644
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074935




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      81
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000954
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 754 of 1498 PageID #:17014
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HRP ASSOCIATES, INC




                          Address:                        197 SCOTT SWAMP ROAD


                                                          FARMINGTON
                                                                                                                                                ,
                                                          CT 06032
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074936




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      82
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000955
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 755 of 1498 PageID #:17015
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   The Connell Company




                          Address:                        200 Connell Drive


                                                          Berkeley Heights
                                                                                                                                                ,
                                                          NJ 07922
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074937




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      83
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000956
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 756 of 1498 PageID #:17016
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   Russo Development




                          Address:                        1011 Morris AVE


                                                          Union
                                                                                                                                                ,
                                                          NJ 07083
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074938




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      84
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000957
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 757 of 1498 PageID #:17017
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT DEVELOPMENT, LLC




                          Address:                        4825 NW 41ST STREET, SUITE 500


                                                          RIVERSIDE
                                                                                                                                                ,
                                                          MO 64150
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074939




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      85
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000958
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 758 of 1498 PageID #:17018
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   SUBURBAN CONSULTING ENGINEERS INC




                          Address:                        96 US HIGHWAY 206, SUITE 101


                                                          FLANDERS
                                                                                                                                                ,
                                                          NJ 07836
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074940




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      86
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000959
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 759 of 1498 PageID #:17019
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   McFARLAND and JOHNSON




                          Address:                        49 COURT ST


                                                          BINGHAMTON
                                                                                                                                                ,
                                                          NY 13901
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074941




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      87
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000960
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 760 of 1498 PageID #:17020
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NEW JERSEY DEPARTMENT OF
                                                                                                        TRANSPORTATION




                          Address:                        1035 PARKWAY AVENUE
                                                          P O BOX 600

                                                          TRENTON
                                                                                                                                                ,
                                                          NJ 08625
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074942




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      88
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000961
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 761 of 1498 PageID #:17021
                                                                                                                        CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   PETILLO, INC.




                          Address:                        167 FLANDERS NETCONG ROAD


                                                          FLANDERS
                                                                                                                                                ,
                                                          NJ 07836
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074943




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      89
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000962
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 762 of 1498 PageID #:17022
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   TOWN OF MORRISTOWN




                          Address:                        200 SOUTH STREET


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074944




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      90
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000963
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 763 of 1498 PageID #:17023
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DM AIRPORTS, LTD




                          Address:                        8 AIRPORT RD


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074945




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      91
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000964
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 764 of 1498 PageID #:17024
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   McFARLAND and JOHNSON




                          Address:                        49 COURT ST


                                                          BINGHAMTON
                                                                                                                                                ,
                                                          NY 13901
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074946




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      92
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000965
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 765 of 1498 PageID #:17025
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DELTA AIRPORT SOLUTIONS




                          Address:                        3544 N PROGRESS AVE #200


                                                          HARRISBURG
                                                                                                                                                ,
                                                          PA 17110
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074947




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      93
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000966
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 766 of 1498 PageID #:17026
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   US FEDERAL AVIATION ADMINISTRATION




                          Address:                        135 FASHION DR S


                                                          ALLENTOWN
                                                                                                                                                ,
                                                          PA 18109
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074948




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      94
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000967
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 767 of 1498 PageID #:17027
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 30
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   Banker Residential Limited
                                                                                                        partnership And its Owners




                          Address:                        One West Red Oak Lane


                                                          White Plains
                                                                                                                                                ,
                                                          NY 10604
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074949




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      95
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000968
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 768 of 1498 PageID #:17028
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 30
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MORRIS AVENEL ASSOCIATES URBAN
                                                                                                        RENEWAL LLC




                          Address:                        350 VETERANS BOULEVARD


                                                          RUTHERFORD
                                                                                                                                                ,
                                                          NJ 07070
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074950




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      96
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000969
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 769 of 1498 PageID #:17029
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   ALSTON CONSTRUCTION COMPANY INC




                          Address:                        968 POSTAL ROAD
                                                          SUITE 200

                                                          ALLENTOWN
                                                                                                                                                ,
                                                          PA 18109
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074951




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      97
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000970
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 770 of 1498 PageID #:17030
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 30
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT HOLDINGS LLC




                          Address:                        4825 NW 4ST STREET SUITE 500


                                                          RIVERSIDE
                                                                                                                                                ,
                                                          MO 64150
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074952




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      98
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000971
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 771 of 1498 PageID #:17031
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 30
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   ARTHUR KILL LOT 1OOC




                          Address:                        99 BROOKSIDE AVE


                                                          CHESTER
                                                                                                                                                ,
                                                          NY 10918
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074953




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      99
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000972
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 772 of 1498 PageID #:17032
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 30
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   50-56 BRUEN HOLDINGS LLC




                          Address:                        15 MELNICK DRIVE PO BOX 950


                                                          MONSEY
                                                                                                                                                ,
                                                          NY 10952
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074954




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     100
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000973
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 773 of 1498 PageID #:17033
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 30
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HUDSON MAXIM PROPERTY LLC




                          Address:                        72 TENNYSON DRIVE


                                                          SHORT HILLS
                                                                                                                                                ,
                                                          NJ 07078
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074955




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     101
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000974
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 774 of 1498 PageID #:17034
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   THE CONNELL COMPANY




                          Address:                        RISK MANAGEMENT DEPARTMENT
                                                          300 CONNEL DRIVE 4TH FLOOR, SUITE #4000

                                                          BERKELEY HEIGHTS
                                                                                                                                                ,
                                                          NJ 07922
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074956




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     102
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000975
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                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 775 of 1498 PageID #:17035
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DICE REAL ESTATE LLC




                          Address:                        2-44 COLNELIA STREET


                                                          NEWARK
                                                                                                                                                ,
                                                          NJ 07105
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074957




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     103
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000976
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 776 of 1498 PageID #:17036
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NATIONAL AMUSEMENTS INC




                          Address:                        846 UNIVERSITY AVENUE


                                                          NORWOOD
                                                                                                                                                ,
                                                          MA 02062
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074958




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     104
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000977
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 777 of 1498 PageID #:17037
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   WILDER BALTER PARTNERS INC




                          Address:                        480 BEDFORD RD


                                                          CHAPPAQUA
                                                                                                                                                ,
                                                          NY 10514
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074959




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     105
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA000978
                                                                          Copyright CNA A l R ghts Reserved.
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 778 of 1498 PageID #:17038
                                                                                                                                                   CNA PARAMOUNT
                                                                                                            Calculation of Premium Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the following is added:
                          The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On each
                          renewal, continuation, or anniversary of the effective date of this policy, the Insurer will compute the premium in
                          accordance with the Insurer’s rates and rules then in effect.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074960




                          CNA74726XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:     106
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA000979
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Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 779 of 1498 PageID #:17039
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 780 of 1498 PageID #:17040
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 781 of 1498 PageID #:17041
                                                                                                                          CNA PARAMOUNT
                                                                                                       Asbestos Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE FORM
                               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
                               RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
                               SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK
                               STOP GAP COVERAGE PART
                          It is understood and agreed that the following exclusion is added:
                          This insurance does not apply to:
                          A. bodily injury, property damage or personal and advertising injury arising out of the actual, alleged or threatened
                             exposure at any time to asbestos; or
                          B. any loss, cost or expense that may be awarded or incurred:
                               1.   by reason of a claim for any bodily injury, property damage or personal and advertising injury arising out of
                                    the actual, alleged or threatened exposure at any time to asbestos; or
                               2.   in complying with a governmental direction or request to test for, monitor, clean up, remove, contain or dispose of
                                    asbestos.
                          As used herein, asbestos means the mineral in any form whether or not the asbestos was at any time:
                          i.   airborne as a fiber, particle or dust;
                          ii. contained in or formed a part of a product, structure or other real or personal property;
                          iii. carried on clothing;
                          iv. inhaled or ingested; or
                          v.   transmitted by any other means.
30020000760568728074962




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74719XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     108
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA000982
                                                                           Copyright CNA A l R ghts Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 782 of 1498 PageID #:17042
                                                                                                                                                      CNA PARAMOUNT

                                                                                       Nuclear Energy Liability Exclusion Endorsement
                                                                                                                          (Broad Form)

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                               LIQUOR LIABILITY COVERAGE PART
                               OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                               PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                               RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                               STOP GAP LIABILITY COVERAGE PART
                          It is understood and agreed that the policy is amended as follows:
                          I.   The insurance does not apply:
                               A. under any Liability Coverage, to bodily injury or property damage:
                                   1.   with respect to which an Insured under the policy is also an Insured under a nuclear energy liability policy
                                        issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters,
                                        Nuclear Insurance Association of Canada or any of their successors, or would be an Insured under any such
                                        policy but for its termination upon exhaustion of its limit of liability; or
                                   2.   resulting from the hazardous properties of nuclear material and with respect to which
                                        a.   any person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
                                             of 1954, or any law amendatory thereof, or
                                        b. the Insured is, or had this policy not been issued would be, entitled to indemnity from the United States
                                           of America, or any agency thereof, under any agreement entered into by the United States of America, or
                                           any agency thereof, with any person or organization.
                               B. under any Medical Payments coverage, to expenses incurred with respect to bodily injury resulting from the
                                  hazardous properties of nuclear material and arising out of the operation of a nuclear facility by any person or
                                  organization.
                               C. under any Liability Coverage, to bodily injury or property damage resulting from hazardous properties of
                                  nuclear material, if:
30020000760568728074963




                                   1.   the nuclear material
                                        a.   is at any nuclear facility owned by, or operated by or on behalf of, an Insured or
                                        b. has been discharged or dispersed therefrom;
                                   2.   the nuclear material is contained in spent fuel or waste at any time possessed, handled, used, processed,
                                        stored, transported or disposed of, by or on behalf of an Insured; or
                                   3.   the bodily injury or property damage arises out of the furnishing by an Insured of services, materials, parts
                                        or equipment in connection with the planning, construction, maintenance, operation or use of any nuclear
                                        facility, but if such facility is located within the United States of America, its territories or possessions or
                                        Canada, this exclusion 3. applies only to property damage to such nuclear facility and any property thereat.
                          II. As used in this endorsement:
                               Hazardous properties includes radioactive, toxic or explosive properties.
                               Nuclear material means source material, special nuclear material or by-product material.
                               Source material, special nuclear material, and by-product material have the meanings given them in the Atomic
                               Energy Act of 1954 or in any law amendatory thereof.


                          CNA74727XX (1-15)                                                                                                      Policy No: 6056872807
                          Page 1 of 2                                                                                                      Endorsement No:     109
                          CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA000983
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                                                                                                                          CNA PARAMOUNT

                                                           Nuclear Energy Liability Exclusion Endorsement
                                                                                              (Broad Form)

    Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to radiation in
    a nuclear reactor.
    Waste means any waste material:
    A. containing by-product material other than the tailings or wastes produced by the extraction or concentration of
       uranium or thorium from any ore processed primarily for its source material content, and
    B. resulting from the operation by any person or organization of any nuclear facility included under the first two
       paragraphs of the definition of nuclear facility.
    Nuclear facility means:
    A. any nuclear reactor;
    B. any equipment or device designed or used for
        1.   separating the isotopes of uranium or plutonium,
        2.   processing or utilizing spent fuel, or
        3.   handling, processing or packaging waste;
    C. any equipment or device used for the processing, fabricating or alloying of special nuclear material if at any time
       the total amount of such material in the custody of the Insured at the premises where such equipment or device is
       located consists of or contains more than 25 grams of plutonium or uranium 233 or any combination thereof, or
       more than 250 grams of uranium 235;
    D. any structure, basin, excavation, premises or place prepared or used for the storage or disposal of waste;
    and includes the site on which any of the foregoing is located, all operations conducted on such site and all premises
    used for such operations.
    Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting chain reaction
    or to contain a critical mass of fissionable material.
    Property damage includes all forms of radioactive contamination of property.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74727XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:     109
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2020
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA000984
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                                                                                                                            CNA PARAMOUNT

                                                                              Cap on Losses from Certified Acts of Terrorism
                                                                                                               Endorsement

                          Solely with respect to the following coverage parts:

                              Business Property
                              Inland Marine

                              General Liability
                              Employee Benefits Liability



                          It is understood and agreed as follows:

                          A. Cap on Certified Terrorism Losses

                              Certified act of terrorism means an act that is certified by the Secretary of the Treasury, in consultation with the
                              Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant to
                              the Terrorism Risk Insurance Act, as extended and reauthorized (the "Act"). The criteria contained in the Act for a
                              certified act of terrorism include the following:

                              1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                                   subject to the Terrorism Risk Insurance Act; and

                              2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                                   individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
                                   policy or affect the conduct of the United States Government by coercion.

                              If aggregate insured losses attributable to terrorist acts certified under the Act exceed $100 billion in a Calendar year
                              (January 1 through December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be
                              liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
                              losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
30020000760568728074964




                              of the Treasury.

                          B. Application of Exclusions

                              The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
                              serve to create coverage for any loss which would otherwise be excluded under this coverage part or Policy, such as
                              losses excluded by the Nuclear Hazard Exclusion or the War And Military Action Exclusion.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA81503XX (2-15)                                                                               Policy No: 6056872807
                          Page 1 of 1                                                                               Endorsement No:     110
                          CONTINENTAL CASUALTY COMPANY                                                                Effective Date: 12/23/2020
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA000985
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                          Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 786 of 1498 PageID #:17046
30020000760568728074966




                                                      END OF COPY

                                                           CNA000987
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                      GROUP EXHIBIT G-4
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 788 of 1498 PageID #:17048
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 789 of 1498 PageID #:17049
                                                                                                                         CNA PARAMOUNT

                                                                   Policy Holder Notice - Notice of Terrorism Coverage -
                                                                                                  Disclosure of Premium


                                                                   IMPORTANT INFORMATION

                                                    NOTICE – OFFER OF TERRORISM COVERAGE
                                                       NOTICE – DISCLOSURE OF PREMIUM
                          Solely with respect to the following coverage parts:

                          Business Property
                          Inland Marine


                          General Liability
                          Employee Benefits Liability




                          THIS NOTICE DOES NOT FORM A PART OF THE POLICY, GRANT ANY COVERAGE OR CHANGE THE TERMS
                          AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.
                          The Named Insured is hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"),
                          the Named Insured has a right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in
                          Section 102(1) of the Act, subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a
                          federal program within the Department of the Treasury, under which the federal government shares, with the insurance
                          industry, the risk of loss from future terrorist attacks.
                          This Notice is designed to alert the Named Insured to coverage restrictions and to certain terrorism provisions in the
30020000760568728074273




                          policy. If there is any conflict between this Notice and the policy (including its endorsements), the provisions of the policy
                          (including its endorsements) apply.
                          CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM
                          The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
                          Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars and
                          must have been committed by an individual or individuals acting on behalf of any foreign person or foreign interest to
                          coerce the government or population of the United States. However, the 2007 re-authorization of the Act removed the
                          requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now certified acts of
                          terrorism may encompass, for example, a terrorist act committed against the United States government by a United States
                          citizen, when the act is determined by the federal government to be "a certified act of terrorism."
                          In accordance with the Act, the Insurer is required to offer the Named Insured the ability to purchase coverage for losses
                          resulting from an act of terrorism that is certified under the federal program. The other provisions of this policy, including
                          nuclear, war or military action exclusions, will still apply to such an act.
                          DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
                          The Department of the Treasury will pay a share of terrorism losses insured under the federal program. Beginning in 2020,
                          the federal share equals 80% of that portion of the amount of such insured losses that exceeds the applicable insurer
                          retention.
                          LIMITATION ON PAYMENT OF TERRORISM LOSSES



                          CNA62820XX 1-21
                                                                            CNA000989
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                                                                                                CNA PARAMOUNT

                                          Policy Holder Notice - Notice of Terrorism Coverage -
                                                                         Disclosure of Premium

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a Program Year (January 1 through December 31), the Treasury shall not make any payment for any portion of
the amount of such losses that exceeds $100 billion.
Further, this coverage is subject to a limit on the Insurer's liability pursuant to the federal law where, if aggregate insured
losses attributable to terrorist acts certified under the Act exceed $100 billion in a calendar year (January 1 through
December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be liable for the payment
of any portion of the amount of such losses that exceeds $100 billion. In such case, insured losses up to that amount are
subject to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.
CONFIRMATION OF ACCEPTANCE OF COVERAGE
In accordance with the Act, the Insurer offered the Named Insured coverage for losses resulting from an act of terrorism
that is certified under the federal program. This notice confirms that the Named Insured has chosen to accept the
Insurer's offer of coverage for certified acts of terrorism. The policy's other provisions, including nuclear, war or military
action exclusions, will still apply to such an act. The premium charge for terrorism coverage is shown separately on the
Declarations.




CNA62820XX 1-21
                                                   CNA000990
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                                                                                                                     CNA PARAMOUNT
                                                                    Policyholder Notice – New Jersey PLIGA Surcharge




                                                  IMPORTANT INFORMATION
                                                              "PLIGA" SURCHARGE
                                                             FOR OUR NEW JERSEY
                                                        COMMERCIAL LINES POLICYHOLDERS
                          Your policy premium includes a New Jersey Property – Liability Insurance Guaranty Association (PLIGA) surcharge.
                          PLIGA protects consumers from insurance company insolvencies. The cost of this guaranty fund is assessed to all
                          insurance companies in New Jersey; and in compliance with Department of Insurance Order No. A18-105, it is passed
                          along to individual consumers via this surcharge.

                          The surcharge is 0.60% of your premium for all property/liability coverage except for life insurance, accident and health
                          insurance, workers' compensation insurance, title insurance, annuities, surety bonds, credit insurance, mortgage guaranty
                          insurance, municipal bond coverage, fidelity insurance, investment return assurance, ocean marine insurance, and pet
                          health insurance.

                          For purposes of this surcharge and in compliance with New Jersey Insurance Department Regulation N.J.S.A. 17:30A-8a
                          (3), the declarations page of this policy is the "premium bill."

                          If you have questions about the New Jersey – Liability Insurance Guaranty Association or this surcharge, please contact
                          your independent CNA agent.
30020000760568728074274




                          CNA62848NJ (02-20)
                                                                          CNA000991
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                                                                                                                         CNA PARAMOUNT
                                                                                                    Policy Holder Notice – Countrywide


                                                   IMPORTANT INFORMATION
                                                 PREVENT UNEXPECTED PREMIUM CHARGES AT
                                                              FINAL AUDIT
                                                   GENERAL LIABILITY LIMITS WE REQUIRE FOR
                                                        SUBCONTRACTORS YOU HIRE
                          Please read this IMPORTANT INFORMATION notice carefully if you hire subcontractors to perform work for you.
                          Your General Liability insurance premiums may increase substantially at final audit if your subcontractors do not carry the
                          minimum General Liability insurance limits we require as defined below.
                          To prevent your General Liability insurance premiums from increasing at final audit, your subcontractors must carry a
                          General Liability policy which is written on an occurrence basis and which provides Limits of Insurance as follows:
                              $   1,000,000 Any One Occurrence (Coverage A)
                                  1,000,000 Any One Person or Organization (Coverage B)
                                  1,000,000 Products/Completed Operations Aggregate
                                  1,000,000 General Aggregate
                          In certain exception cases, higher Limits of Insurance than those specified above may be required. Your agent will be
                          notified of these exception cases in writing when they exist.
                          How This Requirement Can Affect Your General Liability Premium at Final Audit
                          At final premium audit, we will ask you to provide us with Certificates of Insurance for all subcontractors who worked for
                          you during the policy period, to confirm that they carried the General Liability limits of insurance we require, as stated
                          above.
                          Work you subcontract to other contractors whose General Liability limits of insurance meet the requirements shown
                          above, will be rated on a subcontract cost basis, which is significantly less expensive for you than treating these
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                          subcontract costs as ratable payroll (as described below).
                          Any subcontractor of yours who carries General Liability limits of insurance less than those stated above, and any of your
                          subcontractors for whom we are not provided Certificates of Insurance will be treated as your employees for rating
                          purposes. The associated subcontract costs will be treated as ratable payroll on your policy resulting in an additional
                          premium charge at final audit.
                          Prevent Unexpected Premium Charges at Final Audit:
                          Require Evidence Of $1,000,000 General Liability Limits From All Of Your Subcontractors
                          To avoid additional premium charges at final audit caused by your subcontract costs being treated as ratable payroll, and
                          to reduce the risk of your General Liability insurance being tapped to cover claims arising out of your subcontractor's work,
                          we urge you to obtain Certificates of Insurance from your subcontractors, prior to their beginning work, evidencing the
                          General Liability limits of insurance stated above. In addition to providing coverage information for their General Liability
                          insurance, these Certificates of Insurance should also provide coverage information for your subcontractor's Automobile,
                          Worker's Compensation, and Umbrella insurance.
                          Please contact your agent if you have any questions regarding these requirements or if you would like help in determining
                          the adequacy of the insurance carried by any of your subcontractors.




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                                                                                                                            CNA PARAMOUNT

                                                                                         Policy Holder Notice – Countrywide –
                                                                                    Premium Basis Used on Liability Schedules

                                                     Premium Basis Used on Liability Schedules
                          This policy includes one or more Liability coverages with associated Schedules of locations, coverages or classifications.
                          When such Schedules display an Exposure amount used to calculate premium, the Exposure amount is often followed by
                          an abbreviation that denotes what the Exposure amount represents (Payroll, Gross Sales, Area, etc.). Such abbreviations
                          are described below.

                          A   = Area                          (Per 1,000 Sq. ft.)           GL = Gallons                        (Per 1,000 Gallons)
                          AC = Acres                                     (Each)             GS = Grandstands/Bleacher                        (Each)
                          AD = Activity Days                             (Each)             H     = Number of Golf Holes                     (Each)
                          AN = Animals                                   (Each)             HO = Hoists                                      (Each)
                          AP = Airports                                  (Each)             HQ = Headquarters                                (Each)
                          AT = Attendants                                (Each)             K     = Kennels                                  (Each)
                          AU = Audited Premium                   (Last Year of              L     = Limit        (Limit of Insurance for Coverage)
                                                              Manufacture - %)
                                                                                            LD = Locations Days                              (Each)
                          B   = Bodies                                   (Each)
                                                                                            LE = Lessees                                     (Each)
                          BA = Bales                          (Per 1,000 Bales)
                                                                                            LO = Locations                                   (Each)
                          BD = Beds                                      (Each)
                                                                                            LR = Lakes/Reservoirs                            (Each)
                          BE = Beaches                                   (Each)
                                                                                            LW = Lawyers                                     (Each)
                          BO = Boats                                     (Each)
                                                                                            M     = Admissions              (Per 1,000 Admissions)
                          C   = Total Cost            (Per $1,000 of Total Cost)
                                                                                            ME = Members                                     (Each)
                          CD = Camper Days                  (Each Camper Day)
                                                                                            MH = Model Homes                                 (Each)
                          CN = Contestants                               (Each)
                                                                                            MI = Miles                                       (Each)
                          CU = Convention Days                           (Each)
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                                                                                            NB = Newsboys                                    (Each)
                          CW = Cost of Work                      (Per $1,000 of
                                                            Total Cost of Work)             O     = Operators                                (Each)

                          DB = Drawbridges                               (Each)             OE = Operating Expenditures         (Per $1,000 of
                                                                                                                       Operating Expenditures)
                          DM = Dams                                      (Each)
                                                                                            P     = Payroll                  (Per $1,000 of Payroll)
                          DW = Dwellings                                 (Each)
                                                                                            PD = Passenger Days              (Per 1,000 Passenger
                          E   = Each                     (Per Entity Described)                                                             Days)
                          EM = Employees                                 (Each)             PG = Picnic Grounds                              (Each)
                          ES = Solar Energy Systems                      (Each)             PP = Parks/Playgrounds                           (Each)
                          ET = Turbines                                  (Each)             PR = Parades                                     (Each)
                          EX = Exhibitions                               (Each)             PS = Persons                                     (Each)
                          F   = Flat Charge              (Flat Premium Charge)              PU = Pupils                                      (Each)
                          FG = Fairgrounds                               (Each)             R     = Receipts               (Per $1,000 of Receipts)
                          FM = Faculty Members                           (Each)             RG = Registrants                                 (Each)
                          FP = Fishing Piers                             (Each)             RN = Range                                       (Each)
                          G   = Graduates                                (Each)             RV = Revenue                   (Per $1,000 of Revenue)
                          GA = Games                                     (Each)
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                                                          Policy Holder Notice – Countrywide –
                                                     Premium Basis Used on Liability Schedules

S   = Gross Sales                  (Per $1,000 of            SP = Swimming Pools                     (Each)
                                    Gross Sales)
                                                             ST = Stations                           (Each)
SA = Classification          (Total Class Specific
                                    Premium - %)             SU = Sub 334 Premium   (Premises & Operations
                                                                                             Premium - %)
SB = Sub 336 Premium      (Products & Completed
                         Operations Premium - %)             TE = Teams                              (Each)

SC = Scouts                                (Each)            TO = Towers                             (Each)

SD = Students                              (Each)            U     = Unit                (Per Dwelling Unit)

SE = Seats                                 (Each)            VE = Vehicles              (Per 1,000 Vehicles)

SG = Total GL Premium           (General Liability           VO = Volunteers                         (Each)
                                   Premium - %)              WC = WC Premium          (Per 1,000 of Workers’
SH = Shows                                 (Each)                                   Compensation Premium)
                                                             Z     = Zoos                            (Each)
SL = 334/336 Premium      (Premises & Operations
                        and Products & Completed
                         Operations Premium - %)




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                                                                                                                     CNA PARAMOUNT
                                                                                                Policy Holder Notice — Countrywide



                                                                DENOTING DEFINED TERMS

                          As noted elsewhere in this Policy, terms in bold face type have the special meanings assigned to them in pertinent
                          Definitions sections or Glossaries. When applicable, terms in "quotation marks" shall be treated as if they were in bold
                          face type, and shall have the same special meanings described in the pertinent Definitions sections or Glossaries.
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                                                                                                             Common Terms and Conditions

                          The Insurer and the Named Insured, in consideration of the payment of the premium and in reliance upon all statements
                          made in the application furnished to the Insurer designated in the Policy Declarations, a stock insurance corporation,
                          hereafter called the “Insurer,” agree as follows. Terms in bold face type have special meaning as set forth in any
                          applicable First Party Glossary of Defined Terms or the applicable coverage parts of this Policy. All headings are also
                          in bold, whether or not they contain defined terms. See Section XVI, HEADINGS below.

                           I. ASSIGNMENT OF INTEREST

                              Assignment of interest under this Policy shall not bind the Insurer unless its consent is endorsed to this Policy except
                              in the case of death of a natural person Named Insured.

                           II. BANKRUPTCY
                              Bankruptcy or insolvency of any Named Insured or of the Named Insured’s estate shall not relieve the Insurer of any
                              of its obligations hereunder.

                           III. CANCELLATION/NONRENEWAL
                              A. Insurer’s Right to Cancel

                                  The Insurer may cancel this policy by providing to the First Named Insured written notice of such cancellation
                                  stating when, not less than 10 days thereafter, such cancellation shall be effective if such cancellation is due to
                                  non-payment of premium. If cancellation is due to any other reason, such notice shall be provided not less than
                                  60 days thereafter.
                              B. Named Insured’s Right to Cancel
                                  The First Named Insured may cancel this Policy by providing the Insurer written notice stating when thereafter
                                  such cancellation shall be effective. The mailing or delivery of such notice shall be sufficient.

                              C. Premium Refund

                                  If this policy is cancelled, the Insurer will send the First Named Insured any premium refund due. If the Insurer
                                  cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata.
                                  The cancellation will be effective even if the Insurer has not made or offered a refund.
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                              D. Nonrenewal

                                  If the Insurer decides not to offer any renewal terms for this Policy, the Insurer shall provide written notice to the
                                  Named Insured at least 60 days prior to the Policy expiration date. The notice shall include the reason for such
                                  non-renewal.
                              E. Notices

                                  If any notice required under this Section is mailed, proof of mailing will be sufficient proof of notice.

                           IV. CHANGES

                              Notice to or knowledge possessed by any agent or other person acting on behalf of the Insurer shall not effect a
                              waiver or a change in any part of this Policy or stop the Insurer from asserting any right under the provisions of this
                              Policy, nor shall the provisions be waived or changed except by written endorsement issued to form a part of this
                              Policy.

                           V. CONFORMITY TO STATUTE
                              Terms of these conditions or any coverage part that are in conflict with the statutes of the state in which this policy is
                              issued are hereby amended to conform to such statutes.


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                                                                                  Common Terms and Conditions

VI. COORDINATION AMONG COVERAGE PARTS
   Subject always to the applicable Limit of Liability, should two or more coverage parts apply to the same loss, the
   Insurer will not pay more than the Named Insured’s actual loss.

VII. COVERAGE PART TERMS AND CONDITIONS

   The terms and conditions of each coverage part apply only to that coverage part and shall not apply to any other
   coverage part. If any provision in the Common Terms and Conditions is inconsistent or in conflict with the terms
   and conditions of any coverage part, the terms and conditions of such coverage part shall control for purposes of
   that coverage part.

VIII. CURRENCY
   All premiums, limits, deductibles and other amounts stated or payable under this Policy are expressed and payable in
   the currency of the United States of America. If any payments due under this Policy are stated or incurred in a
   currency other than United States of America dollars, payment under this Policy will be made in United States of
   America dollars, at the rate of exchange published in The Wall Street Journal on the date the Insurer’s obligation to
   pay such amount is established (or, if not published on such date, the next publication date of The Wall Street
   Journal).

IX. ENTIRE AGREEMENT

   The Named Insureds agree that this Policy constitutes the entire contract existing between them and the Insurer or
   any of its agents relating to this insurance.

X. EXAMINATION OF THE INSURED’S BOOKS AND RECORDS
   The Insurer may examine and audit any Named Insured’s books and records as they relate to this Policy at any time
   during the policy period and up to 3 years afterward.

XI. INSPECTIONS AND SURVEYS
   The Insurer has the right but not the obligation to:
   A. make inspections and surveys at any time;
   B. provide reports on the conditions it finds;
   C. recommend changes; or
   D. conduct loss control and prevention activity.
   Any inspections, surveys, reports, or recommendations relate only to insurability and the premiums to be charged.
   The Insurer does not:
   1.   make safety inspections;
   2.   undertake to perform the duty of any entity to provide for the health or safety of workers or the public;
   3.   warrant that conditions are safe or healthful or comply with laws, regulations, codes or standards.

XII. LIBERALIZATION
   If the Insurer adopts any revision that would broaden the coverage under this Policy without additional premium within
   60 days prior to or during the policy period, the broadened coverage will immediately apply to this Policy.




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                                                                                                           Common Terms and Conditions

                           XIII. NAMED INSURED AUTHORIZATION AND NOTICES

                              The First Named Insured agrees that it will act on behalf of all Named Insureds with respect to the giving of all
                              notices to the Insurer, the receipt of notices from the Insurer, the payment of the premiums, the receipt of any return
                              premiums that may become due under this Policy, and the acceptance of endorsements.
                              Any notices required under the CANCELLATION / NON-RENEWAL sections of this Policy shall be provided to the
                              First Named Insured at the last known address and to its insurance agent or broker. If notice is mailed, proof of
                              mailing will be sufficient proof of notice.

                           XIV. NO SUIT AGAINST INSURER

                              A. No suit shall be brought under this Policy by anyone other than the Named Insured. The Named Insured may
                                 not bring any such suit, action or legal proceeding unless, as a condition precedent, there shall have been full
                                 compliance with all the provisions of this Policy and:
                                  1.   with respect to any property coverage part, the action is brought within 3 years after the date on which the
                                       loss or damage occurred or, with respect to any crime coverage, the date the loss was discovered;
                                  2.   with respect to any third party coverage part, the amount of the Named Insured's obligation to pay shall
                                       have been finally determined either by final and nonappealable judgment against the Named Insured after
                                       trial or by written agreement of the Named Insured, the claimant and the Insurer.

                                  However, if any law prohibits such time limitation then the limitation is amended to equal the minimum time
                                  limitation required by such law.
                              B. No person or organization shall have any right under this Policy to join the Insurer as a party to any suit against
                                 the Named Insured to determine the Named Insured's liability, nor shall the Insurer be impleaded by the Named
                                 Insured or their legal representatives in any such suit.

                           XV. TRADE AND ECONOMIC SANCTIONS
                              This Policy does not provide coverage for any Named Insured, transactions, or any loss that is uninsurable under the
                              laws or regulations of the United States concerning trade or economic sanctions.
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                           XVI. HEADINGS
                               The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and
                               conditions of coverage.

                          IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its Chairman and Secretary at Chicago,
                          Illinois, but the same shall not be binding upon the Insurer unless countersigned by a duly authorized representative of the
                          Insurer.

                           Chairman                                                    Secretary




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                                                                                               First Party Glossary of Defined Terms

                          This First Party Glossary of Defined Terms applies to the Business Property Coverage Part and the Business Crime
                          Coverage Part, as applicable, and their associated forms and endorsements. For purposes of this Policy, words in bold,
                          whether expressed in the singular or the plural, have the meaning shown below.


                           Act or Decision
                              Act or decision means any act or decision, whether intentional or negligent, including the failure to act or decide, of
                              any person, group, organization or governmental body which creates or allows a result which is unexpected,
                              inadequate, defective, faulty or otherwise unsuitable for the intended purpose.

                          Actual Cash Value
                              Actual cash value means the replacement cost with deduction for depreciation, deterioration and obsolescence
                              which amount is computed as of the time and at the place of loss or damage.

                          Alteration
                              Alteration means the material modification of an original document by a person acting without authority and with the
                              intent to deceive. Alteration does not include the electronic or manual insertion of any personal identification code,
                              including personal identification numbers or password or a counterfeit.

                           Banking Premises
                              Banking premises means the interior of that portion of any building occupied by a financial institution.

                           Bonus Payment

                              Bonus payment means the unamortized amount, other than rent or security, which the Named Insured paid to
                              acquire the Named Insured's lease and that will not be refunded to the Named Insured.

                           Building
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                              Building means a building or structure, including completed additions, additions under construction and alterations
                              and repairs to such building or structure that the Named Insured owns, occupies or is legally or contractually required
                              to insure.

                           Business Income
                              Business income means net income, including rental value, plus continuing operating expenses. Business
                              income does not include research and development business income.

                           Client
                              Client means a third party for whom the Named Insured performs specified professional services for a fee.

                           Computer Fraud
                              Computer fraud means theft of money, securities and other property following and directly related to the use of
                              any computer to fraudulently cause a transfer of that property to a person who is not an employee or to an account of
                              any financial institution not controlled by the Named Insured.




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                                                                     First Party Glossary of Defined Terms

Contaminants or Pollutants
   Contaminants or pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
   vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
   reclaimed.

Continuing Operating Expenses
   Continuing operating expenses means:

   A. the Named Insured’s normal operating expenses including any reasonable and necessary payroll; plus

   B. charges that are the unsatisfied legal obligation of the Named Insured’s tenants and for which the Named
      Insured is now obligated.

   Continuing operating expenses does not include extra expense, expediting expense or research and
   development project continuing expenses.

Counterfeit
   Counterfeit means a written imitation of an actual valid original document that is intended to deceive and to be
   taken as the original document.

Coverage Part

   Coverage part means the Business Property Coverage Part and Business Crime Coverage Part, as applicable.

Coverage Territory

   Coverage territory means the United States of America, its territories or possessions, Canada, or Puerto Rico.
   Coverage territory does not include any waterborne shipment to or from Alaska, Puerto Rico, Hawaii or territories or
   possessions of the United States of America.

Covered Equipment
   Covered equipment means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping and its
   accessory equipment, and any mechanical or electrical machine or apparatus used for the generation, transmission,
   or utilization of mechanical or electrical power.

Covered Instruments
   Covered instruments means written checks, drafts, promissory notes or similar written promises, orders or
   directions to pay a sum certain in money, and also includes written instruments required in conjunction with any
   credit, debit or charge card issued to the Named Insured or to any employee for business purposes, or issued to any
   proprietor, partner, member or officer of the Named Insured for personal use.

Covered Peril
   Covered peril means a fortuitous cause or event, not otherwise excluded, which occurs during this policy period.
   Covered peril does not include:
   1.   a fortuitous cause or event, whether or not excluded, which actually occurred prior to the policy period,
        regardless of the date on which it first becomes manifest or is first discovered; or
   2.   damage from unknown causes or events.


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                                                                                               First Party Glossary of Defined Terms

                          Covered Property
                             Covered property means the property that is insured for loss or damage under the Business Property Coverage
                             Part or endorsements.

                          Denial of Service Attack
                             Denial of service attack means an attack executed over one or more networks or the internet, which attack is
                             designed and intended to disrupt the operation of one or more networks and render the networks inaccessible to
                             authorized users.

                          Dependent Property
                             Dependent property means a premises that is operated by others on whom the Named Insured depends to:
                             A. deliver materials or services to the Named Insured or to others for the Named Insured’s account;
                             B. accept the Named Insured’s products or services;
                             C. manufacture products for delivery to the Named Insured’s customers under contract of sale; or

                             D. attract customers to the Named Insured’s business.

                             The dependent property includes the area associated with that address in which the occupant of the above premises
                             is legally entitled to conduct business activities and includes the area extending 1,000 feet beyond that address.
                             Dependent property does not include:

                             1.   any premises operated by others on whom the Named Insured depends to deliver any:
                                  a.   power, communications or other utility services;
                                  b. internet access or internet services; or
                                  c.   data management, network management, software management or cloud computing and storage services; or

                             2.   any premises within any country in which the United States government has imposed sanctions, embargoes or
                                  similar prohibitions.
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                          Discover or Discovered
                             Discover or discovered means the earlier of the time when the Named Insured first:
                             A. becomes aware of facts which would cause a reasonable person to assume that a covered loss did or will
                                happen, regardless of when the act that may cause or contribute to such loss occurred, even though the exact
                                amount or details of loss may not be known; or
                             B. receives notice of an actual or potential claim in which it is alleged that the Named Insured is liable to a third
                                party under circumstances that, if true, would constitute a covered loss.

                          Earth Movement
                             Earth movement means earthquake or other seismic activity (including but not limited to underground magma
                             activity), the abrupt rising, sinking or shifting of earth (naturally occurring or man-made) or mine subsidence. However,
                             earth movement does not include landslide, avalanche, tsunami, sinkhole collapse or volcanic eruption.




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                                                                     First Party Glossary of Defined Terms

Electronic Data Processing Equipment

   Electronic data processing equipment means:

   A. a network of electronic components capable of accepting information and processing it according to a plan and
      which exists primarily to generate information in tangible form or on electronic media, including climate control
      and fire protective equipment used solely in connection with data processing operations;
   B. telephone equipment; and

   C. facsimile equipment.

   Electronic data processing equipment does not include any equipment which:

   1.   are stock; or
   2.   exist primarily to control or operate machinery or equipment to produce goods in process or finished stock.

Electronic Data Processing Equipment Leasehold Values
   Electronic data processing equipment leasehold values means the present value of the difference between the:
   A. actual periodic lease payments for electronic data processing equipment that has incurred direct physical loss
      or damage and for which the Named Insured remains liable during the unexpired term of the lease; and
   B. periodic payment for the replacement of electronic data processing equipment due under the new lease, for
      each remaining month of the term of the lease.

Electronic Infection
   Electronic infection means the transmission of a computer virus.

Electronic Vandalism
   Electronic vandalism means the willful or malicious alteration, manipulation or destruction of media, electronic data
   processing equipment, research and development project property and records of accounts receivable due to
   system penetration, electronic infection or a denial of service attack, including such acts committed by an
   employee (including leased and temporary employees).

Employee
   Employee means:
   A. any natural person:
        1.   while in the Named Insured’s service (and for 60 days after termination of service);
        2.   whom the Named Insured compensates directly by salary, wages, or commissions; and
        3.   whom the Named Insured has the right to direct and control while performing services for the Named
             Insured;
   B. any natural person who is furnished to the Named Insured:
        1.   to substitute for a permanent employee on leave; or
        2.   to meet seasonal or short-term workload conditions,
        while that person is subject to the Named Insured’s direction and control and performing services for the Named
        Insured, excluding, however, any such person while having care and custody of the Named Insured’s property
        outside the premises;


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                             C. any natural person leased to the Named Insured, under an agreement between the Named Insured and a labor
                                leasing firm, while that person is subject to the Named Insured’s direction and control and performing services
                                for the Named Insured;
                             D. any non-compensated natural person:
                                  1.   other than one who is a fund solicitor, while performing services for the Named Insured that are usual to the
                                       duties of an employee or officer; or
                                  2.   while acting as a fund solicitor during fund raising campaigns; or
                             E. solely with respect to an employee benefit plan, any natural person who is required to be bonded by the
                                Employee Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations
                                promulgated thereunder.
                             Other than with respect to an employee benefit plan, employee does not include any:
                             1.   agent, broker, factor, commission merchant, consignee, independent contractor or representative of the same
                                  general character; or
                             2.   manager, member, partner, proprietor, director or trustee, but solely to the extent he or she is acting in his or her
                                  capacity as such.

                          Employee Benefit Plan
                             Employee benefit plan means an employee welfare benefit plan or an employee pension benefit plan as more fully
                             set forth in Title 1, Section 3 of the Employee Retirement Income Security Act of 1974 (ERISA) and any amendments
                             thereto and which is solely sponsored by the Named Insured.

                          Employee Theft
                             Employee theft means theft committed by an employee to the deprivation of the Named Insured or an employee
                             benefit plan, whether identified or not, acting alone or in collusion with others. Solely with respect to an employee
                             benefit plan, employee theft means all acts of fraud or dishonesty required to be bonded against by the Employee
                             Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated
                             thereunder.
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                             Employee theft also includes forgery of such property by an employee.

                           Equipment Breakdown Peril
                             Equipment breakdown peril means:
                             A. Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices wiring
                                or equipment.
                             B. Explosion, rupture or bursting of steam boilers, steam pipes, steam engines, stream turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured,
                                except for the explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas
                                turbines, or within the flues or passages through which the products of combustion pass.
                             C. Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured;
                                except for explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines,
                                or within the flues or passages through which the gases of combustion pass.
                             D. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment, engines
                                other than steam engines or pressure vessels when owned, operated or controlled by the Named Insured.
                             E. Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property owned,
                                operated or controlled by the Named Insured.


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Executive Officer
   Executive officer means any natural person partner, member, officer, manager (of a limited liability company),
   director or trustee of the Named Insured.

Extra Expense
   Extra expense means actual reasonable and necessary operating expenses the Named Insured incurs during the
   period of restoration that would not have been necessary to incur if there had been no direct physical loss of or
   damage to property, provided such expenses are incurred:
   A. to avoid or minimize the suspension or delay of operations and to continue such operations which have been
      affected by the direct physical loss or damage to the property; or
   B. in an attempt to minimize the period of restoration.
   Extra expense does not include:
   1.   research and development project continuing expenses or continuing operating expenses;
   2.   costs incurred to purchase merchandise as a replacement for the Named Insured's finished stock;
   3.   costs to repair or replace any property, or research or restore media or records of accounts receivable; or
   4.   amounts incurred on financing or investment activity conducted for the Named Insured's account.

Financial Institution
   Financial institution means:
   A. a banking, savings or thrift institution, credit union or similar depository institution; or
   B. a stock brokerage firm, mutual fund, liquid assets fund or similar investment institution where the Named Insured
      maintains an account.
   However, financial institution does not include check cashers, currency exchangers or money remittance firms.

Fine Arts
   Fine arts means paintings, etchings, pictures, tapestries, art glass windows, valuable rugs, statuary, marbles,
   bronzes, antiques, porcelains, rare books, manuscripts, and similar property of rarity, historical value or artistic merit.

Finished Stock
   Finished stock means manufactured goods that are in a completed state and ready for packing, shipment,
   installation or sale. However, finished stock does not include manufactured goods that are held for sale at a
   location of any retail outlet.

First Named Insured
   First Named Insured means the person or entity first named in Item 1 of the Policy Declarations.

Fixtures
   Fixtures means:
   A. indoor or outdoor property fixed or attached to a building, including permanently installed machinery and
      equipment; or
   B. glass (including all lettering and ornamentation) forming part of the building.




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                          Flood
                             Flood means a general and temporary condition of partial or complete inundation of normally dry land areas from:
                             A. the overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or man-made
                                lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans or any other body of water or watercourse;
                             B. waves, tides or tidal waves including tsunami;
                             or their spray, all whether driven by wind or not, including storm surge.

                          Forgery
                             Forgery means the signing of the name of another person or organization with intent to deceive. Forgery does not
                             include:
                             A. a signature which consists in whole or in part of one's own name signed with or without authority, in any capacity
                                for any purpose;
                             B. the electronic or manual insertion of any personal identification code, including personal identification numbers or
                                passwords; or
                             C. counterfeit.

                          Funds Transfer Fraud
                             Funds transfer fraud means theft of money and securities following and directly related to the use of fraudulent
                             written or verbal instructions which are purported to have been made by the Named Insured, which causes an
                             electronic transfer of money or securities from a financial institution to:
                             A. an account at a financial institution not controlled by the Named Insured; or
                             B. a person other than an employee.

                          Fungi

                             Fungi means any form of fungus, including but not limited to, yeast, mold, mildew, rust, smut or mushroom, and
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                             including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released by,
                             or arising out of the current or past presence of fungi. Fungi does not include any fungi intended by the Named
                             Insured for consumption.

                          Goods In Process

                             Goods in process mean raw stock which has undergone any aging, seasoning, mechanical or other process of
                             manufacture but which has not become finished stock.

                          Green Insured Property

                             Green insured property means insured property created, built or constructed following the practice of creating
                             buildings or materials or using processes that incorporate one or more of the following practices and are certified as
                             such by a government organization or a nationally or internationally recognized building industry organization or
                             governmental agency, such as the U.S. Green Building Council (LEED certification), ECD Energy, Environment
                             Canada (Green Globes) or the U.S. Department of Energy:
                             A. Energy Efficiency, including steps implemented to obtain an ENERGY STAR label for a building at a location or
                                reported unspecified location, as well as use of ENERGY STAR or equivalently rated materials, lighting
                                systems, HVAC equipment, appliances or electronic products (if current like kind and quality replacement is not
                                ENERGY STAR rated).


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   B. Water Efficiency, including use of water efficient processes and wastewater technologies, as well as use of
      alternative water or indoor plumbing systems that reduce water usage from any plumbing fixture.
   C. Materials Efficiency, including use of sustainable and environmentally preferable construction materials, materials
      management and re-cycling programs.
   D. Environmental Quality, including reduction of the quantity of indoor air contaminants by use of low-emitting
      products or materials.
   Green insured property does not include stock, processing water, molds and dies, property in the open, personal
   property of others or personal property of executive officers or employees.

Gross Leasehold Interest

   Gross leasehold interest means the difference between the:

   A. the current monthly rental value at the market rate of the location or the reported unspecified location the
      Named Insured has leased on the date the direct physical loss or damage occurred; and

   B. the actual monthly rent the Named Insured currently pays, including taxes, insurance, janitorial or other services
      or fees that the Named Insured pays as part of the rent and other monthly assessments.

Installation Location

   Installation location means a premises that is not owned, leased or operated by the Named Insured at which
   installation property is or will be installed, constructed or serviced.

Installation Property

   Installation property means personal property that has or will become a permanent part of an installation,
   construction, or service project being performed for others by the Named Insured, or on the Named Insured's behalf.

Insured Property
   Insured property means real property and personal property.

Location

   Location means each of the locations specified in the Business Property Schedule of Locations or scheduled in
   any endorsement to this Policy and includes:
   A. the area associated with that address in which the Named Insured is legally entitled to conduct business
      activities; and
   B. the area extending 1,000 feet beyond that address.

Manager
   Manager means any natural person manager or member.

Manufactured Goods
   Manufactured goods means goods manufactured at a premises:
   A. the Named Insured owns or operates; or
   B. that the Named Insured does not own or operate, provided the Named Insured:
       1.   contracted for the goods to be manufactured exclusively for the Named Insured; and

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                                  2.   the Named Insured is the owner or licensee of the design, patent, trademark or copyright for the goods.

                          Market Value
                             Market value means the price that property might be expected to realize if offered for sale in a fair market.

                          Media
                             Media means recorded information in any format which is an existing original or which can be duplicated or replaced
                             by purchasing an existing duplicate that is for sale, and including any material upon which it is inscribed, printed,
                             written or recorded, owned by the Named Insured or owned by others in the Named Insured's care, custody or
                             control.

                             Media does not include money, securities, stock, fine arts, records of accounts receivable or research and
                             development project property.

                          Member
                             Member means any person serving on the Board of Managers or equivalent executive of a Named Insured that is a
                             limited liability company.

                          Merchandise
                             Merchandise means:
                             A. goods held for sale or installation by the Named Insured which are not manufactured goods; or
                             B. manufactured goods which are completed and ready for packing, shipment, installation or sale at a location of
                                any retail outlet.

                          Messenger
                             Messenger means any of the Named Insured’s natural person members, proprietors, partners, executive officers
                             or employees who are duly authorized by the Named Insured to have care and custody of the property outside the
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                             premises.

                          Microbes
                             Microbes means any:
                             A. non-fungal microorganism;
                             B. non-fungal, colony-form organism;
                             C. virus; or
                             D. bacteria.
                             Microbe includes any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by,
                             released by, or arising out of the current or past presence of microbes.

                          Mobile Computing Device
                             Mobile computing device means cellular phones, laptop computers and other personal hand-held electronic devices,
                             including accessories for such portable computing devices used in the Named Insured's business that are owned by
                             the Named Insured, executive officers or employees (including leased or temporary employees).

                             Mobile computing device does not include any of these devices while rented or leased to others or stock.

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Money
   Money means:
   A. currency, coins and bank notes in current use and having a face value; and

   B. travelers checks, register checks and money orders held for sale to the public.

Monthly Leasehold Interest

   Monthly leasehold interest means the original costs the Named Insured paid for bonus payments and prepaid
   rent, divided by the number of months left in the Named Insured's lease at the time of the expenditure.

Mudslide or Mudflow
   Mudslide or mudflow means a river of liquid and flowing mud on the surface of normally dry land areas as when
   earth is carried by a current of water and deposited along the path of the current.

Named Insured

   Named Insured means the persons or entities named as such on the Business Crime Coverage Part, Business
   Property Coverage Part or Policy Declarations.

   For insured property that is the subject of a Contract of Sale, Named Insured includes the Contract of Sale Loss
   Payee.

Named Storm
   Named storm means a tropical storm system that is declared to be named by the National Hurricane Center, World
   Meteorological Organization or any similar organization, agency or body responsible for naming such weather
   systems, including tropical storm spawned tornados or microbursts.
   The named tropical storm begins when such organization, agency or body officially declares the storm system as a
   named tropical storm and ends when that organization, agency or body officially declares the named tropical storm:
   A. permanently downgraded to a tropical depression;
   B. reclassified as a Post Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less; or
   C. reclassified as an Extra Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less.

Net Income
   Net Income means net profit or loss that would likely have been earned or incurred before taxes. Net income does
   not include any profit that would likely have been earned as a result of an increase in the business transactions due to
   favorable business conditions caused by the impact of the covered peril in the vicinity of such covered peril.

Net Leasehold Interest
   Net leasehold interest means the net present value of the gross leasehold interest for each remaining month of the
   term of the lease, discounted at the Prime Rate on the date the direct physical loss or damage occurs, rounded to the
   nearest dollar.




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                          Newly Acquired Location
                             Newly acquired location means a fixed premises the Named Insured owns, leases, rents or controls. The premises
                             becomes a newly acquired location on the later of:
                             A. the date the Named Insured obtains possession or control of the premises; or
                             B. the date the real property, personal property, fine arts, records of accounts receivable or media for which
                                the Named Insured has an insurable interest is placed at the premises.
                             Newly acquired location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a reported unspecified location;
                             4.   an installation location; or
                             5.   a fair, trade show or exhibition.

                          Occurrence

                             Occurrence means one event or a series of related events that contribute concurrently to or contribute in any
                             sequence to physical loss of or damage to property. However, with respect to:
                             A. the equipment breakdown peril, occurrence means all equipment breakdowns that manifest themselves at the
                                same time and are the result of the same cause, regardless of the number of locations or reported unspecified
                                locations or other premises involved.
                             B. a named storm, occurrence means each named storm. If a named storm is downgraded to a tropical
                                depression, such tropical depression shall be considered a separate occurrence.
                             C. theft, occurrence means all loss sustained by the Named Insured caused by:
                                  1. any single act or series of related acts;
                                  2.   any act or acts involving one person, or a group of persons acting together; or
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                                  3.   an act or event, or a series of related acts or events, not involving any identifiable person.
                             D. volcanic eruption, occurrence means all volcanic eruptions, explosions or effusions that occur within any 168
                                hour period.
                             E. Employee Theft Coverage or Employee Theft of Client Property Coverage, occurrence means:
                                  1.   any single act;
                                  2.   the combined total of all separate acts whether or not related; or
                                  3.   a series of acts whether or not related,
                                  committed by an employee, acting alone or in collusion with other persons, or any group of employees acting
                                  together, even if in collusion with other persons, during the policy period, before the policy period or both,
                                  subject to the Loss Sustained During Prior Policy Condition under the BUSINESS CRIME COVERAGE
                                  CONDITIONS in the First Party Terms and Conditions.
                             F. Forgery or Alteration Coverage, occurrence means:

                                  1.   any single act;

                                  2.   the combined total of all separate acts whether or not related; or

                                  3.   a series of acts whether or not related,


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       committed by any one person acting alone or in collusion with others, or in which any such person is implicated,
       involving one or more instruments, during this policy period, before this policy period or both, subject to the
       Loss Sustained During Prior Policy condition under the BUSINESS CRIME COVERAGE CONDITIONS in the
       First Party Terms and Conditions.
   G. Money and Securities Coverage or any other coverage provided under the Business Crime Coverage Part,
      occurrence means:
       1.   any single act, or series of related acts;
       2.   the combined total of all separate acts whether or not related; or
       3.   a series of acts whether or not related,
       committed by any one person acting alone or in collusion with others, or not committed by any identifiable person,
       during the policy period, before the policy period or both, subject to the Loss Sustained During Prior Policy
       Condition under the BUSINESS CRIME COVERAGE CONDITIONS in the First Party Terms and Conditions.
   H. Utility Supply Failure Coverage, occurrence means one event or a series of related events that contribute
      concurrently to or contribute in any sequence to physical loss of or damage to property, regardless of the number
      of locations or reported unspecified locations or the number of utility service providers or utility service
      properties involved in the same event.

Operations
   Operations means the Named Insured’s business activities occurring at the covered premises prior to the time and
   date of the loss or damage, including the Named Insured’s activities as a lessor.
   Operations does not include business activities as part of research and development projects.

Original Document
   Original document means:
   A. the first rendering or archetype and does not include photocopies or electronic transmissions even if received and
      printed; or
   B. for the purposes of Forgery or Alteration Coverage only, a “substitute check”, as defined in the Check Clearing for
      21st Century Act.

Other Property
   Other property means any tangible property other than money and securities that has intrinsic value.
   Other property does not include any property listed in the Business Crime Coverage Part as specifically not
   covered.

Outdoor Trees, Shrubs, Plants or Lawns
   Outdoor trees, shrubs, plants or lawns mean trees, shrubs, plants or lawns the Named Insured owns that are
   located outside.
   Outdoor trees, shrubs, plants or lawns does not include growing crops, standing timber, stock or trees, shrubs,
   plants, grass or lawns that are part of a vegetated roof.

Period of Restoration
   A. Period of restoration means the period of time that begins with:
       1.   the time and date that the physical loss or damage that causes suspension of operations occurs; or


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                                 2.   the date operations would have begun if such loss or damage delays the start of operations and such loss
                                      or damage is to any of the following:
                                      a.   buildings whether complete or under construction;
                                      b. alterations or additions to existing buildings;
                                      c.   machinery, equipment, supplies or materials that are:
                                           (1) used in such construction, alterations or additions;
                                           (2) incidental to the occupancy of the area intended for construction, alteration or addition; or
                                           (3) incidental to the alteration of the occupancy of an existing building.
                             B. If the Named Insured resumes operations, with reasonable speed, the period of restoration ends on the earlier
                                of:
                                 1.   the date when the premises where the loss or damage occurred could have been physically capable of
                                      resuming the level of operations which existed prior to the loss or damage; or
                                 2.   the date when a new permanent premises is physically capable of resuming the level of operations which
                                      existed prior to the loss or damage, if business is resumed at a new permanent premises.
                             C. If the Named Insured does not resume operations, or does not resume operations with reasonable speed,
                                whether at a location, reported unspecified location or elsewhere, the period of restoration will end on the
                                date when the premises where the loss or damage occurred could have been restored to the physical size,
                                construction, configuration and material specifications which existed at the time of loss or damage, with no
                                consideration for any increased period of time:
                                 1.   which would have been required to make changes in order to repair or reconstruct the property or tear down
                                      undamaged parts of the property, to meet the minimum requirements of an ordinance or law; or
                                 2.   which would have been necessary to make the premises physically capable of resuming the level of
                                      operation which existed prior to the loss or damage after the completion of repairs or replacement.
                             D. With respect to Dependent Property Time Element Coverage under the OFF-SITE COVERAGE section in the
                                Business Property Coverage Part, period of restoration means the period of time that:
                                 1.   begins on the date the physical loss of or damage to property at a dependent property occurs; and
                                 2.   ends on the date when the property at that dependent property should be repaired or replaced with
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                                      reasonable speed and similar quality.
                             E. With respect to research and development business income, the period of restoration means the period of
                                time that begins with the time and date of the physical loss of or damage to research and development project
                                property that causes suspension of the Named Insured's research and development project and ends on the
                                earlier of:
                                 1.   the date such research and development project property could be recreated or restored with reasonable
                                      speed and similar quality to the condition that existed at the time of loss or damage; or
                                 2.   365 days immediately following the date the physical loss of or damage to such research and development
                                      project property occurred.
                             F. No period of restoration will be cut short by the expiration of the Policy.

                          Personal Property
                             Personal property means:
                             A. all property, other than real property, owned by the Named Insured and used in the Named Insured's
                                business, including furniture, fixtures, machinery, electronic data processing equipment and stock;
                             B. glass in buildings which, as a tenant, the Named Insured has a contractual responsibility to insure;
                             C. the Named Insured’s outdoor signs, antennas and towers and fences;
                             D. personal property of others;

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   E. personal property of executive officers or employees;
   F. property, other than real property, the Named Insured leases for use in its business and for which the Named
      Insured has a contractual responsibility to insure, unless otherwise provided for under personal property of
      others;
   G. the value of labor, materials or services furnished or arranged by the Named Insured on personal property of
      others;
   H. the Named Insured’s interest in tenant’s improvements and betterments;
   I.   power or communication generation or transmission equipment, including transmission and distribution lines of
        any type, owned, operated, controlled by or leased by the Named Insured; or
   J. vehicles or self-propelled machines (including autos, aircraft or watercraft) that:
        1.   the Named Insured manufactures, processes or warehouses or holds for sale that are licensed for use on
             public roads while at a location or reported unspecified location;
        2.   the Named Insured manufactures, processes or warehouses or holds for sale that are not licensed for use
             on public roads while at a location or reported unspecified location;
        3.   are unpowered watercraft owned by the Named Insured while out of the water at a location or reported
             unspecified location; or
        4.   are trailers owned by the Named Insured that are not licensed for use on public roads while at a location or
             reported unspecified location.
   Personal property does not include property not covered.

Personal Property of Executive Officers or Employees
   Personal property of executive officers or employees means personal property that is owned by executive
   officers or the Named Insured's employees (including leased or temporary employees) and that is usual to the
   occupancy of the building.

Personal Property of Others
   Personal property of others means personal property that is not owned by the Named Insured but is in the Named
   Insured’s care, custody or control.
   Personal property of others does not include personal property of executive officers or employees.

Policy Period

   Policy period means the period of time shown on the Policy Declarations, beginning on the effective date and time
   and ending on the expiration date and time, or the Policy's earlier cancellation date.

Policy Premium

   Policy premium means the original premium and the fully annualized amount of any additional premiums, charged by
   the Insurer for coverage provided during the policy period.

Prearranged Transfer
   Prearranged transfer means an electronic transfer of money or securities which is part of a regular or scheduled
   series of electronic transfers, authorized by written agreement, to a designated financial institution specifying:
   A. the amount of money or securities to be transferred; and
   B. account number to be credited.



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                          Premises
                             Premises means:
                             A. the interior of that portion of any building the Named Insured occupies in conducting the Named Insured’s
                                business;
                             B. with respect only to damage to other property, the exterior of that portion of any building the Named Insured
                                occupies in conducting the Named Insured’s business; or
                             C. with respect only to the Employee Theft of Client Property While on Client Premises Coverage under the
                                Business Crime Coverage Part, the interior of that portion of any building a client occupies in conducting the
                                client's business or the interior of a client’s owned, leased or rented residence.

                          Prepaid Rent

                             Prepaid rent means that unamortized portion of any amount of advance rent the Named Insured paid based on the
                             percentage of the unexpired portion of the lease that remains at the time of physical loss or damage.
                             Prepaid rent does not include the customary rent for a rental period or any amount refunded to the Named Insured.

                          Property Not Covered
                             Property not covered means:
                             A. animals unless:
                                  1.   owned by others and boarded by the Named Insured, or
                                  2.   owned by the Named Insured as stock, other than research animals, while inside of a building at a
                                       location or reported unspecified location;
                             B. bulkheads, pilings, piers, wharves or docks;
                             C. contraband, or property in the course of illegal transportation or trade;
                             D. fine arts, money, securities, records of accounts receivable, media or research and development project
                                property;
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                             E. vehicles or self-propelled machines (including autos, aircraft or watercraft) that are:
                                  1.   licensed for use on public roads; or
                                  2.   operated principally away from the location or reported unspecified location,
                                  except to the extent included in Paragraph J. of the personal property definition;
                             F. land, naturally occurring water, air, growing crops and standing timber;
                             G. outdoor trees, shrubs, plants or lawns;
                             H. dams, dikes or retaining walls;
                             I.   underground mines, mine shafts, caverns, open pits or quarries; or
                             J.   any property which the Named Insured has covered under any other Policy in which such property is more
                                  specifically described, except for the excess of the amount due under such other coverage, whether collectible or
                                  not.

                          Qualifying Period
                             Qualifying period means the continuous period of time which must pass before the applicable coverage begins.




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Raw Stock
   Raw stock means material in the state in which the Named Insured acquired it for conversion into finished stock.

Real Property
   Real property means:
   A. buildings and temporary or appurtenant structures of such buildings;
   B. fixtures;
   C. personal property that is used to maintain or service the buildings, locations or reported unspecified
      locations;
   D. the Named Insured’s indoor and outdoor signs;
   E. materials, equipment, supplies and temporary buildings used for making additions, alterations or repairs to any
      such building;
   F. paved or concrete surfaces owned by the Named Insured;
   G. building foundations; or
   F. underground pipes, flues and drains owned by the Named Insured.
   Real property does not include property not covered.

Records of Accounts Receivable
   Records of accounts receivable means accounting records used by the Named Insured to document the billing and
   collection of money due from the Named Insured's customers, regardless of what medium those records are
   inscribed, printed, written or recorded upon.
   Records of accounts receivable includes:
   A. money due the Named Insured from its customers that the Named Insured is unable to collect after exerting all
      reasonable effort to do so;
   B. interest charges on any loan required to offset amounts the Named Insured is unable to collect pending the
      Insurer’s payment of these amounts; and
   C. collection expenses in excess of the Named Insured’s normal collection expenses that are made necessary by
      such loss or damage,
   resulting from the direct physical loss of or damage to records of accounts receivable.

Rental Value
   Rental value means that portion of net income that would have been earned or incurred as rental income from tenant
   occupancy of a location or reported unspecified location as furnished and equipped by the Named Insured,
   including fair rental value of any portion of the location or reported unspecified location which is occupied by the
   Named Insured.

Replacement Cost
   Replacement cost means the cost to repair or replace covered property at the time of direct physical loss or
   damage with property of comparable material and quality on the same or another site, and used for the same purpose,
   without deduction for depreciation, deterioration, and obsolescence which amount is computed as of the time and at
   the place of such loss or damage. If property of the same kind and quality is no longer available, the Insurer will pay to
   replace it with other property of similar quality and function, including property of greater processing capacity.




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                             Replacement cost valuation for insured property includes the cost the Named Insured paid for non-refundable or
                             non-transferable extended warranties, maintenance contracts or service contracts which are still in force at the time of
                             loss or damage and are no longer valid as a result of loss of or damage to such insured property.

                          Reported Unspecified Location
                             Reported unspecified location means fixed premises that has been identified on a schedule submitted by the
                             Named Insured and on file with the Insurer, including:
                             A. the address of the premises and includes that area extending 1000 feet beyond that address;
                             B. an identification of the insured property, business income or extra expense; and
                             C. the value of such identified insured property, business income or extra expense.
                             If the Named Insured is a tenant, for purposes of time element coverage, reported unspecified locations includes
                             that portion of the premises not rented, or intended to be rented, to others.
                             Reported unspecified location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a fair, trade show or exhibition;
                             4.   an installation location; or
                             5.   a dependent property with respect to loss or damage covered by any time element coverage.

                          Research Animals
                             Research animals means laboratory animals used in the Named Insured's research and development project or
                             bred for sale to other medical technology or life science entities.

                          Research and Development Business Income
                             Research and development business income means:
                             A. net income that would have been earned or incurred had no loss or damage resulting in an interruption in the
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                                Named Insured’s research and development project occurred, including net income resulting from:
                                  1.   lost or delayed pre-sale orders from new or current customers for a new product or an improved current
                                       product, whose entry into the marketplace is delayed because these products were the subject of lost or
                                       damaged research and development project property; or
                                  2.   grants, endowments and any other contract revenues, licensing fees, consulting fees, funding grants and
                                       progress payments, including milestone contracts; plus
                             B. research and development project continuing expenses.

                             However, research and development business income does not include any amount that is otherwise payable
                             under this Business Property Coverage Part or that does not necessarily continue during the interruption in the
                             research and development project.

                          Research and Development Project Continuing Expenses

                             Research and development project continuing expenses means the Named Insured's normal continuing
                             operating expenses that are directly attributable to research and development projects, including any reasonable and
                             necessary payroll expenses, rental payments as a tenant and factory overhead.




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Research and Development Project Property
   Research and development project property means the Named Insured's:
   A. written, printed, electronic or inscribed documents, plans, records, formulas or other information, including any
      material upon which it is inscribed, printed, written or recorded;
   B. original or experimental property;
   C. existing prototypes used as the model for the final version of a new product or design; or
   D. undamaged property that needs to be recreated, restored or replaced due to covered loss of or damage to
      property in Paragraphs A., B. or C.,
   developed or used in conjunction with any ongoing and active research and development project.
   Research and development project property does not include research animals, media, plants or crops or fine
   arts.

Robbery

   Robbery means the unlawful taking of specified property from the care and custody of any person by one who has:
   A. caused or threatened to cause that person bodily harm; or
   B. committed an unlawful act witnessed by that person.

Safe Burglary

   Safe burglary means the unlawful taking of:
   A. property from within a locked safe or vault by a person unlawfully entering the safe or vault as evidenced by
      marks of forcible entry upon its exterior; or
   B. a safe or vault from inside the premises.

Securities

   Securities means negotiable and non-negotiable instruments or contracts representing either money or representing
   other tangible property that has intrinsic value, including:
   A. tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value in a meter) in
      current use; or
   B. evidences of debt issued in connection with credit, debit or charge cards, which cards are not issued by the
      Named Insured.
   Securities does not include money.

Sinkhole Collapse
   Sinkhole collapse means the sudden sinking or collapse of land into underground empty spaces created by the
   action of water on limestone or dolomite provided such cavities were not man made or did not result from flood.

Specified Peril
   Specified peril means:
   A. aircraft or vehicles;
   B. explosion, fire or leakage from fire extinguishing equipment;
   C. lightning, smoke, volcanic eruption, water damage, weight of snow, ice or sleet;

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                             D. windstorm or hail;
                             E. riot, civil commotion or vandalism or theft;
                             F. falling objects, excluding loss or damage to:
                                  1.   personal property in the open; or
                                  2.   the interior of a building, or property inside a building, unless the roof or an outside wall of the building is
                                       first damaged by a falling object;
                             G. sinkhole collapse;
                             H. solely with respect to personal property in the course of transit, specified peril also includes:
                                  1.   vehicle collision upset or overturn; or
                                  2.   sinking or stranding of a vessel, or collapse of a bridge, culvert, dock or wharf; or
                             I.   equipment breakdown peril, excluding loss of or damage to insured property caused by the discharge,
                                  dispersal, release or escape of refrigerants, including ammonia.

                          Stock

                             Stock means raw stock, goods in process, finished stock or merchandise, including packing or shipping materials
                             and including software incorporated into such finished stock or merchandise.

                          Sublease Profit

                             Sublease profit means the net profit the Named Insured earns through subleasing the building or portion of the
                             building that the Named Insured rents for the unexpired term of the cancelled lease or sublease, whichever would
                             expire first. This amount is discounted based on the Prime Rate on the date the direct physical loss or damage
                             occurs, rounded to the nearest whole number.

                          Suspended Equipment

                             Suspended equipment means covered equipment, provided the Insurer has complied with the requirements
                             described in the SUSPENDED EQUIPMENT Condition in the First Party Terms and Conditions.
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                          Suspension

                             Suspension means:
                             A. the slowdown or cessation of the Named Insured's business activities; or
                             B. that a part or all of the covered premises is rendered untenantable.

                          System Penetration
                             System penetration means the intentional and malicious use of a computer to obtain unauthorized access to
                             information and resources stored on electronic data processing equipment.

                          Tenant’s Improvements and Betterments
                             Tenant’s improvements and betterments means fixtures, glass, signs, alterations, installations or additions:
                             A. made a part of a building the Named Insured occupies as a tenant but does not own;
                             B. made or acquired at the Named Insured's expense exclusive of rent paid by the Named Insured or for which the
                                Named Insured is legally required by written contract to insure; and

                             C. that the Named Insured cannot legally remove.

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Tenant’s Lease Interest

   Tenant’s lease interest means the difference between:

   A. the actual rent due for the unexpired portion of the cancelled lease at the time of covered loss or damage; and

   B. the rent due under the new lease for the same time period.

Theft

   Theft means the unlawful taking of property.

Time Element Coverage

   Time element coverage means business income, research and development business income or extra expense
   to the extent these apply under this Business Property Coverage Part.

Transfer Agreement
   Transfer agreement means a written agreement with any financial institution authorized to transfer money and
   securities at the Named Insured’s request.

Unspecified Location
   Unspecified location means:
   A. a premises not listed in the Business Property Schedule of Locations; or
   B. a fair, trade show or exhibition.
   An unspecified location does not include:
   1.   a location;
   2.   a newly acquired location;
   3.   a reported unspecified location;
   4.   an installation location; or
   5.   a dependent property with respect to loss or damage covered by any time element coverage.

Volcanic Eruption
   Volcanic eruption means the eruption, explosion or effusion of a volcano that gives rise to physical loss or damage
   when such loss or damage is caused by:
   A. airborne volcanic blast or airborne shock waves;
   B. ash, dust or particulate matter; or
   C. lava flow.

Water Damage

   Water damage means:

   A. the discharge or leakage of domestic or process water or steam from:

        1.   water pipes and any other apparatus meant to carry or distribute water including, but not limited to, hoses and
             tubes and fire protection sprinkler system piping;

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                                 2.   appliances; or
                                 3.   mechanical systems; or
                             B. the overflow, discharge or leakage of water from bathroom, kitchen and laundry fixtures and faucets,
                             within a building.

                          Written
                             Written means expressed through letters or marks placed upon paper and visible to the naked eye.
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      These First Party Terms and Conditions apply to the Business Property Coverage Part, the Business Crime
      Coverage Part, as applicable, and their associated forms and endorsements.

I.         ABANDONMENT

      There can be no abandonment of any covered property to the Insurer unless the Insurer specifically agrees to such
      abandonment in writing.

II.        APPRAISAL

      If the Named Insured and the Insurer fail to agree on the amount of loss for physical damage or business income or
      extra expense, either may make a written demand for appraisal in which case within 30 days of that written demand
      each shall select an appraiser and shall notify the other of its chosen appraiser. This APPRAISAL Condition is not
      available to the Named Insured or the Insurer if there is a dispute as to whether the loss or damage was caused in
      whole or in part by a covered peril. This APPRAISAL Condition is not available if there is a dispute as to whether or
      not the loss is covered in whole or in part under this coverage part.

      An individual may be chosen as an appraiser for a claim only if such individual is a competent, independent and
      disinterested person and who has no direct or indirect financial interest in the loss or the adjustment of the claim. That
      appraiser cannot be:
      A. the Named Insured or any of the Named Insured’s employees or agents (including any public adjuster or public
         adjusting company hired by the Named Insured);
      B. employed by the Insurer; or

      C. an independent adjuster hired by the Insurer for such claim.

      The appraisers will first select a competent, independent and disinterested umpire. If the appraisers fail to agree upon
      an umpire within 30 days then, only on the joint request of the Named Insured and the Insurer to a court of competent
      jurisdiction where the loss occurred, the Named Insured and the Insurer may request that the court select or appoint
      a competent, independent and disinterested umpire.

      If the Named Insured and the Insurer fail to agree to submit a joint request to a court of competent authority, either
      may file the necessary documents in a court of competent jurisdiction where the loss occurred to compel the other to
      comply with the terms of this APPRAISAL provision.

      The appraisers will then appraise, within a reasonable amount of time, the amount of loss, stating separately, as
      applicable:
      1.   the actual cash value or replacement cost as of the date of loss and the amount of loss, for each item of
           physical loss or damage; and
      2.   the amount of loss for each time element coverage.

      If the appraisers fail to agree, they will submit their differences to the umpire. An award agreed to in writing by any two
      will determine the amount of loss and that award will be binding on both parties but such appraisal award will not
      determine whether the loss is covered. Any appraisal award addressing whether or not a loss is or is not covered is
      void and is not binding on either party to the appraisal.

      The Named Insured and the Insurer will each:
      a.   pay its chosen appraiser; and
      b. bear equally the other expenses of the appraisal and umpire.

      A demand for appraisal shall not relieve the Named Insured of its continuing obligation to comply with all of the terms
      and conditions of this Policy.


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                                 The Insurer will not be held to have waived any of its rights by any act relating to an appraisal. If there is an appraisal,
                                 the Insurer will still retain its right to deny the claim or challenge whether the damages from any loss are covered or
                                 otherwise excluded.

                                 The Named Insured may only make a written demand for appraisal if the Named Insured has fully complied with all
                                 provisions of this Policy.

                          III.       COMPLIANCE

                                 No one may make a claim under the Business Property Coverage Part unless:
                                 A. there has been full compliance with all of the provisions of the Business Property Coverage Part; and

                                 B. the claim for coverage is brought within 2 years and 1 day after the date on which the direct physical loss or
                                    damage occurred.

                          IV.        CONCEALMENT, MISREPRESENTATION AND FRAUD

                                 This entire Policy shall be void if, whether before or after a loss, the Named Insured or designated representative:
                                 A. has concealed or misrepresented any material fact or circumstance concerning:

                                     1.   this insurance or the subject thereof;
                                     2.   the interest of the Named Insured therein; or
                                     3.   any claim; or
                                 B. has falsely sworn to any such material fact or circumstance.

                          V.         CONTROL OF PROPERTY

                                 Any act or neglect by any person, other than a Named Insured designated representative, of any provision of these
                                 conditions or the Business Property Coverage Part, will not affect coverage. Breach of any condition of coverage at
                                 one or more locations or reported unspecified locations will not affect coverage at any other building where, at the
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                                 time of loss or damage, the breach of condition did not exist.

                          VI.        DUTIES AFTER LOSS OR DAMAGE

                                 In the event of loss or damage, the Named Insured shall do the following:
                                 A. Take all necessary steps to protect the property from further loss or damage.

                                 B. Set aside the damaged insured property for examination by the Insurer as often as may be required and keep a
                                    record of its expenses necessary to protect insured property.
                                 C. As soon as practical, give written notice to the Insurer, or its designated representative, of the event giving rise to
                                    the loss or damage, including the date and time of such event, what occurred and the names and addresses of
                                    witnesses.
                                 D. Within 60 days after being requested by the Insurer, render to the Insurer a detailed, sworn proof of loss on a form
                                    provided by the Insurer;
                                 E. As often as may be reasonably required, exhibit to any person designated by the Insurer all that remains of any
                                    damaged or undamaged property and permit the Insurer to take samples of such property for inspection and
                                    analysis.
                                 F. Submit individually to examinations under oath at the Insurer’s request and, if requested and identified by the
                                    Insurer, make its designated representatives, including, but not limited to, public adjusters, claims consultants,

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        forensic accountants or other third parties providing claims related services, submit to examinations under oath,
        and give the Insurer a signed statement of each individual’s answers.
   G. As may be reasonably required, produce for examination at the request of the Insurer all books of account,
      business records, bills, invoices and other vouchers, or certified copies thereof if originals have been lost, at such
      reasonable time and place as may be designated by the Insurer or its authorized representative, and permit
      extracts and copies thereof to be made.
   H. Cooperate with the Insurer in the investigation of any claim.

   I.   Notify law enforcement authorities, if the Named Insured has reason to believe that any loss or damage involves
        a violation of law.

VII.    LOSS PAYMENT

   A. Unless otherwise specified in this Policy, in the event of covered loss or damage to covered property, at the
      Insurer's option, the Insurer will either:
        1.   pay the amount of loss or damage;
        2.   pay the cost of repairing or replacing such covered property;
        3.   take all or any part of the covered property at an agreed or appraised value; or
        4.   repair or replace the covered property with other property of like kind and quality.
   B. If the Insurer elects to exercise option A.3. above with respect to any branded or labeled merchandise or
      finished stock, the Named Insured may:

        1.   Stamp salvage on their merchandise or finished stock, or its containers, if the stamp will not physically
             damage the merchandise or finished stock; or
        2.   Remove the brands or labels, if doing so will not physically damage the merchandise or finished stock.
             The Named Insured must re-label the merchandise or finished stock or its containers, to comply with the
             law.
   C. The Insurer will determine the value of such covered property, or the cost of its repair or replacement, in
      accordance with the VALUATION Condition.
   D. The Insurer will not pay more than the Named Insured’s financial interest in the covered property.

   E. The Insurer, at the Insurer's expense, may elect to defend the Named Insured against suits arising from claims of
      owners of covered property.
   F. If the Named Insured has complied with all of the terms and conditions of this Policy, the Insurer will pay
      amounts due hereunder within 60 days after it receives an acceptable sworn proof of loss provided that the
      Insurer and Named Insured have reached agreement on the amount of loss or damage or an appraisal award
      has been made. Such payments will be made to the First Named Insured, subject to the LOSS PAYEES AND
      MORTGAGEES Condition below. However, the payment for loss or damage to personal property of others may
      be to the account of the owner of the property.

        Covered Debris Removal Costs and Expenses and Debris Removal – Additional Costs and Expenses in the
        Fees, Costs and Expenses Coverages provision under the LOCATION COVERAGES section of the Business
        Property Coverage Part will be paid by the Insurer provided all such costs are reported to the Insurer in writing
        within 180 days of the occurrence.




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                          VIII.   LOSS PAYEES AND MORTGAGEES

                              A. Loss Payees

                                  If there is loss of or damage to insured property, in which the Named Insured and any Loss Payee, whether or
                                  not named in the Schedule of Loss Payees or Mortgagees, have an insurable interest:
                                  1.   the Insurer will adjust losses with the Named Insured, and
                                  2.   make payments jointly to the Named Insured and such Loss Payee, in their order of precedence, in
                                       accordance with the Loss Payee's financial interest in the applicable property.

                                  If the Insurer pays such Loss Payee, such payments will satisfy the Named Insured’s claims against the Insurer
                                  for that Loss Payee's property. The Insurer will not pay such owners more than their financial interest in the
                                  insured property.

                              B. Lender Loss Payees and Mortgagees

                                  1.   As used in this Section:
                                       a.   a Lender Loss Payee is any creditor who is shown on the Schedule of Loss Payees or Mortgagees as
                                            a Lender Loss Payee and whose interest in insured property is established by a written instrument
                                            including warehouse receipts, bills of lading, financing statements or security agreements;
                                       b. a Mortgagee is any mortgagee or trustee who is shown on the Schedule of Loss Payees or
                                          Mortgagees as a Mortgagee with respect to the real property for which the mortgagee or trustee is
                                          named.
                                  2.   The Insurer will pay for covered loss or damage to each specified Lender Loss Payee or Mortgagee, in order
                                       of precedence, in accordance with the Lender Loss Payee's or Mortgagee's financial interest in the applicable
                                       property.
                                  3.   Each Lender Loss Payee and Mortgagee has the right to receive loss payment, even though:
                                       a.   the Insurer denied the Named Insured’s claim because the Named Insured failed to comply with the
                                            terms of this Policy; or
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                                       b. such Lender Loss Payee or Mortgagee has started foreclosure or similar action on the insured property,

                                       provided such loss payee:
                                       i.   pays any premium due under this Business Property Coverage Part at the Insurer’s request if the
                                            Named Insured has failed to do so;

                                       ii. submits a signed, sworn proof of loss in accordance with the requirements of this Policy; and

                                       iii. has notified us of any change in ownership, or substantial change in risk known to such Lender Loss
                                            Payee or Mortgagee.

                                       If these requirements are met, all of the terms of this Business Property Coverage Part will then apply
                                       directly to such Lender Loss Payee or Mortgagee.
                                  4.   With respect to any Lender Loss Payees or Mortgagees:
                                       a.   The Insurer may cancel this Policy, including the interest of any Lender Loss Payee or Mortgagee, by
                                            giving such Lender Loss Payee or Mortgagee, or its agent, written notice:
                                            i.   10 days prior to the effective date of cancellation, if cancellation is for nonpayment of premium; or
                                            ii. 60 days prior to effective date of cancellation, if cancellation is for any other reason.



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               b. If a loss hereunder is made payable, in whole or in part, to a designated Lender Loss Payee or
                  Mortgagee not named in this Policy, that interest may be cancelled by giving to such loss payee 10 days
                  written notice of cancellation.
               c.   If the Insurer pays the Lender Loss Payee or Mortgagee for loss under this Business Property
                    Coverage Part, and denies payment to the Named Insured, the Insurer will, to the extent of the payment
                    made to such Lender Loss Payee or Mortgagee, be subrogated to all the rights of the Lender Loss Payee
                    or Mortgagee. However, any subrogation by the Insurer will not impair the right of such Lender Loss
                    Payee or Mortgagee to recover the full amount of its claim. At the Insurer’s option, the Insurer may pay
                    the whole principal of the Named Insured’s debt plus accrued interests. In this event, the Named
                    Insured will pay its remaining debt to the Insurer.

               d. If the Named Insured fails to provide proof of loss, the Lender Loss Payee or Mortgagee, upon notice,
                  will render proof of loss within 60 days of notice and will be subject to the provisions contained in this
                  First Party Terms and Conditions and Common Terms and Conditions relating to APPRAISAL,
                  LOSS PAYMENT and NO SUIT AGAINST INSURER.

      C. Mortgagee Loss Payee

          With respect to any Mortgagee as defined above, the interest of the Mortgagee in real property will not be
          invalidated by:
          1.   any act or neglect of the mortgagor or owner of the real property;
          2.   foreclosures, notice of sale, or similar proceeding with respect to the real property;
          3.   change in the title or ownership of the real property; or
          4.   change to an occupancy more hazardous than was represented by the Named Insured.

      D. Contract of Sale Loss Payee

          A Contract of Sale Loss Payee is a person or entity who is shown on the Schedule of Loss Payees or
          Mortgagees and with whom the Named Insured has entered a contract for the sale of insured property;
          provided that for such insured property in which both the Named Insured and such Contract of Sale Loss Payee
          have an insurable interest, the Insurer will:
          1.   adjust losses with the Named Insured; and
          2.   pay any claim for loss or damage jointly to the Named Insured and such Contract of Sale Loss Payee, as
               interests may appear.
      E. Building Owner Loss Payee

          1.   A Building Owner Loss Payee is the person or entity who is shown on the Schedule of Loss Payees or
               Mortgagees and is the owner of the described building in which the Named Insured is a tenant.

          2.   Loss or damage to such building will be adjusted with such Building Owner Loss Payee. Any loss payment
               made to such Building Owner Loss Payee will satisfy the Named Insured’s claims against the Insurer for
               such Building Owner Loss Payee property.
          3.   Loss or damage to tenant's improvements and betterments will be adjusted with the Named Insured
               unless the written lease agreement provides otherwise.

IX.       NO BENEFIT TO BAILEE

      This insurance shall in no way inure directly or indirectly to the benefit of any transportation carrier or bailee.




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                          X.         OTHER INSURANCE

                                A. If the Named Insured has other insurance covering the same loss or damage, the Insurer will pay on the least of
                                   the following amounts:
                                     1.   any Limit of Insurance applicable to the covered property that has sustained such loss or damage;
                                     2.   the amount of covered loss or damage in excess of the amount due from that other insurance, whether the
                                          Named Insured can collect on it or not, without application of deductible amounts contained elsewhere in this
                                          coverage part; or

                                     3.   the amount the Insurer would have paid had such other insurance not existed.
                                B. Paragraph A. above does not apply to other insurance that is purchased as insurance in excess of the Limit of
                                   Insurance under this coverage part.

                          XI.        POLICY PERIOD/COVERAGE TERRITORY

                               The Insurer will cover loss or damage commencing during the policy period of this Policy and within the coverage
                               territory unless otherwise specified.

                          XII.       RECOVERED PROPERTY

                                If either the Named Insured or Insurer recover any property after loss settlement, that party must give the other
                                prompt notice. At the Named Insured’s option, the property (other than money or securities) will be returned to the
                                Named Insured. The Named Insured must then return to the Insurer the amount it paid to the Named Insured for the
                                covered property. The Insurer will pay recovery expenses and the expenses to repair the recovered covered
                                property, subject to the Limit of Insurance.

                                With respect to money or securities, any recoveries, less the cost of obtaining them, made after settlement of loss or
                                damage covered by this coverage part will be distributed:
                                A. first to the Named Insured, until the Named Insured is fully reimbursed for any loss or damage that the Named
                                   Insured sustains that exceeds the Limit of Insurance and the Deductible amount, if any;

                                B. then to the Insurer, until the Insurer is reimbursed for the settlement made; and
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                                C. then to the Named Insured, until the Named Insured is reimbursed for that part of the loss or damage equal to
                                   the Deductible amount, if any.

                                Recoveries do not include any recovery:
                                1.   from insurance, suretyship, reinsurance, security or indemnity taken for the Insurer’s benefit; or
                                2.   of original securities after duplicates of them have been issued.

                          XIII.      RESUMPTION OF OPERATIONS

                                The Insurer will reduce the amount of business income and research and development business income loss
                                payments to the extent that the Named Insured could resume operations or research and development projects in
                                whole or in part:
                                A. by using damaged or undamaged property, including stock; or

                                B. by using any other premises.

                                Solely with respect to suspension of operations caused by direct physical loss of or damage to a dependent
                                property, the Insurer will reduce the amount of business income loss payment to the extent the Named Insured
                                could resume the Named Insured’s operation, in whole or in part, by using any other available sources of materials
                                or outlets for the Named Insured’s products or services available to the Named Insured.

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XIV.    SALVAGE AND RECOVERIES

   All salvages, recoveries, and payments, excluding proceeds from subrogation and other insurance, recovered or
   received prior to a loss settlement under this Policy, shall reduce the loss accordingly. If recovered or received
   subsequent to a loss settlement under this Policy, such net amounts received shall be divided between the interests
   concerned in the proportion of such respective interests.

XV.     SUSPENDED EQUIPMENT

   The Insurer, or any of the Insurer's representatives, has the right to suspend the insurance provided for covered
   equipment from an equipment breakdown peril when the equipment is found to be in, or exposed to, a dangerous
   condition, provided that the Insurer, or any representative, has:
   A. told the Named Insured of the dangerous condition immediately upon discovering it and informed the Named
      Insured of the suspension of coverage; and

   B. mailed or delivered a notice of the suspension to the First Named Insured's last known address or the address
      where the covered equipment is located.

   The Named Insured will get a pro-rata refund of premium for the suspended insurance. However, the suspension will
   be effective even if the Insurer has not yet made or offered a refund. Reinstatement can only be effected by a written
   endorsement issued by the Insurer.

XVI.    TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO THE INSURER

   If the Insurer pays a claim under this Policy, it will be subrogated, to the extent of such payment, to all the Named
   Insured’s rights of recovery from other persons, organizations and entities. The Named Insured will execute and
   deliver instruments and papers and do whatever else is necessary to secure such rights. The Named Insured shall do
   nothing to prejudice such rights.

   The Insurer will have no rights of subrogation against:
   A. any person or entity who or which is a Named Insured;

   B. any subsidiary or any entity associated with the Named Insured through ownership or management;

   C. any other person or entity that the Named Insured waived its rights of subrogation against in writing before the
      time of loss.

XVII.   VACANCY

   If a building where loss or damage occurs has not been used by the Named Insured to conduct its normal business
   for more than 60 consecutive days before such loss or damage occurs, the Insurer will not pay for any loss or damage
   caused by any of the following even if they are covered perils:
   A. vandalism;

   B. sprinkler leakage, unless the Named Insured has protected the system against freezing;

   C. building glass breakage;

   D. water damage;

   E. theft or attempted theft.

   With respect to all other covered perils, the Insurer will reduce the amount that would otherwise be paid for the loss
   or damage by 15%.



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                             If the Named Insured’s normal operation is leasing property to others, a vacant building will be subject to this
                             condition if the Named Insured has ceased actively leasing the building or has cut-off power, heat and water utility
                             services to the building.
                             Buildings under active construction or active renovation are not considered vacant.

                          XVIII. VALUATION

                             A. Except as provided in Paragraph B. below, and subject to all applicable Limits of Insurance, the Insurer will not
                                pay more than the lesser of the following:
                                 1.   the replacement cost; or
                                 2.   the actual cost to repair or replace covered property.

                                 If the Named Insured does not repair or replace the covered property, or the repair or replacement exceeds 24
                                 months from the date of loss or damage unless a longer time frame is agreed to by the Insurer, the Insurer will
                                 pay the actual cash value of such property.

                                 If the Named Insured commences repair or replacement of such covered property and completes it within 24
                                 months from the date of loss or damage, or such agreed to longer period, the Insurer will pay the difference
                                 between the actual cash value previously paid and the lesser of Paragraphs 1. or 2. above.
                             B. With respect to the following covered property, the Insurer will not pay more than the following amounts:

                                 1.   Accounts receivable: for records of account receivable for which duplicates do not exist, the full cost to
                                      research and reproduce such records plus the cost of the blank materials on which they resides. For records
                                      of accounts receivable for which duplicates do exist, the cost of the labor to transcribe or copy such records,
                                      plus the cost of the blank materials on which they reside.

                                      If the Named Insured cannot accurately establish the amount of accounts receivable outstanding at the time
                                      of loss of or damage to the records of accounts receivable, the following method will be used:
                                      a.    determine the average monthly amount of accounts receivable for the 12 months immediately preceding
                                            the month in which the loss or damage occurs; and
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                                      b.    adjust that average monthly amount for any normal fluctuations in the amount of accounts receivable for
                                            the month in which the loss or damage occurred or for any demonstrated variance from the monthly
                                            average.

                                      The following will be deducted from the total amount of accounts receivable, however that amount is
                                      established:

                                      i.   the amount of the accounts receivable for which there is no loss or damage;

                                      ii. the amount of the accounts receivable that the Named Insured is able to re-establish or collect;

                                      iii. an amount to allow for probable bad debts that the Named Insured is normally unable to collect; and

                                      iv. all unearned interest and service charges.

                                 2.   Personal property that is leased or rented from others, personal property of others and nonowned trailers:
                                      the lesser of the following:

                                      a.   the amount for which the Named Insured is liable under the written contract for such property;
                                      b. the actual cost to repair such property; or

                                      c.   the replacement cost.


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      3.   Fine arts: the appraised market value as of the time, and at the place, of loss or damage. In case of loss to
           any part of a pair or set, the Insurer may:

           a. repair or replace any part to restore the pair or set to its value before the loss; or

           b. pay the difference between the value of the pair or set before and after the loss.

      4.   Glass: replacement cost, including the costs and expenses incurred to put up temporary plates or board up
           openings and to remove or replace obstructions when repairing or replacing glass that is part of a building,
           but not including the removal or replacement of window displays.
      5.   Goods in process: the value of raw stock, the Named Insured's labor expended and other materials
           incorporated and the cost to repurchase proprietary property licenses, plus the proper proportion of overhead
           charges.
      6.   Media: for media for which duplicates do not exist, the full cost incurred to research and reproduce a master
           copy of such media plus the cost of the blank materials on which it resides. For media for which duplicates
           do exist, the cost incurred for the labor to transcribe or copy such media, plus the cost of the blank materials
           on which it resides.

           If the media is not reproduced or replaced, the loss will be valued at the cost to replace the blank material on
           which the media resides with substantially identical type of such blank materials.
      7.   Merchandise which has been sold and not delivered and finished stock: the regular cash selling price, less
           all costs to complete the sale and discounts and charges to which such finished stock or merchandise
           would have been subject had no loss or damage occurred.
      8.   Money or securities:

           Money: only up to and including its face value.

           Securities: only up to and including their value at the close of business on the day the loss was discovered.

      9.   Outdoor trees, shrubs, plants or lawns: the reasonable and necessary costs of a qualified contractor to
           remove the damaged tree, shrub, plant or lawn from the location or reported unspecified location and the
           replacement of such property with similar type, size and quality as the damaged property including
           reasonable repairing and replanting costs. No payment will be made for the replacement, repairing or
           replanting of such property until the repairing, replacement and replanting is completed. Damaged outdoor
           trees, shrubs, plants or lawns not replaced within 12 months from the date of the loss have no value.

      10. Property for sale, other than stock or merchandise, the lesser of the:

           a.   replacement cost;

           b. the selling price; or

           c.   actual cash value.

      11. Property in transit:

           a.   Property under invoice, at the actual invoice cost, including prepaid freight, together with such cost and
                charges since shipment as may have accrued and become legally due thereon.
           b. Property not under invoice, in accordance with the valuation provisions of this Policy, less any charges
              saved which would have become due and payable upon delivery at destination.
      12. Research and development project property: the actual cost necessary to:

           a.   research, recreate, repair or replace the research and development project property, including the cost
                of materials and supplies; and


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                                      b. research, recreate or reproduce information, on any format, documenting that lost or damaged research
                                         and development project property as of the date of such loss or damage.

                                      However, the Insurer will only pay for these costs if the Named Insured repairs, replaces or recreates the
                                      research and development project property. Any research and development project property not
                                      repaired, replaced or recreated has no value. When production of a new product begins by anyone, the
                                      research and development project property for that product and all associated research and recreation
                                      costs have no value.
                                 13. Tenant's improvements and betterments:

                                      a. Replacement cost if the Named Insured repairs or replaces with reasonable speed.

                                      b. A proportion of the Named Insured's original cost if the Named Insured does not repair or replace with
                                         reasonable speed. The Insurer will determine the proportionate value as follows:
                                           i.   multiply the original cost by the number of days from the date of the loss or damage to the expiration
                                                date of the lease; and
                                           ii. divide that amount determined in Paragraph i. above by the number of days from the installation of
                                               the tenant's improvements and betterments to the expiration of the lease.

                                           If the lease contains a renewal option, the expiration date of the renewal option period will be used as the
                                           expiration date of the lease.
                                      c.   If others pay for the repairs or replacement, then the Insurer will only pay for that portion which has not
                                           been paid for by others.
                                 14. Vehicles or self-propelled machines (other than nonowned trailers), railroad rolling stock and contractor’s
                                     equipment: at the lesser of the following for that lost or damaged property:
                                      a.   applicable scheduled Limit of Insurance;
                                      b. actual cash value;

                                      c.   cost to reasonably restore that property to its condition immediately before loss or damage; or
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                                      d. cost of replacing that property with used, but substantially identical property.

                          XIX.   BUSINESS CRIME COVERAGE CONDITIONS

                             Solely with respect to crime coverage provided under the Business Crime Coverage Part and the Employee Theft,
                             Forgery or Alteration and Money and Securities Additional Coverages under the Business Property Coverage
                             Part, the following conditions apply:

                             A. Joint Named Insured

                                 1.   If the Named Insured or partner, proprietor, member or officer of that Named Insured has knowledge of any
                                      information relevant to this insurance, that knowledge is considered knowledge of every Named Insured.
                                 2.   An employee of any Named Insured is considered to be an employee of every Named Insured.
                                 3.   If any crime coverage is cancelled or terminated as to any Named Insured, a loss with respect to that Named
                                      Insured is covered only if the loss was discovered during the period of time in the When Loss Must be
                                      Sustained and Discovered Condition below. However, this extended period to discover loss terminates as
                                      to that Named Insured immediately upon the effective date of any other insurance obtained by that Named
                                      Insured replacing in whole or in part the insurance afforded hereunder, whether or not such other insurance
                                      provides coverage for loss or damage sustained prior to its effective date.
                                 4.   In the event loss or damage is sustained by more than one Named Insured, the Insurer will not pay more
                                      than if the loss or damage was sustained by one Named Insured.

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   B. Named Insured Sponsored Employee Benefit Plans

      Any employee benefit plan shown under the Business Property Coverage Part Declarations or the Business
      Crime Coverage Part Declarations as included as an additional Named Insured are so included only with
      respect to Employee Theft Coverage.

      In compliance with certain provisions of the Employee Retirement Income Security Act of 1974 (ERISA):
      1.   If the First Named Insured is an entity other than an employee benefit plan, any payment made by the
           Insurer will be made jointly to the First Named Insured and to the employee benefit plan that sustained
           loss.
      2.   If two or more employee benefit plans are insured under this coverage part, any payment the Insurer
           makes for covered loss:
           a.   sustained by two or more employee benefit plans; or
           b. of commingled funds or other property of two or more employee benefit plans,

           is to be shared by each employee benefit plan sustaining loss in the proportion that the amount of insurance
           required for each such employee benefit plan under the Employee Retirement Income Security Act of 1974
           (ERISA) bears to the total of such payments.
      3.   The First Named Insured must purchase a Limit of Insurance applicable to Employee Theft Coverage that
           is at least equal to the minimum amount required by ERISA for any employee benefit plans. If employee
           benefit plans are insured jointly with any other entity under this coverage part the limit must be at least
           equal to the minimum amount required by ERISA as if each employee benefit plan were insured
           independently. If, during this policy period, it is determined that the applicable Limit of Insurance as shown in
           the Business Property Schedule of Coverages and Limits or Business Crime Schedule of Coverages,
           Limits and Deductibles was less than the amounts required by ERISA on the effective date of this Policy,
           then, at the request of the First Named Insured during this policy period, and subject to the payment of any
           additional premium, the applicable Limit of Insurance may be amended to equal the minimum amount
           required by ERISA.
      4.   The deductible otherwise applicable to Employee Theft Coverage does not apply to loss sustained by any
           employee benefit plan.

   C. New Employees/New Employee Benefit Plans

      1.   New Employees or Premises

           If, during this policy period the Named Insured establishes any additional premises or hires additional
           employees, any insurance afforded for employees and premises shall also apply to those additional
           employees and premises.

      2.   New Employee Benefit Plans

           If any employee benefit plan is acquired by the Named Insured during the policy period that is:
           a.   sponsored and approved by the Named Insured; and
           b. required to be bonded under the provisions of ERISA,

           that employee benefit plan shall be included as a Named Insured under this coverage part.

   D. Loss Covered Under This Insurance and Prior Insurance Issued by the Insurer or Any Affiliate of the
      Insurer

      If the Named Insured discovers covered loss during the policy period resulting directly from an act or series of
      acts that took place partly during the policy period and partly during a policy period of any prior cancelled or

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                                terminated Policy that the Insurer or any affiliate issued to the Named Insured or any predecessor in interest, the
                                most the Insurer will pay is the larger of the amount recoverable under this Policy or the prior Policy.

                             E. Loss Sustained During Prior Policy

                                1.   If the Named Insured, or a predecessor in interest, sustained a loss that could have been recovered under a
                                     prior policy except that the time within which to discover the loss under such prior policy had expired, then
                                     the Insurer will pay for it under this Policy, provided:
                                     a.   this Policy became effective at the time of cancellation or termination of such prior Policy; and
                                     b. the loss would have been covered by this Policy had it been in effect at the time of such loss.

                                2.   The Limit of Insurance available under this Loss Sustained During Prior Policy Condition is part of, and not in
                                     addition to, the applicable Crime Coverage Limits of Insurance and is limited to the following:
                                     a.   when the prior policy was issued by the Insurer or any affiliate of the Insurer, the highest single Limit of
                                          Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                                     b. when the prior policy was not issued by the Insurer or any of its affiliates, the lesser of the single Limit of
                                        Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                             F. Non-Cumulation of Limit of Insurance

                                Regardless of the number of years this Policy or similar insurance (whether issued on a “Loss Sustained” or “Loss
                                Discovered” basis) issued by the Insurer remains in force or the number of premiums paid, the Limit of Insurance
                                does not cumulate from one policy period to another policy period.
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                             G. Ownership of Property; Interests Covered

                                The money, securities and other property covered under this coverage part is limited to such property:
                                1.   that the Named Insured owns or leases;
                                2.   that the Named Insured holds for others; or
                                3.   owned and held by someone other than the Named Insured under circumstances which make the Named
                                     Insured responsible for the property prior to the time of loss.

                                Solely with respect to an employee benefit plan, the money, securities and other property covered under any
                                crime coverage is limited to all funds or property that the employee benefit plan uses or may use as a source for
                                the payment of benefits to plan participants or beneficiaries, as described by the Employee Retirement Income
                                Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated thereunder.

                                However, this insurance is for the Named Insured’s benefit only. It provides no rights or benefits to any clients or
                                to any other person or organization.

                             H. Termination of Coverage as Respects Acts of Any Employee

                                Coverage is terminated with respect to any employee:
                                1.   immediately upon discovery of a dishonest act:

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             a.   committed by that employee while employed by the Named Insured, or
             b. committed by that employee prior to becoming employed by the Named Insured, provided dishonest
                acts committed prior to becoming employed by the Named Insured resulted in a loss equal to or
                exceeding $10,000,

             provided that such discovery was made by the Named Insured or any of the Named Insured’s employees,
             partners, proprietors, members, managers, officers, directors or trustees, not in collusion with the employee
             who committed such act, whether before or after becoming employed by the Named Insured.
        2.   on the date specified in the notice mailed to the Named Insured. That date will be at least 60 days after the
             date of mailing.

        The Insurer will mail or deliver the notice to the First Named Insured's last mailing address known to the Insurer.
        If notice is mailed, proof of mailing will be sufficient proof of notice.
   I.   When Loss Must be Sustained and Discovered

        Except as provided in the Loss Sustained During Prior Policy Condition, loss is covered only if sustained during
        the policy period and discovered no later than one year from the date of cancellation or expiration of the Policy.
        However, with respect to any Named Insured who obtains any other insurance replacing in whole or in part the
        insurance afforded by such crime coverages, regardless of whether such insurance is obtained during or after the
        policy period, this extended period to discover loss terminates immediately upon the effective date of such other
        insurance, whether or not such other insurance provides coverage for such crime loss sustained prior to its
        effective date.
   J.   Worldwide Coverage and Other Territory Changes

        With respect to Employee Theft Coverage, coverage applies anywhere in the world for employees while
        temporarily outside the coverage territory for a period of 90 days or less.

        With respect to Forgery or Alteration Coverage and Computer Fraud Coverage, coverage applies anywhere in
        the world.




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                               The following coverages apply to the extent shown in the Business Property Schedule of Coverages and Limits or
                               the Business Property Schedule of Locations.

                          I.    LOCATION COVERAGES
                               A. Location Base Coverage
                                   1.   Real Property Coverage
                                        The Insurer will pay for direct physical loss of or damage to real property at a location directly caused by a
                                        covered peril.
                                        The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Real
                                        Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                        location.
                                   2.   Personal Property Coverage
                                        The Insurer will pay for direct physical loss of or damage to personal property at a location directly caused
                                        by a covered peril.
                                        The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Personal
                                        Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                        location.
                                   3.   Time Element Coverage
                                        a.   Business Income Coverage
                                             The Insurer will pay for the actual loss of business income the Named Insured sustains during the
                                             period of restoration due to the necessary suspension or delay of operations caused by direct
                                             physical loss of or damage to property at a location directly caused by a covered peril.
                                             The most the Insurer will pay for any one occurrence for such loss of business income is the applicable
                                             Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                             Locations at that location.
                                        b. Extra Expense Coverage
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                                             The Insurer will pay extra expense caused by direct physical loss of or damage to property at a location
                                             directly caused by a covered peril.
                                             The most the Insurer will for pay for any one occurrence for such extra expense is the applicable Extra
                                             Expense Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                             location.
                                        c.   Business Income and Extra Expense Coverage
                                             If a Business Income and Extra Expense Coverage Limit of Insurance is shown in the Business
                                             Property Schedule of Locations at a location, the Insurer will pay for the actual loss of business
                                             income the Named Insured sustains during the period of restoration due to the necessary suspension
                                             or delay of operations, and extra expense, caused by direct physical loss of or damage to property at
                                             that location directly caused by a covered peril.
                                             The most the Insurer will pay for any one occurrence for all such loss of business income and extra
                                             expense is the applicable Business Income and Extra Expense Coverage Limit of Insurance.
                               B. Fees, Costs and Expenses Coverages
                                   If the Insurer pays for loss or damage to any insured property pursuant to any Location Base Coverage shown
                                   in Paragraph A. above, or at reported unspecified locations, the Insurer will also pay for the following
                                   reasonable and necessary fees, costs and expenses incurred by the Named Insured in connection with such

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      covered loss or damage. The most the Insurer will pay for any of the following Fees, Costs and Expenses
      Coverages are the Limits of Insurance shown in the Business Property Schedule of Coverages and Limits.
      Limits for these coverages apply in addition to any other applicable Limits of Insurance, unless otherwise stated.
      Limits of Insurance applicable at a location that differ for a specific location will be shown in the Business
      Property Schedule of Locations for that location. Those Limits replace, and are not in addition to, the Limits of
      Insurance shown in the Business Property Schedule of Coverages and Limits for those specific coverages
      and locations. If any of these coverages do not apply at any specific location, the Limit of Insurance will show as
      Not Covered for those locations.
      1.   Architects & Engineers and Other Professional Fees
           The Insurer will pay the fees incurred for the services of architects, engineers or construction consultants
           approved by the Insurer and resulting directly from the repair or replacement of such insured property.
           The amount the Insurer will pay for such fees is included within the applicable Real Property Coverage or
           Personal Property Coverage Limits of Insurance.
      2.   Brands & Labels Costs and Expenses
           In accordance with the LOSS PAYMENT Condition in the First Party Terms and Conditions, the Insurer will
           pay the costs and expenses incurred to remove the brands and labels from merchandise or finished stock
           and to stamp "salvage" on such merchandise or finished stock or its containers.
           The amount the Insurer will pay for all such costs and expenses is included within the applicable Personal
           Property Coverage Limit of Insurance.
      3.   Debris Removal Costs and Expenses
           The Insurer will pay the costs and expenses incurred to remove debris of covered property remaining after
           such loss or damage.
           Debris Removal Costs and Expenses does not include the costs or expenses of removing, extracting or
           disposing of contaminants or pollutants from land or water.
           The amount the Insurer will pay for all such costs and expenses is included within the remaining Limit of
           Insurance for the applicable covered property after payment of the covered physical loss or damage.
      4.   Debris Removal
           a.   Additional Costs and Expenses
                If the amount incurred for the covered loss or damage to covered property, including Debris Removal
                Costs and Expenses, exceeds the applicable Limit of Insurance for such covered property, the Insurer
                will pay the remaining debris removal costs and expenses incurred.
                The most the Insurer will pay for such remaining debris removal costs and expenses at any one location
                or reported unspecified location for any one occurrence is the Debris Removal – Additional Costs
                and Expenses Limit of Insurance.

           b. Uncovered Property

                If wind causes direct physical loss of or damage to covered property, the Insurer will also pay for the
                expense the Named Insured incurs to remove debris of uncovered property that is blown onto a location
                or reported unspecified location by wind and to remove debris of outdoor trees, shrubs, plants or
                lawns damaged by wind.

                The most the Insurer will pay for uncovered property at any one location or reported unspecified
                location for any one occurrence is the Debris Removal – Uncovered Property Limit of Insurance.




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                                5.   Expediting Costs and Expenses

                                     The Insurer will pay the additional costs and expenses incurred for temporary repair of damage to covered
                                     property and the additional expenses incurred for expediting the permanent repair or replacement of such
                                     damaged covered property. However, the Insurer will not pay such costs and expenses if they are covered
                                     elsewhere in this coverage part.
                                     The most the Insurer will pay for all such costs and expenses at any one location or reported unspecified
                                     location for any one occurrence is the Expediting Costs and Expenses Limit of Insurance.
                                6.   Green Insured Property

                                     a.   Costs and Expenses

                                          With respect to green insured property, the Insurer will pay the costs and expenses incurred:
                                          i.   to reuse or salvage building materials and products;
                                          ii. to extract recyclable construction waste and transport it to recycling facilities instead of landfills but
                                              only to the extent they are not offset by any income derived from the recycling;
                                          iii. for the services of accredited architects or engineers approved by the Insurer in planning and
                                               designing the applicable green insured property qualifying repairs or rebuild;
                                          iv. to re-certify the repaired or replaced insured property through the applicable green insured
                                              property accreditation organization; and

                                          v.   to flush-out the air in the repaired or rebuilt green insured property and replace it with outside air
                                               ventilated through an air filtration system included as part of the repaired or replaced green insured
                                               property.
                                          The amount the Insurer will pay for all such costs and expenses is included within the applicable Real
                                          Property Coverage or Personal Property Coverage Limits of Insurance.

                                     b. Time Element

                                          To the extent time element coverage is applicable at that location or reported unspecified location,
                                          the Insurer will pay, as provided, for loss of business income or extra expense arising out of extra time
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                                          required to re-qualify, repair or rebuild the green insured property, including:
                                          i.   additional costs to obtain power from a public utility for covered equipment that uses solar, wind,
                                               geo-thermal or other renewable resources to generate power. These additional costs will be paid
                                               until such time as such green insured property is repaired and operating; and
                                          ii. the monetary loss of rebates and credits the Named Insured receives from the public utility company
                                              for surplus power the Named Insured’s renewable resources provide into the utility’s power grid.
                                          The amount the Insurer will pay for such all such loss and expense is included within the applicable time
                                          element coverage Limit of Insurance.

                                     c.   This Green Insured Property Coverage does not apply to:
                                          i.   green insured property for which the basis of valuation is other than replacement cost; or

                                          ii. costs or expenses to upgrade the damaged green insured property to green standards beyond
                                              those that existed in the damaged green insured property at the time of loss or damage.

                          II. OFF-SITE COVERAGES
                             The following OFF-SITE COVERAGES apply as shown in the Business Property Schedule of Coverages and
                             Limits, up to the applicable Limit of Insurance shown. If a specific Location Base Coverage is not provided
                             elsewhere in this Business Property Coverage Part, there is no coverage under its corresponding OFF-SITE

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   COVERAGE. For example, if the Named Insured does not have coverage for business income under the Location
   Base Coverages, then there is no such coverage related to business income under any of the OFF-SITE
   COVERAGES. Limits for these OFF-SITE COVERAGES apply in addition to any other applicable Limits of Insurance,
   unless otherwise stated.
   A. Deferred Payments Coverage
      1.   The Insurer will pay the Named Insured's financial interest in personal property sold on an installment,
           conditional sale or other deferred payment basis. The Insurer will make such payments only if such personal
           property suffers direct physical loss or damage due to a covered peril after delivery to the purchaser, and
           only if the Named Insured is unable to collect after making all reasonable efforts to do so.
      2.   The most the Insurer will pay for such payments under this OFF-SITE COVERAGE for any one occurrence
           is the lesser of the Named Insured’s financial interest in such personal property or the Deferred Payments
           Coverage Limit of Insurance.
           The Limit for this OFF-SITE COVERAGE is included in, and not in addition to, any other applicable Limits of
           Insurance.
   B. Dependent Property Time Element Coverage
      1.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by direct physical loss of or damage to property at a dependent property located anywhere in the
           world. The loss or damage must be directly caused by a covered peril.
      2.   The most the Insurer will pay for all loss and expense under this OFF-SITE COVERAGE for any one
           occurrence is the Dependent Property Time Element Coverage Limit of Insurance.
      3.   The Insurer will not pay for loss of business income or extra expense caused by or resulting from
           earthquake or flood under this OFF-SITE COVERAGE, even if they are otherwise covered perils.
   C. Installation Coverage
      1.   The Insurer will pay for direct physical loss of or damage to installation property directly caused by a
           covered peril while such installation property is at an installation location or a temporary warehousing
           premises:
           a.   awaiting and during installation, fabrication, erection, certifying, servicing or testing; or
           b. awaiting acceptance by the purchaser.
      2.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
           occurrence is the Installation Coverage Limit of Insurance.
      3.   This Installation Coverage does not apply to loss or damage at any premises, location or reported
           unspecified location owned by the Named Insured, or to property in the due course of transit.
      4.   This Installation Coverage will end on the date when any of the following first occurs:
           a.   the Policy expires;
           b. the Named Insured’s insurable interest in the property ceases;


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                                     c.   the installation, fabrication or erection project is accepted by the purchaser as complete; or
                                     d. the Named Insured abandons the installation, fabrication or erection project with no intention to complete
                                        it.
                             D. Mobile Computing Devices – Worldwide Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to mobile computing devices while outside the
                                     coverage territory, except within any country upon which the United States government has imposed
                                     sanctions, embargoes or similar prohibitions. The loss or damage must be directly caused by a covered
                                     peril.
                                2.   The most the Insurer will pay for loss or damage under this OFF-SITE COVERAGE for any one occurrence
                                     is the Mobile Computing Devices – Worldwide Coverage Limit of Insurance.
                             E. Property at Unspecified Locations Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property and fine arts at an unspecified location, or while in the custody of a salesperson, directly
                                     caused by a covered peril.
                                     The coverage provided for fine arts under this OFF-SITE COVERAGE is subject to the provisions of the Fine
                                     Arts Coverage in the ADDITIONAL COVERAGE BASKET section, except the requirement that such
                                     property be at a location or reported unspecified location.
                                 2. To the extent time element coverage is applicable under this Business Property Coverage Part, the
                                    Insurer will pay, as provided, for:
                                     a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                          to the necessary suspension or delay of operations;
                                     b. the actual loss of research and development business income the Named Insured sustains during the
                                        period of restoration due to the necessary suspension or delay of research and development projects;
                                        and
                                     c.   extra expense,
                                     caused by loss of or damage to insured property, research and development project property and fine
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                                     arts at an unspecified location or while in the custody of a salesperson directly caused by a covered peril.
                                 3. The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE:
                                     a.   at any one unspecified location for any one occurrence is the Property at Unspecified Locations
                                          Coverage – Property Damage and Time Element Unspecified Location Limit of Insurance.
                                     b. for all unspecified locations for any one occurrence, regardless of the number of unspecified
                                        locations involved, is the Property at Unspecified Locations Coverage – Property Damage and Time
                                        Element Unspecified Locations Combined Limit of Insurance.
                                4.   This Property at Unspecified Locations Coverage does not apply to:
                                     a.   property in transit, other than while in the custody of salespersons as described in Paragraph E.1. above;
                                     b. property that is covered under the Protection of Property Coverage of the ADDITIONAL COVERAGES
                                        section.
                                5.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply only with
                                     respect to unspecified locations that the Named Insured does not own, operate or lease.
                             F. Property in Transit Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property, fine arts, media and records of accounts receivable directly caused by a covered peril

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           while in the course of transit from the time such property is being loaded at the initial point of shipment and
           continuously thereafter, until unloaded at the final destination, or if undeliverable, the time it is returned to the
           location or reported unspecified location, including:
           a.   general average or salvage charges that are assessed; and
           b. reasonable and necessary expense the Named Insured incurs to inspect, repackage and reship such
              property.
           The coverage provided for fine arts, records of accounts receivable and media under this OFF-SITE
           COVERAGE are subject to the provisions of the Fine Arts Coverage, Accounts Receivable Coverage and
           Restoration of Media Coverage, respectively, in the ADDITIONAL COVERAGE BASKET section, except
           the requirement that such property be at a location or reported unspecified location.
      2.   To the extent time element coverage is applicable under this Business Property Coverage Part, the
           Insurer will also pay, as provided, for:
           a.   actual loss of business income the Named Insured sustains during the period of restoration due to
                the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by loss of or damage to insured property, research and development project property, fine arts
           and media while in the course of transit directly caused by a covered peril.
      3.   The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE for
           any one occurrence is the Property in Transit Coverage – Property Damage and Time Element Limit of
           Insurance.
      4.   When neither the origin nor the destination is in any country upon which the United States government
           imposes sanction, embargoes or similar provisions, the following applies:
           a.   If the property is transported by an aircraft, the coverage territory is extended to be anywhere in the
                world for that property while in transit; or
           b. If the property is transported by an oceangoing vessel, transit coverage ends when the property has been
              loaded on the oceangoing vessel and only commences when the property has been fully discharged from
              such vessel onto a point within the coverage territory.
      5.   This Property in Transit Coverage does not apply to:
           a.   import shipments until marine insurance coverage ceases;
           b. personal property of others hauled on vehicles owned, leased or operated by the Named Insured
              when acting as a common or contract carrier, regardless of the Named Insured’s liability for such
              property;
           c.   property sold by the Named Insured under conditional sale, trust agreement or installment payment after
                delivery to customers;
           d. property shipped by common carrier or postal service unless such shipment is electronically tracked by
              such carrier or service; or
           e.   property while in the custody of salespersons.
      6.   In the event of any loss of or damage to personal property in transit, the Named Insured must immediately
           make a claim in writing against the carrier, bailee or others involved.



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                                 7.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply with respect
                                      to this OFF-SITE COVERAGE.
                             G. Worldwide Media and Accounts Receivable Coverage
                                 1.   The Insurer will pay for direct physical loss of or damage to media and records of accounts receivable
                                      directly caused by a covered peril while such property is at a premises other than a location or reported
                                      unspecified location.
                                 2.   With respect to coverage provided under this OFF-SITE COVERAGE, the coverage territory is extended to
                                      be anywhere in the world, except within any country upon which the United States government has imposed
                                      sanctions, embargoes or similar prohibitions.
                                 3.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
                                      occurrence is the Worldwide Media and Accounts Receivable Coverage Limit of Insurance.
                                 4.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply under this
                                      OFF-SITE COVERAGE, but only when such property is at premises that the Named Insured does not own,
                                      operate or lease.

                          III. ADDITIONAL COVERAGES
                             The following ADDITIONAL COVERAGES apply up to the applicable Limit of Insurance shown under the Business
                             Property Schedule of Coverages and Limits. If a particular coverage is shown as Not Covered then such coverage
                             is not provided under this Business Property Coverage Part.
                             Limits of Insurance for an ADDITIONAL COVERAGE that differ at any specific location will be shown under the
                             Business Property Schedule of Locations for that location. Those Limits of Insurance replace, and are not in
                             addition to, the Limit of Insurance shown for that ADDITIONAL COVERAGE in the Business Property Schedule of
                             Coverages and Limits. If any ADDITIONAL COVERAGE does not apply at a specific location, that ADDITIONAL
                             COVERAGE will be shown as Not Covered at that location.
                             If a specific Location Base Coverage is not provided at a location or at reported unspecified locations in this
                             Business Property Coverage Part, there is no coverage under its corresponding ADDITIONAL COVERAGE. For
                             example, if the Named Insured does not have a Location Base Coverage for business income for one or more
                             locations or reported unspecified location, then there is no coverage related to business income under any of the
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                             ADDITIONAL COVERAGES for business income.
                             Limits for these ADDITIONAL COVERAGES apply in addition to any other applicable Limits of Insurance, unless
                             otherwise stated.
                             A. Contaminants or Pollutants Clean Up and Removal Coverage – Property Damage and Time Element
                                Combined
                                 1.   The Insurer will pay for the reasonable costs and expenses to extract or remove contaminants or pollutants
                                      from land or water at a location or reported unspecified location, provided such contaminants or
                                      pollutants are in the land or water as a direct result of a covered peril. These costs and expenses include
                                      the costs and expenses to test for, monitor or assess the existence, concentration or effects of contaminants
                                      or pollutants.
                                      The Insurer will pay these costs and expenses only if reported to the Insurer within 180 consecutive days of
                                      the date on which the covered peril occurs.
                                 2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
                                      Insurer will also pay, as provided, for:
                                      a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                           to the necessary suspension or delay of operations;



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           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           as a result of compliance with an ordinance or law that requires the clean up or removal of contaminants or
           pollutants from land or water at a location or reported unspecified location as a direct result of a covered
           peril.
      3.   The most the Insurer will pay for all loss, cost or expense combined under this ADDITIONAL COVERAGE at
           any one location or reported unspecified location for any one occurrence is the Contaminants or
           Pollutant Clean Up and Removal Coverage – Property Damage and Time Element Combined Limit of
           Insurance.
   B. Contamination by a Refrigerant Coverage
      1.   The Insurer will pay for direct physical loss of or damage to personal property caused by the release or
           escape of refrigerants from any refrigeration equipment at a location or reported unspecified location
           provided the release or escape was not caused by or resulting from earthquake or flood, even if those are
           otherwise covered perils.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Contamination by a Refrigerant
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable
           Personal Property Coverage Limit of Insurance.
      3.   The Contaminants or Pollutants Excluded Peril under the EXCLUSIONS section does not apply, but only to
           the extent of the coverage provided under this ADDITIONAL COVERAGE.

   C. Contractual Penalties Coverage

      1.   The Insurer will pay for contractual penalties specified in a written contract that the Named Insured incurs for
           material breach of the terms of such contract where such breach is the result of direct physical loss of or
           damage to covered property directly caused by a covered peril.
      2.   The most the Insurer will pay for such contractual penalties under this ADDITIONAL COVERAGE for any one
           occurrence is the Contractual Penalties Coverage Limit of Insurance.
   D. Denial of Access Coverage
      To the extent time element coverage is applicable at that location or reported unspecified location, the
      following coverages apply at the location or reported unspecified location where the suspension or delay of
      operations occurs:
      1.   Civil Authority
           a.   For up to the number of days shown on the Business Property Schedule of Coverages and Limits, the
                Insurer will pay, as provided, for:
                i.   The actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay of operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of the research and
                    development projects; and
                iii. extra expense,



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                                          caused by action of civil authority that prohibits access to the location or reported unspecified location.
                                          Such action must result from a civil authority's response to direct physical loss of or damage to property
                                          located away from a location or reported unspecified location. That lost or damaged property must be
                                          within five miles of that location or reported unspecified location which sustains a business income
                                          or research and development business income loss or where extra expense is incurred. The loss or
                                          damage must be directly caused by a covered peril.
                                     b. The amount the Insurer will pay for all loss or expense under this Civil Authority Coverage is included
                                        within the applicable time element coverage Limit of Insurance.
                                     c.   However, to the extent the covered Civil Authority Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Civil Authority Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Civil Authority Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                                2.   Ingress/Egress
                                     a. The Insurer will pay, as provided, for:
                                          i.   the actual loss of business income the Named Insured sustains during the period of restoration
                                               due to the necessary suspension or delay of operations;
                                          ii. the actual loss of research and development business income the Named Insured sustains
                                              during the period of restoration due to the necessary suspension or delay of the research and
                                              development projects; and
                                          iii. extra expense,
                                          when ingress or egress by the Named Insured's suppliers, customers or employees to or from the
                                          location or reported unspecified location is physically obstructed due to direct physical loss or
                                          damage. The actual loss of business income or research and development business income
                                          sustained, or extra expense incurred, by the Named Insured must be caused by direct physical loss of
                                          or damage to property not owned, occupied, leased or rented by the Named Insured or insured under
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                                          this Business Property Coverage Part. That property must be located within five miles of such location
                                          or reported unspecified location. The obstruction cannot be the result of an action of civil authority that
                                          prohibits access to that location or reported unspecified location. The loss or damage must be directly
                                          caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or expense under this Ingress/Egress Coverage at any one
                                        location or reported unspecified location for any one occurrence is the Ingress/ Egress Coverage
                                        Limit of Insurance.
                                     c.   However, to the extent the covered Ingress/Egress Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                             E. Electronic Vandalism Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for loss of or damage to media, electronic data processing equipment, research and
                                     development project property and records of accounts receivable caused by or resulting from electronic
                                     vandalism originating anywhere in the world.


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      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and

           c.   extra expense,

           directly caused by electronic vandalism.
      3.   The Insurer will not pay for electronic vandalism loss caused by or resulting from any deliberate, dishonest,
           fraudulent or criminal acts committed by or on behalf of, or at the direction of, any executive officer.
      4.   The most the Insurer will pay for all loss, damage or expense combined under this ADDITONAL COVERAGE
           in the policy period is the Electronic Vandalism Coverage – Property Damage and Time Element
           Combined Aggregate Limit of Insurance.
      5.   The Electronic Vandalism and Dishonest Acts Excluded Perils under the EXCLUSIONS section do not
           apply, but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.
   F. Employee Theft Coverage
      1.   The Insurer will pay for loss of or damage to personal property, money, securities and fine arts as a direct
           result of employee theft.
      2.   The Insurer will not pay for such loss:
           a.   caused by any employee of the Named Insured, or predecessor in interest of the Named Insured, for
                whom similar prior insurance was cancelled and not reinstated since the last such cancellation.
           b. if the proof of existence or amount is dependent upon an inventory computation or a profit and loss
              computation. However, where the Named Insured establishes wholly apart from such computations that
              it has sustained such loss or damage, then it may offer its inventory records and actual physical count of
              inventory in support of the amount claimed.
           c.   resulting directly or indirectly from trading, whether in the Named Insured’s name or in a genuine or
                fictitious account.
           d. resulting from fraudulent or dishonest signing, issuing, cancelling or failing to cancel, a warehouse receipt
              or bill of lading or any papers connected with either.
      3.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE for any one
           occurrence is the Employee Theft Coverage Limit of Insurance.
      4.   The Dishonest Acts Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
           the coverage provided under this ADDITIONAL COVERAGE.
   G. Equipment Breakdown - Spoilage Coverage

      1.   The Insurer will pay for direct physical loss of or damage to personal property directly caused by the loss of
           or changes in any artificially maintained or generated temperature, humidity or internal atmosphere resulting
           from an equipment breakdown peril to covered equipment at the location or reported unspecified
           location.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Equipment Breakdown – Spoilage
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable Limits
           of Insurance.

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                                  3.   The Adulteration or Contamination and the Temperature or Humidity Conditions Excluded Perils under
                                       the EXCLUSIONS section do not apply, but only to the extent of the coverage provided under this
                                       ADDITIONAL COVERAGE.
                             H. Expense to Reduce Loss – Business Income Coverage
                                  The Insurer will pay reasonable and necessary expenses incurred by the Named Insured, except the cost of
                                  extinguishing a fire, to reduce the amount of business income or research and development business income
                                  loss. The Insurer will pay such expenses to the extent that they do not exceed the amount of loss that otherwise
                                  would have been payable under the Business Income Coverage.
                                  The amount the Insurer will pay for such expenses under this ADDITIONAL COVERAGE is included within the
                                  applicable Business Income Coverage Limit of Insurance.
                             I.   Extended Indemnity Period – Business Income Coverage
                                  1.   If loss of business income is payable under this Business Property Coverage Part, the Insurer will also
                                       pay for the actual loss of business income the Named Insured sustains during the extended indemnity
                                       period.
                                       This extended indemnity period begins on the date the period of restoration ends and it terminates on the
                                       earlier of:
                                       a.   the date the Named Insured's gross sales, including rental income, are restored to the amount that
                                            would have existed if no direct physical loss or damage occurred; or
                                       b. the date on which the specified number of days shown in the Business Property Schedule of
                                          Coverages and Limits have elapsed after the end of the period of restoration.
                                  2.   The amount the Insurer will pay for loss of business income under this ADDITIONAL COVERAGE is
                                       included within the applicable Business Income Coverage or Business Income and Extra Expense
                                       Coverage Limit of Insurance.
                                  3.   This Extended Indemnity Period - Business Income Coverage does not apply to loss of business income
                                       resulting from unfavorable business conditions as a result of the impact of a covered peril in the area of the
                                       affected location or reported unspecified location.
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                                  4.   This Extended Indemnity Period - Business Income Coverage does not apply to any other ADDITIONAL
                                       COVERAGE or the ADDITIONAL COVERAGE BASKET.
                             J.   Forgery or Alteration Coverage
                                  1.   The Insurer will pay for loss sustained by the Named Insured resulting from forgery or alteration of or on
                                       covered instruments that are made or drawn by, or drawn upon:
                                       a.   the Named Insured; or
                                       b. one acting as the Named Insured’s agent,
                                       or that are purported to have been so made or so drawn, by any person, acting alone or together with others.
                                       Mechanically reproduced facsimile signatures are the same as handwritten signatures.
                                  2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                       Forgery or Alteration Coverage Limit of Insurance.
                             K. Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time Element Combined
                                  1.   The Insurer will pay the following provided fungi, wet rot, dry rot or microbes are the direct result of a
                                       covered peril, other than fire or lightning:
                                       a.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes,
                                            including the cost of removing the fungi, wet rot, dry rot or microbes;


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           b. the reasonable cost to tear out and replace any part of the covered building or other property as needed
              to gain access to the fungi, wet rot, dry rot or microbes; and
           c.   the cost of testing performed after removal, repair, replacement or restoration of the damaged property is
                completed, provided there is reason to believe that fungi, wet rot, dry rot or microbes are still present.
      2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           due to the:
           i.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes that
                are the result of a covered peril, other than fire or lightning; or
           ii. prolonged period of restoration due to the remediation of fungi, wet rot, dry rot or microbes from a
               covered loss.
      3.   The most the Insurer will pay under this ADDITIONAL COVERAGE for all loss, damage, cost or expense
           combined in the policy period is the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage
           and Time Element Combined Aggregate Limit of Insurance. This Limit is the most the Insurer will pay, even
           if the fungi, wet rot, dry rot or microbes continue to be present or active or recur in a later policy period.
      4.   The Fungi, Wet Rot, Dry Rot and Microbes Excluded Peril under the EXCLUSIONS section does not apply,
           but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.

   L. Loss Adjustment Expense Coverage
      1.   The Insurer will pay for reasonable and necessary expenses incurred by the Named Insured in preparing
           claim data when required by the Insurer, including the cost of taking inventories, obtaining appraisals and
           preparing other documentation, to determine the extent of covered loss or damage.
      2.   The Insurer will not pay for any fees, costs or expenses incurred, directed or billed by, or payable to
           attorneys, public adjusters, loss adjusters, loss consultants, insurance brokers or agents or their associates or
           subsidiaries, or any costs as described in the APPRAISAL Condition of the First Party Terms and
           Conditions.
      3.   The most the Insurer will pay for all expenses incurred under this ADDITIONAL COVERAGE for any one
           occurrence is the Loss Adjustment Expense Coverage Limit of Insurance.
   M. Money and Securities Coverage
      1.   The Insurer will pay for loss sustained by the Named Insured as a direct result of the actual destruction,
           disappearance or theft of money and securities:
           a.   at a location, reported unspecified location or the premises of a bank or savings institution; or
           b. away from:
                i.   a location;
                ii. a reported unspecified location; or
                iii. the premises of a bank or savings institution,
                while in the care and custody of a messenger or an armored motor vehicle company.

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                                2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                     Money and Securities Coverage Limit of Insurance.
                                3.   The Insurer will not pay any loss or damage sustained by the Named Insured caused by or resulting from:
                                     a.   accounting or arithmetical errors or omissions;
                                     b. dishonest or criminal acts by the Named Insured, executive officers, employees, authorized
                                        representatives or anyone else to whom money or securities have been entrusted, other than an
                                        armored motor vehicle company:
                                          i.   acting alone or in collusion with others; or
                                          ii. whether or not occurring during the hours of employment;
                                     c.   giving or surrendering of the property in any exchange or purchase;
                                     d. voluntary parting with money or securities by the Named Insured or anyone else to whom it has
                                        entrusted such property if induced to do so by any fraudulent scheme, trick, device or false pretense;
                                     e.   transfer or surrender of money or securities on the basis of unauthorized instructions, to a person or
                                          place outside:
                                          i.   a location;
                                          ii. a reported unspecified location; or
                                          iii. the premises of a banking or savings institution; or
                                     f.   transactions involving any automated teller machine unless recorded by a continuous recording
                                          instrument in such machine.
                                4.   The only Excluded Perils under the EXCLUSIONS section that apply to this ADDITIONAL COVERAGE are
                                     Biological or Chemical Material, Governmental Action, Nuclear Hazard and War and Military Action.
                             N. Newly Acquired Locations and Property Coverage
                                1.   Newly Acquired or Constructed Real Property
                                     a.   The Insurer will pay for direct physical loss of or damage to real property, including new buildings while
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                                          being built:
                                          i.   at a newly acquired location; or
                                          ii. at a location or reported unspecified location, if coverage is not currently shown for real property
                                              at that location on the Business Property Schedule of Locations or for reported unspecified
                                              locations,
                                          directly caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or damage under this Newly Acquired or Constructed Real
                                        Property coverage for any one occurrence is the Newly Acquired or Constructed Real Property Limit
                                        of Insurance.
                                2.   Newly Acquired – Other Property
                                     a.   The Insurer will pay for direct physical loss of or damage:
                                          i.   to personal property, fine arts, media and records of accounts receivable at a newly acquired
                                               location; and
                                          ii. to personal property if coverage is not currently shown for personal property at that location on
                                              the Business Property Schedule of Locations or for reported unspecified locations,
                                          directly caused by a covered peril.


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           b. The most the Insurer will pay for all loss or damage under this Newly Acquired Property – Other
              Property coverage for any one occurrence is the Newly Acquired – Other Property Limit of Insurance.
           c.   The coverage provided under this ADDITIONAL COVERAGE for fine arts, records of accounts
                receivable and media is subject to the provisions of the Fine Arts Coverage, Accounts Receivable
                Coverage and Restoration of Media Coverage, respectively, under the ADDITIONAL BASKET
                COVERAGE section except the requirement that such property be at a location or reported unspecified
                location.
      3.   Newly Acquired Location – Time Element
           a.   To the extent time element coverage is applicable on the Business Property Coverage Part, the
                Insurer will pay, as provided, for:
                i.   the actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay in operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of research and
                    development projects; and
                iii. extra expense,
                caused by loss or damage to property at a newly acquired location directly caused by a covered peril.
           b. The most the Insurer will pay for all loss or expense under Newly Acquired Location – Time Element
              coverage for any one occurrence is the Newly Acquired Location – Time Element Limit of Insurance.
      4.   This Newly Acquired Locations and Property Coverage expires on the date when any of the following first
           occurs:
           a.   the Policy expires or is cancelled;
           b. the number of consecutive days shown on the Business Property Schedule of Coverages and Limits
              has passed from the date:
                i.   the premises becomes a newly acquired location;
                ii. the Named Insured acquires such property at a location or reported unspecified location; or
                iii. construction begins on new buildings; or
           c.   the Named Insured reports values to the Insurer.
      5.   The Insurer will charge the Named Insured additional premium for values reported from the date the
           premises becomes a newly acquired location, the Named Insured acquires such property or the
           construction begins on new buildings.
   O. Ordinance or Law Coverage
      If at the time of direct physical loss of or damage to insured property directly caused by a covered peril there is
      an ordinance or law in effect regulating the construction, zoning, repair or land use of such insured property and,
      as a result of such covered loss or damage, such ordinance or law requires code compliance in the repair or
      replacement of such insured property, the following coverages apply:
      1.   Undamaged Insured Property
           The Insurer will pay for the amount equal to the value of the undamaged portion of such insured property
           that must be demolished in accordance with such ordinance or law.
           The amount the Insurer will pay for all loss or damage under this Undamaged Insured Property coverage is
           included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance.



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                                2.   Demolition and Repair Cost
                                     The Insurer will pay for:
                                     a.   the cost of demolishing and removing the undamaged portion of the damaged insured property required
                                          to be demolished because of such ordinance or law, including the cost of clearing the site; and
                                     b. the increased cost of repair or reconstruction of such insured property on the same site or another site
                                        because of such ordinance or law. If the Named Insured elects to do such repair or reconstruction at
                                        another site, such costs are limited to the costs that would have been incurred in order to comply with the
                                        minimum requirements of such ordinance or law regulating the repair or reconstruction of such insured
                                        property on the same site.
                                     The amount the Insurer will pay for all loss or damage under this Demolition and Repair Cost coverage is
                                     included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance
                                     unless a separate Demolition and Repair Cost Limit of Insurance is shown.
                                     If a separate Limit is shown, then the most the Insurer will pay under this Demolition and Repair Cost
                                     coverage at any one location or reported unspecified location for any one occurrence is the Demolition
                                     and Repair Cost Limit of Insurance.
                                3.   Increased Period of Restoration
                                     To the extent Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the period of restoration includes any
                                     increased period of time that results from the enforcement of an ordinance or law that requires the Named
                                     Insured to repair or reconstruct the property or tear down undamaged portions of the property to meet the
                                     minimum requirements of the ordinance or law in force at the time of loss or damage.
                                     The amount the Insurer will pay under this Increased Period of Restoration coverage is included in the
                                     applicable Business Income Coverage or Business Income and Extra Expense Coverage Limit of
                                     Insurance.
                                4.   The Insurer will not pay for any:
                                     a.   additional costs incurred if the damaged insured property is not repaired or reconstructed as soon as
                                          reasonably possible;
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                                     b. increased period of restoration if the Named Insured does not resume operations with reasonable
                                        speed;
                                     c.   costs attributable to any ordinance or law that the Named Insured was required to comply with before
                                          the loss or damage; or
                                     d. increase in costs or increased period of restoration required due to the enforcement of any ordinance or
                                        law that requires the Named Insured or others to test for, monitor, clean up, remove, contain, treat,
                                        detoxify or neutralize, demolish, repair, replace or in any way respond to or assess the effects of
                                        contaminants or pollutants or the presence, growth, proliferation, spread or any activity of fungi, wet
                                        rot, dry rot or microbes, except to the extent the Contaminants or Pollutant Clean Up and Removal
                                        Coverage or the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time
                                        Element Combined of the ADDITIONAL COVERAGES section applies.
                                5.   The Governmental Action Excluded Peril under the EXCLUSIONS section does not apply, but only to the
                                     extent of the coverage provided under this Ordinance or Law Coverage.
                             P. Pair or Set Coverage
                                1.   The Insurer will pay an amount equal to the reduction in value of undamaged personal property that is part
                                     of a pair or set that becomes unmarketable as a pair or set because of direct physical loss of or damage to
                                     the other part of such personal property directly caused by a covered peril.


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      2.   The amount the Insurer will pay for such reduction in value under this ADDITIONAL COVERAGE is included
           within the applicable Personal Property Coverage Limit of Insurance.
   Q. Protection of Property Coverage
      1.   Removal of Insured Property
           a.   If it is necessary to move insured property from the location or reported unspecified location to
                protect it from actual or imminent direct physical loss or damage caused by a covered peril, the Insurer
                will pay for:
                i.   any loss of or damage to that insured property while it is being moved from, or returned to, the
                     location or reported unspecified location, or while temporarily stored at another premises for up to
                     the Number of Days shown in the Business Property Schedule of Coverages and Limits; and
                ii. the reasonable cost to remove the insured property from the location or reported unspecified
                    location and the cost to move the insured property back.

           b. The amount the Insurer will pay for all loss, damage or cost under this Removal of Insured Property
              coverage is included within, and not in addition to, the applicable Real Property Coverage or Personal
              Property Coverage Limit of Insurance.
      2.   Preservation of Insured Property
           a.   If it is necessary to protect insured property at the location or reported unspecified location from
                imminent direct physical loss or damage by a covered peril, the Insurer will pay reasonable and
                necessary costs the Named Insured incurs to protect such insured property from such imminent loss or
                damage while at such location or reported unspecified location.

           b. The most the Insurer will pay for all costs under this Preservation of Insured Property coverage for any
              one occurrence is the Protection of Property Coverage Preservation of Insured Property Limit of
              Insurance, subject to a $1,000 each occurrence deductible. No other deductible applies to this
              Preservation of Insured Property Coverage.

   R. Reported Unspecified Locations

      1.   Real Property Coverage and Personal Property Coverage

           The Insurer will pay for direct physical loss of or damage to insured property at a reported unspecified
           location directly caused by a covered peril.

           The most the Insurer will pay for such loss or damage to real property at any one reported unspecified
           location for any one occurrence is the applicable Reported Unspecified Locations Real Property Limit of
           Insurance.

           The most the Insurer will pay for such loss or damage to personal property at any one reported
           unspecified location for any one occurrence is the applicable Reported Unspecified Location Personal
           Property Limit of Insurance.

      2.   Business Income Coverage

           The Insurer will pay for the actual loss of business income the Named Insured sustains during the period
           of restoration due to the necessary suspension or delay of operations caused by direct physical loss of or
           damage to property at a reported unspecified location directly caused by a covered peril.

           The most the Insurer will pay for such loss of business income at any one reported unspecified location
           for any one occurrence is the Reported Unspecified Locations Business Income Limit of Insurance.
      3.   Extra Expense Coverage

           The Insurer will pay extra expense caused by direct physical loss of or damage to property at a reported
           unspecified location directly caused by a covered peril.

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                                     The most the Insurer will pay for such extra expense at any one reported unspecified location for any one
                                     occurrence is the Reported Unspecified Locations Extra Expense Limit of Insurance.
                             S. Research and Development Coverage

                                1.   Research and Development Project Property

                                     The Insurer will pay for:
                                     a.   direct physical loss of or damage to research and development project property while at a location or
                                          reported unspecified location directly caused by a covered peril; and

                                     b. reasonable and necessary additional expenses the Named Insured incurs to minimize direct physical
                                        loss of or damage to research and development project property, but only to the extent the loss of or
                                        damage to research and development project property is reduced by such additional expenses.

                                     The most the Insurer will pay for research and development project property under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is the Research
                                     and Development Coverage Research and Development Project Property Limit of Insurance.

                                2.   Research and Development Business Income

                                     To the extent that Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the Insurer will also pay, as provided, for the
                                     loss of research and development business income that the Named Insured sustains during the period of
                                     restoration due to the necessary suspension or delay of the Named Insured's research and development
                                     projects in process caused by direct physical loss of or damage to property at a location or reported
                                     unspecified location. The loss or damage must be directly caused by a covered peril.

                                     The amount the Insurer will pay for research and development business income under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is included
                                     within, and not in addition to, the applicable Business Income Coverage or Business Income and Extra
                                     Expense Coverage Limit of Insurance unless a separate Research and Development Business Income
                                     Limit of Insurance is shown.

                                     If a separate Limit is shown, then the most the Insurer will pay under this Research and Development
                                     Business Income coverage at any one location or reported unspecified location for any one occurrence
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                                     is the Research and Development Business Income Limit of Insurance.
                             T. Theft Damage to Non Owned Building Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to buildings at a location or reported unspecified
                                     location in which the Named Insured is a tenant and does not own the building, caused directly by theft,
                                     robbery or burglary, provided the Named Insured is obligated by the written lease in effect at the time of loss
                                     or damage to pay for such loss or damage.
                                2.   The amount the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE is included
                                     within the applicable Personal Property Coverage Limit of Insurance.
                                3.   This ADDITIONAL COVERAGE does not apply to theft that occurs after fire or explosion.
                             U. Trees, Shrubs, Plants or Lawns Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to outdoor trees, shrubs, plants or lawns,
                                     including the expense to remove debris of outdoor trees, shrubs, plants or lawns, at a location or
                                     reported unspecified location directly caused by:
                                     a.   fire;
                                     b. lightning;
                                     c.   explosion;


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           d. riot or civil commotion;
           e.   vehicles; or
           f.   aircraft.
      2.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE at any one
           location or reported unspecified location for any one occurrence is the Trees, Shrubs, Plants or Lawns
           Coverage Each Location Limit. Subject to this Each Location Limit, the most the Insurer will pay for any one
           tree, shrub, plant or lawn is the Trees, Shrubs, Plants or Lawns Coverage Each Item Limit of Insurance.

   V. Unintentional Errors or Omissions Coverage

      1.   The Insurer will pay for direct physical loss of or damage to covered property from a covered peril that is
           not otherwise payable under this Business Property Coverage Part solely as a result of:
           a.   an unintentional error or omission by the Named Insured:
                i.   in the description or address of any insured property; or
                ii. the inadvertent deletion of a location or reported unspecified location under the Policy; or

           b. any unintentional failure by the Named Insured to include any premises owned or occupied by the
              Named Insured at the inception date of the Policy.

      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,

           caused by loss of or damage to property from a covered peril that is not otherwise payable under this
           Business Property Coverage Part solely as a result of:

           i.   an unintentional error or omission by the Named Insured:
                (1) in the description or address of any insured property; or

                (2) the inadvertent deletion of a location or reported unspecified location under the Policy; or

           ii. any unintentional failure by the Named Insured to include any premises owned or occupied by the
               Named Insured at the inception date of the Policy.
      2.   The most the Insurer will pay for all loss, damage, cost or expense combined under this ADDITIONAL
           COVERAGE for any one occurrence is the Unintentional Errors or Omissions Coverage Limit of
           Insurance.

      3.   There is no coverage for any unintentional error or unintentional omission in the reporting of values or the
           coverage requested. It is a condition of this coverage that such unintentional error or omission be reported
           and corrected when discovered. The Named Insured's premium will be adjusted accordingly to reflect the
           date the premises should have been added had no error or omission occurred.




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                             W. Utility Supply Failure Coverage

                             1.   Property Damage

                                       The Insurer will pay for direct physical loss of or damage to covered property at a location or reported
                                       unspecified location where such loss or damage is caused by the necessary suspension, interruption or
                                       reduction of:
                                       a.   communication services, including internet access; or
                                       b. power supply, fuel services or water services,
                                       at that location or reported unspecified location.
                                       Such suspension, interruption or reduction must be the result of a covered peril that causes or results in
                                       direct physical loss of or damage to such utility service provider’s property, including overhead transmission
                                       or distribution lines, used to provide the location or reported unspecified location with such services,
                                       provided such property is not at a location or reported unspecified location.
                                       The most the Insurer will pay for all such loss or damage to covered property under this ADDITIONAL
                                       COVERAGE for any one occurrence is the Utility Supply Failure Coverage – Property Damage Limit of
                                       Insurance.
                                  2.   Time Element
                                       To the extent time element coverage is applicable at that location or reported unspecified location, the
                                       Insurer will pay, as provided, for:
                                       a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                            to the necessary suspension or delay of operations;
                                       b. the actual loss of research and development business income the Named Insured sustains during the
                                          period of restoration due to the necessary suspension or delay of the research and development
                                          projects; and
                                       c.   extra expense,

                                       caused by loss of or damage to a utility service provider's property that is located away from a location or
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                                       reported unspecified location and that property is used to provide internet, communication, power supply,
                                       fuel services or water services to such location or reported unspecified location. The loss or damage must
                                       be directly caused by a covered peril.

                                       The most the Insurer will pay for all such loss or expense under this ADDITIONAL COVERAGE for any one
                                       occurrence is the Utility Supply Failure Coverage – Time Element Limit of Insurance.
                                       If a Deductible or Qualifying Period is shown on the Business Property Schedule of Locations for Utility
                                       Supply Failure Coverage – Time Element Coverage, then the following replaces the Deductible and
                                       Qualifying       Periods      provision     of     the    LIMITS      OF     INSURANCE/INDEMNITY
                                       PERIOD/DEDUCTIBLE/QUALIFYING PERIOD section for the Utility Supply Failure Coverage – Time
                                       Element Coverage:
                                       The Insurer will not pay for any loss of business income or research and development business income
                                       or extra expense incurred for any one occurrence until the amount of loss or expense incurred exceeds the
                                       applicable Deductible or until the length of the suspension or delay of operations exceeds the applicable
                                       Qualifying Period shown in the Business Property Schedule of Locations.
                                       If a Deductible applies, then the Insurer will pay the amount of actual business income or research and
                                       development business income loss or extra expense incurred in excess of the applicable Deductible, up to
                                       the applicable Limits of Insurance.
                                       If a qualifying period applies and the qualifying period is exceeded, then the Insurer will pay for covered
                                       loss and expense, calculated as of the time of such suspension or delay in operations, in excess of the

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            applicable Property Deductible shown in the Business Property Schedule of Locations, unless a more
            specific time element coverage deductible is shown.
       3.   However, to the extent the covered Utility Supply Failure loss, damage or expense is caused by or resulting
            from covered:
            i.   flood, the total amount payable for all loss, damage or expense under this ADDITIONAL COVERAGE is
                 included within, and not in addition to, the applicable Flood Limit of Insurance.
            ii. earthquake, the total amount payable for all loss, damage or expense under this ADDITIONAL
                COVERAGE is included within, and not in addition to, the applicable Earthquake Limit of Insurance.

       4.   This ADDITIONAL COVERAGE does not apply to loss, damage or expense caused by physical loss of or
            damage to satellites or any other orbiting equipment.
       5.   The Utility Services Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
            the coverage provided under this ADDITIONAL COVERAGE.

IV. ADDITIONAL COVERAGE BASKET
   The following coverages are part of the ADDITIONAL COVERAGE BASKET. At the time of loss or damage, the
   Named Insured may elect to apportion the Limit of Insurance to one or any combination of the coverages included in
   this ADDITIONAL COVERAGE BASKET. However, the most the Insurer will pay at any one location or reported
   unscheduled location for any one occurrence for the total of all loss or damage from the coverages included in this
   ADDITIONAL COVERAGE BASKET is the Limit of Insurance as shown in the Business Property Schedule of
   Coverages and Limits. If a different ADDITIONAL COVERAGE BASKET Limit of Insurance is shown at a location
   in the Business Property Schedule of Locations, that Limit replaces, and is not in addition to, the ADDITIONAL
   COVERAGE BASKET Limit of Insurance shown in the Business Property Schedule of Coverages and Limits for
   that location. If the ADDITIONAL COVERAGE BASKET does not apply at a specific location, the ADDITIONAL
   COVERAGE BASKET will show as Not Covered for that location.
   A. Accounts Receivable Coverage
       1.   The Insurer will pay for direct physical loss of or damage to records of accounts receivable at a location or
            reported unspecified location directly caused by a covered peril.
       2.   This Accounts Receivable Coverage does not apply with respect to any claim for loss, damage, cost or
            expense that requires any audit of any records or inventory computation to prove its factual existence.
       3.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
            Perils under the EXCLUSIONS section do not apply with respect to Accounts Receivable Coverage.
   B. Fine Arts Coverage
       1.   The Insurer will pay for direct physical loss of or damage to fine arts at a location or reported unspecified
            location directly caused by a covered peril.
       2.   Subject to the ADDITIONAL COVERAGE BASKET Limit of Insurance, the most the Insurer will pay for any
            one item for any one occurrence under this Fine Arts Coverage is $100,000.
       3.   The Contaminants or Pollutants and the Utility Services Excluded Perils under the EXCLUSIONS section
            do not apply with respect to Fine Arts Coverage.

   C. Fire Department Service Charge Coverage
       The Insurer will pay for the Named Insured’s liability for the following fire department service charges if incurred
       to save or protect covered property at a location or reported unspecified location from a covered peril:
       1.   charges assumed by written contract or written agreement prior to loss; or
       2.   charges required by local ordinance.

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                                No deductible applies to this Fire Department Service Charge Coverage.
                             D. Lessee Leasehold Interest Coverage
                                When the Named Insured's written lease is cancelled by the lessor in accordance with a valid condition of that
                                lease and such cancellation is due to direct physical loss of or damage to property at a location or reported
                                unspecified location directly caused by a covered peril, the Insurer will pay for the loss of:
                                1.   the value of the Named Insured’s leasehold interest in the unamortized portion of payments made by the
                                     Named Insured for the undamaged portion of the tenant’s improvements and betterments;

                                2.   monthly leasehold interest of the bonus payment or prepaid rent;

                                3.   sublease profit;

                                4.   equipment data processing equipment leasehold values; and

                                5. net leasehold interest of tenant's lease interest.

                             E. Lost Key Replacement Coverage
                                The Insurer will pay for the reasonable and necessary cost of:
                                1.   replacing the master key and individual lock keys, including the cost to program the new locks if keys to that
                                     location or reported unspecified location are stolen; or
                                2.   entry lock repair or replacement, including the cost to rekey or reprogram locks, made necessary by theft or
                                     attempted theft at that location or reported unspecified location.
                             F. Non Owned Detached Trailers Coverage
                                The Insurer will pay for direct physical loss of or damage to trailers that the Named Insured does not own at a
                                location or reported unspecified location directly caused by a covered peril, provided that:
                                1.   the trailer is used in the Named Insured’s business;
                                2.   the trailer is in the Named Insured’s care, custody or control; and
                                3.   the Named Insured is obligated by a written contract in effect at the time of loss or damage to pay for such
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                                     loss or damage to that trailer.
                                The Insurer will not pay for any loss or damage that occurs:
                                a.   while the trailer is attached to any motor vehicle or motorized conveyance, whether or not the motor vehicle
                                     or motorized conveyance is in motion;
                                b. during hitching or unhitching operations; or
                                c.   when a trailer becomes accidentally unhitched from a motor vehicle or motorized conveyance.

                             G. Recharge of Fire Protection Equipment Coverage
                                The Insurer will pay expenses the Named Insured incurs to recharge automatic fire protection equipment due to
                                the leakage or discharge of the fire suppressant within the automatic fire protection equipment. The insurance
                                provided under this coverage applies regardless of how the discharge or leakage is caused. However, if the
                                leakage or discharge is caused by or results from covered loss or damage, no deductible applies.

                             H. Restoration of Media Coverage

                                1.   The Insurer will pay for the direct physical loss of or damage to media at a location or reported unspecified
                                     location directly caused by a covered peril.
                                2.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
                                     Perils under the EXCLUSIONS section do not apply with respect to this Restoration of Media Coverage.

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   I.   Reward Payments Coverage
        In the event of direct physical loss of or damage to insured property caused by arson, theft or vandalism, the
        Insurer will reimburse the Named Insured for amounts it pays for information leading to the conviction of any
        persons responsible for such arson, theft or vandalism. The reward payments must be documented.
        However, there is no coverage for a reward payment made to the Named Insured or executive officers.
        No deductible applies to this Reward Payments Coverage.

V. EXCLUSIONS
   The Excluded Perils shown in Paragraphs A. B. C. and D. below apply to all LOCATION COVERAGES, OFF-SITE
   COVERAGES, ADDITIONAL COVERAGES and ADDITIONAL COVERAGE BASKET coverages under the
   coverage part unless otherwise stated.
   A. Excluded Perils Subject to Concurrent Causation Provisions
        With respect to the excluded perils below, the Insurer will not pay for loss of or damage to property directly or
        indirectly caused by or resulting from the following causes of loss or events: Biological or Chemical Materials;
        Earth Movement; Electronic Vandalism; Flood; Fungi, Wet Rot, Dry Rot and Microbes; Governmental
        Action; Nuclear Hazard; Utility Services; and War and Military Action, regardless of: the causes of such
        excluded causes or events; other causes of such loss; any other cause or event, whether or not insured under the
        coverage part, which may have contributed concurrently, or in any sequence, to produce such loss even if such
        other cause or event would otherwise be covered; and whether the event occurred suddenly or gradually,
        involved isolated or widespread damage, arose from natural or external sources or acts or omissions, or occurred
        as a result of any combination of any such causes or events.
        1.   Biological or Chemical Materials
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the actual or
             threatened discharge, dispersal, seepage, migration, release, escape or application of any pathogenic or
             poisonous biological or chemical materials.
        2.   Earth Movement
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from earth movement.
             However, if earth movement results in fire, explosion or theft, the Insurer will pay for that portion of the loss
             which was solely caused by such fire, explosion or theft.
        3.   Electronic Vandalism
             The Insurer will not pay for loss or damage caused by or resulting from electronic vandalism.
        4.   Flood
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from flood. However, if
             flood results in fire, explosion, sprinkler leakage or theft, the Insurer will pay for that portion of the loss which
             was solely caused by such fire, explosion, sprinkler leakage or theft.
        5.   Fungi, Wet Rot, Dry Rot and Microbes
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the presence,
             growth, proliferation, spread or any activity of fungi, wet or dry rot, or microbes. However, this exclusion
             does not apply when fungi, wet or dry rot, or microbes results from fire or lightning.
        6.   Governmental Action

             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from seizure,
             destruction, demolition, expropriation, condemnation, confiscation or nationalization of property by, on behalf
             of or at the direction of any governmental authority.


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                                     However, this exclusion does not apply to seizure or acts of destruction ordered by governmental or military
                                     authority and taken at the time of a fire to prevent its spread.
                                7.   Nuclear Hazard
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from nuclear reaction
                                     or radiation, or radioactive contamination, however caused. However, if nuclear reaction or radiation, or
                                     radioactive contamination results in fire, the Insurer will pay for that portion of the loss which was solely
                                     caused by such fire.
                                8.   Utility Services
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the failure
                                     (including lack of sufficient capacity and reduction in supply) of power, fuel, sewage treatment, internet or
                                     other communication service, or any other utility service supplied to a covered premises, if the failure occurs
                                     away from the premises.
                                     However, if such failure results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                     solely caused by such covered peril.
                                     This exclusion does not apply to electronic data processing equipment.
                                9.   War and Military Action
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from:
                                     a.   war (whether declared or undeclared); civil war or warlike action by a military force; or
                                     b. insurrection, rebellion, revolution, military or usurped power by governmental or military personnel.
                             B. Other Excluded Perils
                                1.   Adulteration or Contamination

                                     The Insurer will not pay for loss or damage caused by or resulting from adulteration or contamination to stock
                                     which causes the stock to become diminished in value or use, including but not limited to diminished value or
                                     use due to change in color, finish, flavor, size or texture. This exclusion applies unless the adulteration or
                                     contamination is itself caused by a specified peril, other than the equipment breakdown peril.
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                                     However, if the adulteration or contamination to stock results in a covered peril, the Insurer will pay for that
                                     portion of the loss or damage solely caused by such covered peril.
                                2.   Alteration, Falsification, Concealment or Destruction

                                     The Insurer will not pay for loss or damage caused by or resulting from alteration, falsification, concealment
                                     or destruction of records of accounts receivable or media done to conceal the wrongful giving, taking or
                                     withholding of money, securities or other property.
                                3.   Bookkeeping, Accounting or Billing Errors or Omissions
                                     The Insurer will not pay for loss of or damage to media or records of accounts receivable caused by or
                                     resulting from bookkeeping, accounting or billing errors or omissions.
                                4.   Collective Activities
                                     The Insurer will not pay for loss of business income or research and development business income
                                     caused by or resulting from delay in rebuilding, repairing or replacing property or resuming operations due to
                                     strikes, boycotts, picketing, lockouts or other such collective activities.
                                5.   Contaminants or Pollutants
                                     The Insurer will not pay for loss or damage caused by or resulting from discharge, dispersal, seepage,
                                     migration, release or escape of contaminants or pollutants. This exclusion applies unless the discharge,



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           dispersal, seepage, migration, release or escape of contaminants or pollutants is itself caused by a
           specified peril.
           However, if the discharge, dispersal, seepage, migration, release or escape of contaminants or pollutants
           results in a specified peril, the Insurer will pay for that portion of the loss or damage solely caused by such
           specified peril.
           This exclusion does not apply:
           a.   to damage to glass caused by chemicals applied to the glass; or
           b. to electronic data processing equipment.
      6.   Delay, Loss of Use or Loss of Market
           The Insurer will not pay for loss or damage caused by or resulting from delay, loss of use or loss of market.
      7.   Dishonest or Criminal Acts
           The Insurer will not pay for loss or damage caused by or resulting from any dishonest, fraudulent or criminal
           acts committed alone or in collusion with others by the Named Insured, executive officers, the Named
           Insured's employees (including leased or temporary employees) or authorized representatives or anyone to
           whom the Named Insured entrusts the property for any purpose, regardless of whether or not such activity
           takes place during hours of operation.
           This exclusion does not apply to:
           a.   acts of destruction by an employee (including leased or temporary employee) of the Named Insured; or
           b. acts committed by a carrier or other bailee for hire.
      8.   Errors, Defects or Failures
           The Insurer will not pay for any:
           a.   loss or damage, including the costs of correcting or making good, caused by or resulting from:
                i)   an act or decision or error or omission in or faulty or defective:
                     (1) design, specification, workmanship, repair, construction, renovation, remodeling, grading or
                         compaction of;
                     (2) processing of, manufacturing of or materials used in;
                     (3) planning, zoning, development surveying or siting; or
                     (4) materials used in repair, construction, renovation or remodeling of; or
                ii) insufficient maintenance or servicing, or the failure to maintain or service,
                any part, or all, of the property on or off a premises.
           b. loss or damage caused by or resulting from the misalignment, miscalibration, operation of any safety
              device or going off-line or any condition which can be corrected by resetting, tightening, adjusting,
              cleaning or performing maintenance on property.
           However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that loss or
           damage solely caused by such covered peril.
      9.   Finished Stock or Merchandise
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from:
           a.   loss or damage to finished stock or to merchandise which has been sold but not delivered; or
           b. the time required to reproduce finished stock or replace merchandise.

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                                10. Inherent Vice/Latent Defect
                                    The Insurer will not pay for loss or damage caused by or resulting from:
                                    a.   wear and tear;
                                    b. rust or other corrosion or decay;
                                    c.   gradual deterioration, hidden or latent defect or any quality in property that causes it to damage or
                                         destroy itself;
                                    d. nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents
                                       or other animals;
                                    f.   smog;
                                    g. marring or scratching; or
                                    h. inherent vice.
                                    This exclusion applies unless one of these Excluded Perils is itself caused by a specified peril.
                                    However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that portion of the
                                    loss or damage solely caused by such covered peril.
                                11. Mysterious Disappearance
                                    The Insurer will not pay for loss or damage caused by or resulting from disappearance of property or shortage
                                    of property disclosed on taking inventory, where there is no physical evidence to show what happened to the
                                    property.
                                    However, if such disappearance or shortage results in a covered peril, the Insurer will pay for that portion of
                                    the loss or damage solely caused by such covered peril.
                                    This exclusion does not apply to property in the custody of carriers or other bailees for hire.
                                12. Precipitation
                                    The Insurer will not pay for loss or damage caused by or resulting from hail, ice, rain, sleet or snow to
                                    personal property in the open, other than property in the custody of carriers for hire.
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                                13. Pressure or Electrical Testing
                                    The Insurer will not pay for loss of or damage to machinery or equipment while undergoing electrical or
                                    pressure testing.
                                    However, if such testing results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                    solely caused by such covered peril.
                                14. Programming Errors or Defects
                                    The Insurer will not pay for loss of or damage to electronic data processing equipment, media or records
                                    of accounts receivable caused by or resulting from:
                                    a.   programming errors or faulty instructions to a machine; or
                                    b. other errors or omissions in processing or copying.
                                    However, if such errors, omissions or faulty instructions result in a covered peril, the Insurer will pay for that
                                    portion of the loss or damage solely caused by such covered peril.
                                15. Repair, Restoration or Retouching
                                    The Insurer will not pay for loss of or damage to fine arts caused by or resulting from any repairing,
                                    restoration or retouching process.


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                                                                                             CNA PARAMOUNT
                                                                             Business Property Coverage Part

      16. Settling and Cracking
           The Insurer will not pay for loss or damage caused by or resulting from naturally occurring or man-made
           bulging, cracking, expansion, shrinkage or settling of land, paved or concrete surfaces, foundations, pools or
           buildings, including soil or fill adjacent to such property. This exclusion applies unless the bulging, cracking,
           expansion, shrinkage or settling is itself caused by a specified peril.
           However, if such bulging, cracking, expansion, shrinkage or settling results in a covered peril, the Insurer will
           pay for that portion of the loss or damage solely caused by such covered peril.
      17. Suspended Equipment
           The Insurer will not pay for loss or damage caused by or resulting from an equipment breakdown peril to
           suspended equipment.
           However, if such Excluded Peril results in a covered peril, the Insurer will pay for that portion of the loss or
           damage solely caused by such covered peril.
      18. Suspension, Lapse or Cancellation
           The Insurer will not pay for any:
           a.   loss of business income or extra expense caused by or resulting from suspension, lapse or
                cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay in
                     operations;
                ii. the loss of business income is sustained during the period of restoration or extended indemnity
                    period; and
                iii. the extra expense is incurred during the period of restoration.
           b. loss of research and development business income caused by or resulting from suspension, lapse or
              cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay of the
                     Named Insured's research and development projects in process; and
                ii. the loss of research and development business income is sustained during the period of
                    restoration.
      19. Temperature or Humidity Conditions
           The Insurer will not pay for loss of or damage to personal property caused by or resulting from the loss of or
           change in temperature, humidity or atmosphere, whether inside or outside of a building and whether or not
           artificially maintained or generated. This exclusion applies unless such change in temperature, humidity or
           atmosphere is itself caused by a specified peril, other than an equipment breakdown peril.
           However, if such loss of or change in temperature, humidity or atmosphere results in a covered peril, the
           Insurer will pay for that portion of the loss or damage solely caused by such covered peril.
           This exclusion does not apply to electronic data processing hardware.
   C. Limitations
      1.   Trees, Shrubs, Plants or Lawns
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from loss of or damage to outdoor trees, shrubs, plants or lawns unless such loss or
           damage is directly caused by fire, lightning, explosion, riot or civil commotion, vehicles or aircraft.




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                                                                                                                          CNA PARAMOUNT
                                                                                                         Business Property Coverage Part

                                2.   Vegetated Roofs
                                     The Insurer will not pay for loss of or damage to trees, shrubs, plants, grass, lawns or other landscaping
                                     materials which are part of a vegetated roof caused by or resulting from:
                                     a.   dampness or dryness of atmosphere or soil supporting the vegetation;
                                     b. changes in or extremes of temperature;
                                     c.   disease; or
                                     d. frost, hail, rain, snow, ice or sleet.
                             D. Excluded Fees, Costs and Expenses
                                1.   Excavation, Grading or Filling Costs
                                     The Insurer will not pay fees, costs or expenses for:
                                     a.   excavations, grading, backfilling or filling, unless such cost is necessarily incurred to investigate, repair or
                                          replace insured property below the surface of the ground; or
                                     b. filling sinkholes.
                                2.   Volcanic Eruption
                                     The Insurer will not pay fees, costs or expenses to remove ash, dust or particulate matter, following a
                                     volcanic eruption that does not cause loss of or damage to covered property.

                          VI. LIMITS OF INSURANCE / INDEMNITY PERIOD / DEDUCTIBLE / QUALIFYING PERIOD
                             A. Limits of Insurance
                                The Limits of Insurance applicable to each coverage agreement are shown in the Business Property Schedule
                                of Coverages and Limits or the Business Property Schedule of Locations.
                             B. Special Limits
                                The Limit of Insurance applicable for any one occurrence for loss or damage due to theft is $10,000 for:
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                                1.   furs, fur garments and garments trimmed with fur;
                                2.   jewelry, watches, watch movements, jewels, pearls, precious and semi-precious stones; and
                                3.   bullion, gold, silver, platinum and other precious alloys or metals.
                                This Limit is included within, and not in addition to, the applicable Personal Property Coverage Limit of
                                Insurance.
                             C. Maximum Period of Indemnity
                                If the Business Property Schedule of Locations displays a Maximum Period of Indemnity, the most the
                                Insurer will pay for loss of business income is the lesser of:
                                1.   the amount of covered business income during the 120 consecutive days immediately following the
                                     beginning of the period of restoration; or
                                2.   the applicable Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                     Locations.
                             D. Monthly Limit of Indemnity
                                If the Business Property Schedule of Locations displays a Monthly Limit of Indemnity fraction, the most the
                                Insurer will pay for loss of business income in any one period of 30 consecutive days after the beginning of the
                                period of restoration is:


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                                                                                          CNA PARAMOUNT
                                                                             Business Property Coverage Part

      1.   the Limit of Insurance, multiplied by
      2.   the Monthly Limit of Indemnity fraction shown in the Business Property Schedule of Locations for Monthly
           Limit of Indemnity.
   E. Inflation Guard
      If the Business Property Schedule of Locations displays an inflation guard percentage, the Limit of Insurance
      for insured property will automatically increase as follows:
      1.   the applicable Limit of Insurance; multiplied by
      2.   the Inflation Guard percentage shown on the Business Property Schedule of Locations; multiplied by
      3.   the number of consecutive days since the beginning of the annual policy period, or the effective date of the
           most recent Policy change amending the Limit of Insurance, divided by 365.
   F. Deductibles and Qualifying Periods
      1.   The Insurer will not pay any amounts due under the terms and conditions of the coverage part until the
           amount of covered loss, damage, cost or expense for any one occurrence exceeds the Property Deductible
           shown in the Business Property Schedule of Locations, unless specific coverage deductibles are shown in
           the Business Property Schedule of Locations or an endorsement. The Insurer will then pay the amount of
           loss, damage, cost or expense in excess of the Deductible, up to the applicable Limits of Insurance.
      2.   If a Qualifying Period is shown in the Business Property Schedule of Locations, then the qualifying
           period will apply to all business income and research and development business income coverages. The
           Insurer will not pay for any loss of business income or research and development business income for
           any one occurrence until the suspension or delay of operations exceeds the qualifying period. If the
           qualifying period is exceeded, then the Insurer will pay the amount of covered business income or
           research and development business income loss, calculated as of the time and date of such loss, in
           excess of the applicable Property Deductible shown in the Business Property Schedule of Locations,
           unless a more specific time element coverage deductible is shown. If Business Income and Extra
           Expense Coverage applies, then extra expense is subject to the deductible or qualifying period applicable
           to business income.
      3.   A covered loss occurring at unspecified locations, reported unspecified locations or other premises not
           shown on the Business Property Schedule of Locations will be subject to the Deductibles and Qualifying
           Periods applicable for the first location shown in the Business Property Schedule of Locations, unless
           specific coverage deductibles are shown in the Business Property Schedule of Locations or an
           endorsement.
      4.   Unless otherwise stated in the coverage part or endorsement, if more than one monetary deductible applies,
           the Insurer will apply each deductible separately, but the total of all deductibles applied for any one
           occurrence will not exceed the highest applicable monetary deductible for loss or damage to covered
           property plus the highest applicable monetary deductible for loss under time element coverage.
      5.   Loss or damage caused by earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or
           hail may be subject to separate deductible amounts. The Business Property Schedule of Locations, or
           applicable endorsement, will identify the locations or reported unspecified locations subject to such
           deductibles and the applicable deductible amount. That Deductible will apply to all coverages that respond to
           that covered loss, including covered time element coverage loss. Qualifying periods do not apply to
           covered loss or expense from earthquake, earthquake sprinkler leakage, flood, named storm or windstorm
           or hail when there is a separate monetary deductible amount applicable.
           For purposes of calculating the deductible for those perils, the Insurer will use the applicable Limit of
           Insurance shown in the Business Property Schedule of Coverages and Limits, the Business Property
           Schedule of Location or any endorsement attached to this Policy for that specific coverage, or the actual



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                                                                                                                   CNA PARAMOUNT
                                                                                                     Business Property Coverage Part

                                    amount of loss, damage, cost or expense for that coverage, whichever is less, towards satisfying that
                                    Deductible.
                                    With respect to earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or hail
                                    deductibles, if there are two or more deductibles that are applicable from other covered perils in the same
                                    occurrence, the Insurer will apply each deductible separately. When those Deductibles are shown in the
                                    Business Property Schedule of Coverages and Limits, the Business Property Schedule of Locations or
                                    any endorsement:
                                    a.   at that specific location or reported unspecified location, the total of all monetary deductible amounts
                                         applied for any one occurrence will not exceed the single highest applicable Deductible shown for that
                                         location or reported unspecified location. If more than one location or reported unspecified location
                                         is involved in the same occurrence, the Insurer will apply those Deductibles for each location and
                                         reported unspecified location separately, subject to the single highest applicable Deductible for each
                                         location and each reported unspecified location.
                                    b. on a per occurrence basis for multiple locations or reported unspecified locations, the total of all
                                       monetary deductible amounts applied for any one occurrence will not exceed the single highest
                                       applicable Deductible.
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                                                                                                                          CNA PARAMOUNT
                                                                             Equipment Breakdown Exclusion Endorsement

                          It is understood and agreed as follows:

                          I.      The following are added to Other Excluded Perils, in the EXCLUSIONS section of the Business Property
                                  Coverage Part:

                                  •        Electrical Injury

                                           The Insurer will not pay for loss or damage caused by or resulting from artificially generated electrical
                                           current, including electrical arcing, that damages or disturbs electrical devices, wiring or equipment. But,
                                           if such artificially generated electrical current or electrical arcing results in a covered peril, the Insurer
                                           will pay for that portion of the loss or damage solely caused by such covered peril.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                  •        Explosion or Rupture

                                           The Insurer will not pay for:

                                           a.       Loss or damage caused by or resulting from an explosion, rupture, or bursting of steam boilers,
                                                    steam pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming
                                                    a part thereof, when owned, operated, or controlled by the Named Insured; except for explosion
                                                    of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
                                                    within the flues or passages through which the gases of combustion pass.

                                                    But if a result of one of these excluded perils is fire or a combustion explosion, the Insurer will
                                                    pay that portion of the loss or damage solely caused by that fire or combustion explosion.


                                           b.       Loss or damage caused by or resulting from any condition or event inside steam boilers, steam
                                                    pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming a part
                                                    thereof, when owned, operated, or controlled by the Named Insured; except for explosion of
                                                    accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
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                                                    within the flues or passages through which the gases of combustion pass.


                                           c.       Loss or damage caused by or resulting from any condition or event, other than an explosion,
                                                    inside hot water boilers, other water heating equipment other than steam engines, or pressure
                                                    vessels when owned, operated, or controlled by the Named Insured.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                  •        Mechanical Breakdown

                                           The Insurer will not pay for loss or damage caused by or resulting from mechanical or machinery
                                           breakdown, including rupture or bursting caused by or resulting from centrifugal force, of property owned,
                                           operated, or controlled by the Named Insured. But if a result of the mechanical or machinery breakdown
                                           is a covered peril, the Insurer will pay for that portion of the loss or damage solely caused by such
                                           covered peril.



                          CNA81067XX (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       2
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001085
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                                                                                               CNA PARAMOUNT
                                                   Equipment Breakdown Exclusion Endorsement

                  This exclusion does not apply to electronic data processing equipment, media or records of
                  accounts receivable.

II.       The following change applies to the ADDITIONAL COVERAGES section of the Business Property Coverage
          Part:

          The Equipment Breakdown – Spoilage Coverage is deleted.

III.      Paragraph I. of the specified peril definition in the First Party Glossary of Defined Terms is deleted.



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA81067XX (10-15)                                                                           Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:       2
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001086
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POLICY NUMBER
    Case:                  INSURED
          1:23-cv-04098 Document #: NAME
                                    142-7AND  ADDRESS
                                          Filed: 01/28/25 Page 888 of 1498 PageID #:17148
C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                         INLAND MARINE LOCATION SUMMARY OF COVERAGES




LOCATION      1   BUILDING    1

12A MAPLE AVE
PINE BROOK                        NJ   07058

Building Description:

LOCATION/BUILDING COVERAGES

Valuable Papers
  - Valuable Papers Schedule - Non-Reporting - G55231
  - Valuable Papers and Records Coverage Form - CM0067




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                                       CNA001088
                                           INSURED                            Page   2 of   3
POLICY NUMBER
    Case:                  INSURED
          1:23-cv-04098 Document #: NAME
                                    142-7AND  ADDRESS
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C 6056872807               SESI CONSULTING ENGINEERS
                           12A MAPLE AVE
                           PINE BROOK, NJ 07058-9837



                             INLAND MARINE LOSS PAYEE SCHEDULE

All loss payees as their interests may appear in the Covered Property.

The following provisions apply in accordance with the insurable interest of the loss
payee: Loss Payable, Lender's Loss Payable, or Contract of Sale.

Description of Property: Any Covered Property in which a loss payee, creditor or lender
holds an interest, including any person or organization you have entered a contract with
for the sale of the Covered Propery.




                                                             Countersignature




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                                          INSURED                             Page   3 of   3
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                                                                                                                   COMMERCIAL INLAND MARINE
                                                                                                                                CM 00 01 09 04

                                          COMMERCIAL INLAND MARINE CONDITIONS
                          The following conditions apply in addition to the                     6.   As often as may be reasonably required, permit
                          Common Policy Conditions and applicable Additional                         us to inspect the property proving the loss or
                          Conditions in Commercial Inland Marine Coverage                            damage and examine your books and records.
                          Forms:                                                                     Also permit us to take samples of damaged and
                          LOSS CONDITIONS                                                            undamaged property for inspection, testing and
                          A. Abandonment                                                             analysis, and permit us to make copies from
                                                                                                     your books and records.
                             There can be no abandonment of any property to us.
                                                                                                7.   We may examine any insured under oath, while
                          B. Appraisal                                                               not in the presence of any other insured and at
                              If we and you disagree on the value of the property                    such times as may be reasonably required,
                              or the amount of loss, either may make written                         about any matter relating to this insurance or the
                              demand for an appraisal of the loss. In this event,                    claim, including an insured's books and records.
                              each party will select a competent and impartial                       In the event of an examination, an insured's
                              appraiser. The two appraisers will select an umpire.                   answers must be signed.
                              If they cannot agree, either may request that                     8.   Send us a signed, sworn proof of loss
                              selection be made by a judge of a court having                         containing the information we request to settle
                              jurisdiction. The appraisers will state separately the                 the claim. You must do this within 60 days after
                              value of the property and amount of loss. If they fail                 our request. We will supply you with the
                              to agree, they will submit their differences to the                    necessary forms.
                              umpire. A decision agreed to by any two will be
                              binding. Each party will:                                         9.   Immediately send us copies of any demands,
                                                                                                     notices, summonses or legal papers received in
                              1. Pay its chosen appraiser; and                                       connection with the claim or suit.
                              2.   Bear the other expenses of the appraisal and                10. Cooperate with us in the investigation or
                                   umpire equally.                                                 settlement of the claim.
                             If there is an appraisal, we will still retain our right to    D. Insurance Under Two Or More Coverages
                             deny the claim.
                                                                                               If two or more of this policy's coverages apply to the
                          C. Duties In The Event Of Loss                                       same loss or damage, we will not pay more than the
                              You must see that the following are done in the                  actual amount of the loss or damage.
                              event of loss or damage to Covered Property:                  E. Loss Payment
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                              1. Notify the police if a law may have been broken.               1.   We will give notice of our intentions within 30
                              2.   Give us prompt notice of the loss or damage.                      days after we receive the sworn proof of loss.
                                   Include a description of the property involved.              2.   We will not pay you more than your financial
                              3.   As soon as possible, give us a description of                     interest in the Covered Property.
                                   how, when and where the loss or damage                       3.   We may adjust losses with the owners of lost or
                                   occurred.                                                         damaged property if other than you. If we pay
                              4.   Take all reasonable steps to protect the                          the owners, such payments will satisfy your
                                   Covered Property from further damage, and                         claim against us for the owners' property. We
                                   keep a record of your expenses necessary to                       will not pay the owners more than their financial
                                   protect the Covered Property, for consideration                   interest in the Covered Property.
                                   in the settlement of the claim. This will not                4.   We may elect to defend you against suits
                                   increase the Limit of Insurance. However, we                      arising from claims of owners of property. We
                                   will not pay for any subsequent loss or damage                    will do this at our expense.
                                   resulting from a cause of loss that is not a
                                   Covered Cause of Loss. Also, if feasible, set the            5.   We will pay for covered loss or damage within
                                   damaged property aside and in the best                            30 days after we receive the sworn proof of loss
                                   possible order for examination.                                   if you have complied with all the terms of this
                                                                                                     Coverage Part and:
                              5.   You will not, except at your own cost, voluntarily
                                   make a payment, assume any obligation, or
                                   incur any expense without our consent.



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           a.   We have reached agreement with you on               necessary to secure our rights and must do nothing
                the amount of the loss; or                          after loss to impair them. But you may waive your
           b. An appraisal award has been made.                     rights against another party in writing:
      6.
      We will not be liable for any part of a loss that             1. Prior to a loss to your Covered Property.
      has been paid or made good by others.                         2.   After a loss to your Covered Property only if, at
F. Other Insurance                                                       time of loss, that party is one of the following:
      1.   You may have other insurance subject to the                   a. Someone insured by this insurance; or
           same plan, terms, conditions and provisions as                b. A business firm:
           the insurance under this Coverage Part. If you                   (1) Owned or controlled by you; or
           do, we will pay our share of the covered loss or
           damage. Our share is the proportion that the                      (2) That owns or controls you.
           applicable Limit of Insurance under this                This will not restrict your insurance.
           Coverage Part bears to the Limits of Insurance
                                                                GENERAL CONDITIONS
           of all insurance covering on the same basis.
                                                                A. Concealment, Misrepresentation Or Fraud
      2.
       If there is other insurance covering the same
       loss or damage, other than that described in 1.              This Coverage Part is void in any case of fraud,
       above, we will pay only for the amount of                    intentional concealment or misrepresentation of a
       covered loss or damage in excess of the                      material fact, by you or any other insured, at any
       amount due from that other insurance, whether                time, concerning:
       you can collect on it or not. But we will not pay            1. This Coverage Part;
       more than the applicable Limit of Insurance.
                                                                    2.   The Covered Property;
G. Pair, Sets Or Parts
                                                                    3.   Your interest in the Covered Property; or
      1.   Pair Or Set
                                                                    4.A claim under this Coverage Part.
           In case of loss or damage to any part of a pair
           or set we may:                                       B. Control Of Property
           a. Repair or replace any part to restore the             Any act or neglect of any person other than you
               pair or set to its value before the loss or          beyond your direction or control will not affect this
               damage; or                                           insurance.
           b. Pay the difference between the value of the          The breach of any condition of this Coverage Part at
               pair or set before and after the loss or            any one or more locations will not affect coverage at
               damage.                                             any location where, at the time of loss or damage,
                                                                   the breach of condition does not exist.
      2.   Parts
                                                                C. Legal Action Against Us
      In case of loss or damage to any part of
      Covered Property consisting of several parts                 No one may bring a legal action against us under
      when complete, we will only pay for the value of             this Coverage Part unless:
      the lost or damaged part.                                    1. There has been full compliance with all the
H. Recovered Property                                                   terms of this Coverage Part; and
      If either you or we recover any property after loss          2. The action is brought within 2 years after you
      settlement, that party must give the other prompt                 first have knowledge of the direct loss or
      notice. At your option, the property will be returned             damage.
      to you. You must then return to us the amount we          D. No Benefit To Bailee
      paid to you for the property. We will pay recovery           No person or organization, other than you, having
      expenses and the expenses to repair the recovered            custody of Covered Property will benefit from this
      property, subject to the Limit of Insurance.                 insurance.
I.    Reinstatement Of Limit After Loss                         E. Policy Period, Coverage Territory
      The Limit of Insurance will not be reduced by the             We cover loss or damage commencing:
      payment of any claim, except for total loss or
      damage of a scheduled item, in which event we will            1. During the policy period shown                in   the
      refund the unearned premium on that item.                        Declarations; and
J.    Transfer Of Rights Of Recovery Against Others                 2. Within the coverage territory.
      To Us                                                     F. Valuation
      If any person or organization to or for whom we               The value of property will be the least of the
      make payment under this Coverage Part has rights              following amounts:
      to recover damages from another, those rights are             1. The actual cash value of that property;
      transferred to us to the extent of our payment. That
      person or organization must do everything
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                             2.   The cost of reasonably restoring that property to         3.   The cost of replacing that property with
                                  its condition immediately before loss or damage;               substantially identical property.
                                  or                                                        In the event of loss or damage, the value of property
                                                                                            will be determined as of the time of loss or damage.
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                                                                                                                 COMMERCIAL INLAND MARINE
                                                                                                                              CM 00 67 03 10

                              VALUABLE PAPERS AND RECORDS COVERAGE FORM
                          Various provisions in this policy restrict coverage. Read             b. We will pay for direct physical loss or damage
                          the entire policy carefully to determine rights, duties and               to Covered Property, caused by abrupt
                          what is and is not covered.                                               collapse of a building or any part of a building
                          Throughout this policy, the words "you" and "your" refer                  that contains Covered Property insured under
                          to the Named Insured shown in the Declarations. The                       this coverage form, if such collapse is caused
                          words "we," "us" and "our" refer to the Company                           by one or more of the following:
                          providing this insurance.                                                (1) Building decay that is hidden from view,
                          Other words and phrases that appear in quotation marks                        unless the presence of such decay is
                          have special meaning. Refer to Section F – Definitions.                       known to an insured prior to collapse;
                          A. Coverage                                                              (2) Insect or vermin damage that is hidden
                                                                                                        from view, unless the presence of such
                             We will pay for direct physical loss of or damage to                       damage is known to an insured prior to
                             Covered Property from any of the Covered Causes of                         collapse;
                             Loss.
                                                                                                   (3) Use of defective material or methods in
                             1. Covered Property, as used in this coverage form,                        construction, remodeling or renovation if
                                means "valuable papers and records" that are                            the abrupt collapse occurs during the
                                your property or property of others in your care,                       course of the construction, remodeling or
                                custody or control.                                                     renovation.
                             2. Property Not Covered                                               (4) Use of defective material or methods in
                                Covered Property does not include:                                      construction, remodeling or renovation if
                                                                                                        the abrupt collapse occurs after the
                                a. Property not specifically declared and
                                                                                                        construction, remodeling or renovation is
                                   described in the Declarations if such property
                                                                                                        complete, but only if the collapse is
                                   cannot be replaced with other property of like
                                                                                                        caused in part by:
                                   kind and quality;
                                                                                                       (a) A cause of loss listed in Paragraph (1)
                                b. Property held as samples or for delivery after
                                                                                                            or (2);
                                   sale;
                                                                                                      (b) One or more of the following causes of
                                c. Property in storage away from the "premises"
                                                                                                          loss: Fire; lightning; windstorm; hail;
                                   shown in the Declarations; or
                                                                                                          explosion; smoke; aircraft; vehicles;
                                d. Contraband, or property in the course of                               riot; civil commotion; vandalism;
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                                   illegal transportation or trade.                                       leakage from fire extinguishing
                             3. Covered Causes Of Loss                                                    equipment; sinkhole collapse; volcanic
                                                                                                          action; breakage of building glass;
                                Covered Causes of Loss means Direct Physical                              falling objects; weight of snow, ice or
                                Loss Or Damage to Covered Property except                                 sleet; water damage; earthquake; all
                                those causes of loss listed in the Exclusions.                            only as insured against in this
                             4. Additional Coverage – Collapse                                            coverage form;
                                 The coverage provided under this Additional                          (c) Weight of people or personal property;
                                 Coverage – Collapse applies only to an abrupt                            or
                                 collapse as described and limited in Paragraphs                      (d) Weight of rain that collects on a roof.
                                 a. through c.
                                                                                                c. This Additional Coverage – Collapse will not
                                 a. For the purpose of this Additional Coverage –                  increase the Limits of Insurance provided in
                                    Collapse, abrupt collapse means an abrupt                      this coverage form.
                                    falling down or caving in of a building or any
                                    part of a building with the result that the
                                    building or part of the building cannot be
                                    occupied for its intended purpose.




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   5. Coverage Extensions                                               (2) Warlike action by a military force, including
      a. Removal                                                             action in hindering or defending against an
                                                                             actual or expected attack, by any
          If you give us written notice within 10 days of                    government, sovereign or other authority
          removal of your "valuable papers and                               using military personnel or other agents;
          records" because of imminent danger of loss                        or
          or damage, we will pay for loss or damage
          while it is:                                                  (3) Insurrection, rebellion, revolution, usurped
                                                                             power, or action taken by governmental
         (1) At a safe place away from your                                  authority in hindering or defending against
              "premises"; or                                                 any of these.
         (2) Being taken to and returned from that                   Exclusions B.1.a. through B.1.c. apply whether or
              place.                                                 not the loss event results in widespread damage
         This Coverage Extension is included within                  or affects a substantial area.
         the Limits of Insurance applicable to the                2. We will not pay for loss or damage caused by or
         "premises" from which the Covered Property                  resulting from any of the following:
         is removed.
                                                                     a. Delay, loss of use, loss of market or any other
      b. Away From Your Premises                                        consequential loss.
          We will pay up to $5,000 for loss or damage                b. Dishonest or criminal act committed by:
          to Covered Property while it is away from your
          "premises."                                                   (1) You, any of your partners, employees,
                                                                            directors,      trustees,  or   authorized
          But if a higher Limit of Insurance is specified                   representatives;
          in the Declarations, the higher limit will apply.
                                                                        (2) A manager or a member if you are a
         The limit for this Coverage Extension is                           limited liability company;
         additional insurance.
                                                                        (3) Anyone else with an interest in the
B. Exclusions                                                               property, or their employees or authorized
   1. We will not pay for loss or damage caused                             representatives; or
      directly or indirectly by any of the following. Such              (4) Anyone else to whom the property is
      loss or damage is excluded regardless of any                          entrusted for any purpose.
      other cause or event that contributes concurrently
      or in any sequence to the loss.                                    This exclusion applies whether or not such
                                                                         persons are acting alone or in collusion with
       a. Governmental Action                                            other persons or such acts occur during the
          Seizure or destruction of property by order of                 hours of employment.
          governmental authority.                                        This exclusion does not apply to Covered
         But we will pay for loss or damage caused by                    Property that is entrusted to others who are
         or resulting from acts of destruction ordered                   carriers for hire or to acts of destruction by
         by governmental authority and taken at the                      your employees. But theft by employees is not
         time of a fire to prevent its spread if the fire                covered.
         would be covered under this coverage form.                   c. Errors or omissions in processing or copying.
      b. Nuclear Hazard                                                  But if errors or omissions in processing or
          Nuclear reaction or radiation, or radioactive                  copying result in fire or explosion, we will pay
          contamination, however caused.                                 for the direct loss or damage caused by that
                                                                         fire or explosion if the fire or explosion would
         But if nuclear reaction or radiation, or
                                                                         be covered under this coverage form.
         radioactive contamination results in fire, we
         will pay for the direct loss or damage caused                d. Electrical or magnetic injury, disturbance or
         by that fire if the fire would be covered under                 erasure of electronic recordings.
         this coverage form.                                             But we will pay for direct loss or damage
      c. War And Military Action                                         caused by lightning.
         (1) War, including undeclared or civil war;                  e. Voluntary parting with any property by you or
                                                                         anyone entrusted with the property if induced
                                                                         to do so by any fraudulent scheme, trick,
                                                                         device or false pretense.




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                                f. Unauthorized instructions to transfer property                  This Exclusion, d., does not apply to the
                                   to any person or to any place.                                  extent that coverage is provided under the
                                g. Neglect of an insured to use all reasonable                     Additional Coverage – Collapse or to collapse
                                   means to save and preserve property from                        caused by one or more of the following: Fire;
                                   further damage at and after the time of loss.                   lightning; windstorm; hail; explosion; smoke;
                                                                                                   aircraft; vehicles; riot; civil commotion;
                             3. We will not pay for loss or damage caused by or                    vandalism; leakage from fire extinguishing
                                resulting from any of the following. But if loss or                equipment; sinkhole collapse; volcanic action;
                                damage by a Covered Cause of Loss results, we                      breakage of building glass; falling objects;
                                will pay for the loss or damage caused by that                     weight of snow, ice or sleet; water damage;
                                Covered Cause of Loss.                                             earthquake; weight of people or personal
                                a. Weather conditions. But this exclusion only                     property; weight of rain that collects on a roof.
                                    applies if weather conditions contribute in any           e. Wear and tear, any quality in the property that
                                    way with a cause or event excluded in                         causes it to damage or destroy itself, gradual
                                    Paragraph 1. above to produce the loss or                     deterioration; insects, vermin or rodents.
                                    damage.
                                                                                        C. Limits Of Insurance
                                b. Acts or decisions, including the failure to act
                                    or decide, of any person, group, organization          The most we will pay for loss or damage in any one
                                    or governmental body.                                  occurrence is the applicable Limit of Insurance
                                                                                           shown in the Declarations.
                                c. Faulty, inadequate or defective:
                                                                                        D. Deductible
                                   (1) Planning, zoning, development, surveying,
                                       siting;                                             We will not pay for loss or damage in any one
                                                                                           occurrence until the amount of the adjusted loss or
                                   (2) Design, specifications, workmanship,                damage before applying the applicable Limits of
                                       repair,     construction,     renovation,           Insurance exceeds the Deductible shown in the
                                       remodeling, grading, compaction;                    Declarations. We will then pay the amount of the
                                   (3) Materials used in repair, construction,             adjusted loss or damage in excess of the Deductible,
                                       renovation or remodeling; or                        up to the applicable Limit of Insurance.
                                   (4) Maintenance;                                     E. Additional Conditions
                                    of part or all of any property wherever located.        1. Valuation – Specifically Declared Items
                                d. Collapse, including any of the following                    The following is added to General Condition F.
                                    conditions of property or any part of the                  Valuation in the Commercial Inland Marine
                                    property:                                                  Conditions:
                                   (1) An abrupt falling down or caving in;                    The value of each item of property that is
                                                                                               specifically declared and described in the
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                                   (2) Loss of structural integrity, including
                                                                                               Declarations is the applicable Limit of Insurance
                                       separation of parts of the property or
                                                                                               shown in the Declarations for that item.
                                       property in danger of falling down or
                                       caving in; or                                        2. Recoveries
                                   (3) Any cracking, bulging, sagging, bending,                The following is added to Loss Condition H.
                                       leaning, settling, shrinking or expansion as            Recovered Property in the Commercial Inland
                                       such condition relates to Paragraph (1) or              Marine Conditions:
                                       (2).                                                    If either you or we recover any property after loss
                                                                                               settlement, that party must give the other prompt
                                                                                               notice. At your option, the property will be
                                                                                               returned to you. If so, your loss or damage will be
                                                                                               readjusted based on the amount you received for
                                                                                               the property recovered, with allowance for
                                                                                               recovery expenses incurred.




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   3. The following conditions apply in addition to the      F. Definitions
      Commercial Inland Marine Conditions and the               1. "Valuable papers and records" means inscribed,
      Common Policy Conditions:                                    printed or written documents, manuscripts or
      a. Coverage Territory                                        records, including abstracts, books, deeds,
          We cover property:                                       drawings, films, maps or mortgages.
         (1) Within your "premises"; and                           But "valuable papers and records" does not mean
                                                                   "money" or "securities," converted data, programs
         (2) Away from your "premises" while in transit            or instructions used in your data processing
              or within premises of others if those                operations, including the materials on which the
              premises are located or the transit is               data is recorded.
              within:
                                                                2. "Premises" means that interior portion of the
             (a) The United States of America                      building at the address shown in the Declarations
                  (including    its territories    and             that you occupy for your business.
                  possessions);
                                                                3. "Money" means:
             (b) Puerto Rico; and
                                                                    a. Currency, coins and bank notes whether or
              (c) Canada.                                              not in current use; and
      b. Protection Of Records                                      b. Travelers checks, register checks and money
         Whenever you are not open for business, and                   orders held for sale to the public.
         except while you are actually using the                4. "Securities" means negotiable and non-
         property, you must keep all "valuable papers              negotiable instruments or contracts representing
         and records" in receptacles that are described            either "money" or other property and includes:
         in the Declarations.
                                                                   a. Tokens, tickets, revenue and other stamps
                                                                       whether or not in current use; and
                                                                   b. Evidences of debt issued in connection with
                                                                       credit or charge cards, which cards are not of
                                                                       your own issue;
                                                                   but does not include "money."




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              your acts or because you have failed to              4.   If we do not renew this policy, we will give written
              comply with the terms of this Coverage Form:              notice to the Loss Payee at least 10 days before
                                                                        the expiration date of this policy.
              (1) The Loss Payee’s rights will be
                  transferred to us to the extent of the         D. CONTRACT OF SALE
                  amount we pay; and
                                                                   1.   The Loss Payee shown in the Schedule is a
              (2) The Loss Payee’s rights to recover the full           person or organization you have entered a
                  amount of the Loss Payee’s claim will not             contract with for the sale of Covered Property.
                  be impaired.
                                                                   2.   For Covered Property in which both you and the
                  At our option, we may pay to the Loss                 Loss Payee have an insurable interest we will:
                  Payee the whole principle on the debt
                                                                        a.   Adjust losses with you; and
                  plus any accrued interest. In this event,
                  you will pay your remaining debt to us.               b. Pay any claim for loss or damage jointly to
    3.   If we cancel this policy, we will give written notice             you and the Loss Payee, as interests may
         to the Loss Payee at least:                                       appear.

         a.                                                        3.   The following is added under the Loss Condition
              10 days before the effective date of
              cancellation if we cancel for your non-                   section of the Commercial Inland Marine
              payment of premium; or                                    Conditions, Paragraph F. – Other Insurance:

         b. 30 days before the effective date of                        For Covered Property that is the subject of a
            cancellation if we cancel for any other reason.             contract of sale, the word “you” includes the Loss
                                                                        Payee.




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                                                                                                                            CNA PARAMOUNT
                                                                                       Commercial General Liability Coverage Part

                          Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
                          and is not covered.
                          Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, and any other
                          person or organization qualifying as a Named Insured under this policy. The words "we", "us" and "our" refer to the
                          company providing this insurance.
                          The word Insured means any person or organization qualifying as such under Section II – Who Is An Insured.
                          Other words and phrases that appear in bold have special meaning. Refer to Section V – Definitions.
                          SECTION I – COVERAGES
                          COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY
                          1.   Insuring Agreement
                               a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of bodily injury
                                    or property damage to which this insurance applies. We will have the right and duty to defend the Insured
                                    against any suit seeking those damages. However, we will have no duty to defend the Insured against any suit
                                    seeking damages for bodily injury or property damage to which this insurance does not apply. We may, at our
                                    discretion, investigate any occurrence and settle any claim or suit that may result. But:
                                    (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                    (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the payment of
                                        judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                    under Supplementary Payments – Coverages A and B.
                               b. This insurance applies to bodily injury and property damage only if:
                                    (1) The bodily injury or property damage is caused by an occurrence that takes place in the coverage
                                        territory;
                                    (2) The bodily injury or property damage occurs during the policy period; and
                                    (3) Prior to the policy period, no Insured listed under Paragraph 1. of Section II – Who Is An Insured and no
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                                        employee authorized by you to give or receive notice of an occurrence or claim, knew that the bodily injury
                                        or property damage had occurred, in whole or in part. If such a listed Insured or authorized employee knew,
                                        prior to the policy period, that the bodily injury or property damage occurred, then any continuation,
                                        change or resumption of such bodily injury or property damage during or after the policy period will be
                                        deemed to have been known prior to the policy period.
                               c.   Bodily injury or property damage which occurs during the policy period and was not, prior to the policy
                                    period, known to have occurred by any Insured listed under Paragraph 1. of Section II – Who Is An Insured or
                                    any employee authorized by you to give or receive notice of an occurrence or claim, includes any continuation,
                                    change or resumption of that bodily injury or property damage after the end of the policy period.
                               d. Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time
                                  when any Insured listed under Paragraph 1. of Section II – Who Is An Insured or any employee authorized by
                                  you to give or receive notice of an occurrence or claim:
                                    (1) Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
                                    (2) Receives a written or verbal demand or claim for damages because of the bodily injury or property
                                        damage; or
                                    (3) Becomes aware by any other means that bodily injury or property damage has occurred or has begun to
                                        occur.

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                                                             Commercial General Liability Coverage Part

     e.   Damages because of bodily injury include damages claimed by any person or organization for care, loss of
          services or death resulting at any time from the bodily injury.
2.   Exclusions
     This insurance does not apply to:
     a.   Expected Or Intended Injury
          Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does
          not apply to bodily injury resulting from the use of reasonable force to protect persons or property.
     b. Contractual Liability
          Bodily injury or property damage for which the Insured is obligated to pay damages by reason of the
          assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:
          (1) That the Insured would have in the absence of the contract or agreement; or
          (2) Assumed in a contract or agreement that is an Insured contract, provided the bodily injury or property
              damage occurs subsequent to the execution of the contract or agreement. Solely for the purposes of liability
              assumed in an Insured contract, reasonable attorneys' fees and necessary litigation expenses incurred by or
              for a party other than an Insured are deemed to be damages because of bodily injury or property damage,
              provided:
              (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in the same
                  Insured contract; and
              (b) Such attorneys' fees and litigation expenses are for defense of that party against a civil or alternative
                  dispute resolution proceeding in which damages to which this insurance applies are alleged.
     c.   Liquor Liability
          Bodily injury or property damage for which any Insured may be held liable by reason of:
          (1) Causing or contributing to the intoxication of any person;
          (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of
              alcohol; or
          (3) Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages.
          This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in:
              (a) The supervision, hiring, employment, training or monitoring of others by that Insured; or
              (b) Providing or failing to provide transportation with respect to any person that may be under the influence of
                  alcohol;
          if the occurrence which caused the bodily injury or property damage, involved that which is described in
          Paragraph (1), (2) or (3) above.
          However, this exclusion applies only if you are in the business of manufacturing, distributing, selling, serving or
          furnishing alcoholic beverages. For the purposes of this exclusion, permitting a person to bring alcoholic
          beverages on your premises, for consumption on your premises, whether or not a fee is charged or a license is
          required for such activity, is not by itself considered the business of selling, serving or furnishing alcoholic
          beverages.
     d. Workers' Compensation And Similar Laws
          Any obligation of the Insured under a workers' compensation, disability benefits or unemployment compensation
          law or any similar law.



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                             e.   Employer's Liability
                                  Bodily injury to:
                                  (1) An employee of the Insured arising out of and in the course of:
                                      (a) Employment by the Insured; or
                                      (b) Performing duties related to the conduct of the Insured's business; or
                                  (2) The spouse, child, parent, brother or sister of that employee as a consequence of Paragraph (1) above.
                                  This exclusion applies whether the Insured may be liable as an employer or in any other capacity and to any
                                  obligation to share damages with or repay someone else who must pay damages because of the injury.
                                  This exclusion does not apply to liability assumed by the Insured under an Insured contract.
                             f.   Pollution
                                  (1) Bodily injury or property damage arising out of the actual, alleged or threatened discharge, dispersal,
                                      seepage, migration, release or escape of pollutants:
                                      (a) At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
                                          loaned to, any Insured. However, this subparagraph does not apply to:
                                          (i) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by
                                              or originating from equipment that is used to heat, cool or dehumidify the building, or equipment that
                                              is used to heat water for personal use, by the building's occupants or their guests;
                                          (ii) Bodily injury or property damage for which you may be held liable, if you are a contractor and the
                                               owner or lessee of such premises, site or location has been added to your policy as an additional
                                               Insured with respect to your ongoing operations performed for that additional Insured at that
                                               premises, site or location and such premises, site or location is not and never was owned or
                                               occupied by, or rented or loaned to, any Insured, other than that additional Insured; or
                                          (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
                                      (b) At or from any premises, site or location which is or was at any time used by or for any Insured or others
                                          for the handling, storage, disposal, processing or treatment of waste;
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                                      (c) Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste
                                          by or for:
                                          (i) Any Insured; or
                                          (ii) Any person or organization for whom you may be legally responsible; or
                                      (d) At or from any premises, site or location on which any Insured or any contractors or subcontractors
                                          working directly or indirectly on any Insured's behalf are performing operations if the pollutants are
                                          brought on or to the premises, site or location in connection with such operations by such Insured,
                                          contractor or subcontractor. However, this subparagraph does not apply to:
                                          (i) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating
                                              fluids which are needed to perform the normal electrical, hydraulic or mechanical functions
                                              necessary for the operation of mobile equipment or its parts, if such fuels, lubricants or other
                                              operating fluids escape from a vehicle part designed to hold, store or receive them. This exception
                                              does not apply if the bodily injury or property damage arises out of the intentional discharge,
                                              dispersal or release of the fuels, lubricants or other operating fluids, or if such fuels, lubricants or
                                              other operating fluids are brought on or to the premises, site or location with the intent that they be
                                              discharged, dispersed or released as part of the operations being performed by such Insured,
                                              contractor or subcontractor;


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               (ii) Bodily injury or property damage sustained within a building and caused by the release of gases,
                    fumes or vapors from materials brought into that building in connection with operations being
                    performed by you or on your behalf by a contractor or subcontractor; or
               (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
          (e) At or from any premises, site or location on which any Insured or any contractors or subcontractors
              working directly or indirectly on any Insured's behalf are performing operations if the operations are to
              test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
              assess the effects of, pollutants.
      (2) Any loss, cost or expense arising out of any:
          (a) Request, demand, order or statutory or regulatory requirement that any Insured or others test for,
              monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
              effects of, pollutants; or
          (b) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
              cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
              assessing the effects of, pollutants.
          However, this paragraph does not apply to liability for damages because of property damage that the
          Insured would have in the absence of such request, demand, order or statutory or regulatory requirement, or
          such claim or suit by or on behalf of a governmental authority.
   g. Aircraft, Auto Or Watercraft
      Bodily injury or property damage arising out of the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft owned or operated by or rented or loaned to any Insured. Use includes operation and
      loading or unloading.
      This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in the
      supervision, hiring, employment, training or monitoring of others by that Insured, if the occurrence which caused
      the bodily injury or property damage involved the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft that is owned or operated by or rented or loaned to any Insured.
      This exclusion does not apply to:
      (1) A watercraft while ashore on premises you own or rent;
      (2) A watercraft you do not own that is:
          (a) Less than 26 feet long; and
          (b) Not being used to carry persons or property for a charge;
      (3) Parking an auto on, or on the ways next to, premises you own or rent, provided the auto is not owned by or
          rented or loaned to you or the Insured;
      (4) Liability assumed under any Insured contract for the ownership, maintenance or use of aircraft or watercraft;
          or
      (5) Bodily injury or property damage arising out of:
          (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would qualify
              under the definition of mobile equipment if it were not subject to a compulsory or financial responsibility
              law or other motor vehicle insurance law where it is licensed or principally garaged; or
          (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition of
              mobile equipment.



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                             h. Mobile Equipment
                                  Bodily injury or property damage arising out of:
                                  (1) The transportation of mobile equipment by an auto owned or operated by or rented or loaned to any
                                      Insured; or
                                  (2) The use of mobile equipment in, or while in practice for, or while being prepared for, any prearranged racing,
                                      speed, demolition, or stunting activity.
                             i.   War
                                  Bodily injury or property damage, however caused, arising, directly or indirectly, out of:
                                  (1) War, including undeclared or civil war;
                                  (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
                                      attack, by any government, sovereign or other authority using military personnel or other agents; or
                                  (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
                                      defending against any of these.
                             j.   Damage To Property
                                  Property damage to:
                                  (1) Property you own, rent, or occupy, including any costs or expenses incurred by you, or any other person,
                                      organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property for
                                      any reason, including prevention of injury to a person or damage to another's property;
                                  (2) Premises you sell, give away or abandon, if the property damage arises out of any part of those premises;
                                  (3) Property loaned to you;
                                  (4) Personal property in the care, custody or control of the Insured;
                                  (5) That particular part of real property on which you or any contractors or subcontractors working directly or
                                      indirectly on your behalf are performing operations, if the property damage arises out of those operations; or
                                  (6) That particular part of any property that must be restored, repaired or replaced because your work was
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                                      incorrectly performed on it.
                                  Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
                                  premises, including the contents of such premises, rented to you for a period of seven or fewer consecutive days.
                                  A separate limit of insurance applies to Damage To Premises Rented To You as described in Section III – Limits
                                  Of Insurance.
                                  Paragraph (2) of this exclusion does not apply if the premises are your work and were never occupied, rented or
                                  held for rental by you.
                                  Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack agreement.
                                  Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
                                  operations hazard.
                             k.   Damage To Your Product
                                  Property damage to your product arising out of it or any part of it.
                             l.   Damage To Your Work
                                  Property damage to your work arising out of it or any part of it and included in the products-completed
                                  operations hazard.


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       This exclusion does not apply if the damaged work or the work out of which the damage arises was performed on
       your behalf by a subcontractor.
   m. Damage To Impaired Property Or Property Not Physically Injured
       Property damage to impaired property or property that has not been physically injured, arising out of:
       (1) A defect, deficiency, inadequacy or dangerous condition in your product or your work; or
       (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
           with its terms.
       This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
       injury to your product or your work after it has been put to its intended use.
   n. Recall Of Products, Work Or Impaired Property
       Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
       inspection, repair, replacement, adjustment, removal or disposal of:
       (1) Your product;
       (2) Your work; or
       (3) Impaired property;
       if such product, work, or property is withdrawn or recalled from the market or from use by any person or
       organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in it.
   o. Personal And Advertising Injury
       Bodily injury arising out of personal and advertising injury.
   p. Electronic Data
       Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to
       manipulate electronic data.
       However, this exclusion does not apply to liability for damages because of bodily injury.
       As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
       on, or transmitted to or from computer software, including systems and applications software, hard or floppy disks,
       CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically
       controlled equipment.
   q. Recording And Distribution Of Material Or Information In Violation Of Law
       Bodily injury or property damage arising directly or indirectly out of any action or omission that violates or is
       alleged to violate:
       (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
           Accurate Credit Transactions Act (FACTA); or
       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
           FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
           disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
   Exclusions c. through n. do not apply to damage by fire to premises while rented to you or temporarily occupied by
   you with permission of the owner. A separate limit of insurance applies to this coverage as described in Section III –
   Limits Of Insurance.


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                          COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY
                          1.   Insuring Agreement
                               a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of personal and
                                    advertising injury to which this insurance applies. We will have the right and duty to defend the Insured against
                                    any suit seeking those damages. However, we will have no duty to defend the Insured against any suit seeking
                                    damages for personal and advertising injury to which this insurance does not apply. We may, at our discretion,
                                    investigate any offense and settle any claim or suit that may result. But:
                                    (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                    (2) Our right and duty to defend end when we have used up the applicable limit of insurance in the payment of
                                        judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                    No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                    under Supplementary Payments – Coverages A and B.
                               b. This insurance applies to personal and advertising injury caused by an offense arising out of your business but
                                  only if the offense was committed in the coverage territory during the policy period.
                          2.   Exclusions
                               This insurance does not apply to:
                               a.   Knowing Violation Of Rights Of Another
                                    Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                    would violate the rights of another and would inflict personal and advertising injury.
                               b. Material Published With Knowledge Of Falsity
                                    Personal and advertising injury arising out of oral or written publication, in any manner, of material, if done by or
                                    at the direction of the Insured with knowledge of its falsity.
                               c.   Material Published Prior To Policy Period
                                    Personal and advertising injury arising out of oral or written publication, in any manner, of material whose first
                                    publication took place before the beginning of the policy period.
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                               d. Criminal Acts
                                    Personal and advertising injury arising out of a criminal act committed by or at the direction of the Insured.
                               e.   Contractual Liability
                                    Personal and advertising injury for which the Insured has assumed liability in a contract or agreement. This
                                    exclusion does not apply to liability for damages that the Insured would have in the absence of the contract or
                                    agreement.
                               f.   Breach Of Contract
                                    Personal and advertising injury arising out of a breach of contract, except an implied contract to use another's
                                    advertising idea in your advertisement.
                               g. Quality Or Performance Of Goods – Failure To Conform To Statements
                                    Personal and advertising injury arising out of the failure of goods, products or services to conform with any
                                    statement of quality or performance made in your advertisement.
                               h. Wrong Description Of Prices
                                    Personal and advertising injury arising out of the wrong description of the price of goods, products or services
                                    stated in your advertisement.

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                                                                                                CNA PARAMOUNT
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   i.   Infringement Of Copyright, Patent, Trademark Or Trade Secret
        Personal and advertising injury arising out of the infringement of copyright, patent, trademark, trade secret or
        other intellectual property rights. Under this exclusion, such other intellectual property rights do not include the
        use of another's advertising idea in your advertisement.
        However, this exclusion does not apply to infringement, in your advertisement, of copyright, trade dress or
        slogan.
   j.   Insureds In Media And Internet Type Businesses
        Personal and advertising injury committed by an Insured whose business is:
        (1) Advertising, broadcasting, publishing or telecasting;
        (2) Designing or determining content of web sites for others; or
        (3) An Internet search, access, content or service provider.
        However, this exclusion does not apply to Paragraphs 14.a., b. and c. of personal and advertising injury under
        the Definitions section.
        For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
        anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or
        telecasting.
   k.   Electronic Chatrooms Or Bulletin Boards
        Personal and advertising injury arising out of an electronic chatroom or bulletin board the Insured hosts, owns,
        or over which the Insured exercises control.
   l.   Unauthorized Use Of Another's Name Or Product
        Personal and advertising injury arising out of the unauthorized use of another's name or product in your e-mail
        address, domain name or metatag, or any other similar tactics to mislead another's potential customers.
   m. Pollution
        Personal and advertising injury arising out of the actual, alleged or threatened discharge, dispersal, seepage,
        migration, release or escape of pollutants at any time.
   n. Pollution-related
        Any loss, cost or expense arising out of any:
        (1) Request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor,
            clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
            pollutants; or
        (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
            cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
            assessing the effects of, pollutants.
   o. War
        Personal and advertising injury, however caused, arising, directly or indirectly, out of:
        (1) War, including undeclared or civil war;
        (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
            attack, by any government, sovereign or other authority using military personnel or other agents; or
        (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
            defending against any of these.

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                                                                                       Commercial General Liability Coverage Part

                               p. Recording And Distribution Of Material Or Information In Violation Of Law
                                    Personal and advertising injury arising directly or indirectly out of any action or omission that violates or is
                                    alleged to violate:
                                    (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
                                    (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
                                    (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
                                        Accurate Credit Transactions Act (FACTA); or
                                    (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
                                        FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
                                        disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
                          COVERAGE C – MEDICAL PAYMENTS
                          1.   Insuring Agreement
                               a.   We will pay medical expenses as described below for bodily injury caused by an accident:
                                    (1) On premises you own or rent;
                                    (2) On ways next to premises you own or rent; or
                                    (3) Because of your operations;
                                    provided that:
                                        (a) The accident takes place in the coverage territory and during the policy period;
                                        (b) The expenses are incurred and reported to us within one year of the date of the accident; and
                                        (c) The injured person submits to examination, at our expense, by physicians of our choice as often as we
                                            reasonably require.
                               b. We will make these payments regardless of fault. These payments will not exceed the applicable limit of
                                  insurance. We will pay reasonable expenses for:
                                    (1) First aid administered at the time of an accident;
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                                    (2) Necessary medical, surgical, X-ray and dental services, including prosthetic devices; and
                                    (3) Necessary ambulance, hospital, professional nursing and funeral services.
                          2.   Exclusions
                               We will not pay expenses for bodily injury:
                               a.   Any Insured
                                    To any Insured, except volunteer workers.
                               b. Hired Person
                                    To a person hired to do work for or on behalf of any Insured or a tenant of any Insured.
                               c.   Injury On Normally Occupied Premises
                                    To a person injured on that part of premises you own or rent that the person normally occupies.
                               d. Workers' Compensation And Similar Laws
                                    To a person, whether or not an employee of any Insured, if benefits for the bodily injury are payable or must be
                                    provided under a workers' compensation or disability benefits law or a similar law.


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     e.   Athletics Activities
          To a person injured while practicing, instructing or participating in any physical exercises or games, sports, or
          athletic contests.
     f.   Products-Completed Operations Hazard
          Included within the products-completed operations hazard.
     g. Coverage A Exclusions
          Excluded under Coverage A.
SUPPLEMENTARY PAYMENTS – COVERAGES A AND B
1.   We will pay, with respect to any claim we investigate or settle, or any suit against an Insured we defend:
     a.   All expenses we incur.
     b. Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising out of the use of
        any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.
     c.   The cost of bonds to release attachments, but only for bond amounts within the applicable limit of insurance. We
          do not have to furnish these bonds.
     d. All reasonable expenses incurred by the Insured at our request to assist us in the investigation or defense of the
        claim or suit, including actual loss of earnings up to $250 a day because of time off from work.
     e.   All court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
          attorneys' expenses taxed against the Insured.
     f.   Prejudgment interest awarded against the Insured on that part of the judgment we pay. If we make an offer to pay
          the applicable limit of insurance, we will not pay any prejudgment interest based on that period of time after the
          offer.
     g. All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
        offered to pay, or deposited in court the part of the judgment that is within the applicable limit of insurance.
     These payments will not reduce the limits of insurance.
2.   If we defend an Insured against a suit and an indemnitee of the Insured is also named as a party to the suit, we will
     defend that indemnitee if all of the following conditions are met:
     a.   The suit against the indemnitee seeks damages for which the Insured has assumed the liability of the
          indemnitee in a contract or agreement that is an Insured contract;
     b. This insurance applies to such liability assumed by the Insured;
     c.   The obligation to defend, or the cost of the defense of, that indemnitee, has also been assumed by the Insured in
          the same Insured contract;
     d. The allegations in the suit and the information we know about the occurrence are such that no conflict appears
        to exist between the interests of the Insured and the interests of the indemnitee;
     e.   The indemnitee and the Insured ask us to conduct and control the defense of that indemnitee against such suit
          and agree that we can assign the same counsel to defend the Insured and the indemnitee; and
     f.   The indemnitee:
          (1) Agrees in writing to:
              (a) Cooperate with us in the investigation, settlement or defense of the suit;
              (b) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                  with the suit;

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                                        (c) Notify any other insurer whose coverage is available to the indemnitee; and
                                        (d) Cooperate with us with respect to coordinating other applicable insurance available to the indemnitee;
                                            and
                                    (2) Provides us with written authorization to:
                                        (a) Obtain records and other information related to the suit; and
                                        (b) Conduct and control the defense of the indemnitee in such suit.
                               So long as the above conditions are met, attorneys' fees incurred by us in the defense of that indemnitee, necessary
                               litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at our request will be
                               paid as Supplementary Payments. Notwithstanding the provisions of Paragraph 2.b.(2) of Section I – Coverage A –
                               Bodily Injury And Property Damage Liability, such payments will not be deemed to be damages for bodily injury
                               and property damage and will not reduce the limits of insurance.
                               Our obligation to defend an Insured's indemnitee and to pay for attorneys' fees and necessary litigation expenses as
                               Supplementary Payments ends when we have used up the applicable limit of insurance in the payment of judgments
                               or settlements or the conditions set forth above, or the terms of the agreement described in Paragraph f. above, are
                               no longer met.
                          SECTION II – WHO IS AN INSURED
                          1.   If you are designated in the Declarations as:
                               a.   An individual, you and your spouse are Insureds, but only with respect to the conduct of a business of which you
                                    are the sole owner.
                               b. A partnership or joint venture, you are an Insured. Your members, your partners, and their spouses are also
                                  Insureds, but only with respect to the conduct of your business.
                               c.   A limited liability company, you are an Insured. Your members are also Insureds, but only with respect to the
                                    conduct of your business. Your managers are Insureds, but only with respect to their duties as your managers.
                               d. An organization other than a partnership, joint venture or limited liability company, you are an Insured. Your
                                  executive officers and directors are Insureds, but only with respect to their duties as your officers or directors.
                                  Your stockholders are also Insureds, but only with respect to their liability as stockholders.
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                               e.   A trust, you are an Insured. Your trustees are also Insureds, but only with respect to their duties as trustees.
                          2.   Each of the following is also an Insured:
                               a.   Your volunteer workers only while performing duties related to the conduct of your business, or your
                                    employees, other than either your executive officers (if you are an organization other than a partnership, joint
                                    venture or limited liability company) or your managers (if you are a limited liability company), but only for acts
                                    within the scope of their employment by you or while performing duties related to the conduct of your business.
                                    However, none of these employees or volunteer workers are Insureds for:
                                    (1) Bodily injury or personal and advertising injury:
                                        (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if you
                                            are a limited liability company), to a co-employee while in the course of his or her employment or
                                            performing duties related to the conduct of your business, or to your other volunteer workers while
                                            performing duties related to the conduct of your business;
                                        (b) To the spouse, child, parent, brother or sister of that co-employee or volunteer worker as a
                                            consequence of Paragraph (1)(a) above;
                                        (c) For which there is any obligation to share damages with or repay someone else who must pay damages
                                            because of the injury described in Paragraph (1)(a) or (b) above; or
                                    (d) Arising out of his or her providing or failing to provide professional health care services.
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          (2) Property damage to property:
              (a) Owned, occupied or used by;
              (b) Rented to, in the care, custody or control of, or over which physical control is being exercised for any
                  purpose by;
              you, any of your employees, volunteer workers, any partner or member (if you are a partnership or joint
              venture), or any member (if you are a limited liability company).
     b. Any person (other than your employee or volunteer worker), or any organization while acting as your real estate
        manager.
     c.   Any person or organization having proper temporary custody of your property if you die, but only:
          (1) With respect to liability arising out of the maintenance or use of that property; and
          (2) Until your legal representative has been appointed.
     d. Your legal representative if you die, but only with respect to duties as such. That representative will have all your
        rights and duties under this Coverage Part.
3.   Any organization you newly acquire or form, other than a partnership, joint venture or limited liability company, and
     over which you maintain ownership or majority interest, will qualify as a Named Insured if there is no other similar
     insurance available to that organization. However:
     a.   Coverage under this provision is afforded only until the 90th day after you acquire or form the organization or the
          end of the policy period, whichever is earlier;
     b. Coverage A does not apply to bodily injury or property damage that occurred before you acquired or formed the
        organization; and
     c.   Coverage B does not apply to personal and advertising injury arising out of an offense committed before you
          acquired or formed the organization.
No person or organization is an Insured with respect to the conduct of any current or past partnership, joint venture or
limited liability company that is not shown as a Named Insured in the Declarations.
SECTION III – LIMITS OF INSURANCE
1.   The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of the
     number of:
     a.   Insureds;
     b. Claims made or suits brought; or
     c.   Persons or organizations making claims or bringing suits.
2.   The General Aggregate Limit is the most we will pay for the sum of:
     a.   Medical expenses under Coverage C;
     b. Damages under Coverage A, except damages because of bodily injury or property damage included in the
        products-completed operations hazard; and
     c.   Damages under Coverage B.
3.   The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for damages
     because of bodily injury and property damage included in the products-completed operations hazard.
4.   Subject to Paragraph 2. above, the Personal And Advertising Injury Limit is the most we will pay under Coverage B for
     the sum of all damages because of all personal and advertising injury sustained by any one person or organization.


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                          5. Subject to Paragraph 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we will pay for the sum
                             of:
                               a.   Damages under Coverage A; and
                               b. Medical expenses under Coverage C
                               because of all bodily injury and property damage arising out of any one occurrence.
                          6.   Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
                               Coverage A for damages because of property damage to any one premises, while rented to you, or in the case of
                               damage by fire, while rented to you or temporarily occupied by you with permission of the owner.
                          7.   Subject to Paragraph 5. above, the Medical Expense Limit is the most we will pay under Coverage C for all medical
                               expenses because of bodily injury sustained by any one person.
                          The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to any remaining
                          period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
                          policy period is extended after issuance for an additional period of less than 12 months. In that case, the additional period
                          will be deemed part of the last preceding period for purposes of determining the Limits of Insurance.
                          SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
                          1.   Bankruptcy
                               Bankruptcy or insolvency of the Insured or of the Insured's estate will not relieve us of our obligations under this
                               Coverage Part.
                          2.   Duties In The Event Of Occurrence, Offense, Claim Or Suit
                               a.   You must see to it that we are notified as soon as practicable of an occurrence or an offense which may result in
                                    a claim. To the extent possible, notice should include:
                                    (1) How, when and where the occurrence or offense took place;
                                    (2) The names and addresses of any injured persons and witnesses; and
                                    (3) The nature and location of any injury or damage arising out of the occurrence or offense.
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                               b. If a claim is made or suit is brought against any Insured, you must:
                                    (1) Immediately record the specifics of the claim or suit and the date received; and
                                    (2) Notify us as soon as practicable.
                                    You must see to it that we receive written notice of the claim or suit as soon as practicable.
                               c.   You and any other involved Insured must:
                                    (1) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                                        with the claim or suit;
                                    (2) Authorize us to obtain records and other information;
                                    (3) Cooperate with us in the investigation or settlement of the claim or defense against the suit; and
                                    (4) Assist us, upon our request, in the enforcement of any right against any person or organization which may be
                                        liable to the Insured because of injury or damage to which this insurance may also apply.
                               d. No Insured will, except at that Insured's own cost, voluntarily make a payment, assume any obligation, or incur
                                  any expense, other than for first aid, without our consent.
                          3.   Legal Action Against Us
                               No person or organization has a right under this Coverage Part:

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                                                              Commercial General Liability Coverage Part

     a.   To join us as a party or otherwise bring us into a suit asking for damages from an Insured; or
     b. To sue us on this Coverage Part unless all of its terms have been fully complied with.
     A person or organization may sue us to recover on an agreed settlement or on a final judgment against an Insured;
     but we will not be liable for damages that are not payable under the terms of this Coverage Part or that are in excess
     of the applicable limit of insurance. An agreed settlement means a settlement and release of liability signed by us, the
     Insured and the claimant or the claimant's legal representative.
4.   Other Insurance
     If other valid and collectible insurance is available to the Insured for a loss we cover under Coverages A or B of this
     Coverage Part, our obligations are limited as follows:
     a.   Primary Insurance
          This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our obligations
          are not affected unless any of the other insurance is also primary. Then, we will share with all that other insurance
          by the method described in Paragraph c. below.
     b. Excess Insurance
          (1) This insurance is excess over:
              (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                  (i) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for your work;
                  (ii) That is Fire insurance for premises rented to you or temporarily occupied by you with permission of
                       the owner;
                  (iii) That is insurance purchased by you to cover your liability as a tenant for property damage to
                        premises rented to you or temporarily occupied by you with permission of the owner; or
                  (iv) If the loss arises out of the maintenance or use of aircraft, autos or watercraft to the extent not
                       subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability.
              (b) Any other primary insurance available to you covering liability for damages arising out of the premises or
                  operations, or the products and completed operations, for which you have been added as an additional
                  Insured.
          (2) When this insurance is excess, we will have no duty under Coverages A or B to defend the Insured against
              any suit if any other insurer has a duty to defend the Insured against that suit. If no other insurer defends,
              we will undertake to do so, but we will be entitled to the Insured's rights against all those other insurers.
          (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the loss, if
              any, that exceeds the sum of:
              (a) The total amount that all such other insurance would pay for the loss in the absence of this insurance;
                  and
              (b) The total of all deductible and self-Insured amounts under all that other insurance.
          (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
              Insurance provision and was not bought specifically to apply in excess of the Limits of Insurance shown in the
              Declarations of this Coverage Part.
     c.   Method Of Sharing
          If all of the other insurance permits contribution by equal shares, we will follow this method also. Under this
          approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of the
          loss remains, whichever comes first.


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                                    If any of the other insurance does not permit contribution by equal shares, we will contribute by limits. Under this
                                    method, each insurer's share is based on the ratio of its applicable limit of insurance to the total applicable limits
                                    of insurance of all insurers.
                          5.   Premium Audit
                               a.   We will compute all premiums for this Coverage Part in accordance with our rules and rates.
                               b. Premium shown in this Coverage Part as advance premium is a deposit premium only. At the close of each audit
                                  period we will compute the earned premium for that period and send notice to the First Named Insured. The due
                                  date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the advance
                                  and audit premiums paid for the policy period is greater than the earned premium, we will return the excess to
                                  the First Named Insured.
                               c.   The First Named Insured must keep records of the information we need for premium computation, and send us
                                    copies at such times as we may request.
                          6.   Representations
                               By accepting this policy, you agree:
                               a.   The statements in the Declarations are accurate and complete;
                               b. Those statements are based upon representations you made to us; and
                               c.   We have issued this policy in reliance upon your representations.
                          7.   Separation Of Insureds
                               Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this Coverage Part to
                               the First Named Insured, this insurance applies:
                               a.   As if each Named Insured were the only Named Insured; and
                               b. Separately to each Insured against whom claim is made or suit is brought.
                          8.   Transfer Of Rights Of Recovery Against Others To Us
                               If the Insured has rights to recover all or part of any payment we have made under this Coverage Part, those rights
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                               are transferred to us. The Insured must do nothing after loss to impair them. At our request, the Insured will bring suit
                               or transfer those rights to us and help us enforce them.
                          9.   When We Do Not Renew
                               If we decide not to renew this Coverage Part, we will mail or deliver to the First Named Insured shown in the
                               Declarations written notice of the nonrenewal not less than 30 days before the expiration date.
                               If notice is mailed, proof of mailing will be sufficient proof of notice.
                          SECTION V – DEFINITIONS
                          1.   Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                               your goods, products or services for the purpose of attracting customers or supporters. For the purposes of this
                               definition:
                               a.   Notices that are published include material placed on the Internet or on similar electronic means of
                                    communication; and
                               b. Regarding web sites, only that part of a web site that is about your goods, products or services for the purposes of
                                  attracting customers or supporters is considered an advertisement.
                          2.   Auto means:
                               a.
                                A land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached machinery or
                                equipment; or
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     b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
        insurance law where it is licensed or principally garaged.
     However, auto does not include mobile equipment.
3.   Bodily injury means bodily injury, sickness or disease sustained by a person, including death resulting from any of
     these at any time.
4.   Coverage territory means:
     a.   The United States of America (including its territories and possessions), Puerto Rico and Canada;
     b. International waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
        between any places included in Paragraph a. above; or
     c.   All other parts of the world if the injury or damage arises out of:
          (1) Goods or products made or sold by you in the territory described in Paragraph a. above;
          (2) The activities of a person whose home is in the territory described in Paragraph a. above, but is away for a
              short time on your business; or
          (3) Personal and advertising injury offenses that take place through the Internet or similar electronic means of
              communication;
          provided the Insured's responsibility to pay damages is determined in a suit on the merits, in the territory
          described in Paragraph a. above or in a settlement we agree to.
5.   Employee includes a leased worker. Employee does not include a temporary worker.
6.   Executive officer means a person holding any of the officer positions created by your charter, constitution, bylaws or
     any other similar governing document.
7.   Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
8.   Impaired property means tangible property, other than your product or your work, that cannot be used or is less
     useful because:
     a.   It incorporates your product or your work that is known or thought to be defective, deficient, inadequate or
          dangerous; or
     b. You have failed to fulfill the terms of a contract or agreement;
     if such property can be restored to use by the repair, replacement, adjustment or removal of your product or your
     work or your fulfilling the terms of the contract or agreement.
9.   Insured contract means:
     a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
          any person or organization for damage by fire to premises while rented to you or temporarily occupied by you with
          permission of the owner is not an Insured contract;
     b. A sidetrack agreement;
     c.   Any easement or license agreement, except in connection with construction or demolition operations on or within
          50 feet of a railroad;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e.   An elevator maintenance agreement;




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                                                                                      Commercial General Liability Coverage Part

                              f.   That part of any other contract or agreement pertaining to your business (including an indemnification of a
                                   municipality in connection with work performed for a municipality) under which you assume the tort liability of
                                   another party to pay for bodily injury or property damage to a third person or organization. Tort liability means a
                                   liability that would be imposed by law in the absence of any contract or agreement.
                                   Paragraph f. does not include that part of any contract or agreement:
                                   (1) That indemnifies a railroad for bodily injury or property damage arising out of construction or demolition
                                       operations, within 50 feet of any railroad property and affecting any railroad bridge or trestle, tracks, road-
                                       beds, tunnel, underpass or crossing;
                                   (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                                       (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                           field orders, change orders or drawings and specifications; or
                                       (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                           damage; or
                                   (3) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                       arising out of the Insured's rendering or failure to render professional services, including those listed in (2)
                                       above and supervisory, inspection, architectural or engineering activities.
                          10. Leased worker means a person leased to you by a labor leasing firm under an agreement between you and the labor
                              leasing firm, to perform duties related to the conduct of your business. Leased worker does not include a temporary
                              worker.
                          11. Loading or unloading means the handling of property:
                              a.   After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or auto;
                              b. While it is in or on an aircraft, watercraft or auto; or
                              c.   While it is being moved from an aircraft, watercraft or auto to the place where it is finally delivered;
                              but loading or unloading does not include the movement of property by means of a mechanical device, other than a
                              hand truck, that is not attached to the aircraft, watercraft or auto.
                          12. Mobile equipment means any of the following types of land vehicles, including any attached machinery or equipment:
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                              a.   Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
                              b. Vehicles maintained for use solely on or next to premises you own or rent;
                              c.   Vehicles that travel on crawler treads;
                              d. Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
                                   (1) Power cranes, shovels, loaders, diggers or drills; or
                                   (2) Road construction or resurfacing equipment such as graders, scrapers or rollers;
                              e.   Vehicles not described in Paragraph a., b., c. or d. above that are not self-propelled and are maintained primarily
                                   to provide mobility to permanently attached equipment of the following types:
                                   (1) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                                       exploration, lighting and well servicing equipment; or
                                   (2) Cherry pickers and similar devices used to raise or lower workers;
                              f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
                                   transportation of persons or cargo.
                                   However, self-propelled vehicles with the following types of permanently attached equipment are not mobile
                                   equipment but will be considered autos:
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                                                             Commercial General Liability Coverage Part

         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
         (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
             exploration, lighting and well servicing equipment.
    However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land vehicles
    subject to a compulsory or financial responsibility law or other motor vehicle insurance law are considered autos.
13. Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
    conditions.
14. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
    the following offenses:
    a.   False arrest, detention or imprisonment;
    b. Malicious prosecution;
    c.   The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room, dwelling or
         premises that a person occupies, committed by or on behalf of its owner, landlord or lessor;
    d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
       disparages a person's or organization's goods, products or services;
    e.   Oral or written publication, in any manner, of material that violates a person's right of privacy;
    f.   The use of another's advertising idea in your advertisement; or
    g. Infringing upon another's copyright, trade dress or slogan in your advertisement.
15. Pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot, fumes,
    acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or reclaimed.
16. Products-completed operations hazard:
    a.   Includes all bodily injury and property damage occurring away from premises you own or rent and arising out of
         your product or your work except:
         (1) Products that are still in your physical possession; or
         (2) Work that has not yet been completed or abandoned. However, your work will be deemed completed at the
             earliest of the following times:
             (a) When all of the work called for in your contract has been completed.
             (b) When all of the work to be done at the job site has been completed if your contract calls for work at more
                 than one job site.
             (c) When that part of the work done at a job site has been put to its intended use by any person or
                 organization other than another contractor or subcontractor working on the same project.
             Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
             complete, will be treated as completed.



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                              b. Does not include bodily injury or property damage arising out of:
                                   (1) The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle not
                                       owned or operated by you, and that condition was created by the loading or unloading of that vehicle by any
                                       Insured;
                                   (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or
                                   (3) Products or operations for which the classification, listed in the Declarations or in a policy Schedule, states
                                       that products-completed operations are subject to the General Aggregate Limit.
                          17. Property damage means:
                              a.   Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use shall be
                                   deemed to occur at the time of the physical injury that caused it; or
                              b. Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
                                 time of the occurrence that caused it.
                              For the purposes of this insurance, electronic data is not tangible property.
                              As used in this definition, electronic data means information, facts or programs stored as or on, created or used on, or
                              transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                              ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                              equipment.
                          18. Suit means a civil proceeding in which damages because of bodily injury, property damage or personal and
                              advertising injury to which this insurance applies are alleged. suit includes:
                              a.   An arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
                                   submit with our consent; or
                              b. Any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
                                 submits with our consent.
                          19. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave or to
                              meet seasonal or short-term workload conditions.
                          20. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
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                              direction of and within the scope of duties determined by you, and is not paid a fee, salary or other compensation by
                              you or anyone else for their work performed for you.
                          21. Your product:
                              a.   Means:
                                   (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
                                       (a) You;
                                       (b) Others trading under your name; or
                                       (c) A person or organization whose business or assets you have acquired; and
                                   (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
                                       products.
                              b. Includes:
                                   (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
                                       use of your product; and
                                   (2) The providing of or failure to provide warnings or instructions.
                              c.   Does not include vending machines or other property rented to or located for the use of others but not sold.
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22. Your work:
   a.   Means:
        (1) Work or operations performed by you or on your behalf; and
        (2) Materials, parts or equipment furnished in connection with such work or operations.
   b. Includes:
        (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
            use of your work; and
        (2) The providing of or failure to provide warnings or instructions.




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                                                                                                                                                     CNA PARAMOUNT

                                                                           Architects, Engineers and Surveyors General Liability
                                                                                                        Extension Endorsement

                          It is understood and agreed that this endorsement amends the COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          as follows. If any other endorsement attached to this policy amends any provision also amended by this endorsement,
                          then that other endorsement controls with respect to such provision, and the changes made by this endorsement with
                          respect to such provision do not apply.


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                          CNA74858XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 18                                                                                                    Endorsement No:       3
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001124
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                                                                                                                            CNA PARAMOUNT

                                                  Architects, Engineers and Surveyors General Liability
                                                                               Extension Endorsement

1.   ADDITIONAL INSUREDS

     a.   WHO IS AN INSURED is amended to include as an Insured any person or organization described in paragraphs
          A. through I. below whom a Named Insured is required to add as an additional insured on this Coverage Part
          under a written contract or written agreement, provided such contract or agreement:
          (1) is currently in effect or becomes effective during the term of this Coverage Part; and

          (2) was executed prior to:

               (a) the bodily injury or property damage; or

               (b) the offense that caused the personal and advertising injury,

               for which such additional insured seeks coverage.
     b. However, subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer
        will not provide such additional insured with:
          (1) a higher limit of insurance than required by such contract or agreement; or

          (2) coverage broader than required by such contract or agreement, and in no event broader than that described
              by the applicable paragraph A. through I. below.

          Any coverage granted by this endorsement shall apply only to the extent permissible by law.
     A. Controlling Interest

          Any person or organization with a controlling interest in a Named Insured, but only with respect to such person or
          organization's liability for bodily injury, property damage or personal and advertising injury arising out of:
          1.   such person or organization's financial control of a Named Insured; or
          2.   premises such person or organization owns, maintains or controls while a Named Insured leases or
               occupies such premises;

          provided that the coverage granted by this paragraph does not apply to structural alterations, new construction or
          demolition operations performed by, on behalf of, or for such additional insured.
     B. Co-owner of Insured Premises

          A co-owner of a premises co-owned by a Named Insured and covered under this insurance but only with respect
          to such co-owner's liability for bodily injury, property damage or personal and advertising injury as co-owner
          of such premises.
     C. Engineers, Architects or Surveyors Engaged By You

          An architect, engineer or surveyor engaged by the Named Insured, but only with respect to liability for bodily
          injury, property damage or personal and advertising injury caused in whole or in part by the Named Insured's
          acts or omissions, or the acts or omissions of those acting on the Named Insured's behalf:
          a.   in connection with the Named Insured's premises; or
          b. in the performance of the Named Insured's ongoing operations.

          But the coverage hereby granted to such additional insureds does not apply to bodily injury, property damage
          or personal and advertising injury arising out of the rendering of or failure to render any professional services
          by, on behalf of, or for the Named Insured, including but not limited to:
CNA74858XX (1-15)                                                                                                      Policy No: 6056872807
Page 2 of 18                                                                                                     Endorsement No:       3
CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                               CNA001125
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                                                                         Architects, Engineers and Surveyors General Liability
                                                                                                      Extension Endorsement

                                1.   the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                     field orders, change orders or drawings and specifications; or
                                2.   supervisory, inspection, architectural or engineering activities.
                             D. Lessor of Equipment

                                Any person or organization from whom a Named Insured leases equipment, but only with respect to liability for
                                bodily injury, property damage or personal and advertising injury caused, in whole or in part, by the Named
                                Insured's maintenance, operation or use of such equipment, provided that the occurrence giving rise to such
                                bodily injury, property damage or the offense giving rise to such personal and advertising injury takes place
                                prior to the termination of such lease.
                             E. Lessor of Land

                                Any person or organization from whom a Named Insured leases land but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury arising out of the ownership, maintenance or use
                                of such land, provided that the occurrence giving rise to such bodily injury, property damage or the offense
                                giving rise to such personal and advertising injury takes place prior to the termination of such lease. The
                                coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             F. Lessor of Premises

                                An owner or lessor of premises leased to the Named Insured, or such owner or lessor's real estate manager, but
                                only with respect to liability for bodily injury, property damage or personal and advertising injury arising out of
                                the ownership, maintenance or use of such part of the premises leased to the Named Insured, and provided that
                                the occurrence giving rise to such bodily injury or property damage, or the offense giving rise to such personal
                                and advertising injury, takes place prior to the termination of such lease. The coverage granted by this
                                paragraph does not apply to structural alterations, new construction or demolition operations performed by, on
                                behalf of, or for such additional insured.
                             G. Mortgagee, Assignee or Receiver

                                A mortgagee, assignee or receiver of premises but only with respect to such mortgagee, assignee or receiver's
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                                liability for bodily injury, property damage or personal and advertising injury arising out of the Named
                                Insured's ownership, maintenance, or use of a premises by a Named Insured.

                                The coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             H. State or Governmental Agency or Subdivision or Political Subdivisions – Permits

                                A state or governmental agency or subdivision or political subdivision that has issued a permit or authorization but
                                only with respect to such state or governmental agency or subdivision or political subdivision's liability for bodily
                                injury, property damage or personal and advertising injury arising out of:

                                1.   the following hazards in connection with premises a Named Insured owns, rents, or controls and to which
                                     this insurance applies:
                                     a.   the existence, maintenance, repair, construction, erection, or removal of advertising signs, awnings,
                                          canopies, cellar entrances, coal holes, driveways, manholes, marquees, hoistaway openings, sidewalk
                                          vaults, street banners, or decorations and similar exposures; or
                                     b. the construction, erection, or removal of elevators; or

                                     c.   the ownership, maintenance or use of any elevators covered by this insurance; or
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          2.   the permitted or authorized operations performed by a Named Insured or on a Named Insured's behalf.

               The coverage granted by this paragraph does not apply to:
               a.   Bodily injury, property damage or personal and advertising injury arising out of operations performed
                    for the state or governmental agency or subdivision or political subdivision; or
               b. Bodily injury or property damage included within the products-completed operations hazard.

          With respect to this provision's requirement that additional insured status must be requested under a written
          contract or agreement, the Insurer will treat as a written contract any governmental permit that requires the
          Named Insured to add the governmental entity as an additional insured.

     I.   Trade Show Event Lessor

          1.   With respect to a Named Insured's participation in a trade show event as an exhibitor, presenter or displayer,
               any person or organization whom the Named Insured is required to include as an additional insured, but only
               with respect to such person or organization's liability for bodily injury, property damage or personal and
               advertising injury caused by:

               a.   the Named Insured's acts or omissions; or
               b. the acts or omissions of those acting on the Named Insured's behalf,

               in the performance of the Named Insured's ongoing operations at the trade show event premises during the
               trade show event.
          2.   The coverage granted by this paragraph does not apply to bodily injury or property damage included within
               the products-completed operations hazard.
2.   ADDITIONAL INSURED - PRIMARY AND NON-CONTRIBUTORY TO ADDITIONAL INSURED'S INSURANCE

     The Other Insurance Condition in the COMMERCIAL GENERAL LIABILITY CONDITIONS Section is amended to
     add the following paragraph:

     If the Named Insured has agreed in writing in a contract or agreement that this insurance is primary and non-
     contributory relative to an additional insured's own insurance, then this insurance is primary, and the Insurer will not
     seek contribution from that other insurance. For the purpose of this Provision 2., the additional insured's own
     insurance means insurance on which the additional insured is a named insured. Otherwise, and notwithstanding
     anything to the contrary elsewhere in this Condition, the insurance provided to such person or organization is excess
     of any other insurance available to such person or organization.
3.   ADDITIONAL INSURED – EXTENDED COVERAGE

     When an additional insured is added by this or any other endorsement attached to this Coverage Part, WHO IS AN
     INSURED is amended to make the following natural persons Insureds.

     If the additional insured is:
     a.   An individual, then his or her spouse is an Insured;
     b. A partnership or joint venture, then its partners, members and their spouses are Insureds;
     c.   A limited liability company, then its members and managers are Insureds; or
     d. An organization other than a partnership, joint venture or limited liability company, then its executive officers,
        directors and shareholders are Insureds;


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                               but only with respect to locations and operations covered by the additional insured endorsement's provisions, and only
                               with respect to their respective roles within their organizations.

                               Please see the ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES provision of this endorsement for
                               additional coverage and restrictions applicable to spouses of natural person Insureds.
                          4.   BOATS

                               Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions is amended to add the following additional exception to the exclusion entitled Aircraft, Auto or
                               Watercraft:

                               This exclusion does not apply to:
                                    Any watercraft owned by the Named Insured that is less than 30 feet long while being used in the course of the
                                    Named Insured's inspection or surveying work.

                          5.   BODILY INJURY – EXPANDED DEFINITION

                               Under DEFINITIONS, the definition of bodily injury is deleted and replaced by the following:
                               Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                               mental anguish or mental injury sustained by that person at any time which results as a consequence of the physical
                               injury, sickness or disease.
                          6.   BROAD KNOWLEDGE OF OCCURRENCE/ NOTICE OF OCCURRENCE

                               Under CONDITIONS, the condition entitled Duties in The Event of Occurrence, Offense, Claim or Suit is amended
                               to add the following provisions:
                               A. BROAD KNOWLEDGE OF OCCURRENCE

                                    The Named Insured must give the Insurer or the Insurer's authorized representative notice of an occurrence,
                                    offense or claim only when the occurrence, offense or claim is known to a natural person Named Insured, to a
                                    partner, executive officer, manager or member of a Named Insured, or to an employee designated by any of the
                                    above to give such notice.
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                               B. NOTICE OF OCCURRENCE

                                    The Named Insured's rights under this Coverage Part will not be prejudiced if the Named Insured fails to give
                                    the Insurer notice of an occurrence, offense or claim and that failure is solely due to the Named Insured's
                                    reasonable belief that the bodily injury or property damage is not covered under this Coverage Part. However,
                                    the Named Insured shall give written notice of such occurrence, offense or claim to the Insurer as soon as the
                                    Named Insured is aware that this insurance may apply to such occurrence, offense or claim.

                          7.   BROAD NAMED INSURED

                               WHO IS AN INSURED is amended to delete its Paragraph 3. in its entirety and replace it with the following:

                               3.   Pursuant to the limitations described in Paragraph 4. below, any organization in which a Named Insured has
                                    management control:
                                    a.   on the effective date of this Coverage Part; or
                                    b. by reason of a Named Insured creating or acquiring the organization during the policy period,

                                    qualifies as a Named Insured, provided that there is no other similar liability insurance, whether primary,
                                    contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
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          provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
          narrower than that provided by this insurance.

          But this BROAD NAMED INSURED provision does not apply to:
          (a) any partnership, limited liability company or joint venture; or

          (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.

          For the purpose of this provision, management control means:
          A. owning interests representing more than 50% of the voting, appointment or designation power for the
             selection of a majority of the Board of Directors of a corporation; or
          B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or
             sell property held by a trust.
     4.   With respect to organizations which qualify as Named Insureds by virtue of Paragraph 3. above, this insurance
          does not apply to:
          a.   bodily injury or property damage that first occurred prior to the date of management control, or that first
               occurs after management control ceases; nor
          b. personal or advertising injury caused by an offense that first occurred prior to the date of management
             control or that first occurs after management control ceases.
     5.   The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names
          or under such other trading names or doing-business-as names (dba) as any Named Insured should choose to
          employ.
8.   CONTRACTUAL LIABILITY – RAILROADS

     With respect to operations performed within 50 feet of railroad property, the definition of insured contract is replaced
     by the following:
     Insured Contract means:

     a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
          any person or organization for damage by fire to premises while rented to a Named Insured or temporarily
          occupied by a Named Insured you with permission of the owner is not an insured contract;
     b. A sidetrack agreement;

     c.   Any easement or license agreement;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e.   An elevator maintenance agreement;
     f.   That part of any other contract or agreement pertaining to the Named Insured's business (including an
          indemnification of a municipality in connection with work performed for a municipality) under which the Named
          Insured assumes the tort liability of another party to pay for bodily injury or property damage to a third person
          or organization. Tort liability means a liability that would be imposed by law in the absence of any contract or
          agreement.

          Paragraph f. does not include that part of any contract or agreement:

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                                   (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:

                                         (a) Preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                             field orders, change orders or drawings and specifications; or
                                         (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                             damage;
                                   (2) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                       arising out of the insured's rendering or failure to render professional services, including those listed in (1)
                                       above and supervisory, inspection, architectural or engineering activities.
                          9.   ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES

                               The estates, executors, heirs, legal representatives, administrators, trustees, beneficiaries and spouses of any
                               natural person Insured or living trust shall also be insured under this policy; provided, however, coverage is afforded
                               to such estates, executors, heirs, legal representatives, administrators, trustees, beneficiaries and spouses only for
                               claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim seeks
                               damages from marital community property, jointly held property or property transferred from such natural person
                               Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                               representative, or spouse outside the scope of such person's capacity or status as such, provided, however, that the
                               spouse of a natural person Named Insured, and the spouses of members or partners of joint venture or partnership
                               Named Insureds are Insureds with respect to such spouses' acts, errors or omissions in the conduct of the Named
                               Insured's business.

                          10. EXPECTED OR INTENDED INJURY – EXCEPTION FOR REASONABLE FORCE

                               Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                               Exclusions is amended to delete the exclusion entitled Expected or Intended Injury and replace it with the following:

                               This insurance does not apply to:
                               Expected or Intended Injury

                               Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does not
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                               apply to bodily injury or property damage resulting from the use of reasonable force to protect persons or property.
                          11. GENERAL AGGREGATE LIMITS OF INSURANCE - PER LOCATION

                               A. A separate Location General Aggregate Limit, equal to the amount of the General Aggregate Limit, is the most the
                                  Insurer will pay for the sum of:
                                   1.    All damages under Coverage A, except damages because of bodily injury or property damage included in
                                         the products-completed operations hazard; and
                                   2.    All medical expenses under Coverage C,

                                   that arise from occurrences or accidents which can be attributed solely to ongoing operations at that location.
                                   Such payments shall not reduce the General Aggregate Limit shown in the Declarations, nor the Location General
                                   Aggregate Limit of any other location.
                               B. All:

                                   1.    Damages under Coverage B, regardless of the number of locations involved;




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       2.   Damages under Coverage A, caused by occurrences which cannot be attributed solely to ongoing
            operations at a single location, except damages because of bodily injury or property damage included in
            the products-completed operations hazard; and
       3.   Medical expenses under Coverage C caused by accidents which cannot be attributed solely to ongoing
            operations at a single location,

       will reduce the General Aggregate Limit shown in the Declarations.
   C. For the purpose of this GENERAL AGGREGATE LIMITS OF INSURANCE - PER LOCATION Provision,
      "location" means:
       1.   a premises the Named Insured owns or rents; or
       2.   a premises not owned or rented by any Named Insured at which the Named Insured is performing
            operations pursuant to a contract or written agreement. If operations at such a location have been
            discontinued and then restarted, or if the authorized parties deviate from plans, blueprints, designs,
            specifications or timetables, the location will still be deemed to be the same location.

       For the purpose of determining the applicable aggregate limit of insurance, premises involving the same or
       connecting lots, or premises whose connection is interrupted only by a street, roadway, waterway or right-of-way
       of a railroad shall be considered a single location.
   D. The limits shown in the Declarations for Each Occurrence, for Damage To Premises Rented To You and for
      Medical Expense continue to apply, but will be subject to either the Location General Aggregate Limit or the
      General Aggregate Limit, depending on whether the occurrence can be attributed solely to ongoing operations at
      a particular location.
   E. When coverage for liability arising out of the products-completed operations hazard is provided, any payments
      for damages because of bodily injury or property damage included in the products-completed operations
      hazard, regardless of the number of locations involved, will reduce the Products-Completed Operations
      Aggregate Limit shown in the Declarations.
   F. The provisions of LIMITS OF INSURANCE not otherwise modified by this GENERAL AGGREGATE LIMITS OF
      INSURANCE - PER LOCATION Provision shall continue to apply as stipulated.

12. IN REM ACTIONS

       A quasi in rem action against any vessel owned or operated by or for the Named Insured, or chartered by or for
   the Named Insured, will be treated in the same manner as though the action were in personam against the Named
   Insured.

13. INCIDENTAL HEALTH CARE MALPRACTICE COVERAGE

   Solely with respect to bodily injury that arises out of a health care incident:
   A. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the Insuring Agreement is
      amended to replace Paragraphs 1.b.(1) and 1.b.(2) with the following:
       b. This insurance applies to bodily injury provided that the professional health care services are incidental to
          the Named Insured's primary business purpose, and only if:
            (1) such bodily injury is caused by an occurrence that takes place in the coverage territory.

            (2) the bodily injury first occurs during the policy period. All bodily injury arising from an occurrence will
                be deemed to have occurred at the time of the first act, error, or omission that is part of the occurrence;
                and

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                             B. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions is amended to:

                                i.   add the following to the Employers Liability exclusion:

                                     This exclusion applies only if the bodily injury arising from a health care incident is covered by other
                                     liability insurance available to the Insured (or which would have been available but for exhaustion of its
                                     limits).
                                ii. delete the exclusion entitled Contractual Liability and replace it with the following:

                                     This insurance does not apply to:
                                     Contractual Liability

                                     the Insured's actual or alleged liability under any oral or written contract or agreement, including but not
                                     limited to express warranties or guarantees.
                                iii. to add the following additional exclusions:

                                     This insurance does not apply to:
                                     Discrimination

                                     any actual or alleged discrimination, humiliation or harassment, including but not be limited to claims based
                                     on an individual's race, creed, color, age, gender, national origin, religion, disability, marital status or sexual
                                     orientation.
                                     Dishonesty or Crime

                                     Any actual or alleged dishonest, criminal or malicious act, error or omission.
                                     Medicare/Medicaid Fraud

                                     any actual or alleged violation of law with respect to Medicare, Medicaid, Tricare or any similar federal, state
                                     or local governmental program.
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                                     Services Excluded by Endorsement

                                     Any health care incident for which coverage is excluded by endorsement.
                             C. DEFINITIONS is amended to:

                                i.   add the following definitions:
                                     Health care incident means an act, error or omission by the Named Insured's employees or volunteer
                                     workers in the rendering of:

                                     a.   professional health care services on behalf of the Named Insured or

                                     b. Good Samaritan services rendered in an emergency and for which no payment is demanded or received.

                                     Professional health care services means any health care services or the related furnishing of food,
                                     beverages, medical supplies or appliances by the following providers in their capacity as such but solely to
                                     the extent they are duly licensed as required:
                                     a.   Physician;


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          b. Nurse;

          c.   Nurse practitioner;
          d. Emergency medical technician;

          e.   Paramedic;
          f.   Dentist;
          g. Physical therapist;

          h. Psychologist;

          i.   Speech therapist;
          j.   Other allied health professional; or
          Professional health care services does not include any services rendered in connection with human clinical
          trials or product testing.
      ii. delete the definition of occurrence and replace it with the following:

          Occurrence means a health care incident. All acts, errors or omissions that are logically connected by any
          common fact, circumstance, situation, transaction, event, advice or decision will be considered to constitute a
          single occurrence;
      iii. amend the definition of Insured to:

          a.   add the following:
                    the Named Insured's employees are Insureds with respect to:

                    (1) bodily injury to a co-employee while in the course of the co-employee's employment by the
                        Named Insured or while performing duties related to the conduct of the Named Insured's
                        business; and
                    (2) bodily injury to a volunteer worker while performing duties related to the conduct of the
                        Named Insured's business;

                    when such bodily injury arises out of a health care incident.
                    the Named Insured's volunteer workers are Insureds with respect to:

                    (1) bodily injury to a co-volunteer worker while performing duties related to the conduct of the
                        Named Insured's business; and

                    (2) bodily injury to an employee while in the course of the employee's employment by the Named
                        Insured or while performing duties related to the conduct of the Named Insured's business;

               when such bodily injury arises out of a health care incident.
          b. delete Subparagraphs (a), (b), (c) and (d) of Paragraph 2.a.(1) of WHO IS AN INSURED.

   D. The Other Insurance condition is amended to delete Paragraph b.(1) in its entirety and replace it with the
      following:
      Other Insurance

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                                 b. Excess Insurance

                                      (1) To the extent this insurance applies, it is excess over any other insurance, self insurance or risk transfer
                                          instrument, whether primary, excess, contingent or on any other basis, except for insurance purchased
                                          specifically by the Named Insured to be excess of this coverage.
                          14. JOINT VENTURES / PARTNERSHIP / LIMITED LIABILITY COMPANIES

                             A. Past Joint Ventures, Partnerships, Limited Liability Companies

                                 The following is added to WHO IS AN INSURED:

                                 If the Named Insured was a joint venturer, partner, or member of a limited liability company and such joint
                                 venture, partnership or limited liability company terminated prior to or during the policy period, such Named
                                 Insured is an Insured with respect to its interest in such joint venture, partnership or limited liability company but
                                 only to the extent that:
                                 a.   any offense giving rise to personal and advertising injury occurred prior to such termination date, and the
                                      personal and advertising injury arising out of such offense, first occurred after such termination date;

                                 b. the bodily injury or property damage first occurred after such termination date; and

                                 c.   there is no other valid and collectible insurance purchased specifically to insure the partnership, joint venture
                                      or limited liability company.

                                 If the joint venture, partnership or limited liability company is or was insured under a consolidated (wrap-up)
                                 insurance program, then such insurance will always be considered valid and collectible for the purpose of
                                 paragraph c. above. But this provision will not serve to exclude bodily injury, property damage or personal and
                                 advertising injury that would otherwise be covered under the Architects, Engineers And Surveyors General
                                 Liability Extension Endorsement provision entitled WRAP-UP EXTENSION: OCIP, CCIP, OR
                                 CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS. Please see that provision for the definition of
                                 consolidated (wrap-up) insurance program.

                             B. Participation In Current Professional Joint Ventures
                                 The following is added to WHO IS AN INSURED:
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                                 The Named Insured is also an Insured for participation in a current joint venture that is not named on the
                                 Declarations, but only if such joint venture meets all of the following criteria:
                                 a.   Each and every one of the Named Insured's co-venturers are architectural, engineering or surveying firms
                                      only; and
                                 b. There is no other valid and collectible insurance purchased specifically to insure the joint venture.

                                 However, the Named Insured is an Insured only for the conduct of such Named Insured's business within such
                                 a joint venture. The Named Insured is not insured for liability arising out of the acts or omissions of other co-
                                 venturers, nor of their partners, members or employees.
                             C. WHO IS AN INSURED is amended to delete its last paragraph and replace it with the following:
                                 Except as provided under this Architects, Engineers And Surveyors General Liability Extension
                                 Endorsement or by the attachment of another endorsement (if any), no person or organization is an Insured with
                                 respect to the conduct of any current or past partnership, joint venture or limited liability company that is not
                                 shown as a Named Insured in the Declarations.



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15. LEGAL LIABILITY – DAMAGE TO PREMISES / ALIENATED PREMISES / PROPERTY IN THE NAMED
    INSURED'S CARE, CUSTODY OR CONTROL

   A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended to delete exclusion j. Damage to Property in its entirety and replace it with the following:

       This insurance does not apply to:
       j.   Damage to Property

            Property damage to:

            (1) Property the Named Insured owns, rents, or occupies, including any costs or expenses incurred by you,
                or any other person, organization or entity, for repair, replacement, enhancement, restoration or
                maintenance of such property for any reason, including prevention of injury to a person or damage to
                another's property;
            (2) Premises the Named Insured sells, gives away or abandons, if the property damage arises out of any
                part of those premises;
            (3) Property loaned to the Named Insured;

            (4) Personal property in the care, custody or control of the Insured;

            (5) That particular part of real property on which the Named Insured or any contractors or subcontractors
                working directly or indirectly on the Named Insured's behalf are performing operations, if the property
                damage arises out of those operations; or

            (6) That particular part of any property that must be restored, repaired or replaced because your work was
                incorrectly performed on it.

            Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
            premises rented to the Named Insured or temporarily occupied by the Named Insured with the permission of
            the owner, nor to the contents of premises rented to the Named Insured for a period of 7 or fewer
            consecutive days. A separate limit of insurance applies to Damage To Premises Rented To You as described
            in LIMITS OF INSURANCE.

            Paragraph (2) of this exclusion does not apply if the premises are your work.

            Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack
            agreement.

            Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
            operations hazard.

            Paragraphs (3) and (4) of this exclusion do not apply to property damage to:
            i.   tools, or equipment the Named Insured borrows from others, nor
            ii. other personal property of others in the Named Insured's care, custody or control while being used in the
                Named Insured's operations away from any Named Insured's premises.

            However, the coverage granted by this exception to Paragraphs (3) and (4) does not apply to:
            a.   property at a job site awaiting or during such property's installation, fabrication, or erection;
            b. property that is mobile equipment leased by an Insured;

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CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA001135
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                                                                                                                                                    CNA PARAMOUNT

                                                                          Architects, Engineers and Surveyors General Liability
                                                                                                       Extension Endorsement

                                      c.   property that is an auto, aircraft or watercraft;
                                      d. property in transit; or

                                      e.   any portion of property damage for which the Insured has available other valid and collectible
                                           insurance, or would have such insurance but for exhaustion of its limits, or but for application of one of its
                                           exclusions.

                                      A separate limit of insurance and deductible apply to such property of others. See LIMITS OF INSURANCE
                                      as amended below.
                             B. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                                Exclusions is amended to delete its last paragraph and replace it with the following:

                                 Exclusions c. through n. do not apply to damage by fire to premises while rented to a Named Insured or
                                 temporarily occupied by a Named Insured with permission of the owner, nor to damage to the contents of
                                 premises rented to a Named Insured for a period of 7 or fewer consecutive days.

                                 A separate limit of insurance applies to this coverage as described in LIMITS OF INSURANCE.
                             C. The following paragraph is added to LIMITS OF INSURANCE:

                                 Subject to 5. above,          is the most the Insurer will pay under Coverage A for damages arising out of any
                                 one occurrence because of the sum of all property damage to borrowed tools or equipment, and to other
                                 personal property of others in the Named Insured's care, custody or control, while being used in the Named
                                 Insured's operations away from any Named Insured's premises. The Insurer's obligation to pay such property
                                 damage does not apply until the amount of such property damage exceeds                 . The Insurer has the right but
                                 not the duty to pay any portion of this        in order to effect settlement. If the Insurer exercises that right, the
                                 Named Insured will promptly reimburse the Insurer for any such amount.

                             D. Paragraph 6., Damage To Premises Rented To You Limit, of LIMITS OF INSURANCE is deleted and replaced by
                                the following:
                                 6.   Subject to Paragraph 5. above, (the Each Occurrence Limit), the Damage To Premises Rented To You Limit
                                      is the most the Insurer will pay under Coverage A for damages because of property damage to any one
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                                      premises while rented to the Named Insured or temporarily occupied by the Named Insured with the
                                      permission of the owner, including contents of such premises rented to the Named Insured for a period of 7
                                      or fewer consecutive days. The Damage To Premises Rented To You Limit is the greater of:
                                      a.                 or
                                      b. The Damage To Premises Rented To You Limit shown in the Declarations.

                             E. Paragraph 4.b.(1)(a)(ii) of the Other Insurance Condition is deleted and replaced by the following:

                                 (ii) That is property insurance for premises rented to the Named Insured, for premises temporarily occupied by
                                      the Named Insured with the permission of the owner; or for personal property of others in the Named
                                      Insured's care, custody or control;

                          16. LIQUOR LIABILITY

                             Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                             Exclusions is amended to delete the exclusion entitled Liquor Liability.

                             This LIQUOR LIABILITY Provision does not apply to any person or organization who otherwise qualifies as an
                             additional insured on this Coverage Part.


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                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001136
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                                                                                                                            CNA PARAMOUNT

                                                  Architects, Engineers and Surveyors General Liability
                                                                               Extension Endorsement

17. MEDICAL PAYMENTS

   A. LIMITS OF INSURANCE is amended to delete Paragraph 7. (the Medical Expense Limit) and replace it with the
      following:
        7.   Subject to Paragraph 5. above (the Each Occurrence Limit), the Medical Expense Limit is the most the
             Insurer will pay under Coverage C for all medical expenses because of bodily injury sustained by any one
             person. The Medical Expense Limit is the greater of:
             (1)              unless a different amount is shown here:                      $N,NNN,NNN,NNN;                   or
             (2) the amount shown in the Declarations for Medical Expense Limit.

   B. Under COVERAGES, the Insuring Agreement of Coverage C – Medical Payments is amended to replace
      Paragraph 1.a.(3)(b) with the following:
        (b) The expenses are incurred and reported to the Insurer within three years of the date of the accident; and

18. NON-OWNED AIRCRAFT

   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended as follows:

   The exclusion entitled Aircraft, Auto or Watercraft is amended to add the following:

   This exclusion does not apply to an aircraft not owned by any Named Insured, provided that:
   1.   the pilot in command holds a currently effective certificate issued by the duly constituted authority of the United
        States of America or Canada, designating that person as a commercial or airline transport pilot;
   2.   the aircraft is rented with a trained, paid crew to the Named Insured; and
   3.   the aircraft is not being used to carry persons or property for a charge.
19. NON-OWNED WATERCRAFT

   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended to delete subparagraph (2) of the exclusion entitled Aircraft, Auto or Watercraft, and
   replace it with the following.

   This exclusion does not apply to:
   (2) a watercraft that is not owned by any Named Insured, provided the watercraft is:

        (a) less than 75 feet long; and

        (b) not being used to carry persons or property for a charge.

20. PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION

   A. Under DEFINITIONS, the definition of personal and advertising injury is amended to add the following tort:
             Discrimination or humiliation that results in injury to the feelings or reputation of a natural person.

   B. Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the paragraph entitled
      Exclusions is amended to:

        1.   delete the Exclusion entitled Knowing Violation Of Rights Of Another and replace it with the following:

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CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                               CNA001137
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                                                                                                                                                   CNA PARAMOUNT

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                                      This insurance does not apply to:
                                      Knowing Violation of Rights of Another

                                      Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                      would violate the rights of another and would inflict personal and advertising injury. This exclusion shall not
                                      apply to discrimination or humiliation that results in injury to the feelings or reputation of a natural person, but
                                      only if such discrimination or humiliation is not done intentionally by or at the direction of:
                                      (a) the Named Insured; or

                                      (b) any executive officer, director, stockholder, partner, member or manager (if the Named Insured is a
                                          limited liability company) of the Named Insured.
                                 2.   add the following exclusions:

                                      This insurance does not apply to:
                                      Employment Related Discrimination

                                      discrimination or humiliation directly or indirectly related to the employment, prospective employment, past
                                      employment or termination of employment of any person by any Insured.
                                      Premises Related Discrimination

                                      discrimination or humiliation arising out of the sale, rental, lease or sub-lease or prospective sale, rental,
                                      lease or sub-lease of any room, dwelling or premises by or at the direction of any Insured.

                             Notwithstanding the above, there is no coverage for fines or penalties levied or imposed by a governmental entity
                             because of discrimination.

                             The coverage provided by this PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION
                             Provision does not apply to any person or organization whose status as an Insured derives solely from
                                      Provision 1. ADDITIONAL INSURED of this endorsement; or
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                                      attachment of an additional insured endorsement to this Coverage Part.

                          21. PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY

                             A. Under COVERAGES, Coverage B –Personal and Advertising Injury Liability, the paragraph entitled
                                Exclusions is amended to delete the exclusion entitled Contractual Liability.

                             B. Solely for the purpose of the coverage provided by this PERSONAL AND ADVERTISING INJURY - LIMITED
                                CONTRACTUAL LIABILITY provision, the following changes are made to the section entitled
                                SUPPLEMENTARY PAYMENTS – COVERAGES A AND B:

                                 1.   Paragraph 2.d. is replaced by the following:
                                      d. The allegations in the suit and the information the Insurer knows about the offense alleged in such suit
                                         are such that no conflict appears to exist between the interests of the Insured and the interests of the
                                         indemnitee;
                                 2.   The first unnumbered paragraph beneath Paragraph 2.f.(2)(b) is deleted and replaced by the following:

                                      So long as the above conditions are met, attorney's fees incurred by the Insurer in the defense of that
                                      indemnitee, necessary litigation expenses incurred by the Insurer, and necessary litigation expenses incurred


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                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                      CNA001138
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                                                                                                                         CNA PARAMOUNT

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            by the indemnitee at the Insurer's request will be paid as defense costs. Such payments will not be deemed
            to be damages for personal and advertising injury and will not reduce the limits of insurance.
   C. This PERSONAL AND ADVERTISING INJURY - LIMITED CONTRACTUAL LIABILITY Provision does not apply
      if Coverage B –Personal and Advertising Injury Liability is excluded by another endorsement attached to this
      Coverage Part.

   This PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY Provision does not apply to any
   person or organization who otherwise qualifies as an additional insured on this Coverage Part.
22. PROPERTY DAMAGE – ELEVATORS

   A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended such that the Damage to Your Product Exclusion and subparagraphs (3), (4) and (6) of
      the Damage to Property Exclusion do not apply to property damage that results from the use of elevators.
   B. Solely for the purpose of the coverage provided by this PROPERTY DAMAGE – ELEVATORS Provision, the
      Other Insurance conditions is amended to add the following paragraph:

        This insurance is excess over any of the other insurance, whether primary, excess, contingent or on any other
        basis that is Property insurance covering property of others damaged from the use of elevators.
23. RETIRED PARTNERS, MEMBERS, DIRECTORS AND EMPLOYEES

   WHO IS INSURED is amended to include as Insureds natural persons who are retired partners, members, directors
   or employees, but only for bodily injury, property damage or personal and advertising injury that results from
   services performed for the Named Insured under the Named Insured's direct supervision. All limitations that apply to
   employees and volunteer workers also apply to anyone qualifying as an Insured under this Provision.

24. SUPPLEMENTARY PAYMENTS

   The section entitled SUPPLEMENTARY PAYMENTS – COVERAGES A AND B is amended as follows:
   A. Paragraph 1.b. is amended to delete the                        limit shown for the cost of bail bonds and replace it with a            .
      limit; and
   B. Paragraph 1.d. is amended to delete the limit of                             shown for daily loss of earnings and replace it with a
            . limit.
25. UNINTENTIONAL FAILURE TO DISCLOSE HAZARDS

   If the Named Insured unintentionally fails to disclose all existing hazards at the inception date of the Named
   Insured's Coverage Part, the Insurer will not deny coverage under this Coverage Part because of such failure.

26. WAIVER OF SUBROGATION - BLANKET

   Under CONDITIONS, the condition entitled Transfer Of Rights Of Recovery Against Others To Us is amended to
   add the following:

   The Insurer waives any right of recovery the Insurer may have against any person or organization because of
   payments the Insurer makes for injury or damage arising out of:
   1.   the Named Insured's ongoing operations; or
   2.   your work included in the products-completed operations hazard.

   However, this waiver applies only when the Named Insured has agreed in writing to waive such rights of recovery in
   a written contract or written agreement, and only if such contract or agreement:
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CONTINENTAL CASUALTY COMPANY                                                                                    Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                            CNA001139
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                                                                                                                                                    CNA PARAMOUNT

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                             1.   is in effect or becomes effective during the term of this Coverage Part; and
                             2.   was executed prior to the bodily injury, property damage or personal and advertising injury giving rise to the
                                  claim.

                          27. WRAP-UP EXTENSION: OCIP, CCIP, OR CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS

                             Note: The following provision does not apply to any public construction project in the state of Oklahoma, nor to any
                             construction project in the state of Alaska, that is not permitted to be insured under a consolidated (wrap-up)
                             insurance program by applicable state statute or regulation.

                             If the endorsement EXCLUSION – CONSTRUCTION WRAP-UP is attached to this policy, or another exclusionary
                             endorsement pertaining to Owner Controlled Insurance Programs (O.C.I.P.) or Contractor Controlled Insurance
                             Programs (C.C.I.P.) is attached, then the following changes apply:
                             A. The following wording is added to the above-referenced endorsement:

                                  With respect to a consolidated (wrap-up) insurance program project in which the Named Insured is or was
                                  involved, this exclusion does not apply to those sums the Named Insured become legally obligated to pay as
                                  damages because of:

                                  1.   Bodily injury, property damage, or personal or advertising injury that occurs during the Named Insured's
                                       ongoing operations at the project, or during such operations of anyone acting on the Named Insured's
                                       behalf; nor
                                  2.   Bodily injury or property damage included within the products-completed operations hazard that arises
                                       out of those portions of the project that are not residential structures.
                             B. Condition 4. Other Insurance is amended to add the following subparagraph 4.b.(1)(c):

                                  This insurance is excess over:
                                  (c) Any of the other insurance whether primary, excess, contingent or any other basis that is insurance available
                                      to the Named Insured as a result of the Named Insured being a participant in a consolidated (wrap-up)
                                      insurance program, but only as respects the Named Insured's involvement in that consolidated (wrap-up)
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                                      insurance program.

                             C. DEFINITIONS is amended to add the following definitions:

                                  Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the
                                  prime contractor/project manager or owner of the construction project has secured general liability insurance
                                  covering some or all of the contractors or subcontractors involved in the project, such as an Owner Controlled
                                  Insurance Program (O.C.I.P.) or Contractor Controlled Insurance Program (C.C.I.P.).
                                  Residential structure means any structure where 30% or more of the square foot area is used or is intended to
                                  be used for human residency, including but not limited to:
                                  1.   single or multifamily housing, apartments, condominiums, townhouses, co-operatives or planned unit
                                       developments; and
                                  2.   the common areas and structures appurtenant to the structures in paragraph 1. (including pools, hot tubs,
                                       detached garages, guest houses or any similar structures).

                                  However, when there is no individual ownership of units, residential structure does not include military housing,
                                  college/university housing or dormitories, long term care facilities, hotels or motels. Residential structure also
                                  does not include hospitals or prisons.


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                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001140
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                                                                                                                          CNA PARAMOUNT

                                                Architects, Engineers and Surveyors General Liability
                                                                             Extension Endorsement

    This WRAP-UP EXTENSION: OCIP, CCIP, OR CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS Provision
    does not apply to any person or organization who otherwise qualifies as an additional insured on this Coverage Part.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




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CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA001141
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                                                                                                                                                     CNA PARAMOUNT
                                                            General Aggregate Limit - Designated Projects Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                                   SCHEDULE
                               Designated Construction or Service Projects:
                               EACH OF YOUR CONSTRUCTION PROJECTS
                               LOCATED AWAY FROM PREMISES OWNED BY
                               OR RENTED TO YOU




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          It is understood and agreed as follows:
                          I.   For each single designated construction or service project shown in the Schedule above, a separate Designated
                               Project General Aggregate Limit, equal to the amount of the General Aggregate Limit shown in the Declarations, is the
                               most the Insurer will pay for the sum of:
                               A. all damages under Coverage A, except damages because of bodily injury or property damage included in the
                                  products-completed operations hazard; and
                               B. all medical expenses under Coverage C;
                               that arise from occurrences or accidents which can be attributed solely to ongoing operations at that designated
                               project. Such payments shall not reduce the General Aggregate Limit shown in the Declarations, nor the Designated
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                               Project General Aggregate Limit applicable to any other project.
                          II. All:
                               A. damages under Coverage B, regardless of the number of locations or projects involved;
                               B. damages under Coverage A, caused by occurrences which cannot be attributed solely to ongoing operations at
                                  a single designated project, except damages because of bodily injury or property damage included in the
                                  products-completed operations hazard; and
                               C. medical expenses under Coverage C, caused by accidents which cannot be attributed solely to ongoing
                                  operations at a single designated project,
                               will reduce the General Aggregate Limit shown in the Declarations.
                          III. The limits shown in the Declarations for Each Occurrence, for Damage To Premises Rented To You and for Medical
                               Expense continue to apply, but will be subject to either the Project General Aggregate Limit or the General Aggregate
                               Limit shown in the Declarations, depending on whether the occurrence can be attributed solely to ongoing operations
                               at a particular designated project.
                          IV. When coverage for liability arising out of the products-completed operations hazard is provided, any payments for
                              damages because of bodily injury or property damage included in the products-completed operations hazard will

                          CNA74826XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 2                                                                                                     Endorsement No:       4
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001142
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                                                                                                                          CNA PARAMOUNT
                                 General Aggregate Limit - Designated Projects Endorsement

    reduce the Products-Completed Operations Aggregate Limit shown in the Declarations, regardless of the number of
    projects involved.
V. If the applicable scheduled construction or service project has been abandoned and then restarted, or if the authorized
   contracting parties deviate from plans, blueprints, designs, specifications or timetables, such project will still be
   deemed to be the same project.
VI. The provisions of LIMITS OF INSURANCE not otherwise modified by this endorsement shall continue to apply as
    stipulated.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74826XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:       4
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA001143
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                                                                                                                                                     CNA PARAMOUNT

                                                                                                 Coverage for Liability for Hazards of Lead
                                                                                                without Sublimit Endorsement - New Jersey

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the
                          paragraph entitled Exclusions, is amended to add the following to the exclusion entitled Pollution:
                          For premises constructed on or after 1978, or premises constructed prior to 1978 which have been certified, prior to the
                          policy period, as being free of existing lead hazards pursuant to standards established by the Department of Community
                          Affairs, this exclusion does not apply to bodily injury arising out of lead contamination, or out of the inhalation, ingestion,
                          use, handling or contact with lead paint at or from any premises, site or location which is or was at any time owned or
                          occupied by, or rented or loaned to, any Insured.
                          This provision will also apply to any premises constructed prior to 1978 which receives such certification during the policy
                          period, but only for bodily injury which occurs after such certification.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74942NJ (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:       5
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001144
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                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FEDERAL BUSINESS CENTERS
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                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:       6
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001145
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                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:       6
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001146
                                             Copyright Insurance Serv ces Office, Inc., 2018
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 947 of 1498 PageID #:17207
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PETILLO, INC.
30020000760568728074361




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:       7
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001147
                                                                         Copyright, ISO Properties, nc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 948 of 1498 PageID #:17208
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:       7
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001148
                                                Copyright, ISO Properties, nc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 949 of 1498 PageID #:17209
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Town of Morristown
30020000760568728074362




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:       8
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001149
                                                                         Copyright, ISO Properties, nc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 950 of 1498 PageID #:17210
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:       8
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001150
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 951 of 1498 PageID #:17211
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DM Airports, LTD
30020000760568728074363




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:       9
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001151
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 952 of 1498 PageID #:17212
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:       9
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001152
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 953 of 1498 PageID #:17213
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MCFARLAND JOHNSON ENGINEERS INC
30020000760568728074364




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      10
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001153
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 954 of 1498 PageID #:17214
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      10
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001154
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 955 of 1498 PageID #:17215
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Delta Airport Solutions
30020000760568728074365




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      11
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001155
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 956 of 1498 PageID #:17216
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      11
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001156
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 957 of 1498 PageID #:17217
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           US Federal Aviation Administration
30020000760568728074366




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      12
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001157
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 958 of 1498 PageID #:17218
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      12
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001158
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 959 of 1498 PageID #:17219
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           ALSTON CONSTRUCTION COMPANY INC
30020000760568728074367




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      13
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001159
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 960 of 1498 PageID #:17220
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      13
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001160
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 961 of 1498 PageID #:17221
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           LRC Construction LLC; FM EXCAVATION LLC; FULLER MARQUIS CONCRETE LLC; LRC
                           MAINTENANCE LLC; FULLER MARQUISE LLC; CAPPELLI ORGANIZATION LLC.
30020000760568728074368




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      14
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001161
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 962 of 1498 PageID #:17222
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      14
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001162
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 963 of 1498 PageID #:17223
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           RXR CHURCH-DIVISION TOWER A HOLDINGS LLC; RXR CHURCH-DIVISION TOWER A QOZB REIT
                           LLC; RXR QOZ FUND I -C LLC; RXR QOZ FUND I MM-C LLC; RXR QOZ FUND I INVESTOR
                           LLC; RXR PROPERTIES HOLDINGS LLC; RXR REALTY LLC; RXR RESIDENTIAL SERVICES LLC;
30020000760568728074369




                           RXR DEVELOPMENT SERVICES LLC
                           RXR CONSTRUCTION SERVICES LLC




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      15
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001163
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 964 of 1498 PageID #:17224
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      15
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001164
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 965 of 1498 PageID #:17225
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CITY OF NEW ROCHELLE; NEW ROCHELLE INDUSTRIAL DEVELOPMENT AGENCY
30020000760568728074370




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      16
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001165
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 966 of 1498 PageID #:17226
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      16
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001166
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 967 of 1498 PageID #:17227
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           28 SOUTH DIVISION OWNER LLC; 42 SOUTH DIVISION OWNER LLC; 48 SOUTH DIVISION
                           OWNER LLC; 44 SOUTH DIVISION OWNER LLC
30020000760568728074371




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      17
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001167
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 968 of 1498 PageID #:17228
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      17
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001168
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 969 of 1498 PageID #:17229
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CAPITAL ONE N.A.
30020000760568728074372




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      18
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001169
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 970 of 1498 PageID #:17230
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      18
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001170
                                                Copyright, ISO Properties, nc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 971 of 1498 PageID #:17231
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FABRINCIANO CABRERA AND BETTY LYNN CABRERA
30020000760568728074373




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      19
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001171
                                                                         Copyright, ISO Properties, nc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 972 of 1498 PageID #:17232
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      19
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001172
                                                Copyright, ISO Properties, nc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 973 of 1498 PageID #:17233
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PALACE PRIME REALTY LLC
30020000760568728074374




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      20
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001173
                                                                         Copyright, ISO Properties, nc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 974 of 1498 PageID #:17234
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      20
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001174
                                                Copyright, ISO Properties, nc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 975 of 1498 PageID #:17235
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           VITO GALLELLO AND MICHAEL LOVECCHIO
30020000760568728074375




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      21
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001175
                                                                         Copyright, ISO Properties, nc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 976 of 1498 PageID #:17236
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      21
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001176
                                                Copyright, ISO Properties, nc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 977 of 1498 PageID #:17237
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           530 MAIN REALTY LLC
30020000760568728074376




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      22
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001177
                                                                         Copyright, ISO Properties, nc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 978 of 1498 PageID #:17238
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      22
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001178
                                                Copyright, ISO Properties, nc., 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 979 of 1498 PageID #:17239
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DICE REAL ESTATE LLC
30020000760568728074377




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      23
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001179
                                                                         Copyright, ISO Properties, nc., 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 980 of 1498 PageID #:17240
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
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CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001180
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 981 of 1498 PageID #:17241
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           NATIONAL AMUSEMENTS INC
30020000760568728074378




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      24
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001181
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 982 of 1498 PageID #:17242
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      24
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001182
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 983 of 1498 PageID #:17243
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           WILDER BALTER PARTNERS INC
30020000760568728074379




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      25
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001183
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 984 of 1498 PageID #:17244
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      25
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001184
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 985 of 1498 PageID #:17245
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FAMILY YMCA AT TARRYTOWN
30020000760568728074380




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      26
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001185
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 986 of 1498 PageID #:17246
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      26
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001186
                                                Copyright, ISO Properties, nc. 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 987 of 1498 PageID #:17247
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FEDERAL BUSINESS CENTERS
30020000760568728074381




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      27
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001187
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 988 of 1498 PageID #:17248
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      27
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001188
                                             Copyright Insurance Serv ces Office, Inc., 2018
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 989 of 1498 PageID #:17249
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PETILLO, INC.
30020000760568728074382




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      28
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001189
                                                                         Copyright, ISO Properties, nc. 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 990 of 1498 PageID #:17250
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      28
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001190
                                                 Copyright, ISO Properties, nc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 991 of 1498 PageID #:17251
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Town of Morristown
30020000760568728074383




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      29
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001191
                                                                         Copyright, ISO Properties, nc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 992 of 1498 PageID #:17252
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      29
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001192
                                                 Copyright, ISO Properties, nc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 993 of 1498 PageID #:17253
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DM Airports, LTD
30020000760568728074384




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      30
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001193
                                                                         Copyright, ISO Properties, nc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 994 of 1498 PageID #:17254
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      30
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001194
                                                 Copyright, ISO Properties, nc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 995 of 1498 PageID #:17255
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MCFARLAND JOHNSON ENGINEERS INC
30020000760568728074385




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      31
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001195
                                                                         Copyright, ISO Properties, nc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 996 of 1498 PageID #:17256
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      31
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001196
                                                 Copyright, ISO Properties, nc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 997 of 1498 PageID #:17257
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Delta Airport Solutions
30020000760568728074386




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      32
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001197
                                                                         Copyright, ISO Properties, nc 2004
   Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 998 of 1498 PageID #:17258
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      32
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001198
                                                 Copyright, ISO Properties, nc 2004
                             Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 999 of 1498 PageID #:17259
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           US Federal Aviation Administration
30020000760568728074387




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      33
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001199
                                                                         Copyright, ISO Properties, nc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1000 of 1498 PageID #:17260
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      33
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001200
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1001 of 1498 PageID #:17261
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           ALSTON CONSTRUCTION COMPANY INC
30020000760568728074388




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      34
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001201
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1002 of 1498 PageID #:17262
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      34
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001202
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1003 of 1498 PageID #:17263
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           LRC Construction LLC; FM EXCAVATION LLC; FULLER MARQUIS CONCRETE LLC; LRC
                           MAINTENANCE LLC; FULLER MARQUISE LLC; CAPPELLI ORGANIZATION LLC.
30020000760568728074389




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      35
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001203
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1004 of 1498 PageID #:17264
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      35
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001204
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1005 of 1498 PageID #:17265
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           RXR CHURCH-DIVISION TOWER A HOLDINGS LLC; RXR CHURCH-DIVISION TOWER A QOZB REIT
                           LLC; RXR QOZ FUND I -C LLC; RXR QOZ FUND I MM-C LLC; RXR QOZ FUND I INVESTOR
                           LLC; RXR PROPERTIES HOLDINGS LLC; RXR REALTY LLC; RXR RESIDENTIAL SERVICES LLC;




                           RXR DEVELOPMENT SERVICES LLC
                           RXR CONSTRUCTION SERVICES LLC
30020000760568728074390




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      36
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001205
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1006 of 1498 PageID #:17266
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      36
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001206
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1007 of 1498 PageID #:17267
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CITY OF NEW ROCHELLE; NEW ROCHELLE INDUSTRIAL DEVELOPMENT AGENCY
30020000760568728074391




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      37
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001207
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1008 of 1498 PageID #:17268
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      37
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001208
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1009 of 1498 PageID #:17269
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           28 SOUTH DIVISION OWNER LLC; 42 SOUTH DIVISION OWNER LLC; 48 SOUTH DIVISION
                           OWNER LLC; 44 SOUTH DIVISION OWNER LLC
30020000760568728074392




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      38
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001209
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1010 of 1498 PageID #:17270
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      38
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001210
                                                 Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1011 of 1498 PageID #:17271
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CAPITAL ONE N.A.
30020000760568728074393




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      39
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001211
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1012 of 1498 PageID #:17272
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      39
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001212
                                                 Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1013 of 1498 PageID #:17273
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FABRINCIANO CABRERA AND BETTY LYNN CABRERA
30020000760568728074394




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      40
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001213
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1014 of 1498 PageID #:17274
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      40
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001214
                                                 Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1015 of 1498 PageID #:17275
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PALACE PRIME REALTY LLC
30020000760568728074395




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      41
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001215
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1016 of 1498 PageID #:17276
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      41
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001216
                                                 Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1017 of 1498 PageID #:17277
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           VITO GALLELLO AND MICHAEL LOVECCHIO
30020000760568728074396




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      42
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001217
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1018 of 1498 PageID #:17278
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      42
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001218
                                                 Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1019 of 1498 PageID #:17279
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DICE REAL ESTATE LLC
30020000760568728074397




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      43
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001219
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1020 of 1498 PageID #:17280
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      43
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001220
                                                 Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1021 of 1498 PageID #:17281
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           NATIONAL AMUSEMENTS INC
30020000760568728074398




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      44
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001221
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1022 of 1498 PageID #:17282
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      44
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001222
                                                 Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1023 of 1498 PageID #:17283
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           WILDER BALTER PARTNERS INC
30020000760568728074399




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      45
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001223
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1024 of 1498 PageID #:17284
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      45
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001224
                                                 Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1025 of 1498 PageID #:17285
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FAMILY YMCA AT TARRYTOWN
30020000760568728074400




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      46
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001225
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1026 of 1498 PageID #:17286
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      46
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001226
                                                 Copyright, ISO Properties, Inc , 2004
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1027 of 1498 PageID #:17287
                                                                                                                                                     CNA PARAMOUNT
                                                                    Additional Insured – Charitable Institutions Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that the WHO IS AN INSURED section is amended to include as an Insured:
                          A.    the Named Insured’s members but only with respect to such member’s liability for the Named Insured’s activities or
                                activities such members perform on the Named Insured’s behalf;
                          B. the Named Insured’s trustees or members of the board of governors, but only while acting within the scope of their
                             duties as such on behalf of the Named Insured.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074401




                          CNA74691XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      47
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001227
                                            Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1028 of 1498 PageID #:17288
                                                                                                                                                      CNA PARAMOUNT
                                                                                       Blanket Additional Insured - Owners, Lessees or
                                                                                                Contractors - with Products-Completed
                                                                                                   Operations Coverage Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    WHO IS AN INSURED is amended to include as an Insured any person or organization whom you are required by
                                written contract to add as an additional insured on this coverage part, but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury caused in whole or in part by your acts or omissions, or
                                the acts or omissions of those acting on your behalf:
                                A. in the performance of your ongoing operations subject to such written contract; or
                                B. in the performance of your work subject to such written contract, but only with respect to bodily injury or
                                   property damage included in the products-completed operations hazard, and only if:
                                    1.   the written contract requires you to provide the additional insured such coverage; and
                                    2.   this coverage part provides such coverage.
                          II. But if the written contract requires:
                                A. additional insured coverage under the 11-85 edition, 10-93 edition, or 10-01 edition of CG2010, or under the 10-
                                   01 edition of CG2037; or
                                B. additional insured coverage with "arising out of" language; or
                                C. additional insured coverage to the greatest extent permissible by law;
                                then paragraph I. above is deleted in its entirety and replaced by the following:
                                WHO IS AN INSURED is amended to include as an Insured any person or organization whom you are required by
                                written contract to add as an additional insured on this coverage part, but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury arising out of your work that is subject to such written
                                contract.
                          III. Subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer will not provide
30020000760568728074402




                               such additional insured with:
                                A. coverage broader than required by the written contract; or
                                B. a higher limit of insurance than required by the written contract.
                          IV. The insurance granted by this endorsement to the additional insured does not apply to bodily injury, property
                              damage, or personal and advertising injury arising out of:
                                A. the rendering of, or the failure to render, any professional architectural, engineering, or surveying services,
                                   including:
                                    1.   the preparing, approving, or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                         field orders, change orders or drawings and specifications; and
                                    2.   supervisory, inspection, architectural or engineering activities; or
                                B. any premises or work for which the additional insured is specifically listed as an additional insured on another
                                   endorsement attached to this coverage part.
                          V. Under COMMERCIAL GENERAL LIABILITY CONDITIONS, the Condition entitled Other Insurance is amended to
                              add the following, which supersedes any provision to the contrary in this Condition or elsewhere in this coverage
                              part:
                          CNA75079XX (10-16)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:         48
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA001228
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  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1029 of 1498 PageID #:17289
                                                                                                                           CNA PARAMOUNT
                                                            Blanket Additional Insured - Owners, Lessees or
                                                                     Contractors - with Products-Completed
                                                                        Operations Coverage Endorsement

    Primary and Noncontributory Insurance
    With respect to other insurance available to the additional insured under which the additional insured is a named
    insured, this insurance is primary to and will not seek contribution from such other insurance, provided that a written
    contract requires the insurance provided by this policy to be:
    1.   primary and non-contributing with other insurance available to the additional insured; or
    2.   primary and to not seek contribution from any other insurance available to the additional insured.
    But except as specified above, this insurance will be excess of all other insurance available to the additional insured.
VI. Solely with respect to the insurance granted by this endorsement, the section entitled COMMERCIAL GENERAL
    LIABILITY CONDITIONS is amended as follows:
    The Condition entitled Duties In The Event of Occurrence, Offense, Claim or Suit is amended with the addition of
    the following:
    Any additional insured pursuant to this endorsement will as soon as practicable:
    1.   give the Insurer written notice of any claim, or any occurrence or offense which may result in a claim;
    2.   send the Insurer copies of all legal papers received, and otherwise cooperate with the Insurer in the investigation,
         defense, or settlement of the claim; and
    3.   make available any other insurance, and tender the defense and indemnity of any claim to any other insurer or
         self-insurer, whose policy or program applies to a loss that the Insurer covers under this coverage part. However,
         if the written contract requires this insurance to be primary and non-contributory, this paragraph 3. does not
         apply to insurance on which the additional insured is a named insured.
    The Insurer has no duty to defend or indemnify an additional insured under this endorsement until the Insurer receives
    written notice of a claim from the additional insured.
VII. Solely with respect to the insurance granted by this endorsement, the section entitled DEFINITIONS is amended to
     add the following definition:
    Written contract means a written contract or written agreement that requires you to make a person or organization an
    additional insured on this coverage part, provided the contract or agreement:
    A. is currently in effect or becomes effective during the term of this policy; and
    B. was executed prior to:
         1.   the bodily injury or property damage; or
         2.   the offense that caused the personal and advertising injury;
         for which the additional insured seeks coverage.
Any coverage granted by this endorsement shall apply solely to the extent permissible by law.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.

CNA75079XX (10-16)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                     Endorsement No:      48
CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                              CNA001229
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1030 of 1498 PageID #:17290
                                                                                                                                                    CNA PARAMOUNT
                                                                                         Pollution Exclusion Amendatory Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A, Bodily Injury and Property Damage Liability, the
                          paragraph entitled Exclusions is amended to delete paragraph (2) of exclusion f. Pollution, in its entirety, and replace it
                          with the following:
                          This insurance does not apply to:
                          (2) Any loss, cost or expense arising out of any:
                              (a) request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor, clean
                                  up, remove, contain, treat, detoxify or neutralize, or in any way respond to or assess the effects of, pollutants; or
                              (b) Claim by or on behalf of a governmental authority for damages because of testing for, monitoring, cleaning up,
                                  removing, containing, treating, detoxifying or neutralizing, or in any way responding to or assessing the effects of,
                                  pollutants.
                              However, if liability for damages because of property damage is not excluded by paragraph (1) of this exclusion,
                              then neither will paragraph (2)(a) above serve to exclude such damages.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074403




                          CNA74843XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      49
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001230
                                           Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1031 of 1498 PageID #:17291
                                                                                                                                                   CNA PARAMOUNT

                                                                                        Primary and Noncontributory - Other Insurance
                                                                                                              Condition Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the condition entitled Other Insurance is amended to add the following:
                              Primary And Noncontributory Insurance
                              Notwithstanding anything to the contrary, this insurance is primary to and will not seek contribution from any other
                              insurance available to an additional insured under this policy provided that:
                              a.   the additional insured is a named insured under such other insurance; and
                              b. the Named Insured has agreed in writing in a contract or agreement that this insurance would be primary and
                                 would not seek contribution from any other insurance available to the additional insured.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074404




                          CNA74987XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      50
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001231
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1032 of 1498 PageID #:17292
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DEBARTOLO CONSTRUCTION SERVICES, LLC



                           FEDEX GROUND PACKAGE SYSTEM, INC.



                           CHURCH 2415 REALITY LLC



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074405




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      51
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001232
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1033 of 1498 PageID #:17293
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           THE J360 CONSTRUCTION CO LLC



                           ALSTON CONSTRUCTION COMPANY, INC



                           COUNTY OF WARREN             BOARD OF CHOSEN FREEHOLDERS



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074406




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      52
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001233
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1034 of 1498 PageID #:17294
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                 SCHEDULE
                           Name Of Person Or Organization:
                           ALSTON CONSTRUCTION COMPANY, INC., MEDLINE INDUSTRIES, INC. (OWNER), AND OWNER'S
                           CONSULTANTSS AND CONTRACTORS, AND AGENTS AND EMPLOYEES OF ANY OF THEM.


                           MCFARLAND AND JOHNSON



                           DELTA AIRPORT SOLUTIONS



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074407




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      53
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001234
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1035 of 1498 PageID #:17295
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           US FEDERAL AVIATION ADMINISTRATION



                           PETILLO, INC.



                           TOWN OF MORRISTOWN



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074408




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      54
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001235
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1036 of 1498 PageID #:17296
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DM AIRPORTS, LTD




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074409




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      55
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001236
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1037 of 1498 PageID #:17297
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           FEDERAL BUSINESS CENTERS




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074410




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      56
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001237
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1038 of 1498 PageID #:17298
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DICE REAL ESTATE LLC



                           NATIONAL AMUSEMENTS INC




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
30020000760568728074411




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      57
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001238
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1039 of 1498 PageID #:17299
                                                                                                                          CNA PARAMOUNT

                                                                             Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                                                  Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                          It is understood and agreed that the policy is amended as follows:
                          I.    Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions, is amended to add the following exclusion:
                                This insurance does not apply to:
                                A. bodily injury arising out of or relating to, in whole or in part, the actual, alleged or threatened inhalation of,
                                   ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or microbes on or within
                                   a building or structure, or on or within any contents of a building or structure. This exclusion applies regardless of
                                   any other cause or event that contributes concurrently or in any sequence to such injury;
                                B. property damage arising out of or relating to the actual, alleged or threatened contact with, exposure to,
                                   existence of, or growth or presence of any fungi or microbes on or within a building or structure, or on or within
                                   any contents of a building or structure; or
                                C. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                   containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                   the effects of, fungi or microbes, by any Insured or by anyone else. This exclusion applies regardless of any
                                   other cause or event that contributes concurrently or in any sequence to such loss, cost or expense.
                                However, this exclusion does not apply to:
                                i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                                ii. microbes that were transmitted directly from person to person.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions,
                              is amended to add the following exclusion:
                                This insurance does not apply to:
                                A. personal and advertising injury arising out of or relating to, in whole or in part, the actual, alleged or threatened
30020000760568728074412




                                   inhalation of, ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or
                                   microbes on or within a building or structure, or on or within any contents of a building or structure;
                                B. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                   containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                   the effects of, fungi or microbes, by any Insured or by anyone else.
                                This exclusion applies regardless of any other cause or event that contributes concurrently or in any sequence to such
                                injury or damage, loss, cost or expense.
                                However, this exclusion does not apply to:
                                i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                                ii. microbes that were transmitted directly from person to person.
                          III. As used herein:
                                A. fungi means any form of fungus, including but not limited to yeast, mold, mildew, rust, smut or mushroom, and
                                   including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released
                                   by or arising out of the current or past presence of fungi.



                          CNA74708XX (1-15)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                             Endorsement No:      58
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA001239
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                                                                                             CNA PARAMOUNT

                                              Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                   Endorsement

    B. microbe means any non-fungal microorganism, or non-fungal, colony-form organism, that causes infection or
       disease. Microbe includes any spores, mycotoxins, odors or any other substances, products or byproducts
       produced by, released by or arising out of the current or past presence of microbes.
IV. The following Condition is added:
    Arbitration
    For property damage, the determination of what portion of a loss is attributable to fungi and microbes, and what
    portion is not, shall be made by the Insurer. If the Named Insured disagrees with that determination, the Named
    Insured and by the Insurer agree to submit to binding arbitration according to the Commercial Arbitration Rules of the
    American Arbitration Association, or according to such other rules as the Named Insured and the Insurer agree to. If
    binding arbitration of insurance disputes is not allowed in the state where the Named Insured is incorporated (or, if
    the Named Insured is not a corporation, the state where the Named Insured is domiciled), then arbitration shall be
    non-binding, and shall only proceed if both the Named Insured and the Insurer agree to enter into it. The arbitration
    will be held in the county where the Named Insured is headquartered, or at such other location as may be jointly
    agreed to by the Named Insured and the Insurer. Each party will bear its own arbitration costs.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74708XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      58
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA001240
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1041 of 1498 PageID #:17301
                                                                                                                      CNA PARAMOUNT

                                                                                                       Designated Professional Services
                                                                                                               Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                   SCHEDULE
                          Description Of Professional Services:
                          PROFESSIONAL ARCHITECTURAL, ENGINEERING, OR SURVEYING SERVICES, INCLUDING:
                          A. THE PREPARING, APPROVING, OR FAILING TO PREPARE OR APPROVE MAPS SHOP DRAWINGS
                          OPINIONS, REPORTS, SURVEYS, FIELD ORDERS CHANGE ORDERS OR DRAWINGS AND
                          SPECIFICATIONS; AND
                          B. SUPERVISORY, INSPECTION, ARCHITECTURAL OR ENGINEERING ACTIVITIES.


                          THE PARTICULAR EXCLUSION ABOVE APPLIES ONLY TO PERSONS OR ORGANIZATIONS GRANTED
                          INSURED OR ADDITIONAL INSURED STATUS BY ATTACHMENT OF AN ENDORSEMENT TO THIS
                          COVERAGE PART.


                          NOTHING IN THIS ENDORSEMENT SHALL BE CONSTRUED TO REPLACE OR AMEND EXCLUSIONARY
                          LANGUAGE CONTAINED IN ENDORSEMENT CNA74980XX (ENGINEERS ARCHITECTS OR SURVEYORS
                          PROFESSIONAL LIABILITY EXCLUSION ENDORSEMENT ) ATTACHED TO THIS COVERAGE PART,
                          NOR IN ANY OTHER ENDORSEMENT THAT EXCLUDES PROFESSIONAL ARCHITECTURAL,
                          ENGINEERING SURVEYING, OR OTHER PROFESSIONAL SERVICES.
30020000760568728074413




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          With respect to any professional services shown in the Schedule, it is understood and agreed that under COVERAGES,
                          Coverage A – Bodily Injury And Property Damage Liability and Coverage B – Personal And Advertising Injury
                          Liability, the paragraphs entitled Exclusions, are amended to add the following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render any professional service.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.


                          CNA74754XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      59
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001241
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1042 of 1498 PageID #:17302
                                                                                                                                                   CNA PARAMOUNT
                                                                     Employment-Related Practices Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART

                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                              This insurance does not apply to:
                              Bodily injury or personal and advertising injury to:
                              (1) a person arising out of any:
                                  (a) refusal to employ that person;
                                  (b) termination of that person's employment; or
                                  (c) employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
                                      reassignment, discipline, defamation, harassment, humiliation, discrimination or malicious prosecution
                                      directed at that person; or
                              (2) the spouse, child, parent, brother or sister of that person as a consequence of bodily injury to that person at
                                  whom any of the employment-related practices described in Paragraphs (a), (b), or (c) above is directed.
                              This exclusion applies:
                              (1) whether the injury-causing event described in Paragraphs (a), (b) or (c) above occurs before employment, during
                                  employment or after employment of that person;
                              (2) whether the Insured may be liable as an employer or in any other capacity; and
                              (3) to any obligation to share damages with or repay someone else who must pay damages because of the injury.
                              However, solely with respect to Coverage A, this exclusion does not apply to physical injury a person sustains during
                              a job interview while attempting to demonstrate a physical capability or skill required by the job.
30020000760568728074414




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74761XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      60
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001242
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1043 of 1498 PageID #:17303
                                                                                                                                                      CNA PARAMOUNT

                                                                                                Testing or Consulting Errors and Omissions
                                                                                                                    Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          Testing or Consulting Errors and Omissions
                          bodily injury, property damage or personal and advertising injury arising out of:
                          1.    an error, omission, defect or deficiency in:
                                a.   any test performed; or
                                b. an evaluation, a consultation or advice given,
                                by or on behalf of any Insured;
                          2.    the reporting of or reliance upon any such test, evaluation, consultation or advice; or
                          3.    an error, omission, defect or deficiency in experimental data or the Insured’s interpretation of that data.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074415




                          CNA74775XX (1-15)                                                                                                      Policy No: 6056872807
                          Page 1 of 1                                                                                                      Endorsement No:      61
                          CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA001243
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1044 of 1498 PageID #:17304
                                                                                                                       CNA PARAMOUNT
                                                              Construction Wrap-Up Program Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of any
                          current or completed operation performed by the Named Insured or on the Named Insured’s behalf which is or was
                          insured under a consolidated (wrap-up) insurance program.
                          This exclusion applies whether or not the consolidated (wrap-up) insurance program:
                          A. provides coverage identical to that provided by this Coverage Part;
                          B. has limits adequate to cover all claims; or
                          C. remains in effect.
                          Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the prime
                          contractor/project manager or owner of the project has secured general liability insurance covering some or all of the
                          contractors or subcontractors involved in the project. Consolidated (wrap-up) insurance program includes an Owner
                          Controlled Insurance Program (O.C.I.P.) or a Contractor Controlled Insurance Program (C.C.I.P.).




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074416




                          CNA74863XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      62
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001244
                                                                           Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1045 of 1498 PageID #:17305
                                                                                                                                                     CNA PARAMOUNT

                                                                                      Engineers, Architects or Surveyors Professional
                                                                                                     Liability Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render any professional services by the Named Insured or any engineer, architect or surveyor
                          who is either employed by the Named Insured or performing work on the Named Insured’s behalf in such capacity.
                          Professional services include:
                          A. the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys, field
                             orders, change orders or drawings and specifications; and
                          B. supervisory, inspection, architectural or engineering activities.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074417




                          CNA74980XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      63
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001245
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1046 of 1498 PageID #:17306
                                                                                                                                                     CNA PARAMOUNT

                                                                                    Exclusion - Access or Disclosure of Confidential
                                                                                 or Personal Information and Data-Related Liability -
                                                                                 with Limited Bodily Injury Exception Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions, the exclusion entitled Electronic Data is deleted in its entirety and replaced with the following:
                                This insurance does not apply to:
                                Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
                                Damages arising out of:
                                (1) any access to or disclosure of any person’s or organization’s confidential or personal information, including
                                    patents, trade secrets, processing methods, customer lists, financial information, credit card information, health
                                    information or any other type of nonpublic information; or.
                                (2) the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate electronic data.
                                This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                                expenses, public relation expenses or any other loss, cost or expense incurred by the Named Insured or others
                                arising out of that which is described in Paragraph (1) or (2) above.
                                However, unless Paragraph (1) above applies, this exclusion does not apply to damages because of bodily injury.
                                As used herein, electronic data means information, facts or programs stored as or on, created or used on, or
                                transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                                ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                                equipment.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions
                              is amended to add the following exclusion:
                                Access Or Disclosure Of Confidential Or Personal Information
30020000760568728074418




                                This insurance does not apply to personal and advertising injury arising out of any access to or disclosure of any
                                person's or organization's confidential or personal information, including patents, trade secrets, processing methods,
                                customer lists, financial information, credit card information, health information or any other type of nonpublic
                                information.
                                This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                                expenses, public relations expenses or any other loss, cost or expense incurred by the Named Insured or others
                                arising out of any access to or disclosure of any person's or organization's confidential or personal information.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.



                          CNA75089XX (1-15)                                                                                                      Policy No: 6056872807
                          Page 1 of 1                                                                                                      Endorsement No:      64
                          CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA001246
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                                                                                                                       CNA PARAMOUNT
                                                                       Waiver of Governmental Immunity - Port Authority
                                                                              of New York and New Jersey Endorsement

                          This endorsement modifies insurance provided under:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          The Insurance carrier(s) shall not, without obtaining the express advance written permission from the General Counsel of
                          the Port Authority of New York and New Jersey, raise any defense involving in any way the jurisdiction of the Tribunal over
                          the person of the Port Authority, the immunity of the Port Authority, its commissioners, officers, agents or employees, the
                          governmental nature of the Port Authority, or the provisions of any statutes respecting suits against the Port Authority.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA75105XX (1-15)                                                                          Policy No: 6056872807
                          Page 1 of 1                                                                          Endorsement No:      65
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001247
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                                                                                                                             CNA PARAMOUNT

                                                                              Amendment - Infringement of Copyright, Patent,
                                                                                Trademark Trade Secret or Other Intellectual
                                                                                     Property Rights or Laws Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that:
                          I.    Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the Exclusion entitled Infringement
                                of Copyright, Patent, Trademark or Trade Secret is deleted and replaced as follows:
                                Infringement or Violation of Intellectual Property Rights or Laws
                                Personal and advertising injury arising out of infringement or violation of the following rights or laws:
                                (a) patent;
                                (b) trade secret or other confidential or proprietary non-personal information;
                                (c) trademark, certification mark, service mark, collective mark, trade name, or other designation of origin or
                                    authenticity;
                                (d) copyright; or
                                (e) any other intellectual property right or legally protected expression, including but not limited to another’s idea,
                                    slogan, trade dress, style of doing business, or unauthorized use of another’s name or image, or any other
                                    intellectual property law, including but not limited to piracy, unfair competition or other similar practices.
                                This exclusion applies to the entirety of all allegations in any claim if the claim alleges the infringement or violation of
                                any intellectual property right or law identified above, even if this insurance would otherwise apply to other allegations
                                in the claim. However, this exclusion does not apply if the claim’s only allegation is copyright or slogan infringement
                                in Named Insured’s advertisement.
                          II. Under DEFINITIONS, the definition of personal or advertising injury is amended to delete its subparagraph g., and
                              replace it with the following:
                                g. Infringing upon another's copyright or slogan in Named Insured’s advertisement.
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                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA75116XX (1-15)                                                                               Policy No: 6056872807
                          Page 1 of 1                                                                               Endorsement No:      66
                          CONTINENTAL CASUALTY COMPANY                                                                Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                               CNA001248
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                                                                                                                          CNA PARAMOUNT
                                                                  Employee Benefits Liability Coverage Part - Occurrence

                          I.    COVERAGE
                                The Insurer will pay those sums up to the applicable limit of insurance that the Insured becomes legally obligated to
                                pay as damages as a result of a covered claim for an act, error or omission negligently committed in the
                                administration of the Named Insured's employee benefit program provided that such act, error or omission:
                                A. takes place in the coverage territory;
                                B. was committed during the policy period; and
                                C. prior to the effective date of the policy period:
                                    1.     no authorized insured knew or should have known of a claim or circumstance;
                                    2.     no Insured had given notice to a prior insurer of any related claim.
                                The Insurer will pay all defense costs in connection with a covered claim. Such defense costs are in addition to the
                                limits of insurance.
                          II. DUTY TO DEFEND
                                The Insurer has the right and duty to defend in the Insured's name and on the Insured's behalf any covered suit
                                even if any of the allegations of such suit are groundless, false or fraudulent. The Insurer shall have the right to
                                appoint counsel and to make such investigation and settlement of a claim as is deemed necessary by the Insurer. If
                                a claim is subject to an arbitration proceeding or mediation proceeding, the Insurer shall be entitled to exercise all of
                                the Insured's rights in the choice of arbitrators or mediators and in the conduct of an arbitration proceeding or
                                mediation proceeding involving such claim.
                                The Insurer is not obligated to investigate, defend, pay or settle, or continue to investigate, defend, pay or settle a
                                claim after the applicable limit of the Insurer's liability has been exhausted by payment of damages.
                          III. EXCLUSIONS
                                This insurance does not apply to:
                                A. Bodily Injury, Property Damage, or Personal and Advertising Injury
                                    any bodily injury, property damage or personal and advertising injury .
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                                B. Dishonest, Fraudulent, Criminal or Malicious Act Damages
                                    any intentional, dishonest, fraudulent, criminal or malicious act, error or omission, committed by any insured,
                                    including the willful or reckless violation of any statute.
                                C. Employment-Related Practices
                                    any wrongful termination of employment, discrimination, or other employment-related practices.
                                D. ERISA/Internal Revenue Code
                                    any act, error or omission in the Insured's capacity as a fiduciary under:
                                    1.     the Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any similar
                                           federal, state or local laws; or
                                    2.     the Internal Revenue Code of 1986 as now or hereafter amended.
                                E. Failure to Perform a Contract
                                    any failure of performance of contract by any insurer.
                                F. Inadequacy of Performance of Investment/Advice Given with Respect to Participation
                                    any:
                                1. failure of any investment to perform;
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                                                                                             CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

       2.   errors in providing information on past performance of investment vehicles; or
       3.   advice given to any person with respect to that person's decision to participate or not to participate in any
            plan included in the employee benefit program.
   G. Insufficiency of Funds
       any insufficiency of funds to meet any obligations under any plan included in the employee benefit program.
   H. Workers' Compensation and Similar Laws
       any failure to comply with the mandatory provisions of any workers' compensation, unemployment compensation
       insurance, social security or disability benefits law or any similar law.
IV. LIMITS OF INSURANCE AND DEDUCTIBLE
   A. Limits of Insurance
       1.   Related Claims
            All related claims, whenever made, shall be considered a single claim first made during the policy period in
            which the earliest claim was first made.
       2.   Limit of insurance – each employee
            Subject to paragraph 2. below, the Insurer's limit of insurance for damages for all covered claims made by or
            behalf of any one employee including such employee's dependents or beneficiaries, shall not exceed the
            amount stated in the Coverage Part Declarations as "Employee Benefits Liability - each employee".
       3.   Limit of insurance - all claims in the aggregate
            The Insurer's limit of insurance for damages for all covered claims shall not exceed the amount stated in the
            Coverage Part Declarations as "Employee Benefits Liability – all claims in the aggregate", regardless of the
            number of employees.
       4.   Multiple insureds, claims, and claimants
            The limits of insurance shown in the Coverage Part Declarations and subject to the provisions of this policy,
            is the most the Insurer will pay as damages regardless of the number of Insureds, claims made or reported,
            persons or entities making claims, acts, errors or omission which result in damages or defense costs;
            employee benefit plans.
   B. Deductible
       1.   The Insurer's obligation to pay damages on behalf of the Insured applies only to the amount of damages in
            excess of the deductible amount stated on the Coverage Part Declarations as applicable to each employee
            including such employee's dependents or beneficiaries. The limits of insurance shall not be reduced by the
            amount of this deductible.
       2.   The deductible amount stated on the Coverage Part Declarations applies to all damages sustained by any
            one employee including such employee's dependents and beneficiaries, because of all acts, errors or
            omissions to which this insurance applies.
       3.   The Insurer may pay any part or all of the deductible amount to effect settlement of any claim and, upon
            notification of the action taken, the Insured shall promptly reimburse the Insurer for such part of the
            deductible amount as the Insurer has paid.
   The Limits of Insurance of this coverage part apply separately to each consecutive annual period and to any
   remaining period of less than 12 months, starting with the beginning of the policy period shown in the Policy
   Declarations, unless the policy period is extended after issuance for an additional period of less than 12 months. In
   that case, the additional period will be deemed part of the last preceding period for purposes of determining the Limits
   of Insurance.

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                                                                                                                     CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                          V. CONDITIONS


                             Assistance and Cooperation
                             If there is a claim the Insured must:
                             A. forward to the Insurer or its designee, copies of the papers and documents, if any, which inform the Insured of a
                                claim, including all notices, summonses or other processes regarding legal proceedings;
                             B. fully cooperate with the Insurer or its designee in all investigations, the making of settlements, the conduct of
                                suits or other proceedings, enforcing any right of contribution or indemnity against another who may be liable to
                                the Insured because of the claim. The Insured shall attend hearings and trials, assist in securing and giving
                                evidence, and obtaining the attendance of witnesses.
                             Concealment, Misrepresentation and Fraud
                             No concealment, misrepresentation or fraud shall avoid or defeat recovery under this coverage part unless such
                             concealment, misrepresentation or fraud was material. Concealment, misrepresentation or fraud in the procurement
                             of this coverage part which if known by the Insurer would have led to refusal by the Insurer to make this contract or
                             provide coverage, or to make this contract or provide coverage on different terms or conditions, will be deemed
                             material.
                             Estates, Legal Representatives and Spouses
                             The estates, heirs, legal representatives and spouse of any natural person Insured shall also be insured under this
                             coverage part; provided, however, coverage is afforded to such estates, heirs, legal representatives, and spouse
                             only for claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim
                             seeks damages from marital community property, jointly held property or property transferred from such natural
                             person Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                             representative, or spouse outside the scope of such person's capacity or status as such.
                             Notice of Claims and Circumstances
                             A. Notice of Circumstances
                                 The Insured must see to it that the Insurer is notified promptly of any circumstance. To the extent possible,
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                                 notice should include:
                                 1.   how, when and where the act, error or omission took place;
                                 2.   the names and addresses of any injured persons or organizations and witnesses; and
                                 3.   the nature and location of any injury or damage arising out of the occurrence or offense.
                             B. Notice of Claims
                                 If a claim is made against any Insured, the Insured must:
                                 1.   immediately record the specifics of the claim and the date received; and
                                 2.   notify the Insurer in writing as soon as possible.
                             C. The Insured must:
                                 1.   immediately send the Insurer copies of any demands, notices, summonses or legal papers received in
                                      connection with the claim;
                                 2.   authorize the Insurer to obtain records and other information.
                             D. no Insureds will, except at their own cost, voluntarily make a payment, assume any obligation, or incur any
                                expense without the Insurer's consent.


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                                                                                              CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

   Other Insurance
   If other valid and collectible insurance is available to the Insured for loss insured under this coverage part, the
   Insurer's obligations are limited as follows:
   A. Primary Insurance
       This insurance is primary. The Insurer's obligations are not affected unless any of the other insurance is also
       primary. Then, the Insurer will share with all that other insurance by the method described in Paragraph b. below.
   B. Method of Sharing
       If all of the other insurance permits contribution by equal shares, the Insurer will follow this method also. Under
       this approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of
       the loss remains, whichever comes first.
       If any of the other insurance does not permit contribution by equal shares, the Insurer will contribute by limits.
       Under this method, each insurer's share is based on the ratio of its applicable limit of insurance to the total
       applicable limits of insurance of all insurers.
   Premium Audit
   A. The Insurer will compute all premiums for this coverage part in accordance with the Insurer rules and rates.
   B. Premium shown in this coverage part as advance premium is a deposit premium only. At the close of each audit
      period the Insurer will compute the earned premium for that period and send notice to the First Named Insured.
      The due date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the
      advance and audit premiums paid for the policy term is greater than the earned premium, the Insurer will return
      the excess to the First Named Insured.
   C. The First Named Insured must keep records of the information the Insurer need for premium computation, and
      send the Insurer copies at such times as the Insurer may request.
   Separation of Insureds
   Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this policy to the First
   Named Insured, this insurance applies:
   A. as if each Named Insured were the only Named Insured; and
   B. separately to each Insured against whom a claim is made.
   Transfer of Rights of Recovery
   If any Insured for whom payment is made by the Insurer under this policy has rights to recover amounts from another,
   those rights are transferred to the Insurer to the extent of its payment. The Insured must do everything necessary
   after loss to secure the Insurer's rights and must do nothing to prejudice such rights.
VI. DEFINITIONS
   Administration means:
   A. providing information to employees, including their dependents and beneficiaries, with respect to eligibility for or
      scope of employee benefit programs;
   B. handling records in connection with the employee benefit program; or
   C. effecting, continuing or terminating any employee's participation in any benefit included in the employee benefit
      program.
   However, administration does not include handling payroll deductions.



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                                                                                                                         CNA PARAMOUNT
                                                               Employee Benefits Liability Coverage Part - Occurrence

                             Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                             the Named Insured's goods, products or services for the purpose of attracting customers or supporters. For the
                             purposes of this definition:
                             A. notices that are published include material placed on the Internet or on similar electronic means of
                                communication; and
                             B. regarding web-sites, only that part of a web-site that is about the Named Insured's goods, products or services
                                for the purposes of attracting customers or supporters is considered an advertisement.
                             Authorized Insured means any executive officer, member of the Named Insured's human resources, risk
                             management or in-house general counsel's office, or any employee authorized by the Named Insured to give or
                             receive notice of a claim.
                             Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                             mental anguish or mental injury by that person at any time which results as a consequence of the bodily injury,
                             sickness or disease.
                             Cafeteria plans means plans authorized by applicable law to allow employees to elect to pay for certain benefits with
                             pre-tax dollars.
                             Claim means:
                             A. suit; or
                             B. a written or oral demand for damages
                             alleging negligent acts, errors or omissions committed in the administration of the Named Insured's employee
                             benefit plans.
                             Circumstance means an act, error or omission reported during the policy period from which an executive officer
                             reasonably expects that a claim could be made.
                             Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                             Endorsements.
                             Coverage territory means:
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                             A. the United States of America (including its territories and possessions), Puerto Rico and Canada;
                             B. international waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
                                between any places included in Paragraph A. above.
                             Damages means the amount an Insured is legally obligated to pay, either through:
                             A. final adjudication of a covered claim; or
                             B. through compromise or settlement of a covered claim with the Insurer's written consent or direction.
                             In addition, damages includes the above mentioned sums only after deducting all other recoveries and salvages.
                             However, damages does not include with respect to any claim;
                                 1.   restitution, return or disgorgement of fees, costs and expenses paid or incurred or charged by an Insured, no
                                      matter whether claimed as restitution of specific funds, forfeiture, financial loss, set-off or otherwise, and
                                      injuries that are a consequence of any of the foregoing;
                                 2.   civil or criminal fines, sanctions, penalties forfeitures, or taxes whether pursuant to statute, regulation or
                                      court rule, including those imposed under the Internal Revenue Code;
                                 3.   the multiplied portion of multiplied awards imposed pursuant to any statute or regulation requiring such
                                      awards;
                                 4.   injunctive or declaratory relief;

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                                    Employee Benefits Liability Coverage Part - Occurrence

       5.   any amount that is not insurable under any applicable law; or
       6.   plaintiff's attorney fees associated with any of the above;
       7.   any amounts for benefits to the extent that such benefits are available, with reasonable effort and
            cooperation of the Insured, from the applicable funds accrued or other collectible insurance; or
       8.   any amounts that exceed the limits and restrictions that apply to the payment of benefits in any plan included
            in the employee benefit program.
   Defense costs mean:
   A. reasonable and necessary fees, costs, and expenses incurred by the Insurer or consented to by the Insurer and
      incurred by the Named Insured in the defense or appeal of a covered suit or in the investigation of any covered
      claim, and includes premium for appeal bonds arising out of a covered judgment, attachment bonds or similar
      bonds, but only for bond amounts up to the applicable limit of insurance.
   B. prejudgment interest awarded against an Insured on that part of a judgment covered by this coverage part. If
      the Insurer makes an offer to pay the applicable limit of insurance, the Insurer will not pay any prejudgment
      interest based on that period of time after the offer.
   C. post judgment interest which accrues after entry of judgment, but before the Insurer has paid or offered to pay,
      or deposited in court that part of the judgment which is within the applicable limit of insurance of this coverage
      part. The amount of interest the Insurer pays will be in direct proportion to the amount of damages the Insurer
      pays in relation to the total amount of the judgment.
   D. all reasonable expenses incurred by a natural person Insured at the Insurer's request to assist the Insurer in the
      investigation or defense of the claim. This includes such Insured's actual loss of earnings up to $1000.00 per
      day, because of time off from work;
   E. all court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
      attorneys' expenses taxed against the Insured.
   Payment of defense costs will not reduce the limit of insurance.
   Employee means a person actively employed, formerly employed, on leave of absence or disabled, or retired.
   Employee includes a leased worker. Employee does not include a temporary worker.
   Employee benefit program means a program providing some or all of the following benefits to the employees
   whether provided through a cafeteria plan or otherwise:
   A. group life insurance, group accident or health insurance, dental, vision and hearing plans, and flexible spending
      accounts, provided that no one other than an employee may subscribe to such benefits and such benefits are
      made generally available to those employees who satisfy the plan's eligibility requirements;
   B. profit sharing plans, employee savings plans, employee stock ownership plans, pension plans and stock
      subscription plans, provided that no one other than an employee may subscribe to such benefits and such
      benefits are made generally available to all employees who are eligible under the plan for such benefits;
   C. unemployment insurance, social security benefits, workers' compensation and disability benefits; or
   D. vacation plans, including buy and sell programs; leave of absence programs, including military, maternity, family,
      and civil leave; tuition assistance plans; transportation and health club subsidies.
   Executive Officer means any natural person holding any of the following positions created by the Named Insured's
   charter, constitution, bylaws or any other similar governing document:
   A. director, officer, trustee or governor of a corporation;
   B. management committee member of a joint venture;
   C. partner of a partnership;

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                                                                                                                         CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                             D. manager of a limited liability company;
                             E. trustee of a trust.
                             An executive officer is not an employee.
                             First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                             Insured means any Named Insured and
                             A. any natural person who was, is or becomes:
                                 1.   the Named Insured's executive officers, but only for the administration of the Named Insured’s
                                      employee benefit program; or
                                 2.   the Named Insured's stockholders, but only with respect to their liability as stockholders.
                                 3.   the Named Insured's employees authorized to administer its employee benefit program; or
                                 4.   any natural person (including any employee), or any organization having proper temporary authorization to
                                      administer the Named Insured's employee benefit program, but only until an authorized legal
                                      representative is appointed on behalf of the Named Insured.
                             B. any organization the Named Insured newly acquires or forms, other than a partnership or joint venture, and over
                                which the Named Insured maintains ownership or majority interest, if there is no other similar insurance available
                                to that organization. However:
                                 1.   coverage under this provision is afforded only until the 90th day after the Named Insured acquires or forms
                                      the organization or the end of the policy period, whichever is earlier; and
                                 2.   coverage does not apply to acts, errors or omissions that occurred before the Named Insured acquired or
                                      formed the organization.
                                 No person or organization is an insured with respect to the conduct of any current or past partnership or joint
                                 venture that is not shown as a Named Insured in the Declarations.
                             In addition to the above, the estates, heirs, legal representatives or spouses of any of the Named Insured’s
                             executive officers or employees qualifying as an Insured are also insured pursuant to the condition entitled
                             Estates, Legal Representatives And Spouses.
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                             Leased worker means a natural person leased to the Named Insured by a labor leasing firm under an agreement
                             between the Named Insured and the labor leasing firm, to perform duties related to the conduct of the Named
                             Insured's business. Leased worker does not include a temporary worker.
                             Named Insured means the person or organization shown in the Declarations, and any other person or organization
                             qualifying as a Named Insured under this coverage part.
                             Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
                             conditions.
                             Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
                             the following offenses:
                             A. false arrest, detention or imprisonment;
                             B. malicious prosecution;
                             C. wrongful eviction from, wrongful entry into, or the invasion of the right of private occupancy of a room, dwelling or
                                premises that a natural person occupies committed by or on behalf of its owner, landlord or lessor;
                             D. oral or written publication, in any manner, of material that slanders or libels a person or organization or disparages
                                a person's or organization's goods, products or services;
                             E. oral or written publication, in any manner, of material that violates a natural person’s right of privacy;
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                                   Employee Benefits Liability Coverage Part - Occurrence

   F. the use of another's advertising idea in the Named Insured's advertisement; or
   G. infringing upon another's copyright or slogan in the Named Insured's advertisement.
   Policy period means the period of time from the effective date and time of this Policy to the date and time of
   termination as shown in the Policy Declarations, or its earlier cancellation date.
   Property damage means physical injury to:
   A. tangible property, including all resulting loss of use of that property. All such loss of use shall be deemed to occur
      at the time of the physical injury that caused it; or
   B. loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
      time of the occurrence that caused it.
   Related claims means all claims arising out of a single act, error or omission or arising out of related acts, errors or
   omissions negligently committed in the administration of the Insured Entity's employee benefits program.
   Spouse means any husband or wife or any person qualifying as a domestic partner under any federal, state or local
   laws or under the Named Insured's employee benefit plans or employee benefits program.
   Suit means a civil proceeding in which damages to which this insurance applies are alleged. Suit includes:
   A. an arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
      submit with the Insurer's consent; or
   B. any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
      submits with the Insurer's consent.
   Temporary worker means a worker who is furnished to the Named Insured to substitute for a permanent employee
   on leave or to meet seasonal or short-term workload conditions.
   Volunteer worker means a natural person who is not the Named Insured's employee, and who donates his or her
   work and acts at the direction of and within the scope of duties determined by the Named Insured, and is not paid a
   fee, salary or other compensation by the Named Insured or anyone else for their work performed for the Named
   Insured.




CNA74721XX 01-15                                                                                                 Page 8 of 8

                                                 CNA001258
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1059 of 1498 PageID #:17319
                                                                                                                       CNA PARAMOUNT

                                                                                          Employee Benefits Liability- Amended
                                                                                    Definition of Executive Officer Endorsement

                          This endorsement modifies insurance provided under the following:

                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                          It is understood and agreed that under DEFINITIONS, the definition of Executive Officer is deleted and replaced by the
                          following:
                          Executive Officer means any natural person holding any of the following positions created by the Named Insured's
                          charter, constitution, bylaws or any other similar governing document:
                          A. director, officer, trustee or governor of a corporation.
                          B. management committee member of a joint venture;
                          C. partner of a partnership;
                          D. manager of a limited liability company; or
                          E. trustee of a trust.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
30020000760568728074427




                          CNA86269XX (10-16)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      67
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA001259
                                                                            Copyright CNA A l R ghts Reserved.
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1060 of 1498 PageID #:17320
Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1061 of 1498 PageID #:17321
                           Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1062 of 1498 PageID #:17322


                                                                                                                                    IL 01 11 11 03

                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                               NEW JERSEY CHANGES
                          This endorsement modifies insurance provided under the following:

                              CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
                              COMMERCIAL INLAND MARINE COVERAGE PART
                              COMMERCIAL PROPERTY COVERAGE PART
                              STANDARD PROPERTY POLICY

                          A. The following exclusion and related provisions are              To     the    extent      that  the   Concealment,
                             added:                                                          Misrepresentation Or Fraud Condition conflicts with
                             1. We will not pay for loss or damage arising out of            the provisions of Paragraph A.2. above, the
                                any act committed:                                           provisions of A.2. will apply.
                                a. By or at the direction of any insured; and             B. The following is added to the Transfer Of Rights Of
                                                                                             Recovery Against Others To Us Condition:
                                   b. With the intent to cause a loss.
                                                                                              If we pay a co-insured for loss arising out of an act
                              2.   However, this exclusion will not apply to deny             of domestic violence by another insured, the rights
                                   payment to a co-insured who did not cooperate              of the co-insured, who did not cooperate in or
                                   in or contribute to the creation of the loss if the        contribute to the creation of the loss, to recover
                                   loss arose out of domestic violence.                       damages from the perpetrator of domestic violence
                              3.   If we pay a claim pursuant to Paragraph A.2.,              are transferred to us to the extent of our payment.
                                   our payment to the insured is limited to that              Following the loss, the co-insured who did not
                                   insured's insurable interest in the property. In no        cooperate in or contribute to the loss may not waive
                                   event will we pay more than the Limit of                   such rights to recover against the perpetrator of
                                   Insurance.                                                 domestic violence.
30020000760568728074430




                          IL 01 11 11 03                             Copyright, ISO Properties, Inc., 2003                             Page 1 of 1
                                                                            CNA001262
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1063 of 1498 PageID #:17323
                                                                                                                           CNA PARAMOUNT
                                                                                                       Broad Named Insured Endorsement

                          This endorsement modifies insurance provided under the following:
                                EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                                STOP GAP LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    The WHO IS AN INSURED Section is amended to delete its Paragraph 3. in its entirety and replace it with the
                                following:
                                3.   Pursuant to the limitations described in Paragraph IV. below, any organization in which a Named Insured has
                                     management control:
                                     a.   on the effective date of this Coverage Part; or
                                     b. by reason of a Named Insured creating or acquiring the organization during the policy period,
                                     qualifies as a Named Insured, provided that there is there is no other similar liability insurance, whether primary,
                                     contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
                                     provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
                                     narrower than that provided by this insurance.
                                     However, this BROAD NAMED INSURED provision does not apply to:
                                     (a) any partnership, limited liability company or joint venture; or
                                     (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.
                          II. Solely with respect to organizations which qualify as Named Insureds by virtue of this Endorsement, this insurance
                              does not apply to:
                                a.   bodily injury or property damage that first occurred prior to the date of management control, or that first occurs
                                     after management control ceases; nor
                                b. personal or advertising injury caused by an offense that first occurred prior to the date of management control
                                   or that first occurs after management control ceases.
                          III. The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names or
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                               under such other trading names or doing-business-as names as any Named Insured should choose to employ.
                          IV. For the purposes of this endorsement, a new definition is added as follows:
                                Management control means:
                                A. owning interests representing more than 50% of the voting, appointment or designation power for the selection of
                                   a majority of: the Board of Directors of a corporation; or
                                B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or sell
                                   property held by a trust.
                          V. If the coverage part to which this endorsement applies is part of a package policy that also contains a Commercial
                             General Liability Coverage Part (CGL) that has been endorsed:
                                A. with a Broad Named Insured provision, then the CGL’s Broad Named Insured provision’s terms hereby replace
                                   this endorsement’s terms, including any terms applicable to management control, limited liability companies or
                                   joint ventures; or
                                B. to exclude from coverage an organization that otherwise would qualify as a Named Insured under this (Broad
                                   Named Insured) endorsement, then such an organization is also excluded from the coverage provided by this
                                   coverage part.

                          CNA75108XX (1-15)                                                                              Policy No: 6056872807
                          Page 1 of 2                                                                              Endorsement No:      69
                          CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                CNA001263
                                                                              Copyright CNA A l R ghts Reserved.
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                                                                                             CNA PARAMOUNT
                                                                         Broad Named Insured Endorsement



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA75108XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      69
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA001264
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1065 of 1498 PageID #:17325
                                                                                                                       CNA PARAMOUNT
                                                                                                                     Bridge Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    The Common Terms and Conditions are amended to delete the sections entitled “Bankruptcy” and “No Suit Against
                                Insurer” as the conditions section of the Coverage Part has more specific conditions of its own.
                          II. The conditions section is amended to delete the condition entitled When We Do Not Renew. Please refer instead to
                              Condition III. CANCELLATION/NONRENEWAL of the Common Terms and Conditions.
                          III. The DEFINITIONS section is amended to add the following new definitions:

                                Claim means:

                                A. a suit; or
                                B. a written or oral demand for damages alleging injury to which this insurance applies.

                                Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                                Endorsements.

                                Damages means the amount an Insured is legally obligated to pay, either through:

                                A. final adjudication of a covered claim; or

                                B. through compromise or settlement of a covered claim with the Insurer’s written consent or direction.

                                Defense costs means those amounts set forth under the SUPPLEMENTARY PAYMENTS section of any applicable
                                coverage part.
                                First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                                Insured means those persons or organizations as set forth in the section entitled Who is an Insured.
                                Named Insured means the persons or organizations named as such in the Declarations and any other person or
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                                organization qualifying as a named insured under this policy.

                                Policy period means the period of time from the effective date and time of this Policy to the date and time of
                                termination as shown in the Policy Declarations, or its earlier cancellation date.
                                Spouse means any husband or wife or any person qualifying as a domestic partner under any applicable federal,
                                state or local laws or under the Named Insured’s employee benefit plans.
                          IV. Where the phrase “claim or suit” appears, it is deleted and replaced with the defined term claim.
                          V. Any reference to “the Insurer” in this Policy refers to the company providing this insurance.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.

                          CNA62646XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      70
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                               CNA001265
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1066 of 1498 PageID #:17326
                                                                                                                          CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          Wherever used in this endorsement: 1) Insurer means "we", "us", "our" or the "Company" as those terms may be defined
                          in the policy; and 2) Named Insured means the first person or entity named on the declarations page; and 3) "Insureds"
                          means all persons or entities afforded coverage under the policy.

                          Any cancellation, non-renewal or termination provisions in the policy are deleted in their entirety and replaced with the
                          following:

                          CANCELLATION AND NON-RENEWAL

                          A.       CANCELLATION

                                   1.     The first Named Insured may cancel the policy at any time. To do so, the Named Insured must return the
                                          policy to the Insurer or any of its authorized representatives, indicating the effective date of cancellation;
                                          or provide a written notice to the Insurer, stating when the cancellation is to be effective.

                                   2.     The Insurer may cancel the policy at any time and for any reason within the first sixty (60) days. The
                                          Insurer will mail or deliver written notice of cancellation at least ten (10) days prior to the effective of such
                                          cancellation if cancellation is for nonpayment or existence of a moral hazard as defined by NJAC 11:1-
                                          20.2(f) and thirty (30) days if for any other reason.

                                   3.     If the policy has been in effect for sixty (60) days or more, it may be canceled only for one of the following
                                          reasons:

                                          a.       May be canceled for any underwriting reason set forth in our underwriting guidelines which were
                                                   in effect at the policy inception. The underwriting guidelines must not be arbitrary, capricious or
                                                   unfairly discriminatory.

                                          b.       The following text sets forth certain approved reasons for midterm cancellations as approved
                                                   guidelines. While an Insurer may issue other guidelines, it appears that an Insurer should limit its
                                                   guidelines for midterm cancellation to those the Department has approved to avoid the possibility
                                                   that the Department might rescind a cancellation.
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                                          c.       All underwriting reasons or guidelines utilized by the Insurer to cancel or non-renew the policy
                                                   will be maintained by Insurer in writing and will be available to the Named insured or the Named
                                                   Insured's lawful representatives upon written request.

                                          d.       Only those guidelines which are in effect at the inception of the original policy or any renewal
                                                   thereof, as applicable, may be utilized to cancel during the policy period.

                                          e.       The following guidelines are approved for use:

                                                   (1)      Non-payment of premium;
                                                   (2)      Moral hazard, which is defined as:

                                                            (a)      The risk, danger or probability that the insured will destroy, or permit to be
                                                                     destroyed, the insured property for the purpose of collecting the insurance
                                                                     proceeds. Any change in the circumstances of an insured that will increase the
                                                                     probability of such a destruction may be considered a "moral hazard;" and
                                                            (b)      The substantial risk, danger or probability that the character, circumstances or
                                                                     personal habits of the insured may increase the possibility of loss or liability
                                                                     which we will be held responsible. Any change in the character or

                          CNA62814NJ (9-12)                                                                             Policy No: 6056872807
                          Page 1 of 3                                                                             Endorsement No:      71
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001266
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     Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1067 of 1498 PageID #:17327
                                                                                                  CNA PARAMOUNT
                                                              Cancellation / Non-Renewal – New Jersey

                                            circumstances of an individual, corporate, partnership or other insured that will
                                            increase probability of such a loss or liability may be considered a "moral
                                            hazard."
                          (3)      Material misrepresentation or non-disclosure of material fact.
                          (4)      Increased hazard or material change in the risk by the parties at inception of coverage.
                          (5)      Substantial breaches of policy provisions that materially affect the nature and/or
                                   insurability of the risk.
                          (6)      Lack of cooperation on loss control matters which materially affect insurability.
                          (7)      Fraudulent acts which materially affects the risk.
                          (8)      Loss of or reduction in available insurance capacity. This is an acceptable reason for
                                   cancellation only if the following exists:

                                   (i)       an insurance department has declared insured to be financially impaired.
                                   (ii)      substantial reductions in reinsurance or other changes which prohibit us from
                                             providing coverage at the same limits and terms as the existing policy; or
                                   (iii)     an insurance department has issued an order indicating impaired financial
                                             condition of the reinsurer which may adversely affect the reinsurer's ability to
                                             meet its obligations.

                          (9)      Failure of the Insured to comply with any federal, state or local fire, health, safety,
                                   building or construction regulation, law or ordinance which substantially increases any
                                   hazard insured against. The Insured has sixty (60) days to correct.
                          (10)     Failure by the Insured to provide reasonable and necessary underwriting information to
                                   us upon written request and a reasonable time to respond.
                          (11)     Agency termination, provided:

                                   (i)       It is documented that replacement coverage at comparable rates and terms has
                                             been provided to the Insured, and the Insured has been informed, in writing of
                                             his or her right to continue coverage; or

                                   (ii)      the Insured has agreed in writing to the cancellation based upon the termination
                                             of the agent.

                                   The Insurer will mail notice of cancellation to the Named Insured not more than one
                                   hundred and twenty (120) days nor less than sixty (60) days prior to the effective date of
                                   such cancellation. If the Insurer cancels for non-payment of premium, notice of
                                   cancellation will be mailed at least ten (10) days prior to the effective date of such
                                   cancellation.

         4.      All notices of cancellation will state the reason for cancellation.

         5.      Notice of cancellation will state the effective date of cancellation. The policy period will end on that date.

         6.      If notice is mailed, proof of mailing will be sufficient proof of notice.


B.       PREMIUM REFUND

         If this policy is cancelled, the Insurer will send the Named Insured any premium refund due. If the Insurer cancels
         the refund will be pro rata. If the Named Insured cancels, the refund may be less than pro rata. The cancellation
         will be effective even if the Insurer has not made or offered a refund.

CNA62814NJ (9-12)                                                                                  Policy No: 6056872807
Page 2 of 3                                                                                  Endorsement No:      71
CONTINENTAL CASUALTY COMPANY                                                                   Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001267
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1068 of 1498 PageID #:17328
                                                                                                                        CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          C.       NON-RENEWAL

                                   1.      The Insurer can non-renew the policy by mailing or delivering written notice to the Named Insured, at the
                                           last mailing address known to the Insurer, not more than one hundred and twenty (120) days nor less
                                           than sixty (60) days prior to the effective date of non-renewal. The notice will be sent by certified mail or
                                           by first class mail, if a date stamped proof of mailing has been obtained from the post office.

                                   2.      Like notice of non-renewal will state the actual reason for non-renewal.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA62814NJ (9-12)                                                                            Policy No: 6056872807
                          Page 3 of 3                                                                            Endorsement No:      71
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001268
                                                                         Copyright CNA A l Rights Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1069 of 1498 PageID #:17329
                                                                                                                         CNA PARAMOUNT
                                                                                           Amendatory Endorsement – New Jersey

                          It is understood and agreed as follows:

                          I.       The CONCEALMENT, MISREPRESENTATION AND FRAUD condition of the First Party Terms and
                                   Conditions is deleted and replaced with the following:

                                   CONCEALMENT, MISREPRESENTATION AND FRAUD

                                   This entire policy shall be canceled if, whether before or after a loss, the Named Insured or designated
                                   representatives:

                                   A.      has concealed or misrepresented any material fact or circumstance concerning:

                                           1.       this insurance or the subject thereof;

                                           2.       the interest of the Named Insured therein; or

                                           3.       any claim; or

                                   B.      has falsely sworn to any such material fact or circumstance.



                          All other terms and conditions of the Policy remain unchanged.

                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.
30020000760568728074435




                          CNA62815NJ (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      72
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001269
                                                                           Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1070 of 1498 PageID #:17330
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   CHURCH 2415 REALITY, LLC




                          Address:                        100 RING ROAD WEST, SUITE 101


                                                          GARDEN CITY
                                                                                                                                                ,
                                                          NY 11050
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074436




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      73
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001270
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1071 of 1498 PageID #:17331
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DEBARTOLO CONSTRUCTION SERVICES, LLC




                          Address:                        4401 WEST KENNEDY BOULEVARD - 3RD FLOOR


                                                          TAMPA
                                                                                                                                                ,
                                                          FL 33609
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074437




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      74
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001271
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1072 of 1498 PageID #:17332
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   FEDEX GROUND PACKAGE SYSTEM, INC.




                          Address:                        1000 FEDEX DRIVE


                                                          MOON TOWNSHIP
                                                                                                                                                ,
                                                          PA 15108
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074438




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      75
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001272
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1073 of 1498 PageID #:17333
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   THE J360 CONSTRUCTION CO LLC




                          Address:                        290 MADISON AVENUE, 4TH FLOOR


                                                          NEW YORK
                                                                                                                                                ,
                                                          NY 10017
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074439




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      76
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001273
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1074 of 1498 PageID #:17334
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   ALSTON CONSTRUCTION COMPANY, INC




                          Address:                        C/O MY COI
                                                          1075 BROAD RIPPLE AVE, SUITE 313

                                                          INDIANAPOLIS
                                                                                                                                                ,
                                                          IN 46220
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074440




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      77
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001274
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1075 of 1498 PageID #:17335
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   COUNTY OF WARREN   BOARD OF CHOSEN
                                                                                                        FREEHOLDERS




                          Address:                        165 COUNTY ROUTE #519 SOUTH


                                                          BELVIDERE
                                                                                                                                                ,
                                                          NJ 07823
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074441




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      78
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001275
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1076 of 1498 PageID #:17336
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HAMPSHIRE VENTURE PARTNERS, LLC




                          Address:                        22 MAPLE AVENUE


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074442




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      79
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001276
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1077 of 1498 PageID #:17337
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MORRIS DOREMUS AVENUE ASSOCIATES
                                                                                                        URBAN RENEWAL, LLC




                          Address:                        350 VETERANS BLVD.


                                                          RUTHERFORD
                                                                                                                                                ,
                                                          NJ 07070
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074443




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      80
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001277
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1078 of 1498 PageID #:17338
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MONTANA CONSTRUCTION CORP., INC.




                          Address:                        80 CONTANT AVENUE


                                                          LODI
                                                                                                                                                ,
                                                          NJ 07644
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074444




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      81
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001278
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1079 of 1498 PageID #:17339
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HRP ASSOCIATES, INC




                          Address:                        197 SCOTT SWAMP ROAD


                                                          FARMINGTON
                                                                                                                                                ,
                                                          CT 06032
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074445




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      82
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001279
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1080 of 1498 PageID #:17340
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   THE CONNELL COMPANY




                          Address:                        200 CONNELL DRIVE


                                                          BERKELEY HEIGHTS
                                                                                                                                                ,
                                                          NJ 07922
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074446




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      83
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001280
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1081 of 1498 PageID #:17341
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   RUSSO DEVELOPMENT




                          Address:                        1011 MORRIS AVE


                                                          UNION
                                                                                                                                                ,
                                                          NJ 07083
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074447




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      84
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001281
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1082 of 1498 PageID #:17342
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT DEVELOPMENT, LLC




                          Address:                        4825 NW 41ST STREET, SUITE 500


                                                          RIVERSIDE
                                                                                                                                                ,
                                                          MO 64150
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074448




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      85
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001282
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1083 of 1498 PageID #:17343
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   SUBURBAN CONSULTING ENGINEERS INC




                          Address:                        96 US HIGHWAY 206, SUITE 101


                                                          FLANDERS
                                                                                                                                                ,
                                                          NJ 07836
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074449




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      86
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001283
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1084 of 1498 PageID #:17344
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MCFARLAND AND JOHNSON




                          Address:                        49 COURT ST


                                                          BINGHAMTON
                                                                                                                                                ,
                                                          NY 13901
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074450




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      87
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001284
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1085 of 1498 PageID #:17345
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NEW JERSEY DEPARTMENT OF
                                                                                                        TRANSPORTATION




                          Address:                        1035 PARKWAY AVENUE
                                                          P O BOX 600

                                                          TRENTON
                                                                                                                                                ,
                                                          NJ 08625
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074451




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      88
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001285
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1086 of 1498 PageID #:17346
                                                                                                                        CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   PETILLO, INC.




                          Address:                        167 FLANDERS NETCONG ROAD


                                                          FLANDERS
                                                                                                                                                ,
                                                          NJ 07836
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074452




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      89
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001286
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1087 of 1498 PageID #:17347
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   TOWN OF MORRISTOWN




                          Address:                        200 SOUTH STREET


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074453




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      90
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001287
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1088 of 1498 PageID #:17348
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DM AIRPORTS, LTD




                          Address:                        8 AIRPORT RD


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074454




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      91
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001288
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1089 of 1498 PageID #:17349
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DELTA AIRPORT SOLUTIONS




                          Address:                        3544 N PROGRESS AVE #200


                                                          HARRISBURG
                                                                                                                                                ,
                                                          PA 17110
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074455




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      92
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001289
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1090 of 1498 PageID #:17350
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   US FEDERAL AVIATION ADMINISTRATION




                          Address:                        135 FASHION DR S


                                                          ALLENTOWN
                                                                                                                                                ,
                                                          PA 18109
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074456




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      93
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001290
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1091 of 1498 PageID #:17351
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   BANKER RESIDENTIAL LIMITED
                                                                                                        PARTNERSHIP AND ITS OWNERS




                          Address:                        ONE WEST RED OAK LANE


                                                          WHITE PLAINS
                                                                                                                                                ,
                                                          NY 10604
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074457




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      94
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001291
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1092 of 1498 PageID #:17352
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MORRIS AVENEL ASSOCIATES URBAN
                                                                                                        RENEWAL LLC




                          Address:                        350 VETERANS BOULEVARD


                                                          RUTHERFORD
                                                                                                                                                ,
                                                          NJ 07070
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074458




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      95
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001292
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1093 of 1498 PageID #:17353
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   ALSTON CONSTRUCTION COMPANY INC




                          Address:                        968 POSTAL ROAD
                                                          SUITE 200

                                                          ALLENTOWN
                                                                                                                                                ,
                                                          PA 18109
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074459




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      96
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001293
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1094 of 1498 PageID #:17354
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT HOLDINGS LLC




                          Address:                        4825 NW 4ST STREET SUITE 500


                                                          RIVERSIDE
                                                                                                                                                ,
                                                          MO 64150
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074460




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      97
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001294
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1095 of 1498 PageID #:17355
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   ARTHUR KILL LOT 1OOC




                          Address:                        99 BROOKSIDE AVE


                                                          CHESTER
                                                                                                                                                ,
                                                          NY 10918
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074461




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      98
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001295
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1096 of 1498 PageID #:17356
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   50-56 BRUEN HOLDINGS LLC




                          Address:                        15 MELNICK DRIVE PO BOX 950


                                                          MONSEY
                                                                                                                                                ,
                                                          NY 10952
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074462




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      99
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001296
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1097 of 1498 PageID #:17357
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HUDSON MAXIM PROPERTY LLC




                          Address:                        72 TENNYSON DRIVE


                                                          SHORT HILLS
                                                                                                                                                ,
                                                          NJ 07078
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074463




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     100
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001297
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1098 of 1498 PageID #:17358
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   THE CONNELL COMPANY




                          Address:                        RISK MANAGEMENT DEPARTMENT
                                                          300 CONNEL DRIVE 4TH FLOOR, SUITE #4000

                                                          BERKELEY HEIGHTS
                                                                                                                                                ,
                                                          NJ 07922
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074464




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     101
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001298
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1099 of 1498 PageID #:17359
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DICE REAL ESTATE LLC




                          Address:                        2-44 COLNELIA STREET


                                                          NEWARK
                                                                                                                                                ,
                                                          NJ 07105
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074465




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     102
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001299
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1100 of 1498 PageID #:17360
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NATIONAL AMUSEMENTS INC




                          Address:                        846 UNIVERSITY AVENUE


                                                          NORWOOD
                                                                                                                                                ,
                                                          MA 02062
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074466




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     103
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001300
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1101 of 1498 PageID #:17361
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   WILDER BALTER PARTNERS INC




                          Address:                        480 BEDFORD RD


                                                          CHAPPAQUA
                                                                                                                                                ,
                                                          NY 10514
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074467




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     104
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001301
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1102 of 1498 PageID #:17362
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT HOLDINGS LLC




                          Address:                        C/O VENDORSHIELD
                                                          PO BOX 55071 PMB 34943

                                                          BOSTON
                                                                                                                                                ,
                                                          MA 02205
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074468




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     105
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001302
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1103 of 1498 PageID #:17363
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   RMC DEVELOPMENT LLC




                          Address:                        100 CLEARBROOK ROAD


                                                          ELMSFORD
                                                                                                                                                ,
                                                          NY 10523
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074469




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     106
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001303
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1104 of 1498 PageID #:17364
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   BSREP III LOGISTICS ACQUISITION LLC




                          Address:                        250 VESEY STREET 15TH FLOOR


                                                          NEW YORK
                                                                                                                                                ,
                                                          NY 10281
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074470




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     107
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001304
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1105 of 1498 PageID #:17365
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   SAXUM INVESTMENT COMPANY, LLC




                          Address:                        359 SPRINGFIELD AVENUE


                                                          SUMMIT
                                                                                                                                                ,
                                                          NJ 07901
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074471




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     108
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001305
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1106 of 1498 PageID #:17366
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   WP WASHINGTON CONSTRUCTION LLC




                          Address:                        C/O WOODMONT PROPERTIES
                                                          100 PASSAIC AVE STE 240

                                                          FAIRFIELD
                                                                                                                                                ,
                                                          NJ 07004
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074472




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     109
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001306
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1107 of 1498 PageID #:17367
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MATRIX STATEN ISLAND WESTERN PARCEL
                                                                                                        DEVELOPMENT LLC




                          Address:                        3 CENTRE DR


                                                          MONROE TWP
                                                                                                                                                ,
                                                          NJ 08831
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
30020000760568728074473




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     110
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001307
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1108 of 1498 PageID #:17368
                                                                                                                                                   CNA PARAMOUNT
                                                                                                            Calculation of Premium Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the following is added:
                          The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On each
                          renewal, continuation, or anniversary of the effective date of this policy, the Insurer will compute the premium in
                          accordance with the Insurer’s rates and rules then in effect.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74726XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:     111
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001308
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Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1110 of 1498 PageID #:17370
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1111 of 1498 PageID #:17371
                                                                                                                          CNA PARAMOUNT
                                                                                                        Asbestos Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE FORM
                                OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
                                RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
                                SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK
                                STOP GAP COVERAGE PART
                          It is understood and agreed that the following exclusion is added:
                          This insurance does not apply to:
                          A. bodily injury, property damage or personal and advertising injury arising out of the actual, alleged or threatened
                             exposure at any time to asbestos; or
                          B. any loss, cost or expense that may be awarded or incurred:
                                1.   by reason of a claim for any bodily injury, property damage or personal and advertising injury arising out of
                                     the actual, alleged or threatened exposure at any time to asbestos; or
                                2.   in complying with a governmental direction or request to test for, monitor, clean up, remove, contain or dispose of
                                     asbestos.
                          As used herein, asbestos means the mineral in any form whether or not the asbestos was at any time:
                          i.    airborne as a fiber, particle or dust;
                          ii. contained in or formed a part of a product, structure or other real or personal property;
                          iii. carried on clothing;
                          iv. inhaled or ingested; or
                          v.    transmitted by any other means.
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                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74719XX (1-15)                                                                             Policy No: 6056872807
                          Page 1 of 1                                                                             Endorsement No:     113
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA001311
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                                                                                                                                                       CNA PARAMOUNT

                                                                                        Nuclear Energy Liability Exclusion Endorsement
                                                                                                                           (Broad Form)

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE PART
                                OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                                STOP GAP LIABILITY COVERAGE PART
                          It is understood and agreed that the policy is amended as follows:
                          I.    The insurance does not apply:
                                A. under any Liability Coverage, to bodily injury or property damage:
                                    1.   with respect to which an Insured under the policy is also an Insured under a nuclear energy liability policy
                                         issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters,
                                         Nuclear Insurance Association of Canada or any of their successors, or would be an Insured under any such
                                         policy but for its termination upon exhaustion of its limit of liability; or
                                    2.   resulting from the hazardous properties of nuclear material and with respect to which
                                         a.   any person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
                                              of 1954, or any law amendatory thereof, or
                                         b. the Insured is, or had this policy not been issued would be, entitled to indemnity from the United States
                                            of America, or any agency thereof, under any agreement entered into by the United States of America, or
                                            any agency thereof, with any person or organization.
                                B. under any Medical Payments coverage, to expenses incurred with respect to bodily injury resulting from the
                                   hazardous properties of nuclear material and arising out of the operation of a nuclear facility by any person or
                                   organization.
                                C. under any Liability Coverage, to bodily injury or property damage resulting from hazardous properties of
                                   nuclear material, if:
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                                    1.   the nuclear material
                                         a.   is at any nuclear facility owned by, or operated by or on behalf of, an Insured or
                                         b. has been discharged or dispersed therefrom;
                                    2.   the nuclear material is contained in spent fuel or waste at any time possessed, handled, used, processed,
                                         stored, transported or disposed of, by or on behalf of an Insured; or
                                    3.   the bodily injury or property damage arises out of the furnishing by an Insured of services, materials, parts
                                         or equipment in connection with the planning, construction, maintenance, operation or use of any nuclear
                                         facility, but if such facility is located within the United States of America, its territories or possessions or
                                         Canada, this exclusion 3. applies only to property damage to such nuclear facility and any property thereat.
                          II. As used in this endorsement:
                                Hazardous properties includes radioactive, toxic or explosive properties.
                                Nuclear material means source material, special nuclear material or by-product material.
                                Source material, special nuclear material, and by-product material have the meanings given them in the Atomic
                                Energy Act of 1954 or in any law amendatory thereof.


                          CNA74727XX (1-15)                                                                                                       Policy No: 6056872807
                          Page 1 of 2                                                                                                       Endorsement No:     114
                          CONTINENTAL CASUALTY COMPANY                                                                                        Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                          CNA001312
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                                                                                                                          CNA PARAMOUNT

                                                           Nuclear Energy Liability Exclusion Endorsement
                                                                                              (Broad Form)

    Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to radiation in
    a nuclear reactor.
    Waste means any waste material:
    A. containing by-product material other than the tailings or wastes produced by the extraction or concentration of
       uranium or thorium from any ore processed primarily for its source material content, and
    B. resulting from the operation by any person or organization of any nuclear facility included under the first two
       paragraphs of the definition of nuclear facility.
    Nuclear facility means:
    A. any nuclear reactor;
    B. any equipment or device designed or used for
        1.   separating the isotopes of uranium or plutonium,
        2.   processing or utilizing spent fuel, or
        3.   handling, processing or packaging waste;
    C. any equipment or device used for the processing, fabricating or alloying of special nuclear material if at any time
       the total amount of such material in the custody of the Insured at the premises where such equipment or device is
       located consists of or contains more than 25 grams of plutonium or uranium 233 or any combination thereof, or
       more than 250 grams of uranium 235;
    D. any structure, basin, excavation, premises or place prepared or used for the storage or disposal of waste;
    and includes the site on which any of the foregoing is located, all operations conducted on such site and all premises
    used for such operations.
    Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting chain reaction
    or to contain a critical mass of fissionable material.
    Property damage includes all forms of radioactive contamination of property.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74727XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:     114
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2021
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA001313
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                                                                                                                            CNA PARAMOUNT

                                                                              Cap on Losses from Certified Acts of Terrorism
                                                                                                               Endorsement

                          Solely with respect to the following coverage parts:

                              Business Property
                              Inland Marine

                              General Liability
                              Employee Benefits Liability



                          It is understood and agreed as follows:

                          A. Cap on Certified Terrorism Losses

                              Certified act of terrorism means an act that is certified by the Secretary of the Treasury, in consultation with the
                              Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant to
                              the Terrorism Risk Insurance Act, as extended and reauthorized (the "Act"). The criteria contained in the Act for a
                              certified act of terrorism include the following:

                              1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                                   subject to the Terrorism Risk Insurance Act; and

                              2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                                   individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
                                   policy or affect the conduct of the United States Government by coercion.

                              If aggregate insured losses attributable to terrorist acts certified under the Act exceed $100 billion in a Calendar year
                              (January 1 through December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be
                              liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
                              losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
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                              of the Treasury.

                          B. Application of Exclusions

                              The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
                              serve to create coverage for any loss which would otherwise be excluded under this coverage part or Policy, such as
                              losses excluded by the Nuclear Hazard Exclusion or the War And Military Action Exclusion.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA81503XX (2-15)                                                                               Policy No: 6056872807
                          Page 1 of 1                                                                               Endorsement No:     115
                          CONTINENTAL CASUALTY COMPANY                                                                Effective Date: 12/23/2021
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA001314
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                                                       END OF COPY

                                                            CNA001316
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                      GROUP EXHIBIT G-5
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                                                                                             Policyholder Notice - New Jersey -
                                                                               Business Income Business Interruption Coverage

                                              ONE PAGE SUMMARY – COMMERCIAL PROPERTY /
                                            BUSINESS INCOME BUSINESS INTERRUPTION COVERAGE

                          This summary is not a replacement for the terms of the policy of insurance, shall not have the effect of altering the
                          coverage afforded by the policy, and shall not confer new or additional rights beyond those expressly provided for in
                          the policy. This information is only provided as guidance to the policyholder in understanding the terms of the policy of
                          insurance. You should consult your policy, agent and insurer if you have questions about your particular coverage.

                          Commercial property insurance generally provides coverage to the policyholder for direct physical loss of or damage to their
                          building and contents due to a covered cause of loss. Many insurers' commercial property policies include business income
                          coverage (also referred to as business interruption coverage) either as a coverage within the primary policy form itself or as an
                          additional coverage provided by endorsement.

                          Business income coverage generally provides for the net income that would have been earned by the insured plus normal
                          operating expenses incurred that continue despite the suspension of operations. The coverage is provided only during the
                          period of restoration, the period from when the physical loss or damage occurs until the time the property is repaired, and the
                          location is ready for normal operations to resume.

                          Most business interruption insurance policies cover losses sustained due to a suspension of business where the
                          suspension was caused by direct physical loss of or damage to property or the insured's premises, and where the loss
                          or damage is caused by or results from a specified peril or covered cause of loss. For such policies, a government
                          ordered shutdown may not trigger business interruption insurance coverage in the absence of physical damage to the
                          insured property.

                          Perils Typically Covered
                          Property insurance coverage is evaluated, in part, based on what specifically caused the physical loss or damage. Some
                          policies identify the specific perils (types of incidents that could cause damage) that are covered such as fire, wind, and
                          vandalism. However, many policies are written on an "open peril" or "all risk" basis, meaning a covered cause of loss is anything
                          that is not otherwise excluded from the insurance policy contract.

                          Your policy may not cover pandemics or viruses. Viruses and infectious diseases are generally excluded as covered
                          causes of loss in business income coverage.
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                          Common Exclusions
                          The most common types of perils (causes of loss) excluded from property insurance policies include flood, earthquake, war,
                          wear and tear, pollution, and virus or bacteria.

                          Common Coverage Triggers
                          Commercial property insurance policies, including the business income coverage component, typically require direct physical
                          loss or damage to tangible property in order to trigger coverage.

                          Other Common Coverages
                          Civil Authority Coverage provides coverage for business income losses when a civil authority prohibits access to the
                          policyholder's premises. Civil Authority coverage requires that the restriction to the business be a result of a direct physical loss
                          insured against in the policy. Civil Authority coverage is usually provided for a limited time, such as 30 days, and is typically
                          subject to a waiting period.

                          Contingent Business Interruption Coverage provides coverage for a policyholder's business income losses resulting from loss
                          or damage to property owned by others, such as suppliers of goods and services, as long as the cause of damage to the
                          supplier or customer's premises is of the type covered by the insured's own property policy.




                          CNA101407NJ (11-21)                                   CNA001319
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                                                                                                                         CNA PARAMOUNT

                                                                   Policy Holder Notice - Notice of Terrorism Coverage -
                                                                                                  Disclosure of Premium


                                                                   IMPORTANT INFORMATION

                                                    NOTICE – OFFER OF TERRORISM COVERAGE
                                                       NOTICE – DISCLOSURE OF PREMIUM
                          Solely with respect to the following coverage parts:

                          Business Property
                          Inland Marine


                          General Liability
                          Employee Benefits Liability




                          THIS NOTICE DOES NOT FORM A PART OF THE POLICY, GRANT ANY COVERAGE OR CHANGE THE TERMS
                          AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.
                          The Named Insured is hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"),
                          the Named Insured has a right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in
                          Section 102(1) of the Act, subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a
                          federal program within the Department of the Treasury, under which the federal government shares, with the insurance
                          industry, the risk of loss from future terrorist attacks.
                          This Notice is designed to alert the Named Insured to coverage restrictions and to certain terrorism provisions in the
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                          policy. If there is any conflict between this Notice and the policy (including its endorsements), the provisions of the policy
                          (including its endorsements) apply.
                          CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM
                          The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
                          Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars and
                          must have been committed by an individual or individuals acting on behalf of any foreign person or foreign interest to
                          coerce the government or population of the United States. However, the 2007 re-authorization of the Act removed the
                          requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now certified acts of
                          terrorism may encompass, for example, a terrorist act committed against the United States government by a United States
                          citizen, when the act is determined by the federal government to be "a certified act of terrorism."
                          In accordance with the Act, the Insurer is required to offer the Named Insured the ability to purchase coverage for losses
                          resulting from an act of terrorism that is certified under the federal program. The other provisions of this policy, including
                          nuclear, war or military action exclusions, will still apply to such an act.
                          DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES
                          The Department of the Treasury will pay a share of terrorism losses insured under the federal program. Beginning in 2020,
                          the federal share equals 80% of that portion of the amount of such insured losses that exceeds the applicable insurer
                          retention.
                          LIMITATION ON PAYMENT OF TERRORISM LOSSES



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                                                                            CNA001320
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                                                                                                CNA PARAMOUNT

                                          Policy Holder Notice - Notice of Terrorism Coverage -
                                                                         Disclosure of Premium

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a Program Year (January 1 through December 31), the Treasury shall not make any payment for any portion of
the amount of such losses that exceeds $100 billion.
Further, this coverage is subject to a limit on the Insurer's liability pursuant to the federal law where, if aggregate insured
losses attributable to terrorist acts certified under the Act exceed $100 billion in a calendar year (January 1 through
December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be liable for the payment
of any portion of the amount of such losses that exceeds $100 billion. In such case, insured losses up to that amount are
subject to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.
CONFIRMATION OF ACCEPTANCE OF COVERAGE
In accordance with the Act, the Insurer offered the Named Insured coverage for losses resulting from an act of terrorism
that is certified under the federal program. This notice confirms that the Named Insured has chosen to accept the
Insurer's offer of coverage for certified acts of terrorism. The policy's other provisions, including nuclear, war or military
action exclusions, will still apply to such an act. The premium charge for terrorism coverage is shown separately on the
Declarations.




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                                                   CNA001321
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                                                                                                                           CNA PARAMOUNT
                                                                          Policyholder Notice – New Jersey PLIGA Surcharge



                                                     IMPORTANT INFORMATION
                                                                 "PLIGA" SURCHARGE
                                                                FOR OUR NEW JERSEY
                                                           COMMERCIAL LINES POLICYHOLDERS
                          Your policy premium includes a New Jersey Property – Liability Insurance Guaranty Association (PLIGA) surcharge. PLIGA
                          protects consumers from insurance company insolvencies. The cost of this guaranty fund is assessed to all insurance
                          companies in New Jersey; and in compliance with Department of Insurance Order No. A18-105, it is passed along to individual
                          consumers via this surcharge.

                          The surcharge is 0.29% of your premium for all property/liability coverage except for life insurance, accident and health
                          insurance, workers' compensation insurance, title insurance, annuities, surety bonds, credit insurance, mortgage guaranty
                          insurance, municipal bond coverage, fidelity insurance, investment return assurance, ocean marine insurance, and pet health
                          insurance.

                          For purposes of this surcharge and in compliance with New Jersey Insurance Department Regulation N.J.S.A. 17:30A-8a (3),
                          the declarations page of this policy is the "premium bill."

                          If you have questions about the New Jersey – Liability Insurance Guaranty Association or this surcharge, please contact your
                          independent CNA agent.
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                          CNA62848NJ (02-22)                                  CNA001322
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                                                                                     CNA PARAMOUNT

                                                          Policy Holder Notice – Countrywide –
                                                     Premium Basis Used on Liability Schedules

S    = Gross Sales                 (Per       of             SP = Swimming Pools                     (Each)
                                    Gross Sales)
                                                             ST = Stations                           (Each)
SA = Classification          (Total Class Specific
                                    Premium - %)             SU = Sub 334 Premium   (Premises & Operations
                                                                                             Premium - %)
SB = Sub 336 Premium      (Products & Completed
                         Operations Premium - %)             TE = Teams                              (Each)

SC = Scouts                                (Each)            TO = Towers                             (Each)

SD = Students                              (Each)            U     = Unit                (Per Dwelling Unit)

SE = Seats                                 (Each)            VE = Vehicles              (Per 1,000 Vehicles)

SG = Total GL Premium           (General Liability           VO = Volunteers                         (Each)
                                   Premium - %)              WC = WC Premium          (Per 1,000 of Workers’
SH = Shows                                 (Each)                                   Compensation Premium)
                                                             Z     = Zoos                            (Each)
SL = 334/336 Premium      (Premises & Operations
                        and Products & Completed
                         Operations Premium - %)




CNA75144XX 04-15                             CNA001325
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                                                                                                                     CNA PARAMOUNT
                                                                                                Policy Holder Notice — Countrywide



                                                                DENOTING DEFINED TERMS

                          As noted elsewhere in this Policy, terms in bold face type have the special meanings assigned to them in pertinent
                          Definitions sections or Glossaries. When applicable, terms in "quotation marks" shall be treated as if they were in bold
                          face type, and shall have the same special meanings described in the pertinent Definitions sections or Glossaries.
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                                                                          CNA001326
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                                                                                                                            CNA PARAMOUNT
                                                                                                             Common Terms and Conditions

                          The Insurer and the Named Insured, in consideration of the payment of the premium and in reliance upon all statements
                          made in the application furnished to the Insurer designated in the Policy Declarations, a stock insurance corporation,
                          hereafter called the “Insurer,” agree as follows. Terms in bold face type have special meaning as set forth in any
                          applicable First Party Glossary of Defined Terms or the applicable coverage parts of this Policy. All headings are also
                          in bold, whether or not they contain defined terms. See Section XVI, HEADINGS below.

                           I. ASSIGNMENT OF INTEREST

                              Assignment of interest under this Policy shall not bind the Insurer unless its consent is endorsed to this Policy except
                              in the case of death of a natural person Named Insured.

                           II. BANKRUPTCY
                              Bankruptcy or insolvency of any Named Insured or of the Named Insured’s estate shall not relieve the Insurer of any
                              of its obligations hereunder.

                           III. CANCELLATION/NONRENEWAL
                              A. Insurer’s Right to Cancel

                                  The Insurer may cancel this policy by providing to the First Named Insured written notice of such cancellation
                                  stating when, not less than 10 days thereafter, such cancellation shall be effective if such cancellation is due to
                                  non-payment of premium. If cancellation is due to any other reason, such notice shall be provided not less than
                                  60 days thereafter.
                              B. Named Insured’s Right to Cancel
                                  The First Named Insured may cancel this Policy by providing the Insurer written notice stating when thereafter
                                  such cancellation shall be effective. The mailing or delivery of such notice shall be sufficient.

                              C. Premium Refund

                                  If this policy is cancelled, the Insurer will send the First Named Insured any premium refund due. If the Insurer
                                  cancels, the refund will be pro rata. If the First Named Insured cancels, the refund may be less than pro rata.
                                  The cancellation will be effective even if the Insurer has not made or offered a refund.
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                              D. Nonrenewal

                                  If the Insurer decides not to offer any renewal terms for this Policy, the Insurer shall provide written notice to the
                                  Named Insured at least 60 days prior to the Policy expiration date. The notice shall include the reason for such
                                  non-renewal.
                              E. Notices

                                  If any notice required under this Section is mailed, proof of mailing will be sufficient proof of notice.

                           IV. CHANGES

                              Notice to or knowledge possessed by any agent or other person acting on behalf of the Insurer shall not effect a
                              waiver or a change in any part of this Policy or stop the Insurer from asserting any right under the provisions of this
                              Policy, nor shall the provisions be waived or changed except by written endorsement issued to form a part of this
                              Policy.

                           V. CONFORMITY TO STATUTE
                              Terms of these conditions or any coverage part that are in conflict with the statutes of the state in which this policy is
                              issued are hereby amended to conform to such statutes.


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                                                                                  Common Terms and Conditions

VI. COORDINATION AMONG COVERAGE PARTS
   Subject always to the applicable Limit of Liability, should two or more coverage parts apply to the same loss, the
   Insurer will not pay more than the Named Insured’s actual loss.

VII. COVERAGE PART TERMS AND CONDITIONS

   The terms and conditions of each coverage part apply only to that coverage part and shall not apply to any other
   coverage part. If any provision in the Common Terms and Conditions is inconsistent or in conflict with the terms
   and conditions of any coverage part, the terms and conditions of such coverage part shall control for purposes of
   that coverage part.

VIII. CURRENCY
   All premiums, limits, deductibles and other amounts stated or payable under this Policy are expressed and payable in
   the currency of the United States of America. If any payments due under this Policy are stated or incurred in a
   currency other than United States of America dollars, payment under this Policy will be made in United States of
   America dollars, at the rate of exchange published in The Wall Street Journal on the date the Insurer’s obligation to
   pay such amount is established (or, if not published on such date, the next publication date of The Wall Street
   Journal).

IX. ENTIRE AGREEMENT

   The Named Insureds agree that this Policy constitutes the entire contract existing between them and the Insurer or
   any of its agents relating to this insurance.

X. EXAMINATION OF THE INSURED’S BOOKS AND RECORDS
   The Insurer may examine and audit any Named Insured’s books and records as they relate to this Policy at any time
   during the policy period and up to 3 years afterward.

XI. INSPECTIONS AND SURVEYS
   The Insurer has the right but not the obligation to:
   A. make inspections and surveys at any time;
   B. provide reports on the conditions it finds;
   C. recommend changes; or
   D. conduct loss control and prevention activity.
   Any inspections, surveys, reports, or recommendations relate only to insurability and the premiums to be charged.
   The Insurer does not:
   1.   make safety inspections;
   2.   undertake to perform the duty of any entity to provide for the health or safety of workers or the public;
   3.   warrant that conditions are safe or healthful or comply with laws, regulations, codes or standards.

XII. LIBERALIZATION
   If the Insurer adopts any revision that would broaden the coverage under this Policy without additional premium within
   60 days prior to or during the policy period, the broadened coverage will immediately apply to this Policy.




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                                                                                                                        CNA PARAMOUNT
                                                                                                           Common Terms and Conditions

                           XIII. NAMED INSURED AUTHORIZATION AND NOTICES

                              The First Named Insured agrees that it will act on behalf of all Named Insureds with respect to the giving of all
                              notices to the Insurer, the receipt of notices from the Insurer, the payment of the premiums, the receipt of any return
                              premiums that may become due under this Policy, and the acceptance of endorsements.
                              Any notices required under the CANCELLATION / NON-RENEWAL sections of this Policy shall be provided to the
                              First Named Insured at the last known address and to its insurance agent or broker. If notice is mailed, proof of
                              mailing will be sufficient proof of notice.

                           XIV. NO SUIT AGAINST INSURER

                              A. No suit shall be brought under this Policy by anyone other than the Named Insured. The Named Insured may
                                 not bring any such suit, action or legal proceeding unless, as a condition precedent, there shall have been full
                                 compliance with all the provisions of this Policy and:
                                  1.   with respect to any property coverage part, the action is brought within 3 years after the date on which the
                                       loss or damage occurred or, with respect to any crime coverage, the date the loss was discovered;
                                  2.   with respect to any third party coverage part, the amount of the Named Insured's obligation to pay shall
                                       have been finally determined either by final and nonappealable judgment against the Named Insured after
                                       trial or by written agreement of the Named Insured, the claimant and the Insurer.

                                  However, if any law prohibits such time limitation then the limitation is amended to equal the minimum time
                                  limitation required by such law.
                              B. No person or organization shall have any right under this Policy to join the Insurer as a party to any suit against
                                 the Named Insured to determine the Named Insured's liability, nor shall the Insurer be impleaded by the Named
                                 Insured or their legal representatives in any such suit.

                           XV. TRADE AND ECONOMIC SANCTIONS
                              This Policy does not provide coverage for any Named Insured, transactions, or any loss that is uninsurable under the
                              laws or regulations of the United States concerning trade or economic sanctions.
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                           XVI. HEADINGS
                               The descriptions in the headings of this Policy are solely for convenience, and form no part of the terms and
                               conditions of coverage.

                          IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its Chairman and Secretary at Chicago,
                          Illinois, but the same shall not be binding upon the Insurer unless countersigned by a duly authorized representative of the
                          Insurer.

                           Chairman                                                    Secretary




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                                                                                                                       CNA PARAMOUNT
                                                                                               First Party Glossary of Defined Terms

                          This First Party Glossary of Defined Terms applies to the Business Property Coverage Part and the Business Crime
                          Coverage Part, as applicable, and their associated forms and endorsements. For purposes of this Policy, words in bold,
                          whether expressed in the singular or the plural, have the meaning shown below.


                           Act or Decision
                              Act or decision means any act or decision, whether intentional or negligent, including the failure to act or decide, of
                              any person, group, organization or governmental body which creates or allows a result which is unexpected,
                              inadequate, defective, faulty or otherwise unsuitable for the intended purpose.

                          Actual Cash Value
                              Actual cash value means the replacement cost with deduction for depreciation, deterioration and obsolescence
                              which amount is computed as of the time and at the place of loss or damage.

                          Alteration
                              Alteration means the material modification of an original document by a person acting without authority and with the
                              intent to deceive. Alteration does not include the electronic or manual insertion of any personal identification code,
                              including personal identification numbers or password or a counterfeit.

                           Banking Premises
                              Banking premises means the interior of that portion of any building occupied by a financial institution.

                           Bonus Payment

                              Bonus payment means the unamortized amount, other than rent or security, which the Named Insured paid to
                              acquire the Named Insured's lease and that will not be refunded to the Named Insured.

                           Building
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                              Building means a building or structure, including completed additions, additions under construction and alterations
                              and repairs to such building or structure that the Named Insured owns, occupies or is legally or contractually required
                              to insure.

                           Business Income
                              Business income means net income, including rental value, plus continuing operating expenses. Business
                              income does not include research and development business income.

                           Client
                              Client means a third party for whom the Named Insured performs specified professional services for a fee.

                           Computer Fraud
                              Computer fraud means theft of money, securities and other property following and directly related to the use of
                              any computer to fraudulently cause a transfer of that property to a person who is not an employee or to an account of
                              any financial institution not controlled by the Named Insured.




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Contaminants or Pollutants
   Contaminants or pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
   vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or
   reclaimed.

Continuing Operating Expenses
   Continuing operating expenses means:

   A. the Named Insured’s normal operating expenses including any reasonable and necessary payroll; plus

   B. charges that are the unsatisfied legal obligation of the Named Insured’s tenants and for which the Named
      Insured is now obligated.

   Continuing operating expenses does not include extra expense, expediting expense or research and
   development project continuing expenses.

Counterfeit
   Counterfeit means a written imitation of an actual valid original document that is intended to deceive and to be
   taken as the original document.

Coverage Part

   Coverage part means the Business Property Coverage Part and Business Crime Coverage Part, as applicable.

Coverage Territory

   Coverage territory means the United States of America, its territories or possessions, Canada, or Puerto Rico.
   Coverage territory does not include any waterborne shipment to or from Alaska, Puerto Rico, Hawaii or territories or
   possessions of the United States of America.

Covered Equipment
   Covered equipment means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping and its
   accessory equipment, and any mechanical or electrical machine or apparatus used for the generation, transmission,
   or utilization of mechanical or electrical power.

Covered Instruments
   Covered instruments means written checks, drafts, promissory notes or similar written promises, orders or
   directions to pay a sum certain in money, and also includes written instruments required in conjunction with any
   credit, debit or charge card issued to the Named Insured or to any employee for business purposes, or issued to any
   proprietor, partner, member or officer of the Named Insured for personal use.

Covered Peril
   Covered peril means a fortuitous cause or event, not otherwise excluded, which occurs during this policy period.
   Covered peril does not include:
   1.   a fortuitous cause or event, whether or not excluded, which actually occurred prior to the policy period,
        regardless of the date on which it first becomes manifest or is first discovered; or
   2.   damage from unknown causes or events.


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                          Covered Property
                             Covered property means the property that is insured for loss or damage under the Business Property Coverage
                             Part or endorsements.

                          Denial of Service Attack
                             Denial of service attack means an attack executed over one or more networks or the internet, which attack is
                             designed and intended to disrupt the operation of one or more networks and render the networks inaccessible to
                             authorized users.

                          Dependent Property
                             Dependent property means a premises that is operated by others on whom the Named Insured depends to:
                             A. deliver materials or services to the Named Insured or to others for the Named Insured’s account;
                             B. accept the Named Insured’s products or services;
                             C. manufacture products for delivery to the Named Insured’s customers under contract of sale; or

                             D. attract customers to the Named Insured’s business.

                             The dependent property includes the area associated with that address in which the occupant of the above premises
                             is legally entitled to conduct business activities and includes the area extending 1,000 feet beyond that address.
                             Dependent property does not include:

                             1.   any premises operated by others on whom the Named Insured depends to deliver any:
                                  a.   power, communications or other utility services;
                                  b. internet access or internet services; or
                                  c.   data management, network management, software management or cloud computing and storage services; or

                             2.   any premises within any country in which the United States government has imposed sanctions, embargoes or
                                  similar prohibitions.
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                          Discover or Discovered
                             Discover or discovered means the earlier of the time when the Named Insured first:
                             A. becomes aware of facts which would cause a reasonable person to assume that a covered loss did or will
                                happen, regardless of when the act that may cause or contribute to such loss occurred, even though the exact
                                amount or details of loss may not be known; or
                             B. receives notice of an actual or potential claim in which it is alleged that the Named Insured is liable to a third
                                party under circumstances that, if true, would constitute a covered loss.

                          Earth Movement
                             Earth movement means earthquake or other seismic activity (including but not limited to underground magma
                             activity), the abrupt rising, sinking or shifting of earth (naturally occurring or man-made) or mine subsidence. However,
                             earth movement does not include landslide, avalanche, tsunami, sinkhole collapse or volcanic eruption.




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                                                                                             CNA PARAMOUNT
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Electronic Data Processing Equipment

   Electronic data processing equipment means:

   A. a network of electronic components capable of accepting information and processing it according to a plan and
      which exists primarily to generate information in tangible form or on electronic media, including climate control
      and fire protective equipment used solely in connection with data processing operations;
   B. telephone equipment; and

   C. facsimile equipment.

   Electronic data processing equipment does not include any equipment which:

   1.   are stock; or
   2.   exist primarily to control or operate machinery or equipment to produce goods in process or finished stock.

Electronic Data Processing Equipment Leasehold Values
   Electronic data processing equipment leasehold values means the present value of the difference between the:
   A. actual periodic lease payments for electronic data processing equipment that has incurred direct physical loss
      or damage and for which the Named Insured remains liable during the unexpired term of the lease; and
   B. periodic payment for the replacement of electronic data processing equipment due under the new lease, for
      each remaining month of the term of the lease.

Electronic Infection
   Electronic infection means the transmission of a computer virus.

Electronic Vandalism
   Electronic vandalism means the willful or malicious alteration, manipulation or destruction of media, electronic data
   processing equipment, research and development project property and records of accounts receivable due to
   system penetration, electronic infection or a denial of service attack, including such acts committed by an
   employee (including leased and temporary employees).

Employee
   Employee means:
   A. any natural person:
        1.   while in the Named Insured’s service (and for 60 days after termination of service);
        2.   whom the Named Insured compensates directly by salary, wages, or commissions; and
        3.   whom the Named Insured has the right to direct and control while performing services for the Named
             Insured;
   B. any natural person who is furnished to the Named Insured:
        1.   to substitute for a permanent employee on leave; or
        2.   to meet seasonal or short-term workload conditions,
        while that person is subject to the Named Insured’s direction and control and performing services for the Named
        Insured, excluding, however, any such person while having care and custody of the Named Insured’s property
        outside the premises;


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                             C. any natural person leased to the Named Insured, under an agreement between the Named Insured and a labor
                                leasing firm, while that person is subject to the Named Insured’s direction and control and performing services
                                for the Named Insured;
                             D. any non-compensated natural person:
                                  1.   other than one who is a fund solicitor, while performing services for the Named Insured that are usual to the
                                       duties of an employee or officer; or
                                  2.   while acting as a fund solicitor during fund raising campaigns; or
                             E. solely with respect to an employee benefit plan, any natural person who is required to be bonded by the
                                Employee Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations
                                promulgated thereunder.
                             Other than with respect to an employee benefit plan, employee does not include any:
                             1.   agent, broker, factor, commission merchant, consignee, independent contractor or representative of the same
                                  general character; or
                             2.   manager, member, partner, proprietor, director or trustee, but solely to the extent he or she is acting in his or her
                                  capacity as such.

                          Employee Benefit Plan
                             Employee benefit plan means an employee welfare benefit plan or an employee pension benefit plan as more fully
                             set forth in Title 1, Section 3 of the Employee Retirement Income Security Act of 1974 (ERISA) and any amendments
                             thereto and which is solely sponsored by the Named Insured.

                          Employee Theft
                             Employee theft means theft committed by an employee to the deprivation of the Named Insured or an employee
                             benefit plan, whether identified or not, acting alone or in collusion with others. Solely with respect to an employee
                             benefit plan, employee theft means all acts of fraud or dishonesty required to be bonded against by the Employee
                             Retirement Income Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated
                             thereunder.
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                             Employee theft also includes forgery of such property by an employee.

                           Equipment Breakdown Peril
                             Equipment breakdown peril means:
                             A. Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices wiring
                                or equipment.
                             B. Explosion, rupture or bursting of steam boilers, steam pipes, steam engines, stream turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured,
                                except for the explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas
                                turbines, or within the flues or passages through which the products of combustion pass.
                             C. Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines or
                                apparatus attached to and forming a part thereof, when owned, operated or controlled by the Named Insured;
                                except for explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines,
                                or within the flues or passages through which the gases of combustion pass.
                             D. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment, engines
                                other than steam engines or pressure vessels when owned, operated or controlled by the Named Insured.
                             E. Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property owned,
                                operated or controlled by the Named Insured.


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Executive Officer
   Executive officer means any natural person partner, member, officer, manager (of a limited liability company),
   director or trustee of the Named Insured.

Extra Expense
   Extra expense means actual reasonable and necessary operating expenses the Named Insured incurs during the
   period of restoration that would not have been necessary to incur if there had been no direct physical loss of or
   damage to property, provided such expenses are incurred:
   A. to avoid or minimize the suspension or delay of operations and to continue such operations which have been
      affected by the direct physical loss or damage to the property; or
   B. in an attempt to minimize the period of restoration.
   Extra expense does not include:
   1.   research and development project continuing expenses or continuing operating expenses;
   2.   costs incurred to purchase merchandise as a replacement for the Named Insured's finished stock;
   3.   costs to repair or replace any property, or research or restore media or records of accounts receivable; or
   4.   amounts incurred on financing or investment activity conducted for the Named Insured's account.

Financial Institution
   Financial institution means:
   A. a banking, savings or thrift institution, credit union or similar depository institution; or
   B. a stock brokerage firm, mutual fund, liquid assets fund or similar investment institution where the Named Insured
      maintains an account.
   However, financial institution does not include check cashers, currency exchangers or money remittance firms.

Fine Arts
   Fine arts means paintings, etchings, pictures, tapestries, art glass windows, valuable rugs, statuary, marbles,
   bronzes, antiques, porcelains, rare books, manuscripts, and similar property of rarity, historical value or artistic merit.

Finished Stock
   Finished stock means manufactured goods that are in a completed state and ready for packing, shipment,
   installation or sale. However, finished stock does not include manufactured goods that are held for sale at a
   location of any retail outlet.

First Named Insured
   First Named Insured means the person or entity first named in Item 1 of the Policy Declarations.

Fixtures
   Fixtures means:
   A. indoor or outdoor property fixed or attached to a building, including permanently installed machinery and
      equipment; or
   B. glass (including all lettering and ornamentation) forming part of the building.




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                          Flood
                             Flood means a general and temporary condition of partial or complete inundation of normally dry land areas from:
                             A. the overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or man-made
                                lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans or any other body of water or watercourse;
                             B. waves, tides or tidal waves including tsunami;
                             or their spray, all whether driven by wind or not, including storm surge.

                          Forgery
                             Forgery means the signing of the name of another person or organization with intent to deceive. Forgery does not
                             include:
                             A. a signature which consists in whole or in part of one's own name signed with or without authority, in any capacity
                                for any purpose;
                             B. the electronic or manual insertion of any personal identification code, including personal identification numbers or
                                passwords; or
                             C. counterfeit.

                          Funds Transfer Fraud
                             Funds transfer fraud means theft of money and securities following and directly related to the use of fraudulent
                             written or verbal instructions which are purported to have been made by the Named Insured, which causes an
                             electronic transfer of money or securities from a financial institution to:
                             A. an account at a financial institution not controlled by the Named Insured; or
                             B. a person other than an employee.

                          Fungi

                             Fungi means any form of fungus, including but not limited to, yeast, mold, mildew, rust, smut or mushroom, and
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                             including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released by,
                             or arising out of the current or past presence of fungi. Fungi does not include any fungi intended by the Named
                             Insured for consumption.

                          Goods In Process

                             Goods in process mean raw stock which has undergone any aging, seasoning, mechanical or other process of
                             manufacture but which has not become finished stock.

                          Green Insured Property

                             Green insured property means insured property created, built or constructed following the practice of creating
                             buildings or materials or using processes that incorporate one or more of the following practices and are certified as
                             such by a government organization or a nationally or internationally recognized building industry organization or
                             governmental agency, such as the U.S. Green Building Council (LEED certification), ECD Energy, Environment
                             Canada (Green Globes) or the U.S. Department of Energy:
                             A. Energy Efficiency, including steps implemented to obtain an ENERGY STAR label for a building at a location or
                                reported unspecified location, as well as use of ENERGY STAR or equivalently rated materials, lighting
                                systems, HVAC equipment, appliances or electronic products (if current like kind and quality replacement is not
                                ENERGY STAR rated).


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   B. Water Efficiency, including use of water efficient processes and wastewater technologies, as well as use of
      alternative water or indoor plumbing systems that reduce water usage from any plumbing fixture.
   C. Materials Efficiency, including use of sustainable and environmentally preferable construction materials, materials
      management and re-cycling programs.
   D. Environmental Quality, including reduction of the quantity of indoor air contaminants by use of low-emitting
      products or materials.
   Green insured property does not include stock, processing water, molds and dies, property in the open, personal
   property of others or personal property of executive officers or employees.

Gross Leasehold Interest

   Gross leasehold interest means the difference between the:

   A. the current monthly rental value at the market rate of the location or the reported unspecified location the
      Named Insured has leased on the date the direct physical loss or damage occurred; and

   B. the actual monthly rent the Named Insured currently pays, including taxes, insurance, janitorial or other services
      or fees that the Named Insured pays as part of the rent and other monthly assessments.

Installation Location

   Installation location means a premises that is not owned, leased or operated by the Named Insured at which
   installation property is or will be installed, constructed or serviced.

Installation Property

   Installation property means personal property that has or will become a permanent part of an installation,
   construction, or service project being performed for others by the Named Insured, or on the Named Insured's behalf.

Insured Property
   Insured property means real property and personal property.

Location

   Location means each of the locations specified in the Business Property Schedule of Locations or scheduled in
   any endorsement to this Policy and includes:
   A. the area associated with that address in which the Named Insured is legally entitled to conduct business
      activities; and
   B. the area extending 1,000 feet beyond that address.

Manager
   Manager means any natural person manager or member.

Manufactured Goods
   Manufactured goods means goods manufactured at a premises:
   A. the Named Insured owns or operates; or
   B. that the Named Insured does not own or operate, provided the Named Insured:
       1.   contracted for the goods to be manufactured exclusively for the Named Insured; and

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                                  2.   the Named Insured is the owner or licensee of the design, patent, trademark or copyright for the goods.

                          Market Value
                             Market value means the price that property might be expected to realize if offered for sale in a fair market.

                          Media
                             Media means recorded information in any format which is an existing original or which can be duplicated or replaced
                             by purchasing an existing duplicate that is for sale, and including any material upon which it is inscribed, printed,
                             written or recorded, owned by the Named Insured or owned by others in the Named Insured's care, custody or
                             control.

                             Media does not include money, securities, stock, fine arts, records of accounts receivable or research and
                             development project property.

                          Member
                             Member means any person serving on the Board of Managers or equivalent executive of a Named Insured that is a
                             limited liability company.

                          Merchandise
                             Merchandise means:
                             A. goods held for sale or installation by the Named Insured which are not manufactured goods; or
                             B. manufactured goods which are completed and ready for packing, shipment, installation or sale at a location of
                                any retail outlet.

                          Messenger
                             Messenger means any of the Named Insured’s natural person members, proprietors, partners, executive officers
                             or employees who are duly authorized by the Named Insured to have care and custody of the property outside the
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                             premises.

                          Microbes
                             Microbes means any:
                             A. non-fungal microorganism;
                             B. non-fungal, colony-form organism;
                             C. virus; or
                             D. bacteria.
                             Microbe includes any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by,
                             released by, or arising out of the current or past presence of microbes.

                          Mobile Computing Device
                             Mobile computing device means cellular phones, laptop computers and other personal hand-held electronic devices,
                             including accessories for such portable computing devices used in the Named Insured's business that are owned by
                             the Named Insured, executive officers or employees (including leased or temporary employees).

                             Mobile computing device does not include any of these devices while rented or leased to others or stock.

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Money
   Money means:
   A. currency, coins and bank notes in current use and having a face value; and

   B. travelers checks, register checks and money orders held for sale to the public.

Monthly Leasehold Interest

   Monthly leasehold interest means the original costs the Named Insured paid for bonus payments and prepaid
   rent, divided by the number of months left in the Named Insured's lease at the time of the expenditure.

Mudslide or Mudflow
   Mudslide or mudflow means a river of liquid and flowing mud on the surface of normally dry land areas as when
   earth is carried by a current of water and deposited along the path of the current.

Named Insured

   Named Insured means the persons or entities named as such on the Business Crime Coverage Part, Business
   Property Coverage Part or Policy Declarations.

   For insured property that is the subject of a Contract of Sale, Named Insured includes the Contract of Sale Loss
   Payee.

Named Storm
   Named storm means a tropical storm system that is declared to be named by the National Hurricane Center, World
   Meteorological Organization or any similar organization, agency or body responsible for naming such weather
   systems, including tropical storm spawned tornados or microbursts.
   The named tropical storm begins when such organization, agency or body officially declares the storm system as a
   named tropical storm and ends when that organization, agency or body officially declares the named tropical storm:
   A. permanently downgraded to a tropical depression;
   B. reclassified as a Post Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less; or
   C. reclassified as an Extra Tropical Cyclone and the maximum sustained surface wind speed (using U.S. 1-minute
      average) is 33 kt (38 mph or 62 km/hr) or less.

Net Income
   Net Income means net profit or loss that would likely have been earned or incurred before taxes. Net income does
   not include any profit that would likely have been earned as a result of an increase in the business transactions due to
   favorable business conditions caused by the impact of the covered peril in the vicinity of such covered peril.

Net Leasehold Interest
   Net leasehold interest means the net present value of the gross leasehold interest for each remaining month of the
   term of the lease, discounted at the Prime Rate on the date the direct physical loss or damage occurs, rounded to the
   nearest dollar.




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                          Newly Acquired Location
                             Newly acquired location means a fixed premises the Named Insured owns, leases, rents or controls. The premises
                             becomes a newly acquired location on the later of:
                             A. the date the Named Insured obtains possession or control of the premises; or
                             B. the date the real property, personal property, fine arts, records of accounts receivable or media for which
                                the Named Insured has an insurable interest is placed at the premises.
                             Newly acquired location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a reported unspecified location;
                             4.   an installation location; or
                             5.   a fair, trade show or exhibition.

                          Occurrence

                             Occurrence means one event or a series of related events that contribute concurrently to or contribute in any
                             sequence to physical loss of or damage to property. However, with respect to:
                             A. the equipment breakdown peril, occurrence means all equipment breakdowns that manifest themselves at the
                                same time and are the result of the same cause, regardless of the number of locations or reported unspecified
                                locations or other premises involved.
                             B. a named storm, occurrence means each named storm. If a named storm is downgraded to a tropical
                                depression, such tropical depression shall be considered a separate occurrence.
                             C. theft, occurrence means all loss sustained by the Named Insured caused by:
                                  1. any single act or series of related acts;
                                  2.   any act or acts involving one person, or a group of persons acting together; or
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                                  3.   an act or event, or a series of related acts or events, not involving any identifiable person.
                             D. volcanic eruption, occurrence means all volcanic eruptions, explosions or effusions that occur within any 168
                                hour period.
                             E. Employee Theft Coverage or Employee Theft of Client Property Coverage, occurrence means:
                                  1.   any single act;
                                  2.   the combined total of all separate acts whether or not related; or
                                  3.   a series of acts whether or not related,
                                  committed by an employee, acting alone or in collusion with other persons, or any group of employees acting
                                  together, even if in collusion with other persons, during the policy period, before the policy period or both,
                                  subject to the Loss Sustained During Prior Policy Condition under the BUSINESS CRIME COVERAGE
                                  CONDITIONS in the First Party Terms and Conditions.
                             F. Forgery or Alteration Coverage, occurrence means:

                                  1.   any single act;

                                  2.   the combined total of all separate acts whether or not related; or

                                  3.   a series of acts whether or not related,


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       committed by any one person acting alone or in collusion with others, or in which any such person is implicated,
       involving one or more instruments, during this policy period, before this policy period or both, subject to the
       Loss Sustained During Prior Policy condition under the BUSINESS CRIME COVERAGE CONDITIONS in the
       First Party Terms and Conditions.
   G. Money and Securities Coverage or any other coverage provided under the Business Crime Coverage Part,
      occurrence means:
       1.   any single act, or series of related acts;
       2.   the combined total of all separate acts whether or not related; or
       3.   a series of acts whether or not related,
       committed by any one person acting alone or in collusion with others, or not committed by any identifiable person,
       during the policy period, before the policy period or both, subject to the Loss Sustained During Prior Policy
       Condition under the BUSINESS CRIME COVERAGE CONDITIONS in the First Party Terms and Conditions.
   H. Utility Supply Failure Coverage, occurrence means one event or a series of related events that contribute
      concurrently to or contribute in any sequence to physical loss of or damage to property, regardless of the number
      of locations or reported unspecified locations or the number of utility service providers or utility service
      properties involved in the same event.

Operations
   Operations means the Named Insured’s business activities occurring at the covered premises prior to the time and
   date of the loss or damage, including the Named Insured’s activities as a lessor.
   Operations does not include business activities as part of research and development projects.

Original Document
   Original document means:
   A. the first rendering or archetype and does not include photocopies or electronic transmissions even if received and
      printed; or
   B. for the purposes of Forgery or Alteration Coverage only, a “substitute check”, as defined in the Check Clearing for
      21st Century Act.

Other Property
   Other property means any tangible property other than money and securities that has intrinsic value.
   Other property does not include any property listed in the Business Crime Coverage Part as specifically not
   covered.

Outdoor Trees, Shrubs, Plants or Lawns
   Outdoor trees, shrubs, plants or lawns mean trees, shrubs, plants or lawns the Named Insured owns that are
   located outside.
   Outdoor trees, shrubs, plants or lawns does not include growing crops, standing timber, stock or trees, shrubs,
   plants, grass or lawns that are part of a vegetated roof.

Period of Restoration
   A. Period of restoration means the period of time that begins with:
       1.   the time and date that the physical loss or damage that causes suspension of operations occurs; or


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                                 2.   the date operations would have begun if such loss or damage delays the start of operations and such loss
                                      or damage is to any of the following:
                                      a.   buildings whether complete or under construction;
                                      b. alterations or additions to existing buildings;
                                      c.   machinery, equipment, supplies or materials that are:
                                           (1) used in such construction, alterations or additions;
                                           (2) incidental to the occupancy of the area intended for construction, alteration or addition; or
                                           (3) incidental to the alteration of the occupancy of an existing building.
                             B. If the Named Insured resumes operations, with reasonable speed, the period of restoration ends on the earlier
                                of:
                                 1.   the date when the premises where the loss or damage occurred could have been physically capable of
                                      resuming the level of operations which existed prior to the loss or damage; or
                                 2.   the date when a new permanent premises is physically capable of resuming the level of operations which
                                      existed prior to the loss or damage, if business is resumed at a new permanent premises.
                             C. If the Named Insured does not resume operations, or does not resume operations with reasonable speed,
                                whether at a location, reported unspecified location or elsewhere, the period of restoration will end on the
                                date when the premises where the loss or damage occurred could have been restored to the physical size,
                                construction, configuration and material specifications which existed at the time of loss or damage, with no
                                consideration for any increased period of time:
                                 1.   which would have been required to make changes in order to repair or reconstruct the property or tear down
                                      undamaged parts of the property, to meet the minimum requirements of an ordinance or law; or
                                 2.   which would have been necessary to make the premises physically capable of resuming the level of
                                      operation which existed prior to the loss or damage after the completion of repairs or replacement.
                             D. With respect to Dependent Property Time Element Coverage under the OFF-SITE COVERAGE section in the
                                Business Property Coverage Part, period of restoration means the period of time that:
                                 1.   begins on the date the physical loss of or damage to property at a dependent property occurs; and
                                 2.   ends on the date when the property at that dependent property should be repaired or replaced with
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                                      reasonable speed and similar quality.
                             E. With respect to research and development business income, the period of restoration means the period of
                                time that begins with the time and date of the physical loss of or damage to research and development project
                                property that causes suspension of the Named Insured's research and development project and ends on the
                                earlier of:
                                 1.   the date such research and development project property could be recreated or restored with reasonable
                                      speed and similar quality to the condition that existed at the time of loss or damage; or
                                 2.   365 days immediately following the date the physical loss of or damage to such research and development
                                      project property occurred.
                             F. No period of restoration will be cut short by the expiration of the Policy.

                          Personal Property
                             Personal property means:
                             A. all property, other than real property, owned by the Named Insured and used in the Named Insured's
                                business, including furniture, fixtures, machinery, electronic data processing equipment and stock;
                             B. glass in buildings which, as a tenant, the Named Insured has a contractual responsibility to insure;
                             C. the Named Insured’s outdoor signs, antennas and towers and fences;
                             D. personal property of others;

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   E. personal property of executive officers or employees;
   F. property, other than real property, the Named Insured leases for use in its business and for which the Named
      Insured has a contractual responsibility to insure, unless otherwise provided for under personal property of
      others;
   G. the value of labor, materials or services furnished or arranged by the Named Insured on personal property of
      others;
   H. the Named Insured’s interest in tenant’s improvements and betterments;
   I.   power or communication generation or transmission equipment, including transmission and distribution lines of
        any type, owned, operated, controlled by or leased by the Named Insured; or
   J. vehicles or self-propelled machines (including autos, aircraft or watercraft) that:
        1.   the Named Insured manufactures, processes or warehouses or holds for sale that are licensed for use on
             public roads while at a location or reported unspecified location;
        2.   the Named Insured manufactures, processes or warehouses or holds for sale that are not licensed for use
             on public roads while at a location or reported unspecified location;
        3.   are unpowered watercraft owned by the Named Insured while out of the water at a location or reported
             unspecified location; or
        4.   are trailers owned by the Named Insured that are not licensed for use on public roads while at a location or
             reported unspecified location.
   Personal property does not include property not covered.

Personal Property of Executive Officers or Employees
   Personal property of executive officers or employees means personal property that is owned by executive
   officers or the Named Insured's employees (including leased or temporary employees) and that is usual to the
   occupancy of the building.

Personal Property of Others
   Personal property of others means personal property that is not owned by the Named Insured but is in the Named
   Insured’s care, custody or control.
   Personal property of others does not include personal property of executive officers or employees.

Policy Period

   Policy period means the period of time shown on the Policy Declarations, beginning on the effective date and time
   and ending on the expiration date and time, or the Policy's earlier cancellation date.

Policy Premium

   Policy premium means the original premium and the fully annualized amount of any additional premiums, charged by
   the Insurer for coverage provided during the policy period.

Prearranged Transfer
   Prearranged transfer means an electronic transfer of money or securities which is part of a regular or scheduled
   series of electronic transfers, authorized by written agreement, to a designated financial institution specifying:
   A. the amount of money or securities to be transferred; and
   B. account number to be credited.



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                          Premises
                             Premises means:
                             A. the interior of that portion of any building the Named Insured occupies in conducting the Named Insured’s
                                business;
                             B. with respect only to damage to other property, the exterior of that portion of any building the Named Insured
                                occupies in conducting the Named Insured’s business; or
                             C. with respect only to the Employee Theft of Client Property While on Client Premises Coverage under the
                                Business Crime Coverage Part, the interior of that portion of any building a client occupies in conducting the
                                client's business or the interior of a client’s owned, leased or rented residence.

                          Prepaid Rent

                             Prepaid rent means that unamortized portion of any amount of advance rent the Named Insured paid based on the
                             percentage of the unexpired portion of the lease that remains at the time of physical loss or damage.
                             Prepaid rent does not include the customary rent for a rental period or any amount refunded to the Named Insured.

                          Property Not Covered
                             Property not covered means:
                             A. animals unless:
                                  1.   owned by others and boarded by the Named Insured, or
                                  2.   owned by the Named Insured as stock, other than research animals, while inside of a building at a
                                       location or reported unspecified location;
                             B. bulkheads, pilings, piers, wharves or docks;
                             C. contraband, or property in the course of illegal transportation or trade;
                             D. fine arts, money, securities, records of accounts receivable, media or research and development project
                                property;
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                             E. vehicles or self-propelled machines (including autos, aircraft or watercraft) that are:
                                  1.   licensed for use on public roads; or
                                  2.   operated principally away from the location or reported unspecified location,
                                  except to the extent included in Paragraph J. of the personal property definition;
                             F. land, naturally occurring water, air, growing crops and standing timber;
                             G. outdoor trees, shrubs, plants or lawns;
                             H. dams, dikes or retaining walls;
                             I.   underground mines, mine shafts, caverns, open pits or quarries; or
                             J.   any property which the Named Insured has covered under any other Policy in which such property is more
                                  specifically described, except for the excess of the amount due under such other coverage, whether collectible or
                                  not.

                          Qualifying Period
                             Qualifying period means the continuous period of time which must pass before the applicable coverage begins.




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Raw Stock
   Raw stock means material in the state in which the Named Insured acquired it for conversion into finished stock.

Real Property
   Real property means:
   A. buildings and temporary or appurtenant structures of such buildings;
   B. fixtures;
   C. personal property that is used to maintain or service the buildings, locations or reported unspecified
      locations;
   D. the Named Insured’s indoor and outdoor signs;
   E. materials, equipment, supplies and temporary buildings used for making additions, alterations or repairs to any
      such building;
   F. paved or concrete surfaces owned by the Named Insured;
   G. building foundations; or
   F. underground pipes, flues and drains owned by the Named Insured.
   Real property does not include property not covered.

Records of Accounts Receivable
   Records of accounts receivable means accounting records used by the Named Insured to document the billing and
   collection of money due from the Named Insured's customers, regardless of what medium those records are
   inscribed, printed, written or recorded upon.
   Records of accounts receivable includes:
   A. money due the Named Insured from its customers that the Named Insured is unable to collect after exerting all
      reasonable effort to do so;
   B. interest charges on any loan required to offset amounts the Named Insured is unable to collect pending the
      Insurer’s payment of these amounts; and
   C. collection expenses in excess of the Named Insured’s normal collection expenses that are made necessary by
      such loss or damage,
   resulting from the direct physical loss of or damage to records of accounts receivable.

Rental Value
   Rental value means that portion of net income that would have been earned or incurred as rental income from tenant
   occupancy of a location or reported unspecified location as furnished and equipped by the Named Insured,
   including fair rental value of any portion of the location or reported unspecified location which is occupied by the
   Named Insured.

Replacement Cost
   Replacement cost means the cost to repair or replace covered property at the time of direct physical loss or
   damage with property of comparable material and quality on the same or another site, and used for the same purpose,
   without deduction for depreciation, deterioration, and obsolescence which amount is computed as of the time and at
   the place of such loss or damage. If property of the same kind and quality is no longer available, the Insurer will pay to
   replace it with other property of similar quality and function, including property of greater processing capacity.




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                             Replacement cost valuation for insured property includes the cost the Named Insured paid for non-refundable or
                             non-transferable extended warranties, maintenance contracts or service contracts which are still in force at the time of
                             loss or damage and are no longer valid as a result of loss of or damage to such insured property.

                          Reported Unspecified Location
                             Reported unspecified location means fixed premises that has been identified on a schedule submitted by the
                             Named Insured and on file with the Insurer, including:
                             A. the address of the premises and includes that area extending 1000 feet beyond that address;
                             B. an identification of the insured property, business income or extra expense; and
                             C. the value of such identified insured property, business income or extra expense.
                             If the Named Insured is a tenant, for purposes of time element coverage, reported unspecified locations includes
                             that portion of the premises not rented, or intended to be rented, to others.
                             Reported unspecified location does not include:
                             1.   a location;
                             2.   an unspecified location;
                             3.   a fair, trade show or exhibition;
                             4.   an installation location; or
                             5.   a dependent property with respect to loss or damage covered by any time element coverage.

                          Research Animals
                             Research animals means laboratory animals used in the Named Insured's research and development project or
                             bred for sale to other medical technology or life science entities.

                          Research and Development Business Income
                             Research and development business income means:
                             A. net income that would have been earned or incurred had no loss or damage resulting in an interruption in the
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                                Named Insured’s research and development project occurred, including net income resulting from:
                                  1.   lost or delayed pre-sale orders from new or current customers for a new product or an improved current
                                       product, whose entry into the marketplace is delayed because these products were the subject of lost or
                                       damaged research and development project property; or
                                  2.   grants, endowments and any other contract revenues, licensing fees, consulting fees, funding grants and
                                       progress payments, including milestone contracts; plus
                             B. research and development project continuing expenses.

                             However, research and development business income does not include any amount that is otherwise payable
                             under this Business Property Coverage Part or that does not necessarily continue during the interruption in the
                             research and development project.

                          Research and Development Project Continuing Expenses

                             Research and development project continuing expenses means the Named Insured's normal continuing
                             operating expenses that are directly attributable to research and development projects, including any reasonable and
                             necessary payroll expenses, rental payments as a tenant and factory overhead.




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Research and Development Project Property
   Research and development project property means the Named Insured's:
   A. written, printed, electronic or inscribed documents, plans, records, formulas or other information, including any
      material upon which it is inscribed, printed, written or recorded;
   B. original or experimental property;
   C. existing prototypes used as the model for the final version of a new product or design; or
   D. undamaged property that needs to be recreated, restored or replaced due to covered loss of or damage to
      property in Paragraphs A., B. or C.,
   developed or used in conjunction with any ongoing and active research and development project.
   Research and development project property does not include research animals, media, plants or crops or fine
   arts.

Robbery

   Robbery means the unlawful taking of specified property from the care and custody of any person by one who has:
   A. caused or threatened to cause that person bodily harm; or
   B. committed an unlawful act witnessed by that person.

Safe Burglary

   Safe burglary means the unlawful taking of:
   A. property from within a locked safe or vault by a person unlawfully entering the safe or vault as evidenced by
      marks of forcible entry upon its exterior; or
   B. a safe or vault from inside the premises.

Securities

   Securities means negotiable and non-negotiable instruments or contracts representing either money or representing
   other tangible property that has intrinsic value, including:
   A. tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused value in a meter) in
      current use; or
   B. evidences of debt issued in connection with credit, debit or charge cards, which cards are not issued by the
      Named Insured.
   Securities does not include money.

Sinkhole Collapse
   Sinkhole collapse means the sudden sinking or collapse of land into underground empty spaces created by the
   action of water on limestone or dolomite provided such cavities were not man made or did not result from flood.

Specified Peril
   Specified peril means:
   A. aircraft or vehicles;
   B. explosion, fire or leakage from fire extinguishing equipment;
   C. lightning, smoke, volcanic eruption, water damage, weight of snow, ice or sleet;

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                             D. windstorm or hail;
                             E. riot, civil commotion or vandalism or theft;
                             F. falling objects, excluding loss or damage to:
                                  1.   personal property in the open; or
                                  2.   the interior of a building, or property inside a building, unless the roof or an outside wall of the building is
                                       first damaged by a falling object;
                             G. sinkhole collapse;
                             H. solely with respect to personal property in the course of transit, specified peril also includes:
                                  1.   vehicle collision upset or overturn; or
                                  2.   sinking or stranding of a vessel, or collapse of a bridge, culvert, dock or wharf; or
                             I.   equipment breakdown peril, excluding loss of or damage to insured property caused by the discharge,
                                  dispersal, release or escape of refrigerants, including ammonia.

                          Stock

                             Stock means raw stock, goods in process, finished stock or merchandise, including packing or shipping materials
                             and including software incorporated into such finished stock or merchandise.

                          Sublease Profit

                             Sublease profit means the net profit the Named Insured earns through subleasing the building or portion of the
                             building that the Named Insured rents for the unexpired term of the cancelled lease or sublease, whichever would
                             expire first. This amount is discounted based on the Prime Rate on the date the direct physical loss or damage
                             occurs, rounded to the nearest whole number.

                          Suspended Equipment

                             Suspended equipment means covered equipment, provided the Insurer has complied with the requirements
                             described in the SUSPENDED EQUIPMENT Condition in the First Party Terms and Conditions.
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                          Suspension

                             Suspension means:
                             A. the slowdown or cessation of the Named Insured's business activities; or
                             B. that a part or all of the covered premises is rendered untenantable.

                          System Penetration
                             System penetration means the intentional and malicious use of a computer to obtain unauthorized access to
                             information and resources stored on electronic data processing equipment.

                          Tenant’s Improvements and Betterments
                             Tenant’s improvements and betterments means fixtures, glass, signs, alterations, installations or additions:
                             A. made a part of a building the Named Insured occupies as a tenant but does not own;
                             B. made or acquired at the Named Insured's expense exclusive of rent paid by the Named Insured or for which the
                                Named Insured is legally required by written contract to insure; and

                             C. that the Named Insured cannot legally remove.

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Tenant’s Lease Interest

   Tenant’s lease interest means the difference between:

   A. the actual rent due for the unexpired portion of the cancelled lease at the time of covered loss or damage; and

   B. the rent due under the new lease for the same time period.

Theft

   Theft means the unlawful taking of property.

Time Element Coverage

   Time element coverage means business income, research and development business income or extra expense
   to the extent these apply under this Business Property Coverage Part.

Transfer Agreement
   Transfer agreement means a written agreement with any financial institution authorized to transfer money and
   securities at the Named Insured’s request.

Unspecified Location
   Unspecified location means:
   A. a premises not listed in the Business Property Schedule of Locations; or
   B. a fair, trade show or exhibition.
   An unspecified location does not include:
   1.   a location;
   2.   a newly acquired location;
   3.   a reported unspecified location;
   4.   an installation location; or
   5.   a dependent property with respect to loss or damage covered by any time element coverage.

Volcanic Eruption
   Volcanic eruption means the eruption, explosion or effusion of a volcano that gives rise to physical loss or damage
   when such loss or damage is caused by:
   A. airborne volcanic blast or airborne shock waves;
   B. ash, dust or particulate matter; or
   C. lava flow.

Water Damage

   Water damage means:

   A. the discharge or leakage of domestic or process water or steam from:

        1.   water pipes and any other apparatus meant to carry or distribute water including, but not limited to, hoses and
             tubes and fire protection sprinkler system piping;

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                                 2.   appliances; or
                                 3.   mechanical systems; or
                             B. the overflow, discharge or leakage of water from bathroom, kitchen and laundry fixtures and faucets,
                             within a building.

                          Written
                             Written means expressed through letters or marks placed upon paper and visible to the naked eye.
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      These First Party Terms and Conditions apply to the Business Property Coverage Part, the Business Crime
      Coverage Part, as applicable, and their associated forms and endorsements.

I.         ABANDONMENT

      There can be no abandonment of any covered property to the Insurer unless the Insurer specifically agrees to such
      abandonment in writing.

II.        APPRAISAL

      If the Named Insured and the Insurer fail to agree on the amount of loss for physical damage or business income or
      extra expense, either may make a written demand for appraisal in which case within 30 days of that written demand
      each shall select an appraiser and shall notify the other of its chosen appraiser. This APPRAISAL Condition is not
      available to the Named Insured or the Insurer if there is a dispute as to whether the loss or damage was caused in
      whole or in part by a covered peril. This APPRAISAL Condition is not available if there is a dispute as to whether or
      not the loss is covered in whole or in part under this coverage part.

      An individual may be chosen as an appraiser for a claim only if such individual is a competent, independent and
      disinterested person and who has no direct or indirect financial interest in the loss or the adjustment of the claim. That
      appraiser cannot be:
      A. the Named Insured or any of the Named Insured’s employees or agents (including any public adjuster or public
         adjusting company hired by the Named Insured);
      B. employed by the Insurer; or

      C. an independent adjuster hired by the Insurer for such claim.

      The appraisers will first select a competent, independent and disinterested umpire. If the appraisers fail to agree upon
      an umpire within 30 days then, only on the joint request of the Named Insured and the Insurer to a court of competent
      jurisdiction where the loss occurred, the Named Insured and the Insurer may request that the court select or appoint
      a competent, independent and disinterested umpire.

      If the Named Insured and the Insurer fail to agree to submit a joint request to a court of competent authority, either
      may file the necessary documents in a court of competent jurisdiction where the loss occurred to compel the other to
      comply with the terms of this APPRAISAL provision.

      The appraisers will then appraise, within a reasonable amount of time, the amount of loss, stating separately, as
      applicable:
      1.   the actual cash value or replacement cost as of the date of loss and the amount of loss, for each item of
           physical loss or damage; and
      2.   the amount of loss for each time element coverage.

      If the appraisers fail to agree, they will submit their differences to the umpire. An award agreed to in writing by any two
      will determine the amount of loss and that award will be binding on both parties but such appraisal award will not
      determine whether the loss is covered. Any appraisal award addressing whether or not a loss is or is not covered is
      void and is not binding on either party to the appraisal.

      The Named Insured and the Insurer will each:
      a.   pay its chosen appraiser; and
      b. bear equally the other expenses of the appraisal and umpire.

      A demand for appraisal shall not relieve the Named Insured of its continuing obligation to comply with all of the terms
      and conditions of this Policy.


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                                 The Insurer will not be held to have waived any of its rights by any act relating to an appraisal. If there is an appraisal,
                                 the Insurer will still retain its right to deny the claim or challenge whether the damages from any loss are covered or
                                 otherwise excluded.

                                 The Named Insured may only make a written demand for appraisal if the Named Insured has fully complied with all
                                 provisions of this Policy.

                          III.       COMPLIANCE

                                 No one may make a claim under the Business Property Coverage Part unless:
                                 A. there has been full compliance with all of the provisions of the Business Property Coverage Part; and

                                 B. the claim for coverage is brought within 2 years and 1 day after the date on which the direct physical loss or
                                    damage occurred.

                          IV.        CONCEALMENT, MISREPRESENTATION AND FRAUD

                                 This entire Policy shall be void if, whether before or after a loss, the Named Insured or designated representative:
                                 A. has concealed or misrepresented any material fact or circumstance concerning:

                                     1.   this insurance or the subject thereof;
                                     2.   the interest of the Named Insured therein; or
                                     3.   any claim; or
                                 B. has falsely sworn to any such material fact or circumstance.

                          V.         CONTROL OF PROPERTY

                                 Any act or neglect by any person, other than a Named Insured designated representative, of any provision of these
                                 conditions or the Business Property Coverage Part, will not affect coverage. Breach of any condition of coverage at
                                 one or more locations or reported unspecified locations will not affect coverage at any other building where, at the
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                                 time of loss or damage, the breach of condition did not exist.

                          VI.        DUTIES AFTER LOSS OR DAMAGE

                                 In the event of loss or damage, the Named Insured shall do the following:
                                 A. Take all necessary steps to protect the property from further loss or damage.

                                 B. Set aside the damaged insured property for examination by the Insurer as often as may be required and keep a
                                    record of its expenses necessary to protect insured property.
                                 C. As soon as practical, give written notice to the Insurer, or its designated representative, of the event giving rise to
                                    the loss or damage, including the date and time of such event, what occurred and the names and addresses of
                                    witnesses.
                                 D. Within 60 days after being requested by the Insurer, render to the Insurer a detailed, sworn proof of loss on a form
                                    provided by the Insurer;
                                 E. As often as may be reasonably required, exhibit to any person designated by the Insurer all that remains of any
                                    damaged or undamaged property and permit the Insurer to take samples of such property for inspection and
                                    analysis.
                                 F. Submit individually to examinations under oath at the Insurer’s request and, if requested and identified by the
                                    Insurer, make its designated representatives, including, but not limited to, public adjusters, claims consultants,

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        forensic accountants or other third parties providing claims related services, submit to examinations under oath,
        and give the Insurer a signed statement of each individual’s answers.
   G. As may be reasonably required, produce for examination at the request of the Insurer all books of account,
      business records, bills, invoices and other vouchers, or certified copies thereof if originals have been lost, at such
      reasonable time and place as may be designated by the Insurer or its authorized representative, and permit
      extracts and copies thereof to be made.
   H. Cooperate with the Insurer in the investigation of any claim.

   I.   Notify law enforcement authorities, if the Named Insured has reason to believe that any loss or damage involves
        a violation of law.

VII.    LOSS PAYMENT

   A. Unless otherwise specified in this Policy, in the event of covered loss or damage to covered property, at the
      Insurer's option, the Insurer will either:
        1.   pay the amount of loss or damage;
        2.   pay the cost of repairing or replacing such covered property;
        3.   take all or any part of the covered property at an agreed or appraised value; or
        4.   repair or replace the covered property with other property of like kind and quality.
   B. If the Insurer elects to exercise option A.3. above with respect to any branded or labeled merchandise or
      finished stock, the Named Insured may:

        1.   Stamp salvage on their merchandise or finished stock, or its containers, if the stamp will not physically
             damage the merchandise or finished stock; or
        2.   Remove the brands or labels, if doing so will not physically damage the merchandise or finished stock.
             The Named Insured must re-label the merchandise or finished stock or its containers, to comply with the
             law.
   C. The Insurer will determine the value of such covered property, or the cost of its repair or replacement, in
      accordance with the VALUATION Condition.
   D. The Insurer will not pay more than the Named Insured’s financial interest in the covered property.

   E. The Insurer, at the Insurer's expense, may elect to defend the Named Insured against suits arising from claims of
      owners of covered property.
   F. If the Named Insured has complied with all of the terms and conditions of this Policy, the Insurer will pay
      amounts due hereunder within 60 days after it receives an acceptable sworn proof of loss provided that the
      Insurer and Named Insured have reached agreement on the amount of loss or damage or an appraisal award
      has been made. Such payments will be made to the First Named Insured, subject to the LOSS PAYEES AND
      MORTGAGEES Condition below. However, the payment for loss or damage to personal property of others may
      be to the account of the owner of the property.

        Covered Debris Removal Costs and Expenses and Debris Removal – Additional Costs and Expenses in the
        Fees, Costs and Expenses Coverages provision under the LOCATION COVERAGES section of the Business
        Property Coverage Part will be paid by the Insurer provided all such costs are reported to the Insurer in writing
        within 180 days of the occurrence.




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                          VIII.   LOSS PAYEES AND MORTGAGEES

                              A. Loss Payees

                                  If there is loss of or damage to insured property, in which the Named Insured and any Loss Payee, whether or
                                  not named in the Schedule of Loss Payees or Mortgagees, have an insurable interest:
                                  1.   the Insurer will adjust losses with the Named Insured, and
                                  2.   make payments jointly to the Named Insured and such Loss Payee, in their order of precedence, in
                                       accordance with the Loss Payee's financial interest in the applicable property.

                                  If the Insurer pays such Loss Payee, such payments will satisfy the Named Insured’s claims against the Insurer
                                  for that Loss Payee's property. The Insurer will not pay such owners more than their financial interest in the
                                  insured property.

                              B. Lender Loss Payees and Mortgagees

                                  1.   As used in this Section:
                                       a.   a Lender Loss Payee is any creditor who is shown on the Schedule of Loss Payees or Mortgagees as
                                            a Lender Loss Payee and whose interest in insured property is established by a written instrument
                                            including warehouse receipts, bills of lading, financing statements or security agreements;
                                       b. a Mortgagee is any mortgagee or trustee who is shown on the Schedule of Loss Payees or
                                          Mortgagees as a Mortgagee with respect to the real property for which the mortgagee or trustee is
                                          named.
                                  2.   The Insurer will pay for covered loss or damage to each specified Lender Loss Payee or Mortgagee, in order
                                       of precedence, in accordance with the Lender Loss Payee's or Mortgagee's financial interest in the applicable
                                       property.
                                  3.   Each Lender Loss Payee and Mortgagee has the right to receive loss payment, even though:
                                       a.   the Insurer denied the Named Insured’s claim because the Named Insured failed to comply with the
                                            terms of this Policy; or
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                                       b. such Lender Loss Payee or Mortgagee has started foreclosure or similar action on the insured property,

                                       provided such loss payee:
                                       i.   pays any premium due under this Business Property Coverage Part at the Insurer’s request if the
                                            Named Insured has failed to do so;

                                       ii. submits a signed, sworn proof of loss in accordance with the requirements of this Policy; and

                                       iii. has notified us of any change in ownership, or substantial change in risk known to such Lender Loss
                                            Payee or Mortgagee.

                                       If these requirements are met, all of the terms of this Business Property Coverage Part will then apply
                                       directly to such Lender Loss Payee or Mortgagee.
                                  4.   With respect to any Lender Loss Payees or Mortgagees:
                                       a.   The Insurer may cancel this Policy, including the interest of any Lender Loss Payee or Mortgagee, by
                                            giving such Lender Loss Payee or Mortgagee, or its agent, written notice:
                                            i.   10 days prior to the effective date of cancellation, if cancellation is for nonpayment of premium; or
                                            ii. 60 days prior to effective date of cancellation, if cancellation is for any other reason.



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               b. If a loss hereunder is made payable, in whole or in part, to a designated Lender Loss Payee or
                  Mortgagee not named in this Policy, that interest may be cancelled by giving to such loss payee 10 days
                  written notice of cancellation.
               c.   If the Insurer pays the Lender Loss Payee or Mortgagee for loss under this Business Property
                    Coverage Part, and denies payment to the Named Insured, the Insurer will, to the extent of the payment
                    made to such Lender Loss Payee or Mortgagee, be subrogated to all the rights of the Lender Loss Payee
                    or Mortgagee. However, any subrogation by the Insurer will not impair the right of such Lender Loss
                    Payee or Mortgagee to recover the full amount of its claim. At the Insurer’s option, the Insurer may pay
                    the whole principal of the Named Insured’s debt plus accrued interests. In this event, the Named
                    Insured will pay its remaining debt to the Insurer.

               d. If the Named Insured fails to provide proof of loss, the Lender Loss Payee or Mortgagee, upon notice,
                  will render proof of loss within 60 days of notice and will be subject to the provisions contained in this
                  First Party Terms and Conditions and Common Terms and Conditions relating to APPRAISAL,
                  LOSS PAYMENT and NO SUIT AGAINST INSURER.

      C. Mortgagee Loss Payee

          With respect to any Mortgagee as defined above, the interest of the Mortgagee in real property will not be
          invalidated by:
          1.   any act or neglect of the mortgagor or owner of the real property;
          2.   foreclosures, notice of sale, or similar proceeding with respect to the real property;
          3.   change in the title or ownership of the real property; or
          4.   change to an occupancy more hazardous than was represented by the Named Insured.

      D. Contract of Sale Loss Payee

          A Contract of Sale Loss Payee is a person or entity who is shown on the Schedule of Loss Payees or
          Mortgagees and with whom the Named Insured has entered a contract for the sale of insured property;
          provided that for such insured property in which both the Named Insured and such Contract of Sale Loss Payee
          have an insurable interest, the Insurer will:
          1.   adjust losses with the Named Insured; and
          2.   pay any claim for loss or damage jointly to the Named Insured and such Contract of Sale Loss Payee, as
               interests may appear.
      E. Building Owner Loss Payee

          1.   A Building Owner Loss Payee is the person or entity who is shown on the Schedule of Loss Payees or
               Mortgagees and is the owner of the described building in which the Named Insured is a tenant.

          2.   Loss or damage to such building will be adjusted with such Building Owner Loss Payee. Any loss payment
               made to such Building Owner Loss Payee will satisfy the Named Insured’s claims against the Insurer for
               such Building Owner Loss Payee property.
          3.   Loss or damage to tenant's improvements and betterments will be adjusted with the Named Insured
               unless the written lease agreement provides otherwise.

IX.       NO BENEFIT TO BAILEE

      This insurance shall in no way inure directly or indirectly to the benefit of any transportation carrier or bailee.




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                          X.         OTHER INSURANCE

                                A. If the Named Insured has other insurance covering the same loss or damage, the Insurer will pay on the least of
                                   the following amounts:
                                     1.   any Limit of Insurance applicable to the covered property that has sustained such loss or damage;
                                     2.   the amount of covered loss or damage in excess of the amount due from that other insurance, whether the
                                          Named Insured can collect on it or not, without application of deductible amounts contained elsewhere in this
                                          coverage part; or

                                     3.   the amount the Insurer would have paid had such other insurance not existed.
                                B. Paragraph A. above does not apply to other insurance that is purchased as insurance in excess of the Limit of
                                   Insurance under this coverage part.

                          XI.        POLICY PERIOD/COVERAGE TERRITORY

                               The Insurer will cover loss or damage commencing during the policy period of this Policy and within the coverage
                               territory unless otherwise specified.

                          XII.       RECOVERED PROPERTY

                                If either the Named Insured or Insurer recover any property after loss settlement, that party must give the other
                                prompt notice. At the Named Insured’s option, the property (other than money or securities) will be returned to the
                                Named Insured. The Named Insured must then return to the Insurer the amount it paid to the Named Insured for the
                                covered property. The Insurer will pay recovery expenses and the expenses to repair the recovered covered
                                property, subject to the Limit of Insurance.

                                With respect to money or securities, any recoveries, less the cost of obtaining them, made after settlement of loss or
                                damage covered by this coverage part will be distributed:
                                A. first to the Named Insured, until the Named Insured is fully reimbursed for any loss or damage that the Named
                                   Insured sustains that exceeds the Limit of Insurance and the Deductible amount, if any;

                                B. then to the Insurer, until the Insurer is reimbursed for the settlement made; and
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                                C. then to the Named Insured, until the Named Insured is reimbursed for that part of the loss or damage equal to
                                   the Deductible amount, if any.

                                Recoveries do not include any recovery:
                                1.   from insurance, suretyship, reinsurance, security or indemnity taken for the Insurer’s benefit; or
                                2.   of original securities after duplicates of them have been issued.

                          XIII.      RESUMPTION OF OPERATIONS

                                The Insurer will reduce the amount of business income and research and development business income loss
                                payments to the extent that the Named Insured could resume operations or research and development projects in
                                whole or in part:
                                A. by using damaged or undamaged property, including stock; or

                                B. by using any other premises.

                                Solely with respect to suspension of operations caused by direct physical loss of or damage to a dependent
                                property, the Insurer will reduce the amount of business income loss payment to the extent the Named Insured
                                could resume the Named Insured’s operation, in whole or in part, by using any other available sources of materials
                                or outlets for the Named Insured’s products or services available to the Named Insured.

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XIV.    SALVAGE AND RECOVERIES

   All salvages, recoveries, and payments, excluding proceeds from subrogation and other insurance, recovered or
   received prior to a loss settlement under this Policy, shall reduce the loss accordingly. If recovered or received
   subsequent to a loss settlement under this Policy, such net amounts received shall be divided between the interests
   concerned in the proportion of such respective interests.

XV.     SUSPENDED EQUIPMENT

   The Insurer, or any of the Insurer's representatives, has the right to suspend the insurance provided for covered
   equipment from an equipment breakdown peril when the equipment is found to be in, or exposed to, a dangerous
   condition, provided that the Insurer, or any representative, has:
   A. told the Named Insured of the dangerous condition immediately upon discovering it and informed the Named
      Insured of the suspension of coverage; and

   B. mailed or delivered a notice of the suspension to the First Named Insured's last known address or the address
      where the covered equipment is located.

   The Named Insured will get a pro-rata refund of premium for the suspended insurance. However, the suspension will
   be effective even if the Insurer has not yet made or offered a refund. Reinstatement can only be effected by a written
   endorsement issued by the Insurer.

XVI.    TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO THE INSURER

   If the Insurer pays a claim under this Policy, it will be subrogated, to the extent of such payment, to all the Named
   Insured’s rights of recovery from other persons, organizations and entities. The Named Insured will execute and
   deliver instruments and papers and do whatever else is necessary to secure such rights. The Named Insured shall do
   nothing to prejudice such rights.

   The Insurer will have no rights of subrogation against:
   A. any person or entity who or which is a Named Insured;

   B. any subsidiary or any entity associated with the Named Insured through ownership or management;

   C. any other person or entity that the Named Insured waived its rights of subrogation against in writing before the
      time of loss.

XVII.   VACANCY

   If a building where loss or damage occurs has not been used by the Named Insured to conduct its normal business
   for more than 60 consecutive days before such loss or damage occurs, the Insurer will not pay for any loss or damage
   caused by any of the following even if they are covered perils:
   A. vandalism;

   B. sprinkler leakage, unless the Named Insured has protected the system against freezing;

   C. building glass breakage;

   D. water damage;

   E. theft or attempted theft.

   With respect to all other covered perils, the Insurer will reduce the amount that would otherwise be paid for the loss
   or damage by 15%.



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                             If the Named Insured’s normal operation is leasing property to others, a vacant building will be subject to this
                             condition if the Named Insured has ceased actively leasing the building or has cut-off power, heat and water utility
                             services to the building.
                             Buildings under active construction or active renovation are not considered vacant.

                          XVIII. VALUATION

                             A. Except as provided in Paragraph B. below, and subject to all applicable Limits of Insurance, the Insurer will not
                                pay more than the lesser of the following:
                                 1.   the replacement cost; or
                                 2.   the actual cost to repair or replace covered property.

                                 If the Named Insured does not repair or replace the covered property, or the repair or replacement exceeds 24
                                 months from the date of loss or damage unless a longer time frame is agreed to by the Insurer, the Insurer will
                                 pay the actual cash value of such property.

                                 If the Named Insured commences repair or replacement of such covered property and completes it within 24
                                 months from the date of loss or damage, or such agreed to longer period, the Insurer will pay the difference
                                 between the actual cash value previously paid and the lesser of Paragraphs 1. or 2. above.
                             B. With respect to the following covered property, the Insurer will not pay more than the following amounts:

                                 1.   Accounts receivable: for records of account receivable for which duplicates do not exist, the full cost to
                                      research and reproduce such records plus the cost of the blank materials on which they resides. For records
                                      of accounts receivable for which duplicates do exist, the cost of the labor to transcribe or copy such records,
                                      plus the cost of the blank materials on which they reside.

                                      If the Named Insured cannot accurately establish the amount of accounts receivable outstanding at the time
                                      of loss of or damage to the records of accounts receivable, the following method will be used:
                                      a.    determine the average monthly amount of accounts receivable for the 12 months immediately preceding
                                            the month in which the loss or damage occurs; and
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                                      b.    adjust that average monthly amount for any normal fluctuations in the amount of accounts receivable for
                                            the month in which the loss or damage occurred or for any demonstrated variance from the monthly
                                            average.

                                      The following will be deducted from the total amount of accounts receivable, however that amount is
                                      established:

                                      i.   the amount of the accounts receivable for which there is no loss or damage;

                                      ii. the amount of the accounts receivable that the Named Insured is able to re-establish or collect;

                                      iii. an amount to allow for probable bad debts that the Named Insured is normally unable to collect; and

                                      iv. all unearned interest and service charges.

                                 2.   Personal property that is leased or rented from others, personal property of others and nonowned trailers:
                                      the lesser of the following:

                                      a.   the amount for which the Named Insured is liable under the written contract for such property;
                                      b. the actual cost to repair such property; or

                                      c.   the replacement cost.


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      3.   Fine arts: the appraised market value as of the time, and at the place, of loss or damage. In case of loss to
           any part of a pair or set, the Insurer may:

           a. repair or replace any part to restore the pair or set to its value before the loss; or

           b. pay the difference between the value of the pair or set before and after the loss.

      4.   Glass: replacement cost, including the costs and expenses incurred to put up temporary plates or board up
           openings and to remove or replace obstructions when repairing or replacing glass that is part of a building,
           but not including the removal or replacement of window displays.
      5.   Goods in process: the value of raw stock, the Named Insured's labor expended and other materials
           incorporated and the cost to repurchase proprietary property licenses, plus the proper proportion of overhead
           charges.
      6.   Media: for media for which duplicates do not exist, the full cost incurred to research and reproduce a master
           copy of such media plus the cost of the blank materials on which it resides. For media for which duplicates
           do exist, the cost incurred for the labor to transcribe or copy such media, plus the cost of the blank materials
           on which it resides.

           If the media is not reproduced or replaced, the loss will be valued at the cost to replace the blank material on
           which the media resides with substantially identical type of such blank materials.
      7.   Merchandise which has been sold and not delivered and finished stock: the regular cash selling price, less
           all costs to complete the sale and discounts and charges to which such finished stock or merchandise
           would have been subject had no loss or damage occurred.
      8.   Money or securities:

           Money: only up to and including its face value.

           Securities: only up to and including their value at the close of business on the day the loss was discovered.

      9.   Outdoor trees, shrubs, plants or lawns: the reasonable and necessary costs of a qualified contractor to
           remove the damaged tree, shrub, plant or lawn from the location or reported unspecified location and the
           replacement of such property with similar type, size and quality as the damaged property including
           reasonable repairing and replanting costs. No payment will be made for the replacement, repairing or
           replanting of such property until the repairing, replacement and replanting is completed. Damaged outdoor
           trees, shrubs, plants or lawns not replaced within 12 months from the date of the loss have no value.

      10. Property for sale, other than stock or merchandise, the lesser of the:

           a.   replacement cost;

           b. the selling price; or

           c.   actual cash value.

      11. Property in transit:

           a.   Property under invoice, at the actual invoice cost, including prepaid freight, together with such cost and
                charges since shipment as may have accrued and become legally due thereon.
           b. Property not under invoice, in accordance with the valuation provisions of this Policy, less any charges
              saved which would have become due and payable upon delivery at destination.
      12. Research and development project property: the actual cost necessary to:

           a.   research, recreate, repair or replace the research and development project property, including the cost
                of materials and supplies; and


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                                      b. research, recreate or reproduce information, on any format, documenting that lost or damaged research
                                         and development project property as of the date of such loss or damage.

                                      However, the Insurer will only pay for these costs if the Named Insured repairs, replaces or recreates the
                                      research and development project property. Any research and development project property not
                                      repaired, replaced or recreated has no value. When production of a new product begins by anyone, the
                                      research and development project property for that product and all associated research and recreation
                                      costs have no value.
                                 13. Tenant's improvements and betterments:

                                      a. Replacement cost if the Named Insured repairs or replaces with reasonable speed.

                                      b. A proportion of the Named Insured's original cost if the Named Insured does not repair or replace with
                                         reasonable speed. The Insurer will determine the proportionate value as follows:
                                           i.   multiply the original cost by the number of days from the date of the loss or damage to the expiration
                                                date of the lease; and
                                           ii. divide that amount determined in Paragraph i. above by the number of days from the installation of
                                               the tenant's improvements and betterments to the expiration of the lease.

                                           If the lease contains a renewal option, the expiration date of the renewal option period will be used as the
                                           expiration date of the lease.
                                      c.   If others pay for the repairs or replacement, then the Insurer will only pay for that portion which has not
                                           been paid for by others.
                                 14. Vehicles or self-propelled machines (other than nonowned trailers), railroad rolling stock and contractor’s
                                     equipment: at the lesser of the following for that lost or damaged property:
                                      a.   applicable scheduled Limit of Insurance;
                                      b. actual cash value;

                                      c.   cost to reasonably restore that property to its condition immediately before loss or damage; or
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                                      d. cost of replacing that property with used, but substantially identical property.

                          XIX.   BUSINESS CRIME COVERAGE CONDITIONS

                             Solely with respect to crime coverage provided under the Business Crime Coverage Part and the Employee Theft,
                             Forgery or Alteration and Money and Securities Additional Coverages under the Business Property Coverage
                             Part, the following conditions apply:

                             A. Joint Named Insured

                                 1.   If the Named Insured or partner, proprietor, member or officer of that Named Insured has knowledge of any
                                      information relevant to this insurance, that knowledge is considered knowledge of every Named Insured.
                                 2.   An employee of any Named Insured is considered to be an employee of every Named Insured.
                                 3.   If any crime coverage is cancelled or terminated as to any Named Insured, a loss with respect to that Named
                                      Insured is covered only if the loss was discovered during the period of time in the When Loss Must be
                                      Sustained and Discovered Condition below. However, this extended period to discover loss terminates as
                                      to that Named Insured immediately upon the effective date of any other insurance obtained by that Named
                                      Insured replacing in whole or in part the insurance afforded hereunder, whether or not such other insurance
                                      provides coverage for loss or damage sustained prior to its effective date.
                                 4.   In the event loss or damage is sustained by more than one Named Insured, the Insurer will not pay more
                                      than if the loss or damage was sustained by one Named Insured.

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   B. Named Insured Sponsored Employee Benefit Plans

      Any employee benefit plan shown under the Business Property Coverage Part Declarations or the Business
      Crime Coverage Part Declarations as included as an additional Named Insured are so included only with
      respect to Employee Theft Coverage.

      In compliance with certain provisions of the Employee Retirement Income Security Act of 1974 (ERISA):
      1.   If the First Named Insured is an entity other than an employee benefit plan, any payment made by the
           Insurer will be made jointly to the First Named Insured and to the employee benefit plan that sustained
           loss.
      2.   If two or more employee benefit plans are insured under this coverage part, any payment the Insurer
           makes for covered loss:
           a.   sustained by two or more employee benefit plans; or
           b. of commingled funds or other property of two or more employee benefit plans,

           is to be shared by each employee benefit plan sustaining loss in the proportion that the amount of insurance
           required for each such employee benefit plan under the Employee Retirement Income Security Act of 1974
           (ERISA) bears to the total of such payments.
      3.   The First Named Insured must purchase a Limit of Insurance applicable to Employee Theft Coverage that
           is at least equal to the minimum amount required by ERISA for any employee benefit plans. If employee
           benefit plans are insured jointly with any other entity under this coverage part the limit must be at least
           equal to the minimum amount required by ERISA as if each employee benefit plan were insured
           independently. If, during this policy period, it is determined that the applicable Limit of Insurance as shown in
           the Business Property Schedule of Coverages and Limits or Business Crime Schedule of Coverages,
           Limits and Deductibles was less than the amounts required by ERISA on the effective date of this Policy,
           then, at the request of the First Named Insured during this policy period, and subject to the payment of any
           additional premium, the applicable Limit of Insurance may be amended to equal the minimum amount
           required by ERISA.
      4.   The deductible otherwise applicable to Employee Theft Coverage does not apply to loss sustained by any
           employee benefit plan.

   C. New Employees/New Employee Benefit Plans

      1.   New Employees or Premises

           If, during this policy period the Named Insured establishes any additional premises or hires additional
           employees, any insurance afforded for employees and premises shall also apply to those additional
           employees and premises.

      2.   New Employee Benefit Plans

           If any employee benefit plan is acquired by the Named Insured during the policy period that is:
           a.   sponsored and approved by the Named Insured; and
           b. required to be bonded under the provisions of ERISA,

           that employee benefit plan shall be included as a Named Insured under this coverage part.

   D. Loss Covered Under This Insurance and Prior Insurance Issued by the Insurer or Any Affiliate of the
      Insurer

      If the Named Insured discovers covered loss during the policy period resulting directly from an act or series of
      acts that took place partly during the policy period and partly during a policy period of any prior cancelled or

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                                terminated Policy that the Insurer or any affiliate issued to the Named Insured or any predecessor in interest, the
                                most the Insurer will pay is the larger of the amount recoverable under this Policy or the prior Policy.

                             E. Loss Sustained During Prior Policy

                                1.   If the Named Insured, or a predecessor in interest, sustained a loss that could have been recovered under a
                                     prior policy except that the time within which to discover the loss under such prior policy had expired, then
                                     the Insurer will pay for it under this Policy, provided:
                                     a.   this Policy became effective at the time of cancellation or termination of such prior Policy; and
                                     b. the loss would have been covered by this Policy had it been in effect at the time of such loss.

                                2.   The Limit of Insurance available under this Loss Sustained During Prior Policy Condition is part of, and not in
                                     addition to, the applicable Crime Coverage Limits of Insurance and is limited to the following:
                                     a.   when the prior policy was issued by the Insurer or any affiliate of the Insurer, the highest single Limit of
                                          Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                                     b. when the prior policy was not issued by the Insurer or any of its affiliates, the lesser of the single Limit of
                                        Insurance of the amount recoverable under:
                                          i.   this Policy as of its effective date; or
                                          ii. the prior policy had it remained in effect.

                             F. Non-Cumulation of Limit of Insurance

                                Regardless of the number of years this Policy or similar insurance (whether issued on a “Loss Sustained” or “Loss
                                Discovered” basis) issued by the Insurer remains in force or the number of premiums paid, the Limit of Insurance
                                does not cumulate from one policy period to another policy period.
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                             G. Ownership of Property; Interests Covered

                                The money, securities and other property covered under this coverage part is limited to such property:
                                1.   that the Named Insured owns or leases;
                                2.   that the Named Insured holds for others; or
                                3.   owned and held by someone other than the Named Insured under circumstances which make the Named
                                     Insured responsible for the property prior to the time of loss.

                                Solely with respect to an employee benefit plan, the money, securities and other property covered under any
                                crime coverage is limited to all funds or property that the employee benefit plan uses or may use as a source for
                                the payment of benefits to plan participants or beneficiaries, as described by the Employee Retirement Income
                                Security Act of 1974 (ERISA), any amendments thereto and any regulations promulgated thereunder.

                                However, this insurance is for the Named Insured’s benefit only. It provides no rights or benefits to any clients or
                                to any other person or organization.

                             H. Termination of Coverage as Respects Acts of Any Employee

                                Coverage is terminated with respect to any employee:
                                1.   immediately upon discovery of a dishonest act:

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             a.   committed by that employee while employed by the Named Insured, or
             b. committed by that employee prior to becoming employed by the Named Insured, provided dishonest
                acts committed prior to becoming employed by the Named Insured resulted in a loss equal to or
                exceeding         ,

             provided that such discovery was made by the Named Insured or any of the Named Insured’s employees,
             partners, proprietors, members, managers, officers, directors or trustees, not in collusion with the employee
             who committed such act, whether before or after becoming employed by the Named Insured.
        2.   on the date specified in the notice mailed to the Named Insured. That date will be at least 60 days after the
             date of mailing.

        The Insurer will mail or deliver the notice to the First Named Insured's last mailing address known to the Insurer.
        If notice is mailed, proof of mailing will be sufficient proof of notice.
   I.   When Loss Must be Sustained and Discovered

        Except as provided in the Loss Sustained During Prior Policy Condition, loss is covered only if sustained during
        the policy period and discovered no later than one year from the date of cancellation or expiration of the Policy.
        However, with respect to any Named Insured who obtains any other insurance replacing in whole or in part the
        insurance afforded by such crime coverages, regardless of whether such insurance is obtained during or after the
        policy period, this extended period to discover loss terminates immediately upon the effective date of such other
        insurance, whether or not such other insurance provides coverage for such crime loss sustained prior to its
        effective date.
   J.   Worldwide Coverage and Other Territory Changes

        With respect to Employee Theft Coverage, coverage applies anywhere in the world for employees while
        temporarily outside the coverage territory for a period of 90 days or less.

        With respect to Forgery or Alteration Coverage and Computer Fraud Coverage, coverage applies anywhere in
        the world.




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                                The following coverages apply to the extent shown in the Business Property Schedule of Coverages and Limits or
                                the Business Property Schedule of Locations.

                          I.     LOCATION COVERAGES
                                A. Location Base Coverage
                                    1.   Real Property Coverage
                                         The Insurer will pay for direct physical loss of or damage to real property at a location directly caused by a
                                         covered peril.
                                         The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Real
                                         Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                         location.
                                    2.   Personal Property Coverage
                                         The Insurer will pay for direct physical loss of or damage to personal property at a location directly caused
                                         by a covered peril.
                                         The most the Insurer will pay for any one occurrence for such loss or damage is the applicable Personal
                                         Property Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                         location.
                                    3.   Time Element Coverage
                                         a.   Business Income Coverage
                                              The Insurer will pay for the actual loss of business income the Named Insured sustains during the
                                              period of restoration due to the necessary suspension or delay of operations caused by direct
                                              physical loss of or damage to property at a location directly caused by a covered peril.
                                              The most the Insurer will pay for any one occurrence for such loss of business income is the applicable
                                              Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                              Locations at that location.
                                         b. Extra Expense Coverage
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                                              The Insurer will pay extra expense caused by direct physical loss of or damage to property at a location
                                              directly caused by a covered peril.
                                              The most the Insurer will for pay for any one occurrence for such extra expense is the applicable Extra
                                              Expense Coverage Limit of Insurance shown in the Business Property Schedule of Locations at that
                                              location.
                                         c.   Business Income and Extra Expense Coverage
                                              If a Business Income and Extra Expense Coverage Limit of Insurance is shown in the Business
                                              Property Schedule of Locations at a location, the Insurer will pay for the actual loss of business
                                              income the Named Insured sustains during the period of restoration due to the necessary suspension
                                              or delay of operations, and extra expense, caused by direct physical loss of or damage to property at
                                              that location directly caused by a covered peril.
                                              The most the Insurer will pay for any one occurrence for all such loss of business income and extra
                                              expense is the applicable Business Income and Extra Expense Coverage Limit of Insurance.
                                B. Fees, Costs and Expenses Coverages
                                    If the Insurer pays for loss or damage to any insured property pursuant to any Location Base Coverage shown
                                    in Paragraph A. above, or at reported unspecified locations, the Insurer will also pay for the following
                                    reasonable and necessary fees, costs and expenses incurred by the Named Insured in connection with such

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      covered loss or damage. The most the Insurer will pay for any of the following Fees, Costs and Expenses
      Coverages are the Limits of Insurance shown in the Business Property Schedule of Coverages and Limits.
      Limits for these coverages apply in addition to any other applicable Limits of Insurance, unless otherwise stated.
      Limits of Insurance applicable at a location that differ for a specific location will be shown in the Business
      Property Schedule of Locations for that location. Those Limits replace, and are not in addition to, the Limits of
      Insurance shown in the Business Property Schedule of Coverages and Limits for those specific coverages
      and locations. If any of these coverages do not apply at any specific location, the Limit of Insurance will show as
      Not Covered for those locations.
      1.   Architects & Engineers and Other Professional Fees
           The Insurer will pay the fees incurred for the services of architects, engineers or construction consultants
           approved by the Insurer and resulting directly from the repair or replacement of such insured property.
           The amount the Insurer will pay for such fees is included within the applicable Real Property Coverage or
           Personal Property Coverage Limits of Insurance.
      2.   Brands & Labels Costs and Expenses
           In accordance with the LOSS PAYMENT Condition in the First Party Terms and Conditions, the Insurer will
           pay the costs and expenses incurred to remove the brands and labels from merchandise or finished stock
           and to stamp "salvage" on such merchandise or finished stock or its containers.
           The amount the Insurer will pay for all such costs and expenses is included within the applicable Personal
           Property Coverage Limit of Insurance.
      3.   Debris Removal Costs and Expenses
           The Insurer will pay the costs and expenses incurred to remove debris of covered property remaining after
           such loss or damage.
           Debris Removal Costs and Expenses does not include the costs or expenses of removing, extracting or
           disposing of contaminants or pollutants from land or water.
           The amount the Insurer will pay for all such costs and expenses is included within the remaining Limit of
           Insurance for the applicable covered property after payment of the covered physical loss or damage.
      4.   Debris Removal
           a.   Additional Costs and Expenses
                If the amount incurred for the covered loss or damage to covered property, including Debris Removal
                Costs and Expenses, exceeds the applicable Limit of Insurance for such covered property, the Insurer
                will pay the remaining debris removal costs and expenses incurred.
                The most the Insurer will pay for such remaining debris removal costs and expenses at any one location
                or reported unspecified location for any one occurrence is the Debris Removal – Additional Costs
                and Expenses Limit of Insurance.

           b. Uncovered Property

                If wind causes direct physical loss of or damage to covered property, the Insurer will also pay for the
                expense the Named Insured incurs to remove debris of uncovered property that is blown onto a location
                or reported unspecified location by wind and to remove debris of outdoor trees, shrubs, plants or
                lawns damaged by wind.

                The most the Insurer will pay for uncovered property at any one location or reported unspecified
                location for any one occurrence is the Debris Removal – Uncovered Property Limit of Insurance.




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                                5.   Expediting Costs and Expenses

                                     The Insurer will pay the additional costs and expenses incurred for temporary repair of damage to covered
                                     property and the additional expenses incurred for expediting the permanent repair or replacement of such
                                     damaged covered property. However, the Insurer will not pay such costs and expenses if they are covered
                                     elsewhere in this coverage part.
                                     The most the Insurer will pay for all such costs and expenses at any one location or reported unspecified
                                     location for any one occurrence is the Expediting Costs and Expenses Limit of Insurance.
                                6.   Green Insured Property

                                     a.   Costs and Expenses

                                          With respect to green insured property, the Insurer will pay the costs and expenses incurred:
                                          i.   to reuse or salvage building materials and products;
                                          ii. to extract recyclable construction waste and transport it to recycling facilities instead of landfills but
                                              only to the extent they are not offset by any income derived from the recycling;
                                          iii. for the services of accredited architects or engineers approved by the Insurer in planning and
                                               designing the applicable green insured property qualifying repairs or rebuild;
                                          iv. to re-certify the repaired or replaced insured property through the applicable green insured
                                              property accreditation organization; and

                                          v.   to flush-out the air in the repaired or rebuilt green insured property and replace it with outside air
                                               ventilated through an air filtration system included as part of the repaired or replaced green insured
                                               property.
                                          The amount the Insurer will pay for all such costs and expenses is included within the applicable Real
                                          Property Coverage or Personal Property Coverage Limits of Insurance.

                                     b. Time Element

                                          To the extent time element coverage is applicable at that location or reported unspecified location,
                                          the Insurer will pay, as provided, for loss of business income or extra expense arising out of extra time
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                                          required to re-qualify, repair or rebuild the green insured property, including:
                                          i.   additional costs to obtain power from a public utility for covered equipment that uses solar, wind,
                                               geo-thermal or other renewable resources to generate power. These additional costs will be paid
                                               until such time as such green insured property is repaired and operating; and
                                          ii. the monetary loss of rebates and credits the Named Insured receives from the public utility company
                                              for surplus power the Named Insured’s renewable resources provide into the utility’s power grid.
                                          The amount the Insurer will pay for such all such loss and expense is included within the applicable time
                                          element coverage Limit of Insurance.

                                     c.   This Green Insured Property Coverage does not apply to:
                                          i.   green insured property for which the basis of valuation is other than replacement cost; or

                                          ii. costs or expenses to upgrade the damaged green insured property to green standards beyond
                                              those that existed in the damaged green insured property at the time of loss or damage.

                          II. OFF-SITE COVERAGES
                             The following OFF-SITE COVERAGES apply as shown in the Business Property Schedule of Coverages and
                             Limits, up to the applicable Limit of Insurance shown. If a specific Location Base Coverage is not provided
                             elsewhere in this Business Property Coverage Part, there is no coverage under its corresponding OFF-SITE

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   COVERAGE. For example, if the Named Insured does not have coverage for business income under the Location
   Base Coverages, then there is no such coverage related to business income under any of the OFF-SITE
   COVERAGES. Limits for these OFF-SITE COVERAGES apply in addition to any other applicable Limits of Insurance,
   unless otherwise stated.
   A. Deferred Payments Coverage
      1.   The Insurer will pay the Named Insured's financial interest in personal property sold on an installment,
           conditional sale or other deferred payment basis. The Insurer will make such payments only if such personal
           property suffers direct physical loss or damage due to a covered peril after delivery to the purchaser, and
           only if the Named Insured is unable to collect after making all reasonable efforts to do so.
      2.   The most the Insurer will pay for such payments under this OFF-SITE COVERAGE for any one occurrence
           is the lesser of the Named Insured’s financial interest in such personal property or the Deferred Payments
           Coverage Limit of Insurance.
           The Limit for this OFF-SITE COVERAGE is included in, and not in addition to, any other applicable Limits of
           Insurance.
   B. Dependent Property Time Element Coverage
      1.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by direct physical loss of or damage to property at a dependent property located anywhere in the
           world. The loss or damage must be directly caused by a covered peril.
      2.   The most the Insurer will pay for all loss and expense under this OFF-SITE COVERAGE for any one
           occurrence is the Dependent Property Time Element Coverage Limit of Insurance.
      3.   The Insurer will not pay for loss of business income or extra expense caused by or resulting from
           earthquake or flood under this OFF-SITE COVERAGE, even if they are otherwise covered perils.
   C. Installation Coverage
      1.   The Insurer will pay for direct physical loss of or damage to installation property directly caused by a
           covered peril while such installation property is at an installation location or a temporary warehousing
           premises:
           a.   awaiting and during installation, fabrication, erection, certifying, servicing or testing; or
           b. awaiting acceptance by the purchaser.
      2.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
           occurrence is the Installation Coverage Limit of Insurance.
      3.   This Installation Coverage does not apply to loss or damage at any premises, location or reported
           unspecified location owned by the Named Insured, or to property in the due course of transit.
      4.   This Installation Coverage will end on the date when any of the following first occurs:
           a.   the Policy expires;
           b. the Named Insured’s insurable interest in the property ceases;


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                                     c.   the installation, fabrication or erection project is accepted by the purchaser as complete; or
                                     d. the Named Insured abandons the installation, fabrication or erection project with no intention to complete
                                        it.
                             D. Mobile Computing Devices – Worldwide Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to mobile computing devices while outside the
                                     coverage territory, except within any country upon which the United States government has imposed
                                     sanctions, embargoes or similar prohibitions. The loss or damage must be directly caused by a covered
                                     peril.
                                2.   The most the Insurer will pay for loss or damage under this OFF-SITE COVERAGE for any one occurrence
                                     is the Mobile Computing Devices – Worldwide Coverage Limit of Insurance.
                             E. Property at Unspecified Locations Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property and fine arts at an unspecified location, or while in the custody of a salesperson, directly
                                     caused by a covered peril.
                                     The coverage provided for fine arts under this OFF-SITE COVERAGE is subject to the provisions of the Fine
                                     Arts Coverage in the ADDITIONAL COVERAGE BASKET section, except the requirement that such
                                     property be at a location or reported unspecified location.
                                 2. To the extent time element coverage is applicable under this Business Property Coverage Part, the
                                    Insurer will pay, as provided, for:
                                     a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                          to the necessary suspension or delay of operations;
                                     b. the actual loss of research and development business income the Named Insured sustains during the
                                        period of restoration due to the necessary suspension or delay of research and development projects;
                                        and
                                     c.   extra expense,
                                     caused by loss of or damage to insured property, research and development project property and fine
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                                     arts at an unspecified location or while in the custody of a salesperson directly caused by a covered peril.
                                 3. The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE:
                                     a.   at any one unspecified location for any one occurrence is the Property at Unspecified Locations
                                          Coverage – Property Damage and Time Element Unspecified Location Limit of Insurance.
                                     b. for all unspecified locations for any one occurrence, regardless of the number of unspecified
                                        locations involved, is the Property at Unspecified Locations Coverage – Property Damage and Time
                                        Element Unspecified Locations Combined Limit of Insurance.
                                4.   This Property at Unspecified Locations Coverage does not apply to:
                                     a.   property in transit, other than while in the custody of salespersons as described in Paragraph E.1. above;
                                     b. property that is covered under the Protection of Property Coverage of the ADDITIONAL COVERAGES
                                        section.
                                5.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply only with
                                     respect to unspecified locations that the Named Insured does not own, operate or lease.
                             F. Property in Transit Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for direct physical loss of or damage to insured property, research and development
                                     project property, fine arts, media and records of accounts receivable directly caused by a covered peril

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           while in the course of transit from the time such property is being loaded at the initial point of shipment and
           continuously thereafter, until unloaded at the final destination, or if undeliverable, the time it is returned to the
           location or reported unspecified location, including:
           a.   general average or salvage charges that are assessed; and
           b. reasonable and necessary expense the Named Insured incurs to inspect, repackage and reship such
              property.
           The coverage provided for fine arts, records of accounts receivable and media under this OFF-SITE
           COVERAGE are subject to the provisions of the Fine Arts Coverage, Accounts Receivable Coverage and
           Restoration of Media Coverage, respectively, in the ADDITIONAL COVERAGE BASKET section, except
           the requirement that such property be at a location or reported unspecified location.
      2.   To the extent time element coverage is applicable under this Business Property Coverage Part, the
           Insurer will also pay, as provided, for:
           a.   actual loss of business income the Named Insured sustains during the period of restoration due to
                the necessary suspension or delay of operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           caused by loss of or damage to insured property, research and development project property, fine arts
           and media while in the course of transit directly caused by a covered peril.
      3.   The most the Insurer will pay for all loss, damage or expense combined under this OFF-SITE COVERAGE for
           any one occurrence is the Property in Transit Coverage – Property Damage and Time Element Limit of
           Insurance.
      4.   When neither the origin nor the destination is in any country upon which the United States government
           imposes sanction, embargoes or similar provisions, the following applies:
           a.   If the property is transported by an aircraft, the coverage territory is extended to be anywhere in the
                world for that property while in transit; or
           b. If the property is transported by an oceangoing vessel, transit coverage ends when the property has been
              loaded on the oceangoing vessel and only commences when the property has been fully discharged from
              such vessel onto a point within the coverage territory.
      5.   This Property in Transit Coverage does not apply to:
           a.   import shipments until marine insurance coverage ceases;
           b. personal property of others hauled on vehicles owned, leased or operated by the Named Insured
              when acting as a common or contract carrier, regardless of the Named Insured’s liability for such
              property;
           c.   property sold by the Named Insured under conditional sale, trust agreement or installment payment after
                delivery to customers;
           d. property shipped by common carrier or postal service unless such shipment is electronically tracked by
              such carrier or service; or
           e.   property while in the custody of salespersons.
      6.   In the event of any loss of or damage to personal property in transit, the Named Insured must immediately
           make a claim in writing against the carrier, bailee or others involved.



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                                 7.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply with respect
                                      to this OFF-SITE COVERAGE.
                             G. Worldwide Media and Accounts Receivable Coverage
                                 1.   The Insurer will pay for direct physical loss of or damage to media and records of accounts receivable
                                      directly caused by a covered peril while such property is at a premises other than a location or reported
                                      unspecified location.
                                 2.   With respect to coverage provided under this OFF-SITE COVERAGE, the coverage territory is extended to
                                      be anywhere in the world, except within any country upon which the United States government has imposed
                                      sanctions, embargoes or similar prohibitions.
                                 3.   The most the Insurer will pay for all loss or damage under this OFF-SITE COVERAGE for any one
                                      occurrence is the Worldwide Media and Accounts Receivable Coverage Limit of Insurance.
                                 4.   The Earth Movement and Flood Excluded Perils under the EXCLUSIONS section do not apply under this
                                      OFF-SITE COVERAGE, but only when such property is at premises that the Named Insured does not own,
                                      operate or lease.

                          III. ADDITIONAL COVERAGES
                             The following ADDITIONAL COVERAGES apply up to the applicable Limit of Insurance shown under the Business
                             Property Schedule of Coverages and Limits. If a particular coverage is shown as Not Covered then such coverage
                             is not provided under this Business Property Coverage Part.
                             Limits of Insurance for an ADDITIONAL COVERAGE that differ at any specific location will be shown under the
                             Business Property Schedule of Locations for that location. Those Limits of Insurance replace, and are not in
                             addition to, the Limit of Insurance shown for that ADDITIONAL COVERAGE in the Business Property Schedule of
                             Coverages and Limits. If any ADDITIONAL COVERAGE does not apply at a specific location, that ADDITIONAL
                             COVERAGE will be shown as Not Covered at that location.
                             If a specific Location Base Coverage is not provided at a location or at reported unspecified locations in this
                             Business Property Coverage Part, there is no coverage under its corresponding ADDITIONAL COVERAGE. For
                             example, if the Named Insured does not have a Location Base Coverage for business income for one or more
                             locations or reported unspecified location, then there is no coverage related to business income under any of the
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                             ADDITIONAL COVERAGES for business income.
                             Limits for these ADDITIONAL COVERAGES apply in addition to any other applicable Limits of Insurance, unless
                             otherwise stated.
                             A. Contaminants or Pollutants Clean Up and Removal Coverage – Property Damage and Time Element
                                Combined
                                 1.   The Insurer will pay for the reasonable costs and expenses to extract or remove contaminants or pollutants
                                      from land or water at a location or reported unspecified location, provided such contaminants or
                                      pollutants are in the land or water as a direct result of a covered peril. These costs and expenses include
                                      the costs and expenses to test for, monitor or assess the existence, concentration or effects of contaminants
                                      or pollutants.
                                      The Insurer will pay these costs and expenses only if reported to the Insurer within 180 consecutive days of
                                      the date on which the covered peril occurs.
                                 2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
                                      Insurer will also pay, as provided, for:
                                      a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                           to the necessary suspension or delay of operations;



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           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           as a result of compliance with an ordinance or law that requires the clean up or removal of contaminants or
           pollutants from land or water at a location or reported unspecified location as a direct result of a covered
           peril.
      3.   The most the Insurer will pay for all loss, cost or expense combined under this ADDITIONAL COVERAGE at
           any one location or reported unspecified location for any one occurrence is the Contaminants or
           Pollutant Clean Up and Removal Coverage – Property Damage and Time Element Combined Limit of
           Insurance.
   B. Contamination by a Refrigerant Coverage
      1.   The Insurer will pay for direct physical loss of or damage to personal property caused by the release or
           escape of refrigerants from any refrigeration equipment at a location or reported unspecified location
           provided the release or escape was not caused by or resulting from earthquake or flood, even if those are
           otherwise covered perils.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Contamination by a Refrigerant
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable
           Personal Property Coverage Limit of Insurance.
      3.   The Contaminants or Pollutants Excluded Peril under the EXCLUSIONS section does not apply, but only to
           the extent of the coverage provided under this ADDITIONAL COVERAGE.

   C. Contractual Penalties Coverage

      1.   The Insurer will pay for contractual penalties specified in a written contract that the Named Insured incurs for
           material breach of the terms of such contract where such breach is the result of direct physical loss of or
           damage to covered property directly caused by a covered peril.
      2.   The most the Insurer will pay for such contractual penalties under this ADDITIONAL COVERAGE for any one
           occurrence is the Contractual Penalties Coverage Limit of Insurance.
   D. Denial of Access Coverage
      To the extent time element coverage is applicable at that location or reported unspecified location, the
      following coverages apply at the location or reported unspecified location where the suspension or delay of
      operations occurs:
      1.   Civil Authority
           a.   For up to the number of days shown on the Business Property Schedule of Coverages and Limits, the
                Insurer will pay, as provided, for:
                i.   The actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay of operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of the research and
                    development projects; and
                iii. extra expense,



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                                          caused by action of civil authority that prohibits access to the location or reported unspecified location.
                                          Such action must result from a civil authority's response to direct physical loss of or damage to property
                                          located away from a location or reported unspecified location. That lost or damaged property must be
                                          within five miles of that location or reported unspecified location which sustains a business income
                                          or research and development business income loss or where extra expense is incurred. The loss or
                                          damage must be directly caused by a covered peril.
                                     b. The amount the Insurer will pay for all loss or expense under this Civil Authority Coverage is included
                                        within the applicable time element coverage Limit of Insurance.
                                     c.   However, to the extent the covered Civil Authority Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Civil Authority Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Civil Authority Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                                2.   Ingress/Egress
                                     a. The Insurer will pay, as provided, for:
                                          i.   the actual loss of business income the Named Insured sustains during the period of restoration
                                               due to the necessary suspension or delay of operations;
                                          ii. the actual loss of research and development business income the Named Insured sustains
                                              during the period of restoration due to the necessary suspension or delay of the research and
                                              development projects; and
                                          iii. extra expense,
                                          when ingress or egress by the Named Insured's suppliers, customers or employees to or from the
                                          location or reported unspecified location is physically obstructed due to direct physical loss or
                                          damage. The actual loss of business income or research and development business income
                                          sustained, or extra expense incurred, by the Named Insured must be caused by direct physical loss of
                                          or damage to property not owned, occupied, leased or rented by the Named Insured or insured under
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                                          this Business Property Coverage Part. That property must be located within five miles of such location
                                          or reported unspecified location. The obstruction cannot be the result of an action of civil authority that
                                          prohibits access to that location or reported unspecified location. The loss or damage must be directly
                                          caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or expense under this Ingress/Egress Coverage at any one
                                        location or reported unspecified location for any one occurrence is the Ingress/ Egress Coverage
                                        Limit of Insurance.
                                     c.   However, to the extent the covered Ingress/Egress Coverage loss or expense is caused by or resulting
                                          from:
                                          i.   flood, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                               addition to, the applicable Flood Limit of Insurance.
                                          ii. earthquake, the amount payable under this Ingress/Egress Coverage is included within, and not in
                                              addition to, the applicable Earthquake Limit of Insurance.
                             E. Electronic Vandalism Coverage – Property Damage and Time Element Combined
                                1.   The Insurer will pay for loss of or damage to media, electronic data processing equipment, research and
                                     development project property and records of accounts receivable caused by or resulting from electronic
                                     vandalism originating anywhere in the world.


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      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and

           c.   extra expense,

           directly caused by electronic vandalism.
      3.   The Insurer will not pay for electronic vandalism loss caused by or resulting from any deliberate, dishonest,
           fraudulent or criminal acts committed by or on behalf of, or at the direction of, any executive officer.
      4.   The most the Insurer will pay for all loss, damage or expense combined under this ADDITONAL COVERAGE
           in the policy period is the Electronic Vandalism Coverage – Property Damage and Time Element
           Combined Aggregate Limit of Insurance.
      5.   The Electronic Vandalism and Dishonest Acts Excluded Perils under the EXCLUSIONS section do not
           apply, but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.
   F. Employee Theft Coverage
      1.   The Insurer will pay for loss of or damage to personal property, money, securities and fine arts as a direct
           result of employee theft.
      2.   The Insurer will not pay for such loss:
           a.   caused by any employee of the Named Insured, or predecessor in interest of the Named Insured, for
                whom similar prior insurance was cancelled and not reinstated since the last such cancellation.
           b. if the proof of existence or amount is dependent upon an inventory computation or a profit and loss
              computation. However, where the Named Insured establishes wholly apart from such computations that
              it has sustained such loss or damage, then it may offer its inventory records and actual physical count of
              inventory in support of the amount claimed.
           c.   resulting directly or indirectly from trading, whether in the Named Insured’s name or in a genuine or
                fictitious account.
           d. resulting from fraudulent or dishonest signing, issuing, cancelling or failing to cancel, a warehouse receipt
              or bill of lading or any papers connected with either.
      3.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE for any one
           occurrence is the Employee Theft Coverage Limit of Insurance.
      4.   The Dishonest Acts Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
           the coverage provided under this ADDITIONAL COVERAGE.
   G. Equipment Breakdown - Spoilage Coverage

      1.   The Insurer will pay for direct physical loss of or damage to personal property directly caused by the loss of
           or changes in any artificially maintained or generated temperature, humidity or internal atmosphere resulting
           from an equipment breakdown peril to covered equipment at the location or reported unspecified
           location.
      2.   The most the Insurer will pay for loss or damage under this ADDITIONAL COVERAGE at any one location
           or reported unspecified location for any one occurrence is the Equipment Breakdown – Spoilage
           Coverage Limit of Insurance.
           The Limit for this ADDITIONAL COVERAGE is included in, and not in addition to, any other applicable Limits
           of Insurance.

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                                  3.   The Adulteration or Contamination and the Temperature or Humidity Conditions Excluded Perils under
                                       the EXCLUSIONS section do not apply, but only to the extent of the coverage provided under this
                                       ADDITIONAL COVERAGE.
                             H. Expense to Reduce Loss – Business Income Coverage
                                  The Insurer will pay reasonable and necessary expenses incurred by the Named Insured, except the cost of
                                  extinguishing a fire, to reduce the amount of business income or research and development business income
                                  loss. The Insurer will pay such expenses to the extent that they do not exceed the amount of loss that otherwise
                                  would have been payable under the Business Income Coverage.
                                  The amount the Insurer will pay for such expenses under this ADDITIONAL COVERAGE is included within the
                                  applicable Business Income Coverage Limit of Insurance.
                             I.   Extended Indemnity Period – Business Income Coverage
                                  1.   If loss of business income is payable under this Business Property Coverage Part, the Insurer will also
                                       pay for the actual loss of business income the Named Insured sustains during the extended indemnity
                                       period.
                                       This extended indemnity period begins on the date the period of restoration ends and it terminates on the
                                       earlier of:
                                       a.   the date the Named Insured's gross sales, including rental income, are restored to the amount that
                                            would have existed if no direct physical loss or damage occurred; or
                                       b. the date on which the specified number of days shown in the Business Property Schedule of
                                          Coverages and Limits have elapsed after the end of the period of restoration.
                                  2.   The amount the Insurer will pay for loss of business income under this ADDITIONAL COVERAGE is
                                       included within the applicable Business Income Coverage or Business Income and Extra Expense
                                       Coverage Limit of Insurance.
                                  3.   This Extended Indemnity Period - Business Income Coverage does not apply to loss of business income
                                       resulting from unfavorable business conditions as a result of the impact of a covered peril in the area of the
                                       affected location or reported unspecified location.
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                                  4.   This Extended Indemnity Period - Business Income Coverage does not apply to any other ADDITIONAL
                                       COVERAGE or the ADDITIONAL COVERAGE BASKET.
                             J.   Forgery or Alteration Coverage
                                  1.   The Insurer will pay for loss sustained by the Named Insured resulting from forgery or alteration of or on
                                       covered instruments that are made or drawn by, or drawn upon:
                                       a.   the Named Insured; or
                                       b. one acting as the Named Insured’s agent,
                                       or that are purported to have been so made or so drawn, by any person, acting alone or together with others.
                                       Mechanically reproduced facsimile signatures are the same as handwritten signatures.
                                  2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                       Forgery or Alteration Coverage Limit of Insurance.
                             K. Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time Element Combined
                                  1.   The Insurer will pay the following provided fungi, wet rot, dry rot or microbes are the direct result of a
                                       covered peril, other than fire or lightning:
                                       a.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes,
                                            including the cost of removing the fungi, wet rot, dry rot or microbes;


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           b. the reasonable cost to tear out and replace any part of the covered building or other property as needed
              to gain access to the fungi, wet rot, dry rot or microbes; and
           c.   the cost of testing performed after removal, repair, replacement or restoration of the damaged property is
                completed, provided there is reason to believe that fungi, wet rot, dry rot or microbes are still present.
      2.   To the extent time element coverage is applicable at that location or reported unspecified location, the
           Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,
           due to the:
           i.   direct physical loss of or damage to covered property caused by fungi, wet rot, dry rot or microbes that
                are the result of a covered peril, other than fire or lightning; or
           ii. prolonged period of restoration due to the remediation of fungi, wet rot, dry rot or microbes from a
               covered loss.
      3.   The most the Insurer will pay under this ADDITIONAL COVERAGE for all loss, damage, cost or expense
           combined in the policy period is the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage
           and Time Element Combined Aggregate Limit of Insurance. This Limit is the most the Insurer will pay, even
           if the fungi, wet rot, dry rot or microbes continue to be present or active or recur in a later policy period.
      4.   The Fungi, Wet Rot, Dry Rot and Microbes Excluded Peril under the EXCLUSIONS section does not apply,
           but only to the extent of the coverage provided under this ADDITIONAL COVERAGE.

   L. Loss Adjustment Expense Coverage
      1.   The Insurer will pay for reasonable and necessary expenses incurred by the Named Insured in preparing
           claim data when required by the Insurer, including the cost of taking inventories, obtaining appraisals and
           preparing other documentation, to determine the extent of covered loss or damage.
      2.   The Insurer will not pay for any fees, costs or expenses incurred, directed or billed by, or payable to
           attorneys, public adjusters, loss adjusters, loss consultants, insurance brokers or agents or their associates or
           subsidiaries, or any costs as described in the APPRAISAL Condition of the First Party Terms and
           Conditions.
      3.   The most the Insurer will pay for all expenses incurred under this ADDITIONAL COVERAGE for any one
           occurrence is the Loss Adjustment Expense Coverage Limit of Insurance.
   M. Money and Securities Coverage
      1.   The Insurer will pay for loss sustained by the Named Insured as a direct result of the actual destruction,
           disappearance or theft of money and securities:
           a.   at a location, reported unspecified location or the premises of a bank or savings institution; or
           b. away from:
                i.   a location;
                ii. a reported unspecified location; or
                iii. the premises of a bank or savings institution,
                while in the care and custody of a messenger or an armored motor vehicle company.

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                                2.   The most the Insurer will pay for all loss under this ADDITIONAL COVERAGE for any one occurrence is the
                                     Money and Securities Coverage Limit of Insurance.
                                3.   The Insurer will not pay any loss or damage sustained by the Named Insured caused by or resulting from:
                                     a.   accounting or arithmetical errors or omissions;
                                     b. dishonest or criminal acts by the Named Insured, executive officers, employees, authorized
                                        representatives or anyone else to whom money or securities have been entrusted, other than an
                                        armored motor vehicle company:
                                          i.   acting alone or in collusion with others; or
                                          ii. whether or not occurring during the hours of employment;
                                     c.   giving or surrendering of the property in any exchange or purchase;
                                     d. voluntary parting with money or securities by the Named Insured or anyone else to whom it has
                                        entrusted such property if induced to do so by any fraudulent scheme, trick, device or false pretense;
                                     e.   transfer or surrender of money or securities on the basis of unauthorized instructions, to a person or
                                          place outside:
                                          i.   a location;
                                          ii. a reported unspecified location; or
                                          iii. the premises of a banking or savings institution; or
                                     f.   transactions involving any automated teller machine unless recorded by a continuous recording
                                          instrument in such machine.
                                4.   The only Excluded Perils under the EXCLUSIONS section that apply to this ADDITIONAL COVERAGE are
                                     Biological or Chemical Material, Governmental Action, Nuclear Hazard and War and Military Action.
                             N. Newly Acquired Locations and Property Coverage
                                1.   Newly Acquired or Constructed Real Property
                                     a.   The Insurer will pay for direct physical loss of or damage to real property, including new buildings while
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                                          being built:
                                          i.   at a newly acquired location; or
                                          ii. at a location or reported unspecified location, if coverage is not currently shown for real property
                                              at that location on the Business Property Schedule of Locations or for reported unspecified
                                              locations,
                                          directly caused by a covered peril.
                                     b. The most the Insurer will pay for all loss or damage under this Newly Acquired or Constructed Real
                                        Property coverage for any one occurrence is the Newly Acquired or Constructed Real Property Limit
                                        of Insurance.
                                2.   Newly Acquired – Other Property
                                     a.   The Insurer will pay for direct physical loss of or damage:
                                          i.   to personal property, fine arts, media and records of accounts receivable at a newly acquired
                                               location; and
                                          ii. to personal property if coverage is not currently shown for personal property at that location on
                                              the Business Property Schedule of Locations or for reported unspecified locations,
                                          directly caused by a covered peril.


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           b. The most the Insurer will pay for all loss or damage under this Newly Acquired Property – Other
              Property coverage for any one occurrence is the Newly Acquired – Other Property Limit of Insurance.
           c.   The coverage provided under this ADDITIONAL COVERAGE for fine arts, records of accounts
                receivable and media is subject to the provisions of the Fine Arts Coverage, Accounts Receivable
                Coverage and Restoration of Media Coverage, respectively, under the ADDITIONAL BASKET
                COVERAGE section except the requirement that such property be at a location or reported unspecified
                location.
      3.   Newly Acquired Location – Time Element
           a.   To the extent time element coverage is applicable on the Business Property Coverage Part, the
                Insurer will pay, as provided, for:
                i.   the actual loss of business income the Named Insured sustains during the period of restoration
                     due to the necessary suspension or delay in operations;
                ii. the actual loss of research and development business income the Named Insured sustains
                    during the period of restoration due to the necessary suspension or delay of research and
                    development projects; and
                iii. extra expense,
                caused by loss or damage to property at a newly acquired location directly caused by a covered peril.
           b. The most the Insurer will pay for all loss or expense under Newly Acquired Location – Time Element
              coverage for any one occurrence is the Newly Acquired Location – Time Element Limit of Insurance.
      4.   This Newly Acquired Locations and Property Coverage expires on the date when any of the following first
           occurs:
           a.   the Policy expires or is cancelled;
           b. the number of consecutive days shown on the Business Property Schedule of Coverages and Limits
              has passed from the date:
                i.   the premises becomes a newly acquired location;
                ii. the Named Insured acquires such property at a location or reported unspecified location; or
                iii. construction begins on new buildings; or
           c.   the Named Insured reports values to the Insurer.
      5.   The Insurer will charge the Named Insured additional premium for values reported from the date the
           premises becomes a newly acquired location, the Named Insured acquires such property or the
           construction begins on new buildings.
   O. Ordinance or Law Coverage
      If at the time of direct physical loss of or damage to insured property directly caused by a covered peril there is
      an ordinance or law in effect regulating the construction, zoning, repair or land use of such insured property and,
      as a result of such covered loss or damage, such ordinance or law requires code compliance in the repair or
      replacement of such insured property, the following coverages apply:
      1.   Undamaged Insured Property
           The Insurer will pay for the amount equal to the value of the undamaged portion of such insured property
           that must be demolished in accordance with such ordinance or law.
           The amount the Insurer will pay for all loss or damage under this Undamaged Insured Property coverage is
           included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance.



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                                2.   Demolition and Repair Cost
                                     The Insurer will pay for:
                                     a.   the cost of demolishing and removing the undamaged portion of the damaged insured property required
                                          to be demolished because of such ordinance or law, including the cost of clearing the site; and
                                     b. the increased cost of repair or reconstruction of such insured property on the same site or another site
                                        because of such ordinance or law. If the Named Insured elects to do such repair or reconstruction at
                                        another site, such costs are limited to the costs that would have been incurred in order to comply with the
                                        minimum requirements of such ordinance or law regulating the repair or reconstruction of such insured
                                        property on the same site.
                                     The amount the Insurer will pay for all loss or damage under this Demolition and Repair Cost coverage is
                                     included within the applicable Real Property Coverage or Personal Property Coverage Limit of Insurance
                                     unless a separate Demolition and Repair Cost Limit of Insurance is shown.
                                     If a separate Limit is shown, then the most the Insurer will pay under this Demolition and Repair Cost
                                     coverage at any one location or reported unspecified location for any one occurrence is the Demolition
                                     and Repair Cost Limit of Insurance.
                                3.   Increased Period of Restoration
                                     To the extent Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the period of restoration includes any
                                     increased period of time that results from the enforcement of an ordinance or law that requires the Named
                                     Insured to repair or reconstruct the property or tear down undamaged portions of the property to meet the
                                     minimum requirements of the ordinance or law in force at the time of loss or damage.
                                     The amount the Insurer will pay under this Increased Period of Restoration coverage is included in the
                                     applicable Business Income Coverage or Business Income and Extra Expense Coverage Limit of
                                     Insurance.
                                4.   The Insurer will not pay for any:
                                     a.   additional costs incurred if the damaged insured property is not repaired or reconstructed as soon as
                                          reasonably possible;
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                                     b. increased period of restoration if the Named Insured does not resume operations with reasonable
                                        speed;
                                     c.   costs attributable to any ordinance or law that the Named Insured was required to comply with before
                                          the loss or damage; or
                                     d. increase in costs or increased period of restoration required due to the enforcement of any ordinance or
                                        law that requires the Named Insured or others to test for, monitor, clean up, remove, contain, treat,
                                        detoxify or neutralize, demolish, repair, replace or in any way respond to or assess the effects of
                                        contaminants or pollutants or the presence, growth, proliferation, spread or any activity of fungi, wet
                                        rot, dry rot or microbes, except to the extent the Contaminants or Pollutant Clean Up and Removal
                                        Coverage or the Fungi, Wet Rot, Dry Rot and Microbe Coverage – Property Damage and Time
                                        Element Combined of the ADDITIONAL COVERAGES section applies.
                                5.   The Governmental Action Excluded Peril under the EXCLUSIONS section does not apply, but only to the
                                     extent of the coverage provided under this Ordinance or Law Coverage.
                             P. Pair or Set Coverage
                                1.   The Insurer will pay an amount equal to the reduction in value of undamaged personal property that is part
                                     of a pair or set that becomes unmarketable as a pair or set because of direct physical loss of or damage to
                                     the other part of such personal property directly caused by a covered peril.


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      2.   The amount the Insurer will pay for such reduction in value under this ADDITIONAL COVERAGE is included
           within the applicable Personal Property Coverage Limit of Insurance.
   Q. Protection of Property Coverage
      1.   Removal of Insured Property
           a.   If it is necessary to move insured property from the location or reported unspecified location to
                protect it from actual or imminent direct physical loss or damage caused by a covered peril, the Insurer
                will pay for:
                i.   any loss of or damage to that insured property while it is being moved from, or returned to, the
                     location or reported unspecified location, or while temporarily stored at another premises for up to
                     the Number of Days shown in the Business Property Schedule of Coverages and Limits; and
                ii. the reasonable cost to remove the insured property from the location or reported unspecified
                    location and the cost to move the insured property back.

           b. The amount the Insurer will pay for all loss, damage or cost under this Removal of Insured Property
              coverage is included within, and not in addition to, the applicable Real Property Coverage or Personal
              Property Coverage Limit of Insurance.
      2.   Preservation of Insured Property
           a.   If it is necessary to protect insured property at the location or reported unspecified location from
                imminent direct physical loss or damage by a covered peril, the Insurer will pay reasonable and
                necessary costs the Named Insured incurs to protect such insured property from such imminent loss or
                damage while at such location or reported unspecified location.

           b. The most the Insurer will pay for all costs under this Preservation of Insured Property coverage for any
              one occurrence is the Protection of Property Coverage Preservation of Insured Property Limit of
              Insurance, subject to a $1,000 each occurrence deductible. No other deductible applies to this
              Preservation of Insured Property Coverage.

   R. Reported Unspecified Locations

      1.   Real Property Coverage and Personal Property Coverage

           The Insurer will pay for direct physical loss of or damage to insured property at a reported unspecified
           location directly caused by a covered peril.

           The most the Insurer will pay for such loss or damage to real property at any one reported unspecified
           location for any one occurrence is the applicable Reported Unspecified Locations Real Property Limit of
           Insurance.

           The most the Insurer will pay for such loss or damage to personal property at any one reported
           unspecified location for any one occurrence is the applicable Reported Unspecified Location Personal
           Property Limit of Insurance.

      2.   Business Income Coverage

           The Insurer will pay for the actual loss of business income the Named Insured sustains during the period
           of restoration due to the necessary suspension or delay of operations caused by direct physical loss of or
           damage to property at a reported unspecified location directly caused by a covered peril.

           The most the Insurer will pay for such loss of business income at any one reported unspecified location
           for any one occurrence is the Reported Unspecified Locations Business Income Limit of Insurance.
      3.   Extra Expense Coverage

           The Insurer will pay extra expense caused by direct physical loss of or damage to property at a reported
           unspecified location directly caused by a covered peril.

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                                     The most the Insurer will pay for such extra expense at any one reported unspecified location for any one
                                     occurrence is the Reported Unspecified Locations Extra Expense Limit of Insurance.
                             S. Research and Development Coverage

                                1.   Research and Development Project Property

                                     The Insurer will pay for:
                                     a.   direct physical loss of or damage to research and development project property while at a location or
                                          reported unspecified location directly caused by a covered peril; and

                                     b. reasonable and necessary additional expenses the Named Insured incurs to minimize direct physical
                                        loss of or damage to research and development project property, but only to the extent the loss of or
                                        damage to research and development project property is reduced by such additional expenses.

                                     The most the Insurer will pay for research and development project property under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is the Research
                                     and Development Coverage Research and Development Project Property Limit of Insurance.

                                2.   Research and Development Business Income

                                     To the extent that Business Income Coverage or Business Income and Extra Expense Coverage is
                                     applicable at that location or reported unspecified location, the Insurer will also pay, as provided, for the
                                     loss of research and development business income that the Named Insured sustains during the period of
                                     restoration due to the necessary suspension or delay of the Named Insured's research and development
                                     projects in process caused by direct physical loss of or damage to property at a location or reported
                                     unspecified location. The loss or damage must be directly caused by a covered peril.

                                     The amount the Insurer will pay for research and development business income under this ADDITIONAL
                                     COVERAGE at any one location or reported unspecified location for any one occurrence is included
                                     within, and not in addition to, the applicable Business Income Coverage or Business Income and Extra
                                     Expense Coverage Limit of Insurance unless a separate Research and Development Business Income
                                     Limit of Insurance is shown.

                                     If a separate Limit is shown, then the most the Insurer will pay under this Research and Development
                                     Business Income coverage at any one location or reported unspecified location for any one occurrence
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                                     is the Research and Development Business Income Limit of Insurance.
                             T. Theft Damage to Non Owned Building Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to buildings at a location or reported unspecified
                                     location in which the Named Insured is a tenant and does not own the building, caused directly by theft,
                                     robbery or burglary, provided the Named Insured is obligated by the written lease in effect at the time of loss
                                     or damage to pay for such loss or damage.
                                2.   The amount the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE is included
                                     within the applicable Personal Property Coverage Limit of Insurance.
                                3.   This ADDITIONAL COVERAGE does not apply to theft that occurs after fire or explosion.
                             U. Trees, Shrubs, Plants or Lawns Coverage
                                1.   The Insurer will pay for direct physical loss of or damage to outdoor trees, shrubs, plants or lawns,
                                     including the expense to remove debris of outdoor trees, shrubs, plants or lawns, at a location or
                                     reported unspecified location directly caused by:
                                     a.   fire;
                                     b. lightning;
                                     c.   explosion;


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           d. riot or civil commotion;
           e.   vehicles; or
           f.   aircraft.
      2.   The most the Insurer will pay for all loss or damage under this ADDITIONAL COVERAGE at any one
           location or reported unspecified location for any one occurrence is the Trees, Shrubs, Plants or Lawns
           Coverage Each Location Limit. Subject to this Each Location Limit, the most the Insurer will pay for any one
           tree, shrub, plant or lawn is the Trees, Shrubs, Plants or Lawns Coverage Each Item Limit of Insurance.

   V. Unintentional Errors or Omissions Coverage

      1.   The Insurer will pay for direct physical loss of or damage to covered property from a covered peril that is
           not otherwise payable under this Business Property Coverage Part solely as a result of:
           a.   an unintentional error or omission by the Named Insured:
                i.   in the description or address of any insured property; or
                ii. the inadvertent deletion of a location or reported unspecified location under the Policy; or

           b. any unintentional failure by the Named Insured to include any premises owned or occupied by the
              Named Insured at the inception date of the Policy.

      2.   To the extent time element coverage is applicable, the Insurer will also pay, as provided, for:
           a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                to the necessary suspension or delay in operations;
           b. the actual loss of research and development business income the Named Insured sustains during the
              period of restoration due to the necessary suspension or delay of research and development projects;
              and
           c.   extra expense,

           caused by loss of or damage to property from a covered peril that is not otherwise payable under this
           Business Property Coverage Part solely as a result of:

           i.   an unintentional error or omission by the Named Insured:
                (1) in the description or address of any insured property; or

                (2) the inadvertent deletion of a location or reported unspecified location under the Policy; or

           ii. any unintentional failure by the Named Insured to include any premises owned or occupied by the
               Named Insured at the inception date of the Policy.
      2.   The most the Insurer will pay for all loss, damage, cost or expense combined under this ADDITIONAL
           COVERAGE for any one occurrence is the Unintentional Errors or Omissions Coverage Limit of
           Insurance.

      3.   There is no coverage for any unintentional error or unintentional omission in the reporting of values or the
           coverage requested. It is a condition of this coverage that such unintentional error or omission be reported
           and corrected when discovered. The Named Insured's premium will be adjusted accordingly to reflect the
           date the premises should have been added had no error or omission occurred.




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                             W. Utility Supply Failure Coverage

                             1.   Property Damage

                                       The Insurer will pay for direct physical loss of or damage to covered property at a location or reported
                                       unspecified location where such loss or damage is caused by the necessary suspension, interruption or
                                       reduction of:
                                       a.   communication services, including internet access; or
                                       b. power supply, fuel services or water services,
                                       at that location or reported unspecified location.
                                       Such suspension, interruption or reduction must be the result of a covered peril that causes or results in
                                       direct physical loss of or damage to such utility service provider’s property, including overhead transmission
                                       or distribution lines, used to provide the location or reported unspecified location with such services,
                                       provided such property is not at a location or reported unspecified location.
                                       The most the Insurer will pay for all such loss or damage to covered property under this ADDITIONAL
                                       COVERAGE for any one occurrence is the Utility Supply Failure Coverage – Property Damage Limit of
                                       Insurance.
                                  2.   Time Element
                                       To the extent time element coverage is applicable at that location or reported unspecified location, the
                                       Insurer will pay, as provided, for:
                                       a.   the actual loss of business income the Named Insured sustains during the period of restoration due
                                            to the necessary suspension or delay of operations;
                                       b. the actual loss of research and development business income the Named Insured sustains during the
                                          period of restoration due to the necessary suspension or delay of the research and development
                                          projects; and
                                       c.   extra expense,

                                       caused by loss of or damage to a utility service provider's property that is located away from a location or
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                                       reported unspecified location and that property is used to provide internet, communication, power supply,
                                       fuel services or water services to such location or reported unspecified location. The loss or damage must
                                       be directly caused by a covered peril.

                                       The most the Insurer will pay for all such loss or expense under this ADDITIONAL COVERAGE for any one
                                       occurrence is the Utility Supply Failure Coverage – Time Element Limit of Insurance.
                                       If a Deductible or Qualifying Period is shown on the Business Property Schedule of Locations for Utility
                                       Supply Failure Coverage – Time Element Coverage, then the following replaces the Deductible and
                                       Qualifying       Periods      provision     of     the    LIMITS      OF     INSURANCE/INDEMNITY
                                       PERIOD/DEDUCTIBLE/QUALIFYING PERIOD section for the Utility Supply Failure Coverage – Time
                                       Element Coverage:
                                       The Insurer will not pay for any loss of business income or research and development business income
                                       or extra expense incurred for any one occurrence until the amount of loss or expense incurred exceeds the
                                       applicable Deductible or until the length of the suspension or delay of operations exceeds the applicable
                                       Qualifying Period shown in the Business Property Schedule of Locations.
                                       If a Deductible applies, then the Insurer will pay the amount of actual business income or research and
                                       development business income loss or extra expense incurred in excess of the applicable Deductible, up to
                                       the applicable Limits of Insurance.
                                       If a qualifying period applies and the qualifying period is exceeded, then the Insurer will pay for covered
                                       loss and expense, calculated as of the time of such suspension or delay in operations, in excess of the

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            applicable Property Deductible shown in the Business Property Schedule of Locations, unless a more
            specific time element coverage deductible is shown.
       3.   However, to the extent the covered Utility Supply Failure loss, damage or expense is caused by or resulting
            from covered:
            i.   flood, the total amount payable for all loss, damage or expense under this ADDITIONAL COVERAGE is
                 included within, and not in addition to, the applicable Flood Limit of Insurance.
            ii. earthquake, the total amount payable for all loss, damage or expense under this ADDITIONAL
                COVERAGE is included within, and not in addition to, the applicable Earthquake Limit of Insurance.

       4.   This ADDITIONAL COVERAGE does not apply to loss, damage or expense caused by physical loss of or
            damage to satellites or any other orbiting equipment.
       5.   The Utility Services Excluded Peril under the EXCLUSIONS section does not apply, but only to the extent of
            the coverage provided under this ADDITIONAL COVERAGE.

IV. ADDITIONAL COVERAGE BASKET
   The following coverages are part of the ADDITIONAL COVERAGE BASKET. At the time of loss or damage, the
   Named Insured may elect to apportion the Limit of Insurance to one or any combination of the coverages included in
   this ADDITIONAL COVERAGE BASKET. However, the most the Insurer will pay at any one location or reported
   unscheduled location for any one occurrence for the total of all loss or damage from the coverages included in this
   ADDITIONAL COVERAGE BASKET is the Limit of Insurance as shown in the Business Property Schedule of
   Coverages and Limits. If a different ADDITIONAL COVERAGE BASKET Limit of Insurance is shown at a location
   in the Business Property Schedule of Locations, that Limit replaces, and is not in addition to, the ADDITIONAL
   COVERAGE BASKET Limit of Insurance shown in the Business Property Schedule of Coverages and Limits for
   that location. If the ADDITIONAL COVERAGE BASKET does not apply at a specific location, the ADDITIONAL
   COVERAGE BASKET will show as Not Covered for that location.
   A. Accounts Receivable Coverage
       1.   The Insurer will pay for direct physical loss of or damage to records of accounts receivable at a location or
            reported unspecified location directly caused by a covered peril.
       2.   This Accounts Receivable Coverage does not apply with respect to any claim for loss, damage, cost or
            expense that requires any audit of any records or inventory computation to prove its factual existence.
       3.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
            Perils under the EXCLUSIONS section do not apply with respect to Accounts Receivable Coverage.
   B. Fine Arts Coverage
       1.   The Insurer will pay for direct physical loss of or damage to fine arts at a location or reported unspecified
            location directly caused by a covered peril.
       2.   Subject to the ADDITIONAL COVERAGE BASKET Limit of Insurance, the most the Insurer will pay for any
            one item for any one occurrence under this Fine Arts Coverage is $100,000.
       3.   The Contaminants or Pollutants and the Utility Services Excluded Perils under the EXCLUSIONS section
            do not apply with respect to Fine Arts Coverage.

   C. Fire Department Service Charge Coverage
       The Insurer will pay for the Named Insured’s liability for the following fire department service charges if incurred
       to save or protect covered property at a location or reported unspecified location from a covered peril:
       1.   charges assumed by written contract or written agreement prior to loss; or
       2.   charges required by local ordinance.

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                                No deductible applies to this Fire Department Service Charge Coverage.
                             D. Lessee Leasehold Interest Coverage
                                When the Named Insured's written lease is cancelled by the lessor in accordance with a valid condition of that
                                lease and such cancellation is due to direct physical loss of or damage to property at a location or reported
                                unspecified location directly caused by a covered peril, the Insurer will pay for the loss of:
                                1.   the value of the Named Insured’s leasehold interest in the unamortized portion of payments made by the
                                     Named Insured for the undamaged portion of the tenant’s improvements and betterments;

                                2.   monthly leasehold interest of the bonus payment or prepaid rent;

                                3.   sublease profit;

                                4.   equipment data processing equipment leasehold values; and

                                5. net leasehold interest of tenant's lease interest.

                             E. Lost Key Replacement Coverage
                                The Insurer will pay for the reasonable and necessary cost of:
                                1.   replacing the master key and individual lock keys, including the cost to program the new locks if keys to that
                                     location or reported unspecified location are stolen; or
                                2.   entry lock repair or replacement, including the cost to rekey or reprogram locks, made necessary by theft or
                                     attempted theft at that location or reported unspecified location.
                             F. Non Owned Detached Trailers Coverage
                                The Insurer will pay for direct physical loss of or damage to trailers that the Named Insured does not own at a
                                location or reported unspecified location directly caused by a covered peril, provided that:
                                1.   the trailer is used in the Named Insured’s business;
                                2.   the trailer is in the Named Insured’s care, custody or control; and
                                3.   the Named Insured is obligated by a written contract in effect at the time of loss or damage to pay for such
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                                     loss or damage to that trailer.
                                The Insurer will not pay for any loss or damage that occurs:
                                a.   while the trailer is attached to any motor vehicle or motorized conveyance, whether or not the motor vehicle
                                     or motorized conveyance is in motion;
                                b. during hitching or unhitching operations; or
                                c.   when a trailer becomes accidentally unhitched from a motor vehicle or motorized conveyance.

                             G. Recharge of Fire Protection Equipment Coverage
                                The Insurer will pay expenses the Named Insured incurs to recharge automatic fire protection equipment due to
                                the leakage or discharge of the fire suppressant within the automatic fire protection equipment. The insurance
                                provided under this coverage applies regardless of how the discharge or leakage is caused. However, if the
                                leakage or discharge is caused by or results from covered loss or damage, no deductible applies.

                             H. Restoration of Media Coverage

                                1.   The Insurer will pay for the direct physical loss of or damage to media at a location or reported unspecified
                                     location directly caused by a covered peril.
                                2.   The Contaminants or Pollutants, Temperature or Humidity Conditions and Utility Services Excluded
                                     Perils under the EXCLUSIONS section do not apply with respect to this Restoration of Media Coverage.

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   I.   Reward Payments Coverage
        In the event of direct physical loss of or damage to insured property caused by arson, theft or vandalism, the
        Insurer will reimburse the Named Insured for amounts it pays for information leading to the conviction of any
        persons responsible for such arson, theft or vandalism. The reward payments must be documented.
        However, there is no coverage for a reward payment made to the Named Insured or executive officers.
        No deductible applies to this Reward Payments Coverage.

V. EXCLUSIONS
   The Excluded Perils shown in Paragraphs A. B. C. and D. below apply to all LOCATION COVERAGES, OFF-SITE
   COVERAGES, ADDITIONAL COVERAGES and ADDITIONAL COVERAGE BASKET coverages under the
   coverage part unless otherwise stated.
   A. Excluded Perils Subject to Concurrent Causation Provisions
        With respect to the excluded perils below, the Insurer will not pay for loss of or damage to property directly or
        indirectly caused by or resulting from the following causes of loss or events: Biological or Chemical Materials;
        Earth Movement; Electronic Vandalism; Flood; Fungi, Wet Rot, Dry Rot and Microbes; Governmental
        Action; Nuclear Hazard; Utility Services; and War and Military Action, regardless of: the causes of such
        excluded causes or events; other causes of such loss; any other cause or event, whether or not insured under the
        coverage part, which may have contributed concurrently, or in any sequence, to produce such loss even if such
        other cause or event would otherwise be covered; and whether the event occurred suddenly or gradually,
        involved isolated or widespread damage, arose from natural or external sources or acts or omissions, or occurred
        as a result of any combination of any such causes or events.
        1.   Biological or Chemical Materials
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the actual or
             threatened discharge, dispersal, seepage, migration, release, escape or application of any pathogenic or
             poisonous biological or chemical materials.
        2.   Earth Movement
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from earth movement.
             However, if earth movement results in fire, explosion or theft, the Insurer will pay for that portion of the loss
             which was solely caused by such fire, explosion or theft.
        3.   Electronic Vandalism
             The Insurer will not pay for loss or damage caused by or resulting from electronic vandalism.
        4.   Flood
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from flood. However, if
             flood results in fire, explosion, sprinkler leakage or theft, the Insurer will pay for that portion of the loss which
             was solely caused by such fire, explosion, sprinkler leakage or theft.
        5.   Fungi, Wet Rot, Dry Rot and Microbes
             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the presence,
             growth, proliferation, spread or any activity of fungi, wet or dry rot, or microbes. However, this exclusion
             does not apply when fungi, wet or dry rot, or microbes results from fire or lightning.
        6.   Governmental Action

             The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from seizure,
             destruction, demolition, expropriation, condemnation, confiscation or nationalization of property by, on behalf
             of or at the direction of any governmental authority.


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                                     However, this exclusion does not apply to seizure or acts of destruction ordered by governmental or military
                                     authority and taken at the time of a fire to prevent its spread.
                                7.   Nuclear Hazard
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from nuclear reaction
                                     or radiation, or radioactive contamination, however caused. However, if nuclear reaction or radiation, or
                                     radioactive contamination results in fire, the Insurer will pay for that portion of the loss which was solely
                                     caused by such fire.
                                8.   Utility Services
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from the failure
                                     (including lack of sufficient capacity and reduction in supply) of power, fuel, sewage treatment, internet or
                                     other communication service, or any other utility service supplied to a covered premises, if the failure occurs
                                     away from the premises.
                                     However, if such failure results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                     solely caused by such covered peril.
                                     This exclusion does not apply to electronic data processing equipment.
                                9.   War and Military Action
                                     The Insurer will not pay for loss or damage caused directly or indirectly by or resulting from:
                                     a.   war (whether declared or undeclared); civil war or warlike action by a military force; or
                                     b. insurrection, rebellion, revolution, military or usurped power by governmental or military personnel.
                             B. Other Excluded Perils
                                1.   Adulteration or Contamination

                                     The Insurer will not pay for loss or damage caused by or resulting from adulteration or contamination to stock
                                     which causes the stock to become diminished in value or use, including but not limited to diminished value or
                                     use due to change in color, finish, flavor, size or texture. This exclusion applies unless the adulteration or
                                     contamination is itself caused by a specified peril, other than the equipment breakdown peril.
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                                     However, if the adulteration or contamination to stock results in a covered peril, the Insurer will pay for that
                                     portion of the loss or damage solely caused by such covered peril.
                                2.   Alteration, Falsification, Concealment or Destruction

                                     The Insurer will not pay for loss or damage caused by or resulting from alteration, falsification, concealment
                                     or destruction of records of accounts receivable or media done to conceal the wrongful giving, taking or
                                     withholding of money, securities or other property.
                                3.   Bookkeeping, Accounting or Billing Errors or Omissions
                                     The Insurer will not pay for loss of or damage to media or records of accounts receivable caused by or
                                     resulting from bookkeeping, accounting or billing errors or omissions.
                                4.   Collective Activities
                                     The Insurer will not pay for loss of business income or research and development business income
                                     caused by or resulting from delay in rebuilding, repairing or replacing property or resuming operations due to
                                     strikes, boycotts, picketing, lockouts or other such collective activities.
                                5.   Contaminants or Pollutants
                                     The Insurer will not pay for loss or damage caused by or resulting from discharge, dispersal, seepage,
                                     migration, release or escape of contaminants or pollutants. This exclusion applies unless the discharge,



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           dispersal, seepage, migration, release or escape of contaminants or pollutants is itself caused by a
           specified peril.
           However, if the discharge, dispersal, seepage, migration, release or escape of contaminants or pollutants
           results in a specified peril, the Insurer will pay for that portion of the loss or damage solely caused by such
           specified peril.
           This exclusion does not apply:
           a.   to damage to glass caused by chemicals applied to the glass; or
           b. to electronic data processing equipment.
      6.   Delay, Loss of Use or Loss of Market
           The Insurer will not pay for loss or damage caused by or resulting from delay, loss of use or loss of market.
      7.   Dishonest or Criminal Acts
           The Insurer will not pay for loss or damage caused by or resulting from any dishonest, fraudulent or criminal
           acts committed alone or in collusion with others by the Named Insured, executive officers, the Named
           Insured's employees (including leased or temporary employees) or authorized representatives or anyone to
           whom the Named Insured entrusts the property for any purpose, regardless of whether or not such activity
           takes place during hours of operation.
           This exclusion does not apply to:
           a.   acts of destruction by an employee (including leased or temporary employee) of the Named Insured; or
           b. acts committed by a carrier or other bailee for hire.
      8.   Errors, Defects or Failures
           The Insurer will not pay for any:
           a.   loss or damage, including the costs of correcting or making good, caused by or resulting from:
                i)   an act or decision or error or omission in or faulty or defective:
                     (1) design, specification, workmanship, repair, construction, renovation, remodeling, grading or
                         compaction of;
                     (2) processing of, manufacturing of or materials used in;
                     (3) planning, zoning, development surveying or siting; or
                     (4) materials used in repair, construction, renovation or remodeling of; or
                ii) insufficient maintenance or servicing, or the failure to maintain or service,
                any part, or all, of the property on or off a premises.
           b. loss or damage caused by or resulting from the misalignment, miscalibration, operation of any safety
              device or going off-line or any condition which can be corrected by resetting, tightening, adjusting,
              cleaning or performing maintenance on property.
           However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that loss or
           damage solely caused by such covered peril.
      9.   Finished Stock or Merchandise
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from:
           a.   loss or damage to finished stock or to merchandise which has been sold but not delivered; or
           b. the time required to reproduce finished stock or replace merchandise.

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                                10. Inherent Vice/Latent Defect
                                    The Insurer will not pay for loss or damage caused by or resulting from:
                                    a.   wear and tear;
                                    b. rust or other corrosion or decay;
                                    c.   gradual deterioration, hidden or latent defect or any quality in property that causes it to damage or
                                         destroy itself;
                                    d. nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents
                                       or other animals;
                                    f.   smog;
                                    g. marring or scratching; or
                                    h. inherent vice.
                                    This exclusion applies unless one of these Excluded Perils is itself caused by a specified peril.
                                    However, if any of these Excluded Perils results in a covered peril, the Insurer will pay for that portion of the
                                    loss or damage solely caused by such covered peril.
                                11. Mysterious Disappearance
                                    The Insurer will not pay for loss or damage caused by or resulting from disappearance of property or shortage
                                    of property disclosed on taking inventory, where there is no physical evidence to show what happened to the
                                    property.
                                    However, if such disappearance or shortage results in a covered peril, the Insurer will pay for that portion of
                                    the loss or damage solely caused by such covered peril.
                                    This exclusion does not apply to property in the custody of carriers or other bailees for hire.
                                12. Precipitation
                                    The Insurer will not pay for loss or damage caused by or resulting from hail, ice, rain, sleet or snow to
                                    personal property in the open, other than property in the custody of carriers for hire.
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                                13. Pressure or Electrical Testing
                                    The Insurer will not pay for loss of or damage to machinery or equipment while undergoing electrical or
                                    pressure testing.
                                    However, if such testing results in a covered peril, the Insurer will pay for that portion of the loss or damage
                                    solely caused by such covered peril.
                                14. Programming Errors or Defects
                                    The Insurer will not pay for loss of or damage to electronic data processing equipment, media or records
                                    of accounts receivable caused by or resulting from:
                                    a.   programming errors or faulty instructions to a machine; or
                                    b. other errors or omissions in processing or copying.
                                    However, if such errors, omissions or faulty instructions result in a covered peril, the Insurer will pay for that
                                    portion of the loss or damage solely caused by such covered peril.
                                15. Repair, Restoration or Retouching
                                    The Insurer will not pay for loss of or damage to fine arts caused by or resulting from any repairing,
                                    restoration or retouching process.


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      16. Settling and Cracking
           The Insurer will not pay for loss or damage caused by or resulting from naturally occurring or man-made
           bulging, cracking, expansion, shrinkage or settling of land, paved or concrete surfaces, foundations, pools or
           buildings, including soil or fill adjacent to such property. This exclusion applies unless the bulging, cracking,
           expansion, shrinkage or settling is itself caused by a specified peril.
           However, if such bulging, cracking, expansion, shrinkage or settling results in a covered peril, the Insurer will
           pay for that portion of the loss or damage solely caused by such covered peril.
      17. Suspended Equipment
           The Insurer will not pay for loss or damage caused by or resulting from an equipment breakdown peril to
           suspended equipment.
           However, if such Excluded Peril results in a covered peril, the Insurer will pay for that portion of the loss or
           damage solely caused by such covered peril.
      18. Suspension, Lapse or Cancellation
           The Insurer will not pay for any:
           a.   loss of business income or extra expense caused by or resulting from suspension, lapse or
                cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay in
                     operations;
                ii. the loss of business income is sustained during the period of restoration or extended indemnity
                    period; and
                iii. the extra expense is incurred during the period of restoration.
           b. loss of research and development business income caused by or resulting from suspension, lapse or
              cancellation of any license, lease or contract unless:
                i.   such suspension, lapse or cancellation is directly caused by the actual suspension or delay of the
                     Named Insured's research and development projects in process; and
                ii. the loss of research and development business income is sustained during the period of
                    restoration.
      19. Temperature or Humidity Conditions
           The Insurer will not pay for loss of or damage to personal property caused by or resulting from the loss of or
           change in temperature, humidity or atmosphere, whether inside or outside of a building and whether or not
           artificially maintained or generated. This exclusion applies unless such change in temperature, humidity or
           atmosphere is itself caused by a specified peril, other than an equipment breakdown peril.
           However, if such loss of or change in temperature, humidity or atmosphere results in a covered peril, the
           Insurer will pay for that portion of the loss or damage solely caused by such covered peril.
           This exclusion does not apply to electronic data processing hardware.
   C. Limitations
      1.   Trees, Shrubs, Plants or Lawns
           The Insurer will not pay for loss of business income or research and development business income
           caused by or resulting from loss of or damage to outdoor trees, shrubs, plants or lawns unless such loss or
           damage is directly caused by fire, lightning, explosion, riot or civil commotion, vehicles or aircraft.




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                                                                                                         Business Property Coverage Part

                                2.   Vegetated Roofs
                                     The Insurer will not pay for loss of or damage to trees, shrubs, plants, grass, lawns or other landscaping
                                     materials which are part of a vegetated roof caused by or resulting from:
                                     a.   dampness or dryness of atmosphere or soil supporting the vegetation;
                                     b. changes in or extremes of temperature;
                                     c.   disease; or
                                     d. frost, hail, rain, snow, ice or sleet.
                             D. Excluded Fees, Costs and Expenses
                                1.   Excavation, Grading or Filling Costs
                                     The Insurer will not pay fees, costs or expenses for:
                                     a.   excavations, grading, backfilling or filling, unless such cost is necessarily incurred to investigate, repair or
                                          replace insured property below the surface of the ground; or
                                     b. filling sinkholes.
                                2.   Volcanic Eruption
                                     The Insurer will not pay fees, costs or expenses to remove ash, dust or particulate matter, following a
                                     volcanic eruption that does not cause loss of or damage to covered property.

                          VI. LIMITS OF INSURANCE / INDEMNITY PERIOD / DEDUCTIBLE / QUALIFYING PERIOD
                             A. Limits of Insurance
                                The Limits of Insurance applicable to each coverage agreement are shown in the Business Property Schedule
                                of Coverages and Limits or the Business Property Schedule of Locations.
                             B. Special Limits
                                The Limit of Insurance applicable for any one occurrence for loss or damage due to theft is $10,000 for:
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                                1.   furs, fur garments and garments trimmed with fur;
                                2.   jewelry, watches, watch movements, jewels, pearls, precious and semi-precious stones; and
                                3.   bullion, gold, silver, platinum and other precious alloys or metals.
                                This Limit is included within, and not in addition to, the applicable Personal Property Coverage Limit of
                                Insurance.
                             C. Maximum Period of Indemnity
                                If the Business Property Schedule of Locations displays a Maximum Period of Indemnity, the most the
                                Insurer will pay for loss of business income is the lesser of:
                                1.   the amount of covered business income during the 120 consecutive days immediately following the
                                     beginning of the period of restoration; or
                                2.   the applicable Business Income Coverage Limit of Insurance shown in the Business Property Schedule of
                                     Locations.
                             D. Monthly Limit of Indemnity
                                If the Business Property Schedule of Locations displays a Monthly Limit of Indemnity fraction, the most the
                                Insurer will pay for loss of business income in any one period of 30 consecutive days after the beginning of the
                                period of restoration is:


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      1.   the Limit of Insurance, multiplied by
      2.   the Monthly Limit of Indemnity fraction shown in the Business Property Schedule of Locations for Monthly
           Limit of Indemnity.
   E. Inflation Guard
      If the Business Property Schedule of Locations displays an inflation guard percentage, the Limit of Insurance
      for insured property will automatically increase as follows:
      1.   the applicable Limit of Insurance; multiplied by
      2.   the Inflation Guard percentage shown on the Business Property Schedule of Locations; multiplied by
      3.   the number of consecutive days since the beginning of the annual policy period, or the effective date of the
           most recent Policy change amending the Limit of Insurance, divided by 365.
   F. Deductibles and Qualifying Periods
      1.   The Insurer will not pay any amounts due under the terms and conditions of the coverage part until the
           amount of covered loss, damage, cost or expense for any one occurrence exceeds the Property Deductible
           shown in the Business Property Schedule of Locations, unless specific coverage deductibles are shown in
           the Business Property Schedule of Locations or an endorsement. The Insurer will then pay the amount of
           loss, damage, cost or expense in excess of the Deductible, up to the applicable Limits of Insurance.
      2.   If a Qualifying Period is shown in the Business Property Schedule of Locations, then the qualifying
           period will apply to all business income and research and development business income coverages. The
           Insurer will not pay for any loss of business income or research and development business income for
           any one occurrence until the suspension or delay of operations exceeds the qualifying period. If the
           qualifying period is exceeded, then the Insurer will pay the amount of covered business income or
           research and development business income loss, calculated as of the time and date of such loss, in
           excess of the applicable Property Deductible shown in the Business Property Schedule of Locations,
           unless a more specific time element coverage deductible is shown. If Business Income and Extra
           Expense Coverage applies, then extra expense is subject to the deductible or qualifying period applicable
           to business income.
      3.   A covered loss occurring at unspecified locations, reported unspecified locations or other premises not
           shown on the Business Property Schedule of Locations will be subject to the Deductibles and Qualifying
           Periods applicable for the first location shown in the Business Property Schedule of Locations, unless
           specific coverage deductibles are shown in the Business Property Schedule of Locations or an
           endorsement.
      4.   Unless otherwise stated in the coverage part or endorsement, if more than one monetary deductible applies,
           the Insurer will apply each deductible separately, but the total of all deductibles applied for any one
           occurrence will not exceed the highest applicable monetary deductible for loss or damage to covered
           property plus the highest applicable monetary deductible for loss under time element coverage.
      5.   Loss or damage caused by earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or
           hail may be subject to separate deductible amounts. The Business Property Schedule of Locations, or
           applicable endorsement, will identify the locations or reported unspecified locations subject to such
           deductibles and the applicable deductible amount. That Deductible will apply to all coverages that respond to
           that covered loss, including covered time element coverage loss. Qualifying periods do not apply to
           covered loss or expense from earthquake, earthquake sprinkler leakage, flood, named storm or windstorm
           or hail when there is a separate monetary deductible amount applicable.
           For purposes of calculating the deductible for those perils, the Insurer will use the applicable Limit of
           Insurance shown in the Business Property Schedule of Coverages and Limits, the Business Property
           Schedule of Location or any endorsement attached to this Policy for that specific coverage, or the actual



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                                    amount of loss, damage, cost or expense for that coverage, whichever is less, towards satisfying that
                                    Deductible.
                                    With respect to earthquake, earthquake sprinkler leakage, flood, named storm and windstorm or hail
                                    deductibles, if there are two or more deductibles that are applicable from other covered perils in the same
                                    occurrence, the Insurer will apply each deductible separately. When those Deductibles are shown in the
                                    Business Property Schedule of Coverages and Limits, the Business Property Schedule of Locations or
                                    any endorsement:
                                    a.   at that specific location or reported unspecified location, the total of all monetary deductible amounts
                                         applied for any one occurrence will not exceed the single highest applicable Deductible shown for that
                                         location or reported unspecified location. If more than one location or reported unspecified location
                                         is involved in the same occurrence, the Insurer will apply those Deductibles for each location and
                                         reported unspecified location separately, subject to the single highest applicable Deductible for each
                                         location and each reported unspecified location.
                                    b. on a per occurrence basis for multiple locations or reported unspecified locations, the total of all
                                       monetary deductible amounts applied for any one occurrence will not exceed the single highest
                                       applicable Deductible.
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                                                                             Equipment Breakdown Exclusion Endorsement

                          It is understood and agreed as follows:

                          I.       The following are added to Other Excluded Perils, in the EXCLUSIONS section of the Business Property
                                   Coverage Part:

                                   •       Electrical Injury

                                           The Insurer will not pay for loss or damage caused by or resulting from artificially generated electrical
                                           current, including electrical arcing, that damages or disturbs electrical devices, wiring or equipment. But,
                                           if such artificially generated electrical current or electrical arcing results in a covered peril, the Insurer
                                           will pay for that portion of the loss or damage solely caused by such covered peril.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                   •       Explosion or Rupture

                                           The Insurer will not pay for:

                                           a.       Loss or damage caused by or resulting from an explosion, rupture, or bursting of steam boilers,
                                                    steam pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming
                                                    a part thereof, when owned, operated, or controlled by the Named Insured; except for explosion
                                                    of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
                                                    within the flues or passages through which the gases of combustion pass.

                                                    But if a result of one of these excluded perils is fire or a combustion explosion, the Insurer will
                                                    pay that portion of the loss or damage solely caused by that fire or combustion explosion.


                                           b.       Loss or damage caused by or resulting from any condition or event inside steam boilers, steam
                                                    pipes, steam engines, steam turbines, gas turbines, or apparatus attached to and forming a part
                                                    thereof, when owned, operated, or controlled by the Named Insured; except for explosion of
                                                    accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
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                                                    within the flues or passages through which the gases of combustion pass.


                                           c.       Loss or damage caused by or resulting from any condition or event, other than an explosion,
                                                    inside hot water boilers, other water heating equipment other than steam engines, or pressure
                                                    vessels when owned, operated, or controlled by the Named Insured.

                                           This exclusion does not apply to electronic data processing equipment, media or records of
                                           accounts receivable.

                                   •       Mechanical Breakdown

                                           The Insurer will not pay for loss or damage caused by or resulting from mechanical or machinery
                                           breakdown, including rupture or bursting caused by or resulting from centrifugal force, of property owned,
                                           operated, or controlled by the Named Insured. But if a result of the mechanical or machinery breakdown
                                           is a covered peril, the Insurer will pay for that portion of the loss or damage solely caused by such
                                           covered peril.



                          CNA81067XX (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:       2
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001418
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      Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1219 of 1498 PageID #:17479
                                                                                               CNA PARAMOUNT
                                                   Equipment Breakdown Exclusion Endorsement

                  This exclusion does not apply to electronic data processing equipment, media or records of
                  accounts receivable.

II.       The following change applies to the ADDITIONAL COVERAGES section of the Business Property Coverage
          Part:

          The Equipment Breakdown – Spoilage Coverage is deleted.

III.      Paragraph I. of the specified peril definition in the First Party Glossary of Defined Terms is deleted.



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA81067XX (10-15)                                                                           Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:       2
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001419
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                                                                                                                           CNA PARAMOUNT
                                                                             Communicable Disease Exclusion Endorsement

                          It is understood and agreed as follows:
                          I.    The following is added to the Excluded Perils Subject to Concurrent Causation Provisions under the
                                EXCLUSIONS section of the Business Property Coverage Part:
                                Communicable Disease
                                The Insurer will not pay any loss, damage, cost, or expense caused directly or indirectly by, resulting from, arising out
                                of, attributable to, or in any way associated with, a Communicable Disease. This exclusion includes, but is not limited
                                to, any loss, damage, cost, or expense incurred:
                                a.   to mitigate, remediate, repair, replace, prevent, suppress, control, clean-up, detoxify, remove, monitor, or test for
                                     any Communicable Disease;
                                b. due to the actual or perceived threat or fear of a Communicable Disease, including, without limitation, with
                                   respect to its incidence, spread, transmission, actual or perceived presence, or effect;
                                c.   in response to the actions of governmental, military, or civil authority to mitigate, remediate, repair, replace,
                                     prevent, suppress, control, clean-up, detoxify, remove, monitor, or test for any Communicable Disease,
                                     including, without limitation, actions with respect to the incidence, spread, transmission, actual or perceived
                                     presence, or effect of a Communicable Disease; or
                                d. as a result of the suspension of or change in operations, including the operations of businesses other than the
                                   Named Insured, caused by, arising out of, or attributable to a Communicable Disease, including, without
                                   limitation, with respect to its incidence, spread, transmission, actual or perceived presence, or effect.
                                For purposes of this exclusion, Communicable Disease means:
                                i.   any disease which can be transmitted by means of any substance or agent from any organism to another
                                     organism; or
                                ii. any infectious agent or its byproducts, whether man-made or naturally occurring (including any viruses, bacteria,
                                    parasites, microorganisms, or any mutations thereof), whether deemed living or not;
                                iii. where
                                     a.   the disease, substance, agent, or byproducts could result in infection, illness, or death, threaten human health
                                          or human welfare, or could result in damage, deterioration, loss of value, loss of use or marketability of
                                          property; and
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                                     b. the disease occurs through the direct or indirect transmission of the infectious agent or its byproducts from an
                                        infected individual or via air, bodily fluids, an animal, vector, the inanimate environment, or any other source,
                                        to a susceptible animal or human host.
                          II. This exclusion does not apply only to the extent of coverage that is provided under the following endorsements, if
                              either such endorsement is attached to this Policy:
                                1.   CNA62711XX, Disease Contamination Coverage – Property Damage and Time Element Combined; or
                                2.   Disease Contamination Coverage under CNA62667XX, Aging Services Property Extension Endorsement.
                                However, this exclusion applies to all other coverages, coverage extensions, additional coverages, exceptions to any
                                exclusion and other coverage grant(s).


                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.


                          CNA98526XX (05-20)                                                                             Policy No: 6056872807
                          Page 1 of 1                                                                              Endorsement No:       3
                          CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                               CNA001420
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POLICY NUMBER
    Case:                  INSURED
          1:23-cv-04098 Document    NAME AND
                                 #: 142-7     ADDRESS
                                          Filed: 01/28/25 Page 1222 of 1498 PageID #:17482
C 6056872807               SESI CONSULTING ENGINEERS
                           959 RT 46E
                           PARSIPPANY, NJ 07054-3409



                         INLAND MARINE LOCATION SUMMARY OF COVERAGES




LOCATION      1   BUILDING    1

949 RT 46 E
PARSIPPANY                        NJ   07054

Building Description:

LOCATION/BUILDING COVERAGES

Valuable Papers
  - Valuable Papers Schedule - Non-Reporting - G55231
  - Valuable Papers and Records Coverage Form - CM0067




 G-55232   (Ed. 01/97)
                                       CNA001422
                                           INSURED                            Page   2 of    3
POLICY NUMBER
    Case:                  INSURED
          1:23-cv-04098 Document    NAME AND
                                 #: 142-7     ADDRESS
                                          Filed: 01/28/25 Page 1223 of 1498 PageID #:17483
C 6056872807               SESI CONSULTING ENGINEERS
                           959 RT 46E
                           PARSIPPANY, NJ 07054-3409



                             INLAND MARINE LOSS PAYEE SCHEDULE

All loss payees as their interests may appear in the Covered Property.

The following provisions apply in accordance with the insurable interest of the loss
payee: Loss Payable, Lender's Loss Payable, or Contract of Sale.

Description of Property: Any Covered Property in which a loss payee, creditor or lender
holds an interest, including any person or organization you have entered a contract with
for the sale of the Covered Propery.




                                                             Countersignature




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                                      CNA001423
                                          INSURED                             Page   3 of    3
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                                                                                                                   COMMERCIAL INLAND MARINE
                                                                                                                                CM 00 01 09 04

                                          COMMERCIAL INLAND MARINE CONDITIONS
                          The following conditions apply in addition to the                     6.   As often as may be reasonably required, permit
                          Common Policy Conditions and applicable Additional                         us to inspect the property proving the loss or
                          Conditions in Commercial Inland Marine Coverage                            damage and examine your books and records.
                          Forms:                                                                     Also permit us to take samples of damaged and
                          LOSS CONDITIONS                                                            undamaged property for inspection, testing and
                          A. Abandonment                                                             analysis, and permit us to make copies from
                                                                                                     your books and records.
                             There can be no abandonment of any property to us.
                                                                                                7.   We may examine any insured under oath, while
                          B. Appraisal                                                               not in the presence of any other insured and at
                              If we and you disagree on the value of the property                    such times as may be reasonably required,
                              or the amount of loss, either may make written                         about any matter relating to this insurance or the
                              demand for an appraisal of the loss. In this event,                    claim, including an insured's books and records.
                              each party will select a competent and impartial                       In the event of an examination, an insured's
                              appraiser. The two appraisers will select an umpire.                   answers must be signed.
                              If they cannot agree, either may request that                     8.   Send us a signed, sworn proof of loss
                              selection be made by a judge of a court having                         containing the information we request to settle
                              jurisdiction. The appraisers will state separately the                 the claim. You must do this within 60 days after
                              value of the property and amount of loss. If they fail                 our request. We will supply you with the
                              to agree, they will submit their differences to the                    necessary forms.
                              umpire. A decision agreed to by any two will be
                              binding. Each party will:                                         9.   Immediately send us copies of any demands,
                                                                                                     notices, summonses or legal papers received in
                              1. Pay its chosen appraiser; and                                       connection with the claim or suit.
                              2.   Bear the other expenses of the appraisal and                10. Cooperate with us in the investigation or
                                   umpire equally.                                                 settlement of the claim.
                             If there is an appraisal, we will still retain our right to    D. Insurance Under Two Or More Coverages
                             deny the claim.
                                                                                               If two or more of this policy's coverages apply to the
                          C. Duties In The Event Of Loss                                       same loss or damage, we will not pay more than the
                              You must see that the following are done in the                  actual amount of the loss or damage.
                              event of loss or damage to Covered Property:                  E. Loss Payment
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                              1. Notify the police if a law may have been broken.               1.   We will give notice of our intentions within 30
                              2.   Give us prompt notice of the loss or damage.                      days after we receive the sworn proof of loss.
                                   Include a description of the property involved.              2.   We will not pay you more than your financial
                              3.   As soon as possible, give us a description of                     interest in the Covered Property.
                                   how, when and where the loss or damage                       3.   We may adjust losses with the owners of lost or
                                   occurred.                                                         damaged property if other than you. If we pay
                              4.   Take all reasonable steps to protect the                          the owners, such payments will satisfy your
                                   Covered Property from further damage, and                         claim against us for the owners' property. We
                                   keep a record of your expenses necessary to                       will not pay the owners more than their financial
                                   protect the Covered Property, for consideration                   interest in the Covered Property.
                                   in the settlement of the claim. This will not                4.   We may elect to defend you against suits
                                   increase the Limit of Insurance. However, we                      arising from claims of owners of property. We
                                   will not pay for any subsequent loss or damage                    will do this at our expense.
                                   resulting from a cause of loss that is not a
                                   Covered Cause of Loss. Also, if feasible, set the            5.   We will pay for covered loss or damage within
                                   damaged property aside and in the best                            30 days after we receive the sworn proof of loss
                                   possible order for examination.                                   if you have complied with all the terms of this
                                                                                                     Coverage Part and:
                              5.   You will not, except at your own cost, voluntarily
                                   make a payment, assume any obligation, or
                                   incur any expense without our consent.



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          a.   We have reached agreement with you on               necessary to secure our rights and must do nothing
               the amount of the loss; or                          after loss to impair them. But you may waive your
          b. An appraisal award has been made.                     rights against another party in writing:
     6.
      We will not be liable for any part of a loss that            1. Prior to a loss to your Covered Property.
      has been paid or made good by others.                        2.   After a loss to your Covered Property only if, at
F. Other Insurance                                                      time of loss, that party is one of the following:
     1.   You may have other insurance subject to the                   a. Someone insured by this insurance; or
          same plan, terms, conditions and provisions as                b. A business firm:
          the insurance under this Coverage Part. If you                   (1) Owned or controlled by you; or
          do, we will pay our share of the covered loss or
          damage. Our share is the proportion that the                      (2) That owns or controls you.
          applicable Limit of Insurance under this                This will not restrict your insurance.
          Coverage Part bears to the Limits of Insurance
                                                               GENERAL CONDITIONS
          of all insurance covering on the same basis.
                                                               A. Concealment, Misrepresentation Or Fraud
     2.If there is other insurance covering the same
       loss or damage, other than that described in 1.             This Coverage Part is void in any case of fraud,
       above, we will pay only for the amount of                   intentional concealment or misrepresentation of a
       covered loss or damage in excess of the                     material fact, by you or any other insured, at any
       amount due from that other insurance, whether               time, concerning:
       you can collect on it or not. But we will not pay           1. This Coverage Part;
       more than the applicable Limit of Insurance.
                                                                   2.   The Covered Property;
G. Pair, Sets Or Parts
                                                                   3.   Your interest in the Covered Property; or
     1.   Pair Or Set
                                                                   4.A claim under this Coverage Part.
          In case of loss or damage to any part of a pair
          or set we may:                                       B. Control Of Property
          a. Repair or replace any part to restore the             Any act or neglect of any person other than you
              pair or set to its value before the loss or          beyond your direction or control will not affect this
              damage; or                                           insurance.
          b. Pay the difference between the value of the          The breach of any condition of this Coverage Part at
              pair or set before and after the loss or            any one or more locations will not affect coverage at
              damage.                                             any location where, at the time of loss or damage,
                                                                  the breach of condition does not exist.
     2.   Parts
                                                               C. Legal Action Against Us
      In case of loss or damage to any part of
      Covered Property consisting of several parts                No one may bring a legal action against us under
      when complete, we will only pay for the value of            this Coverage Part unless:
      the lost or damaged part.                                   1. There has been full compliance with all the
H. Recovered Property                                                  terms of this Coverage Part; and
     If either you or we recover any property after loss          2. The action is brought within 2 years after you
     settlement, that party must give the other prompt                 first have knowledge of the direct loss or
     notice. At your option, the property will be returned             damage.
     to you. You must then return to us the amount we          D. No Benefit To Bailee
     paid to you for the property. We will pay recovery           No person or organization, other than you, having
     expenses and the expenses to repair the recovered            custody of Covered Property will benefit from this
     property, subject to the Limit of Insurance.                 insurance.
I.   Reinstatement Of Limit After Loss                         E. Policy Period, Coverage Territory
     The Limit of Insurance will not be reduced by the             We cover loss or damage commencing:
     payment of any claim, except for total loss or
     damage of a scheduled item, in which event we will            1. During the policy period shown                in   the
     refund the unearned premium on that item.                        Declarations; and
J.   Transfer Of Rights Of Recovery Against Others                 2. Within the coverage territory.
     To Us                                                     F. Valuation
     If any person or organization to or for whom we               The value of property will be the least of the
     make payment under this Coverage Part has rights              following amounts:
     to recover damages from another, those rights are             1. The actual cash value of that property;
     transferred to us to the extent of our payment. That
     person or organization must do everything
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                                                 CNA001426
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                             2.   The cost of reasonably restoring that property to         3.   The cost of replacing that property with
                                  its condition immediately before loss or damage;               substantially identical property.
                                  or                                                        In the event of loss or damage, the value of property
                                                                                            will be determined as of the time of loss or damage.
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                                                                                                                 COMMERCIAL INLAND MARINE
                                                                                                                              CM 00 67 03 10

                              VALUABLE PAPERS AND RECORDS COVERAGE FORM
                          Various provisions in this policy restrict coverage. Read             b. We will pay for direct physical loss or damage
                          the entire policy carefully to determine rights, duties and               to Covered Property, caused by abrupt
                          what is and is not covered.                                               collapse of a building or any part of a building
                          Throughout this policy, the words "you" and "your" refer                  that contains Covered Property insured under
                          to the Named Insured shown in the Declarations. The                       this coverage form, if such collapse is caused
                          words "we," "us" and "our" refer to the Company                           by one or more of the following:
                          providing this insurance.                                                (1) Building decay that is hidden from view,
                          Other words and phrases that appear in quotation marks                        unless the presence of such decay is
                          have special meaning. Refer to Section F – Definitions.                       known to an insured prior to collapse;
                          A. Coverage                                                              (2) Insect or vermin damage that is hidden
                                                                                                        from view, unless the presence of such
                             We will pay for direct physical loss of or damage to                       damage is known to an insured prior to
                             Covered Property from any of the Covered Causes of                         collapse;
                             Loss.
                                                                                                   (3) Use of defective material or methods in
                             1. Covered Property, as used in this coverage form,                        construction, remodeling or renovation if
                                means "valuable papers and records" that are                            the abrupt collapse occurs during the
                                your property or property of others in your care,                       course of the construction, remodeling or
                                custody or control.                                                     renovation.
                             2. Property Not Covered                                               (4) Use of defective material or methods in
                                Covered Property does not include:                                      construction, remodeling or renovation if
                                                                                                        the abrupt collapse occurs after the
                                a. Property not specifically declared and
                                                                                                        construction, remodeling or renovation is
                                   described in the Declarations if such property
                                                                                                        complete, but only if the collapse is
                                   cannot be replaced with other property of like
                                                                                                        caused in part by:
                                   kind and quality;
                                                                                                       (a) A cause of loss listed in Paragraph (1)
                                b. Property held as samples or for delivery after
                                                                                                            or (2);
                                   sale;
                                                                                                      (b) One or more of the following causes of
                                c. Property in storage away from the "premises"
                                                                                                          loss: Fire; lightning; windstorm; hail;
                                   shown in the Declarations; or
                                                                                                          explosion; smoke; aircraft; vehicles;
                                d. Contraband, or property in the course of                               riot; civil commotion; vandalism;
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                                   illegal transportation or trade.                                       leakage from fire extinguishing
                             3. Covered Causes Of Loss                                                    equipment; sinkhole collapse; volcanic
                                                                                                          action; breakage of building glass;
                                Covered Causes of Loss means Direct Physical                              falling objects; weight of snow, ice or
                                Loss Or Damage to Covered Property except                                 sleet; water damage; earthquake; all
                                those causes of loss listed in the Exclusions.                            only as insured against in this
                             4. Additional Coverage – Collapse                                            coverage form;
                                 The coverage provided under this Additional                          (c) Weight of people or personal property;
                                 Coverage – Collapse applies only to an abrupt                            or
                                 collapse as described and limited in Paragraphs                      (d) Weight of rain that collects on a roof.
                                 a. through c.
                                                                                                c. This Additional Coverage – Collapse will not
                                 a. For the purpose of this Additional Coverage –                  increase the Limits of Insurance provided in
                                    Collapse, abrupt collapse means an abrupt                      this coverage form.
                                    falling down or caving in of a building or any
                                    part of a building with the result that the
                                    building or part of the building cannot be
                                    occupied for its intended purpose.




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   5. Coverage Extensions                                               (2) Warlike action by a military force, including
      a. Removal                                                             action in hindering or defending against an
                                                                             actual or expected attack, by any
          If you give us written notice within 10 days of                    government, sovereign or other authority
          removal of your "valuable papers and                               using military personnel or other agents;
          records" because of imminent danger of loss                        or
          or damage, we will pay for loss or damage
          while it is:                                                  (3) Insurrection, rebellion, revolution, usurped
                                                                             power, or action taken by governmental
         (1) At a safe place away from your                                  authority in hindering or defending against
              "premises"; or                                                 any of these.
         (2) Being taken to and returned from that                   Exclusions B.1.a. through B.1.c. apply whether or
              place.                                                 not the loss event results in widespread damage
         This Coverage Extension is included within                  or affects a substantial area.
         the Limits of Insurance applicable to the                2. We will not pay for loss or damage caused by or
         "premises" from which the Covered Property                  resulting from any of the following:
         is removed.
                                                                     a. Delay, loss of use, loss of market or any other
      b. Away From Your Premises                                        consequential loss.
          We will pay up to $5,000 for loss or damage                b. Dishonest or criminal act committed by:
          to Covered Property while it is away from your
          "premises."                                                   (1) You, any of your partners, employees,
                                                                            directors,      trustees,  or   authorized
          But if a higher Limit of Insurance is specified                   representatives;
          in the Declarations, the higher limit will apply.
                                                                        (2) A manager or a member if you are a
         The limit for this Coverage Extension is                           limited liability company;
         additional insurance.
                                                                        (3) Anyone else with an interest in the
B. Exclusions                                                               property, or their employees or authorized
   1. We will not pay for loss or damage caused                             representatives; or
      directly or indirectly by any of the following. Such              (4) Anyone else to whom the property is
      loss or damage is excluded regardless of any                          entrusted for any purpose.
      other cause or event that contributes concurrently
      or in any sequence to the loss.                                    This exclusion applies whether or not such
                                                                         persons are acting alone or in collusion with
       a. Governmental Action                                            other persons or such acts occur during the
          Seizure or destruction of property by order of                 hours of employment.
          governmental authority.                                        This exclusion does not apply to Covered
         But we will pay for loss or damage caused by                    Property that is entrusted to others who are
         or resulting from acts of destruction ordered                   carriers for hire or to acts of destruction by
         by governmental authority and taken at the                      your employees. But theft by employees is not
         time of a fire to prevent its spread if the fire                covered.
         would be covered under this coverage form.                   c. Errors or omissions in processing or copying.
      b. Nuclear Hazard                                                  But if errors or omissions in processing or
          Nuclear reaction or radiation, or radioactive                  copying result in fire or explosion, we will pay
          contamination, however caused.                                 for the direct loss or damage caused by that
                                                                         fire or explosion if the fire or explosion would
         But if nuclear reaction or radiation, or
                                                                         be covered under this coverage form.
         radioactive contamination results in fire, we
         will pay for the direct loss or damage caused                d. Electrical or magnetic injury, disturbance or
         by that fire if the fire would be covered under                 erasure of electronic recordings.
         this coverage form.                                             But we will pay for direct loss or damage
      c. War And Military Action                                         caused by lightning.
         (1) War, including undeclared or civil war;                  e. Voluntary parting with any property by you or
                                                                         anyone entrusted with the property if induced
                                                                         to do so by any fraudulent scheme, trick,
                                                                         device or false pretense.




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                                f. Unauthorized instructions to transfer property                  This Exclusion, d., does not apply to the
                                   to any person or to any place.                                  extent that coverage is provided under the
                                g. Neglect of an insured to use all reasonable                     Additional Coverage – Collapse or to collapse
                                   means to save and preserve property from                        caused by one or more of the following: Fire;
                                   further damage at and after the time of loss.                   lightning; windstorm; hail; explosion; smoke;
                                                                                                   aircraft; vehicles; riot; civil commotion;
                             3. We will not pay for loss or damage caused by or                    vandalism; leakage from fire extinguishing
                                resulting from any of the following. But if loss or                equipment; sinkhole collapse; volcanic action;
                                damage by a Covered Cause of Loss results, we                      breakage of building glass; falling objects;
                                will pay for the loss or damage caused by that                     weight of snow, ice or sleet; water damage;
                                Covered Cause of Loss.                                             earthquake; weight of people or personal
                                a. Weather conditions. But this exclusion only                     property; weight of rain that collects on a roof.
                                    applies if weather conditions contribute in any           e. Wear and tear, any quality in the property that
                                    way with a cause or event excluded in                         causes it to damage or destroy itself, gradual
                                    Paragraph 1. above to produce the loss or                     deterioration; insects, vermin or rodents.
                                    damage.
                                                                                        C. Limits Of Insurance
                                b. Acts or decisions, including the failure to act
                                    or decide, of any person, group, organization          The most we will pay for loss or damage in any one
                                    or governmental body.                                  occurrence is the applicable Limit of Insurance
                                                                                           shown in the Declarations.
                                c. Faulty, inadequate or defective:
                                                                                        D. Deductible
                                   (1) Planning, zoning, development, surveying,
                                       siting;                                             We will not pay for loss or damage in any one
                                                                                           occurrence until the amount of the adjusted loss or
                                   (2) Design, specifications, workmanship,                damage before applying the applicable Limits of
                                       repair,     construction,     renovation,           Insurance exceeds the Deductible shown in the
                                       remodeling, grading, compaction;                    Declarations. We will then pay the amount of the
                                   (3) Materials used in repair, construction,             adjusted loss or damage in excess of the Deductible,
                                       renovation or remodeling; or                        up to the applicable Limit of Insurance.
                                   (4) Maintenance;                                     E. Additional Conditions
                                    of part or all of any property wherever located.        1. Valuation – Specifically Declared Items
                                d. Collapse, including any of the following                    The following is added to General Condition F.
                                    conditions of property or any part of the                  Valuation in the Commercial Inland Marine
                                    property:                                                  Conditions:
                                   (1) An abrupt falling down or caving in;                    The value of each item of property that is
                                                                                               specifically declared and described in the
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                                   (2) Loss of structural integrity, including
                                                                                               Declarations is the applicable Limit of Insurance
                                       separation of parts of the property or
                                                                                               shown in the Declarations for that item.
                                       property in danger of falling down or
                                       caving in; or                                        2. Recoveries
                                   (3) Any cracking, bulging, sagging, bending,                The following is added to Loss Condition H.
                                       leaning, settling, shrinking or expansion as            Recovered Property in the Commercial Inland
                                       such condition relates to Paragraph (1) or              Marine Conditions:
                                       (2).                                                    If either you or we recover any property after loss
                                                                                               settlement, that party must give the other prompt
                                                                                               notice. At your option, the property will be
                                                                                               returned to you. If so, your loss or damage will be
                                                                                               readjusted based on the amount you received for
                                                                                               the property recovered, with allowance for
                                                                                               recovery expenses incurred.




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   3. The following conditions apply in addition to the      F. Definitions
      Commercial Inland Marine Conditions and the               1. "Valuable papers and records" means inscribed,
      Common Policy Conditions:                                    printed or written documents, manuscripts or
      a. Coverage Territory                                        records, including abstracts, books, deeds,
          We cover property:                                       drawings, films, maps or mortgages.
         (1) Within your "premises"; and                           But "valuable papers and records" does not mean
                                                                   "money" or "securities," converted data, programs
         (2) Away from your "premises" while in transit            or instructions used in your data processing
              or within premises of others if those                operations, including the materials on which the
              premises are located or the transit is               data is recorded.
              within:
                                                                2. "Premises" means that interior portion of the
             (a) The United States of America                      building at the address shown in the Declarations
                  (including    its territories    and             that you occupy for your business.
                  possessions);
                                                                3. "Money" means:
             (b) Puerto Rico; and
                                                                    a. Currency, coins and bank notes whether or
              (c) Canada.                                              not in current use; and
      b. Protection Of Records                                      b. Travelers checks, register checks and money
         Whenever you are not open for business, and                   orders held for sale to the public.
         except while you are actually using the                4. "Securities" means negotiable and non-
         property, you must keep all "valuable papers              negotiable instruments or contracts representing
         and records" in receptacles that are described            either "money" or other property and includes:
         in the Declarations.
                                                                   a. Tokens, tickets, revenue and other stamps
                                                                       whether or not in current use; and
                                                                   b. Evidences of debt issued in connection with
                                                                       credit or charge cards, which cards are not of
                                                                       your own issue;
                                                                   but does not include "money."




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                                                                                                                (Ed. 08/89)


              your acts or because you have failed to              4.   If we do not renew this policy, we will give written
              comply with the terms of this Coverage Form:              notice to the Loss Payee at least 10 days before
                                                                        the expiration date of this policy.
              (1) The Loss Payee’s rights will be
                  transferred to us to the extent of the         D. CONTRACT OF SALE
                  amount we pay; and
                                                                   1.   The Loss Payee shown in the Schedule is a
              (2) The Loss Payee’s rights to recover the full           person or organization you have entered a
                  amount of the Loss Payee’s claim will not             contract with for the sale of Covered Property.
                  be impaired.
                                                                   2.   For Covered Property in which both you and the
                  At our option, we may pay to the Loss                 Loss Payee have an insurable interest we will:
                  Payee the whole principle on the debt
                                                                        a.   Adjust losses with you; and
                  plus any accrued interest. In this event,
                  you will pay your remaining debt to us.               b. Pay any claim for loss or damage jointly to
    3.   If we cancel this policy, we will give written notice             you and the Loss Payee, as interests may
         to the Loss Payee at least:                                       appear.

         a.                                                        3.   The following is added under the Loss Condition
              10 days before the effective date of
              cancellation if we cancel for your non-                   section of the Commercial Inland Marine
              payment of premium; or                                    Conditions, Paragraph F. – Other Insurance:

         b. 30 days before the effective date of                        For Covered Property that is the subject of a
            cancellation if we cancel for any other reason.             contract of sale, the word “you” includes the Loss
                                                                        Payee.




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                                                                                                                             CNA PARAMOUNT
                                                                                        Commercial General Liability Coverage Part

                          Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and what is
                          and is not covered.
                          Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations, and any other
                          person or organization qualifying as a Named Insured under this policy. The words "we", "us" and "our" refer to the
                          company providing this insurance.
                          The word Insured means any person or organization qualifying as such under Section II – Who Is An Insured.
                          Other words and phrases that appear in bold have special meaning. Refer to Section V – Definitions.
                          SECTION I – COVERAGES
                          COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY
                          1.    Insuring Agreement
                                a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of bodily injury
                                     or property damage to which this insurance applies. We will have the right and duty to defend the Insured
                                     against any suit seeking those damages. However, we will have no duty to defend the Insured against any suit
                                     seeking damages for bodily injury or property damage to which this insurance does not apply. We may, at our
                                     discretion, investigate any occurrence and settle any claim or suit that may result. But:
                                     (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                     (2) Our right and duty to defend ends when we have used up the applicable limit of insurance in the payment of
                                         judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                     No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                     under Supplementary Payments – Coverages A and B.
                                b. This insurance applies to bodily injury and property damage only if:
                                     (1) The bodily injury or property damage is caused by an occurrence that takes place in the coverage
                                         territory;
                                     (2) The bodily injury or property damage occurs during the policy period; and
                                     (3) Prior to the policy period, no Insured listed under Paragraph 1. of Section II – Who Is An Insured and no
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                                         employee authorized by you to give or receive notice of an occurrence or claim, knew that the bodily injury
                                         or property damage had occurred, in whole or in part. If such a listed Insured or authorized employee knew,
                                         prior to the policy period, that the bodily injury or property damage occurred, then any continuation,
                                         change or resumption of such bodily injury or property damage during or after the policy period will be
                                         deemed to have been known prior to the policy period.
                                c.   Bodily injury or property damage which occurs during the policy period and was not, prior to the policy
                                     period, known to have occurred by any Insured listed under Paragraph 1. of Section II – Who Is An Insured or
                                     any employee authorized by you to give or receive notice of an occurrence or claim, includes any continuation,
                                     change or resumption of that bodily injury or property damage after the end of the policy period.
                                d. Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time
                                   when any Insured listed under Paragraph 1. of Section II – Who Is An Insured or any employee authorized by
                                   you to give or receive notice of an occurrence or claim:
                                     (1) Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
                                     (2) Receives a written or verbal demand or claim for damages because of the bodily injury or property
                                         damage; or
                                     (3) Becomes aware by any other means that bodily injury or property damage has occurred or has begun to
                                         occur.

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                                                                                                    CNA PARAMOUNT
                                                               Commercial General Liability Coverage Part

      e.   Damages because of bodily injury include damages claimed by any person or organization for care, loss of
           services or death resulting at any time from the bodily injury.
2.    Exclusions
      This insurance does not apply to:
      a.   Expected Or Intended Injury
           Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does
           not apply to bodily injury resulting from the use of reasonable force to protect persons or property.
      b. Contractual Liability
           Bodily injury or property damage for which the Insured is obligated to pay damages by reason of the
           assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:
           (1) That the Insured would have in the absence of the contract or agreement; or
           (2) Assumed in a contract or agreement that is an Insured contract, provided the bodily injury or property
               damage occurs subsequent to the execution of the contract or agreement. Solely for the purposes of liability
               assumed in an Insured contract, reasonable attorneys' fees and necessary litigation expenses incurred by or
               for a party other than an Insured are deemed to be damages because of bodily injury or property damage,
               provided:
               (a) Liability to such party for, or for the cost of, that party's defense has also been assumed in the same
                   Insured contract; and
               (b) Such attorneys' fees and litigation expenses are for defense of that party against a civil or alternative
                   dispute resolution proceeding in which damages to which this insurance applies are alleged.
      c.   Liquor Liability
           Bodily injury or property damage for which any Insured may be held liable by reason of:
           (1) Causing or contributing to the intoxication of any person;
           (2) The furnishing of alcoholic beverages to a person under the legal drinking age or under the influence of
               alcohol; or
           (3) Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages.
           This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in:
               (a) The supervision, hiring, employment, training or monitoring of others by that Insured; or
               (b) Providing or failing to provide transportation with respect to any person that may be under the influence of
                   alcohol;
           if the occurrence which caused the bodily injury or property damage, involved that which is described in
           Paragraph (1), (2) or (3) above.
           However, this exclusion applies only if you are in the business of manufacturing, distributing, selling, serving or
           furnishing alcoholic beverages. For the purposes of this exclusion, permitting a person to bring alcoholic
           beverages on your premises, for consumption on your premises, whether or not a fee is charged or a license is
           required for such activity, is not by itself considered the business of selling, serving or furnishing alcoholic
           beverages.
      d. Workers' Compensation And Similar Laws
           Any obligation of the Insured under a workers' compensation, disability benefits or unemployment compensation
           law or any similar law.



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                                                                                                                          CNA PARAMOUNT
                                                                                    Commercial General Liability Coverage Part

                             e.   Employer's Liability
                                  Bodily injury to:
                                  (1) An employee of the Insured arising out of and in the course of:
                                      (a) Employment by the Insured; or
                                      (b) Performing duties related to the conduct of the Insured's business; or
                                  (2) The spouse, child, parent, brother or sister of that employee as a consequence of Paragraph (1) above.
                                  This exclusion applies whether the Insured may be liable as an employer or in any other capacity and to any
                                  obligation to share damages with or repay someone else who must pay damages because of the injury.
                                  This exclusion does not apply to liability assumed by the Insured under an Insured contract.
                             f.   Pollution
                                  (1) Bodily injury or property damage arising out of the actual, alleged or threatened discharge, dispersal,
                                      seepage, migration, release or escape of pollutants:
                                      (a) At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
                                          loaned to, any Insured. However, this subparagraph does not apply to:
                                          (i) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by
                                              or originating from equipment that is used to heat, cool or dehumidify the building, or equipment that
                                              is used to heat water for personal use, by the building's occupants or their guests;
                                          (ii) Bodily injury or property damage for which you may be held liable, if you are a contractor and the
                                               owner or lessee of such premises, site or location has been added to your policy as an additional
                                               Insured with respect to your ongoing operations performed for that additional Insured at that
                                               premises, site or location and such premises, site or location is not and never was owned or
                                               occupied by, or rented or loaned to, any Insured, other than that additional Insured; or
                                          (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
                                      (b) At or from any premises, site or location which is or was at any time used by or for any Insured or others
                                          for the handling, storage, disposal, processing or treatment of waste;
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                                      (c) Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste
                                          by or for:
                                          (i) Any Insured; or
                                          (ii) Any person or organization for whom you may be legally responsible; or
                                      (d) At or from any premises, site or location on which any Insured or any contractors or subcontractors
                                          working directly or indirectly on any Insured's behalf are performing operations if the pollutants are
                                          brought on or to the premises, site or location in connection with such operations by such Insured,
                                          contractor or subcontractor. However, this subparagraph does not apply to:
                                          (i) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating
                                              fluids which are needed to perform the normal electrical, hydraulic or mechanical functions
                                              necessary for the operation of mobile equipment or its parts, if such fuels, lubricants or other
                                              operating fluids escape from a vehicle part designed to hold, store or receive them. This exception
                                              does not apply if the bodily injury or property damage arises out of the intentional discharge,
                                              dispersal or release of the fuels, lubricants or other operating fluids, or if such fuels, lubricants or
                                              other operating fluids are brought on or to the premises, site or location with the intent that they be
                                              discharged, dispersed or released as part of the operations being performed by such Insured,
                                              contractor or subcontractor;


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                                                                                             CNA PARAMOUNT
                                                        Commercial General Liability Coverage Part

               (ii) Bodily injury or property damage sustained within a building and caused by the release of gases,
                    fumes or vapors from materials brought into that building in connection with operations being
                    performed by you or on your behalf by a contractor or subcontractor; or
               (iii) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
          (e) At or from any premises, site or location on which any Insured or any contractors or subcontractors
              working directly or indirectly on any Insured's behalf are performing operations if the operations are to
              test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or
              assess the effects of, pollutants.
      (2) Any loss, cost or expense arising out of any:
          (a) Request, demand, order or statutory or regulatory requirement that any Insured or others test for,
              monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
              effects of, pollutants; or
          (b) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
              cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
              assessing the effects of, pollutants.
          However, this paragraph does not apply to liability for damages because of property damage that the
          Insured would have in the absence of such request, demand, order or statutory or regulatory requirement, or
          such claim or suit by or on behalf of a governmental authority.
   g. Aircraft, Auto Or Watercraft
      Bodily injury or property damage arising out of the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft owned or operated by or rented or loaned to any Insured. Use includes operation and
      loading or unloading.
      This exclusion applies even if the claims against any Insured allege negligence or other wrongdoing in the
      supervision, hiring, employment, training or monitoring of others by that Insured, if the occurrence which caused
      the bodily injury or property damage involved the ownership, maintenance, use or entrustment to others of any
      aircraft, auto or watercraft that is owned or operated by or rented or loaned to any Insured.
      This exclusion does not apply to:
      (1) A watercraft while ashore on premises you own or rent;
      (2) A watercraft you do not own that is:
          (a) Less than 26 feet long; and
          (b) Not being used to carry persons or property for a charge;
      (3) Parking an auto on, or on the ways next to, premises you own or rent, provided the auto is not owned by or
          rented or loaned to you or the Insured;
      (4) Liability assumed under any Insured contract for the ownership, maintenance or use of aircraft or watercraft;
          or
      (5) Bodily injury or property damage arising out of:
          (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would qualify
              under the definition of mobile equipment if it were not subject to a compulsory or financial responsibility
              law or other motor vehicle insurance law where it is licensed or principally garaged; or
          (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition of
              mobile equipment.



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                                                                                                                        CNA PARAMOUNT
                                                                                     Commercial General Liability Coverage Part

                             h. Mobile Equipment
                                  Bodily injury or property damage arising out of:
                                  (1) The transportation of mobile equipment by an auto owned or operated by or rented or loaned to any
                                      Insured; or
                                  (2) The use of mobile equipment in, or while in practice for, or while being prepared for, any prearranged racing,
                                      speed, demolition, or stunting activity.
                             i.   War
                                  Bodily injury or property damage, however caused, arising, directly or indirectly, out of:
                                  (1) War, including undeclared or civil war;
                                  (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
                                      attack, by any government, sovereign or other authority using military personnel or other agents; or
                                  (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
                                      defending against any of these.
                             j.   Damage To Property
                                  Property damage to:
                                  (1) Property you own, rent, or occupy, including any costs or expenses incurred by you, or any other person,
                                      organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property for
                                      any reason, including prevention of injury to a person or damage to another's property;
                                  (2) Premises you sell, give away or abandon, if the property damage arises out of any part of those premises;
                                  (3) Property loaned to you;
                                  (4) Personal property in the care, custody or control of the Insured;
                                  (5) That particular part of real property on which you or any contractors or subcontractors working directly or
                                      indirectly on your behalf are performing operations, if the property damage arises out of those operations; or
                                  (6) That particular part of any property that must be restored, repaired or replaced because your work was
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                                      incorrectly performed on it.
                                  Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
                                  premises, including the contents of such premises, rented to you for a period of seven or fewer consecutive days.
                                  A separate limit of insurance applies to Damage To Premises Rented To You as described in Section III – Limits
                                  Of Insurance.
                                  Paragraph (2) of this exclusion does not apply if the premises are your work and were never occupied, rented or
                                  held for rental by you.
                                  Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack agreement.
                                  Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
                                  operations hazard.
                             k.   Damage To Your Product
                                  Property damage to your product arising out of it or any part of it.
                             l.   Damage To Your Work
                                  Property damage to your work arising out of it or any part of it and included in the products-completed
                                  operations hazard.


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                                                                                                CNA PARAMOUNT
                                                           Commercial General Liability Coverage Part

       This exclusion does not apply if the damaged work or the work out of which the damage arises was performed on
       your behalf by a subcontractor.
   m. Damage To Impaired Property Or Property Not Physically Injured
       Property damage to impaired property or property that has not been physically injured, arising out of:
       (1) A defect, deficiency, inadequacy or dangerous condition in your product or your work; or
       (2) A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
           with its terms.
       This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
       injury to your product or your work after it has been put to its intended use.
   n. Recall Of Products, Work Or Impaired Property
       Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
       inspection, repair, replacement, adjustment, removal or disposal of:
       (1) Your product;
       (2) Your work; or
       (3) Impaired property;
       if such product, work, or property is withdrawn or recalled from the market or from use by any person or
       organization because of a known or suspected defect, deficiency, inadequacy or dangerous condition in it.
   o. Personal And Advertising Injury
       Bodily injury arising out of personal and advertising injury.
   p. Electronic Data
       Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to
       manipulate electronic data.
       However, this exclusion does not apply to liability for damages because of bodily injury.
       As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
       on, or transmitted to or from computer software, including systems and applications software, hard or floppy disks,
       CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically
       controlled equipment.
   q. Recording And Distribution Of Material Or Information In Violation Of Law
       Bodily injury or property damage arising directly or indirectly out of any action or omission that violates or is
       alleged to violate:
       (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
           Accurate Credit Transactions Act (FACTA); or
       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
           FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
           disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
   Exclusions c. through n. do not apply to damage by fire to premises while rented to you or temporarily occupied by
   you with permission of the owner. A separate limit of insurance applies to this coverage as described in Section III –
   Limits Of Insurance.


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                                                                                                                             CNA PARAMOUNT
                                                                                         Commercial General Liability Coverage Part

                          COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY
                          1.    Insuring Agreement
                                a.   We will pay those sums that the Insured becomes legally obligated to pay as damages because of personal and
                                     advertising injury to which this insurance applies. We will have the right and duty to defend the Insured against
                                     any suit seeking those damages. However, we will have no duty to defend the Insured against any suit seeking
                                     damages for personal and advertising injury to which this insurance does not apply. We may, at our discretion,
                                     investigate any offense and settle any claim or suit that may result. But:
                                     (1) The amount we will pay for damages is limited as described in Section III – Limits Of Insurance; and
                                     (2) Our right and duty to defend end when we have used up the applicable limit of insurance in the payment of
                                         judgments or settlements under Coverages A or B or medical expenses under Coverage C.
                                     No other obligation or liability to pay sums or perform acts or services is covered unless explicitly provided for
                                     under Supplementary Payments – Coverages A and B.
                                b. This insurance applies to personal and advertising injury caused by an offense arising out of your business but
                                   only if the offense was committed in the coverage territory during the policy period.
                          2.    Exclusions
                                This insurance does not apply to:
                                a.   Knowing Violation Of Rights Of Another
                                     Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                     would violate the rights of another and would inflict personal and advertising injury.
                                b. Material Published With Knowledge Of Falsity
                                     Personal and advertising injury arising out of oral or written publication, in any manner, of material, if done by or
                                     at the direction of the Insured with knowledge of its falsity.
                                c.   Material Published Prior To Policy Period
                                     Personal and advertising injury arising out of oral or written publication, in any manner, of material whose first
                                     publication took place before the beginning of the policy period.
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                                d. Criminal Acts
                                     Personal and advertising injury arising out of a criminal act committed by or at the direction of the Insured.
                                e.   Contractual Liability
                                     Personal and advertising injury for which the Insured has assumed liability in a contract or agreement. This
                                     exclusion does not apply to liability for damages that the Insured would have in the absence of the contract or
                                     agreement.
                                f.   Breach Of Contract
                                     Personal and advertising injury arising out of a breach of contract, except an implied contract to use another's
                                     advertising idea in your advertisement.
                                g. Quality Or Performance Of Goods – Failure To Conform To Statements
                                     Personal and advertising injury arising out of the failure of goods, products or services to conform with any
                                     statement of quality or performance made in your advertisement.
                                h. Wrong Description Of Prices
                                     Personal and advertising injury arising out of the wrong description of the price of goods, products or services
                                     stated in your advertisement.

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   i.   Infringement Of Copyright, Patent, Trademark Or Trade Secret
        Personal and advertising injury arising out of the infringement of copyright, patent, trademark, trade secret or
        other intellectual property rights. Under this exclusion, such other intellectual property rights do not include the
        use of another's advertising idea in your advertisement.
        However, this exclusion does not apply to infringement, in your advertisement, of copyright, trade dress or
        slogan.
   j.   Insureds In Media And Internet Type Businesses
        Personal and advertising injury committed by an Insured whose business is:
        (1) Advertising, broadcasting, publishing or telecasting;
        (2) Designing or determining content of web sites for others; or
        (3) An Internet search, access, content or service provider.
        However, this exclusion does not apply to Paragraphs 14.a., b. and c. of personal and advertising injury under
        the Definitions section.
        For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
        anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or
        telecasting.
   k.   Electronic Chatrooms Or Bulletin Boards
        Personal and advertising injury arising out of an electronic chatroom or bulletin board the Insured hosts, owns,
        or over which the Insured exercises control.
   l.   Unauthorized Use Of Another's Name Or Product
        Personal and advertising injury arising out of the unauthorized use of another's name or product in your e-mail
        address, domain name or metatag, or any other similar tactics to mislead another's potential customers.
   m. Pollution
        Personal and advertising injury arising out of the actual, alleged or threatened discharge, dispersal, seepage,
        migration, release or escape of pollutants at any time.
   n. Pollution-related
        Any loss, cost or expense arising out of any:
        (1) Request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor,
            clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
            pollutants; or
        (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
            cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
            assessing the effects of, pollutants.
   o. War
        Personal and advertising injury, however caused, arising, directly or indirectly, out of:
        (1) War, including undeclared or civil war;
        (2) Warlike action by a military force, including action in hindering or defending against an actual or expected
            attack, by any government, sovereign or other authority using military personnel or other agents; or
        (3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
            defending against any of these.

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                                p. Recording And Distribution Of Material Or Information In Violation Of Law
                                     Personal and advertising injury arising directly or indirectly out of any action or omission that violates or is
                                     alleged to violate:
                                     (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
                                     (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
                                     (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair and
                                         Accurate Credit Transactions Act (FACTA); or
                                     (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
                                         FCRA and their amendments and additions, that addresses, prohibits, or limits the printing, dissemination,
                                         disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.
                          COVERAGE C – MEDICAL PAYMENTS
                          1.    Insuring Agreement
                                a.   We will pay medical expenses as described below for bodily injury caused by an accident:
                                     (1) On premises you own or rent;
                                     (2) On ways next to premises you own or rent; or
                                     (3) Because of your operations;
                                     provided that:
                                         (a) The accident takes place in the coverage territory and during the policy period;
                                         (b) The expenses are incurred and reported to us within one year of the date of the accident; and
                                         (c) The injured person submits to examination, at our expense, by physicians of our choice as often as we
                                             reasonably require.
                                b. We will make these payments regardless of fault. These payments will not exceed the applicable limit of
                                   insurance. We will pay reasonable expenses for:
                                     (1) First aid administered at the time of an accident;
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                                     (2) Necessary medical, surgical, X-ray and dental services, including prosthetic devices; and
                                     (3) Necessary ambulance, hospital, professional nursing and funeral services.
                          2.    Exclusions
                                We will not pay expenses for bodily injury:
                                a.   Any Insured
                                     To any Insured, except volunteer workers.
                                b. Hired Person
                                     To a person hired to do work for or on behalf of any Insured or a tenant of any Insured.
                                c.   Injury On Normally Occupied Premises
                                     To a person injured on that part of premises you own or rent that the person normally occupies.
                                d. Workers' Compensation And Similar Laws
                                     To a person, whether or not an employee of any Insured, if benefits for the bodily injury are payable or must be
                                     provided under a workers' compensation or disability benefits law or a similar law.


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      e.   Athletics Activities
           To a person injured while practicing, instructing or participating in any physical exercises or games, sports, or
           athletic contests.
      f.   Products-Completed Operations Hazard
           Included within the products-completed operations hazard.
      g. Coverage A Exclusions
           Excluded under Coverage A.
SUPPLEMENTARY PAYMENTS – COVERAGES A AND B
1.    We will pay, with respect to any claim we investigate or settle, or any suit against an Insured we defend:
      a.   All expenses we incur.
      b. Up to       for cost of bail bonds required because of accidents or traffic law violations arising out of the use of
         any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.
      c.   The cost of bonds to release attachments, but only for bond amounts within the applicable limit of insurance. We
           do not have to furnish these bonds.
      d. All reasonable expenses incurred by the Insured at our request to assist us in the investigation or defense of the
         claim or suit, including actual loss of earnings up to   a day because of time off from work.
      e.   All court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
           attorneys' expenses taxed against the Insured.
      f.   Prejudgment interest awarded against the Insured on that part of the judgment we pay. If we make an offer to pay
           the applicable limit of insurance, we will not pay any prejudgment interest based on that period of time after the
           offer.
      g. All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
         offered to pay, or deposited in court the part of the judgment that is within the applicable limit of insurance.
      These payments will not reduce the limits of insurance.
2.    If we defend an Insured against a suit and an indemnitee of the Insured is also named as a party to the suit, we will
      defend that indemnitee if all of the following conditions are met:
      a.   The suit against the indemnitee seeks damages for which the Insured has assumed the liability of the
           indemnitee in a contract or agreement that is an Insured contract;
      b. This insurance applies to such liability assumed by the Insured;
      c.   The obligation to defend, or the cost of the defense of, that indemnitee, has also been assumed by the Insured in
           the same Insured contract;
      d. The allegations in the suit and the information we know about the occurrence are such that no conflict appears
         to exist between the interests of the Insured and the interests of the indemnitee;
      e.   The indemnitee and the Insured ask us to conduct and control the defense of that indemnitee against such suit
           and agree that we can assign the same counsel to defend the Insured and the indemnitee; and
      f.   The indemnitee:
           (1) Agrees in writing to:
               (a) Cooperate with us in the investigation, settlement or defense of the suit;
               (b) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                   with the suit;

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                                         (c) Notify any other insurer whose coverage is available to the indemnitee; and
                                         (d) Cooperate with us with respect to coordinating other applicable insurance available to the indemnitee;
                                             and
                                     (2) Provides us with written authorization to:
                                         (a) Obtain records and other information related to the suit; and
                                         (b) Conduct and control the defense of the indemnitee in such suit.
                                So long as the above conditions are met, attorneys' fees incurred by us in the defense of that indemnitee, necessary
                                litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at our request will be
                                paid as Supplementary Payments. Notwithstanding the provisions of Paragraph 2.b.(2) of Section I – Coverage A –
                                Bodily Injury And Property Damage Liability, such payments will not be deemed to be damages for bodily injury
                                and property damage and will not reduce the limits of insurance.
                                Our obligation to defend an Insured's indemnitee and to pay for attorneys' fees and necessary litigation expenses as
                                Supplementary Payments ends when we have used up the applicable limit of insurance in the payment of judgments
                                or settlements or the conditions set forth above, or the terms of the agreement described in Paragraph f. above, are
                                no longer met.
                          SECTION II – WHO IS AN INSURED
                          1.    If you are designated in the Declarations as:
                                a.   An individual, you and your spouse are Insureds, but only with respect to the conduct of a business of which you
                                     are the sole owner.
                                b. A partnership or joint venture, you are an Insured. Your members, your partners, and their spouses are also
                                   Insureds, but only with respect to the conduct of your business.
                                c.   A limited liability company, you are an Insured. Your members are also Insureds, but only with respect to the
                                     conduct of your business. Your managers are Insureds, but only with respect to their duties as your managers.
                                d. An organization other than a partnership, joint venture or limited liability company, you are an Insured. Your
                                   executive officers and directors are Insureds, but only with respect to their duties as your officers or directors.
                                   Your stockholders are also Insureds, but only with respect to their liability as stockholders.
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                                e.   A trust, you are an Insured. Your trustees are also Insureds, but only with respect to their duties as trustees.
                          2.    Each of the following is also an Insured:
                                a.   Your volunteer workers only while performing duties related to the conduct of your business, or your
                                     employees, other than either your executive officers (if you are an organization other than a partnership, joint
                                     venture or limited liability company) or your managers (if you are a limited liability company), but only for acts
                                     within the scope of their employment by you or while performing duties related to the conduct of your business.
                                     However, none of these employees or volunteer workers are Insureds for:
                                     (1) Bodily injury or personal and advertising injury:
                                         (a) To you, to your partners or members (if you are a partnership or joint venture), to your members (if you
                                             are a limited liability company), to a co-employee while in the course of his or her employment or
                                             performing duties related to the conduct of your business, or to your other volunteer workers while
                                             performing duties related to the conduct of your business;
                                         (b) To the spouse, child, parent, brother or sister of that co-employee or volunteer worker as a
                                             consequence of Paragraph (1)(a) above;
                                         (c) For which there is any obligation to share damages with or repay someone else who must pay damages
                                             because of the injury described in Paragraph (1)(a) or (b) above; or
                                    (d) Arising out of his or her providing or failing to provide professional health care services.
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           (2) Property damage to property:
               (a) Owned, occupied or used by;
               (b) Rented to, in the care, custody or control of, or over which physical control is being exercised for any
                   purpose by;
               you, any of your employees, volunteer workers, any partner or member (if you are a partnership or joint
               venture), or any member (if you are a limited liability company).
      b. Any person (other than your employee or volunteer worker), or any organization while acting as your real estate
         manager.
      c.   Any person or organization having proper temporary custody of your property if you die, but only:
           (1) With respect to liability arising out of the maintenance or use of that property; and
           (2) Until your legal representative has been appointed.
      d. Your legal representative if you die, but only with respect to duties as such. That representative will have all your
         rights and duties under this Coverage Part.
3.    Any organization you newly acquire or form, other than a partnership, joint venture or limited liability company, and
      over which you maintain ownership or majority interest, will qualify as a Named Insured if there is no other similar
      insurance available to that organization. However:
      a.   Coverage under this provision is afforded only until the 90th day after you acquire or form the organization or the
           end of the policy period, whichever is earlier;
      b. Coverage A does not apply to bodily injury or property damage that occurred before you acquired or formed the
         organization; and
      c.   Coverage B does not apply to personal and advertising injury arising out of an offense committed before you
           acquired or formed the organization.
No person or organization is an Insured with respect to the conduct of any current or past partnership, joint venture or
limited liability company that is not shown as a Named Insured in the Declarations.
SECTION III – LIMITS OF INSURANCE
1.    The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of the
      number of:
      a.   Insureds;
      b. Claims made or suits brought; or
      c.   Persons or organizations making claims or bringing suits.
2.    The General Aggregate Limit is the most we will pay for the sum of:
      a.   Medical expenses under Coverage C;
      b. Damages under Coverage A, except damages because of bodily injury or property damage included in the
         products-completed operations hazard; and
      c.   Damages under Coverage B.
3.    The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for damages
      because of bodily injury and property damage included in the products-completed operations hazard.
4.    Subject to Paragraph 2. above, the Personal And Advertising Injury Limit is the most we will pay under Coverage B for
      the sum of all damages because of all personal and advertising injury sustained by any one person or organization.


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                          5. Subject to Paragraph 2. or 3. above, whichever applies, the Each Occurrence Limit is the most we will pay for the sum
                             of:
                                a.   Damages under Coverage A; and
                                b. Medical expenses under Coverage C
                                because of all bodily injury and property damage arising out of any one occurrence.
                          6.    Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
                                Coverage A for damages because of property damage to any one premises, while rented to you, or in the case of
                                damage by fire, while rented to you or temporarily occupied by you with permission of the owner.
                          7.    Subject to Paragraph 5. above, the Medical Expense Limit is the most we will pay under Coverage C for all medical
                                expenses because of bodily injury sustained by any one person.
                          The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to any remaining
                          period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
                          policy period is extended after issuance for an additional period of less than 12 months. In that case, the additional period
                          will be deemed part of the last preceding period for purposes of determining the Limits of Insurance.
                          SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS
                          1.    Bankruptcy
                                Bankruptcy or insolvency of the Insured or of the Insured's estate will not relieve us of our obligations under this
                                Coverage Part.
                          2.    Duties In The Event Of Occurrence, Offense, Claim Or Suit
                                a.   You must see to it that we are notified as soon as practicable of an occurrence or an offense which may result in
                                     a claim. To the extent possible, notice should include:
                                     (1) How, when and where the occurrence or offense took place;
                                     (2) The names and addresses of any injured persons and witnesses; and
                                     (3) The nature and location of any injury or damage arising out of the occurrence or offense.
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                                b. If a claim is made or suit is brought against any Insured, you must:
                                     (1) Immediately record the specifics of the claim or suit and the date received; and
                                     (2) Notify us as soon as practicable.
                                     You must see to it that we receive written notice of the claim or suit as soon as practicable.
                                c.   You and any other involved Insured must:
                                     (1) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                                         with the claim or suit;
                                     (2) Authorize us to obtain records and other information;
                                     (3) Cooperate with us in the investigation or settlement of the claim or defense against the suit; and
                                     (4) Assist us, upon our request, in the enforcement of any right against any person or organization which may be
                                         liable to the Insured because of injury or damage to which this insurance may also apply.
                                d. No Insured will, except at that Insured's own cost, voluntarily make a payment, assume any obligation, or incur
                                   any expense, other than for first aid, without our consent.
                          3.    Legal Action Against Us
                                No person or organization has a right under this Coverage Part:

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      a.   To join us as a party or otherwise bring us into a suit asking for damages from an Insured; or
      b. To sue us on this Coverage Part unless all of its terms have been fully complied with.
      A person or organization may sue us to recover on an agreed settlement or on a final judgment against an Insured;
      but we will not be liable for damages that are not payable under the terms of this Coverage Part or that are in excess
      of the applicable limit of insurance. An agreed settlement means a settlement and release of liability signed by us, the
      Insured and the claimant or the claimant's legal representative.
4.    Other Insurance
      If other valid and collectible insurance is available to the Insured for a loss we cover under Coverages A or B of this
      Coverage Part, our obligations are limited as follows:
      a.   Primary Insurance
           This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our obligations
           are not affected unless any of the other insurance is also primary. Then, we will share with all that other insurance
           by the method described in Paragraph c. below.
      b. Excess Insurance
           (1) This insurance is excess over:
               (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                   (i) That is Fire, Extended Coverage, Builder's Risk, Installation Risk or similar coverage for your work;
                   (ii) That is Fire insurance for premises rented to you or temporarily occupied by you with permission of
                        the owner;
                   (iii) That is insurance purchased by you to cover your liability as a tenant for property damage to
                         premises rented to you or temporarily occupied by you with permission of the owner; or
                   (iv) If the loss arises out of the maintenance or use of aircraft, autos or watercraft to the extent not
                        subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability.
               (b) Any other primary insurance available to you covering liability for damages arising out of the premises or
                   operations, or the products and completed operations, for which you have been added as an additional
                   Insured.
           (2) When this insurance is excess, we will have no duty under Coverages A or B to defend the Insured against
               any suit if any other insurer has a duty to defend the Insured against that suit. If no other insurer defends,
               we will undertake to do so, but we will be entitled to the Insured's rights against all those other insurers.
           (3) When this insurance is excess over other insurance, we will pay only our share of the amount of the loss, if
               any, that exceeds the sum of:
               (a) The total amount that all such other insurance would pay for the loss in the absence of this insurance;
                   and
               (b) The total of all deductible and self-Insured amounts under all that other insurance.
           (4) We will share the remaining loss, if any, with any other insurance that is not described in this Excess
               Insurance provision and was not bought specifically to apply in excess of the Limits of Insurance shown in the
               Declarations of this Coverage Part.
      c.   Method Of Sharing
           If all of the other insurance permits contribution by equal shares, we will follow this method also. Under this
           approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of the
           loss remains, whichever comes first.


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                                     If any of the other insurance does not permit contribution by equal shares, we will contribute by limits. Under this
                                     method, each insurer's share is based on the ratio of its applicable limit of insurance to the total applicable limits
                                     of insurance of all insurers.
                          5.    Premium Audit
                                a.   We will compute all premiums for this Coverage Part in accordance with our rules and rates.
                                b. Premium shown in this Coverage Part as advance premium is a deposit premium only. At the close of each audit
                                   period we will compute the earned premium for that period and send notice to the First Named Insured. The due
                                   date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the advance
                                   and audit premiums paid for the policy period is greater than the earned premium, we will return the excess to
                                   the First Named Insured.
                                c.   The First Named Insured must keep records of the information we need for premium computation, and send us
                                     copies at such times as we may request.
                          6.    Representations
                                By accepting this policy, you agree:
                                a.   The statements in the Declarations are accurate and complete;
                                b. Those statements are based upon representations you made to us; and
                                c.   We have issued this policy in reliance upon your representations.
                          7.    Separation Of Insureds
                                Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this Coverage Part to
                                the First Named Insured, this insurance applies:
                                a.   As if each Named Insured were the only Named Insured; and
                                b. Separately to each Insured against whom claim is made or suit is brought.
                          8.    Transfer Of Rights Of Recovery Against Others To Us
                                If the Insured has rights to recover all or part of any payment we have made under this Coverage Part, those rights
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                                are transferred to us. The Insured must do nothing after loss to impair them. At our request, the Insured will bring suit
                                or transfer those rights to us and help us enforce them.
                          9.    When We Do Not Renew
                                If we decide not to renew this Coverage Part, we will mail or deliver to the First Named Insured shown in the
                                Declarations written notice of the nonrenewal not less than 30 days before the expiration date.
                                If notice is mailed, proof of mailing will be sufficient proof of notice.
                          SECTION V – DEFINITIONS
                          1.    Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                                your goods, products or services for the purpose of attracting customers or supporters. For the purposes of this
                                definition:
                                a.   Notices that are published include material placed on the Internet or on similar electronic means of
                                     communication; and
                                b. Regarding web sites, only that part of a web site that is about your goods, products or services for the purposes of
                                   attracting customers or supporters is considered an advertisement.
                          2.    Auto means:
                                a.
                                A land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached machinery or
                                equipment; or
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      b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
         insurance law where it is licensed or principally garaged.
      However, auto does not include mobile equipment.
3.    Bodily injury means bodily injury, sickness or disease sustained by a person, including death resulting from any of
      these at any time.
4.    Coverage territory means:
      a.   The United States of America (including its territories and possessions), Puerto Rico and Canada;
      b. International waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
         between any places included in Paragraph a. above; or
      c.   All other parts of the world if the injury or damage arises out of:
           (1) Goods or products made or sold by you in the territory described in Paragraph a. above;
           (2) The activities of a person whose home is in the territory described in Paragraph a. above, but is away for a
               short time on your business; or
           (3) Personal and advertising injury offenses that take place through the Internet or similar electronic means of
               communication;
           provided the Insured's responsibility to pay damages is determined in a suit on the merits, in the territory
           described in Paragraph a. above or in a settlement we agree to.
5.    Employee includes a leased worker. Employee does not include a temporary worker.
6.    Executive officer means a person holding any of the officer positions created by your charter, constitution, bylaws or
      any other similar governing document.
7.    Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
8.    Impaired property means tangible property, other than your product or your work, that cannot be used or is less
      useful because:
      a.   It incorporates your product or your work that is known or thought to be defective, deficient, inadequate or
           dangerous; or
      b. You have failed to fulfill the terms of a contract or agreement;
      if such property can be restored to use by the repair, replacement, adjustment or removal of your product or your
      work or your fulfilling the terms of the contract or agreement.
9.    Insured contract means:
      a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
           any person or organization for damage by fire to premises while rented to you or temporarily occupied by you with
           permission of the owner is not an Insured contract;
      b. A sidetrack agreement;
      c.   Any easement or license agreement, except in connection with construction or demolition operations on or within
           50 feet of a railroad;
      d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
         municipality;
      e.   An elevator maintenance agreement;




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                              f.   That part of any other contract or agreement pertaining to your business (including an indemnification of a
                                   municipality in connection with work performed for a municipality) under which you assume the tort liability of
                                   another party to pay for bodily injury or property damage to a third person or organization. Tort liability means a
                                   liability that would be imposed by law in the absence of any contract or agreement.
                                   Paragraph f. does not include that part of any contract or agreement:
                                   (1) That indemnifies a railroad for bodily injury or property damage arising out of construction or demolition
                                       operations, within 50 feet of any railroad property and affecting any railroad bridge or trestle, tracks, road-
                                       beds, tunnel, underpass or crossing;
                                   (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                                       (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                           field orders, change orders or drawings and specifications; or
                                       (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                           damage; or
                                   (3) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                       arising out of the Insured's rendering or failure to render professional services, including those listed in (2)
                                       above and supervisory, inspection, architectural or engineering activities.
                          10. Leased worker means a person leased to you by a labor leasing firm under an agreement between you and the labor
                              leasing firm, to perform duties related to the conduct of your business. Leased worker does not include a temporary
                              worker.
                          11. Loading or unloading means the handling of property:
                              a.   After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or auto;
                              b. While it is in or on an aircraft, watercraft or auto; or
                              c.   While it is being moved from an aircraft, watercraft or auto to the place where it is finally delivered;
                              but loading or unloading does not include the movement of property by means of a mechanical device, other than a
                              hand truck, that is not attached to the aircraft, watercraft or auto.
                          12. Mobile equipment means any of the following types of land vehicles, including any attached machinery or equipment:
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                              a.   Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
                              b. Vehicles maintained for use solely on or next to premises you own or rent;
                              c.   Vehicles that travel on crawler treads;
                              d. Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
                                   (1) Power cranes, shovels, loaders, diggers or drills; or
                                   (2) Road construction or resurfacing equipment such as graders, scrapers or rollers;
                              e.   Vehicles not described in Paragraph a., b., c. or d. above that are not self-propelled and are maintained primarily
                                   to provide mobility to permanently attached equipment of the following types:
                                   (1) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                                       exploration, lighting and well servicing equipment; or
                                   (2) Cherry pickers and similar devices used to raise or lower workers;
                              f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
                                   transportation of persons or cargo.
                                   However, self-propelled vehicles with the following types of permanently attached equipment are not mobile
                                   equipment but will be considered autos:
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         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
         (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
             exploration, lighting and well servicing equipment.
    However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land vehicles
    subject to a compulsory or financial responsibility law or other motor vehicle insurance law are considered autos.
13. Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
    conditions.
14. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
    the following offenses:
    a.   False arrest, detention or imprisonment;
    b. Malicious prosecution;
    c.   The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room, dwelling or
         premises that a person occupies, committed by or on behalf of its owner, landlord or lessor;
    d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
       disparages a person's or organization's goods, products or services;
    e.   Oral or written publication, in any manner, of material that violates a person's right of privacy;
    f.   The use of another's advertising idea in your advertisement; or
    g. Infringing upon another's copyright, trade dress or slogan in your advertisement.
15. Pollutants mean any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor, soot, fumes,
    acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned or reclaimed.
16. Products-completed operations hazard:
    a.   Includes all bodily injury and property damage occurring away from premises you own or rent and arising out of
         your product or your work except:
         (1) Products that are still in your physical possession; or
         (2) Work that has not yet been completed or abandoned. However, your work will be deemed completed at the
             earliest of the following times:
             (a) When all of the work called for in your contract has been completed.
             (b) When all of the work to be done at the job site has been completed if your contract calls for work at more
                 than one job site.
             (c) When that part of the work done at a job site has been put to its intended use by any person or
                 organization other than another contractor or subcontractor working on the same project.
             Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
             complete, will be treated as completed.



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                              b. Does not include bodily injury or property damage arising out of:
                                   (1) The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle not
                                       owned or operated by you, and that condition was created by the loading or unloading of that vehicle by any
                                       Insured;
                                   (2) The existence of tools, uninstalled equipment or abandoned or unused materials; or
                                   (3) Products or operations for which the classification, listed in the Declarations or in a policy Schedule, states
                                       that products-completed operations are subject to the General Aggregate Limit.
                          17. Property damage means:
                              a.   Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use shall be
                                   deemed to occur at the time of the physical injury that caused it; or
                              b. Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
                                 time of the occurrence that caused it.
                              For the purposes of this insurance, electronic data is not tangible property.
                              As used in this definition, electronic data means information, facts or programs stored as or on, created or used on, or
                              transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                              ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                              equipment.
                          18. Suit means a civil proceeding in which damages because of bodily injury, property damage or personal and
                              advertising injury to which this insurance applies are alleged. suit includes:
                              a.   An arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
                                   submit with our consent; or
                              b. Any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
                                 submits with our consent.
                          19. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave or to
                              meet seasonal or short-term workload conditions.
                          20. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
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                              direction of and within the scope of duties determined by you, and is not paid a fee, salary or other compensation by
                              you or anyone else for their work performed for you.
                          21. Your product:
                              a.   Means:
                                   (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
                                       (a) You;
                                       (b) Others trading under your name; or
                                       (c) A person or organization whose business or assets you have acquired; and
                                   (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
                                       products.
                              b. Includes:
                                   (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
                                       use of your product; and
                                   (2) The providing of or failure to provide warnings or instructions.
                              c.   Does not include vending machines or other property rented to or located for the use of others but not sold.
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22. Your work:
   a.   Means:
        (1) Work or operations performed by you or on your behalf; and
        (2) Materials, parts or equipment furnished in connection with such work or operations.
   b. Includes:
        (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
            use of your work; and
        (2) The providing of or failure to provide warnings or instructions.




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                          It is understood and agreed that this endorsement amends the COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          as follows. If any other endorsement attached to this policy amends any provision also amended by this endorsement,
                          then that other endorsement controls with respect to such provision, and the changes made by this endorsement with
                          respect to such provision do not apply.


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                          CNA74858XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 18                                                                                                    Endorsement No:       4
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001457
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                                                   Architects, Engineers and Surveyors General Liability
                                                                                Extension Endorsement

1.    ADDITIONAL INSUREDS

      a.   WHO IS AN INSURED is amended to include as an Insured any person or organization described in paragraphs
           A. through I. below whom a Named Insured is required to add as an additional insured on this Coverage Part
           under a written contract or written agreement, provided such contract or agreement:
           (1) is currently in effect or becomes effective during the term of this Coverage Part; and

           (2) was executed prior to:

                (a) the bodily injury or property damage; or

                (b) the offense that caused the personal and advertising injury,

                for which such additional insured seeks coverage.
      b. However, subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer
         will not provide such additional insured with:
           (1) a higher limit of insurance than required by such contract or agreement; or

           (2) coverage broader than required by such contract or agreement, and in no event broader than that described
               by the applicable paragraph A. through I. below.

           Any coverage granted by this endorsement shall apply only to the extent permissible by law.
      A. Controlling Interest

           Any person or organization with a controlling interest in a Named Insured, but only with respect to such person or
           organization's liability for bodily injury, property damage or personal and advertising injury arising out of:
           1.   such person or organization's financial control of a Named Insured; or
           2.   premises such person or organization owns, maintains or controls while a Named Insured leases or
                occupies such premises;

           provided that the coverage granted by this paragraph does not apply to structural alterations, new construction or
           demolition operations performed by, on behalf of, or for such additional insured.
      B. Co-owner of Insured Premises

           A co-owner of a premises co-owned by a Named Insured and covered under this insurance but only with respect
           to such co-owner's liability for bodily injury, property damage or personal and advertising injury as co-owner
           of such premises.
      C. Engineers, Architects or Surveyors Engaged By You

           An architect, engineer or surveyor engaged by the Named Insured, but only with respect to liability for bodily
           injury, property damage or personal and advertising injury caused in whole or in part by the Named Insured's
           acts or omissions, or the acts or omissions of those acting on the Named Insured's behalf:
           a.   in connection with the Named Insured's premises; or
           b. in the performance of the Named Insured's ongoing operations.

           But the coverage hereby granted to such additional insureds does not apply to bodily injury, property damage
           or personal and advertising injury arising out of the rendering of or failure to render any professional services
           by, on behalf of, or for the Named Insured, including but not limited to:
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CONTINENTAL CASUALTY COMPANY                                                                                        Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                                CNA001458
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                                1.   the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                                     field orders, change orders or drawings and specifications; or
                                2.   supervisory, inspection, architectural or engineering activities.
                             D. Lessor of Equipment

                                Any person or organization from whom a Named Insured leases equipment, but only with respect to liability for
                                bodily injury, property damage or personal and advertising injury caused, in whole or in part, by the Named
                                Insured's maintenance, operation or use of such equipment, provided that the occurrence giving rise to such
                                bodily injury, property damage or the offense giving rise to such personal and advertising injury takes place
                                prior to the termination of such lease.
                             E. Lessor of Land

                                Any person or organization from whom a Named Insured leases land but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury arising out of the ownership, maintenance or use
                                of such land, provided that the occurrence giving rise to such bodily injury, property damage or the offense
                                giving rise to such personal and advertising injury takes place prior to the termination of such lease. The
                                coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             F. Lessor of Premises

                                An owner or lessor of premises leased to the Named Insured, or such owner or lessor's real estate manager, but
                                only with respect to liability for bodily injury, property damage or personal and advertising injury arising out of
                                the ownership, maintenance or use of such part of the premises leased to the Named Insured, and provided that
                                the occurrence giving rise to such bodily injury or property damage, or the offense giving rise to such personal
                                and advertising injury, takes place prior to the termination of such lease. The coverage granted by this
                                paragraph does not apply to structural alterations, new construction or demolition operations performed by, on
                                behalf of, or for such additional insured.
                             G. Mortgagee, Assignee or Receiver

                                A mortgagee, assignee or receiver of premises but only with respect to such mortgagee, assignee or receiver's
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                                liability for bodily injury, property damage or personal and advertising injury arising out of the Named
                                Insured's ownership, maintenance, or use of a premises by a Named Insured.

                                The coverage granted by this paragraph does not apply to structural alterations, new construction or demolition
                                operations performed by, on behalf of, or for such additional insured.
                             H. State or Governmental Agency or Subdivision or Political Subdivisions – Permits

                                A state or governmental agency or subdivision or political subdivision that has issued a permit or authorization but
                                only with respect to such state or governmental agency or subdivision or political subdivision's liability for bodily
                                injury, property damage or personal and advertising injury arising out of:

                                1.   the following hazards in connection with premises a Named Insured owns, rents, or controls and to which
                                     this insurance applies:
                                     a.   the existence, maintenance, repair, construction, erection, or removal of advertising signs, awnings,
                                          canopies, cellar entrances, coal holes, driveways, manholes, marquees, hoistaway openings, sidewalk
                                          vaults, street banners, or decorations and similar exposures; or
                                     b. the construction, erection, or removal of elevators; or

                                     c.   the ownership, maintenance or use of any elevators covered by this insurance; or
                          CNA74858XX (1-15)                                                                                                   Policy No: 6056872807
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                          CONTINENTAL CASUALTY COMPANY                                                                                    Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                      CNA001459
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           2.   the permitted or authorized operations performed by a Named Insured or on a Named Insured's behalf.

                The coverage granted by this paragraph does not apply to:
                a.   Bodily injury, property damage or personal and advertising injury arising out of operations performed
                     for the state or governmental agency or subdivision or political subdivision; or
                b. Bodily injury or property damage included within the products-completed operations hazard.

           With respect to this provision's requirement that additional insured status must be requested under a written
           contract or agreement, the Insurer will treat as a written contract any governmental permit that requires the
           Named Insured to add the governmental entity as an additional insured.

      I.   Trade Show Event Lessor

           1.   With respect to a Named Insured's participation in a trade show event as an exhibitor, presenter or displayer,
                any person or organization whom the Named Insured is required to include as an additional insured, but only
                with respect to such person or organization's liability for bodily injury, property damage or personal and
                advertising injury caused by:

                a.   the Named Insured's acts or omissions; or
                b. the acts or omissions of those acting on the Named Insured's behalf,

                in the performance of the Named Insured's ongoing operations at the trade show event premises during the
                trade show event.
           2.   The coverage granted by this paragraph does not apply to bodily injury or property damage included within
                the products-completed operations hazard.
2.    ADDITIONAL INSURED - PRIMARY AND NON-CONTRIBUTORY TO ADDITIONAL INSURED'S INSURANCE

      The Other Insurance Condition in the COMMERCIAL GENERAL LIABILITY CONDITIONS Section is amended to
      add the following paragraph:

      If the Named Insured has agreed in writing in a contract or agreement that this insurance is primary and non-
      contributory relative to an additional insured's own insurance, then this insurance is primary, and the Insurer will not
      seek contribution from that other insurance. For the purpose of this Provision 2., the additional insured's own
      insurance means insurance on which the additional insured is a named insured. Otherwise, and notwithstanding
      anything to the contrary elsewhere in this Condition, the insurance provided to such person or organization is excess
      of any other insurance available to such person or organization.
3.    ADDITIONAL INSURED – EXTENDED COVERAGE

      When an additional insured is added by this or any other endorsement attached to this Coverage Part, WHO IS AN
      INSURED is amended to make the following natural persons Insureds.

      If the additional insured is:
      a.   An individual, then his or her spouse is an Insured;
      b. A partnership or joint venture, then its partners, members and their spouses are Insureds;
      c.   A limited liability company, then its members and managers are Insureds; or
      d. An organization other than a partnership, joint venture or limited liability company, then its executive officers,
         directors and shareholders are Insureds;


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Insured Name: SESI CONSULTING ENGINEERS
                                                                 CNA001460
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                                but only with respect to locations and operations covered by the additional insured endorsement's provisions, and only
                                with respect to their respective roles within their organizations.

                                Please see the ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES provision of this endorsement for
                                additional coverage and restrictions applicable to spouses of natural person Insureds.
                          4.    BOATS

                                Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions is amended to add the following additional exception to the exclusion entitled Aircraft, Auto or
                                Watercraft:

                                This exclusion does not apply to:
                                     Any watercraft owned by the Named Insured that is less than 30 feet long while being used in the course of the
                                     Named Insured's inspection or surveying work.

                          5.    BODILY INJURY – EXPANDED DEFINITION

                                Under DEFINITIONS, the definition of bodily injury is deleted and replaced by the following:
                                Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                                mental anguish or mental injury sustained by that person at any time which results as a consequence of the physical
                                injury, sickness or disease.
                          6.    BROAD KNOWLEDGE OF OCCURRENCE/ NOTICE OF OCCURRENCE

                                Under CONDITIONS, the condition entitled Duties in The Event of Occurrence, Offense, Claim or Suit is amended
                                to add the following provisions:
                                A. BROAD KNOWLEDGE OF OCCURRENCE

                                     The Named Insured must give the Insurer or the Insurer's authorized representative notice of an occurrence,
                                     offense or claim only when the occurrence, offense or claim is known to a natural person Named Insured, to a
                                     partner, executive officer, manager or member of a Named Insured, or to an employee designated by any of the
                                     above to give such notice.
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                                B. NOTICE OF OCCURRENCE

                                     The Named Insured's rights under this Coverage Part will not be prejudiced if the Named Insured fails to give
                                     the Insurer notice of an occurrence, offense or claim and that failure is solely due to the Named Insured's
                                     reasonable belief that the bodily injury or property damage is not covered under this Coverage Part. However,
                                     the Named Insured shall give written notice of such occurrence, offense or claim to the Insurer as soon as the
                                     Named Insured is aware that this insurance may apply to such occurrence, offense or claim.

                          7.    BROAD NAMED INSURED

                                WHO IS AN INSURED is amended to delete its Paragraph 3. in its entirety and replace it with the following:

                                3.   Pursuant to the limitations described in Paragraph 4. below, any organization in which a Named Insured has
                                     management control:
                                     a.   on the effective date of this Coverage Part; or
                                     b. by reason of a Named Insured creating or acquiring the organization during the policy period,

                                     qualifies as a Named Insured, provided that there is no other similar liability insurance, whether primary,
                                     contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
                          CNA74858XX (1-15)                                                                                                       Policy No: 6056872807
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                          CONTINENTAL CASUALTY COMPANY                                                                                        Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                          CNA001461
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           provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
           narrower than that provided by this insurance.

           But this BROAD NAMED INSURED provision does not apply to:
           (a) any partnership, limited liability company or joint venture; or

           (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.

           For the purpose of this provision, management control means:
           A. owning interests representing more than 50% of the voting, appointment or designation power for the
              selection of a majority of the Board of Directors of a corporation; or
           B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or
              sell property held by a trust.
      4.   With respect to organizations which qualify as Named Insureds by virtue of Paragraph 3. above, this insurance
           does not apply to:
           a.   bodily injury or property damage that first occurred prior to the date of management control, or that first
                occurs after management control ceases; nor
           b. personal or advertising injury caused by an offense that first occurred prior to the date of management
              control or that first occurs after management control ceases.
      5.   The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names
           or under such other trading names or doing-business-as names (dba) as any Named Insured should choose to
           employ.
8.    CONTRACTUAL LIABILITY – RAILROADS

      With respect to operations performed within 50 feet of railroad property, the definition of insured contract is replaced
      by the following:
      Insured Contract means:

      a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
           any person or organization for damage by fire to premises while rented to a Named Insured or temporarily
           occupied by a Named Insured you with permission of the owner is not an insured contract;
      b. A sidetrack agreement;

      c.   Any easement or license agreement;
      d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
         municipality;
      e.   An elevator maintenance agreement;
      f.   That part of any other contract or agreement pertaining to the Named Insured's business (including an
           indemnification of a municipality in connection with work performed for a municipality) under which the Named
           Insured assumes the tort liability of another party to pay for bodily injury or property damage to a third person
           or organization. Tort liability means a liability that would be imposed by law in the absence of any contract or
           agreement.

           Paragraph f. does not include that part of any contract or agreement:

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Insured Name: SESI CONSULTING ENGINEERS
                                                                CNA001462
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                                    (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:

                                          (a) Preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                              field orders, change orders or drawings and specifications; or
                                          (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                                              damage;
                                    (2) Under which the Insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
                                        arising out of the insured's rendering or failure to render professional services, including those listed in (1)
                                        above and supervisory, inspection, architectural or engineering activities.
                          9.    ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES

                                The estates, executors, heirs, legal representatives, administrators, trustees, beneficiaries and spouses of any
                                natural person Insured or living trust shall also be insured under this policy; provided, however, coverage is afforded
                                to such estates, executors, heirs, legal representatives, administrators, trustees, beneficiaries and spouses only for
                                claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim seeks
                                damages from marital community property, jointly held property or property transferred from such natural person
                                Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                                representative, or spouse outside the scope of such person's capacity or status as such, provided, however, that the
                                spouse of a natural person Named Insured, and the spouses of members or partners of joint venture or partnership
                                Named Insureds are Insureds with respect to such spouses' acts, errors or omissions in the conduct of the Named
                                Insured's business.

                          10. EXPECTED OR INTENDED INJURY – EXCEPTION FOR REASONABLE FORCE

                                Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions is amended to delete the exclusion entitled Expected or Intended Injury and replace it with the following:

                                This insurance does not apply to:
                                Expected or Intended Injury

                                Bodily injury or property damage expected or intended from the standpoint of the Insured. This exclusion does not
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                                apply to bodily injury or property damage resulting from the use of reasonable force to protect persons or property.
                          11. GENERAL AGGREGATE LIMITS OF INSURANCE - PER LOCATION

                                A. A separate Location General Aggregate Limit, equal to the amount of the General Aggregate Limit, is the most the
                                   Insurer will pay for the sum of:
                                    1.    All damages under Coverage A, except damages because of bodily injury or property damage included in
                                          the products-completed operations hazard; and
                                    2.    All medical expenses under Coverage C,

                                    that arise from occurrences or accidents which can be attributed solely to ongoing operations at that location.
                                    Such payments shall not reduce the General Aggregate Limit shown in the Declarations, nor the Location General
                                    Aggregate Limit of any other location.
                                B. All:

                                    1.    Damages under Coverage B, regardless of the number of locations involved;




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       2.   Damages under Coverage A, caused by occurrences which cannot be attributed solely to ongoing
            operations at a single location, except damages because of bodily injury or property damage included in
            the products-completed operations hazard; and
       3.   Medical expenses under Coverage C caused by accidents which cannot be attributed solely to ongoing
            operations at a single location,

       will reduce the General Aggregate Limit shown in the Declarations.
   C. For the purpose of this GENERAL AGGREGATE LIMITS OF INSURANCE - PER LOCATION Provision,
      "location" means:
       1.   a premises the Named Insured owns or rents; or
       2.   a premises not owned or rented by any Named Insured at which the Named Insured is performing
            operations pursuant to a contract or written agreement. If operations at such a location have been
            discontinued and then restarted, or if the authorized parties deviate from plans, blueprints, designs,
            specifications or timetables, the location will still be deemed to be the same location.

       For the purpose of determining the applicable aggregate limit of insurance, premises involving the same or
       connecting lots, or premises whose connection is interrupted only by a street, roadway, waterway or right-of-way
       of a railroad shall be considered a single location.
   D. The limits shown in the Declarations for Each Occurrence, for Damage To Premises Rented To You and for
      Medical Expense continue to apply, but will be subject to either the Location General Aggregate Limit or the
      General Aggregate Limit, depending on whether the occurrence can be attributed solely to ongoing operations at
      a particular location.
   E. When coverage for liability arising out of the products-completed operations hazard is provided, any payments
      for damages because of bodily injury or property damage included in the products-completed operations
      hazard, regardless of the number of locations involved, will reduce the Products-Completed Operations
      Aggregate Limit shown in the Declarations.
   F. The provisions of LIMITS OF INSURANCE not otherwise modified by this GENERAL AGGREGATE LIMITS OF
      INSURANCE - PER LOCATION Provision shall continue to apply as stipulated.

12. IN REM ACTIONS

       A quasi in rem action against any vessel owned or operated by or for the Named Insured, or chartered by or for
   the Named Insured, will be treated in the same manner as though the action were in personam against the Named
   Insured.

13. INCIDENTAL HEALTH CARE MALPRACTICE COVERAGE

   Solely with respect to bodily injury that arises out of a health care incident:
   A. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the Insuring Agreement is
      amended to replace Paragraphs 1.b.(1) and 1.b.(2) with the following:
       b. This insurance applies to bodily injury provided that the professional health care services are incidental to
          the Named Insured's primary business purpose, and only if:
            (1) such bodily injury is caused by an occurrence that takes place in the coverage territory.

            (2) the bodily injury first occurs during the policy period. All bodily injury arising from an occurrence will
                be deemed to have occurred at the time of the first act, error, or omission that is part of the occurrence;
                and

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                             B. Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions is amended to:

                                i.   add the following to the Employers Liability exclusion:

                                     This exclusion applies only if the bodily injury arising from a health care incident is covered by other
                                     liability insurance available to the Insured (or which would have been available but for exhaustion of its
                                     limits).
                                ii. delete the exclusion entitled Contractual Liability and replace it with the following:

                                     This insurance does not apply to:
                                     Contractual Liability

                                     the Insured's actual or alleged liability under any oral or written contract or agreement, including but not
                                     limited to express warranties or guarantees.
                                iii. to add the following additional exclusions:

                                     This insurance does not apply to:
                                     Discrimination

                                     any actual or alleged discrimination, humiliation or harassment, including but not be limited to claims based
                                     on an individual's race, creed, color, age, gender, national origin, religion, disability, marital status or sexual
                                     orientation.
                                     Dishonesty or Crime

                                     Any actual or alleged dishonest, criminal or malicious act, error or omission.
                                     Medicare/Medicaid Fraud

                                     any actual or alleged violation of law with respect to Medicare, Medicaid, Tricare or any similar federal, state
                                     or local governmental program.
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                                     Services Excluded by Endorsement

                                     Any health care incident for which coverage is excluded by endorsement.
                             C. DEFINITIONS is amended to:

                                i.   add the following definitions:
                                     Health care incident means an act, error or omission by the Named Insured's employees or volunteer
                                     workers in the rendering of:

                                     a.   professional health care services on behalf of the Named Insured or

                                     b. Good Samaritan services rendered in an emergency and for which no payment is demanded or received.

                                     Professional health care services means any health care services or the related furnishing of food,
                                     beverages, medical supplies or appliances by the following providers in their capacity as such but solely to
                                     the extent they are duly licensed as required:
                                     a.   Physician;


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          b. Nurse;

          c.   Nurse practitioner;
          d. Emergency medical technician;

          e.   Paramedic;
          f.   Dentist;
          g. Physical therapist;

          h. Psychologist;

          i.   Speech therapist;
          j.   Other allied health professional; or
          Professional health care services does not include any services rendered in connection with human clinical
          trials or product testing.
      ii. delete the definition of occurrence and replace it with the following:

          Occurrence means a health care incident. All acts, errors or omissions that are logically connected by any
          common fact, circumstance, situation, transaction, event, advice or decision will be considered to constitute a
          single occurrence;
      iii. amend the definition of Insured to:

          a.   add the following:
                    the Named Insured's employees are Insureds with respect to:

                    (1) bodily injury to a co-employee while in the course of the co-employee's employment by the
                        Named Insured or while performing duties related to the conduct of the Named Insured's
                        business; and
                    (2) bodily injury to a volunteer worker while performing duties related to the conduct of the
                        Named Insured's business;

                    when such bodily injury arises out of a health care incident.
                    the Named Insured's volunteer workers are Insureds with respect to:

                    (1) bodily injury to a co-volunteer worker while performing duties related to the conduct of the
                        Named Insured's business; and

                    (2) bodily injury to an employee while in the course of the employee's employment by the Named
                        Insured or while performing duties related to the conduct of the Named Insured's business;

               when such bodily injury arises out of a health care incident.
          b. delete Subparagraphs (a), (b), (c) and (d) of Paragraph 2.a.(1) of WHO IS AN INSURED.

   D. The Other Insurance condition is amended to delete Paragraph b.(1) in its entirety and replace it with the
      following:
      Other Insurance

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                                 b. Excess Insurance

                                      (1) To the extent this insurance applies, it is excess over any other insurance, self insurance or risk transfer
                                          instrument, whether primary, excess, contingent or on any other basis, except for insurance purchased
                                          specifically by the Named Insured to be excess of this coverage.
                          14. JOINT VENTURES / PARTNERSHIP / LIMITED LIABILITY COMPANIES

                             A. Past Joint Ventures, Partnerships, Limited Liability Companies

                                 The following is added to WHO IS AN INSURED:

                                 If the Named Insured was a joint venturer, partner, or member of a limited liability company and such joint
                                 venture, partnership or limited liability company terminated prior to or during the policy period, such Named
                                 Insured is an Insured with respect to its interest in such joint venture, partnership or limited liability company but
                                 only to the extent that:
                                 a.   any offense giving rise to personal and advertising injury occurred prior to such termination date, and the
                                      personal and advertising injury arising out of such offense, first occurred after such termination date;

                                 b. the bodily injury or property damage first occurred after such termination date; and

                                 c.   there is no other valid and collectible insurance purchased specifically to insure the partnership, joint venture
                                      or limited liability company.

                                 If the joint venture, partnership or limited liability company is or was insured under a consolidated (wrap-up)
                                 insurance program, then such insurance will always be considered valid and collectible for the purpose of
                                 paragraph c. above. But this provision will not serve to exclude bodily injury, property damage or personal and
                                 advertising injury that would otherwise be covered under the Architects, Engineers And Surveyors General
                                 Liability Extension Endorsement provision entitled WRAP-UP EXTENSION: OCIP, CCIP, OR
                                 CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS. Please see that provision for the definition of
                                 consolidated (wrap-up) insurance program.

                             B. Participation In Current Professional Joint Ventures
                                 The following is added to WHO IS AN INSURED:
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                                 The Named Insured is also an Insured for participation in a current joint venture that is not named on the
                                 Declarations, but only if such joint venture meets all of the following criteria:
                                 a.   Each and every one of the Named Insured's co-venturers are architectural, engineering or surveying firms
                                      only; and
                                 b. There is no other valid and collectible insurance purchased specifically to insure the joint venture.

                                 However, the Named Insured is an Insured only for the conduct of such Named Insured's business within such
                                 a joint venture. The Named Insured is not insured for liability arising out of the acts or omissions of other co-
                                 venturers, nor of their partners, members or employees.
                             C. WHO IS AN INSURED is amended to delete its last paragraph and replace it with the following:
                                 Except as provided under this Architects, Engineers And Surveyors General Liability Extension
                                 Endorsement or by the attachment of another endorsement (if any), no person or organization is an Insured with
                                 respect to the conduct of any current or past partnership, joint venture or limited liability company that is not
                                 shown as a Named Insured in the Declarations.



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15. LEGAL LIABILITY – DAMAGE TO PREMISES / ALIENATED PREMISES / PROPERTY IN THE NAMED
    INSURED'S CARE, CUSTODY OR CONTROL

   A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended to delete exclusion j. Damage to Property in its entirety and replace it with the following:

       This insurance does not apply to:
       j.   Damage to Property

            Property damage to:

            (1) Property the Named Insured owns, rents, or occupies, including any costs or expenses incurred by you,
                or any other person, organization or entity, for repair, replacement, enhancement, restoration or
                maintenance of such property for any reason, including prevention of injury to a person or damage to
                another's property;
            (2) Premises the Named Insured sells, gives away or abandons, if the property damage arises out of any
                part of those premises;
            (3) Property loaned to the Named Insured;

            (4) Personal property in the care, custody or control of the Insured;

            (5) That particular part of real property on which the Named Insured or any contractors or subcontractors
                working directly or indirectly on the Named Insured's behalf are performing operations, if the property
                damage arises out of those operations; or

            (6) That particular part of any property that must be restored, repaired or replaced because your work was
                incorrectly performed on it.

            Paragraphs (1), (3) and (4) of this exclusion do not apply to property damage (other than damage by fire) to
            premises rented to the Named Insured or temporarily occupied by the Named Insured with the permission of
            the owner, nor to the contents of premises rented to the Named Insured for a period of 7 or fewer
            consecutive days. A separate limit of insurance applies to Damage To Premises Rented To You as described
            in LIMITS OF INSURANCE.

            Paragraph (2) of this exclusion does not apply if the premises are your work.

            Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a sidetrack
            agreement.

            Paragraph (6) of this exclusion does not apply to property damage included in the products-completed
            operations hazard.

            Paragraphs (3) and (4) of this exclusion do not apply to property damage to:
            i.   tools, or equipment the Named Insured borrows from others, nor
            ii. other personal property of others in the Named Insured's care, custody or control while being used in the
                Named Insured's operations away from any Named Insured's premises.

            However, the coverage granted by this exception to Paragraphs (3) and (4) does not apply to:
            a.   property at a job site awaiting or during such property's installation, fabrication, or erection;
            b. property that is mobile equipment leased by an Insured;

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                                                             CNA001468
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                                      c.   property that is an auto, aircraft or watercraft;
                                      d. property in transit; or

                                      e.   any portion of property damage for which the Insured has available other valid and collectible
                                           insurance, or would have such insurance but for exhaustion of its limits, or but for application of one of its
                                           exclusions.

                                      A separate limit of insurance and deductible apply to such property of others. See LIMITS OF INSURANCE
                                      as amended below.
                             B. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                                Exclusions is amended to delete its last paragraph and replace it with the following:

                                 Exclusions c. through n. do not apply to damage by fire to premises while rented to a Named Insured or
                                 temporarily occupied by a Named Insured with permission of the owner, nor to damage to the contents of
                                 premises rented to a Named Insured for a period of 7 or fewer consecutive days.

                                 A separate limit of insurance applies to this coverage as described in LIMITS OF INSURANCE.
                             C. The following paragraph is added to LIMITS OF INSURANCE:

                                 Subject to 5. above, $25,000 is the most the Insurer will pay under Coverage A for damages arising out of any
                                 one occurrence because of the sum of all property damage to borrowed tools or equipment, and to other
                                 personal property of others in the Named Insured's care, custody or control, while being used in the Named
                                 Insured's operations away from any Named Insured's premises. The Insurer's obligation to pay such property
                                 damage does not apply until the amount of such property damage exceeds $1,000. The Insurer has the right but
                                 not the duty to pay any portion of this $1,000 in order to effect settlement. If the Insurer exercises that right, the
                                 Named Insured will promptly reimburse the Insurer for any such amount.

                             D. Paragraph 6., Damage To Premises Rented To You Limit, of LIMITS OF INSURANCE is deleted and replaced by
                                the following:
                                 6.   Subject to Paragraph 5. above, (the Each Occurrence Limit), the Damage To Premises Rented To You Limit
                                      is the most the Insurer will pay under Coverage A for damages because of property damage to any one
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                                      premises while rented to the Named Insured or temporarily occupied by the Named Insured with the
                                      permission of the owner, including contents of such premises rented to the Named Insured for a period of 7
                                      or fewer consecutive days. The Damage To Premises Rented To You Limit is the greater of:
                                      a.   $500,000; or
                                      b. The Damage To Premises Rented To You Limit shown in the Declarations.

                             E. Paragraph 4.b.(1)(a)(ii) of the Other Insurance Condition is deleted and replaced by the following:

                                 (ii) That is property insurance for premises rented to the Named Insured, for premises temporarily occupied by
                                      the Named Insured with the permission of the owner; or for personal property of others in the Named
                                      Insured's care, custody or control;

                          16. LIQUOR LIABILITY

                             Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
                             Exclusions is amended to delete the exclusion entitled Liquor Liability.

                             This LIQUOR LIABILITY Provision does not apply to any person or organization who otherwise qualifies as an
                             additional insured on this Coverage Part.


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17. MEDICAL PAYMENTS

   A. LIMITS OF INSURANCE is amended to delete Paragraph 7. (the Medical Expense Limit) and replace it with the
      following:
        7.   Subject to Paragraph 5. above (the Each Occurrence Limit), the Medical Expense Limit is the most the
             Insurer will pay under Coverage C for all medical expenses because of bodily injury sustained by any one
             person. The Medical Expense Limit is the greater of:
             (1) $15,000 unless a different amount is shown here:                         $N,NNN,NNN,NNN;                   or
             (2) the amount shown in the Declarations for Medical Expense Limit.

   B. Under COVERAGES, the Insuring Agreement of Coverage C – Medical Payments is amended to replace
      Paragraph 1.a.(3)(b) with the following:
        (b) The expenses are incurred and reported to the Insurer within three years of the date of the accident; and

18. NON-OWNED AIRCRAFT

   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended as follows:

   The exclusion entitled Aircraft, Auto or Watercraft is amended to add the following:

   This exclusion does not apply to an aircraft not owned by any Named Insured, provided that:
   1.   the pilot in command holds a currently effective certificate issued by the duly constituted authority of the United
        States of America or Canada, designating that person as a commercial or airline transport pilot;
   2.   the aircraft is rented with a trained, paid crew to the Named Insured; and
   3.   the aircraft is not being used to carry persons or property for a charge.
19. NON-OWNED WATERCRAFT

   Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
   Exclusions is amended to delete subparagraph (2) of the exclusion entitled Aircraft, Auto or Watercraft, and
   replace it with the following.

   This exclusion does not apply to:
   (2) a watercraft that is not owned by any Named Insured, provided the watercraft is:

        (a) less than 75 feet long; and

        (b) not being used to carry persons or property for a charge.

20. PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION

   A. Under DEFINITIONS, the definition of personal and advertising injury is amended to add the following tort:
             Discrimination or humiliation that results in injury to the feelings or reputation of a natural person.

   B. Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the paragraph entitled
      Exclusions is amended to:

        1.   delete the Exclusion entitled Knowing Violation Of Rights Of Another and replace it with the following:

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                                      This insurance does not apply to:
                                      Knowing Violation of Rights of Another

                                      Personal and advertising injury caused by or at the direction of the Insured with the knowledge that the act
                                      would violate the rights of another and would inflict personal and advertising injury. This exclusion shall not
                                      apply to discrimination or humiliation that results in injury to the feelings or reputation of a natural person, but
                                      only if such discrimination or humiliation is not done intentionally by or at the direction of:
                                      (a) the Named Insured; or

                                      (b) any executive officer, director, stockholder, partner, member or manager (if the Named Insured is a
                                          limited liability company) of the Named Insured.
                                 2.   add the following exclusions:

                                      This insurance does not apply to:
                                      Employment Related Discrimination

                                      discrimination or humiliation directly or indirectly related to the employment, prospective employment, past
                                      employment or termination of employment of any person by any Insured.
                                      Premises Related Discrimination

                                      discrimination or humiliation arising out of the sale, rental, lease or sub-lease or prospective sale, rental,
                                      lease or sub-lease of any room, dwelling or premises by or at the direction of any Insured.

                             Notwithstanding the above, there is no coverage for fines or penalties levied or imposed by a governmental entity
                             because of discrimination.

                             The coverage provided by this PERSONAL AND ADVERTISING INJURY –DISCRIMINATION OR HUMILIATION
                             Provision does not apply to any person or organization whose status as an Insured derives solely from
                                      Provision 1. ADDITIONAL INSURED of this endorsement; or
20020000760568728078051




                                      attachment of an additional insured endorsement to this Coverage Part.

                          21. PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY

                             A. Under COVERAGES, Coverage B –Personal and Advertising Injury Liability, the paragraph entitled
                                Exclusions is amended to delete the exclusion entitled Contractual Liability.

                             B. Solely for the purpose of the coverage provided by this PERSONAL AND ADVERTISING INJURY - LIMITED
                                CONTRACTUAL LIABILITY provision, the following changes are made to the section entitled
                                SUPPLEMENTARY PAYMENTS – COVERAGES A AND B:

                                 1.   Paragraph 2.d. is replaced by the following:
                                      d. The allegations in the suit and the information the Insurer knows about the offense alleged in such suit
                                         are such that no conflict appears to exist between the interests of the Insured and the interests of the
                                         indemnitee;
                                 2.   The first unnumbered paragraph beneath Paragraph 2.f.(2)(b) is deleted and replaced by the following:

                                      So long as the above conditions are met, attorney's fees incurred by the Insurer in the defense of that
                                      indemnitee, necessary litigation expenses incurred by the Insurer, and necessary litigation expenses incurred


                          CNA74858XX (1-15)                                                                                                   Policy No: 6056872807
                          Page 15 of 18                                                                                                 Endorsement No:       4
                          CONTINENTAL CASUALTY COMPANY                                                                                    Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                      CNA001471
                                          Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
 Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1272 of 1498 PageID #:17532
                                                                                                                         CNA PARAMOUNT

                                               Architects, Engineers and Surveyors General Liability
                                                                            Extension Endorsement

            by the indemnitee at the Insurer's request will be paid as defense costs. Such payments will not be deemed
            to be damages for personal and advertising injury and will not reduce the limits of insurance.
   C. This PERSONAL AND ADVERTISING INJURY - LIMITED CONTRACTUAL LIABILITY Provision does not apply
      if Coverage B –Personal and Advertising Injury Liability is excluded by another endorsement attached to this
      Coverage Part.

   This PERSONAL AND ADVERTISING INJURY - CONTRACTUAL LIABILITY Provision does not apply to any
   person or organization who otherwise qualifies as an additional insured on this Coverage Part.
22. PROPERTY DAMAGE – ELEVATORS

   A. Under COVERAGES, Coverage A – Bodily Injury and Property Damage Liability, the paragraph entitled
      Exclusions is amended such that the Damage to Your Product Exclusion and subparagraphs (3), (4) and (6) of
      the Damage to Property Exclusion do not apply to property damage that results from the use of elevators.
   B. Solely for the purpose of the coverage provided by this PROPERTY DAMAGE – ELEVATORS Provision, the
      Other Insurance conditions is amended to add the following paragraph:

        This insurance is excess over any of the other insurance, whether primary, excess, contingent or on any other
        basis that is Property insurance covering property of others damaged from the use of elevators.
23. RETIRED PARTNERS, MEMBERS, DIRECTORS AND EMPLOYEES

   WHO IS INSURED is amended to include as Insureds natural persons who are retired partners, members, directors
   or employees, but only for bodily injury, property damage or personal and advertising injury that results from
   services performed for the Named Insured under the Named Insured's direct supervision. All limitations that apply to
   employees and volunteer workers also apply to anyone qualifying as an Insured under this Provision.

24. SUPPLEMENTARY PAYMENTS

   The section entitled SUPPLEMENTARY PAYMENTS – COVERAGES A AND B is amended as follows:
   A. Paragraph 1.b. is amended to delete the                        limit shown for the cost of bail bonds and replace it with a            .
      limit; and
   B. Paragraph 1.d. is amended to delete the limit of                             shown for daily loss of earnings and replace it with a
            . limit.
25. UNINTENTIONAL FAILURE TO DISCLOSE HAZARDS

   If the Named Insured unintentionally fails to disclose all existing hazards at the inception date of the Named
   Insured's Coverage Part, the Insurer will not deny coverage under this Coverage Part because of such failure.

26. WAIVER OF SUBROGATION - BLANKET

   Under CONDITIONS, the condition entitled Transfer Of Rights Of Recovery Against Others To Us is amended to
   add the following:

   The Insurer waives any right of recovery the Insurer may have against any person or organization because of
   payments the Insurer makes for injury or damage arising out of:
   1.   the Named Insured's ongoing operations; or
   2.   your work included in the products-completed operations hazard.

   However, this waiver applies only when the Named Insured has agreed in writing to waive such rights of recovery in
   a written contract or written agreement, and only if such contract or agreement:
CNA74858XX (1-15)                                                                                                   Policy No: 6056872807
Page 16 of 18                                                                                                 Endorsement No:       4
CONTINENTAL CASUALTY COMPANY                                                                                    Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                            CNA001472
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                           Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1273 of 1498 PageID #:17533
                                                                                                                                                    CNA PARAMOUNT

                                                                          Architects, Engineers and Surveyors General Liability
                                                                                                       Extension Endorsement

                             1.   is in effect or becomes effective during the term of this Coverage Part; and
                             2.   was executed prior to the bodily injury, property damage or personal and advertising injury giving rise to the
                                  claim.

                          27. WRAP-UP EXTENSION: OCIP, CCIP, OR CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS

                             Note: The following provision does not apply to any public construction project in the state of Oklahoma, nor to any
                             construction project in the state of Alaska, that is not permitted to be insured under a consolidated (wrap-up)
                             insurance program by applicable state statute or regulation.

                             If the endorsement EXCLUSION – CONSTRUCTION WRAP-UP is attached to this policy, or another exclusionary
                             endorsement pertaining to Owner Controlled Insurance Programs (O.C.I.P.) or Contractor Controlled Insurance
                             Programs (C.C.I.P.) is attached, then the following changes apply:
                             A. The following wording is added to the above-referenced endorsement:

                                  With respect to a consolidated (wrap-up) insurance program project in which the Named Insured is or was
                                  involved, this exclusion does not apply to those sums the Named Insured become legally obligated to pay as
                                  damages because of:

                                  1.   Bodily injury, property damage, or personal or advertising injury that occurs during the Named Insured's
                                       ongoing operations at the project, or during such operations of anyone acting on the Named Insured's
                                       behalf; nor
                                  2.   Bodily injury or property damage included within the products-completed operations hazard that arises
                                       out of those portions of the project that are not residential structures.
                             B. Condition 4. Other Insurance is amended to add the following subparagraph 4.b.(1)(c):

                                  This insurance is excess over:
                                  (c) Any of the other insurance whether primary, excess, contingent or any other basis that is insurance available
                                      to the Named Insured as a result of the Named Insured being a participant in a consolidated (wrap-up)
                                      insurance program, but only as respects the Named Insured's involvement in that consolidated (wrap-up)
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                                      insurance program.

                             C. DEFINITIONS is amended to add the following definitions:

                                  Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the
                                  prime contractor/project manager or owner of the construction project has secured general liability insurance
                                  covering some or all of the contractors or subcontractors involved in the project, such as an Owner Controlled
                                  Insurance Program (O.C.I.P.) or Contractor Controlled Insurance Program (C.C.I.P.).
                                  Residential structure means any structure where 30% or more of the square foot area is used or is intended to
                                  be used for human residency, including but not limited to:
                                  1.   single or multifamily housing, apartments, condominiums, townhouses, co-operatives or planned unit
                                       developments; and
                                  2.   the common areas and structures appurtenant to the structures in paragraph 1. (including pools, hot tubs,
                                       detached garages, guest houses or any similar structures).

                                  However, when there is no individual ownership of units, residential structure does not include military housing,
                                  college/university housing or dormitories, long term care facilities, hotels or motels. Residential structure also
                                  does not include hospitals or prisons.


                          CNA74858XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 17 of 18                                                                                                  Endorsement No:       4
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001473
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  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1274 of 1498 PageID #:17534
                                                                                                                          CNA PARAMOUNT

                                                Architects, Engineers and Surveyors General Liability
                                                                             Extension Endorsement

    This WRAP-UP EXTENSION: OCIP, CCIP, OR CONSOLIDATED (WRAP-UP) INSURANCE PROGRAMS Provision
    does not apply to any person or organization who otherwise qualifies as an additional insured on this Coverage Part.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74858XX (1-15)                                                                                                    Policy No: 6056872807
Page 18 of 18                                                                                                  Endorsement No:       4
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA001474
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1275 of 1498 PageID #:17535
                                                                                                                                                      CNA PARAMOUNT
                                                             General Aggregate Limit - Designated Projects Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                                    SCHEDULE
                                Designated Construction or Service Projects:
                                EACH OF YOUR CONSTRUCTION PROJECTS
                                LOCATED AWAY FROM PREMISES OWNED BY
                                OR RENTED TO YOU




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          It is understood and agreed as follows:
                          I.    For each single designated construction or service project shown in the Schedule above, a separate Designated
                                Project General Aggregate Limit, equal to the amount of the General Aggregate Limit shown in the Declarations, is the
                                most the Insurer will pay for the sum of:
                                A. all damages under Coverage A, except damages because of bodily injury or property damage included in the
                                   products-completed operations hazard; and
                                B. all medical expenses under Coverage C;
                                that arise from occurrences or accidents which can be attributed solely to ongoing operations at that designated
                                project. Such payments shall not reduce the General Aggregate Limit shown in the Declarations, nor the Designated
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                                Project General Aggregate Limit applicable to any other project.
                          II. All:
                                A. damages under Coverage B, regardless of the number of locations or projects involved;
                                B. damages under Coverage A, caused by occurrences which cannot be attributed solely to ongoing operations at
                                   a single designated project, except damages because of bodily injury or property damage included in the
                                   products-completed operations hazard; and
                                C. medical expenses under Coverage C, caused by accidents which cannot be attributed solely to ongoing
                                   operations at a single designated project,
                                will reduce the General Aggregate Limit shown in the Declarations.
                          III. The limits shown in the Declarations for Each Occurrence, for Damage To Premises Rented To You and for Medical
                               Expense continue to apply, but will be subject to either the Project General Aggregate Limit or the General Aggregate
                               Limit shown in the Declarations, depending on whether the occurrence can be attributed solely to ongoing operations
                               at a particular designated project.
                          IV. When coverage for liability arising out of the products-completed operations hazard is provided, any payments for
                              damages because of bodily injury or property damage included in the products-completed operations hazard will

                          CNA74826XX (1-15)                                                                                                      Policy No: 6056872807
                          Page 1 of 2                                                                                                      Endorsement No:       5
                          CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA001475
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  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1276 of 1498 PageID #:17536
                                                                                                                          CNA PARAMOUNT
                                 General Aggregate Limit - Designated Projects Endorsement

    reduce the Products-Completed Operations Aggregate Limit shown in the Declarations, regardless of the number of
    projects involved.
V. If the applicable scheduled construction or service project has been abandoned and then restarted, or if the authorized
   contracting parties deviate from plans, blueprints, designs, specifications or timetables, such project will still be
   deemed to be the same project.
VI. The provisions of LIMITS OF INSURANCE not otherwise modified by this endorsement shall continue to apply as
    stipulated.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74826XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:       5
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA001476
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1277 of 1498 PageID #:17537
                                                                                                                                                     CNA PARAMOUNT

                                                                                                 Coverage for Liability for Hazards of Lead
                                                                                                without Sublimit Endorsement - New Jersey

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the
                          paragraph entitled Exclusions, is amended to add the following to the exclusion entitled Pollution:
                          For premises constructed on or after 1978, or premises constructed prior to 1978 which have been certified, prior to the
                          policy period, as being free of existing lead hazards pursuant to standards established by the Department of Community
                          Affairs, this exclusion does not apply to bodily injury arising out of lead contamination, or out of the inhalation, ingestion,
                          use, handling or contact with lead paint at or from any premises, site or location which is or was at any time owned or
                          occupied by, or rented or loaned to, any Insured.
                          This provision will also apply to any premises constructed prior to 1978 which receives such certification during the policy
                          period, but only for bodily injury which occurs after such certification.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74942NJ (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:       6
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001477
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1278 of 1498 PageID #:17538
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FEDERAL BUSINESS CENTERS
20020000760568728078055




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:       7
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001478
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1279 of 1498 PageID #:17539
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:       7
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001479
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1280 of 1498 PageID #:17540
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           28 MCWHORTER ST. URBAN RENEWAL LLC
20020000760568728078056




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:       8
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001480
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1281 of 1498 PageID #:17541
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:       8
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001481
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1282 of 1498 PageID #:17542
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           SORDONI CONSTRUCTION CO
20020000760568728078057




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:       9
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001482
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1283 of 1498 PageID #:17543
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:       9
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001483
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1284 of 1498 PageID #:17544
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CM & ASSOCIATES CONSTRUCTION MANAGEMENT, LLC
20020000760568728078058




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      10
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001484
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1285 of 1498 PageID #:17545
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      10
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001485
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1286 of 1498 PageID #:17546
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           THE PORT AUTHORITY OF NEW YORK AND NEW JERSEY, PORT AUTHORITY TRANS HUDSON CORP
                           FOR PATH FACILITIES
20020000760568728078059




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      11
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001486
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1287 of 1498 PageID #:17547
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      11
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001487
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1288 of 1498 PageID #:17548
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CADENCE 51/52 DEVELOPMENT LLC, AND THEIR RESPECT OFFICERS, DIRECTORS, MEMBERS,
                           SUCCESSORS AND ASSIGNS
20020000760568728078060




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      12
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001488
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1289 of 1498 PageID #:17549
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      12
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001489
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1290 of 1498 PageID #:17550
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DAVID WEST 52 LLC, ELIZABETH WEST 52 LLC AND KAREN WEST 52 LLC, AND THEIR
                           RESPECT OFFICERS, DIRECTORS, MEMBERS, SUCCESSORS AND ASSIGNS
20020000760568728078061




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      13
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001490
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1291 of 1498 PageID #:17551
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      13
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001491
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1292 of 1498 PageID #:17552
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                   Scheduled Person Or Organization

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CADENCE PROPERTY GROUP LLC, AND THEIR RESPECT OFFICERS, DIRECTORS, MEMBERS,
                           SUCCESSORS AND ASSIGNS
20020000760568728078062




                          CG 20 10 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      14
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001492
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1293 of 1498 PageID #:17553
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                           Scheduled Person Or Organization


 Location(s) Of Covered Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.
C. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 10 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      14
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001493
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1294 of 1498 PageID #:17554
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PETILLO, INC.
20020000760568728078063




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      15
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001494
                                                                         Copyright, ISO Properties, nc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1295 of 1498 PageID #:17555
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      15
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001495
                                                Copyright, ISO Properties, nc 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1296 of 1498 PageID #:17556
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Town of Morristown
20020000760568728078064




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      16
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001496
                                                                         Copyright, ISO Properties, nc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1297 of 1498 PageID #:17557
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      16
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001497
                                                Copyright, ISO Properties, nc 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1298 of 1498 PageID #:17558
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DM Airports, LTD
20020000760568728078065




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      17
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001498
                                                                         Copyright, ISO Properties, nc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1299 of 1498 PageID #:17559
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                            Policy No: 6056872807
Page 2 of 2                                                                           Endorsement No:      17
CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001499
                                                Copyright, ISO Properties, nc 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1300 of 1498 PageID #:17560
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MCFARLAND JOHNSON ENGINEERS INC
20020000760568728078066




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      18
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001500
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1301 of 1498 PageID #:17561
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      18
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001501
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1302 of 1498 PageID #:17562
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Delta Airport Solutions
20020000760568728078067




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      19
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001502
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1303 of 1498 PageID #:17563
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      19
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001503
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1304 of 1498 PageID #:17564
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           US Federal Aviation Administration
20020000760568728078068




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      20
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001504
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1305 of 1498 PageID #:17565
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      20
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001505
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1306 of 1498 PageID #:17566
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           ALSTON CONSTRUCTION COMPANY INC
20020000760568728078069




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      21
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001506
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1307 of 1498 PageID #:17567
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      21
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001507
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1308 of 1498 PageID #:17568
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           LRC Construction LLC; FM EXCAVATION LLC; FULLER MARQUIS CONCRETE LLC; LRC
                           MAINTENANCE LLC; FULLER MARQUISE LLC; CAPPELLI ORGANIZATION LLC.
20020000760568728078070




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      22
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001508
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1309 of 1498 PageID #:17569
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      22
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001509
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1310 of 1498 PageID #:17570
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           RXR CHURCH-DIVISION TOWER A HOLDINGS LLC; RXR CHURCH-DIVISION TOWER A QOZB REIT
                           LLC; RXR QOZ FUND I -C LLC; RXR QOZ FUND I MM-C LLC; RXR QOZ FUND I INVESTOR
                           LLC; RXR PROPERTIES HOLDINGS LLC; RXR REALTY LLC; RXR RESIDENTIAL SERVICES LLC;
20020000760568728078071




                           RXR DEVELOPMENT SERVICES LLC
                           RXR CONSTRUCTION SERVICES LLC




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      23
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001510
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1311 of 1498 PageID #:17571
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      23
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001511
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1312 of 1498 PageID #:17572
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CITY OF NEW ROCHELLE; NEW ROCHELLE INDUSTRIAL DEVELOPMENT AGENCY
20020000760568728078072




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      24
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001512
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1313 of 1498 PageID #:17573
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      24
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001513
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1314 of 1498 PageID #:17574
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           28 SOUTH DIVISION OWNER LLC; 42 SOUTH DIVISION OWNER LLC; 48 SOUTH DIVISION
                           OWNER LLC; 44 SOUTH DIVISION OWNER LLC
20020000760568728078073




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      25
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001514
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1315 of 1498 PageID #:17575
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      25
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001515
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1316 of 1498 PageID #:17576
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CAPITAL ONE N.A.
20020000760568728078074




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      26
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001516
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1317 of 1498 PageID #:17577
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      26
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001517
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1318 of 1498 PageID #:17578
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FABRINCIANO CABRERA AND BETTY LYNN CABRERA
20020000760568728078075




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      27
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001518
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1319 of 1498 PageID #:17579
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      27
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001519
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1320 of 1498 PageID #:17580
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PALACE PRIME REALTY LLC
20020000760568728078076




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      28
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001520
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1321 of 1498 PageID #:17581
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      28
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001521
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1322 of 1498 PageID #:17582
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           VITO GALLELLO AND MICHAEL LOVECCHIO
20020000760568728078077




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      29
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001522
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1323 of 1498 PageID #:17583
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      29
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001523
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1324 of 1498 PageID #:17584
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           530 MAIN REALTY LLC
20020000760568728078078




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      30
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001524
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1325 of 1498 PageID #:17585
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
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CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001525
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1326 of 1498 PageID #:17586
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DICE REAL ESTATE LLC
20020000760568728078079




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      31
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001526
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1327 of 1498 PageID #:17587
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      31
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001527
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1328 of 1498 PageID #:17588
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           NATIONAL AMUSEMENTS INC
20020000760568728078080




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      32
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001528
                                                                         Copyright, ISO Properties, Inc , 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1329 of 1498 PageID #:17589
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      32
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001529
                                                Copyright, ISO Properties, Inc , 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1330 of 1498 PageID #:17590
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           WILDER BALTER PARTNERS INC
20020000760568728078081




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      33
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001530
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1331 of 1498 PageID #:17591
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      33
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001531
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1332 of 1498 PageID #:17592
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FAMILY YMCA AT TARRYTOWN
20020000760568728078082




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      34
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001532
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1333 of 1498 PageID #:17593
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      34
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001533
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1334 of 1498 PageID #:17594
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CALF ISLAND ASSOCIATES LLC
20020000760568728078083




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      35
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001534
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1335 of 1498 PageID #:17595
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




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Page 2 of 2                                                                            Endorsement No:      35
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001535
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1336 of 1498 PageID #:17596
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           EMBASSY REAL ESTATE PARTNERS
20020000760568728078084




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      36
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001536
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1337 of 1498 PageID #:17597
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      36
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001537
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1338 of 1498 PageID #:17598
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           THE EMBASSY PORT CHESTER LLC
20020000760568728078085




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      37
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001538
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1339 of 1498 PageID #:17599
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      37
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001539
                                                Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1340 of 1498 PageID #:17600
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           ST. KATHERINE GROUP INC
20020000760568728078086




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      38
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001540
                                                                         Copyright, ISO Properties, Inc., 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1341 of 1498 PageID #:17601
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      38
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001541
                                                Copyright, ISO Properties, Inc., 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1342 of 1498 PageID #:17602
                                                                                                                       CNA PARAMOUNT
                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                       Scheduled Person or Organization Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MORRIS COUNTY PARK COMMISSION AND COUNTY OF MORRIS
20020000760568728078087




                           Location(s) Of Covered Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          CG 20 10 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      39
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001542
                                                                         Copyright, ISO Properties, Inc., 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1343 of 1498 PageID #:17603
                                                                                               CNA PARAMOUNT
                                        Additional Insured - Owners, Lessees or Contractors -
                                              Scheduled Person or Organization Endorsement

A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury, property damage or personal and
   advertising injury caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf;
    in the performance of your ongoing operations for the additional insured(s) at the location(s) designated above.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusions apply:
    This insurance does not apply to:
    bodily injury or property damage occurring after:
    1.   All work, including materials, parts or equipment furnished in connection with such work, on the project (other than
         service, maintenance or repairs) to be performed by or on behalf of the additional insured(s) at the location of the
         covered operations has been completed; or
    2.   That portion of your work out of which the injury or damage arises has been put to its intended use by any
         person or organization other than another contractor or subcontractor engaged in performing operations for a
         principal as a part of the same project.




CG 20 10 (07-04)                                                                              Policy No: 6056872807
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CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                  CNA001543
                                                Copyright, ISO Properties, Inc., 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1344 of 1498 PageID #:17604
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FEDERAL BUSINESS CENTERS
20020000760568728078088




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      40
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001544
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1345 of 1498 PageID #:17605
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      40
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001545
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1346 of 1498 PageID #:17606
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           28 MCWHORTER ST. URBAN RENEWAL LLC
20020000760568728078089




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      41
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001546
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1347 of 1498 PageID #:17607
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      41
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001547
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1348 of 1498 PageID #:17608
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           SORDONI CONSTRUCTION CO
20020000760568728078090




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      42
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001548
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1349 of 1498 PageID #:17609
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      42
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001549
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1350 of 1498 PageID #:17610
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CM & ASSOCIATES CONSTRUCTION MANAGEMENT, LLC
20020000760568728078091




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      43
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001550
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1351 of 1498 PageID #:17611
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      43
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001551
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1352 of 1498 PageID #:17612
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           THE PORT AUTHORITY OF NEW YORK AND NEW JERSEY, PORT AUTHORITY TRANS HUDSON CORP
                           FOR PATH FACILITIES
20020000760568728078092




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      44
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001552
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1353 of 1498 PageID #:17613
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      44
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001553
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1354 of 1498 PageID #:17614
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CADENCE 51/52 DEVELOPMENT LLC, AND THEIR RESPECT OFFICERS, DIRECTORS, MEMBERS,
                           SUCCESSORS AND ASSIGNS
20020000760568728078093




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      45
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001554
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1355 of 1498 PageID #:17615
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      45
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001555
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1356 of 1498 PageID #:17616
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DAVID WEST 52 LLC, ELIZABETH WEST 52 LLC AND KAREN WEST 52 LLC, AND THEIR
                           RESPECT OFFICERS, DIRECTORS, MEMBERS, SUCCESSORS AND ASSIGNS
20020000760568728078094




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      46
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001556
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1357 of 1498 PageID #:17617
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      46
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001557
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1358 of 1498 PageID #:17618
                                                                                                                            CNA PARAMOUNT
                                                              Additional Insured – Owners, Lessees Or Contractors –
                                                                                              Completed Operations

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CADENCE PROPERTY GROUP LLC, AND THEIR RESPECT OFFICERS, DIRECTORS, MEMBERS,
                           SUCCESSORS AND ASSIGNS
20020000760568728078095




                          CG 20 37 12 19                                                                                    Policy No: 6056872807
                          Page 1 of 2                                                                                 Endorsement No:      47
                          CONTINENTAL CASUALTY COMPANY                                                                  Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001558
                                                                    Copyright Insurance Serv ces Office, Inc., 2018
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1359 of 1498 PageID #:17619
                                                                                                     CNA PARAMOUNT
                                      Additional Insured – Owners, Lessees Or Contractors –
                                                                      Completed Operations


 Location And Description Of Completed Operations




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in
   part, by your work at the location designated and described in the Schedule of this endorsement performed for that
   additional insured and included in the products-completed operations hazard.
    However:
    1.   The insurance afforded to such additional insured only applies to the extent permitted by law; and
    2.   If coverage provided to the additional insured is required by a contract or agreement, the insurance afforded to
         such additional insured will not be broader than that which you are required by the contract or agreement to
         provide for such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following is added to Section III – Limits Of
   Insurance:
    If coverage provided to the additional insured is required by a contract or agreement, the most we will pay on behalf of
    the additional insured is the amount of insurance:
    1.   Required by the contract or agreement; or
    2.   Available under the applicable limits of insurance;
    whichever is less.
    This endorsement shall not increase the applicable limits of insurance.




CG 20 37 12 19                                                                                       Policy No: 6056872807
Page 2 of 2                                                                                    Endorsement No:      47
CONTINENTAL CASUALTY COMPANY                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001559
                                             Copyright Insurance Serv ces Office, Inc., 2018
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1360 of 1498 PageID #:17620
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PETILLO, INC.
20020000760568728078096




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      48
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001560
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1361 of 1498 PageID #:17621
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      48
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001561
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1362 of 1498 PageID #:17622
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Town of Morristown
20020000760568728078097




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      49
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001562
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1363 of 1498 PageID #:17623
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      49
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001563
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1364 of 1498 PageID #:17624
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DM Airports, LTD
20020000760568728078098




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      50
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001564
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1365 of 1498 PageID #:17625
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      50
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001565
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1366 of 1498 PageID #:17626
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           MCFARLAND JOHNSON ENGINEERS INC
20020000760568728078099




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      51
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001566
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1367 of 1498 PageID #:17627
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      51
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001567
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1368 of 1498 PageID #:17628
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           Delta Airport Solutions
20020000760568728078100




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      52
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001568
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1369 of 1498 PageID #:17629
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      52
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001569
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1370 of 1498 PageID #:17630
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           US Federal Aviation Administration
20020000760568728078101




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      53
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001570
                                                                         Copyright, ISO Properties, Inc., 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1371 of 1498 PageID #:17631
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      53
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001571
                                                 Copyright, ISO Properties, Inc., 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1372 of 1498 PageID #:17632
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           ALSTON CONSTRUCTION COMPANY INC
20020000760568728078102




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      54
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001572
                                                                         Copyright, ISO Properties, Inc., 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1373 of 1498 PageID #:17633
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      54
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001573
                                                 Copyright, ISO Properties, Inc., 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1374 of 1498 PageID #:17634
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           LRC Construction LLC; FM EXCAVATION LLC; FULLER MARQUIS CONCRETE LLC; LRC
                           MAINTENANCE LLC; FULLER MARQUISE LLC; CAPPELLI ORGANIZATION LLC.
20020000760568728078103




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      55
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001574
                                                                         Copyright, ISO Properties, Inc., 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1375 of 1498 PageID #:17635
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      55
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001575
                                                 Copyright, ISO Properties, Inc., 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1376 of 1498 PageID #:17636
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           RXR CHURCH-DIVISION TOWER A HOLDINGS LLC; RXR CHURCH-DIVISION TOWER A QOZB REIT
                           LLC; RXR QOZ FUND I -C LLC; RXR QOZ FUND I MM-C LLC; RXR QOZ FUND I INVESTOR
                           LLC; RXR PROPERTIES HOLDINGS LLC; RXR REALTY LLC; RXR RESIDENTIAL SERVICES LLC;




                           RXR DEVELOPMENT SERVICES LLC
                           RXR CONSTRUCTION SERVICES LLC
20020000760568728078104




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      56
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001576
                                                                         Copyright, ISO Properties, Inc., 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1377 of 1498 PageID #:17637
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      56
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001577
                                                 Copyright, ISO Properties, Inc., 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1378 of 1498 PageID #:17638
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CITY OF NEW ROCHELLE; NEW ROCHELLE INDUSTRIAL DEVELOPMENT AGENCY
20020000760568728078105




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                            Endorsement No:      57
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001578
                                                                         Copyright, ISO Properties, Inc., 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1379 of 1498 PageID #:17639
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                               Policy No: 6056872807
Page 2 of 2                                                                              Endorsement No:      57
CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001579
                                                 Copyright, ISO Properties, Inc., 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1380 of 1498 PageID #:17640
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           28 SOUTH DIVISION OWNER LLC; 42 SOUTH DIVISION OWNER LLC; 48 SOUTH DIVISION
                           OWNER LLC; 44 SOUTH DIVISION OWNER LLC
20020000760568728078106




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      58
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001580
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1381 of 1498 PageID #:17641
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      58
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001581
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1382 of 1498 PageID #:17642
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CAPITAL ONE N.A.
20020000760568728078107




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      59
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001582
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1383 of 1498 PageID #:17643
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      59
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001583
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1384 of 1498 PageID #:17644
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FABRINCIANO CABRERA AND BETTY LYNN CABRERA
20020000760568728078108




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      60
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001584
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1385 of 1498 PageID #:17645
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      60
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001585
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1386 of 1498 PageID #:17646
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           PALACE PRIME REALTY LLC
20020000760568728078109




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      61
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001586
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1387 of 1498 PageID #:17647
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      61
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001587
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1388 of 1498 PageID #:17648
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           VITO GALLELLO AND MICHAEL LOVECCHIO
20020000760568728078110




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      62
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001588
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1389 of 1498 PageID #:17649
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      62
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001589
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1390 of 1498 PageID #:17650
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           DICE REAL ESTATE LLC
20020000760568728078111




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      63
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001590
                                                                         Copyright, ISO Properties, Inc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1391 of 1498 PageID #:17651
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      63
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001591
                                                 Copyright, ISO Properties, Inc 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1392 of 1498 PageID #:17652
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           NATIONAL AMUSEMENTS INC
20020000760568728078112




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      64
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001592
                                                                         Copyright, ISO Properties, Inc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1393 of 1498 PageID #:17653
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      64
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001593
                                                 Copyright, ISO Properties, Inc 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1394 of 1498 PageID #:17654
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           WILDER BALTER PARTNERS INC
20020000760568728078113




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      65
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001594
                                                                         Copyright, ISO Properties, Inc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1395 of 1498 PageID #:17655
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      65
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001595
                                                 Copyright, ISO Properties, Inc 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1396 of 1498 PageID #:17656
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           FAMILY YMCA AT TARRYTOWN
20020000760568728078114




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      66
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001596
                                                                         Copyright, ISO Properties, Inc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1397 of 1498 PageID #:17657
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      66
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001597
                                                 Copyright, ISO Properties, Inc 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1398 of 1498 PageID #:17658
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           CALF ISLAND ASSOCIATES LLC
20020000760568728078115




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                           Policy No: 6056872807
                          Page 1 of 2                                                                          Endorsement No:      67
                          CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001598
                                                                         Copyright, ISO Properties, Inc 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1399 of 1498 PageID #:17659
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                             Policy No: 6056872807
Page 2 of 2                                                                            Endorsement No:      67
CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001599
                                                 Copyright, ISO Properties, Inc 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1400 of 1498 PageID #:17660
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           EMBASSY REAL ESTATE PARTNERS
20020000760568728078116




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      68
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001600
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1401 of 1498 PageID #:17661
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      68
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001601
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1402 of 1498 PageID #:17662
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           THE EMBASSY PORT CHESTER LLC
20020000760568728078117




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      69
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001602
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1403 of 1498 PageID #:17663
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      69
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001603
                                                 Copyright, ISO Properties, Inc. 2004
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1404 of 1498 PageID #:17664
                                                                                                                       CNA PARAMOUNT

                                                                 Additional Insured - Owners, Lessees or Contractors -
                                                                                  Completed Operations Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                           SCHEDULE
                           Name Of Additional Insured Person(s) Or Organization(s)
                           ST. KATHERINE GROUP INC
20020000760568728078118




                           Location And Description Of Completed Operations




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


                          CG 20 37 (07-04)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:      70
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001604
                                                                         Copyright, ISO Properties, Inc. 2004
  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1405 of 1498 PageID #:17665
                                                                                                CNA PARAMOUNT

                                        Additional Insured - Owners, Lessees or Contractors -
                                                         Completed Operations Endorsement

Section II - Who Is An Insured is amended to include as an additional insured the person(s) or organization(s) shown in the
Schedule, but only with respect to liability for bodily injury or property damage caused, in whole or in part, by your work at
the location designated and described in the schedule of this endorsement performed for that additional insured and included
in the products-completed operationshazard.




CG 20 37 (07-04)                                                                              Policy No: 6056872807
Page 2 of 2                                                                             Endorsement No:      70
CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                   CNA001605
                                                 Copyright, ISO Properties, Inc. 2004
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1406 of 1498 PageID #:17666
                                                                                                                                                     CNA PARAMOUNT
                                                                    Additional Insured – Charitable Institutions Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that the WHO IS AN INSURED section is amended to include as an Insured:
                          A.    the Named Insured’s members but only with respect to such member’s liability for the Named Insured’s activities or
                                activities such members perform on the Named Insured’s behalf;
                          B. the Named Insured’s trustees or members of the board of governors, but only while acting within the scope of their
                             duties as such on behalf of the Named Insured.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728078119




                          CNA74691XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      71
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001606
                                            Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1407 of 1498 PageID #:17667
                                                                                                                                                     CNA PARAMOUNT

                                                                                                       Additional Insured Mortgagee, Assignee
                                                                                                                      or Receiver Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                                SCHEDULE
                                       Name Of Person Or Organization                                                            Designation Of Premises
                           MREF REIT LENDER LLC ISAOA ATIMA




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          It is understood and agreed that the section entitled WHO IS AN INSURED is amended with the addition of the following:
                          A. The person or organization shown in the Schedule is an Insured, but only with respect to such person or
                             organization’s liability for bodily injury, property damage or personal and advertising injury as mortgagee,
                             assignee, or receiver and arising out of the Named Insured’s ownership, maintenance, or use of the premises shown
                             in the Schedule.
                          The coverage granted by this endorsement does not apply to structural alterations, new construction or demolition
                          operations performed by, for or on behalf of the person or organization shown in the Schedule.
                          B. Further, if coverage for the additional Insured is required by written contract or written agreement, subject always to
20020000760568728078120




                             the terms and conditions of this policy, including the limits of insurance, the Insurer will not provide such additional
                             Insured with:
                              1.   coverage broader than required by such contract or agreement; or
                              2.   a higher limit of insurance than required by such contract or agreement.
                          Any coverage granted by this endorsement shall apply solely to the extent permissible by law.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74969XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      72
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001607
                                            Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1408 of 1498 PageID #:17668
                                                                                                                                                      CNA PARAMOUNT
                                                                                       Blanket Additional Insured - Owners, Lessees or
                                                                                                Contractors - with Products-Completed
                                                                                                   Operations Coverage Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    WHO IS AN INSURED is amended to include as an Insured any person or organization whom you are required by
                                written contract to add as an additional insured on this coverage part, but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury caused in whole or in part by your acts or omissions, or
                                the acts or omissions of those acting on your behalf:
                                A. in the performance of your ongoing operations subject to such written contract; or
                                B. in the performance of your work subject to such written contract, but only with respect to bodily injury or
                                   property damage included in the products-completed operations hazard, and only if:
                                    1.   the written contract requires you to provide the additional insured such coverage; and
                                    2.   this coverage part provides such coverage.
                          II. But if the written contract requires:
                                A. additional insured coverage under the 11-85 edition, 10-93 edition, or 10-01 edition of CG2010, or under the 10-
                                   01 edition of CG2037; or
                                B. additional insured coverage with "arising out of" language; or
                                C. additional insured coverage to the greatest extent permissible by law;
                                then paragraph I. above is deleted in its entirety and replaced by the following:
                                WHO IS AN INSURED is amended to include as an Insured any person or organization whom you are required by
                                written contract to add as an additional insured on this coverage part, but only with respect to liability for bodily
                                injury, property damage or personal and advertising injury arising out of your work that is subject to such written
                                contract.
                          III. Subject always to the terms and conditions of this policy, including the limits of insurance, the Insurer will not provide
20020000760568728078121




                               such additional insured with:
                                A. coverage broader than required by the written contract; or
                                B. a higher limit of insurance than required by the written contract.
                          IV. The insurance granted by this endorsement to the additional insured does not apply to bodily injury, property
                              damage, or personal and advertising injury arising out of:
                                A. the rendering of, or the failure to render, any professional architectural, engineering, or surveying services,
                                   including:
                                    1.   the preparing, approving, or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
                                         field orders, change orders or drawings and specifications; and
                                    2.   supervisory, inspection, architectural or engineering activities; or
                                B. any premises or work for which the additional insured is specifically listed as an additional insured on another
                                   endorsement attached to this coverage part.
                          V. Under COMMERCIAL GENERAL LIABILITY CONDITIONS, the Condition entitled Other Insurance is amended to
                              add the following, which supersedes any provision to the contrary in this Condition or elsewhere in this coverage
                              part:
                          CNA75079XX (10-16)                                                                            Policy No: 6056872807
                          Page 1 of 2                                                                           Endorsement No:         73
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA001608
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  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1409 of 1498 PageID #:17669
                                                                                                                           CNA PARAMOUNT
                                                            Blanket Additional Insured - Owners, Lessees or
                                                                     Contractors - with Products-Completed
                                                                        Operations Coverage Endorsement

    Primary and Noncontributory Insurance
    With respect to other insurance available to the additional insured under which the additional insured is a named
    insured, this insurance is primary to and will not seek contribution from such other insurance, provided that a written
    contract requires the insurance provided by this policy to be:
    1.   primary and non-contributing with other insurance available to the additional insured; or
    2.   primary and to not seek contribution from any other insurance available to the additional insured.
    But except as specified above, this insurance will be excess of all other insurance available to the additional insured.
VI. Solely with respect to the insurance granted by this endorsement, the section entitled COMMERCIAL GENERAL
    LIABILITY CONDITIONS is amended as follows:
    The Condition entitled Duties In The Event of Occurrence, Offense, Claim or Suit is amended with the addition of
    the following:
    Any additional insured pursuant to this endorsement will as soon as practicable:
    1.   give the Insurer written notice of any claim, or any occurrence or offense which may result in a claim;
    2.   send the Insurer copies of all legal papers received, and otherwise cooperate with the Insurer in the investigation,
         defense, or settlement of the claim; and
    3.   make available any other insurance, and tender the defense and indemnity of any claim to any other insurer or
         self-insurer, whose policy or program applies to a loss that the Insurer covers under this coverage part. However,
         if the written contract requires this insurance to be primary and non-contributory, this paragraph 3. does not
         apply to insurance on which the additional insured is a named insured.
    The Insurer has no duty to defend or indemnify an additional insured under this endorsement until the Insurer receives
    written notice of a claim from the additional insured.
VII. Solely with respect to the insurance granted by this endorsement, the section entitled DEFINITIONS is amended to
     add the following definition:
    Written contract means a written contract or written agreement that requires you to make a person or organization an
    additional insured on this coverage part, provided the contract or agreement:
    A. is currently in effect or becomes effective during the term of this policy; and
    B. was executed prior to:
         1.   the bodily injury or property damage; or
         2.   the offense that caused the personal and advertising injury;
         for which the additional insured seeks coverage.
Any coverage granted by this endorsement shall apply solely to the extent permissible by law.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.

CNA75079XX (10-16)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                     Endorsement No:      73
CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                              CNA001609
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1410 of 1498 PageID #:17670
                                                                                                                                                    CNA PARAMOUNT
                                                                                         Pollution Exclusion Amendatory Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A, Bodily Injury and Property Damage Liability, the
                          paragraph entitled Exclusions is amended to delete paragraph (2) of exclusion f. Pollution, in its entirety, and replace it
                          with the following:
                          This insurance does not apply to:
                          (2) Any loss, cost or expense arising out of any:
                              (a) request, demand, order or statutory or regulatory requirement that any Insured or others test for, monitor, clean
                                  up, remove, contain, treat, detoxify or neutralize, or in any way respond to or assess the effects of, pollutants; or
                              (b) Claim by or on behalf of a governmental authority for damages because of testing for, monitoring, cleaning up,
                                  removing, containing, treating, detoxifying or neutralizing, or in any way responding to or assessing the effects of,
                                  pollutants.
                              However, if liability for damages because of property damage is not excluded by paragraph (1) of this exclusion,
                              then neither will paragraph (2)(a) above serve to exclude such damages.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728078122




                          CNA74843XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      74
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001610
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1411 of 1498 PageID #:17671
                                                                                                                                                   CNA PARAMOUNT

                                                                                        Primary and Noncontributory - Other Insurance
                                                                                                              Condition Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the condition entitled Other Insurance is amended to add the following:
                              Primary And Noncontributory Insurance
                              Notwithstanding anything to the contrary, this insurance is primary to and will not seek contribution from any other
                              insurance available to an additional insured under this policy provided that:
                              a.   the additional insured is a named insured under such other insurance; and
                              b. the Named Insured has agreed in writing in a contract or agreement that this insurance would be primary and
                                 would not seek contribution from any other insurance available to the additional insured.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728078123




                          CNA74987XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      75
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001611
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1412 of 1498 PageID #:17672
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DEBARTOLO CONSTRUCTION SERVICES, LLC



                           FEDEX GROUND PACKAGE SYSTEM, INC.



                           CHURCH 2415 REALITY LLC



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728078124




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      76
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001612
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1413 of 1498 PageID #:17673
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           THE J360 CONSTRUCTION CO LLC



                           ALSTON CONSTRUCTION COMPANY, INC



                           COUNTY OF WARREN             BOARD OF CHOSEN FREEHOLDERS



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728078125




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      77
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001613
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1414 of 1498 PageID #:17674
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                 SCHEDULE
                           Name Of Person Or Organization:
                           ALSTON CONSTRUCTION COMPANY, INC., MEDLINE INDUSTRIES, INC. (OWNER), AND OWNER'S
                           CONSULTANTSS AND CONTRACTORS, AND AGENTS AND EMPLOYEES OF ANY OF THEM.


                           MCFARLAND AND JOHNSON



                           DELTA AIRPORT SOLUTIONS



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728078126




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      78
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001614
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1415 of 1498 PageID #:17675
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           US FEDERAL AVIATION ADMINISTRATION



                           PETILLO, INC.



                           TOWN OF MORRISTOWN



                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728078127




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      79
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001615
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1416 of 1498 PageID #:17676
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DM AIRPORTS, LTD




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
20020000760568728078128




                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      80
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001616
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1417 of 1498 PageID #:17677
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           FEDERAL BUSINESS CENTERS




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
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                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      81
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001617
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1418 of 1498 PageID #:17678
                                                                                                                                                    CNA PARAMOUNT

                                                                                   Waiver of Transfer of Rights of Recovery Against
                                                                                                 Others to the Insurer Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                                                                               SCHEDULE
                           Name Of Person Or Organization:
                           DICE REAL ESTATE LLC



                           NATIONAL AMUSEMENTS INC




                                   (Information required to complete this Schedule, if not shown above, will be shown in the Declarations.)
                          Under COMMERCIAL GENERAL LIABILITY CONDITIONS, it is understood and agreed that the condition entitled
                          Transfer Of Rights Of Recovery Against Others To Us is amended by the addition of the following:
                          With respect to the person or organization shown in the Schedule above, the Insurer waives any right of recovery the
                          Insurer may have against such person or organization because of payments the Insurer makes for injury or damage
                          arising out of the Named Insured’s ongoing operations or your work included in the products-completed operations
                          hazard.




                          All other terms and conditions of the Policy remain unchanged.
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                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.




                          CNA75008XX (10-16)                                                                                                   Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      82
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001618
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1419 of 1498 PageID #:17679
                                                                                                                          CNA PARAMOUNT

                                                                             Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                                                  Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE FORM
                          It is understood and agreed that the policy is amended as follows:
                          I.    Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions, is amended to add the following exclusion:
                                This insurance does not apply to:
                                A. bodily injury arising out of or relating to, in whole or in part, the actual, alleged or threatened inhalation of,
                                   ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or microbes on or within
                                   a building or structure, or on or within any contents of a building or structure. This exclusion applies regardless of
                                   any other cause or event that contributes concurrently or in any sequence to such injury;
                                B. property damage arising out of or relating to the actual, alleged or threatened contact with, exposure to,
                                   existence of, or growth or presence of any fungi or microbes on or within a building or structure, or on or within
                                   any contents of a building or structure; or
                                C. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                   containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                   the effects of, fungi or microbes, by any Insured or by anyone else. This exclusion applies regardless of any
                                   other cause or event that contributes concurrently or in any sequence to such loss, cost or expense.
                                However, this exclusion does not apply to:
                                i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                                ii. microbes that were transmitted directly from person to person.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions,
                              is amended to add the following exclusion:
                                This insurance does not apply to:
                                A. personal and advertising injury arising out of or relating to, in whole or in part, the actual, alleged or threatened
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                                   inhalation of, ingestion of, contact with, exposure to, existence of, or growth or presence of any fungi or
                                   microbes on or within a building or structure, or on or within any contents of a building or structure;
                                B. any loss, cost or expense arising out of or relating to the testing for, monitoring, cleaning up, removing,
                                   containing, treating, detoxifying, neutralizing, remediating, disposing of, or in any way responding to or assessing
                                   the effects of, fungi or microbes, by any Insured or by anyone else.
                                This exclusion applies regardless of any other cause or event that contributes concurrently or in any sequence to such
                                injury or damage, loss, cost or expense.
                                However, this exclusion does not apply to:
                                i.   any fungi or microbes that are, are on, or are contained in, a good or product intended for bodily consumption; or
                                ii. microbes that were transmitted directly from person to person.
                          III. As used herein:
                                A. fungi means any form of fungus, including but not limited to yeast, mold, mildew, rust, smut or mushroom, and
                                   including any spores, mycotoxins, odors, or any other substances, products, or byproducts produced by, released
                                   by or arising out of the current or past presence of fungi.



                          CNA74708XX (1-15)                                                                             Policy No: 6056872807
                          Page 1 of 2                                                                             Endorsement No:      83
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA001619
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                                                                                             CNA PARAMOUNT

                                              Fungi / Mold / Mildew / Yeast / Microbe Exclusion
                                                                                   Endorsement

    B. microbe means any non-fungal microorganism, or non-fungal, colony-form organism, that causes infection or
       disease. Microbe includes any spores, mycotoxins, odors or any other substances, products or byproducts
       produced by, released by or arising out of the current or past presence of microbes.
IV. The following Condition is added:
    Arbitration
    For property damage, the determination of what portion of a loss is attributable to fungi and microbes, and what
    portion is not, shall be made by the Insurer. If the Named Insured disagrees with that determination, the Named
    Insured and by the Insurer agree to submit to binding arbitration according to the Commercial Arbitration Rules of the
    American Arbitration Association, or according to such other rules as the Named Insured and the Insurer agree to. If
    binding arbitration of insurance disputes is not allowed in the state where the Named Insured is incorporated (or, if
    the Named Insured is not a corporation, the state where the Named Insured is domiciled), then arbitration shall be
    non-binding, and shall only proceed if both the Named Insured and the Insurer agree to enter into it. The arbitration
    will be held in the county where the Named Insured is headquartered, or at such other location as may be jointly
    agreed to by the Named Insured and the Insurer. Each party will bear its own arbitration costs.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74708XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      83
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA001620
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1421 of 1498 PageID #:17681
                                                                                                                      CNA PARAMOUNT

                                                                                                       Designated Professional Services
                                                                                                               Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                                                   SCHEDULE
                          Description Of Professional Services:
                          PROFESSIONAL ARCHITECTURAL, ENGINEERING, OR SURVEYING SERVICES, INCLUDING:
                          A. THE PREPARING, APPROVING, OR FAILING TO PREPARE OR APPROVE MAPS SHOP DRAWINGS
                          OPINIONS, REPORTS, SURVEYS, FIELD ORDERS CHANGE ORDERS OR DRAWINGS AND
                          SPECIFICATIONS; AND
                          B. SUPERVISORY, INSPECTION, ARCHITECTURAL OR ENGINEERING ACTIVITIES.


                          THE PARTICULAR EXCLUSION ABOVE APPLIES ONLY TO PERSONS OR ORGANIZATIONS GRANTED
                          INSURED OR ADDITIONAL INSURED STATUS BY ATTACHMENT OF AN ENDORSEMENT TO THIS
                          COVERAGE PART.


                          NOTHING IN THIS ENDORSEMENT SHALL BE CONSTRUED TO REPLACE OR AMEND EXCLUSIONARY
                          LANGUAGE CONTAINED IN ENDORSEMENT CNA74980XX (ENGINEERS ARCHITECTS OR SURVEYORS
                          PROFESSIONAL LIABILITY EXCLUSION ENDORSEMENT ) ATTACHED TO THIS COVERAGE PART,
                          NOR IN ANY OTHER ENDORSEMENT THAT EXCLUDES PROFESSIONAL ARCHITECTURAL,
                          ENGINEERING SURVEYING, OR OTHER PROFESSIONAL SERVICES.
20020000760568728078132




                          Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
                          With respect to any professional services shown in the Schedule, it is understood and agreed that under COVERAGES,
                          Coverage A – Bodily Injury And Property Damage Liability and Coverage B – Personal And Advertising Injury
                          Liability, the paragraphs entitled Exclusions, are amended to add the following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render any professional service.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.


                          CNA74754XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      84
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001621
                                                                          Copyright CNA A l R ghts Reserved.
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                                                                                                                                                   CNA PARAMOUNT
                                                                     Employment-Related Practices Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART

                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                              This insurance does not apply to:
                              Bodily injury or personal and advertising injury to:
                              (1) a person arising out of any:
                                  (a) refusal to employ that person;
                                  (b) termination of that person's employment; or
                                  (c) employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
                                      reassignment, discipline, defamation, harassment, humiliation, discrimination or malicious prosecution
                                      directed at that person; or
                              (2) the spouse, child, parent, brother or sister of that person as a consequence of bodily injury to that person at
                                  whom any of the employment-related practices described in Paragraphs (a), (b), or (c) above is directed.
                              This exclusion applies:
                              (1) whether the injury-causing event described in Paragraphs (a), (b) or (c) above occurs before employment, during
                                  employment or after employment of that person;
                              (2) whether the Insured may be liable as an employer or in any other capacity; and
                              (3) to any obligation to share damages with or repay someone else who must pay damages because of the injury.
                              However, solely with respect to Coverage A, this exclusion does not apply to physical injury a person sustains during
                              a job interview while attempting to demonstrate a physical capability or skill required by the job.
20020000760568728078133




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74761XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:      85
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001622
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1423 of 1498 PageID #:17683
                                                                                                                                                      CNA PARAMOUNT

                                                                                                Testing or Consulting Errors and Omissions
                                                                                                                    Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          Testing or Consulting Errors and Omissions
                          bodily injury, property damage or personal and advertising injury arising out of:
                          1.    an error, omission, defect or deficiency in:
                                a.   any test performed; or
                                b. an evaluation, a consultation or advice given,
                                by or on behalf of any Insured;
                          2.    the reporting of or reliance upon any such test, evaluation, consultation or advice; or
                          3.    an error, omission, defect or deficiency in experimental data or the Insured’s interpretation of that data.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74775XX (1-15)                                                                                                      Policy No: 6056872807
                          Page 1 of 1                                                                                                      Endorsement No:      86
                          CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA001623
                                             Copyright CNA All Rights Reserved. Includes copyr ghted material of Insurance Services Office, Inc., with its permission.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1424 of 1498 PageID #:17684
                                                                                                                         CNA PARAMOUNT

                                                                    Residential Construction Defect Products/Completed
                                                                                     Operations Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions, is amended to add the following exclusion:
                                This insurance does not apply to property damage that:
                                A. is included within the products/completed operations hazard;
                                B. arises out of defective construction of all or any part of a residential structure; and
                                C. is reported to the Insurer more than 12 months after your work is deemed completed on the project from which
                                   the property damage allegedly arises.
                          II. As used herein:
                                A. your work will be deemed completed at the earliest of the following times:
                                    1.   when all of the work called for in the Named Insured’s contract has been completed;
                                    2.   when all of the work to be done at the job site has been completed if the Named Insured’s contract calls for
                                         work at more than one job site; or
                                    3.   when that part of the work done at a job site has been put to its intended use by any person or organization
                                         other than another contractor or subcontractor working on the same project.
                                    Work that may need service, maintenance, correction, repair or replacement, but which is otherwise complete, will
                                    be treated as completed.
                                B. construction means any and all aspects of the erection or demolition of structures, including but not limited to
                                   design, specifications, planning, building, materials, supervision or observation of construction. Construction also
                                   includes new construction, conversion, reconstruction, rehabilitation, renovation, remodeling, repair or
                                   maintenance.
                                C. defective construction means any actual or alleged deficiency in construction.
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                                D. residential structure means any structure where 30% or more of the square foot area is used or is intended to be
                                   used for human residency, including but not limited to:
                                    1.   single or multifamily housing, apartments, condominiums, townhouses, co-operatives or planned unit
                                         developments; and
                                    2.   the common areas and structures appurtenant to the structures in paragraph 1. (including pools, hot tubs,
                                         detached garages, guest houses or any similar structures).
                                    However, when there is no individual ownership of units, residential structure does not include military housing,
                                    college/university housing or dormitories, long term care facilities, hotels or motels. Residential structure also
                                    does not include hospitals or prisons.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.

                          CNA74862XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      87
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA001624
                                                                            Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1425 of 1498 PageID #:17685
                                                                                                                       CNA PARAMOUNT
                                                              Construction Wrap-Up Program Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of any
                          current or completed operation performed by the Named Insured or on the Named Insured’s behalf which is or was
                          insured under a consolidated (wrap-up) insurance program.
                          This exclusion applies whether or not the consolidated (wrap-up) insurance program:
                          A. provides coverage identical to that provided by this Coverage Part;
                          B. has limits adequate to cover all claims; or
                          C. remains in effect.
                          Consolidated (wrap-up) insurance program means a construction, erection or demolition project for which the prime
                          contractor/project manager or owner of the project has secured general liability insurance covering some or all of the
                          contractors or subcontractors involved in the project. Consolidated (wrap-up) insurance program includes an Owner
                          Controlled Insurance Program (O.C.I.P.) or a Contractor Controlled Insurance Program (C.C.I.P.).




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
20020000760568728078136




                          CNA74863XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      88
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001625
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                                                                                                                                                     CNA PARAMOUNT

                                                                                      Engineers, Architects or Surveyors Professional
                                                                                                     Liability Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability and
                          Coverage B – Personal And Advertising Injury Liability, the paragraphs entitled Exclusions, are amended to add the
                          following exclusion:
                          This insurance does not apply to bodily injury, property damage or personal and advertising injury arising out of the
                          rendering of or failure to render any professional services by the Named Insured or any engineer, architect or surveyor
                          who is either employed by the Named Insured or performing work on the Named Insured’s behalf in such capacity.
                          Professional services include:
                          A. the preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys, field
                             orders, change orders or drawings and specifications; and
                          B. supervisory, inspection, architectural or engineering activities.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74980XX (1-15)                                                                                                     Policy No: 6056872807
                          Page 1 of 1                                                                                                     Endorsement No:      89
                          CONTINENTAL CASUALTY COMPANY                                                                                      Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                        CNA001626
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                                                                                                                                                     CNA PARAMOUNT

                                                                                    Exclusion - Access or Disclosure of Confidential
                                                                                 or Personal Information and Data-Related Liability -
                                                                                 with Limited Bodily Injury Exception Endorsement

                          This endorsement modifies insurance provided under the following:
                               COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    Under COVERAGES, Coverage A – Bodily Injury And Property Damage Liability, the paragraph entitled
                                Exclusions, the exclusion entitled Electronic Data is deleted in its entirety and replaced with the following:
                                This insurance does not apply to:
                                Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
                                Damages arising out of:
                                (1) any access to or disclosure of any person’s or organization’s confidential or personal information, including
                                    patents, trade secrets, processing methods, customer lists, financial information, credit card information, health
                                    information or any other type of nonpublic information; or.
                                (2) the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate electronic data.
                                This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                                expenses, public relation expenses or any other loss, cost or expense incurred by the Named Insured or others
                                arising out of that which is described in Paragraph (1) or (2) above.
                                However, unless Paragraph (1) above applies, this exclusion does not apply to damages because of bodily injury.
                                As used herein, electronic data means information, facts or programs stored as or on, created or used on, or
                                transmitted to or from computer software, including systems and applications software, hard or floppy disks, CD-
                                ROMs, tapes, drives, cells, data processing devices or any other media which are used with electronically controlled
                                equipment.
                          II. Under COVERAGES, Coverage B – Personal And Advertising Injury Liability, the paragraph entitled Exclusions
                              is amended to add the following exclusion:
                                Access Or Disclosure Of Confidential Or Personal Information
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                                This insurance does not apply to personal and advertising injury arising out of any access to or disclosure of any
                                person's or organization's confidential or personal information, including patents, trade secrets, processing methods,
                                customer lists, financial information, credit card information, health information or any other type of nonpublic
                                information.
                                This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses, forensic
                                expenses, public relations expenses or any other loss, cost or expense incurred by the Named Insured or others
                                arising out of any access to or disclosure of any person's or organization's confidential or personal information.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.



                          CNA75089XX (1-15)                                                                                                      Policy No: 6056872807
                          Page 1 of 1                                                                                                      Endorsement No:      90
                          CONTINENTAL CASUALTY COMPANY                                                                                       Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                         CNA001627
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                                                                                                                             CNA PARAMOUNT

                                                                              Amendment - Infringement of Copyright, Patent,
                                                                                Trademark Trade Secret or Other Intellectual
                                                                                     Property Rights or Laws Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                          It is understood and agreed that:
                          I.    Under COVERAGES, Coverage B – Personal and Advertising Injury Liability, the Exclusion entitled Infringement
                                of Copyright, Patent, Trademark or Trade Secret is deleted and replaced as follows:
                                Infringement or Violation of Intellectual Property Rights or Laws
                                Personal and advertising injury arising out of infringement or violation of the following rights or laws:
                                (a) patent;
                                (b) trade secret or other confidential or proprietary non-personal information;
                                (c) trademark, certification mark, service mark, collective mark, trade name, or other designation of origin or
                                    authenticity;
                                (d) copyright; or
                                (e) any other intellectual property right or legally protected expression, including but not limited to another’s idea,
                                    slogan, trade dress, style of doing business, or unauthorized use of another’s name or image, or any other
                                    intellectual property law, including but not limited to piracy, unfair competition or other similar practices.
                                This exclusion applies to the entirety of all allegations in any claim if the claim alleges the infringement or violation of
                                any intellectual property right or law identified above, even if this insurance would otherwise apply to other allegations
                                in the claim. However, this exclusion does not apply if the claim’s only allegation is copyright or slogan infringement
                                in Named Insured’s advertisement.
                          II. Under DEFINITIONS, the definition of personal or advertising injury is amended to delete its subparagraph g., and
                              replace it with the following:
                                g. Infringing upon another's copyright or slogan in Named Insured’s advertisement.
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                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA75116XX (1-15)                                                                               Policy No: 6056872807
                          Page 1 of 1                                                                               Endorsement No:      91
                          CONTINENTAL CASUALTY COMPANY                                                                Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                               CNA001628
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                                                                                                                          CNA PARAMOUNT
                                                                  Employee Benefits Liability Coverage Part - Occurrence

                          I.    COVERAGE
                                The Insurer will pay those sums up to the applicable limit of insurance that the Insured becomes legally obligated to
                                pay as damages as a result of a covered claim for an act, error or omission negligently committed in the
                                administration of the Named Insured's employee benefit program provided that such act, error or omission:
                                A. takes place in the coverage territory;
                                B. was committed during the policy period; and
                                C. prior to the effective date of the policy period:
                                    1.     no authorized insured knew or should have known of a claim or circumstance;
                                    2.     no Insured had given notice to a prior insurer of any related claim.
                                The Insurer will pay all defense costs in connection with a covered claim. Such defense costs are in addition to the
                                limits of insurance.
                          II. DUTY TO DEFEND
                                The Insurer has the right and duty to defend in the Insured's name and on the Insured's behalf any covered suit
                                even if any of the allegations of such suit are groundless, false or fraudulent. The Insurer shall have the right to
                                appoint counsel and to make such investigation and settlement of a claim as is deemed necessary by the Insurer. If
                                a claim is subject to an arbitration proceeding or mediation proceeding, the Insurer shall be entitled to exercise all of
                                the Insured's rights in the choice of arbitrators or mediators and in the conduct of an arbitration proceeding or
                                mediation proceeding involving such claim.
                                The Insurer is not obligated to investigate, defend, pay or settle, or continue to investigate, defend, pay or settle a
                                claim after the applicable limit of the Insurer's liability has been exhausted by payment of damages.
                          III. EXCLUSIONS
                                This insurance does not apply to:
                                A. Bodily Injury, Property Damage, or Personal and Advertising Injury
                                    any bodily injury, property damage or personal and advertising injury .
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                                B. Dishonest, Fraudulent, Criminal or Malicious Act Damages
                                    any intentional, dishonest, fraudulent, criminal or malicious act, error or omission, committed by any insured,
                                    including the willful or reckless violation of any statute.
                                C. Employment-Related Practices
                                    any wrongful termination of employment, discrimination, or other employment-related practices.
                                D. ERISA/Internal Revenue Code
                                    any act, error or omission in the Insured's capacity as a fiduciary under:
                                    1.     the Employee Retirement Income Security Act of 1974, as now or hereafter amended, or by any similar
                                           federal, state or local laws; or
                                    2.     the Internal Revenue Code of 1986 as now or hereafter amended.
                                E. Failure to Perform a Contract
                                    any failure of performance of contract by any insurer.
                                F. Inadequacy of Performance of Investment/Advice Given with Respect to Participation
                                    any:
                                1. failure of any investment to perform;
                          CNA74721XX 01-15                                                                                                   Page 1 of 8

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                                                                                             CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

       2.   errors in providing information on past performance of investment vehicles; or
       3.   advice given to any person with respect to that person's decision to participate or not to participate in any
            plan included in the employee benefit program.
   G. Insufficiency of Funds
       any insufficiency of funds to meet any obligations under any plan included in the employee benefit program.
   H. Workers' Compensation and Similar Laws
       any failure to comply with the mandatory provisions of any workers' compensation, unemployment compensation
       insurance, social security or disability benefits law or any similar law.
IV. LIMITS OF INSURANCE AND DEDUCTIBLE
   A. Limits of Insurance
       1.   Related Claims
            All related claims, whenever made, shall be considered a single claim first made during the policy period in
            which the earliest claim was first made.
       2.   Limit of insurance – each employee
            Subject to paragraph 2. below, the Insurer's limit of insurance for damages for all covered claims made by or
            behalf of any one employee including such employee's dependents or beneficiaries, shall not exceed the
            amount stated in the Coverage Part Declarations as "Employee Benefits Liability - each employee".
       3.   Limit of insurance - all claims in the aggregate
            The Insurer's limit of insurance for damages for all covered claims shall not exceed the amount stated in the
            Coverage Part Declarations as "Employee Benefits Liability – all claims in the aggregate", regardless of the
            number of employees.
       4.   Multiple insureds, claims, and claimants
            The limits of insurance shown in the Coverage Part Declarations and subject to the provisions of this policy,
            is the most the Insurer will pay as damages regardless of the number of Insureds, claims made or reported,
            persons or entities making claims, acts, errors or omission which result in damages or defense costs;
            employee benefit plans.
   B. Deductible
       1.   The Insurer's obligation to pay damages on behalf of the Insured applies only to the amount of damages in
            excess of the deductible amount stated on the Coverage Part Declarations as applicable to each employee
            including such employee's dependents or beneficiaries. The limits of insurance shall not be reduced by the
            amount of this deductible.
       2.   The deductible amount stated on the Coverage Part Declarations applies to all damages sustained by any
            one employee including such employee's dependents and beneficiaries, because of all acts, errors or
            omissions to which this insurance applies.
       3.   The Insurer may pay any part or all of the deductible amount to effect settlement of any claim and, upon
            notification of the action taken, the Insured shall promptly reimburse the Insurer for such part of the
            deductible amount as the Insurer has paid.
   The Limits of Insurance of this coverage part apply separately to each consecutive annual period and to any
   remaining period of less than 12 months, starting with the beginning of the policy period shown in the Policy
   Declarations, unless the policy period is extended after issuance for an additional period of less than 12 months. In
   that case, the additional period will be deemed part of the last preceding period for purposes of determining the Limits
   of Insurance.

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                                                                                                                     CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                          V. CONDITIONS


                             Assistance and Cooperation
                             If there is a claim the Insured must:
                             A. forward to the Insurer or its designee, copies of the papers and documents, if any, which inform the Insured of a
                                claim, including all notices, summonses or other processes regarding legal proceedings;
                             B. fully cooperate with the Insurer or its designee in all investigations, the making of settlements, the conduct of
                                suits or other proceedings, enforcing any right of contribution or indemnity against another who may be liable to
                                the Insured because of the claim. The Insured shall attend hearings and trials, assist in securing and giving
                                evidence, and obtaining the attendance of witnesses.
                             Concealment, Misrepresentation and Fraud
                             No concealment, misrepresentation or fraud shall avoid or defeat recovery under this coverage part unless such
                             concealment, misrepresentation or fraud was material. Concealment, misrepresentation or fraud in the procurement
                             of this coverage part which if known by the Insurer would have led to refusal by the Insurer to make this contract or
                             provide coverage, or to make this contract or provide coverage on different terms or conditions, will be deemed
                             material.
                             Estates, Legal Representatives and Spouses
                             The estates, heirs, legal representatives and spouse of any natural person Insured shall also be insured under this
                             coverage part; provided, however, coverage is afforded to such estates, heirs, legal representatives, and spouse
                             only for claims arising solely out of their capacity or status as such and, in the case of a spouse, where such claim
                             seeks damages from marital community property, jointly held property or property transferred from such natural
                             person Insured to such spouse. No coverage is provided for any act, error or omission of an estate, heir, legal
                             representative, or spouse outside the scope of such person's capacity or status as such.
                             Notice of Claims and Circumstances
                             A. Notice of Circumstances
                                 The Insured must see to it that the Insurer is notified promptly of any circumstance. To the extent possible,
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                                 notice should include:
                                 1.   how, when and where the act, error or omission took place;
                                 2.   the names and addresses of any injured persons or organizations and witnesses; and
                                 3.   the nature and location of any injury or damage arising out of the occurrence or offense.
                             B. Notice of Claims
                                 If a claim is made against any Insured, the Insured must:
                                 1.   immediately record the specifics of the claim and the date received; and
                                 2.   notify the Insurer in writing as soon as possible.
                             C. The Insured must:
                                 1.   immediately send the Insurer copies of any demands, notices, summonses or legal papers received in
                                      connection with the claim;
                                 2.   authorize the Insurer to obtain records and other information.
                             D. no Insureds will, except at their own cost, voluntarily make a payment, assume any obligation, or incur any
                                expense without the Insurer's consent.


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                                                                                              CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

   Other Insurance
   If other valid and collectible insurance is available to the Insured for loss insured under this coverage part, the
   Insurer's obligations are limited as follows:
   A. Primary Insurance
       This insurance is primary. The Insurer's obligations are not affected unless any of the other insurance is also
       primary. Then, the Insurer will share with all that other insurance by the method described in Paragraph b. below.
   B. Method of Sharing
       If all of the other insurance permits contribution by equal shares, the Insurer will follow this method also. Under
       this approach each insurer contributes equal amounts until it has paid its applicable limit of insurance or none of
       the loss remains, whichever comes first.
       If any of the other insurance does not permit contribution by equal shares, the Insurer will contribute by limits.
       Under this method, each insurer's share is based on the ratio of its applicable limit of insurance to the total
       applicable limits of insurance of all insurers.
   Premium Audit
   A. The Insurer will compute all premiums for this coverage part in accordance with the Insurer rules and rates.
   B. Premium shown in this coverage part as advance premium is a deposit premium only. At the close of each audit
      period the Insurer will compute the earned premium for that period and send notice to the First Named Insured.
      The due date for audit and retrospective premiums is the date shown as the due date on the bill. If the sum of the
      advance and audit premiums paid for the policy term is greater than the earned premium, the Insurer will return
      the excess to the First Named Insured.
   C. The First Named Insured must keep records of the information the Insurer need for premium computation, and
      send the Insurer copies at such times as the Insurer may request.
   Separation of Insureds
   Except with respect to the Limits of Insurance, and any rights or duties specifically assigned in this policy to the First
   Named Insured, this insurance applies:
   A. as if each Named Insured were the only Named Insured; and
   B. separately to each Insured against whom a claim is made.
   Transfer of Rights of Recovery
   If any Insured for whom payment is made by the Insurer under this policy has rights to recover amounts from another,
   those rights are transferred to the Insurer to the extent of its payment. The Insured must do everything necessary
   after loss to secure the Insurer's rights and must do nothing to prejudice such rights.
VI. DEFINITIONS
   Administration means:
   A. providing information to employees, including their dependents and beneficiaries, with respect to eligibility for or
      scope of employee benefit programs;
   B. handling records in connection with the employee benefit program; or
   C. effecting, continuing or terminating any employee's participation in any benefit included in the employee benefit
      program.
   However, administration does not include handling payroll deductions.



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                                                                                                                         CNA PARAMOUNT
                                                               Employee Benefits Liability Coverage Part - Occurrence

                             Advertisement means a notice that is broadcast or published to the general public or specific market segments about
                             the Named Insured's goods, products or services for the purpose of attracting customers or supporters. For the
                             purposes of this definition:
                             A. notices that are published include material placed on the Internet or on similar electronic means of
                                communication; and
                             B. regarding web-sites, only that part of a web-site that is about the Named Insured's goods, products or services
                                for the purposes of attracting customers or supporters is considered an advertisement.
                             Authorized Insured means any executive officer, member of the Named Insured's human resources, risk
                             management or in-house general counsel's office, or any employee authorized by the Named Insured to give or
                             receive notice of a claim.
                             Bodily injury means physical injury, sickness or disease sustained by a person, including death, humiliation, shock,
                             mental anguish or mental injury by that person at any time which results as a consequence of the bodily injury,
                             sickness or disease.
                             Cafeteria plans means plans authorized by applicable law to allow employees to elect to pay for certain benefits with
                             pre-tax dollars.
                             Claim means:
                             A. suit; or
                             B. a written or oral demand for damages
                             alleging negligent acts, errors or omissions committed in the administration of the Named Insured's employee
                             benefit plans.
                             Circumstance means an act, error or omission reported during the policy period from which an executive officer
                             reasonably expects that a claim could be made.
                             Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                             Endorsements.
                             Coverage territory means:
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                             A. the United States of America (including its territories and possessions), Puerto Rico and Canada;
                             B. international waters or airspace, but only if the injury or damage occurs in the course of travel or transportation
                                between any places included in Paragraph A. above.
                             Damages means the amount an Insured is legally obligated to pay, either through:
                             A. final adjudication of a covered claim; or
                             B. through compromise or settlement of a covered claim with the Insurer's written consent or direction.
                             In addition, damages includes the above mentioned sums only after deducting all other recoveries and salvages.
                             However, damages does not include with respect to any claim;
                                 1.   restitution, return or disgorgement of fees, costs and expenses paid or incurred or charged by an Insured, no
                                      matter whether claimed as restitution of specific funds, forfeiture, financial loss, set-off or otherwise, and
                                      injuries that are a consequence of any of the foregoing;
                                 2.   civil or criminal fines, sanctions, penalties forfeitures, or taxes whether pursuant to statute, regulation or
                                      court rule, including those imposed under the Internal Revenue Code;
                                 3.   the multiplied portion of multiplied awards imposed pursuant to any statute or regulation requiring such
                                      awards;
                                 4.   injunctive or declaratory relief;

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                                                                                            CNA PARAMOUNT
                                    Employee Benefits Liability Coverage Part - Occurrence

       5.   any amount that is not insurable under any applicable law; or
       6.   plaintiff's attorney fees associated with any of the above;
       7.   any amounts for benefits to the extent that such benefits are available, with reasonable effort and
            cooperation of the Insured, from the applicable funds accrued or other collectible insurance; or
       8.   any amounts that exceed the limits and restrictions that apply to the payment of benefits in any plan included
            in the employee benefit program.
   Defense costs mean:
   A. reasonable and necessary fees, costs, and expenses incurred by the Insurer or consented to by the Insurer and
      incurred by the Named Insured in the defense or appeal of a covered suit or in the investigation of any covered
      claim, and includes premium for appeal bonds arising out of a covered judgment, attachment bonds or similar
      bonds, but only for bond amounts up to the applicable limit of insurance.
   B. prejudgment interest awarded against an Insured on that part of a judgment covered by this coverage part. If
      the Insurer makes an offer to pay the applicable limit of insurance, the Insurer will not pay any prejudgment
      interest based on that period of time after the offer.
   C. post judgment interest which accrues after entry of judgment, but before the Insurer has paid or offered to pay,
      or deposited in court that part of the judgment which is within the applicable limit of insurance of this coverage
      part. The amount of interest the Insurer pays will be in direct proportion to the amount of damages the Insurer
      pays in relation to the total amount of the judgment.
   D. all reasonable expenses incurred by a natural person Insured at the Insurer's request to assist the Insurer in the
      investigation or defense of the claim. This includes such Insured's actual loss of earnings up to $1000.00 per
      day, because of time off from work;
   E. all court costs taxed against the Insured in the suit. However, these payments do not include attorneys' fees or
      attorneys' expenses taxed against the Insured.
   Payment of defense costs will not reduce the limit of insurance.
   Employee means a person actively employed, formerly employed, on leave of absence or disabled, or retired.
   Employee includes a leased worker. Employee does not include a temporary worker.
   Employee benefit program means a program providing some or all of the following benefits to the employees
   whether provided through a cafeteria plan or otherwise:
   A. group life insurance, group accident or health insurance, dental, vision and hearing plans, and flexible spending
      accounts, provided that no one other than an employee may subscribe to such benefits and such benefits are
      made generally available to those employees who satisfy the plan's eligibility requirements;
   B. profit sharing plans, employee savings plans, employee stock ownership plans, pension plans and stock
      subscription plans, provided that no one other than an employee may subscribe to such benefits and such
      benefits are made generally available to all employees who are eligible under the plan for such benefits;
   C. unemployment insurance, social security benefits, workers' compensation and disability benefits; or
   D. vacation plans, including buy and sell programs; leave of absence programs, including military, maternity, family,
      and civil leave; tuition assistance plans; transportation and health club subsidies.
   Executive Officer means any natural person holding any of the following positions created by the Named Insured's
   charter, constitution, bylaws or any other similar governing document:
   A. director, officer, trustee or governor of a corporation;
   B. management committee member of a joint venture;
   C. partner of a partnership;

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                                                                                                                         CNA PARAMOUNT
                                                              Employee Benefits Liability Coverage Part - Occurrence

                             D. manager of a limited liability company;
                             E. trustee of a trust.
                             An executive officer is not an employee.
                             First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                             Insured means any Named Insured and
                             A. any natural person who was, is or becomes:
                                 1.   the Named Insured's executive officers, but only for the administration of the Named Insured’s
                                      employee benefit program; or
                                 2.   the Named Insured's stockholders, but only with respect to their liability as stockholders.
                                 3.   the Named Insured's employees authorized to administer its employee benefit program; or
                                 4.   any natural person (including any employee), or any organization having proper temporary authorization to
                                      administer the Named Insured's employee benefit program, but only until an authorized legal
                                      representative is appointed on behalf of the Named Insured.
                             B. any organization the Named Insured newly acquires or forms, other than a partnership or joint venture, and over
                                which the Named Insured maintains ownership or majority interest, if there is no other similar insurance available
                                to that organization. However:
                                 1.   coverage under this provision is afforded only until the 90th day after the Named Insured acquires or forms
                                      the organization or the end of the policy period, whichever is earlier; and
                                 2.   coverage does not apply to acts, errors or omissions that occurred before the Named Insured acquired or
                                      formed the organization.
                                 No person or organization is an insured with respect to the conduct of any current or past partnership or joint
                                 venture that is not shown as a Named Insured in the Declarations.
                             In addition to the above, the estates, heirs, legal representatives or spouses of any of the Named Insured’s
                             executive officers or employees qualifying as an Insured are also insured pursuant to the condition entitled
                             Estates, Legal Representatives And Spouses.
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                             Leased worker means a natural person leased to the Named Insured by a labor leasing firm under an agreement
                             between the Named Insured and the labor leasing firm, to perform duties related to the conduct of the Named
                             Insured's business. Leased worker does not include a temporary worker.
                             Named Insured means the person or organization shown in the Declarations, and any other person or organization
                             qualifying as a Named Insured under this coverage part.
                             Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
                             conditions.
                             Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more of
                             the following offenses:
                             A. false arrest, detention or imprisonment;
                             B. malicious prosecution;
                             C. wrongful eviction from, wrongful entry into, or the invasion of the right of private occupancy of a room, dwelling or
                                premises that a natural person occupies committed by or on behalf of its owner, landlord or lessor;
                             D. oral or written publication, in any manner, of material that slanders or libels a person or organization or disparages
                                a person's or organization's goods, products or services;
                             E. oral or written publication, in any manner, of material that violates a natural person’s right of privacy;
                          CNA74721XX 01-15                                                                                                   Page 7 of 8

                                                                            CNA001637
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                                                                                             CNA PARAMOUNT
                                   Employee Benefits Liability Coverage Part - Occurrence

   F. the use of another's advertising idea in the Named Insured's advertisement; or
   G. infringing upon another's copyright or slogan in the Named Insured's advertisement.
   Policy period means the period of time from the effective date and time of this Policy to the date and time of
   termination as shown in the Policy Declarations, or its earlier cancellation date.
   Property damage means physical injury to:
   A. tangible property, including all resulting loss of use of that property. All such loss of use shall be deemed to occur
      at the time of the physical injury that caused it; or
   B. loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at the
      time of the occurrence that caused it.
   Related claims means all claims arising out of a single act, error or omission or arising out of related acts, errors or
   omissions negligently committed in the administration of the Insured Entity's employee benefits program.
   Spouse means any husband or wife or any person qualifying as a domestic partner under any federal, state or local
   laws or under the Named Insured's employee benefit plans or employee benefits program.
   Suit means a civil proceeding in which damages to which this insurance applies are alleged. Suit includes:
   A. an arbitration proceeding in which such damages are claimed and to which the Insured must submit or does
      submit with the Insurer's consent; or
   B. any other alternative dispute resolution proceeding in which such damages are claimed and to which the Insured
      submits with the Insurer's consent.
   Temporary worker means a worker who is furnished to the Named Insured to substitute for a permanent employee
   on leave or to meet seasonal or short-term workload conditions.
   Volunteer worker means a natural person who is not the Named Insured's employee, and who donates his or her
   work and acts at the direction of and within the scope of duties determined by the Named Insured, and is not paid a
   fee, salary or other compensation by the Named Insured or anyone else for their work performed for the Named
   Insured.




CNA74721XX 01-15                                                                                                 Page 8 of 8

                                                 CNA001638
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                                                                                                                       CNA PARAMOUNT

                                                                                          Employee Benefits Liability- Amended
                                                                                    Definition of Executive Officer Endorsement

                          This endorsement modifies insurance provided under the following:

                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                          It is understood and agreed that under DEFINITIONS, the definition of Executive Officer is deleted and replaced by the
                          following:
                          Executive Officer means any natural person holding any of the following positions created by the Named Insured's
                          charter, constitution, bylaws or any other similar governing document:
                          A. director, officer, trustee or governor of a corporation.
                          B. management committee member of a joint venture;
                          C. partner of a partnership;
                          D. manager of a limited liability company; or
                          E. trustee of a trust.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA86269XX (10-16)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      92
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                             CNA001639
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Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1441 of 1498 PageID #:17701
                           Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1442 of 1498 PageID #:17702


                                                                                                                                    IL 01 11 11 03

                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                               NEW JERSEY CHANGES
                          This endorsement modifies insurance provided under the following:

                              CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
                              COMMERCIAL INLAND MARINE COVERAGE PART
                              COMMERCIAL PROPERTY COVERAGE PART
                              STANDARD PROPERTY POLICY

                          A. The following exclusion and related provisions are              To     the    extent      that  the   Concealment,
                             added:                                                          Misrepresentation Or Fraud Condition conflicts with
                             1. We will not pay for loss or damage arising out of            the provisions of Paragraph A.2. above, the
                                any act committed:                                           provisions of A.2. will apply.
                                a. By or at the direction of any insured; and             B. The following is added to the Transfer Of Rights Of
                                                                                             Recovery Against Others To Us Condition:
                                   b. With the intent to cause a loss.
                                                                                              If we pay a co-insured for loss arising out of an act
                              2.   However, this exclusion will not apply to deny             of domestic violence by another insured, the rights
                                   payment to a co-insured who did not cooperate              of the co-insured, who did not cooperate in or
                                   in or contribute to the creation of the loss if the        contribute to the creation of the loss, to recover
                                   loss arose out of domestic violence.                       damages from the perpetrator of domestic violence
                              3.   If we pay a claim pursuant to Paragraph A.2.,              are transferred to us to the extent of our payment.
                                   our payment to the insured is limited to that              Following the loss, the co-insured who did not
                                   insured's insurable interest in the property. In no        cooperate in or contribute to the loss may not waive
                                   event will we pay more than the Limit of                   such rights to recover against the perpetrator of
                                   Insurance.                                                 domestic violence.
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                          IL 01 11 11 03                             Copyright, ISO Properties, Inc., 2003                             Page 1 of 1
                                                                            CNA001642
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1443 of 1498 PageID #:17703
                                                                                                                           CNA PARAMOUNT
                                                                                                       Broad Named Insured Endorsement

                          This endorsement modifies insurance provided under the following:
                                EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                                STOP GAP LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    The WHO IS AN INSURED Section is amended to delete its Paragraph 3. in its entirety and replace it with the
                                following:
                                3.   Pursuant to the limitations described in Paragraph IV. below, any organization in which a Named Insured has
                                     management control:
                                     a.   on the effective date of this Coverage Part; or
                                     b. by reason of a Named Insured creating or acquiring the organization during the policy period,
                                     qualifies as a Named Insured, provided that there is there is no other similar liability insurance, whether primary,
                                     contributory, excess, contingent or otherwise, which provides coverage to such organization, or which would have
                                     provided coverage but for the exhaustion of its limit, and without regard to whether its coverage is broader or
                                     narrower than that provided by this insurance.
                                     However, this BROAD NAMED INSURED provision does not apply to:
                                     (a) any partnership, limited liability company or joint venture; or
                                     (b) any organization for which coverage is excluded by another endorsement attached to this Coverage Part.
                          II. Solely with respect to organizations which qualify as Named Insureds by virtue of this Endorsement, this insurance
                              does not apply to:
                                a.   bodily injury or property damage that first occurred prior to the date of management control, or that first occurs
                                     after management control ceases; nor
                                b. personal or advertising injury caused by an offense that first occurred prior to the date of management control
                                   or that first occurs after management control ceases.
                          III. The insurance provided by this Coverage Part applies to Named Insureds when trading under their own names or
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                               under such other trading names or doing-business-as names as any Named Insured should choose to employ.
                          IV. For the purposes of this endorsement, a new definition is added as follows:
                                Management control means:
                                A. owning interests representing more than 50% of the voting, appointment or designation power for the selection of
                                   a majority of: the Board of Directors of a corporation; or
                                B. having the right, pursuant to a written trust agreement, to protect, control the use of, encumber or transfer or sell
                                   property held by a trust.
                          V. If the coverage part to which this endorsement applies is part of a package policy that also contains a Commercial
                             General Liability Coverage Part (CGL) that has been endorsed:
                                A. with a Broad Named Insured provision, then the CGL’s Broad Named Insured provision’s terms hereby replace
                                   this endorsement’s terms, including any terms applicable to management control, limited liability companies or
                                   joint ventures; or
                                B. to exclude from coverage an organization that otherwise would qualify as a Named Insured under this (Broad
                                   Named Insured) endorsement, then such an organization is also excluded from the coverage provided by this
                                   coverage part.

                          CNA75108XX (1-15)                                                                              Policy No: 6056872807
                          Page 1 of 2                                                                              Endorsement No:      94
                          CONTINENTAL CASUALTY COMPANY                                                               Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                CNA001643
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                                                                                             CNA PARAMOUNT
                                                                         Broad Named Insured Endorsement



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA75108XX (1-15)                                                                          Policy No: 6056872807
Page 2 of 2                                                                          Endorsement No:      94
CONTINENTAL CASUALTY COMPANY                                                           Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                 CNA001644
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1445 of 1498 PageID #:17705
                                                                                                                       CNA PARAMOUNT
                                                                                                                     Bridge Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE PART
                          It is understood and agreed as follows:
                          I.    The Common Terms and Conditions are amended to delete the sections entitled “Bankruptcy” and “No Suit Against
                                Insurer” as the conditions section of the Coverage Part has more specific conditions of its own.
                          II. The conditions section is amended to delete the condition entitled When We Do Not Renew. Please refer instead to
                              Condition III. CANCELLATION/NONRENEWAL of the Common Terms and Conditions.
                          III. The DEFINITIONS section is amended to add the following new definitions:

                                Claim means:

                                A. a suit; or
                                B. a written or oral demand for damages alleging injury to which this insurance applies.

                                Coverage part means only those coverage parts designated as included in the Schedule of Forms and
                                Endorsements.

                                Damages means the amount an Insured is legally obligated to pay, either through:

                                A. final adjudication of a covered claim; or

                                B. through compromise or settlement of a covered claim with the Insurer’s written consent or direction.

                                Defense costs means those amounts set forth under the SUPPLEMENTARY PAYMENTS section of any applicable
                                coverage part.
                                First Named Insured means the person or organization first listed as a Named Insured in the Declarations.
                                Insured means those persons or organizations as set forth in the section entitled Who is an Insured.
                                Named Insured means the persons or organizations named as such in the Declarations and any other person or
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                                organization qualifying as a named insured under this policy.

                                Policy period means the period of time from the effective date and time of this Policy to the date and time of
                                termination as shown in the Policy Declarations, or its earlier cancellation date.
                                Spouse means any husband or wife or any person qualifying as a domestic partner under any applicable federal,
                                state or local laws or under the Named Insured’s employee benefit plans.
                          IV. Where the phrase “claim or suit” appears, it is deleted and replaced with the defined term claim.
                          V. Any reference to “the Insurer” in this Policy refers to the company providing this insurance.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.

                          CNA62646XX (1-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                           Endorsement No:      95
                          CONTINENTAL CASUALTY COMPANY                                                            Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                               CNA001645
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                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1446 of 1498 PageID #:17706
                                                                                                                          CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          Wherever used in this endorsement: 1) Insurer means "we", "us", "our" or the "Company" as those terms may be defined
                          in the policy; and 2) Named Insured means the first person or entity named on the declarations page; and 3) "Insureds"
                          means all persons or entities afforded coverage under the policy.

                          Any cancellation, non-renewal or termination provisions in the policy are deleted in their entirety and replaced with the
                          following:

                          CANCELLATION AND NON-RENEWAL

                          A.       CANCELLATION

                                   1.     The first Named Insured may cancel the policy at any time. To do so, the Named Insured must return the
                                          policy to the Insurer or any of its authorized representatives, indicating the effective date of cancellation;
                                          or provide a written notice to the Insurer, stating when the cancellation is to be effective.

                                   2.     The Insurer may cancel the policy at any time and for any reason within the first sixty (60) days. The
                                          Insurer will mail or deliver written notice of cancellation at least ten (10) days prior to the effective of such
                                          cancellation if cancellation is for nonpayment or existence of a moral hazard as defined by NJAC 11:1-
                                          20.2(f) and thirty (30) days if for any other reason.

                                   3.     If the policy has been in effect for sixty (60) days or more, it may be canceled only for one of the following
                                          reasons:

                                          a.       May be canceled for any underwriting reason set forth in our underwriting guidelines which were
                                                   in effect at the policy inception. The underwriting guidelines must not be arbitrary, capricious or
                                                   unfairly discriminatory.

                                          b.       The following text sets forth certain approved reasons for midterm cancellations as approved
                                                   guidelines. While an Insurer may issue other guidelines, it appears that an Insurer should limit its
                                                   guidelines for midterm cancellation to those the Department has approved to avoid the possibility
                                                   that the Department might rescind a cancellation.
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                                          c.       All underwriting reasons or guidelines utilized by the Insurer to cancel or non-renew the policy
                                                   will be maintained by Insurer in writing and will be available to the Named insured or the Named
                                                   Insured's lawful representatives upon written request.

                                          d.       Only those guidelines which are in effect at the inception of the original policy or any renewal
                                                   thereof, as applicable, may be utilized to cancel during the policy period.

                                          e.       The following guidelines are approved for use:

                                                   (1)      Non-payment of premium;
                                                   (2)      Moral hazard, which is defined as:

                                                            (a)      The risk, danger or probability that the insured will destroy, or permit to be
                                                                     destroyed, the insured property for the purpose of collecting the insurance
                                                                     proceeds. Any change in the circumstances of an insured that will increase the
                                                                     probability of such a destruction may be considered a "moral hazard;" and
                                                            (b)      The substantial risk, danger or probability that the character, circumstances or
                                                                     personal habits of the insured may increase the possibility of loss or liability
                                                                     which we will be held responsible. Any change in the character or

                          CNA62814NJ (9-12)                                                                             Policy No: 6056872807
                          Page 1 of 3                                                                             Endorsement No:      96
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001646
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                                                                                                  CNA PARAMOUNT
                                                              Cancellation / Non-Renewal – New Jersey

                                            circumstances of an individual, corporate, partnership or other insured that will
                                            increase probability of such a loss or liability may be considered a "moral
                                            hazard."
                          (3)      Material misrepresentation or non-disclosure of material fact.
                          (4)      Increased hazard or material change in the risk by the parties at inception of coverage.
                          (5)      Substantial breaches of policy provisions that materially affect the nature and/or
                                   insurability of the risk.
                          (6)      Lack of cooperation on loss control matters which materially affect insurability.
                          (7)      Fraudulent acts which materially affects the risk.
                          (8)      Loss of or reduction in available insurance capacity. This is an acceptable reason for
                                   cancellation only if the following exists:

                                   (i)       an insurance department has declared insured to be financially impaired.
                                   (ii)      substantial reductions in reinsurance or other changes which prohibit us from
                                             providing coverage at the same limits and terms as the existing policy; or
                                   (iii)     an insurance department has issued an order indicating impaired financial
                                             condition of the reinsurer which may adversely affect the reinsurer's ability to
                                             meet its obligations.

                          (9)      Failure of the Insured to comply with any federal, state or local fire, health, safety,
                                   building or construction regulation, law or ordinance which substantially increases any
                                   hazard insured against. The Insured has sixty (60) days to correct.
                          (10)     Failure by the Insured to provide reasonable and necessary underwriting information to
                                   us upon written request and a reasonable time to respond.
                          (11)     Agency termination, provided:

                                   (i)       It is documented that replacement coverage at comparable rates and terms has
                                             been provided to the Insured, and the Insured has been informed, in writing of
                                             his or her right to continue coverage; or

                                   (ii)      the Insured has agreed in writing to the cancellation based upon the termination
                                             of the agent.

                                   The Insurer will mail notice of cancellation to the Named Insured not more than one
                                   hundred and twenty (120) days nor less than sixty (60) days prior to the effective date of
                                   such cancellation. If the Insurer cancels for non-payment of premium, notice of
                                   cancellation will be mailed at least ten (10) days prior to the effective date of such
                                   cancellation.

         4.      All notices of cancellation will state the reason for cancellation.

         5.      Notice of cancellation will state the effective date of cancellation. The policy period will end on that date.

         6.      If notice is mailed, proof of mailing will be sufficient proof of notice.


B.       PREMIUM REFUND

         If this policy is cancelled, the Insurer will send the Named Insured any premium refund due. If the Insurer cancels
         the refund will be pro rata. If the Named Insured cancels, the refund may be less than pro rata. The cancellation
         will be effective even if the Insurer has not made or offered a refund.

CNA62814NJ (9-12)                                                                                  Policy No: 6056872807
Page 2 of 3                                                                                  Endorsement No:      96
CONTINENTAL CASUALTY COMPANY                                                                   Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                    CNA001647
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                                                                                                                        CNA PARAMOUNT
                                                                                      Cancellation / Non-Renewal – New Jersey

                          C.       NON-RENEWAL

                                   1.      The Insurer can non-renew the policy by mailing or delivering written notice to the Named Insured, at the
                                           last mailing address known to the Insurer, not more than one hundred and twenty (120) days nor less
                                           than sixty (60) days prior to the effective date of non-renewal. The notice will be sent by certified mail or
                                           by first class mail, if a date stamped proof of mailing has been obtained from the post office.

                                   2.      Like notice of non-renewal will state the actual reason for non-renewal.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA62814NJ (9-12)                                                                            Policy No: 6056872807
                          Page 3 of 3                                                                            Endorsement No:      96
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001648
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                                                                                                                         CNA PARAMOUNT
                                                                                           Amendatory Endorsement – New Jersey

                          It is understood and agreed as follows:

                          I.       The CONCEALMENT, MISREPRESENTATION AND FRAUD condition of the First Party Terms and
                                   Conditions is deleted and replaced with the following:

                                   CONCEALMENT, MISREPRESENTATION AND FRAUD

                                   This entire policy shall be canceled if, whether before or after a loss, the Named Insured or designated
                                   representatives:

                                   A.      has concealed or misrepresented any material fact or circumstance concerning:

                                           1.       this insurance or the subject thereof;

                                           2.       the interest of the Named Insured therein; or

                                           3.       any claim; or

                                   B.      has falsely sworn to any such material fact or circumstance.



                          All other terms and conditions of the Policy remain unchanged.

                           This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
                           effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
                           and expires concurrently with said Policy.
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                          CNA62815NJ (10-15)                                                                           Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      97
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                            CNA001649
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                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   CHURCH 2415 REALITY, LLC




                          Address:                        100 RING ROAD WEST, SUITE 101


                                                          GARDEN CITY
                                                                                                                                                ,
                                                          NY 11050
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
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                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      98
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001650
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1451 of 1498 PageID #:17711
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DEBARTOLO CONSTRUCTION SERVICES, LLC




                          Address:                        4401 WEST KENNEDY BOULEVARD - 3RD FLOOR


                                                          TAMPA
                                                                                                                                                ,
                                                          FL 33609
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078156




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:      99
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001651
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1452 of 1498 PageID #:17712
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   FEDEX GROUND PACKAGE SYSTEM, INC.




                          Address:                        1000 FEDEX DRIVE


                                                          MOON TOWNSHIP
                                                                                                                                                ,
                                                          PA 15108
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078157




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     100
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001652
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1453 of 1498 PageID #:17713
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   THE J360 CONSTRUCTION CO LLC




                          Address:                        290 MADISON AVENUE, 4TH FLOOR


                                                          NEW YORK
                                                                                                                                                ,
                                                          NY 10017
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078158




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     101
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001653
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1454 of 1498 PageID #:17714
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   ALSTON CONSTRUCTION COMPANY, INC




                          Address:                        C/O MY COI
                                                          1075 BROAD RIPPLE AVE, SUITE 313

                                                          INDIANAPOLIS
                                                                                                                                                ,
                                                          IN 46220
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078159




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     102
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001654
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1455 of 1498 PageID #:17715
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   COUNTY OF WARREN   BOARD OF CHOSEN
                                                                                                        FREEHOLDERS




                          Address:                        165 COUNTY ROUTE #519 SOUTH


                                                          BELVIDERE
                                                                                                                                                ,
                                                          NJ 07823
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078160




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     103
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001655
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1456 of 1498 PageID #:17716
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HAMPSHIRE VENTURE PARTNERS, LLC




                          Address:                        22 MAPLE AVENUE


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078161




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     104
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001656
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1457 of 1498 PageID #:17717
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MORRIS DOREMUS AVENUE ASSOCIATES
                                                                                                        URBAN RENEWAL, LLC




                          Address:                        350 VETERANS BLVD.


                                                          RUTHERFORD
                                                                                                                                                ,
                                                          NJ 07070
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078162




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     105
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001657
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1458 of 1498 PageID #:17718
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MONTANA CONSTRUCTION CORP., INC.




                          Address:                        80 CONTANT AVENUE


                                                          LODI
                                                                                                                                                ,
                                                          NJ 07644
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078163




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     106
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001658
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1459 of 1498 PageID #:17719
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HRP ASSOCIATES, INC




                          Address:                        197 SCOTT SWAMP ROAD


                                                          FARMINGTON
                                                                                                                                                ,
                                                          CT 06032
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078164




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     107
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001659
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1460 of 1498 PageID #:17720
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   THE CONNELL COMPANY




                          Address:                        200 CONNELL DRIVE


                                                          BERKELEY HEIGHTS
                                                                                                                                                ,
                                                          NJ 07922
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078165




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     108
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001660
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1461 of 1498 PageID #:17721
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   RUSSO DEVELOPMENT




                          Address:                        1011 MORRIS AVE


                                                          UNION
                                                                                                                                                ,
                                                          NJ 07083
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078166




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     109
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001661
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1462 of 1498 PageID #:17722
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT DEVELOPMENT, LLC




                          Address:                        4825 NW 41ST STREET, SUITE 500


                                                          RIVERSIDE
                                                                                                                                                ,
                                                          MO 64150
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078167




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     110
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001662
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1463 of 1498 PageID #:17723
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   SUBURBAN CONSULTING ENGINEERS INC




                          Address:                        96 US HIGHWAY 206, SUITE 101


                                                          FLANDERS
                                                                                                                                                ,
                                                          NJ 07836
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078168




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     111
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001663
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1464 of 1498 PageID #:17724
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MCFARLAND AND JOHNSON




                          Address:                        49 COURT ST


                                                          BINGHAMTON
                                                                                                                                                ,
                                                          NY 13901
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078169




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     112
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001664
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1465 of 1498 PageID #:17725
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NEW JERSEY DEPARTMENT OF
                                                                                                        TRANSPORTATION




                          Address:                        1035 PARKWAY AVENUE
                                                          P O BOX 600

                                                          TRENTON
                                                                                                                                                ,
                                                          NJ 08625
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078170




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     113
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001665
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1466 of 1498 PageID #:17726
                                                                                                                        CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   PETILLO, INC.




                          Address:                        167 FLANDERS NETCONG ROAD


                                                          FLANDERS
                                                                                                                                                ,
                                                          NJ 07836
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078171




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     114
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001666
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1467 of 1498 PageID #:17727
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   TOWN OF MORRISTOWN




                          Address:                        200 SOUTH STREET


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078172




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     115
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001667
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1468 of 1498 PageID #:17728
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DM AIRPORTS, LTD




                          Address:                        8 AIRPORT RD


                                                          MORRISTOWN
                                                                                                                                                ,
                                                          NJ 07960
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078173




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     116
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001668
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1469 of 1498 PageID #:17729
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DELTA AIRPORT SOLUTIONS




                          Address:                        3544 N PROGRESS AVE #200


                                                          HARRISBURG
                                                                                                                                                ,
                                                          PA 17110
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078174




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     117
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001669
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1470 of 1498 PageID #:17730
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   US FEDERAL AVIATION ADMINISTRATION




                          Address:                        135 FASHION DR S


                                                          ALLENTOWN
                                                                                                                                                ,
                                                          PA 18109
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078175




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     118
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001670
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1471 of 1498 PageID #:17731
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   BANKER RESIDENTIAL LIMITED
                                                                                                        PARTNERSHIP AND ITS OWNERS




                          Address:                        ONE WEST RED OAK LANE


                                                          WHITE PLAINS
                                                                                                                                                ,
                                                          NY 10604
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078176




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     119
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001671
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1472 of 1498 PageID #:17732
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MORRIS AVENEL ASSOCIATES URBAN
                                                                                                        RENEWAL LLC




                          Address:                        350 VETERANS BOULEVARD


                                                          RUTHERFORD
                                                                                                                                                ,
                                                          NJ 07070
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078177




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     120
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001672
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1473 of 1498 PageID #:17733
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   ALSTON CONSTRUCTION COMPANY INC




                          Address:                        968 POSTAL ROAD
                                                          SUITE 200

                                                          ALLENTOWN
                                                                                                                                                ,
                                                          PA 18109
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078178




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     121
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001673
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1474 of 1498 PageID #:17734
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT HOLDINGS LLC




                          Address:                        4825 NW 4ST STREET SUITE 500


                                                          RIVERSIDE
                                                                                                                                                ,
                                                          MO 64150
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078179




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     122
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001674
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1475 of 1498 PageID #:17735
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   ARTHUR KILL LOT 1OOC




                          Address:                        99 BROOKSIDE AVE


                                                          CHESTER
                                                                                                                                                ,
                                                          NY 10918
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078180




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     123
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001675
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1476 of 1498 PageID #:17736
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   50-56 BRUEN HOLDINGS LLC




                          Address:                        15 MELNICK DRIVE PO BOX 950


                                                          MONSEY
                                                                                                                                                ,
                                                          NY 10952
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078181




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     124
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001676
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1477 of 1498 PageID #:17737
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   HUDSON MAXIM PROPERTY LLC




                          Address:                        72 TENNYSON DRIVE


                                                          SHORT HILLS
                                                                                                                                                ,
                                                          NJ 07078
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078182




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     125
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001677
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1478 of 1498 PageID #:17738
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   THE CONNELL COMPANY




                          Address:                        RISK MANAGEMENT DEPARTMENT
                                                          300 CONNEL DRIVE 4TH FLOOR, SUITE #4000

                                                          BERKELEY HEIGHTS
                                                                                                                                                ,
                                                          NJ 07922
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078183




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     126
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001678
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1479 of 1498 PageID #:17739
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   DICE REAL ESTATE LLC




                          Address:                        2-44 COLNELIA STREET


                                                          NEWARK
                                                                                                                                                ,
                                                          NJ 07105
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078184




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     127
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001679
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1480 of 1498 PageID #:17740
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NATIONAL AMUSEMENTS INC




                          Address:                        846 UNIVERSITY AVENUE


                                                          NORWOOD
                                                                                                                                                ,
                                                          MA 02062
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078185




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     128
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001680
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1481 of 1498 PageID #:17741
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   WILDER BALTER PARTNERS INC




                          Address:                        480 BEDFORD RD


                                                          CHAPPAQUA
                                                                                                                                                ,
                                                          NY 10514
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078186




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     129
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001681
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1482 of 1498 PageID #:17742
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   NORTHPOINT HOLDINGS LLC




                          Address:                        C/O VENDORSHIELD
                                                          PO BOX 55071 PMB 34943

                                                          BOSTON
                                                                                                                                                ,
                                                          MA 02205
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078187




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     130
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001682
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1483 of 1498 PageID #:17743
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   RMC DEVELOPMENT LLC




                          Address:                        100 CLEARBROOK ROAD


                                                          ELMSFORD
                                                                                                                                                ,
                                                          NY 10523
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078188




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     131
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001683
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1484 of 1498 PageID #:17744
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   BSREP III LOGISTICS ACQUISITION LLC




                          Address:                        250 VESEY STREET 15TH FLOOR


                                                          NEW YORK
                                                                                                                                                ,
                                                          NY 10281
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078189




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     132
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001684
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1485 of 1498 PageID #:17745
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   SAXUM INVESTMENT COMPANY, LLC




                          Address:                        359 SPRINGFIELD AVENUE


                                                          SUMMIT
                                                                                                                                                ,
                                                          NJ 07901
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078190




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     133
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001685
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1486 of 1498 PageID #:17746
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   WP WASHINGTON CONSTRUCTION LLC




                          Address:                        C/O WOODMONT PROPERTIES
                                                          100 PASSAIC AVE STE 240

                                                          FAIRFIELD
                                                                                                                                                ,
                                                          NJ 07004
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078191




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     134
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001686
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1487 of 1498 PageID #:17747
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   MATRIX STATEN ISLAND WESTERN PARCEL
                                                                                                        DEVELOPMENT LLC




                          Address:                        3 CENTRE DR


                                                          MONROE TWP
                                                                                                                                                ,
                                                          NJ 08831
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078192




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     135
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001687
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1488 of 1498 PageID #:17748
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   FEDERAL BUSINESS CENTERS




                          Address:                        300 RARITAN CENTER PARKWAY


                                                          EDISON
                                                                                                                                                ,
                                                          NJ 08837
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
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                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     136
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001688
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                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1489 of 1498 PageID #:17749
                                                                                                                      CNA PARAMOUNT

                                                                                  Changes - Notice of Cancellation or Material
                                                                                                    Restriction Endorsement
                          This endorsement modifies insurance provided under the following:
                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                              SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK DEPARTMENT OF TRANSPORTATION
                                                                                   SCHEDULE
                          Number of days notice (other than for nonpayment of premium):                 030
                          Number of days notice for nonpayment of premium:
                                                                                                        10
                          Name of person or organization to whom notice will be sent:                   WBP DEVELOPMENT LLC




                          Address:                        480 BEDFORD RD BLDG 300


                                                          CHAPPAQUA
                                                                                                                                                ,
                                                          NY 10514
                          If no entry appears above, the number of days notice for nonpayment of premium will be 10 days.


                          It is understood and agreed that in the event of cancellation or any material restrictions in coverage during the policy
20020000760568728078194




                          period, the Insurer also agrees to mail prior written notice of cancellation or material restriction to the person or
                          organization listed in the above Schedule. Such notice will be sent prior to such cancellation in the manner prescribed in
                          the above Schedule.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74702XX (1-15)                                                                            Policy No: 6056872807
                          Page 1 of 1                                                                            Endorsement No:     137
                          CONTINENTAL CASUALTY COMPANY                                                             Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                           CNA001689
                                                                          Copyright CNA A l R ghts Reserved.
                            Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1490 of 1498 PageID #:17750
                                                                                                                                                   CNA PARAMOUNT
                                                                                                            Calculation of Premium Endorsement

                          This endorsement modifies insurance provided under the following:

                              COMMERCIAL GENERAL LIABILITY COVERAGE PART
                              EMPLOYEE BENEFITS LIABILITY COVERAGE PART
                              LIQUOR LIABILITY COVERAGE PART
                              OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                              PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                              RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                              STOP GAP LIABILITY COVERAGE PART
                              TECHNOLOGY ERRORS AND OMISSIONS LIABILITY COVERAGE PART
                          It is understood and agreed that the following is added:
                          The premium shown in the Declarations was computed based on rates in effect at the time the policy was issued. On each
                          renewal, continuation, or anniversary of the effective date of this policy, the Insurer will compute the premium in
                          accordance with the Insurer’s rates and rules then in effect.




                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.
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                          CNA74726XX (1-15)                                                                                                    Policy No: 6056872807
                          Page 1 of 1                                                                                                    Endorsement No:     138
                          CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                       CNA001690
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Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1492 of 1498 PageID #:17752
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1493 of 1498 PageID #:17753
                                                                                                                          CNA PARAMOUNT
                                                                                                        Asbestos Exclusion Endorsement

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE FORM
                                OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM
                                RAILROAD PROTECTIVE LIABILITY COVERAGE FORM
                                SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY – NEW YORK
                                STOP GAP COVERAGE PART
                          It is understood and agreed that the following exclusion is added:
                          This insurance does not apply to:
                          A. bodily injury, property damage or personal and advertising injury arising out of the actual, alleged or threatened
                             exposure at any time to asbestos; or
                          B. any loss, cost or expense that may be awarded or incurred:
                                1.   by reason of a claim for any bodily injury, property damage or personal and advertising injury arising out of
                                     the actual, alleged or threatened exposure at any time to asbestos; or
                                2.   in complying with a governmental direction or request to test for, monitor, clean up, remove, contain or dispose of
                                     asbestos.
                          As used herein, asbestos means the mineral in any form whether or not the asbestos was at any time:
                          i.    airborne as a fiber, particle or dust;
                          ii. contained in or formed a part of a product, structure or other real or personal property;
                          iii. carried on clothing;
                          iv. inhaled or ingested; or
                          v.    transmitted by any other means.
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                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA74719XX (1-15)                                                                             Policy No: 6056872807
                          Page 1 of 1                                                                             Endorsement No:     140
                          CONTINENTAL CASUALTY COMPANY                                                              Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA001693
                                                                            Copyright CNA A l R ghts Reserved.
                               Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1494 of 1498 PageID #:17754
                                                                                                                                                       CNA PARAMOUNT

                                                                                        Nuclear Energy Liability Exclusion Endorsement
                                                                                                                           (Broad Form)

                          This endorsement modifies insurance provided under the following:
                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE PART
                                OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
                                PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
                                RAILROAD PROTECTIVE LIABILITY COVERAGE PART
                                STOP GAP LIABILITY COVERAGE PART
                          It is understood and agreed that the policy is amended as follows:
                          I.    The insurance does not apply:
                                A. under any Liability Coverage, to bodily injury or property damage:
                                    1.   with respect to which an Insured under the policy is also an Insured under a nuclear energy liability policy
                                         issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters,
                                         Nuclear Insurance Association of Canada or any of their successors, or would be an Insured under any such
                                         policy but for its termination upon exhaustion of its limit of liability; or
                                    2.   resulting from the hazardous properties of nuclear material and with respect to which
                                         a.   any person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
                                              of 1954, or any law amendatory thereof, or
                                         b. the Insured is, or had this policy not been issued would be, entitled to indemnity from the United States
                                            of America, or any agency thereof, under any agreement entered into by the United States of America, or
                                            any agency thereof, with any person or organization.
                                B. under any Medical Payments coverage, to expenses incurred with respect to bodily injury resulting from the
                                   hazardous properties of nuclear material and arising out of the operation of a nuclear facility by any person or
                                   organization.
                                C. under any Liability Coverage, to bodily injury or property damage resulting from hazardous properties of
                                   nuclear material, if:
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                                    1.   the nuclear material
                                         a.   is at any nuclear facility owned by, or operated by or on behalf of, an Insured or
                                         b. has been discharged or dispersed therefrom;
                                    2.   the nuclear material is contained in spent fuel or waste at any time possessed, handled, used, processed,
                                         stored, transported or disposed of, by or on behalf of an Insured; or
                                    3.   the bodily injury or property damage arises out of the furnishing by an Insured of services, materials, parts
                                         or equipment in connection with the planning, construction, maintenance, operation or use of any nuclear
                                         facility, but if such facility is located within the United States of America, its territories or possessions or
                                         Canada, this exclusion 3. applies only to property damage to such nuclear facility and any property thereat.
                          II. As used in this endorsement:
                                Hazardous properties includes radioactive, toxic or explosive properties.
                                Nuclear material means source material, special nuclear material or by-product material.
                                Source material, special nuclear material, and by-product material have the meanings given them in the Atomic
                                Energy Act of 1954 or in any law amendatory thereof.


                          CNA74727XX (1-15)                                                                                                       Policy No: 6056872807
                          Page 1 of 2                                                                                                       Endorsement No:     141
                          CONTINENTAL CASUALTY COMPANY                                                                                        Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                                          CNA001694
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  Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1495 of 1498 PageID #:17755
                                                                                                                          CNA PARAMOUNT

                                                           Nuclear Energy Liability Exclusion Endorsement
                                                                                              (Broad Form)

    Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to radiation in
    a nuclear reactor.
    Waste means any waste material:
    A. containing by-product material other than the tailings or wastes produced by the extraction or concentration of
       uranium or thorium from any ore processed primarily for its source material content, and
    B. resulting from the operation by any person or organization of any nuclear facility included under the first two
       paragraphs of the definition of nuclear facility.
    Nuclear facility means:
    A. any nuclear reactor;
    B. any equipment or device designed or used for
        1.   separating the isotopes of uranium or plutonium,
        2.   processing or utilizing spent fuel, or
        3.   handling, processing or packaging waste;
    C. any equipment or device used for the processing, fabricating or alloying of special nuclear material if at any time
       the total amount of such material in the custody of the Insured at the premises where such equipment or device is
       located consists of or contains more than 25 grams of plutonium or uranium 233 or any combination thereof, or
       more than 250 grams of uranium 235;
    D. any structure, basin, excavation, premises or place prepared or used for the storage or disposal of waste;
    and includes the site on which any of the foregoing is located, all operations conducted on such site and all premises
    used for such operations.
    Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting chain reaction
    or to contain a critical mass of fissionable material.
    Property damage includes all forms of radioactive contamination of property.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
expires concurrently with said Policy.




CNA74727XX (1-15)                                                                                                    Policy No: 6056872807
Page 2 of 2                                                                                                    Endorsement No:     141
CONTINENTAL CASUALTY COMPANY                                                                                     Effective Date: 12/23/2022
Insured Name: SESI CONSULTING ENGINEERS
                                                             CNA001695
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                                                                                                                            CNA PARAMOUNT

                                                                              Cap on Losses from Certified Acts of Terrorism
                                                                                                               Endorsement

                          Solely with respect to the following coverage parts:

                              Business Property
                              Inland Marine

                              General Liability
                              Employee Benefits Liability



                          It is understood and agreed as follows:

                          A. Cap on Certified Terrorism Losses

                              Certified act of terrorism means an act that is certified by the Secretary of the Treasury, in consultation with the
                              Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant to
                              the Terrorism Risk Insurance Act, as extended and reauthorized (the "Act"). The criteria contained in the Act for a
                              certified act of terrorism include the following:

                              1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
                                   subject to the Terrorism Risk Insurance Act; and

                              2.   The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
                                   individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
                                   policy or affect the conduct of the United States Government by coercion.

                              If aggregate insured losses attributable to terrorist acts certified under the Act exceed $100 billion in a Calendar year
                              (January 1 through December 31) and the Insurer has met its insurer deductible under the Act, the Insurer shall not be
                              liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
                              losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
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                              of the Treasury.

                          B. Application of Exclusions

                              The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do not
                              serve to create coverage for any loss which would otherwise be excluded under this coverage part or Policy, such as
                              losses excluded by the Nuclear Hazard Exclusion or the War And Military Action Exclusion.



                          All other terms and conditions of the Policy remain unchanged.

                          This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes effect
                          on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below, and
                          expires concurrently with said Policy.




                          CNA81503XX (2-15)                                                                               Policy No: 6056872807
                          Page 1 of 1                                                                               Endorsement No:     142
                          CONTINENTAL CASUALTY COMPANY                                                                Effective Date: 12/23/2022
                          Insured Name: SESI CONSULTING ENGINEERS
                                                                              CNA001696
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                          Case: 1:23-cv-04098 Document #: 142-7 Filed: 01/28/25 Page 1498 of 1498 PageID #:17758
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                                                       END OF COPY

                                                            CNA001698
